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                                R.1277
                     Rio Grande LNG Project
        Final Environmental Impact Statement
                     Volume I and Appendix R
USCA Case #23-1174   Document
            Federal Energy    #2038760Commission
                           Regulatory     Filed: 02/02/2024                                   Page 2 of 732
                     Office of Energy Projects
                     Washington, DC 20426


                             Rio Grande LNG Project
                       Final Environmental Impact Statement
                                    Volume I




           Rio Grande LNG, LLC and Rio Bravo Pipeline Company, LLC

                                                                                          April 2019
                                                              Docket Nos. CP16-454-000, CP16-455-000
                                                                                    FERC/EIS-0287F
                                              Cooperating Agencies:




U.S. Environmental        U.S. Department         U.S. Coast Guard       U.S. Department        U.S. Army
 Protection Agency        of Transportation                                 of Energy        Corps of Engineers




           U.S. Fish and            Federal Aviation      National Park Service       National Oceanic
          Wildlife Service           Administration                            Atmospheric Administration -
                                                                              National Marine Fisheries Service
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                            FEDERAL ENERGY REGULATORY COMMISSION
                                      WASHINGTON, D.C. 20426



OFFICE OF ENERGY PROJECTS                                      In Reply Refer To:
                                                               OEP/DG2E/Gas 4
                                                               Rio Grande LNG, LLC
                                                               Rio Bravo Pipeline
                                                                  Company, LLC
                                                               RG LNG Project
                                                               Docket Nos. CP16-454-000 and
                                                               CP16-455-000

TO THE INTERESTED PARTY:

       The staff of the Federal Energy Regulatory Commission (FERC or Commission)
has prepared a final environmental impact statement (EIS) for the Rio Grande LNG Project
(Project) proposed by Rio Grande LNG, LLC (RG LNG) and Rio Bravo Pipeline Company,
LLC (RB Pipeline) (collectively referred to as the RG Developers) in the above-referenced
dockets. RG LNG requests authorization pursuant to section 3(a) of the Natural Gas Act
(NGA) to construct and operate liquefied natural gas (LNG) export facilities in Cameron
County, Texas, and RB Pipeline requests a Certificate of Public Convenience and
Necessity pursuant to section 7(c) of the NGA to construct, operate, and maintain a new
pipeline system in Jim Wells, Kleberg, Kenedy, Willacy, and Cameron Counties, Texas.

        The final EIS assesses the potential environmental effects of the construction and
operation of the Project in accordance with the requirements of the National Environmental
Policy Act (NEPA). The FERC staff concludes that construction and operation of the Rio
Grande LNG Project would result in some adverse environmental impacts, but these
impacts would be reduced to less than significant levels. However, the Rio Grande LNG
Project, combined with other projects within the geographic scope, including the Texas
LNG and Annova LNG Projects, would contribute to potential significant cumulative
impacts from construction noise during nighttime pile-driving, sediment/turbidity, and
shoreline erosion within the Brownsville Ship Channel during operations from vessel
transits; on the federally listed ocelot and jaguarundi from habitat loss and potential for
increased vehicular strikes during construction; on the federally listed northern aplomado
falcon from habitat loss in combination with past actions; and on visual resources from the
presence of aboveground structures. Construction and operation of the Rio Grande LNG
Project would result in mostly temporary or short-term environmental impacts; however,
some long-term and permanent environmental impacts would occur.

       The U.S. Army Corps of Engineers, U.S. Coast Guard, U.S. Department of Energy,
U.S. Department of Transportation’s (DOT) Pipeline and Hazardous Materials Safety
Administration, the DOT’s Federal Aviation Administration, the U.S. Fish and Wildlife
Service, the National Park Service, the U.S. Environmental Protection Agency, and the
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National Oceanic and Atmospheric Administration – National Marine Fisheries Service
participated as cooperating agencies in the preparation of the EIS. Cooperating agencies
have jurisdiction by law or special expertise with respect to resources potentially affected
by the proposal and participate in the NEPA analysis. Although the cooperating agencies
provided input to the conclusions and recommendations presented in the final EIS, the
agencies will present their own conclusions and recommendations in their respective
Records of Decision for the Project.

       The final EIS addresses the potential environmental effects of the construction and
operation of the following proposed facilities:

       • six liquefaction trains at the Rio Grande LNG Terminal, each with a nominal
         capacity of 4.5 million tons per annum of LNG for export, resulting in the total
         nominal capacity of 27.0 million tons per annum;
       • four LNG storage tanks, each with a net capacity of 180,000 cubic meters;
       • LNG truck loading facilities with four loading bays, each with the capacity to
         load 12 to 15 trucks per day;
       • a refrigerant storage area and truck unloading facilities;

       • a condensate storage area and truck loading facilities;
       • a new marine slip with two LNG vessel berths to accommodate simultaneous
         loading of two LNG vessels, an LNG vessel and support vessel maneuvering
         area, and an LNG transfer system;
       • a materials off-loading facility;

       • 2.4 miles of 42-inch-diameter pipeline, including 0.8 mile of dual pipeline, to
         gather gas from existing systems in Kleberg and Jim Wells Counties (referred to
         as the Header System);
       • 135.5 miles of parallel 42-inch-diameter pipelines originating in Kleberg County
         and terminating at the Rio Grande LNG Terminal in Cameron County (referred
         to as Pipelines 1 and 2);
       • four stand-alone metering sites along the Header System;
       • two new interconnect booster compressor stations, each with a metering site;
       • three new compressor stations (one at the LNG Terminal site); and
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      • other associated utilities, systems, and facilities (yards, access roads, etc.).
        The Commission mailed a copy of the Notice of Availability of the final EIS to
federal, state, and local government representatives and agencies; elected officials;
environmental and public interest groups; Native American tribes; potentially affected
landowners and other interested individuals and groups; and newspapers and libraries in
the project area. The final EIS is only available in electronic format. It may be viewed
and downloaded from the FERC’s website (www.ferc.gov), on the Environmental
Documents page (https://www.ferc.gov/industries/gas/enviro/eis.asp). In addition, the
final EIS may be accessed by using the eLibrary link on the FERC’s website. Click on the
eLibrary link (https://www.ferc.gov/docs-filing/elibrary.asp), click on General Search, and
enter the docket number in the “Docket Number” field, excluding the last three digits (i.e.
CP16-454 or CP16-455). Be sure you have selected an appropriate date range. For
assistance, please contact FERC Online Support at FercOnlineSupport@ferc.gov or toll
free at (866) 208-3676, or for TTY, contact (202) 502-8659.

       Additional information about the Project is available from the Commission’s Office
of External Affairs, at (866) 208-FERC, or on the FERC website (www.ferc.gov) using
the eLibrary link. The eLibrary link also provides access to the texts of all formal
documents issued by the Commission, such as orders, notices, and rulemakings.

      In addition, the Commission offers a free service called eSubscription that allows
you to keep track of all formal issuances and submittals in specific dockets. This can
reduce the amount of time you spend researching proceedings by automatically providing
you with notification of these filings, document summaries, and direct links to the
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                           FINAL ENVIRONMENTAL IMPACT STATEMENT
                                                             VOLUME I


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                     ACRONYMS AND ABBREVIATIONS

  °F                 degrees Fahrenheit
  µg                 micrograms
  µPa                micropascal
  AAQS               Ambient Air Quality Standards
  ACHP               Advisory Council on Historic Preservation
  ACI                American Concrete Institute
  AEP                American Electric Power
  AIChE              American Institute of Chemical Engineers
  Annova             Annova LNG Common Infrastructure, LLC, Annova LNG
                     Brownsville A, LLC, Annova LNG Brownsville B, LLC, and
                     Annova LNG Brownsville C, LLC
  API                American Petroleum Institute
  AQCR               Air Quality Control Region
  ASCE               American Society of Civil Engineers
  ASME               American Society of Mechanical Engineers
  ATWS               additional temporary workspace
  BA                 Biological Assessment
  BACT               Best Available Control Technology
  BCC                Birds of Conservation Concern
  Bcf/d              billion cubic feet per day
  BCR                Bird Conservation Region
  BGEPA              Bald and Golden Eagle Act
  BLEVE              boiling liquid expanding vapor explosion
  BMP                best management practice
  BND                Brownsville Navigational District
  BOG                boil-off gas
  BS                 British Standard
  BSC                Brownsville Ship Channel
  BTEX               benzene, toulene, ethylbenzene, and xylene
  Btu/m2-hr          British thermal units per square foot per hour
  C3MRTM             Air Products and Chemicals, Inc. liquefaction process
  CAA                Clean Air Act
  CAMx               Comprehensive Air Quality Model with Extensions
  Cat                Category
  CCPS               Center for Chemical Process Safety
  CCRMA              Cameron County Regional Mobility Authority
  CEB                Comite Euro-International du Beton


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  CEQ                       Council on Environmental Quality
  Certificate               Certificate of Public Convenience and Necessity
  CFE                       Comisión Federal de Electricidad
  CFR                       Code of Federal Regulations
  CH4                       methane
  Cheniere Corpus Christi   Cheniere Corpus Christi LNG, LLC and Cheniere Corpus Christi
                            Pipeline, LP
  CI ICE                    compression ignition internal combustion engines
  CIP                       cast-in-place
  CO                        carbon monoxide
  CO2                       carbon dioxide
  CO2e                      carbon dioxide-equivalent
  Coast Guard               U.S. Coast Guard
  COE                       U.S. Army Corps of Engineers
  Commission                Federal Energy Regulatory Commission
  Corpus Christi            Corpus Christi LNG, LLC
  COTP                      Captain of the Port
  CP                        calculation point
  CPT                       cone penetration test
  CRP                       Conservation Reserve Program
  CWA                       Clean Water Act
  CZMA                      Coastal Zone Management Act
  CZMP                      Coastal Zone Management Program
  dB                        decibels
  dBA                       A-weighted decibel scale
  DHS                       Department of Homeland Security
  DOD                       U.S. Department of Defense
  DOE                       U.S. Department of Energy
  DOT                       U.S. Department of Transportation
  DPS                       distinct population segment
  DR                        dimension ratio
  EEM                       estuarine emergent marsh
  EFH                       essential fish habitat
  EI                        environmental inspector
  EIS                       environmental impact statement
  EPA                       U.S. Environmental Protection Agency
  EPAct 2005                Energy Policy Act of 2005
  ERP                       Emergency Response Plan



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  ESA                    Endangered Species Act
  ESD                    emergency shutdown
  ESS                    estuarine scrub-shrub
  EUS                    estuarine unconsolidated shore
  FAA                    Federal Aviation Administration
  FEED                   Front End Engineering Design
  FEMA                   Federal Emergency Management Administration
  FERC                   Federal Energy Regulatory Commission
  FHWA                   Federal Highway Administration
  FIS                    Flood Insurance Study
  FLEX                   Freeport LNG Expansion and FLNG Liquefaction, LLC
  FM                     farm to market
  FRA                    Federal Railroad Administration
  Freeport Development   Freeport LNG Development, L.P.; FLNG LNG, LLC; FLNG LNG
                         2, LLC; and FLNG LNG 3, LLC
  FSA                    Farm Service Agency
  ft2                    square feet
  FTA                    free trade agreement
  Fugro                  Fugro Consultants, Inc.
  FWCA                   Fish and Wildlife Coordination Act
  FWS                    U.S. Fish and Wildlife Service
  GBLNG                  Galveston Bay LNG, LLC
  GHG                    greenhouse gases
  GIS                    geographic information system
  GMFMC                  Gulf of Mexico Fisheries Management Council
  gpm                    gallons per minute
  GPP                    Golden Pass Products LLC
  Gulf Coast             Gulf Coast LNG Export, LLC
  GWP                    global warming potential
  H2S                    hydrogen sulfide
  HAP                    hazardous air pollutant
  HAZID-ENVID            Hazard Identification - Environmental Hazard Identification
  HAZOP                  hazard and operability review
  HCA                    high consequence areas
  HDD                    horizontal directional drill
  HGB                    Houston-Galveston-Brazoria
  HMI                    human machine interfaces
  hp                     horsepower



                                    xv                        Acronyms and Abbreviations
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  HUC                hydrologic unit code
  IBC                International Building Code
  IBWC               International Boundary and Water Commission
  ILI                in-line inspection
  IMO                International Maritime Organization
  IMP                integrity management program
  IPaC               Information for Planning and Consultation
  ISA                Interatnional Society of Automation
  ISO                International Organization for Standardization
  KOP                key observation point
  kV                 kilovolt
  kW/m2              kilowatts per square meter
  lb                 pounds
  Ldn                day-night sound level
  Leq                equivalent sound level
  LFL                lower flammability limit
  Lmax               maximum sound level observed during a measurement period or
  LNG                liquefied natural gas
  LOD                Letter of Determination
  LOI                Letter of Intent
  LOR                Letter of Recommendation
  LOS                Level-of-Service
  LPG                liquefied petroleum gas
  m3                 cubic meter
  m3/hr              cubic meters per hour
  MAOP               maximum allowable operating pressure
  MBCP               Migratory Bird Conservation Plan
  MBTA               Migratory Bird Treaty Act
  mcy                million cubic yards
  Memorandum         Memorandum of Understanding on Natural Gas Transportation
                     Facilities
  MEOW               maximum envelope of water
  mg/L               milligrams per liter
  MLLW               mean low low water
  MLV                mainline valve
  MMPA               Marine Mammal Protection Act
  MMscf              million standard cubic foot
  MOF                material offloading facility



                                   xvi                      Acronyms and Abbreviations
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  MOU                Memorandum of Understanding
  MP                 milepost
  mph                miles per hour
  MSA                metropolitan statistical area
  MSFCMA             Magnuson-Stevens Fishery Conservation and Management Act
  MTPA               million tons per annum
  MTSA               Maritime Transportation Security Act
  N2O                nitrous oxide
  NAAQS              National Ambient Air Quality Standards
  NAVD 88            North American Vertical Datum 88
  NEPA               National Environmental Policy Act of 1969
  NESHAP             National Emissions Standards for Hazardous Air Pollutant
  NFPA               National Fire Protection Association
  NGA                Natural Gas Act
  NGL                natural gas liquid
  NHPA               National Historic Preservation Act
  NHTSA              National Highway Traffic Safety Administration
  NMFS               National Marine Fisheries Service
  NO2                nitrogen dioxide
  NOAA               National Oceanic and Atmospheric Administration
  NOI                Notice of Intent
  NOx                nitrogen oxides
  NPDES              National Pollutant Discharge Elimination System
  NPIL               The Williams Transco North Padre Island Lateral
  NPS                National Park Service
  NRCS               Natural Resource Conservation Service
  NRHP               National Register of Historic Places
  NSA                noise sensitive area
  NSPS               New Source Performance Standards
  NSR                New Source Review
  NVIC               Navigation and Vessel Inspection Circular
  NWI                National Wetlands Inventory
  NWR                national wildlife refuge
  ODMDS              Ocean Dredged Material Disposal Site
  OEP                Office of Energy Projects
  P&ID               piping and instrument diagrams
  PA                 Placement Area
  PEM                palustrine emergent



                                  xvii                        Acronyms and Abbreviations
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  PFO                palustrine forested
  PGA                peak ground acceleration
  PHMSA              Pipeline and Hazardous Materials Safety Administration
  PIR                Potential Impact Radius
  Plan               FERC Upland Erosion Control, Revegetation, and Maintenance Plan
  PM                 particulate matter
  PM10               particulate matter with an aerodynamic diameter less than or equal
                     to 10 microns
  PM2.5              particulate matter with an aerodynamic diameter less than or equal
                     to 2.5 microns
  Port Arthur        Port Arthur LNG, LLC and Port Arthur Pipeline, LLC
  ppb                part(s) per billion
  ppm                part(s) per million
  Procedures         The FERC Wetland and Waterbody Construction and Mitigation
                     Procedures
  Project            The Rio Grande LNG Project
  PSD                Prevention of Significant Deterioration
  psi                pounds per square inch
  PSS                palustrine scrub-shrub
  PVB                pressure vessel burst
  RB Pipeline        Rio Bravo Pipeline Company, LLC
  RG Developers      Rio Grande LNG, LLC (RG LNG) and Rio Bravo Pipeline
                     Company, LLC
  RG LNG             Rio Grande LNG, LLC
  RHA                Rivers and Harbors Act
  RMP                EPA Risk Management Plan
  RMS                root mean square
  ROW                right-of-way
  RRC                Railroad Commission of Texas
  RV                 recreational vehicle
  SAFE               State Acres for Wildlife Enhancement
  SCADA              Supervisory Control and Data Acquisition System
  SCPT               seismic cone penetration test
  Secretary          Secretary of the Commission
  SH                 State Highway
  SHPO               State Historic Preservation Office
  SIL                significant impact level
  SIS                safety instrument system
  SLOSH              Sea, Lake, and Overland Surge from Hurricanes


                                   xviii                     Acronyms and Abbreviations
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  SO2                      sulfur dioxide
  SPCC Plan                Spill Prevention, Control, and Countermeasure Plan
  SSE                      safe shutdown earthquake
  SSURGO                   NRCS Soil Survey Geographic database
  STSSN                    Sea Turtle Stranding and Salvage Network
  SWEL                     standing water elevation
  SWPPP                    Stormwater Pollution Prevention Plan
  TAC                      Texas Administrative Code
  TAHC                     Texas Animal Health Commission
  TCEQ                     Texas Commission of Environmental Quality
  TDWR                     Texas Department of Water Resources
  Texas Eastern            Texas Eastern Transmission Pipeline
  Texas LNG                Texas LNG Brownsville
  TGS                      Texas Gas Service Company
  The Rio Bravo Pipeline   the proposed new pipeline system and facilities in Jim Wells,
                           Kleberg, Kenedy, Willacy, and Cameron Counties, Texas
  The Rio Grande LNG       facilities necessary to liquefy and export natural gas at a proposed
  Terminal                 site along the Brownsville Ship Channel in Cameron County, Texas
  TPG                      The Perryman Group
  TPWD                     Texas Parks and Wildlife Department
  tpy                      tons per year
  TWDB                     Texas Water Development Board
  TWIC                     Transportation Worker Identification Credential
  TxDOT                    Texas Department of Transportation
  USC                      United States Code
  USGCRP                   U.S. Global Change Research Program
  USGS                     U.S. Geological Survey
  VCP                      Valley Crossing Pipeline
  VLCC                     very large crude carrier
  VOC                      volatile organic compounds
  WSA                      Waterway Suitability Assessment
  yd3                      cubic yard




                                       xix                           Acronyms and Abbreviations
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 EXECUTIVE SUMMARY

         On May 5, 2016, Rio Grande LNG, LLC (RG LNG) and Rio Bravo Pipeline Company,
 LLC (RB Pipeline), filed a joint application with the Federal Energy Regulatory Commission
 (Commission or FERC) for authorization pursuant to Sections 3(a) and 7(c) of the Natural Gas
 Act (NGA). In Docket No. CP16-454-000, RG LNG requests authorization under Section 3(a)
 of the NGA and Part 153 of the Commission’s regulations to site, construct, and operate facilities
 necessary to liquefy and export natural gas at a proposed site (the Rio Grande LNG Terminal)
 along the Brownsville Ship Channel (BSC) in Cameron County, Texas. In Docket No. CP16-
 455-000, RB Pipeline requests a Certificate of Public Convenience and Necessity (Certificate)
 pursuant to Section 7(c) of the NGA and Part 157 of the Commission’s regulations to site,
 construct, operate, and maintain a new pipeline system (the Rio Bravo Pipeline or Pipeline
 System) and related facilities in Jim Wells, Kleberg, Kenedy, Willacy, and Cameron Counties,
 Texas. Collectively, RG LNG and RB Pipeline are called RG Developers; the Rio Grande LNG
 Terminal and the Rio Bravo Pipeline are collectively called the Rio Grande LNG Project
 (Project).

         The purpose of this environmental impact statement (EIS) is to inform FERC decision-
 makers, the public, and the permitting agencies about the potential adverse and beneficial
 environmental impacts of the proposed Project and its alternatives, and recommend mitigation
 measures that would reduce adverse impacts to the extent practicable. We1 prepared this EIS to
 assess the environmental impacts associated with construction and operation of the Project as
 required under the National Environmental Policy Act of 1969, as amended (NEPA). Our
 analysis is based on information provided by RG Developers, and further developed from data
 requests; field investigations; scoping; literature research; contacts with or comments from
 federal, state, and local agencies; and comments from individual members of the public.

         The FERC is the lead agency for the preparation of the EIS. The U.S. Army Corps of
 Engineers (COE), U.S. Coast Guard (Coast Guard), U.S. Department of Energy (DOE), U.S.
 Department of Transportation’s (DOT) Pipeline and Hazardous Materials Safety Administration
 and Federal Aviation Administration (FAA), the U.S. Fish and Wildlife Service (FWS), the
 National Park Service (NPS), the U.S. Environmental Protection Agency (EPA), and the
 National Oceanic and Atmospheric Administration – National Marine Fisheries Service (NMFS)
 are participating in the NEPA review as cooperating agencies.2

 PROPOSED ACTION

          RG Developers’ stated purpose of the Rio Grande LNG Project is to develop, own,
 operate, and maintain a natural gas pipeline system and a liquefied natural gas (LNG) export
 facility in South Texas that provides an additional source of firm, long-term, and competitively
 priced LNG to the global market. The Project is intended to access natural gas from the Agua
 Dulce hub area and would also provide LNG for truck transport and for fueling operations. Any
 exports would be consistent with authorizations from the DOE. The DOE granted an

 1
        We,” “us,” and “our” refer to the environmental and engineering staff of the FERC’s Office of Energy Projects.
 2
        A cooperating agency is an agency that has jurisdiction over all or part of a project area and must make a decision on a
        project, and/or an agency that provides special expertise with regard to environmental or other resources.



                                                          ES-1                                          Executive Summary
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 authorization to RG LNG for export to countries having a free trade agreement with the United
 States that includes national treatment for trade in natural gas on August 17, 2016. An
 application for export to non-free trade agreement nations is pending the DOE’s review of RG
 LNG’s application, which was filed on December 23, 2015.

 Rio Grande LNG Terminal

          The Rio Grande LNG Terminal would be located on about 750.4 acres of a 984.2-acre
 parcel of land along the northern shore of the BSC in Cameron County, Texas,3 approximately
 9.8 miles east of Brownsville and about 2.2 miles west of Port Isabel. The Project, which is
 currently expected to begin operations in Year 4 of construction, would produce a nominal
 capacity of about 27 million tons per annum of LNG during its minimum 20-year life (which
 could be extended to a 50-year life). The LNG Terminal would include the following major
 facilities:

        •    six liquefaction trains, each with a liquefaction capacity of 4.5 million tons per annum
             of LNG for export;

        •    four full-containment LNG storage tanks, each with a net capacity of 180,000 cubic
             meters;

        •    docking facilities for two LNG carriers and a turning basin;

        •    LNG truck loading facilities with four loading bays; and

        •    RB Pipeline’s Compressor Station 3, a metering site, and the interconnection to the
             Pipeline System.

 Rio Bravo Pipeline System

         The LNG Terminal would receive natural gas via the proposed Rio Bravo Pipeline
 System, which would connect the LNG Terminal to the existing infrastructure near the Agua
 Dulce hub4 Nueces County. The Pipeline System would include a 42-inch-diameter Header
 System, which would include dual pipelines for the first 0.8 mile of its route, and dual 42-inch-
 diameter mainline pipelines (individually identified as Pipeline 1 and Pipeline 2). The Header
 System would be about 2.4 miles of pipeline in Kleberg and Jim Wells Counties that would
 collect gas from six existing pipeline systems for transport into Pipelines 1 and 2. Pipelines 1
 and 2 would be about 135.5 miles long, originate in Kleberg County, and transit through Kenedy,
 Willacy, and Cameron Counties before terminating at Compressor Station 3 within the
 boundaries of the LNG Terminal. RB Pipeline proposes three compressor stations and two
 interconnect booster compressor stations along the Pipeline System. The Pipeline System, when
 complete, would provide the Rio Grande LNG Terminal with about 4.5 billion cubic feet per day
 of gas. Although the Header System and Pipeline 1 are proposed to be constructed at the same

 3
        All Project locations referred to in this EIS (including towns, counties, and other municipalities) are within the state of
        Texas, unless specifically stated otherwise.
 4
        A natural gas hub is an interconnection of two or more pipelines that allows the transfer of gas.



                                                            ES-2                                            Executive Summary
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 time, Pipeline 2 would be constructed on a separate schedule (approximately 18 months after the
 completion of Pipeline 1) to accommodate the staged construction of the LNG Terminal;
 therefore, RB Pipeline estimates that Pipeline 1 would begin operation in Year 4 of construction,
 concurrent with the LNG Train 1.

 PUBLIC INVOLVEMENT

         On March 20, 2015, RG Developers filed a request with the FERC to use our pre-filing
 review process. This request was approved on April 13, 2015, and pre-filing Docket No. PF15-
 20-000 was established in order to place information filed by RG Developers, documents issued
 by the FERC, as well as comments from the public, agencies, Native American tribes,
 organizations, and other stakeholders into the public record. RG Developers held open houses in
 Kingsville, Raymondville, and Brownsville on May 19, 20, and 21, 2015, respectively, to
 provide information to the public about the Rio Grande LNG Project. FERC staff participated in
 the meetings, describing the FERC process and providing those attending with information on
 how to file comments with the FERC.

        On July 23, 2015, the FERC issued a Notice of Intent to Prepare an Environmental
 Impact Statement for the Planned Rio Grande LNG Project and Rio Bravo Pipeline Project,
 Request for Comments on Environmental Issues, and Notice of Public Scoping Meetings. This
 notice was sent to about 720 interested parties including federal, state, and local officials; agency
 representatives; conservation organizations; Native American tribes; local libraries and
 newspapers; and property owners in the vicinity of the proposed Project. Publication of the
 Notice of Intent established a 30-day public scoping period for the submission of comments,
 concerns, and issues related to the environmental aspects of the Project. In addition, in July and
 August 2015, we met with representatives of interested agencies, including the FWS, COE,
 Coast Guard, NMFS, NPS, and the Texas Parks and Wildlife Department (TPWD) and
 conducted a site visit at the LNG Terminal site.

         During the scoping period, we received comments on a variety of environmental issues.
 Substantive environmental issues identified through this public review process are addressed in
 this EIS. The transcripts of the public scoping meetings and all written comments are part of the
 FERC’s public record for the Rio Grande LNG Project and are available for viewing on the
 FERC internet website (http://www.ferc.gov).5

         On October 12, 2018, we issued a Notice of Availability of the Draft Environmental
 Impact Statement for the Proposed Rio Grande LNG Project. This notice, which was published
 in the Federal Register, listed the date and locations of public comment sessions and established
 a closing date of December 3, 2018, for receiving comments on the draft EIS. Copies of the
 notice were mailed to 3,253 stakeholders. The EPA noticed the draft EIS in the Federal Register
 on October 18, 2018. We held three public comment sessions in the Project area to solicit and
 receive comments on the draft EIS. These sessions were held on November 13, 14, and 15,
 2018, in Kingsville, Raymondville, and Port Isabel, respectively. The sessions provided the

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        To access public documents on the FERC website, use the “eLibrary” link, select “General Search” from the eLibrary
        menu, and enter the docket number, excluding the last three digits, in the “Docket Number” field (i.e., PF15-20). Be
        sure to select an appropriate date range.



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 public an opportunity to present oral comments directly to FERC staff (which were recorded by a
 court reporter) on the environmental analysis presented in the draft EIS. A total of 63
 individuals provided oral comments. We also received 861 comment and form letters from
 federal agencies, companies/organizations, and individuals in response to the draft EIS.
 Transcripts from the public sessions, as well as written comment letters, were entered into the
 public record and are available for viewing on FERC’s eLibrary website (www.ferc.gov).6 All
 substantive environmental comments on the draft EIS have been addressed in this final EIS. In
 addition, issues raised in the comments and our responses are provided in appendix R of this
 final EIS.

 PROJECT IMPACTS

          We evaluated the potential impacts of construction and operation of the Project on
 geology; soils; water use and quality; wetlands; vegetation; wildlife, aquatic resources, and
 essential fish habitat (EFH); threatened, endangered, and other special-status species; land use,
 recreation, and visual resources; socioeconomics; cultural resources; air quality and noise;
 reliability and safety; and cumulative impacts. Where necessary, we recommend additional
 mitigation to minimize or avoid these impacts. Section 5 of the EIS contains a compilation of
 our recommendations.

         Overall, construction and installation of facilities for the Project would require temporary
 disturbance of about 3,633.2 acres of land. Following construction, the LNG Terminal site and
 pipeline facilities would encompass about 2,149.2 acres. The remaining 1,484.0 acres would
 return to pre-construction conditions and uses. Based on our analysis, scoping, and agency
 consultations, the major issues are impacts on surface water resources; wetlands; wildlife and
 aquatic resources; threatened and endangered species; land use, recreation, and visual resources;
 socioeconomics; cultural resources; air quality; noise; reliability and safety; and cumulative
 impacts.

 Surface Water Resources

         The proposed LNG Terminal site is on the north shore of the BSC, a man-made, marine
 navigation channel that connects to the Gulf of Mexico. The BSC, along with its Entrance
 Channel and Jetty Channel, form the Brazos Island Harbor. As a separate federal action, the
 COE has determined that deepening the Brazos Island Harbor from its current depth of -42 feet
 relative to mean lower low water (MLLW) to -52 feet MLLW would be in the national interest
 and would not result in significant environmental impacts (COE 2014); however, the deepening
 has not yet begun. The western boundary of the LNG Terminal site is the Bahia Grande
 Channel, which was constructed in 2005 to connect the BSC to the Bahia Grande to restore tidal
 exchange to the Bahia Grande (FWS 2015a); this channel is proposed for future widening from
 its current 34-foot width to a 250-foot width to increase tidal exchange (Ocean Trust 2009, FWS
 2010a).



 6
        The public meeting transcripts are available on FERC’s elibrary website (see accession numbers 20190102-4002,
        20190102-4003, and 20190102-4005).



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         Construction and operation of the LNG Terminal would result in permanent impacts on
 174.8 acres of open water, including impacts on the BSC and an open water lagoon within the
 LNG Terminal site. A total of 75.8 acres of open water would be converted to
 industrial/commercial land for construction of the LNG Terminal, and an additional 68.7 acres of
 open water within the BSC would be dredged for the material offloading facility (to a maximum
 depth of -12 feet MLLW) and for the marine berths and turning basin (to a maximum depth of
 -45 feet MLLW). The remainder (30.2 acres) would be modified to create the firewater canal or
 marine facilities. RG LNG would be required to mitigate for the permanent loss of open water
 resources and proposes to preserve open water within an off-site wetland mitigation area about 1
 mile south of the Project.

         Dredging, which would be conducted by hydraulic cutter suction or mechanical dredge,
 would result in increased suspended solid and turbidity levels in the BSC. The dredged material
 would be dominated by cohesive clay sediments and would settle within a few hours after
 dredging (COE 2014). All dredging would be conducted using equipment designed to meet the
 Texas state water quality standards and in accordance with applicable COE permit requirements.
 Disposal of dredged material would be conducted in accordance with RG LNG’s draft Dredged
 Material Management Plan, as finalized; however, the final management of dredged material
 would be determined by the Brownsville Navigation District and COE, in consultation with other
 federal, state, and local resource agencies and interested stakeholders, including the EPA,
 NMFS, FWS, and Texas Commission on Environmental Quality (TCEQ). Impacts on surface
 water quality would be adequately mitigated through adherence to applicable COE permits and
 requirements for dredging and dredged material management. We conclude that dredging and
 dredged materials placement for construction of the LNG Terminal would have temporary and
 minor impacts on water quality.

         RG LNG estimates that 880 barges and support vessels would deliver construction
 materials and equipment to the material offloading facility and Port of Brownsville during LNG
 Terminal construction. During operation, about 312 LNG carriers would call on the LNG
 Terminal per year (about 6 LNG carriers per week). Vessel traffic during construction and
 operation could increase shoreline erosion and suspended sediment concentrations due to
 increased wave action. To minimize these impacts, the channel embankments and slope of the
 LNG Terminal site along the BSC, the marine loading berths, and the turning basin would be
 stabilized using rip-rap. Although FERC does not have jurisdiction over the transit of LNG
 carriers through the BSC, final permitting for the Brazos Harbor Channel Improvement Project
 should account for the impacts of these larger vessels on the stability of unarmored shorelines
 due to vessel passage and reflective wave energy.

         The Pipeline System would cross 63 waterbodies, including 21 perennial streams, 19
 intermittent streams, 10 ephemeral streams, and 13 ponds and reservoirs. These waterbodies
 would be crossed using various methods, including open cut, conventional bore, and horizontal
 directional drill (HDD). No active surface water intakes for public water supply are within 3
 miles downstream of the Pipeline System or LNG Terminal. The Pipeline System would cross
 two waterbodies regulated by the International Boundary and Water Commission, and RB
 Pipeline is developing site-specific HDD crossing plans for these waterbodies that would adhere
 to the International Boundary and Water Commission’s criteria.



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          RB Pipeline would minimize potential impacts on surface waters by implementing its
 Project-specific Wetland and Waterbody Construction and Mitigation Procedures (Procedures)
 and utilizing trenchless crossing methods for 26 of the 34 waterbodies anticipated to be flowing
 at the time of construction. Following construction of each waterbody crossing, waterbody
 contours would be restored to pre-construction conditions, and riparian areas would be
 revegetated using native grasses, legumes, and woody species and allowed to return to pre-
 construction conditions. With implementation of the Procedures; Stormwater Pollution
 Prevention Plan; and Spill Prevention, Control, and Countermeasures Plans; we conclude that
 impacts on water resources would be adequately minimized.

 Wetlands

         Construction of the Project would affect a total of 327.7 acres of wetlands, of which
 182.4 acres would be permanently converted to industrial land or open water within the footprint
 of the LNG Terminal, and 107.3 acres would be maintained in an herbaceous wetland state
 within the permanent right-of-way for the pipelines. The remaining 38.0 acres would be allowed
 to revert to pre-construction conditions. RG Developers would implement the mitigation
 measures in their Procedures to control erosion and restore the grade and hydrology after
 construction in wetlands. However, in accordance with the Project-specific Procedures, RB
 Pipeline would consult with the COE to develop a Project-specific wetland restoration plan. RG
 LNG is also developing a plan to mitigate for wetland impacts; its Conceptual Mitigation Plan
 identifies the potential to acquire and preserve a portion of the Loma Ecological Preserve in
 perpetuity, and to transfer the land to a land manager, such as the FWS. The COE has not
 approved RG LNG’s Conceptual Mitigation Plan and is working with RG Developers, in
 conjunction with the FWS, EPA, and the TPWD, to revise the proposed mitigation measures as
 appropriate. Construction of the LNG Terminal would not commence prior to finalization of
 wetland mitigation plans and issuance of the COE’s Clean Water Act Section 404/Section 10
 permit.

         RG LNG originally proposed to use a temporary haul road for construction to transport
 fill material from the Port Isabel dredge pile. We reviewed RG LNG’s proposal and determined
 that construction of the temporary haul road through wetlands was not adequately justified. We
 therefore recommended in the draft EIS that RG LNG conduct a feasibility assessment for
 transporting fill material from the Port Isabel dredge pile (if necessary) to the LNG Terminal site
 via the existing system of roads or via barges. As a result of our recommendation in the draft
 EIS, RG LNG is no longer pursuing use of the temporary haul road, thus the associated wetland
 impacts would be avoided.

        With adherence to measures contained in the Project-specific Procedures and applicable
 COE permits, impacts on wetlands would be reduced, with the majority of adverse permanent
 impacts occurring at the LNG Terminal site. We anticipate that the COE’s Clean Water Act
 Section 404/Section 10 permit for the Project would be conditioned to effectively offset the




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 Project-related adverse impacts on waters of the United States by wetland mitigation, such that
 impacts would be reduced to less than significant levels.

 Wildlife and Aquatic Resources

          A total of about 3,220.1 acres of wildlife habitat would be within the footprint of the
 LNG Terminal and pipeline facilities; of this, 2,055.9 acres would be within the operational
 footprint of the Project (including 737.8 acres that would be permanently converted to developed
 land at the LNG Terminal site). Wildlife would be directly displaced from the LNG Terminal
 footprint, and some wildlife may be indirectly displaced within a larger area due to the increase
 in noise and lighting during construction and operation of the LNG Terminal. In response to
 comments on the draft EIS regarding concern over facility lighting, we recommend that RG
 Developers finalize Project lighting plans in coordination with the FWS and TPWD to minimize
 potential effects on wildlife. The direct loss of habitat and the indirect effects associated with
 displacement indicate that the construction and operation of the proposed LNG Terminal would
 result in a minor to moderate, permanent impact on local wildlife. Construction and operation of
 the Pipeline System would generally be short-term and limited to the construction period.

         The proposed Project is within the migratory bird Central Flyway, which generally
 covers the central portion of North America and into Central America. South Texas acts as a
 funnel for migratory birds as they try to avoid flying too far east (into open Gulf waters) or west
 (into desert habitat). RG LNG proposes measures to avoid or minimize impacts on migratory
 birds and has developed a Migratory Bird Conservation Plan outlining these measures, which it
 would implement, as practicable, during construction of the Project. RB Pipeline would also
 implement measures in this plan if vegetation clearing along the Pipeline System would take
 place during the bird nesting period between March 1 and August 31. Because of the high use of
 habitat at the LNG Terminal by migratory birds (including birds of conservation concern), we
 agree that the measures in RG LNG’s Migratory Bird Conservation Plan are appropriate, and we
 recommend that the plan be finalized in consultation with the FWS and TPWD. We have also
 determined that the overall increase in nighttime lighting during operation of the proposed
 Project would result in permanent, but minor impacts on resident or migratory birds.

         Construction of the Rio Grande LNG Project would result in minor impacts on aquatic
 resources due to water quality and noise impacts and direct mortality of some immobile
 individuals during dredging for the LNG Terminal and installation of the Pipeline System across
 waterbodies. During operations, the Project would have minor impacts on aquatic resources due
 to maintenance dredging and increased marine vessel traffic. Permanent impacts on aquatic
 habitat would result where open water would be converted to industrial/commercial land within
 the LNG Terminal site and where dredging would convert existing wetlands and mudflats to
 open water. Portions of the BSC, the channel to San Martin Lake, the Bahia Grande Channel,
 and the water column at potential dredged material disposal sites have been designated as
 habitats that function as EFH. Although the construction activities would result in the alteration
 of habitat and the mortality or displacement of individuals, the impacts on EFH and the species
 and life stages that utilize EFH would be temporary and minor. Consultation under the
 Magnuson Stevens Fishery Conservation and Management Act is complete, and given the




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 temporary, minor impacts on EFH, NMFS does not have EFH conservation recommendations for
 the Project.

 Threatened, Endangered, and Other Special-status Species

          A total of 25 species that are federally listed as threatened or endangered, or those that
 are candidates, proposed, or under review for listing, may occur in counties affected by the
 Project. Within these counties, or offshore of them, critical habitat has been designated for two
 species, the piping plover and the loggerhead sea turtle. We determined that the Project would
 have no effect on one federally listed and one candidate species, is not likely to adversely affect
 19 federally listed (or proposed) species, and would not result in a trend towards federal listing
 for two species (one candidate and one that is under review). We have also determined that the
 Project would not be likely to destroy or adversely modify designated critical habitat for the
 piping plover or loggerhead sea turtle. Our not likely to adversely affect determinations for the
 West Indian manatee and federally listed plants are based on our recommendations to conduct
 appropriate training and complete applicable surveys, respectively. Similarly, our not likely to
 adversely affect determination for the northern aplomado falcon is related to nest identification,
 monitoring, and implementation of best management practices for the species, but also accounts
 for its coverage under a Safe Harbor Agreement that allows development (and take) in the
 Project area. As RG Developers have committed to multiple mitigation measures for the
 protection of federally and state listed species (e.g., implementing biological monitors,
 following agency-recommended best management practices), we have also recommended that
 RG Developers file documentation demonstrating that such measures have been incorporated
 into its environmental training program.

          We have determined that the Project is likely to adversely affect the ocelot and the Gulf
 coast jaguarundi. The ocelot breeds in two locations in South Texas, including the vicinity of
 the proposed pipelines in Kenedy and Willacy Counties, as well as in the Laguna Atascosa
 National Wildlife Refuge, adjacent to the LNG Terminal. Direct and indirect impacts on the
 ocelot’s preferred habitat (upland shrub habitat, particularly with thornscrub vegetation) would
 result from Project construction and operation. Within the lower Laguna Atascosa National
 Wildlife Refuge, indirect impacts on the ocelot may occur from an increase in ambient sound
 levels, which may also render suitable habitat unattractive to ocelots. In addition, suitable
 habitat would be lost within the LNG Terminal site boundaries, and potentially along the
 pipeline route. The loss of suitable habitat, through either direct or indirect pathways, has the
 potential to result in significant impacts on ocelots and ocelot recovery. Although there is a
 lack of confirmed sightings for the jaguarundi in the Project area, its range and habitat usage
 overlaps that of the ocelot and, if present in the area, the jaguarundi would experience impacts
 similar to those discussed for the ocelot. Final mitigation requirements would be determined by
 FWS in its Biological Opinion and through completion of the Endangered Species Act Section
 7 consultation process. Because consultation with the FWS and NMFS is ongoing, we
 recommend completion of any necessary Endangered Species Act consultation with these
 agencies prior to construction.




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 Land Use, Recreation, and Visual Resources

         Land use in the vicinity of the Project is generally classified into the following categories:
 shrub/forest land, open land, non-forested wetlands, barren, open water, industrial/commercial,
 and agricultural. Installation of facilities for the Project would require temporary disturbance of
 about 3,633.2 acres of land. Following construction, the LNG Terminal site and permanent
 rights-of-way would encompass about 2,149.2 acres. The remaining 1,484.0 acres would return
 to pre-construction conditions and uses. There are no residences within 0.25 mile of the LNG
 Terminal, compressor stations, or booster stations, or within 50 feet of the Pipeline System. Two
 residential structures are within 50 feet of proposed access roads; however, these roads are
 existing and would not be modified for Project use.

         Twelve recreation/special use areas are within 0.25 mile of the proposed Project (two
 National Wildlife Refuges, one National Historic Landmark, one public boat launch/fishing pier,
 four birding trails, one land acquisition project, and three conservation easement areas under the
 Conservation Reserve Program). All of these recreation/special use areas, with the exception of
 the Laguna Atascosa and Lower Rio Grande Valley National Wildlife Refuges, would be directly
 affected by construction of the pipelines. However, construction of the Pipeline System would
 last only a few weeks in any one area, except at 19 discrete locations (including areas adjacent to
 recreation/special use areas) where up to 10 weeks would be required for crossings accomplished
 by HDD; therefore, impacts would be temporary.

          In addition to the special use areas, recreational boating and fishing activities occur
 within the BSC, Bahia Grande Channel, and San Martin Lake (west of the LNG Terminal site)
 and could be affected by construction and operation of the LNG Terminal due to increased noise,
 restrictions on fishing in the immediate vicinity of the LNG Terminal, and LNG and barge vessel
 traffic. Increased noise associated with construction of the Project could deter recreational users
 from fishing in the immediate vicinity of Project activities. In particular, dredging activities,
 which would occur 24 hours per day, 7 days per week, during a two-week period, and land- and
 water-based pile-driving which would occur at discrete points during construction for periods as
 short as a few days to as long as 5 months, could result in avoidance of these areas by
 recreational users. In addition, construction of the Pipeline System across the Jamie J. Zapata
 Memorial Boat Ramp, Fishing Pier, and Kayak Launch Pad (Zapata boat launch) would be
 accomplished by HDD, and could take up to 10 weeks. As a result, we have determined that
 there would be moderate impacts on recreational use of the Zapata boat launch during
 construction of the Pipeline System.

          The viewshed of the proposed Project includes predominately large parcels of open land
 with herbaceous or scrub-shrub vegetation supporting ranch and cattle operations, as well as
 numerous easements for oil and gas pipelines. The BSC and State Highway (SH) 48 frame the
 southern and northern boundaries of the LNG Terminal, respectively. The movement of
 domestic and foreign products on the channel and motorists on the highway contribute to the
 characterization of the existing viewshed. No state-designated scenic byways or roads classified
 under the National Scenic Byways Program (23 U.S. Code [USC] 162) would be crossed. Given
 the siting of the LNG Terminal, no residences are proximal to the proposed construction work
 areas; however, the nature of the existing landscape (e.g., open land with limited vegetation)
 allows for extended views from greater distances.


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         Permanent changes to the visual character of the area would result from operation of the
 aboveground structures, most notably the LNG Terminal, which would modify the viewshed.
 The most prominent visual features at the LNG Terminal site would be four LNG storage tanks.
 Daytime visibility of the LNG Terminal would be mitigated by the use of grey coloring for the
 tanks, horticultural plantings, and the construction of a levee that would obstruct most
 construction activities and low-to-ground operational facilities from view. RG LNG is also
 proposing the use of ground flares, which would be partially obstructed by a 67-foot-high
 vertical wall. To further minimize visual impacts, lighting at the LNG Terminal would be
 limited to that required for safety and RG LNG would use directional lighting.

          Numerous public comments identified concerns with the visual impact of the LNG
 Terminal to surrounding communities, specifically including Port Isabel and South Padre Island.
 Based on our review of visual simulations conducted by RG LNG, most public vantage points
 (e.g., the Port Isabel lighthouse, historic battlegrounds/landmarks, Isla Grand Hotel) are at a
 distance far enough away from the LNG Terminal site that impacts on the viewshed would be
 permanent, but negligible or minor. Visual receptors within nearby waters north of the LNG
 Terminal site, such as Laguna Madre, would be at lower elevations and/or far enough away such
 that the nearby shoreline areas would obscure the LNG Terminal site. Visual receptors at
 locations closer to the LNG Terminal site (e.g., SH-48, the Bahia Grande Channel, and the
 Zapata boat launch), would be able to discern individual structures; however, these receptors
 would generally not be stationary and therefore would have a short viewing time (i.e., until the
 vehicle or vessel passes the site).

         A portion of the Project is within the designated coastal zone, which is managed by the
 Railroad Commission of Texas through the Texas Coastal Management Program (CMP). The
 boundaries of the state’s coastal zone include all or parts of 18 coastal counties, including
 Willacy and Cameron Counties. The purpose of the Texas CMP is to manage designated coastal
 natural resource areas. RG Developers submitted their application and request for consistency
 review to the Railroad Commission of Texas on April 10, 2018. We recommend that, prior to
 construction, RG Developers file documentation of concurrence from the Railroad Commission
 of Texas that the Project is consistent with the Texas CMP.

 Socioeconomics

         Construction of the Project would generally have a minor impact on local populations,
 employment, housing, provision of community services, and property values. There would not
 be any disproportionately high or adverse environmental and human health impacts on low-
 income and minority populations from construction or operation of the Project. No residences or
 businesses would be displaced as a result of construction or operation of the LNG Terminal or
 pipeline facilities.

         Construction of the LNG Terminal would require an average monthly construction
 workforce of 2,950 workers (peak of 5,225 workers) over the 7-year construction period; RG
 LNG anticipates that 30 percent of these workers would be hired locally. Construction of the
 pipeline facilities would require an average workforce of between 760 and 1,240 workers (peak
 of 1,500 workers) over two, non-consecutive 12-month periods, of which 90 percent would be
 non-local. Vehicular traffic associated with these workers would result in considerable increases


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 in local traffic, specifically along SH-48 during construction of the LNG Terminal, but traffic
 levels would remain well within the capacity of the roadway. Permanent, moderate increases in
 marine traffic within the BSC would occur as the addition of six LNG carriers per week would
 double the current volume of large vessel traffic within the BSC; however, the Coast Guard has
 determined that the waterway is suitable for Project use.

        Construction of the Rio Grande LNG Project would stimulate the economy through an
 estimated $22.4 billion in direct expenditures by RG Developers and annual operating direct
 expenditures of $2.1 billion. Indirect and induced effects of the Project, including additional
 demands for goods and services and the spending of disposable income by workers at local
 businesses, would also occur. Further, RG LNG estimates that the LNG Terminal would
 generate about $92.9 million in property taxes in the affected counties over the first 22 years of
 operation (inclusive of applicable tax abatements). These expenditures and taxes would result in
 a moderate, permanent, and positive impact on the local economy.

         Construction of the Project could impact local tourism through an increase in noise,
 changes in the visual landscape, and heavier traffic along SH-48. However, given the extent of
 tourism areas (including birding areas, National Wildlife Refuges, National Historic Landmarks,
 and beaches) and the distance of many of the recreational portions of the areas from the LNG
 Terminal site and Pipeline System, neither construction nor operation would be expected to
 significantly impact tourism at these locations. Waterborne tourism (e.g., fishing, charter, and
 tour boats), in portions of South Bay, the Zapata boat launch, and within the Bahia Grande would
 likely experience moderate increases in ambient noise during certain construction activities at the
 LNG Terminal, potentially changing visitation patterns immediately adjacent to the LNG
 Terminal but likely not the total number of visits to the general Project area. In addition, boaters
 may experience minor impacts resulting from potential delays in launching during periods of
 LNG carrier transit.

 Cultural Resources

         Two National Historic Landmarks are located within or near the extended 12-mile study
 area, including the Palmito Ranch Battlefield (4.1 miles from the LNG Terminal site) and the
 Palo Alto Battlefield (about 12 miles from the LNG Terminal site). Viewshed and noise
 assessments conducted by RG Developers indicated that visual impacts on the battlefields would
 be moderate (Palmito Ranch) and minor (Palo Alto) and that noise from construction and
 operation would not be audible. On March 19, 2018, the State Historic Preservation Office
 (SHPO) commented that visibility of the Project from identified historic resources in the area is
 limited, and that the proposed lighting design should help limit the Project impacts on the
 Palmito Ranch Battlefield National Historic Landmark. The NPS is reviewing the results of
 these assessments. In addition, about 30 miles of the Pipeline System would cross the King
 Ranch National Historic Landmark.

         RG Developers have not yet completed cultural resources surveys for the Project,
 including the portion crossing King Ranch National Historic Landmark. Once complete, if any
 historic properties would be adversely affected by the Project, we recommend that a treatment
 plan be prepared and the SHPO and the Advisory Council on Historic Preservation are afforded
 an opportunity to comment, if applicable. We recommend that RG Developers file


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 documentation of consultation with the SHPO, NPS, and Advisory Council on Historic
 Preservation prior to construction to ensure the FERC’s responsibilities under Section 106 of the
 National Historic Preservation Act are met.

 Air Quality

         Construction of the Project would result in temporary impacts on air quality associated
 with the emissions generated from fossil-fuel fired construction equipment and fugitive dust. Air
 quality impacts due to construction of the Project would generally be localized, and are not
 expected to cause or contribute to a violation of applicable air quality standards. The LNG
 Terminal and pipeline facilities would be located in areas currently classified as being in
 attainment for all criteria pollutant standards. Fugitive dust emissions would be limited or
 mitigated through implementation of RG Developers’ Fugitive Dust Control Plans. In addition,
 transport of construction materials associated with the Project could occur within the Houston-
 Galveston-Brazoria (HGB) area, which is a marginal nonattainment area for the 2015 8-hour
 ozone standard. Construction emissions from the Project occurring within the HGB area would
 not be expected to result in an exceedance of applicable general conformity thresholds for the
 HGB area.

         Long-term impacts on air quality would result from operation of the LNG Terminal,
 Compressor Stations 1, 2, and 3, and Booster Stations 1 and 2. On March 21, 2017, RG
 Developers submitted a revised application to the TCEQ for a Prevention of Significant
 Deterioration (PSD) permit for the LNG Terminal and Compressor Station 3, and the TCEQ
 issued an Order granting the PSD permit on December 17, 2018. RG Developers plan to submit
 the Title V permit application for the LNG Terminal and Compressor Station 3 prior to
 beginning construction. Compressor Stations 1 and 2 and Booster Stations 1 and 2 would require
 state minor source permits; RB Pipeline submitted state permit applications for these facilities on
 March 24, 2017, and the permits were approved in June 2017. The annual emissions of
 greenhouse gases for the LNG Terminal (including Compressor Station 3) and Compressor
 Stations 1 and 2 would exceed 25,000 metric tons per year, thus these facilities would be subject
 to mandatory greenhouse gas reporting.

        RG Developers estimated pollutant concentrations in the vicinity of the Project for
 comparison with the National Ambient Air Quality Standards (NAAQS). The analysis for all
 pollutants at the LNG Terminal (including Compressor Station 3, mobile LNG carrier, and
 support vessel emissions) showed that the facility would not cause or significantly contribute to
 an exceedance of the NAAQS. RG LNG and the TCEQ also performed ozone modeling
 analyses to quantify the potential impacts of the Project on ozone concentrations in the
 surrounding area. Both analyses determined that the addition of the modeled Project impacts on
 background concentrations would not exceed the 70 parts per billion 2015 ozone NAAQS.
 Further, the results the State Health Effects modeling evaluation required by the TCEQ for the
 LNG Terminal indicate that the Project emissions are below applicable effects screening levels,
 and therefore adverse health effects are not expected. Similarly, ambient pollutant concentration
 modeling for Compressor Stations 1 and 2 and the booster stations showed that these facilities
 would not cause or significantly contribute to an exceedance of the NAAQS.




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        RG Developers would minimize operational impacts on air quality by adhering to
 applicable federal and state regulations as required in their air permit applications to the TCEQ.
 However, concurrent emissions from staged construction, commissioning and start-up, and
 operation of the LNG Terminal would temporarily impact local air quality, and could result in
 exceedances of the NAAQS in the immediate vicinity of the LNG Terminal during these
 construction years. These exceedances would not be persistent at any one time during these
 years due to the dynamic and fluctuating nature of construction activities within a day, week, or
 month.

         Based on our independent review of the analyses conducted and mitigation measures
 proposed, we conclude that construction of the Project would result in elevated emissions near
 construction areas and would impact local air quality. However, construction emissions would
 not have a long-term, permanent effect on air quality in the area. Operation of the Project would
 have minor impacts on local and regional air quality. Given the mitigation measures proposed
 by RG Developers, and air quality controls and monitoring requirements that would be included
 in the Title V/PSD permits for the facilities, the Project would not result in regionally significant
 impacts on air quality.

 Noise

          The most prevalent noise-generating equipment and activity during construction of the
 LNG Terminal is anticipated to be pile-driving, although internal combustion engines associated
 with general construction equipment and dredging would also produce noise that would be
 perceptible in the vicinity of the site. With the exception of dredging, construction at the LNG
 Terminal site would take place during daytime hours. RG LNG plans to use both impact-type
 and vibratory pile-drivers during construction of the LNG Terminal, and pile-driving would be
 conducted both on land and in water. Pile-driving could produce peak sound levels in the event
 that three pile-drivers operate simultaneously that result in an increase of greater than 10 decibels
 (dB) over ambient levels at the nearest noise sensitive area (NSA). As a result, we recommend
 that RG LNG monitor pile-driving, file weekly noise data, and implement mitigation measures in
 the event that measured noise impacts are greater than 10 dB over ambient levels at the NSAs.
 Estimated noise levels for site preparation and facility construction (including intermittent pile-
 driving during which all three pile-drivers do not operate simultaneously) are not estimated to
 result in significant impacts on NSAs in the LNG Terminal vicinity.

          Installation of the pipeline facilities would include noise from internal combustion
 engines associated with typical pipeline and aboveground facility construction, as well as HDD
 activities. Construction noise would be temporary and would vary as construction progresses
 along the Pipeline System corridor. While most construction activity would occur during
 daytime hours, RB Pipeline indicated that some specialized construction activities could occur
 during nighttime hours (such as at HDDs, operation of pumps at dry-ditch waterbody crossings,
 hydrostatic testing, and tie-ins).

         RB Pipeline conducted an HDD acoustical impact assessment, which found that sound
 levels for 24-hour HDD operations would exceed FERC’s noise criterion of a day-night noise
 level of 55 dB on the A-weighted scale at NSAs near seven proposed HDDs. While RB Pipeline
 has identified potential mitigation measures to reduce sound levels during HDD construction, the


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 site-specific measures that would be implemented at each location have not been identified.
 Therefore, we recommend that RB Pipeline prepare a noise mitigation plan for each NSA where
 HDD noise would exceed FERC’s noise criterion, and that these plans be implemented during
 construction.

          Operation of the LNG Terminal, and compressor, meter, and booster stations would
 produce noise on a continual basis during the lifetime of the facilities. The results of the noise
 impact analysis indicate that the noise attributable to construction and operation of the LNG
 Terminal would be lower than the FERC noise criteria at the nearest NSAs, and the predicted
 increases in ambient noise would be below perceptible levels. The results of the noise impact
 analysis conducted for the compressor and booster stations indicates that operation of these
 facilities would not generate noise that exceeds FERC noise level requirements at the nearest
 NSAs. To ensure that NSAs are not significantly affected by noise during operations, we
 recommend that RG Developers conduct post-construction noise surveys after each noise-
 producing unit (e.g. each liquefaction train and compressor) is placed into service and once the
 entire LNG Terminal (including Compressor Station 3) is placed into service. In addition, no
 NSAs are within 1 mile of the stand-alone meter stations proposed for the Project; therefore,
 operation of these facilities is not expected to result in perceptible noise impacts at any NSAs.

         While construction of the Rio Grande LNG Project would result in localized minor to
 moderate elevated noise levels near construction areas, impacts would be limited to the
 construction period for the Project. During operations, noise impacts would be minor at the
 aboveground facilities along the Pipeline System and at the NSAs in the vicinity of the LNG
 Terminal. Based on the analyses conducted, mitigation measures proposed, and with our
 additional recommendations, we conclude that construction and operation of the Project would
 not result in significant noise impacts on residents and the surrounding communities.

 Reliability and Safety

         As part of the NEPA review, Commission staff assessed the potential impact on the
 human environment in terms of safety and whether the proposed facilities would operate safely,
 reliably, and securely.

         As a cooperating agency, the DOT advises the Commission on whether RG LNG’s
 proposed design would meet the DOT’s Title 49 of the Code of Federal Regulations, Part 193
 Subpart B (49 CFR 193 Subpart B) siting requirements. On March 26, 2019, the DOT provided
 a Letter of Determination on the Project’s compliance with 49 CFR Part 193 Subpart B.7 This
 determination was provided to the Commission for consideration in its decision on the Project
 application. If the Project is authorized, constructed, and operated, the facility would be subject
 to the DOT’s inspection and enforcement program; final determination of whether a facility is in
 compliance with the requirements of 49 CFR 193 would be made by the DOT staff.

        Furthermore, DOT’s 49 CFR 192 requirements would apply to the Valley Crossing
 Pipeline that is routed through the northern part of the proposed LNG Terminal site. FERC staff,

 7
        March 26, 2019 letter “Re: Rio Grande LNG Terminal, Docket No. CP16-454-000, 49 CFR, Part 193, Subpart B,
        Siting – Letter of Determination.” Filed in Docket Number CP16-454-000 on March 27, 2019. FERC eLibrary
        accession number 20190327-3003.


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 in consultation with DOT, has evaluated the potential risk and impact from an incident on the
 Valley Crossing Pipeline. Based on DOT Pipeline and Hazardous Materials Safety
 Administration’s incident data, the likelihood of a pipeline incident or failure would be low, and
 a worst-case pipeline rupture scenario would be even less likely.

         As a cooperating agency, the Coast Guard also assisted the FERC staff by reviewing the
 proposed LNG Terminal and the associated LNG marine carrier traffic. The Coast Guard
 reviewed a Waterway Suitability Assessment submitted by RG LNG that focused on the
 navigation safety and maritime security aspects of LNG carrier transits along the affected
 waterway. On December 26, 2017, the Coast Guard issued a Letter of Recommendation to
 FERC staff indicating the BSC would be considered suitable for accommodating the type and
 frequency of LNG marine traffic associated with this Project, based on the Waterway Suitability
 Assessment and in accordance with the guidance in the Coast Guard’s Navigation and Vessel
 Inspection Circular 01-11. If the Project is authorized, constructed, and operated, the LNG
 Terminal would be subject to the Coast Guard’s inspection and enforcement program to ensure
 compliance with the requirements of 33 CFR 105 and 33 CFR 127.

         As a cooperating agency, the FAA assisted FERC staff in evaluating impacts on and from
 the SpaceX rocket launch facility in Cameron County. Specific recommendations are included
 to address potential impacts from rocket launch failures on the Project. However, the extent of
 impacts on SpaceX operations, National Space Program, and to the federal government would
 not fully be known until SpaceX submits an application with the FAA requesting to launch, and
 whether the LNG Terminal is under construction or in operation at that time.

          FERC staff conducted a preliminary engineering and technical review of the RG LNG
 design, including potential external impacts based on the site location. Based on this review, we
 recommend a number of mitigation measures and continuous oversight prior to initial site
 preparation, prior to construction of final design, prior to commissioning, prior to introduction of
 hazardous fluids, prior to commencement of service, and throughout life of the LNG Terminal to
 enhance the reliability and safety of the terminal to mitigate the risk of impact on the public.
 With the incorporation of these mitigation measures and oversight, we conclude that RG LNG’s
 Terminal design would include acceptable layers of protection or safeguards that would reduce
 the risk of a potentially hazardous scenario from developing into an event that could impact the
 off-site public.

         The Pipeline System and associated aboveground facilities would be constructed,
 operated, and maintained in compliance with DOT standards published in 49 CFR 192. These
 regulations are intended to minimize the potential for natural gas facility accidents and protect
 the public and environment. The DOT specifies material selection and qualification; minimum
 design requirements; and protection from internal, external, and atmospheric corrosion. We
 conclude that the Pipeline System would not have a significant impact on public safety.

 Cumulative Impacts

        Our analysis of cumulative impacts includes other projects in the vicinity of the proposed
 Rio Grande LNG Project that could affect the same resources in the same approximate
 timeframe. Other projects in the geographic scope with the greatest potential to contribute to


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 cumulative impacts with the Rio Grande LNG Project are the proposed Annova and Texas LNG
 Terminals, both of which would be constructed along the BSC, along with each project’s non-
 jurisdictional facilities. We conclude that the proposed Project’s contribution to cumulative
 impacts is primarily associated with the LNG Terminal and not the pipeline facilities, and that
 the cumulative impact contribution of the LNG Terminal would not be significant for most
 resources. The greatest potential for cumulative impacts would be on soils, surface water
 quality, vegetation, wildlife, aquatic resources, threatened and endangered species, visual
 resources, land- and water-based transportation, tourism and commercial fisheries, air quality,
 and noise. Resources potentially subjected to moderate or significant cumulative impacts are
 discussed below.

          Construction of the proposed Project, the Texas LNG Project, and the non-jurisdictional
 facilities for the two projects are anticipated to occur concurrently, on immediately adjacent
 lands which would result in soil disturbance in succession; as the Annova LNG Terminal would
 be on the south side of the BSC, it would not contribute to cumulative impacts on soils.
 Collectively the Rio Grande LNG and Texas LNG Projects would contribute to moderate,
 permanent impacts on soils due to prolonged and delayed revegetation, and the potential for
 increased runoff and erosion from unstable soils. Similarly, if dredging were to occur in the BSC
 for multiple projects at the same time, moderate, but temporary, cumulative impacts on water
 quality and aquatic resources may occur. In addition, it is expected that significant impacts from
 increased vessel traffic would occur along unarmored portions of the BSC from increased marine
 vessel traffic related to shoreline erosion and turbidity, which would be relatively persistent
 throughout the life of the proposed LNG projects in the Brownsville area.

         The Rio Grande LNG Project and most of the other projects we identified (including, but
 not limited to, Texas LNG and Annova LNG) would be located partially or wholly within the
 same subwatershed, which is the geographic scope for vegetation, wildlife, aquatic species, and
 threatened and endangered species. Due to the relatively large proportion of the subwatershed
 that would be affected by the projects considered, as well as the low revegetation potential of the
 local soils, we have determined that the proposed LNG Terminal would contribute to moderate
 cumulative impacts on rare plant communities and vegetation. This impact on vegetation would
 also contribute to moderate impacts on wildlife species using the vegetation communities.
 Federally listed threatened and endangered species that may be subjected to moderate to
 significant cumulative impacts include sea turtles (moderate), from the combined construction
 impacts associated with dredging and in-water pile-driving; the Northern aplomado falcon
 (significant), because of past cumulative habitat loss and construction of aboveground structures
 adjacent to areas of remaining habitat; and the ocelot and jaguarundi (significant), from the loss
 and/or decrease in suitability of habitat and the potential increase in vehicular strikes during
 construction. All federally regulated projects, including all three of the proposed LNG projects
 along the BSC, are required to coordinate with the FWS to minimize impacts on federally listed
 species.

        The potential for cumulative visual impacts would be greatest if, in addition to the
 proposed LNG Terminal, the Annova LNG and Texas LNG Projects are permitted and built
 concurrently. Motorists on SH-48 (and other local roadways) and visitors to local recreation
 areas would experience a permanent change in the existing viewshed during operation of the



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 projects. We conclude that cumulative impacts of the three LNG projects on visual resources
 would be potentially significant.

        Construction of the proposed LNG Terminal and the Texas LNG Project would result in a
 substantial increase in daily vehicle trips on SH-48. Both RG LNG and Texas LNG have agreed
 to make improvements to SH-48 to ensure safe movement of traffic along the road especially
 during peak hour traffic flows and implement additional mitigation measures; however, moderate
 cumulative impacts on roadways would occur during overlapping construction.

         During operations, LNG carriers calling on the Rio Grande LNG Terminal and other
 LNG facilities along the BSC may have moving security zones that could preclude other marine
 vessels from transiting the waterway for up to 39 hours per week. Mandates for prior notice of
 expected arrivals would minimize impacts on other vessels; however, we conclude that there
 would be a moderate cumulative impact on marine vessel traffic in the BSC from overlapping
 construction and operation.

          Although the land proposed to be developed for the three Brownsville LNG projects is
 zoned for industrial use, the concurrent construction and operation of three large industrial
 facilities would result in a change of the character of the landscape that could cause some visitors
 to choose to vacation elsewhere or alter their recreation activities to destinations in the region
 that are further from the proposed Brownsville LNG project sites. In addition, increased vessel
 traffic resulting from the concurrent operation of the three Brownsville LNG projects would
 likely result in delays for commercial fishing and recreational vessels that need to transit the
 BSC. Therefore, we anticipate that cumulative impacts on tourism and commercial fisheries
 would be permanent and moderate.

         With other projects in the geographic scope, construction of the Rio Grande LNG Project
 would contribute to localized moderate elevated emissions of criteria pollutants near construction
 areas during the period(s) when construction of these activities would overlap. Operational air
 emissions from the Rio Grande LNG Project would contribute to cumulative emissions with
 other projects in the geographic scope, and would be required to comply with applicable air
 quality regulations. Overall, impacts from the Rio Grande LNG Terminal along with the other
 LNG facilities would cause elevated levels of air contaminants in the area and a potential
 exceedance of the 1-hour nitrogen dioxide NAAQS in an uninhabited area between the proposed
 LNG Project facilities. We are aware that each LNG Terminal could be constructed within the
 same time period, and the concurrent construction, commissioning, and operations emissions of
 the proposed Brownsville LNG terminals could potentially exceed the NAAQS in local areas,
 and result in cumulatively greater local air quality impacts. Along the Rio Bravo Pipeline, no
 compressor or booster stations would trigger PSD major source permitting requirements for any
 pollutants and would not cause or contribute to a NAAQS exceedance. Therefore, cumulative
 impacts on regional air quality as a result of the operation of the Rio Grande LNG Project and
 other facilities would be long-term during the operational life of the Project, but minor.

         For simultaneous construction activities at all of the three LNG projects proposed along
 the BSC, the predicted sound level increase over the existing ambient ranges from 2.2 to 9.8
 decibels on the A-weighted scale (dBA) day-night sound level (Ldn) at certain NSAs (residences)
 in the general vicinity of the projects. These noise level increases result in levels slightly over 55


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 dBA Ldn, and range between less than noticeable increases in ambient noise to a doubling of
 noise at specific NSAs. For construction activities that are not simultaneous but incremental, the
 predicted sound level increase ranges from 1.0 to 8.6 dBA Ldn at the NSAs. These increases
 would be minor to moderate; however, all levels would be below 55 dBA Ldn. For the Palmito
 Ranch Battlefield National Historic Landmark (4.1 miles from the Rio Grande LNG Project), the
 predicted cumulative construction increase is 10.1 dBA Ldn over the existing ambient, which
 could result in periods of perceived doubling of noise. However, for the duration of Annova’s
 nighttime pile-driving, significantly higher levels of noise are estimated and this would result in
 significant cumulative noise impacts. The only 24-hour construction proposed at the Rio Grande
 LNG Terminal would be dredging. As described in section 4.11.2.3, the estimated sound level
 from dredging associated with the Rio Grande LNG Terminal at the nearest NSAs would be
 below existing ambient sound levels, and noise associated with dredging activities is not
 expected to be perceptible. Therefore, RG LNG’s contribution to cumulative nighttime
 construction noise would be negligible. The predicted sound level impacts for simultaneous
 operation of all three LNG projects are much lower than construction impacts, with potential
 increases over the existing ambient sound level between 0.3 and 1.5 dBA Ldn at NSAs, resulting
 in a negligible to minor impact. Construction and operation of the pipeline facilities would not
 contribute to significant cumulative noise impacts on nearby NSAs.

         In summary, the anticipated cumulative impacts associated with the construction and
 operation of the Project along with other projects in the geographic scope are primarily
 construction-related dredging and pile-driving impacts in the BSC on aquatic fish and sea turtle
 resources, construction vehicle traffic on SH-48, potential direct impacts on the federally listed
 ocelot and jaguarundi, and construction noise impacts on NSAs during concurrent construction.
 The primary operation-related cumulative impacts include marine vessel impacts on water
 quality and on existing marine vessel traffic in the BSC, as well as loss or degradation of
 vegetation (habitat for federally listed species). These cumulative impacts are predominantly
 based on concurrent construction and operation of the Rio Grande LNG, Texas LNG, and
 Annova LNG Projects.

 ALTERNATIVES CONSIDERED

         In accordance with NEPA and FERC policy, we evaluated the no-action alternative,
 system alternatives, and other siting and design alternatives that could achieve the Project
 objectives. The range of alternatives that could achieve the Project objectives included system
 alternatives for both the terminal and pipeline, alternative LNG Terminal sites, and alternative
 pipeline configurations. Alternatives were evaluated and compared to the Project to determine
 whether these alternatives presented a significant environmental advantage to the proposed
 Project. While the no-action alternative would avoid the environmental impacts identified in this
 EIS, adoption of this alternative would preclude meeting the stated Project objectives. If the
 Project is not approved and built, the need could potentially be met by other LNG export projects
 developed elsewhere along the Texas Gulf Coast. Implementation of other LNG export projects
 likely would result in impacts similar to or greater than those of the proposed Project.

        We evaluated seven LNG Terminal system alternatives, including four existing LNG
 import terminals with planned, proposed, or authorized liquefaction projects; and three
 proposed/planned stand-alone LNG export terminals. To meet all or part of RG LNG’s


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 contractual agreements, each of these projects would require substantial construction beyond
 what is currently planned and would not offer significant environmental advantages over the
 proposed LNG Terminal; therefore, they were eliminated from further consideration. We also
 evaluated alternative sites for the LNG Terminal within other Texas coast ports and other sites
 along the BSC. Each site was excluded from further consideration due to size constraints, lease
 restrictions, and/or presence of additional sensitive resources. In the draft EIS we evaluated
 alternatives to RG LNG’s proposed new haul road to bring fill material from the Port Isabel
 dredge pile to the terminal site. In response to our recommendation in the draft EIS, RG LNG
 adopted an alternative to transport the fill materials, if necessary, using barges.

         We reviewed three pipeline system alternatives; however, none of the alternatives had
 enough available capacity to transport the Project volumes. We also reviewed the construction
 of one larger diameter pipeline as opposed to the two mainline pipelines, as well as concurrent
 construction of both pipelines, but eliminated these alternatives from further review based on
 construction and safety considerations. Because none of the alternatives reduced impacts on the
 environment, we eliminated them from further consideration.

 CONCLUSIONS

          We determined that construction and operation of the Rio Grande LNG Project would
 result in adverse environmental impacts. We conclude that impacts on the environment from the
 proposed Project would be reduced to less than significant levels with the implementation of RG
 Developers’ proposed impact avoidance, minimization, and mitigation measures and the
 additional measures recommended by FERC staff. However, the Rio Grande LNG Project,
 combined with the other projects in the geographic scope, including the Texas LNG and Annova
 LNG projects, would result in significant cumulative impacts from construction noise during
 nighttime pile-driving, sediment/turbidity and shoreline erosion within the BSC during
 operations from vessel transits; on the federally listed ocelot, and jaguarundi from habitat loss
 and the potential for increased vehicular strike during construction; on the federally listed
 northern aplomado falcon from habitat loss, and on visual resources from the presence of new
 facilities. We based our conclusions upon information provided by RG Developers and through
 data requests; field investigations; literature research; geospatial analysis; alternatives analysis;
 public comments and scoping sessions; and coordination with federal, state, and local agencies
 and Native American tribes. The following factors were also considered in our conclusions:

           The LNG Facility site would be in an area currently zoned for commercial and
            industrial use, along an existing, man-made ship channel.

           The pipelines would be collocated with, or adjacent to, other disturbed right-of-way
            corridors for about 66.0 percent of the route.

           The pipelines would be installed by trenchless methods (HDD or bore) to avoid impacts
            on all major perennial streams (i.e., streams over 100 feet wide), as well as many
            smaller waterbodies, wetlands, and road crossings.

           RG Developers would follow the Project-specific Spill Prevention, Control, and
            Countermeasures Plans; Stormwater Pollution Prevention Plans; Unanticipated


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            Contaminated Sediment and Soils Discovery Plan; Unanticipated Discovery Plan (for
            cultural resources); HDD Contingency Plan; Fugitive Dust Control Plans; Noxious and
            Invasive Weed Plan; and Migratory Bird Conservation Plan.

           The Coast Guard issued a Letter of Recommendation indicating the BSC would be
            considered suitable for the LNG marine traffic associated with the Project.

           The LNG Terminal design would include acceptable layers of protection or safeguards
            that would reduce the risk of a potentially hazardous scenario from developing into an
            event that could impact the off-site public.

           The pipelines and associated aboveground facilities would be constructed, operated,
            and maintained in compliance with DOT standards published in 49 CFR 192.

           RG Developers would implement their Project-specific Upland Erosion Control,
            Revegetation, and Maintenance Plan (Plan) and Procedures to minimize construction
            impacts on soils, wetlands, and waterbodies.

           All appropriate consultations with the FWS and NMFS regarding federally listed
            threatened and endangered species would be completed before construction is allowed
            to start in any given area.

           Consultation under the Magnuson Stevens Fishery Conservation and Management Act
            is complete, and NMFS does not have EFH conservation recommendations for the
            Project.

           All appropriate National Historic Preservation Act consultations with the Texas SHPO
            and the Advisory Council on Historic Preservation would be completed before
            construction is allowed to start in any given area.

           RG Developers would follow an environmental inspection program, including
            Environmental Inspectors, to ensure compliance with the mitigation measures that
            become conditions of the FERC authorizations. FERC staff would conduct inspections
            throughout construction, commissioning, and restoration of the Project.

         In addition, we developed recommendations that RG Developers should implement to
 further reduce the environmental impacts of the Project, including recommendations specific to
 engineering, vulnerability, and detailed design of the LNG Terminal, and ongoing
 recommendations relating to inspections, reporting, notification, and non-scheduled events that
 would apply throughout the life of the LNG Terminal facility. Our recommendations are
 presented in section 5.2 of the EIS. We recommend that these mitigation measures be attached
 as conditions to any authorization issued by the Commission for the Project.




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  1.0    INTRODUCTION

           On May 5, 2016, Rio Grande LNG, LLC (RG LNG) and Rio Bravo Pipeline Company,
  LLC (RB Pipeline), filed a joint application with the Federal Energy Regulatory Commission
  (Commission or FERC) for authorization pursuant to Sections 3(a) and 7(c) of the Natural Gas
  Act (NGA). In Docket No. CP16-454-000, RG LNG requests authorization under Section 3(a)
  of the NGA and Part 153 of the Commission’s regulations to site, construct, and operate
  facilities necessary to liquefy and export natural gas at a proposed site (the Rio Grande LNG
  Terminal) along the Brownsville Ship Channel (BSC) in Cameron County, Texas. In Docket
  No. CP16-455-000, RB Pipeline requests a Certificate of Public Convenience and Necessity
  (Certificate) pursuant to Section 7(c) of the NGA and Part 157 of the NGA to site, construct,
  operate, and maintain a new pipeline system (the Rio Bravo Pipeline or Pipeline System) in
  Jim Wells, Kleberg, Kenedy, Willacy, and Cameron Counties, Texas. Collectively, RG LNG
  and RB Pipeline are called RG Developers; the Rio Grande LNG Terminal and the Rio Bravo
  Pipeline are collectively called the Rio Grande LNG Project (Project).

         As part of the Commission’s consideration of this application, we1 prepared this final
  environmental impact statement (EIS) to assess the potential environmental impacts resulting
  from construction and operation of the facilities proposed by RG Developers in accordance
  with the requirements of the National Environmental Policy Act of 1969 (NEPA).

          The Rio Grande LNG Terminal would be located on about 750.4 acres of a 984.2-acre
  parcel of land along the northern shore of the BSC in Cameron County2, approximately 9.8
  miles east of Brownsville and about 2.2 miles west of Port Isabel. The Project would produce
  a nominal capacity of about 27 million tons per annum (MTPA) of liquefied natural gas (LNG)
  during its minimum 20-year life (which could be extended to a 50-year life).

          The vertical line in the margin identifies text that is new or modified in the final EIS
  and differs materially from corresponding text in the draft EIS. Changes were made to address
  comments from cooperating agencies and other stakeholders on the draft EIS, incorporate
  applicant-proposed modifications to the Project after publication of the draft EIS, update
  information included in the draft EIS, and incorporate information filed by RG Developers in
  response to our recommendations in the draft EIS.

          The LNG Terminal would receive natural gas via the proposed Rio Bravo Pipeline
  System, which would connect the LNG Terminal to the existing infrastructure near the Agua
  Dulce hub3 in Nueces County. The Agua Dulce hub includes interconnects to natural gas
  pipelines including the Gulf Coast Mainline, Transcontinental Pipeline, and Kinder Morgan
  Tejas Pipeline near the origin of the Rio Bravo Pipeline System, allowing for multiple
  interconnects to the Rio Bravo Pipeline. Figure 1-1 depicts the general location of the Rio
  Grande LNG Project.


  1
         “We,” “us,” and “our” refer to the environmental staff of the FERC’s Office of Energy Projects..
  2
         All Project locations referred to in this EIS (including towns, counties, and other municipalities) are within the state
         of Texas, unless specifically stated otherwise.
  3
         A natural gas hub is an interconnection of two or more pipelines that allows the transfer of gas.




                                                               1-1                                                 Introduction
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                                    Â   Meter Station                         Proposed Header System




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                                    )   Meter Station
                                                                              Proposed LNG Terminal                                  Scale: 1:885,000
                Mexico                                                        Boundary (Facility Footprint)
                                    Y
                                    Â   Contractor Yard                       LNG Terminal Site
                                                                              (Leased Parcel)                    Basemap Source: Esri, DeLeLorme, NAVTEQ,

                                                                                                                                                                                  Figure 1-1
 Brownsville                        C
                                    Â   Compressor Station                                                       USGS, Intermap, iPC, NRCAN, Esri Japan, METI,
Mexico                                                                                                           Esri China, Esri Thailand, Tom Tom, 2013


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          The natural gas would be liquefied at the Rio Grande LNG Terminal using six
  liquefaction trains, each of which would have a nominal capacity of 4.5 MTPA, and stored
  onsite in four, full-containment LNG storage tanks with a capacity of 180,000 cubic meters
  (m3) each. The LNG would be loaded onto LNG vessels for export overseas and onto LNG
  trucks for road distribution to vehicle refueling stations in south Texas. During operations, RG
  Developers anticipate that an average of 312 LNG vessels would make port calls at the LNG
  Terminal each year. In addition, the Project would have the capacity to load 12 to 15 LNG
  trucks per day at each of the four loading bays. Detailed information regarding the facility
  components is provided in section 2.1.1.

          The Pipeline System would include a 42-inch-diameter Header System, which would
  include dual pipelines for the first 0.8 mile of its route, and dual 42-inch-diameter mainline
  pipelines (individually identified as Pipeline 1 and Pipeline 2). The Header System would be
  about 2.4 miles of pipeline in Kleberg and Jim Wells Counties that would collect gas from six
  existing pipeline systems for transport into Pipelines 1 and 2. Pipelines 1 and 2 would be about
  135.5 miles long, originate in Kleberg County, and transit through Kenedy, Willacy, and
  Cameron Counties before terminating at a compressor station within the boundaries of the
  LNG Terminal. Although the Pipeline System itself is not within the Agua Dulce hub, it has
  been sited to allow ease of connection to the existing Agua Dulce infrastructure. The Pipeline
  System, when complete, would provide the Rio Grande LNG Terminal with about 4.5 billion
  cubic feet per day (Bcf/d) of firm capacity. Although the Header System and Pipeline 1 are
  proposed to be constructed at the same time, Pipeline 2 would be constructed on a separate
  schedule (approximately 18 months after the completion of Pipeline 1) to accommodate the
  staged construction of the LNG Terminal; therefore, RB Pipeline estimates that Pipeline 1
  would begin operation in late 2021, concurrent with the LNG Train 1 (see section 2.3).

         RB Pipeline’s proposed facilities are summarized below:

         •   2.4 miles of 42-inch-diameter pipeline, including 0.8 mile of dual pipeline, to gather
             gas from existing systems in Kleberg and Jim Wells Counties (referred to as the
             Header System);

         •   135.5 miles of 42-inch-diameter pipeline crossing Kleberg, Kenedy, Willacy, and
             Cameron Counties (Pipeline 1);

         •   135.5 miles of 42-inch-diameter pipeline that would parallel Pipeline 1 with an
             offset of 25 feet (Pipeline 2);

         •   a new 180,000-horsepower (hp) compressor station in Kleberg County that would
             include two pig launchers (one for each pipeline) and a metering site (Compressor
             Station 1);

         •   a new 180,000-hp compressor station in Kleberg County that would include two pig
             launcher/receivers (Compressor Station 2);




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         •   a new 180,000-hp compressor station within the boundaries of the LNG Terminal in
             Cameron County that would include a gas custody transfer meter and pig receivers
             (Compressor Station 3);

         •   two new 30,000-hp interconnect booster compressor stations (booster station) in
             Kenedy County, each of which would contain a metering site;

         •   four metering sites along the Header System;

         •   six mainline valve (MLV) sites (two MLVs per site);

         •   temporary and permanent access roads; and

         •   temporary contractor/pipe yards and offsite storage.

          Under Section 3 of the NGA, FERC considers all factors bearing on the public interest
  as part of its decision to authorize natural gas facilities. Specifically regarding whether to
  authorize natural gas facilities used for importation or exportation, FERC shall authorize the
  proposal unless it finds that the proposed facilities would not be consistent with the public
  interest.

          Under Section 7 of the NGA, the Commission determines whether interstate natural gas
  transportation facilities are in the public convenience and necessity and, if so, grants a
  Certificate to construct and operate them. The Commission bases its decisions on technical
  competence, financing, rates, market demand, gas supply, environmental impact, long-term
  feasibility, and other issues concerning a proposed Project.

  1.1    PURPOSE AND NEED

          RG Developers’ stated purpose of the Rio Grande LNG Project is to develop, own,
  operate, and maintain a natural gas pipeline system to access natural gas from the Agua Dulce
  Hub and an LNG export facility in south Texas to export 27 MTPA of natural gas that provides
  an additional source of firm, long-term, and competitively priced LNG to the global market.
  The Project purpose also includes providing LNG for truck transport and for fueling
  operations. Any exports would be consistent with authorizations from the U.S. Department of
  Energy (DOE). The DOE granted an authorization to RG LNG for export to countries having a
  free trade agreement (FTA) with the United States that includes national treatment for trade in
  natural gas (FTA nations) on August 17, 2016. An application for export to non-FTA nations
  is pending the DOE’s review of RG Developers’ application, which was filed on December 23,
  2015.

          RB Pipeline published a Notice of Open Season on May 24, 2016, and executed a
  Precedent Agreement on June 23, 2016, with RioGas Marketing, LLC. The Precedent
  Agreement included the total capacity of the Pipeline System (4.5 Bcf/d) for a period of 20
  years. A third-party would own the natural gas entering the Pipeline System. A portion of that
  natural gas would be furnished to RB Pipeline for operation of the Pipeline System. Additional
  natural gas owned by the third-party would be furnished to RG LNG for operation of the LNG



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  Terminal and for liquefaction under tolling agreements. RG LNG would export the LNG on its
  own behalf, or as an agent for third parties, as authorized by the DOE.

  1.2    PURPOSE AND SCOPE OF THIS STATEMENT

         The principal purposes in preparing an EIS are to:

         •   identify and assess potential impacts on the human environment that would result
             from implementation of the proposed action;

         •   identify and assess reasonable alternatives to the proposed action that would avoid
             or minimize adverse effects on the human environment;

         •   facilitate public involvement in identifying significant environmental impacts; and

         •   identify and recommend specific mitigation measures to avoid or minimize
             environmental impacts.

           This EIS focuses on the facilities that are under the FERC’s jurisdiction (that is, the
  facilities proposed by RG Developers within the LNG Terminal and along the Pipeline
  System). The EIS also considers the non-jurisdictional facilities that are integrally related to
  the development of the Project (i.e., potable water and sewage lines, electric transmission lines,
  and LNG trucking beyond the boundaries of the LNG Terminal site), which are discussed in
  section 1.4.1.

          This EIS describes the affected environment as it currently exists, discusses the
  potential environmental consequences of the Project, and compares the Project’s potential
  impact to that of alternatives. The topics addressed in this EIS include alternatives; geology;
  soils; water use and quality; wetlands; vegetation; wildlife; fisheries and essential fish habitat
  (EFH); threatened, endangered, and special status species; land use, recreation, and visual
  resources; socioeconomics; cultural resources; air quality; noise; reliability and safety; and
  cumulative impacts. This EIS also presents our conclusions and recommended mitigation
  measures.

           The Energy Policy Act of 2005 (EPAct 2005) provides that the FERC shall act as the
  lead agency for coordinating all applicable authorizations related to jurisdictional natural gas
  facilities and for purposes of complying with NEPA. The FERC, as the “lead federal agency,”
  is responsible for preparation of this EIS. This effort was undertaken with the participation and
  assistance of the U.S. Army Corps of Engineers (COE), U.S. Coast Guard (Coast Guard),
  DOE, U.S. Department of Transportation’s (DOT) Pipeline and Hazardous Materials Safety
  Administration (PHMSA), the DOT’s Federal Aviation Administration (FAA), the U.S. Fish
  and Wildlife Service (FWS), the National Park Service (NPS), the U.S. Environmental
  Protection Agency (EPA), and the National Oceanic and Atmospheric Administration’s
  (NOAA) – National Marine Fisheries Service (NMFS) as “cooperating agencies” under NEPA.

          Cooperating agencies have jurisdiction by law or provide special expertise with respect
  to environmental impacts involved with a proposal. The roles of the FERC, DOE, COE, Coast
  Guard, DOT (PHMSA and FAA), FWS, NPS, EPA, and NMFS as cooperating agencies in the


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  review and authorization process are described below. The EIS provides a basis for
  coordinated federal decision making in a single document, avoiding duplication among federal
  agencies in the NEPA environmental review process. In addition to the lead and cooperating
  agencies, other federal, state, and local agencies may use this EIS in approving or issuing
  permits for all or part of the Project. Federal, state, and local permits, approvals, and
  consultations for the Project are discussed in section 1.5.

  1.2.1       Federal Energy Regulatory Commission

          Based on its authority under the NGA, the FERC is the lead agency for preparation of
  this EIS in compliance with the requirements of NEPA, the Council on Environmental
  Quality’s (CEQ) regulations for implementing NEPA (Title 40 of the Code of Federal
  Regulations, Parts 1500–1508 [40 CFR 1500–1508]), and the FERC regulations implementing
  NEPA (18 CFR 380).

          As the lead federal agency for the Project, the FERC is required to comply with Section
  7 of the Endangered Species Act of 1973 (ESA), as amended; the Magnuson-Stevens Fishery
  Conservation and Management Act (MSFCMA); Section 106 of the National Historic
  Preservation Act (NHPA); and Section 307 of the Coastal Zone Management Act (CZMA).
  Each of these statutes has been taken into account in the preparation of this EIS. The FERC
  will use this document to consider the environmental impacts that could result if it issues an
  authorization to RG LNG under Section 3(a) of the NGA and a Certificate to RB Pipeline
  under Section 7(c) of the NGA.

  1.2.2       U.S. Army Corps of Engineers

           The COE has jurisdictional authority pursuant to Section 404 of the Clean Water Act
  (CWA) (Title 33 of the United States Code, Section 1344 [33 United States Code (USC)
  1344]), which governs the discharge of dredged or fill material into waters of the United States;
  Section 10 of the Rivers and Harbors Act (RHA) (33 USC 403), which regulates any work or
  structures that potentially affect the navigable capacity of a waterbody; and Section 103 of the
  Marine Protection, Research, and Sanctuaries Act of 1972 (33 USC 1413) which regulates
  transportation of dredged material offshore. Because the COE would need to evaluate and
  approve several aspects of the Project and must comply with the requirements of NEPA before
  issuing permits under the above statutes, it has elected to participate as a cooperating agency in
  the preparation of this EIS. The COE would adopt the EIS in compliance with 40 CFR 1506.3
  if, after an independent review of the document, it concludes that the EIS satisfies the COE’s
  comments and suggestions. The Project is within the Galveston District of the COE
  Southwestern Division.

          The primary issuances to be decided by the COE include:

          •   Section 404 permits for impacts on waters of the United States associated with
              construction and operation of the Project;

          •   Section 10 permit for construction activities within navigable waters of the United
              States associated with the Project;



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          •   Section 103 permit for transportation of dredged material offshore; and

          •   Section 14 permit for modification of COE civil works projects (e.g., federal canals
              or dredged material placement areas), if determined to applicable during ongoing
              reviews.

          This EIS contains information needed by the COE to reach decisions on these issues.
  Through the coordination of this document, the COE will obtain the views of the public and
  natural resource agencies prior to reaching its decisions on the Project.

           As an element of its review, the COE must consider whether a proposed action avoids,
  minimizes, and compensates for impacts on existing aquatic resources, including wetlands, to
  strive to achieve a goal of no overall net loss of values and functions. The COE would issue a
  Record of Decision to formally document its decision on the proposed action, including Section
  404(b)(1) analysis and required environmental mitigation commitments.

  1.2.3       U.S. Coast Guard

          The Coast Guard is the federal agency responsible for assessing the suitability of the
  Project Waterway (defined as the waterways that begin at the outer boundary of the navigable
  waters of the United States) for LNG marine traffic. The Coast Guard exercises regulatory
  authority over LNG facilities that affect the safety and security of port areas and navigable
  waterways under Executive Order 10173; the Magnuson Act (50 USC 191); the Ports and
  Waterways Safety Act of 1972, as amended (33 USC 1221 et seq.); and the Maritime
  Transportation Security Act of 2002 (46 USC 701). The Coast Guard is responsible for matters
  related to navigation safety, vessel engineering and safety standards, and all matters pertaining
  to the safety of facilities or equipment located in or adjacent to navigable waters up to the last
  valve immediately before the receiving LNG tanks.

          The Coast Guard also has authority for LNG facility security plan reviews, approval
  and compliance verifications as provided in 33 CFR 105, and siting as it pertains to the
  management of vessel traffic in and around LNG facilities to a point 12 nautical miles seaward
  from the coastline (to the territorial seas). As appropriate, the Coast Guard (acting under the
  authority in 33 USC 1221 et seq.) also would inform the FERC of design- and construction-
  related issues identified as part of safety and security assessments. If the Rio Grande LNG
  Project is approved, constructed, and operated, the Coast Guard would continue to exercise
  regulatory oversight of the safety and security of the LNG Terminal facilities, in compliance
  with 33 CFR 127.

         As required by its regulations, the Coast Guard is responsible for issuing a Letter of
  Recommendation (LOR) as to the suitability of the waterway for LNG marine traffic following
  a Waterway Suitability Assessment (WSA). The process of preparing the LOR begins when an
  applicant submits a Letter of Intent (LOI) to the local Captain of the Port. In a letter dated
  March 18, 2015, RG LNG submitted its LOI and preliminary WSA to the Coast Guard as




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  required by 33 CFR 127.007. The Coast Guard requested additional information, and a follow-
  on WSA was submitted on December 17, 2015. In a letter dated December 26, 2017, the Coast
  Guard issued the LOR for the Project,4 which stated that the BSC is considered suitable for
  LNG marine traffic in accordance with the guidance in Coast Guard Navigation and Vessel
  Inspection Circular (NVIC) 01-2011.

  1.2.4       U.S. Department of Energy

          The DOE, Office of Fossil Energy must meet its obligation under Section 3 of the NGA
  to authorize the import and export of natural gas, including LNG, unless it finds that the import
  or export is not consistent with the public interest. On December 23, 2015, RG LNG filed an
  application with the DOE (Fossil Energy Docket No. FE-15-190-LNG) seeking authorization
  to export LNG to FTA nations that have or in the future develop the capacity to import LNG
  via ocean-going carrier.

          The application also sought approval to export LNG to non-FTA nations. RG LNG
  subsequently filed an amendment to its application on June 7, 2016, requesting that the term of
  authorization be 30 years5 for export to FTA nations and 20 years for non-FTA nations; the
  original application requested a 20-year term for export to both FTA and non-FTA nations.
  The application and amendment requested authorization to export the equivalent of 3.6 Bcf/d
  of domestically produced natural gas commencing the earlier of the date of first export or 7
  years (non-FTA nations) or 10 years (FTA nations) from the date of issuance of the requested
  authorization.

          Section 3(c) of the NGA, as amended by Section 201 of the Energy Policy Act of 1992
  (Public Law 102-486), requires that applications to the DOE requesting authorization of the
  import and export of natural gas, including LNG from and to FTA nations be deemed consistent
  with the public interest and granted without modification or delay. On August 17, 2016, the
  DOE granted RG LNG an authorization to export LNG to FTA nations6 and is currently
  conducting its review of RG LNG’s request to export LNG to non-FTA nations.




  4
          To access the public record for this proceeding, go to FERC’s Internet website (http://www.ferc.gov), click on
          “Documents & Filings” and select the “eLibrary” feature. Click on “Advanced Search” from the eLibrary menu and
          enter the accession number for the document of interest. The LOR for the project was filed with the FERC on
          January 18, 2018, and can be found on the FERC eLibrary website using Accession Number 20180118-3038.
  5
          The proposed life of the Rio Grande LNG Project is a minimum of 20 years, but up to 50 years (see section 1.0). RG
          LNG requested authorization from the DOE to export domestically produced natural gas for a period of 30 years (to
          FTA nations) or 20 years (to non-FTA nations). Therefore, if market conditions indicate that the export of natural
          gas from the LNG Terminal is warranted beyond the requested term, RG LNG would be required to seek additional
          authorization from the DOE.
  6
          DOE, RG LNG, DOE/FE Order No. 3869, FE Docket No. 15-190-LNG, Order Granting Long-Term, Multi-Contract
          Authorization to Export Liquefied Natural Gas by Vessel from the Proposed Rio Grande LNG Terminal to FTA
          Nations (August 17, 2016).




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  1.2.5         U.S. Department of Transportation

  1.2.5.1       Pipeline and Hazardous Materials Safety Administration

          The DOT has authority to enforce safety regulations and standards related to the design,
  construction, and operation of natural gas pipelines, under the Natural Gas Pipeline Safety Act
  under 49 CFR 192, Transportation of Natural or Other Gas by Pipeline: Minimum Federal
  Safety Standards.

           The DOT’s PHMSA has prescribed the minimum federal safety standards for LNG
  facilities in compliance with 49 USC 60101 et seq. These standards are codified in 49 CFR
  193 and apply to the siting, design, construction, operation, maintenance, and security of LNG
  facilities. The National Fire Protection Association (NFPA) Standard 59A, (2001 edition)
  Standard for the Production, Storage, and Handling of Liquefied Natural Gas, is
  incorporated into these requirements by reference, with regulatory preemption in the event of
  conflict. In February 2004, the Coast Guard, the DOT, and the FERC entered into an
  Interagency Agreement to ensure greater coordination among these three agencies in
  addressing the full range of safety and security issues at LNG terminals, including terminal
  facilities and marine carrier operations, and maximizing the exchange of information related to
  the safety and security aspects of the LNG facilities and related marine operations. Under the
  Interagency Agreement, the FERC is the lead federal agency responsible for the preparation of
  the analysis required under NEPA for impacts associated with terminal construction and
  operation. The DOT and the Coast Guard participate as cooperating agencies but remain
  responsible for enforcing their respective regulations covering LNG facility siting, design,
  construction, and operation. In addition, the August 31, 2018 Memorandum of Understanding
  between the FERC and DOT provides guidance and policy on each agency’s respective
  statutory responsibility to ensure that each agency works in a coordinated and comprehensive
  manner.7 In accordance with the August 31, 2018 Memorandum of Understanding (MOU), the
  DOT issued a Letter of Determination (LOD) to FERC on the 49 CFR 193 Subpart B
  regulatory requirements, which was filed with the Commission as part of the consolidated
  record for the Project to be one of the considerations for the Commission to deliberate in its
  decision to authorize, with or without modification or conditions, or deny an application.8

  1.2.6         Federal Aviation Administration

         The DOT’s FAA is the federal agency responsible for civil aerospace travel, including
  the regulation and development of civil aviation, air traffic control, and regulation of U.S.
  commercial space transportation. The FAA agreed to become a cooperating agency for the Rio
  Grande LNG Project given its jurisdiction over the SpaceX project which, when complete, will
  launch commercial spacecraft from a location about 5 miles southeast of the proposed LNG
  Terminal site.


  7
            This document can be viewed online at https://www.ferc.gov/legal/mou/2018/FERC-PHMSA-MOU.pdf.
  8
            March 26, 2019 letter “Re: Rio Grande LNG Project, Docket No. CP16-454-000, 49 CFR, Part 193, Subpart B,
            Siting – Letter of Determination.” Filed in Docket Number CP16-454-000 on March 27, 2019. FERC eLibrary
            accession number 20190327-3003.




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  1.2.7      U.S. Fish and Wildlife Service

          The FWS is responsible for ensuring compliance with the ESA. Section 7 of the ESA,
  as amended, states that any project authorized, funded, or conducted by any federal agencies
  should not “…jeopardize the continued existence of any endangered species or threatened
  species or result in the destruction or adverse modification of habitat of such species which is
  determined…to be critical…” (16 USC 1536[a][2]). The FWS also reviews project plans and
  provides comments regarding protection of fish and wildlife resources under the provisions of
  the Fish and Wildlife Coordination Act (16 USC 661 et seq.). The FWS is also responsible for
  the implementation of the provisions of the Migratory Bird Treaty Act (MBTA) (16 USC 703)
  and the Bald and Golden Eagle Protection Act (BGEPA) (16 USC 688).

  1.2.8      National Park Service

          The NPS is a land managing agency within the U.S. Department of the Interior with
  jurisdiction over 80 million acres of federal land in the United States. It manages these lands
  to protect and preserve natural and cultural resources for the benefit of current and future
  generations. The NPS agreed to become a cooperating agency for the Rio Grande LNG Project
  given its specific interest over three cultural heritage areas in the vicinity of the Project;
  specifically, the RB Pipeline would cross or occur in the vicinity of three nationally significant
  landmarks, including the King Ranch National Historic Landmark, the Palo Alto Battlefield
  National Historical Park/National Historic Landmark, and the Palmito Ranch Battlefield
  National Historic Landmark. The Palo Alto Battlefield National Historic Park/National
  Historic Landmark and Palmito Ranch Battlefield National Historic Landmark are also in the
  vicinity of the LNG Terminal site.

  1.2.9      U.S. Environmental Protection Agency

          The EPA is the federal agency responsible for protecting human health and
  safeguarding the natural environment. It sets and enforces national standards under a variety of
  environmental laws and regulations in consultation with state, tribal, and local governments.
  The EPA has delegated water quality certification (Section 401 of the CWA) to the
  jurisdiction of individual state agencies, but may assume this authority if the state program is
  not functioning adequately, or at the request of the state. The EPA also oversees the issuance
  of a National Pollutant Discharge Elimination System (NPDES) permits by the state agency
  for point-source discharge of used water into waterbodies (Section 402 of the CWA). The
  EPA shares responsibility for administering and enforcing Section 404 of the CWA with the
  COE, and has authority to veto COE permit decisions.

          The EPA also has jurisdictional authority to control air pollution under the Clean Air
  Act (CAA) (42 USC 85) by developing and enforcing rules and regulations for all entities that
  emit toxic substances into the air. Under this authority, the EPA has developed regulations for
  major sources of air pollution. The EPA has delegated the authority to implement these
  regulations to state and local agencies, while state and local agencies are allowed to develop
  their own regulations for non-major sources. The EPA also establishes general conformity
  applicability thresholds; a federal agency can use these thresholds to determine whether a
  specific action requires a general conformity assessment. In addition to its permitting


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  responsibilities, the EPA is responsible for implementing certain procedural provisions of
  NEPA (e.g., publishing the Notices of Availability of the draft and final EISs in the Federal
  Register) to establish statutory timeframes for the environmental review process.

  1.2.10     National Oceanic and Atmospheric Administration, National Marine Fisheries
             Service

          NMFS, along with the FWS, has authority under the ESA to work with federal agencies
  and applicants to conserve ESA-listed species and their critical and other habitats. The FWS
  and NMFS will consult with lead federal agencies for actions that may affect ESA-listed
  species and/or critical habitats. NMFS also has the authority under the MSFCMA and the
  Marine Mammal Protection Act (MMPA) to review a project’s impacts to EFH and to protect
  marine mammals.

  1.3      PUBLIC REVIEW AND COMMENT

  1.3.1      Pre-filing Process and Scoping

          On March 20, 2015, RG Developers filed a request with the FERC to use our pre-filing
  review process. This request was approved on April 13, 2015, and pre-filing Docket No.
  PF15-20-000 was established in order to place information filed by RG Developers, documents
  issued by the FERC, as well as comments from the public, agencies, tribes, organizations, and
  other stakeholders into the public record. The pre-filing review process provides opportunities
  for interested stakeholders to become involved early in project planning, facilitates interagency
  cooperation, and assists in the identification and resolution of issues prior to a formal
  application being filed with the FERC.

         RG Developers held open houses in Kingsville, Raymondville, and Brownsville on
  May 19, 20, and 21, 2015, respectively, to provide information to the public about the Rio
  Grande LNG Project. FERC staff participated in the meeting, describing the FERC process
  and providing those attending with information on how to file comments with the FERC.

          On July 23, 2015, the FERC issued a Notice of Intent to Prepare an Environmental
  Impact Statement for the Planned Rio Grande LNG Project and Rio Bravo Pipeline Project,
  Request for Comments on Environmental Issues, and Notice of Public Scoping Meetings
  (NOI). This notice was sent to about 720 interested parties including federal, state, and local
  officials; agency representatives; conservation organizations; Native American tribes; local
  libraries and newspapers; and property owners in the vicinity of the planned Project.
  Publication of the NOI established a 30-day public scoping period for the submission of
  comments, concerns, and issues related to the environmental aspects of the Project.

          The FERC conducted three public scoping meetings to provide an opportunity for the
  public to learn more about the Rio Grande LNG Project and to participate in our analysis by
  providing written or oral comments on environmental issues to be included in the EIS. Each
  scoping meeting had representatives from both the FERC staff and RG Developers, as well as
  informational materials on the Project and the FERC process. Two of the scoping meetings
  were held along the RB Pipeline route in Raymondville (August 10, 2015) and Kingsville
  (August 13, 2015). Five individuals elected to provide oral comments at the Raymondville


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  scoping meeting; a transcript of these comments is part of the public record for the Rio Grande
  LNG Project and is available for viewing on the FERC internet website (http://www.ferc.gov).
  No oral comments were provided at the Kingsville scoping meeting.

           A third scoping meeting was held in Port Isabel on August 11, 2015, near the site of the
  proposed Rio Grande LNG Terminal. As three LNG terminals have been proposed for our
  consideration along the BSC (the Rio Grande LNG Terminal, the Texas LNG Terminal [FERC
  Docket No. CP16-116-000], and the Annova LNG Terminal [FERC Docket No. CP16-480-
  000]), the Port Isabel scoping meeting included the applicants and informational materials for
  each of the three projects. The intent of the combined scoping meeting was to provide
  interested parties the opportunity to discuss, and provide comments for, all three projects in
  one venue. A total of 142 individuals elected to provide oral comments; the transcript of these
  comments is also available for viewing on the FERC internet website. All comments received
  at this scoping meeting were reviewed during preparation of this EIS, and incorporated as
  appropriate; however, each project is being individually assessed in a separate EIS.

          On July 15, 2015, we met with representatives of the COE, NMFS, and the FWS; and
  on August 12, 2015, we met with representatives of the Coast Guard, FWS, NPS, and Texas
  Parks and Wildlife Department (TPWD) to discuss coordination of agency review, permit
  requirements, resource concerns, and each agency’s interest in participating in our
  environmental review as a cooperating agency. Similar to the Port Isabel scoping meeting,
  these interagency meetings included discussions on each of the three planned or proposed LNG
  projects along the BSC. Additional calls, meetings, and site visits were also conducted prior to
  RG Developers filing their application, as well as bi-weekly calls between FERC, interested
  agencies, and representatives of RG Developers.

  1.3.2      Public Review of the Draft EIS

          On October 12, 2018, we issued a Notice of Availability of the Draft Environmental
  Impact Statement for the Proposed Rio Grande LNG Project. This notice, which was
  published in the Federal Register, listed the date and locations of public comment sessions and
  established a closing date of December 3, 2018, for receiving comments on the draft EIS.
  Copies of the notice were mailed to 3,253 stakeholders. The EPA noticed the draft EIS in the
  Federal Register on October 18, 2018.

          We held three public sessions in the Project area to solicit and receive comments on the
  draft EIS. These sessions were held on November 13, 14, and 15, 2018, in Kingsville,
  Raymondville, and Port Isabel, respectively. The sessions provided the public an opportunity
  to present oral comments to a court reporter on the environmental analysis described in the
  draft EIS. A total of 63 individuals provided oral comments. We also received 861 comment
  and form letters from federal agencies, companies/organizations, and individuals in response to
  the draft EIS. All comments received are included in our comment responses contained in
  appendix R. Transcripts from the public sessions, as well as written comment letters, were




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  entered into the public record and are available for viewing on FERC’s eLibrary website
  (www.ferc.gov).9

         This EIS addresses all substantive comments submitted to the FERC or made at open
  houses, scoping meetings, interagency meetings, and public comment sessions on the draft
  EIS. Issues identified are summarized in table 1.3-1, along with the EIS section that addresses
  each topic. The most frequently received comments relate to socioeconomic impacts, air
  emissions, LNG safety and security, threatened and endangered species, and impacts on
  wetlands. Issues identified that are not considered environmental considerations or are outside
  the scope of the EIS process are summarized in table 1.3-2 and are not addressed further in this
  EIS.

  1.3.3       Final EIS

         The Commission mailed a copy of the Notice of Availability of the Final Environmental
  Impact Statement for the Proposed Rio Grande LNG Project to agencies, individuals,
  companies/organizations, and other parties identified in the distribution list provided as
  appendix A. Additionally, the final EIS was filed with the EPA for issuance of a Notice of
  Availability in the Federal Register.




  9
          The public meeting transcripts are available on FERC’s elibrary website (see accession numbers 20190102-4002,
          20190102-4003, and 20190102-4005).




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                                           Table 1.3-1
    Key Environmental Concerns Identified During Scoping and from Comments on the draft EIS
                                                                                                 EIS Section Addressing
                                  Issue/Specific Comment
                                                                                                       Comment
  General
   Purpose of and need for proposed projects; natural gas markets; local and national benefits               1.1
   Pre-filing process, landowner and public notifications and communications, public
                                                                                                             1.3
   participation process, scoping meeting format
   Impacts on the available power supply due to electricity use by the LNG Terminal                         2.2.1
   Future plans and abandonment                                                                              2.8
  Alternatives
   No-action alternative                                                                                     3.1
   LNG Terminal site alternatives to more highly industrialized areas or avoid sensitive
                                                                                                            3.3.1
   resources
   Alternatives to LNG as a source of energy                                                                 3.1
   Consideration of alternative pipeline routes to avoid sensitive resources                                3.3.3
  Surface and Groundwater Resources
   Impacts on sensitive surface water resources including the Laguna Madre and Bahia Grande           4.3.2.1, 4.3.2.2
   Impacts on hydrology and water quality from dredging, construction of in-water facilities,
                                                                                                           4.3.2.2
   and ship transits
   Impacts on surface water quality from discharges and stormwater pollution                               4.3.2.2
   Impacts on groundwater quality                                                                          4.3.1.2
   Surface and groundwater use and drinking water supply                                                4.3.1, 4.3.2
   Impacts on aquatic environment from contaminated sediments or dredged material
                                                                                                      4.3.1.2, 4.3.2.2
   placement
   Waterbody crossings                                                                               4.3.2, appendix G
  Wetlands
   Impacts on the Bahia Grande Restoration Project                                                      4.3.2, 4.4.2
   Impacts on wetlands                                                                                      4.4.2
   Restoration of wetlands and wetland mitigation                                                          4.4.2.4
  Vegetation
   Impacts on vegetation including thornscrub, native coastal prairie, and lomas                      4.5.2, table 4.5-1
  Wildlife and Aquatic Resources
   Impacts on migratory birds and nesting colonial waterbirds                                              4.6.1.3
   Impacts on wildlife from habitat loss                                                                   4.6.1.2
   Invasive species, including those that may be transported in ballast water                         4.3.2.2, 4.6.2.2
   Impacts of water discharges and ship traffic on aquatic species                                         4.6.2.2
   Impacts on submerged aquatic vegetation due to water quality impacts                                 4.6.2, 4.6.3
   Impacts on aquatic habitats, including EFH                                                          4.6.2.2, 4.6.3




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                                    Table 1.3-1 (continued)
    Key Environmental Concerns Identified During Scoping and from Comments on the draft EIS
                                                                                          EIS Section Addressing
                                  Issue/Specific Comment
                                                                                                Comment
  Threatened, Endangered, and Special Status Species
   Impacts on threatened and endangered species and marine mammals                                       4.7
   Impacts on the movement of the endangered ocelot                                                     4.7.1
   Agency coordination and requirements                                                                4.7, 1.5
   Mitigation for species-specific habitat loss                                                    4.7.1.3, 4.7.1.4
  Land Use, Recreation, and Visual Resources
   Impacts on the Laguna Atascosa National Wildlife Refuge, the Bahia Grande Coastal
                                                                                                    4.8.1.5, 4.8.3
   Corridor Project, and existing land use policies
   Impacts on agricultural land                                                                   4.2.2, 4.5.2, 4.8.1
   Light pollution                                                                                      4.8.2
   Impacts on outdoor recreation opportunities, fishing, and boating                                4.8.1.5, 4.9.3
   Impacts of storage tanks and LNG Terminal facilities on visual resources                             4.8.2
   Eminent domain                                                                                      4.8.1.4
  Socioeconomics
   Impact on minority and low-income populations                                                        4.9.10
   Impact on tourism and recreation-based commerce in the vicinity                                      4.9.3
   Impact on commercial and recreational fisheries                                                 4.9.3.2, 4.9.4.1
   Housing impacts on communities in the vicinity                                                       4.9.6
   Employment opportunities for local contractors and laborers                                          4.9.1
   Tax revenues                                                                                         4.9.5
   Assessment of and impacts on community resources including roads and public safety
                                                                                                     4.9.7, 4.9.8
   resources
  Cultural Resources
   Impacts on cultural resources including the King Ranch National Historic Landmark,
   Palmito Ranch Battlefield National Historic Landmark, and Palo Alto Battlefield                       4.10
   National Historic Park/National Historic Landmark
  Air Quality and Noise
   Consistency with the emissions limits and the National Ambient Air Quality Standards                 4.11.1
   Emissions from the LNG Terminal and dispersion of pollutants, including mitigation                  4.11.1.3
   Impact of emissions on human health                                                                 4.11.1.3
   Greenhouse gases and climate change                                                              4.11.1, 4.13.2
   Noise impacts                                                                                        4.11.2
  Reliability and Safety
   Navigation safety                                                                                    4.12.1




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                                    Table 1.3-1 (continued)
    Key Environmental Concerns Identified During Scoping and from Comments on the draft EIS
                                                                                                  EIS Section Addressing
                                 Issue/Specific Comment
                                                                                                        Comment
  Reliability and Safety (continued)
   Spills from hazardous materials maintained at the LNG Terminal                                         4.3, 4.6, 4.12.1
   Emergency response plans, evacuations, and coordination with community public safety
                                                                                                               4.12.1
   services
   Impacts from operation in the vicinity of the SpaceX launch facility and Valley Crossing
                                                                                                               4.12.1
   Pipeline
   Terminal security, including the potential for the LNG Terminal to be a terrorist target                    4.12.1
   Catastrophic system failures, or damage to the LNG Terminal or pipeline facilities due
                                                                                                           4.12.1, 4.12.2
   to storm events, flooding, or corrosion
  Cumulative Impacts
   Analysis of cumulative impacts associated with multiple proposed LNG Terminals
                                                                                                               4.13.2
   along the BSC
   Cumulative impacts of the pipeline                                                                          4.13.2



                                             Table 1.3-2
             Issues Identified and Comments Received That Are Outside the Scope of the EIS
         Issue / Specific Comment                                                  Explanation
                                                   Production and gathering activities, and the pipelines and facilities used for
                                                   these activities, are not regulated by FERC, but are overseen by the affected
                                                   region’s state and local agencies with jurisdiction over the management and
                                                  extraction of the shale gas resource. Determining the well and gathering line
  Environmental and economic consequences
                                                   locations and their environmental impact is not feasible because the market
  of any induced production, especially in
                                                     and gas availability at any given time would determine the source of the
  shale gas plays, as a result of increased
                                                  natural gas. While past, present, and reasonably foreseeable future oil and gas
  natural gas exports
                                                       infrastructure within the geographic scope of the cumulative impacts
                                                        assessment are addressed in section 4.13, the specific locations for
                                                       infrastructure associated with induced production are not reasonably
                                                           foreseeable. Therefore, it is outside of the scope of this EIS.
  Alternative uses of the Rio Grande LNG
                                                     Alternative use of the LNG Terminal site, which is owned by the Port of
  Terminal site, including use of the site as a
                                                          Brownsville, is not under the jurisdiction of the Commission.
  national wildlife refuge
  Effects of hydraulically fractured shale gas    The development of natural gas in shale plays by hydraulic fracturing is not the
  production                                         subject of this EIS nor is the issue directly related to the proposed Project.
                                                    DOE has the legal authority to approve natural gas exports, and FERC is not
  Effects of LNG combustion in end-use /           required in its NEPA review to consider the possible environmental effects of
  importing markets                                 end-use of natural gas exports. Therefore, the effects of LNG combustion in
                                                          end-use/importing markets are outside of the scope of this EIS.
                                                       The Commission does not intend to conduct a nation-wide analysis of
  Consideration of other pending LNG export
                                                   proposed LNG export terminals. The DOE determines the public benefits of
  proposals before the DOE and FERC
                                                  exporting LNG from terminals in the United States. The FERC’s review and
  through the development of a programmatic
                                                        approval of individual projects under the NGA does not constitute a
  EIS
                                                                            coordinated federal program.


          In accordance with the CEQ regulations implementing NEPA, no agency decision on a
  proposed action may be made until 30 days after the EPA publishes a notice of availability of
  the final EIS in the Federal Register. However, the CEQ regulations provide an exception to


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  this rule when an agency decision is subject to a formal internal appeal process that allows
  other agencies or the public to make their views known. In such cases, the agency decision
  may be made at the same time the notice of the final EIS is published, allowing both periods to
  run concurrently. The Commission decision for this proposed action is subject to a 30-day
  rehearing period. Therefore, the FERC decision may be made and recorded concurrently with
  the publication of the final EIS.

  1.4     NON-JURISDICTIONAL FACILITIES

           Under Section 7 of the NGA, the FERC is required to consider, as part of a decision to
  authorize jurisdictional facilities, all facilities that are directly related to a proposed project
  where there is sufficient federal control and responsibility to warrant environmental analysis as
  part of the NEPA review for the proposed project. Some proposed projects have associated
  facilities that do not come under the jurisdiction of the Commission. These “non-
  jurisdictional” facilities may be integral to the need for the proposed facilities, or they may be
  merely associated as minor components of the jurisdictional facilities that would be constructed
  and operated as a result of authorization of the proposed facilities.

          The following non-jurisdictional actions were identified in association with the Project:

          •   LNG trucking activities that would take place after the LNG truck has departed
              from the LNG Terminal;

          •   construction of an electric transmission line and switchyard to extend power from
              American Electric Power’s (AEP) existing system to the LNG Terminal;

          •   construction of a new 16-inch-diameter potable water pipeline to extend from the
              Brownsville Navigation District’s (BND) existing system to the LNG Terminal;

          •   construction of a new 12-inch-diameter pumped sewage pipeline to extend from the
              BND’s existing system to the LNG Terminal;

          •   construction of standard utility connections at the compressor and booster stations;
              and

          •   modifications to Texas State Highway (SH)-48 near the LNG Terminal.

          These facilities are described below and in our cumulative impacts analysis in section
  4.13 of this EIS.

  1.4.1       LNG and Natural Gas Liquids Condensate Trucking

          The proposed truck loading facilities for LNG and natural gas liquids (NGL)
  condensate at the LNG Terminal are jurisdictional facilities; however, once a loaded truck
  leaves the LNG Terminal, it would no longer fall under the jurisdiction of the FERC. As a




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  general rule, FERC jurisdiction over the interstate transportation of natural gas in either a
  gaseous or liquefied state is limited to transportation by pipeline (i.e., FERC jurisdiction does
  not extend to deliveries of natural gas, or its byproducts, by truck, train, or barge).10 Further,
  jurisdiction over LNG import/export facilities and services under Section 3 of the NGA would
  not follow the LNG trucks after they exit the boundary of the LNG Terminal, as the LNG
  would at that point be moving in either interstate or intrastate commerce, rather than in foreign
  commerce. Because these activities are not under the Commission’s jurisdiction, we cannot
  require RG LNG to implement measures to mitigate environmental impacts; therefore, the
  mitigation measures presented in this EIS relative to LNG trucking are only those proposed by
  RG LNG.

          During operation of the Rio Grande LNG Project, a portion of the LNG produced at the
  LNG Terminal would be loaded onto third-party trucks for distribution to refueling stations in
  south Texas. While market demand would ultimately drive the amount of LNG loaded onto
  trucks, and no agreements have been executed for the transportation of LNG in trucks, RG
  LNG’s trucking facilities are being designed to include 4 loading bays, each with the capacity
  to load 12 to 15 trucks per day. RG LNG’s current projections indicate that full use of these
  bays would result in the road distribution of 0.4 MTPA (less than 1.5 percent of the LNG
  Terminal’s annual production). Similarly, RG LNG would install 2 condensate truck loading
  bays and anticipates that each bay would support up to 15 NGL condensate trucks (11,600
  gallons each) per day.

         Tanker trucks carrying LNG or condensate from the LNG Terminal would use the
  paved public road routes in the vicinity of the LNG Terminal, including SH-48, SH-550, and
  SH-802; Interstate Highways 69E, 2, 69C, 281, 77, 83, and 37; and Mexico 101. The DOT
  would require that tanker trucks comply with requirements for transporting hazardous
  materials.

  1.4.2       Electric Transmission Line and Switchyard for the LNG Terminal

          Operational power supply would be provided by an expansion of the local AEP power
  grid, which is being proposed to service the new Port of Brownsville developments. The new
  138-kilovolt (kV) power line, which would be constructed and operated by AEP, would be
  approximately 8 miles in length and collocated with SH-48 for as much of the route as
  possible. Although the final routing of this power line has not been determined, the currently
  considered route crosses wetlands, waterbodies, and an FWS easement (wildlife crossing area).
  AEP would also construct, own, and operate two new switchyards, about 500-foot by 500-foot
  each, at either end of the new line to better provide reliability to the electric grid. The new
  switchyard within the LNG Terminal boundary would connect the LNG Terminal to the power
  lines via underground cables. RG LNG anticipates that permanent power would be available to
  the LNG Terminal beginning in 2019. Back-up power would be provided via six 2,725-




  10
          See Exemption of Certain Transport and/or Sales of Liquefied Natural Gas from the Requirements of Section 7(c)
          of the NGA, 49 FPC 1078, at 1079 (1973).




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  kilowatt diesel generators that would only be used during emergency scenarios where supplied
  power from the power grid is lost.

         A new low voltage (12.5-kV) temporary power line, installed and operated by AEP,
  would be the main source of power during construction. The temporary power line would
  connect the Rio Grande LNG Terminal to an existing substation in Port Isabel (about 4 miles
  away), and would be located within the Texas Department of Transportation (TxDOT) right-
  of-way south of SH-48. The power line is anticipated to have 303 wooden poles, which would
  impact about 0.5 acre of land. RG LNG anticipates that the temporary power lines would be
  operational in Year 1 of construction; prior to that, portable diesel engine-driven generators
  would be used. The portable generators would also be used in conjunction with the temporary
  power lines in more remote locations of the LNG Terminal site.

  1.4.3      Potable Water Supply Header

           Permanent potable water required during operation of the LNG Terminal would be
  supplied by the BND via a 16-inch-diameter water supply header that will be constructed for
  incremental water supply for future Port of Brownsville users. The BND has plans to construct
  the water supply header in a proposed utility corridor adjacent to SH-48 so that existing and
  future customers could have access to freshwater from the municipal supplies in the Port of
  Brownsville. The LNG Terminal would tie directly into the BND’s water supply header, and a
  system of piping within the LNG Terminal would deliver freshwater into the demineralized
  water system as well as to the various facilities requiring it for drinking water and to supply
  utility hoses and safety showers. RG LNG estimates that the LNG Terminal would require
  about 84.7 gallons per minute (gpm) (121,968 gallons per day) of freshwater, most of which
  would be used in the demineralized water system (72.5 gpm or 104,400 gallons per day). The
  BND and Brownsville Public Utilities Board have verified that the municipal system and
  proposed water supply header have sufficient capacity to service the Rio Grande LNG
  Terminal as well as the municipality’s existing customers.

          The BND anticipates that the water supply header would not be available for tie-in until
  construction has commenced mid-way through Year 1; prior to that, freshwater would be
  purchased from the BND, loaded onto RG LNG trucks at the bulk water loading area (see
  section 2.1.1.7), and delivered to the LNG Terminal.

  1.4.4      Pumped Sewage Pipeline from the LNG Terminal

          The BND proposes to construct a 12-inch-diameter pumped sewage collection header
  adjacent to its water supply header that, when complete, would transport sewage and
  wastewater generated by the terminal to an existing sewage treatment plant approximately 4.5
  miles west of the LNG Terminal. Prior to construction of the pumped sewage collection
  header, RG LNG would pump sewage from its internal sewage system into trucks and have it
  delivered to the sewage treatment plant.

  1.4.5      Utility Connections for the Pipeline Facilities

         RB Pipeline has identified the need for standard utility connections at the compressor
  and booster stations, including electrical power, sewage lines, and freshwater supply lines.


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  Although the routing of these utility lines is not currently known, RB Pipeline has begun
  coordinating with the local utilities to determine the placement, impacts, and permitting
  required for utility installation, and will provide additional information as it becomes available.

  1.4.6        Modifications to State Highway 48

          The TxDOT is currently planning to update portions of SH-48 along the Rio Grande
  LNG Terminal site to accommodate access. Modifications were identified during RG LNG’s
  early coordination with TxDOT and include the addition of land for acceleration, deceleration,
  and turning, as well as traffic lights. During a November 2018 meeting, RG Developers also
  identified a reduction in speed limit near the LNG Terminal site along SH-48. TxDOT
  requested that RG Developers provide an updated Traffic Impact Analysis for review,
  including a speed study, to assess the current road conditions and traffic mitigation. RG
  Developers filed the updated study for FERC review on March 13, 2019 (see section 4.9.8.1).

  1.5     PERMITS, APPROVALS, AND REGULATORY REVIEWS

         As the lead federal agency, the FERC is required to comply with Section 7 of the ESA,
  the MSFCMA, Section 106 of the NHPA, and Section 307 of the CZMA, EPAct 2005, and
  Sections 3 and 7 of the NGA. Each of these statutes has been taken into account in the
  preparation of this EIS.

          Table 1.5-1 lists the major federal and state permits, approvals, and consultations
  identified for the construction and operation of the Project. Table 1.5-1 also identifies when
  RG Developers commenced or anticipate commencing formal permit and consultation
  procedures. RG Developers are responsible for all permits and approvals required to
  implement the Rio Grande LNG Project, regardless of whether they appear in the table. FERC
  encourages cooperation between applicants and state and local authorities; however, state and
  local agencies, through the application of state and local laws, may not prohibit or
  unreasonably delay the construction or operation of facilities approved by FERC. Any state or
  local permits issued with respect to jurisdictional facilities must be consistent with the
  conditions of any authorization the Commission may issue.11




  11
          See 15 USC 717r(d) (state or federal agency’s failure to act on a permit considered to be inconsistent with Federal
          law); see also Schneidewind v. ANR Pipeline Co., 485 U.S. 293, 310 (1988) (state regulation that interferes with
          FERC’s regulatory authority over the transportation of natural gas is preempted) and Dominion Transmission, Inc. v.
          Summers, 723 F.3d 238, 245 (D.C. Cir. 2013) (noting that state and local regulation is preempted by the NGA to the
          extent it conflicts with federal regulation, or would delay the construction and operation of facilities approved by the
          Commission).




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                                                                           Table 1.5-1
                                          Federal and State Agency Permits, Approvals, and Consultations for the Project

                                                                                                                          Status
                                     Permits, Approval, or
                     Agency
                                        Consultation
                                                                                            Terminal                                                  Pipeline

               FEDERAL
                              NGA - Section 3(a) - Authorization for
                                  construction and operation of                 Application filed on May 5, 2016.                               Not applicable (NA)
                                      liquefaction facility
               FERC            NGA - Section 7(c) – Certificate of
                              Public Convenience and Necessity for
                                                                                                NA                                        Application filed on May 5, 2016.
                                construction and operation of the
                                        Pipeline System
                                                                              Application filed on December 23, 2015.
                              Authorization to export LNG by vessel
               DOE                                                        FTA Authorization received on August 17, 2016.                                  NA
                                  to FTA and non-FTA nations
                                                                                Non-FTA Authorization is pending.
1-21




                                                                       Permit application and conceptual mitigation plan filed
                                                                                                                               Permit application for the Pipeline System CWA Section
                                                                      on July 27, 2016. Approved jurisdictional determination
                              Permit application pursuant to the CWA received March 6, 2018. Updated permit application          10/404 filed on February 13, 2017. Updated permit
                                 Section 404 / RHA - Section 10                                                                             application filed May 1, 2018.
               COE                                                                    filed on March 30, 2018.
                                                                                                                                                 Under COE review.
                                                                                         Under COE review.
                              Real Estate Permit application pursuant
                                                                                Application filed on April 12, 2018.                      Application filed on May 2, 2018.
                                      to the RHA - Section 14
                                                                                LOI submitted March 18, 2015.
                               LOR as to the suitability of waterway
               Coast Guard                                              Follow-on WSA submitted on December 17, 2015.                                    NA
                                     for LNG marine transit
                                                                                LOR issued December 26, 2017.
                              49 CFR 192 Consultation (standards for
                                                                                                                                                        NA
               DOT PHMSA              natural gas pipelines)                     LOD issued on March 26, 2019.
                                                                                                                                          Informal consultation is ongoing.
                                     49 CFR 193, Subpart B
                                  CWA Section 402 – NPDES -
                                Hydrostatic Test Water Discharge
                                                                       Permit application pending, anticipated submittal: one   Permit application pending, anticipated submittal: one
               EPA              Permit; Construction Waste Water
                                                                               month after any FERC authorization.                       month after any FERC Certificate.
                                Discharge Permit, and Operational
                                 Waste Water Discharge Permit
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                                                                            Table 1.5-1 (continued)
                                       Federal and State Agency Permits, Approvals, and Consultations Requirements for the Project

                                                                                                                                  Status
                                           Permits, Approval, or
                     Agency
                                              Consultation
                                                                                                   Terminal                                                Pipeline

               FEDERAL (continued)
                                         ESA Section 7 Consultation          Technical Assistance Request Submitted on March 27,        Technical Assistance Request Submitted on March
                                                                              2015. Multiple follow-up meetings through 2018 to           27, 2015. Follow-up meetings through 2018 to
                                      Fish and Wildlife Coordination Act
               FWS                                                           discuss the Rio Grande LNG Project status, mitigation    discuss the Rio Grande LNG Project status, mitigation
                                                Consultation                          measures, and Section 7 consultation.           measures, and Section 7 consultation. Consultation is
                                             MBTA Consultation                              Consultation is ongoing.                                        ongoing.
               International
               Boundary and Water Permit to cross waterbodies regulated                                                               Consultation is ongoing. Permit application pending,
                                                                                                      NA
               Commission                     by the IBWC                                                                               anticipated one month after FERC authorization.
               (IBWC)
                                         ESA Section 7 Consultation
1-22




                                         MMPA Section 101(a)(5) -
                                    Consultation, in conjunction with FWS, Technical assistance request Submitted on March 27,        Technical assistance request Submitted on March 27,
                                      for potential impacts on federally    2015. Follow-up meetings in 2017 and 2018. FERC           2015. Follow-up meetings in 2017 and 2018. FERC
               NMFS                      protected marine mammals          submitted a final EFH Assessment to NMFS for review           submitted a final EFH Assessment to NMFS for
                                                                              on February 14, 2019, and NMFS concurred on              review on February 14, 2019, and NMFS concurred
                                     Fish and Wildlife Coordination Act        February 15, 2019. Consultation is complete.              on February 15, 2019. Consultation is complete.
                                                 Consultation
                                           MSFCMA Consultation
                                     Consultation on potential impacts on                                                              Initial agency consultation meeting on February 5,
                                                                               Initial agency consultation meeting on February 5,
               NPS                    cultural resources and pursuant to                                                                                      2016.
                                                                                         2016. Consultation is ongoing.
                                          Section 106 of the NHPA                                                                                   Consultation is ongoing.
                                                                              Notice of Proposed Construction or Alteration (FAA
                                       FAA Determination of Hazard or
                                                                                  Form 7460-1) filed on June 21, 2018. FAA
               DOT FAA              Determination of No Hazard pursuant to                                                                                    NA
                                                                               determination provided for temporary construction
                                                 14 CFR 77
                                                                                                   cranesa.
               U.S. Department of     Consultation regarding impacts on
                                                                               Letter of minimal impacts received June 4, 2018.                               NA
               Defense                       military operations
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                                                                          Table 1.5-1 (continued)
                                     Federal and State Agency Permits, Approvals, and Consultations Requirements for the Project

                                                                                                                              Status
                                         Permits, Approval, or
                   Agency
                                            Consultation
                                                                                                 Terminal                                                Pipeline

               STATE
                                                                                                                                      Standard Permit and Permit by Rule application for
                                                                                                                                    Compressor Station 3 filed on May 12, 2016; approval
                                                                                                                                                  received September 30, 2016.
                                                                                                                                    Standard Permit applications for Compressor Stations 1
                                        CAA; New Source Review -             PSD Permit (Construction) application filed on May     and 2 filed March 24, 2017; approvals received June 26
                                         Prevention of Significant           12, 2016; Revision 1 filed on November 30, 2016,                          and 7, respectively.
               Texas Commission      Deterioration (PSD) permits, and       Revision 2 filed on March 22, 2017; Final Air Quality    Permit by Rule applications for Interconnect Booster
               on Environmental    Title V Operating Permit; Temporary        Modeling Analysis Report filed June 2017; PSD             Stations 1 and 2 filed March 24, 2017; approvals
               Quality                       Water Use Permit;                    permits received on December 17, 2018.                 received June 9 and June 7, 2017, respectively.
                                   Title 2, Texas Water Code - Section      Anticipated Temporary Water Use Permit Application      Title 2, Texas Water code - Section 11.138 -Temporary
                                                  11.138                                 submittal: 3rd Quarter 2019.                  Water Use Permit - anticipated permit application
1-23




                                                                                                                                       submittal: one month after any FERC Certificate.
                                                                                                                                    Title 2, Texas Water code - Section 11.138 Temporary
                                                                                                                                       Water Use Permit - anticipated permit application
                                                                                                                                       submittal: one month after any FERC Certificate.
                                  Form 1058, Permit to Construct Access
                                  Driveway Facilities on Highway Right-
                                        of-Way pursuant to Texas
                                   Administrative Code (TAC), Part 1,
                                                                            Anticipated permit application submittal: one month      Anticipated permit application submittal: one month
               TxDOT                Chapter 11, Subchapter C: Access                   after any FERC Authorization.                             after any FERC Certificate.
                                   Connections to State Highways Rule
                                    11.56: delegation of Access Permit
                                      Authority to Municipalities of
                                             Eligible Counties
                                                                            Technical assistance request submitted on March 27,     Technical assistance request submitted on March 27,
                                  Consultation pursuant to Title 5, TPWD
                                                                                                   2015.                                                    2015.
               TPWD               Code- Chapters 67, 68, and 88 and Title
                                           31, TAC - Section 65             Follow-up meetings through 2018. Consultation is          Follow-up meetings through 2018. Consultation is
                                                                                                  ongoing.                                                 ongoing.
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                                                                                 Table 1.5-1 (continued)
                                            Federal and State Agency Permits, Approvals, and Consultations Requirements for the Project

                                                                                                                                        Status
                       Agency            Permits, Approval, or Consultation
                                                                                                           Terminal                                                 Pipeline

               STATE (continued)
                                                                                    Phase I cultural survey report submitted on May 8, 2015;
                                                                                                                                               Approval of the Project Unanticipated Discovery Plan
                                                                                      SHPO concurred with the findings on May 15, 2015.
                                                                                                                                                           received on November 10, 2016.
                                                                                     Phase I cultural survey for offsite facilities associated
                                                                                                                                                 Phase I cultural survey report submitted on May 16,
                                           Letter of approval on assessment and       with the LNG Terminal submitted in October, 2016;
                   Texas Historical                                                                                                            2016, and revised in June 2016; SHPO concurred with
                                         protection of historic properties pursuant    SHPO concurred with the findings on December 1,
                   Commission – State           to Section 106 of the NHPA;                                     2016.
                                                                                                                                                          the findings on September 6, 2016.
                   Historic Preservation                                                                                                        Phase I cultural survey report addendum submitted in
                                          Title 9, Texas Natural Resources Code-     Approval of the Project Unanticipated Discovery Plan
                   Office (SHPO)                                                                                                                October 2016; SHPO concurred with the findings on
                                         Chapter 191 “Antiquities Code of Texas”                 received on November 10, 2016.
                                                                                                                                                                  November 30, 2016.
                                                                                     Concurrence with the viewshed and noise assessments
                                                                                                                                               Additional survey report(s) and consultation pending
                                                                                    on potential impacts to the Palo Alto and Palmito Ranch
                                                                                                                                                         grant of landowner survey access.
                                                                                                  Battlefields on March 19, 2018.
1-24




                                         CZMA Section 407 - Coastal Use Permit        Consistency Determination filed on July 27, 2016 as      Consistency Determination filed on July 27, 2016,
                                         Coastal Zone Management Consistency           part of the COE Permit application and revised on       as part of the COE Permit application; revised on
                                                    Determination.                     March 6, 2017 and March 30, 2018; under review.                    March 6, 2017; under review.

                                            CWA Section 401 - Water Quality          Anticipated Water Quality Certification submitted on
                                                                                                                                              Submittal of Water Quality Certification is pending;
                                                      Certification                  July 27, 2016 as part of the COE Permit Application;
                                                                                                                                               anticipated one month after any FERC Certificate.
                                             Title 16, TAC - Section 3.93.                               under review.
                   Railroad
                   Commission of        Title 2, Texas Water Code - Section 26.131 Anticipated Hydrostatic Discharge Permit application          Anticipated permit application submittal: one
                   Texas                       - Hydrostatic Discharge Permit       submittal: one month after any FERC authorization.               month after any FERC authorization.

                                            Title 2, Texas Water Code- Section       Anticipated Operations Discharge and Surface Water
                                                                                                                                                 Anticipated permit application submittal: one
                                           26.131(b) - Operations Discharge and      Management Permit application submittal: one month
                                                                                                                                                     month after any FERC authorization.
                                            Surface Water Management Permit                     after any FERC authorization.

                                           Title 16, TAC - Section 8.115 - New
                                                                                      Anticipated permit application submittal: 1st Quarter Anticipated permit application submittal: one month
                                           Construction Commencement Report
                                                                                                             2019.                                     after any FERC authorization.
                                                         Permit
Introduction




               a
                          As detailed in Section 4.12.1, an additional FAA determination may be required for LNG carriers.
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         Section 7 of the ESA states that any project authorized, funded, or conducted by any
 federal agency should not “…jeopardize the continued existence of any endangered species or
 threatened species or result in the destruction or adverse modification of habitat of such species
 which is determined…to be critical…” (16 USC 1536(a)(2)(1988)). To comply with Section 7,
 the FERC is required to determine whether any federally listed or proposed threatened or
 endangered species or their designated critical habitat occur in the vicinity of the proposed
 Project and conduct consultations with the FWS and/or NMFS, if necessary. If, upon review of
 existing data or data provided by RG Developers, the FERC determines that these species or
 habitats may be affected by the Project, the FERC is required to prepare a biological assessment
 (BA) to identify the nature and extent of adverse impact, and to recommend measures that would
 avoid the habitat and/or species, or would reduce potential impact to acceptable levels. Section 4.7
 provides information on the status of this review.

          The MSFCMA as amended by the Sustainable Fisheries Act of 1996 (Public Law 104-
 267), established procedures designed to identify, conserve, and enhance EFH for those species
 regulated under a federal fisheries management plan. The MSFCMA requires federal agencies to
 consult with NMFS on all actions or proposed actions authorized, funded, or undertaken by the
 agency that may adversely affect EFH (MSFCMA Section 305(b)(2)). Although absolute
 criteria have not been established for conducting EFH consultations, NMFS recommends
 consolidating EFH consultations with interagency coordination procedures required by other
 statues, such as NEPA, the Fish and Wildlife Coordination Act (FWCA), or the ESA (50 CFR
 600.920(e)), to reduce duplication and improve efficiency. As part of this consultation process,
 the FERC staff prepared an EFH assessment, which was revised based on additional Project
 information from RG Developers and recommendations by NMFS. On February 15, 2019,
 NMFS issued a letter concurring with our conclusion that impacts on open water EFH would be
 temporary and minor, and does not have EFH conservation recommendations for the Project.
 Therefore, consultation under the MSFCMA is complete. The EFH assessment is included as
 appendix M of this EIS.

         Section 106 of the NHPA requires that the FERC take into account the effects of its
 undertakings on properties listed, or eligible for listing, in the National Register of Historic
 Places (NRHP), including prehistoric or historic sites, districts, buildings, structures, objects, or
 properties of traditional religious or cultural importance, and to afford the Advisory Council on
 Historic Preservation (ACHP) an opportunity to comment. RG Developers, as non-federal
 parties, are assisting the FERC in meeting its obligations under Section 106 by preparing the
 necessary information, analyses, and recommendations under the ACHP’s regulations in 36 CFR
 800, including Section 800.10 (Special requirements for protecting National Historic
 Landmarks). The status of cultural resources surveys and Section 106 consultation is provided in
 section 4.10.

         EPAct 2005 and Section 3 of the NGA require us to consult with the U.S. Department of
 Defense to determine if there would be any impacts associated with the Rio Grande LNG Project
 on military training or activities on any military installations. We issued a letter to the U.S.
 Department of Defense on February 12, 2016; on June 4, 2018, a response was received
 indicating that the Project would have minimal impact on military training and operations in the
 area.



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         Besides the FERC, other federal agencies have responsibilities for issuing permits or
 approvals to comply with various federal laws and regulations. The Coast Guard exercises
 regulatory authority over the suitability of the Project Waterway for LNG marine traffic. As
 required by its regulations, the Coast Guard is responsible for issuing an LOR as to the suitability
 of the waterway for LNG marine traffic. The Coast Guard issued its LOR on December 26,
 2017. Impacts on vessel traffic are summarized in section 4.9.8.2 of this EIS.

         The COE has responsibility for determining compliance with all regulatory requirements
 associated with Section 404 of the CWA. The EPA also independently reviews Section 404
 applications for wetland dredge-and-fill applications for the COE and has Section 404(c) veto
 power for wetland permits issued by the COE. The Section 404 permitting process regulates
 dredging and/or filling waters of the United States. Before an individual Section 404 permit can
 be issued, the CWA requires completion of a Section 404(b)(1) guideline analysis. RG
 Developers submitted the Section 401/404 application to the COE for the LNG Terminal on July
 27, 2016 and for the Pipeline System on February 14, 2017. Revised permit applications were
 submitted in early 2018 to account for Project changes, and the COE issued a formal Notice for
 public review on October 18, 2018, regarding the LNG Terminal and Pipeline System permit
 applications. This COE review is underway. The FERC, in the NEPA review represented by
 this EIS, has analyzed all technical issues required for the Section 404(b)(1) guideline analyses,
 including analysis of natural resources and cultural resources that would be affected by the
 Project, as well as analyses of alternatives. The results of our analysis of alternatives are
 provided in section 3.0 of this EIS; a summary of impacts on surface waters and wetlands are
 provided in sections 4.3.2.2 and 4.4.2, respectively, of this EIS.

         In addition to CWA responsibilities, the COE has jurisdiction over Sections 10 and 14 of
 the RHA. Section 10 requires authorization for excavation, fill, or modification within or
 beneath navigable waterways. RG Developers’ Section 10 applications for the LNG Terminal
 and Pipeline System were filed concurrently with their Section 401/404 applications. Impacts on
 Section 10 waterbodies are summarized in section 4.3.2.2 of this EIS. Applications for
 authorizations under Section 14, which authorizes the review of requests that could modify COE
 civil works projects, were filed in early 2018 and are currently under review by the COE.

         The CZMA calls for the “effective management, beneficial use, protection, and
 development” of the nation’s coastal zone and promotes active state involvement in achieving
 those goals. As a means to reach those goals, the CZMA requires participating states to develop
 management programs that demonstrate how those states will meet their obligations and
 responsibilities in managing their coastal areas. For oil and gas projects, the Texas CZMA is
 administered by the Railroad Commission of Texas (RRC) through the Texas Coastal
 Management Program (CZMP). Activities or development affecting land within Texas’ coastal
 zone are evaluated by the RRC for compliance with the CZMA through a process called “federal
 consistency.” The LNG Terminal and the majority of pipeline facilities from milepost (MP) 69.8
 to the LNG Terminal would be located within the designated coastal zone. RG Developers have
 requested a CZMA determination for the Project as part of the COE Section 10/404 permitting
 process, and submitted a revised application for determination of consistency with the Texas
 CZMP to the COE and RRC on March 6, 2017; provision of a subsequent revision occurred in
 early 2018 and is under review. Therefore, we have recommended in section 4.8.3 that RG
 Developers file the final determination from the RRC with the FERC prior to construction.


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         The CAA was enacted by the U.S. Congress to protect the health and welfare of the
 public from the adverse effects of air pollution. The CAA is the basic federal statute governing
 air pollution. Federal and state air quality regulations established as a result of the CAA include,
 but are not limited to, Title V operating permit requirements and PSD Review. The EPA is the
 federal agency responsible for regulating stationary sources of air pollutant emissions; however,
 the federal permitting process has been delegated to the Texas Commission on Environmental
 Quality (TCEQ) in Texas. RG Developers submitted their PSD permit application along with an
 Air Dispersion Modeling Protocol and Results for the LNG Terminal and Compressor Station 3
 to the TCEQ on May 12, 2016; revised applications were submitted on November 30, 2016, and
 March 21, 2017, and the TCEQ issued an Order granting the PSD permit on December 17, 2018.
 RG Developers plan to submit the Title V permit application for the LNG Terminal and
 Compressor Station 3 prior to beginning construction. Compressor Stations 1 and 2 and the
 booster stations would all require minor source permits, which RB Pipeline submitted to the
 TCEQ on March 24, 2017; these applications were approved in June 2017. Title V operating
 permits would be submitted prior to commencing operations. Air quality impacts that could
 occur as a result of construction and operation of the Project are evaluated in section 4.11.1.3 of
 this EIS.

         The proposed Project must comply with Sections 401, 402, and 404 of the CWA. Water
 quality certification (Section 401) has been delegated to the state agencies, with review by the
 EPA. Water used for hydrostatic testing that is point-source discharged into waterbodies would
 require a NPDES permit (Section 402), which would be issued by the TCEQ. Potential impacts
 on water quality as a result of construction and operation of the Project are discussed in section
 4.3.2.2 of this EIS.




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 2.0    PROPOSED ACTION

 2.1    PROPOSED FACILITIES

         The Rio Grande LNG Project consists of an LNG Terminal and pipeline facilities located
 in south Texas. Figure 1-1 in section 1.0 provides the general location of the Rio Grande LNG
 Project. A description of these facilities is provided below:

        •    LNG Terminal: Construction and operation of various LNG, LNG distribution, and
             appurtenant facilities within the boundaries of the site leased by RG LNG along the
             BSC in Cameron County. Components of the Rio Grande LNG Terminal (LNG
             Terminal) would include:

             o RG LNG’s facilities to treat and liquefy natural gas, store LNG, and load LNG
               onto LNG carriers (or LNG marine vessels) and trucks for export and domestic
               distribution, respectively:

                ▪   liquefaction trains;12

                ▪   storage tanks;

                ▪   docking facilities and turning basin;

                ▪   truck loading and unloading facilities;

                ▪   administration buildings and parking;

                ▪   operation and safety requirements (security fencing, fire suppression, storm
                    water management structures, spill containment structures); and

                ▪   ground flares.

             o utilities (water, sewage, electricity, plant air, nitrogen); and

             o RB Pipeline’s Compressor Station 3 (RB Pipeline’s Gas Gate Station), a metering
               site, and the interconnection to the RB Pipeline System.

                ▪   Pipeline Facilities: Construction of new pipeline facilities to transport natural
                    gas from sources of existing supply to the LNG Terminal. Components of RB
                    Pipeline’s facilities include:

             o the Pipeline System, including:




        12
                A liquefaction train is a system that liquefies natural gas.




                                                        2-1                                Proposed Action
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                ▪   2.4 miles of 42-inch-diameter pipeline, including 0.8 mile of dual pipeline, to
                    gather gas from existing systems in Kleberg and Jim Wells Counties (referred
                    to as the Header System); and

                ▪   135.5 miles of parallel 42-inch-diameter pipelines originating in Kleberg
                    County and terminating at the Rio Grande LNG Terminal in Cameron County
                    (referred to as Pipelines 1 and 2).

            o the aboveground pipeline facilities, including:

                ▪   four stand-alone metering sites along the Header System;

                ▪   two new compressor stations in Kleberg County (Compressor Station 1, which
                    includes a metering site) and Kenedy County (Compressor Station 2);

                ▪   two new interconnect booster compressor stations in Kenedy County, each
                    with a metering site; and

                ▪   appurtenant facilities along the Pipeline System.

 2.1.1 LNG Terminal

         The LNG Terminal would be located on 750.4 acres of a 984.2-acre parcel of land along
 the northern shore of the BSC in Cameron County, approximately 9.8 miles east of Brownsville
 and about 2.2 miles southwest of Port Isabel (see figure 2.1.1-1). RG LNG would lease the site
 from the BND for a term of up to 50 years.

         The LNG Terminal would receive natural gas via RB Pipeline’s proposed Pipeline
 System, which would connect the LNG Terminal to the existing infrastructure near the Agua
 Dulce hub in Nueces County. The Pipeline System would terminate at RB Pipeline’s
 Compressor Station 3, which would be within the boundaries of the LNG Terminal. Upon
 custody transfer of the natural gas to RG LNG, it would be treated, liquefied, and stored onsite in
 four, full-containment LNG storage tanks.

         The LNG would be loaded onto either LNG carriers for export overseas, or onto LNG
 trucks for distribution to vehicle refueling stations in south Texas. Additional information
 regarding the LNG Terminal components is provided below; major components of the LNG
 Terminal are depicted in figure 2.1.1-2.

 2.1.1.1    RB Pipeline Gas Gate Station

          RB Pipeline would construct and operate the Gas Gate Station within the boundary of the
 LNG Terminal. The Gas Gate Station would include Compressor Station 3, which would
 facilitate the transportation of up to 4.5 Bcf/d of natural gas (feed gas) from RB Pipeline’s
 proposed Pipeline System to the LNG Terminal. Compressor Station 3 would raise the operating
 pressure of the Pipeline System to about 1,200 pounds per square inch (psi), at which point the
 natural gas would pass into RG LNG’s control through a custody transfer meter (Metering Site
 4).


                                                2-2                                 Proposed Action
                      Laguna
                       Larga




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                  Bahia Grande
                    Channel




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MP 133.5
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4



                                                                 Legend


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                                                                                                                                                                                                     Page 74 of 732
                                                         Proposed LNG Terminal
                                                         Boundary (Facility Footprint)                                                            Rio Grande LNG Project
                                                         LNG Terminal Site
                          Gulf of                        (Leased Parcel)
                          Mexico
                                                         BSC Dredge Areas
                                                                                                    0             0.5                       1   Rio Grande LNG Terminal Site
                                                         Pipeline Route                                          Miles
                                                         Port Isabel Dredge Pile                                                                                   Figure 2.1.1-1
                                                                                                        Scale: 1:50,000
                                         AERIAL IMAGERY: NATIONAL AGRICULTURE IMAGERY
                                         PROGRAM (NAIP) 2014 - http://datagateway.nrcs.usda.gov/.
     A             B           C                   D          E            F             G             H         I              J              K             L                M           N           O          P   Q            R           S         T            U            V                 W                X              Y               Z               AA            BB          CC          DD          EE




                                                                                                                                                                                                                                                                                                                                                                                                                           USCA Case #23-1174
         PLANT
1
                TRUE                                                                                                                                                                                                                                                                                                                                                                                                                             1
         NORTH
               NORTH


2                                                                                                                                                                                                                                                                                                                                                                                                                                               2




3                                                                                                                                                                                                                                                                                                                                                                                                                                               3

     32.1703


4                                                                                                                                                                                                                                                                                                                                                                                                                                               4




5                                                                                                                                                                                                                                                                                                                                                                                                                                               5




6                                                                                                                                                                                                                                                                                                                                                                                                                                               6
                                                                                                                                                                                                                                                                                                                                                                                            ADMINISTRATION BUILDING




7                                                                                                                                                                                                                                                                                                                                                                                                                                               7




                                                                                                                                                                                                                                                                                                                                                                                                                           Document #2038760
                                                                                                                                                                                                                         ESSENTIAL DIESEL
                                                                                                                                                                                                                         GENERATORS
8                                                                                                                                                                                                                                                                                                                                                                                                                                               8
                                                                                                                                                                                         VALLEY CROSSING
                                                                                                                                                                                         PIPELINE (ENBRIDGE)
                                                                                                                                                                                                                         CONDENSATE STORAGE
                                                                                                                                                                                         BURIED

                                                                                                                                                                                          LEVEE
9                                                                                                                                                                                                                                                                                                                                                                                                                                               9
                                   PIPELINE METERING
                                                                                                           ESSENTIAL DIESEL
                                                                                                           GENERATORS
                                   PIPELINE PIGGING
                                   AREA                                                                               UTILITY                                                                                                                                                                            GENERAL
10                                                                                                                                                                                                                                                                                                                                                                                                                                              10
                                                                                                                     CORRIDOR                                                                                                                                                                            PARKING
                                   PROPERTY BOUNDARY                                                                                                                                                                                                                                                                                                                                        PROPERTY BOUNDARY
                                   FENCE                                                                                                                                                                                                                                                                                                                                                    FENCE
                                                                                                                                                    EXISTING HIGHWAY 48

11                                                                                                                                                                                                                                                                                                                                                                                                                                              11
                                                                                                                                                                                                                                                                                                                    POND 1
                   K
                                   CH




                                                                                                                 UNDERGROUND PIPE CORRIDOR




                                                                                                                                                                                                                                                                                                         POND 2
                                     AN




                                                                                     SWITCH YARD
                                       NE




12                                                                                                                                                                                                                                                                                                                                                                                                                                              12
                                                   WEST NATURAL
                                         L
                                        WID




                                                   BUFFER AREA
                                                                                                                                                                                                            GROUND
                                           EN




                                                                                                                        TRAIN 6              TRAIN 5             TRAIN 4            TRAIN 3                 FLARES            TRAIN 2         TRAIN 1                                                                                                    EAST NATURAL
                                             ING




                                                                                                                                                                                                                                                                                                                                                         BUFFER AREA
13                                                                                            POND 6                                                                                                                                                                                                                                                                                                                                            13
                                                                                                                                                                                                                                                                                                                                                                                             VALLEY CROSSING
                          PIPELINE                                                                                                                                                                                                                           LNG          LNG                                                                                                                PIPELINE (ENBRIDGE)
                          COMPRESSOR                                                                                                                                                                                                                        TANK 1       TANK 2           LNG            LNG
                          STATION                                         SECURITY FENCE                                                                                                                                                                                                                                                                                                     BURIED
                                                                                                                                                                                                                                                                                         TANK 3         TANK 4

14                                                                                                                                                                                                                                                                                                                                                                                                                                              14




                                                                                                                                                                                                                                                                                                                                                                                                                           Filed: 02/02/2024
                                                                                                                                    POND 5                                 POND 4                                           POND 3                                                                                                                                                            SEAWATER FIRE PUMPS
                                                                                                                                                   LEVEE

                                                                                                                                                                                                                                                                                                                                                                                             LNG AND CONDENSATE
                          U.S.A.C.E CENTERLINE OF                 PROPERTY                                   K                                                                                                                                                                                                                                                                               TRUCK LOADING BAYS
15                        BROWNSVILLE SHIP CHANNEL                BOUNDARY FENCE                                                                                                                                                                                BERTH 1                                                                                                                                                                         15
                                                                                                                                                                  CHANNEL LINE                                                                                                                 BERTH 2                          TURNING
                                                                                                                                                                                                                                                                                                                                 CIRCLE                                                       WATER INTAKE CHANNEL FOR
                                                                                                                                                                                                                                                                                                                                                                                              SEAWATER FIRE PUMPS
                                                                                                                                                                  CHANNEL LINE
16                                                                                                                                                                                                                                                                                                                                                                                                                                              16

                                                                                                                                                                                                                                                                                                                                                                          K
                                                                                                                                                                                                                           LNG TANK
                                                                                                                                                                                                                           AND SHIP
                                                                                                                                                                                                                           BOG VENT
                          CENTERLINE OF                                 MATERIAL
17                        BROWNSVILLE SHIP CHANNEL                      OFFLOADING                                                                                                                                                                                                                                                                                                                                                              17

                          AS REFERENCED IN DEED FROM                    FACILITY
                          GARCIA LAND AND LIVESTOCK CO.
                                                                                                                                                                                                                             BOG AREA
                                                                                                                                                                                                                                                                                                                                                                              EXISTING SHORELINE
                                                                                                                                                                                                                                                                                  TYPICAL LNG
18                                                                                                                                                                                                                                                                                                                                                                                                                                              18
                                                                                                                                                                                                                                                                                  CARRIER



         THIS DOCUMENT IS RELEASED FOR THE PURPOSE OF SUPPORT OF RIO                                                                                                                                                                                                              0           500            1000        1500      2000        2500 FEET
19       GRANDE LNG FERC FILING FOR INCLUSION IN FERC RESOURCE                                                                                                                                                                                                                                                                                                                                                                                  19
         REPORT 13 UNDER THE AUTHORITY OF BALDEV PATEL 46867 ON 18 SEP




                                                                                                                                                                                                                                                                                                                                                                                                                           Page 75 of 732
         2017. IT IS NOT TO BE USED FOR ANY OTHER PURPOSES. REGISTERED
         BRANCH OFFICE: CB&I UK LIMITED REGISTRATION NUMBER: F-10296




                                                                                                                                                                                                                                                                                                                                                                    Rio Grande LNG Project
20                                                                                                                                                                                                                                                                                                                                                                                                                                              20




                                                                                                                                                                                                                                                                                  THIS DOCUMENT IS THE PROPERTY OF CHICAGO BRIDGE & IRON COMPANY ("CB&I"). IT MAY
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                                                                                                                                                                                                                                                                                  COMMERCIALLY SENSITIVE. IT IS TO BE USED ONLY IN CONNECTION WITH WORK PERFORMED
                                                                                                                                                                                                                                                                                  BY CB&I. REPRODUCTION IN WHOLE OR IN PART FOR ANY PURPOSE OTHER THAN WORK
                                                                                                                                                                                                                                                                                                                                                                         LNG Terminal Plot Plan
                                                                                                                                                                                                                                                                                                                                                                                 Figure 2.1.1-2
                                                                                                                                                                                                                                                                                  PERFORMED BY CB&I IS FORBIDDEN EXCEPT BY EXPRESS WRITTEN PERMISSION OF CB&I. IT
                                                                                                                                                                                                                                                                                  IS TO BE SAFEGUARDED AGAINST BOTH DELIBERATE AND INADVERTENT DISCLOSURE TO
                                                                                                                                                                                                                                                                                  ANY THIRD PARTY.


                                                                                                                                                                                                                                                                                      PROJECT NO:   195910
     A             B           C                   D          E            F             G             H         I              J              K             L                M           N           O          P   Q            R           S         T            U            V                 W                X              Y               Z               AA            BB          CC          DD          EE
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        As described above, although the Gas Gate Station would be within the LNG Terminal, it
 would be owned and operated by RB Pipeline. As such, the Gas Gate Station would be
 surrounded by a security perimeter fence with gated access to segregate it from the rest of the
 LNG Terminal facilities.

 2.1.1.2      LNG Trains

        Six LNG trains would be constructed and operated at the Rio Grande LNG Terminal,
 each of which would have a nominal capacity of 4.5 MTPA, resulting in the LNG Terminal’s
 nominal capacity of 27.0 MTPA. Feed gas would be piped from the Gas Gate Station to the
 LNG trains where it would be pre-treated and cooled into a liquid. Each liquefaction train would
 include a dedicated pre-treatment unit.

           Gas Pre-treatment

         Prior to liquefaction, feed gas entering the LNG Terminal would be pre-treated to remove
 components that could freeze out and clog the liquefaction equipment or would otherwise be
 incompatible with the liquefaction process or equipment. Pre-treatment is a four-step process
 that includes acid gas removal, water removal (dehydration), mercury removal, and NGL
 removal.

         The inlet feed gas would be routed to the acid gas removal unit where a hydrogen sulfide
 (H2S) scavenger vessel absorbs most of the H2S in the feed gas stream. The H2S scavenger
 vessel would reduce the H2S concentration to less than 0.4 parts per million (ppm) by volume.
 This is required to reduce sulfur dioxide (SO2) emissions. The feed gas is then filtered to remove
 residual dust coming from the H2S scavenger units and flows to the amine-based acid gas
 removal unit to lower carbon dioxide (CO2) and trace amounts of H2S to accepted industry
 standards (less than 50 ppm of CO2 and less than 0.4 ppm of H2S). The separated CO2 and H2S
 (acid gas) as well as trace amounts of hydrocarbons would be routed to the thermal oxidizer
 before venting to the atmosphere (air emissions associated with operation of the LNG Terminal
 are discussed in section 4.11.1). The water-saturated gas exiting the acid gas removal unit would
 be cooled to condense a portion of the water before routing the partially dried natural gas through
 molecular sieve bed dryers to remove the remaining water. Once saturated with water, heated
 regeneration gas would release water from the molecular sieve beds. The regeneration gas
 would be cooled to condense out the water; the condensed water would be recycled to the acid
 gas removal unit.

          Once dehydrated, the natural gas would pass through a mercury removal unit, which uses
 a sulfur impregnated activated carbon absorbent to remove trace mercury that could corrode any
 aluminum components in the liquefaction process. In the last step of pre-treatment, heavy
 hydrocarbons that would freeze during the liquefaction process are condensed out of the natural
 gas by the NGL extraction unit. This condensate would be transferred to the onsite truck-loading
 facility for transport to local markets in Texas and surrounding states.




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           Liquefaction and Boil-off Gas

        Following pre-treatment, the natural gas would be condensed into a liquid by cooling it to
 –260 degrees Fahrenheit (°F) via the Air Products and Chemicals, Inc. liquefaction process
 (C3MRTM). A schematic of the liquefaction process is shown in figure 2.1.1-3.

        The liquefaction process would use two refrigerant cycles. In the first cycle, a closed-
 loop propane refrigerant system would pre-cool treated feed gas and mixed refrigerant. The pre-
 cooled feed gas would enter the main cryogenic heat exchanger where it would be condensed
 and sub-cooled. Low-temperature refrigeration would be provided by the second cycle, a closed-
 loop mixed refrigerant system, composed of nitrogen, methane, ethylene or ethane, and propane.

         LNG exiting the main cryogenic heat exchanger would then be let down in pressure using
 valves, and would be routed and flashed into the LNG storage tanks. The flash gas produced in
 the LNG storage tanks would be routed to the boil-off gas (BOG) compressor system, where it
 would be compressed and be sent to the fuel gas system. The refrigerant compressors in each
 liquefaction train would be driven by two natural gas-fired turbines. During start-up, fuel gas
 would be provided by feed gas to each train. During liquefaction operation, fuel gas for the gas
 turbines would be provided by flash gas and BOG produced within the LNG storage tanks.
 Eight BOG compressors would be needed to serve all six liquefaction trains and to control boil-
 off generated during LNG carrier loading operations.

 2.1.1.3       LNG Storage Tanks

        Four LNG storage tanks, each with a net capacity of 180,000 m3, would store the LNG
 produced by the six LNG trains. The full-containment LNG storage tanks must be designed to
 meet the requirements of 49 CFR 193 and NFPA 59A. Additionally, the storage tanks would be
 constructed to the regulations of American Petroleum Institute (API) Code 625, and other
 applicable standards.

           Each LNG storage tank would have the following features:

           •   an inner wall (primary containment) composed of low-temperature 9-percent nickel
               steel;

           •   an outer wall (secondary containment) composed of reinforced post-tensioned
               concrete with a steel liner as a vapor barrier;

           •   a reinforced concrete domed roof, supporting an insulated deck, LNG and vapor
               pipework, and pipe columns and nozzles;




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                            Rio Grande LNG Project

                           Schematic of C3MRTM Process

                                 Figure 2.1.1-3
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           •   thermal insulation systems:

               o foam-glass layers under the inner tank with bottom/corner protection,

               o resilient blanket with perlite fill of the annular space between inner and outer tank
                 walls, and

               o thermal insulation (blankets) on the suspended deck;

           •   submerged motor in-tank pumps and supported by a structure attached to the roof and
               walls;

           •   a foundation heating system;

           •   pressure, level, and temperature instrumentation, including monitoring of tank cool-
               down;

           •   pressure and vacuum relief systems;

           •   nozzles and internal pipework, including cool-down spray;

           •   roof platforms and walkways; and

           •   external stairways, ladders, and pipe supports.

         The LNG storage tanks would be designed and constructed so that the self-supporting 9-
 percent nickel steel primary containment and the concrete secondary containment would be
 capable of independently containing the LNG. The 9-percent nickel steel primary containment
 would contain the LNG under normal operating conditions. The concrete secondary containment
 would be capable of containing 110 percent of the capacity of the inner tank. All piping and
 equipment connections would be through each LNG storage tank roof to minimize the potential
 for leaks during an unanticipated auxiliary failure. A site plot plan showing the location of the
 proposed LNG storage tanks in relation to other Project facilities is shown on figure 2.1.1-2; a
 diagram of the LNG storage tanks is depicted on figure 2.1.1-4.

 2.1.1.4       Marine Facilities

           LNG Loading and Ship Berthing Area

         Two LNG carrier loading berths would be constructed along the south-central boundary
 of the LNG Terminal that would accommodate simultaneous loading of two LNG carriers (see
 figure 2.1.1-5). The berths would be recessed into the LNG Terminal property so that loading
 LNG carriers, separated by 250 feet, would not encroach on the navigable channel boundaries of
 the BSC. Construction of the loading berths would require dredging to a depth of up to -45 feet
 mean lower low water (MLLW) (-43 feet plus -2 feet of overdepth).




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                            Rio Grande LNG Project

                          Typical LNG Tank Components

                                Figure 2.1.1-4
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                            Rio Grande LNG Project

                        Rio Grande LNG Terminal Rendering

                                 Figure 2.1.1-5
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         Each berth would consist of a reinforced concrete loading platform with an LNG spill
 containment system, LNG piping, and safety and electrical systems, which would be connected
 to the shore via a trestle wide enough to support a personnel walkway, a 15-foot-wide roadway,
 and space for auxiliary systems and LNG piping. The loading platform would be designed such
 that equipment is at least one foot above the predicted 500-year storm surge (see section 4.12.1)
 LNG carriers would dock at the loading platform using three bow and three stern mooring
 dolphins, which would be connected to the loading platform via personnel catwalks. Each berth
 would also have four breasting dolphins, offset from the loading platform, designed to withstand
 impacts from wind, currents, and carrier berthing impacts. The loading platform, trestle, and
 mooring and breasting dolphins would be supported by steel or concrete piles.

         RG LNG anticipates that the LNG Terminal would receive one LNG carrier per LNG
 train, per week, with capacities between 125,000 and 185,000 m3. At full build-out, this would
 equate to six LNG carriers calling at the LNG Terminal per week (about 312 carriers per year, or
 as allowed by the Coast Guard). During loading operations, LNG would be transferred from the
 storage tanks to the loading platforms using a 36-inch-diameter loading header line and 24-inch-
 diameter loading lines.

        Four marine loading arms, each 20 inches in diameter, would transfer product to and
 from the LNG carriers, including two dedicated LNG loading arms, one vapor return arm, and
 one hybrid arm that could be used for LNG loading or vapor return, as needed. Each loading
 arm would be equipped with emergency release couplers and triple swivel joints. The maximum
 loading rate for one LNG carrier would be 12,000 cubic meters per hour (m3/hr); during
 simultaneous loading of two LNG carriers, the aggregate loading rate would be 18,000 m3/hr.

        Turning Basin

         A 1,500-foot-diameter turning basin would be constructed to the east of the LNG carrier
 loading berths to accommodate turning maneuvers of the LNG carriers calling on the LNG
 Terminal. LNG carriers would be escorted into the BSC and turning basin via tug boats, rotated
 in the turning basin, and then placed adjacent to a loading berth with the bow facing eastward.
 The turning basin would be partially recessed into the LNG Terminal site, but the area of the
 turning basin would encroach on the navigable channel of the BSC such that channel transit
 would be temporarily precluded until the LNG carriers were moored at the berth (see figure
 2.1.1-2). As with the loading berths, the turning basin would be dredged to a depth of up to -45
 feet; however, as the navigable channel is currently maintained at a depth of -45 feet, the portion
 of the turning basin overlapping the navigable channel would not require additional dredging.

        Material Offloading Facility

         RG LNG would construct a material offloading facility (MOF) along the western extent
 of the LNG Terminal site, adjacent to the BSC. The MOF would primarily be used during
 construction for marine delivery of bulk materials and larger or pre-fabricated equipment as an
 alternative to road transportation; however, it would be maintained for the life of the Project for
 periodic delivery of bulk materials. The MOF, which would require a dredged depth of up to -12
 feet MLLW (-10 feet plus -2 feet of overdepth), would be constructed of a steel sheet pile
 bulkhead with a pile-supported relieving platform and would support both lift-on/lift-off and roll-


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 on/roll-off transport. Fencing would be placed around the MOF to control access and to separate
 it from the adjacent wetlands on the west side of the LNG Terminal site; access would be
 through the western LNG Terminal entrance. The MOF would be capable of berthing two
 barges simultaneously. RG LNG anticipates that 880 barges would deliver materials to the MOF
 during the first 5 years of construction, although deliveries would continue as needed for the
 remainder of construction and into operations. Bulk materials delivered to the MOF would
 include the crushed sand or stone necessary for concrete fabrication. Equipment requiring
 transport via deeper-draft vessels would be delivered to the Port of Brownsville for road
 transport to the LNG Terminal site.

 2.1.1.5      Truck Loading Area

          The Rio Grande LNG Terminal would include truck-loading facilities that allow LNG
 and condensate products to be loaded and distributed to local markets, as well as truck-unloading
 facilities to receive the refrigerants used for liquefaction operations. Dedicated spill
 impoundment basins would be provided for all truck loading/offloading areas. The truck
 loading/unloading areas are depicted in figure 2.1.1-2 above. Information on the transit routes of
 these trucks is provided in section 1.4.1.

           LNG Truck Loading

        The LNG truck-loading area, which is depicted on figure 2.1.1-2 above, would include 4
 loading bays, each with the capacity to load 12 to 15 trucks per day. The capacity of the LNG
 trucks would be about 13,000 gallons (49 m3) with a loading rate of about 300 gpm (68 m3/hr).
 As a result, LNG loading would take about 45 minutes, with an additional 15 minutes likely
 required for initializing and completing LNG transfer. Although the actual distribution of trucks
 would depend on market demand, RG LNG’s current projections indicate that full use of these
 bays would result in the road distribution of 0.4 MTPA (less than 1.5 percent of the LNG
 Terminal’s annual production).

           Natural Gas Liquids Condensate Truck Loading

         In addition to LNG, the NGL condensates recovered during the LNG liquefaction process
 would be loaded onto trucks for local distribution. Two loading bays would be constructed, each
 of which could load up to 15 trucks per day, sized at 11,600 gallons (44 m3). The actual use of
 condensate trucks would depend on the amount of heavy hydrocarbons removed from the feed
 gas prior to liquefaction.

           Refrigerant Truck Unloading

         Two unloading bays, one for propane and one for liquid ethylene (or ethane), would be
 constructed near the respective refrigerant storage tanks. During normal operations, RG LNG
 anticipates six shipments of refrigerant every two months; propane would be delivered either by
 International Organization for Standardization (ISO) container or tanker truck while ethylene (or
 ethane) would be delivered by ISO container.




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 2.1.1.6      Pressure Relief and Flare System

         The Rio Grande LNG Terminal would have both an elevated (100-foot) vent stack and
 three ground flare units to safely and reliably protect plant systems from overpressure during
 start-up, shutdown, plant upsets, and emergency conditions. Upset events that require flaring or
 depressurizing are not planned, and control systems are designed to prevent such events.
 Planned flaring is usually associated with system cool down and planned maintenance shutdown
 scenarios.

         The vent stack would dispose of vapors from the LNG tanks and BOG system when
 necessary; BOG from the vessel would be transferred to shore and treated in the BOG handling
 system to avoid air emissions. The vent stack would have a pilot burner and an ignition system
 that could be used to burn off natural gas in upset or emergency conditions; however, the pilot
 light would not be lit under normal operations. Three ground flare units would be installed to
 safely depressurize the LNG trains during an emergency scenario. Two ground flare units would
 be required to depressurize the six LNG trains (three trains each); a third would be installed to
 maintain sufficient flare capacity and as a redundancy in case a ground flare unit needs to be shut
 down for maintenance or inspection. The ground flares would be up to 8 feet high and
 surrounded by a 67-foot-high wall for heat protection and to avoid visibility from outside the
 boundaries of the LNG Terminal.

 2.1.1.7      Utilities and Support Facilities

           Water Supply and Sewage Handling

           Freshwater Supply

         Potable water required during construction and operation of the LNG Terminal would be
 supplied by the BND via a 16-inch-diameter water pipeline that is planned for construction. The
 BND would construct this water supply header in a proposed utility corridor adjacent to SH-48
 so that existing and future customers could have access to freshwater from the municipal
 supplies in the Port of Brownsville. The LNG Terminal would tie directly into the BND’s water
 supply header, and a system of piping within the LNG Terminal would deliver freshwater into
 the demineralized water system, as well as to the various facilities requiring it for drinking water
 and to supply utility hoses and safety showers. Freshwater would also be used for the freshwater
 firewater tank, as discussed below. RG LNG estimates that the LNG Terminal would require
 about 84.7 gpm (121,968 gallons per day) of freshwater, most of which would be used in the
 demineralized water system (72.5 gpm or 104,400 gallons per day). Peak usage would be about
 317.7 gpm (457,488 gallons per day).

         The BND and the Brownsville Public Utilities Board have verified that the municipal
 system and proposed water supply header have sufficient capacity to service the Rio Grande
 LNG Terminal as well as the municipality’s existing customers. The water supply header would
 likely not be available for tie-in until after construction of the LNG Terminal begins. Prior to its
 availability, potable water would be obtained from a BND fire hydrant at the temporary bulk
 water loading station, located about 4.5 miles west of the LNG Terminal site along SH-48. RG




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 LNG would load tanker trucks at the metered hydrant and deliver the water to the LNG Terminal
 site.

        Demineralized Water System

        Makeup water required for acid gas removal within each LNG train would be supplied by
 the demineralized water system. In addition, demineralized water would be used for periodic
 water washing of gas turbine drives and as makeup to equipment in the water cooling systems.
 Water for the demineralized water system would be supplied by the BND freshwater supply
 header, and would be treated onsite.

        Firewater Supply

         The firewater system would be used in the event of a fire emergency to control and/or
 extinguish a fire at the site. Water for the firewater system would generally be supplied by a
 freshwater storage tank with a capacity of 519,098 gallons. The maximum firewater pump
 capacity, which would be 4,315 gpm would be sufficient to support 2 hours of maximum
 firewater demand. If the freshwater storage tank were depleted or unavailable, firewater would
 be obtained from the BSC via a short water intake channel that would be screened to protect
 aquatic resources.

        Sewage Handling

        The BND proposes to construct a 12-inch-diameter pumped sewage collection header
 adjacent to its water supply header that, when complete, would transport sewage and wastewater
 generated by the Rio Grande LNG Terminal to an existing sewage treatment plant approximately
 5 miles west of the LNG Terminal. The final design of the BND’s sewage collection header is
 under development. Prior to completion of the pumped sewage collection header, RG LNG
 would pump sewage from its internal sewage system into trucks and have it delivered to the
 sewage treatment plant.

        Power Supply

          Operational power supply would be provided by an expansion of the local AEP power
 grid, which is being proposed to service the new Port of Brownsville developments. The new
 power lines, which would be constructed and operated by AEP, would be located between the
 LNG Terminal and SH-48. AEP would also construct and operate a switchyard within the Rio
 Grande LNG Terminal boundaries that would connect the LNG Terminal to the power lines via
 underground cables. Back-up power would be provided via six 2,725-kilowatt diesel generators,
 which would only be used during emergency scenarios where supplied power from the power
 grid is lost.

        As the permanent power lines would likely not be available for tie-in until after
 construction has begun on the LNG Terminal, RG LNG would initially obtain power through a
 temporary power line and/or portable generators. The planned temporary power line, which
 would be installed and operated by AEP, would be the main source of power during
 construction, once available. The temporary power line would run about 4 miles from an



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 existing substation in Port Isabel to the Rio Grande LNG Terminal. The power line would be
 located within the TxDOT right-of-way south of SH-48. RG LNG anticipates that the temporary
 power line would be completed shortly after construction of the LNG Terminal begins; prior to
 that, portable diesel engine-driven generators would be used. The portable generators would also
 be used in conjunction with the temporary power line in more remote locations of the LNG
 Terminal sites.

        Communication

        The Rio Grande LNG Terminal would have internal and external communications
 systems. The internal telecommunication system for the LNG Terminal would include:

        •   telephone exchange;

        •   radio system with two 66-foot-tall communication towers;

        •   computer network;

        •   plant telecommunications network;

        •   a telemetry system for data transfer to/from the Pipeline System;

        •   electronic mail system for communication; and

        •   a closed-circuit television system.

         Communications with external entities, such as the local emergency services, would be
 via the phone switched telephone network. Marine band very-high-frequency radios would be
 provided for communication with the LNG vessels. Access to the LNG Terminal’s control
 system would be provided to allow remote monitoring of LNG Terminal operation by approved
 applicable parties (e.g., LNG Terminal management, RG LNG head office, LNG customers, and
 RB Pipeline operators). The telecommunication systems would comply with applicable
 governmental rules and regulations.

        Buildings and Access Roads

         The LNG Terminal would include administration and central control buildings; a canteen,
 medical, and visitor building; a warehouse, workshop, and chemical shelter; garages; electrical
 equipment enclosures; and electrical substations. Temporary buildings would also be used
 during construction, but would be moved periodically to maintain a safe distance from
 operational LNG facilities as construction continues. Existing local roadways would be used to
 access the LNG Terminal during construction and operation, with direct access provided by SH-
 48. Because there are no existing roads within the LNG Terminal site, internal roads would be
 constructed within the site boundary.

        RG LNG originally proposed a new 1.8-mile-long temporary haul road to transport fill
 material from the nearby Port Isabel dredge pile; however, based on RG LNG’s justification for



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 the temporary haul road’s placement in wetlands, we determined that its construction and use
 was not an acceptable deviation from our 2013 Wetland and Waterbody Construction and
 Mitigation Procedures (Procedures) and recommended in the draft EIS that RG LNG conduct a
 feasibility assessment for transporting fill material from the Port Isabel dredge pile (if necessary)
 to the LNG Terminal site via the existing system of roads or via barges. As a result of our
 recommendation in the draft EIS, RG LNG is no longer pursuing use of the temporary haul road,
 thus the associated wetland impacts would be avoided (see section 3.4). No new roads would be
 constructed for permanent access to the LNG Terminal or its temporary offsite facilities;
 however, modifications may be necessary along SH-48 to accommodate additional construction
 traffic and the three proposed entrances to the LNG Terminal site. Proposed road modifications
 are discussed further in section 4.9.

           Facility Drainage and Containment

         Drainage, containment, and treatment systems would be provided to ensure the proper
 disposal of effluents from process, service, and surface water streams, as well as domestic
 effluent from the LNG Terminal, in accordance with state requirements. No operational process
 waters would be discharged directly to surface waterbodies.

         RG LNG would construct spill containment systems around the truck loading/unloading
 areas, chemical storage areas, LNG storage and loading areas, and LNG train area. These
 systems would utilize curbed areas, troughs, open drains, and impoundment basins to hold LNG,
 or other chemicals, as described in section 1.4.6.

         RG LNG would implement its Stormwater Pollution Prevention Plan (SWPPP) during
 construction in accordance with the NPDES and applicable state discharge permits. During
 operation of the LNG Terminal, stormwater would be directed into six ponds for dilution and
 temperature adjustment to ambient before being discharged into the BSC. Where stormwater
 could be contaminated by spills or leaks of hazardous materials, such as near the LNG trains and
 truck loading areas, it would be directed through an oil water separator prior to discharging to the
 BSC. RG LNG has committed to develop and provide an operational SWPPP for review and
 approval by the Director of the Office of Energy Projects (OEP); we have recommended that this
 plan, as well as a final SWPPP for construction activities at the LNG Terminal, be provided for
 review prior to construction (see section 4.2.2.1).

 2.1.2 LNG Transport Vessels

 2.1.2.1      LNG Carriers

         RG LNG has submitted an application to the DOE seeking authorization to export to FTA
 and non-FTA nations (see discussion in section 1.2.4). Although LNG carriers and their
 operation are directly related to the use of the proposed LNG Terminal, they are not subject to
 the authorization under Section 3(a) of the NGA sought by RG LNG’s application with the
 Commission. As previously discussed, the Coast Guard is the federal agency responsible for
 determining the suitability of the waterway for LNG marine traffic associated with Rio Grande
 LNG Project. As required by its regulations, the Coast Guard has completed its review of the




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 WSA and issued a LOR on December 26, 2017, which indicated that the BSC is suitable for
 marine traffic related to the Project.

         The ships that transport LNG are specially designed and constructed to carry LNG for
 long distances. LNG carrier construction is highly regulated and consists of a combination of
 conventional ship design and equipment, with specialized materials and systems designed to
 safely contain liquids stored at a temperature of –260 °F. Additional information on LNG carrier
 regulations and safety measures is presented in section 4.12.1.

 2.1.2.2       LNG Trucks

         As stated in section 1.4.1, LNG trucking activities that take place outside the boundaries
 of the LNG Terminal do not fall under the jurisdiction of FERC. The DOT and TxDOT have
 jurisdiction over vehicle operation within the United States and the State of Texas, respectively.
 The trailers that transport LNG are specially designed and constructed to transport LNG for long
 distances in accordance with applicable DOT regulations (49 CFR 178.338). Truck operations at
 the facility must comply with the transfer procedures requirements of 49 CFR 193. Truck
 operators must be trained to meet hazardous material and motor carrier safety requirements of
 the DOT and TxDOT. Typical LNG trucks loading at the LNG Terminal would have a capacity
 of approximately 13,000 gallons (49 m3).

 2.1.3 Pipeline Facilities

         In order to accommodate RG LNG’s request for natural gas service at the Rio Grande
 LNG Terminal, RB Pipeline would construct its Pipeline System in Jim Wells, Kleberg, Kenedy,
 Willacy, and Cameron Counties. In addition to the facilities within the LNG Terminal that
 would be constructed, owned, and operated by RB Pipeline (i.e., the Gas Gate Station with
 Compressor Station 3 and Metering Site 4), the Rio Bravo Pipeline Project includes the
 following components: two new compressor stations; two interconnect booster stations; a Header
 System to collect natural gas; dual, 42-inch-diameter mainline pipelines (Pipelines 1 and 2),
 eight metering sites, and appurtenant facilities. These facilities, which are shown in figure 1-1 in
 section 1.0, figure 2.1.3-1, and appendix B, are described in additional detail below.

 2.1.3.1       Pipeline System

         As a result of its constructability analysis or through landowner consultations, RB
 Pipeline identified five route variations during pre-filing or following RG Developers’
 application filing and the issuance of the draft EIS. Because RB Pipeline formally incorporated
 these realignments into its Project design, they are now a part of the proposed Project. Thus, the
 data and analyses presented in this final EIS also reflect the inclusion of these five realignments:

           •   RB Pipeline realigned its pipeline between milepost (MP) 0.6 and MP 1.2 based on
               constructability and minimizing construction workspace. The variation resulted in a
               reduction of overall pipeline length of about 0.2 mile and subsequently about 3 acres
               less ground disturbance.




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                                                                                                                                                                        MP 58.5
                                                                   COMPRESSOR                                                                                       '
                                                                                                                                                                    4
                                                                     STATION 1                                                              COMPRESSOR
                                                                                                                                              STATION 2




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                                                                                                                                            INTERCONNECT
                                                                                                                                               BOOSTER
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               INTERCONNECT                     MP 19.5
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                  BOOSTER
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                                                                                   Legend




                                                                                                                                                                                                                             Page 89 of 732
                          COMPRESSOR
                            STATION 1
                 *#                                                  Proposed Compressor Station                                                     Rio Grande LNG Project
INTERCONNECT                                                         Proposed Interconnect Booster Station
                                INTERCONNECT
                      #
                      *




   BOOSTER
                      *
                      #




   STATION 1                       BOOSTER
                                   STATION 2                         Proposed Rio Bravo
                                                                     Pipeline
                                                                                                                    0       500     1,000
                                                                                                                                                     Compressor Stations and
                                                                     Proposed Header System
                                                                                                                                                   Interconnect Booster Stations
                      *
                      #




                               COMPRESSOR
                                 STATION 2                                                                                  Feet
                                                              Service Layer Credits: Sources: Esri, HERE, Garmin,
                                                              USGS, Intermap, INCREMENT P, NRCan, Esri Japan,                                                  Figure 2.1.3-1
                                                              METI, Esri China (Hong Kong), Esri Korea, Esri            Scale: 1:12,500
                                                              (Thailand), NGCC, © OpenStreetMap contributors, and
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         •     RB Pipeline adjusted its workspaces and route in an effort to abut to the newly
               constructed Valley Crossing Pipeline (VCP) right-of-way. It was not possible to abut
               VCP in all locations, and based on this, one realignment from approximate MP 60.2
               to MP 68.5 was about 1.9 miles offset to the east of the former alignment. The
               realignment would primarily traverse scrub-shrub and pasture; however, the variation
               would be about 1.2 miles shorter than the previously designed route and affect less
               acreage during construction and operation.

         •     RB Pipeline reviewed and incorporated an approximate 8-mile-long route variation
               beginning at MP 68.5. The variation was adopted in response to landowner requests;
               however, it also would provide engineering efficiencies, reduce wetland impacts, and
               avoid wildlife denning areas.

         •     RB Pipeline, based on our recommendation in the draft EIS, incorporated a 2.4-mile-
               long variation between MP 113.0 and MP 115.5 to minimize impacts on parcels with
               Conservation Reserve Program (CRP) easements. The variation would result in an
               increase of the overall pipeline length of about 0.2 mile; however, the variation
               minimizes impacts on parcels that have been designated for protection of ocelot
               habitat.

         •     RB Pipeline realigned its pipeline between MP 119.0 and MP 119.5 to avoid a newly
               constructed residence. The realignment moved additional temporary workspace
               (ATWS) from being adjacent to the residence to over 55 feet from the residence, and
               sited the pipelines about 150 feet from the residence.

         The counties crossed by the Pipeline System are listed, by milepost, in table 2.1.3-1.

                                             Table 2.1.3-1
                           Counties Crossed by the Rio Bravo Pipeline System
         Facility/County                    MP Range                       Length (miles)
 Header System
   Jim Wells                              HS-2.0 to HS-2.4                      0.4
   Kleberg                                HS-0.0 to HS-2.0                      2.0
                        Subtotal                 --                             2.4
 Pipelines 1 and 2
   Kleberg                                   0.0 to 19.1                        19.1
   Kenedy                                   19.1 to 66.2                        47.1
   Willacy                                  66.2 to 100.1                       33.9
   Cameron                                 100.1 to 135.5                       35.4
                        Subtotal                 --                            135.5
                           Total                 --                            137.9




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          Header System

         A new 2.4-mile-long Header System would be constructed at the upstream end of the
 Pipeline System, allowing it to interconnect to a system of existing infrastructure transporting
 natural gas from multiple shale plays around the country through displacement; however, due to
 the proximity of the Project to the Agua Dulce Market Area, RG Developers anticipate physical
 delivery from Texas production areas. The Header System, located in Jim Wells and Kleberg
 Counties, would consist of dual, 42-inch-diameter pipelines from MP HS-0.0 to HS-0.8, and a
 single, 42-inch-diameter pipeline from MP HS-0.8 to HS-2.4. Natural gas would flow from the
 Header System to Compressor Station 1, and into Pipelines 1 and 2.

        The Header System would operate at a pressure of about 750 psi, dependent on the final
 number of interconnects. Temporary pig launchers and receivers would be installed to conduct
 required pipeline integrity surveys. RB Pipeline would interconnect with eight pipeline systems,
 with an aggregate capacity of about 6.7 Bcf/d; four of these interconnects would be along the
 Header System (see table 2.1.3-2 below).

                                              Table 2.1.3-2
                    Proposed Pipeline Interconnects for the Rio Bravo Pipeline Project
                                                                                             System
  Metering Site
                       System Name                  System Owner                     MP      capacity   System Statusa
      No.
                                                                                              (Bcf/d)

 Header System

   HS-1              Gulf Coast Mainline    Natural Gas Pipeline of America         HS 0.1     0.5      FERC-jurisdictional

   HS-1                    Transco              Transcontinental Pipeline           HS 0.1     0.5      FERC-jurisdictional

   HS-2                     TGP                 Tennessee Gas Pipeline              HS 0.2     1.0      FERC-jurisdictional

   HS-3                 HGPC System             Energy Transfer Partners            HS 0.8     0.75          Intrastate

   HS-3                TGPL Mustang               Kinder Morgan Tejas               HS 0.8     1.0           Intrastate
   HS-4                       --             NET Mexico Pipeline Partners           HS 2.4     2.0           Intrastate

 Pipeline System

   2                TETCO STFE PETR         Texas Eastern Transmission Co.           19.6      0.6      FERC-jurisdictional

   3                 North Padre Island         Transcontinental Pipeline            25.4      0.4      FERC-jurisdictional
 HS = Header System
 a
     All systems proposed for interconnections are currently operational systems.



          Pipeline 1

         Pipeline 1 would be 135.5 miles of 42-inch-diameter pipeline beginning at Compressor
 Station 1 in Kleberg County and ending at Compressor Station 3, within the boundaries of the
 Rio Grande LNG Terminal, in Cameron County (see table 2.1.3-1 above). Pipeline 1 would
 have a maximum allowable operating pressure (MAOP) of 1,480 psi and a maximum operating



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 pressure of 1,350 psi. Permanent pig launchers and/or receivers would be installed at each of the
 three compressor stations to monitor the integrity of the pipeline during the life of the Project.

         Pipeline 1 would be constructed concurrent with the Header System, such that both
 pipelines would be operational and transporting natural gas to the Rio Grande LNG Terminal by
 the time LNG Train 1 became operational. Upon completion of these facilities, the Header
 System and Pipeline 1 would be capable of transporting 2.25 Bcf/d to the Rio Grande LNG
 Terminal to supply natural gas for liquefaction and for operations of the LNG Terminal facilities.

           Pipeline 2

         Pipeline 2 would be identical to Pipeline 1 in size and operating pressure, but would be
 offset from Pipeline 1 by 25 feet. During construction, additional pig launcher/receiver facilities,
 MLVs, and interconnections would be installed to accommodate the second pipeline. Upon
 completion of Pipeline 2, the full Pipeline System would be capable of transporting 4.5 Bcf/d to
 the LNG Terminal to supply natural gas for LNG and for operations of the terminal facilities,
 which exceeds the average of 3.6 Bcf/d proposed for export.

 2.1.3.2      Aboveground Facilities

       The Project would include the construction of new aboveground facilities, including three
 compressor stations, two booster compressor stations, eight metering sites, and six MLVs.

           Compressor Stations

         RB Pipeline would construct three compressor stations (see table 2.2-1 below), each of
 which would include two compressor buildings, an office building, a Supervisory Control and
 Data Acquisition System (SCADA), parking areas, and various utility buildings, tanks, valves,
 and piping. Each compressor station would also be surrounded by a perimeter security fence
 with gate access control and video surveillance of the site and its perimeter. Outdoor lighting
 would be limited to that required for security during nighttime operation and would have
 downward or directional placement to minimize potential effects on local residences and
 migratory birds. The SCADA system at each compressor station would provide for remote
 communications and operation from the Rio Grande LNG Terminal control building; however,
 in the event of an abnormal compressor station shutdown, onsite personnel would be required for
 start-up.

         Compressor Station 1 would be constructed at MP 0.0 of Pipelines 1 and 2 in Kleberg
 County and would receive feed gas from the Header System. Compressor Station 2 would be
 constructed at MP 58.7 in Kenedy County. These stations would raise the pressure of the
 pipelines to about 1,350 psi and, at full build-out, would have six 30,000-hp natural gas turbines
 for a total capacity of 180,000 hp.

        Compressor Station 3 would be located at MP 135.5 of the Pipeline System. Although it
 would also have a perimeter fence and be owned at operated by RB Pipeline, it would be within
 the boundaries of the Rio Grande LNG Terminal. At full build-out, Compressor Station 3 would
 have six 30,000-hp electric-driven solar compressors, for a total capacity of 180,000 hp, and



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 would increase the pressure of the pipelines to about 1,200 psi.

         Each compressor station would have a pig launcher and/or receiver, based on its location
 along the pipeline. Compressor Station 1 would have dual pig launchers to accommodate both
 Pipeline 1 and Pipeline 2. Compressor Station 2 would have dual pig launcher/receivers, and
 Compressor Station 3 would have dual pig receivers. Each compressor station would also have a
 permanent access road for use during construction and operation.

        Booster Stations

        RB Pipeline would construct two interconnect booster stations (see table 2.2-1 below),
 each of which would include one compressor building, an office building, a SCADA system,
 parking areas, and various utility buildings, tanks, valves, and piping. Each booster station
 would have one natural gas-fired turbine.

        Metering Sites

         RB Pipeline would construct eight metering sites. Four of the metering sites would be
 collocated with other aboveground facilities, including a check meter at Compressor Station 1, a
 custody transfer meter at Compressor Station 3, and a metering site at each of the booster
 stations. Pending agreements with interconnect system owners, RB Pipeline would construct and
 operate the remaining metering sites, which would be stand-alone facilities along the Header
 System (see table 2.2-1 below). Two of the stand-alone metering sites would contain two meter
 stations each.

 2.2    LAND REQUIREMENTS

         Construction of the Rio Grande LNG Project would require a total of 3,638.5 acres of
 land, including 1,137.3 acres associated with construction of the LNG Terminal and 2,501.2
 acres for the Pipeline System. Following construction, 2,149.1 acres of land would be
 permanently maintained for operation and maintenance of the facilities, including 819.1 acres for
 the LNG Terminal and marine facilities (67.8 acres of which would be dredging within the
 BSC), and 1,330.0 acres for the pipeline and related facilities. Table 2.2-1 summarizes the land
 requirements for the Rio Grande LNG Project. Section 4.8 provides a more detailed description
 and breakdown of land requirements and use.




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                                               Table 2.2-1
                        Land Requirements for the Rio Grande LNG Terminal Project
                                                                        Land Requirements
                                                                                            Land Required for
                    Facility                          Pipeline MP        for Construction
                                                                                            Operation (acres)
                                                                              (acres)
 LNG TERMINAL
  LNG Terminal facilitiesa, including
  --LNG facilities
  --Support systems
  --LNG vessel berths
                                                          135.3               819.1               819.1
  --Turning basin
  --MOF
  Compressor Station 3, including Metering
  Site 4 pig receiver
  Temporary offsite storage / parking                      N/A                 24.8                0.0
  Temporary bulk water loading area                        N/A                 0.1                 0.0
                            b
  Port Isabel dredge pile                                  N/A                293.4                0.0
  West natural buffer area (65 acres)c                     N/A                 0.0                 0.0
                                         c
  East natural buffer area (158 acres)                     N/A                 0.0                 0.0
                                LNG Terminal Total          --               1,137.3              819.1
 PIPELINE SYSTEM
  Header System                                      HS-0.0 to HS-2.4         32.9                17.0
  Pipeline 1                                           0.0 to 135.5          1,963.7             1,207.4
  Pipeline 2d                                          0.0 to 135.5          1,963.6             1,207.4
                                                 e
                     Pipeline System Subtotal               --               1,996.5             1,224.4
 Aboveground Facilities
  Metering Site HS-1                                     HS-0.1                2.1                 2.1
  Metering Site HS-2                                     HS-0.2                1.4                 1.4
  Metering Site HS-3                                     HS-0.8                2.0                 2.0
  Metering Site HS-4                                     HS-2.4                1.4                 1.4
  Compressor Station 1, including Metering
                                                           0.0                37.2                37.2
  Site 1 pig launcher
  MLV 1                                                   18.0                 0.1                 0.1
  Booster Station 1, including Metering Site 2            19.6                 9.7                 9.7
  Booster Station 2, including Metering Site 3            25.4                 9.9                 9.9
  MLV 2                                                   35.1                 0.1                 0.1
  MLV 3                                                   48.9                 0.1                 0.1
  Compressor Station 2, including
                                                          58.7                28.6                28.6
  pig launcher / receiver
  MLV 4                                                   83.6                 0.1                 0.1
  MLV 5                                                   100.5                0.1                 0.1
  MLV 6                                                   119.5                0.1                 0.1
                Aboveground facilities subtotal             --                93.0                93.0




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                                        Table 2.2-1 (continued)
                        Land Requirements for the Rio Grande LNG Terminal Project
                                                                             Land Requirements
                                                                                                        Land Required for
                    Facility                           Pipeline MP            for Construction
                                                                                                        Operation (acres)
                                                                                   (acres)
 Access roads                                              N/A                       114.4                      12.6
 Contractor / pipe yards                                     --                      297.2                       0.0
                         Pipeline System Total               --                     2,501.2                    1,330.0
                                  Grand Total                --                     3,638.6                    2,149.1
 Note: The totals shown in this table may not equal the sum of the addends due to rounding.
 a
      Including the 27-acre parcel containing RB Pipeline’s Gas Gate Station with Compressor Station 3, which falls within the
      boundaries of the LNG Terminal.
 b
      The Port Isabel dredge pile is an active dredged spoil disposal site; RG LNG’s use of this site, if necessary, would be
      consistent with its current use.
 c
      The leased property for the LNG Terminal includes 984.2 acres, including about 233.8 acres of land that would not be
      affected by construction and operation of the LNG Terminal. Therefore, this land is excluded from the total impact.
 d
      Construction impacts for Pipeline 2 would occur within the same construction footprint used for Pipeline 1; the Pipeline
      System subtotal represents the footprint of the Pipeline System and ATWS and is not the sum total of each pipeline’s
      impacts.



 2.2.1 LNG Terminal

        Construction of the LNG Terminal, which includes RB Pipeline’s Gas Gate Station,
 would require 750.4 acres of the 984.2-acre site leased from the BND, all of which would be
 permanently maintained within the operational footprint of the LNG Terminal. Construction of
 the marine loading berths, turning basin, and MOF would require excavation and dredging of
 68.7 acres adjacent to the navigable channel of the BSC.

         In addition to the facilities proposed for the LNG Terminal site, RG LNG is proposing to
 use a temporary bulk water loading area and two offsite storage/parking areas to support
 construction activities. In addition, RG LNG may obtain dredge material from the Port Isabel
 dredge pile, via barge, for use at the LNG Terminal site. Collectively these offsite facilities
 would temporarily impact 318.3 acres. Following construction, these areas would be restored to
 pre-construction conditions, unless requested otherwise by the landowner and in accordance with
 applicable state and federal permits.




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 2.2.2 Pipeline Facilities

 2.2.2.1    Pipeline System and Additional Temporary Workspace

          Construction of the Pipeline System and ATWS would require a total of 1,996.5 acres of
 land. Of this, 1,224.4 acres would be retained for operation and maintenance of the pipeline
 facilities. Approximately 66.0 percent of the Pipeline System would be collocated with, or
 adjacent or parallel to, existing pipeline, roadway, railway, and/or utility rights-of-way (see table
 2.2.2-1). In these cases, the pipeline would not be installed within an existing right-of-way, but
 may utilize the existing utility right-of-way for temporary construction workspaces. Figures
 2.2.2-1 and 2.2.2-2 depict the typical right-of-way cross-sections in uplands and wetlands,
 respectively. The Header System construction right-of-way would be identical to that depicted
 in figure 2.2.2-1 for the extent of the dual pipelines, but would have a smaller construction and
 operational right-of-way for the single-pipeline portion of the route, as described below.

           Header System

         Construction of the 2.4-mile-long Header System, including ATWS, would affect 32.9
 acres of land. For the portion of the Header System that contains dual, 42-inch-diameter
 pipelines (MP HS-0.0 to HS-0.8), the construction right-of-way would be 125 feet wide. The
 remaining 1.6 miles from MP HS-0.8 to HS-2.4 would require a 100-foot-wide construction
 right-of-way. After construction, 17.0 acres of land would be maintained in an herbaceous state
 within operational right-of-way, which would be 75 feet wide for the dual pipeline and 50 feet
 wide for the single pipeline.

           Pipeline 1

         Pipeline 1 would be a 135.5-mile-long, 42-inch-diameter pipeline, installed within a 125-
 foot-wide construction right-of-way. Construction of Pipeline 1, including ATWS, would affect
 1,963.7 acres of land. Following construction, Pipeline 1 would be offset within a 75-foot-wide
 permanent right-of-way so that Pipeline 2, when constructed, would occupy the same permanent
 right-of-way with a 25-foot offset from Pipeline 1. Once Pipeline 2 was installed, the 75-foot-
 wide permanent right-of-way would affect 1,207.4 acres of land that would be permanently
 maintained in an herbaceous state.




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                                              Table 2.2.2-1
         Collocation of the Pipeline System and Existing ROWs and Man-made Linear Featuresa
                                                                                   Offset from       Cumulative
                             Parallel      Adjacent                Existing
   Start MP                                                                            the          Construction
                   End MP    Length     Infrastructure          Infrastructure
                                                                                  Construction      ROW Overlap
                             (miles)         Type                   Owner
                                                                                  ROW (feet)a         (acres)b

  HEADER SYSTEM
  Kleberg County
   HS-1.7          HS-2.1      0.4       Gas pipeline             Unknown            0-100               1.0

  Jim Wells County
   HS-2.1          HS-2.4      0.3       Gas pipeline             Unknown            0-100               1.2
  PIPELINES 1 AND 2
  Kleberg County
                                                                 Sarita Gas –
   0.0                3.2      3.2       Gas pipeline                               10 – 26c             0.0
                                                               ExxonMobil Corp.
                                                                 Sarita Gas –
   3.2                3.5      0.3       Gas pipeline                               98 – 124c            0.0
                                                               ExxonMobil Corp.
                                                                 Sarita Gas –
   3.5               18.5      15.0      Gas pipeline                                5 – 34c             0.0
                                                               ExxonMobil Corp.
                                                                 Sarita Gas –
   18.6              19.0      0.4       Gas pipeline                               14 – 33c             0.0
                                                               ExxonMobil Corp.
  Kenedy County
                                                                 Sarita Gas –
   19.0              19.1      0.1       Gas pipeline                               33 – 50c             0.0
                                                               ExxonMobil Corp.
   19.9              20.5      0.6         Railroad              Union Pacific      88 – 91c             0.0
   23.8              29.1      5.3         Railroad              Union Pacific      65 – 105c            0.0
   30.1              30.3      0.2         Railroad              Union Pacific        100c               0.0
                                                                                        d
   30.6              66.2      35.6      Gas pipeline                VCP               0                 0.0
  Willacy County
   66.2              69.8      3.6       Gas pipeline                VCP               0d                0.0
   71.1              74.4      3.3        Electrical              Unknown           91 – 141c            0.0
   76.5              78.8      2.3          Canal                 Unknown           92 – 97c             0.0
   81.9              90.9      9.0        Electrical              Unknown           46 – 129   c
                                                                                                         0.0
   94.9              97.0      2.1        Public road      Farm-to-Market 1420      85 – 125c            0.0
   97.1              100.0     2.9        Public road          County Line Road     65 – 86  c
                                                                                                         0.0




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                                      Table 2.2.2-1 (continued)
       Collocation of the Pipeline System and Existing ROWs and Man-made Linear Featuresa
                                                                                            Offset from        Cumulative
                                 Parallel         Adjacent                Existing
                                                                                                the           Construction
    Start MP        End MP       Length        Infrastructure          Infrastructure
                                                                                           Construction       ROW Overlap
                                 (miles)            Type                   Owner
                                                                                           ROW (feet)a          (acres)b

  Cameron County
    100.0            100.5          0.5          Public road           County Line Road        65 – 86c              0.0
                                                                   Farm-to-Market 2925
    100.5            101.0          0.5          Public road         / E Brown Tract           77 – 82c              0.0
                                                                          Road
    113+3,361      113+6,328
                                    0.5           Electrical              Unknown                -10d                0.6
    fte               fte
    115.3            117.1          1.8           Electrical              Unknown              24 – 52c              0.0

    132.3            135.4          3.1          Gas pipeline               VCP                   -25                8.6
  ROW = right-of-way; VCP = Valley Crossing Pipeline.
  a
     The offset distance is the estimated distance between the edge of the construction ROW and the foreign feature. A
     negative number denotes overlap.
  b
     The cumulative construction ROW includes the construction footprint of Pipeline 1 and Pipeline 2. Acreages are based
     on an assumed/estimated amount of overlap of 10 feet allowed by the utility.
  c
     The offset distance is calculated from the edge of the construction ROW to the actual foreign feature as depicted on the
     revised November 2017 alignment sheets. The dimension of the permanent easement of these features was unknown.
  d
     The offset distance is calculated from the edge of the construction ROW to the estimated edge of the foreign feature’s
     permanent easement. A negative number denotes the amount of overlap.
  e
     Due to a short reroute, the beginning and ending mileposts are presented as feet downstream of the nearest original
     milepost (the milepost where the reroute diverges from the original route).




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                               Rio Grande LNG Project
                     Typical Right-of-way Cross-section for Uplands

                                    Figure 2.2.2-1
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                               Rio Grande LNG Project
                     Typical Right-of-way Cross-section for Wetlands

                                    Figure 2.2.2-2
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           Pipeline 2

         Pipeline 2 would also be a 135.5-mile-long, 42-inch-diameter pipeline, installed within
 the same 125-foot-wide construction right-of-way affected by Pipeline 1. As such, all land
 disturbed by the construction of Pipeline 2 would have been previously disturbed during the
 construction of Pipeline 1. Similarly, land associated with ATWS, access roads, contractor/pipe
 yards, and aboveground facilities would have been previously disturbed.

 2.2.2.2      Aboveground Facilities

           Compressor Stations

         Construction of Compressor Stations 1 and 2 would affect 65.8 acres. Compressor
 Station 3 is discussed above, as it would be within the boundaries of the LNG Terminal site. All
 65.8 acres of land associated with Compressor Stations 1 and 2 would be retained by RB
 Pipeline via lease option; however, only the facilities themselves would be fenced off (for
 security) and converted to developed land. The fenced area would total about 41.0 acres; the
 remaining 24.8 acres outside of the fencelines would be stabilized and revegetated.

           Booster Stations

         Booster Stations 1 and 2 would affect a total of 19.6 acres of land during construction.
 Although the entire parcel impacted during construction would be retained by RB Pipeline, only
 those areas fenced off for security would be converted to developed land (about 12.0 acres).
 Remaining land on the leased parcels would be stabilized and revegetated.

           Metering Sites

         The Project includes eight metering sites, four of which would be collocated within the
 boundaries of a compressor station or booster station. The remaining four metering sites would
 affect a total of 6.9 acres of land, which would be disturbed during construction and maintained
 during operations.

 2.2.2.3      Contractor/Pipe Yards

         RB Pipeline proposes to use three contractor/pipe yards during construction.
 Contractor/Pipe Yard 1 would be about 6.7 miles south of MP 69.8, in a 135.6-acre agricultural
 area. Contractor/Pipe Yards 2 and 3 would both be in open land; Yard 2 would be about 25.5
 acres adjacent to the pipelines at MP 43.1; and Contractor/Pipe Yard 3 would be about 136.1
 acres and located 5.8 miles southwest of the pipelines at MP 123.7. Each yard would be returned
 to approximately pre-construction conditions after construction and would not be used during
 operation. No wetlands or waters of the United States are present within the proposed
 contractor/pipe yard sites.

 2.2.2.4      Access Roads

        To the extent feasible, RB Pipeline would use existing public road crossings as the
 primary means of accessing the pipeline facilities during construction. RB Pipeline has proposed


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 the use of 64 roads (including 52 temporary and 12 permanent access roads); 5 of these would be
 newly constructed, while 2 are existing roads that would be expanded, graded, and graveled. All
 improvements, less a portion of the expansion of AR-014 (about 300 feet in length) and newly
 constructed HS-004, would take place on land within the proposed permanent right-of-way. A
 list of access roads proposed for use, including their locations, current conditions, and proposed
 modifications (if any) is provided in appendix C.

         After construction is complete, the temporary access roads would be returned to pre-
 construction or better (improved) condition. Operations would be supported by the use of 13
 roads, including those providing access to Compressor Stations 1 and 2, Booster Stations 1 and
 2, and the stand-alone metering sites along the Pipeline System. Access roads through
 waterbodies and wetlands are discussed in sections 4.3 and 4.4, respectively.

 2.3    CONSTRUCTION SCHEDULE AND WORKFORCE

         RG Developers initially anticipated starting construction of the Project in 2018; however,
 the start of construction would be based on receipt of all certifications, authorizations, and
 necessary permits. The Project has been proposed in six staged construction phases where the
 LNG Terminal site would be developed over the course of about 7 years, with the first LNG train
 becoming operational in Year 4 of construction and the final LNG train becoming operational by
 Year 7. Each stage of construction would be associated with one of the six LNG trains; Stage 1
 would include site preparation and security fencing of the entire work area, construction of LNG
 Train 1, and construction of all infrastructure required for the operation of LNG Train 1. Each
 subsequent stage of construction would begin about 6 to 9 months after construction of the
 previous train, and would include all additional infrastructure required for that train. The major
 components of each stage of construction are listed in table 2.3-1.

         Construction activities would occur predominantly during the day, between 7:00 a.m. and
 7:00 p.m., Monday through Friday, and site preparation and construction activities (including
 pile-driving) would be limited to daytime hours. However, dredging may occur up to 24 hours
 per day, 7 days per week.

        As previously noted, similar to the LNG Terminal, the Pipeline System would be
 constructed in stages that correspond to the LNG Terminal stages. Pipeline 1, the Header
 System, the compressor stations, and aboveground facilities would be constructed during Stages
 1 and 2 so that Pipeline 1 would be operational upon start-up of LNG Train 1 operations.
 Construction of Pipeline 2 would commence about 18 months after Pipeline 1 became
 operational. Although compression would be added to each compressor station during
 subsequent stages, there would be no increase in the footprint of the facilities.




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                                               Table 2.3-1
                          Major Components of the Proposed Construction Stages
    Construction Stage
                                     LNG Terminal Construction                       Pipeline System Construction
    (planned timeframe)
                                        Full site preparation and fill
                                Grading for Stage 1 facilities and laydown
                                  Erect temporary buildings and utilities
                                     Full site security fencing and levee
                                                 construction
                                             All Project dredging
                                       LNG Berth 1 and turning basin
                               Utility switchyard and custody transfer meter
                                                  substation
                                                 LNG Train 1
                                             LNG Tanks 1 and 2
                                     LNG Truck Loading Bays 1 and 2             Pipeline 1 installed (beginning in Year 3)
  Stage 1
                                        Material offloading facilities                   Header System installed
    (Q2 Year 1 to Q3 Year 4)
                                             Ground flares, unit 1            Compressor Station 1 – full buildout at partial
                                        Condensate storage tanks (2)                              capacity
                                     Refrigerant truck loading bays (2)       Compressor Station 2 – full buildout at partial
                                     Condensate truck loading bays (2)                            capacity
                                           Firewater supply system            Compressor Station 3 – full buildout at partial
                                         BOG compressors 1 and 2                                  capacity
                                         Permanent plant buildings           Booster Station 1 –  full buildout at full capacity
                                             Power Generation 1              Booster Station 2 –  full buildout at full capacity
                                 Ponds 1, 2, 3 and 6, drainage system and
                                           effluent treatment plants
                                   Communications systems and towers
                                              Permanent parking
                                Grading for Stage 2 facilities and laydown
                                                 LNG Train 2
                                Utilities and electrical substations for LNG
  Stage 2                                           Train 2
    (Q2 Year 2 to Q1 Year 5)       Firewater distribution to Stage 2 areas
                               Drainage system expansion into Stage 2 areas
                                              BOG compressor 3
                                             Ground flares, unit 2
                                Grading for Stage 3 facilities and laydown
                                                 LNG Train 3
                                Utilities and electrical substations for LNG Add 30,000 hp capacity to Compressor Station 1
  Stage 3
                                                    Train 3                  Add 30,000 hp capacity to Compressor Station 2
    (Q1 Year 3 to Q4 Year 5)
                                   Firewater distribution to Stage 3 areas   Add 30,000 hp capacity to Compressor Station 3
                               Drainage system expansion into Stage 3 areas
                                              BOG compressor 4




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                                   Table 2.3-1 (continued)
                     Major Components of the Proposed Construction Stages
    Construction Stage
                           LNG Terminal Construction        Pipeline System Construction
   (planned timeframe)
                                Grading for Stage 4 facilities and laydown
                                                LNG Train 4
                                Utilities and electrical substations for LNG
                                                   Train 4
                                  Essential power generation unit (West)        Pipeline 2 installed (beginning in Year 5)
  Stage 4                         Firewater distribution to Stage 4 areas    Add 30,000 hp capacity to Compressor Station 1
  (Q3 Year 3 to Q2 Year 6)     Drainage system expansion into Stage 4 areas Add 30,000 hp capacity to Compressor Station 2
                                         BOG compressors 5 and 6             Add 30,000 hp capacity to Compressor Station 3
                                            Ground flares, unit 3
                                                LNG Tank 3
                                                LNG Berth 2
                                     LNG Truck Loading Bays 3 and 4
                                Grading for Stage 5 facilities and laydown
                                                LNG Train 5
                                Utilities and electrical substations for LNG
                                                   Train 5                      Add 30,000 hp capacity to Compressor Station 1
  Stage 5
                                  Firewater distribution to Stage 5 areas       Add 30,000 hp capacity to Compressor Station 2
    (Q2 Year 4 to Q1 Year 7)
                                Pond 5 and drainage system expansion into       Add 30,000 hp capacity to Compressor Station 3
                                                Stage 5 areas
                                             BOG compressor 7
                                                LNG Tank 4
                                Grading for Stage 6 facilities and laydown
                                                LNG Train 6
                                Utilities and electrical substations for LNG
                                                                             Add 30,000 hp capacity to Compressor Station 1
  Stage 6                                          Train 6
                                                                             Add 30,000 hp capacity to Compressor Station 2
    (Q3 Year 4 to Q3 Year 7)      Firewater distribution to Stage 6 areas
                                                                             Add 30,000 hp capacity to Compressor Station 3
                               Drainage system expansion into Stage 6 areas
                                             BOG compressor 8
                                        Remove temporary facilities
  Q = quarter



        In total, a maximum of 6,725 workers would be employed during construction of the Rio
 Grande LNG Project. The majority of workers would be associated with the LNG Terminal,
 where an average of 2,950 workers (peak of 5,225) would be employed. RG LNG estimates that
 about 30 percent of the workers would be hired locally (see section 4.9.1.1).

         RB Pipeline is proposing a multi-stage construction period for the Pipeline System.
 Pipeline 1, the Header System, and the aboveground facilities would be constructed during
 Stages 1 and 2, during which the average monthly workforce would be 1,240 workers (peak of
 1,500). About 8 months after the completion of Stage 2, construction would resume to begin
 Stages 3 through 6. Stages 3 through 6 would involve installation of additional compression at
 each of the compressor stations, which would require an average monthly workforce of 240
 workers (peak of 300). Construction of Pipeline 2, which would occur as part of Stage 4, would
 occur over a 12-month period and require an average workforce of 760 staff. RB Pipeline
 anticipates that the majority of construction workers for the pipeline facilities (90 percent) would
 be hired from outside the Project area (see section 4.9.1.2).


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 2.4    ENVIRONMENTAL COMPLIANCE

         The FERC may impose conditions on any Certificate or authorization it grants for the Rio
 Grande LNG Project. These conditions can include additional requirements and mitigation
 measures, such as those recommended in this EIS, to minimize the environmental impact that
 would result from construction and operation of the Project (see sections 4 and 5). We will
 recommend that the additional requirements and mitigation measures presented in the EIS
 (identified by bold type in the text) be included as specific conditions to any approving
 Certificate or authorization issued for the Rio Grande LNG Project. We will also recommend to
 the Commission that RG Developers be required to implement the mitigation measures they
 committed to as part of the proposed Project unless specifically modified by other Certificate or
 authorization conditions. RG Developers would be required to incorporate all environmental
 conditions and requirements of the FERC Certificate, authorization, and associated construction
 permits into the construction documents for the Project.

          RG LNG would employ at least one environmental inspector (EI) per construction stage
 to monitor construction activities at the Rio Grande LNG Terminal. RB Pipeline would employ
 at least two EIs per construction “spread” (standard, sequential assembly line installation as
 described in section 2.5.2), to monitor construction activities at the pipeline facilities during all
 phases of construction, including cleanup and restoration; one EI would be responsible for
 inspecting the pipeline and one EI would be responsible for the associated aboveground
 facilities. The Pipeline System would be constructed with a total of four spreads: two spreads for
 the Header System and Pipeline 1, and two spreads for the later construction of Pipeline 2.

         The responsibilities of the EIs employed by RG Developers are described in the Project-
 specific Upland Erosion Control, Revegetation, and Maintenance Plan (Plan; see appendix D)
 and Wetland and Waterbody Construction and Mitigation Procedures (Procedures; see appendix
 E). RG Developers’ Project-specific Plan and Procedures are based on the 2013 FERC Plan and
 Procedures13, which are a set of construction and mitigation measures developed to minimize the
 potential environmental impacts of the construction of pipeline projects in general. The EIs
 employed by RG Developers would monitor activities as described in the Project-specific Plan
 and Procedures.

         The EIs’ responsibilities would include verifying that environmental obligations,
 conditions, and other requirements of permits and authorizations are met. RG Developers have
 requested deviations from the Procedures, as described in detail in section 4.4.2.3 and appendix
 F. Although justification has been provided for these alternative measures, RG Developers
 would be required to otherwise comply with the requirements of the Procedures. In response to
 our recommendation in the draft EIS regarding insufficient justification for certain requested
 alternative measures, RB Pipeline removed certain ATWS from the Project. We have reviewed
 the remaining alternative measures presented in appendix F and find them acceptable. The EIs
 would inspect construction and mitigation activities to verify environmental compliance.

 13
        The FERC Plan and Procedures can be viewed on the FERC website at
        http://www.ferc.gov/industries/gas/enviro/plan.pdf and http://www.ferc.gov/industries/gas/enviro/procedures.pdf,
        respectively.




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        RG Developers would conduct environmental training for each of their EIs to familiarize
 them with Project-specific issues and requirements. RG Developers would also incorporate
 environmental requirements and specifications in contractor bid documents; provide the
 contractors with copies of environmental permits, certificates, and clearances; and conduct
 environmental training for contractor personnel prior to and during construction, as needed, to
 make them aware of the environmental requirements at each facility.

         In addition to RG Developers’ environmental compliance activities, FERC staff would
 conduct field inspections during construction. Other federal and state agencies may also conduct
 oversight or inspections to the extent determined necessary by the individual agency. After
 construction is completed, FERC staff would continue to monitor affected areas during operation
 to verify successful restoration. Additionally, FERC staff would conduct engineering safety
 inspections of the Rio Grande LNG Terminal throughout the life of the facility.

 2.5    CONSTRUCTION PROCEDURES

         This section describes the general procedures proposed by RG Developers for
 construction activities at the Rio Grande LNG Terminal and pipeline facilities. Refer to section
 4.0 for more detailed discussions of proposed construction and restoration procedures as well as
 additional measures that we are recommending to avoid or reduce environmental impacts.

         Under the provisions of the Natural Gas Pipeline Safety Act of 1968, as amended, the
 proposed LNG Terminal must be designed, constructed, operated, and maintained in accordance
 with the DOT’s Liquefied Natural Gas Facilities: Federal Safety Standards (49 CFR 193) and
 incorporated 2001 and 2006 edition requirements, as applicable in the NFPA 59A Standards for
 the Production, Storage, and Handling of LNG. These standards specify siting, design,
 construction, equipment, and fire protection requirements for new LNG facilities. The LNG ship
 loading facilities and any appurtenances located between the LNG ships and the last manifold (or
 in the absence of a manifold, the last valve) immediately before the LNG storage tanks must
 comply with applicable sections of the Coast Guard regulations in Waterfront Facilities
 Handling Liquefied Natural Gas (33 CFR 127) and Executive Order 10173.

        In accordance with the August 31, 2018 MOU, the DOT issued a LOD to FERC on the
 49 CFR 193 Subpart B regulatory requirements.14 The LOD provides DOT PHMSA’s analysis
 and conclusions regarding 49 CFR 193 Subpart B regulatory requirements for the Commission’s
 consideration in its decision on the Project application.

         The pipeline facilities must be designed, constructed, operated, and maintained in
 accordance with DOT regulations in Transportation of Natural and Other Gas by Pipeline:
 Minimum Federal Safety Standards (49 CFR 192). Among other design standards, these
 regulations specify pipeline material selection; minimum design requirements; protection from



 14
        March 26, 2019 letter “Re: Rio Grande LNG Project, Docket No. CP16-454-000, 49 CFR, Part 193, Subpart B, Siting –
        Letter of Determination” from Massoud Tahamtani to Rich McGuire. Filed in Docket Number CP16-454-000 on
        March 27, 2019. FERC eLibrary accession number 20190327-3003.




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 internal, external, and atmospheric corrosion; and qualification procedures for welders and
 operations personnel.

         To prevent contamination of soils within nearby wetlands, waterbodies, and other
 sensitive resources during construction, RG Developers would develop and implement Project-
 specific spill prevention and response procedures in accordance with the requirements of 40 CFR
 112. RG Developers would implement their Spill Prevention, Control, and Countermeasures
 Plans15 (SPCC Plan) during construction of the LNG Terminal and pipeline facilities. These
 plans outline potential sources of releases at the sites, measures to prevent a release to the
 environment, and initial responses in the event of a spill. We have reviewed RG Developers’
 draft SPCC Plans for construction and found them to be acceptable.

        In addition, RG LNG would develop an operational SPCC Plan that would be
 implemented during operation of the LNG Terminal; we have recommended in section 4.2 that
 RG Developers provide the operational plans, and final versions of the draft plans, for our review
 and approval prior to construction. RG Developers would also implement conditions resulting
 from other permit requirements and their respective Project-specific plans and measures
 developed to avoid or minimize environmental impacts during construction, which are discussed
 throughout this EIS.

 2.5.1 LNG Terminal

 2.5.1.1       Site Preparation

         The existing grade at the site generally varies between 0.2 and 18.5 feet above North
 American Vertical Datum of 1988 (NAVD 88). During site preparation, the site would be cut
 and filled, leveled, and graded to achieve an elevation of 10 feet NAVD 88 throughout the
 majority of the site (including the LNG trains and ground flares) and 9 feet NAVD 88 for the
 stormwater holding ponds and LNG storage tanks. RG LNG would also construct a storm surge
 protection levee surrounding the LNG Terminal site with elevations ranging from 17 to 19 feet
 NAVD 88.

        Prior to the start of construction, RG LNG would install temporary erosion controls along
 the boundaries of the construction areas, in accordance with its Plan and Procedures.
 Preliminary site-clearing, grading, and compaction would begin on the southwestern portion of
 the property, including the areas for the first LNG trains and the LNG storage tanks. RG LNG
 would not strip topsoil from the property and would improve the soil currently present, as
 required for placement of the foundations and structures. Debris and grubbed material that is not
 reused on site would be collected and disposed of at an approved offsite disposal facility in
 compliance with local requirements.




 15
           The draft SPCC Plan for LNG Terminal construction was filed with the FERC on September 1, 2016 (see accession
           number 20160901-5281 from FERC’s eLibrary website). The draft SPCC Plan for pipeline construction was filed with
           the FERC on December 29, 2016 (see accession number 20161229-5149).




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         After priority areas are accessible, RG LNG has indicated that it may import an estimated
 3.5 million cubic yards (mcy) from the nearby Port Isabel dredge pile via barge. In addition, RG
 LNG could bring supplementary structural fill material to support foundations, roads, and
 pavement from other clean offsite sources. Although initial site preparation and fill would be
 conducted for the full facility footprint during Stage 1, additional grading activities would take
 place at each subsequent construction stage as necessary.

 2.5.1.2    Materials and Equipment Delivery and Offsite Concrete Batch Plant

          RG LNG proposes to use two offsite contractor/pipe yards during construction of the
 LNG Terminal, including one in Port Isabel (about 2.3 miles east of the LNG Terminal site
 boundary) and one in the Port of Brownsville (about 2.4 miles west of MP 133.5 of the Rio
 Bravo Pipeline). Because much of the staging activities would take place on the LNG Terminal
 site itself during early construction, the offsite yards would be used more extensively for
 equipment and materials storage as available space becomes constrained during later
 construction. Equipment and materials required for the construction of the LNG Terminal would
 be delivered by truck or barge. Materials delivered via barge may either be delivered directly to
 the LNG Terminal site, via the MOF, or delivered to the Port of Brownsville, where they would
 be loaded onto a truck or trucks and transported via SH-48. The method of delivery would
 depend on the size and weight of the equipment. Overground and marine transportation are
 discussed in detail in section 4.9.8.

        Concrete required for construction of the LNG Terminal would be provided by an onsite
 batch plant that would be located outside of the site levee, but adjacent to the location of the
 future MOF. The batch plant would produce concrete for the first 4 years of construction, using
 cement, sand, and stone delivered from offsite sources by truck or barge. Concrete production
 would also require about 27 million gallons of water over the 4-year period. Water usage during
 construction of the proposed Project is discussed in section 4.3.2.2.

 2.5.1.3    Facility Foundations

          RG LNG would support the land-based structures (liquefaction trains and related
 facilities) at the LNG Terminal site using deep foundations of 24-inch-diameter cast-in-place
 auger piles. The LNG loading platforms, breasting dolphins, and mooring dolphins would be
 supported by steel pipe or concrete piles with 36-, 48-, 96-, and 108-inch diameters, depending
 on the specific component being constructed.

          In addition to pipe piles, the MOF would also require about 745 feet of sheet piling (see
 table 2.5.1-1). About 9,200 pilings would be installed over the course of construction, most of
 which would be associated with the liquefaction trains and related facilities. Pile-driving
 activities would occur up to 10 hours per day, 5 days per week (see table 2.5.1-1). The majority
 of pile-driving would be conducted on land; however, the sheet piling at the MOF and a total of
 four piles would be driven in water (two at the MOF and two for the fixed aid to navigation at
 the Berth 1 jetty). Acoustic impacts from pile-driving activities are discussed in detail in section
 4.11.2.




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                                                                                      Table 2.5.1-1
                                                 Pile-driving Activities Associated with Construction of the Rio Grande LNG Terminal
                                                                                                                   Number of            Driving            Installation        Estimated
                   Project Component                     Pile Type                         Pile Size
                                                                                                                     Piles             Location              Method            Durationa,b
                                                                                           AZ12-700               745 linear feet                       Vibratory hammer
                                                                                        (each pair being           of bulkhead                           (impact hammer
                                                       Steel sheet pile                                                                 In water                                  25 days
                                                                                  approximately 55-inches long     (about 162                            only used if early
                                                                                       x 12-inches deep)              pairs)                            refusal is reached)
                  MOF
                                                        Steel pipe piles
                                                                                        36-inch-diameter               240              On land           Impact hammer           55 days
                                                      (or concrete piles)
                                                        Steel pipe piles
                                                                                        48-inch-diameter                2               In water          Impact hammer           2 days
                                                      (or concrete piles)
                                                        Steel pipe piles
                                                                                        36-inch diameter                55              On land           Impact hammer           15 days
                                                      (or concrete piles)
                  LNG Berth 1 Jetty                    Steel pipe piles                108-inch-diameter                4               On land           Impact hammer           8 days
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                                                       Steel pipe piles                 96-inch-diameter                6               On land           Impact hammer           12 days
                  Fixed aid to navigation at            Steel pipe piles
                                                                                        48-inch diameter                2               In water          Impact hammer           2 days
                  the Berth 1 Jetty                   (or concrete piles)
                                                        Steel pipe piles
                                                                                        36-inch-diameter                55              On land           Impact hammer           15 days
                                                      (or concrete piles)
                  LNG Berth 2 Jetty
                                                       Steel pipe piles                108-inch diameter                4               On land           Impact hammer           8 days
                                                       Steel pipe piles                 96-inch-diameter                6               On land           Impact hammer           12 days
                  Stage 1: LNG Train 1 and             CIP auger piles             24-inch-diameter x 70 foot         1,416             On land           Auger piling rig       114 / 165
                  related offsite utilities            CIP auger piles             24-inch-diameter x 70 foot          928              On land           Auger piling rig         days
                  Stage 2: LNG Train 2                 CIP auger piles             24-inch-diameter x 70 foot         1,165             On land           Auger piling rig      68 / 98 days
                  Stage 3: LNG Train 3                 CIP auger piles             24-inch-diameter x 70 foot         1,165             On land           Auger piling rig      68 / 98 days
                  Stage 4: LNG Train 4 and             CIP auger piles             24-inch-diameter x 70 foot         1,365             On land           Auger piling rig
                                                                                                                                                                               96 / 138 days
                  related offsite utilities            CIP auger piles             24-inch-diameter x 70 foot          464              On land           Auger piling rig
                  Stage 5: LNG Train 5                 CIP auger piles             24-inch-diameter x 70 foot         1,165             On land           Auger piling rig      68 / 98 days
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                  Stage 6: LNG Train 6                 CIP auger piles             24-inch-diameter x 70 foot         1,165             On land           Auger piling rig      68 / 98 days
                  CIP = cast-in-place.
                  a
                       The number and type of piles required for the facility foundation will be confirmed during detailed engineering and design.
                  b
                       Pile-driving operations would take place 8 to 10 hours per day, Monday through Friday. Days for auger piling show estimated working/calendar days based on operation
                       of two rigs.
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 2.5.1.4       LNG Loading and Ship Berthing Facilities

        Construction of the LNG loading and ship berthing facilities includes the following
 primary tasks, which are described in the following sections:

           •   dredging of the ship berthing area, turning basin, and MOF;

           •   placement of sheet pile bulkhead and rock armoring;

           •   construction of the jetty platform and the breasting and mooring structures; and

           •   construction of the fixed aid to navigation structure.

           Dredging of the Ship Berthing Areas, Turning Basin, and MOF

         RG LNG would dredge the berthing areas and turning basin to a depth of -45 feet
 MLLW, which includes -2 feet of overdredge allowance. The sides of the berthing areas and
 turning basin would be contoured at a 1:3 slope. The MOF would be dredged to a depth of -12
 feet MLLW, which includes -2 feet of overdredge allowance, to allow barges and shallow draft
 vessels to directly offload bulk materials at the LNG Terminal site. RG LNG would install rock
 armoring to provide scour protection from propeller wash on the slope parallel to the shoreline.

          About 623,000 cubic yards (yd3) of material would be excavated along the shoreline and
 within the BSC by land-based equipment for the construction of the berthing areas, turning basin,
 and MOF. This material would be directly placed at the LNG Terminal site for fill. An
 additional 39,000 yd3 of material would be dredged from the MOF using a hydraulic dredge
 before construction of the LNG Terminal and either used for additional fill at the LNG Terminal
 site or pumped via temporary pipeline to the Port of Brownsville Placement Area (PA) 4B,
 which is located directly across the BSC from the LNG Terminal site.

          About 6.5 mcy of material would be dredged from the berths and turning basin using
 water-based equipment. Material would either be dredged using a mechanical dredge and placed
 at the New Work Ocean Dredged Material Disposal Site (ODMDS), or using a hydraulic dredge
 and temporary pipeline and placed at Port of Brownsville PAs 5A, 5B, or a combination of 5A
 and 5B. The New Work ODMDS is about 4.4 miles from shore and would require approval by
 the EPA and the COE prior to use. Because PAs 5A and 5B are located along the BSC across
 from the LNG Terminal site, a temporary pipeline used to transport dredged material would be
 placed on the channel bed and allowed to settle by its own weight, so as not to impede vessel
 traffic.

         RG LNG’s Dredged Material Management Plan is being developed, and the final
 determination of dredging methods and dredged material placement locations would be finalized
 in consultation with the BND and federal and state agencies. RG LNG is also considering
 potential beneficial uses of dredged material. Dredged material placement areas under
 consideration are discussed in section 4.2.3.




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           Placement of Sheet Piling and Rock Armoring

         To minimize shoreline erosion, the LNG Terminal waterfront along the BSC would be
 stabilized from the MOF to the berths and turning basin. The MOF would be constructed using a
 steel sheet pile bulkhead. East of the MOF, channel embankments and the top slope of the
 shoreline (to a depth of -2 feet MLLW) would be graded to a 1:3 slope, stabilized with bedding
 stone overlain by geotextile fabric, and then covered with rip-rap. In the marine berths and
 turning basin, where vessel activity could erode the underwater channel slopes, the shoreline
 would be dredged to a 1:3 slope and stabilized with rip-rap to a depth of -43 feet MLLW. The
 rock armoring would extend to the top of the slope at elevation +6 feet NAVD 88 and would tie-
 in to the MOF bulkhead. RG LNG would maintain the integrity of the shoreline protection
 throughout the operational life of the LNG Terminal.

           Construction of the Jetty Platforms and the Breasting and Mooring Structures

         As discussed in section 2.1.1.4, the LNG Terminal would include two marine berths for
 LNG carrier loading. The berth jetties would be constructed from concrete slabs and beams.
 The Berth 1 jetty would be constructed prior to dredging so that all pile-driving could take place
 over land. During dredging, RG LNG would leave a small land mass in place so that the Berth 2
 jetty could be constructed using land-based equipment during Stages 4 through 6; this land mass
 would be excavated after construction of the Berth 2 jetty. Each berth would have four breasting
 dolphins, as well as three bow and three stern mooring dolphins, which would be connected to
 the loading platform via personnel catwalks.

           Fixed Aid to Navigation Structure

        RG LNG proposes to install one fixed aid to navigation in the marine berth/turning basin
 area, which would include in-water piles, and above-water framing and lighting. Installation
 would include in-water pile-driving of two 48-inch steel pipe or precast concrete piles.
 Construction of the facility would require 8- to 10-hour days for 2 days (see table 2.5.1-1).
 Acoustic impacts from pile-driving activities are discussed in detail in section 4.11.2.

 2.5.1.5      LNG Trains

         The DOT’s LNG safety regulations are codified in 49 CFR 193. The DOT establishes
 and has the authority to enforce the federal safety standards for the siting, construction,
 operation, and maintenance of onshore LNG facilities, as defined in 49 CFR 193. These
 regulations would apply to each LNG train. In addition, concrete batching plants would be
 constructed on the LNG Terminal site; 1.2 million tons of cement, sand, and aggregate would be
 used to construct the six trains. Construction of the trains would be started sequentially with a 6-
 to 8-month delay between the start of construction for each subsequent train.

 2.5.1.6      LNG Storage and Processing Facilities

         One of the more labor-intensive and time-consuming activities associated with
 construction of the LNG Terminal would be the construction of the LNG storage tanks. After
 site preparation, the LNG storage tanks would be erected on site using conventional construction



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 techniques (see section 2.1.1.2). Figure 2.1.1-4 depicts the design of a typical LNG storage tank.
 Following the installation of the concrete slab foundation, construction of the tank base and post-
 tensioning of the outer concrete container wall would follow. In parallel to construction of the
 outer concrete container wall, the steel dome roof and suspended deck would be constructed on
 temporary supports inside the outer container of each storage tank, to be later air-raised into
 position. The bottom carbon steel vapor liner would then be installed. On top of the outer
 concrete container wall, the steel dome roof compression ring would be cast into the concrete
 and then the steel dome roof would be air-raised into position and secured to the compression
 ring.

         Roof nozzles, penetrations, and studs would be installed, as would steel reinforcement
 and concrete covering of the steel dome roof. Concurrent with the installation of roof nozzles
 and penetrations, work would begin on the inner 9-percent nickel steel container, including the
 secondary bottom, bottom corner protection, and inner container annular and bottom plates. The
 inner 9-percent nickel steel container would be erected. Internal accessories such as pump
 columns, bottom and top fill, instrument wells, and purge and cool-down piping would be
 installed, followed by installation of roof platforms, walkways, pipework, and pipe supports.

         To ensure that the tanks are capable of operating at the design pressure, testing of the
 outer and inner tanks must be completed in accordance with the requirements in 49 CFR
 193.2303, via incorporation by reference of NFPA 59A (2001 Edition), Section 4.5 Testing of
 LNG Containers. The inner 9-percent nickel steel container of the LNG storage tanks would be
 hydrostatically tested using water from the BSC. Once the construction opening in the outer
 concrete wall is closed, the integrity of the outer tank would be pneumatically tested. Each LNG
 storage tank would require about 30 million gallons of test water. Hydrostatic testing of the
 LNG storage tanks is currently anticipated to be conducted one at a time. Water is not proposed
 for reuse, resulting in a total of 120 million gallons of water being withdrawn from the BSC for
 hydrostatic testing of the inner tanks. After testing is complete, the test water would be released
 into the onsite retention ponds, tested, and treated as applicable, before being released back into
 the BSC in accordance with applicable permits and RG LNG’s Hydrostatic Test Plan for the
 LNG tanks.

 2.5.1.7    LNG Truck Loading Facilities

         After site preparation, RG LNG would install piling and foundations for the pipe rack,
 truck loading shelter, loading area, weigh scale, and associated equipment. The LNG spill
 containment system and truck loading pipe racks and shelter would then be installed. Once these
 components are set in place and secured on the foundations, piping from the LNG storage tank
 area to the LNG truck loading area; metering equipment; loading arms; and electrical,
 instrument, and gas detection systems would be installed. Concurrently, fire protection,
 including a firewater deluge system, would be installed in the LNG truck loading area, and a
 foam system would be installed for the LNG truck area spill containment basin. LNG truck
 loading systems and controls would be verified and tested for proper functioning before being
 placed into service, in accordance with the American Society of Mechanical Engineers (ASME)
 standards. All valves would be aligned in accordance with the facility commissioning
 procedures, including installation of car seals (valve locks) where necessary. LNG piping



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 systems would be purged with nitrogen and dried out in accordance with the facility dry-out
 procedures, followed by the facility cool-down phase.

 2.5.1.8      Compressor Station 3

         As described in EIS section 2.0, RB Pipeline would construct and operate its Gas Gate
 Station within the boundaries of the LNG Terminal site. Construction methods related to RB
 Pipeline’s aboveground facilities is discussed in section 2.5.2.2.

 2.5.1.9      Site Restoration

         Following construction, the entire 750.4 acres of land used during construction would be
 retained for operations. RG LNG plans to vegetate the northern levee and certain open areas
 within the fenceline using native species to the extent practicable, and as determined in
 coordination with the FWS, EPA, and the Natural Resources Conservation Service (NRCS). RG
 LNG is also proposing to maintain the east and west edges of the property, which would not be
 disturbed during construction, as natural buffer areas.

 2.5.2 Pipeline Facilities

 2.5.2.1      Pipeline System

        RB Pipeline would construct the Pipeline System in accordance with its Plan and
 Procedures, and in compliance with the requirements of 49 CFR 192 (Transportation of Natural
 and Other Gas by Pipeline: Minimum Federal Safety Standards). Key aspects of construction
 are described below, and figure 2.5.2-1 depicts the typical pipeline construction sequence.

           Survey and Staking

         After RB Pipeline completes land or easement acquisition and before the start of
 construction, crews would mark the outside limits of the approved work areas (i.e., the
 construction right-of-way boundaries and ATWS), as well as the pipeline centerline, approved
 access roads, and features to be crossed. Property owners would be notified prior to surveying
 and staking activities. Wetland boundaries, cultural resources, and other environmentally
 sensitive areas within the right-of-way would be clearly marked with visible signage and fenced
 with erosion control devices for protection. As required by its Plan and Procedures, RB Pipeline
 would install temporary erosion controls after initial soil disturbance, where necessary, to
 minimize erosion and would be maintained throughout construction as needed.




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                             Rio Grande LNG Project

                       Typical Pipeline Construction Sequence

                                  Figure 2.5.2-1
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        Clearing and Grading

         The construction workspace would be cleared and graded to remove brush, trees, roots,
 and other obstructions, such as large rocks and stumps. Vegetation removal would generally be
 conducted using mechanical means; however, hand-cutting with chain saws may be used in
 specific areas as needed for safety or environmental resource protection. To minimize soil
 erosion, removal of vegetation would be limited in certain locations, such as stream banks and
 slopes, as practicable. Where necessary, the construction workspace would be graded to create a
 safe work area, accommodate pipe-bending equipment, and provide sufficient space to
 accommodate working and passage of heavy construction equipment.

         RB Pipeline would limit grading in wetlands to the extent practicable, and restoration
 would be completed per the terms of a Project-specific wetland plan that RG LNG would
 develop in consultation with the COE. In addition, RB Pipeline would install temporary fences
 and gates where needed, including where requested by landowners to prevent off-road vehicle
 access.

        In uplands, tree stumps and rootstock would be removed from construction workspaces,
 as necessary. In wetlands, the pulling of stumps would be limited to the trenchline and other
 areas where it is deemed necessary for safety reasons. Elsewhere in wetlands, stumps and
 rootstock would be left in Coast to promote revegetation following construction.

         Trees and other woody vegetation debris (including excavated stumps) would be chipped,
 burned, or disposed of offsite according to applicable regulations and local ordinances. Cleared
 trees may also be removed from the right-of-way by the clearing contractor and used for timber.
 Chipped material may be spread across upland portions of the right-of-way, outside of
 agricultural land, in a manner that does not prohibit revegetation. In accordance with the
 Project-specific Plan, RG Developers may also leave construction debris, such as cleared trees
 and brush, within construction workspaces for beneficial reuse, stabilization, or habitat
 restoration, if approved by the landowner or land management agency.

          Immediately following clearing, and before beginning grading activities, crews would
 install erosion control devices at the locations outlined in RG Developers’ Plan and Procedures.
 This would include the installation and maintenance of temporary erosion controls such as silt
 fence, straw bales, temporary slope breakers (interceptor dikes); as well as permanent erosion
 controls such as permanent trench plugs and slope breakers. The EI would be responsible for
 ensuring that the erosion controls are installed correctly, inspected, and maintained in accordance
 with the Plan and Procedures.

         Grading would take place after the construction workspace has been cleared and any
 stumps have been removed. In cultivated or rotated cropland and managed pastures, RB Pipeline
 would strip and segregate up to 12 inches of topsoil over the trenchline and spoil storage side of
 the right-of-way; if the topsoil is less than 12 inches in depth, the actual depth of the topsoil
 would be removed and segregated. RB Pipeline may also strip and segregate up to 12 inches of
 topsoil in non-agricultural areas, if requested by a land management agency or landowner.
 Excavated materials would typically be stored on the non-working side of the construction




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 workspace; however, site-specific conditions may require that the topsoil be stored or placed on
 the working side adjacent to the trench or at the edge of the construction workspace.

        Trenching

         Track-mounted excavators and/or wheel ditching machines would be used to excavate the
 pipeline trenches to a depth sufficient to allow approximately 3 feet of coverage of the pipelines,
 which, once constructed must comply with the DOT standards at 49 CFR 192. The width of the
 trenches would be about 10 to 14 inches wider than the pipeline, dependent on the substrate
 crossed. In areas with consolidated rock, if encountered during construction, the minimum
 amount of cover would be 2 feet. A deeper burial depth may be required in certain areas such as
 at crossings of foreign pipelines or other utilities, waterbody crossings, and where requested by
 the landowner, if applicable. Additional depth of cover generally requires a wider construction
 right-of-way to store the additional spoil. Any areas used for the disposal of excess construction
 materials would be in compliance with RG Developers’ Plan and applicable regulations and
 permits.

         Spoil material excavated from the trench would be temporarily piled to one side of the
 right-of- way, adjacent to the trench. Subsoil would not be allowed to mix with the previously
 stockpiled topsoil. Where trench dewatering is needed, water would be discharged off the right-
 of-way into a well-vegetated upland area and/or into an approved filter.

        Pipe Stringing, Bending, Welding, and Lowering-in

          Prior to pipeline construction, the pipe would be moved into the contractor/pipe yards by
 rail or truck, then trucked to the required locations along the right-of-way. The pipe segments
 (also called “joints”) would be positioned along the construction right-of-way parallel to the
 centerline of the trench so they are easily accessible to construction personnel. The joints are
 typically strung on the working side of the trench for bending, welding, coating, and lowering-in
 operations and the associated inspection activities.

          Track-mounted hydraulic pipe-bending machines would be used to bend the pipe in the
 field to the required alignment and to match the existing natural ground contours, although pre-
 fabricated induction bends may be used for larger bends. Following bending, the ends of the
 pipe sections would be aligned and welded together, typically with the use of external line-up
 clamps or internal traveling line-up clamps. As each weld is completed, the pipe would be
 placed on supports adjacent to the trench. Each weld would be inspected visually,
 radiographically, or by some other nondestructive testing method. Bending, welding, and
 coating activities would comply with the DOT’s minimum safety requirements at 49 CFR 192
 and the requirements of the API Standards.

         Prior to shipment to the site, an external protective coating is typically applied to pipe to
 prevent corrosion, except for a small area at the end of the pipe joint. After welding, the pipe
 joints would be coated with similar or compatible materials. The entire pipe coating would be
 inspected for defects, and any damage would be repaired prior to lowering the pipe into the
 trench.




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         Before the pipeline is lowered in, the trench would be inspected to ensure that it is free of
 rocks and other debris that could damage the pipe or protective coating. RB Pipeline may elect
 to use a padding machine, where applicable, to ensure that rocks mixed with subsoil do not
 damage the pipe. The padding would consist of subsoil free from rocks and would surround the
 pipe along the bottom, both sides, and at the top. No topsoil would be used as padding material.
 Where there is not sufficient padding material on site or when the native material that was
 excavated from the trench is not suitable backfill material (e.g., too rocky), RB Pipeline would
 acquire additional material from existing borrow pits.

        Typically, any water that is present in the trench would be removed and pumped to a
 vegetated upland through an approved filter. In some locations, such as within saturated
 wetlands, it may be necessary to provide negative buoyancy to the pipe, which RB Pipeline
 could accomplish by installing counter buoyancy weights.

        Backfilling

         After the pipeline is lowered into the trench and adequately protected, the trench would
 be backfilled using a bulldozer, backhoe, auger-type backfilling machine, or other suitable
 equipment. Backfill typically consists of the material originally excavated from the trench. In
 areas where topsoil has been segregated, the subsoil would be placed in the trench first and then
 the topsoil would be placed over the subsoil. Backfilling would be to grade or higher, with use
 of excess material to accommodate any future soil settlement. Any material unsuitable for
 backfill would be disposed of in accordance with applicable regulations. If additional backfill
 were required, material would be obtained from established borrow pits.

         During backfilling, RB Pipeline would minimize erosion potential by restoring the
 natural contour of the ground and surface drainage patterns as close to pre-construction
 conditions as practicable. In order to minimize the possibility of subsurface water flow into the
 trench due to local topography, sandbags or foam-type trench breakers would be installed where
 necessary. Where the Pipeline System crosses streams, wetlands, or groundwater, permanent
 trench plugs may be installed as appropriate to minimize the flow of water from the intersected
 body to and from the trench.

         Permanent slope breakers would be installed along the right-of-way, where necessary, to
 reduce runoff velocity and prevent sediment deposition into sensitive resources. Due to the
 relatively flat nature of the local terrain, RB Pipeline anticipates that trench and/or slope breakers
 would be needed in only limited areas.

        Testing

          Once pipeline installation and backfilling are completed, the pipelines would be cleaned
 using a cleaning pig and hydrostatically tested, and once constructed, must comply with the DOT
 safety standards at 49 CFR 192 and applicable permit conditions to verify its integrity and ensure
 its ability to withstand the MAOP. Hydrostatic testing would be conducted in segments, and
 consists of capping the ends of a pipe section using foam-filling pigs, filling the pipeline with
 water, pressurizing the pipeline to 125 percent of its MAOP, and maintaining that test pressure
 for a minimum of 8 hours. After testing is completed, the line would be depressurized and the



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 water discharged by means of foam-drying pigs. Where appropriate, test water would be reused
 in subsequent sections of pipe to minimize water usage.

          RB Pipeline proposes to use approximately 21.0 million gallons of water to
 hydrostatically test each pipeline (Pipelines 1 and 2). The water would be obtained from one of
 three waterbodies, including Los Olmos Creek (MP 19.2), Arroyo Colorado (MP 99.8), and
 Resaca De Los Cuates (MP 118.7). About 1.2 million gallons would be used to hydrostatically
 test the Header System; this water would be trucked in, or piped in from another test section.
 Water pumps would be placed in or near the source waterbody and covered with a 4-millimeter
 mesh screen to prevent entrainment or impingement of aquatic organisms. The rate of
 withdrawal would be dictated by the flow rate at the source waterbody so that adequate flow
 rates within the waterbody would be maintained for the protection of aquatic life.

         Pumps would be located on mobile equipment and water would be withdrawn in
 accordance with applicable waterbody withdrawal permits. Pumps would be placed outside of
 wetlands and riparian areas to the extent practicable, and would be placed in secondary
 containment if within 100 feet of a wetland or waterbody. Hydrostatic test water discharges
 would be performed in accordance with all applicable state water regulations and federal and
 state discharge requirements. The water would be discharged into a well-vegetated upland area
 using energy dissipation devices as needed to minimize erosion and sedimentation. No
 chemicals are proposed to be added to the pipeline test water. If brackish water sources are
 proposed for use at a later date, RB Pipeline would develop a specific hydrostatic test plan to
 address the use, treatment, and disposal of the brackish test water, in compliance with applicable
 regulations. Section 4.3.2.2 provides additional information on hydrostatic testing and test water
 discharge.

        Cleanup and Restoration

         After the trench is backfilled, RB Pipeline would remove all remaining debris, surplus
 materials, and temporary structures and dispose of them in accordance with applicable federal,
 state, and local regulations. In accordance with the Project-specific Plan, RB Pipeline would
 finish grade and restore all disturbed areas as closely as practicable to pre-construction contours.
 Site contouring would be accomplished using acceptable excess soil from construction.
 Restoration and revegetation would be conducted in accordance with the Project-specific Plan,
 Procedures, NRCS and county conservation district reseeding recommendations, and landowner
 requirements.

        Cathodic Protection and Alternating Current Mitigation

          RB Pipeline would install cathodic protection equipment along the pipeline to prevent the
 corrosion of metal surfaces over time. Cathodic protection groundbeds would be sited within the
 permanent right-of-way near county roadways with available electrical power connections, or
 within the footprint of the aboveground facilities. These systems could consist of underground
 negative connection cables, linear anode cable systems, aboveground junction boxes, and/or
 rectifiers. Prior to construction of the proposed Project, RB Pipeline would also develop an
 Alternating Current Mitigation Plan to ensure safety and prevent corrosion for areas where the
 pipeline parallels high voltage power lines.


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        Special Construction Procedures

        Construction involving wetlands, waterbodies, or construction across or within roads,
 highways, railroads, and streets, would require construction techniques that differ from the
 standard measures implemented in general areas. RB Pipeline’s special construction
 techniques are summarized below.

        Agricultural Areas

        RB Pipeline would construct through agricultural areas in accordance with its Plan to
 minimize impacts on current agricultural uses. Although no drain tiles or irrigation systems have
 been identified to date, RB Pipeline is continuing to consult with landowners to determine the
 presence of these systems, or any that would be installed within 3 years of construction, and
 would repair or replace any such system impacted by construction.

         In agricultural land that is annually cultivated, has rotated crops, or is composed of
 managed pastures, RB Pipeline would remove the actual depth of topsoil over the trench and
 spoil side of the construction right-of-way, up to a maximum of 12 inches, and stockpile it
 separately from the subsoil excavated from the pipeline trench. Following installation of the
 Pipeline System, agricultural areas would be restored in accordance with the Project-specific
 Plan.

        Wetland Crossings

         The Pipeline System would cross forested, scrub-shrub, and emergent wetlands, as
 further discussed in section 4.4. Construction and restoration activities within wetlands would be
 performed in accordance with the wetland construction and mitigation measures contained in RG
 Developers’ Procedures. RB Pipeline has proposed a 75-foot-wide construction right-of-way
 through most wetlands; a 100-foot-wide right-of-way is proposed for wetland crossings that are
 1,000 feet or longer to allow for spoil storage (see appendix F).

          During clearing, vegetation in wetlands would be cut flush with the surface of the ground
 and removed from the wetland for disposal. Stump removal, grading, topsoil segregation, and
 excavation would be limited to the area immediately over the trenchline to avoid excessive
 disruption of wetland soils and the native seed and rootstock within the wetland. A limited
 amount of stump removal and grading may also be conducted in other areas if dictated by safety-
 related concerns. Immediately after initial ground disturbance, erosion control devices such as
 silt fence and staked straw bales would be installed and maintained adjacent to wetlands and
 within temporary extra workspaces as necessary to minimize the potential for sediment runoff.
 Sediment barriers would be installed across the full width of the construction right-of-way at the
 base of slopes adjacent to wetland boundaries. If trench dewatering is necessary in wetlands, the
 trench water would be discharged into stable, vegetated, upland areas and/or filtered through a
 filter bag or sediment basin in accordance with RG Developers’ Procedures. No heavily silt-
 laden discharge water would be allowed to flow into a wetland.

         Construction equipment working in wetlands would be limited to that essential to clear
 the right-of-way, excavate the trench, fabricate and install the pipeline, backfill the trench, and



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 restore the right-of-way. The specific method of construction used in wetlands would depend on
 the stability of the soils at the time of construction. Standard pipeline construction, similar to
 construction methods described for upland areas, with the use of timber mats, may be conducted
 in non-saturated wetlands. In areas of saturated soils or standing water, low-ground-weight
 construction equipment and/or equipment mats would be used to reduce rutting and the mixing
 of topsoil and subsoil. In unsaturated wetlands, the top 12 inches of topsoil from the trenchline
 would be stripped and stored separately from the subsoil. Trenchless construction techniques,
 such as conventional bore and horizontal directional drill (HDD) would also be used to cross
 under certain wetlands, as discussed below.

         After the pipeline is lowered into the trench and backfilled, the disturbed areas would be
 graded to pre-construction contours and elevations. Prior to backfilling, trench breakers would
 be installed where necessary to prevent the subsurface drainage of water from wetlands. Where
 topsoil has been segregated from subsoil, the subsoil would be backfilled first, followed by the
 topsoil. For wetlands at the base of slopes, permanent slope breakers would be installed in
 upland areas adjacent to the wetland boundary. Equipment mats, terra mats, and timber rip-rap
 used for equipment support would be removed from wetlands following backfilling.

        Temporary sediment barriers would be installed where necessary until revegetation of
 adjacent upland areas is successful. Restoration would be in accordance with RG Developers’
 Procedures and monitored until revegetation is successful. Once revegetation is successful,
 sediment barriers would be removed from the right-of-way and properly disposed.

        Waterbody Crossings

         The FERC defines a waterbody as any natural or artificial stream, river, or drainage with
 perceptible flow at the time of crossing, and other permanent waterbodies such as ponds and
 lakes. RB Pipeline would implement the measures in the Project-specific Procedures to
 minimize the extent and duration of construction disturbance of waterbodies. RB Pipeline would
 cross waterbodies using methods including conventional wet open-cut, conventional open-cut (if
 dry at the time of crossing), flume, or trenchless crossings (i.e., conventional bore or HDD).

         Waterbody crossings typically require extra workspaces on each side of the waterbody to
 stage construction, fabricate the pipeline, and store materials. These extra workspaces would be
 located a minimum of 50 feet from the waterbody edge, except where the adjacent upland
 consists of actively cultivated or rotated cropland or other disturbed land, or where site-specific
 requests for a reduced setback have been requested and approved (section 4.3.2 and appendices F
 and G).

         Waterbodies crossed using wet open-cut methods would be installed within a
 construction right-of-way between 75 and 100 feet wide, depending on site-specific conditions
 and construction methods, as further addressed in section 4.3.2.2. Where waterbodies are dry at
 the time of crossing, they would be crossed using conventional open-cut methods. However, if
 flow becomes discernable, RB Pipeline would cross the waterbody in accordance with the
 Procedures. RB Pipeline has stated it would complete in-water construction activities between
 June 1 and November 30 for the protection of warmwater fishes. However, section V.B.1 of
 FERC’s Plan states that this crossing timing requirement applies unless expressly permitted or


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 further restricted by the appropriate federal or state agency. In its comments on the draft EIS, the
 TPWD recommended that waterbodies be crossed between November and January during the
 driest period in south Texas. Therefore, RB Pipeline must cross all waterbodies with perceptible
 flow between November 1 and January 31. The TPWD also added that if crossings cannot be
 done “in the dry,” RB Pipeline should further coordinate with the TPWD. In any case, and as
 identified in the Project-specific Procedures, if RB Pipeline believes that waterbody crossings
 need to be installed outside of this period, RB Pipeline would be required to coordinate with the
 FWS and TPWD and then submit appropriate documentation to FERC for written approval prior
 to construction through the waterbody.

         Temporary equipment bridges would be placed across waterbodies to allow construction
 equipment to cross with minimal impact on the waterbody. Temporary equipment bridges may
 consist of pre-fabricated construction mats, rail flat cars, flexi-float or other temporary bridges,
 or flume installations. Flume installations include suitably sized culverts and a travel surface
 consisting of clean rock fill. At all temporary equipment bridge locations, care would be taken to
 minimize sedimentation of the waterbody and to install culverts in a way that would prevent
 scour.

        RB Pipeline would place the pipeline a minimum depth of 3 feet below the stream
 bottom. Material excavated from the trench would be stockpiled at least 10 feet from the water’s
 edge and generally used as backfill. All waterbody banks would be restored to pre-construction
 contours and elevations, and disturbed riparian areas would be revegetated. Post-construction
 maintenance would be limited so that a 25-foot-wide riparian strip along each waterbody bank
 would be allowed to revegetate to pre-construction conditions. Clearing within the riparian strip
 would be limited to a 10-foot-wide area centered on a given pipeline to facilitate operational
 surveys.

        Flume Crossing Method

         Although not currently proposed for use, RB Pipeline may elect to cross flowing
 waterbodies via a flume crossing, if warranted and approved by FERC at the time of crossing.
 The flume crossing method consists of temporarily directing the flow of water through one or
 more flume pipes over the area to be excavated. This method allows excavation of the pipe
 trench across the waterbody underneath the flume pipes without disruption of water flow in the
 stream. RB Pipeline would divert the stream flow through the flumes by constructing sand bag
 bulkheads to direct the flow through the flume pipes. The bulkheads and flume pipes would be
 removed following completion of pipeline installation, backfill of the trench, and restoration of
 stream banks. If topographic conditions would not allow for the pipe to be installed under the
 flumes, RB Pipeline may temporarily pump the water, raise the flume to place the pipeline, and
 reinstall the flume to finish the crossing.

        Wet Open-cut Method

        RB Pipeline would cross minor waterbodies (those less than 10 feet wide) and
 intermediate waterbodies (those between 10 and 100 feet wide) that are not state-designated for
 high aquatic life use or federally designated as critical habitat via open-cut in accordance with its
 Procedures; major waterbodies (those greater than 100 feet wide) would also be crossed via wet


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 open-cut methods. Wet, open-cut crossings involve excavation of the pipeline trench, pipeline
 placement, and backfill in flowing conditions. Depending on the width of the waterbody,
 excavation would take place from equipment operating from the banks of the waterbody.

         In accordance with the Project-specific Procedures, instream construction activities
 associated with minor waterbody crossings would be completed within 24 hours, and
 intermediate waterbody crossings would be completed within 48 hours, as practicable. Sediment
 barriers (silt fence and/or straw bales) would be installed at the waterbody crossing to minimize
 sedimentation into the waterbody from disturbed upland areas.

        Trenchless Crossing Methods

         RB Pipeline has proposed the use of trenchless crossing methods in areas of sensitive
 environmental resources, complex crossings, and surface features requiring avoidance.
 Trenchless methods result in the pipeline transiting under a feature with little to no surface
 disturbance, but generally require more staging workspace at either side of a feature. The
 methods currently being considered for use by RB Pipeline include conventional bore and HDD.

        Conventional Bore

         Conventional boring consists of creating a tunnel-like shaft for a pipeline to be installed
 below roads, waterbodies, wetlands, or other sensitive resources without affecting the surface of
 the resource. Bore pits would be excavated on both sides of the resource to the depth of the
 pipeline installation. A boring machine would then be used within the bore pit to tunnel under
 the feature of concern by using a cutting head mounted on an auger. The auger would rotate and
 be advanced forward as the hole is bored. The pipeline would then be pushed through the bore
 hole and welded to the adjacent section of pipeline. RB Pipeline proposes to cross 5 waterbodies
 and 65 roads using conventional bore methods (see appendices G and H, respectively).

        Horizontal Directional Drill

         The HDD method typically involves establishing workspaces in upland areas, where
 possible, on both sides of the feature(s) to be crossed and confining the work and equipment to
 these areas. The process commences with the drilling of a pilot hole in an arced path beneath the
 feature using a drill rig positioned on the entry side of the crossing. When the pilot hole is
 completed, reamers are attached and then used to enlarge the hole in one or more passes until its
 diameter is sufficient to accommodate the pipeline. As the hole is being reamed, a pipe section
 long enough to span the entire crossing is fabricated (staged and welded) on one side of the
 crossing (typically the exit side) and then hydrostatically tested to ensure the integrity of the
 welds. When the reaming is complete, the pre-fabricated and tested pipe section is pulled
 through the pre-reamed drilled hole back to the entry side. RB Pipeline would hand-clear a 2-
 foot-wide swath of vegetation over the path of the HDD to facilitate placement of guide wires to
 direct the path of the drill.

         Throughout the drilling process, a slurry of bentonite clay (a naturally occurring, non-
 toxic substance) and water would be pressurized and pumped through the drilling head to
 lubricate the drill bit, remove drill cuttings, and hold the hole open. This slurry, referred to as



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 drilling mud or drilling fluid, has the potential to be inadvertently released to the surface during
 an HDD. The pipeline route would be monitored, as would the circulation of drilling mud
 throughout the HDD operation, for indications of an inadvertent drilling mud release; RB
 Pipeline would immediately implement corrective actions if a release is observed or suspected.
 The corrective actions that RB Pipeline would implement, including the agencies it would notify
 and the steps it would take to clean up and dispose of a release, are outlined in RB Pipeline’s
 HDD Contingency Plan, which is discussed in section 4.3.2.2.

         RB Pipeline would obtain water for the drilling fluid from the waterbody being crossed,
 where applicable. Water for the remaining locations would be transported from permitted
 locations. Withdrawal of water to support HDD construction would be conducted using mobile
 equipment in accordance with applicable waterbody withdrawal permits. Clearing at these
 locations would be restricted to the hand-clearing of small-diameter shrub and herbaceous
 vegetation.

          It is possible for HDD operations to fail, primarily due to the presence of unexpected
 geologic conditions along the path of the HDD, or if the pipe were to become lodged in the hole
 during pullback operations. Potential causes for abandoning a drill hole include the loss of drill
 bits or pipe down the hole due to a mechanical break or failure; a prolonged release of drilling
 mud that cannot be controlled; failure of the HDD pullback where a section of pipe cannot be
 retracted and has to be abandoned; or an inability to correct a severe curvature of the pilot hole
 drill path. Abandonment measures include filling the drill hole(s) with drilling mud, grouting the
 upper 30 feet, and grading the surface to original contours. However, we note that RB Pipeline
 would be required to seek approval from the Commission and other applicable agencies prior to
 abandoning any HDD crossing in favor of another construction method. RB Pipeline’s preferred
 alternative crossing method, in the event that any proposed trenchless crossing were to fail,
 would be developed in consideration of site-specific conditions, and could include a second
 HDD attempt, changes in drilling procedures, or open-cut construction.

         The HDD construction method has been proposed for use at 19 locations (see table 2.5.2-
 1). Table 2.5.2-1 also identifies the volume of water that would be required for HDD
 construction of each crossing. RB Pipeline has provided preliminary HDD crossing plans, which
 we have reviewed and found acceptable. RB Pipeline would provide final crossing plans during
 detailed engineering, after geotechnical surveys have been completed. If geotechnical surveys
 indicate that an HDD is infeasible, RB Pipeline would consider alternative crossing methods. As
 the geotechnical surveys for proposed HDD locations have not been conducted, we have
 included a recommendation in section 4.1.1.2 that RB Pipeline file them for our review prior to
 construction.




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                                                 Table 2.5.2-1
                               Proposed HDD Crossings along the Rio Bravo Pipeline
                                Crossing                                                                     Water Volume
  Entry MP        Exit MP                                          Feature Crossed
                               Length (feet)                                                              Required (gallons)a, b
  18.8              19.2            1,600                    Los Olmos Creek (SS-T05-001)                         902,400
  77.6              78.0            1,600                  Unnamed waterbody (SS-T10-011)                         902,400
  79.0              79.3            1,600                  Unnamed waterbody (SS-T10-010)                         902,400
  82.0              82.6            3,100                    East Main Drain (SS-T10-003)                        1,748,400
  86.5              86.8            1,600                      Donna Drain (SS-T10-008)                           902,400
  92.0              92.3            1,600                  Unnamed waterbody (SS-T04-005)                         902,400
  93.0              93.7            3,600                    North Floodway (SS-T02-004)                         2,030,400
  94.6              95.0            1,700                  Unnamed waterbody (SS-T04-008)                         958,800
  98.7              99.0            1,600                  Unnamed waterbody (SS-T04-006)                         902,400
  99.8              100.2           2,200                    Arroyo Colorado (SS-T09-007)                        1,240,800
  101.2             101.5           1,600                  Unnamed waterbody (SS-T14-004)                         902,400
  102.0             102.3           1,600              San Vincente Drainage (SS-T08-001) Ditch                   902,400
  115.6             115.9           1,600                  Unnamed waterbody (SS-T04-007)                         902,400
  116.4             116.7           1,600                 Unnamed waterbody (SS-T05-003)                          902,400
                                                  Resaca de los Cuates (SS-T04-009), Farm Pond (HY-
  118.7             119.3           3,200                                                                        1,804,800
                                                                        T04-003)
  124.0             124.3           1,600                 Unnamed waterbody (SS-T09-008)                          902,400
  130.5             130.8           1,600                  Unnamed waterbody (SS-T09-001)                         902,400
  132.9             133.8           4,800              Channel to San Martin Lake (SS-T01-001)                   2,707,200
  134.5             135.5           5,600                Channel to Bahia Grande (SS-T02-001)                    3,158,400
  a
         Water required for the drilling mud is provided for both Pipelines 1 and 2.
  b
         RB Pipeline would obtain water for the drilling fluid from either municipal sources or from the waterbody being crossed,
         where applicable. Water for the remaining locations would be transported from permitted locations.


            Direct Pipe

          The Direct Pipe procedure is another trenchless construction method that is similar to
 HDD, but is also combined with processes related to microtunnelling. A single, continuous
 process allows the trenchless installation of pre-fabricated pipeline simultaneously with
 development of the bore hole. A Direct Pipe installation is different from an HDD in that the
 initial cutterhead used is much larger, eliminating the reaming process. Direct Pipe installations
 may also be shorter and shallower than HDD installations because the bore hole is continuously
 cased, thereby limiting the risk of hole collapse and the inadvertent release of drilling fluids.

         For the Direct Pipe method, excavation and hole boring are performed with a navigable
 microtunnelling machine and cutterhead. Temporary flushing pipes located inside the pipeline
 are used to transport drilling fluids to the cutterhead and earthen cuttings to the surface. The
 pressure used to advance the boring process and simultaneously install the pipeline is applied
 directly to the pipeline by a piece of equipment called a “pipe thruster.” The force applied on the



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 pipeline pushes the cutting head forward. Reliable installation and monitoring methods ensure
 accurate measurement of the pipe’s location along the intended pathway. RB Pipeline is not
 currently proposing the use of the Direct Pipe crossing method; however, this method would be
 considered as an alternative to the HDD crossing method in areas if geotechnical surveys
 indicate an HDD crossing is not feasible.

        Road and Utility Line Crossings

         A total of 276 existing roads would be crossed by the Pipeline System during
 construction (see appendix H). Of these roads, 95 would be crossed by trenchless methods (64
 by conventional bore and 31 by HDD). The remaining roads would be open-cut, and the pipeline
 would be installed so that 3 feet of cover was maintained between the top of the pipe and the
 surface of the ground. Eight roads overlap proposed construction workspaces but would not be
 crossed by the centerline. The Pipeline System would also cross the Union Pacific Railroad at
 MP 69.9 via bore; we have recommended in section 4.12.3 that RB Pipeline consult with the
 Union Pacific Railroad Company to discuss concerns raised by the railroad company regarding
 the proposed crossing method.

         For any road affected by Project workspaces, but not approved for use as an access road,
 RB Pipeline would put up signage to signify that the road could not be used by construction
 personnel. Travel across roads proposed for open-cut crossings, as well as roads within
 construction workspaces but not crossed by the pipeline, would be delayed or precluded during
 active construction. In addition, the pull-strings of two HDDs would temporarily encroach on
 roads (Palo Blanco Road at MP 94.2 and Parker Road at MP 101.9). At each of these locations,
 RB Pipeline indicated that sufficient alternative routes are available for local traffic during the
 road closure. RB Pipeline would coordinate with the local operator of the road to minimize
 impacts. If a landowner requests RB Pipeline to maintain open traffic flow on a given private
 road, or if a road is located within a contractor/pipe yard or aboveground facility, RB Pipeline
 would work with the landowner to create a temporary (or permanent) bypass. All impacted
 roads would be restored to pre-construction contours after construction has been completed.

         The Pipeline System would cross numerous underground utilities (see table 2.5.2-2).
 Prior to construction, RB Pipeline would contact the Texas “One-Call” system to verify and
 mark all underground utilities (e.g., cables, conduits, and pipelines) along the pipeline route to
 minimize the potential for accidental damage during construction.




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                                                Table 2.5.2-2
                                      Buried Utility Crossing Locations

                      Location (MP)                                       Utility

  Header System
    HS-0.1                                                                Pipeline
    HS-0.1                                                                Pipeline
    HS-0.1                                                                Pipeline
    HS-0.1                                                                Pipeline
    HS-0.1                                                                Pipeline
    HS-0.2                                                                Pipeline
    HS-0.2                                                                Pipeline
    HS-0.2                                                                Pipeline
    HS-0.2                                                                Pipeline
    HS-0.3                                                                Pipeline
    HS-0.3                                                                Pipeline
    HS-0.3                                                                Pipeline
    HS-0.3                                                                Pipeline
    HS-0.4                                                                Pipeline
    HS-0.4                                                                Pipeline
    HS-0.5                                                                Pipeline
    HS-0.6                                                                Pipeline
    HS-0.6                                                                Pipeline
    HS-0.7                                                                Pipeline
    HS-0.8                                                                Pipeline
    HS-0.8                                                                Pipeline
    HS-0.9                                                                Pipeline
    HS-0.9                                                                Pipeline
    HS-1.3                                                                Pipeline
    HS-2.1                                                                Pipeline
    HS-2.1                                                                Pipeline
  Pipelines 1 and 2
    0.0                                                                   Pipeline
    0.4                                                                   Pipeline
    0.5                                                                   Pipeline
    0.9                                                                   Pipeline
    0.9                                                                   Pipeline
    3.3                                                                   Pipeline
    3.4                                                                   Pipeline
    11.7                                                                  Pipeline
    12.8                                                                  Pipeline




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                                         Table 2.5.2-2 (continued)
                                     Buried Utility Crossing Locations
                     Location (MP)                                        Utility

  Header System (continued)
   13.7                                                                  Pipeline
   15.6                                                                  Pipeline
   18.6                                                                  Pipeline
   19.5                                                                  Pipeline
   20.3                                                                  Pipeline
   25.5                                                                  Pipeline
   25.5                                                                  Pipeline
   27.5                                                                  Pipeline
   27.8                                                                  Pipeline
   27.9                                                                  Pipeline
   30.7                                                                  Pipeline
   30.7                                                                  Pipeline
   32.2                                                                  Pipeline
   32.2                                                                  Pipeline
   40.8                                                                  Pipeline
   59.9                                                                  Pipeline
   68.5                                                                  Pipeline
   69.8                                                                  Pipeline
   71.7                                                                  Pipeline
   72.4                                                                  Pipeline
   79.7                                                                   Cable
   88.0                                                                  Pipeline
   91.0                                                                  Pipeline
   92.8                                                                  Telephone
   105.0                                                                 Pipeline
   112.5                                                                  Cable
   119.6                                                                 Pipeline
   122.0                                                                 Pipeline
   122.0                                                                 Pipeline
   123.4                                                                  Cable
   123.4                                                                 Pipeline
   123.4                                                                 Pipeline
   124.5                                                                 Pipeline
   125.8                                                                 Pipeline
   131.5                                                                 Pipeline
   131.6                                                                 Pipeline
   133.9                                                                 Pipeline




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          For crossings of single utilities, RB Pipeline would excavate the pipeline trench to a
 depth that allows a minimum of 18 inches of clearance between the top of the proposed pipeline
 and the bottom of the foreign utility. If the utility is sufficiently deep, and if acceptable to the
 utility owner and compliant with the Occupational Safety and Health Administration, RB
 Pipeline may also install the proposed pipeline over the foreign utility.

         Excavations of foreign utilities would be conducted per the utility owner’s specifications,
 and at the direction of the onsite representative, if present. In addition, RB Pipeline would only
 allow excavation by hand or hydrovac within 18 inches of foreign utilities. RB Pipeline plans to
 consult with the owners of foreign utilities crossed by the proposed Pipeline System during
 detailed engineering.

 2.5.2.2    Aboveground Facilities

          RB Pipeline has proposed to construct three compressor stations (one of which would be
 within the boundaries of the LNG Terminal), two booster compressor stations, eight metering
 sites, and assorted ancillary facilities along the Pipeline System. Facility sites would be cleared,
 graded, and compacted to create a level surface, as appropriate. Based on initial reviews by RG
 Developers’ geotechnical engineers, shallow foundations consisting of spread and strip footings
 can be used to support relatively lightly loaded structures at all three compressor stations sites.

         Mat foundations can be used to support the relatively heavily loaded structures to be
 constructed at the Compressor Station 1 site, and likely at the Compressor Station 2 site, pending
 geotechnical investigations. Mat foundations at the Compressor Station 3 site were not
 recommended due to the low strength of upper cohesive soils. If a mat foundation is not suitable
 for the heavily loaded structures, then deep foundations would be used. Additionally, significant
 amount of settlements may occur for structures supported on shallow foundations at Compressor
 Station 3 site due to the presence of soft fill soils in the upper few feet; therefore, deep
 foundations were recommended.

         Erosion and sediment controls would be established around disturbed areas prior to
 construction. Facility buildings would comply with local building codes, permit conditions, and
 regulatory requirements. Permanent parking areas and access roads would be constructed
 concurrently with their respective aboveground facility. Once all facilities have been installed,
 all aboveground and underground piping would be hydrostatically tested in accordance with 49
 CFR 192, using water from municipal sources.

         All areas used for construction, but outside of the operational footprint of the facility,
 would be finish-graded and seeded to stabilize soils. Final grading and landscaping plans for the
 aboveground facilities would be developed prior to construction. Outdoor lighting at compressor
 stations would be limited to that required for security and would be either directionally
 controlled or downward facing to minimize the visual impact on local residents and migratory
 birds.




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 2.6    OPERATION AND MAINTENANCE PROCEDURES

 2.6.1 LNG Marine Traffic along the Waterway

         Although LNG carriers and their operation are directly related to the use of the proposed
 LNG Terminal, they are not subject to the Section 3 authorization sought in this application. The
 LNG carriers arriving at the LNG Terminal must comply with all federal and international
 standards regarding LNG shipping. A detailed discussion of design and safety features of LNG
 carriers is presented in section 4.12.1.

         Inbound LNG carriers would embark either one or two Brazos Santiago Pilots at Sea
 Buoy “RW ‘BS’ MO (A), which is offshore of South Padre Island. From the sea buoy, inbound
 LNG carriers would transit under command of the pilot(s). With tug support, the LNG carriers
 would travel up the BSC at speeds between 5 and 10 knots, for a total inbound transit time of
 about 2 hours. Upon arrival at the LNG Terminal, the LNG carriers would be turned in the
 turning basin and moored to the appropriate marine berth; these maneuvers are estimated to take
 an additional one hour. Following loading at the LNG Terminal, the pilot(s) would resume
 navigational control of the LNG carrier when the mooring lines are let go.

         Loaded LNG carriers would transit outbound along the reverse route described for
 inbound LNG carriers. Transiting LNG carriers may have a moving security zone established
 for them, in accordance with Coast Guard regulations at 33 CFR 165.30. Due to potential
 safety/security zone exclusions, vessels would likely not be permitted to pass an LNG carrier
 transiting the BSC or maneuvering in the turning basin; however, the exact navigation protocol
 would be determined by the Coast Guard. The Coast Guard issued the LOR for the Rio Grande
 LNG Project on December 26, 2017, which stated that the BSC is considered suitable for LNG
 marine traffic. The Coast Guard would review each LNG carrier transit on a case-by-case basis
 to identify what, if any, safety and security measures are necessary to safeguard the public health
 and welfare, critical marine infrastructure and key resources, the port, the marine environment,
 and vessels.

        The COE is responsible for as-needed maintenance dredging of the BSC, and would be
 responsible for the proposed deepening of the BSC. RG LNG would be responsible for
 maintenance dredging of its berthing area and the area of the turning basin that is outside of the
 navigable channel. Based on modeled shoaling rates, RG LNG estimates that up to 500,000 yd3
 of material would be removed from the berthing area and turning basin every 2 to 4 years. Any
 maintenance dredging required at the MOF would be minimal and would be conducted
 concurrently with that of the eastern marine facilities. Placement of the materials for
 maintenance dredging is proposed for the Maintenance ODMDS, but final placement would be
 determined in coordination with the BND and other applicable agencies. Dredging and dredged
 material placement are discussed further in sections and 4.2.3 and 4.3.2.2.

 2.6.2 LNG Terminal

        RG LNG would operate and maintain its facilities in compliance with 49 CFR 193, 33
 CFR 127, NFPA 59A, and other applicable federal and state regulations. Before commencing
 operation of the LNG Terminal, RG LNG would prepare and submit to FERC for approval



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 operation and maintenance manuals that address specific procedures for the safe operation and
 maintenance of the LNG storage and processing facilities. RG LNG would also prepare an
 operations manual that addresses specific procedures for the safe operation of the ship loading
 facilities in accordance with 33 CFR 127.305. Operating procedures are required to address
 normal operations as well as safe start-up, shutdown, and emergency conditions.

         The estimated 330 personnel employed during operation of the LNG Terminal would be
 trained to properly and safely perform their assigned duties. Operators would be trained in the
 handling of potential hazards associated with LNG, cryogenic operations, and the proper
 operation of all the equipment. The operators would meet all the training requirements of the
 Coast Guard, DOT, and other regulatory entities.

        The LNG Terminal’s full-time maintenance staff would conduct routine maintenance and
 minor overhauls. Major overhauls and other major maintenance would be handled by outside
 maintenance contractors specifically trained to perform the required services. All scheduled and
 unscheduled maintenance would be entered into a computerized maintenance management
 system.

 2.6.3 Pipeline Facilities

         RB Pipeline would operate and maintain its facilities in compliance with the DOT’s
 regulations at 49 CFR 192; the Project-specific Plan and Procedures (including approved
 deviations from the FERC Plan and Procedures); FERC Certificate conditions; and applicable
 federal, state, and local regulations. Facilities would be periodically inspected and maintained as
 required by applicable regulations. Operation of the facilities would be monitored electronically
 on a continuous basis, and an emergency shutdown system would be installed. In the event of an
 incident along the Pipeline System, or at a compressor station, booster station, or metering site,
 one of the permanent employees in the vicinity would respond to the event. RB Pipeline would
 employ 10 permanent staff upon operational start-up of Pipeline 1, and another 10 permanent
 staff upon operational start-up of Pipeline 2.

        In accordance with federal regulations (49 CFR 192.615), RB Pipeline would develop an
 Emergency Response Plan (ERP) for the Project, and would develop a detailed Operations,
 Maintenance, and Inspection Manual. The ERP would incorporate procedures for identifying an
 emergency event and establishing communication with local fire, police, and public officials.
 RB Pipeline would participate in the Texas “One-Call” program for the facilities, and it has
 already identified a public awareness program for its natural gas facilities.

         Operational activities associated with the Pipeline System would be limited primarily to
 maintenance of the permanent easement and inspection, repair, and cleaning of the pipelines.
 RB Pipeline would maintain vegetation on the permanent easement in upland areas by mowing,
 cutting, and trimming, except in areas of actively cultivated cropland and in accordance with its
 Plan and Procedures.

        The entire construction right-of-way would be allowed to revegetate but would generally
 be maintained in an herbaceous state, in accordance with the Project-specific Plan and
 Procedures. Large brush and trees within 15 feet of the pipeline with roots that could



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 compromise the integrity of the pipeline coating would be selectively cut and removed from the
 permanent easement. Pipeline inspection would be accomplished by ground and aerial surveys,
 and in accordance with applicable laws and regulations.

 2.7       SAFETY AND SECURITY PROCEDURES

 2.7.1 LNG Terminal

 2.7.1.1     Siting Requirements

        Siting the LNG Terminal facilities to ensure that the site selection and location would not
 pose an unacceptable level or risk to public safety is required by DOT’s regulations in 49 CFR
 Part 193, Subpart B. DOT reviews the information and criteria submitted by RG LNG to
 demonstrate compliance with the safety standards prescribed in Part 193, Subpart B and issues a
 LOD to the Commission on whether the proposed facilities would meet the DOT siting
 standards. On March 26, 2019, the DOT issued an LOD to FERC on the 49 CFR 193 Subpart B
 regulatory requirements. The LOD provides DOT PHMSA’s analysis and conclusions regarding
 49 CFR 193 Subpart B regulatory requirements. Additional information regarding DOT siting
 requirements is presented in section 4.12.1.

 2.7.1.2     Hazard Mitigation

          If operational control of the facilities were lost, and operational controls and emergency
 shutdown systems failed to maintain the Project within the design limits of the piping,
 containers, and safety relief valves, a release could potentially occur. FERC regulations under
 18 CFR 380.12(o)(1) through (4) require applicants to provide information on spill containment,
 spacing and plant layout, hazard detection, hazard control, and firewater systems. In addition, 18
 CFR 380.12(o)(7) require applicants to provide engineering studies on the design approach, and
 18 CFR 380.12(o)(14) requires applicants to demonstrate how they comply with 49 CFR 193 and
 NFPA 59A. As required by 49 CFR 193 through incorporation of NFPA 59A (2001) Section
 9.1.2, fire protection must be provided for all DOT-regulated LNG facilities based on an
 evaluation of sound fire protection engineering principles, analysis of local conditions, hazards
 within the facility, and exposure to or from other property. NFPA 59A (2001) also requires the
 evaluation to determine type, quantity, and location of hazard detection and hazard control,
 passive fire protection, emergency shutdown and depressurizing systems, and emergency
 response equipment, training, and qualifications. If authorized and constructed, LNG facilities as
 defined in 49 CFR 193, would be subject to DOT’s inspection and enforcement programs.
 Additional information regarding hazard mitigation is presented in section 4.12.1.

 2.7.1.3     Fail Safe Shutdown System

        The LNG Terminal would have an emergency shutdown system with shutdown
 sequences and control devices designed to leave the facilities in a safe state. This system would
 be supported by an uninterrupted power supply (i.e., batteries). The emergency shutdown
 system would be used for major incidents and would result in either total plant shutdown or
 shutdown of processes and/or individual pieces of equipment, depending on the type of incident.




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 2.7.1.4    Security

         The security requirements for the proposed Project are governed by 33 CFR 105, 33 CFR
 127, and 49 CFR Part 193, Subpart J – Security. 33 CFR 105, as authorized by the Marine
 Transportation Security Act, requires all terminal owners and operators to submit a Facility
 Security Assessment and a Facility Security Plan to the Coast Guard for review and approval
 before commencement of operations of project facilities. RG LNG would be required to control
 and restrict access, patrol and monitor the plant, detect unauthorized access, and respond to
 security threats or breaches under 33 CFR 105. The LNG Terminal would meet all necessary
 security measures required under those regulations, including security fencing, lighting, access
 control, and closed-circuit television. Additional information regarding security requirements is
 provided in section 4.12.1.

 2.7.2 Pipeline Facilities

 2.7.2.1    Pipeline System

         The pipeline facilities must be designed in accordance with the DOT regulations of 49
 CFR 192 for material selection and qualification; minimum design requirements; and protection
 from internal, external, and atmospheric corrosion. The regulations also define four area
 classifications, based on population density in the vicinity of a proposed pipeline, for the purpose
 of ensuring more rigorous safety requirements for populated areas.

         Class locations are used to determine pipe wall thickness, hydrostatic test pressures, weld
 inspection and testing requirements, spacing of MLVs, depth of cover, and frequency of pipeline
 patrols and leak surveys. RB Pipeline’s facilities, once constructed, would be subject to DOT’s
 inspection and enforcement programs.

         RB Pipeline would install pipeline identification markers at line-of-sight intervals and at
 crossings of roads, railroads, waterbodies, and other key points in accordance with DOT
 regulations. The markers would clearly indicate the presence of the pipeline, identify RB
 Pipeline as the pipeline operator, and provide telephone numbers where a RB Pipeline
 representative could be reached in the event of an emergency or prior to any excavation in the
 area by a third party.

 2.7.2.2    Compressor Stations

         To protect the public, company personnel, and property, each compressor and booster
 station would be equipped with several safety devices. One of these safety systems is an
 automatic emergency detection and shutdown system. When activated, the emergency shutdown
 system would shut down the facility and isolate certain areas of the compressor or booster
 station. The emergency shutdown system would include sensors for natural gas concentrations
 and ultraviolet sensors for detecting a possible ignition source. The system would also shut
 down if a fire is detected within the compressor station. Additional detail regarding the
 emergency shutdown system is provided in section 4.12.9. Aboveground facilities would be
 monitored electronically on a continuous basis and would be surrounded by chain-link security
 fence.



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 3.0    ALTERNATIVES

          As required by NEPA and FERC policy, we evaluated alternatives to the Rio Grande
 LNG Project to determine whether any such alternatives would be reasonable and have
 significant environmental advantages compared with the proposed action. NEPA requires that
 federal agencies evaluate reasonable alternatives to a proposed major federal action. According
 to the CEQ, “reasonable alternatives include those that are practical or feasible from the
 technical and economic standpoint and using common sense, rather than simply desirable from
 the standpoint of the applicant” (CEQ 1981). Further, the FERC has established several key
 criteria to evaluate potential alternatives identified for a given project. The evaluation criteria for
 selecting potentially reasonable and environmentally preferable alternatives include whether
 they:

        •   are technically and economically feasible and practical;

        •   offer significant environmental advantage over the proposed projects or segments of
            either project; and

        •   meet the project’s objectives of constructing and operating a terminal to serve the
            domestic and export markets for LNG, including:

            o export of LNG via large LNG vessels to foreign markets, consistent with RG
              LNG’s DOE authorization for FTA nations, and pending application for non-FTA
              nations; and

            o distribution of LNG in trucks for use as a fuel for long-haul trucking and other
              emerging domestic uses of LNG.

         With respect to the first criterion, not all conceivable alternatives are technically feasible
 and practical. For example, some alternatives may not be possible to implement due to
 technological difficulties or logistics. For the second criterion, in conducting an alternatives
 analysis, the environmental advantages and disadvantages of the proposed action must be
 recognized in order to focus the analysis on reasonable alternatives that may reduce impacts and
 offer a significant environmental advantage. Finally, an alternative must at a minimum meet the
 proposed project’s stated objectives.

        The range of alternatives analyzed for the Rio Grande LNG Project include the No-
 Action Alternative, system alternatives, LNG Terminal site alternatives, LNG Terminal site fill
 material supply access route alternatives, pipeline configuration and route alternatives, and
 aboveground facility site alternatives.

          As part of the No-Action Alternative, we considered the effects and actions that might
 result if the proposed Project were not constructed. We identified system alternatives to evaluate
 the ability of existing, modified, planned, or proposed LNG export terminals and pipeline
 systems to meet RG Developers’ objectives. We also evaluated alternative sites for the LNG
 Terminal and pipeline route alternatives. For each of the alternatives, we evaluated a broad level
 of resource impacts (e.g., wetlands, waterbodies, acreage of right-of-way during



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 construction/operation, etc.) and if no significant environmental advantage was identified, we did
 not evaluate the alternative for further consideration. However, if a possible significant
 environmental advantage was identified, we refined our analysis to compare the proposed Project
 and the specific alternative to include more detailed resource impacts (e.g., sensitive species
 habitat, vegetation type, etc.) for a more robust analysis in order to make our recommendation
 regarding the alternative.

         RG Developers participated in our pre-filing process during the preliminary design stage
 of the Rio Grande LNG Project (see section 1.3). This process emphasized identification of
 stakeholder issues, as well as identification and evaluation of alternatives that could reduce
 environmental impacts. We analyzed each alternative based on public comments and guidance
 received from federal, state, and local regulatory agencies. Additional sources of information
 included RG Developers’ field surveys, aerial photography, U.S. Geological Survey (USGS)
 topographic maps, the FWS’ National Wetlands Inventory (NWI) maps, pipeline system maps,
 agency consultations, and publicly accessible databases. To ensure comparable results,
 consistent data sources were used when comparing a feature across alternatives (e.g., NWI data
 were used for wetlands comparisons, rather than a combination of NWI and field survey data).
 The scope, methodology, and results of our alternatives analyses are discussed in the following
 sections.

 3.1    NO-ACTION ALTERNATIVE

         Under the No-Action Alternative, the Rio Grande LNG Project would not be constructed,
 and RG Developers’ objective of providing the proposed LNG and transportation capacity for
 domestic and export markets of LNG would not be realized. Similarly, the mission statement of
 the Port of Brownsville, which includes infrastructure expansion and the development of
 economic opportunities, would not be realized or would be delayed until other infrastructure
 projects were proposed, approved, and constructed. In addition, the potential adverse and
 beneficial environmental impacts discussed in section 4.0 of this EIS would not occur.

          The development and production of gas supplies from conventional and unconventional
 gas formations has increased in recent years throughout many areas of the United States. With
 or without the No-Action Alternative, other LNG export projects are being developed, and could
 further be developed, in the Gulf Coast region or elsewhere in the United States, resulting in both
 adverse and beneficial environmental impacts. LNG terminal developments and pipeline system
 expansions of similar scope and magnitude to the proposed Project would likely result in
 environmental impacts of comparable significance, especially those projects in a similar regional
 setting.

         The No-Action Alternative could require that potential end users make different
 arrangements to obtain LNG from other sources or use other energy sources to compensate for
 the lack of natural gas that would otherwise be supplied by the Rio Grande LNG Project.
 Although it is speculative and beyond the scope of this analysis to predict what actions might be
 taken by policymakers or end users in response to the No-Action Alternative, it is possible that
 renewable (e.g., solar power), other traditional energy sources (e.g., coal or fuel oil), or possibly
 traditional long-term energy sources (e.g., nuclear power) could be used in lieu of the Project in
 certain circumstances. But the location and use (electricity, heating, industrial feed stock, etc.)


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 would be speculative, and the judgement of whether the impacts would be better or worse would
 be speculative without knowing what the natural gas would or could be supplanted with. In
 addition, these alternative energy sources would not meet the Project objective of liquefying
 natural gas for export, and are beyond the scope of this EIS. Although the No-Action Alternative
 could also be aligned with a drive to promote international energy conservation, this sphere of
 discussion lies beyond our analytical scope.

        Based on our considerations above, we have dismissed the No-Action Alternative as a
 reasonable alternative. Further, because the purpose of the Project is to construct and operate a
 terminal to serve the domestic and export markets for LNG, the development or use of renewable
 energy technology would not be a reasonable alternative to the proposed action.

 3.2    SYSTEM ALTERNATIVES

         We reviewed system alternatives to evaluate the ability of other existing, modified,
 planned, or proposed facilities to meet the stated objectives of the Rio Grande LNG Project and
 to determine if a system alternative exists that would have less significant adverse environmental
 impacts than those associated with the proposed Project. Our analysis of system alternatives for
 the LNG Terminal and pipeline facilities are presented in sections 3.2.1 and 3.2.2, respectively.
 By definition, implementation of a system alternative would make construction of all or some of
 the proposed facilities unnecessary; conversely, infrastructure additions or other modifications to
 the system alternative may be required to increase capacity or provide receipt and delivery
 capability consistent with that of the proposed facilities. Such modifications may result in
 environmental impacts that are less than, comparable to, or greater than those associated with
 construction and operation of the proposed facilities.

 3.2.1 LNG Terminal Alternatives

         For a system alternative to be viable, it must be technically and economically feasible, as
 well as offer a significant environmental advantage over the proposed Project. In the case of the
 Rio Grande LNG Project, it must also be compatible with RG Developers’ purpose and
 objectives to construct a terminal to serve the domestic and export markets for LNG, consistent
 with RG LNG’s DOE authorizations and applications. Because the stated purpose of the Project
 is to access natural gas from the Agua Dulce Hub in south Texas and export 27 MPTA of natural
 gas, our analysis of viable system alternatives was limited to the Texas Gulf Coast.

         The other operational, approved, proposed, and planned LNG terminals along the Gulf
 Coast in Louisiana and Mississippi would likely require longer pipelines from the Agua Dulce
 Hub to these terminals and result in greater environmental impacts due to the substantially longer
 pipelines. Additionally, the other Gulf Coast LNG terminals would likely require expansions in
 order to meet the export volume proposed by the Rio Grande LNG Project. For these reasons we
 only included the Texas Gulf Coast LNG Terminals in our analysis of system alternatives.




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          RG Developers are proposing to export LNG to FTA and non-FTA nations. The DOE
 granted the FTA authorization on August 17, 2016. The non-FTA application is currently under
 review (see discussion in section 1.2.4). For RG LNG customers to obtain LNG from other LNG
 terminals that have DOE approval for export, those terminals would need to construct additional
 LNG facilities to meet the export capacity proposed by RG LNG, or as approved by the DOE
 authorizations, when applicable. We recognize that LNG capacity may not be fully subscribed at
 all facilities based on contracts executed as of the writing of this EIS. However, because the
 DOE’s export approval is a determination that the export is in the public interest, we will not
 speculate that any portion of other LNG terminals’ LNG capacity is in “excess” or available for
 use by RG LNG to meet its objectives.

          An expansion of existing facilities would need a similar scope of facilities proposed for
 construction by RG LNG as part of the proposed Project, including pre-treatment and LNG
 facilities, additional storage, LNG truck loading, and marine transfer facilities. Adding, or
 expanding, LNG facilities at other LNG terminals to accommodate RG LNG’s purpose and need
 would result in environmental impacts that are less than, equal to, or greater than the
 environmental impacts of the proposed facility and may not provide a significant environmental
 advantage over the proposed Rio Grande LNG Terminal. Each of the planned, proposed, or
 authorized projects along the Texas Gulf Coast are described below and were considered as a
 potential system alternative. Our analysis was predicated on the assumption that each project has
 an equal chance of being constructed and would therefore be available as a potential alternative.
 However, future Commission review and market forces will ultimately decide which and how
 many of these facilities are built. The following details the LNG facilities and status in the Texas
 Gulf Coast region that could provide LNG export capabilities:

        Approved by FERC/Under Construction:

        •   Corpus Christi LNG / Cheniere (CP12-507) – Corpus Christi;

        •   Freeport LNG / Sempra (CP12-509) – Freeport; and

        •   Golden Pass / Exxon (CP14-517) – Sabine Pass.

        Proposed/Planned:

        •   Texas LNG Brownsville/Texas LNG (CP16-116) – Brownsville;

        •   Annova LNG/Annova LNG (CP16-480) – Brownsville;

        •   Port Arthur LNG/Port Arthur LNG (CP17-20) – Port Arthur; and

        •   Galveston Bay LNG (PF18-7) – Galveston.

         LNG facilities are under construction at Corpus Christi and Freeport LNG; the Corpus
 Christi LNG Terminal has also begun exporting LNG. Facilities may be constructed at some of
 the LNG terminals because they were either initially authorized for import or have expansion
 work on for exporting pending completion of regulatory review and permitting. Table 3.2.1-1



                                                   3-4                                   Alternatives
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 provides a summary of the approved, proposed, and planned LNG export facilities along the
 Texas Gulf Coast.

                                              Table 3.2.1-1
                       Summary of LNG System Alternatives Along the Texas Gulf Coast
                                                                                                          Export Capacity
           Facility                Proponent(s)            Location (TX)        FTA / Non-FTAa
                                                                                                             (MTPA)b
  Rio Grande LNG                   RG Developers             Brownsville               A/P                       27.0
                                Cheniere Marketing /
  Corpus Christi LNG                                        Corpus Christi           A / A, P                   25.0c
                               Cheniere Corpus Christi
                               Freeport LNG / Freeport
  Freeport LNG                                                 Freeport              A / A, P                   20.4c
                                     Developers
                                 Golden Pass LNG /
  Golden Pass LNG                                            Sabine Pass               A/A                      15.6c
                                    ExxonMobil
  Texas LNG                          Texas LNG               Brownsville              A/P                        4.0
  Annova LNG                        Annova LNG               Brownsville              A / NF                     7.0
  Port Arthur LNG             Port Arthur LNG / Sempra       Port Arthur              A/P                        13.5
                                Galveston Bay LNG /
  Galveston Bay LNG                                           Galveston                A/P                       16.5
                                 NextDecade LNG
  a
            Reflects the status of the DOE FTA and non-FTA applications: A = Approved; P = Pending; and NF = Not Filed.
  b
            The export capacity represents the total capacity approved or proposed for a project as a whole, which may include
            staged expansions by different project proponents.
  c
            Export capacity volumes are different for the DOE FTA/non-FTA applications or the approved/pending applications.



 3.2.1.1     Corpus Christi LNG

         Corpus Christi LNG, LLC (Corpus Christi) is constructing an LNG export terminal about
 130 miles north of the proposed Rio Grande LNG Terminal (see figure 3.2.1-1). The LNG
 export terminal is located in San Patricio County, along the northeast side of Corpus Christi Bay.

         Originally, Corpus Christi’s project was authorized as an import terminal; however, due
 to market changes, the import terminal was never constructed. On December 30, 2014, the
 FERC issued an Order authorizing Corpus Christi’s LNG export project (CP12-507-000) and
 construction began in February 2015. The project consists of three LNG trains, three 160,000-
 m3 LNG storage tanks, and two LNG berthing docks. The three LNG trains each have a 5
 MTPA capacity, allowing for a cumulative 14.8 MTPA send-out capacity at the facility. The
 project also includes two compressor stations and an approximately 23-mile-long, 48-inch-
 diameter pipeline which connects the Corpus Christi LNG Terminal to five inter- and intrastate
 gas transmission lines which originate in south Texas. In total, approximately 1,000 acres of
 construction workspace is required for the facility operations.




                                                                3-5                                             Alternatives
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                                                                                                                          Golden Pass
                                                                                                                              LNG
                                                                  Galveston                _
                                                                                           ^




                                                                                           *
                                                                                           #
                                                                   Bay LNG
                                                                                                                      Port Arthur
                                                                                _
                                                                                ^   #
                                                                                    *                                   LNG


                                                                                               Freeport LNG




                                             _
                                             ^
                                               *
                                               #
                                                               Corpus Christi
                                                                   LNG




                              Annova
                               LNG

                                               *
                                                              Texas LNG
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                                                              Rio Grande
                                                                 LNG




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                             ^
                                          Legend
                                     LNG System Alternative
                                                                                                  ±                                     Rio Grande LNG Project

                                                                                                                                    LNG Terminal System Alternatives
Gulf of                                                                         0                 50            100
Mexico

                                                                                                Miles
                    Service Layer Credits: Sources: Esri, HERE, Garmin, USGS,
                    Intermap, INCREMENT P, NRCan, Esri Japan, METI, Esri                                                                    Figure 3.2.1-1
                    China (Hong Kong), Esri Korea, Esri (Thailand), NGCC, ©
                                                                                        Scale: 1:5,000,000
                    OpenStreetMap contributors, and the GIS User Community
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          On June 28, 2018, Cheniere Corpus Christi LNG, LLC and Cheniere Corpus Christi
 Pipeline, LP (Cheniere Corpus Christi) filed a FERC application for the proposed Stage 3
 expansion (CP18-512-000 and CP18-513-000), which would consist of seven mid-scale
 liquefaction trains, one additional LNG storage tank, an approximately 21-mile-long natural gas
 pipeline with one compressor station to provide additional compression and other appurtenant
 facilities. The seven mid-scale liquefaction trains would allow for an additional 9.9 MTPA of
 LNG and approximately 160,000 m3 of storage associated with the storage tank. If approved,
 Cheniere Corpus Christi anticipates the project would begin operations in 2021.

         Any expansion of the existing and proposed facilities at the Corpus Christi LNG
 Terminal to accommodate the proposed capacity for the Rio Grande LNG Terminal would need
 to be fully evaluated by FERC and other applicable agencies, but such an expansion would likely
 result in similar or greater environmental impacts due to the increased footprint and added
 pipeline, and would not provide a significant environmental advantage over the proposed
 location. Therefore, it was not evaluated further as a system alternative.

 3.2.1.2   Freeport LNG Terminal

         The Freeport LNG Terminal and related expansion projects include three separate
 applications to FERC, including the original import terminal (CP03-75-000) and two LNG
 export terminal expansions (CP12-509-000 and CP17-470-000). The existing Freeport LNG
 Terminal is located on Quintana Island in Brazoria County, about 230 miles northeast of the
 proposed Rio Grande LNG Terminal site (see figure 3.2.1-1). The import terminal commenced
 operations in 2008. The Freeport LNG Terminal was granted authorization to re-export foreign-
 sourced LNG in 2009 and has a maximum send-out capability of approximately 1.5 Bcf/d of
 natural gas product.

         Freeport LNG Expansion, L.P. and FLNG Liquefaction, LLC (collectively, FLEX) filed
 two separate DOE applications on December 17, 2010, to export approximately 1.4 Bcf/d of
 vaporized natural gas, each (in non-additive volumes), to FTA nations and non-FTA nations over
 a 25-year period. DOE granted the FTA authorization on February 17, 2011, and the non-FTA
 authorization on November 14, 2014. Pursuant to subsequent applications, DOE granted an
 authorization for an additional approximately 1.4 Bcf/d to FTA nations (February 10, 2012),
 approximately 0.4 Bcf/d to non-FTA nations (November 14, 2014), and approximately 0.34
 Bcf/d to non-FTA nations (December 19, 2016). Another application to export approximately
 0.72 Bcf/d to non-FTA nations is under DOE review.

         FERC issued an Order authorizing the Freeport expansion on July 30, 2014; and FLEX is
 currently constructing LNG, storage, and export facilities at the existing Freeport LNG Terminal
 on Quintana Island. These facilities require approximately 105 acres and will provide an export
 capacity of about 13 MPTA. However, on June 7, 2016, Freeport Development received
 authorization from the FERC to increase the total LNG production from the previously
 authorized 13 MTPA to 15.3 MTPA. FLEX currently anticipates the first LNG train to enter into
 service in 2019 with the remaining two trains entering into service in 2020.

       On June 29, 2017 Freeport LNG Development, L.P.; FLNG LNG, LLC; FLNG LNG 2,
 LLC; and FLNG LNG 3, LLC (collectively, Freeport Development) filed an application with the


                                                 3-7                                  Alternatives
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 FERC for the proposed Freeport LNG Expansion Project. This expansion project would consist
 of one additional LNG train with a capacity of approximately 5.1 MTPA and additional
 supporting infrastructure, utility, and auxiliary facilities. This request is currently pending
 authorization. If approved, Freeport Development anticipates the project would enter into
 service in 2022.

         As a system alternative to meet the needs of RG LNG, Freeport LNG would require DOE
 approval to export added volumes to FTA and non-FTA nations, which would require review
 and authorization of the facilities and would not provide a significant environmental advantage.
 Any new project that would satisfy the needs of the Rio Grande LNG Project as a system
 alternative would require a separate NEPA evaluation, result in similar or greater environmental
 impacts and would not provide a significant environmental advantage over the proposed
 location. For these reasons, the Freeport LNG Project was not considered to be a reasonable
 alternative and was removed from consideration.

 3.2.1.3   Golden Pass LNG Terminal

          The Golden Pass LNG Terminal is an LNG import terminal operated by Golden Pass
 Products LLC ([GPP] CP04-386-000) located on the western shore of the Sabine Pass Channel,
 in Jefferson County, approximately 325 miles northeast of the proposed Rio Grande LNG
 Terminal site (see figure 3.2.1-1). The terminal occupies a 477-acre site consisting of five
 155,000-m 3 LNG storage tanks and two LNG vessel berths. The Golden Pass LNG Terminal
 has a maximum send-out capacity of 2.5 Bcf/d, which sends out natural gas via the Golden Pass
 Pipeline. The Golden Pass Pipeline connects five interstate and four intrastate pipelines, which
 provide access to major markets on the Gulf Coast and across the midwestern and northeastern
 United States. On September 27, 2012, GPP received DOE approval for the export of about 2.0
 Bcf/d of LNG to FTA countries over a 25-year period; on April 25, 2017, DOE granted an
 authorization to GPP to export approximately 2.2 Bcf/d of LNG to non-FTA nations over a 25-
 year period. On December 21, 2016, FERC authorized GPP to construct LNG and LNG export
 facilities at its existing Golden Pass LNG Terminal (CP14-517-000, CP14-518-000). These
 facilities will consist of three LNG trains; a 2.6-mile-long, 24-inch-diameter pipeline; three
 compressor stations; and modifications to existing interconnecting facilities to allow for bi-
 directional transportation of 2.6 Bcf/d of natural gas for LNG. The three LNG trains will each
 have a capacity of 5.2 MTPA for a cumulative send-out capacity of 15.6 MTPA. Construction of
 the project has not begun as of the date of this EIS.

         As discussed above, GPP has already been granted approval to export LNG to FTA and
 non-FTA nations; however, any expansion of the existing and proposed facilities at the Golden
 Pass LNG Terminal to accommodate the proposed capacity for the Rio Grande LNG Terminal
 would need to be fully evaluated by FERC and other applicable agencies. Such an expansion
 would result in similar or greater environmental impacts and would not provide a significant
 environmental advantage over the proposed location based on the increased footprint and added
 pipeline that would be required; therefore, it was not evaluated further as a system alternative.




                                                  3-8                                   Alternatives
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 3.2.1.4   Texas LNG Brownsville

         On April 14, 2015, Texas LNG Brownsville (Texas LNG) filed an application to
 construct an LNG terminal and export facilities on the BSC in the Port of Brownsville in
 Cameron County (CP16-116-000). This project would occupy about 625 acres adjacent to the
 Rio Grande LNG Terminal site, and would impact about 311.5 acres (see figure 3.2.1-1). The
 export terminal would consist of two LNG trains, two 210,000-m3 LNG storage tanks, and one
 marine berth. The terminal would receive domestic feed gas from the Agua Dulce Hub via an
 intrastate pipeline. The Texas LNG Terminal would have a maximum send-out capacity of 4.0
 MTPA. Texas LNG anticipated that construction would begin in 2018 with an in-service date of
 2022. However, project approval is pending and no construction has begun.

         On September 24, 2015, Texas LNG received DOE approval for export of approximately
 0.56 Bcf/d) of LNG to FTA nations over a 25-year period. Prior to this, on April 15, 2015,
 Texas LNG filed an application to export approximately 0.55 Bcf/d of LNG to non-FTA nations
 over a 25-year period; DOE authorization is pending.

         As discussed above, Texas LNG has been granted approval to export products to FTA
 nations. Construction of this facility would require similar infrastructure as that required for the
 proposed Rio Grande LNG Terminal; however, the design and size of the Texas LNG facility
 would not have the capacity to produce the volume of LNG proposed by RG LNG without a
 completely new project being designed. Any expansion of the proposed facilities at the Texas
 LNG Terminal to accommodate the proposed capacity for the Rio Grande LNG Terminal would
 need to be fully evaluated by FERC and other applicable agencies, but such an expansion would
 likely not result in significant environmental advantage over the proposed location. Therefore, it
 was not evaluated further as a system alternative.

 3.2.1.5   Annova LNG

         Annova LNG Common Infrastructure, LLC, Annova LNG Brownsville A, LLC, Annova
 LNG Brownsville B, LLC, and Annova LNG Brownsville C, LLC (collectively, Annova) is
 proposing to construct an LNG export terminal on the BSC in Cameron County (CP16-480-000).
 This project would occupy about 650 acres on the south bank of the BSC across from the
 proposed Rio Grande LNG Terminal site, and would affect about 491 acres of land (see figure
 3.2.1-1). The export terminal would consist of two LNG trains, two 210,000-m3 LNG storage
 tanks, and one marine berth and would have a maximum send-out capacity of 7.0 MTPA.
 Annova LNG initially anticipated that construction of the project would begin in 2018, and
 would have an in-service date of 2021; however, this timeline is no longer feasible, and final
 timing is contingent upon project approval. The Annova LNG Terminal would receive domestic
 feed gas from the Agua Dulce Hub via an intrastate pipeline, which is estimated to be
 constructed in 2021. On February 20, 2014, Annova received DOE approval for the export of
 LNG approximately equal to 0.94 Bcf/d of vaporized natural gas to FTA nations over a 30-year
 period.

        The design and size of the Annova facility would not have the capacity to produce the
 volume of LNG proposed by RG LNG without a completely new project being designed. Any
 expansion of the proposed facilities of the Annova LNG Terminal to accommodate the proposed


                                                   3-9                                    Alternatives
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 capacity for the Rio Grande LNG Terminal would need to be fully evaluated by FERC and other
 applicable agencies, but such an expansion would likely not result in significant environmental
 advantage over the proposed location. Therefore, it was not evaluated further as a system
 alternative.

 3.2.1.6   Port Arthur LNG

         Port Arthur LNG, LLC and Port Arthur Pipeline, LLC (collectively Port Arthur) are
 currently proposing to construct an LNG export terminal on the west side of the Sabine-Neches
 Waterway in Jefferson County. This project would occupy about 890 acres about 330 miles
 northeast of the proposed Rio Grande LNG Terminal site (see figure 3.2.1-1). The Port Arthur
 export terminal would consist of two LNG trains, three 160,000-m3 LNG storage tanks, an NGL
 and refrigerant storage area, truck loading/unloading facility, and two LNG vessel berths. The
 two LNG trains would each have a nominal capacity of 6.7 MTPA for a cumulative send-out
 capacity of 13.5 MTPA. In addition, the Port Arthur terminal would receive natural gas via 35
 miles of 42-inch-diameter pipeline, two compressor stations, metering stations, and other
 appurtenant facilities.

         On August 20, 2015, Port Arthur received DOE approval for the export of approximately
 1.4 Bcf/d to FTA nations over a 25-year period. Prior to this, on March 20, 2015, Port Arthur
 filed an application with DOE to export an equivalent volume of LNG to non-FTA nations over a
 20-year period; this authorization is pending. On November 29, 2016, Port Arthur filed its
 Section 3 application for the project with the Commission; the final EIS was issued on January
 31, 2019 (CP17-20-000, CP17-21-000, CP17-21-001, and CP18-7-000). Port Arthur anticipates
 an in-service date of 2023, if approved.

         As discussed above, Port Arthur has already been granted approval to export products to
 FTA nations. The stated purpose and need of the Rio Grande LNG Project is to liquefy and
 export more than double the stated capacity of the Port Arthur Project. A system alternative to
 meet the needs of both projects would require redesign and engineering and an assessment of
 location and size of property. In addition, any expansion of the proposed facilities at the Port
 Arthur LNG Terminal to accommodate the proposed capacity for the Rio Grande LNG Terminal
 would need to be fully evaluated by FERC and other applicable agencies, but such an expansion
 would likely not result in significant environmental advantage over the proposed location.
 Therefore, it was not evaluated further as a system alternative.

 3.2.1.7   Galveston Bay LNG

          Galveston Bay LNG, LLC (GBLNG) is planning to construct an LNG export terminal in
 Galveston County, Texas, on a 750-acre site located on a parcel situated between the spur of the
 Texas City Ship Channel from the Houston Ship Channel and the Texas City turning basin. The
 planned terminal will have three liquefaction trains, each with a nominal capacity of 5.5 MTPA,
 up to four LNG storage tanks (220,000 m3 net storage capacity each), two large-scale marine
 jetties, one turning basin, and up to four LNG tanker truck loading bays. The terminal would
 receive natural gas feedstock from interconnected natural gas transportation facilities within the
 state of Texas via a GBLNG-proposed, FERC-jurisdictional 97-mile-long pipeline with
 interconnects in the Katy Hub region running to the terminal. The pipeline is designed to


                                                  3-10                                  Alternatives
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 transport 3.0 Bcf/d of natural gas to the terminal. GBLNG has planned for a phased construction
 approach, anticipating that construction would begin in 2023, and have an initial in-service date
 in 2027 for the first liquefaction train. Subsequent liquefaction trains would be constructed in 6
 to 12-month intervals.

         On June 13, 2018, GBLNG received DOE approval for the export of approximately 16.5
 MTPA to FTA nations. Subsequently, on October 10, 2018, GBLNG received authorization to
 engage in the FERC pre-filing process (PF18-7-000) and anticipates an in-service date of 2027,
 if approved. GBLNG has an application pending with DOE for the export of LNG to non-FTA
 nations.

         The design and size of the GBLNG facility would not have the capacity to produce the
 volume of LNG proposed by RG LNG without a completely new project being designed. Any
 expansion of the proposed facilities of the GBLNG terminal to accommodate the proposed
 capacity for the Rio Grande LNG Terminal would need to be fully evaluated by FERC and other
 applicable agencies, but such an expansion would likely not result in significant environmental
 advantage over the proposed location. Therefore, it was not evaluated further as a system
 alternative.

 3.2.2 Pipeline System Alternatives

          To serve as a viable system alternative to the Rio Bravo Pipeline, the system would have
 to: (1) transport all or a part of the volume of natural gas required for LNG at the LNG Terminal,
 and (2) cause significantly less impact on the environment than the proposed pipelines.

         Currently, there are no large diameter natural gas transmission pipelines operating within
 40 miles of the proposed Rio Grande LNG Terminal site. The largest pipeline in the vicinity of
 the terminal site is a local distribution company system, Texas Gas Service Company (TGS).
 Large natural gas transmission pipelines in the region include systems operated by Williams
 Transco and Spectra Energy’s Texas Eastern Transmission Pipeline. Figure 3.2.2-1 shows the
 pipeline systems within the vicinity of the proposed Rio Grande LNG Project.

 3.2.2.1   Texas Gas Service

         The TGS system is a 10- and 16-inch-diameter pipeline system delivering gas to the local
 residential and commercial customers in Hidalgo and Cameron Counties. Local distribution
 systems are operated at lower pressures, such that upgrades for use by RB Pipeline would require
 a major rebuild of the system in order to meet the pressure and volume demands for the Rio
 Grande LNG Terminal. Additionally, much of the TGS system is located in areas adjacent to
 commercial and residential development, which would present certain constructability issues due
 to the space constraints associated with construction in developed areas. Therefore, the TGS
 system was eliminated from further consideration as a pipeline system alternative.




                                                  3-11                                  Alternatives
                                                                                                           San Patricio County Aransas County



                                                                 Jim Wells                         Nueces County




                                                                                                                                                                                USCA Case #23-1174
                                                                  County

                                   Duval County
Webb County


                                                                                             Kleberg
                                                                                             County




                                                                                                                                                                                Document #2038760
                            Jim Hogg
                             County                   Brooks County
Zapata County
                                                                                             Kenedy County




                        Starr County
                                                                                             Willacy
                                                                                             County
                                                             Hidalgo
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                                                                                                                                  Rio Grande
                                                                                                                    Cameron       LNG Terminal
                                                                                                                     County


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                                                                                                                                                                                Page 144 of 732
                                                              Legend




              Gulf of
                                                       Proposed Rio Bravo Pipeline
                                                       Williams Transco
                                                       North Padre Island Lateral
                                                       Texas Eastern Pipeline
                                                                                                                    ±                             Rio Grande LNG Project

                                                                                                                                                 Pipeline System Alternatives
              Mexico
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          ^
                                                ^ Rio Grande LNG Terminal
                                                _                                                                  Miles
                                       Service Layer Credits: Sources: Esri, HERE, Garmin, USGS,                                                       Figure 3.2.2-1
                                       Intermap, INCREMENT P, NRCan, Esri Japan, METI, Esri
                                       China (Hong Kong), Esri Korea, Esri (Thailand), NGCC, ©
                                                                                                            Scale: 1:1,500,000
                                       OpenStreetMap contributors, and the GIS User Community
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 3.2.2.2     Texas Eastern Transmission Pipeline

         The Texas Eastern Transmission Pipeline (Texas Eastern) is a 9,100-mile-long system
 that connects Texas and the Gulf Coast to the Northeast and has a capacity of 10.5 Bcf/d. Part of
 Texas Eastern’s system crosses the proposed Pipeline System near MP 19.7 and continues south
 to Hidalgo, Texas, about 60 miles west of the proposed Rio Grande LNG Terminal site. Using
 the Texas Eastern Pipeline as an alternative would result in additional miles of pipeline to bring
 the gas east toward Brownsville. RB Pipeline is considering an interconnect with the Texas
 Eastern Pipeline, which has a total capacity of 0.6 Bcf/d; therefore, the Texas Eastern Pipeline
 does not have the available capacity to meet all of RG LNG’s need for gas and would require
 looping16 in order to meet the volume requirements for the proposed Project. Looping of the
 Texas Eastern Pipeline and the additional miles of pipeline needs to reach the Rio Grande LNG
 Terminal site would result in similar or greater environmental impacts when compared to the
 proposed pipeline. As such, the Texas Eastern Pipeline is not considered to be a viable system
 alternative to the proposed Rio Bravo Pipeline.

 3.2.2.3     Williams Transco

         The Transco pipeline system includes a 1,800-mile-long pipeline from south Texas to
 New York. The Williams North Padre Island Lateral (NPIL) is a 24-inch-diameter east-west
 lateral pipeline that transports gas from offshore in the Gulf of Mexico to the Falfurrias
 Compressor Station about 15 miles west of the proposed Rio Bravo Pipeline System near MP
 25.0. The NPIL is a gathering pipeline for the Transco mainline that crosses the proposed Rio
 Bravo Pipeline near MP 25.7.

         RB Pipeline is considering an interconnect with the NPIL, which has a total capacity of
 0.5 Bcf/d; therefore, the NPIL does not have the available capacity to meet all of the needs for
 gas and would require looping in order to meet the volume requirements for the Rio Grande
 LNG Project. Looping of the NPIL and the additional miles of pipeline needed to reach the Rio
 Grande LNG Terminal site would result in similar or greater environmental impacts when
 compared to the proposed pipeline. As such, we do not consider the Williams Transco system to
 be a viable system alternative to the proposed Pipeline System.

 3.2.2.4     Valley Crossing Pipeline

         Valley Crossing Pipeline, LLC (affiliate of Enbridge) constructed the new 165-mile-long
 intrastate natural gas pipeline (Valley Crossing Pipeline or VCP) from the Agua Dulce Hub to
 Brownsville that is providing service to Mexico’s Comisión Federal de Electricidad (CFE). The
 VCP, regulated by the RRC, connects to the 1,000-foot-long Border Crossing Project (FERC
 Docket No. CP17-19-000) that connects the intrastate VCP to the non-jurisdictional CFE
 pipeline (see figure 3.2.2-2). FERC issued the Presidential Permit granting authorization under
 Section 3 of the NGA on October 23, 2017. The VCP is designed to transport 2.6 Bcf/d and
 connect with the Sur de Texas – Tuxpan pipeline which extends into Mexico. The project was
 placed into service in February 2019.

 16
           A pipeline loop is constructed parallel to an existing pipeline to increase capacity.



                                                              3-13                                     Alternatives
                                                                                                                                                    USCA Case #23-1174                            Document #2038760                                              Filed:Aransas County
                                                                                                                                                                                                                                                                          02/02/2024                          Page 146 of 732
                                                                                                                                                                                                                                    San Patricio County



                                                                                                                                                                                                             Nueces County

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                                                                                                                                                                                        Jim Wells County

                                                                                                                     Webb County                                Duval County
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                                                                                                                                                 Jim Hogg County                                                         50
                                                                                                                                                                                  Brooks County
                                                                                                                   Zapata County                                                                                                   Kenedy County

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                                                                                                                                                                                                                          70
Path: S:\Projects\31283_Arch Pipeline Project\MAPS\NR\mxd\Report\FERC Resource Reports\RR1B-1 - Location Map.mxd




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                                                                                                                                             Starr County                                                                            Willacy County
                                                                                                                                                                                                                              90


                                                                                                                                                                                   Hidalgo County
                                                                                                                                                                                                                                   100


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                                                                                                                                                                                                                Cameron County                 120

                                                                                                                                                                                                                                                     130              150                       Border Crossing Project
                                                                                                                                                                                                                                                       140
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                                                                                                                                                          Legend
                                                                                                                                                                                                                                                                                                                     Rio Grande LNG Project
                                                                                                                     Non-Jurisdictional Facilities Centerline
                                                                                                                     Milepost
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                                                                                                                                                                  ^    Border Crossing Project
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                                                                                                                                                                                                                                                            10                20 Miles
                                                                                                                                                                                                                                                                                                                          VCP System Alternative
                                                                                                                     US/Mexico Maritime Boundary
                                                                                                                                                                                                                                                 0     10        20         30 Kilometers
                                                                                                                                                                                                                                                                                                                            Figure 3.2.2-2
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          VCP has a similar route as the proposed Rio Bravo Pipeline, with abutting rights-of-way
 between MP 35.6 and MP 70.0. VCP rejoins and overlaps the proposed right-of-way in the BND
 utility corridor between MP 132.3 and MP 135.4 before crossing the BSC and continuing
 offshore and connecting with the Border Crossing Project (see figure 3.2.2-2). VCP’s route
 could easily supply the Rio Grande LNG Terminal; however, as stated in their purpose and need,
 RG Developers anticipate the need for 3.6 Bcf/d of natural gas at full capacity. VCP transmits
 2.6 Bcf/d, and it is currently assumed that volume is subscribed by end users in Mexico.
 Therefore, VCP does not appear to have available volume of natural gas to supply the Rio
 Grande LNG Terminal. As such, VCP is not considered to be a more viable system alternative
 to the proposed Pipeline System, and we did not analyze the VCP pipeline system as an
 alternative to the proposed pipeline.

 3.3    LNG TERMINAL SITE ALTERNATIVES

 3.3.1 Alternative Terminal Sites along the Texas Coast

         While there exists about 370 miles of Texas Gulf Coast, there are only a small number of
 accommodating port systems that could provide viable alternatives to the proposed Rio Grande
 LNG Terminal due to a lack of adequate shipping channels or developed industrial ports. The
 ports along the upper Texas Gulf Coast (Port Arthur, Houston/Galveston, and Freeport) are near
 capacity with existing oil and gas and commercial operations. Recent development in Corpus
 Christi provide limited available sites, which leaves Brownsville as the port system with the most
 available sites. The other bays and smaller ports along the coast do not support large commercial
 vessels and are used primarily for commercial and recreational fishing.

         Based in part on the information provided by RG LNG, we evaluated site alternatives in
 the general area of the proposed LNG Terminal site. In order to meet the stated objectives of the
 Rio Grande LNG Project, we applied the following screening criteria to identify reasonable sites
 that could provide some environmental advantage over the proposed terminal site:

        •   Property Size – Based on the proposed design, approximately 700 to 1,000 acres are
            needed to build and operate the LNG Terminal to accommodate six LNG trains, four
            LNG tanks, and two marine jetties, with adequate space to maneuver the LNG
            vessels.

        •   Waterfront Access – Given the need to support LNG vessels and domestic waterway
            transportation of LNG, a location on waterfront property providing direct access to
            deep draft shipping channels (water depths greater than 42 feet below mean sea level)
            that can accommodate LNG vessels with a carrying capacity ranging from 125,000 to
            185,000 m3.

        •   Accommodating Port – A port system that could accommodate maritime traffic of up
            to six LNG vessels per week for full operation of the LNG Terminal.

        •   Natural Gas Pipelines and Transmission Lines - Sites proximate to existing interstate
            pipeline systems were considered preferable in order to provide natural gas to the
            LNG Terminal site.


                                                  3-15                                  Alternatives
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           •    Road Access – Sites with access to state and federal highways were considered
                preferable in order to facilitate construction and also operation of the LNG Terminal
                and LNG trucking.

           •    Population Centers/Residences - Sites that are not in close proximity to population
                centers or residences were considered preferable in order to meet the regulatory
                requirement for LNG vapor dispersion and thermal radiation exclusion zones.

           •    Existing Industrial Yards for Support – Sites near existing industrial areas were
                considered preferable in order to provide support logistics and pre-assembly activities
                near the LNG Terminal site.

           •    Land Availability/Lease – One substantial challenge of siting an LNG facility is
                finding suitable property that is available for industrial development. Availability is
                critical because Section 3 of the NGA does not provide a project proponent the
                authority of eminent domain in acquiring the property for an LNG terminal. RG
                LNG prefers a site that allows for a long-term lease, with a minimum or 20 years.

        Using the screening criteria described above, we evaluated four alternative sites for the
 LNG Terminal along the Texas Gulf Coast (Port Lavaca, Port of Corpus Christi – Ingleside, Port
 Aransas, and Powderhorn Ranch). The general locations of the four site alternatives along with
 the proposed site are shown on figure 3.3.1-1. A comparison of each alternative site to the
 proposed site is presented in table 3.3.1-1 and discussed below.

                                            Table 3.3.1-1
         Comparison of Alternative Rio Grande LNG Terminal Sites Along the Texas Gulf Coast

                                     Proposed         Port          Corpus Christi -    Port         Powderhorn
        Screening Criteria                                                             Lavaca
                                        Site        Aransas            Ingleside                       Ranch

  Property size (acres)                  984           220                550            100            5,000

  Pipeline length (miles)                138            70                 60            125             125

  Waterfront access                   Deep draft    Deep draft         Deep draft      Shallow         Shallow

  Pipeline access                     Available     Available          Available       Available      Available

  Road access                         Available     Available          Available       Available     Not available
  Land availability with 1.5-mile
                                      Available    Not available      Not available    Available     Not available
  buffer
  Existing industrial support
                                      Available    Not available       Available       Available     Not available
  facilities

  Accommodating port                  Available    Not available      Not available    Available      Available

  Long-term lease available           Available    Not available      Not available    Available     Not available




                                                             3-16                                      Alternatives
                                                                                                 Matagorda
                                                                                                  County




                                                                                                                                                  USCA Case #23-1174
                                                                                    *
                                                                                    #
                                                                             Calhoun              Port Lavaca
                                                        Refugio
                                                                             County        *
                                                                                           #
                                                        County


                                                                  Aransas                         Powderhorn Ranch
                                                                  County
                                          San
                                         Patricio                                       Port
                                         County                                     of Arnasas




                                                                   *
                                                                   #
                                                          #
                                                          *
                                      Nueces
                                      County




                                                                                                                                                  Document #2038760
                                                                         Port of Corpus
                                                                        Christi, Ingleside
                                   Kleberg
                                   County




                                   Kenedy
                                   County                     Port
                                                              Mansfield



                                                    *
                                                    #
                                      Willacy




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                                      County
                                                                              Port of
                                                                            Brownsville
                                        Cameron
                                         County
                                                              *
                                                              #




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                                 Legend
                                                                                                                     Rio Grande LNG Project
                           Alternative Terminal Site

Gulf of                                                                                                              Alternative Terminal Sites
                                                                              0           20       40
Mexico
                                                                                                                      Along The Texas Coast
                                                                                        Miles
          Service Layer Credits: Sources: Esri, HERE, Garmin, USGS,
          Intermap, INCREMENT P, NRCan, Esri Japan, METI, Esri                                                            Figure 3.3.1-1
          China (Hong Kong), Esri Korea, Esri (Thailand), NGCC, ©
                                                                                  Scale: 1:2,500,000
          OpenStreetMap contributors, and the GIS User Community
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          We received a comment to analyze Port Mansfield as an alternative location for the LNG
 facility. Port Mansfield is about 37 miles north of the proposed location in Willacy County,
 Texas. Port Mansfield is a small port used primarily for fishing and recreational boating. The
 channel leading to the harbor is for shallow-draft vessels; however, the Willacy County
 Navigation District is seeking funds to have the COE dredge the channel to a depth of 14 feet
 which is still too shallow for LNG carriers, which require a channel depth of at least 42 feet.
 Additionally, the harbor can only accommodate vessels up to 60 feet in length and has a depth of
 12 feet upon approach and 6 feet dockside (Waterway Guide 2018). The harbor lacks a large
 enough tract of land and is surrounded by residential properties in the immediate vicinity. For
 these reasons we did not include Port Mansfield in our alternatives analysis.

 3.3.1.1   Port Aransas

         The Port Aransas alternative site is on Harbor Island at the entrance of the Corpus Christi
 Ship Channel, about 0.5 mile across the channel from Port Aransas (see figure 3.3.1-1). The
 alternative site is located off a channel that can accommodate the deep draft LNG vessels and has
 good road and pipeline access. The Port Aransas location would require about a 70-mile-long
 pipeline that would require some marine installation, since the site is on an island about 5 miles
 from the mainland shore. The site is a brownfield site that has previously been used as an
 industrial shipyard; however, the site is only 220 acres and would not accommodate the siting
 needs for the LNG Terminal. The site is located within 0.25 mile of residential developments,
 less than 1 mile from the town of Port Aransas, and adjacent to a ferry terminal operated by
 TxDOT. The alternative location is near the junction of three shipping channels that are heavily
 used by commercial and recreational fishing vessels throughout the year; therefore, the addition
 of LNG shipping in the channel could likely lead to congestion within the three channels.
 Although the Port Aransas site meets three of the seven criteria for site selection, the lack of an
 accommodating port and long-term lease in addition to not meeting the other criteria, we find
 that the Port Aransas location does not meet the Project’s needs and was not evaluated further as
 a viable alternative.

 3.3.1.2   Corpus Christi – Ingleside

          An alternative site in the Port of Corpus Christi was identified along the Ingleside
 Channel of Corpus Christi Bay. The alternative site is on the northeast side of the bay on the La
 Quinta Channel, less than 0.5 mile from the town of Ingleside, in San Patricio County (see
 figure 3.3.1-1). The Ingleside location would require about 60 miles of pipeline from the Agua
 Dulce Hub. The site, at 550 acres, does not meet the Project’s requirement for placing the
 facilities. The port is nearly fully developed, with this location being the largest site available
 within an established industrial area. The shipping channel allows for the deep draft LNG
 vessels; however, the configuration of the site between existing developed sites limits the
 waterfront acreage and ability for the marine maneuvering and loading at the site. The close
 proximity to residential developments, schools, and parks also makes the site less desirable for
 developing an LNG terminal. The Corpus Christi – Ingleside site meets four of the seven criteria
 for site selection; however, the lack of an accommodating port and long-term lease along with
 the lack of a 1.5-mile buffer from the site, precludes the Corpus Christi – Ingleside location as a
 viable alternative site to the proposed LNG Terminal site.



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 3.3.1.3   Port Lavaca

          The Port Lavaca alternative site is about 4 miles east of Port Lavaca, in Calhoun County,
 on Lavaca Bay (see figure 3.3.1-1). The alternative port site would require about 125 miles of
 pipeline from the Agua Dulce Hub. The small site (100 acres), however, is not of an adequate
 size to meet the requirements of the Project. Additionally, the shipping channel to the alternative
 site is about 36 feet deep which would not allow the deep draft LNG vessels to transit to the site
 without a significant amount of dredging being required. No other sites were available in Lavaca
 Bay that would meet the site requirements. Because the location would not meet the needs of the
 Project, the site was not evaluated further.

 3.3.1.4   Powderhorn Ranch

         The Powderhorn Ranch alternative site is in the southern portion of the Matagorda Bay
 off of the Port Lavaca Shipping Channel in Calhoun County. The Powderhorn Ranch location,
 similar to the Port Lavaca alternative, would also require about a 125-mile-long pipeline from
 the Agua Dulce Hub. The 5,000-acre site is adjacent to the town of Port O’Conner (see
 figure 3.3.1-1). While this alternative site is of an adequate size to accommodate the siting of the
 LNG Terminal, it does not provide access to the deep draft LNG vessels.

         The Powderhorn Ranch location is in a more remote area; therefore, access to pipelines,
 roads, and industrial support facilities are lacking compared to the other alternatives.
 Additionally, the alternative location is within 0.5 mile of residential developments and the town
 of Port O’Conner. Because of these factors, the Powderhorn Ranch location does not meet the
 Project’s needs and was not evaluated further as a viable alternative.

 3.3.2 Alternative Terminal Sites at the Port of Brownsville

         RG LNG also identified alternative locations within the Port of Brownsville to site the
 LNG Terminal. The following discussion provides our analysis of the alternate sites provided by
 RG LNG that we considered warranted discussion in this EIS. The Port of Brownsville is a
 largely underutilized port, and large tracts of land within the port are available for industrial
 development.

         Although multiple commenters expressed the desire to maintain the land adjacent to the
 BSC in an undeveloped state for the protection of the wildlife that use or traverse the land, the
 BND’s mission statement for the Port of Brownsville includes infrastructure expansion,
 development of economic opportunities, and establishment of the port as a world class port (Port
 of Brownsville 2016a); therefore, maintenance of areas adjacent to the BSC as relatively
 undisturbed land is unlikely in the long-term. Additionally, we received a comment to site
 liquefaction and storage facilities away from the marine facilities in an effort to avoid impacts on
 wetlands. However, given the amount of wetlands in the immediate vicinity of the BSC and the
 Laguna Atascosa National Wildlife Refuge directly north of the proposed LNG Terminal,
 associated facilities would have to be at a minimum 10 miles northwest of the proposed location,
 which is not practicable for operations.

         RG LNG originally evaluated six areas (three areas along the north bank and three areas
 along the south bank) identified by the BND along the BSC for the siting of the LNG Terminal


                                                   3-19                                   Alternatives
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 site (see figure 3.3.2-1). Each of these six areas met many of the key siting criteria discussed
 above. However, the following factors were used by RG LNG to narrow the choice of
 acceptable locations based on local conditions:

        •   Road Access – suitable road access to facilitate the construction and operation phases
            of the LNG Terminal.

        •   Population Centers/Residences – availability of land with a minimum of a 1.5-mile
            buffer distance from populated areas to provide reasonable separation from the
            facility.

        •   Wildlife Corridor – avoidance of the wildlife corridor established for the endangered
            ocelot.

        •   Land Availability/Lease – land available for the LNG Terminal site under a long-term
            lease (20 years minimum).

         Using the screening criteria described above, we evaluated these six alternative sites for
 the LNG Terminal along the BSC. The area that can be developed along the BSC is about 10
 miles in length; therefore, we divided the northern and southern bank areas into three
 geographical areas (west, central, and east) about 3.3 miles in length each for our analysis.
 Because the BND has been actively seeking development along the ship channel, including other
 LNG terminals, some of the reviewed areas were not viable because there was not an adequately
 sized tract available due to other developments having contracts on the various tracts. The areas
 on the south side of the ship channel lack suitable road access, which would hinder both
 construction and operation. The South Bank-West area appears to have tracts of suitable size;
 however, the further west the tract, the more development occurs within the 1.5-mile buffer.

          Another LNG terminal (Annova LNG) is proposed within the South Bank Central area,
 and that site has already been reconfigured to avoid the wildlife corridor. Tract sizes in the
 South Bank-East area appear to not be of adequate size to meet the Project’s needs, due to the
 general presence of an open water bay system. Therefore, based on the initial screening criteria
 which required basic conditions be met for consideration of the Project, we analyzed four of the
 sites in greater detail, and the South Bank-West and South Bank-East sites were not evaluated
 further.

          During the initial alternatives siting analysis, two proposed LNG terminals had leases
 with the BND on the north bank of the ship channel (Gulf Coast LNG and Texas LNG). With
 those two locations being unavailable, and the other tracts on the north bank not adequately sized
 or encroaching on the wildlife corridor or other existing facilities, the proposed site remained as
 the most preferred alternative along the ship channel. The Gulf Coast LNG site is no longer
 under lease; however, that site would be within the 1.5-mile buffer and the proposed site would
 still be preferred based on that criterion.




                                                   3-20                                   Alternatives
                                                                                                                                           USCA Case #23-1174
                                                                                                            North Bank East




                                                                                            Texas LNG




                                                                                                                                           Document #2038760
                                           North Bank Central
                                                                                                                  South Bank East

                       Bahia Grande
                       Pilot Channel

                    Wildlife Corridor



                                                     *#
                                             *
                                             #

                                                                                    South Bank Central
                                                               Annova
                                                                LNG
North Bank West




                                                                                                                                           Filed: 02/02/2024
        Gulf
     Coast LNG
                  South Bank West




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                                              Legend


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                                        Ocelot Passage Path
                                                                                                               Rio Grande LNG Project
                                        Bahia Grande Pilot Channel
                                        Wildlife Corridor                                                     Alternative Terminal Sites
                                                                                0            1          2
                                        Proposed LNG Terminal Site
                                        (Site A; Facility Footprint)
                                                                                                              at The Port of Brownsville
                                        BSC Dredge Areas
                                                                                           Miles
                                        Proposed LNG Facility Sites
                                                                                                                   Figure 3.3.2-1
                                                                                      Scale: 1:80,000
                     AERIAL IMAGERY: NATIONAL AGRICULTURE IMAGERY
                     PROGRAM (NAIP) 2014 - http://datagateway.nrcs.usda.gov/.
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         A comparison of each alternative site to the proposed site is presented in table 3.3.2-1.
 The proposed site is the largest of the sites assessed along the BSC and would affect the greatest
 overall acreage; however, it is large enough to meet the needs of site development while having
 less of an effect on some resources when compared to other evaluated sites. The proposed site,
 along with the other north bank sites, avoids direct impacts on the FWS easement for an ocelot
 corridor and is further from known northern aplomado falcon nests compared to the south bank
 alternative locations. The South Bank Central and East sites are also within critical habitat for
 the piping plover. Additionally, the proposed site is further from cultural and historical sites than
 the other locations listed in table 3.3.2-1. None of the sites listed in the table provided any
 significant environmental advantages when compared to the proposed Rio Grande LNG
 Terminal nor could any of the sites fully satisfy the Project’s purpose and need.

 3.4    FILL MATERIAL SUPPLY ACCESS ROUTE ALTERNATIVES

          The proposed LNG Terminal site would require grading, excavation/dredging, and fill to
 create a suitable surface to construct and operate the LNG Terminal. Although some materials
 excavated or dredged along the shoreline are proposed to be used on-site for fill, not all material
 is anticipated to be suitable for use. To complete activities at the LNG Terminal site, additional
 fill material may be obtained from the Port Isabel dredge pile, which is located about 1 mile to
 the east of the LNG Terminal site boundary. The Port Isabel dredge pile may be used to supply
 an estimated 3.5 mcy of fill material for grading and site preparation at the LNG Terminal site.

         To access the Port Isabel dredge pile, RG LNG originally proposed to construct and use a
 temporary haul road that would allow large dump trucks to transit directly between the LNG
 Terminal site and the dredge pile; however, in order to possibly reduce impacts on wetland and
 open water habitats and aquatic species, we considered two alternatives to the use of the haul
 road, including use of the existing SH-48 by dump trucks, and use of the BSC by barges. These
 options are discussed below.

 3.4.1 Temporary Haul Road via Dump Truck

        RG LNG originally proposed a new 1.8-mile-long temporary haul road to transport fill
 material from the Port Isabel dredge pile to the LNG Terminal site. About 0.6 mile of the
 temporary haul road would be constructed on land leased by a third party (Texas LNG), and
 coordination between the two parties was planned to occur prior to road construction. The road
 would be about 35 feet wide, with 5-foot berms on each side, and would be used for a period of
 27 months.

          Construction of this road would affect 9.4 acres of wetlands and mud flats outside the
 boundary of the LNG Terminal site, including 1.9 acres within the eastern natural buffer area of
 the site. The temporary haul road would also impact 1.0 acre of open water. In addition to direct
 impacts on wetlands and open water within the footprint of the haul road, its use could
 temporarily cut off tidal exchange between the BSC and adjacent habitat, impeding the
 movement of aquatic species between the Vadia Ancha lagoon and the BSC. Further, its use
 could increase sedimentation of adjacent wetlands and mud flats.




                                                   3-22                                   Alternatives
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                                             Table 3.3.2-1
      Comparison of Alternative Rio Grande LNG Terminal Sites Along the Brownsville Ship Channel
                                                 North Bank
                                  North Bank                North Bank            South Bank        South Bank        South Bank
             Factors                               Central
                                    West                      Easta                 West             Centralb            East
                                                 (Proposed)
  Initial Screening Criteria

      Road access                  Available       Available       Available      Not available     Not available     Not available
      Land availability
                                   Available       Available     Not available      Available         Available         Available
      with 1.5-mile buffer
      Long-term lease
      available for                   Yes             Yes            Yes               No                Yes               No
      appropriate-sized tract

  Site Comparisons
      Size of available land
                                      550            1,000            625         Not evaluated          655          Not evaluated
      (acres)
      Distance to electric
                                      2.5             2.4             1.6         Not evaluated           4.3         Not evaluated
      transmission line (miles)
      Distance to nearest
                                      4.3             2.3             1.5         Not evaluated           2.2         Not evaluated
      populated area (miles)
      Distance to entrance of
                                     11.4             5.7             5.1         Not evaluated           7.6         Not evaluated
      the BSC (miles)
      Direct impacts on ocelot
                                      No              No              No          Not evaluated          Yes          Not evaluated
      corridor
      Aplomado falcon nests /
      observations within 0.25         0               0               0          Not evaluated            1          Not evaluated
      mile (2000-2015)c
      Direct impact on piping
                                      No              No              No               No                Yes               Yes
      plover critical habitat
      Foraging habitat for
                                      Yes             Yes            Yes          Not evaluated          Yes          Not evaluated
      piping plover

      Wetland impacts (acres)        23.6            182.3           284.0        Not evaluated         142.9         Not evaluated
      Direct impacts on
                                      Yes             Yes            Yes          Not Evaluated          Yes          Not evaluated
      lomasd
      Open water impacts
                                     37.3            106.1           45.6         Not evaluated          5.5          Not evaluated
      (acres)
      Distance to nearest
      cultural/historic site          1.7             3.2             2.4         Not evaluated          2.1          Not evaluated
      (miles)
  a
              Site of the proposed Texas LNG Terminal.
  b
              Site of the proposed Annova LNG Terminal.
  c
              As suitable foraging habitat is known to be present at the North Bank Central site, foraging habitat is assumed present
              at each of the other sites due to proximity and review of aerial data.
  d
              TPWD 2019; see EIS sections 3.5.1.2 and 4.7.1.4.



        To maintain tidal flow and minimize potential erosion and sedimentation into adjacent
 wetlands, RG LNG had proposed to install culverts along the temporary haul road as well as an
 earthen safety berm on each side of the road. Following its use, the temporary haul road was
 proposed for restoration to pre-construction conditions, with vegetated areas being allowed to


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 revegetate naturally. RG LNG was also evaluating the feasibility of planting estuarine marsh
 vegetation along the temporary haul road to ensure successful revegetation and for erosion
 control as additional mitigation.

         As construction of the temporary haul road would be a deviation from the Commission’s
 Procedures (section VI.B.1.d), and would impact wetlands as described above, we recommended
 in the draft EIS that RG LNG conduct a feasibility assessment for transporting fill material from
 the Port Isabel dredge pile to the LNG Terminal site via the existing system of roads or via
 barges. As a result of these assessments, as discussed below, RG LNG is no longer pursuing use
 of the temporary haul road and currently proposes to transport fill material via barge, if
 necessary.

 3.4.2 State Highway 48 via Dump Truck

         During assessment of the originally proposed temporary haul road, discussed above, we
 evaluated the alternative use of the existing roadway system to transfer materials from the Port
 Isabel dredge pile to the LNG Terminal site via dump trucks. This SH-48 Alternative would
 result in about 124 additional roundtrips (247 transits) per day for the first 27 months of
 construction. If used, the dump trucks would travel from SH-48 (about 3.6 miles) to SH-100
 (about 0.5 mile), down Port Road (about 1.3 miles) until reaching the Port Isabel dredge pile.

        Transit on SH-48 would be through rural/undeveloped land. Once on SH-100, more
 development and stop lights are present; Port Road passes by residential areas for about 0.4 mile
 before entering undeveloped/industrial areas.

         RG LNG indicated that the haul road was preferable to use of SH-48, as it would result in
 decreased heavy truck traffic on the existing roadway system, thereby minimizing the potential
 for impacts on the existing roadways and also by decreasing air emissions associated with the
 longer route. RG LNG also voiced concerns regarding potential road damage resulting from the
 weight of the dump trucks and that the dump trucks would represent slow-moving traffic on a
 high-speed road.

         Although dump trucks generally accelerate and decelerate slowly, RG LNG has already
 coordinated with TxDOT for access to the LNG Terminal, to include lanes for acceleration,
 deceleration, and turning, as well as traffic lights along SH-48, which would mitigate for slow-
 moving vehicles entering and leaving the LNG Terminal site. We also note that large semi-
 trucks already traverse these roads. Further, although air emissions from truck transits would
 increase, we believe that the impacts on air quality from the minimal increase in travel distance
 would also be minimal.

         It is possible that improvements on Port Road may be required to support large dump
 trucks, and some improvements would be needed at the Port Isabel dredge pile for the trucks to
 access the spoil, which is contained within berms (this would also be true for the temporary haul
 road); however, we found that use or improvement of existing infrastructure is environmentally
 preferable to construction of the temporary haul road that would traverse wetlands and
 waterbodies, even with RG LNG’s additional proposed mitigation measures. Therefore, we
 included a recommendation in the draft EIS for RG LNG to file additional information so that we



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 could further evaluate this alternative. RG LNG met with TxDOT in November 2018 to discuss
 road improvements and traffic mitigation for the Project; however, based on additional
 consideration, RG LNG has determined that use of SH-48 would not be the most practicable
 alternative and is now pursuing the barge alternative, as discussed below.

 3.4.3 Brownsville Ship Channel via Barge (Proposed Action)

         During FERC’s coordination with cooperating agencies, the FWS identified a third
 option to access the Port Isabel dredge pile. This third alternative includes use of barges to
 transport fill material to the MOF at the LNG Terminal, where it could be offloaded to trucks and
 distributed throughout the site as necessary. Docking facilities owned by the BND appear to be
 present in close proximity to the Port Isabel dredge pile such that there is the potential for RG
 LNG to transport fill materials via barge to the MOF for offloading.

         Use of barges to transport fill materials would eliminate the haul road’s impacts on
 wetlands and open waters, and the need for additional truck traffic along existing roadways. As
 a result of our recommendation in the draft EIS, RG LNG has eliminated from consideration the
 temporary haul road and use of the existing highway system for transport of fill material from the
 Port Isabel dredge pile, and is currently conducting an analysis of the barge transport alternative
 for feasibility of use.

 3.5    PIPELINE CONFIGURATION AND ROUTE ALTERNATIVES

 3.5.1 Pipeline Configuration and Size

         RB Pipeline has proposed dual 42-inch-diameter pipelines (rather than a single 42-inch-
 diameter pipeline) because, according to RB Pipeline, a single pipe would be incapable of
 delivering sufficient natural gas quantities required to meet the designed export needs of the Rio
 Grande LNG Project. As an alternative to the proposed configuration, and in order to reduce the
 Project footprint resulting from two pipelines, we reviewed the potential for use of a single,
 larger diameter pipeline. Key factors to consider included:

        •   availability of pipe size and associated components (e.g., fittings and valves);

        •   availability of construction equipment and experienced operators;

        •   environmental impacts; and

        •   reliability and safety.

         At our request, RB Pipeline determined that, at a minimum, a 60-inch-diameter pipeline
 would be required to transport the natural gas volumes associated with Project. A single pipeline
 trench and right-of-way could provide certain advantages over dual pipeline trenches and rights-
 of-way. For example, trenches associated with the larger diameter pipeline construction
 easement could result in less cumulative soil disturbance than two adjacent pipelines. Also, the
 proposed construction schedule for installing the dual pipelines would result in multiple impacts
 on a given area over the multi-year construction period, which would increase impacts on
 wildlife; whereas, construction of the larger diameter pipeline would last over one construction


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 period and potentially reduce impacts on wildlife and other resources (see related discussion on
 project timing below). On the other hand, construction of this non-standard pipeline diameter
 would present numerous construction difficulties and safety concerns. Construction equipment
 capable of handling a 60-inch-diameter pipe is not readily available in the United States. For
 example, side-boom tractors of sufficient size to transport a 60-inch-diameter pipe are currently
 unavailable in the United States and would likely need to be constructed for the Project. Further,
 additional construction equipment such as bending and welding machines would require
 retrofitting to handle 60-inch-diameter pipes. Fabrication of this specialized equipment would
 require significant lead time and increased capital costs, and would result in a significant delay in
 the commencement of Project construction activities.

         The dual Pipeline System would provide uninterrupted gas flow compared to a single
 pipeline that could require shutting down or limiting gas delivery during maintenance and
 inspection activities. Shutdowns and reduced delivery volumes could lead to delays at the
 terminal with both LNG and shipping. Although the single, 60-inch-diameter pipeline may
 result in some environmental advantages, specifically as it would avoid multiple construction
 periods through a given area, the lack of equipment and skilled contractors required to install the
 larger diameter pipeline render this alternative infeasible from a construction standpoint;
 therefore, we did not consider the single pipeline alternative further.

          Additionally, we considered concurrent construction of the dual 42-inch-diameter
 pipelines as opposed to each pipeline being constructed separately (about a year apart) in an
 effort to minimize the temporal effects of the proposed staged construction process. While RB
 Pipeline initially considered and rejected concurrent construction of the dual pipelines at HDD
 crossings, it has not considered concurrent construction for both complete pipelines. Concurrent
 construction of the pipelines would minimize the duration of disturbance within associated
 construction workspaces and could result in less temporal effects overall but would require more
 ATWS to accommodate an increase in equipment and staging. RB Pipeline asserts that a staged
 construction approach is more practicable and safer given the equipment and manpower needs
 for construction of each pipeline. The proposed sequential schedule for dual pipeline
 construction also follows the construction schedule and staged commissioning and operation of
 each of the six LNG trains. We find this acceptable; therefore, we do not recommend concurrent
 construction along the entire length of the pipelines.

 3.5.2 Pipeline Route Alternatives

          We received comments from the NPS regarding potential impacts from the Pipeline
 System on the King Ranch and near the Palo Alto Battlefield, both NPS-designated national
 historic landmarks. The King Ranch National Historic Landmark includes four operating
 divisions within five different counties (including a total of 825,000 acres), and cannot be
 completely avoided by the Project. RB Pipeline reviewed potential pipeline alternatives as part
 of its routing process to minimize and avoid environmental impacts, and has been actively
 engaged with the King Ranch regarding pipeline routing. RB Pipeline worked with the
 landowners to site the pipeline with existing infrastructure in the area, to the extent possible,
 thereby minimizing impacts on the Ranch. It appears that the King Ranch owners are agreeable
 to the proposed route. Cultural surveys have not been completed on the King Ranch; therefore,



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 as stated in section 4.10 we are requiring that surveys and consultation under Section 106 of the
 NHPA be completed before construction can begin.

         The Palo Alto Battlefield is about 2.7 miles (at its closest point) to the Rio Bravo Pipeline
 and over 10 miles from the LNG Terminal site and would not experience direct effects
 associated with the Project, as discussed in sections 4.8 and 4.10; therefore, we did not review
 any alternatives to further avoid the Palo Alto Battlefield National Historical Park/National
 Historic Landmark.

         Three tracts crossed by the pipeline between MP 113.0 and MP 116.5 were identified as
 being managed by the NRCS and the Farm Service Agency (FSA) as State Acres for Wildlife
 Enhancement (SAFE) as part of the CRP. Consultation between the FSA and RB Pipeline
 indicated that these parcels have been designated for the protection of ocelot habitat. We
 recommended in the draft EIS that RB Pipeline minimize impacts on these tracts. Subsequently,
 RB Pipeline in discussions with landowners, FSA and NRCS personnel, reviewed a pipeline
 route variation that would minimize impacts on the CRP-SAFE habitat. The variation, at its
 greatest distance, is about 1,500 feet west of the original alignment and is about 2.4 miles in total
 length. The variation increases the overall distance of the pipeline right-of-way by about 0.2 mile
 and increases the amount of forested land affected by construction by about 4 acres; however, the
 benefit of minimizing the CRP easements and ocelot habitat is environmentally preferable
 compared to the small addition of land disturbance that would be required for the longer length
 of right-of-way.

         We further reviewed the pipeline crossing of the Loma de Yeguas (MP 132.5) in
 response to comments on the draft EIS from the TPWD, which requested either a pipeline shift
 or a change in construction methods at this location to avoid impact on the loma. Lomas are clay
 dunes that developed through wind-driven depositional processes and support specific vegetation
 communities (Bowler 1973). Regarding a pipeline shift, at this location the proposed pipeline is
 collocated within a corridor established for the linear utilities along SH-48. As this corridor
 includes multiple planned facilities, as well as a recently constructed pipeline (the VCP), the
 habitat has already been disturbed. Further, changing the current construction method over the
 loma from open cut to an HDD would require placing HDD drill pits in the wetlands on either
 side of the loma. Given that the proposed route is collocated with an existing pipeline and the
 loma has already been disturbed, we do not find an environmental benefit to modifying the
 pipeline route or construction method. Lomas are further discussed in section 4.7.1.4 as an
 important habitat for ocelots.

 3.6    ABOVEGROUND FACILITY SITE ALTERNATIVES

        The pipeline would require compression at two locations along the proposed route, in
 addition to a third compressor station (Compressor Station 3) required at the LNG Terminal site.
 In order to meet the natural gas supply throughput requirements for the Pipeline System,
 compressor stations would be required at the northern origin of the pipeline following
 interconnects with the various pipeline systems in the Agua Dulce Hub area (Compressor Station
 1) and north of the city of Raymondville (Compressor Station 2).




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         Availability of sufficient land for lease or purchase along the pipeline route at locations
 consistent with engineering requirements relating to safety and operability, while maintaining
 pipeline pressure along the route, were important factors in RB Pipeline’s site selection process
 for the compressor stations. Environmental considerations included avoiding sensitive resources
 such as wetlands and endangered species, viewshed, and noise sensitive receptors. Additionally,
 locations that required minimal to no construction of new access roads were preferable to
 locations that required new access road construction.

 3.6.1 Compressor Stations 1 and 2

         In general, compressor station requirements are dependent on the length of the Project,
 the pressure of the existing feed source(s), and the distance traveled to achieve the required
 pressure at the receipt meter station. During Project design, RB Pipeline reviewed several
 potential compressor station locations along the pipeline route, looking at hydraulic requirements
 and potential impacts on the surrounding public and environmental resources in selecting its
 proposed sites.

         Based on our analysis in this EIS, we have determined that the proposed sites for
 Compressor Stations 1 and 2 are acceptable locations and that construction would not result in
 significant environmental impacts. We did not receive any comments on or objections to the
 proposed sites, nor did we receive any suggested alternative locations. RB Pipeline’s
 preliminary site investigations determined that the proposed sites were well-suited with regards
 to engineering and hydraulic constraints, and posed minimal environmental impacts. We agree,
 and as such did not evaluate site alternatives for the Compressor Stations 1 and 2.

 3.6.2 Compressor Station 3

          The proposed Compressor Station 3 site is within the LNG Terminal site, at the end of
 the Pipeline System. This particular compressor station is required to increase the gas pressure
 to the level needed at the Pipeline System’s delivery point. Alternative locations outside of the
 LNG Terminal site were also considered by RG Developers during Project design; however,
 such offsite locations were ruled out because there would be less impact if the compressor station
 was included within the LNG Terminal site as opposed to being constructed on a separate 40-
 acre (or larger) parcel elsewhere. A comment was received on the draft EIS requesting
 Compressor Station 3 be moved to affect no wetlands; however, to do this would require moving
 the compressor station at least 10 miles northwest of its proposed location. Additionally, for
 engineering purposes, there are benefits to having the compressor station as close to the delivery
 point as possible. Our analysis in section 4 of this EIS did not identify any environmental
 concerns specific to Compressor Station 3, and concluded that siting the compressor station
 outside of the terminal site would result in more impacts on wetlands. Further, wetland impacts
 are being considered by the COE based on the permit application filed by RG Developers. For
 these reasons, we did not analyze any other alternative sites for Compressor Station 3.




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 4.0    ENVIRONMENTAL ANALYSIS

          The environmental consequences of constructing and operating the proposed Project
 would vary in duration and significance. Four levels of impact duration were considered:
 temporary, short-term, long-term, and permanent. Temporary impacts generally occur during
 construction, with the resource returning to pre-construction conditions almost immediately
 afterward. Short-term impacts could continue for up to 3 years following construction. Impacts
 are considered long-term if the resource would require more than 3 years to recover. A
 permanent impact could occur as a result of any activity that modified a resource to the extent
 that it would not return to pre-construction conditions during the 30-year life of the Project, such
 as within the footprint of the LNG Terminal. When determining the significance of an impact,
 we consider the duration of the impact; the geographic, biological, and/or social context in which
 the impact would occur; and the magnitude and intensity of the impact. The duration, context,
 and magnitude of impacts vary by resource and therefore significance varies accordingly.

         In this section, we discuss the affected environment, general construction and operational
 impacts, and proposed mitigation for each resource. We evaluated the applicants’ proposed
 mitigation measures to determine whether additional measures would be necessary to reduce
 impacts; if we deemed additional measures to be appropriate, we have included them as bulleted,
 boldfaced paragraphs in the text. We will recommend that these measures be included as
 specific conditions to any authorization that the Commission may issue. Conclusions in this EIS
 are based on our analysis of the environmental impacts and the following assumptions:

        •   RG Developers would comply with all federal laws and regulations;

        •   the proposed facilities would be constructed as described in section 2.0 of this
            document; and

        •   RG Developers would implement the mitigation measures included in their application
            and supplemental filings to the FERC.

 4.1    GEOLOGIC CONDITIONS, RESOURCES, HAZARDS, AND MITIGATION
        DESIGN MEASURES

 4.1.1 Geologic Setting

          The Rio Grande LNG Project would be in the West Gulf section of the Coastal Plain
 physiographic province (USGS 2000). The Coastal Plain lies along the Atlantic seaboard and
 Gulf Coast of the United States, stretching 100 to 200 miles inland and 100 to 200 miles
 offshore, to the edge of the continental shelf. This belt of Late Cretaceous to Holocene
 sedimentary rocks comprises an elevated sea bottom with low topographic relief dipping
 seaward. In Texas, the Coastal Plain includes a system of alternating synclines (troughs) and
 anticlines (peaks) oriented perpendicular to the coastline (Hosman 1996). The surficial geology
 underlying the region is composed of Quaternary Holocene and Pleistocene-aged sediments
 made of alluvium of the Rio Grande and coastal deposits of dune, estuary, lagoon, deltaic, tidal
 flat, beach, and barrier island environments (Page et al. 2005). The geologic setting of the
 pipeline facilities is discussed below; however, the geologic setting of the LNG Terminal and
 discussion of geologic hazards is presented in section 4.12.5.5.


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 4.1.1.1          Pipeline Facilities

         The pipeline facilities cross the interior of the West Gulf section of the Coastal Plain
 physiographic province, where elevations range from about 135 feet NAVD 88 along the Header
 System in Jim Wells County to 5 feet NAVD 88 near the terminus of the Pipeline System at the
 Compressor Station 3 site. RB Pipeline performed geotechnical investigations to evaluate
 subsurface soil and groundwater conditions at Compressor Station 1. This investigation
 indicated that materials consisted of clays, sands, and silts to a depth of 60 feet. Depth to
 surficial groundwater was 30 feet below ground surface at Compressor Station 1. Although RB
 Pipeline conducted geotechnical investigations of its originally proposed Compressor Station 2
 location, the site was relocated based on pipeline route shifts, and additional investigations must
 be conducted. RB Pipeline has also indicated that it will conduct geotechnical investigations at
 the booster stations and HDD sites to verify the feasibility of construction at the proposed
 locations, and would submit those surveys for our review, along with HDD contingency plans in
 the event of failed HDD attempts (see section 4.3.2). Therefore, we recommend that:

           •   Prior to construction of Compressor Station 2, and Booster Stations 1 and
               2, RB Pipeline should file with the Secretary results of its geotechnical
               investigations and recommended site preparation and foundation designs
               that RB Pipeline will adopt, stamped and sealed by the professional
               engineer-of-record licensed in the state where the Project is being
               constructed, for each site, that incorporates the results of geotechnical
               investigations; and

           •   Prior to construction of each of the HDD locations, RB Pipeline should file
               with the Secretary of the Commission (Secretary), results of its
               geotechnical investigations for each of these sites, including any
               recommended mitigation measures RB Pipeline would adopt as part of the
               final engineering design, for review and written approval by the Director
               of the OEP.

 4.1.2 Mineral Resources

        Non-fuel mineral resources produced in Texas consist mainly of cement, crushed stone,
 sand, and gravel (USGS 2015a). The nearest non-fuel mineral resource to the Project is the
 Brownsville Mill, located about 5.4 miles southwest of the pipeline facilities in Cameron
 County; no such resources are located within 0.25 mile of the Project (USGS 2016a). Oil and
 gas production is prevalent throughout Texas, including in the Project area.

          The pipeline facilities would cross multiple areas of active oil and gas development.
 There are 265 oil and gas wells within 0.25 mile of the pipeline facilities (RRC 2015). Of these,
 a total of 57 wells are listed as active, and 15 are permitted but not drilled (table 4.1.2-1). No
 active oil and gas wells or well sites with active permits are located within the construction
 workspace of the pipeline facilities or access roads. The remaining wells are listed as dry or
 plugged or are cancelled permit locations, five of which are within the construction workspace of
 the pipeline facilities or meter stations.



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                                              Table 4.1.2-1
             Active and Permitted Oil and Gas Wells within 0.25 Mile of the Pipeline Facilities
 Component /          Distance from Pipeline
                                                        Well Numbera                       Status
    MP                   Centerline (feet)
 Header System
    HS-0.0                     445                          42046                         Gas well
    HS-0.2                    1,122                         41913                       Oil / gas well
    HS-0.2                    2,185                         41910                       Oil / gas well
    HS-0.3                    2,461                         42049                          Oil well
    HS-0.4                    1,962                         41909                       Oil / gas well
    HS-0.4                    1,119                         41832                    Permitted location
    HS-0.5                    2,765                         42050                       Oil / gas well
    HS-0.5                     821                          41901                       Oil / gas well
    HS-0.7                    1,905                         41900                       Oil / gas well
    HS-0.8                    1,203                         41958                         Gas well
    HS-1.0                     566                         1213612                        Gas well
    HS-1.2                    1,117                         41781                       Oil / gas well
    HS-1.4                     848                          41906                       Oil / gas well
    HS-1.5                     687                          42819                    Permitted location
    HS-1.7                     844                          42242                          Oil well
    HS-1.7                     765                          42255                          Oil well
    HS-1.8                     78                           42241                          Oil well
    HS-1.9                    1,664                         42244                          Oil well
    HS-2.3                     796                          42282                    Permitted location
    HS-2.4                     970                          42281                         Gas well
 Pipelines 1 and 2
   0.0                         987                          41897                       Oil / gas well
   0.0                        5,096                         42042                          Oil well
   0.0                        4,529                         41879                       Oil / gas well
   0.0                        4,327                         42227                       Oil / gas well
   0.0                        4,223                         41880                       Oil / gas well
   0.0                        4,148                         42040                       Oil / gas well
   0.0                        3,350                         41893                       Oil / gas well
   0.0                        3,122                         41895                       Oil / gas well
   0.0                        2,936                         41894                       Oil / gas well
   0.2                        3,289                         41891                       Oil / gas well
   0.4                        2,338                         41890             Injection / disposal from oil / gas




                                               4-3                               Environmental Analsysis
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                                       Table 4.1.2-1 (continued)
            Active and Permitted Oil and Gas Wells within 0.25 Mile of the Pipeline Facilities
  Component /           Distance from Pipeline
                                                        Well Numbera                     Status
     MP                    Centerline (feet)
    0.5                           3,400                    42023               Injection / disposal from oil
    0.7                            648                     41948                        Gas well
    1.3                           1,883                    42032                         Oil well
    2.5                           1,155                    41831                   Permitted location
  Pipelines 1 and 2 (continued)
    3.6                           3,477                    21336                        Gas well
    4.0                           4,381                    21412                      Oil / gas well
    4.1                           4,209                    1242717                       Oil well
    4.1                           4,872                    21361                         Oil well
    4.2                           5,988                    1115130                      Gas well
    4.2                           4,796                    21414                         Oil well
    4.4                           7,472                    1086288                      Gas well
    4.6                           2,584                    21283                   Permitted location
    4.6                           6,440                    1103943                      Gas well
    5.0                           8,481                    1059130                      Gas well
    5.0                           10,134                   21509                        Gas well
    5.0                           6,914                    1072214                      Gas well
    5.2                           9,713                    1067674                      Gas well
    5.4                           9,282                    1076777                      Gas well
    24.0                          1,125                    20933                   Permitted location
    30.3                           985                     20752                        Gas well
    35.0                          1,286                    20705                        Gas well
    36.1                          1,229                    20702                        Gas well
    36.3                           705                     20758                        Gas well
    43.3                          2,079                     2399                   Permitted location
    45.5                           919                      2397                   Permitted location
    60.0                           472                      2238                   Permitted location
    63.4                          1,330                     2236                   Permitted location
    69.7                           103                      1964                   Permitted location
    71.9                           774                     1050517                    Oil / gas well
    71.9                           477                     1151864                       Oil well
    72.8                           656                     1101662                      Gas well
    73.0                           810                     1101662           Sidetrack well surface locationb
    73.1                           469                     1104492                 Permitted location
    74.2                          1,312                     1796                        Gas well




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                                        Table 4.1.2-1 (continued)
             Active and Permitted Oil and Gas Wells within 0.25 Mile of the Pipeline Facilities
 Component /             Distance from Pipeline
                                                                     Well Numbera                             Status
    MP                      Centerline (feet)
   85.1                              700                                 1132222                           Oil / gas well
   85.3                              266                                 1090056                              Oil well
   85.5                              744                                 1086605                              Oil well
   88.5                              155                                 1053319                         Permitted location
   93.4                              751                                   985                           Permitted location
   93.4                              852                                   984                           Permitted location
   134.6                             729                                 1206698                             Gas well
 Source: RRC 2015.
 a
          API well number, if assigned.
 b
          A sidetrack well is a secondary wellbore drilled away from the original hole. A sidetracking operation may be done
          intentionally or may occur accidentally. Intentional sidetracks might bypass an unusable section of the original wellbore
          or explore a geologic feature nearby.



 4.1.3 Geologic Hazards

         Geologic hazards are natural, physical conditions that can result in damage to land and
 structures or injury to people. Such hazards typically include seismicity (such as earthquakes,
 surface faults, tsunamis, and soil liquefaction), subsidence, flooding and storm damage, and
 shoreline erosion and landslides. Conditions necessary for the development of other geologic
 hazards, including avalanches, volcanism, and karst terrain, are not present near the proposed
 LNG Terminal or pipeline facilities. In general, the potential for geologic hazards to
 significantly affect construction or operation of the pipeline facilities is low.

 4.1.3.1            Seismicity

           Earthquakes and Surface Faults

         The majority of significant earthquakes around the world are associated with tectonic
 subduction zones, where one crustal plate is overriding another (e.g., the Japanese islands),
 where tectonic plates are sliding past each other (e.g., the San Andreas Fault in California), or
 where tectonic plates are converging (e.g., the Indian sub-continent). Relative to these highly
 active tectonic regions, Texas and the surrounding areas are seismically quiet. A belt of
 hundreds of mostly seaward-facing faults, collectively known as the Gulf-margin normal faults,
 occur along the Gulf of Mexico. However, these faults occur in sediments and poorly lithified
 rocks, which may not be able to endure the stress required for the propagation of significant
 seismic ruptures (Crone and Wheeler 2000). Historically, only sporadic, low-magnitude seismic
 events have been recorded within the Gulf-margin normal faults. The nearest recorded
 earthquakes to the pipeline facilities occurred in 2010 more than 100 miles from the Compressor
 Station 3 site and 16 to 20 miles from the pipeline facilities in Jim Wells and Nueces Counties.
 The magnitudes of these earthquakes were between 3.8 and 3.9 (USGS 2015b). Additional
 earthquakes with similar magnitudes have occurred in Mexico more than 100 miles southwest of
 the Compressor Station 3 site.


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         RB Pipeline conducted a desktop assessment of faulting along the proposed Pipeline
 System, which indicated the possible presence of seven concealed growth faults between MPs
 45.1 and 135.5 (Page et al. 2005). Although additional faults may be located north of MP 38,
 mapping is not available. No aboveground facilities would be constructed in the vicinity of
 mapped faults. The growth faults crossed by the pipeline occur in unconsolidated sediments,
 where vertical movement of up to 0.1 inch per year may be expected. RB Pipeline would install
 monuments at potential fault locations at the onset of construction to evaluate differential
 settlement that may occur, and would continue to monitor settlement during operations. If
 settlement becomes a hazard, the pipeline would be excavated and new bedding installed beneath
 it, and RB Pipeline would repair or replace any section of defective pipe.

          USGS seismic hazard mapping indicates that the peak ground acceleration (PGA) for the
 pipeline facilities, with 2 percent probability of exceedance in 50 years, ranges from about 3.0
 percent of gravity at Compressor Station 1 and 1.5 percent of gravity where the Pipeline System
 terminates at the Compressor Station 3 site (USGS 2008). Because PGAs less than 9 percent of
 gravity would result in moderate to no perceived shaking and very light to no potential damage,
 it is unlikely that the pipeline facilities would be affected if a small earthquake were to occur
 (USGS 2006a).

           Soil Liquefaction

         Soil liquefaction is a phenomenon often associated with seismic activity in which
 saturated, non-cohesive soils temporarily lose their strength and liquefy when subjected to forces
 such as intense and prolonged ground shaking. Areas susceptible to liquefaction generally
 include sandy or silty soils along rivers, streams, lakes, and shorelines, or in areas with shallow
 groundwater. The soil conditions necessary for liquefaction to occur are present at the proposed
 LNG Terminal site and pipeline facilities.

          At Compressor Station 1, results of the geotechnical investigation concluded that the soils
 present at the sites are not susceptible to liquefaction. Soil conditions necessary for liquefaction
 (sandy or silty textures and a shallow water table) do occur along the pipeline route; however,
 the potential for soil liquefaction to occur is very low due to the low potential for seismicity in
 the Project area. Because of the presence of saturated sediments beneath the LNG Terminal site,
 structures constructed at the Compressor Station 3 site could be susceptible to liquefaction under
 sufficiently strong ground motion. However, the relatively low levels of seismic activity and
 possible ground motion predicted for the LNG Terminal site and compressor station indicate that
 liquefaction factors would be limited, and the risk of soil liquefaction at the Compressor Station
 3 site is minimal. To determine the liquefaction potential at the modified location of Compressor
 Station 2 and the two booster stations, we have recommended that RB Pipeline provide the
 results of geotechnical investigations prior to construction (see section 4.1.1.1).

 4.1.3.2         Subsidence

        Common causes of ground subsidence include the presence of karst terrain, underground
 mining, and substantial groundwater or fluid withdrawal. Underground mining poses risks to
 engineered structures due to the potential for the overlying strata to collapse into the voids
 formed by the extraction of minerals. Based on a review of available information, there are no


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 underground mining activities or potential to encounter karst terrain in the Project area (USGS
 2014, USGS 2016a). Therefore, subsidence associated with these causes is not anticipated.

         Subsidence could occur near the pipeline facilities due to oil and gas extraction. As
 discussed in section 4.1.2.2, these facilities would be within active oil and gas fields. In addition,
 the pipeline facilities would be within 200 feet of 13 water supply wells for groundwater
 withdrawals from the Gulf Coast Aquifer (see section 4.3.1). The largest groundwater
 withdrawals from the Gulf Coast Aquifer occur in the Houston area, and have resulted in
 irreversible subsidence (Texas Water Development Board [TWDB] 2006). However, the
 Kenedy County Conservation District, which includes portions of the adjacent counties, indicates
 that current groundwater uses are not sufficient to cause dewatering in the local clay (Kenedy
 County Groundwater Conservation District 2017).

 4.1.3.3        Flooding and Storm Damage

        The Federal Emergency Management Administration (FEMA) produces flood insurance
 rate maps for municipalities across the nation. The maps are divided into zones with assigned
 probabilities of experiencing a flood event during any 1-year period. The 100-year flood
 represents a flood water level that, based on an analysis of the historic record, is likely to be
 equaled or exceeded every 100 years, meaning that there is a 1 percent chance that the water
 level will be equaled or exceeded in any individual year during a flood event. FEMA also
 produces maps where mapped probability of flooding is 0.2 percent during a 1-year period,
 which corresponds to an average flooding recurrence interval of 500 years.

         Flash floods typically result from intense rapid precipitation in upstream areas that leads
 to extensive short-duration runoff into the stream channel. The greatest potential for flash
 flooding is associated with high intensity, short-duration storm events, which are usually
 accompanied by significant precipitation over a short period of time. The rainfall rate would
 need to be a minimum of 3.5 inches per hour to generate flash flooding in counties crossed by
 the Project (NOAA 2016a).

          Based on a review of FEMA Flood Insurance Rate Maps, about 24.7 miles of the pipeline
 route are within the 100-year floodplain; these areas are predominantly located along washes,
 waterbodies, and arroyos crossed by the pipeline route (FEMA 2017a, b). Although flooding
 itself does not generally present a risk to pipeline facilities, bank erosion and scour could expose
 the pipeline or cause sections of pipe to become unsupported. All pipeline facilities are required
 to be designed and constructed in accordance with 49 CFR 192. These regulations include
 specifications for installing the pipeline at a sufficient depth to avoid possible scour at waterbody
 crossings. Typically, the trench would be sufficiently deep to provide for a minimum of 3 feet of
 cover over the pipeline at waterbodies.

        The sites for Compressor Stations 1 and 2 and Booster Stations 1 and 2 are not within the
 100- or 500-year floodplains (FEMA 2017a, b). Compressor Station 3 would be in a flood zone
 but would be within the flood protection levee at the Terminal site, thus minimizing potential
 flood hazard. Contractor/Pipe Yard 3 and MLV 1 would also be in the 100-year floodplain. To
 avoid potential damage to equipment by flooding, and to minimize the potential for
 contamination in the event of a flood, critical infrastructure and potential sources of


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 contamination would be elevated. Further, RB Pipeline would implement its SWPPP to reduce
 potential impacts on soils from spills of hazardous materials used during construction.

 4.1.3.4        Shoreline Erosion and Landslides

        Due to the Project area’s low landslide incidence and susceptibility, the pipeline facilities
 would not be subject to landslide hazards (Radbruch-Hall et al. 1982). Where steep slopes occur
 along waterbodies (e.g., along man-made canals), RB Pipeline would implement erosion and
 sediment control measures to protect slope stability (see section 4.3.2).

 4.1.4 Blasting

          Based on available soils and geologic maps, and the geotechnical investigations
 conducted by RG Developers to date, we do not anticipate that any blasting would be required
 for construction of the pipeline facilities (or LNG Terminal). Should blasting be required, RG
 Developers would submit a blasting plan to FERC for approval before initiating blasting
 activities and would be required to comply with applicable state and federal regulations.

 4.1.5 Paleontology

         The surficial geologic materials of the Project area are generally young (Holocene to late-
 Pleistocene epochs). The fossil-bearing formation nearest the surface in the Project area is the
 Lissie Formation, which may contain Pleistocene-age vertebrate fauna (USGS 2016a). The
 Lissie Formation is overburdened by the Pleistocene-age Beaumont Formation and Holocene-
 aged alluvium in the Project area (Baker 1995). Therefore, construction and operation of the
 LNG Terminal and pipeline facilities would not likely affect paleontological resources.

 4.1.6 General Impacts and Mitigation

          Impacts on topography and geology associated with the pipeline facilities would be
 limited to 93.1 acres of land that would be permanently converted to industrial use at the
 aboveground facilities. Temporary workspaces and the pipeline easements would be restored to
 pre-construction conditions, limiting geological impacts to temporary disturbance of slopes
 resulting from grading and trenching operations. RB Pipeline would minimize impacts by
 returning contours to pre-construction conditions to the maximum extent practicable, in
 accordance with the Project-specific Plan and Procedures. At the aboveground facilities, grading
 and filling may be required to create a safe and stable land surface to support the facility.

         As discussed above, none of the active or permitted well sites are within or adjacent to
 the proposed aboveground facilities. Active oil and gas wells in the Project vicinity generally
 have alternative access routes; however, operators of active oil and gas wells may experience
 delays on access roads to the wells as a result of pipeline construction, particularly if
 construction activities are crossing the primary access to a well. To avoid impacts, RB Pipeline
 has stated that owners of the wells would be contacted prior to construction to discuss any
 potential impacts and necessary mitigation measures.




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         Results of the geotechnical investigation concluded that a shallow foundation system
 would adequately support lightly loaded structures at the aboveground facilities; however, at the
 heavily loaded and settlement-sensitive structures at Compressor Station 1, deep foundations
 consisting of piles are recommended. No potentially liquefiable soils occur within 100 feet of
 the surface. Geotechnical investigations for Compressor Station 2, the booster stations, and
 proposed HDD locations are pending; however, we have recommended in section 4.1.1.1 that the
 results of these investigations be provided prior to construction.

          The potential for geologic hazards to impact the pipeline facilities would be low. Further,
 the pipeline facilities must be designed and installed in accordance with DOT standards,
 including those in 49 CFR 192, Transportation of Natural and Other Gas by Pipeline: Minimum
 Federal Safety Standards. RB Pipeline would routinely monitor the geotechnical integrity of its
 facilities as part of its current operations and maintenance activities, and take any corrective
 actions necessary to repair damage during the life of the Project.

          No additional ground would be excavated during operation of the Project; therefore, no
 operational impacts are expected related to geologic hazards. Based on the above discussion,
 and in consideration of RB Pipeline’s proposed mitigation, we conclude that the pipeline
 facilities would not significantly affect or be affected by geological conditions in the area.

 4.2       SOILS

 4.2.1 Existing Soil Resources

        The soils affected by the proposed Project were identified and assessed using the NRCS
 Soil Survey Geographic (SSURGO) database (NRCS 2015a). The SSURGO database is a digital
 version of the original county soil surveys developed by the NRCS for use with geographic
 information systems (GIS). It provides the most detailed level of soils information for natural
 resource planning and management. The attribute data within the SSURGO database provide the
 proportionate extent of the component soils and their properties for each soil map unit.

 4.2.1.1           LNG Terminal

         Soils at the LNG Terminal site and associated offsite facilities are mapped as Barrada
 clay, Lomalta clay, Point Isabel clay loam, Sejita silty clay loam, and Twinpalms-Yarborough
 complex. These soils do not contain bedrock or other root restrictive layers within 60 inches of
 the surface. Barrada clay consists of very poorly drained soils with 0 to 1 percent slopes that
 formed in clayey soil over loamy alluvium and storm washover sediments on wind-tidal flats and
 enclosed depressions. Lomalta clay consists of very poorly drained soils with less than 1 percent
 slopes that formed in clayey alluvium on low coastal plains. Point Isabel clay loam consists of
 well-drained soils with 1 to 8 percent slopes that formed in calcareous loamy and clayey eolian
 deposits on coastal ridges. Sejita silty clay loam consists of poorly drained soils with 0 to 1
 percent slopes that formed in calcareous loamy and clayey eolian deposits in tidal flats. The
 Twinpalms-Yarborough complex consists of soils with 0 to 3 percent slopes. Parent material is
 sandy dredge spoil and/or loamy dredge spoil likely dredged during construction of the BSC in
 the 1930s. The Twinpalms component consists of non-hydric, poorly drained soils. The
 Yarborough component consists of frequently flooded hydric soils.



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 4.2.1.2         Pipeline Facilities

          The pipeline facilities would cross 82 different soil series types, including the five
 mapped at the LNG Terminal site. The soil series types that would be crossed by the pipeline
 facilities are listed in appendix I.

 4.2.1.3         Standard Soil Limitations

         Soils that would be affected by the Project were evaluated to identify special
 characteristics, such as those designated as prime farmland, those that could affect construction,
 or those that could increase the potential for adverse construction-related soil impacts. The soil
 characteristics evaluated include hydric characteristics, erosion potential, the potential for
 compaction, and revegetation concerns. No soils with shallow depth to bedrock, rocky soils, or
 soils highly prone to erosion by water occur in the Project area. Table 4.2.1-1 summarizes the
 amount of prime farmland and the characteristics of soils that would be affected by the Project.

           Prime and Important Farmland

         Prime farmland is land that has the best combination of physical and chemical
 characteristics for producing food, feed, forage, fiber, and oilseed crops, and is available for
 these uses (NRCS 2015b). This designation includes cultivated land, pasture, woodland, or other
 land that is either used for food or fiber crops, or are available for these uses. Urbanized land,
 built-up land, and open water cannot be designated as prime farmland. Prime farmland typically
 contains few or no rocks, is permeable to water and air, is not excessively erodible or saturated
 with water for long periods, and is not subject to frequent, prolonged flooding during the
 growing season. Soils that do not meet the above criteria may be considered prime farmland if
 the limiting factor is mitigated (e.g., by draining or irrigating). Farmland of statewide
 importance includes areas that produces high yields of crops when managed in accordance with
 best farming methods. Farmland of statewide importance includes all prime farmland as
 identified by the NRCS, as well as land that meets specific state-designated criteria (NRCS
 1985). None of the soils associated with the LNG Terminal site and related facilities are prime
 farmland. About 879.8 acres of the soils that would be affected by the pipeline facilities are
 designated as prime or important farmland, of which 97.3 acres would be affected by
 aboveground facilities and access roads.

           Hydric Soils

         Soils that form under conditions of extended saturation, flooding, or ponding during the
 growing season may develop anaerobic conditions in the upper horizon, and are considered to be
 hydric (61 FR 29050). These soils are typically indicative of areas with a high mean water table
 and wetlands. Due to extended periods of saturation, hydric soils can be prone to compaction
 and rutting. About 519.5 acres and 741.0 acres of the soils at the LNG Terminal site and
 pipeline facilities, respectively, are hydric.




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                                           Table 4.2.1-1
   Characteristics of Soils Associated with the Rio Grande LNG Terminal and Pipeline Facilities a
                                           Total
                                                    Prime and
                                           Soils                Hydric       Wind      Compaction    Revegetation
                Facilities                          Important
                                          Impact                Soilsc     Erodibled     Pronee       Concernsf
                                                    Farmlandb
                                          (acres)
  LNG TERMINAL
    LNG Terminalg                          750.4       0.0      207.4         0.0         708.2         708.2
    MOF and berthing / turning basin
                                           68.7        0.0       0.0          0.0          0.0            0.0
    dredge area
    Port of Brownsville temporary
                                           20.8        0.0       14.6         0.0         20.8           20.8
    storage area
    Port Isabel temporary storage area      4          0.0       4.0          4.0          4.0            4.0
    Port Isabel dredge pile                293.4       0.0      293.4        293.4        293.4         293.4
    Bulk water loading area                 0.1        0.0       0.1          0.0          0.1            0.1
                 LNG Terminal Total       1,137.4      0.0      519.5        297.4       1,026.5        1,026.5
  PIPELINE FACILITIES
  Pipeline System and ATWS
  Header System and Pipeline 1h
    Header System ROW                      30.9       27.6       11.5         3.2         30.9            0.0
    Header System ATWS                      2.0        2.0       0.8          0.0          2.0            0.0
    Pipeline 1 ROW                        1,941.0     612.8     518.1        660.3       1,924.0        936.6
    Pipeline 1 ATWS                        47.7       22.2       11.5         6.8         46.0           20.7
                               Subtotal   2,021.6     664.6     541.9        670.3       2,002.9        957.3
  Pipeline 2h
    Pipeline 2 ROW                        1,941.0     612.8     518.1        660.3       1,924.0        936.6
    Pipeline 2 ATWS                        47.7       22.2       11.5         6.8         46.0           20.7
                               Subtotal   1,988.7     635.0     529.6        667.1       1,970.0        957.3
  Access Roadsi
    Header System Access Roads             15.8       14.5       3.4          0.0         15.8            0.0
    Pipelines 1 and 2 Access Roads         104.0      39.8       23.2        38.4         99.7           40.6
                               Subtotal    119.8      54.3       26.6        38.4         115.5          40.6
  Contractor / Pipe Yards
    Contractor / Pipe Yard 1               135.6      74.9       2.0         64.6         135.6          60.7
    Contractor / Pipe Yard 2               25.5        0.0       11.2        25.5         25.5           11.2
    Contractor / Pipe Yard 3               136.1       0.0      135.9         0.0         136.1         136.1
                               Subtotal    297.2      74.9      149.1        90.1         297.2         208.0
  Aboveground Facilities
  Header System
    Metering Site HS-1                      2.1        2.1       2.0          0.0          2.1            0.0
    Metering Site HS-2                      1.4        1.4       1.2          0.0          1.4            0.0
    Metering Site HS-3                      2.0        2.0       0.0          0.0          2.0            0.0
    Metering Site HS-4                      1.4        0.1       1.3          1.3          1.4            0.0
                               Subtotal     6.9        5.6       4.5          1.3          6.9            0.0




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                                        Table 4.2.1-1 (continued)
      Characteristics of Soils Associated with the Rio Grande LNG Terminal and Pipeline Facilities a
                                               Total
                                                          Prime and
                                               Soils                       Hydric        Wind          Compaction        Revegetation
                  Facilities                              Important
                                              Impact                       Soilsc      Erodibled         Pronee           Concernsf
                                                          Farmlandb
                                              (acres)
  Pipelines 1 and 2j
      Compressor Station 1                     37.2           37.2           7.1           0.0              37.2                0.0
      Compressor Station 2                     28.6            0.0           0.0           28.6             28.6                9.2
      Interconnect Booster Station 1            9.7            0.0           0.0           9.7               9.7                0.0
      Interconnect Booster Station 2            9.9            0.0           0.0           9.9               9.9                0.1
      MLVs                                      0.8            0.3           0.2           0.4               0.8                0.5
                                 Subtotal      86.2           37.5           7.3           48.6             86.2                9.8
        Aboveground Facilities Subtotal        93.1           43.0           11.7          49.9             93.1                9.8
         Header System and Pipeline 1         2,624.7        879.8          741.0         898.6           2,601.7             1,225.4
                                Totalk
                     Pipeline 2 Totall        2,562.2        824.6          716.4         892.8           2,539.2             1,225.4
                                          m   2,562.2        824.6          716.4         892.8           2,539.2             1,225.4
                      Pipelines 1 and 2
                                          n   2,624.7        879.8          741.0         898.6           2,601.7             1,225.4
                 Pipeline System Total
                                          n   3,762.1        879.8         1,260.5       1,196.0          3,628.2             2,251.9
       Rio Grande LNG Project Total
  a
              The totals shown in this table may not equal the sum of the addends due to rounding. Total acreage does not equal
              the total impact acreage for the Project as not all soils are classified with limitations and certain soils are classified as
              having multiple limitations.
  b
              As designated by the NRCS (2015a). Includes soils that are considered prime and farmland of statewide importance
              if a limiting factor is mitigated (e.g., artificial drainage).
  c
              As designated by the NRCS (2015a), based on percent of map unit designated as hydric.
  d
              Soils with a wind erodibility group classification of 1 or 2 (severe). No soils with a hazard of severe water erosion
              soil loss from unsurfaced roads and trails, as designated by the NRCS (2015a).
  e
              Includes soils with moderate to severe compaction potential based on fine texture and poor drainage class.
  f
              Soil series that have surface texture of sandy loam or coarser, are moderately well to excessively drained, have steep
              slopes (greater to or equal to 9%), and soils near the coast with high salinity (NRCS 2015a).
  g
              Acreages for the LNG Terminal site include those acreages associated with Compressor Station 3 and the marine
              facilities.
  h
              Pipeline right-of-way soil totals include the entire 75-foot-wide permanent right-of-way between entry and exit points
              for the HDD locations, which are excluded from the assessment of impacts on land use (section 4.8) and vegetation
              (section 4.5).
  i
              Access road soils include the total acreage of soils that would be affected construction of the Project added to those
              that would be permanently maintained during operations. A majority of access roads are existing.
  j
              These facilities would originally be disturbed during the construction of Pipeline 1. Although use and modification
              of these facilities would occur during the construction of Pipeline 2, no additional operational footprint would be
              required.
  k
              All impacts associated with construction of the Header System and Pipeline 1, including right-of-way, access roads,
              ATWS, contractor/pipe yards, aboveground facilities, and access roads.
  l
              All impacts associated with construction of Pipeline 2, including right-of-way, ATWS, access roads, contractor/pipe
              yards, aboveground facilities, and access roads (acreages associated with the Header System and its components are
              excluded).
  m
              This total includes the footprint of Pipelines 1 and 2, and associated aboveground facilities, rather than the sum of
              their individual components, as the affected acreage for Pipeline 2 entirely overlaps with the affected acreage proposed
              for Pipeline 1. This total excludes acreages associated with the Header System and its facilities.
  n
              This total includes all pipeline facilities, including the Header System, Pipelines 1 and 2, and associated aboveground
              facilities, without overlap.




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           Wind Erodible Soils

         Erosion is a continuing natural process that can be accelerated by human disturbance.
 Factors such as soil texture, structure, slope, vegetation cover, rainfall intensity, and wind
 intensity can influence the degree of erosion. Wind-induced erosion often occurs on dry and
 non-cohesive soil where vegetation cover is sparse and strong winds are prevalent. Based on the
 soil properties reviewed, 297.4 and 898.6 acres of the soils affected by the LNG Terminal and
 pipeline facilities, respectively, are considered highly susceptible to erosion by wind.

           Compaction Potential

          Soil compaction modifies the structure and reduces the porosity and moisture-holding
 capacity of soils. Construction equipment traveling over wet soils could disrupt soil structure,
 reduce pore space, increase runoff potential, and cause rutting. The degree of compaction
 depends on moisture content and soil texture. Fine-textured soils with poor internal drainage that
 are moist or saturated are the most susceptible to compaction and rutting. About 1,026.5 acres of
 soils at the LNG Terminal site and 2,601.7 acres of soils affected by the pipeline facilities, are
 prone to compaction due to fine textures and poor drainage class.

           Revegetation Concerns

         Successful restoration and revegetation are important for maintaining soil productivity
 and protecting the underlying soil from potential damage, such as erosion. The revegetation
 potential of soils in the Project area was evaluated based on the soil surface texture, slope,
 salinity, and drainage class. Drier soils have less water to aid in the germination and eventual
 establishment of new vegetation. Coarser textured soils have a lower water holding capacity
 following precipitation, which could result in moisture deficiencies in the root zone and
 unfavorable growing conditions for many plants. Saline soils can inhibit plants from absorbing
 adequate water and nutrients, limiting revegetation potential. Based on the soil properties
 reviewed, we expect that 1,026.5 acres of soils affected by the LNG Terminal and 1,225.4 acres
 of soils affected by the pipeline facilities would have low revegetation potential (see table 4.2.1-
 1).

 4.2.2 Soil Impacts and Mitigation

         Construction activities such as clearing, grading, excavation, backfilling, and the
 movement of construction equipment may affect soil resources. Clearing removes protective
 vegetation cover and exposes the soil to the effects of wind and rain, which increases the
 potential for soil erosion and sedimentation of sensitive areas. Grading, spoil storage, and
 equipment traffic can compact soil, reducing porosity and increasing runoff potential.

 4.2.2.1         LNG Terminal

         Preparation of the LNG Terminal site would include adding material such as cement or
 lime to stabilize soils, depositing fill to increase ground elevation, and installing aggregate
 material to provide a safe and level work surface. These activities would permanently alter the
 soils and increase the potential for erosion until the LNG Terminal is constructed and the
 remaining exposed soils are stabilized and revegetated.


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         The LNG Terminal site would be graded to two main platform elevations: an elevation of
 10 feet NAVD 88 would be established throughout the majority of the site (including the LNG
 trains and ground flares), and a lower surface elevation of 9 feet NAVD 88 would be established
 for the area of the stormwater holding ponds and LNG storage tanks. RG LNG would construct
 a storm surge protection levee surrounding the LNG Terminal site with elevations ranging from
 17 to 19 feet NAVD 88. About 623,000 yd3 of material would be excavated along the shoreline
 and within the BSC by land-based equipment for the construction of the marine facilities. This
 material would be directly placed at the LNG Terminal site for fill where needed to meet the
 design elevations. Additional fill would be obtained from the Port Isabel dredge pile (as
 necessary, discussed below) and from dredging.

         As described in detail in section 2.5.1.4, about 39,000 yd3 of material would be dredged
 from the MOF and either used as fill at the LNG Terminal site or pumped via temporary pipeline
 to an approved dredged material disposal site. About 7.2 mcy would be dredged from the marine
 berths and turning basin to provide adequate under keel clearance for LNG carriers, of which
 about 0.6 mcy would be used as fill at the LNG Terminal site. The remainder would be placed at
 approved dredged material placement sites using either a hydraulic dredge and temporary
 pipeline, a mechanical dredge, or a combination of both; a temporary pipeline, if required, would
 be placed on the channel bed and allowed to settle of its own weight. Dredging at the LNG
 Terminal site would be completed by RG LNG in coordination with the BND and the COE and
 in accordance with permits issued by the COE.

         To minimize shoreline erosion, the LNG Terminal waterfront along the BSC would be
 stabilized from the MOF to the berths and turning basin. The channel embankments and slope of
 the shoreline to a depth of -2 feet MLLW would be graded to a 1:3 slope, stabilized with bedding
 stone overlain by geotextile fabric, and then covered with rip-rap. In the marine berths and
 turning basin, where vessel activity could erode the underwater channel slopes, the shoreline
 would be dredged to a 1:3 slope and stabilized with rip-rap to a depth of -43 feet MLLW. RG
 LNG would maintain the integrity of the shoreline protection throughout the operational life of
 the LNG Terminal. All dredging and shoreline stabilization would be conducted during site
 preparations in Stage 1 of construction.

        To reduce the impacts of construction on soils, RG LNG would implement measures
 outlined in the Project-specific Plan and Procedures, which include measures to control erosion
 and sedimentation and to ensure proper restoration of disturbed areas following construction.
 None of the soils at the LNG Terminal site are designated as prime farmland. Portions of the
 LNG Terminal site that would be vegetated during operation, such as the levees, would be
 seeded per NRCS recommendations to prevent erosion. Additional mitigation measures would
 include the installation and maintenance of temporary erosion and sedimentation controls to
 prevent sediment flow from construction areas into adjacent, undisturbed areas, and regular
 monitoring and inspection of disturbed areas until final stabilization is achieved.

         RG Developers stated that water use would be the predominant means of controlling
 wind erosion in disturbed areas having soils with high wind erodibility. Although the use of
 approved chemicals, as well as mulch along the Pipeline System, are noted as potential
 mitigation measures, no specific chemicals or application rates are included in the Terminal and



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 Pipeline System Fugitive Dust Control Plans.17 At our request, RB Pipeline contacted the NRCS
 to determine if alternative forms of dust control were recommended or appropriate. The NRCS
 indicated that wind erosion is a concern in Willacy and Cameron Counties, but that use of
 chemicals is not permitted given the potential threat to threatened and endangered species.
 Cover crops are generally used to control wind erosion in these counties. To account for agency
 input into fugitive dust control, we recommend that:

        •   Prior to construction of the Project, RG Developers should file their final
            Fugitive Dust Control Plans for the LNG Terminal and Pipeline System
            with the Secretary, for review and written approval by the Director of
            OEP. The final plans should specify that no chemicals may be used for
            dust control in Willacy and Cameron Counties.

         Immediately adjacent to the LNG Terminal site boundaries, and within the larger
 property leased by RG LNG, about 233.8 acres would be preserved as natural buffers. Of that,
 10.5 acres would be dredged for a planned expansion of the Bahia Grande Channel that is
 unrelated to the Rio Grande LNG Project. Implementation of the Project-specific Plan and
 Procedures and construction of the levee during Stage 1 of construction would protect adjacent
 areas from sedimentation.

          An additional 329.3 acres would be temporarily impacted during use of two temporary
 offsite storage/parking areas and the Port Isabel dredge pile (if necessary). RG LNG would
 implement its Plan and Procedures to minimize soil impacts associated with these facilities.
 Upon completion of construction, the offsite storage and parking areas would be restored to pre-
 construction conditions and revegetated, as applicable, in accordance with its Plan and
 Procedures.

         The Port Isabel dredge pile would potentially be used to supply an estimated 3.5 mcy of
 fill material for grading and site preparation at the LNG Terminal site. The soils at this site are
 comprised of dredge spoil and are prone to compaction. RG LNG would use timber mats and
 low ground pressure equipment to minimize potential rutting and compaction during wet soil
 conditions at the Port Isabel dredge pile.

         To prevent contamination of soils within nearby wetlands, waterbodies, and other
 sensitive resources, RG LNG would implement its SWPPPs and SPCC Plans18 during
 construction and operation of the LNG Terminal. These plans outline potential sources of
 releases at the site, measures to prevent a release to the environment, and initial responses in the
 event of a spill. In addition, the levee would protect areas adjacent to the LNG Terminal site
 from potential contamination due to spills of hazardous materials during construction and
 operation. As discussed in section 4.2.3, previous sediment sampling indicated the lack of


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        RG Developers’ Pipeline System and Terminal Fugitive Dust Control Plans are available on FERC’s eLibrary website,
        located at http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and
        accession number 20160505-5179.
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        RG LNG’s SWPPP and SPCC Plans are available on FERC’s eLibrary website, located at http://www.ferc.gov/docs-
        filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession number 20160901-5281.




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 contaminated sediments within the BSC; however, it is possible that unanticipated contamination
 would be encountered during construction and dredging activities. Therefore, RG LNG would
 conduct any requested dredged material sampling and testing in accordance with applicable
 permit conditions and would implement its Unanticipated Contaminated Sediment and Soils
 Discovery Plan19 if contaminated materials were encountered. This plan requires a cessation of
 work upon identification of contaminated sediments or soils, notification of the appropriate
 regulatory authorities, and treatment of the contaminated materials to the satisfaction of the
 applicable agencies prior to resuming work in the area.

         RG LNG has stated that it would implement its operational SWPPP and SPCC Plan
 during operation of the LNG Terminal. As of this writing, RG Developers have submitted draft
 versions of the SWPPPs and SPCC Plans for construction of the LNG Terminal and Pipeline
 System, as well as a draft version of the Unanticipated Contaminated Sediment and Soils
 Discovery Plan for the Project. Because RG Developers have not yet provided final versions of
 these plans, nor has RG LNG provided copies of its operational SWPPP and SPCC Plan, we
 recommend that:

           •   Prior to construction of the Project, RG Developers should file with the
               Secretary, for review and written approval by the Director of the OEP,
               final versions of their SWPPPs and SPCC Plans for construction and
               operation of the Project, as well as the final version of the Unanticipated
               Contaminated Sediment and Soils Discovery Plan.

         Given the impact minimization and mitigation measures described above, and our
 recommendation to provide final plans prior to construction, we conclude that impacts on soils
 due to construction and operation of the LNG Terminal would be permanent, but minor.

 4.2.2.2            Pipeline Facilities

           Pipeline System and Additional Temporary Workspace

           Header System and Pipeline 1

        As shown in table 4.2.1-1, construction workspace for the Header System and Pipeline 1
 would impact prime and important farmland (664.6 acres), hydric soils (541.9 acres), soils
 susceptible to wind erosion (670.3 acres), compaction prone soils (2,002.9 acres), and soils with
 revegetation limitations (957.3 acres). Following construction of Pipeline 1, the right-of-way
 would be restored to pre-construction conditions and seeded per NRCS recommendations.

           Pipeline 2

         Construction of Pipeline 2 would commence approximately 18 months after the
 installation and restoration of Pipeline 1. As Pipeline 2 would be constructed within the same


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           RG LNG’s Unanticipated Contaminated Sediment and Soils Discovery Plan is available on FERC’s eLibrary website,
           located at http://www.ferc.gov/docs-filing/elibrary.asp,, by searching Docket Number CP16-454 or CP16-455 and
           accession number 20160928-5172.


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 disturbed areas as Pipeline 1, it would impact similar soil types as described for the Header
 System and Pipeline 1.

        General Impacts and Mitigation

        To reduce the impacts of construction on soils, RB Pipeline would implement the
 measures outlined in its Plan and Procedures. To prevent soil erosion in particular, RB Pipeline
 would implement the following measures:

        •   installation and maintenance of temporary erosion and sedimentation control structures
            during construction;

        •   installation and maintenance of permanent erosion controls following construction,
            such as trench breakers and slope breakers, where applicable;

        •   use of mulch on slopes where needed (except in cultivated cropland or wetlands),
            concurrent with or immediately after seeding to stabilize the soil surface and to reduce
            wind erosion;

        •   use of dust suppression to control and minimize wind erosion in accordance with its
            draft Pipeline System Fugitive Dust Control Plan, including watering appropriate areas
            every 3 days and additional measures determined in consultation with the NRCS (see
            section 4.2.2.1);

        •   revegetate disturbed areas within six working days of final grading (weather and soil
            conditions permitting), with seed mixes developed in consultation with the NRCS, or
            as requested by the landowner; and

        •   regular monitoring and inspection of disturbed areas until final stabilization is
            achieved, as identified in RG Developers’ Plan and Procedures.

          Potential impacts on compaction prone and hydric soils include soil rutting and
 compaction due to construction equipment. RB Pipeline would use equipment mats or low
 ground pressure equipment in saturated wetlands to minimize the potential for compaction and
 rutting. In severely compacted areas on agricultural land, RB Pipeline would decompact soils by
 tilling in accordance with its Plan. Mixing of topsoil with subsoil could alter nutrient availability
 and soil chemistry, thereby inhibiting revegetation. Therefore, up to 12 inches of topsoil would
 be segregated over the trenchline in wetlands and over the trenchline and spoil side of the right-
 of-way in cultivated or rotated cropland and other areas as requested by landowners.

         Disturbed areas would be seeded in accordance with NRCS-recommended seed mixes,
 rates, and dates; these seed mixes would include species suitable for saline soils, where
 applicable. RB Pipeline does not propose seeding in cultivated cropland unless requested by the
 landowner. Where applicable, and in accordance with written recommendations obtained from
 the NRCS, land management agencies, or landowner, RB Pipeline would add fertilizer and soil
 pH modifiers into the top 2 inches of soil. Soil additives would not be used in wetlands without
 written documentation of approval from the appropriate state or federal agency.



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         The Rio Bravo Pipeline would cross through multiple soil series know to have shrink-
 swell, or smectitic soils which are soils that expand and contract during periods of rain and
 drought and may form cracks in the ground. RB Pipeline has indicated that shrink-swell soils are
 interspersed throughout the route with no high concentration areas, and that the requirements of
 the Occupational Safety and Health Administration and industry standards would be followed
 during construction through these soils to avoid impact on the pipelines.

         Workspaces associated with construction of the Pipeline System would be restored to
 pre-construction conditions and replanted using an NRCS-recommended native seed mix (or as
 requested by the landowner), and would therefore retain their former productivity. Except where
 encumbered by aboveground facilities, as described below, prime and important farmland would
 be restored following construction. Given the impact minimization and mitigation measures
 described in the Project-specific Plan, Procedures, and draft Pipeline System Fugitive Dust
 Control Plan, which would be finalized prior to construction, we conclude that impacts on soils
 due to construction and operation of the Pipeline System would be temporary and minor.

        Aboveground Facilities

         The aboveground pipeline facilities would include three compressor stations, two booster
 stations, eight metering sites, and additional appurtenant facilities. Ground disturbance for each
 of these facilities would be completed in conjunction with the Header System and Pipeline 1.
 Impacts from Compressor Station 3 are discussed above, as it would be within the boundaries of
 the LNG Terminal site. As shown in table 4.2.1-1, the aboveground facilities would impact 93.1
 acres of soil, including 43.0 acres of prime or important farmland. RB Pipeline would
 implement measures outlined in its Plan and Procedures, as summarized above, to minimize
 impacts on soils at the aboveground facilities during construction. Following construction, land
 within construction workspaces but outside of the compressor and interconnect booster station
 footprints (about 32.4 acres) would be allowed to revert to pre-construction conditions, but
 would be retained by RB Pipeline. Land within the operational footprint of the facilities (53.0
 acres) would be converted to industrial use, representing a permanent, but minor, impact.

        Contractor/Pipe Yards

         Three contractor/pipe yards would be used during construction of the pipeline facilities,
 resulting in impacts on 297.2 acres of soils beneath open and agricultural land (see table 4.2.1-1).
 Necessary modifications at these sites would be limited to the placement of limestone and/or
 gravel on geotextile fabric to allow stable storage areas for materials and to minimize ground
 impacts from stockpiled pipe. The construction of dirt berms ranging from 1 to 2 feet in height
 would be required to elevate the pipe stored at these locations for ease of lifting and handling by
 equipment such as a forklift.

          RB Pipeline proposes to construct the dirt berms with native soils from the respective
 site. Following construction, the berms would be removed through the process of leveling the
 site to pre-construction contours. RB Pipeline would implement measures outlined in its Plan
 and Procedures, as summarized above, to minimize impacts on soils at the contractor/pipe yards.
 Following construction of Pipeline 2, these yards would be restored and would revert to their
 original use.


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           Access Roads

          RB Pipeline proposes to use a total of 64 roads (including 52 temporary and 12
 permanent access roads) to access the right-of-way during construction. Expansion of two
 existing, permanent access roads and construction of five new, permanent access roads would
 result in permanent impacts on soils, similar to those described for the aboveground facilities.

 4.2.3 Dredged Material Disposal Sites

          RG LNG developed a draft Dredged Material Management Plan that describes the scope
 of work and practicable disposal locations for dredged material placement, both for new
 dredging related to facility construction, and for 30 years of future maintenance dredging at the
 marine berths and turning basin. RG LNG estimates about 7.2 mcy of dredged and excavated
 material would be generated during construction of the LNG Terminal. An additional 0.25 to 0.5
 mcy of dredged material is expected to be generated every 2 to 4 years from maintenance
 dredging activities. In addition to placement of some dredged material at the LNG Terminal site
 (for site stabilization), RG LNG identified 12 potential sites for dredged material placement,
 including eight upland placement areas (PA), two ODMDS, and two existing nearshore beach
 nourishment sites. RG LNG is also considering other beneficial uses of dredged material. The
 final management and disposition of dredged material will be determined by RG LNG’s
 consultation with federal, state, and local resource agencies and applicable stakeholders,
 including the BND, COE, EPA, NMFS, FWS, and the TCEQ. RG LNG’s initial proposed
 locations for the placement of dredged materials was either at the New Work ODMDS or a
 combination of two Port of Brownsville upland placement areas (PAs 5a and 5b), with some
 material from the MOF possibly being placed at PA 4b. Placement of materials from
 maintenance dredging is currently proposed for upland placement areas (PAs 4a, 4b, 5a, or 5b),
 the Maintenance ODMDS, or the Feeder Berm. A description and comparison of these sites is
 provided below, and the locations are depicted in figure 4.2.3-1.

 4.2.3.1         LNG Terminal Site

         As described in section 2.5.1.4, material from land-based excavation and dredged
 material from construction of the MOF would be placed within the LNG Terminal site for
 leveling and grading; some material dredged from the MOF could also be placed at PA 4b (see
 section 4.2.3.2). The LNG Terminal site could only accommodate about 0.6 mcy of material for
 grading operations. In addition, based on initial testing, much of the dredged material from the
 MOF, berth, and turning basin would not meet the compositional characteristics required for use
 as construction fill in structure-bearing areas of the site. Therefore, RG LNG proposes to use the
 LNG Terminal site for the placement of 0.6 mcy of dredged materials in non-structure-bearing
 areas or to construct the levee; the remaining volume would be placed in an alternative upland
 PA or ODMDS, as described below.




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                                                                                                                                                       Laguna
                                                                                                                                                       Mardre                                                                   New Work
                                                                                                                                                                                                 Feeder Berm




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                                                                                Legend
                                                                                                                                                                                                        Rio Grande LNG Project
                                Feeder Berm                                                         Proposed LNG Terminal
                                                                                                    Boundary (Facility Footprint)
                                Dredge Spoil Placement Area                                                                                             0        1.5           3
                                                                                                                                                                                                 Dredge Disposal Locations Considered
                                                                                                    BSC Dredge Areas                                                                              for Placement of Dredged Materials
                                LNG Terminal Site                                                                                                               Miles
                                                                                                    Proposed Rio Bravo
                                                                                                    Pipeline                                                                                                   Figure 4.2.3-1
                                                                                                                                                            Scale: 1:160,000
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 4.2.3.2        Upland Placement Areas

         There are eight upland placement areas located along the BSC (see figure 4.2.3-1).
 Seven of the placement areas are owned and operated by the BND, and one is partially owned
 and managed by the Port Isabel-San Benito Navigation District. Each of the placement areas has
 available capacity to receive dredged material from the Rio Grande LNG Terminal site; however,
 the Brazos Island Harbor Channel Improvement Project (Brazos Island Harbor Project; the
 project to deepen the BSC, as described in section 4.3.2) is anticipated to dispose of about 12
 mcy of material into the placement areas. In addition, adjacent or nearby proposed LNG projects
 would also require dredged material placement. As the majority of placement areas are owned
 and operated by the BND, the BND is conducting a study of the ongoing maintenance projects
 and new proposed projects to address the growing need for upland placement along the ship
 channel. At this time, no new placement areas have been proposed by the BND. While the final
 determination of the placement areas used by the Project will be based on the results of the
 BND’s study, RG LNG has identified PAs 5a and 5b as practicable disposal sites. Due to the
 proximity to the LNG Terminal site to PAs 5a and 5b, hydraulic methods could be used to
 dredged materials that would be disposed at these locations. Improvements to the levees at
 upland placement areas may be required to accommodate the additional capacity of dredged
 material. For example, use of both PAs 5a and 5b would require the existing levees to be raised
 by less than 10 feet whereas using only one of these placement areas would require a 10- to 20-
 foot increase in levee height.

 4.2.3.3        Ocean Dredged Material Disposal Sites

         There are two ODMDS available for offshore disposal, including the New Work
 ODMDS and the Maintenance ODMDS. The New Work ODMDS is about 350 acres in size,
 and is about 4.4 miles from the shore, in a dispersive environment; there is no volumetric limit
 on capacity for this site. If determined appropriate for use, the EPA would develop a Site
 Management and Monitoring Plan, which would include monitoring requirements that the EPA
 would require RG LNG to implement.

         The Maintenance ODMDS is about 352 acres in size and about 1.9 miles from the shore
 at the entrance to the BSC. Due to its location at the entrance to the ship channel, material
 placed in the Maintenance ODMDS is more likely to become suspended and settle at the
 entrance; therefore, the discharge location within the ODMDS must be monitored. As long as
 materials are discharged within the approved area, the Maintenance ODMDS is capable of
 receiving large volumes of material; a maximum volume has not been established. Both the New
 Work and Maintenance ODMDS have a current Site Management and Monitoring Plan.

        Although the responsible agencies (the EPA and COE) have acknowledged the need for
 additional capacity in available placement areas, use of the ODMDS would require an approved
 dredged material disposal site alternatives analysis for review and approval by the COE.




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 4.2.3.4        Nearshore Beach Nourishment Sites and Beneficial Uses

         Two beach nourishment placement sites are available to receive dredged material from
 maintenance dredging of the BSC, including the Feeder Berm and direct disposal on the beach of
 South Padre Island. The Feeder Berm is a 313-acre beneficial use site about 2 miles north of the
 jetty and about 0.5 mile offshore; materials placed at this location migrate inshore to replenish
 the adjacent beach. The City of South Padre Island directly places sand on the beaches in an
 effort to minimize the effects of erosion. Both the Feeder Berm and South Padre Island sites are
 only approved for receiving beach quality sand; therefore, material from new work dredging for
 the Rio Grande LNG Terminal site would not be suitable for placement at either site. However,
 the Feeder Berm could be used for placement of maintenance-dredged material, if testing
 indicates that the material is suitable beach quality sand prior to placement. Material from
 maintenance dredging of the BSC is generally placed in the nearshore Feeder Berm, or directly
 onto South Padre Island beaches (COE 2014). RG LNG is also considering potential beneficial
 uses of dredged material for the creation of clay core dunes on South Padre Island, creation of a
 parking area for a kite park proposed by the City of South Padre Island, or use as the base
 material for a second planned Feeder Berm, which has not been constructed.

 4.2.4 Soil Contamination

          Based on a review of the EPA’s Toxic Release Inventory Program sites in Texas, no
 hazardous waste sites are within 1 mile of the Project (EPA 2014). As stated in section 4.2.1.1,
 the LNG Terminal site includes soils dredged from the BSC as a result of channel dredging
 activities unrelated to the proposed Project. Contaminated soil sampling studies in the channel
 were conducted by the TCEQ and the COE in 2012 and 2014, respectively. No contaminated
 sediments were identified during these studies and therefore no contaminated soils are expected
 to be encountered during construction or operation of the Project (TCEQ 2012 and COE 2014).
 However, RG LNG would test dredged materials in accordance with applicable permit
 requirements and would implement its Unanticipated Contaminated Sediment and Soils
 Discovery Plan if contaminated materials were encountered. Further, RG Developers would
 implement their SWPPPs and SPCC Plans to reduce potential impacts on soils from spills of
 hazardous materials used during construction and operation, which would be finalized prior to
 construction per our recommendation in section 4.2.2.1.

 4.3       WATER RESOURCES

 4.3.1 Groundwater Resources

 4.3.1.1        Existing Groundwater Resources

         The Rio Grande LNG Project is within the Coastal Lowlands Aquifer System, which
 underlies about 35,000 square miles of the low-lying Coastal Plain in Texas, and comprises
 Oligocene- to Holocene-aged overlapping mixtures of sand, silt, and clay (Ryder 1996). The
 aquifer system was formed in three depositional environments: continental (alluvial plain),
 transitional (delta, lagoon, and beach), and marine (continental shelf). The Coastal Lowlands
 Aquifer System is wedge-shaped, and thickens and deepens toward the Gulf of Mexico.




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         In Texas, the Coastal Lowlands Aquifer System is generally referred to as the Gulf Coast
 Aquifer, and much of it is classified as a major aquifer by the TWDB (Ryder 1996, TWDB
 2011). Major aquifers produce large amounts of water over large areas. The Gulf Coast Aquifer
 has five permeable zones and two confining units. The mostly sandy unconfined permeable
 units of the Chicot and Evangeline aquifers form the uppermost deposits of the Gulf Coast
 Aquifer. The Chicot aquifer is between 0 and 250 feet deep at the northwestern extent of the
 Project area in Jim Wells County and extends to approximately 1,200 feet deep within
 southeastern extent of the Project area. The Chicot aquifer overlies the Evangeline aquifer,
 which reaches depths of up to 3,800 feet (TWDB 2007, 2011, 2012). The Chicot and Evangeline
 aquifers are separated from the deeper Jasper aquifer by the Burkeville confining unit, which is
 primarily composed of clay and silt (Ryder 1996, TWDB 2007). The Catahoula confining unit is
 the deepest unit in the Gulf Coast Aquifer and comprises primarily of clay deposits.

         The largest groundwater withdrawals from the Gulf Coast Aquifer occur in the Houston
 area, and have resulted in irreversible subsidence (TWDB 2006). In the Project vicinity, most of
 the groundwater does not meet drinking water quality standards due to salinity and high total
 dissolved solids; in localized areas, high nitrate, sodium, chloride, and boron also affect
 groundwater quality (TWDB 2007). However, groundwater from the Gulf Coast Aquifer is the
 primary water supply source in the Project area within Kenedy, Kleberg, and Jim Wells Counties
 (USGS 2016b, TWDB 2012). In the southern extent of the Project area, including Cameron and
 Willacy Counties, surface water from the Rio Grande River is the primary source of drinking
 water (Paine 2000).

         The EPA defines a sole or principal source aquifer as one that supplies at least 50 percent
 of the drinking water consumed in the area overlying the aquifer. To be defined as a sole source
 aquifer, there cannot be an alternative drinking water source that could supply all those who
 depend on the aquifer with drinking water (EPA 2016a). The Rio Grande LNG Project area is
 not underlain by a sole source aquifer; the nearest EPA-designated sole source aquifer is the
 Edwards Aquifer, located about 150 miles from the Project area (EPA 2008).

         The TCEQ establishes local groundwater conservation districts to manage groundwater
 resources within their jurisdictions; management activities include permitting water wells, and
 developing and implementing a comprehensive management plan. The Header System and
 portions of Pipelines 1 and 2 are located within the Kenedy County Groundwater Conservation
 District.

         In addition, the TCEQ manages a Source Water Assessment and Protection Program in
 accordance with the Safe Drinking Water Act to protect the quality of public drinking water
 supplies, including ground and surface water supplies (Texas Natural Resources Conservation
 Commission 1999). The TCEQ delineates a wellhead protection area around each public water
 supply well, after which a management plan is developed that may include an inventory of
 potential sources of contamination and implementation of best management practices (BMPs) for
 prevention of contamination.




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        LNG Terminal

         The Rio Grande LNG Terminal site is within the Coastal Lowlands Aquifer System, but
 is not within the portion classified by the TWDB as a major aquifer (the Gulf Coast Aquifer). As
 discussed in section 4.1.3.1, RG LNG performed geotechnical studies to evaluate subsurface
 groundwater conditions at the LNG Terminal site and found that depth to surficial groundwater
 was between -0.5 and 1.5 feet NAVD 88. However, groundwater in Cameron County is not
 generally suitable for use as drinking water due to high salinity, likely resulting from saltwater
 intrusion from the Gulf of Mexico (Paine 2000). Therefore, drinking water in the vicinity of the
 LNG Terminal site is primarily surface water from the Rio Grande and associated reservoirs (see
 section 4.3.2).

          There are no public or private water supply wells within 0.25 mile of the LNG Terminal
 site or temporary offsite storage/parking sites, and no wellhead protection areas occur in the
 vicinity of the LNG Terminal site (TWDB 2016a, TCEQ 2016a). The nearest drinking water
 supply well is about 1.5 miles from the LNG Terminal site. The LNG Terminal site is not within
 a designated TCEQ Groundwater Conservation District. In addition, the TCEQ has not
 documented historic groundwater contamination cases at the LNG Terminal site; the nearest
 documented groundwater contamination occurred in 2009 in Port Isabel, about 0.5 mile from the
 Port Isabel storage area and 2.8 miles from the LNG Terminal site (TCEQ 2015a).

        Pipeline Facilities

        The entire Header System, and Pipelines 1 and 2 from MPs 0.0 to 79.7, overlie the Gulf
 Coast Aquifer. Groundwater is a major source of water supply (including drinking water) in this
 portion of the Project area, in contrast to the southern extent of the pipelines where surface water
 from the Rio Grande is the primary water supply source. Drinking water is primarily sourced
 from groundwater in Kenedy, and Kleberg Counties, from surface water in Jim Wells County,
 and from the Rio Grande in Cameron and Willacy Counties (TWDB 2016a, Paine 2000).

         The Header System and Pipelines 1 and 2 from MPs 0.0 to approximate 70.8 are located
 within the Kenedy County Groundwater Conservation District. In Texas, groundwater
 conservation districts are required to develop and implement groundwater management plans to
 provide for efficient use of groundwater, prevent degradation of water quality, control and
 prevent groundwater waste, and meet other goals established in the Texas Water Code. Water
 within the Kenedy County Groundwater Conservation District is primarily used for municipal
 water supply, irrigation, livestock, and mining (including oil and gas development) (TWDB
 2012).

          According to publicly available geospatial data, 13 water supply wells are within 200 feet
 of pipeline facilities; no springs are within 200 feet of the pipeline facilities. Table 4.3.1-1
 identifies the public and private water supply wells within 200 feet of the pipeline facilities. No
 wellhead protection areas or source water protection areas occur within 0.25 mile of the pipeline
 facilities.




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                                           Table 4.3.1-1
        Public and Private Water Supply Wells within 200 feet of Pipeline System Workspaces
                                                                               Distance from
                                                                  Well                                 Direction from
                        Approximate                       a                       Nearest
      Well ID                              Well Type             Depth                                Pipeline System
                            MP                                                 Construction
                                                                 (feet)                                 Workspace
                                                                              Workspace (feet)
  Pipelines 1 and 2
    166739                  5.9              Industrial            815                0.0                    N/A
    307750                 7.5              Livestock              520               195.3                 Northeast
    8342802                20.4         Withdrawal of water        686                94                    West
    8827903                78.9         Withdrawal of water       1,416              85.1                  Northeast
    262623                 119.4             Domestic            Unknown             139.4                   North
  Access Roads
    8358202                 31.2           Withdrawal of water        718                 121                   Southwest
    1370029                  0.0           Public water supply        650                10.8                       West
    1370029                  0.0           Public water supply        580                100.4                     North
    8440205                  0.0           Withdrawal of water        600                75.0                      South
    8440202                  0.0           Withdrawal of water        722                120.7                     South
    8440104                  0.0           Withdrawal of water        435                186.1                     South
    8333401                  5.0           Withdrawal of water        556                 9.4                      North
    8341202                  9.0           Withdrawal of water        525                110.4                      West
  Sources: TCEQ 2015a; TWDB 2016a, 2016b.
  a
            Well Type is the principle use or the purpose for which the well was constructed as identified in the TWDB’s
            Groundwater Database Report (TWDB 2016b) and Submitted Drillers Reports Database (TWDB 2015). Monitoring
            and observation wells are not included. Wells for water withdrawal may include a variety of water uses.



         As stated above, much of the groundwater in the Project vicinity does not meet drinking
 water quality standards due to salinity and, in localized areas, high nitrate, sodium, chloride, and
 boron (TWDB 2007). The TCEQ has documented four cases of historic groundwater
 contamination within 1 mile of the pipeline, all of which were associated with oil and gas
 activity. Of those, one case is under corrective action at the existing King Ranch Gas Plant about
 0.9 mile from Compressor Station 1 at MP 0.0; the other sites were investigated and no permit or
 regulatory violations were identified (TCEQ 2015a).

 4.3.1.2              Groundwater Impacts and Mitigation

         Construction of the Rio Grande LNG Project would primarily involve surficial or shallow
 localized excavation, except where piles would be installed at the LNG Terminal site; therefore,
 shallow groundwater could sustain impacts from excavation and backfilling. In addition to the
 individual impacts of the LNG Terminal and the pipeline facilities, which are discussed below,
 overall construction and operation of the proposed Project could result in contaminated
 groundwater from inadvertent spills or the disturbance of existing contaminated sediment or soil
 that could impact groundwater.

         Shallow groundwater areas could be vulnerable to contamination resulting from
 inadvertent surface spills of hazardous materials used during construction and operation of the
 Project. If not cleaned up, contaminated soil could continue to leach and add pollutants to


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 groundwater long after a spill has occurred. Implementation of RG Developers’ Plan and
 Procedures and SPCC Plans would reduce the potential for groundwater contamination resulting
 from a spill during construction and operation. These draft plans address storage and
 transportation of hazardous materials, identify preventative measures to reduce the likelihood of
 a spill, and include measures for cleanup of an inadvertent spill; we have recommended that
 these plans be finalized prior to construction in section 4.2.2.1. We have reviewed RG
 Developers’ draft SPCC Plans and determined that the protocols adequately address the storage
 and transfer of hazardous materials and the response to be implemented in the event of a spill.

        In the event that contaminated groundwater is encountered during construction, RG
 Developers would implement the measures in their draft Unanticipated Contaminated Sediment
 and Soils Discovery Plan, which would be finalized prior to construction per our
 recommendation in section 4.2.2.1. In the event of an unanticipated discovery of contamination,
 RG LNG would:

        •   stop work in the vicinity of suspected contamination;

        •   use flagging and/or fencing to restrict access to the potentially contaminated site;

        •   notify an EI, who would then notify the potentially responsible party and document the
            discovery; and

        •   implement any necessary corrective actions in coordination with appropriate regulatory
            agencies prior to resuming work.

        LNG Terminal

         The majority of the construction activities associated with the LNG Terminal would
 involve shallow, localized excavation; however, concrete and steel piles would be installed to
 support terminal structures. These piles would be driven to an elevation of about -50 feet, at
 which depth the pilings would be entirely within the upper permeable layer of the Coastal
 Lowlands Aquifer System. Because the pilings would not cross an aquifer confining layer, their
 installation would not result in the mixing of groundwater between permeable layers of the
 aquifer system. Soils would be compacted and encumbered within the footprint of the LNG
 Terminal site, which may alter groundwater flow and recharge. However, RG LNG plans to
 construct a drainage system and stormwater ponds to manage stormwater onsite, and the
 relatively small amount of new impervious surface at the LNG Terminal site is not expected to
 affect overall groundwater recharge rates in the vicinity of the Project. Additional detail on the
 stormwater management system is provided in section 4.3.2.2.

         RG LNG has proposed to use two storage areas, which may require modification prior to
 their use. The measures that RG LNG has proposed to minimize potential impacts of the LNG
 Terminal on groundwater, including implementation of its Plan and Procedures and SPCC Plan,
 would apply to these areas as well. Because use of these facilities would be temporary and
 limited to the construction period, impacts on groundwater quality and recharge are not
 anticipated.




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         Water for construction and operation of the LNG Terminal would be purchased from
 local municipal water districts and, once complete, the new BND water supply header (see
 section 1.4.3). The supply header, which would be sourced from the Brownsville Public Utilities
 Board, would include both surface water from reservoirs along the Rio Grande River and
 groundwater from wells located west of Brownsville. During construction of the LNG Terminal,
 up to 3.1 million gallons of water would be required per month. Operation of the LNG Terminal
 is expected to require about 3.7 million gallons of water per month based on typical usage (see
 section 4.3.2.2). The Brownsville Public Utilities Board has stated that it has sufficient capacity
 to meet the construction and operational needs of the LNG Terminal without affecting water
 availability for other uses (Brownsville Public Utilities Board 2016). No new groundwater wells
 would be required for construction and operation of the LNG Terminal; therefore, the LNG
 Terminal is not expected to affect the quantity of available groundwater.

        Pipeline Facilities

        Pipeline System and Additional Temporary Workspace

        Header System and Pipeline 1

         Construction of the Header System and Pipeline 1 could alter groundwater flow and
 recharge due to clearing and grading of the pipeline right-of-way, excavation of the trench, and
 soil compaction. Following construction, RB Pipeline would implement the measures in its Plan
 and Procedures, including installation of permanent erosion controls and decompaction of soils,
 where applicable, to minimize impacts on groundwater. RB Pipeline would restore the ground
 surface as closely as practicable to original contours and revegetate any previously vegetated,
 exposed soils to ensure restoration of pre-construction overland flow and recharge patterns.

        Pipeline 2

         Construction of Pipeline 2 would commence about 18 months after Pipeline 1 is placed in
 service, but would be collocated with Pipeline 1 and would have identical impacts on
 groundwater.

        General Impacts of the Pipeline System

         The trench for the Pipeline System would be excavated to a depth to allow a minimum of
 3 feet of soil cover between the top of the pipe and the ground surface. Depending on minimum
 cover requirements, the trench would be about 7 feet below the ground surface. Where
 groundwater is near the surface, excavations may intersect the water table and could cause
 increased turbidity and fluctuations in groundwater levels. In addition, groundwater may enter
 the trench in areas with a high water table. Trench dewatering would be conducted in
 accordance with the Project-specific Plan and Procedures. All dewatering activities would occur
 in a manner that would not cause erosion or silt-laden waters to enter nearby sensitive features
 (e.g., waterbodies or wetlands). Water would be discharged through energy dissipation devices,
 such as hay bale structures or filter bags, to a well vegetated upland location. Because of the
 relatively small amount of water removed, the short duration of the activity, and the local
 discharge of the water, groundwater levels would quickly recover after pumping stops.



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         As discussed in section 4.3.1.1, 13 water supply wells are located within 200 feet of the
 pipeline facilities; no springs have been identified within 0.25 mile of the pipeline facilities. One
 industrial water well was identified within the proposed construction workspace at MP 5.9
 (within King Ranch), in an area where field surveys have not yet been completed. RB Pipeline is
 working with the landowner to verify the location of this well and to identify site-specific
 mitigation measures or acceptable compensation, as appropriate. To minimize the potential for
 groundwater contamination, RB Pipeline would prohibit refueling within 200 feet of any water
 supply well. For wells within 150 feet of Project workspaces, RB Pipeline would offer to
 perform pre- and post-construction monitoring for changes in well water quality and yield that
 could not be attributed to naturally occurring conditions. Testing would be offered prior to
 construction of both Pipeline 1 and Pipeline 2. If it is determined that a water supply well was
 adversely affected by Project activities, RB Pipeline would work with the landowner to
 determine appropriate compensation.

        As discussed in section 4.1.4, shallow bedrock is not expected along the Pipeline System;
 therefore, no blasting is proposed, and impacts on groundwater wells from blasting would not
 occur. In addition, all water required for construction of the Pipeline System would be obtained
 from permitted surface water sources; therefore, the Pipeline System is not expected to affect the
 quantity of available groundwater.

        Aboveground Facilities

          The Pipeline System would include three compressor stations, two booster stations, eight
 metering sites, and additional appurtenant facilities. Ground disturbance for each of these
 facilities would be completed in conjunction with the Header System and Pipeline 1. Impacts
 from Compressor Station 3 are discussed above, as it would be within the boundaries of the Rio
 Grande LNG Terminal site. The measures that RB Pipeline has proposed to minimize impacts of
 the pipelines on groundwater, including implementation of its Plan and Procedures and SPCC
 Plan, would also apply to aboveground facilities.

         Following construction of the aboveground facilities, construction workspaces would be
 restored and revegetated. Areas that are permanently converted from vegetated land to industrial
 uses with impervious cover would result in a localized reduction in groundwater infiltration.
 However, the relatively small amount of new impervious surface is not expected to affect overall
 groundwater recharge rates in the area.

        RB Pipeline estimates that operation of Compressor Stations 1 and 2 would each require
 about 200 gallons of water per day, and that about 75 gallons of water per day would be needed
 for operation of each booster station. RB Pipeline plans to obtain all water required for
 construction and operation of the aboveground facilities from municipal sources. However, RB
 Pipeline is considering the potential to use groundwater during operation of Compressor Stations
 1 and 2 if municipal water is not available. If determined to be necessary, RB Pipeline would
 provide a detailed groundwater resources and aquifer pumping analysis for our review and
 approval.




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           Contractor/Pipe Yards

         RB Pipeline has proposed to use three contractor/pipe yards, located in agricultural or
 open land. Depending on the condition of the site, surface grading, limestone fill placement, and
 construction of dirt berms may be required. Modifications at contractor/pipe yards could result
 in similar minor, indirect, and localized impacts on groundwater as those described for the
 pipeline facilities. With implementation of the Project-specific Plan, Procedures, and SPCC
 Plan, no adverse impacts on groundwater are anticipated from use of the proposed pipe storage
 and contractor/pipe yards, including Contractor/Pipe Yard 2, which is located within the Kenedy
 County Groundwater Conservation District.

           Access Roads

         RB Pipeline would require the use of new and existing temporary and permanent access
 roads for construction and operation. The access roads would be in the same general vicinity of
 the Pipeline System, and eight water supply wells are within 200 feet of proposed access roads
 (see table 4.3.1-1). The measures that RB Pipeline has proposed to minimize potential impacts
 of the pipeline on groundwater, including pre-and post-construction well testing and
 implementation of its Plan and Procedures and SPCC Plan, would apply to these areas as well.
 Therefore, we do not expect the construction or operation of access roads to impact groundwater
 resources.

         While construction of the Rio Grande LNG Project could result in temporary impacts on
 groundwater quality and recharge, implementation of RG Developers’ Plan and Procedures and
 SPCC Plans would reduce the potential for groundwater impacts, including contamination.
 During operations, the relatively small amount of new impervious surface associated with the
 Project is not expected to affect overall recharge rates. In addition, water required for operations
 would be obtained from municipal sources, and the Rio Grande LNG Project would not impact
 the quantity of available groundwater.

 4.3.2 Surface Water

 4.3.2.1         Existing Surface Water Resources

          Watersheds are delineated based on surface water flow along natural hydrologic breaks.
 The Rio Grande LNG Project would be situated in five watersheds, identified by their 8-digit
 hydrologic unit code (HUC). HUC-8 watersheds represent a distinct hydrologic feature, part or
 all of a surface drainage basin, or a combination of drainage basins which are shown in figure
 4.3.2-1 and described in table 4.3.2-1. Watersheds can be further subdivided into subwatersheds,
 which are identified by a 12-digit HUC.




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                                                12110204                                                      Nueces County
                                              San Fernando


                                            Jim Wells
                                             County

                Duval County                                  ÂC
                                                        MP 0.0 '
                                                               4
                                                                                                       Kleberg
                                                                                                       County

                                                                                   MP 10.0
                                                           12110205            '
                                                                               4
                                                           Baffin Bay

                                12110206
                                  Palo                                                         4 MP 20.0
                                                                                               '
                                 Blanco




                                                                                                4 MP 30.0
                                                                                                '




Jim Hogg                              Brooks County
 County
                                                                                                4 MP 40.0
                                                                                                '
                                                                         12110207
                                                                          Central
                                                                       Laguna Madre
                                                                                                       Kenedy County                                                                   Gulf of
                                                                                                                                                                                       Mexico
                                                                                                  4 MP 50.0
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Starr County



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                                                                                                              MP 80.0


                                                                                                       Willacy
                                                                                                       County
                                                                                                                                MP 90.0
                                           Hidalgo                                       12110208                           '
                                                                                                                            4
                                           County                                       South Laguna
                                                                                           Madre

                                                                                                                                      MP 100.0
                                                                                                                                      '
                                                                                                                                      4



                                                                                                                                                 4 MP 110.0
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                                                                                                                                                      Cameron
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                                                                   Proposed Header System                                                            Miles                      Rio Grande LNG Project
         TX



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                                                                   Proposed Rio Bravo
     Corpus
                                                                   Pipeline
      Christi
                                                                                                                                                                                Watersheds Crossed by the
                  Gulf of
                                                          Â
                                                          C        Proposed Compressor Station
                                                                                                                                                     Scale: 1:1,000,000          Rio Grande LNG Project
                  Mexico                                           Proposed LNG Terminal
                                                                   Boundary (Facility Footprint)

 Brownsville                                                       Watershed                                                    Basemap Source: Esri, DeLeLorme, NAVTEQ,
                                                                                                                                USGS, Intermap, iPC, NRCAN, Esri Japan, METI,       Figure 4.3.2-1
Mexico                                                             County Boundary                                              Esri China, Esri Thailand, Tom Tom, 2013


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                                              Table 4.3.2-1
                             Watersheds Crossed by the Rio Grande LNG Project
     Watershed          Watershed
                                          Size (acres)                              Description
      HUC ID             Name
                                                           The San Fernando watershed drains portions of Kleberg and Jim
                                                           Wells Counties in the Project area. The major waterbody is San
  12110204             San Fernando         864,000
                                                          Fernando Creek, which drains into Alazon Bay, a northern branch
                                                                                   of Baffin Bay.
                                                          The Baffin Bay watershed includes southern Kleberg and northern
  12110205               Baffin Bay        1,376,000
                                                                    Kenedy Counties, and drains into Baffin Bay.
                                                            The Palo Blanco watershed includes portions of Jim Wells and
                                                          Kenedy County in the Project area; Palo Blanco Creek is the major
  12110206              Palo Blanco         646,400
                                                          waterbody in this watershed, which terminates west of the Pipeline
                                                                                       System.
                                                          The Central Laguna Madre watershed drains to the central portion
                                                             of the Laguna Madre, and waterbodies in this watershed are
                       Central Laguna
  12110207                                 2,336,000         predominantly intermittent and ephemeral. Most of Kenedy
                           Madre
                                                           County and the northern extent of Willacy County occur in this
                                                                            watershed in the Project area.
                                                           The South Laguna Madre Watershed includes portions of Kenedy
             a         South Laguna                        and Willacy Counties, as well as Cameron County, in the Project
  12110208                                 1,894,400
                          Madre                                area. The Arroyo Colorado, BSC, Rio Hondo, and other
                                                           waterbodies drain into the southern portion of the Laguna Madre.
  Source: TPWD 2016a.
  a
           The LNG Terminal site is in the South Laguna Madre Watershed.



         The Project area includes freshwater (those waterbodies with less than 0.5 percent
 salinity), estuarine (tidal habitats with variable salinity), and marine waterbodies (open-ocean
 habitats with salinity higher than 3 percent) that are classified as perennial, intermittent, or
 ephemeral (Cowardin et al. 1979). Perennial waterbodies flow or contain standing water year-
 round and are typically capable of supporting populations of fish and macroinvertebrates.
 Intermittent waterbodies flow or contain standing water seasonally, and are typically dry for part
 of the year. Ephemeral waterbodies generally contain water only in response to precipitation.
 The COE regulates the discharge of dredged or fill material on navigable waters under Section
 10 of the Rivers and Harbors Act, and on Waters of the United States under Section 404 of the
 CWA. Waterbodies affected by the Rio Grande LNG Project are listed in appendix G and
 described below.

          Surface Water Quality Standards and Designated Uses

         Section 303(d) of the CWA requires that each state establish, review, and revise water
 quality standards for surface waters. Water quality standards are developed to enhance or
 maintain water quality, protect the public health or welfare, and provide for the designated uses
 of the waters of the state. In fulfilling this obligation, the TCEQ identifies waterbody segments
 (divisions of major rivers, bays, and estuaries) for which it establishes surface water quality
 standards, monitors waterbody segments with established standards to assess quality, and
 implements mitigation to protect or restore water quality. Not all waterbodies are designated as
 segments. Segments are classified into designated use categories, and water quality parameters
 are monitored to determine whether those designated uses are fully, partially, or not supported.



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 Designated uses are defined in the Texas Administrative Code [TAC] Title 30, Chapter 307, and
 include:

        •   recreational uses, including primary contact recreation (i.e., swimming, wading by
            children), secondary contact recreation (i.e., fishing, canoeing, and kayaking), and
            noncontact recreation (i.e., birding, hiking, and biking);

        •   domestic water supply, including public water supply and aquifer protection; and

        •   aquatic life, including minimal, limited, intermediate, high, and exceptional aquatic life
            and oyster waters.

          Additional water quality criteria are also designated for chemical parameters, pH,
 temperature, toxic materials, and nutrient content. In addition, some water quality designations
 are presumed for certain categories of waterbodies, even where they are not designated as
 segments. For example, all tidal waterbodies are designated for primary contact recreation. For
 the purposes of this analysis, estuarine waterbodies were assumed to be tidal. In addition,
 sustainable fisheries include those waterbodies with the potential to have sufficient fish
 production or fishing activity to create significant long-term human consumption of fish; all
 designated waterbodies and all bays, estuaries, and tidal rivers are considered to have sustainable
 fisheries. Waters that fail to meet their designated beneficial use are considered as impaired and
 are listed under the state’s 303(d) list of impaired waters.

        Sensitive Waterbodies

         For the purposes of this analysis, we defined sensitive surface waters as those that do not
 meet the water quality standards for their designated uses, outstanding or exceptional quality
 waterbodies, those containing habitat for threatened and endangered species, waterbodies that
 support fisheries of special concern, and waterbodies crossed within 3 miles upstream of potable
 water intake structures. No National Wild and Scenic Rivers, rivers listed on the Nationwide
 Rivers Inventory, or outstanding national resource waters would be crossed by the Project (U.S.
 Department of Interior 2017, NPS 2016a, TAC Title 30, Chapter 307).

        LNG Terminal

        Multiple members of the public expressed concern regarding impacts on surface water
 resources in the vicinity of the LNG Terminal site, which is in the South Laguna Madre
 Watershed (see table 4.3.2-1). Figure 4.3.2-2 identifies the waterbodies in the vicinity of the
 LNG Terminal site, including those that would be passed by vessels transiting to the site. RG
 LNG identified surface water resources at the LNG Terminal site during field surveys completed
 in March and April 2015.




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                                                                                                                            Hwy
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                                                                                                                          State
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                                              Bahia




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  San Martin Lake                                         '
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                                                                                                                                                                           ±                               Rio Grande LNG Project
                                                                                       Proposed LNG Terminal Boundary
                                                                                       (Facility Footprint)
                                                                                       LNG Terminal Site (Leased Parcel)

                                                  Gulf of                              BSC Dredge Areas                                                                                         Waterbodies in the Vicnity
                                                                                                                                                                    0      0.5        1
                                                  Mexico                               Proposed Rio Bravo                                                                                   of the Rio Grande LNG Terminal
                                                                                       Pipeline
                                                                                                                                                                          Miles
                                                                                       Waterways
                                                                                       Port Isabel Dredge Pile                                                                                                 Figure 4.3.2-2
                                                                                                                                                                    Scale: 1:80,000
                                                                        AERIAL IMAGERY: NATIONAL AGRICULTURE IMAGERY
                                                                        PROGRAM (NAIP) 2014 - http://datagateway.nrcs.usda.gov/.
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          The LNG Terminal site is on the north shore of the BSC. The BSC is a man-made,
 marine navigation channel that connects to the Gulf of Mexico and forms the western terminus
 of the Gulf Intracoastal Waterway system. The BSC, along with its Entrance Channel and Jetty
 Channel, form the Brazos Island Harbor. Vessels entering the BSC from the Gulf of Mexico
 transit the Entrance Channel and Jetty Channel, which collectively extend about 2.4 miles into
 the Gulf of Mexico; vessels then enter the BSC, which extends about 17 miles inland to the Port
 of Brownsville turning basin (COE 2014). Marine transportation, including the route for LNG
 carriers transiting to the LNG Terminal site, is further described in section 4.9.8. The
 constructed bottom of the federally authorized channel of the BSC is about 250 feet wide at the
 LNG Terminal site, and is maintained at a depth of -42 feet MLLW (COE 2014). The channel
 and surrounding waters are about 1,200 feet wide.

        In 2014, the COE finalized a feasibility study to determine whether the Brazos Island
 Harbor should be modified via the Brazos Island Harbor Project. The COE found that a plan to
 deepen the main channel of the BSC to -52 feet MLLW would be in the national interest and
 would not result in significant environmental impacts (COE 2014). The Port of Brownsville has
 submitted an application to the COE – Galveston District under application number SWG-2016-
 00038 to implement the Brazos Island Harbor Project (COE 2016). About 68.7 acres within the
 BSC would be impacted by LNG Terminal construction. Within the LNG Terminal site is one
 shallow estuarine open water lagoon with estuarine emergent marsh and mudflats around its
 perimeter (Aquatic Resource 1, see section 4.4.1.1).

          The western boundary of the LNG Terminal site is the Bahia Grande Channel, which was
 constructed in 2005 to connect the BSC and the Bahia Grande to restore tidal exchange to the
 Bahia Grande (FWS 2015a). The Bahia Grande is a 6,500-acre shallow bay, located north of
 SH-48 and the LNG Terminal site, and is one of three basins, along with the Laguna Larga and
 Little Laguna Madre, that form the Bahia Grande system. In the 1930s, the construction of SH-
 48 and placement of dredged material from construction of the BSC isolated the Bahia Grande
 from the Lower Laguna Madre and altered the hydrology of the system (COE 2014). The Bahia
 Grande system was primarily dry after its isolation due to high rates of evaporation and the loss
 of tidal exchange with the Lower Laguna Madre (Ocean Trust 2009). In the year 2000, the FWS
 acquired the Bahia Grande Unit of the Laguna Atascosa National Wildlife Refuge (NWR), made
 up of 21,700 acres of water, wetlands, and land between the cities of Laguna Vista and
 Brownsville (FWS 2015a). As part of a comprehensive restoration plan, channels were
 constructed between the basins in the Bahia Grande system, and future plans include widening
 the Bahia Grande Channel from about 34 feet to 250 feet in order to increase tidal exchange via
 the BSC (Ocean Trust 2009, FWS 2010a). The Bahia Grande and Lower Laguna Madre are
 hypersaline due to the shallow water, limited freshwater inflow, and limited surface water
 exchange with the Gulf of Mexico (COE 2014). The Laguna Madre is a long, narrow lagoon
 between the Texas mainland and South Padre Island, extending from the Corpus Christi Bay into
 Mexico. As shown in figure 4.3.2-2 above, the Lower Laguna Madre is connected to the north
 side of the BSC, and its entrance would be passed by vessels transiting to the LNG Terminal site.
 The Bahia Grande and Laguna Madre were identified as resources of concern in scoping
 comments, along with other surface water features in the Project vicinity. On the south side of
 the BSC, South Bay is a 3,500-acre waterbody that forms the southernmost bay in the Laguna
 Madre System. South Bay is managed by the TPWD as a Texas Coastal Preserve (TPWD
 2016b).


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          Surface Water Quality Standards and Designated Uses

         Table 4.3.2-2 identifies the designated uses and impairment status of waterbodies near the
 LNG Terminal site, including those that would be transited by vessels during construction and
 operation of the Project. The BSC is designated as impaired for recreational use due to the
 presence of bacteria, the Lower Laguna Madre is designated as impaired for the presence of
 bacteria affecting oyster waters (those waters that may produce edible species of clams, oysters
 or mussels), and the Gulf of Mexico is impaired due to the presence of mercury in edible tissue
 (TCEQ 2014).

                                                    Table 4.3.2-2
                          Waterbodies in the Vicinity of the Rio Grande LNG Terminal Site

                                   State Water Quality                                             Impairment         Reason for
    Waterbody Name                                                   Fishery Designation
                                      Designation                                                    Status           Impairment
                                                                    Exceptional Aquatic Life
  BSC                             Noncontact Recreationa                                              Impaired          Bacteria
                                                                             Use
                      b
  Aquatic Resource 1                  No designation                     No designation                 N/A                N/A
  Bahia Grande                 Primary Contact Recreation 1c           Sustainable Fisheryd             N/A                N/A
  Bahia Grande Channel         Primary Contact Recreation 1c           Sustainable Fisheryd             N/A                N/A

                                                                    Exceptional Aquatic Life                            Bacteria
  Lower Laguna Madre           Primary Contact Recreation 1c                                          Impaired
                                                                      Use / oyster waters                            (oyster waters)


                                                                    Exceptional Aquatic Life
  South Bay                    Primary Contact Recreation 1c                                            N/A                N/A
                                                                      Use / oyster waters

                                                                    Exceptional Aquatic Life                           Mercury in
  Gulf of Mexico               Primary Contact Recreation 1c                                          Impaired
                                                                      Use / oyster waters                             edible tissue
  Sources: TCEQ 2016c, TCEQ 2014, TAC Title 30, Chapter 307.
  a
            Noncontact recreation is defined as activities that do not involve a significant risk of water injection, such as those
            with limited body contact incidental to shoreline activity, including birding, hiking, and biking.
  b
            Aquatic Resource 1 is the open water lagoon within the LNG Terminal site.
  c
            Primary Contact Recreation 1 is defined as activities that are presumed to involve a significant risk of ingestion of
            water, such as wading by children, swimming, and surfing. This is presumed to apply to all tidal waterbodies. For
            the purposes of this analysis, estuarine waterbodies were assumed to be tidal.
  d
            Sustainable fisheries include those waterbodies with the potential to have sufficient fish production of fishing
            activity to create significant long-term human consumption of fish; all designated waterbodies and all bays,
            estuaries, and tidal rivers are considered to have sustainable fisheries.



        Contaminated sediments are not known to occur at the LNG Terminal site or in areas that
 would be dredged for construction. The COE conducted chemical analyses of samples taken
 from the BSC in 2012, and did not identify contaminated sediments where dredging to deepen
 the BSC would be conducted (COE 2014).

          Sensitive Waterbodies

        Sensitive waterbodies in the vicinity of the LNG Terminal site and along vessel routes
 include the Laguna Madre, South Bay, and Bahia Grande. The Laguna Madre is one of just a


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 few hypersaline lagoons in the world, and provides important habitat for wintering waterfowl. It
 also supports estuarine fisheries, as discussed in sections 4.6.1 and 4.6.2 (USGS 2006b). The
 southernmost bay associated with the Lower Laguna Madre System, South Bay, has been
 designated as a Texas Coastal Preserve by the TPWD. The shore of South Bay is fringed by
 black mangroves that support nesting waterbirds, and the bay provides habitat for 41 species of
 finfish and 9 species of shellfish (TPWD 2016b). The Bahia Grande was historically a large and
 productive wetland and open water system connected to the Laguna Madre, and it is part of an
 ongoing coastal wetland restoration project (FWS 2015a).

         In addition to those waterbodies noted above, portions of the BSC, the Laguna Madre, the
 Bahia Grande Channel, and South Bay have been designated as EFH. Marine and estuarine
 waterbodies may also contain suitable habitat for state and federally listed species. Waterbodies
 containing fisheries of special concern and EFH are discussed in section 4.6.2 and 4.6.3,
 respectively; impacts on federally listed species are discussed in section 4.7.1. The LNG
 Terminal site is not within 3 miles of surface drinking water intakes, outstanding natural resource
 waters, or other sensitive waterbodies.

        Pipeline Facilities

         RB Pipeline identified surface water resources along the Pipeline System during initial
 field surveys conducted in 2015 and 2016. Some areas along pipeline reroutes have been
 surveyed since that time, but landowner access for surveys along the entire Project has not been
 granted. Where field survey access is not available (about 44 percent of the pipeline facilities),
 environmental information was estimated from aerial imagery, field delineation data from
 adjacent parcels along the Pipeline System, and other available GIS-based information including
 hydrography, hydric soils, and wetland data. RB Pipeline will conduct surveys for the remaining
 areas once site access is obtained.

          Appendix G identifies the waterbodies that would be potentially affected by the pipeline
 facilities, including the waterbody name, location, description, waterbody type, water quality
 classification, and crossing width (where applicable). The pipeline facilities would cross
 freshwater and estuarine waterbodies that are classified as perennial, intermittent, and ephemeral.

        Surface Water Quality Standards and Designated Uses

         Appendix G identifies the designated uses and impairment status of waterbodies crossed
 by the pipeline facilities. The Arroyo Colorado, a tidally influenced waterbody crossed at MP
 100.1, is designated as impaired for aquatic life due to low levels of dissolved oxygen and for
 primary contact recreation due to the presence of bacteria (TCEQ 2014). Sediment
 contamination associated with runoff from agriculture, which is also present in the Arroyo
 Colorado, is associated with probable adverse effects on aquatic life (EPA 2004, EPA 1993).
 Additional impairments have been identified about 10 miles upstream of the pipeline crossing of
 the Arroyo Colorado where the waterbody is non-tidal, including elevated concentrations of
 manganese and a fish consumption advisory due to concentrations of mercury and
 polychlorinated biphenyls in edible tissue (TCEQ 2012, TPWD 2016c). No additional
 waterbodies crossed by the Pipeline System are listed as impaired.




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           Sensitive Waterbodies

         As discussed in section 4.6.2, the Pipeline System would cross two waterbodies
 containing EFH, including the Bahia Grande Channel and the Channel to San Martin Lake. The
 same marine and estuarine waterbodies designated as EFH contain suitable habitat for state and
 federally listed species. Waterbodies containing fisheries of special concern and EFH are
 discussed in section 4.6.3; impacts on federally listed species are discussed in section 4.7.1. No
 active public water supply intakes are within 3 miles of the Pipeline System (TCEQ 2016b).

 4.3.2.2          Surface Water Impacts and Mitigation

           LNG Terminal

        Table 4.3.2-2 describes the surface waters that would be affected by construction and
 operation of the LNG Terminal. Potential construction and operational impacts on surface
 waters include the effects of dredging and dredged material placement; construction of LNG
 Terminal facilities, including the marine berths and turning basin; vessel traffic; site modification
 and stormwater runoff; water use, including hydrostatic testing and operation of the firewater
 system; and spills or leaks of hazardous materials.

         Construction and operation of the LNG Terminal would result in permanent impacts on
 174.8 acres of open water, including impacts on the BSC and the open water lagoon within the
 LNG Terminal site (Aquatic Resource 1). A total of 75.8 acres of open water would be
 converted to industrial/commercial land for construction of the LNG Terminal, and an additional
 68.7 acres of open water within the BSC would be dredged for the MOF, marine berths, and
 turning basin. The remainder (30.2 acres) would be modified to create the firewater canal or
 marine facilities. RG LNG would be required to mitigate for the permanent loss of open water
 resources, and proposes to preserve open water within an offsite wetland mitigation area about 1
 mile south of the Project on the south side of the BSC. RG LNG’s proposed mitigation is further
 discussed in section 4.4.2.4. Neither the storage areas nor the Port Isabel dredge pile would
 affect waterbodies.

           Dredging and Dredged Material Placement

          Public scoping comments expressed concern regarding water quality impacts due to
 dredging and dredged material placement associated with the Project. RG LNG proposes to
 dredge 25.2 acres of open water within the LNG Terminal site property to create the marine
 facilities. About 0.4 acre of open water would be within the firewater intake canal. In addition
 to the dredging and excavation proposed within the LNG Terminal site property boundary, RG
 LNG would dredge about 68.7 acres of open water for the MOF, marine berths, and turning
 basin, resulting in a total of 94.3 acres of dredging. Detailed plans for dredging and dredged
 material management are included in RG LNG’s Dredged Material Management Plan, the
 options for material placement are discussed in section 4.2.3.

        The MOF would be dredged to a depth of -10 feet MLLW (plus -2 feet of overdredge
 allowance) and would generate about 39,000 yd3 of dredged material. During construction of the
 marine berths and the turning basin, about 6.5 mcy of material would be dredged and about 0.6
 mcy removed by land-based excavation. The marine berths and turning basin would be dredged


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 to a depth of about -45 feet MLLW (-43 feet plus -2 feet of overdredge allowance). RG LNG
 proposes to conduct all dredging and excavation during Stage 1 of Project construction as part of
 site preparation. Dredging for the MOF would require about 2 weeks; dredging of the remaining
 marine facilities would occur over a period of 14 months. Dredging would permanently modify
 the profile of the BSC, and would convert existing mudflats to open water as discussed in section
 4.4.2.1.

         Dredging would result in impacts on water quality in the BSC, including increased
 suspended solid and turbidity levels, as well as potential resuspension of contaminated
 sediments. Increased suspended solid and turbidity levels could reduce light penetration through
 the water column, which could lower the rate of photosynthesis, introduce organic material
 and/or nutrients that could lead to an increase in biological oxygen demand and reduce dissolved
 oxygen, and alter water circulation and flow patterns. Along the banks of the BSC where
 dredging would occur near the surface of the water, such as dredging for the MOF, greater
 turbidity impacts could result since sediments suspended near the top of the water column would
 take longer to settle. Where dredging would be necessary at the western extent of the LNG
 Terminal site, suspended sediment could be transported to the Bahia Grande via the Bahia
 Grande Channel. In addition, changes to the BSC channel depth and contours from dredging
 could impact water surface elevations and tidal flow. Impacts of dredging and dredged materials
 on seagrass beds and oyster beds are not anticipated; impacts on these and other aquatic
 resources are addressed in section 4.6.2.

          The dredged material would be dominated by cohesive clay sediments, which would
 settle slowly relative to sand and would contribute to higher turbidities during and immediately
 following active dredging; conditions would be expected to return to pre-construction conditions
 within a few hours of the end of dredging (COE 2014). RG LNG would conduct dredging using
 a small hydraulic cutter suction dredge at the MOF and a large hydraulic cutter suction dredge or
 mechanical dredge at the marine berths and turning basin. The hydraulic dredging method uses a
 cutter head to break up sediment, and then uses suction to capture the slurry of water and
 sediment, which is transported via pipe to the disposal area. The use of suction minimizes
 turbidity from resuspension of the sediment in the water column and other water quality impacts.
 The dredge pipe associated with hydraulic dredging would be placed on the channel bed and
 allowed to settle by its own weight. Any disturbance of sediments and resulting turbidity
 associated with placement of the dredge pipe would be temporary and negligible.

          Mechanical dredging would result in greater temporary impacts on surface water quality,
 as it typically involves a clamshell dredge that is lowered to the sediment, closed, and then lifted
 to deposit dredged material on the dredge vessel; no suction line would be used to collect the
 disturbed sediments. All dredging would be conducted using equipment designed to meet the
 Texas state water quality standards and in accordance with applicable COE permit requirements,
 which would require that construction activities be performed in a manner to minimize turbidity
 in the work area and otherwise avoid adverse effects on water quality and aquatic life. To ensure
 compliance with applicable permit requirements, RG LNG’s dredging contractor would monitor
 turbidity and, in the event that water quality standards are not met during dredging, additional
 measures specific to the dredge method would be implemented to adhere to the permit. For
 example, mitigation for mechanical dredging could include equipment maintenance to rectify
 any mechanical issues that could result in materials loss, or to enhance containment capabilities.


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 Mitigation measures for hydraulic dredging may include slowing the rate of dredging or
 performing equipment maintenance to ensure piping connections are not loose. RG LNG could
 install silt curtains to manage turbidity for either mechanical or hydraulic dredging.

        The COE determined that dredging and dredged material placement for 14.1 mcy of new
 work material associated with deepening the main channel of the BSC for the Brazos Island
 Harbor Project would temporarily increase turbidity during construction dredging, maintenance
 dredging, and when dredged material is disposed at ODMDS (COE 2014). Based on the results
 of hydrodynamic modeling conducted for the proposed widening, the COE determined that the
 Brazos Island Harbor Project would result in only negligible differences in surface water
 conditions (including tidal velocity, water surface elevations, and tidal range in the Laguna
 Madre).

         RG LNG similarly conducted hydrodynamic modeling to evaluate the impacts of the
 Project dredging on water conditions, including current speed. Project-related impacts on
 hydrology and hydrodynamics were identified in public comments. Current speed within the
 BSC and marine facilities was predicted under four configurations that include the proposed
 Project facilities: existing BSC conditions; deepening the main channel of the BSC to -52 feet
 MLLW; widening the turn at the Brazos Santiago Pass; and widening the Bahia Grande Channel.
 Currents in the Project area are primarily wind-driven, and the COE estimates that current
 velocities average 0.6 knot (1.0 foot per second) at the Gulf of Mexico, and are about 0.1 knot
 near the Project site (COE 2012). RG LNG estimated the maximum current velocity within the
 proposed marine facilities would be 0.3 knots; current velocities in the main channel of the BSC
 near the Project would be similar.

          RG LNG, through its hydrodynamic model, determined that construction of the LNG
 Terminal, including dredging for marine facilities, would result in negligible changes in average
 current speeds within the Bahia Grande Channel, and would therefore not significantly increase
 water flow through the Bahia Grande Channel. A significant increase in water flow would affect
 turbidity or salinity levels during operation, and such an increase would occur in the event that
 the Bahia Grande Channel is expanded, which is proposed as part of plans to restore tidal flow to
 the Bahia Grande as described above. The expansion of the Bahia Grande Channel would
 increase the current speed through the channel by an average of about 17 percent. The purpose
 of the Bahia Grande Channel widening planned by the FWS, NMFS, TxDOT, the Laguna
 Atascosa NWR, Cameron County, and the BND would be to increase tidal exchange between the
 BSC and the Bahia Grande, and this increase would not be the result of the proposed Project.
 Further, RG LNG conducted sediment modeling to determine shoaling rates within the marine
 facilities. The results of sediment modeling are described below.

         As discussed in section 4.2.3, sediment sampling conducted by the COE for the Brazos
 Island Harbor Project indicated the lack of contaminated sediments within the BSC; however, it
 is possible that unanticipated contamination would be encountered during construction.
 Therefore, RG LNG would conduct any requested dredged material sampling and testing in
 accordance with applicable permit conditions and would implement its Unanticipated




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 Contaminated Sediment and Soils Discovery Plan20 if contaminated materials were encountered.
 This plan requires a cessation of work upon identification of contaminated sediments or soils,
 notification of the appropriate regulatory authorities, and treatment of the contaminated materials
 to the satisfaction of the applicable agencies prior to resuming work in the area. Because the
 volume of material to be dredged for the Rio Grande LNG Terminal is less than half the volume
 proposed for the Brazos Island Harbor Project, which was deemed by the COE to result in
 negligible impacts on surface water conditions, and because contaminated sediments are not
 known to occur within the BSC, impacts on surface water conditions from dredging at the LNG
 Terminal site are also expected to be negligible.

        As discussed in section 4.2.3, dredged materials could be placed in upland or offshore
 placement areas. Where dredged material is placed in upland areas, return water could enter
 waterbodies and impact water quality, resulting in a temporary increase in suspended sediment
 and turbidity. RG LNG would be required to comply with state water quality requirements under
 Section 401 of the CWA for any return water from dredged material placement.

         Because of the long length of piping that would be required to transport dredged material
 from the LNG Terminal site to the ODMDSs or Feeder Berm, hydraulic dredging would not be
 feasible and dredging would need to be conducted via mechanical means. Placement of dredged
 material in an ODMDS or at the Feeder Berm would result in a temporary increase in suspended
 sediment and turbidity at the placement site. If dredged material from maintenance dredging is
 determined to be suitable for use at the Feeder Berm, it could have a positive impact on the
 shoreline of South Padre Island by contributing to beach nourishment. The final management of
 dredged material will be determined by the BND and COE, in consultation with other federal,
 state, and local resource agencies and interested stakeholders, including the EPA, NMFS, FWS,
 and the TCEQ. Because the impacts on surface water quality would be adequately mitigated
 through adherence to applicable COE permits and the state water quality requirements for
 dredging and dredged material management, including measures to protect water quality, we
 conclude that dredging and dredged materials placement for construction of the LNG Terminal
 would have only temporary and minor impacts on water quality.

         RG LNG’s hydrodynamic modeling found that future shoaling rates within the LNG
 berths and turning basin would be between 7.2 and 9.2 inches per year; therefore, during
 operations, RG LNG anticipates that maintenance dredging would be required to maintain
 minimum water depths sufficient for operation every 2 to 4 years. Each maintenance dredging
 would be expected to remove about 250,000 to 500,000 yd3 of material. Maintenance dredging
 is primarily planned for the marine berths and turning basin; if maintenance dredging is required
 for the MOF, it would be conducted concurrently. Material removed during maintenance
 dredging would be disposed in one of four upland disposal sites (PA 4a, 4b, 5a, or 5b), the
 maintenance material ODMDS, or the Feeder Berm in accordance with RG LNG’s Dredged




 20
        RG LNG’s Unanticipated Contaminated Sediment and Soils Discovery Plan is available on FERC’s eLibrary website,
        located at http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and
        accession number 20160928-5172.




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 Material Management Plan.21 The BSC is already subject to maintenance dredging by the COE,
 which is conducted approximately every 4.5 years (COE 2014). Although maintenance dredging
 would result in a temporary increase in suspended sediments, the impacts of maintenance
 dredging would be temporary and limited to the vicinity of dredging activity within the BSC.
 All dredging would be conducted in accordance with applicable COE permit requirements.
 Therefore, we conclude that the impacts on water quality due to maintenance dredging would be
 temporary or minor.

        LNG Loading and Ship Berthing Facilities

          Where practicable, RG LNG would construct marine facilities, including over-water
 facilities, from the shoreline to minimize impacts on surface water resources. The jetty for
 Marine Berth 1 would be completed prior to dredging, and construction of Marine Berth 2 would
 be completed using land-based activities as practicable. Onshore equipment would be used to
 install the platform, piping, and equipment for each marine berth. The majority of pile-driving
 would be conducted on land; however, a total of four piles would be driven in water using barge-
 mounted and other marine equipment (two at the MOF and two for the fixed aid to navigation).
 Private aids to navigation may be required.

         In-water construction and sediment displaced during pile-driving would result in
 temporary and localized increases in suspended sediment levels (see section 4.6.2 for pile-
 driving impacts on aquatic resources). Impacts would be confined to the period of in-water
 activity and shortly thereafter. Permanent or long-term water quality impacts are not anticipated.

        Vessel Traffic

        Shoreline Erosion and Resuspension of Sediments

         Barges and support vessels would deliver construction materials and equipment to the
 MOF and Port of Brownsville during LNG Terminal construction. RG LNG estimates that about
 880 marine deliveries would take place during the first 5 years of construction. No deliveries are
 currently anticipated during the remainder of the construction period, though sporadic deliveries
 could occur as needed. During operation, about 312 LNG carriers would call on the LNG
 Terminal per year (about 6 LNG carriers per week; see section 4.9.4).

         Vessel traffic during construction and operation along the BSC, in the turning basin, and
 in the berthing areas could increase shoreline erosion and suspended sediment concentrations due
 to increased wave action. Turbidity resulting from suspension of sediments could reduce light
 penetration and photosynthetic oxygen production, as noted in scoping comments. Disturbance
 could also introduce chemical and nutrient pollutants from sediments, if present.



 21
        RG LNG’s Dredged Material Management Plan is available on FERC’s eLibrary website, located at
        http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession
        numbers 20161006-5114 and 20161018-5113. Additional information regarding potential beneficial uses of dredged
        material are included in RG LNG’s Mitigation Alternative Analysis is available on FERC’s eLibrary website, located at
        http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession
        number 20171117-5156.


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          The channel embankments and slope of the LNG Terminal site along the BSC, the
 marine loading berths, and the turning basin would be modified during construction and the
 shoreline would be stabilized using rip-rap to minimize the potential for erosion due to vessel
 traffic (see section 4.1.3.4). All dredging and shoreline stabilization would be conducted during
 site preparations in Stage 1 of construction, and would be complete prior to the first LNG
 carriers calling on the LNG Terminal. By reducing the potential for increased turbidity from
 vessel activities, RG LNG’s plan for shoreline stabilization measures would also reduce the
 potential for suspended sediment to be transported into the Bahia Grande via the Bahia Grande
 Channel. Further, current speeds within the BSC near the terminal site are estimated to be
 similar to pre-Project conditions, thereby reducing the potential for increased erosion due to
 stronger currents after construction. Although the FERC does not have jurisdiction over the
 transit of LNG carriers through the BSC, final permitting for the Brazos Harbor Channel
 Improvement Project should account for the impacts of these larger vessels on the stability of
 unarmored shorelines due to vessel passage and reflective wave energy.

          The BSC is a deep-draft navigation channel that connects the deepwater Port of
 Brownsville to the Gulf of Mexico via the Brazos Santiago Pass, and is an established shipping
 corridor. The Port of Brownsville is managed by the BND, and the BSC is maintained by
 regular dredging (COE 2014). Similarly, LNG carriers transiting the Gulf of Mexico during
 operation of the Project would use established shipping channels to reach the BSC. As such, the
 use of waterways by LNG carriers, barges, and support vessels during construction and operation
 of the LNG Terminal would be consistent with the planned purpose and use of active shipping
 channels. Impacts on shipping channels, including the BSC, would be minor. Impacts on vessel
 traffic as a result of the Project are discussed in section 4.9.9.2.

        Ballast Water Discharge

         During construction, barges and other vessels delivering materials to the Rio Grande
 LNG Terminal may use ballast pumps to maintain the barge level during loading and unloading.
 During operation, LNG carriers serving the LNG Terminal would likely arrive with empty cargo
 tanks prepared to be loaded with LNG for export. LNG carriers with empty cargo tanks ride
 higher in the water and can experience challenges associated with navigation due to the extra
 ship surface area above the water line. LNG carriers are more susceptible to wind and are less
 efficient due to reduced propeller, rudder, and propulsion system performance. To reduce or
 eliminate the challenges of navigating the ship without cargo aboard, water is often taken in from
 the surrounding waters and placed in ballast tanks to provide additional draft and improve
 navigation. To maintain a constant draft, ballast water is typically discharged below the water
 surface as the LNG cargo is loaded. This procedure would likely occur aboard LNG carriers
 calling on the LNG Terminal.

         RG LNG estimates that up to 10 million gallons of ballast water would be discharged for
 each LNG carrier calling on the Rio Grande LNG Terminal. Discharge of ballast water would
 take place over a 20- to 24-hour period during LNG loading. The volume of discharge per vessel
 would be negligible compared with the total volume of the BSC (estimated to be about 25 billion
 gallons).




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         The Coast Guard’s ballast water management regulations (33 CFR 151.2025 and 46 CFR
 162) established a standard for the allowable concentration of living organisms in ships’ ballast
 water discharged into waters of the United States. The Coast Guard also established engineering
 requirements and an approval process for ballast water treatment systems installed on ships. All
 ships calling on U.S. ports must either carry out open sea exchange of ballast water or ballast
 water treatment, in addition to fouling and sediment management, and document these activities
 in the ship’s log book. In 2017, the International Convention for the Control and Management of
 Ships’ Ballast Water and Sediments developed measures that must be implemented to minimize
 the potential for introduction of non-native species through ballast water. These measures have
 since been adopted by the International Maritime Organization (IMO) and are required to be
 implemented in all ships engaged in international trade.

         While the open sea exchange of ballast water has been used in the past and reduces the
 potential for non-native species introductions, on-board ballast water treatment systems are more
 effective at removing non-native species from ballast water. There are two different standards
 that ships must meet. All new ships must meet the “D-2” performance standard, which
 establishes the maximum number of viable organisms allowed to be discharged in ballast water.
 Conformity with the D-2 standard requires ships to utilize on-board ballast water treatment
 systems. Existing ships that do not currently have on-board ballast water treatment systems must
 continue to, at a minimum, conduct open sea exchanges of ballast water (“D-1” standard).
 Eventually, all ships will be required to conform with the D-2 standard. The timetable for
 conformity with the D-2 standard for existing ships is based on the date of the ship’s
 International Oil Pollution Prevention Certificate renewal survey, which occurs every 5 years
 (IMO 2017). Therefore, most ships calling on the Project, estimated to begin in Year 4 of
 construction, would be expected to have conformed to D-2 standards. Additional details
 regarding ballast water management systems are provided in section 4.6.2.

         The composition of ballast water would vary as compared to the water in the BSC
 depending on its origin and the conditions in the BSC at the time of discharge. The discharge of
 ballast water to the BSC could affect water quality by changing the salinity, pH, temperature, and
 dissolved oxygen level.

         Open-ocean ballast water would have a salinity between 33 and 37 parts per thousand,
 which is similar to the salinity in the BSC. The pH of ballast water would be indicative of
 seawater, and would therefore be similar to the pH in the BSC, which receives tidal flow from
 the Gulf of Mexico. Ballast water is stored in the ship’s hull below the waterline; as a result,
 discharged water temperatures are not expected to deviate markedly from ambient water
 temperatures. Dissolved oxygen is dependent on many factors, including water temperature,
 water depth, phytoplankton, wind, and current. Water that is collected within the ballast tanks of
 a ship would lack many of these important influences and could suppress dissolved oxygen
 levels. Ballast water is expected to be anoxic (i.e., lacking all oxygen), but could contain
 dissolved oxygen levels; if so, levels would be lower than the surface water of the BSC. Overall,
 impacts on salinity, pH, temperature, and dissolved oxygen levels from ballast water discharges
 would be negligible. Impacts of ballast water discharge on aquatic resources are addressed in
 section 4.6.2. Because vessels would be required to comply with U.S. laws and regulations
 governing ballast water discharges, we conclude that impacts on surface water quality resulting
 from ballast water discharge would be minor.


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        Cooling Water Discharge

          During operation, LNG carriers use water to cool the main engine, other machinery, and
 for hotel services. Ship cooling water would be withdrawn and discharged below the water line
 on the sides of the ship through screened water ports, known as “sea chests.” Cooling water
 would be withdrawn from, and returned to, the BSC. RG LNG estimates that between 250,000
 and 500,000 gallons per hour would be used by an LNG carrier docked at the LNG Terminal site
 (a total of between 5 and 12 million gallons for vessels docked for 20 to 24 hours). The volume
 of cooling water used per vessel would be negligible compared with the total volume of the BSC.

         Impacts on surface waters as a result of cooling water intake and discharge would be
 primarily limited to an increase in water temperature in the vicinity of the LNG carrier. Cooling
 water return temperatures vary widely depending on the type of LNG carrier and mode of
 operation. Based on a review of available information for a similar project in the Gulf of
 Mexico, we anticipate that cooling water discharged at the LNG Terminal site could range
 between 2.7 and 7.2 °F warmer than ambient water temperatures (FERC 2015). Due to the
 limited temperature differences, the relatively small volume of discharge compared to the total
 water within the BSC, and location within an active port that is already subject to withdrawals
 and discharges of vessel engine cooling water, we anticipate that the increased water temperature
 levels would diminish shortly after discharge and, therefore, would have temporary and minor
 impacts on water quality. Impacts of cooling water intake and discharge on aquatic resources are
 addressed in section 4.6.2.

         Engine cooling water would also be discharged by LNG carriers transiting the Gulf of
 Mexico to call at the proposed LNG Terminal; however, due to the volume of water within the
 Gulf of Mexico and the use of established shipping lanes where frequent vessel traffic would
 increase the speed at which the warmer water would be diluted to ambient temperatures, we
 conclude that increased water temperatures would have a negligible impact on water quality
 within the Gulf of Mexico.

        Site Construction and Stormwater Runoff

         Ground disturbance for construction of the LNG Terminal could result in sedimentation
 of adjacent waterbodies via stormwater runoff. In addition to stormwater runoff, excess water
 from dust control, vehicle washdown, and other construction activities onsite would generate
 wastewater runoff. During operation, the amount of impervious surface that would be
 constructed for the LNG Terminal would result in an increased volume of stormwater runoff.

        RG LNG would install erosion and sediment controls in accordance with its Plan and
 Procedures prior to beginning construction of the LNG Terminal. An EI would monitor field
 conditions daily in areas of active construction to ensure that the erosion and sediment controls
 were properly installed, adequate, and functional. Measures to control erosion and sedimentation
 during construction are discussed in detail in section 4.2.2.1 and in RG LNG’s draft SWPPP,
 which we have recommended be finalized prior to construction (see section 4.2.2.1).

         To manage runoff at the LNG Terminal site, RG LNG would construct a stormwater
 levee, drainage system, and stormwater ponds. The stormwater levee would be constructed



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 surrounding the LNG Terminal site to protect the site from flooding, which is further discussed
 in section 4.1.3.3. When construction and operation at the LNG Terminal are concurrent, RG
 LNG would implement temporary erosion controls per its Plan and Procedures and would
 operate the permanent stormwater controls planned for the site. The entire levee and four
 stormwater ponds, as well as the drainage systems for Stage 1 facilities, would be constructed
 during Stage 1 to protect the site from storm surge and to manage stormwater flows. The
 drainage system would be expanded during each stage of construction to include the newly
 constructed facilities. The remaining two ponds would be constructed during Stages 3 and 5.
 The site would be graded to allow for gravity drainage.

         During construction and operation of the LNG Terminal, stormwater runoff would be
 discharged to the BSC via the drainage system and ponds, and would not be directed to the
 hypersaline Bahia Grande. Where stormwater could be contaminated by spills or leaks of
 hazardous materials, such as near the liquefaction trains and truck loading areas, it would be
 directed through an oil-water separator prior to discharging to the BSC. Releases from
 stormwater ponds to the BSC would be controlled to reduce potential shoreline scour.

        During construction, a concrete batch plant would be built and used outside of the
 planned stormwater levee. Runoff wastewater generated by dust suppression and equipment
 washing at the concrete batch plant could enter adjacent waterbodies and impact water quality.
 Therefore, RG LNG would designate contained areas for equipment washing and would dispose
 of wastewater generated at the concrete batch plant offsite to minimize potential impacts on
 water quality.

        Facility Water Use

         Water for construction and operation of the Rio Grande LNG Terminal would be
 purchased from local municipal water districts and, once complete, the new BND water supply
 header. Water sourced from the Brownsville Public Utilities Board via the supply header would
 include both surface water from reservoirs along the Rio Grande River and groundwater from
 wells located to the west of Brownsville. The Brownsville Public Utilities Board has stated that
 it has sufficient capacity to meet the construction and operation needs of the Project without
 affecting water availability for other uses (Brownsville Public Utilities Board 2016).

        Onsite Water Use

         During peak construction of the LNG Terminal, about 3.1 million gallons of water would
 be required per month. RG LNG estimates that water would be trucked to the LNG Terminal
 site from the beginning of construction until the BND potable freshwater supply header is
 operational during the second quarter Year 1. During the 7-year construction period, the peak
 monthly water usage would about 5.6 million gallons, with the highest water usage occurring in
 Year 6, when construction of liquefaction trains would be concurrent with operation.

          Water sourced from the BND potable freshwater supply header would be used during
 operation for drinking water, service water to supply utility hoses and safety showers, and for use
 in the liquefaction process. Freshwater would also be used for the freshwater firewater tank, as
 discussed below. Operation of the LNG Terminal would be expected to use about 3.9 million



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 gallons of water per month. Normal freshwater usage would be 84.7 gpm during LNG Terminal
 operation; peak usage would be about 317.7 gpm. Because the Brownsville Public Utilities
 Board has stated that it has sufficient capacity to meet the construction and operation needs of
 the Project, construction and operation of the LNG Terminal would not affect the availability of
 water for municipal and other uses in the service area for the Brownsville Public Utilities Board.

        Firewater System

          During operation of the LNG Terminal, the firewater system would be used in the event
 of a fire emergency to control and/or extinguish a fire at the site. The maximum firewater supply
 would be 4,315 gpm. Water would be supplied by 2 sources: a freshwater storage tank with a
 capacity of 519,098 gallons, and 2 seawater pumps that would bring water from the BSC via a
 short water intake channel if the freshwater storage tank capacity were depleted or unavailable.
 To minimize the potential for entrainment of aquatic organisms, intakes for the seawater
 firewater pumps would be screened. Impacts on aquatic resources are discussed in section 4.6.2.
 Following use, firewater would be treated in an oil-water separator prior to discharging to the
 BSC. Because of the infrequent use of the firewater system, we conclude that the firewater
 system would have negligible impacts on water quality within the BSC.

        Hydrostatic Testing

          Before placing each component of the LNG Terminal into service, LNG tanks, non-
 cryogenic piping, and freshwater storage tanks would be hydrostatically tested. A detailed
 description of the hydrostatic testing process is provided in section 2.5.2.1. LNG tanks would be
 tested using about 30 million gallons of seawater each, which would be withdrawn from the
 BSC. As water would not be reused between tanks, hydrostatic testing of all four tanks would
 require a total of 120 million gallons. Test water would be withdrawn from the BSC and treated
 via filtration or use of a corrosion inhibitor, if needed, before use. Following each hydrostatic
 test, water would be transferred to the proposed permanent stormwater ponds and tested for
 contamination prior to release in accordance with applicable discharge permits.

        Water would be withdrawn from the BSC using backup firewater supply pumps with
 screened intakes to minimize the potential for entrainment of aquatic organisms and in
 accordance with water withdrawal permits, including the TCEQ’s temporary water use permit.
 RG LNG developed a draft LNG Tank Hydrostatic Test Plan22 for the use of water from the BSC
 for hydrostatic testing, which would be finalized during detailed engineering and design. RG
 LNG is also consulting with NMFS and the TPWD regarding water withdrawal to identify
 requirements and mitigation measures for withdrawal.




 22
        RG LNG’s Draft LNG Tank Hydrostatic Test Plan is available on the FERC’s eLibrary website, located at
        http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession
        number 20160901-5281.


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        Because the LNG Tank Hydrostatic Test Plan is not final, we recommend that:

        •   Prior to construction of the LNG Terminal, RG LNG should file with the
            Secretary, for review and written approval by the Director of OEP, its final
            LNG Tank Hydrostatic Test Plan.

        RG LNG would minimize the amount of water required for hydrostatic testing by reusing
 water at multiple test locations, as practicable. In addition, where possible water would be
 reused for dust suppression or other onsite uses. Following completion of the hydrostatic tests,
 municipal water would be tested for contamination prior to release per the requirements of the
 TCEQ and RRC permits.

        The discharge of hydrostatic test water would be conducted in accordance with the RRC
 hydrostatic discharge permit requirements. If water treatment were required, it would be
 conducted in accordance with the TCEQ and RRC permits to minimize potential impacts on
 water quality. Therefore, we conclude that impacts from hydrostatic testing on surface waters
 would be temporary and minor.

        Spills

         During construction and operation, hazardous materials resulting from spills or leaks
 could adversely impact water quality if contamination enters waterbodies adjacent to the LNG
 Terminal site via a direct spill or as stormwater runoff. RG LNG would implement its site-
 specific SPCC Plan during construction, which would include spill prevention measures,
 mitigation measures, and cleanup methods to reduce potential impacts should a spill occur. The
 SPCC Plan would also address storage and transportation of hazardous materials. Where
 stormwater could be contaminated by spills or leaks of hazardous materials, such as near the
 LNG trains and truck loading areas, it would be directed through an oil-water separator prior to
 discharge to the BSC. In its comments on the draft EIS, the FWS expressed concern that any
 spills of hazardous materials could enter the Bahia Grande Channel and contaminate the
 wetlands and surface water in the Bahia Grande. In addition to the measures in RG LNG’s
 SPCC Plan, construction of the levee during Stage 1 of construction would further protect the
 Bahia Grande Channel from potential contamination during construction and operations. Given
 the impact minimization and mitigation measures described above, we conclude that impacts on
 surface waters due to spills or leaks during construction and operation of the LNG Terminal
 would be temporary and minor.

        Pipeline Facilities

        Pipeline System and Additional Temporary Workspace

        Header System and Pipeline 1

         One intermittent waterbody would be crossed by the Header System via open-cut. The
 centerline of Pipeline 1 would cross 63 waterbodies, including 21 perennial streams, 19
 intermittent streams, 10 ephemeral streams, and 13 ponds and reservoirs (see appendix G). Of
 those, 13 waterbodies are classified by FERC as minor (less than 10 feet wide), 34 are classified
 as intermediate (10 to 100 feet wide), and 16 are classified as major (greater than 100 feet wide).


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 RB Pipeline would cross 26 waterbodies via trenchless construction methods, including 5 by
 conventional bore and 21 by HDD. An additional four waterbodies would be within the
 construction workspace but would not be crossed by the Pipeline 1 centerline. One impaired
 waterbody, the Arroyo Colorado, would be crossed by HDD. Of the waterbodies crossed, four
 are navigable, including Los Olmos Creek (MP 19.1), Arroyo Colorado (MP 100.1), the Channel
 to San Martin Lake (MP 133.5), and the Channel to Bahia Grande (MP 135.2). Each of these
 waterbodies would be crossed by HDD. No active surface water intakes for public water supply
 are within 3 miles downstream of the Pipeline System.

        Following construction of Pipeline 1, waterbody contours would be restored to pre-
 construction conditions, and riparian areas would be revegetated using native grasses, legumes,
 and woody species. However, riparian areas are not expected to return to pre-construction
 conditions in the relatively short period between construction of Pipeline 1 and Pipeline 2.

        Pipeline 2

         Construction of Pipeline 2 would commence about 18 months after Pipeline 1 was placed
 in service. Construction of Pipeline 2 would cross 62 of the waterbodies crossed by Pipeline 1
 using the same methods. One waterbody would be crossed using a different method: ephemeral
 stream SS-T09-004 at MP 130.0 would be crossed by the centerline of Pipeline 2 (but is only
 within the construction workspace for Pipeline 1). Also, the centerline of Pipeline 2 would cross
 the Channel to San Martin Lake twice via HDD at MP 135.2, while the centerline of Pipeline 1
 would cross that waterbody once. Following construction of Pipeline 2, waterbody contours
 would be restored to pre-construction conditions, and riparian areas would be revegetated native
 grasses, legumes, and woody species, and allowed to return to pre-construction conditions.

        General Impacts of the Pipeline System

         Activities associated with construction of the Pipeline System include clearing and
 grading, in-stream trenching, trench dewatering, and backfilling. Clearing and grading of
 streambanks could expose soil to erosional forces and would reduce riparian vegetation along the
 cleared section of the waterbody. The use of heavy equipment for construction could compact
 near-surface soils, resulting in increased runoff into surface waters that could increase turbidity.

          Construction through waterbodies would result in increased downstream sedimentation,
 the extent of which would depend on sediment loads, stream velocity, turbidity, bank
 composition, and sediment particle size. In-stream construction could also dislodge and
 transport channel bed sediments and alter stream contours. Changes in stream contours could
 alter stream dynamics and increase downstream erosion or deposition. Turbidity resulting from
 resuspension of sediments from in-stream construction and erosion of cleared areas could reduce
 light penetration and photosynthetic oxygen production. In-stream disturbance could also
 introduce chemical and nutrient pollutants from sediments.

        Resuspension of deposited organic material and inorganic sediments could cause an
 increase in biological and chemical use of oxygen, potentially resulting in a decrease of
 dissolved oxygen concentrations in the affected area. Lower dissolved oxygen concentrations
 could cause temporary displacement of mobile organisms, such as fish, and may kill non-mobile



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 organisms within the affected area. Disturbances to stream channels and streambanks could also
 increase the likelihood of scour after construction. RB Pipeline does not anticipate blasting for
 construction of the Pipeline System; therefore, impacts on water resources associated with
 blasting are not anticipated.

         RB Pipeline would use open-cut and trenchless waterbody crossing methods as described
 in section 2.5.2.1; the use of dam-and-pump or flume crossing methods is not currently proposed.
 The typical pipeline construction right-of-way width for the Project, as described in section
 2.2.2, would be 125 feet; however, RB Pipeline has proposed to reduce or, in the case of
 trenchless crossings, eliminate the construction right-of-way width at all waterbodies anticipated
 to be wet at the time of construction (34 and 35 crossings for Pipelines 1 and 2, respectively). Of
 these waterbodies, HDD crossing methods would be used for 21 or 22 waterbodies crossed by
 Pipeline 1 and Pipeline 2, respectively, and 4 would be crossed using a conventional bore within
 a 75-foot-wide construction right-of-way. RB Pipeline would cross the remaining nine flowing
 waterbodies via open-cut crossing methods, using a construction right-of-way width of 75 or 100
 feet, depending on site-specific conditions (see appendix G).

          The 29 waterbodies that are not anticipated to be flowing at the time of crossing may be
 crossed using conventional upland construction techniques. However, if flow becomes
 discernable, RB Pipeline would cross the waterbody in accordance with its Procedures. As
 described in section 4.6.2.2, RB Pipeline must cross all waterbodies with perceptible flow
 between November 1 and January 31 in accordance with TPWD recommendations and for the
 protection of aquatic resources. As identified in the Project-specific Procedures, if a need is
 identified to install waterbody crossings outside of this period, RB Pipeline would coordinate
 with the FWS and TPWD to obtain approval and submit appropriate documentation to FERC for
 our review. Further, RB Pipeline would limit the construction right-of-way width to 100 feet or
 less at all waterbodies with perceptible flow at the time of construction, or would provide site-
 specific justification in requesting a variance for a greater right-of-way width at the time of
 construction.

       RB Pipeline would obtain all necessary waterbody crossing permits prior to construction.
 RB Pipeline would minimize impacts on waterbodies during construction by implementing the
 measures contained in its Procedures, which include:

        •   constructing the crossing as close to perpendicular to the waterbody as site conditions
            allow;

        •   maintaining adequate flow rates throughout construction to protect aquatic life and
            prevent the interruption of downstream uses;

        •   requiring temporary erosion and sediment control measures to be installed across the
            entire width of the construction right-of-way after clearing and before ground
            disturbance;

        •   requiring maintenance of temporary erosion and sediment control measures throughout
            construction until streambanks and adjacent upland areas are stabilized; and



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        •   requiring bank stabilization and reestablishment of bed and bank contours and riparian
            vegetation after construction.

         RB Pipeline would cross most waterbodies via open-cut methods in accordance with its
 Procedures. Where waterbodies would be crossed via wet open-cut, potential impacts of
 sedimentation would be greatest. In addition to those measures listed above, RB Pipeline would
 minimize impacts on open-cut waterbodies by stabilizing waterbody banks, installing temporary
 sediment barriers, and completing in-stream construction within 24 hours for minor waterbodies
 and 48 hours for intermediate waterbodies. RB Pipeline proposes to cross nine major,
 intermittent waterbodies using open-cut methods. RB Pipeline anticipates that four of the nine
 intermittent waterbodies would be dry at the time of crossing; the remainder are farm ponds and
 reservoirs that would not be flowing at the time of construction, although high water levels could
 be present. In accordance with RB Pipeline’s Procedures, site-specific crossing plans for all
 major waterbodies would be provided for FERC review prior to construction. In the event that a
 high level of water was present at the time of construction and an alternative (dry-ditch or
 trenchless) crossing method is warranted, RB Pipeline would coordinate with the FERC and the
 COE to modify the waterbody crossing method; the FERC and COE would consider the
 originally proposed crossing method, as well as the waterbodies flow regime prior to approving
 an alternative crossing method.

          Impacts on waterbodies that would be crossed by trenchless construction methods
 (conventional bore and HDD) would generally be avoided since the waterbody and its banks
 would not be disturbed by clearing or trenching, rather, the waterbody would be installed below
 the feature. However, if an inadvertent release of HDD drilling fluid occurs within a waterbody,
 the resulting turbidity could affect water quality. RB Pipeline would implement its HDD
 Contingency Plan,23 which addresses the general methods for implementing an alternative
 crossing in the event of a failed HDD attempt, as well as methods for detecting and responding to
 inadvertent returns. RB Pipeline would complete geotechnical bores to verify the feasibility of
 HDD construction at proposed locations, and would submit those surveys prior to construction,
 as recommended in section 4.1.1.1. Two waterbodies crossed by the Project are regulated by the
 IBWC; North Floodway at MP 93.4 and Arroyo Colorado at MP 100.1), both of which would be
 crossed by HDD. RB Pipeline consulted with the IBWC to identify regulated waterbodies and to
 determine whether the proposed crossing methods are sufficient to minimize impacts. The
 IBWC expressed concern regarding the potential for inadvertent returns in jurisdictional
 waterbodies and the stability of the waterbody levees during crossing. RB Pipeline indicated that
 it would design these HDDs to adhere to IBWC’s criteria and plans to submit its permit
 application for crossing these waterbodies to the IBWC in the second quarter of 2019. Crossing
 of the North Floodway and Arroyo Colorado would not commence prior to the IBWC issuing a
 permit for these crossings. Further, we have recommended in section 4.1.1.1 that RB Pipeline
 file the geotechnical surveys and final design details with FERC prior to construction of each
 HDD.




 23
        RG Developers’ HDD Contingency Plan is available on FERC’s eLibrary website, located at http://www.ferc.gov/docs-
        filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession number 20160829-5283.


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         In addition, the pull-string for one HDD crossing would encroach on intermittent stream
 SS-TDS-003 at MP 101.7. RB Pipeline would install a temporary bridge to allow for the pull-
 string to be placed on rollers across the bridge, thus minimizing impacts on the waterbody.

         During construction, the open trench may accumulate water, either from the seepage of
 groundwater or from precipitation. Where necessary, RB Pipeline would dewater the trench in a
 manner that would not result in silt-laden water entering waterbodies or wetlands and would not
 cause erosion, as described in its Procedures. Where waterbodies are within construction
 workspaces but not crossed by the pipeline, RB Pipeline would install erosion controls, matting,
 and/or temporary equipment bridges where needed in accordance with its Procedures.

        RB Pipeline generally would not establish ATWS within 50 feet of waterbodies, in
 accordance with its Procedures (section V.B.2.a). In locations where constraints require ATWS
 within 50 feet of, or within, waterbodies, RB Pipeline has provided site-specific justification and
 measures to minimize impacts on the waterbody (see appendix F). In response to our
 recommendation in the draft EIS to further justify certain ATWS, RB Pipeline has withdrawn its
 request for two ATWS located in ephemeral waterbodies. We have reviewed the currently
 requested deviations from our Procedures, listed in appendix F, and find them to be acceptable.

         Seasonal and flash flooding hazards are a potential concern where the pipeline would
 cross flood hazard areas. Additional discussion regarding flooding and flash floods is provided
 in section 4.1.3.3. Although flooding itself does not generally present a risk to pipeline facilities,
 bank erosion and/or scour could expose the pipeline or cause sections of pipe to become
 unsupported. All pipeline facilities are required to be designed and constructed in accordance
 with DOT’s regulations in 49 CFR 192. These regulations include specifications for installing
 the pipeline at a sufficient depth to avoid possible scour at waterbody crossings.

          In navigable waters, the pipeline would be installed via HDD with a minimum of 40 feet
 of cover. In addition, RB Pipeline would implement measures in its Procedures, including
 installing and maintaining erosion and sediment controls, restoring floodplain contours and
 waterbody banks to their pre-construction conditions, and ensuring successful revegetation to
 minimize potential impacts of flooding.

          Long-term impacts associated with pipeline operations and maintenance would be
 relatively minor. All waterbody banks would be restored to pre-construction contours, and
 disturbed riparian areas would be revegetated with native species of grasses, legumes, and
 woody species. Post-construction maintenance would be limited so that a 25-foot-wide riparian
 strip along each waterbody bank would be allowed to revegetate with native flora to stabilize
 banks, reduce erosion impacts, and provide shade and cover for fisheries resources. Clearing
 within the riparian strip would be limited to a 10-foot-wide area centered on the pipeline to
 facilitate operational surveys.




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         Refueling of vehicles and storage of fuel, oil, or other hazardous materials near surface
 waters could result in accidental spills that could contaminate surface waters. RB Pipeline would
 implement its site-specific SPCC Plan during construction, which would include spill prevention
 measures and cleanup methods to reduce potential impacts should a spill occur. In addition,
 refueling and storage of hazardous materials would be restricted within 100 feet of a wetland or
 waterbody.

         The pipeline facilities must be hydrostatically tested prior to being placed into service to
 ensure structural integrity in accordance with DOT standards set forth in 49 CFR 192. A
 detailed description of the hydrostatic testing process is provided in section 2.5.2.1. Table 4.3.2-
 3 identifies RB Pipeline’s proposed sources of hydrostatic test water and the volume of water
 required for testing. One sensitive (impaired) waterbody, the Arroyo Colorado, is proposed for
 use as a source for hydrostatic test water. The Arroyo Colorado is impaired for recreational and
 aquatic life uses. RB Pipeline would develop a specific hydrostatic test plan for our review and
 approval in the event that brackish water is required for use.

         In addition, where the pipeline would be installed via HDD, RB Pipeline would obtain
 water from the waterbody to be crossed where possible in accordance with water withdrawal
 permits; water for the remaining locations would be transported from permitted locations.
 Withdrawal of water from a waterbody would be conducted using mobile equipment, and any
 clearing required for equipment passage would be limited to the hand-clearing of small-diameter
 vegetation (see section 4.5).

          Surface water may also be required for dust control during construction of the pipeline
 facilities. RB Pipeline estimates that about 45 million gallons of water would be required for
 dust control during construction of the pipeline facilities, based on the proposed construction
 schedule and assuming that watering is conducted every third day. Water would be sourced from
 the same locations identified in table 4.3.2-3 for hydrostatic testing.




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                                             Table 4.3.2-3
                Proposed Sources of Water for Hydrostatic Testing for the Pipeline System
                                                                       Water Fill                                  Approximate
                          Test       Begin       End      Length
     Water Sourcea                                                      Volume               Notesb                 Discharge
                         Section      MP         MP       (miles)
                                                                       (gallons)                                  Location (MP)c
 Header System
  Los Olmos Creek                                                                       Water transferred                0.0
  (MP 19.2,                 HS         0.0        2.4        3.2d       1,168,528       (via truck or pipe)          (Compressor
  SS-T05-001)                                                                          from Test Section 1            Station 1)
 Pipelines 1 and 2
                                                                                       Test Section 1 using
                             1         0.0       19.1       19.1        7,011,166         water from Los                 N/A
                                                                                           Olmos Creek
                                                                                        Water transferred
                                                                                       from Test Section 1
     Los Olmos Creek                                                                                                35.1 (MLV 2;
                             2         19.1      35.1       16.0        5,879,155      and 36,477 gallons
     (MP 19.2,                                                                                                     146,066 gallons)
                                                                                         from Los Olmos
     SS-T05-001)                                                                              Creek
                                                                                        Water transferred                51.0
                             3         35.1      51.0       15.9        5,733,089
                                                                                       from Test Section 2        (219,099 gallons)
                                                                                        Water transferred         58.7 (Compressor
                             4         51.0      58.7        8.7        5,513,990
                                                                                       from Test Section 3            Station 2)
                                                                                        Water transferred         58.7 (Compressor
                             5         58.7      81.5       22.8        6,171,287
     Arroyo Colorado                                                                   from Test Section 6            Station 2)
     (MP 99.8,                                                                         Test Section 6 using
     SS-T09-007)                                                                                                    100.5 (MLV 5,
                             6         81.5     100.5       19.0        7,084,199       water from Arroyo
                                                                                                                   912,912 gallons)
                                                                                         Colorado River
                                                                                       Test Section 7 using
     Resaca De Los                                                                                                  119.5 (MLV 6,
                             7        100.5     119.5       19.0        6,938,133       water from Resaca
     Cuates                                                                                                       1,132,011 gallons)
                                                                                         De Los Cuates
     (MP 118.7,
     SS-T04-009)                                                                         Water transferred          135.5 (Compressor
                             8        119.5     135.5       16.0        5,806,122
                                                                                        from Test Section 7             Station 3)
 a
           Proposed water sources have been identified along the pipeline route. Final water source selection would be determined
           by permit acquisition.
 b
           RB Pipeline plans to transfer water between test sections.
 c
           Where water would be transferred between test sections, some water may be discharged if the volume used at one segment
           exceeds the volume required for testing the subsequent segment. Estimated discharge volumes for these locations are
           provided.
 d
           This length represents the total length of the Header System to be hydrostatically tested, inclusive of one 42-inch-diameter
           pipeline approximately 2.4 miles in length and a second 42-inch-diameter pipeline approximately 0.8 mile long.




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         The withdrawal of large volumes of water from surface water sources could temporarily
 affect the recreational and biological uses of the resource if the diversions constitute a large
 percentage of the source’s total flow or volume. Water withdrawals could also result in
 temporary loss of habitat, change in water temperature and dissolved oxygen levels, and
 entrainment or impingement of fish or other aquatic organisms. Where practicable, as shown in
 table 4.3.2-3, RB Pipeline would minimize surface water withdrawals for hydrostatic testing by
 transferring test water between pipeline segments. RB Pipeline would minimize the potential
 effects of water withdrawals from surface water sources by adhering to the measures in its
 Procedures, including:

        •   maintaining waterbody flows during all withdrawals;

        •   screening intake hoses with 4-millimeter mesh and regulating the rate of withdrawal of
            water to prevent entrainment of aquatic organisms; and

        •   discharging test water via energy dissipating devices and in accordance with
            hydrostatic test discharge permits.

         Additionally, RB Pipeline would acquire the necessary permits and approvals from state
 and federal agencies, which would include requirements for the protection of sensitive surface
 waters. Therefore, we conclude that impacts on surface waters from withdrawal of test, HDD,
 and dust control water would be minimized and not significant. Section 4.6.2 further discusses
 the potential impacts from water withdrawal on aquatic species.

        Aboveground Facilities

          RB Pipeline would construct three compressor stations, eight metering sites, and
 additional appurtenant facilities as part of the proposed Project; impacts from Compressor
 Station 3 are discussed above, as it would be within the boundaries of the LNG Terminal. No
 waterbodies are within the construction or operational areas associated with the aboveground
 facilities and RB Pipeline would install erosion and sediment controls to prevent migration of
 sediment outside of construction workspace; therefore, no direct or indirect impacts on
 waterbodies would be associated with aboveground facilities. RB Pipeline would implement its
 Plan and Procedures, which require the use of temporary and permanent erosion control
 measures, to minimize the potential for sedimentation of nearby waterbodies from ground
 disturbed for construction. All disturbed areas would be routinely monitored in accordance with
 the Project-specific Plan and Procedures until restoration and revegetation are successful.

        Contractor/Pipe Yards

        Three contractor/pipe yards would be used during construction of the pipeline facilities.
 No waterbodies are within the contractor/pipe yards, and RB Pipeline would install erosion and
 sediment controls to prevent migration of sediment outside of the contractor/pipe yards;
 therefore, no direct or indirect impacts on waterbodies from the use of contractor/pipe yards
 would occur.




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        Access Roads

        Existing roads that would be used for temporary access to the pipeline facilities for
 construction would require five waterbody crossings. One waterbody would be crossed by
 permanent access road HS-001, which is associated with the Header System. Waterbodies
 would be crossed by installation of a new culvert, using existing culverts, or installation of
 equipment mats, where appropriate (see appendix G).

         RB Pipeline would minimize potential impacts on waterbodies by installing and
 maintaining erosion and sediment controls per its Plan and Procedures. Temporary access roads
 would not require modification, other than the modifications described for wetland (see section
 4.4.2.2) and waterbody crossings. RB Pipeline would remove any materials installed to support
 access roads in waterbodies during the 18-month period between placing Pipeline 1 into service
 and beginning construction of Pipeline 2. If RB Pipeline determines that maintenance of access
 road materials in waterbodies is necessary during the period between construction of Pipelines 1
 and 2, site-specific justification would be provided to the FERC and COE for review and
 approval. Temporary access roads would be restored to their pre-construction conditions
 following the construction of Pipeline 2 and in accordance with applicable permit conditions.
 Where RB Pipeline has proposed to use access roads that cross major and intermediate
 waterbodies with equipment mats, erosion controls would be installed to minimize impacts on
 the waterbody.

         Construction of the Rio Grande LNG Project would result in minor impacts on water
 quality due to dredging, hydrostatic testing, and installation of the pipelines at waterbody
 crossings. In addition, spills of hazardous materials could affect water quality during
 construction and operations; however, implementation of mitigation measures in RG
 Developers’ SPCC Plans and Plan and Procedures would minimize potential impacts. During
 operations, the Project would have minor impacts on water quality due to maintenance dredging
 and vessel discharges of ballast and cooling water. Permanent impacts on surface water would
 occur where open water would be converted to industrial/commercial land within the LNG
 Terminal site and where dredging would permanently modify the profile of the BSC, and would
 convert existing mudflats to open water; however, impacts would not be significant.

 4.4    WETLANDS

         Wetlands are areas that are inundated or saturated by surface water or groundwater at a
 frequency and duration sufficient to support, and under normal circumstances do support, a
 prevalence of vegetation typically adapted for life in saturated soil conditions, commonly known
 as hydrophytic vegetation (COE 1987). Wetlands can be a source of substantial biodiversity and
 serve a variety of functions that include providing wildlife habitat, recreational opportunities,
 flood control, and naturally improving water quality. In the Rio Grande LNG Project area,
 wetlands are protected under Section 404 of the CWA. Under Section 404, the COE is
 authorized to issue permits for activities that would result in the discharge of dredged or fill
 material, or the dredging of, waters of the United States such as wetlands. Under Section 401 of
 the CWA, states are required to certify that proposed dredging or filling of waters of the United
 States meets state water quality standards. In Texas, the TCEQ and RRC share responsibilities
 for water quality certification. The RRC has jurisdiction over Section 401 as it pertains to


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 installation and operations of the Project facilities; the TCEQ has jurisdiction as it pertains to
 return water for dredged material placement areas, as described in section 4.3.2.2. In addition,
 the LNG Terminal site and portions of the pipeline facilities are within the coastal zone of Texas
 and must receive a Coastal Zone Consistency Determination from the RRC.

 4.4.1 Existing Wetland Resources

         Estuarine and palustrine wetlands occur within the Rio Grande LNG Project area.
 Estuarine systems include tidal habitats with variable salinity; palustrine features include non-
 tidal wetlands dominated by trees, shrubs, and emergent vegetation with less than 0.5 percent
 salinity (Cowardin et al. 1979). Mudflats at the LNG Terminal site do not meet the definitions of
 wetlands since they are unvegetated; however, they are regulated as special aquatic sites under
 Section 404 of the CWA and are therefore addressed in this section. Special aquatic sites are
 those geographic areas possessing special ecological characteristics of productivity, habitat,
 wildlife protection, or other important easily disrupted ecological habitats, including wetlands,
 mud flats, vegetated shallows, and coral reefs as further defined in the CWA. RG LNG also
 delineated a shallow (less than 6 feet deep) open water lagoon located on the LNG Terminal site
 as part of a wetland system; impacts on the lagoon (termed “Aquatic Resource 1”) are discussed
 in section 4.4.2. Wetland delineations were conducted in accordance with COE-approved
 methods, and RG Developers submitted the results of wetland delineations to the COE for
 approval in January 2016 (LNG Terminal site) and November 2016 (pipeline facilities). When
 land access is obtained, RB Pipeline will conduct additional field surveys to delineate wetlands
 along rerouted portions of the proposed pipeline right-of-way. Table 4.4.1-1 describes the
 wetland types in the Project area.

 4.4.1.1        LNG Terminal

         RG LNG identified surface water resources at the LNG Terminal site during field surveys
 completed in March, April, and November 2015; these surveys identified five wetland/special
 aquatic sites. Wetland delineations were performed in accordance with the COE’s Wetlands
 Delineation Manual and the Atlantic and Gulf Coastal Plain regional supplement, and wetland
 boundaries were refined as a result of site visits with the COE (COE 1987, COE 2010a).
 Further, RG LNG conducted surveys of temporary offsite storage/parking areas in June, July,
 and November 2016. Wetlands at the LNG Terminal site are depicted in figure 4.4.1-1, and table
 4.4.1-2 identifies the acreage and classification of each wetland and special aquatic site at the
 LNG Terminal site.




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                                              Table 4.4.1-1
                Wetland and Special Aquatic Site Types in the Rio Grande LNG Project Area
      Cowardin
                                           Wetland Characteristics                            Location in the Project Area
    Classification
  Palustrine Wetlands
                         Freshwater wetlands characterized by erect, rooted, herbaceous
                           plants suited to growing in wet conditions. Dominant species
    Palustrine            include gulf cordgrass (Spartina spartinae), Cyperus spp., and
    emergent (PEM)       Eleocharis spp. In areas where the pipeline crosses saline soils,
                               herbaceous species include sea ox-eye daisy (Borrichia
                                       frutescens), and sea blite (Suaeda spp.).
                         Freshwater wetlands dominated by shrubs and saplings less than
                                                                                              Along the northern extent of the
    Palustrine scrub-      20 feet tall. PSS wetlands in the Project area were dominated
                                                                                              Pipeline System from the Header
    shrub (PSS)            by Puerto Rico sensitive briar (Mimosa asperata) and retama
                                                                                                 System to about MP 125.0
                                                (Parkinsonia aculeate).
                          Freshwater wetlands dominated by trees and shrubs at least 20
                          feet tall with a tolerance to a seasonally high water table. PFO
    Palustrine            wetlands have not been field-delineated in the Project area, but
    forested (PFO)           likely include tree species such as bald cypress (Taxodium
                               distichium), black willow (Salix nigra), and willow oak
                                                  (Quercus phellos).
  Estuarine Wetlands
                          Estuarine wetlands characterized by erect, rooted, herbaceous
                                                                                              Along the southern extent of the
                          plants, including marshes, salt flats, and man-made features.
    Estuarine emergent                                                                       Pipeline System from MP 125.0 to
                            Dominant vegetation includes shoregrass (Monanthachlor
    marsh (EEM)                                                                                 its terminus and at the LNG
                          littoralis), sea ox-eye daisy, sea blite, glassworts (Salicornia
                                                                                                        Terminal site.
                                        spp.), and saltwort (Batis maritima).
                                                                                              Along the southern extent of the
                          Estuarine wetlands dominated by shrubs and saplings less than
    Estuarine scrub-                                                                         Pipeline System from MP 134.8 to
                          20 feet tall. ESS wetlands in the Project area are dominated by
    scrub (ESS)                                                                                 the terminus and at the LNG
                                       black mangrove (Avicennia germinans).
                                                                                                        Terminal site.

                           Tidally influenced shoreline characterized by the lack of large   Mudflats at the LNG Terminal site
    Estuarine
                          stable surfaces for plant and animal attachment with vegetation    and along the southern extent of the
    unconsolidated
                            cover less than 30 percent. Mudflats where the substrate is      Pipeline System beginning near MP
    shore (EUS)
                               predominantly silt and clay occur in the Project area.                       130.8.

  Source: Schafer et al. 2002, Cowardin et al. 1979.


                                             Table 4.4.1-2
               Wetlands and Special Aquatic Sites within the Rio Grande LNG Terminal Site
      Aquatic Resource                    Habitat Type              Cowardin Classification                Size (acres)
                                              Marsh                             EEM                             78.6
  Aquatic Resource 1                         Salt flat                          EEM                             40.6
                                           Mud flat                             EUS                             44.6
  Aquatic Resource 2                     Man-made pond                          EEM                              3.8
                                        Mangrove wetland                        ESS                             33.5
  Aquatic Resource 3                        Salt flat                           EEM                            20.5
                                            Mudflat                             EUS                            27.8
  Aquatic Resource 4                        Salt flat                           EEM                            35.5
  Aquatic Resource 5                     Man-made ditch                         EEM                             1.2
  Total                                                                                                       285.9a
  a
           The numbers in this table have been rounded for presentation purposes. As a result, the totals may not reflect the sum
           of the addends.



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                                         Legend
    LNG Terminal Site    Proposed LNG                  Ditch (EEM)                     Mudflat (EUS
                                                                                                                                           Rio Grande LNG Project
    (Leased Parcel)      Terminal Boundary
                         (Facility Footprint)          High Marsh (EEM)                Salt Flats (EEM)
    Proposed Rio Bravo
    Pipeline             BSC Dredge Areas              Low Marsh (EEM)                 Pond (EEM)                                         Aquatic Resources within the
                                                                                                              0       0.25          0.5
1   Aquatic Resources    Port Isabel Dredge Pile       Mangrove (EES)                  Water                                                  LNG Terminal Site
                                                                                                                      Miles

                                                                                                                                                Figure 4.4.1-1
                                                   AERIAL IMAGERY: NATIONAL AGRICULTURE IMAGERY
                                                                                                                  Scale: 1:27,000
                                                   PROGRAM (NAIP) 2014 - http://datagateway.nrcs.usda.gov/.
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 4.4.1.2        Pipeline Facilities

         RB Pipeline identified wetlands along the Pipeline System during field surveys
 conducted in 2015 and 2016, where survey access was available. Some areas along pipeline
 reroutes have been surveyed since that time, but landowner access for surveys along the entire
 Project has not been granted. When further land access is obtained, RB Pipeline will conduct the
 remaining surveys and for any route modifications. Field surveys were conducted in a 300-foot-
 wide survey corridor centered on the permanent right-of-way for the Pipeline System, a 75-foot-
 wide corridor centered on each access road, and the footprint of aboveground facility sites.
 Wetland delineations were performed in accordance with the COE’s Wetlands Delineation
 Manual and the Atlantic and Gulf Coastal Plain and Great Plains regional supplements (COE
 1987, COE 2010a, COE 2010b).

         Where field survey access was not available, environmental information was obtained
 from aerial imagery, field delineation data from adjacent parcels, and other available Geographic
 Information System--based information including hydrography, hydric soils, and wetland data.
 Surveys conducted through 2016 cover about 56 percent of the pipeline facilities (including the
 pipeline route, access roads, aboveground facilities, and contractor/pipe yards). Surveys for the
 remaining areas would be conducted once access is available.

          Appendix J identifies the wetlands that would be potentially affected by the pipeline
 facilities, including the wetland identification, location, type, crossing width (where applicable),
 and impact acreage. The pipeline facilities would cross freshwater and estuarine wetlands as
 described in table 4.4.1-1.

 4.4.2 Wetland Impacts and Mitigation

         As summarized in table 4.4.2-1, a total of 327.7 acres of wetlands would be within the
 construction footprint of the Rio Grande LNG Terminal and pipeline facilities. Impacts would
 include 9.9 acres of palustrine forested (PFO) wetlands, 23.3 acres of palustrine scrub-shrub
 (PSS) and estuarine scrub-shrub (ESS) wetlands, and 240.4 acres of palustrine emergent (PEM)
 and estuarine emergent marsh (EEM) wetlands. In addition, the Project would impact 54.0 acres
 of mudflats (estuarine unconsolidated shore [EUS]) during construction. A total of 289.7 acres
 would be within the operational footprint of the Project, of which 182.4 would be permanently
 converted to industrial/commercial land or open water at the LNG Terminal site (including 19.8
 acres of ESS wetland, 114.9 acres of EEM wetlands, and 47.7 acres of mudflats) and 107.3
 would be maintained as PEM/PSS within the pipeline right-of-way in accordance with the
 Project-specific Procedures (including 7.8 acres of PFO wetlands, 3.5 acres of PSS wetlands, and
 96.0 acres of emergent [PEM and EEM] wetlands and mudflats [EUS]).




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                                                                                                    Table 4.4.2-1
                                                                                  Wetlands Affected by the Rio Grande LNG Projecta
                                                                    PEM Wetland          PSS Wetland         PFO Wetland          EEM Wetland          ESS Wetland            EUS               Total
                                       Facilities
                                                                    Conb    Opb          Con     Op          Con      Op          Con     Op           Con     Op          Con    Op          Con     Op
                         LNG TERMINAL
                           LNG Terminalc,d                              0.0        0.0      0.0       0.0        0.0       0.0       114.9     114.9       19.8      19.8      47.7     47.7     182.4  182.4
                           Offsite storage / parking                    0.0        0.0      0.0       0.0        0.0       0.0        0.0        0.0        0.0       0.0       0.0      0.0      0.0    0.0
                           Port Isabel dredge pilee                      --         --       --        --         --        --         --         --         --        --        --       --       --     --
                           Bulk water loading area                      0.0        0.0      0.0       0.0        0.0       0.0        0.0        0.0        0.0       0.0       0.0      0.0      0.0    0.0
                                          LNG Terminal Total            0.0        0.0      0.0       0.0        0.0       0.0       114.9     114.9       19.8      19.8      47.7     47.7     182.4  182.4
                         PIPELINE Facilities
                         Header System and Pipeline 1
                         Header System                                  0.0        0.0      0.0       0.0        0.0       0.0        0.0        0.0        0.0       0.0       0.0      0.0      0.0    0.0
                         Pipeline 1
                           Pipeline ROW                                41.8       38.0      3.5       3.5        9.9       7.8       70.7       53.9        0.0       0.0       5.6      4.1     131.5  107.3
                           Access roadsf
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                                                                        0.2        0.0      0.0       0.0       <0.1       0.0        7.9        0.0        0.0       0.0       0.2      0.0      8.3    0.0
                           Contractor / pipe yards                     0.0         0.0      0.0       0.0       0.0        0.0        0.0        0.0       0.0        0.0       0.0      0.0      0.0     0.0
                           ATWS                                         0.0        0.0      0.0       0.0        0.0       0.0        4.9        0.0        0.0       0.0       0.6      0.0      5.5    0.0
                           Aboveground facilities                       0.0        0.0      0.0       0.0        0.0       0.0        0.0        0.0        0.0       0.0       0.0      0.0      0.0    0.0
                                                        Subtotal       42.0       38.0      3.5       3.5        9.9       7.8       83.5       53.9        0.0       0.0       6.3      4.1     145.3  107.3
                         Pipeline 2g
                           Pipeline ROW                                55.3       49.3      0.0       0.0        0.0       0.0       70.7       53.9        0.0       0.0       5.6      4.1     131.5  107.3
                           Access roadsf                                0.2        0.0      0.0       0.0       <0.1       0.0        7.9        0.0        0.0       0.0       0.2      0.0      8.3    0.0
                           Contractor / pipe yards                      0.0        0.0      0.0       0.0        0.0       0.0        0.0        0.0        0.0       0.0       0.0      0.0      0.0    0.0
                           ATWS                                         0.0        0.0      0.0       0.0        0.0       0.0        4.9        0.0        0.0       0.0       0.6      0.0      5.5    0.0
                           Aboveground facilities                       0.0        0.0      0.0       0.0        0.0       0.0        0.0        0.0        0.0       0.0       0.0      0.0      0.0    0.0
                                                        Subtotal       55.5       49.3      0.0       0.0        0.0       0.0       83.5       53.9        0.0       0.0       6.3      4.1     145.3  107.3
                                      Pipeline Facilities Totalh       42.0       38.0      3.5       3.5        9.9       7.8       83.5       53.9        0.0       0.0       6.3      4.1     145.3  107.3
                             Rio Grande LNG Project Totalh             42.0       38.0      3.5       3.5        9.9       7.8       198.4     168.8       19.8      19.8      54.0     51.8     327.7  289.7
                         a
                                   The numbers in this table have been rounded for presentation purposes. As a result, the totals may not reflect the sum of the addends.
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                         b
                                   Con = Construction; Op = Operation.
                         c
                                   Acreages for the LNG Terminal site include those acreages associated with RG LNG’s Compressor Station 3 and the marine facilities.
                         d
                                   Placement of these facilities are a deviation to the FERC Procedures (see section 4.4.2.1); section 3 includes alternatives discussions for these Project components
                         e
                                   Wetland delineation surveys are not planned at the Port Isabel dredge pile due to the deposition of and use of that site for dredged material management.
                         f
                                   Modification of access roads in wetlands would not be required, other than the placement of temporary equipment mats to prevent soil impacts.
                         g
                                   Forested and scrub-shrub wetlands restored following construction of Pipeline 1 would revegetate to emergent vegetation conditions prior to construction of Pipeline 2,
                                   rather than the pre-construction vegetation cover. Therefore, construction of Pipeline 2 would have a greater impact on PEM and EEM wetlands than Pipeline 1.
                         h
                                   This total includes the footprint of the entire Pipeline System, rather than the sum of its individual components, as the affected acreage for Pipeline 2 overlaps with the
                                   affected acreage proposed for Pipeline 1.
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 4.4.2.1            LNG Terminal

         Public scoping comments expressed concern regarding wetland impacts and loss,
 including impacts on mangroves, due to construction and operation of the LNG Terminal. Public
 comments also express concern over loss of wetlands that provide important habitat for aquatic
 resources, which are addressed in section 4.6.2. Construction of the LNG Terminal would result
 in the permanent loss of 182.4 acres of wetlands and special aquatic sites, including 114.9 acres
 of EEM, 19.8 acres of ESS (mangroves), and 47.7 acres of EUS/mudflats (see table 4.4.2-1).

         Impacts for the LNG Terminal site include those acreages associated with RG LNG’s
 Compressor Station 3, which would be constructed at the western end of the LNG Terminal site.
 A total of 168.1 acres of wetlands would be converted to upland industrial land and open land
 within the site. This includes modification of the wetlands along the BSC and the perimeter of
 the turning basin for shoreline stabilization. Shoreline stabilization is further discussed in section
 4.3.2.2. The remaining 14.3 acres would be converted to open water to support marine facilities
 including the marine berths, turning basin, and firewater canal. Impacts related to dredging and
 modification of open water at the LNG Terminal site are addressed in section 4.3.2.2. All direct
 impacts on wetlands at the LNG Terminal site would occur during initial construction, since site
 clearing and preparation would be conducted at that time.

         To avoid and minimize impacts on wetlands, the LNG Terminal facilities were sited in a
 manner that would avoid impacts on wetlands at the eastern and western edges of the terminal
 site. However, construction of the LNG Terminal within wetlands would be an alternative
 measure to the FERC Procedures and is discussed in section 4.4.2.3. As described in section 3.3,
 alternative LNG Terminal sites were analyzed to determine whether wetland impacts could be
 further avoided and/or minimized while meeting the Project’s stated purpose and safety
 requirements; no suitable alternative sites were identified and no alternative configurations
 resulted in significantly fewer impacts on wetlands and met the Project’s stated purpose. RG
 LNG would be required to obtain the applicable COE permits for permanent loss of wetland
 habitat and implement any mitigation measures required by the COE for that loss, as discussed in
 section 4.4.2.4. RG Developers submitted an updated Section 10/404 application to the COE for
 the LNG Terminal on March 30, 2018.24

         About 1.7 acres of wetlands were initially identified at the Port of Brownsville
 Temporary Storage/Parking area during field surveys; however, RG LNG has since modified its
 proposed workspace boundary to avoid all wetlands at that location. No wetlands are present in
 the Port Isabel Temporary Storage Area or the bulk water loading area.

         RG LNG originally proposed to use a temporary haul road during construction for dump
 trucks to access the Port Isabel dredge pile, which would have affected 9.4 acres of wetlands and
 mud flats outside the boundary of the LNG Terminal site. We reviewed RG LNG’s proposal and
 determined that construction of the temporary haul road through wetlands was not adequately
 justified. We therefore recommended in the draft EIS that RG LNG conduct a feasibility


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           RG Developers’ Section 10/404 application to the COE for the LNG Terminal is available on FERC’s eLibrary
           website, located at http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455
           and accession number 20180419-5210.



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 assessment for transporting fill material from the Port Isabel dredge pile (if necessary) to the
 LNG Terminal site via the existing system of roads or via barges. As a result of our
 recommendation in the draft EIS, RG LNG is no longer pursuing use of the temporary haul road,
 thus the associated wetland impacts would be avoided (see section 3.4).

         About 233.8 acres of land, including 103.5 acres of wetlands and mudflats, are present
 within the parcel leased by RG Developers, but would be outside of the LNG Terminal facility
 boundary. Of that area, about 10.5 acres would be dredged for a planned expansion of the Bahia
 Grande Channel for wetland restoration that is not related to the Rio Grande LNG Project, as
 discussed in section 4.3.2.2. The remaining areas would not be directly affected by Project
 construction, but would be retained as natural buffer.

         Wetlands adjacent to the LNG Terminal site could be impacted by sedimentation from
 construction activities or could become contaminated due to spills and leaks of hazardous
 materials during construction and operation. RG LNG would minimize construction-related
 impacts on the adjacent wetlands by implementing its Procedures. Construction of the levee
 during Stage 1 of construction would further protect adjacent wetlands from sedimentation and
 potential contamination. RG LNG would implement measures contained in its SPCC Plan
 during construction, which include spill prevention measures, mitigation measures, and cleanup
 methods to reduce potential impacts should a spill occur. The SPCC Plan also addresses storage
 of hazardous materials. Per our recommendation in section 4.2.2.1, a final construction SPCC
 Plan as well as copies of RG LNG’s operational SPCC Plan would be filed with the Secretary
 prior to construction.

          During operation, vessel traffic along the BSC, within the turning basin, and at the
 marine berths could result in increased shoreline erosion, potentially impacting wetlands and
 other aquatic sites along the shore of the marine facilities. As described in section 4.3.2.2, RG
 LNG would modify the slope of the shoreline and stabilize the shoreline of marine facilities to
 minimize impacts. In addition to providing scour protection, the rip-rap would prevent erosion
 of the adjacent unprotected shoreline by wave activity from maneuvering vessels. Because the
 BSC is an established shipping corridor and RG LNG would stabilize the shoreline of its marine
 facilities, we have determined the increase in vessel traffic within the BSC would not result in a
 significant increase in shoreline erosion or significant impact on wetlands.

 4.4.2.2         Pipeline Facilities

           Pipeline System and Additional Temporary Workspace

           Header System and Pipeline 1

          The Header System would not cross any wetlands. Construction workspace for Pipeline
 1 would impact a total of 137.0 acres of wetlands, including 9.9 acres of PFO wetlands, 3.5 acres
 of PSS wetlands, and 117.4 acres of emergent (PEM and EEM) wetlands. In addition,
 construction of Pipeline 1 would affect 6.2 acres of mudflats (EUS). Following construction of
 Pipeline 1, wetlands would be restored to pre-construction conditions and would be allowed to
 revegetate naturally or using seed mixes in accordance with NRCS recommendations (see
 section 4.2.2.2). Of the 107.3 acres of wetlands within the permanent footprint of the pipeline
 facilities, 7.8 acres would be PFO and 3.5 acres would be PSS wetland.

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        Pipeline 2

         Construction of Pipeline 2 would commence approximately 18 months after the
 installation and restoration of Pipeline 1. Wetlands affected by construction of Pipeline 1 would
 be expected to revegetate to emergent cover in the period between construction of Pipeline 1 and
 Pipeline 2; however, PFO and PSS wetlands would likely be in early successional stages and
 would not return to a community of mature woody vegetation during that time. Construction
 workspace for Pipeline 2 would be identical to construction workspace for Pipeline 1, as
 described above, and would impact a total of 137.0 acres of wetlands, including 130.9 acres of
 emergent (PEM and EEM) wetlands and 6.2 acres of mudflats (EUS). Following construction of
 Pipeline 2, wetlands would be allowed to revegetate, either naturally or using seed mixes in
 accordance with NRCS recommendations; however, wetland vegetation would be maintained as
 discussed below and specified in the Project-specific Procedures.

        General Impacts of the Pipeline System

         Construction would be conducted in accordance with the Project-specific Procedures and
 as described in section 2.5.2.1. RB Pipeline has proposed a 75-foot-wide construction right-of-
 way for the majority of wetland crossings less than 1,000 feet in length. The 75 feet used for
 construction would be 100 percent collocated with the 75-foot-wide permanent right-of-way.
 Figure 2.2.2-2 depicts the typical 75-foot-wide right-of-way configuration in wetlands. For
 wetlands with crossing lengths greater than 1,000 feet (including the PFO wetlands near the
 origin of the pipeline), RB Pipeline has proposed a construction right-of-way width of 100 feet.
 Appendix F lists all areas where RB Pipeline proposes a right-of-way width greater than 75 feet
 through wetlands; we have reviewed these requested deviations to the FERC Procedures and
 have found them acceptable.

         The reduction in construction right-of-way widths to minimize impacts on wetlands has
 resulted in irregularly shaped workspace at some locations along the construction right-of-way,
 including locations where wetlands are surrounded by, but excluded from, temporary workspace.
 RB Pipeline would protect wetlands located outside the construction workspace in accordance
 with its Procedures (e.g., by use of silt fences and/or straw bales, and other measures), thereby
 minimizing impacts. At one location (wetland WW-T04-015 near MP 36.5), temporary
 workspace is proposed adjacent to wetlands, but does not appear to be accessible via access
 roads or the construction right-of-way. We do not find the isolated temporary workspace at this
 location to be acceptable, thus we recommend that:

        •   Prior to construction of the Rio Bravo Pipeline through wetland WW-T04-015,
            RB Pipeline should file with the Secretary, for review and written approval by the
            Director of OEP, revised construction right-of-way configurations that either
            exclude inaccessible temporary workspace at the wetland crossing, or reconfigure
            the workspace so that it complies with section 6.1.3 of RG Developers’ Procedures.




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          RB Pipeline would determine the method of pipeline construction within each wetland by
 soil stability and saturation at the time of construction. Where soils are stable and not saturated
 at the time of crossing, the pipeline would be installed using methods similar to those in upland
 areas. Additional protection methods in these wetlands include limiting the use of equipment
 operating in wetlands and segregating topsoil. RB Pipeline would use equipment mats in
 wetlands where rutting could occur.

          Where wetland soils are saturated or not stable enough to support construction equipment
 at the time of crossing, RB Pipeline would string and weld the pipe in an upland staging area,
 except where the pipeline segment would be too large to safely weld and move into place from
 an upland location (see appendix J). Vegetation and stump removal would be limited to the
 trench line, and topsoil would not be segregated if soils are saturated or inundated. In addition,
 equipment would be limited to one pass through these wetlands to avoid rutting.

          The impacts of RB Pipeline’s construction on wetland vegetation could include
 temporary changes in hydrology and water quality during construction. Ground-disturbing
 activities, including clearing and grading of temporary work areas and excavation activities
 could temporarily affect the rate and direction of water movement within wetlands. If contours
 and elevations are not properly restored, these effects could adversely impact wetland hydrology
 and revegetation by creating soil conditions that may not support wetland communities and
 hydrophytic vegetation at pre-construction levels. Temporary removal of wetland vegetation
 during construction could alter the capacity of wetlands to function as habitat, or as flood and
 erosion control buffers. Mixing of topsoil with subsoil could alter nutrient availability and soil
 chemistry, thereby inhibiting recruitment of native wetland vegetation. Heavy equipment
 operating during construction could result in soil compaction or rutting that would alter natural
 hydrologic and soil conditions, potentially inhibiting germination of native seeds and the ability
 of plants to establish healthy root systems. Heavy equipment could also introduce non-native
 and invasive species to the disturbed soil (see section 4.5.3). Additionally, stormwater
 discharges and discharges from dewatering structures or hydrostatic testing could transport
 sediments and pollutants into wetlands, affecting water quality.

        The majority of the impacts on wetlands from the pipeline facilities would be temporary.
 RB Pipeline would restore all wetlands to pre-Project contours and hydrology. Herbaceous
 wetland vegetation would regenerate quickly, typically within 1 to 3 years. Impacts on PFO and
 PSS wetlands within the construction workspaces (but outside of the permanent right-of-way)
 would be long-term, because woody vegetation would take several years to regenerate.

         We received comments on the draft EIS that RG LNG’s wetland restoration plans are not
 adequate to return the Project area to pre-construction conditions. In accordance with its
 Procedures, RB Pipeline would monitor the success of wetland revegetation annually until
 wetland revegetation is successful. Wetland revegetation would be considered successful when
 the vegetation cover is at least 80 percent of the vegetation in adjacent undisturbed wetland areas
 or as compared to documented, pre-Project conditions. In accordance with its Procedures, if
 revegetation is not successful 3 years from the conclusion of construction, RB Pipeline would
 develop and implement (in consultation with a professional wetland ecologist) a plan to actively
 revegetate applicable wetlands with native wetland plant species. Further, RB Pipeline would
 consult with the COE to develop a Project-specific wetland restoration plan, which would


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 include measures for revegetation; these consultations are ongoing. These measures would
 ensure adequate wetland restoration following construction of the Pipeline System.

         RB Pipeline would avoid impacts on 11 wetlands by use of HDD, which would eliminate
 the need for trenching and operation of heavy construction equipment within the wetland. Along
 the northern extent of the Project route, wetlands avoided by HDD construction are associated
 with major, perennial waterbody crossings; along the southern extent where the Pipeline System
 would cross large estuarine wetlands, HDD construction would avoid impacts on mangrove (ESS
 wetland) habitat. RB Pipeline would limit activities between the HDD entry and exit points to
 the hand-clearing of a 2-foot-wide path to place guide wires for the drill alignment.

         Where surface water is proposed for use to support HDD construction, mobile equipment
 would be used to withdraw water from the waterbody; however, any clearing required for
 equipment passage would be limited to the hand-clearing of small-diameter vegetation (see
 section 2.5.2). If an inadvertent release of HDD drilling fluid occurred within a wetland, the
 resulting sedimentation could affect water quality. RB Pipeline would implement its HDD
 Contingency Plan,25 which includes methods for detecting and responding to inadvertent returns.

        During operation and in compliance with its Procedures, RB Pipeline would limit routine
 vegetation maintenance to the mowing of a 10-foot-wide corridor centered on the pipeline in
 wetlands. Additionally, RB Pipeline would selectively clear trees within 15 feet of the centerline
 in PFO and PSS wetlands that could damage the pipeline during operation. As the remainder of
 the permanent right-of-way would not be maintained, wetlands would be allowed to return to
 pre-Project vegetation conditions outside of the 10-foot-wide (for emergent wetlands) or 30-foot-
 wide (for PFO or PSS) corridors, as applicable. RB Pipeline would minimize wetland impacts
 by implementing its Procedures. Further, due to the longer disturbance of wetlands within the
 same corridor due to proposed sequential installation of Pipelines 1 and 2, and the potential for
 conversion of wetland cover types within the permanent right-of-way, compensatory mitigation
 could be required as part of the CWA Section 404 permit for the Pipeline System. RB Pipeline
 would be required to implement the conditions of its CWA Section 404 and 401 permits to
 mitigate for wetland impacts. RG Developers submitted the Section 10/404 application to the
 COE for the pipeline facilities on February 14, 2017,26 and submitted a revised Section 404/10
 application to the COE on May 2, 2018. Specific measures RB Pipeline would implement
 include:

        •   limiting equipment within wetlands to that necessary for the installation of each
            pipeline;

        •   restricting non-essential equipment to upland access roads or, where access roads are
            unavailable, to one pass through wetlands that cannot be stabilized to avoid rutting;




 25
        RG Developers’ HDD Contingency Plan is available on FERC’s eLibrary website, located at http://www.ferc.gov/docs-
        filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession number 20160829-5283.
 26
        RG Developers’ Section 10/404 application to the COE for the pipeline facilities is available on FERC’s eLibrary
        website, located at http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455
        and accession number 20170221-5224.

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        •   locating ATWS at least 50 feet from wetland boundaries, except where site-specific
            conditions warrant otherwise, and as approved by the FERC (see section 4.4.2.3);

        • cutting vegetation just above ground level, leaving existing root systems in place, and
            limiting the pulling of stumps and grading activities to directly over the trenchline
            except where the Chief Inspector and EI determine that these activities are required for
            safety reasons;

        •   using low ground weight equipment or operating equipment on timber mats in saturated
            soils to prevent rutting;

        •   segregating the top 12 inches of topsoil from the trenchline, except in areas where
            standing water is present or soils are saturated; and

        •   installing trench plugs as necessary and restoring pre-construction contours to maintain
            the original wetland hydrology.

        Aboveground Facilities

         The pipeline facilities would include three compressor stations, two booster stations,
 eight metering sites, and additional appurtenant facilities; impacts from Compressor Station 3 are
 discussed above, as this station would be within the boundaries of the Rio Grande LNG Terminal
 site. No wetlands would be within the construction or operational areas associated with the
 aboveground facilities for the Pipeline System. While the initial configuration of Compressor
 Station 1 included impacts on PFO wetlands, RB Pipeline modified the facility footprint to avoid
 these impacts. RB Pipeline would implement its Plan and Procedures, which require the use of
 temporary and permanent erosion control measures, to minimize the potential for sedimentation
 of nearby wetlands from ground disturbed for construction. All disturbed areas would be
 routinely monitored in accordance with RB Pipeline’s Plan and Procedures until restoration and
 revegetation are successful.

        Contractor/Pipe Yards

         Three contractor/pipe yards would be used during construction of the pipeline facilities.
 No wetlands are located within the contractor/pipe yards, and RB Pipeline would install erosion
 and sediment controls to prevent migration of sediment outside of the contractor/pipe yards.
 Therefore, no direct or indirect impacts on wetlands from the use of contractor/pipe yards are
 anticipated.

        Access Roads

        RB Pipeline proposes to use 10 access roads within wetlands during construction, all of
 which are existing roads. The existing roads proposed for use comprise about 8.3 acres of
 wetlands crossed. RB Pipeline would not use fill in wetlands crossed by access roads, and would
 place mats over saturated soils in crossed wetlands to reduce impacts from rutting and
 compaction. Because modification of existing access roads in wetlands would not be required,
 PFO wetland vegetation would not be cleared where crossed by an existing access road. RB
 Pipeline would remove any materials installed to support access roads in wetlands during the 18-

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 month period between placing Pipeline 1 into service and beginning construction of Pipeline 2.
 If RB Pipeline determines that maintenance of access road materials in wetlands is necessary
 during the period between construction of Pipelines 1 and 2, site-specific justification would be
 provided to the FERC for review and approval, and RB Pipeline would be required to meet
 applicable CWA Section 404 permit requirements. No permanent access roads would be located
 in wetlands. RB Pipeline would minimize potential impacts on wetlands by installing and
 maintaining erosion and sediment controls per its Plan and Procedures.

 4.4.2.3          Alternative Measures to the FERC Procedures

           LNG Terminal

         Section VI.A.6 of the FERC Procedures specifies that aboveground facilities should
 generally be located outside of wetlands. Although RG LNG proposes to locate the LNG
 Terminal site (including Compressor Station 3) in wetlands, we have determined that the
 proposed location is the most environmentally preferable and practical alternative that meets the
 Project’s stated purposed (see section 3.3).

           Pipeline Facilities

         The FERC Procedures specify that the construction right-of-way width in wetlands
 should be limited to 75 feet. RB Pipeline has requested a 75-foot-wide construction right-of-way
 in most wetlands, and a construction right-of-way width of 100 feet in wetlands greater than
 1,000 feet long, as listed in appendix F. Generally, the justifications provided by RB Pipeline
 indicate that certain soil types affect slope stability; therefore, adequate space is needed to store
 spoil piles and separate subsoil from topsoil. Most 1,000-foot-long wetland crossings are along
 the southern extent of the Pipeline System beginning near MP 125.0 where the Pipeline System
 would cross large estuarine wetlands and mudflats. RB Pipeline initially proposed construction
 right-of-way widths of 100 and 125 feet for each pipeline in wetlands; however, in response to
 our comments on the application, RB Pipeline reduced the proposed typical right-of-way widths
 in wetlands to 75 and 100 feet as described above. Further, RB Pipeline would avoid impacts on
 11 wetlands using HDD construction. Site-specific justification for each location where a 100-
 foot-wide construction right-of-way is proposed is included in appendix F.

         The FERC Procedures specify that extra workspace should not be within 50 feet of
 wetlands except where an alternative measure has been requested by RB Pipeline and approved
 by the FERC (Section VI.B.1). Areas where RB Pipeline has requested ATWS within wetlands
 (such as for spoil storage and at conventional bore and HDD construction locations) are
 identified in appendix F. Since the issuance of the draft EIS, RB Pipeline has removed an
 ATWS located in a PFO wetland that we determined was not adequately justified; that ATWS
 has also been removed from appendix F. We have reviewed the locations in appendix F and find
 them to be acceptable.




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        The FERC Procedures state that the only access roads that can be used in wetlands are
 those existing roads that require no modifications or improvements and that would not impact the
 wetland. RB Pipeline has requested the use of 10 existing, temporary access roads within
 wetlands, as identified in appendix F. RB Pipeline does not propose to use fill in wetlands, and
 would use matting where soils are saturated to reduce impacts due to rutting and compaction.
 We find this to be consistent with the FERC Procedures.

 4.4.2.4             Compensatory Mitigation

         The COE has a goal of “no net loss” of wetlands in the United States. This means that
 unavoidable wetland impacts must be offset by the creation, restoration, enhancement, or
 preservation of at least an equal amount of wetlands, which is referred to as compensatory
 mitigation. In order to offset the wetland impacts that would occur as a result of the Project, RG
 LNG developed a Conceptual Mitigation Plan27 as part of its initial permit application to the
 COE, and provided a detailed Mitigation Alternatives Analysis 28 in October 2017 that describes
 the proposed mitigation. The detailed Mitigation Alternatives Analysis was provided to the COE
 on March 30, 2018, with the updated Section 10/404 permit application. Consultation with the
 COE and other applicable agencies (including the EPA and FWS) to finalize the plan is ongoing.
 RG LNG is proposing to use permittee-responsible mitigation via offsite wetland preservation at
 a site about 1 mile south of the LNG Terminal on the south side of the BSC (the Loma
 Ecological Preserve). Although RG LNG’s proposed mitigation is discussed below, multiple
 agencies have expressed concern with this proposal and are coordinating with RG LNG to
 develop appropriate mitigation.

         Public scoping comments expressed concern regarding the availability of wetland
 mitigation for the scope of Project-related wetland impacts. RG LNG proposes to preserve
 wetlands within the Loma Ecological Preserve, a 4,600-acre area owned by the BND and
 managed by the Lower Rio Grande Valley NWR until 2023, when its lease expires. Wetland
 habitats and special aquatic sites within the Loma Ecological Preserve include ESS wetlands,
 mudflats, and EEM wetlands. RG LNG is proposing to acquire and preserve a portion of the
 Loma Ecological Preserve in perpetuity to offset impacts on wetland and open water habitat; the
 preservation area would be permanently transferred to a land manager such as the FWS. RG
 LNG anticipates determination of the total acres and location within the Loma Ecological
 Preserve that would be designated for preservation in coordination with the COE. Per RG
 LNG’s Conceptual Mitigation Plan, which is pending revision, long-term management and
 maintenance of the preservation area within the Loma Ecological Preserve would be the
 responsibility of the land managing entity.

        We received multiple comments on the draft EIS expressing concern that the proposed
 preservation of wetlands within the Loma Ecological Preserve would not be sufficient to offset
 wetland losses at the LNG Terminal site since new wetlands would not be created and the


 27
           RG LNG’s Conceptual Mitigation Plan, which would be updated pending coordination with applicable regulatory
           agencies, is available on the FERC’s eLibrary website, located at http://www.ferc.gov/docs-filing/elibrary.asp, by
           searching Docket Number CP16-454 or CP16-455 and accession number 20161006-5114.
 28
            RG LNG’s Mitigation Alternative Analysis is available on FERC’s eLibrary website, located at
           http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession
           number 20171117-5156.

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 wetlands at the Loma Ecological Preserve are protected while under lease to the FWS. The COE
 has not approved RG LNG’s Conceptual Mitigation Plan and is working with RG Developers, in
 conjunction with the FWS, EPA, and TPWD to revise the proposed mitigation measures as
 appropriate. Construction of the LNG Terminal would not commence prior to finalization of the
 wetland mitigation plans and issuance of the COE’s CWA Section 404/Section 10 permit.

        As discussed above, construction of the Project would result in the permanent loss of
 182.4 acres of wetlands and mudflats within the LNG Terminal site. In addition, 7.8 acres of
 PFO wetlands would be within the permanent right-of-way for the Pipeline System, of which a
 30-foot-wide area centered on each pipeline would be maintained as PEM/PSS wetlands in
 accordance with the Project-specific Procedures. Compensatory mitigation for these wetland
 impacts could be required as part of the CWA Section 404 permit for the Pipeline System. With
 adherence to measures contained in the Project-specific Procedures, COE permits, and our
 recommendation, impacts on wetlands would be reduced, but permanent, with the majority of
 adverse impacts occurring at the LNG Terminal site. We anticipate that, if the COE issues a
 Section 404/Section 10 permit for the Project, it would be conditioned upon Project-related
 adverse impacts on waters of the United States being effectively offset by wetland mitigation,
 such that impacts would be reduced to less than significant levels.

 4.5    VEGETATION

 4.5.1 Existing Vegetation Resources

          The Rio Grande LNG Project is within the Western Gulf Coastal Plain Level III
 ecoregion, which spans the entire coast of Texas. With little topographical relief, the ecoregion
 is generally favorable to grassland and cropland (EPA 2007). The TPWD has further defined
 vegetation communities based on the plant species, soils, and land characteristics present; 13
 vegetation communities were identified within the Project footprint (see table 4.5-1). Each of
 these vegetation communities can generally be classified as one of five broad cover types,
 including agricultural land, upland herbaceous land, shrub/forest upland, shrub/forested
 wetlands, and emergent wetlands. Table 4.5-1 identifies the TPWD-classified vegetation
 communities that would be crossed by the Project, including representative plant species and
 general cover type. The Project would also cross barren/dredge spoil areas and
 industrial/commercial land; however, as these land types are generally unvegetated or provide
 little habitat value, they are discussed in section 4.8 (Land Use).




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                                            Table 4.5-1
               Vegetation Communities Crossed by the Proposed Rio Grande LNG Project
                                                                                                    Present at   Present
    Vegetation                                                                                         LNG        along
                                 Habitat Description and Typical Vegetation
    Community                                                                                        Terminal    Pipeline
                                                                                                       Site      System
  Upland Herbaceous (Open) Land
                           Grassland occurs in slightly saline and non-saline soils at low
                       elevations around the base of lomas. Dominant herbaceous species
                               include gulf cordgrass (Spartina spartinae), shoregrass
   South Texas
                      (Monanthochloe littoralis), and saltwort (Batis maritima). Evergreen              x           x
   Loma Grassland
                     shrubs such as mesquite (Prosopis glandulosa), Spanish dagger (Yucca
                           gloriosa), pricklypear (Opuntia spp.), and huisachillo (Acacia
                         schaffneri) comprise a smaller component of these communities.
                          Habitat includes a variety of heavily grazed grassland including
                          managed exotic pastures. Dominant herbaceous species include
                       buffelgrass (Cenchrus ciliaris), King Ranch bluestem (Bothriochloa
   South Texas
                             ischaemum), Kleberg bluestem (Dichanthium annulatum),
   Disturbance                                                                                          x           x
                       pappusgrasses (Pappophorum spp.), and guineagrass (Megathyrsus
   Grassland
                     maximus). Small shrubs and trees such as mesquite, huisache (Acacia
                         farnesiana), lotebush (Zizyphus obtusifolia), and granjeno (Celtis
                           pallida) are also common components of these communities.
                        Grassland with scattered mesquite. Dominant herbaceous species
   South Texas
                           include King Ranch bluestem, buffelgrass, Kleberg bluestem,
   Sandy Mesquite
                               Bermuda grass (Cynodon dactylon), and little bluestem                    --          x
   Savanna
                         (Schizachyrium scoparium). Additional common shrubs include
   Grassland
                        pricklypear, huisache, colima (Zanthoxylum fagara), and granjeno.
                       Community is dominated by gulf cordgrass, which forms mosaics with
    Gulf Coast Salty    marsh hay cordgrass (Spartina patens) and saltgrass. Other common
                                                                                                        x           x
    Prairie            species include shoregrass, switchgrass (Panicum virgatum), baccharis
                                        (Baccharis halimifolia), and mesquite.
                          Community consists of sparse, low shrubland dominated by salt-
                           tolerant species such as sea ox-eye daisy (Borrichia frutescens),
    Coastal Sea Ox-    saltwort, saltgrass (Distichlis spicata), glasswort (Salicornia spp.), and
                                                                                                        x           x
    eye Daisy Flats          cordgrasses (Spartina spp.). Some areas of higher elevation,
                          especially lomas, are mapped as this type and may have scattered
                                      mesquite and tornillo (Prosopis pubescens).
  Upland Shrub / Forest Land
                        Low, dense shrubland occurs on slightly saline and non-saline soils
    South Texas           atop lomas and support a dense shrub and tree community. The
    Loma Evergreen       vegetation community is dominated by species such as mesquite,                 x           x
    Shrubland            pricklypear, Spanish dagger, Texas ebony (Ebenopsis ebano), and
                                huisachillo, as well as grasses such as gulf cordgrass.
                       Occurs over salty soils and is dominated by a mesquite overstory with
                       whitebrush (Aloysia gratissima), blackbrush (Coleogyne ramosissima),
    South Texas           granjeno (Celtis pallida), lotebush (Zizyphus obtusifolia), brasil
    Salty Thorn        (Condalia hookeri), and pricklypear. Common herbaceous understory                x           --
    Scrub                    includes buffelgrass (Cenchrus ciliaris), Kleberg bluestem
                           (Dichanthium annulatum), and whorled dropseed (Sporobolus
                                                     pyramidatus).
    South Texas
    Sandy Mesquite     Community is characterized by mesquite woodlands with pricklypear,
                                                                                                        --          x
    Woodland and          granjeno, huisache, and lotebush also commonly occurring.
    Shrubland
    South Texas           Community consists of dense mesquite shrubland with a diverse
    Sandy Mesquite       assemblage of shrubs and trees such as granjeno, Texas persimmon
                                                                                                        --          x
    Dense               (Diospyros texana), sugar hackberry (Celtis laevigata), Texas ebony
    Shrubland                            (Ebenopsis ebano), and huisache.


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                                         Table 4.5-1 (continued)
                 Vegetation Communities Crossed by the Proposed Rio Grande LNG Project
                                                                                                   Present at   Present
    Vegetation                                                                                        LNG        along
                                  Habitat Description and Typical Vegetation
    Community                                                                                       Terminal    Pipeline
                                                                                                      Site      System
                          Community is comprised of dense, low stands of live oak (Quercus
    Coastal and
                         virginiana). The interior of these habitats is generally low in species
    Sandsheet Deep-
                          diversity; however, American beautyberry (Callicarpa americana),
    Sand Live Oak                                                                                      --          x
                        granjeno, red bay (Persea borbonia), yaupon (Ilex vomitoria), and wax
    Forest and
                         myrtle (Myrica cerifera) may be present in the understory or around
    Woodland
                                                         edges.
    South Texas
    Sandy Mesquite       Community is dominated by mesquite and huisache with granjeno,
                                                                                                       --          x
    / Evergreen         colima, and lotebush common in southern occurrences of this habitat.
    Woodland
                         Wetland habitats dominated by herbaceous species, including EEM
  Emergent
                        and PEM wetlands. Species identified during field surveys are listed           x           x
  Wetlands
                                                     in section 4.4.
                          Wetland habitats dominated by woody vegetation, including ESS
  Shrub-Forested
                         (including mangroves), PSS, and PFO wetlands. Species identified              x           x
  Wetlands
                                     during field surveys are listed in section 4.4.
  Agricultural          Habitat includes all cropland where fields are fallow for some portion
                                                                                                       --          x
  Land                          of the year; fields may rotate in and out of cultivation.
  Source: Ludeke et al. 2010.



 4.5.1.1            LNG Terminal

         RG LNG has leased a 984.2-acre property from the BND for placement of the Rio
 Grande LNG Terminal. The property is generally low-lying (elevations of less than 10 feet),
 with higher-elevation features (up to 25 feet high) including lomas (coastal clay dunes) and
 dredge spoil piles (see figure 4.5.1-1). The site itself is dominated by a lagoon, tidal flats, and
 marshes on the east; a mud/salt flat complex and mangroves on the west; and a terraced area that
 was used as historic dredge spoil placement in the center and along the banks of the BSC. The
 property is bordered by SH-48 to the north, the BSC to the south, and the Bahia Grande Channel
 to the west. The property immediately to the east of the LNG Terminal site is similar in
 vegetation cover, but is currently proposed for industrial development (see section 4.13).
 Vegetated land within the construction and operational footprint of the proposed LNG Terminal
 includes upland herbaceous (34.0 percent), upland shrub/forest (33.6 percent), emergent
 wetlands (28.9 percent), and shrub/forested wetlands (3.5 percent) (see table 4.5.1-1 and figures
 4.4.1-1 and 4.5.1-1). Additional impacts on non-vegetated lands (i.e., barren,
 industrial/commercial land, and open water) are discussed in section 4.8.

         The wetlands across the LNG Terminal site are estuarine emergent and scrub-shrub
 (mangrove) wetlands. Estuarine wetlands provide important ecological functions including
 water purification, shoreline stabilization, and flood protection. They also support essential
 habitat for various life stages of many fish and wildlife species. No palustrine (freshwater)
 wetlands occur within the LNG Terminal site. Typical species of these wetland communities are
 described in section 4.4.1.



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                                                                                                                                                                                            USCA Case #23-1174
                                                                                                                                                       Unnamed Loma




                                                                                                        Loma del
                                                                                                         Rincon                                                 Loma del




                                                                                                                                                                                            Document #2038760
                                                                                                        Chiquito                                                Mesquite




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                                                                                                                                                                                            Page 232 of 732
                                                              Legend
         Proposed LNG Terminal Boundary
         (Facility Footprint)
                                                   BSC Dredge Areas                 South Texas Salty Thorn Scrub
                                                                                    Upland Shrub/Forest
                                                                                                                                                                Rio Grande LNG Project
                                                   Port Isabel Dredge Pile
         LNG Terminal Site (Leased Parcel)                                          South Texas Loma Grassland
         Proposed Rio Bravo
                                                   Coastal Sea Ox-eye Daisy Flats
                                                   Upland Herbaceous
                                                                                    Upland Herbaceous
                                                                                                                                                                 Vegetation Communities
         Pipeline                                                                   South Texas Loma Evergreen Shrubland
                                                   Dredge Spoil                     Upland Shrub/Forest                    0       0.25          0.5            within the Rio Grande LNG
                                                   Gulf Coast Salty Prairie
                                                   Upland Herbaceous
                                                                                    Wetland
                                                                                                                                   Miles
                                                                                                                                                                        Terminal Site
                                                                                    Open Water
                                                                                    Loma
                                                                                                                                                                      Figure 4.5.1-1
AERIAL IMAGERY: NATIONAL AGRICULTURE IMAGERY                                                                                   Scale: 1:27,000
PROGRAM (NAIP) 2014 - http://datagateway.nrcs.usda.gov/.
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                                                                                             Table 4.5.1-1
                                                    Vegetation Types Affected by Construction and Operation of the Rio Grande LNG Project (in acres)

                                                                     Upland       Upland Shrub /     Emergent         Shrub / Forested    Agricultural
                                                                                                                                                                  Total
                                                                   Herbaceous         Forest         Wetlands            Wetlands            Land
                                      Facilities
                                                                  Con     Op      Con       Op      Con       Op      Con         Op     Con       Op      Con            Op

                         LNG TERMINAL
                          LNG Terminala                           191.5   191.5   189.1    189.1   162.5      162.5   19.8       19.8     0.0      0.0    562.9       562.9
                          MOF and berthing / turning basin
                                                                   0.0     0.0     0.0      0.0     0.0        0.0     0.0        0.0     0.0      0.0     0.0            0.0
                          dredge area
                          Port of Brownsville temporary
                                                                  18.9     0.0     0.0      0.0     0.0        0.0     0.0        0.0     0.0      0.0     18.9           0.0
                          storage area
                          Port Isabel temporary storage area       0.0     0.0     0.0      0.0     0.0        0.0     0.0        0.0     0.0      0.0     0.0            0.0
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                          Port Isabel dredge pile                  0.0     0.0     0.0      0.0     0.0        0.0     0.0        0.0     0.0      0.0     0.0            0.0
                          Bulk water loading area                 <0.1     0.0     0.0      0.0     0.0        0.0     0.0        0.0     0.0      0.0     0.0            0.0
                                         LNG Terminal Total       210.4   191.5   189.1    189.1   162.5      162.5   19.8       19.8     0.0      0.0    581.9       562.9
                         PIPELINE FACILITIES
                         Pipeline System and ATWS
                         Header System and Pipeline 1
                          Header System ROW                        8.8     4.9    21.9      11.9    0.0        0.0     0.0        0.0     0.0      0.0     30.7           16.8
                          Header System ATWS                       0.8     0.0     1.2      0.0     0.0        0.0     0.0        0.0     0.0      0.0     2.0            0.0
                          Pipeline 1 ROW                          814.6   492.2   442.2    275.6   118.2      95.5    13.4       11.3    514.5    321.2   1,902.9     1,195.8
                          Pipeline 1 ATWS                          4.4     0.0    15.9      0.0     5.5        0.0     0.0        0.0    19.4      0.0     45.2           0.0
                                                       Subtotal   828.4   497.1   481.2    287.5   123.7      95.5    13.4       11.3    533.9    321.2   1,980.6     1,212.7
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                                                                                      Table 4.5.1-1 (continued)
                                                   Vegetation Types Affected by Construction and Operation of the Rio Grande LNG Project (in acres)
                                                                    Upland         Upland Shrub /     Emergent         Shrub / Forested    Agricultural
                                                                                                                                                                   Total
                                      Facilities                  Herbaceous           Forest         Wetlands            Wetlands            Land

                                                                  Con      Op      Con       Op     Con        Op      Con         Op     Con       Op      Con            Op
                         Pipeline 2
                           Pipeline 2 ROW                        1,256.8   767.8    0.0      0.0    131.6     106.8     0.0        0.0    514.5    321.2   1,902.9    1,195.8
                           Pipeline 2 ATWS                        20.2      0.0     0.0      0.0     5.6       0.0      0.0        0.0    19.4      0.0     45.2           0.0
                                                      Subtotal   1,276.9   767.7    0.0      0.0    137.2     106.8     0.0        0.0    533.9    321.2   1,947.9    1,195.8
                         Access Roads
                           Header System Access Roads             0.7       0.6     0.2      0.2     0.0       0.0      0.0        0.0     0.0      0.0      0.9           0.8
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                           Pipelines 1 and 2 Access Roads         73.3      4.8     1.8      0.6     8.3       0.0     <0.1        0.0     0.5      0.0     84.0           5.4
                                                      Subtotal    74.0      5.4     2.0      0.8     8.3       0.0     <0.1        0.0     0.5      0.0     84.9           6.2
                         Contractor / Pipe Yards
                           Contractor / Pipe Yard 1               0.0       0.0     0.0      0.0     0.0       0.0      0.0        0.0    135.6     0.0    135.6           0.0
                           Contractor / Pipe Yard 2               16.4      0.0     9.1      0.0     0.0       0.0      0.0        0.0     0.0      0.0     25.5           0.0
                           Contractor / Pipe Yard 3              136.1      0.0     0.0      0.0     0.0       0.0      0.0        0.0     0.0      0.0    136.1           0.0
                                                      Subtotal   152.5      0.0     9.1      0.0     0.0       0.0      0.0        0.0    135.6     0.0    297.2           0.0
                         Aboveground Facilities
                         Header System
                           Metering Site HS-1                     0.2       0.2     1.9      1.9     0.0       0.0      0.0        0.0     0.0      0.0      2.1           2.1
                           Metering Site HS-2                     0.2       0.2     1.2      1.2     0.0       0.0      0.0        0.0     0.0      0.0      1.4           1.4
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                           Metering Site HS-3                     0.9       0.9     1.1      1.1     0.0       0.0      0.0        0.0     0.0      0.0      2.0           2.0
                           Metering Site HS-4                     <0.1     <0.1     1.3      1.3     0.0       0.0      0.0        0.0     0.0      0.0      1.3           1.3
                                                      Subtotal    1.3       1.3     5.6      5.6     0.0       0.0      0.0        0.0     0.0      0.0      6.9           6.9
                                          b
                         Pipelines 1 and 2
                           Compressor Station 1                   0.0       0.0    37.2      37.2    0.0       0.0      0.0        0.0     0.0      0.0     37.2           37.2
                           Compressor Station 2                   28.6     28.6     0.0      0.0     0.0       0.0      0.0        0.0     0.0      0.0     28.6           28.6
                           Interconnect Booster Station 1         2.5       2.5     7.1      7.1     0.0       0.0      0.0        0.0     0.0      0.0      9.7           9.7
                           Interconnect Booster Station 2         9.7       9.7     0.0      0.0     0.0       0.0      0.0        0.0     0.0      0.0      9.7           9.7
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                                                                                        Table 4.5.1-1 (continued)
                                                     Vegetation Types Affected by Construction and Operation of the Rio Grande LNG Project (in acres)
                                                                        Upland              Upland Shrub /            Emergent             Shrub / Forested            Agricultural
                                                                                                                                                                                                    Total
                                        Facilities                    Herbaceous                Forest                Wetlands                Wetlands                    Land

                                                                      Con         Op         Con         Op         Con         Op          Con           Op          Con         Op         Con            Op
                             MLVs                                     0.1         0.1         0.3         0.3        0.0        0.0          0.0          0.0          0.4        0.4         0.8           0.8
                                                        Subtotal      41.0       41.0        44.6        44.6        0.0        0.0          0.0          0.0          0.4        0.4        86.0           86.0
                              Aboveground Facilities Subtotal         42.3       42.3        50.2        50.2        0.0        0.0          0.0          0.0          0.4        0.4        92.9           92.9
                               Header System and Pipeline 1
                                                                     1,097.1     544.8       542.5      338.5       132.0       95.5        13.5          11.3        670.4      321.6     2,455.5     1,311.7
                                                       Totalc
                                           Pipeline 2 Totald         1,599.2     858.7        0.0         0.0       145.5      106.8         0.0          0.0         670.4      321.6     2,415.2     1,287.1
                                                               e
                                             Pipelines 1 and 2       1,085.7     537.9       513.6      320.8       132.0       95.5        13.5          11.3        670.4      321.6     2,415.2     1,287.1
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                                                                 f
                                        Pipeline System Total        1,097.1     544.8       542.5      338.5       132.0       95.5        13.5          11.3        670.4      321.6     2,455.5     1,311.7
                                                                 f
                              Rio Grande LNG Project Total           1,307.6     736.3       731.5      527.5       294.5      258.0        33.3          31.1        670.4      321.6     3,037.2     1,874.5
                         a
                                    Acreages for the LNG Terminal include those acreages associated with Compressor Station 3 and the marine facilities.
                         b
                                    These facilities would be disturbed during the construction of Pipeline 1. Although use and modification of these facilities would occur during the construction of
                                    Pipeline 2, no additional operational footprint would be required.
                         c
                                    All impacts associated with construction of the Header System and Pipeline 1, including right-of-way, access roads, ATWS, contractor/pipe yards, and aboveground
                                    facilities.
                         d
                                    All impacts associated with construction of Pipeline 2, including right-of-way, ATWS, contractor/pipe yards, and aboveground facilities, which were previously disturbed
                                    during construction of Pipeline 1 (acreages associated with the Header System and its components are excluded). Shrub/forest land restored following construction of
                                    Pipeline 1 would revegetate to open land and emergent wetland conditions prior to construction of Pipeline 2, rather than the pre-construction vegetation cover. Therefore,
                                    construction of Pipeline 2 would have a greater impact on open land and emergent wetlands than Pipeline 1.
                         e
                                    This total includes the footprint of Pipelines 1 and 2, rather than the sum of its individual components. Since Pipeline 2 would be constructed in the same footprint as
                                    Pipeline 1, the entire construction footprint for Pipeline 2 overlaps with the affected acreage proposed for Pipeline 1.
                         r
                                    This total includes the footprint of the entire Pipeline System, rather than the sum of its individual components. Since Pipeline 2 would be constructed in the same
                                    footprint as Pipeline 1, the entire construction footprint for Pipeline 2 overlaps with the affected acreage proposed for Pipeline 1
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         Two NWRs, including the Laguna Atascosa NWR and the Lower Rio Grande Valley
 NWR, are within 0.25 mile of the LNG Terminal site. The Laguna Atascosa NWR is an 89,845-
 acre coastal marsh refuge that provides habitat for wintering waterfowl and other migratory birds
 (FWS 2013a, 2015a). The Lower Rio Grande Valley NWR is a 97,908-acre coastal marsh
 refuge that was established to protect local biodiversity (FWS 2010b, 2015b). Neither NWR
 would be directly affected by construction, although the pipelines would cross in close proximity
 to both (see section 4.6.1).

         Offsite facilities proposed for use during construction and/or operation of the Rio Grande
 LNG Terminal include a storage/parking area in Brownsville, a storage area in Port Isabel, a bulk
 water loading area, and the Port Isabel dredge pile (if necessary). Although the Port Isabel
 storage area and dredge pile are largely disturbed and unvegetated, the Brownsville storage area
 and bulk water loading area include upland herbaceous vegetation.

 4.5.1.2        Pipeline Facilities

         The Pipeline System, including the 2.4-mile-long Header System and 135.5 miles of dual,
 42-inch-diameter pipelines, would cross through a variety of vegetation communities, as listed in
 table 4.5.1-1. The northern portion of the pipeline route through Jim Wells, Kleberg, and
 Kenedy Counties is characterized by large tracts of land used for ranch and cattle operations;
 King Ranch, an 825,000-acre ranch, makes up the majority of the land crossed. As the pipeline
 route moves south into Willacy and Cameron Counties, the land is predominately grassland and
 cropland. Based on RB Pipeline’s field investigations, the primary crops currently in production
 in the Project area include cotton, sorghum, and corn. The southernmost portion of the pipeline
 route crosses extensive mosaics of wetland habitat as it approaches the LNG Terminal site.
 Although land classified as forested would be crossed by the Pipeline System, these areas are
 generally small pockets of trees, areas of where trees are not densely present, and/or areas where
 the pipeline is collocated with U.S. Highway 77.

         As discussed in section 2.2.2.1, portions of the pipeline right-of-way would be collocated
 with existing pipelines, power lines, roads, railroads, and canals to minimize fragmentation of
 vegetation communities. Vegetation impacted during construction of the pipeline facilities
 would include upland herbaceous land (44.7 percent), agricultural land (27.3 percent), upland
 shrub/forest land (22.1 percent), emergent wetlands (5.4 percent), and shrub/forested wetlands
 (0.5 percent). Additional impacts on non-vegetated land (i.e., barren, industrial/commercial land,
 and open water) are discussed in section 4.8.

 4.5.2 Vegetation Impacts and Mitigation

        As summarized in table 4.5.1-1, a total of 3,037.2 acres of vegetation would be within the
 construction footprint of the LNG Terminal site and pipeline facilities. Following construction,
 approximately 1,162.7 acres would be restored to pre-construction conditions. A total of 1,874.5
 acres would be within the operational footprint of the Project, of which 662.0 acres would be
 permanently converted to developed land and 1,212.5 acres would generally be maintained as
 herbaceous or scrub-shrub land.




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         Construction impacts on vegetation resources are classified based on the duration and
 significance of impacts. Temporary impacts generally occur during construction, with
 vegetation returning to pre-construction conditions almost immediately after construction,
 whereas short-term impacts are those which require up to 3 years to return to pre-construction
 conditions once construction has been completed. Long-term impacts require more than 3 years
 to revegetate, but conditions would return to pre-construction state during the life of the Project.
 Permanent impacts are those that modify vegetation resources to the extent that they would not
 return to pre-construction conditions during the life of the Project.

 4.5.2.1        LNG Terminal

         A total of 750.4 acres of land would be cleared during construction at the LNG
 Terminal site, including 562.9 acres of vegetated land that would be permanently converted to
 industrial use associated with operation of the facility, although the levee and small areas within
 the LNG Terminal fenceline would be revegetated with ornamental grasses and shrubs. This
 permanent conversion would result in the loss of 191.5 acres of upland herbaceous land, 189.1
 acres of upland shrub/forest land, 162.5 acres of emergent wetlands, and 19.8 acres of
 shrub/forested wetlands.

         About 233.8 acres of land, including 103.5 acres of wetland habitat, occurs outside the
 boundary of the proposed facilities but within the larger parcel leased by RG LNG. Of the 233.8
 acres, about 10.5 acres of wetlands would be dredged for a planned expansion of the Bahia
 Grande Channel that is not related to the Rio Grande LNG Project (see section 4.3.2.2). Of the
 remaining 223.3 acres, about 46.5 acres would be vegetated (36.5 acres of upland herbaceous
 and 10.0 acres of upland shrub/forest land) and the remainder would be open water or barren
 land (see section 4.8). These areas would not be directly affected by Project construction.

          The 20.8-acre storage area proposed in Brownsville is predominately upland herbaceous
 land (18.9 acres), with small amounts of unvegetated land. The bulk water storage area would
 impact less than 0.1 acre of upland herbaceous land. No vegetated habitat is present within the
 Port Isabel storage area or dredge pile. Following construction, each of the approved offsite
 facilities would be restored to pre-construction conditions, unless requested otherwise by the
 landowner and in accordance with federal and state regulations.

         Construction of the marine facilities for the LNG Terminal would require dredging and/or
 excavation of areas within and immediately adjacent to the BSC. Vegetated land excavated for
 the marine facilities is included in the impacts discussion above. No additional upland, wetland,
 or aquatic vegetation would be impacted by dredging at the LNG Terminal site or at the existing
 dredged material placement areas that are being considered for use. Impacts from dredging are
 further discussed in sections 2.2.1 and 4.3.

         Vegetation adjacent to the LNG Terminal site could be impacted by sedimentation from
 construction activities or could become contaminated due to spills and leaks of hazardous
 materials during construction and operation. RG LNG would minimize construction-related
 impacts on the adjacent vegetated land by implementing its Plan and Procedures. Construction
 of the levee during Stage 1 of construction would further protect adjacent habitats from
 sedimentation and potential contamination. As discussed in section 4.3.2.2, RG LNG would



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 implement its SPCC Plan during construction, which would include spill prevention measures,
 mitigation measures, and cleanup methods to reduce potential impacts should a spill occur. The
 SPCC Plan would also address storage and transportation of hazardous materials.

         RG LNG would implement its Plan, Procedures, and SPCC Plan so that impacts on
 vegetation adjacent to the LNG Terminal site boundaries would be avoided or adequately
 minimized. Impacts on vegetation within the footprint of the Rio Grande LNG Terminal site
 would be permanent, resulting in a locally significant impact on vegetation cover at that location.
 However, given the extent of habitat adjacent to the proposed location, including protected land
 to the north and south of the LNG Terminal site, we have determined that impacts on upland
 vegetation, though permanent, would be minor.

        As discussed in section 4.4, the conversion of 191.7 acres of wetlands (19.8 acres of
 shrub/forested wetlands and 162.5 acres of emergent wetlands) within the footprint of the LNG
 Terminal would be considered a moderate impact; however, if the COE issues a Section 404
 permit for the Project, it would be conditional upon effective wetland mitigation, such that
 impacts on wetlands would be reduced to less than significant levels.

 4.5.2.2          Pipeline Facilities

           Pipeline System and Additional Temporary Workspace

           Header System and Pipeline 1

         RB Pipeline would construct the Header System within a 100- to 125-foot-wide
 construction right-of-way and Pipeline 1 within a 125-foot-wide construction right-of-way.
 Construction of these pipelines, including ATWS, would affect 1,980.6 acres of vegetation,
 including 828.4 acres of upland herbaceous land, 533.9 acres of agricultural land, 481.2 acres of
 upland shrub/forest land, 123.7 acres of emergent wetlands, and 13.4 acres of shrub/forested
 wetlands. Following construction, 497.1 acres of upland herbaceous land, 321.2 acres of
 agricultural land, 287.5 acres of upland shrub/forest land, 95.5 acres of emergent wetlands, and
 11.3 acres of shrub/forested wetlands within the permanent easement would be restored to pre-
 construction conditions, but would be subject to routine maintenance. Forested land within
 maintained portions of the permanent right-of-way would be permanently converted to
 herbaceous or early successional-stage scrub-shrub land. Specific mitigation for impacts on
 wetlands is discussed in section 4.4.

           Pipeline 2

         Pipeline 2 would be installed within the same 125-foot-wide construction right-of-way
 affected by Pipeline 1. As such, all land disturbed by the construction of Pipeline 2 would have
 been previously disturbed during the construction of Pipeline 1. Similarly, land associated with
 ATWS, access roads, contractor/pipe yards, and aboveground facilities would have been
 previously disturbed. Following construction, land affected by Pipeline 2 would be restored to
 pre-construction conditions.




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        General Impacts of the Pipeline System

          The primary impacts on vegetation from construction of the pipelines would be the
 cutting, clearing, and/or removal of existing vegetation within the construction workspace to
 facilitate pipeline installation and allow for safe operation of equipment. The duration and
 magnitude of impacts would depend on the type and amount of vegetation affected, the rate at
 which vegetation regenerates after construction, and the frequency of vegetation maintenance
 conducted on the permanent easement during pipeline operation. In addition, revegetation would
 depend on factors such as the local climate, soil types, and land use.

         Impacts on agricultural land would be temporary to short-term, as these areas are
 disturbed annually to produce crops and would typically return to their previous condition
 shortly following construction, cleanup, and restoration. RB Pipeline would maintain topsoil
 segregation throughout all construction activities in agricultural land in order to mitigate impacts
 on subsequent crop production and maintain a minimum cover depth of 36 inches. Upland
 herbaceous land and emergent wetlands would typically revegetate within 1 to 3 years,
 depending on a number of factors.

         Cleared shrub/forest lands (upland or wetland) would likely require 3 to 5 years to regain
 their woody composition. Where trees are present but not in the permanently maintained right-
 of-way, impacts would be long-term, as reestablishment of trees may require 10 to 30 years or
 more, depending on the species. Trees would not be allowed to reestablish within the permanent
 right-of-way, representing a permanent impact.

         Clearing would not be conducted over the path of an HDD, with the exception of a 2-
 foot-wide path that would be hand-cleared for the HDD guide wire. RB Pipeline proposes to use
 crossed streams as the source of water for HDD operations at some locations (see section 2.5.2-
 1). Withdrawal of water to support HDD construction would be conducted using mobile
 equipment in accordance with applicable waterbody withdrawal permits. Clearing at these
 locations would be restricted to the hand-clearing of small-diameter shrub and herbaceous
 vegetation.

         Impacts associated with disturbances to vegetation could include increased soil
 compaction and erosion, increased potential for the introduction and establishment of non-native
 and invasive species (see section 4.5.3), and a local reduction in available wildlife habitat (see
 section 4.6.1). To minimize impacts on vegetation, RB Pipeline has collocated 66.0 percent of
 the Pipeline System with existing disturbance. In addition, RB Pipeline would implement its
 Plan and Procedures, which require the use of temporary and permanent erosion control
 measures, topsoil segregation in select areas, and testing and mitigation for soil compaction.
 Following the construction of each pipeline, RB Pipeline would seed all of the previously
 vegetated areas disturbed by construction in accordance with its Plan and Procedures, which
 requires disturbed areas to be reseeded with seed mixes developed in consultation with the local
 soil conservation agency and/or the landowner. RB Pipeline is consulting with the local offices
 of the NRCS to determine the most appropriate seed mixes for use in south Texas, but has
 currently proposed the use of predominantly native grasses, interspersed with two introduced
 species (Sorghum almum and Wilman lovegrass [Eragrostis superba]), which are fast-growing




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 species that can act as erosion control. As discussed in section 4.6.1.4, native grasses can also
 provide habitat for pollinator species.

          Disturbed areas would be routinely monitored until restoration and revegetation were
 successful in accordance with the Project-specific Plan and Procedures. During operation, RB
 Pipeline would mow up to a 75-foot-wide permanent right-of-way no more than once every 3
 years; however, a 10-foot-wide corridor centered on each pipeline may be mowed more
 frequently to facilitate routine patrols and emergency access. Within wetlands, RB Pipeline
 would permanently maintain only a 10-foot-wide corridor and selectively remove trees within 15
 feet of the pipeline. These maintenance activities would permanently convert shrub/forested
 wetlands to an emergent or scrub-shrub state.

        Aboveground Facilities

          The Pipeline System would require three compressor stations, eight metering sites, and
 additional appurtenant facilities; impacts from Compressor Station 3 are discussed above, as it
 would be within the boundaries of the LNG Terminal site. Construction of the aboveground
 facilities would affect a total of 92.9 acres of vegetation, including 50.2 acres of upland
 shrub/forest land, 42.3 acres of upland herbaceous land, and 0.4 acre of agricultural land. MLVs
 would impact a total of 0.8 acre, including 0.3 acre of upland shrub/forest land; however, these
 facilities would be located within the permanent right-of-way for the Pipeline System.
 Following construction, land within construction workspaces but outside of the aboveground
 facility footprints would be allowed to revert to pre-construction conditions in accordance with
 RG Developers’ Plan and Procedures, NRCS seeding recommendations, other agency
 requirements and permit conditions, and landowner requests. Specific mitigation for impacts on
 wetlands is discussed in section 4.4. Each aboveground facility would be fenced to ensure safety
 and security of the site. As discussed in section 4.8, the fenced area of the compressor and
 interconnect booster station sites would be maintained while the area outside of the fencelines
 would not.

         The compressor stations, booster stations, metering sites, and appurtenant facilities
 constructed for Pipeline 1 would also be used for Pipeline 2. Although some modifications to
 these facilities would be required to accommodate a second pipeline, all work would be
 conducted within areas disturbed during the original construction of those facilities and no
 additional vegetation would be disturbed.

        Contractor/Pipe Yards

        RB Pipeline has proposed to use three contractor/pipe yards during construction the
 Pipeline System (see appendix B), resulting in impacts on 152.5 acres of upland herbaceous land,
 135.6 acres of agricultural land, and 9.1 acres of upland shrub/forest land. The contractor/pipe
 yards would be used for construction of the entire Pipeline System and would be restored after




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 Pipeline 2 construction were completed, unless otherwise requested by the landowner.
 Therefore, use of the yards would be a temporary, minor impact on vegetation.

        Access Roads

         RB Pipeline has proposed the use of 64 access roads, most of which are existing roads
 that would not require improvements; however, 2 existing roads would be expanded, and 5
 access roads would be newly constructed. Use of these access roads would result in impacts on
 74.4 acres of upland herbaceous land, 8.3 acres of emergent wetlands, 2.0 acres of upland
 shrub/forest land, 0.5 acre of agricultural land, and less than 0.1 acre of shrub/forested wetlands.
 Construction impacts on vegetation would be comparable to those described for the proposed
 pipelines, including the potential for soil compaction and erosion, and establishment of invasive
 species. During construction of Pipeline 2, RB Pipeline would use only those access roads that
 were previously disturbed or developed during the construction of Pipeline 1; therefore, there
 would be no new ground disturbance associated with access roads for Pipeline 2. Of the 64
 access roads proposed for use during construction, 12 would be retained for use during operation.
 These permanent roads would result in the conversion of 5.4 acres of upland herbaceous land,
 0.8 acres of upland shrub/forest land.

        With the implementation of the mitigation measures described above, we conclude that
 construction and operation of the Pipeline System and aboveground facilities would have a
 permanent, but minor impact on vegetation communities.

 4.5.3 Exotic or Invasive Plant Communities and Noxious Weeds

         Exotic plant communities, invasive species, and noxious weeds can out-compete and
 displace native plant species, thereby negatively altering the appearance, composition, and
 habitat value of affected areas. In accordance with the Plant Protection Act of 2000 (7 USC
 7701), 19 plants have been federally designated as noxious weeds that could occur in Texas
 (NRCS 2016). A total of 26 noxious or invasive weeds are state listed in Texas as having
 serious potential to cause economic or ecological harm to the state (4 TAC Part 19.300[a]).

          RG Developers conducted surveys of the LNG Terminal site and accessible portions of
 the Pipeline System between July and November 2015, and additional accessible areas in the
 summer of 2016, with the intent of identifying individuals or infestations of species listed at 4
 TAC Part 19.300(a). No state listed noxious or invasive weeds were identified during surveys of
 the LNG Terminal site and, as areas within the LNG Terminal fenceline would be permanently
 converted to industrial use with minimal vegetated areas, noxious or invasive plants would be
 unlikely to establish. Upon obtaining land access, RB Pipeline will conduct additional surveys to
 account for rerouted portions of the proposed pipelines. Similarly, no noxious or invasive
 species were identified within the surveyed workspaces for the pipeline facilities or offsite
 facilities for the LNG Terminal. RB Pipeline will complete surveys as access is obtained. Given
 that RB Pipeline does not propose to begin construction of the pipelines until Year 3, the
 presence of noxious weeds would be re-assessed during pre-construction clearance surveys to
 ensure that noxious weeds had not become established.




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         RB Pipeline’s removal of existing vegetation and disturbance of soils during construction
 of the pipeline facilities could create conditions conducive to the establishment of invasive
 weeds, particularly where new corridors are established. To minimize the potential spread of
 invasive species, RB Pipeline has developed a Noxious and Invasive Plant Management Plan 29 to
 minimize the potential for noxious and invasive weeds to become established within construction
 workspaces. RB Pipeline’s Noxious and Invasive Plant Management Plan includes the following
 measures:
        •   all vehicles, equipment, and materials would be inspected and cleaned of soil and
            vegetation before entering construction workspaces;

        •   all vehicles or equipment working in areas of identified infestations, if applicable,
            would be cleaned following completion of work in the infested area;

        •   all imported fill material and straw bales used for erosion control would be certified
            weed free;

        •   removal of identified weeds would be by herbicide, mechanical, or manual means, as
            appropriate depending on the location of the infestation (e.g., in wetlands); and

        •   restoration of disturbed areas would be in accordance with written recommendations
            for seed mixes, rates, and dates obtained from landowners and appropriate agencies.

         RB Pipeline would further minimize the potential spread of noxious and invasive weeds
 through implementation of its Plan, which requires that post-construction surveys be conducted
 until revegetation is deemed successful. Revegetation in non-agricultural areas would be
 deemed successful when visual surveys indicate that the density and cover of non-nuisance
 vegetation are similar to that in adjacent, undisturbed land. Based on lack of noxious and
 invasive weed infestations identified during field surveys of accessible properties,
 implementation of RB Pipeline’s Noxious and Invasive Plant Management Plan and Project-
 specific Plan, and RB Pipeline’s commitment to complete surveys of inaccessible parcels prior to
 construction, we conclude that the potential spread of noxious or invasive weeds would be
 effectively minimized or mitigated.

 4.5.4 Vegetation Communities of Special Concern

         Vegetation communities of special concern may include ecologically important natural
 communities or other rare or imperiled plants sensitive to disturbance or in need of special
 protection. Federally or state listed plants with the potential to occur in the vicinity of the Project
 are discussed in section 4.7. Two vegetation communities of special concern have been
 identified within 1 mile of the Project, including Texas ebony-snake-eyes shrubland series and
 seacoast bluestem-gulfdune Paspalum series. Four additional vegetation communities were
 identified by the FWS as being of concern, including areas of oak wilt, lomas, thorn scrub


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        RB Pipeline’s Noxious and Invasive Plant Management Plan is available on FERC’s eLibrary website, located at
        http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession
        number 20160505-5179.



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 habitat, and Pine Tree Conservation land; no active oak wilt has been identified in Project
 counties (Texas A&M University 2017).

          Texas ebony-snake-eyes shrubland series is an imperiled community that is vulnerable to
 extirpation in Texas, due mainly to the conversion of land to agricultural and developed uses.
 The series consists of evergreen shrubland dominated by tall thorny shrubs over clayey soils.
 Individual species include Texas ebony (Ebanopsis ebano), snake-eyes (Phaulothamnus
 spinescens), mesquite (Prosopis glandulosa), granjeno (Celtis pallida), coyotillo (Karwinskia
 humboldtiana), and other thorny shrub species (NatureServe 2016). Two identified locations for
 this series occur within 1 mile of the proposed LNG Terminal site; however, they are within the
 Lower Rio Grande Valley NWR, south of the BSC, and would not be affected by proposed
 Project (TXNDD 2017).

         The seacoast bluestem-gulfdune Paspalum series is considered vulnerable and includes
 seacoast bluestem (Andropogon littoralis), gulfdune paspalum (Paspalum monostachyum), as
 well as tanglehead (Heteropogon contortus) and brownseed paspalum (Paspalum plicatulum).
 This community has been recorded within 1 mile east of the proposed Pipeline System from MPs
 26.2 to 29.0 (TXNDD 2017).

         In its comments on the draft EIS, the TPWD expressed concern for rare plants, in general,
 that may be present within Project workspaces, and recommended that topsoil segregation be
 conducted over the entire pipeline right-of-way. According to the TPWD, this topsoil
 segregation would ensure that good soil and native seed bank, potentially including rare species,
 remains intact and viable. Although RB Pipeline has already proposed to segregate topsoil (ditch
 plus spoil side method) in cultivated or rotated croplands, managed pastures, and other areas at
 the landowner’s or land management agency’s request, as well as over the ditch in non-saturated
 wetlands, it may not be practical to segregate topsoil for the entire Pipeline System. Therefore,
 we recommend that:

        •   Prior to construction of the Rio Bravo Pipeline, RB Pipeline should consult with
            the TPWD to determine specific locations along the pipeline right-of-way that may
            warrant topsoil segregation based on the probable presence of rare plant species.
            Copies of consultation with the TPWD, along with any additional areas
            warranting topsoil segregation, should be filed with the Secretary, for review and
            written approval by the Director of OEP.

         During Project planning, the FWS also indicated concern for the lomas within the
 boundaries of the proposed LNG Terminal site. Although lomas are not protected habitats, the
 FWS is concerned based on this community’s habitat value to the federally endangered ocelot
 and northern aplomado falcon. Three lomas have been identified within the LNG Terminal site
 (see figure 4.5.1-1). Two (an unnamed loma and Loma del Mesquite) are located outside of the
 proposed footprint of the LNG Terminal; they would not be impacted by construction or
 operation of the Project. The third, a 63.9-acre loma (Loma del Rincon Chiquito) composed
 mainly of south Texas loma grassland and loma evergreen shrubland, would be converted to
 industrial land during construction. In addition, Loma de las Yeguas would be crossed by the
 Pipeline System near MP 132.5, resulting in direct impacts on the habitat; we assessed
 alternative routing and crossing methods for this loma in section 3.5.1.2. As ocelots and



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 northern aplomado falcons are federally listed species, they are discussed in section 4.7;
 however, use of the lomas at the LNG Terminal site by ocelots has not been specifically studied
 or documented. Northern aplomado falcons may nest and hunt from yuccas on lomas; however,
 regularly conducted area surveys have not indicated the presence of nesting falcons at the Rio
 Grande LNG site. As no special vegetation communities have been noted as occurring on these
 lomas, and, since all but one would be restored after construction, the loss of this habitat would
 be considered a permanent, but minor impact.

         Similar to lomas, south Texas salty thornscrub is not a protected habitat, but is a
 vegetation community of concern to the FWS because of widespread conversion of the habitat
 and its importance as habitat to ocelots (see section 4.7.1). Construction and operation of the
 LNG Terminal would result in the conversion of 138.4 acres of south Texas salty thornscrub
 habitat to developed land. No land classified as South Texas salty thornscrub was identified
 within the footprint of the pipeline facilities. About 149,173 acres of south Texas salty
 thornscrub habitat has been identified along the Texas Gulf Coast, and more inland areas,
 conversion of 138.4 acres would represent a moderate and permanent impact on this vegetation
 community (Ludeke et al. 2010). Finalized mitigation plans for the loss of potential ocelot
 habitat such as south Texas salty thornscrub would be determined through completion of the
 ESA consultation process as described in section 4.7.1.4.

         The Pine Tree Conservation Society owns two parcels of land that would be crossed by
 the pipeline between MPs 110.7 and 113.0. The land is largely undisturbed sandy mesquite
 woodland and shrubland (shrub/forest upland areas). At the request of both FWS and FERC, RB
 Pipeline reached out to the Society multiple times to determine if the parcels had any
 conservation goals or restoration requirements that should be adhered to; no response has yet
 been provided. Further, the Society has not provided comments regarding the proposed pipeline
 crossing its land. As no response or comments have been filed with the Commission,
 construction and restoration of this property would be conducted in compliance with the Project-
 specific Plan and Procedures.

         Overall, and in consideration of our recommendation, the Project would result in
 temporary to permanent impacts on vegetation. The impacts of the pipeline facilities would
 generally be temporary or short-term impacts, although vegetated habitat would be converted to
 industrial/commercial land within the footprint of the aboveground facilities, and would be
 maintained as herbaceous or early successional scrub-shrub habitat within the permanent right-
 of-way. Construction and operation of the LNG Terminal would result in permanent impacts on
 vegetation within the footprint of the facility, although impacts on wetland vegetation would be
 mitigated as required by the COE under Section 404 of the CWA.

 4.6    WILDIFE AND AQUATIC RESOURCES

 4.6.1 Terrestrial Wildlife Resources

         Wildlife species occurring in the vicinity of the Project vary by the type of habitat present
 in a given area. Section 4.5.1 provides a detailed description of the vegetation communities
 present in the vicinity of the Project. Habitat types were identified based on aerial photography,




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 NWI maps, region-specific TPWD habitat classifications, and field surveys. Aquatic resources
 and federally or state listed wildlife species are discussed in sections 4.6.2 and 4.7, respectively.

 4.6.1.1        Existing Wildlife Habitats

         The wildlife habitat types present in the vicinity of the Project include agricultural land,
 open (herbaceous) land, upland shrub/forest land, open water, and wetlands (shrub/forested and
 emergent). Each of these habitat types includes a unique plant species composition, which is
 described in detail in section 4.5.1. Although the proposed Project would affect additional land
 types, such as barren/dredge spoil, residential, and industrial/commercial land, these land types
 do not typically provide quality habitat for wildlife, and wildlife in the Project area would likely
 use these areas only transiently while moving between areas of suitable habitat; one exception is
 the use of barren land at the LNG Terminal site as foraging habitat for special status shorebirds,
 which is discussed in section 4.6.1.3. As such, barren/dredge spoil and industrial/commercial
 land are discussed in section 4.8 (Land Use). Typical wildlife occurring within each of the
 primary habitat types are described in detail below.

         Agricultural land includes active and rotated cropland. Due to low diversity and frequent
 disturbance, agricultural land does not provide high quality habitat for cover or nesting, but does
 provide foraging opportunities for several species. Irrigation ditches, ponds, and shallow open
 water areas may provide habitat for shorebirds, wading birds, and waterfowl. Many wildlife
 species capable of inhabiting herbaceous land or shrub/forest uplands such as the opossum
 (Didelphis virginiana), common raccoon (Procyon lotor), and eastern gray squirrel (Sciurus
 carolinensis) also utilize agricultural land. Avian species commonly found in agricultural
 habitats include the American robin (Turdus migratorius), cattle egret (Bubulcus ibis), eastern
 meadowlark (Sturnella magna), and mourning dove (Zenaida macroura). Amphibians and
 reptiles likely to occur in agricultural land include species such as the Great Plains rat snake
 (Elaphe guttata emoryi) and Texas toad (Anazyrus speciosus).

         Herbaceous uplands (uplands dominated by grasses and forbs) along the northern portion
 of the proposed Pipeline System are often used for cattle grazing/ranching, which may be used
 by various wildlife species for foraging. Areas more dominated by low-lying shrubs or
 undisturbed cover types provide foraging and nesting habitat. Species inhabiting herbaceous
 uplands include the white-tailed deer (Odocoileus virginiannus), common raccoon, and eastern
 cottontail rabbit (Sylvilagus floridanus). In addition, avian species found within upland
 herbaceous land include northern aplomado falcon (Falco femoralis septentrionalis), American
 robin, cattle egret, red-tailed hawk (Buteo jamaicensis), and mourning dove. Amphibians and
 reptiles that likely occur in upland herbaceous uplands include the Texas brown snake (Storeria
 dekayi texana) and six-lined racerunner lizard (Aspidoscelis sexlineata).

         Shrub/forest habitat associated with the Project includes multiple community types
 ranging from low shrubland to areas of dense, low trees. Tree and shrub layers provide shelter
 and foraging habitat for various bird species and larger mammals. Organic material on forest
 floor provides habitat for invertebrates, reptiles, smaller mammals, and amphibians. Mammals
 typically associated with shrub/forest habitat in the vicinity of the Project include the white-
 tailed deer, feral hog (Sus scrofa), and common raccoon. Typical bird species include the red-
 shouldered hawk (Buteo lineaus), wood thrush (Hylocichla mustelina), and loggerhead shrike



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 (Lanius ludovicianus). Amphibians and reptiles include the six-lined racerunner lizard, Texas
 brown snake, and Texas toad. Many common species in the area, such as white-tailed deer and
 feral hogs have recreational value for hunters; however, no commercially important wildlife
 species occur in the Project area.

          Open water habitat in the Project area consists of larger waterbodies, such as the BSC and
 a shallow water lagoon at the proposed LNG Terminal site, as well as ponds, streams, and
 irrigation canals associated with the Pipeline System. Wildlife typically associated with open
 water and linear aquatic habitat includes wading birds, waterfowl, and other species dependent
 upon an aquatic environment.

        Wetland habitat in the Project area, includes emergent and scrub-shrub estuarine wetlands
 and emergent, scrub-shrub, and forested palustrine (freshwater) wetlands, as well as sparsely
 vegetated mudflats (see section 4.4). Wetlands typically support a diverse ecosystem that
 provide nutrients, cover, shelter, and water for a variety of terrestrial and aquatic wildlife species
 including waterfowl, wading birds, raptors, mammals, reptiles, and amphibians. Typical wildlife
 associated with palustrine wetlands include white-tailed deer, common raccoon, feral hog,
 mottled duck (Anas fulvigula), blue heron (Ardea herodias), red-winged blackbird (Agelaius
 phoeniceus), Texas toad, six-lined racerunner lizard, and diamondback water snake (Nerodia
 rhombifer rhombifer).

 4.6.1.2         Impacts and Mitigation

          Construction and operation of the Project would result in various short- and long-term
 impacts on wildlife. Impacts would vary based on specific habitat requirements of a species and
 the level and duration of Project impacts on each habitat type. A total of about 3,220.1 acres of
 wildlife habitat would be within the footprint of the LNG Terminal and pipeline facilities
 (including the 68.7-acre area of open water within the BSC that would be dredged for the marine
 facilities). Following construction, approximately 1,164.2 acres would be restored to pre-
 construction conditions. A total of 2,055.9 acres would be within the operational footprint of the
 Project, of which 830.6 acres would be permanently converted to developed land (including 75.8
 acres of open water at the LNG Terminal site; the remaining areas of open water affected by
 LNG Terminal construction would remain open water habitat during operations). A total of
 1,219.1 acres would be maintained as herbaceous or scrub-shrub land within the pipeline rights-
 of-way.

           LNG Terminal

           General Impacts

        Construction of the LNG Terminal site, including Compressor Station 3, would affect
 669.0 acres of wildlife habitat consisting of 191.5 acres of upland herbaceous land, 189.1 acres
 of upland shrub/forest land, 162.5 acres of emergent wetland habitat, 106.1 acres of open water,
 and 19.8 acres of scrub-shrub (mangrove) wetlands (see table 4.5.1-1 and section 4.3.2). In
 addition, about 68.7 acres of open water would be dredged outside the boundaries of the LNG
 Terminal site. Following construction, all disturbed habitat would be permanently converted to




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 industrial land. Wetland impacts would be permitted through the COE and would be mitigated
 through implementation of RG Developers’ Wetland Mitigation Plan, once approved.

         About 233.8 acres of land, including 103.5 acres of wetlands, is present outside the
 boundary of the proposed LNG Terminal site, but within the larger parcel leased by RG LNG.
 Of that area, about 10.5 acres would be dredged for a planned expansion of the Bahia Grande
 Channel that is not related to the Rio Grande LNG Project (see section 4.3.2.2). The remaining
 areas would not be directly affected by Project construction, but would be retained as natural
 buffer.

         Offsite facilities proposed for use during construction and/or operation of the Rio Grande
 LNG Terminal include a storage/parking area in Brownsville, a storage area in Port Isabel, and
 the Port Isabel dredge pile (if necessary). Although the Port Isabel storage area and dredge pile
 are largely disturbed and unvegetated, the Brownsville storage area is composed mainly of
 herbaceous upland (18.9 acres). These areas would be restored to pre-construction conditions
 following construction. Impacts on wildlife associated with construction of the LNG Terminal
 and offsite facilities would include displacement, stress, and direct mortality of some individuals.
 Clearing of vegetation would reduce suitable cover, nesting, and foraging habitat for some
 wildlife species. Mobile wildlife species, such as birds and terrestrial mammals, may relocate to
 similar habitats nearby when construction activities commence. However, smaller, less mobile
 wildlife (such as some reptiles and amphibians) could be inadvertently injured or killed by
 construction equipment. The permanent reduction in available habitat within the LNG Terminal
 fenceline, as well as the influx of individuals to other nearby areas, may increase local
 population densities, resulting in increased inter- and intra-specific competition and reduced
 reproductive success of individuals. As fencing would be installed around the LNG Terminal
 site during Stage 1 of construction (750.4 acres), wildlife would be deterred from entering the
 construction areas after grading began.

         Based on a request from the FWS and TPWD, RG LNG assessed the potential to include
 wildlife passages in the terminal fencing to minimize entrapment of wildlife. However, as such a
 design would not meet security needs at the facility, RG LNG has agreed to conduct pre-
 construction surveys and hazing at the LNG Terminal property to flush wildlife from the site
 prior to completing the fencing. Although some wildlife mortality would still occur, we find that
 surveys and hazing prior to completing the fence would minimize mortality to animals trapped
 within the fence, to the extent practicable. In response to comments on the draft EIS from the
 TPWD, RG Developers indicated that the EI would periodically inspect the inside of the
 fenceline after it is erected to identify and relocate trapped wildlife as practicable and in
 accordance with Project permits.

         Construction of the LNG Terminal would take about 7 years, and the number of
 construction personnel would peak at 5,225 workers. An increased number of people in the area
 could lead to increased direct and indirect effects on wildlife, such as food or trash attracting
 predators, and vehicular/wildlife interactions. RG LNG would collect, contain, and dispose of
 excess construction material and debris, including garbage, throughout the construction process
 in accordance with its Plan, which would minimize the potential to attract predators. Workers
 commuting to the LNG Terminal site would increase the potential for vehicular/wildlife




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 interactions; however, construction-related traffic would not result in an exceedance of the
 planned capacity of SH-48.

         Construction-related noise could affect animal behavior, foraging, or breeding patterns,
 and cause wildlife species to move away from the noise or relocate in order to avoid the
 disturbance. Although the timing of construction would depend on receipt of all required
 permits, RG LNG originally anticipated that construction activities at the LNG Terminal site
 would be staggered, occurring over the course of 7 years, predominantly during daylight hours.
 RG LNG estimates that the noise produced during facility grading and construction would result
 in maximum composite noise levels of 61.1 decibels (dB) on the A-weighted scale (dBA) at
 nearby critical habitat for the piping plover, and 51.7 dBA at the Laguna Atascosa NWR, which
 is considered moderate (see tables 4.11.2-1 and 4.7.1-3). Sound would attenuate with increased
 distance from construction activity.

         Although construction noise levels could deter wildlife in the area, especially in close
 proximity to the LNG Terminal, most wildlife would be separated from the LNG Terminal by
 SH-48 on the north and the BSC on the south, which see regular vehicle or marine vessel traffic,
 respectively. Noise produced by high-speed vehicles on highways (70 to 80 dBA at 50 feet) and
 recreational marine vessels (generally around 86 dBA) would be comparable to those produced
 by activity related to construction of the LNG Terminal, indicating that local wildlife may be
 accustomed to regular increases in noise (FHWA 2003, Coast Guard 2003). Therefore, although
 the increased sound levels throughout construction may deter some wildlife from the areas
 adjacent to the proposed LNG Terminal site, the increase in noise during construction is not
 anticipated to result in significant changes in wildlife behaviors. Noise from construction of the
 LNG Terminal is discussed in detail in section 4.11.2; noise-related impacts on sensitive wildlife
 habitat is addressed in section 4.7.1; underwater noise is discussed further in section 4.6.2.

         Operation of the LNG Terminal would result in increased human activity, lighting, and
 noise that could disturb nearby wildlife. The increase in human presence would increase the
 potential for vehicular/wildlife interactions; however, as the operational staff would include only
 about 270 people, this impact would be minimal. The overall increase in nighttime lighting
 during construction and operation of the Project would result in a permanent, but minor impact
 on wildlife.

         RG LNG has developed mitigation measures to minimize the impacts of nighttime
 lighting at the LNG Terminal site, including limiting the amount of outdoor lighting installed,
 dimming, or turning off non-essential lights at night, choosing lighting colors in consideration of
 wildlife, and directing light downward. RG LNG has developed nighttime LNG Terminal
 renderings that depict the extent of nighttime lighting (see appendix L and section 4.8.2.1); these
 renderings indicate that impacts from ground-level receptors (e.g., terrestrial wildlife) would not
 be significant. Nighttime renderings of the LNG Terminal from an aerial view, however,
 indicate that avian receptors may be attracted to the lighted area (impacts on birds from
 nighttime lighting at the facility are discussed in section 4.6.1.3). The TPWD, in its comments
 on the draft EIS, recommended that RG Developers incorporate additional measures, including
 the use of low-mounted lights, low lighting levels, and non-LED lights or lowest color
 temperatures, to further minimize the effects of lighting on wildlife, including migratory birds.
 RG Developers confirmed that these requests would be implemented to the extent feasible when



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 accounting for safety and security requirements of the facility, and will share the terminal
 lighting plan and any future updates on lighting with the TPWD. In light of the expressed
 concerns of the FWS and TPWD during the review process, and the potential for lighting to
 affect migratory and federally listed birds, we recommend that:

        •   Prior to construction of the LNG Terminal, RG LNG should consult with the
            TPWD and FWS to finalize nighttime lighting plans to minimize impacts on
            wildlife to the greatest extent practical. The final plans and copies of consultation
            with the agencies should be filed with the Secretary for review and written
            approval by the Director of OEP.

          Operational noise would result in an increase in the ambient sound levels in the
 immediate vicinity of the Project. At the boundary of the LNG Terminal site, operational sound
 levels would be about 75 dBA, which is considered moderate to loud. Within about 1 mile,
 construction noise would drop to about 60 dBA, which is audible, but likely not a nuisance, and
 at a distance of about 2 miles, noise would drop to about 50 dBA, which is considered quiet (see
 figure 4.11.2-1). While the immediate vicinity of the LNG Terminal site is not developed,
 wildlife in the area is currently exposed to noise from traffic along SH-48 and in the BSC, as
 well as industrial sources at the Port of Brownsville. Therefore, moderate impacts on general
 wildlife species may occur in areas immediately adjacent to the LNG Terminal boundaries
 resulting in potential increases in avoidance of the area. However, operational noise would
 quickly attenuate such that impacts outside of the immediate vicinity would not be anticipated to
 result in significant effects on local wildlife behaviors. Since conducting the noise impact
 analysis, RG LNG has adopted certain mitigation measures (see section 4.11.2.3); however,
 these modifications did not result in significant changes in the estimated noise attenuation
 identified above.

         RG LNG would implement its Plan and Procedures to minimize impacts on adjacent
 habitat and open water during construction; however, wildlife would be directly displaced from
 the 750.4-acre facility footprint during construction and operation of the LNG Terminal, and
 some wildlife may be indirectly displaced within a larger area due to the increase in noise and
 lighting during construction and operation of the LNG Terminal. The direct loss of habitat and
 the indirect effects associated with displacement indicate that the construction and operation of
 the proposed LNG Terminal would result in a minor to moderate, permanent impact on local
 wildlife. With the implementation of pre-construction surveys and wildlife hazing prior to
 enclosing the LNG Terminal site, direct loss of wildlife at the LNG Terminal site would be
 further minimized.

        Pipeline Facilities

        Pipeline System and Additional Temporary Workspace

        Header System and Pipeline 1

        RB Pipeline would construct the Header System within a 100- to 125-foot-wide
 construction right-of-way and Pipeline 1 within a 125-foot-wide construction right-of-way.
 Construction of these pipelines, including ATWS, would affect 1,998.5 acres of wildlife habitat,



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 including 828.4 acres of upland herbaceous land, 533.9 acres of agricultural land, 481.2 acres of
 upland shrub/forest land, 123.7 acres of emergent wetlands, and 13.4 acres of shrub/forested
 wetlands, and 7.9 acres of open water. Following construction, 497.1 acres of upland herbaceous
 land, 321.2 acres of agricultural land, 287.5 acres of upland shrub/forest land, 95.5 acres of
 emergent wetlands, 11.3 acres of shrub/forested wetlands within the permanent easement would
 be restored to pre-construction conditions but would be subject to routine maintenance; 6.5
 acres of water within the permanent right-of-way would not be subjected to routine maintenance.
 Shrub/forest land within maintained portions of the permanent right-of-way would be
 permanently converted to herbaceous or early successional-stage scrub-shrub land.

        Pipeline 2

         Pipeline 2 would be installed within the same 125-foot-wide construction right-of-way
 affected by Pipeline 1. As such, all land disturbed by the construction of Pipeline 2 would have
 been previously disturbed during the construction of Pipeline 1. Similarly, land associated with
 ATWS, access roads, contractor/pipe yards, and aboveground facilities would have been
 previously disturbed. Following construction, land affected by Pipeline 2 would be restored to
 pre-construction conditions.

        General Impacts of the Pipeline System

         Wildlife would be impacted by clearing of vegetation, alteration of the landscape from
 grading activities and soil disturbance, displacement and increased predation, activities
 associated with trenching, and increased human and vehicle presence. During construction,
 more mobile species would be temporarily displaced from the construction right-of-way to
 similar habitats nearby due to human presence and increases in noise. Noise impacts would
 generally be temporary and intermittent as pipeline construction typically occurs in a manner
 similar to a moving assembly line, except at HDD locations where construction activity would
 generate elevated noise levels and could occur up to 24 hours a day, 7 days a week, for up to 10
 weeks at each site.

          Less mobile species, such as small mammals, reptiles, amphibians, and nesting birds may
 experience direct mortality or permanent displacement. Displacement of species could lead to
 increased competition for some resources. Some wildlife displaced from the right-of-way would
 return to the newly disturbed area and adjacent, undisturbed habitats after completion of
 construction. Soil-dwelling invertebrates would be impacted directly through movement of soil
 from one place to another, resulting in some mortality and displacement. This could reduce the
 forage potential for insectivores and other small predators that inhabit the area. The overall
 impact of these effects, however, would be minor due to the temporary nature of the effects and
 limited area affected by construction. In addition, clearing of vegetation and subsequent
 increases in visibility could result in increased predation during construction and operation of the
 Pipeline System. While individual mortality rates could increase, the Project would not likely
 result in any population-level impacts.

        The clearing of vegetation on the construction right-of-way and within ATWS would
 reduce cover, foraging, breeding, and nesting habitat for some wildlife. The degree of impact
 would depend upon the type of habitat affected, the timing of clearing and construction activities,



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 and the rate at which the area recovers after disturbance from construction. Seasonal habitat use
 for migratory birds is discussed in section 4.6.1.3. The effects on species that rely on upland
 herbaceous habitats would be short-term as RB Pipeline would reseed these areas, which would
 likely recover 1 to 3 years following construction.

         Cleared shrub/forest vegetation would likely require several years to return to its woody
 composition. The effect of workspace clearing on shrub/forest-dwelling wildlife species would
 be greater than open habitat wildlife as shrub/forest land could take decades to return to pre-
 construction conditions, particularly if stands of trees are present. In addition, trees would be
 prevented from re-establishing along the permanent right-of-way. RB Pipeline would minimize
 the potential for these effects by collocating 66.0 percent of the workspace.

         Wildlife could be impeded by, or fall into, areas of open trench, resulting in injury,
 mortality, or delay of local migration. To minimize the potential for this impact RB Pipeline
 would plan construction to limit the amount and duration of open trench. In addition, RB
 Pipeline would employ a qualified biologist to inspect open trenches each morning and remove
 trapped wildlife. Further, RG Developers would include wildlife awareness training that would
 instruct Project contractors to avoid negatively affecting wildlife encountered during
 construction, and emphasize their “no kill” policy.

         Construction of the Pipeline System would take about 4 years; however, construction
 activity along the pipeline route would generally be restricted a 12-month period for the
 construction of the Header System and Pipeline 1 and, after an 18-month delay, a second 12-
 month period for the construction of Pipeline 2. The peak number of construction personnel
 during this time would be 900 workers. An increased number of people in the area could lead to
 increased direct and indirect effects on wildlife, such as food or trash attracting predators and
 vehicular/wildlife interactions. RB Pipeline would collect, contain, and dispose of excess
 construction material and debris, including garbage, throughout the construction process in
 accordance with its Plan, which would minimize the potential to attract predators. Workers
 commuting along the pipeline route would increase the potential for vehicular/wildlife
 interactions; however, as the 900 workers would be spread across 137.9 miles of pipeline, these
 impacts would be minor. Operational staff would be limited to between 10 and 20 people for the
 entire Pipeline System and aboveground facilities; therefore, impacts from operational staff
 would be negligible.

        A spill of hazardous materials during construction, such as fuel or oil, or the excavation
 and exposure of contaminated soil and/or groundwater could impact wildlife. RG Developers
 would implement procedures outlined in their Project-specific Plans, SWPPP, and SPCC Plans to
 minimize impacts associated with construction-related spills. In addition, in the event that
 contaminated groundwater and/or soils are encountered during construction, RG Developers
 would implement measures in their Unanticipated Contaminated Sediment and Soils Discovery
 Plan, as discussed in section 4.2.

         Following construction of each pipeline, RB Pipeline would seed all of the previously
 vegetated areas disturbed by construction in accordance with recommendations from the local
 soil conservation agency and/or the landowner. RB Pipeline is consulting with the local offices
 of the NRCS to determine the most appropriate seed mixes for use in south Texas (see section



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 4.6.1.4). Disturbed areas would be routinely monitored until restoration and revegetation were
 successful in accordance with the Project-specific Plan and Procedures. During operation, RB
 Pipeline would mow up to a 75-foot-wide permanent right-of-way no more than once every 3
 years; however, a 10-foot-wide corridor centered on each pipeline may be mowed more
 frequently to facilitate routine patrols and emergency access. Within wetlands, RB Pipeline
 would permanently maintain only a 10-foot-wide corridor and selectively remove trees within 15
 feet of the pipeline. These maintenance activities would permanently convert scrub-shrub and
 forested wetlands to an emergent state.

        Aboveground Facilities

          RB Pipeline would construct three compressor stations, eight metering sites, and
 additional appurtenant facilities. Proposed Compressor Station 3 is within the LNG Terminal
 site; therefore, impacts associated with Compressor Station 3 have been included above.
 Construction of the remaining aboveground facilities would affect 92.9 acres of wildlife habitat
 comprised of upland herbaceous, upland shrub/forest, and agricultural land. No open water or
 wetland habitats would be affected by construction or operation of the aboveground facilities.
 The impacts associated with the construction of the aboveground facilities would be similar to
 those described in the general pipeline impacts.

        Contractor/Pipe Yards

        Contractor/pipe yards associated with the Project would temporarily impact 152.5 acres
 of upland herbaceous land, 135.6 acres of agricultural land, and 9.1 acres of upland shrub/forest
 land. RB Pipeline would utilize the same contractor/pipe yards for both Pipeline 1 and 2;
 therefore, no additional habitat would be impacted during the construction of Pipeline 2.
 Following completion of construction, the yards would be converted back to their current use.
 The impacts associated with the contractor/pipe yards would be similar to those described in the
 general pipeline impacts.

        Access Roads

          RB Pipeline proposes to use 52 temporary access roads during construction and 12
 permanent access roads during construction and operation of the Project. Of the 64 roads, 57 are
 existing access roads that would not require improvements, 2 are existing roads that would be
 expanded, and 5 would be newly constructed. Construction or modification of access roads
 would impact 74.0 acres of upland herbaceous land, 8.3 acres of emergent wetlands, 0.5 acre of
 agricultural land, 0.1 acre of open water, and less than 0.1 acre of shrub/forested wetland.
 Construction impacts on these habitats would be the same as those described for the pipeline
 facilities and include soil compaction and erosion and the potential establishment of invasive
 species. RB Pipeline would restore and seed any previously vegetated areas affected by
 construction in accordance with its Plan following construction. Operational use of the 12
 permanent roads would result in the permanent conversion of 5.4 acres of upland herbaceous
 land, 0.8 acre of upland shrub/forest land, and less than 0.1 acre of open water. A full list of
 access roads is provided in appendix C.




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         With the implementation of the Project-specific Plan and Procedures, SPCC Plan, and
 Noxious and Invasive Plant Management Plan, as well as additional minimization and mitigation
 measures discussed above, we find that construction of the proposed pipeline facilities would
 have a minor and temporary impact on local wildlife. Similarly, ongoing operation of the
 pipeline facilities would have a permanent, but minor impact on local wildlife, that would
 generally be limited to ongoing vegetation maintenance along the Pipeline System and the loss of
 land associated with the aboveground facilities.

 4.6.1.3        Migratory Birds

          Migratory bird species nest in the United States and Canada during the summer months
 and then migrate south to the tropical regions of Mexico, Central and South America, and the
 Caribbean for the non-breeding season. Some species migrate from breeding areas in the north
 to the Gulf Coast for the non-breeding season. Migratory birds are protected under the MBTA,
 which prohibits the intentional take or killing of individual migratory birds, their eggs and
 chicks, and active nests. The MBTA provides that it is unlawful to pursue, hunt, take, capture,
 kill, possess, sell, purchase, barter, import, export, or transport any migratory bird, or any part,
 nest, or egg of any such bird. Executive Order 13186 (January 2001) directs federal agencies to
 consider the effects of agency actions on migratory birds and determine where unintentional take
 is likely to have a measurable negative effect on migratory bird populations, and to avoid or
 minimize adverse impacts on migratory birds through enhanced collaboration with the FWS.
 Executive Order 13186 states that emphasis should be placed on species of concern, priority
 habitats, and key risk factors, and that particular focus should be given to addressing population-
 level impacts.

        On March 30, 2011, the FWS and the Commission entered into a MOU that focuses on
 avoiding or minimizing adverse impacts on migratory birds and strengthening migratory bird
 conservation through enhanced collaboration between the two agencies. This voluntary MOU
 does not waive legal requirements under the MBTA, BGEPA, ESA, Federal Power Act, NGA, or
 any other statute and does not authorize the take of migratory birds.

         We received many comments regarding the importance of the Project area to migratory
 birds. The Project is within the Central Flyway, which generally covers the central portion of
 North America and into Central America. South Texas acts as a funnel for migratory birds as
 they try to avoid flying too far east (into open Gulf waters) or west (into desert habitat). In
 addition, south Texas is the northern extent of migration for certain species (FWS 2016a, b).
 The Laguna Atascosa and Lower Rio Grande Valley NWRs, located near the southern terminus
 of the Project area, both act as major stopover locations during these migrations, as suitable
 habitat is protected from development and degradation within these areas. At peak use, about
 250,000 ducks stopover in the Laguna Atascosa NWR, with thousands more stopping in adjacent
 habitats; this is in addition to the hundreds of other migratory bird species that stopover in the
 region. These areas are also subject to “fallout” for migratory songbirds, where, during years
 with strong winds and cold weather, these birds will stop at the refuges to regain strength until
 they can continue their migration (FWS 2016a). Bird watching and other nature-based activities
 are a large source of tourism for south Texas; impacts on eco-tourism are discussed in section
 4.9.




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         Birds of Conservation Concern (BCC) are a subset of protected birds under the MBTA
 and include all species, subspecies, and populations of migratory nongame birds that are likely to
 become candidates for listing under the ESA without additional conservation actions. In order to
 accurately identify these sensitive bird species and stimulate action by federal/state agencies and
 private parties, the FWS Migratory Bird Office issued a report describing the BCC (FWS 2008a).
 The report identifies priority bird species at the national, regional, and Bird Conservation Region
 (BCR) levels. The Project is predominantly within BCR 37 (Gulf Coastal Prairie); however, the
 Header System and Pipeline System, through MP 14, fall within BCR 36 (Tamaulipan
 Brushland) (FWS 2008a). As provided in appendix K, RG Developers have compiled a list of
 BCCs that occur in the Project area based on review of FWS’ Information for Planning and
 Consultation (IPaC) tool, including bird conservation status, preferred habitat, likelihood of
 occurrence within the LNG Terminal site or along the pipeline route, and occurrence of known
 breeding in the Project area. Based on this review, a total of 16 BCCs were identified as having
 the potential to occur on the LNG Terminal site due to suitable habitat being present; 10 of these
 species were further identified as having the potential to nest on the LNG Terminal site.
 Similarly, 43 BCCs were identified as potentially occurring along the pipeline route, 19 of which
 are known to breed in the Project counties.

         Colonial waterbirds, a subset of migratory birds, include a large variety of bird species
 that share two common characteristics: 1) they tend to gather in large assemblies, called colonies
 or rookeries, during the nesting season, and 2) they obtain all or most of their food from the
 water (FWS 2002).30 Consultation with the TPWD has identified two rookery areas between 1.4
 and 2 miles east of the LNG Terminal site, along the BSC. At that distance, noise from the LNG
 Terminal operation would be between 50 and 55 dBA which, while potentially audible, is
 unlikely to be considered a nuisance. The TPWD has indicated concern with the potential for
 increased erosion at these rookery areas due to the wake from transiting LNG carriers during
 operations; however, use of the BSC by marine vessels associated with the LNG Terminal during
 construction and operation would be consistent with the planned purpose of the BSC and is not
 expected to cause significant impacts on shoreline stability (see section 4.3.2.2). Although
 FERC does not have jurisdiction over the transit of LNG carriers through the BSC, final
 permitting for the Brazos Harbor Channel Improvement Project should account for the impacts
 of these larger vessels on the stability of the shoreline and related impacts on the identified
 rookery.

         At the request of the FWS, RG LNG conducted spring bird surveys of the LNG Terminal
 site over three days between April 26 and May 25, 2017, which coincided with the spring
 migratory period and the beginning of the local breeding season. Each survey day included 6
 locations that were each surveyed for a 1-hour period. Over the course of the spring surveys,
 1,926 birds from 79 different species were identified; however, this number may be low as the
 nearby Laguna Atascosa NWR has documented 417 species of birds (FWS 2016a, 2018). The
 majority of the birds were observed flying over the site, while a smaller percentage (24.2 percent
 [467 birds]) were observed using habitat at the LNG Terminal site. The number of birds


 30
        Colonial waterbirds demonstrate nest fidelity, meaning that they return to the same rookery year after year. Rookeries
        are typically established in marshes or near the shores of ponds or streams. Although some colonial waterbirds (e.g.,
        least terns) will nest in developed areas, many waterbirds (e.g., great blue heron and great egrets) are wary of human
        activity.



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 observed decreased throughout the survey period, with 814 birds observed on April 26, 614 on
 May 11, and 480 on May 25. A list of birds observed, the date and number of observations, and
 the resident or migrant status of each species is presented in appendix K-3.

         Two state listed species (the reddish egret and the white-tailed hawk) were observed
 flying over the LNG Terminal site during surveys; state listed threatened and endangered species
 are discussed in section 4.7.2. In addition, 15 BCCs were observed during the surveys, including
 7 of the species that were identified as potentially nesting at the LNG Terminal site (the reddish
 egret, the white-tailed hawk, Wilson’s and snowy plovers, American oystercatcher, sandwich
 tern, and gull-billed tern). At the request of the FWS, RG LNG also plans to survey the Port
 Isabel dredge pile to determine its use by nesting birds; as the results of this survey have not yet
 been provided, we have recommended below that the survey results be provided to the Secretary
 and to the FWS for review.

         The vegetation communities associated with the Project provide potential habitat for
 migratory bird species, including songbirds, waterbirds, and raptors. Impacts on migratory birds
 and their habitat due to construction and operation of the Project would typically be similar to
 impacts on general wildlife (see section 4.6.1.2). Potential impacts specific to migratory birds
 would include disorientation due to artificial illumination and potential strike of elevated Project
 components. In addition, the loss of habitat associated with the LNG Terminal site would be
 considered a permanent and moderate impact on migratory birds. Loss of habitat due to the
 pipeline facilities would result in temporary (during construction) and permanent (during
 operation) impacts on migratory birds; however, those habitats would largely be available to
 migratory birds after construction had been completed, with the exception of land within the
 footprint of aboveground facilities or those habitats that are permanently converted from
 shrub/forest to emergent or early successional vegetation.

        •   RB Pipeline plans to avoid vegetation clearing and maintenance between March 1 and
            August 31, in accordance with FWS recommendations, if practicable at the time of
            construction. However, RG LNG has indicated that clearing only outside of the
            migratory bird window may not be possible at the LNG Terminal site, and has
            developed a Migratory Bird Conservation Plan (MBCP) 31 to identify measures to
            account for potential conflicts in the construction schedule. As noted in its MBCP, RG
            LNG proposes multiple potential mitigation methods to avoid or minimize direct
            impacts on migratory birds during clearing and grading activities at the LNG Terminal
            site. RB Pipeline would also implement the procedures in RG LNG’s MBCP, if
            clearing associated with the pipeline facilities were not able to occur during the
            recommended clearing period. Per the MBCP, RG LNG would implement one or more
            of the measures below, to the extent practicable, during construction:

        •   clear and grade outside of the FWS-recommended window for migratory bird nesting
            (March 1 through August 31); or




 31
        RG LNG’s MBCP is available on FERC’s eLibrary website, located at http://www.ferc.gov/docs-filing/elibrary.asp, by
        searching Docket Number CP16-454 or CP16-455 and accession number 20161229-5149.



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        •   selectively clear areas deemed most valuable to migratory bird nesting (shrubland and
            grassland loma habitat) outside of the FWS-recommended window; or

        •   conduct pre-construction clearance of stick nests, which may be used repeatedly by
            raptors and ravens, in accordance with FWS guidelines; or

        •   remove existing stick nests, in accordance with FWS guidelines, prior to construction
            and outside of the nesting season in order to deter future nesting; or

        •   conduct pre-construction surveys (within 7 days of construction) to identify active nests
            and evaluate the potential to establish a no-activity buffer until the young have fledged.
            The necessary buffers would be determined by consulting the FWS prior to
            construction, but is anticipated to be 30 feet for BCCs; or

        •   or relocate active nests identified during pre-construction surveys, for which
            establishment of a protective buffer is not logistically feasible, by an FWS-approved
            biologist using FWS guidelines; or

        •   allow the loss of active nests, if no other option is deemed feasible, which would be
            mitigated in consultation with the FWS.

         Although RG Developers have identified their commitment to avoiding impacts on
 migratory birds to the extent practicable, some birds and nests would likely be lost as a result of
 construction of the Project. Implementation of any of the above-noted bullets would reduce the
 potential for the take of migratory birds; however, if RG Developers determine at the time of
 construction that none of the above measures are feasible (i.e., clearing occurs during the nesting
 season with no identification or buffering of active nests), incidental take of birds, eggs, and/or
 nests would occur. Adult birds present onsite during construction would likely leave once
 construction had commenced due to the increased noise and human presence. Further, the
 number of active nests present onsite during construction would be constrained by the available
 breeding habitat at the LNG Terminal site and the size of the breeding territories required by the
 species that nest there. Due to the size of the LNG Terminal site, the ability of many birds to
 have more than one brood per year, and the amount of available nesting habitat remaining in the
 Project vicinity, we find that loss of any nests/eggs onsite during construction would not result in
 significant impacts on the avian population. However, as BCCs require additional conservation
 measures, and multiple BCCs are known to occur in the area and have the potential to nest at the
 LNG Terminal site, we agree that the measures in RG LNG’s MBCP, as finalized in accordance
 with our recommendation below, are appropriate for use and would adequately protect BCCs as
 well as non-BCC migratory birds.

         Many birds use natural light from the sun, moon, and stars for navigation. Artificial
 lighting can hide natural light sources, having unknown effects on birds at the population-level.
 Fatalities to avian species due to artificial light have been well documented. Avian fatalities are
 associated with attraction to light sources, especially in low-light, fog, and where there is a low
 cloud ceiling (Orr et al. 2013). Construction of the Project would require adequate lighting for
 operations and safety; however, nighttime construction is not proposed and therefore nighttime
 lighting would be limited, and would be shielded and downward facing to facilitate safe



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 operations at night or during inclement weather. RG LNG also conducted visual simulations
 depicting anticipated nighttime lighting conditions at the LNG Terminal site (see section 4.8.2).
 Based on our review of the visual simulations for the LNG Terminal, and the proposed
 mitigation measures that would be implemented to minimize light and all aboveground facilities,
 including our recommendation to finalize lighting plans in coordination with the TPWD and
 FWS (see section 4.6.1.2), we have determined that the overall increase in nighttime lighting
 during operation of the proposed Project would result in permanent, but minor impacts on
 resident or migratory birds. However, if a mortality event were observed at the LNG Terminal
 related to lighting, RG LNG would consult with the FWS to determine possible adaptive
 management measures that would minimize the risk of additional mortalities.

         During construction and operation of the LNG Terminal, birds would be at risk of
 colliding with elevated facilities, including the LNG storage tanks (175 feet high) and vent stack
 (100 feet high). Birds may also experience an increased risk of vehicular collision during
 construction due to the increased traffic; however, incidence of collision is anticipated to be
 limited given that birds will generally fly at higher elevations. The risk of collision with LNG
 Terminal components is expected to be low given the visibility of the facilities, but could
 increase during storms, dense fog, at night, or at other times with reduced visibility.

         As previously discussed, lighting at the LNG Terminal site would be minimized to the
 extent practicable. Birds have also been known to be drawn to, and fly into, flares at LNG
 terminals; however, RG LNG has designed its LNG Terminal to include ground flares, which
 would be significantly lower than other facility components, as well as significantly lower than
 elevated flare stacks used at many other LNG terminals. Although the elevated vent stack may
 be used for flaring as well, its use as a flare would be limited to periods of emergencies.
 Therefore, we conclude that although some bird strikes at the LNG Terminal site are possible,
 the overall impact on bird populations would be negligible.

          Overall, construction of the proposed Project would result in permanent, minor to
 moderate impacts on birds due to potential incidental take of birds, eggs, or nests during
 construction, as well as the loss of habitat in an area heavily used by birds during the migration
 period. The impact of habitat loss may be mitigated for certain birds (those that use wetland
 habitat) through preservation of habitat in the nearby Loma Ecological Preserve, which is being
 proposed as mitigation for wetland impacts (see section 4.4); however, the proposed preservation
 activities at this location have not been approved by the COE for wetland mitigation. In
 addition, we believe that RG Developers would be able to appropriately minimize impacts on
 sensitive bird species along all, or a majority of, the pipeline route through use of the FWS-
 recommended clearing window.

         Although we realize that use of the clearing window may not be fully practicable for the
 LNG Terminal site, we believe that the loss of bird nests will be limited with the implementation
 of applicable measures in the MBCP. However, the FWS has not yet reviewed the measures
 identified in RG LNG’s MBCP to minimize impacts on nesting and migrating birds during
 Project construction. In addition, the TPWD has recommended 150-foot buffers to be
 implemented around active nests. Therefore, we recommend that:




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           •   Prior to construction of the Project, RG Developers should consult with the FWS
               and TPWD to develop a final MBCP, which should include outstanding surveys
               at the Port Isabel dredge pile. RG Developers should file the revised MBCP and
               evidence of consultation with the FWS and TPWD with the Secretary.

 4.6.1.4          Sensitive or Managed Wildlife Habitats

         Several sensitive or managed wildlife habitats, or habitats of concern, are located in the
 vicinity of the proposed Project, including the Laguna Atascosa NWR, the Lower Rio Grande
 Valley NWR, wildlife corridors, pollinator habitat, and a wildlife quarantine zone. A description
 associated with impacts to each of these resources is described below. Two additional managed
 areas, including the Nature Conservancy’s El Jardin and San Perlita Conservation Area and the
 TPWD’s Las Palomas Wildlife Management Area are more than 1 mile away from workspaces
 associated with the pipelines; therefore, no direct or indirect impacts would occur on the habitat
 they provide or the wildlife that utilize them. Sensitive waterbodies are discussed in sections
 4.3.2 and 4.6.2; EFH is discussed in section 4.6.3. Critical habitat for federally listed species is
 discussed in section 4.7.

           Laguna Atascosa National Wildlife Refuge

         The Laguna Atascosa NWR was established in 1946 to provide habitat for wintering
 waterfowl and other migratory birds; however, the current emphasis of the refuge includes
 endangered species and shorebird management. The NWR is made up of several discontinuous
 parcels in Cameron County covering about 97,000 acres, and provides quality habitat for
 numerous species of mammals (45), reptiles (44), butterflies (130), and plants (450), in addition
 to the hundreds of bird species, as discussed in section 4.6.1.3 (FWS 2016a, b). The Bahia
 Grande, a large waterbody immediately north of the proposed LNG Terminal site, is included as
 the Bahia Grande Unit of the Laguna Atascosa NWR.

         Although the Laguna Atascosa NWR would not be directly affected by any component of
 the proposed Project, it is within 0.25 mile of Project workspaces at three locations. As shown in
 figure 4.6.1-1, these locations include the northern boundary of the LNG Terminal site (about
 211.2 feet north) and two locations along the pipeline route (52.8 feet southeast of MP 126.0 and
 within 52.8 feet north of the route between MPs 132.3 and 135.5). Therefore, indirect impacts
 on the Laguna Atascosa NWR may occur during construction and operation of the proposed
 Project, including disturbance from increased noise and nighttime lighting associated with
 Project facilities.




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                                            4     Milepost                                  Laguna Atascosa National

                                                  Proposed Header System
                                                                                            Wildlife Refuge
                                                                                            Lower Rio Grande Valley National                     Miles                      Rio Grande LNG Project
             TX                                                                             Wildlife Refuge




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                                                  Proposed Rio Bravo
         Corpus
          Christi
                                                  Pipeline                                  El Jardin and San Perlita
                                                                                            Conservation Area
                                                                                                                                                                                 Sensitive or Managed
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                                            C     Proposed Compressor Station
                                                                                            Las Palomas Wildlife                                                                   Wildlife Habitats in
                                                                                            Management Area                                      Scale: 1:500,000
                                                                                                                                                                                   The Vicinity of the
                     Gulf of                      Proposed LNG Terminal
                     Mexico
                                                  Boundary (Facility Footprint)
                                                                                            Wildlife Corridor
                                                  BSC Dredge Areas                                                                  Service Layer Credits: Source: Esri,        Rio Grande LNG Project
    Brownsville
                                                  LNG Terminal Site                8
                                                                                   9
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                                                                                   :        Wildlife Crossing                       DigitalGlobe, GeoEye, Earthstar
                                                                                                                                    Geographics, CNES/Airbus DS, USDA,
  Mexico                                          (Leased Parcel)                                                                   USGS, AeroGRID, IGN, and the GIS User
                                                                                   8
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                                                                                   n
                                                                                   :        Proposed Wildlife Crossing              Community                                       Figure 4.6.1-1
                                 ±
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          Where the Laguna Atascosa NWR is near the northern boundary of the LNG Terminal
 site, estimated noise levels during LNG Terminal construction would be limited to a 1.2 dBA
 increase over ambient conditions, which is not anticipated to result in significant changes in
 wildlife behaviors, given the presence of SH-48. The sound level associated with LNG Terminal
 operations is estimated to be 71.4 dBA, and would result in an expected increase of about 11.9
 dB over ambient levels (see table 4.7.1-4). This increase in noise could result in moderate
 impacts on wildlife through increased avoidance of areas immediately adjacent to the LNG
 Terminal site; however, the increase in operational noise is not anticipated to result in significant
 changes in general wildlife behaviors further within the NWR, as noise begins to attenuate over
 distance. Noise impacts on sensitive species are discussed in section 4.7.1.

         Similarly, facility lighting is not anticipated to result in significant impacts on local
 wildlife (see section 4.6.1.2). Although construction of the pipelines could also result in indirect
 impacts on the NWR, the construction crews are mobile spreads, thereby limiting the time spent
 adjacent to the NWR, and impacts on wildlife utilizing the NWR would be minor and temporary.
 Where HDD construction would be near the NWR, including the HDD crossing of the Bahia
 Grande Channel, construction activity would generate elevated noise levels and could occur up
 to 24 hours a day, 7 days a week, for up to 10 weeks.

         In addition to potential indirect effects of land-based construction and operation, the LNG
 Terminal site is adjacent to the Bahia Grande Channel, which was constructed as part of a pilot
 program to restore tidal flow to the Bahia Grande, which was cut off from tidal flow during
 original construction of the BSC. Dredging within the BSC for the proposed LNG Terminal, as
 discussed in section 4.3.2, would result in negligible changes in average current speeds within
 the Bahia Grande Channel, and would therefore not significantly increase water flow or sediment
 transport through the Bahia Grande Channel. The pipeline facilities would avoid direct impacts
 on the Bahia Grande Channel using HDD construction methods.

        Lower Rio Grande Valley NWR

         The Lower Rio Grande Valley NWR, another biologically diverse area with over 1,200
 documented species, consists of approximately 97,908 acres of coastal marsh refuge in the
 vicinity of the Project (FWS 2016c). Similar to the Laguna Atascosa NWR, the Lower Rio
 Grande Valley NWR consists of multiple discontinuous parcels. The largest (main) parcel is
 south of the BSC, but individual parcels are located as far north as Willacy County. The LNG
 Terminal site would not be within 0.25 mile of the Lower Rio Grande Valley NWR. The
 pipelines would cross about 53 feet west of the NWR from MPs 115.3 to 117.1; however, in
 response to our recommendations in the draft EIS, RB Pipeline has minimized impacts on the
 NWR and adjacent conservation easements by adopting a route variation that increased the
 separation between the Pipeline System and NWR from MPs 112.9 to 115.3, reconfiguring HDD
 workspaces to avoid direct impacts on the NWR, and decreasing the construction footprint from
 125 feet wide to 75 feet wide where adjacent to the NWR. As discussed above for the Laguna
 Atascosa NWR, HDD construction near NWR boundaries at MPs 115.6 and 116.4 would also
 generate elevated noise levels for up to 10 weeks within the NWR. Because RB Pipeline has not
 yet identified noise surveys and mitigation at the NWR, we recommend that:




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        •   Prior to construction of the Rio Bravo Pipeline HDD crossings at MPs 115.6 and
            116.4, RB Pipeline should file with the Secretary, for review and written approval
            by the Director of OEP, estimates of ambient sound levels at the boundary of the
            Lower Rio Grande Valley NWR near the HDDs, as well as anticipated noise
            impacts and any necessary mitigation to minimize potential effects on wildlife.

         In consideration of Project modifications and with adherence to our recommendation,
 direct impacts would not occur on the habitat or wildlife in the NWR and indirect impacts
 associated with noise would be minimized. Indirect impacts associated with erosion and runoff
 of sediments and inadvertent spills may occur; however, RB Pipeline would implement its Plan,
 Procedures, and SPCC Plan to minimize the potential for such impacts. Therefore, indirect
 impacts on the Lower Rio Grande Valley NWR would be temporary and minor.

        Wildlife Corridors

        In addition to the NWRs near the proposed Project, BND land that is subject to an
 easement managed by the FWS as a wildlife corridor to connect habitat for the federally
 endangered ocelot (Leopardus pardalis) on either side of SH-48 via a wildlife crossing under the
 highway. Although bobcats, raccoons, and coyotes have been noted to use the underpass, no
 data on ocelot use of the underpass are currently available (FWS 2014a). The Pipeline System
 would cross the ocelot corridor between MPs 134.5 and 134.7; however, this wildlife corridor
 would be crossed by HDD, thereby avoiding impacts on the underpass itself and the immediately
 adjacent land. The wildlife corridor is about 0.8 mile west of the LNG Terminal site boundary
 and about 2.4 miles west of the site center; at this distance, noise levels from site preparation,
 construction, and operation of the LNG Terminal would result in a negligible increase (less than
 1 dB) over existing ambient levels. Impacts on ocelots are discussed in section 4.7.

         In addition to the wildlife crossing under SH-48, additional wildlife crossings are
 completed, or planned for installation by TxDOT, in consideration of recommendations from the
 FWS, under SH-100 and U.S. Highway 77. The Pipeline System would cross SH-100 at MP
 124.8. The two closest wildlife crossings along SH-100 are about 0.3 mile west and 0.8 mile
 east of the Pipeline System and would not be directly affected by its construction (see figure
 4.6.1-1). During coordination after issuance of the draft EIS, the FWS indicated that there are
 also two planned wildlife crossings along U.S. Highway 77 (see figure 4.6.1-1). These two
 crossings would be about 550 feet east of MP 49.9 and 430 feet east of MP 62.1; however, as the
 crossings have not yet been constructed, the location of the openings in relation to the proposed
 pipelines are not known.

        Pollinator Habitat

          Pollinator species, including bats, bees, hummingbirds, butterflies, wasps, moths, and
 flies, require the pollen and/or nectar of plants for food. As about 80 percent of plant species
 need to be pollinated, there is currently no specific management of pollinator habitat (FWS
 2016d); however, the decrease in suitable plant cover has led to concern over the state of
 pollinator species. A total of 30 native pollinators (bees, butterflies, and moths) have been
 designated by the TPWD as Species of Greatest Conservation Need in Texas; as such, the TPWD
 has developed the Texas Monarch and Native Pollinator Conservation Plan, which outlines plans



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 to conserve habitat, educate the public, and conduct research on these species (TPWD 2016d).
 In its comments on the draft EIS, the TPWD reiterated its concerns for migrating monarch
 butterflies (Danaus plexippus) and the need to augment larval feeding and adult nectaring
 opportunities, and recommended that RG Developers incorporate native milkweed (Asclepias
 spp.) and nectar plants where appropriate and sustainable.

         On June 20, 2014, then-President Obama signed a Presidential Memorandum, “Creating a
 Federal Strategy to Promote the Health of Honey Bees and Other Pollinators.” According to the
 Memorandum, “there has been a significant loss of pollinators, including honey bees, native
 bees, birds, bats, and butterflies, from the environment.” The Memorandum also states that
 “given the breadth, severity, and persistence of pollinator losses, it is critical to expand federal
 efforts and take new steps to reverse pollinator losses and help restore populations to healthy
 levels.” In response to the President’s Memorandum, the federal Pollinator Health Task Force
 published a National Strategy to Promote the Health of Honey Bees and Other Pollinators in
 May 2015. This strategy established a process to increase and improve pollinator habitat.

         RG Developers consulted with the NRCS to develop preliminary seeding mixes for use
 during restoration that would enhance the habitat for pollinator species, which includes
 predominantly native grasses. Native bunch grasses, such as switchgrass (Panicum virgatum)
 are non-sod forming grasses that often serve as host plants for butterflies and potential nesting
 sites for bumble bees (TPWD 2016e). Native pollinators also need a diversity of flowering
 (nectar-producing) plants and nesting sites to be successful and provide an energy source for
 local and migrating pollinators. The FWS and TPWD indicated concerns with the specific
 species that would be included in the seed mixes. Following issuance of the draft EIS, RG
 Developers consulted with the FWS regarding the use of seed mixes; coordination on the final
 seed mixes is ongoing, and RG Developers will coordinate with the Caesar Kleberg Wildlife
 Research Institute at the FWS’ recommendation. Further, in response to the TPWD’s comments
 on the draft EIS regarding specific plant species for the benefit of monarch butterflies and their
 larvae, RG Developers committed to incorporating monarch butterfly-friendly species into their
 revegetation plan, where possible.

          Construction impacts associated with the pipeline facilities would result in a temporary
 impact on pollinators; however, impacts would be adequately minimized through use of the
 NRCS-recommended seeding mixes, developed in consultation with the FWS. Loss of 92.9
 acres of vegetated land associated with the aboveground facilities for the Pipeline System would
 result in a permanent, but minor impact on pollinators. Although operational maintenance of the
 pipeline right-of-way would result in regular mowing of established pollinator plant species,
 maintenance of the full right-of-way would occur not more than once every 3 years, and never
 between April 15 and August 1; therefore, these impacts would be minimal as pollinators would
 use adjacent land until flowering plants became re-established within the right-of-way.
 Disturbed areas would be routinely monitored until restoration and revegetation were successful
 in accordance with the Project-specific Plan and Procedures. Loss of 591.5 acres of potential
 pollinator (vegetated) habitat during operation of the proposed LNG Terminal would result in a
 moderate, but permanent impact on pollinator species; however, adjacent, undisturbed pollinator
 habitat within the Laguna Atascosa NWR and surrounding areas would still be available for use.




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           Cattle Tick Fever Quarantine Areas

         The Texas Animal Health Commission (TAHC) has established a 500-mile-long
 quarantine zone, varying in width from 600 feet to 10 miles, along the Rio Grande River to help
 control the spread of fever ticks from Mexico into the United States. The ticks are a threat to
 U.S. cattle operations as they can spread parasites and cattle fever. Treatment of cattle is
 conducted by dipping, injectable treatments, and/or vacating infected pastures for a period of
 nine months. Although useful for cattle, these methods are not practical for local wildlife
 hosting fever ticks, such as white-tailed deer, and treatment is limited to medicated feed (TAHC
 2015). The official fever tick quarantine zone is within Cameron County along the Rio Grande;
 however, due to the spread of fever ticks, the TAHC established a temporary quarantine zone in
 other areas of Cameron County, including the proposed LNG Terminal site and portions of the
 pipeline route. Within the temporary quarantine zone, exotic nilgai antelope, white-tailed deer,
 and other free-ranging wildlife and exotic animals capable of supporting fever ticks must be
 inspected by the TAHC prior to movement into another area (TAHC 2016). To minimize the
 potential spread of fever ticks, RG Developers would inform all construction personnel of
 current regulations regarding the quarantine zones during pre-construction training. RG
 Developers would also prohibit the capture or hunting of wildlife within construction
 workspaces. Therefore, we find that impacts from construction and operation of the Project
 would be adequately minimized.

 4.6.2 Aquatic Resources

 4.6.2.1         Existing Aquatic Resources

         The Rio Grande LNG Project area includes freshwater, estuarine, and marine waterbodies
 that are classified as perennial, intermittent, or ephemeral (see section 4.3.2), as well as
 freshwater and estuarine wetlands. While perennial waterbodies are typically capable of
 supporting populations of fish and macroinvertebrates, intermittent and ephemeral waterbodies
 provide limited habitat value for aquatic resources due to restricted water flow regimes.
 Estuarine wetlands provide year-round warmwater habitat for aquatic resources, and mudflats
 provide habitat for a variety of invertebrate species and microfauna. The TCEQ has designated
 sustainable fisheries as those waterbodies with the potential to have sufficient fish production of
 fishing activity to create significant long-term human consumption of fish; all designated
 waterbodies and all bays, estuaries, and tidal rivers are considered to have sustainable fisheries
 (see table 4.3.2-2 and appendix G). All of the fisheries in the Project area support warmwater
 species. Table 4.6.2-1 lists representative finfish and crustacean species found in the vicinity of
 the LNG Terminal site and pipeline facilities, and identifies the salinity regime in which they
 occur.




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                                           Table 4.6.2-1
   Representative Fish Species Occurring in Aquatic Habitats in the Rio Grande LNG Project Area
             Common Name                     Scientific Name                      Salinity Regime
  Crustaceans
   Blue crab                                Callinectes sapidus                 Estuarine and marine
   Crayfish                                 Procambarus spp.                         Freshwater
    Fiddler crab                                  Uca spp.                             Estuarine
    Grass shrimp                             Palaemonetes spp.                         Estuarine
    Marsh periwinkle                         Littoraria irrorata                       Estuarine
    Penaeid shrimp                  Farfantepenaeus and Litopenaeus spp.        Estuarine and marine
  Finfish
    Atlantic stingray                         Dasyatis sabina                   Estuarine and marine
    Atlantic croaker                      Micropogonias undulatus               Estuarine and marine
    Black drum                                Pogonias cromis                    Estuarine and marine
    Channel catfish                          Ictalurus punctatus               Freshwater and estuarine
    Common snook                         Centropomus undecimalis                 Estuarine and marine
    Crappie                                    Pomoxis spp.                           Freshwater
    Gafftopsail catfish                       Bagre marinus                      Estuarine and marine
    Gar                                      Lepisosteus spp.                  Freshwater and estuarine
    Gray snapper                             Lutjanus griseus                   Estuarine and marine
    Gulf menhaden                           Brevoortia patronus                 Estuarine and marine
    Hardhead catfish                            Arius felis                      Estuarine and marine
    Largemouth bass                        Micropterus salmoides               Freshwater and estuarine
    Mosquitofish                             Gambusia affinis                  Freshwater and estuarine
    Pinfish                                 Lagodon rhomboides                  Estuarine and marine
    Red drum                                 Sciaenops ocellatus                Estuarine and marine
    Rough silverside                         Membras martinica                  Estuarine and marine
    Sheepshead minnow                      Cyprinodon variegatus                Estuarine and marine
    Southern flounder                     Paralichthys lethostigma              Estuarine and marine
    Speckled seatrout                      Cynoscion nebulosus                  Estuarine and marine
    Striped mullet                            Mugil cephalus                    Estuarine and marine
    Sunfish                                    Lepomis spp.                          Freshwater
    Tarpon                                  Megalops atlanticus                 Estuarine and marine
  Source: TPWD 2014.



         Life histories of many Gulf of Mexico fish species can be characterized as estuarine-
 dependent because they typically spawn in open water, allowing their larvae to be carried inshore
 by currents. Juvenile fish generally remain in estuarine nurseries for about a year, taking
 advantage of the estuary’s greater availability of food and protection, before returning to the Gulf
 of Mexico to either spawn or spend the remainder of their lives. Estuary-dependent species
 potentially occurring within the Project area include red drum, gray snapper, blue crab, and
 penaeid shrimp.

        In 2013, the Port of Brownsville and Port Isabel together ranked as the second largest
 commercial fishing port by value along the Gulf of Mexico (National Ocean Economics Program
 2016). Shrimp are the top commercial species in the region, most of which are caught offshore


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 (Fisher 2015). As discussed in section 4.9.4.2, recreational fishing in the Project area is most
 common in the bays along the coasts of Cameron and Willacy Counties. Speckled seatrout,
 redfish, southern flounder, and sheepshead are the most commonly caught species in these bays.
 Offshore fishing in south Texas targets red snapper, king mackerel, Spanish mackerel, gray
 triggerfish, tuna, and billfish, but comprises only about 5 percent of fishing effort spent in the
 bays (TPWD 2015a). Additionally, a small number of anglers and fishing guides fish for snook
 specifically within the BSC, where the species is known to school (Ferguson 2015). The Project
 would not cross commercial fisheries or significant recreational fisheries in Jim Wells, Kleberg,
 or Kenedy Counties. Impacts on recreational and commercial fisheries are addressed in section
 4.9. No invasive aquatic species have been documented in the waterbodies in the vicinity of the
 Project (TexasInvasives.org 2016).

        LNG Terminal

         Habitat for aquatic resources includes estuarine emergent wetlands, mudflats, and open
 water habitat within the LNG Terminal site and within the BSC. The BSC has been designated
 as an estuarine surface water that supports exceptional aquatic life (TCEQ 2014). The estuarine
 wetlands, mudflats, and open water lagoon (Aquatic Resource 1) on the LNG Terminal site have
 the potential to provide habitat for species identified in table 4.6.2-1; however, the placement of
 dredged material from the original construction of the BSC during the 1930s isolated the lagoon
 from tidal exchange and altered the hydrology of wetlands on the site. Neither the storage areas
 nor the Port Isabel dredge pile would affect waterbodies or wetlands.

         The open water lagoon and the BSC substrates are estuarine unconsolidated bottom
 sediment that provide habitat for benthic (bottom-dwelling) organisms and fish. Substrates
 within the BSC are subject to frequent disturbance from maintenance dredging and vessel traffic.
 Wetlands on the LNG Terminal site are described in detail in section 4.4; open water is described
 in section 4.3.2.

         Waterbodies in the vicinity of the LNG Terminal site, including LNG carrier transit
 areas, include the Bahia Grande Channel, Bahia Grande, Laguna Madre, and South Bay (see
 section 4.3.2). Each of these waterbodies supports marine and estuarine aquatic resources.
 Public scoping comments identified the waterbodies in the Project vicinity as habitat for aquatic
 organisms. The Bahia Grande was historically a large and productive wetland and open water
 system connected to the Laguna Madre; however, construction of the BSC and SH-48 during the
 1930s obstructed tidal flow to the Bahia Grande, which degraded habitat suitability for estuarine
 species and resulted in fish kills. The Bahia Grande and its channel are part of an ongoing
 coastal wetland restoration project (FWS 2015a). Public comments on the draft EIS also stated
 that the Project would have adverse impacts on seagrasses in the Bahia Grande. No seagrasses
 are currently mapped in the Bahia Grande, nor is the Bahia Grande identified as an area
 containing seagrass in the TPWD’s 2012 update to its Seagrass Conservation Plan (Onuf et al.
 2012, TPWD 2019); however, anecdotal records indicate that earlier restoration efforts have
 resulted in some seagrasses growing in the interior of the wetland unit (Brownsville Herald
 2017).

        The Laguna Madre is a long, narrow lagoon between the Texas mainland and South
 Padre Island, extending from Corpus Christi Bay into Mexico; South Bay forms the



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 southernmost bay in the Laguna Madre System. The Lower Laguna Madre and South Bay are
 designated as supporting exceptional aquatic life; however, the Lower Laguna Madre is impaired
 for bacteria affecting oyster waters (TCEQ 2014). The Laguna Madre and South Bay both
 support oyster reefs and areas of submerged aquatic vegetation (or seagrass) (TPWD 2016e,
 USGS 2006b). Oyster reefs provide habitat for marine organisms, including juvenile crabs and
 fish, reduce turbidity by filtering the water column, and may provide protection from waves and
 currents (NMFS 2016a). Similar to estuarine wetlands, seagrass beds provide feeding grounds
 for adult fish and nursery areas for larval and juvenile fish and invertebrates (TPWD 2016f).
 Seagrass covers about 67 percent of the substrate of the Lower Laguna Madre and South Bay,
 and potential impacts on seagrasses and oyster reefs were identified as an issue of concern in
 public scoping comments (USGS 2006b).

         Portions of the BSC, the Bahia Grande Channel, the Laguna Madre, and South Bay have
 been designated as EFH. Marine and estuarine waterbodies may also contain suitable habitat for
 state and federally listed species. EFH is discussed in section 4.6.3; impacts on federally listed
 species are discussed in section 4.7.

         Dredged material that is not used as fill at the LNG Terminal site would either be placed
 at the New Work ODMDS via mechanical means, or at Port of Brownsville Placement Areas 5A
 and/or 5B via hydraulic means. RG LNG is also considering potential beneficial uses of dredged
 material (see section 4.3.2.2). The New Work ODMDS is about 4.4 miles off the coast of South
 Padre Island in water depths of 60 feet or greater. Material from maintenance dredging would be
 placed in an available upland placement area (PA 4a, 4b, 5a, or 5b), a nearshore beach
 nourishment site (the Feeder Berm), or the Maintenance ODMDS. The Maintenance ODMDS is
 about 1.9 miles from shore, and is at a depth of about 44 feet. The Feeder Berm is a nearshore
 beach nourishment site between 0.4 and 0.9 mile offshore of South Padre Island (see section
 4.2.3). It is designed such that material is transported toward and along South Padre Island
 beaches via nearshore currents (COE 2014).

        Pipeline System

         The waterbodies that would be crossed or affected by the pipeline facilities, as well as the
 proposed crossing method and fishery and water quality classification for each feature, are
 included in appendix G. The Arroyo Colorado, a tidally influenced waterbody crossed at MP
 100.1, is designated as an estuarine surface water that supports exceptional aquatic life; however,
 it is impaired due to low levels of dissolved oxygen (TCEQ 2014). Los Olmos Creek, crossed at
 MP 19.1, is an estuarine tributary to Baffin Bay, which is designated as supporting high aquatic
 life use (TCEQ 2012, 2014). As shown in appendix G, East Main Drain (MP 82.4), Resaca de
 los Cuates (MP 118.9), and several unnamed freshwater intermittent and perennial waterbodies
 are designated as low quality for supporting aquatic life.

         The remaining freshwater waterbodies, which are not classified by the TCEQ, are
 predominately farm ponds and reservoirs, drainage canals, and streams that may support
 warmwater, freshwater fisheries. Tidal channels, flats, and estuarine wetlands from MP 125.0 to
 the terminus of the route that receive tidal exchange with the BSC or Lower Laguna Madre are
 not designated by the TCEQ but support warmwater estuarine fisheries.




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         The Channel to San Martin Lake (MP 133.5) and Bahia Grande Channel (MP 135.2)
 function as EFH for estuarine-dependent species. In addition, The Arroyo Colorado (MP 100.1)
 and Los Olmos Creek (MP 19.1) both provide EFH about 0.25 mile downstream of the pipeline
 crossings. Waterbodies that provide EFH may also contain suitable habitat for state and
 federally listed species. EFH is discussed in section 4.6.3; impacts on federally listed species are
 discussed in section 4.7.

 4.6.2.2         Impacts and Mitigation

           LNG Terminal

        Potential impacts on aquatic resources during construction and operation of the LNG
 Terminal include those associated with dredging and dredged material placement; construction
 of LNG Terminal facilities, including the marine berths and turning basin; vessel traffic; site
 modification and stormwater runoff; water use, including hydrostatic testing and operation of the
 firewater system; facility lighting; and spills or leaks of hazardous materials. Several public
 scoping comments expressed concern over impacts on aquatic resources from Project
 construction and operation, including those impacts identified above.

           Dredging

         RG LNG proposes to dredge 94.3 acres of open water (including about 68.7 acres within
 the BSC outside of the LNG Terminal site boundary), and 14.3 acres of wetlands and mudflats to
 create the marine facilities. As discussed in section 4.3.2.2, additional open water areas within
 the BSC may be affected by dredging. The MOF would be dredged to a depth of -10 feet
 MLLW (plus -2 feet of overdredge allowance) and would generate about 39,000 yd3 of dredged
 material. During construction of the marine berths and the turning basin, about 6.5 mcy of
 material would be dredged and about 0.6 mcy of material would be removed by land-based
 excavation. The marine berths and turning basin would be dredged to a depth of about -43 feet
 MLLW (plus -2 feet of overdredge allowance). In addition, 0.4 acre of open water would be
 within the firewater intake canal. RG LNG proposes to conduct all dredging and excavation
 during Stage 1 of Project construction as part of site preparation. Dredging for the MOF would
 require about 2 weeks; dredging of the remaining marine facilities would occur over a period of
 14 months. Dredging would permanently modify the profile of the BSC, and would convert
 existing wetlands and mudflats to open water.

          Potential impacts on aquatic resources resulting from dredging activities include direct
 take and habitat modification as well as temporary increases in noise, turbidity, and suspended
 solid levels. Most fish species are highly mobile and would likely leave the area during dredging
 activities. During dredging, the benthic community would be reduced in species richness,
 species abundance, and biomass through direct mortality. This would reduce the amount of prey
 available for fish species in the Project area; however, marine worms such as polychaetes and
 oligochaetes, as well as other benthic species would quickly recolonize disturbed areas following
 dredging. Through natural processes and rapid population growth, these species take advantage
 of unoccupied space in newly exposed sediments (Minerals Management Service 2004).
 Therefore, we anticipate that dredging would result in a negligible, temporary impact on the
 benthic community. Following construction activities, aquatic resources would return to the



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 recessed berthing area, which would be similar to the existing habitat within the BSC, but would
 contain an additional 30.2 acres of open water habitat and have an increased water depth within
 the marine facilities.

         Dredging would result in the conversion of 3.7 acres of EEM and 10.6 acres of mudflats
 to open water habitat. Because wetlands at the LNG Terminal site were isolated by construction
 of the BSC and SH-48, they have restricted tidal exchange and reduced function as habitat for
 aquatic species. The permanent reduction in wetland and mudflat habitat within the Project area
 is not expected to result in significant displacement of aquatic species.

         Dredging activities would temporarily increase noise, turbidity, and suspended solid
 levels within the water column, which could reduce light penetration and the corresponding
 primary production of aquatic plants, algae, and phytoplankton. Increased turbidity and
 suspended solid levels could also adversely affect fish eggs and juvenile fish survival, benthic
 community diversity and health, foraging success, and suitability of spawning habitat.
 Sediments in the water column could be deposited on nearby substrates, burying aquatic
 macroinvertebrates. Impacts on aquatic resources due to increased turbidity and suspended solid
 levels would vary by species; however, the aquatic resources present within the Project area are
 likely accustomed to regular fluctuations in noise and turbidity levels from regular maintenance
 dredging within the BSC. Further, conditions would be expected to return to pre-construction
 conditions within a few hours of the end of dredging (COE 2014). The Laguna Madre and South
 Bay connect to the BSC more than 2.5 miles from the LNG Terminal site; therefore, impacts of
 dredging and dredged materials on seagrass beds and oyster beds within these waterbodies are
 not anticipated. Further, any seagrasses in the Bahia Grande are anecdotally noted to be in the
 interior of the system, indicating that any increase in suspended sediments through the channel
 would likely settle prior to reaching seagrass beds. Impacts from turbidity in the general Project
 area during dredging would be minimized through RG LNG’s adherence to applicable permit
 requirements (see section 4.3.2.2).

          Invertebrate and finfish species spawn, feed, and migrate in the vicinity of the New Work
 and Maintenance ODMDS sites and Feeder Berm (see section 4.2.3). Placement of dredged
 materials at these locations would result in impacts similar to those described for dredging
 activities, including increased turbidity and sedimentation resulting in reduced light penetration,
 depleted dissolved oxygen concentrations, decreased foraging success, and burial from settling
 sediments. These temporary impacts could affect the movement or migration of adult finfish.
 Early life stage invertebrates and finfish (e.g., larvae and juveniles) could suffer mortality from
 burial in sediment or stress from adverse environmental conditions (e.g., reduced dissolved
 oxygen).

         All dredging would be conducted using equipment designed to meet the Texas state water
 quality standards and in accordance with applicable COE permit requirements, which would
 require that construction activities be performed in a manner to minimize turbidity in the work
 area and otherwise avoid adverse effects on water quality and aquatic life. RG Developers
 submitted the CWA Section 10/404 application to the COE for the LNG Terminal on July 27,
 2016, and submitted a revised permit application on March 30, 2018. Given the temporary
 nature of dredging and dredged materials placement operations, and because RG LNG would be
 required to implement the measures in applicable COE permits and the state water quality



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 requirements for dredging and dredged material management, we conclude that dredging and
 dredged materials placement for construction and operation of the LNG Terminal would have
 short-term and minor impacts on fisheries resources.

        Pile-driving

         Where practicable, RG LNG would construct the marine facilities from the shoreline to
 minimize potential impacts on aquatic resources; however, construction of the LNG Terminal
 would require the installation of four in-water piles to support the marine facilities (two at the
 MOF and two for the fixed aid to navigation), which would take about four days. As discussed
 in section 2.5.1.3, pile-driving activities would take place up to 10 hours per day, 5 days per
 week. Marine pile-driving would also be required for sheet piling at the MOF, which is
 anticipated to occur over 25 days. The intensity of the sound pressure levels produced during
 pile-driving depends on a variety of factors such as the type and size of the pile, the substrate
 into which the pile is being driven, the depth of water, and the type of pile-driving equipment
 being used.

         In discussing the impacts of sound on aquatic resources, it is important to note the
 difference in sound intensity in air versus water. Sound in water and sound in air are both waves
 that move similarly and can be characterized the same way; however, the differences in density
 and sound speed (the speed at which the sound wave travels through the medium, in this case air
 or water) result in a different reference pressure in air than in water.

         As in-water pile-driving has been proposed, RG LNG has provided preliminary estimates
 of underwater noise resulting from pile-driving based on literature reviews. Steel pipe piles and
 concrete piles would be driven with impact hammers. RG LNG has committed to using
 vibratory hammers to drive the sheet pilings at the MOF, which would result in lower sound
 levels than impact-driven piles; however, if refusal is met, an impact hammer may be employed.
 Table 4.6.2-2 summarizes the underwater sound associated with marine pile-driving for the
 Project.

          Sound is measured in decibels, which are relative units that compare two pressures: the
 sound pressure and a reference pressure. The reference pressures typically used for air and water
 are not the same, and a direct comparison of values between in-air and underwater noises is not
 appropriate. Underwater sounds use a reference pressure of 1 micropascal (µPa) while in air
 sounds have a reference pressure of 20 µPa. For in-air sound levels, the reference pressure is
 often not explicitly stated, as is the case in this text; in-air sound level estimates are described in
 detail in section 4.11.2. The reference pressure of underwater sounds is typically stated, and is
 presented in this text. This is done to remind readers of the different reference pressures between
 underwater and in air sound levels, and avoid direct comparison. Therefore, in this text, in air
 sound levels are presented in decibels while underwater sound levels are presented as “dB
 referenced to (re) 1 µPa.” Underwater sound levels may also include a distance to indicate
 setback from the sound source. For example, a setback distance of 1 meter would be expressed
 as “dB (re 1 µPa) at 1 meter.” Propagation distances in water are farther than in air because
 water is denser; however, loudness underwater diminishes quickly with distance from the sound
 source.




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                                          Table 4.6.2-2
      Estimated Sound Levels from Underwater Pile-Driving for the Rio Grande LNG Project and
                                     Effects Levels for Fish
                                                  Cumulative Sound
                                                                              Root Mean Square
                                                    Exposure Level                                         Peak Sound Level
   Pile-driving Activity or Effect Level                                     Sound Level (dB RMS)
                                                       (SELcum)                                              (dB re 1 µPa)d
                                                                                (dB re 1 µPa)c
                                                   (dB re 1 μPa2s)a,b
  36- to 48-inch Steel pile (impact hammer) e          175 to 185f                   185 to 195                 198 to 210
  36- to 48-inch concrete pile (impact                     166f                         176                         188
  hammer)e
  Sheet pile (vibratory hammer/impact                       --                        163/195                        --
  hammer)f
  Behavioral effects                                        --                          150                          --
  Injury onset (all sizes)                                  --                                                      206
  Injury onset (>2 grams)                                  187                            --                         --
  Injury onset (<2 grams)                                   183                            --                         --
  Sources: NMFS 2017, California Department of Transportation 2015, Stadlar and Woodbury 2009, ICF Jones and Stokes
            2012.
  a
            1 µPa is a reference pressure of 1 micropascal, used for underwater sound propagation.
  b
            SELcum = cumulative sound exposure level. The cumulative sound exposure level is the energy accumulated over
            multiple strikes or continuous vibration over a period of time.
  c
            The root mean square exposure level is the square root of the average squared pressures over the duration of a pulse
            and represents the effective pressure and intensity produced by a sound source.
  d
            Peak sound pressure level is the largest absolute value of instantaneous sound pressure.
  e
            Estimated values include range of underwater sound levels for water-based pile-driving of steel piles between 36
            and 60 inches in diameter for land- and marine-based pile-driving, and 24-inch concrete piles (NMFS 2017).
  f
            These values are single strike values, which are used to develop the cumulative sound levels during modeling.



         The primary impacts on aquatic resources from pile-driving activities would be
 avoidance of the area, stress, or injury due to the underwater sound pressure levels. Studies have
 shown that the sound waves from pile-driving may result in injury or trauma to fish, sea turtles,
 and other animals with gas-filled cavities, such as swim bladders, lungs, sinuses, and hearing
 structures (Popper and Hastings 2009). NMFS uses 150 decibels at a reference pressure of 1 μPa
 (dB re 1 μPa) as the threshold for behavioral effects on fish species of particular concern, citing
 that noise levels in excess of 150 dB re 1 μPa root mean square (RMS) can cause temporary
 behavior changes (startle and stress) that could decrease a fish’s ability to avoid predators
 (NMFS 2017). The thresholds for the onset of injury to fish are summarized in table 4.6.2-2.
 Table 4.6.2-3 includes the distances required for in-water pile-driving noise to attenuate to below
 the impact levels identified in table 4.6.2-2.




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                                               Table 4.6.2-3
                   Estimated Zones of Impact for Fish from Underwater Pile-Driving Sound
      Pile-driving Activity or     Installation              Distance to Attenuation Below Take Levels (feet) a
            Effect Level             Method           Steel Sheet Pile            Steel Pipe Pile            Concrete Pile
                                     Vibratory             241.3 feet                    --                         --
  Behavioral (150 dB RMS)
                                      Impact               6.2 milesb                 1.3 miles                  0.3 mile
  Injury (206 dB re 1 µPa; all       Vibratory              0.0 feet                     --                         --
  sizes)                               Impact                60.6 feetb                     9.6 feet             2.1 feet
  a
              Where the distance is 0.0 feet, the source level is less than the noted threshold.
  b
              RG LNG does not propose to install sheet piling using an impact hammer unless refusal is met with the vibratory
              hammer.


         As RG LNG’s estimated sound levels for pile-driving exceed the threshold for behavioral
 effects and injury to fishes, pile-driving activities could result in the mortality, injury, or
 disturbance of fishes that are present adjacent to pile-driving activity. However, given RG
 LNG’s commitment to conduct the majority of pile-driving from land to minimize impacts on
 aquatic resources, and the planned use of a vibratory hammer for the sheet piling at the MOF,
 which would likely cause behavioral impacts but not injury, we find that overall impacts on fish
 would be temporary and minor. A discussion of impacts on protected marine species from pile-
 driving is included in section 4.7.

            Vessel Traffic

         During construction and operation of the LNG Terminal, barges, support vessels, and
 LNG carriers would call on the LNG Terminal, thereby increasing ship traffic within the BSC
 and Gulf of Mexico. Potential impacts on aquatic marine mammals resulting from vessel strikes
 are discussed in section 4.7.2. Potential impacts on aquatic resources resulting from increased
 vessel traffic include shoreline erosion and resuspension of sediments, ballast water discharges,
 cooling water discharges, and increased noise levels. The following sections describe these
 potential impacts as well as measures proposed by RG LNG to minimize impacts on aquatic
 resources.

            Shoreline Erosion and Resuspension of Sediments

          During construction of the LNG Terminal, barges would deliver large equipment and
 materials to the LNG Terminal site. RG LNG estimates that barges would make 880 marine
 deliveries to the LNG Terminal site during construction. Marine deliveries to the LNG Terminal
 site would occur about 15 times per month during the first 5 years of construction; no deliveries
 are currently anticipated during the remainder of the construction period, though sporadic
 deliveries could occur as needed. During operation, about 312 LNG carriers would be expected
 to call on the LNG Terminal per year (see section 4.9.4).

        Vessel traffic during construction and operation along the BSC, in the turning basin and
 berthing areas, could increase shoreline erosion and suspended sediment concentrations due to
 increased wave action. Turbidity resulting from suspension of sediments could reduce light
 penetration and photosynthetic oxygen production. Disturbance could also introduce chemical
 and nutrient pollutants from sediments, if present. The channel embankments and slope of the



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 LNG Terminal site along the BSC, and the marine facilities would be modified during
 construction and the shoreline would be stabilized using rip-rap to minimize the potential for
 erosion due to vessel traffic (see section 4.1.3.4). In addition, as described in section 4.3.2.2,
 current speeds within the BSC near the LNG Terminal site are estimated to be similar to pre-
 Project conditions, thereby reducing the potential for increased erosion due to stronger currents
 after construction.

         The BSC was specifically created to provide deepwater access for maritime commerce
 and is maintained by regular dredging. Similarly, LNG carriers transiting the Gulf of Mexico
 would use established shipping channels. As such, use of the waterways by LNG carriers,
 barges, and support vessels during construction and operation of the LNG Terminal would be
 consistent with the planned purpose and use of these active shipping channels, and associated
 impacts on aquatic resources due to increased shoreline erosion and resuspension of sediments
 would be negligible.

        Ballast Water Discharge and Hull Fouling

         The effects of ballast water discharges on four ambient water quality parameters (i.e.,
 temperature, pH, dissolved oxygen, and salinity) are described in section 4.3.2.2. Ballast water
 is stored below the ship’s hull; as a result, the temperature of discharged water is not expected to
 deviate substantially from ambient water temperature. The pH and salinity of ballast water
 would be similar to seawater, and would therefore be similar to the pH in the BSC, which
 receives tidal flow from the Gulf of Mexico. Therefore, any changes in salinity levels resulting
 from ballast water discharges would be negligible.

         Dissolved oxygen levels below 4 milligrams per liter (mg/L) are generally considered
 unhealthy for aquatic life, and levels below 2 mg/L are considered hypoxic and inadequate to
 support most aquatic life. As discussed in section 4.3.2.2, ballast water would contain low
 dissolved oxygen levels and could decrease existing dissolved oxygen levels within the
 immediate vicinity of the discharge point. Depending on the oxygen levels present in both the
 ballast and ambient water at the time of discharge, aquatic resources present in the vicinity of the
 discharge point could be exposed to dissolved oxygen levels considered unhealthy for aquatic
 life. The general adaptability of resident species within the BSC to natural variation in oxygen
 levels, and the ability to move over a short distance to more suitable conditions, would minimize
 the adverse impacts associated with ballast water discharges.

        Vessels calling on the LNG Terminal would be required to adhere to the EPA and Coast
 Guard regulations32 that prevent the introduction of exotic species such as:

        •   limiting the concentration of living organisms in ballast water;




 32
        Applicable laws, programs, and regulations include the Nonindigenous Aquatic Nuisance Prevention and Control Act
        of 1990; the National Invasive Species Act of 1996; the National Aquatic Invasive Species Act of 2003, as amended;
        the National Ballast Water Management Program; the Shipboard Technology Evaluation Program; NVIC 07-04,
        Change 1; and Vessels Carrying Oil, Noxious Liquid Substances, Garbage, Municipal or Commercial Waste, and
        Ballast Water.



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        •   washing anchors and anchor chains to remove organisms at their point of origin;

        •   removing fouling organisms;

        •   cleaning ballast tanks regularly; and

        •   disposing of any waste in accordance with regulations.

         In addition, the Coast Guard has established engineering requirements and an approval
 process for ballast water treatment systems installed on ships (see section 4.3.2.2). The Sierra
 Club commented that the draft EIS did not consider the efficacy and timeline for implementing
 these regulations, which went into effect in 2012. As described in section 4.3.2.2, most ships
 calling on the Project would be expected to conform with applicable standards. Prior to ballast
 water treatment, the Coast Guard mandates a ballast water exchange process for vessels arriving
 in U.S. ports, which includes the complete exchange of ballast water in the open ocean at least
 200 miles from U.S. waters. The ballast water exchange was reported to reduce organisms by 88
 to 99 percent; ballast water treatment would further reduce the organisms in ballast water
 (National Research Council 2011). While these requirements may not eliminate all risk of
 invasive species entering U.S. waters, they would minimize the risk of introducing invasive
 species into the Project area.

          Given that the amount of ballast water discharged into the BSC during each LNG carrier
 visit to the LNG Terminal during operations would make up less than 0.1 percent of the
 approximately 25 billion gallons of water within the BSC, and because vessels would be subject
 to U.S. regulations to prevent the introduction of exotic species, we have determined that impacts
 on aquatic resources from ballast water discharges or hull fouling would be negligible.

        Cooling Water Discharge

         During operation, LNG carriers use water to cool the main engine, other machinery, and
 for hoteling services as described in section 4.3.2.2. The cooling water would be withdrawn
 from and then returned to the BSC. The volume of cooling water used per vessel would be
 negligible compared with the total volume of the BSC. Intake of water can result in the
 entrainment of aquatic resources. Intakes are screened; screens are typically spaced about 25
 millimeters or more apart and would avoid impacts on most pelagic adult and juvenile finfish
 (Gatton 2008). However, early life stages that use the channel for nursery habitat would be more
 susceptible to entrainment. Based on the lack of identified spawning or nursery habitat within
 the BSC, the loss of eggs and larvae during cooling water intake is expected to be minor.

         Cooling water return temperatures vary widely depending on the type of LNG carrier and
 mode of operation. Based on a review of available information for a similar project in the Gulf
 of Mexico, we anticipate that cooling water discharged at the LNG Terminal site could range
 between 2.7 and 7.2 °F warmer than ambient water temperatures (FERC 2015). Fish and
 invertebrates within the immediate vicinity of the LNG carrier could be temporarily affected by
 this increase in temperature; however, many of the species present are mobile and would be
 expected to relocate to more suitable conditions during discharges. Given the volume of cooling
 water discharged relative to the total volume of water within the BSC, and the mobility of



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 resident species, we have determined that impacts on aquatic resources from cooling water
 discharge would be intermittent and minor.

        Increased Noise Levels

         Engine noise produced by LNG carriers would result in temporary increases in
 underwater noise levels near the transiting ships. Noise generated by LNG carriers is generally
 omni-directional, emitting from all sides of the vessel (Whale and Dolphin Conservation Society
 2004). However, sound levels are greatest on the sides of the ship and weakest on the front and
 rear of the ship. Impacts on aquatic resources due to increased noise levels would vary by
 species; however, the aquatic resources present within the LNG carrier routes are likely
 accustomed to regular fluctuations in noise levels from ongoing industrial and commercial
 shipping activities. Additionally, as described above, many of the species present within the
 shipping routes are mobile and would be able to move out of areas of noise that would startle or
 stress aquatic resources present. Due to the existing shipping activities within the BSC and the
 mobility of resident species, we have determined impacts on aquatic resources associated engine
 noise produced by LNG carriers during operation of the LNG Terminal would be intermittent
 and minor.

        Site Construction and Stormwater Runoff

         Clearing and ground disturbance for construction of the LNG Terminal would remove
 vegetation cover at the site and expose the underlying soils to the effects of wind and rain, which
 increases the potential for soil erosion and sedimentation of aquatic habitat. During operation,
 the amount of impervious surface that would be constructed for the LNG Terminal would result
 in an increased volume of stormwater runoff. Potential impacts from stormwater runoff on
 aquatic resources include increased turbidity and suspended solid levels, which are discussed
 above (see section 4.6.2.2, Dredging).

         RG LNG would install erosion and sediment controls in accordance with its Plan and
 Procedures prior to beginning construction of the LNG Terminal (see appendices D and E). An
 EI would monitor field conditions daily in areas of active construction to ensure that the erosion
 and sediment controls were properly installed, adequate, and functional. Measures to control
 erosion and sedimentation during construction are discussed in detail in section 4.2.2.1 and in
 RG LNG’s SWPPP. Per our recommendation in section 4.2.2.1, a final construction SWPPP as
 well as copies of RG LNG’s operational SWPPP would be filed with the Secretary prior to
 construction. To manage runoff at the LNG Terminal site, RG LNG would construct a
 stormwater levee, drainage system, and stormwater ponds. The stormwater levee would be
 constructed surrounding the LNG Terminal site to protect the site from flooding, which is further
 discussed in section 4.1.3.3.

         During construction and operation of the LNG Terminal, stormwater runoff would be
 discharged to the BSC via the drainage system and ponds, and would not be directed to the
 hypersaline Bahia Grande. Where stormwater could be contaminated by spills or leaks of
 hazardous materials, such as near the LNG trains and truck loading areas, it would be directed
 through an oil-water separator prior to discharging to the BSC. Releases from stormwater ponds
 to the BSC would be controlled to reduce potential shoreline scour. Based on this drainage



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 design and adherence to measures described in the SWPPP, the potential for impacts on fisheries
 resources from stormwater runoff and spills would be negligible.

        Facility Water Use

        Hydrostatic Testing

         Prior to being placed into service, the LNG storage tanks would be hydrostatically tested
 with surface water to ensure their integrity. Water to be used for testing of the LNG storage
 tanks would be withdrawn from the BSC and treated via filtration or use of a corrosion inhibitor,
 if needed, before use, as described in section 4.3.2.2. The water withdrawal process could
 entrain fish eggs and juvenile fish present near the intake structures within the BSC. RG LNG
 would appropriate water from the BSC at a rate of 3.7 to 5.0 million gallons per day (between
 2,604 and 3,472 gpm) and would place the intake structures (screened with 5- to 8-millimeter
 mesh) as deep as possible to reduce the impingement of biological organisms and debris from the
 intake screens. RG LNG developed a draft LNG Tank Hydrostatic Test Plan for the use of water
 from the BSC for hydrostatic testing, which would be finalized prior to construction in
 accordance with our recommendation in section 4.3.2.2. RG LNG is also consulting with NMFS
 and the TPWD to identify requirements and mitigation measures for water withdrawal. With the
 implementation of these measures, impacts on aquatic resources as a result of water intake would
 be temporary and negligible.

         Freshwater would be used to hydrostatically test freshwater storage tanks and piping and
 would be discharged to the BSC. RG LNG would minimize the amount of water required for
 hydrostatic testing by reusing water at multiple test locations, as practicable. Where possible,
 this water would also be reused for dust suppression or other onsite uses. Following completion
 of the hydrostatic tests, municipal water would be tested for contamination prior to release. The
 volume of discharge would be negligible compared with the total volume of the BSC (estimated
 to be about 25 billion gallons). As aquatic organisms in the BSC are subjected to salinity
 changes from precipitation events and tidal fluctuations, we have determined that impacts on
 aquatic resources due to the discharge of hydrostatic test water would be temporary and
 negligible.

        Firewater System

         During operation of the LNG Terminal, a firewater system would be maintained for fire
 emergencies. When in operation, the system would be supplied by a freshwater storage tank
 filled with municipal water. If the tank were depleted or unavailable, seawater would be pumped
 from the BSC, via a short water intake channel, at a rate of about 6,770 gpm. Intake structures
 would be screened to minimize entrainment of aquatic resources and prevent debris from
 entering the system. After use, water would be directed into the LNG Terminal’s stormwater
 drainage system before being discharged back into the BSC. Because of the infrequent operation
 of the seawater system and use of screening to minimize entrapment of aquatic resources, we
 conclude that the firewater system would have intermittent and negligible impacts on aquatic
 resources.




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        Lighting

         Illumination of surface waters during construction and operation could cause artificially
 induced aggregations of small organisms that rely on sun or moonlight to determine movement
 patterns, resulting in increased predation by larger species. The Project would require adequate
 lighting for construction, facility operations, and safety; however, RG LNG would minimize the
 effects of artificial lighting by limiting outdoor lighting to that required by regulation, and
 designing shielded or downward facing lighting to minimize dispersion. As discussed in section
 4.6.1.2, we have also recommended that RG Developers coordinate with the TPWD and FWS to
 finalize lighting plans. Generally, impacts on aquatic species from nighttime lighting at the LNG
 Terminal site would be minor, if present within or immediately adjacent to illuminated areas, as
 these species may change their feeding habits over time. However, we have determined that the
 overall impacts on aquatic resources from increased lighting during construction and operation of
 the LNG Terminal would be negligible given the measures to minimize the dispersion of
 nighttime lighting.

        Inadvertent Spills

         During construction and operation, hazardous materials entering the BSC from spills or
 leaks could have adverse impacts on aquatic resources. The impacts are caused either by the
 physical nature of the material (e.g., physical contamination and smothering) or by its chemical
 components (e.g., toxic effects and bioaccumulation). These impacts would depend on the depth
 and volume of the spill, as well as the properties of the material spilled. As discussed in section
 4.3.2.2, RG LNG would implement its SPCC Plan during construction and operation of the LNG
 Terminal, which includes spill prevention measures, mitigation measures, and cleanup methods
 to reduce potential impacts should a spill occur. The draft SPCC Plan also addresses storage and
 transportation of hazardous materials; we have recommended that these plans be finalized prior
 to construction in section 4.2.2.1. Given these impact minimization and mitigation measures, we
 conclude that the probability of a spill of hazardous materials entering the BSC is small and any
 resulting impacts on aquatic resources would be temporary and minor.

        Pipeline Facilities

        Header System and Pipeline 1

         Impacts on aquatic resources from construction and operation of the Header System and
 Pipeline 1 could result from in-water construction, inadvertent spills, and hydrostatic testing.
 One intermittent waterbody would be crossed by the Header System via open-cut. The
 centerline of Pipeline 1 would cross 63 waterbodies, including 21 perennial streams, 19
 intermittent streams, 10 ephemeral streams, and 13 ponds and reservoirs. RB Pipeline would
 cross 26 waterbodies via trenchless construction methods, including 5 by conventional bore and
 21 by HDD. In addition, four waterbodies would be within the construction workspace but not
 crossed by the Pipeline 1 centerline. A detailed characterization of the waterbodies that would
 be crossed by the Pipeline System is provided in section 4.3.2 and appendix G. Following
 construction of Pipeline 1, waterbody contours would be restored to pre-construction conditions,
 and riparian areas would be revegetated using native grasses, legumes, and woody species.




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 However, riparian areas are not expected to return to pre-construction conditions in the relatively
 short period between construction of Pipeline 1 and Pipeline 2.

        Pipeline 2

         Construction of Pipeline 2 would commence about 18 months after Pipeline 1 is placed in
 service, but would be collocated with Pipeline 1 and would have similar impacts on aquatic
 resources. Construction of Pipeline 2 would cross 62 of the waterbodies crossed by Pipeline 1
 using the same methods. One waterbody would be crossed using a different method: ephemeral
 stream SS-T09-004 at MP 130.0 would be crossed by the centerline of Pipeline 2, but within the
 construction workspace for Pipeline 1 (see appendix G).

        General Impacts of the Pipeline System

         In general, impacts on fisheries resulting from pipeline construction activities at
 waterbody crossings could include sedimentation and turbidity, alteration or removal of in-
 stream and stream bank cover, and introduction of water pollutants (see section 4.3.2).
 Suspension of deposited organic material and inorganic sediments could cause an increase in
 biological and chemical use of oxygen, potentially resulting in a decrease of dissolved oxygen
 concentrations in the affected area. Lower dissolved oxygen concentrations could cause
 temporary displacement of mobile organisms, such as fish, and may kill non-mobile organisms
 within the affected area.

         Because intermittent and ephemeral waterbodies provide limited habitat value for aquatic
 resources, impacts on aquatic resources as a result of crossing these waterbodies would be
 negligible. RB Pipeline would use open-cut and trenchless waterbody crossing methods as
 described in section 2.5.2.1. An open-cut crossing would result in short-term increases in
 turbidity downstream of the pipeline crossing. The concentration of suspended solids would
 decrease rapidly after completion of in-water work, but the increased siltation may cause
 degradation of benthic habitat and decreased flow of oxygenated water to benthic organisms.
 Direct loss of benthic invertebrates and protective cover may occur at open-cut crossing
 locations due to trenching and backfilling in the streambed.

         Impacts on aquatic organisms within waterbodies that would be crossed by trenchless
 construction methods (conventional bore and HDD) would generally be avoided since the
 waterbody and its banks would not be disturbed by clearing or trenching. However, if an
 inadvertent release of HDD drilling fluid occurs within a waterbody, the resulting turbidity could
 have a short-term effect on aquatic organisms. RB Pipeline would implement its HDD
 Contingency Plan,33 which addresses methods for detecting and responding to inadvertent
 returns. For water withdrawals required for HDD operation, the intakes would be screened with
 100 mm mesh to minimize entrainment of aquatic organisms. Further, in accordance with the
 Project-specific Procedures, pumps operating within 100 feet of a waterbody would be within
 appropriate containment to prevent spills.



 33
        RG Developers’ HDD Contingency Plan is available on FERC’s eLibrary website, located at http://www.ferc.gov/docs-
        filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession number 20160829-5283.



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          RB Pipeline would implement the measures in its Procedures to minimize impacts on
 aquatic resources, including maintaining adequate flow rates throughout construction to protect
 aquatic life and prevent the interruption of downstream uses; installing and maintaining erosion
 and sediment controls; and restoring and stabilizing waterbody contours following construction.
 RB Pipeline has stated it would complete in-water construction activities between June 1 and
 November 30 for the protection of warmwater fishes. However, section V.B.1 of FERC’s Plan
 states that this crossing timing requirement applies unless expressly permitted or further
 restricted by the appropriate federal or state agency. In its comments on the draft EIS, the
 TPWD recommended that waterbodies be crossed between November and January (the driest
 period in south Texas). Therefore, RB Pipeline must cross all waterbodies with perceptible flow
 between November 1 and January 31. The TPWD also added that if crossings cannot be done
 “in the dry” RB Pipeline should coordinate with the TPWD. In any case, and as identified in the
 Project-specific Procedures, if a need is identified to install waterbody crossings outside of the
 designated period, RB Pipeline would coordinate with the FWS and TPWD to obtain approval
 and submit appropriate documentation to FERC for review. In addition to construction through
 waterbodies, RB Pipeline has also proposed to withdraw water from multiple waterbodies for use
 during hydrostatic testing, HDD construction, and dust suppression (see section 4.3.2.2).

         Where waterbodies are located within construction workspaces, but not crossed by the
 pipeline, RB Pipeline would install erosion controls, matting, and/or temporary equipment
 bridges where needed in accordance with its Procedures.

         Refueling of vehicles and storage of fuel, oil, or other hazardous materials near surface
 waters or wetlands could result in accidental spills that could impact aquatic resources through
 physical contamination, smothering, habitat degradation, toxic effects, and bioaccumulation. RB
 Pipeline would implement its SPCC Plan during construction, which would include spill
 prevention measures and cleanup methods to reduce potential impacts should a spill occur. In
 addition, refueling and storage of hazardous materials would be restricted within 100 feet of a
 wetland or waterbody. With adherence to the mitigation measures in these plans, impacts of
 potential spills on aquatic resources associated with the Pipeline System would be minimal.

        Hydrostatic Testing

          Following construction, the pipelines would be hydrostatically tested using water
 withdrawn from multiple surface waterbodies (see section 4.3.2.2). Water withdrawals could
 result in temporary loss of habitat, change in water temperature and dissolved oxygen levels, and
 entrainment or impingement of fish or other aquatic organisms. Where practicable, RB Pipeline
 would minimize surface water withdrawals for hydrostatic testing by transferring test water
 between pipeline segments. RB Pipeline would withdraw surface water at a maximum rate of
 2,000 gpm, such that downstream flow is maintained, and pump intakes would be screened with
 4-millimeter mesh to minimize potential entrainment of aquatic organisms. Hydrostatic test
 water would be discharged via energy dissipating devices and in accordance with hydrostatic test
 discharge permits and the Project-specific Plan and Procedures. With RB Pipeline’s proposed
 mitigation measures, we conclude that hydrostatic testing would not significantly impact aquatic
 resources.




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        Aboveground Facilities

         RB Pipeline would construct three compressor stations, eight metering sites, and
 additional appurtenant facilities as part of the proposed Project; impacts from Compressor
 Station 3 are discussed above, as it would be within the boundaries of the LNG Terminal site.
 No waterbodies are located within the aboveground facilities and RB Pipeline would install
 erosion and sediment controls to prevent migration of sediment outside of construction
 workspace; therefore, no direct or indirect impacts on aquatic resources would be associated with
 the aboveground facilities.

        Contractor/Pipe Yards

        Three contractor/pipe yards would be used during construction of the pipeline facilities.
 No waterbodies are located within the contractor/pipe yards, and RB Pipeline would install
 erosion and sediment controls to prevent migration of sediment outside of contractor/pipe yards;
 therefore, no direct or indirect impacts on aquatic resources from the use of contractor/pipe yards
 would result.

        Access Roads

          Temporary and permanent access roads would be used for access to the pipeline facilities
 during construction. Where temporary access roads would cross waterbodies or are sited in
 estuarine wetlands, as discussed in sections 4.3.4.2 and 4.4.2.1, impacts on aquatic resources
 could include temporary loss of habitat and increased erosion and sedimentation. One waterbody
 would be crossed by permanent access road HS-001, which is associated with the Header
 System. RB Pipeline would minimize potential impacts on wetlands and waterbodies by
 installing and maintaining erosion and sediment controls per its Plan and Procedures.

         Existing roads that would be used for temporary access to the pipeline facilities for
 construction would require five waterbody crossings. One waterbody would be crossed by
 permanent access road HS-001, which is associated with the Header System. Waterbodies
 would be crossed by installation of a new culvert, using existing culverts, or installation of
 equipment mats, where appropriate. RB Pipeline would not use fill in wetlands crossed by
 access roads, and would place mats over saturated soils in crossed wetlands to reduce impacts
 from rutting and compaction. The construction of access roads within wetlands is an alternative
 measure to the FERC Procedures, and is discussed further in section 4.4.2.1. Temporary access
 roads would not require modification, other than the modifications described above for wetland
 and waterbody crossings.

         In conclusion, construction of the Rio Grande LNG Project would result in minor impacts
 on aquatic resources due to water quality impacts and direct mortality of some immobile
 individuals during dredging and installation of the Pipeline System across waterbodies. Further,
 noise from pile-driving would result in temporary and minor impacts on fish. In addition, spills
 of hazardous materials could affect water quality and affect aquatic organisms during
 construction and operations; however, implementation of mitigation measures in RG
 Developers’ SPCC Plans and Plan and Procedures would minimize potential impacts. During
 operations, the Project would have minor impacts on aquatic resources due to maintenance



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 dredging and increased vessel traffic. Permanent impacts on aquatic habitat would occur where
 open water would be converted to industrial/commercial land within the LNG Terminal site and
 where dredging would convert existing wetlands and mudflats to open water; however, the
 permanent reduction in wetland and mudflat habitat within the Project area is not expected to
 result in significant displacement of aquatic species.

 4.6.3 Essential Fish Habitat

 4.6.3.1          Regulatory Background

         One of the goals of the MSFCMA, as amended in 1996, is promoting the protection of
 EFH in the review of projects conducted under federal permits, licenses, or other authorities that
 affect or have the potential to affect such habitat. EFH is defined in the MSFCMA as those
 waters and substrate necessary to fish for spawning, breeding, feeding, or growth to maturity.
 All estuaries and estuarine habitats in the northern Gulf of Mexico are considered EFH (NMFS
 2010). Federal agencies that authorize, fund, or undertake activities that may adversely affect
 EFH must consult with NMFS. Although absolute criteria have not been established for
 conducting EFH consultations, NMFS recommends consolidated EFH consultations with
 interagency coordination procedures required by other statutes, such as NEPA and the ESA, to
 reduce duplication and improve efficiency. Generally, the EFH consultation process includes the
 following steps:

           •   Notification – The action agency should clearly state the process being used for EFH
               consultations (e.g., incorporating EFH consultation into the EIS);

           •   EFH Assessment – The action agency should prepare an EFH Assessment that includes
               both identification of affected EFH and an assessment of impacts. Specifically, the
               EFH should include a description of the proposed action; an analysis of the effects
               (including cumulative effects) of the proposed action on EFH, the managed fish
               species, and major prey species; the federal agency’s views regarding the effects of the
               action on EFH; and proposed mitigation, if applicable;

           •   EFH Conservation Recommendations – After reviewing the EFH Assessment, NMFS
               would provide recommendations to the action agency regarding measures that can be
               taken by that agency to conserve EFH; and

           •   Agency Response – The action agency must respond to NMFS within 30 days of
               receiving recommendations from NMFS. The response must include a description of
               measures proposed by the agency for avoiding, mitigating, or offsetting the impacts of
               the activity on EFH. For any conservation recommendation that is not adopted, the
               action agency must explain its reason to NMFS for not following the recommendation.

         The FERC incorporated EFH consultation for the Rio Grande LNG Project with the
 interagency coordination procedures required under NEPA. As such, we requested that NMFS
 consider the draft EIS, and RG Developers’ draft EFH Assessment, as our initiation of EFH
 consultation. We have updated our EFH Assessment based on additional Project information
 from RG Developers and recommendations by NMFS. Our final EFH Assessment is provided in



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 appendix M. On February 15, 2019, NMFS issued a letter concurring with our conclusion that
 impacts on open water EFH would be temporary and minor, and does not have EFH conservation
 recommendations for the Project.34 Therefore, consultation under the MSFCMA is complete.

 4.6.3.2            Characterization of Essential Fish Habitat

         NMFS and the Gulf of Mexico Fishery Management Council (GMFMC) have identified
 EFH for shrimp, red drum, reef fish, coastal migratory pelagic, and highly migratory pelagic
 species in the vicinity of the Rio Grande LNG Project (NMFS 2015, GMFMC 2004). Table
 4.6.3-1 identifies the managed species and life stages with designated EFH that potentially occur
 in the Project area. Habitats within the Project vicinity that could potentially serve as EFH
 include estuarine emergent and scrub-shrub (mangrove) marsh, estuarine unconsolidated bottom
 habitat (including soft-bottom and sand-shell bottom habitats), and open water (see figure 4.6.3-
 1). As discussed in section 4.3.2.2, additional open water areas within the BSC may be affected
 by dredging. However, as described below, many of these habitats have been isolated from tidal
 exchange; this hydrologic isolation precludes many of the estuarine marsh and unconsolidated
 bottom habitats in the Project area from designation as EFH (see appendix M).

         Estuarine emergent marsh habitat occurs along the southern extent of the Pipeline System
 from MP 125.0 to its terminus, as well as at the LNG Terminal site. Marshes require soft
 sediments, regular tidal inundation, some freshwater, and low to moderate wave energy
 (GMFMC 2004). Estuarine emergent marsh provides nursey, shelter, and feeding habitat for
 many fish and estuarine species, including larval and juvenile brown and white shrimp; larval,
 juvenile, and adult red drum; juvenile dog snapper; and adult gray snapper (GMFMC 2004).
 Impacts on nursery habitat were identified as an issue of concern in public scoping comments.
 Many of the wetlands at the LNG Terminal site were isolated by construction of the BSC and
 SH-48, and have restricted tidal exchange. Without regular tidal exchange, evaporation likely
 leads to hypersaline and anoxic conditions and therefore these wetlands do not function as EFH.

          Black mangrove-dominated wetlands occur in the Project area along the southern extent
 of the Pipeline System from MP 134.8 to the terminus, as well as at the LNG Terminal site.
 Similar to EEMs, black mangrove wetlands provide nursey, shelter, and feeding habitat for many
 fish and estuarine species. Managed species and life stages that could occur in mangroves in the
 Project area include adult gray snapper; juvenile lane snapper, dog snapper, and yellowmouth
 grouper; and larval and juvenile goliath grouper (GMFMC 2004). Mangrove wetlands at the
 LNG Terminal site were likely isolated by construction of the BSC and SH-48, and have
 restricted tidal exchange and, similar to the EEM described above, do not function as EFH.




 34
           NMFS’ letter documenting completion of consultation is available on FERC’s eLibrary website, located at
           http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession
           number 20190222-5030.



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                            Legend
Proposed LNG Terminal Boundary             Emergent Marsh
                                                                                                                          Rio Grande LNG Project
(Facility Footprint)
                                           Soft Bottom
LNG Terminal Site (Leased Parcel)
                                           Sand/Shell Bottom
                                                                                                                          Aquatic Habitat in the Rio
                                                                                                0         0.5         1
Proposed Rio Bravo                                                                                                        Grande LNG Project Area
Pipeline                                   Mangrove
                                                                                                         Miles
BSC Dredge Areas                           Open Water
Port Isabel Dredge Pile                                                                                                       Figure 4.6.2-1
                                     AERIAL IMAGERY: NATIONAL AGRICULTURE IMAGERY
                                                                                                    Scale: 1:50,000
                                     PROGRAM (NAIP) 2014 - http://datagateway.nrcs.usda.gov/.
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                                           Table 4.6.3-1
   Life Stage Occurrence for Species with Designated Essential Fish Habitat Occurring in the Rio
                                    Grande LNG Project Area

                                                     Fishery                     Larvae /
    Common Name           Scientific Name                                Eggs             Juveniles Adults
                                                 Management Plan                Neonates

  Brown shrimp             Penaeus aztecus             Shrimp             --       --           X        --

  White shrimp            Penaeus setiferus            Shrimp             --       --           X        --

  Red drum               Sciaenops ocellatus         Red Drum             --       X            X        X

  Gray snapper             Lutjanus griseus          Reef Fish            --       --           --       X

  Lane snapper            Lutjanus synagris          Reef Fish            --       --           X        --

  Dog snapper               Lutjanus jocu            Reef Fish            --       --           X        --

  Goliath grouper        Epinephelus itajara         Reef Fish            --       X            X        --

                            Mycteroperca                                  --       --                    --
  Yellowmouth grouper                                Reef Fish                                  X
                            interstitialis
                                                  Coastal Migratory       --       --
  Cobia                 Rachycentron canadum                                                    X        X
                                                      Pelagics
                           Scomberomorus          Coastal Migratory       --       --
  Spanish mackerel                                                                              X        X
                             maculatus                Pelagics
                                                  Coastal Migratory       --       --
  King mackerel         Scomberomorus cavella                                                   X        X
                                                      Pelagics
  Atlantic sharpnose       Rhizoprionodon         Highly Migratory        --
                                                                                   X            X        X
  shark                     terraenovae               Species
                                                  Highly Migratory        --
  Blacktip shark        Carcharhinus limbatus                                      X            X        X
                                                      Species
                                                  Highly Migratory        --
  Bonnethead shark         Sphyrna tiburo                                          X            X        X
                                                      Species
                                                  Highly Migratory        --
  Bull shark             Carcharhinus leucas                                       X            X        X
                                                      Species
                                                  Highly Migratory        --                             --
  Finetooth shark        Carcharhinus isodon                                       X            --
                                                      Species
                                                  Highly Migratory        --                             --
  Lemon shark           Negaprion brevirostris                                     X            X
                                                      Species
  Scalloped                                       Highly Migratory        --                             --
                           Sphyrna lewini                                          X            X
  hammerhead shark                                    Species
                            Carcharhinus          Highly Migratory        --                             --
  Silky shark                                                                      X            X
                             falciformis              Species
                            Carcharhinus          Highly Migratory        --
  Spinner shark                                                                    X            X        --
                             brevipinna               Species
                                                  Highly Migratory        --       --           --
  Tiger shark             Galeocerdo cuvier                                                              X
                                                      Species
  Sources: GMFMC 2004, NMFS 2015.



         Soft-bottom habitat, including mudflats at the LNG Terminal site and along the pipelines
 between wetlands and open water habitats, include sparsely vegetated areas with a mud or clay
 substrate. Sand/shell habitats have a sandy substrate and include the Bahia Grande Channel and
 the isolated open water lagoon at the LNG Terminal site (Aquatic Resource 1). This EFH type
 serves as important nursery and feeding habitat for many fish and the invertebrates they feed on
 (e.g., worms and mollusks living on and in the sediments). Managed species and life stages that
 could occur in unconsolidated bottom habitat in the Project area include larval and juvenile



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 brown and white shrimp; larval, juvenile, and adult red drum; juvenile lane snapper; and adult
 gray snapper (GMFMC 2004). While the Bahia Grande Channel is connected with the Gulf of
 Mexico via tidal exchange and functions as EFH (see below), the open water lagoon (Aquatic
 Resource 1) is isolated and does not provide suitable EFH for managed species.

         Open water habitat designated as EFH in the Project area is present within the BSC, the
 Channel to San Martin Lake, and the Bahia Grande Channel. In addition, open water EFH
 occurs at potential offshore dredged material disposal sites and the Feeder Berm. Estuarine and
 nearshore water column habitats support several managed species and their prey at various life
 stages by providing suitable habitat for spawning, breeding, and foraging. Managed species
 identified in table 4.6.3-1 could transit or use open water as habitat. The community
 composition of both the mud substrates and water column within the BSC are subject to frequent
 disturbance due to maintenance dredging, and vessel transit. Open water habitat at the Channel
 to San Martin Lake and Bahia Grande Channel as well as in the BSC functions as EFH.

         In addition, the Laguna Madre and South Bay contain EFH. The Laguna Madre and
 South Bay connect to the BSC more than 2.5 miles from the LNG Terminal site and would not
 be within the Project area. Further, impacts of the Project on surface water conditions in the
 Laguna Madre System would be negligible (see section 4.3.2.1). Therefore, impacts on EFH
 within the Laguna Madre and South Bay are not addressed further.

 4.6.3.3        Impacts and Mitigation

           LNG Terminal

         Portions of the BSC, wetlands, waterbodies, and mudflats on the LNG Terminal site, the
 Bahia Grande Channel, and the water column at potential dredged material disposal sites and the
 Feeder Berm meet the definition for EFH. The total acreages of each habitat type that would be
 directly affected due to dredging or fill at the LNG Terminal site are described below and are
 provided in table 4.6.3-2. However, only open water areas in the Project vicinity are subject to
 tidal exchange and function as EFH. The primary impact from construction of the LNG
 Terminal would include the loss and conversion of open water areas as described in sections
 4.3.2 and 4.4.

         In addition, 127.1 acres of open water EFH would be within construction workspaces for
 the LNG Terminal. However, dredging for the marine facilities would create 30.2 acres of open
 water habitat; areas to be converted to open water would include 3.7 acres of EEM and 10.6
 acres of soft-bottom habitat (mudflats). The wetlands at the LNG Terminal site are isolated from
 regular tidal exchange and, as described above, do not function as EFH.




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                                              Table 4.6.3-2
      Essential Fish Habitat Types affected by Construction and Operation of the Rio Grande LNG
                                               Terminala
                              Estuarine       Estuarine
                                                                  Soft-Bottom   Sand/shell         Open
          Facility            Emergent       Scrub-Shrub                                                           Total
                                                                    Habitat      Bottom            Water
                               Marsh           Wetland

  LNG Terminal                   114.9             19.8              47.7           47.7           127.1b          357.2

  Offsite storage/parking         0.0              0.0                0.0            0.0             0.0            0.0

  Port Isabel dredge pilec         --               --                --              --             --              --

  Bulk water loading area         0.0              0.0                0.0            0.0             0.0            0.0

  Total                          114.9             19.8              47.7           47.7           127.1           357.2
  a
            Any discrepancies with the acres of EFH included in appendix M are due to rounding. Although each identified
            category is an EFH type, only open water habitats at the LNG Terminal site function as EFH.
  b
            Including 68.7 acres of open water within the BSC located outside the LNG Terminal site boundary that would be
            dredged for the marine facilities.



         Construction of the LNG Terminal would result in impacts on 127.1 acres of open water
 habitat within the BSC. The BSC is a man-made channel with steep slopes that is subject to
 maintenance dredging and disturbance by vessel traffic; therefore, the BSC does not provide
 conditions needed for the growth of submerged aquatic vegetation or oyster reefs that would
 provide cover, refuge, and food for managed species. In the event that RG LNG uses the New
 Work ODMDS, Maintenance ODMDS, or Feeder Berm for disposal of dredged material, open
 water EFH at these locations would also be affected. Additional detail regarding dredged
 material placement areas is provided in section 4.2.3. The final management of dredged material
 would be determined by the BND and COE, in consultation with other federal, state, and local
 resource agencies and interested stakeholders, such as the EPA, NMFS, FWS, and the TCEQ.
 RG LNG stated that it will provide updates related to impacts on EFH associated with dredged
 material disposal. We note that NMFS would be involved in the decision to place any dredged
 materials in offshore locations and that the placement would be appropriately permitted. As
 such, we believe the results of any future EFH consultation in this regard will conclude that any
 impacts at offshore dredged material placement areas would be adequately minimized.

         Project-related activities with the potential to affect EFH and managed species include
 those associated with dredging and dredged material placement; pile-driving; vessel traffic; site
 modification and stormwater runoff; water use, including hydrostatic testing and operation of the
 firewater system; facility lighting; and spills or leaks of hazardous materials as described in
 section 4.6.1. RG LNG would minimize the potential for these impacts using its Plan,
 Procedures, SPCC Plans, SWPPPs, and mitigation measures required by state and federal
 agencies as fully discussed in section 4.6.2. Although the activities would result in the alteration
 of habitat and the mortality or displacement of individuals, the impacts on existing EFH and the
 species and life stages that utilize EFH would be temporary, but minor.




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        Pipeline Facilities

         The pipeline facilities would cross two waterbodies containing EFH, including the
 Channel to San Martin Lake (MP 133.5) and the Bahia Grande Channel (MP 135.2), as well as
 estuarine emergent and scrub-shrub wetlands and mudflats from MP 131.5 to the pipeline
 terminus. These wetlands and mudflats are irregularly inundated and therefore, in the absence of
 regular tidal exchange and similar to the isolated wetlands of the LNG Terminal site, do not
 function as EFH. In addition, The Arroyo Colorado (MP 100.1) and Los Olmos Creek (MP
 19.1) both provide EFH about 0.25 mile downstream of the pipeline crossings.

         The Pipeline System would avoid impacts on EFH within the Channel to San Martin
 Lake and the Bahia Grande Channel by installing the pipelines via HDD. Water for the HDDs at
 these locations would be obtained from other surface water sources along the Project route in
 compliance with all state and local permits, and would not be drawn from waterbodies within
 EFH (see section 2.5.2.1). As discussed in section 4.6.2, impacts on resources crossed by HDD
 would generally be avoided since the waterbody and its banks would not be disturbed by clearing
 or trenching. However, if an inadvertent release of HDD drilling fluid occurs within EFH, the
 resulting sedimentation could temporarily affect water quality. If an inadvertent release were to
 occur, RB Pipeline would implement its HDD Contingency Plan, which includes methods for
 detecting and responding to inadvertent returns.

         Water would be withdrawn from the Arroyo Colorado (MP 100.1) and Los Olmos Creek
 (MP 19.1), which both provide EFH about 0.25 mile downstream of the pipeline crossings, for
 HDD construction, hydrostatic testing, and dust control. As described in section 4.3.2.2,
 withdrawal of large volumes of water from surface water sources could temporarily affect water
 quality by changing water temperature and dissolved oxygen levels, and could reduce the amount
 of available habitat for aquatic resources. Because water withdrawals would be conducted in
 accordance with applicable permits and approvals, and would not occur within designated EFH,
 impacts would be minimized and not significant.

         EFH adjacent to construction activities could be affected by the migration of sediment
 outside of construction workspaces or by contamination from spills and leaks of hazardous
 materials. RB Pipeline would minimize potential impacts by implementing measures in its Plan,
 Procedures, and SPCC Plan. Due to RB Pipeline’s proposed mitigation, we have determined that
 impacts on EFH during construction and operation of the pipeline facilities would be minor.

         In conclusion, construction of the Rio Grande LNG Project would result in temporary,
 minor impacts on EFH and the species and life stages that use EFH through the alteration of
 habitat and the mortality or displacement of individuals. Impacts would be adequately
 minimized by implementation of mitigation measures proposed by RG Developers. Consultation
 under the MSFCMA is complete, and given the temporary, minor impacts on EFH, NMFS does
 not have EFH conservation recommendations for the Project.




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 4.7    THREATENED, ENDANGERED, AND OTHER SPECIAL STATUS SPECIES

          Special status species are those species for which state and/or federal agencies afford an
 additional level of protection by law, or policy. Included in this category for this EIS are
 federally listed and federally proposed species that are protected under the ESA, as amended;
 species that are currently candidates or under review for federal listing under the ESA; state
 listed threatened or endangered species; and species otherwise granted special status at the state
 or federal level (e.g., protected under the MMPA of 1972).

         Federal agencies are required under Section 7 of the ESA, as amended, to ensure that any
 actions authorized, funded, or carried out by the agency would not jeopardize the continued
 existence of a federally listed threatened or endangered species, or result in the destruction or
 adverse modification of the designated critical habitat of a federally listed species. As the lead
 federal agency, the FERC is required to coordinate with the FWS and NMFS to determine
 whether federally listed threatened or endangered species or designated critical habitat are found
 in the vicinity of the Project, and to determine potential effects on those species or critical
 habitats.

         For actions involving major construction activities with the potential to affect listed
 species or designated critical habitat, the lead federal agency must prepare a BA and submit its
 BA to the FWS and/or NMFS. If the action would adversely affect a listed species, the federal
 agency must also submit a request for formal consultation. In response, the FWS and/or NMFS
 would issue a Biological Opinion that states whether or not the federal action would likely
 jeopardize the continued existence of a listed species, or result in the destruction or adverse
 modification of designated critical habitat.

          Based upon our review of publicly available information, agency correspondence, and
 field survey data, a total of 20 federally listed threatened and endangered species, 2 species that
 are candidates for listing under the ESA, 2 species proposed for federal listing 35, and 1 species
 that is under review for potential listing may occur within the counties affected by the Project.
 Within these counties (or offshore of them), critical habitat has been designated for two species
 (the loggerhead sea turtle and the piping plover). A discussion of the federally listed species
 with the potential to occur in the Project area are included in section 4.7.1. Two species, the
 golden orb and the Texas ayenia, do not have the potential to occur in the vicinity of the
 proposed facilities and are not discussed further (see table 4.7-1). Other special status species,
 such as those that are state listed as threatened or endangered, or those protected by the MMPA,
 are discussed in section 4.7.2.




 35
        The eastern black rail was proposed for listing as threatened by the FWS on October 9, 2018, and could be present in
        Texas. The Gulf of Mexico Bryde’s whale was proposed for listing as endangered by NMFS on December 8, 2016 and
        could be present in Gulf waters.



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                                                                                       Table 4.7-1
                                       Federal Special Status Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project
                                                                                                Project
                                                                                County of
                               Common Name,            Federal      State                    Components of
                                                                                Potential                                          Determination of Effectb
                                 Scientific Name       Status       Status                     Potential
                                                                               Occurrencea
                                                                                              Occurrence
                         MARINE SPECIES
                         Marine/Aquatic Mammals


                                                                                                                                   Not Likely to Adversely Affect.
                          Blue whale,
                                                      Endangered       -         Offshore    LNG transit routes     The species inhabits the open ocean. The blue whale could
                            Balaenoptera musculus
                                                                                                                      utilize offshore areas along LNG carrier transit routes.
4-128




                                                                                                                                  Not Likely to Adversely Affect.
                          Bryde’s whale,               Proposed                                                   The Northern Gulf of Mexico Stock occurs almost exclusively
                                                                       -         Offshore    LNG transit routes
                          Balaenoptera brydei         Endangered                                                  in the northeastern Gulf but could utilize offshore areas along
                                                                                                                                    LNG carrier transit routes.


                                                                                                                                 Not Likely to Adversely Affect.
                          Fin whale,                                                                                   The species inhabits the open ocean. Though rarely
                                                      Endangered       -         Offshore    LNG transit routes
                            Balaenoptera physalus                                                                  documented in the Gulf of Mexico, this species could utilize
                                                                                                                            offshore areas along LNG transit routes.


                                                                                                                                 Not Likely to Adversely Affect.
                          Sei whale,                                                                                   The species inhabits the open ocean. Though rarely
                                                      Endangered       -         Offshore    LNG transit routes
                            Balaenoptera borealis                                                                  documented in the Gulf of Mexico, this species could utilize
                                                                                                                            offshore areas along LNG transit routes.
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                                                                                                                                  Not Likely to Adversely Affect.
                          Sperm whale,                                                                            The species inhabits deep waters in the open ocean. The sperm
                                                      Endangered       -         Offshore    LNG transit routes      whale is widely distributed throughout waters along and
                            Physeter macrocephalus
                                                                                                                   offshore of the continental slope. This species could utilize
                                                                                                                         offshore areas along LNG carrier transit routes.
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                                                                                     Table 4.7-1 (continued)
                                              Federally Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project
                                                                                                    Project
                                                                                    County of
                              Common Name,                Federal      State                     Components of
                                                                                    Potential                                            Determination of Effect
                                Scientific Name           Status       Status                      Potential
                                                                                   Occurrencea
                                                                                                  Occurrence
                                                                                                                        Not Likely to Adversely Affect. Although extremely rare in the
                                                                                    Cameron,                           Project area, this species may occasionally occur in the adjacent
                                                                                                 LNG Terminal and
                          West Indian manatee,                                      Kenedy,                             coastal waters and within the BSC, particularly if moving into
                                                         Endangered   Endangered                 LNG carrier transit
                           Trichechus manatus                                       Kleberg,                             the Laguna Madre System. We have recommended that RG
                                                                                                      routes
                                                                                     Willacy                           LNG implement FWS-recommended conservation measures for
                                                                                                                                  identification and treatment of the species.

                         Marine Reptiles
                                                                                    Cameron,                             Not Likely to Adversely Affect in marine environments. No
                          Green sea turtle,                                                      LNG Terminal and
                                                                                    Kenedy,                              effect on nesting beaches. Adults nest in the Padre Island
                                                         Threatened   Threatened                 LNG carrier transit
4-129




                            Chelonia mydas                                          Kleberg,                              National Seashore and may occur transiently in the BSC.
                                                                                                      routes
                                                                                     Willacy                             Adults and juveniles may occur along vessel transit routes.

                                                                                    Cameron,
                                                                                                 LNG Terminal and         Not Likely to Adversely Affect in marine environments. No
                          Hawksbill sea turtle,                                     Kenedy,
                                                         Endangered   Endangered                 LNG carrier transit   effect on nesting beaches. Adults and juveniles may occur along
                            Eretmochelys imbicata                                   Kleberg,
                                                                                                      routes                                 vessel transit routes.
                                                                                     Willacy

                                                                                                                          Not Likely to Adversely Affect in marine environments. No
                                                                                    Cameron,
                                                                                                 LNG Terminal and      effect on nesting beaches. Adults nest on ocean-facing beaches
                          Kemp’s ridley sea turtle,                                 Kenedy,
                                                         Endangered   Endangered                 LNG carrier transit   on either side of the BSC and may occur transiently within the
                            Lepidochelys kempii                                     Kleberg,
                                                                                                      routes              BSC. Adults and juveniles may occur along vessel transit
                                                                                     Willacy
                                                                                                                                                    routes.

                                                                                    Cameron,
                          Leatherback sea turtle,                                                LNG Terminal and         Not Likely to Adversely Affect in marine environments. No
                                                                                    Kenedy,
                                                         Endangered   Endangered                 LNG carrier transit   effect on nesting beaches. Adults and juveniles may occur along
                            Dermochelys coriacea                                    Kleberg,
                                                                                                      routes                                 vessel transit routes.
                                                                                     Willacy
Environmental Analysis




                                                                                    Cameron,
                                                                                                 LNG Terminal and        Not Likely to Adversely Affect in marine environments. No
                          Loggerhead sea turtle,                                    Kenedy,
                                                         Endangered   Threatened                 LNG carrier transit      effect on nesting beaches or critical habitat. Adults and
                            Caretta                                                 Kleberg,
                                                                                                      routes                  juveniles may occur along vessel transit routes.
                                                                                     Willacy
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                                                                                   Table 4.7-1 (continued)
                                            Federally Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project
                               Common Name,              Federal      State         County of           Project                              Determination of Effect
                                 Scientific Name         Status       Status        Potential        Components of
                                                                                   Occurrencea         Potential
                                                                                                      Occurrence
                         TERRESTRIAL SPECIES
                         Birds
                                                                                                                               Not Likely to Adversely Affect. Known to occur along the
                                                                                     Cameron,                                 northern extent of the Project area, and potentially occurs in
                          Eastern black rail,            Proposed                                    LNG Terminal and
                                                                         --       Kenedy, Kleberg,                           the vicinity of the LNG Terminal. Suitable habitat within the
                            Laterallus jamaicensis      Threatened                                    pipeline facilities
                                                                                      Willacy                               operational footprint of the Project would be lost, but adjacent
                                                                                                                                              suitable habitat would remain.
                                                                                                                                 Not Likely to Adversely Affect. Year-round residents in
                                                                                                                               Cameron County. Active nests would be avoided, and RG
                                                                                                                             Developers would implement Project-specific BMPs to avoid
                          Northern aplomado falcon,                                  Cameron,
                                                                                                     LNG Terminal and          or minimize indirect impacts. We have recommended that
4-130




                            Falco femoralis             Endangered   Endangered   Kenedy, Kleberg,
                                                                                                      pipeline facilities     updated nest data be obtained prior to construction. We also
                            septentrionalis                                           Willacy
                                                                                                                                note that any “take” of northern aplomado falcons at the
                                                                                                                                  terminal site is already covered under a Safe Harbor
                                                                                                                               Agreement between the FWS, Peregrine Fund, and BND.
                                                                                                                                Not Likely to Adversely Affect piping plovers and critical
                                                                                   Cameron, Jim                                habitat. Winters in the general Project area where critical
                          Piping plover,
                                                        Threatened   Threatened   Wells, Kenedy,       LNG Terminal          habitat is designated; however, abundant habitat is present in
                            Charadrius melodus                                    Kleberg, Willacy                          the Project area and no direct impacts on critical habitat would
                                                                                                                                                          occur.
                                                                                   Cameron, Jim                                Not Likely to Adversely Affect. Suitable wintering habitat
                          Red knot,                                                                  LNG Terminal and
                                                        Threatened       -        Wells, Kenedy,                              within the operational footprint of the Project would be lost,
                            Calidris canutus rufa                                                     pipeline facilities
                                                                                  Kleberg, Willacy                                     but adjacent suitable habitat would remain.
                                                                                                                             Unlikely to result in a trend towards federal listing. Suitable
                          Red-crowned parrot,                                                        LNG Terminal and
                                                         Candidate       -        Cameron, Willacy                          foraging habitat within the operational footprint of the Project
                            Amazona viridigenalis                                                     pipeline facilities
                                                                                                                               would be lost, but adjacent suitable habitat would remain.
                                                                                                                              Not Likely to Adversely Affect. Winters at the Aransas Pass
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                          Whooping crane,                                           Jim Wells,       LNG Terminal and
                                                        Endangered   Endangered                                                NWR, about 80 miles north of the Project, and may occur
                           Grus americana                                         Kenedy, Kleberg     pipeline facilities
                                                                                                                                     transiently in Project counties while foraging.
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                                                                                    Table 4.7-1 (continued)
                                             Federally Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project
                                                                                                       Project
                                                                                    County of
                                  Common Name,            Federal      State                        Components of
                                                                                    Potential                                                Determination of Effect
                                    Scientific Name       Status       Status                         Potential
                                                                                   Occurrencea
                                                                                                     Occurrence
                         Mammals

                                                                                   Cameron, Jim                               Likely to Adversely Affect. Known to occur in the Laguna
                          Ocelot,                                                  Wells, Kenedy,   LNG Terminal and          Atascosa NWR adjacent to the LNG Terminal site, where
                                                         Endangered   Endangered
                            Leopardus pardalis                                       Kleberg,        pipeline facilities    indirect impacts would occur. Direct loss of potential habitat
                                                                                     Willacy                                          would occur within the LNG Terminal site.


                                                                                   Cameron, Jim                                Likely to Adversely Affect. Although there is a lack of
                              Gulf Coast jaguarundi,
                                                                                   Wells, Kenedy,   LNG Terminal and       confirmed sightings for this species, its range and habitat usage
                             Herpailurus yagouaroundi    Endangered   Endangered
                                                                                     Kleberg,        pipeline facilities    overlaps that of the ocelot and there would be a direct loss of
4-131




                                     cacomitli
                                                                                     Willacy                                       potential habitat within the LNG Terminal site.

                         Amphibians

                                                                                                                           Unlikely to result in a trend towards federal listing. May occur
                                                                                   Cameron, Jim
                                                                                                                           in freshwater streams and wet habitats along the pipeline route,
                          Black-spotted newt,              Under                   Wells, Kenedy,
                                                                      Threatened                    Pipeline facilities    but no freshwater streams would be crossed within the buffer of
                            Notophthalmus meridionalis     review                    Kleberg,
                                                                                                                            historic occurrences, and these areas would be restored post-
                                                                                     Willacy
                                                                                                                                                      construction.

                         Mollusks

                                                                                                                           No effect. Occurs in freshwater streams in the Guadalupe-San
                          Golden orb,
                                                          Candidate       -          Jim Wells      Pipeline facilities    Antonio and Nueces-Rio river basins. Only one, intermittent
                            Quadrula aurea                                                                                         stream would be crossed in Jim Wells County.
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                         Plants

                                                                                                                             Not Likely to Adversely Affect. Species-specific surveys are
                          Black lace cactus,
                                                                                     Jim Wells,                              pending but would be completed prior to construction, and
                            Echinocereus reichenbachii   Endangered   Endangered                    Pipeline facilities
                                                                                      Kleberg                                avoidance/minimization measures would be implemented if
                            var. albertii                                                                                                               found.
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                                                                                         Table 4.7-1 (continued)
                                                  Federally Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project
                                                                                                                         Project
                                                                                                   County of
                                  Common Name,                    Federal          State                              Components of
                                                                                                   Potential                                                   Determination of Effect
                                    Scientific Name               Status           Status                               Potential
                                                                                                  Occurrencea
                                                                                                                       Occurrence
                         Plants (continued)


                                                                                                                                               Not Likely to Adversely Affect. Species-specific surveys are
                             Slender rush-pea,                                                                                                 pending but would be completed prior to construction, and
                                                                Endangered       Endangered          Kleberg          Pipeline facilities
                             Hoffmannseggia tenella                                                                                            avoidance/minimization measures would be implemented if
                                                                                                                                                                          found.



                                                                                                                                               Not Likely to Adversely Affect. Species-specific surveys are
4-132




                             South Texas ambrosia,                                                Cameron, Jim       LNG Terminal and          pending but would be completed prior to construction, and
                                                                Endangered       Endangered
                               Ambrosia cheiranthifolia                                           Wells, Kleberg      pipeline facilities      avoidance/minimization measures would be implemented if
                                                                                                                                                                          found.



                                                                                                                                             No effect. Prefers subtropical woodlands and shrubland located
                             Texas ayenia,                                                           Cameron,        LNG Terminal and         atop loamy soils associated with the Rio Grande Delta. The
                                                                Endangered       Endangered
                               Ayenia limitaris                                                       Willacy         pipeline facilities      FWS has indicated that this species is not expected in the
                                                                                                                                              Project area and that no surveys are necessary (FWS 2016e).


                         a
                                    County of potential occurrence for federally listed species indicates the county in which a species is listed in the IPaC system and does not necessarily indicate that the
                                    species would or could occur within the footprint of Project facilities in that county. County of potential occurrence for the state listed black-spotted newt, which is
                                    under review for federal listing, was determined through review of TPWD species lists by county.
                         b
                                    Full assessments of each species determined to be potentially affected are provided in the text. Impacts are identified based on the potential for the species to occur
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                                    within or in proximity to the LNG Terminal site, the pipeline right-of-way, or associated workspaces and facilities, or along the LNG tanker transit routes.
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         As required by Section 7 of the ESA, as amended, we request that the FWS and NMFS
 accept the information provided within this EIS as the BA for the proposed Rio Grande LNG
 Project. Furthermore, we request concurrence with our findings of not likely to adversely affect
 for 19 of the federally listed or proposed species in table 4.7-1. We have determined that the
 Project is likely to adversely affect the ocelot (endangered) and Gulf Coast jaguarundi
 (endangered), and request to enter formal consultation for these two species. To assist in
 compliance with Section 7 of the ESA, RG Developers, acting as the FERC’s non-federal
 representative for the Rio Grande LNG Project (18 CFR 380.13), initiated coordination with the
 FWS Texas Coastal Ecological Field Office and with the NMFS Protected Resources Division in
 March 2015.

          In October of 2018, we requested that NMFS and the FWS concur with our
 determinations of effect for the Project, and requested that FWS develop a Biological Opinion
 indicating whether the Project is likely to jeopardize the continued existence of federally listed
 species. At the time of this writing, NMFS is continuing to review our BA. On November 28,
 2018, the FWS provided preliminary comments on our BA requesting additional information;
 these requests and the corresponding information are included below. We have also
 recommended RG Developers to file updated species information for the northern aplomado
 falcon to reduce impacts on these species. As necessary, we will use any updated information to
 facilitate our Section 7 consultation with the FWS.

 4.7.1 Federally Listed Threatened and Endangered Species

 4.7.1.1         Sea Turtles

          Sea turtles are found throughout the tropical and subtropical seas of the world where they
 occur at or near the surface of the water. All species are listed as threatened or endangered under
 the ESA and are under the shared jurisdiction of the FWS and NMFS. Trade of sea turtles is
 restricted by the Convention on International Trade in Endangered Species; however, not all
 countries have ceased to harvest these species. The major threats to sea turtle populations are
 overharvesting, fisheries by-catch, disease, pollution, and coastal development of nesting
 beaches.

          Multiple scoping comments were received regarding impacts on sea turtles, with many
 comments specifically identifying the Kemp’s ridley sea turtle and impacts from ship traffic.
 Five species of federally listed sea turtles could occur along the portion the Rio Grande LNG
 transit routes in Cameron County and the Gulf of Mexico, including the green, hawksbill,
 Kemp’s ridley, leatherback, and loggerhead sea turtles. These turtles are further described
 below.

           Green Sea Turtle

        The green sea turtle is currently federally listed as threatened. On April 6, 2016, the
 FWS and NMFS published a final rule to list the green sea turtle population as 11 distinct
 population segments (DPS) that qualify as unique species for the purposes of listing under the
 ESA (81 FR 20057). As a result, the range-wide listing status was revoked and, in its place,
 eight DPSs were listed as threatened and three DPSs were listed as endangered. Green sea



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 turtles occurring off the coast of Texas are part of the North Atlantic DPS, which is listed as
 threatened. Although critical habitat has been designated for the North Atlantic DPS it is located
 off Puerto Rico and would not be affected by the proposed Project.

         Green sea turtles are generally found in shallow waters inside bays, inlets, and reefs with
 an abundance of seagrass and algae. As one of the more coastal species of sea turtle, adult green
 sea turtles forage primarily on sea grass and marine algae (NMFS 2016b). Green sea turtles can
 exhibit high nesting site fidelity, which can lead to common migratory routes between feeding
 grounds and nesting beaches. Green sea turtles nest on open, sloping beaches with minimal
 disturbance (FWS 2016f). After emerging from the nest, hatchlings swim offshore and remain
 there for a number of years, where they are sometimes associated with Sargassum mats for food
 and shelter (FWS 2016f). Green sea turtles are present near Port Isabel, in the Laguna Madre
 System, and may be encountered in the BSC during transit into the Laguna Madre (Gorga 2010).
 Principal benthic foraging habitat in Texas includes Aransas Bay, Matagorda Bay, Laguna
 Madre (including the Mexiquita Flats area, which was identified as an area of concern during
 Project scoping), and other Gulf inlets (FWS 2014b). Along the Texas coast, green sea turtles
 are only known to nest along the Padre Island National Seashore, which is about 35 miles north
 of the entrance to the BSC (NPS 2016b).

        Hawksbill Sea Turtle

          The hawksbill sea turtle is federally listed as endangered. This species is widely
 distributed throughout the Caribbean Sea and western Atlantic Ocean. They occur in shallow
 coastal areas, oceanic islands, rocky areas, and coral reefs (FWS 2012a). Hawksbill sea turtles
 feed on sponges, other invertebrates, and algae (NMFS 2013a, b). Young hawksbills are found
 foraging in association with Sargassum mats in the open ocean; as they mature, hawksbill sea
 turtles commonly forage over coral reefs and hard bottom substrates. They nest in low densities
 on scattered undisturbed deep-sand beaches in the tropics (FWS 2012a).

          Critical habitat for the hawksbill sea turtle has been designated near the coast of Puerto
 Rico (NMFS 1998a, b). Only one hawksbill nest has been documented along the Texas coast,
 which was at the Padre Island National Seashore in 1998 (NPS 2016c). Although post-
 hatchlings and juveniles are sighted with some regularity in Texas waters, they are believed to
 originate from beaches in Mexico (FWS 2014b). Due to the lack of nesting beaches and suitable
 foraging habitat, there is a low probability of this species occurring in the Project area.
 However, adult hawksbill sea turtles could potentially utilize the offshore LNG carrier routes for
 transit and juveniles could potentially utilize these areas for foraging.

        Kemp’s Ridley Sea Turtle

         The federally endangered Kemp’s ridley sea turtle primarily inhabits coastal waters in the
 northwestern Atlantic and the Gulf of Mexico. Adult Kemp’s ridley’s inhabit shallow coastal
 and estuarine waters over sand or mud bottoms where they feed on crab, fish, jellyfish, and
 mollusks. Hatchlings and juveniles are found in ocean open habitats or in association with
 Sargassum mats, generally migrating to adult habitat at approximately 2 years old. No critical
 habitat has been designated for this species. Collection of eggs, capture for meat and other
 products, direct take for indigenous use, ingestion of man-made materials, collision with boats,



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 and disturbance or destruction of nesting areas are all factors that have contributed to the decline
 of this species. Despite these factors, the population appeared to be in the early stages of
 recovery until 2010, when the number of nests began decreasing (NMFS 2013c, 2016c). The
 majority of this species nests at one of three beaches in Mexico; however, nesting also occurs
 along the Texas coast. Padre Island National Seashore, and the adjacent North and South Padre
 Islands, represent the most prominent nesting location in the United States during the 2016
 nesting season alone, 162 nests were documented. An additional nine were documented on Boca
 Chica Beach (NPS 2016d).

        Leatherback Sea Turtle

           The federally endangered leatherback is the largest of the sea turtles and spends more of
 its life in the open ocean environment than other sea turtles. Leatherback sea turtles occur
 globally, and range farther north and south than other sea turtles, likely due to their ability to
 maintain warmer body temperatures. Leatherback sea turtles feed primarily on soft-bodied
 animals such as jellyfish and sea squirts; however, they are also known to consume sea urchins,
 crustaceans, fish, and floating seaweed. Females require sandy beaches with deepwater
 approach for nesting habitat (FWS 2012b; NMFS 2013d). The largest nesting assemblages are
 found in northern South America and West Africa; however, within the United States, research
 suggests that southeast Florida, the U.S. Virgin Islands, and Puerto Rico are the primary nesting
 locations for leatherbacks (NMFS 2013b). Designated critical habitat for the leatherback sea
 turtle in the United States is along the coast of California and along the U.S. Virgin Islands
 (NMFS 2013d). Due to the lack of suitable nesting and foraging habitat, there is a low probability
 of this species occurring in the Project area. However, adult leatherback sea turtles could
 potentially utilize the offshore LNG carrier routes for transit and juveniles could potentially utilize
 these areas for foraging.

        Loggerhead Sea Turtle

         The Northwest Atlantic Ocean DPS of loggerhead sea turtles is federally listed as
 threatened. This species occurs throughout the world in temperate and tropical regions of the
 Atlantic, Pacific, and Indian Oceans. The loggerhead sea turtle can migrate significant
 distances between foraging areas, breeding areas, and nesting locations. They can be found
 in inshore areas such as bays, ship channels, large river mouths, and salt marshes as well as
 hundreds of miles offshore. Loggerhead sea turtles feed on mollusks, crustaceans, fish,
 conchs, and other marine animals (FWS 2012c, NMFS 2013e). Young loggerheads occur
 in the open ocean and are often found in association with Sargassum mats, while juveniles
 and adults reside in coastal areas in between reproductive migrations, when females return to
 their natal beach to nest. In the United States, loggerheads can generally be found nesting from
 Texas to Virginia, though the major nesting concentrations occur in Florida, Georgia, South
 Carolina, and North Carolina (FWS 2012c). During the 2016 nesting period, one loggerhead
 nest was identified on Padre Island National Seashore and one nest was identified on South
 Padre Island (NPS 2016d).

         Critical habitat for the Northwest Atlantic Ocean DPS was designated in 2014 to protect
 both marine and terrestrial habitats. While the terrestrial critical habitat is restricted to the
 Florida coast, critical marine habitat includes Sargassum habitats, for the protection of post-



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 hatchlings and juveniles. Sargassum is a species of seaweed that forms floating mats and travels
 with the Loop Current in the Gulf of Mexico; therefore, critical habitat was established to
 account for the eastern edge of the Loop Current.

         Within the Project area, the extent of mapped critical habitat begins at the 10-meter depth
 contour offshore of South Padre Island and extends out to the Exclusive Economic Zone (79 FR
 39855). Due to the lack of suitable nesting and foraging habitat, there is a low probability of this
 species occurring in the Project area. However, loggerhead sea turtles could potentially utilize
 LNG carrier routes for transit and potentially utilize these areas for foraging and LNG carriers
 could transit areas of critical habitat.

        Sea Turtle Impacts and Mitigation

         Due to the specific nesting habitat requirements, sea turtles are not likely to be present
 onshore within the Project area. In general, sea turtles are rare visitors to the immediate Project
 area and are more likely to be encountered along the LNG carrier transit routes in the Gulf of
 Mexico and nearshore waters. Many of the sea turtles that could be present have feeding,
 swimming, or resting behaviors that keep them near the surface, where they may be vulnerable to
 vessel strikes, especially if the turtles are cold-stunned from cold weather events. To help reduce
 the risk of strikes or other potential disturbances associated with the presence of additional
 marine traffic in proximity to the LNG Terminal. RG LNG’s support vessels would adhere to
 the measures outlined in the NMFS Vessel Strike Avoidance Measures and Reporting for
 Mariners (revised February 2008); RG LNG would also request that operators of LNG carriers
 and associated tugs calling on the LNG Terminal follow these procedures, but could not enforce
 their use. Although thermal discharges from the LNG Terminal would not occur during
 regasification processes (as identified in public comments), LNG carriers would release cooling
 water while docked, as discussed in section 4.3.

         We received a comment on the draft EIS requesting that we further consider the potential
 for vessel strikes of sea turtles from LNG carriers calling at the LNG Terminal, as RG LNG
 could not enforce the use of NMFS’ Vessel Strike Avoidance Measures and Reporting for
 Mariners on the various LNG vessels that would be serving the Project. To address this
 comment, we reviewed research on the impact of vessel speeds on sea turtles as well as data
 from the Sea Turtle Stranding and Salvage Network (STSSN). Hazel et al. (2007) conducted a
 field study of the effects of vessel speed on collision risks for green sea turtles. Out of 1,890
 encounters with sea turtles within 33 feet of the research vessel’s track, the researchers identified
 that the faster the boat speed (tested at 2.2, 5.9, and 10 knots), the less they were likely to
 observe avoidance actions by the green turtles. The results implied to the researchers that vessel
 operators could not rely on sea turtles to actively avoid being struck if the vessel speed exceeded
 2.2 knots. The BSC has a vessel speed limit of 8 knots (NOAA n.d.), and LNG carriers in
 general are capable of speeds of up to 21 knots during transit in open oceans (GIIGNL n.d.),
 indicating that vessels not adhering to NMFS’ Vessel Strike Avoidance Measures and Reporting
 for Mariners could cause collisions with sea turtles in the area.

        In its comments on the draft EIS, the Sierra Club indicates that 3,390 stranded sea turtles
 were identified from 2010 to 2018 within Statistical Zone 21 of the Gulf of Mexico, which
 covers the coastal and offshore federal waters from just south of Corpus Christi Bay to the



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 Texas/Mexico border. As the Sierra Club notes, it can be assumed that a portion of these
 strandings were related to vessel impacts. Using weekly data reported from the STSSN, 355 sea
 turtles were stranded or salvaged in Statistical Zone 21 during 2018, 16 (or about 4 percent) of
 which were identified as having possible boat strike wounds (one of which was identified as
 having healed boat strike wounds) (STSSN 2019; please note that these data are indicated as
 preliminary). Each of the sea turtles identified as having possible boat strike wounds was a
 green sea turtle. Although boat strikes may not always be obvious as the pathway for
 stranding/salvage, the data indicate that boat strikes are not the leading cause of sea turtle
 strandings. Further, boating activities are prevalent in the inshore and offshore areas of
 Statistical Zone 21, indicating that the chances of an individual boat striking a sea turtle is so
 small as to be discountable. Therefore, the addition of 6 LNG carriers per week to BSC and Gulf
 waters would not be likely to adversely affect sea turtles through vessel strike.

         RG LNG proposes to dredge the marine berths and turning basin using a mechanical
 dredge or hydraulic cutterhead dredge. Mechanical dredging and hydraulic cutterhead dredging
 are not known to take sea turtles by direct mortality, as with hopper dredging, which is the
 proposed method for deepening the BSC (NMFS 2014a). Dredging activities during
 construction would be temporary and local in nature because dredging would be confined to the
 proposed marine berths and turning basin, and maintenance dredging would only occur about
 once every 2 to 4 years. Dredging actions that could potentially result in injury to any sea turtles
 directly in the Project area would be incidental. Activities at dredged material placement areas
 would similarly not affect sea turtles since suitable nesting areas are not present in the placement
 areas and NMFS has never received reports of injury to a sea turtle resulting in the burial in, or
 impacts from the disposal of dredged material (NMFS 2014a).

         NMFS identified pile-driving as having the potential to affect sea turtles. Studies have
 shown that the sound waves from pile-driving may result in injury or trauma to fish, sea turtles,
 or other animals with gas-filled cavities such as swim bladders, lungs, sinuses, and hearing
 structures (Abbott and Bing-Sawyer 2002). Although sea turtles are not expected to occur in
 close proximity to the Project except in rare occasions, the potential exists for sea turtles to be
 injured during the first several strikes of the pile-driving hammer, especially if the turtles are
 cold-stunned from cold weather events (see table 4.7.1-1). RG LNG has modified its original
 construction plans to minimize the need for in-water pile-driving, such that only four traditional
 steel or concrete piles (via impact hammer) and one area of sheet piling (via vibratory hammer)
 would be installed in water (see section 2.5.1.3). Table 4.7.1-2 includes the distances required
 for in-water pile-driving noise to attenuate to below the take levels identified in table 4.7.1-1.




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                                           Table 4.7.1-1
      Estimated Sound Levels from Underwater Pile-driving for the Rio Grande LNG Project and
                           Effects Levels for Protected Marine Species

                                                                        Root Mean Square
                                      Cumulative Sound
   Pile-driving Activity or                                              Sound Level (dB              Peak Sound Level
                                    Exposure Level (SELcum)
         Effect Level                                                         RMS)                      (dB re 1 µPa)c
                                       (dB re 1 μPa2s)a
                                                                          (dB re 1 µPa)b
  Sheet pile (vibratory hammer /
                                                   --                           163/195                         --
  impact hammer)d
  36- to 48-inch steel pile
                                              175 to 185e                      185 to 195                   198 to 210
  (impact hammer)d
  36- to 48-inch concrete pile
                                                  166e                            176                          188
  (impact hammer)d
  Sea turtle injury                                --                             180                           --
  Sea turtle behavioral effects                    --                             166                           --
  Marine mammal temporary
  threshold shift (impulsive /                 170/178g                            --                         224/ --
  non-impulsive noise)f,g
  Marine mammal permanent
  threshold shift (impulsive /                 185/198g                                                       230/ --
  non-impulsive noise)f,g
  Marine mammal behavioral
  effects (impulsive / non-                        --                           160/120
  impulsive noise)f
  Source: NMFS 2018a.
  a
           The cumulative sound exposure level is the energy accumulated over multiple strikes or continuous vibration over a
           period of time.
  b
           The RMS exposure level is the square root of the average squared pressures over the duration of a pulse and
           represents the effective pressure and intensity produced by a sound source.
  c
           Peak sound pressure level is the largest absolute value of instantaneous sound pressure.
  d
           Estimated values include range of underwater sound levels for water-based vibratory pile-driving of a 24-inch sheet
           pile and impact pile-driving of steel piles (between 36 and 60 inches in diameter) and concrete piles (24-inch-
           diameter) for land- and marine-based pile-driving (NMFS 2018a).
  e
           These values are single strike values, which are used to develop the cumulative sound levels during modeling.
  f
           Use of impact hammers is considered impulsive noise; use of vibratory hammers is considered non-impulsive noise.
  g
           These thresholds are the general level for temporary or permanent threshold shift onset for mid-frequency cetaceans
           as identified by NMFS (2016c); however, threshold shifts are influenced by the frequency of noise received and a
           cumulative sound exposure exceeding this level may not cause a threshold shift if outside the range of hearing.




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                                             Table 4.7.1-2
      Estimated Zones of Impact for Protection Marine Species from Underwater Pile-driving Sound

                                                                  Distance to Attenuation Below Take Levels (feet) a, b
      Pile-driving Activity or
                                      Installation Method
            Effect Level
                                                                Steel Sheet Pilec      Steel Pipe Piled       Concrete Pilee

  Sea Turtles

                                            Vibratory                   0.0                    --                    --
      Behavioral (166 dB RMS)
                                              Impact                  2,815.0f                607.0                 150.9

                                            Vibratory                   0.0                    --                    --
      Injury (180 dB RMS)
                                              Impact                  328.1f                  72.2                   0.0

  Marine Mammals (mid-frequency cetaceans)

      Behavioral (120 dB RMS)               Vibratory                24,133.9                  --                    --

      Behavioral (160 dB RMS)                 Impact                  7,066.9f               1,522.3                383.9
      Permanent threshold shift
                                            Vibratory                  11.2                    --                    --
      (198 dB SELcum)g, h
      Permanent threshold shift
                                              Impact                  259.8b                  20.7                   5.2
      (185 dB SELcum)g, h
  a
             Where the distance is 0.0 feet, the source level is less than the noted threshold.
  b
             Values calculated using the Greater Atlantic Regional Fisheries Office acoustics tool with the Practical Spreading
             Loss Model for sound attenuation (NMFS 2018a), with the exception of the permanent threshold shift distances,
             which were calculated using NMFS’ 2018 Technical Guidance user spreadsheet (NMFS 2018b).
  c
             Values calculated from an impact-driven 60-inch steel pile proxy or a vibratory-driven 25-inch steel sheet proxy
             (NMFS 2018a). RG LNG estimates that 7 piles would be installed per day; sheet piles would require a 72 minutes
             of installation time (NMFS 2018b, method A.1), and traditional piles would require 300 strikes per pile (NMFS
             2018b; method E.1-2).
  d
             Values calculated from a 48-inch Cast in Steel Shell steel pile in 0 feet of water (NMFS 2018a). RG LNG estimates
             that 1 pile would be driven at a time, with 475 strikes per pile (NMFS 2018b; method E.1-2).
  e
             Values calculated from a 24-inch concrete pile in 49 feet of water (NMFS 2018a). RG LNG estimates that 1 pile
             would be driven at a time, with 475 strikes per pile (NMFS 2018b, method E.1-2).
  f
             RG LNG does not propose to install sheet piling using an impact hammer unless refusal is met with the vibratory
             hammer.
  g
             Injury thresholds for permanent threshold shifts were obtained through use of the Technical Guidance user
             spreadsheet, tab E.1-2 (NMFS 2018b).
  h
             Although the NMFS’ 2018 Technical Guidance identifies temporary threshold shift thresholds, calculations are not
             yet included in the Technical Guidance user spreadsheet (NMFS 2018b); therefore, the Zones of Influence are
             assumed to extend some distance between the permanent threshold shift and behavioral effect ZOIs.




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          RG LNG has stated that it would reduce impacts on sea turtles from in-water activities by
 employing a dedicated biologist with stop-work authority that would monitor for species
 presence prior to pile-driving activities and during pile-driving and dredging activities, which
 would include maintenance dredging during operations. The monitors would implement NMFS’
 Sea Turtle and Smalltooth Sawfish Construction Conditions (NMFS 2006). Although smalltooth
 sawfish do not occur in the BSC, the construction conditions would provide protection for sea
 turtles by requiring that:

        •   RG LNG instruct all construction personnel to observe for sea turtles during in-water
            construction;

        •   siltation barriers, as needed, be properly secured and monitored to protect entrapment
            of sea turtles;

        •   construction vessels operate at “no wake/idle” speeds while in the construction area
            where there is less than four feet of clearance between the vessel draft and the channel
            bottom;

        •   appropriate precautions are implemented if a sea turtle is seen within 300 feet of
            construction/dredging operation or vessel movement; and

        •   operation of moving equipment cease if a sea turtle is within 50 feet of the equipment
            and allowing the sea turtle to leave the area of its own accord before restarting
            operations.

         As shown in table 4.7.1-2, the threshold for injury to sea turtles would be 328 feet for
 installation of the sheet piling using an impact hammer, if required; however, RG LNG and
 NMFS have indicated that 328 feet is a manageable distance for the observers to identify
 approaching sea turtles and stop work as needed to avoid a take. Although the radius for
 potential behavioral effects would be larger (up to 600 feet for planned activities and up to 0.5
 mile if an impact hammer is required for installation of the sheet pile), behavioral effects would
 likely be limited to avoidance given the lack of quality foraging/nesting habitat in the BSC.
 During a meeting in January 2017, NMFS requested that RG LNG conservatively estimate the
 sound levels that would be produced if the piles for Jetty 2 were installed in water. RG LNG’s
 subsequent modeling indicated that in-water installation of the 96- to 106-inch steel piles for
 Jetty 2 would exceed injury thresholds in sea turtles within 1,775.6 feet of pile installation. If
 RG LNG modifies its proposed approach, which currently avoids in-water pile-driving for Jetty
 2, further approval from FERC and NMFS would be required, as well as additional consultation
 and possible mitigation to ensure that no sea turtles were injured during construction. If the rare
 occurrence of an individual sea turtle were to overlap with an inadvertent spill, the sea turtle
 could be at risk due to effects on respiration, skin, blood chemistry, and salt gland function. To
 address the potential impacts associated with offshore spills of fuel, lubricants, or other
 hazardous materials, RG LNG would implement its construction and operational SPCC Plans
 and its SWPPPs. In addition, RG LNG would also implement measures for reporting any
 observations of sea turtles congregating near outfalls at the LNG Terminal and, in accordance
 with the vessel strike guidance noted above, would report sightings of dead or injured sea turtles,
 whether or not they were related to construction and operation of the Project. To ensure that



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 these elements for sea turtles (including use of biological monitors and implementation of
 NMFS’ Sea Turtle and Smalltooth Sawfish Construction Conditions), as well as elements noted
 below for other federally or state listed species, are incorporated appropriately, we recommend
 that:

           •   Prior to construction of the Project, RG Developers should file documentation
               with the Secretary, for review and written approval by the Director of OEP,
               demonstrating how RG Developers’ commitments (as referenced in sections
               4.7.1.1, 4.7.1.2, 4.7.1.4, 4.7.2.1, and 4.7.3) to implement agency recommended
               monitoring, avoidance, and mitigation measures for federal and state listed
               species have been incorporated into RG Developers’ environmental training
               program.

         With adherence to the mitigation measures identified above, we have determined that the
 Project is not likely to adversely affect sea turtles in the marine environment. In addition, we
 find that there would be no effect on sea turtles located on nesting beaches, given the lack of
 known nesting beaches within the BSC. Finally, we find that there would be no adverse effect
 on designated critical habitat for any species of sea turtle.

 4.7.1.2          Marine Mammals

         All marine mammals are federally protected under the MMPA. The MMPA established,
 with limited exceptions, a moratorium on the “taking” of marine mammals in waters or on
 land under U.S. jurisdiction. The act further regulates, with certain exceptions, the “take” of
 marine mammals on the high seas by persons, vessels, or other conveyances subject to the
 jurisdiction of the United States. A total of 22 marine mammal species protected under the
 MMPA may occur within the BSC at the proposed terminal site and along the LNG transit
 routes in the Gulf of Mexico; although additional species may occur, they are considered
 extralimital or occasional transients within to the area (NMFS 2012, Hayes et al. 2018). Six of
 these species are also listed under the ESA (five whales and the West Indian manatee) and are
 included in table 4.7-1 and discussed below. The remaining whale and dolphin species and
 their potential area of occurrence in the Project area are described in section 4.7.2.2.

           West Indian Manatee

         The West Indian manatee is federally listed as endangered. This species is an
 herbivorous marine mammal most commonly found in coastal estuaries and rivers in Florida
 and Georgia, but it has been documented from Texas to Massachusetts. Manatees are
 subtropical mammals that are not cold-tolerant and reside in the warm waters of peninsular
 Florida during the winter; however, they may disperse great distances during warmer months
 (FWS 2007). They feed on aquatic plants such as seagrass, water hyacinths, hydrilla, and
 eelgrass. Mating can occur at any time of year with adults usually giving birth to a calf every 2
 to 5 years. Calves may be present throughout the year and usually remain with their mother for
 up to 2 years. The greatest threats to the manatee are collisions with boats and loss of warm
 water habitat. They often rest suspended just below the water’s surface, making them very




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 vulnerable to being hit by vessels (FWS 2014c). Critical habitat has been designated off the
 coast of Florida.

         Although extremely rare in the general Project area, the manatee has occasionally been
 sighted from South Padre Island (The Brownsville Herald 2014). The FWS recommends that
 employees of all coastal construction projects: a) be advised that manatees may approach the
 proposed Project area; b) be provided materials to assist in the identification of manatees; c) be
 instructed to avoid feeding manatees; and d) contact the FWS and Texas Marine Mammal
 Stranding Network if a manatee is sighted. We concur with these recommendations and we
 recommend that:

        •   Prior to construction of the LNG Terminal, RG LNG should conduct training for
            construction and operational employees that includes the identification,
            treatment, and reporting protocols for the West Indian manatee. Training
            materials should be developed in coordination with the FWS.

         Given the rare occurrence of this species in the Project area, our recommendations to
 implement FWS-recommended training for workers at the LNG Terminal and file documentation
 that these materials have been incorporated into the Project’s environmental training, as well as
 RG LNG’s commitment for its support vessels to adhere to the NMFS Vessel Strike Avoidance
 Measures and Reporting for Mariners, we find that the Rio Grande LNG Project is not likely to
 adversely affect the West Indian manatee.

        Whales

        Whales are long-lived marine mammals that occur throughout the world’s oceans.
 They can be divided into two main groups: toothed whales and baleen whales. Feeding
 morphology and prey are the major differences between these groups. Many species of
 whales migrate extremely long distances to take advantage of seasonal food resources or calm
 wintering grounds for rearing young. Whales generally utilize warm tropical waters during
 winter months when the polar seas are cold, ice covered, and food-poor, though some
 species will stay in these regions year-round. Whales could utilize the offshore areas of the
 Gulf of Mexico along the LNG transit routes for migration, calving, mating, and feeding.

         The sperm whale is a toothed whale that inhabits the deeper waters of the world’s
 oceans throughout the year, where they feed primarily on squid and other deep-sea creatures.
 Migrations are not as distinct as other species and are thought to primarily follow food
 resources (NMFS 2010a). Sperm whales are present in the northern Gulf of Mexico in all
 seasons, but are more common during the summer months (NMFS 2014b). The sperm whale
 is the only federally listed whale that is known to commonly occur in the Gulf of Mexico
 (NMFS 2012). The Bryde’s whale is a baleen whale that occurs worldwide in tropical and
 subtropical waters; however, there is a distinct stock in the Gulf of Mexico that has been almost
 exclusively sighted in the northeastern Gulf of Mexico at depths between 328 and 1,312 feet.
 The eastern Gulf of Mexico (along the continental shelf) is identified as a biologically important
 area for Bryde’s whale (NMFS 2019). The best estimate for this stock is 33 whales. This
 species has a high risk of extinction due to its small population size, life history characteristics,
 extremely limited distribution, and vulnerability to existing threats (Hayes et al. 2018).



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        Other baleen whales, including the fin, sei, and blue whales are listed by NMFS as
 occurring within the southeast region. These whales are not commonly found in the Gulf of
 Mexico, but could occur within the Gulf of Mexico LNG vessel transit area during migrations or
 other movements (NMFS 2012). Feeding is not expected in or around the Gulf of Mexico
 as these species usually feed on zooplankton and small fish aggregations during summer
 months in the northern Atlantic Ocean (NMFS 1998c, 2010b, and 2011). Calving and breeding
 grounds have not been identified for these species in the Gulf of Mexico.

         Whales could be vulnerable to vessel strikes during operation of the proposed LNG
 terminal. Vulnerability to collision with LNG carriers would be greatest while these animals
 feed, swim, and rest near the surface of the water. In areas of intense ship traffic, whales can
 experience propeller or collision injuries. The LNG carriers would use established and well-
 traveled shipping lanes, and as described in section 4.7.1.1, RG LNG would provide the
 operators of LNG carriers with NMFS’ Vessel Strike Avoidance Measures and Reporting for
 Mariners (NMFS 2008) and request that these measures be used when transiting to and from the
 Rio Grande LNG Terminal. Based on the whales’ characteristics and habitat requirements, and
 because RG LNG would provide the operators of LNG carriers with NMFS’ recommended strike
 avoidance measures, we have determined that ship strikes are not anticipated and the Rio Grande
 LNG Project is not likely to adversely affect federally listed whales.

 4.7.1.3         Birds

           Eastern Black Rail

         On October 9, 2018, the FWS proposed the eastern black rail (Laterallus jamaicensis
 jamaicensis) for listing as threatened under the ESA, with a final rule anticipated no later than
 October 2019 (83 FR 50610). Under the ESA, federal agencies are required to confer with the
 FWS on agency actions that may be likely to jeopardize a proposed species. The FWS would
 typically finalize or withdraw the listing about 12 months after the proposal depending on
 comments received; ESA protections become effective 30 days after the final listing rule is
 published.

         The eastern black rail is a small secretive bird generally found within salt, brackish, and
 freshwater marshes across portions of the United States, Central America, and South America
 (FWS 2019). Eastern black rails have a broad distribution across the Atlantic Gulf Coast and
 eastern United States; however, this species is highly localized to marsh habitats (FWS 2019,
 2018a). Black rails occupy the upper zone of marshes along the Atlantic Coast that are
 dominated by herbaceous species including marsh hay cordgrass (Spartina patens) and saltgrass
 (Distichlis spicata) that are less than 1 meter in height and intermingled with scrub-shrub species
 such as eastern baccharis (Baccharis halimifolia) and marsh elder (Iva frutescens) (FWS 2014,
 FWS 2018b). Due to their secretive nature, migration patterns for this species are poorly
 understood; however, it is believed that there are two populations of eastern black rail in the
 south-central United States. In Texas, these populations consist of a migratory, wintering
 population and a non-migratory population living in the state year-round (Federal Register
 2018). The LNG Terminal is within the potential range for the species but outside of the known
 year-round range for the species, which extends along the Texas coast from the Louisiana border




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 south to the vicinity of Baffin Bay. The Pipeline System would be within the known year-round
 habitat between MPs 0.0 to about 21.5 (FWS 2019).

          During wintering and nesting periods, the eastern black rail remains close to the ground
 at its nest and flushes only short distances when pursued and will instead use dense vegetation to
 evade predators. Breeding occurs along the Atlantic Coast from New York to Texas (FWS 2014,
 FWS 2018b). Wintering and nesting habitat for the eastern black rail includes dense vegetation
 consisting of fine-stemmed emergent plants, such as rushes, grasses, and sedges, with high stem-
 densities and canopy cover. Soils within these types of habitats generally are moist to saturated
 with an occasional dry period interspersed with or adjacent to areas of shallow water (FWS
 2018b). The eastern black rail is a ground-nesting species that uses live and dead emergent
 plants to construct its nest. Nest locations generally are well hidden within dense vegetation that
 is located atop moist soils or shallow bodies of water that are 1 to 6 centimeters in depth (FWS
 2018b). Eastern black rails reproduce from approximately mid-March through August (Federal
 Register 2018). Additionally, this species relies on transitional zones between uplands and
 wetlands for refuge during flooding and high-water events (Federal Register 2018). Eastern
 black rails are opportunistic feeders and forage on a variety of small aquatic terrestrial
 invertebrates, insects, and seeds (FWS 2019, 2018b).

         Primary threats to the eastern black rail include habitat loss due to continued alteration
 and loss of wetland habitats, land management practices that result in fire suppression (or
 inappropriately timed fire application that may cause direct mortalities), grazing, haying and
 mowing, and impounding of wetlands (Federal Register 2018). In addition, projected sea level
 rise and associated tidal flooding, increased temperatures, decreased precipitation, increased
 drought, and severe weather events producing flooding or changes in wildfire frequency and
 intensity are all likely to have significant impacts on eastern black rail populations and their
 habitat (Federal Register 2018).

         As described in section 4.4.2, a total of 114.9 acres of emergent wetlands would be
 permanently converted to industrial/commercial land or open water at the LNG Terminal site,
 resulting in a permanent loss of emergent wetland habitat. The LNG Terminal is within the
 potential range for the species, but outside of the known year-round range. Therefore, while
 wetlands at the LNG Terminal site could provide suitable black rail habitat, the species is
 unlikely to occur onsite. Additionally, a total of 125.5 acres of palustrine and estuarine emergent
 wetlands are within the workspace for the Rio Bravo Pipeline System (which does cross known
 year-round habitat). Those wetlands would be restored to pre-construction conditions following
 completion of the Project, and potential impacts on eastern black rail habitat would be
 temporary. Further, RB Pipeline plans to avoid vegetation clearing and maintenance between
 March 1 and August 31, in accordance with FWS recommendations, if practicable at the time of
 construction, or implement its MBCP, as discussed in section 4.6.1.3.

         If present onsite, construction-related noise could affect animal behavior and foraging
 patterns, and could result in individual birds moving away from the noise or relocating in order
 to avoid the disturbance. Impacts associated with construction noise would be temporary and
 limited to the construction period for the Project. No direct loss of individuals is expected given
 that the highly mobile species would likely leave areas of active construction.




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         Operation of the LNG Terminal would result in an increase over ambient sound levels at
 nearby wetland habitats, including at the Laguna Atascosa NWR (see table 4.7.1-4). While these
 noise levels would not result in hearing damage, the sound level increase would be audible and
 therefore could cause behavior and/or physiological effects including avoidance (Dooling and
 Popper 2007, FHWA 2004). Noise from LNG Terminal operation would attenuate with
 increasing distance from the site.

         Although potentially present within the Project area, particularly along the northern
 portion of the Pipeline System, RB Pipeline would implement its MBCP, which would minimize
 the potential for impacts on any nesting individuals and potential impacts on non-nesting
 individuals would be limited to temporary disturbance. Potential habitat would be removed at
 the LNG Terminal site; however, the site is outside of the known year-round habitat for the
 species and habitat clearing would be in accordance with RG Developers’ MBCP, which would
 minimize the potential for impacts on nesting individuals. Therefore, we conclude that the
 Project is not likely to adversely affect the eastern black rail and its habitat.

        Northern Aplomado Falcon

         The northern aplomado falcon is a federally endangered species of raptor. The current
 range in the United States is restricted to south Texas, New Mexico, and Arizona, although the
 New Mexico and Arizona falcons are part of a non-essential, experimental population. 36 The
 species is mainly non-migratory in the United States and depends on expansive, open grasslands
 and associated avian communities, as it preys on numerous species of smaller birds. Northern
 aplomado falcons do not build their own nests; rather, they use abandoned nests constructed by
 other raptors or corvids. Due to recovery and reintroduction practices, many pairs also use nests
 built by humans. Nesting times are variable, and although egg-laying has been documented from
 January through September, March through May is the peak period.

         The FWS estimates a home range of about 8,401 acres, or about a 2-mile radius around
 nest sites (FWS 2014d). No critical habitat has been designated for the northern aplomado
 falcon. The primary threats to the species include predation (mainly by great horned owls);
 habitat modification that leads to changes in vegetation and the reduction of grassland bird
 (potential prey) abundance; mortality of individuals and prey species at wind farms; drought; and
 climate change (which causes increased aridity of grasslands, making them more susceptible to
 habitat loss from livestock grazing) (FWS 2014d).

         Northern aplomado falcons were reintroduced along the southern coast of Texas in 1993
 at 22 locations; release of captive-bred falcons is ongoing. About 29 pairs of falcons currently
 reside in Texas, with 19 of those pairs occurring near Brownsville. The Brownsville area pairs
 are found within a corridor about 34 miles long and 3 to 7 miles wide, stretching from the
 Mexican border to an area north of the Laguna Atascosa NWR. Local nesting occurs on the


 36
        An experimental population is a population that has been released outside of its currently occupied range, but within its
        probable historic range, to further species conservation. An experimental population is further deemed “essential” if its
        loss would be likely to appreciably reduce the likelihood of species survival in the wild, or “non-essential” if its loss
        would not appreciably reduce the likelihood of survival. Essential or non-essential experimental populations are treated
        as threatened if they occur on an NWR or on NPS land; otherwise, they are treated as a species that is proposed for
        listing.



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 NWR, municipal land at the Port of Brownsville, private ranches, and larger expanses of
 seasonally inundated salt prairie, which stretch from Brownsville to Port Isabel (FWS 2014d).
 The Peregrine Fund surveys suitable habitat in the Project area on a yearly basis to identify nests
 and nesting activities of northern aplomado falcons. Results of survey data collected between
 2000 and 2016 indicate that no northern aplomado falcons nest in Jim Wells, Kleberg, and
 Kenedy Counties, likely due to limited habitat and a robust population of great horned owls (The
 Peregrine Fund 2017). One breeding pair is known in Willacy County; however, the pair’s
 territory does not include areas affected by the proposed Project. Within Cameron County, the
 Project would overlap with six northern aplomado falcon territories (one of which overlaps with
 the LNG Terminal site), each of which has a currently or historically active nest within 1 mile of
 Project workspaces (The Peregrine Fund 2017, FWS 2016g).

         The FWS’ recovery plan for the northern aplomado falcon includes maintenance or
 restoration of coastal prairies and desert grasslands through grazing, prescribed fire, and brush
 control. Multiple members of the public expressed concern regarding the potential for the LNG
 Terminal to preclude the prescribed fire/burns in the Project area. Habitat in the south Texas
 coastal prairie has suffered from invasion of brushland species; as woody plant cover increases,
 the occurrence of the northern aplomado falcon decreases. In an effort to restore the prairies,
 federal and state land management agencies, and their partners, have mechanically removed
 invading trees (such as mesquite and huisache) and have conducted prescribed burns and
 herbicide application to manage the invading brush in prairie habitat. Brush removal in the
 Bahia Grande area has recently opened and restored about 2,700 acres of coastal prairie habitat;
 as of 2014, the FWS’ goal was to restore another 1,500 acres in the Bahia Grande area within a
 few years. However, although grassland restoration shows promise, the ultimate success at
 achieving historical habitat quality has not been determined (FWS 2014d).

          The Rio Grande LNG Project would result in temporary and permanent impacts on five
 vegetation communities collectively considered upland herbaceous land (south Texas loma,
 disturbance, and sandy mesquite savanna grasslands; sea ox-eye daisy flats; and Gulf Coast salty
 prairie), which may provide suitable foraging habitat for the northern aplomado falcon. The
 proposed pipeline facilities in Cameron County would result in a temporary impact of about
 220.7 acres of upland herbaceous land, of which about 33.3 acres would be subject to regular
 vegetation maintenance. As active and historic nests occur within 1 mile of the proposed
 pipeline workspaces, construction activities along the southern portion of the route (from about
 MP 124.0) could result in impacts on northern aplomado falcons due to increased noise and
 human presence in proximity to active nests. However, impacts associated with the pipeline
 facilities within occupied northern aplomado habitat would be temporary, and no increase in
 competition between falcons in adjacent territories would be anticipated.

         Within the boundaries of the Rio Grande LNG Terminal, 191.5 acres of potential
 foraging habitat would be permanently converted to industrial land. An additional 19.2 acres of
 upland herbaceous habitat would be temporarily disturbed during construction resulting from use
 of the offsite facilities for the LNG Terminal. The last active nest identified within 1 mile of the
 LNG Terminal site was in 2006; however, an active territory is present in close proximity to the
 proposed staging area in the Port of Brownsville (The Peregrine Fund 2017). As no known
 nesting occurs on the LNG Terminal site or offsite facilities, no direct impact on the falcons or
 their nests would occur. Further the FWS, in its comments on the draft EIS, indicated that the



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 LNG Terminal area is covered by a Safe Harbor Agreement (an agreement between a non-
 federal landowner and the FWS) and associated 10(a)(1)(A) permit that allows development (and
 take) to occur in the area around the Port of Brownsville, where landowners (such as the BND)
 have opted to become sub-permittees of the Safe Harbor Agreement. However, loss or
 disturbance of suitable habitat would result in the decreased presence of foraging habitat and
 prey species, potential impacts on habitat restoration efforts (e.g., prescribed burns), and
 temporary displacement from current home ranges near areas of increased Project-related noise
 and light.

         The permanent loss of potential foraging habitat within the LNG Terminal site would
 likely not result in a significant impact on northern aplomado falcons, given the presence of
 undisturbed quality habitat within the adjacent Laguna Atascosa NWR. Impacts on migratory
 birds, which include prey of the northern aplomado falcon, are discussed in detail in section
 4.6.1. In addition, prescribed burning, although not allowed on the LNG Terminal site itself,
 would not be precluded in the adjacent areas currently subject to habitat restoration. To
 minimize the potential for impacts on nesting and foraging northern aplomado falcons, RG
 Developers have developed a set of Project-specific northern aplomado falcon BMPs (see
 appendix N) that are based on the FWS’ BMPs for the northern aplomado falcon, 37 as modified
 through discussions with the FWS and TPWD. Measures proposed to be implemented by RG
 Developers include, but are not limited to:

        •    coordinating with the FWS and Peregrine Fund to acquire the most recent nest data and
             consult with the FWS to determine if pre-activity surveys should be conducted in
             suitable habitat where nest data is lacking;

        •    training all construction and maintenance staff on the species, the BMPs identified for
             species protection, and the role of the construction monitor;

        •    constructing the pipeline between August 1 and January 31 (outside of the breeding
             season), or using biological monitors during the breeding season to monitor active nests
             within 0.5 mile of construction activities;

        •    constructing the LNG Terminal and associated offsite facilities that are within 1 mile
             of active nests between August 1 and January 31 or using biological monitors during
             the breeding season to monitor active nests within 1.0 mile of construction activities;

        •    minimizing nighttime work or, when needed, using nighttime lighting that is down-
             shielded and of minimal wattage; and




 37
        The FWS’ BMPs for the northern aplomado falcon is available on FERC’s eLibrary website, located at
        http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession
        number 20160928-5172.38 Maintained (vegetated) rights-of-way were allocated to the corresponding land use type
        category based on vegetation type; therefore, existing utility corridors are captured in the following land use types:
        agricultural, open land, open water, and wetlands. Similarly, the area to be dredged for the marine facilities within the
        LNG Terminal site is allocated across open land, barren, open water, and wetland land use type categories as
        appropriate.



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        •   reporting all newly discovered nests to the FWS within 1 day and new northern
            aplomado falcon sightings within 3 days.

         Although no active nests were identified within the footprint of the proposed facilities
 during the 2016 surveys, nest sites may move from year-to-year within a given territory, and nest
 sites may change prior to beginning construction of Project facilities. The Project-specific BMPs
 indicate that the most recent northern aplomado falcon nest data would be obtained prior to
 construction; however, the LNG Terminal and each pipeline have separate construction start
 dates. Further, RG Developers have indicated that biological monitors would be used to monitor
 buffer areas around active nests, rather than occupied habitat, as identified in the FWS’ northern
 aplomado falcon BMPs. Therefore, we recommend that:

        •   Prior to construction of each pipeline and the LNG Terminal, RG Developers
            should file with the Secretary documentation confirming that they obtained
            updated records of active northern aplomado falcon nests from The Peregrine
            Fund for the appropriate breeding season and consulted with the FWS to
            determine if any additional mitigation is warranted based on the new nest data.
            RG Developers should also consult with the FWS on the Project-specific northern
            aplomado falcon BMPs, and file with the Secretary the FWS comments and any
            BMP modifications, for review and written approval by the Director of OEP.

        We note that the FWS, in response to our request for Section 7 consultation, encouraged
 the conservation of northern aplomado falcon habitat and separately requested that RG Developers
 work with The Conservation Fund and The Peregrine Fund to identify and secure conservation
 land. RG Developers are continuing to consult with these entities regarding potential mitigation.

        Given RG Developers’ use of Project-specific BMPs for northern aplomado falcons, our
 recommendation to verify nest locations in consultation with the applicable entities, and in
 consideration of FWS comments on the draft EIS indicating that take is already covered under a
 Safe Harbor Agreement and associated 10(a)1B(1)(A) permit for property owned by the
 Brownsville Navigation District, we have determined that the proposed Project is not likely to
 adversely affect the northern aplomado falcon.

        Piping Plover

          Piping plovers are small shorebirds that migrate from northern breeding grounds to
 southern and eastern wintering grounds. Piping plovers are listed as endangered in their
 breeding grounds, which are located on the northern Great Plains, in the Great Lakes, and along
 the Atlantic Coast of the United States and Canada. Wintering habitat for each of the breeding
 populations is shared and stretches from the coast of North Carolina to Texas; and into Mexico,
 the Bahamas, and the West Indies. Piping plovers are listed as threatened in all non-breeding
 habitat, including in the vicinity of the proposed Project. During the winter, they use a mosaic of
 habitat patches, including sand spits, small islands, tidal flats, ephemeral pools, and seasonally
 emergent seagrass beds. Critical habitat has been designated for two of the three breeding
 grounds (excluding the Atlantic Coast population) and for 141 units of wintering habitat from
 North Carolina to Texas. Critical wintering habitat supports roosting, foraging, and sheltering
 activities (FWS 2015c).



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          Plovers typically begin migrating south in July or August and stay in the wintering
 grounds between February and May. In Texas, piping plovers generally begin arriving in mid-
 July and most have left by mid-May. They feed on insects, crustaceans, and other small marine
 animals. When not feeding, they roost in sheltered spots, such as behind driftwood or small
 dunes. Most of the plovers wintering in Texas are found in the Lower Laguna Madre area,
 where they feed on the wind-tidal flats. Declines in the piping plover population has resulted
 from habitat loss/alteration, human disturbance, and predation (TPWD n.d.-a). Given the larger
 number of piping plovers that utilize the surrounding areas in the winter, and the presence of
 suitable mudflat habitat, it is likely that individuals would also occasionally be present within the
 LNG Terminal site. As the FWS assumes presence, no surveys at the LNG Terminal site were
 required (FWS 2016a). Critical habitat for wintering piping plovers has been designated in the
 immediate vicinity of the proposed LNG Terminal site, including a 7,217-acre area (habitat unit
 TX-1) on the opposite side of the BSC, directly across from the LNG Terminal site and
 encompassing the South Bay area. Additional areas of critical habitat include an area on the
 bayside of South Padre Island, as well as areas further north on South Padre Island. Critical
 habitat for the piping plover is depicted in figure 4.7.1-1. Primary constituent elements for
 critical piping plover wintering habitat are those that are essential for foraging, sheltering, and
 roosting; they include coastal areas that support intertidal beaches and flats (between annual low
 tide and annual high tide) and associated dune systems and flats above annual high tide (66
 Federal Register 36038). Habitat unit TX-1 covers portions of South Bay and Boca Chica
 following the BSC, and includes wind-tidal flats that are infrequently inundated by seasonal
 winds (66 Federal Register 36038). More than 150 piping plovers are believed to winter in
 habitat unit TX-1 (FWS 2015).

         Piping plovers are known to exhibit a high degree of intra- and inter-annual fidelity to
 wintering areas. One study indicated that 97 percent of surveyed birds remained in the same
 region, and often on the same beach (Gratto-Trevor et al. 2012, FWS 2015). Mean average
 home range identified in southern Texas in an earlier study was 7.8 miles, with a mean core area
 of 1.8 miles (Drake et al. 2001, FWS 2015).

         Dredged material placement areas considered for use are present within the critical
 habitat south of the BSC; however, the COE, in its BA for the Brazos Island Harbor
 Improvement Project, determined that dredging activities within the BSC would not likely to
 adversely affect the piping plover or its critical habitat. The FWS concurred with this
 determination given the COE’s planned mitigation to survey the placement areas prior to
 dredged material placement if certain climatic conditions were present (FWS 2014b). In
 addition, the FWS indicated that, without the periodic placement of dredged material at these
 locations, vegetation could grow, making the sites unsuitable as habitat. If placement areas were
 used in the critical habitat, the FWS found that plovers could comfortably move to adjacent
 habitats since they are acclimated to dynamic landscapes and moving to adjacent habitats when
 one habitat disappears (FWS 2014b). As discussed in section 4.2.3, the BND is assessing the
 potential disposal locations for all projects proposed for the BSC, in coordination with federal,
 state, and local resource agencies and interested stakeholders, including the BND, COE, EPA,
 NMFS, FWS, and the TCEQ. Any mitigation required for dredged material placement at
 specific locations would be determined through that review process.




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        MP 120.0
       '
       4




                                                                                                  Cameron
                                                                                                   County




                                                                                                             Â
                                                                                                             C




                                                                 4 MP 130.0
                                                                 '




                                                              Legend
                                                                                                        0                          2                          4
                              Houston


                                            Piping Plover Critical Habitat
                                                                                                                                                                   Rio Grande LNG Project
                                        '
                                        4   Milepost                                                                          Miles
       TX



                                                                                                            ±
   Corpus
    Christi
                                            Proposed Header System                                                                                                    Critical Habitat for the
                                            Proposed Rio Bravo
                                            Pipeline                                                                                                               Piping Plover in the Vicinity
                    Gulf of                                                                                                   Scale: 1:175,000                                 of the
                    Mexico              Â
                                        C   Proposed Compressor Station


              Brownsville
                                            LNG Terminal Site (Leased Parcel)                                                                                      Rio Grande LNG Terminal
                                            Proposed LNG Terminal Boundary (Facility Footprint)         AERIAL IMAGERY: NATIONAL AGRICULTURE IMAGERY
Mexico                                                                                                  PROGRAM (NAIP) 2014 - http://datagateway.nrcs.usda.gov/.
                                                                                                                                                                        Figure 4.7.1-1
                                ±
                                            County Boundary
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          As described in section 4.11.2.3, RG LNG estimated the impact of noise from LNG
 Terminal site preparation, construction, and operation. Site preparation and construction
 activities could result in an increase over ambient levels of 7.1 dB and 1.8 dB, respectively at
 piping plover critical habitat located on the south side of the BSC across from the LNG Terminal
 site (see table 4.7.1-3, below).

          Construction-related noise could affect animal behavior and foraging patterns, and could
 result in individual birds moving away from the noise or relocating in order to avoid the
 disturbance. Impacts associated with construction noise would be temporary and limited to the
 construction period for the Project. No direct loss of individuals is expected given that the
 highly mobile species would likely leave areas of active construction. Thus, we do not believe
 impacts on the piping plover would be significant. Sound from site preparation activities, which
 would result in the greatest increase over ambient levels, would be temporary and would occur
 during Stage 1 of construction (see table 2.2.3-1).

          Operation of the LNG Terminal would result in a 12.5 dB increase over existing ambient
 sound levels at the nearest piping plover critical habitat measurement location, for a total noise
 level of 67.5 dBA (see table 4.7.1-4). While these noise levels would not result in hearing
 damage, the sound level increase would be audible and therefore could cause behavior and/or
 physiological effects including avoidance (Dooling and Popper 2007, FHWA 2004). Noise from
 LNG Terminal operation would attenuate with increasing distance from the site, and noise levels
 in critical habitat would return to ambient levels within about 1.5 miles (see figure 4.11.2-1), an
 area that covers about 1,100 acres (about 15.2 percent) of habitat unit TX-1.

         Although we anticipate that any adverse impacts on bird behavior and use of the critical
 habitat would be limited to areas of considerable sound increases (i.e., an area less than the 1,100
 acres noted above), no readily available data identify noise levels at which piping plovers may
 avoid critical habitat. One study of snowy plovers in breeding areas indicates that sustained
 noise levels of 80 dBA would result in a “may affect” determination for snowy plovers (U.S.
 Marine Corps and Department of the Navy 2017); however, piping plovers do not breed in south
 Texas and ambient sound levels have not been identified as primary constituent elements for
 designating critical habitat for wintering piping plovers (65 FR 41782).

          In its comments on the draft EIS, which identified the potential for noise impacts on
 critical habitat, the FWS indicated that the Project would not be likely to adversely affect the
 piping plover. In consideration of consultation with the FWS and because elevated noise levels
 would not preclude use of the critical habitat by winter piping plovers, we concur and conclude
 that the Project is not likely to adversely affect the piping plover or its critical habitat.




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                                                                                       Table 4.7.1-3
                              Estimated Noise Level Contributions for Site Preparation and Construction of the Rio Grande LNG Terminal at Nearby Sensitive
                                                                                         Habitats
                                                                                                                                    Combined Existing and
                                             Distance                                                                                                                        Expected Increase
                                                           Direction       Existing           Contribution Lmax (dBA)              Construction Noise Level
                                            from LNG                                                                                                                              (dBA)
                                                           from LNG        Daytime                                                        Lmax (dBA)
                             Location        Terminal
                                                            Terminal       Ambient
                                               Site                                           Site                                  Site                                  Site
                                                              Site          (dBA)                             Construction                         Construction                          Construction
                                             (miles)a                                      Preparation                           Preparation                           Preparation

                         Laguna
                         Atascosa               0.5           West            56.7              51.7               42.7               57.9               56.9               1.2                0.2
                         NWR

                         Piping Plover
                         Critical               0.5           South           54.9              61.1               52.1               62.0               56.7               7.1                1.8
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                         Habitat

                         Wildlife
                                                2.4         Southwest         57.8              51.3               42.3               67.9               67.8               0.1                0.0
                         Corridor
                         a
                                    Distances are measured to the approximate center of the site for reference. Acoustic modeling was conducted to estimate construction noise levels, and considers the
                                    location of specific construction activities across the LNG Terminal site.
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                                             Table 4.7.1-4
      Composite Noise Levels from the Rio Grande LNG Terminal at Nearby Sensitive Habitats during
                                              Operations
                                                                                                                   Predicted
                                                                       Predicted LNG            Ambient +
                              Distance and           Existing                                                     Increase in
      Noise Sensitive                                                     Terminal                 LNG
                           Direction from LNG       Ambient Ldn                                                     Ambient
           Area                                                       Contribution Ldn         Terminal Ldn
                            Terminal (miles)          (dBA)                                                      Sound Level
                                                                           (dBA)                  (dBA)b
                                                                                                                     (dBA)
  Laguna Atascosa
                                 0.5 west                59.8                 71.4                  71.7               11.9
  NWR
  Piping Plover Critical
                                 0.5 south               55.0                 67.2                  67.5               12.5
  Habitat

  Wildlife Corridor            2.4 southwest             68.9                 60.3                  69.5               0.6
  a
             Distances are measured to the approximate center of the site for reference. Acoustic modeling was conducted to
             estimate construction noise levels, and considers the location of specific construction activities across the LNG
             Terminal site.
  b
            Sound pressure levels are measured on a logarithmic scale; therefore, the predicted increase in ambient sound level at
            the noise sensitive areas during operation of the LNG Terminal would not be the sum of the two noise levels.



           Red Knot

          The red knot, a shorebird, was federally listed as threatened in 2015. It breeds and nests
 in arctic tundra habitats located as far north as the Canadian Artic; however, it utilizes sandy
 coast habitats, from the U.S. Gulf Coast and into South America for migration and wintering
 (Cornell Lab of Ornithology 2013, FWS 2013b). The red knot generally migrates into the south
 between July and October and returns to the northern breeding grounds between April and June
 (TPWD 2016g). They feed on clams, mussels, and other invertebrates. In addition, the red knot
 generally roosts along sandy beaches and feeds along intertidal sandy mud areas. Primary
 threats to this species include coastal development, shoreline stabilization, dredging, and
 anthropogenic disturbances which may impact availability of food sources (FWS 2016h). This
 species is known to winter in south Texas, including all counties crossed by the proposed
 Project, with the exception of Jim Wells County (TPWD 2016g). No critical habitat has been
 designated.

         As discussed for the piping plover, individuals using the LNG Terminal site would likely
 leave the area as construction progresses and some potential foraging habitat would be lost.
 However, given the availability of adjacent habitat and the limited tidal influence of habitats on
 the LNG Terminal site, we conclude that construction and operation of the proposed Project is
 not likely to adversely affect the red knot.

           Red-crowned Parrot

         The red-crowned parrot is federally listed as a candidate species. This species is endemic
 to northeastern Mexico but may also occur in the Lower Rio Grande Valley and other parts of
 Texas. Habitat for the red-crowned parrot typically includes tropical lowlands and foothills,
 tropical deciduous forest, gallery forest, floodplain forest, thornscrub, and partially cleared or
 cultivated fringe habitat (FWS 2011). The red-crowned parrot is a non-migratory species but has



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 been described as nomadic during the winter season when other species of birds flock to their
 habitat. This species generally forages in the tops of trees, occasionally dropping to low-lying
 bushes in pursuit of food. The red-crowned parrot feeds on seeds and fruits and further
 supplements its diet with buds and flowers of other plants. This species nests in pre-existing tree
 cavities from March to August.

         In recent years, the red-crowned parrot population has declined primarily from extensive
 habitat loss, degradation of nests, and predation (Cornell Lab of Ornithology 2016, FWS 2011).
 The red-crowned parrot is only known to occur along the southernmost part of the Project
 (Cameron and Willacy Counties) where there is no forest land, therefore no suitable nesting
 habitat would be crossed. Although south Texas salty thorn scrub habitat (potential foraging
 habitat) would be disturbed and/or lost during construction and operation of the LNG Terminal,
 the species is mobile and would likely move away from areas of increased noise and human
 presence; therefore, the Project is unlikely to result in a trend towards federal listing for the red-
 crowned parrot.

        Whooping Crane

         The federally endangered whooping crane has three wild populations, including the
 Aransas-Wood Buffalo National Park population, which is the only remaining self-sustaining
 wild population. This population nests at and near the Wood Buffalo National Park in Canada
 and winters in coastal marshes at the Aransas NWR on the southern coast of Texas (FWS 2016i).
 Migrations to the Aransas NWR begin in mid-September, arriving around November, and leave
 the NWR in late March or early April. Wintering habitat includes salt flats and marshes, swales
 and ponds present within areas of coastal prairie, and cropland adjacent to these habitats (TPWD
 2016h, Cornell Lab of Ornithology 2015). Whooping cranes are omnivorous, with food sources
 depending on their location. The Aransas NWR population will eat aquatic organisms, small
 reptiles and mammals, plant material, and waste grains from agricultural fields (Cornell Lab of
 Ornithology 2015). The biggest threats to the species are power lines, illegal hunting, and
 habitat loss (TPWD 2016h).

         The Aransas NWR is more than 80 miles northeast of the proposed Project, which
 coincides with the closest area of whooping crane critical habitat. Although the species is
 generally noted as potentially occurring only in the northern counties of the Pipeline System
 (north of MP 66.0), FWS staff have observed multi-year sightings near the LNG Terminal site,
 indicating a potential expansion of the species’ range (FWS 2016i).

         Suitable wintering habitat is present within the footprint of the proposed Project.
 Specifically, the northern portion of the pipeline route includes grassland, cropland, and some
 wetlands; the southern portion of the pipeline route, and the LNG Terminal site, include coastal
 marsh habitat. If whooping cranes were present at the time, construction within these habitats
 would temporarily displace them to nearby habitat. Operation, especially of the LNG Terminal,
 would result in the permanent conversion of potential habitat to developed land that whooping
 cranes would likely avoid in favor of quieter, undisturbed habitat in the adjacent land. Given the
 lack of breeding/nesting in the southern United States, and implementation of RG Developers’
 Plan and Procedures to restore habitats within temporary workspaces, we find that construction
 and operation of the proposed Project is not likely to adversely affect the whooping crane.



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 4.7.1.4            Mammals

           Ocelot

         The federally endangered ocelot is a solitary feline species distributed from Texas and
 Arizona, south through Mexico and into South America (FWS 2010c). Preferred habitat is
 characterized as dense brush with 75 percent canopy or more, and may include chaparral
 thickets, mesquite-thorn scrub, and live oak mottes (TPWD 2016g, FWS 2015d); the most
 crucial habitat is that with dense vegetation cover less than 3 feet high (FWS 2015d). The ocelot
 is primarily nocturnal, hunting small mammals, birds, and reptiles at night and resting during the
 day in trees or sheltered dens (FWS 2010c, TPWD 2016i).

         The primary threats to this species are collisions with vehicles, habitat loss and
 fragmentation, and loss of genetic diversity as populations dwindle and are isolated from each
 other (FWS 2012d). No critical habitat has been designated for the ocelot. Multiple scoping
 comments were received raising concerns about impacts on ocelots, specifically those located at
 the Laguna Atascosa NWR, and how the LNG Terminal would affect those individuals.

         There are two breeding populations in south Texas, with an estimated total of 53
 individuals between the two. One population occurs in Willacy and Kenedy Counties, primarily
 on private land; the other (about 17 individuals) occurs primarily on the Laguna Atascosa NWR
 in Cameron County (FWS 2015d, 2016j). At least some ocelots of the Willacy/Kenedy County
 population are known to den in the El Jardin and San Perlita Conservation Area, which lies about
 2.6 miles north of the proposed Pipeline System at MP 79.0 (see figure 4.6.1-1). The Laguna
 Atascosa NWR is a 97,000-acre area; the proposed LNG Terminal site is located immediately
 adjacent to its southern border, across SH-48 (a distance of about 212.2 feet). In addition, the
 proposed Pipeline System skirts the southwestern boundary of the Laguna Atascosa NWR, with
 a minimum separation of 52.8 feet at multiple spots between MPs 126.0 and 135.5 (see table
 4.8.1-3). In addition to the counties with known breeding populations, ocelots have also been
 observed in Hidalgo and Jim Wells Counties (FWS 2015d). As discussed in section 4.8.1.5,
 there are three easements crossed by the pipeline in Cameron County that are designated for the
 protection of ocelot habitat; the pipelines through these parcels have been rerouted to
 predominantly travel adjacent to existing disturbance.

         Ocelots live within a home range, which typically ranges from 1 to 4 square miles
 (TPWD 2016m); home ranges may overlap for cats of different sexes, but not for those of the
 same sex (FWS 2015d). Ocelots can bear young year-round and the females create well-hidden
 dens in dense, thorny scrub, caves, tree or log hollows, and bunched grasses. The mother cares
 for the kittens until such a time that they can take care of themselves. When the cats are about
 one to 2 years old, they typically disperse from the natal range; males always disperse to
 establish their own home range while females may or may not leave the natal area. One study
 that tracked six dispersing juveniles from the Laguna Atascosa NWR indicated that dispersal to
 find and establish an independent home range took between 7 and 9 months; established home
 ranges were between 1.6 and 5.6 miles from the natal range (center to center). During dispersal,
 these young cats used narrow corridors of brush, between 16 and 328 feet wide, along resacas,
 drainage ditches, and small scrub patches within agricultural or pasture land (FWS 2015d).




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         In the last 30 years, about 45 percent of the tracked deaths in south Texas have been due
 to vehicular incidents. Given the high rate vehicular mortality, TxDOT has begun installing, or
 is planning to install, wildlife underpasses and culverts at major roadways, including SH-48, SH-
 100, and U.S. Highway 77. One such project included installation of a wildlife crossing for the
 protection of ocelots, Gulf Coast jaguarundi (discussed below), and other wildlife under SH-48
 during its recent expansion. This expansion included the addition of two lanes (for a total of four
 lanes) and a concrete barrier; the FWS’ Biological Opinion in 2004 provided for a take of one
 ocelot and one jaguarundi, neither of which had occurred through the report date (December
 2015). Expansions and modifications along SH-100, which runs from Port Isabel north of the
 Laguna Atascosa NWR have also been including wildlife crossing areas to minimize the
 potential for the endangered cats to be hit by vehicles, as discussed in section 4.6.1.4 (FWS
 2015d). During coordination with the FWS, two planned wildlife crossings were identified
 along U.S. Highway 77, where the Pipeline System is collocated with an existing pipeline.
 These two crossings would be about 550 feet east of MP 49.9 and 430 feet east of MP 62.1;
 however, as the crossings have not yet been constructed, the location of the openings in relation
 to the proposed pipeline, and therefore potential conflicts between the proposed pipeline and
 ocelots’ future use of these areas, are not known. However, we anticipate that any potential
 conflicts would be assessed by the FWS during development of its Biological Opinion.

          As discussed in section 4.9, up to 5,225 workers would be present onsite during
 construction of the LNG Terminal; RG LNG has estimated that 4,600 roundtrips (9,200
 individual transits) would occur between the LNG Terminal site and worker housing/parking
 areas. Although the traffic levels would be within the planned capacity of the roadway, it would
 represent a considerable increase in the traffic currently experienced on SH-48 (about 12,000
 transits per day), and other local roadways, which could result in the direct mortality of ocelots.
 As ocelots injured along SH-48 would most likely belong to the Laguna Atascosa NWR
 population, which is estimated to include 17 cats, each direct mortality would result in a 6
 percent reduction in the local population. Although the loss of one cat would result in a
 significant impact on ocelots, RG LNG’s high-volume use of SH-48 during construction would
 be within the design capacity of the SH-48 expansion (40,000 transits per day); therefore, the
 FWS’ Biological Opinion on the expansion of SH-48 has accounted for the potential increase in
 traffic and determined that the expansion project was not likely to result in jeopardy of ocelots.
 Traffic associated with construction of the LNG Terminal would generally occur during the day,
 although morning shifts may start before sunrise depending on the time of year; minimizing
 nighttime driving would limit the potential for vehicular collisions with the nocturnal cats. In
 addition, worker training would include information on the ocelot, its habitat, and activity, and
 reduced speed limits would be enforced within, to, and from construction workspaces for the
 entire Project. The operational staff for the LNG Terminal would include about 330 people,
 which would result in a permanent, but minor impact on local roadway traffic.

         Construction and operation of the proposed Project could affect ocelots through direct
 injury/mortality during habitat clearing. Indirect effects could also occur from the habitat
 disturbance/fragmentation, increased human presence, and increased noise during construction
 and operation. Although ocelots would occur in the vicinity of the LNG Terminal site and
 pipeline facilities, direct impacts on ocelots during vegetation clearing along the pipelines is
 unlikely due to the mobility of the species and the routing of the pipelines to avoid the centers of
 known populations, such that any individuals using the construction footprint would likely be


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 transient. The LNG Terminal site does include suitable habitat for ocelots; however, RG LNG
 has agreed to complete pre-construction surveys and hazing at the LNG Terminal property to
 flush wildlife from the site prior to completing the fencing.

          Indirect disturbance from habitat loss or fragmentation along the Pipeline System could
 result in short-term displacement if the habitat were occupied, and disruption of dispersion from
 natal areas and transient movements, which typically follow habitat corridors. To provide
 habitat and a safe travel corridor for wildlife, but particularly for ocelots, the FWS has identified
 a Coastal Corridor acquisition area which, when acquired by the agency and its partners, would
 protect land between the Bahia Grande Unit of the Laguna Atascosa NWR (directly north of the
 LNG Terminal site) and a larger unit located further north in Cameron County (FWS 2010d; see
 figure 4.6.1-1); the acquisition area would not be crossed by the Project. However, potential
 habitat would be crossed by the Pipeline System outside of the acquisition area, including about
 542.5 acres of upland shrub/forest habitat, which would be temporarily disturbed during
 construction of the Pipeline System. Of that, 338.5 acres would be maintained in an herbaceous
 state for the life of the Project. The FWS, in its consultations with RG Developers after issuance
 of the draft EIS, indicated that the prime areas of ocelot habitat along the proposed pipeline were
 between MPs 70 and 115, and that the FWS is working with RG Developers to identify any
 specific areas of high quality habitat where impacts should be avoided or minimized. As
 indicated below, finalized mitigation plans for the loss of potential ocelot habitat would be
 determined through completion of the ESA consultation process.

         Given the linear nature of the Pipeline System, shrub/forest land would be converted to
 herbaceous land within a 75-foot-wide corridor through areas potentially used as habitat
 corridors; however, as ocelots are known to transit through other habitat types (albeit possibly
 due to the lack of available scrub-shrub), we conclude that a creation of such a corridor through
 transient habitat would not result in a significant adverse effect on ocelots.

         Scoping comments were raised regarding impacts on the ocelot corridor that is present
 west of the LNG Terminal site. As part of the SH-48 expansion project, discussed above, the
 BND granted the FWS a 19-year conservation easement along the BSC, including an area about
 1,000 feet wide and stretching from SH-48 (at the wildlife crossing) to the BSC. Although
 camera traps have been installed at the wildlife corridor, no ocelots (or jaguarundi) have been
 recorded using it (FWS 2015d). To avoid impacts on this corridor, which would be crossed by
 the pipeline route from MPs 134.5 to 134.7, RB Pipeline would install the pipeline via HDD
 crossing methods, which would avoid surface impacts from MPs 134.4 to 135.5, with the
 exception of hand-clearing within a 2-foot-wide corridor for placement of the HDD guide wire.
 Ocelots, jaguarundi, or other wildlife could temporarily avoid use of the wildlife corridor due to
 noise during active HDD construction, which could occur up to 24 hours per day, 7 days a week,
 for up to 10 weeks.

         During restoration of the construction workspaces, RG Developers would implement
 their Plan and Procedures, which includes measures to restore original contours, minimize
 disturbance at wetlands and waterbodies, and revegetate using seed mixes appropriate for the
 region, as developed in consultation with the NRCS. To minimize the potential for invasive
 species in areas disturbed by construction, RG Developers would implement their Noxious and
 Invasive Weed Plan, which includes measures to prevent the introduction of weeds and treat for



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 any weeds that may become established in construction workspaces. RG Developers would also
 implement their SPCC Plans for the LNG Terminal and Pipeline System, which include
 measures to minimize the potential for inadvertent spills of hazardous materials.

          In addition to land temporarily disturbed during construction, the proposed Project would
 result in the loss (conversion to developed land) of 189.1 acres of upland shrub habitat at the
 LNG Terminal site, of which 138.3 acres include mesquite-thorn scrub vegetation. As discussed
 in section 4.5.4, a 63.9-acre loma that currently exists on the LNG Terminal site would also be
 lost during development of the property; loma habitat is important feeding habitat for ocelots.
 Although no individuals have been observed on the property, possibly due to the lack of specific
 studies conducted on the property, loss of these habitats would result in a potential decrease in
 foraging habitat for cats within the Laguna Atascosa NWR.

         In order to offset the loss of wetlands at the LNG Terminal site, RG LNG has proposed to
 preserve land within the Loma Ecological Preserve, south of the BSC (see section 4.4.2.4);
 ocelots have been recorded within and adjacent to the Loma Ecological Preserve and therefore
 preservation of this land may also benefit ocelots. However, as the recovery plan for ocelots,
 which was noted by the public during scoping, identifies preservation and expansion of ocelot
 habitat, as well as protection of habitat surrounding known ocelot populations, loss of potential
 habitat at the LNG Terminal site is in opposition to the recovery actions identified in the
 recovery plan and preservation of habitat across the BSC may not be consistent with the final
 recovery plan (FWS 2016j). Final mitigation plans would be determined through completion of
 the ESA consultation process. Therefore, we have recommended below that RG Developers not
 begin construction until ESA Section 7 consultation is complete with the FWS.

         Construction and operation of the proposed Project could also displace ocelots using
 suitable habitat adjacent to the Project facilities due to the increase in noise and light, particularly
 near the LNG Terminal site and the portion of the Pipeline System near the Laguna Atascosa
 NWR. Although the actual timing of construction would be determined by the receipt of all
 required permits, RG LNG originally anticipated that construction activities at the LNG
 Terminal site would be staggered over a 7-year period, predominantly during daylight hours.
 Construction-related noise could affect ocelot behavior, foraging, or breeding patterns, as they
 may move away from the noise or relocate in order to avoid the disturbance. RG LNG estimates
 that the composite noise level produced during facility grading and construction would result in
 maximum noise levels of 51.7 dBA at the Laguna Atascosa NWR, which is considered moderate
 (see tables 4.11.2-1 and 4.7.1-3). Where the Laguna Atascosa NWR is near the northern
 boundary of the LNG Terminal site, the sound level increase over ambient levels during
 Terminal site preparation and construction would be below 3 dB and would not likely be
 perceptible. Similarly, at the wildlife corridor under SH-48 (about 2.4 miles west of the of the
 LNG Terminal site’s center), sound levels from site preparation would result in a negligible
 increase over existing ambient levels that would not likely be perceptible, and construction
 would not result in an increase in ambient sound levels (see table 4.7.1-3). Construction of the
 Pipeline System would occur over a limited duration at any one location (see section 4.11.2.3).

         Operational noise would result in an increase in the ambient sound levels in the
 immediate vicinity of the Project. At the boundary of the LNG Terminal site, operational sound
 levels would be about 75 dBA. Where the Laguna Atascosa NWR is near the northern boundary



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 of the LNG Terminal site, noise levels during terminal operations would be 71.4 dBA, and would
 result in an expected increase of about 11.9 dB over ambient levels (see table 4.7.1-4). Within
 about 1 mile, construction noise would drop to about 60 dBA, which is audible, but likely not a
 nuisance, and at a distance of about 2 miles, noise would drop to about 50 dBA, which is
 considered quiet (see figure 4.11.2-1). The wildlife corridor under SH-48 is about 2.4 miles west
 of the center of the LNG Terminal site; at this distance, noise levels from site preparation,
 construction, and operation of the LNG Terminal would result in a negligible increase (less than
 1 dB) over existing ambient levels (see table 4.7.1-4). Sound would attenuate with increased
 distance from construction activity and general wildlife is expected to be accustomed to similar
 sound levels due to the current noise levels produced by high-speed vehicles on highways (70 to
 80 dBA at 50 feet) and recreational marine vessels along the BSC (generally around 86 dBA)
 (FHWA 2003, Coast Guard 2003). Since conducting the noise impact analysis, RG LNG has
 adopted certain mitigation (see section 4.11.2.3); however, these modifications did not result in
 significant changes in noise attenuation identified above.

          We have reviewed habitat within the Laguna Atascosa NWR that falls within a 1-mile
 radius of the proposed LNG Terminal site where construction noise from the LNG Terminal
 would be about 60 dBA, as described above. In total, about 2,464 acres would fall within the 1-
 mile radius, of which about 437 acres (17.7 percent) are classified as having scrub-shrub
 vegetation (TPWD 2017a). Although this habitat would not be directly impacted by the Project
 facilities, any change in ocelot behavior, including temporary or permanent displacement away
 from noisy areas, may increase intra-species competition for home ranges and resources;
 therefore, increases in noise within suitable habitat in the southern portion of the Laguna
 Atascosa NWR could affect individual ocelots using the area.

         In November 2018, RG Developers met with the FWS to discuss habitat impacts with
 respect to the ocelot. The FWS requested that RG Developers mitigate for the permanent loss of
 ocelot habitat and recommended habitat preservation as part of the wildlife conservation corridor
 (Coastal Corridor acquisition project) that abuts the Laguna Atascosa NWR, Lower Rio Grande
 Valley NWR, and recently established conservation lands. The FWS also recommended
 working with the Conservation Fund to identify suitable ocelot habitat for conservation. Final
 mitigation requirements would be determined by the FWS in its Biological Opinion and through
 completion of the ESA Section 7 consultation process.

         The overall increase in nighttime lighting during construction and operation of the Project
 would result in a permanent, but minor impact on ocelots, if they utilize habitat in the lower
 Laguna Atascosa NWR. RG LNG has developed mitigation measures to minimize the impacts
 of nighttime lighting at the LNG Terminal site, including limiting the amount of outdoor lighting
 installed, dimming lights at night, and directing light downward. Further, we have recommended
 in section 4.6.1.2 that RG Developers coordinate with the TPWD and FWS to finalize lighting
 plans.

          RG Developers have proposed multiple mitigation measures for use during construction
 and operation of the proposed Project to minimize impacts on ocelots. These measures include
 siting the Project to avoid direct impacts on habitats designated or managed for the protection of
 ocelots, as well as implementation of their Plan, Procedures, Noxious and Invasive Weed Plan,
 and SPCC Plans. Although increases in local traffic may affect the ocelot, the majority of



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 Project traffic would occur during daylight hours, and traffic levels would be within the design
 capacity of SH-48; therefore, the increase in traffic has already been assessed by the FWS and a
 determination of non-jeopardy was made. However, indirect effects on ocelots within the lower
 Laguna Atascosa NWR may occur from an increase in ambient sound levels for the life of the
 Project. In addition, suitable habitat would be lost within the LNG Terminal site boundaries and,
 although minimized in accordance with our recommendation in the draft EIS, the pipelines
 would impact CRP-SAFE land that are protective of ocelot habitat (see section 4.8.1.5). As the
 loss of suitable habitat, through either direct or indirect pathways, has the potential to result in
 significant impacts on ocelots and ocelot recovery, we find that the proposed Project is likely to
 adversely affect the ocelot.

           Gulf Coast Jaguarundi

          The elusive Gulf Coast jaguarundi is a federally endangered feline species that was
 historically distributed from the Lower Rio Grande Valley to eastern Mexico. Habitat generally
 includes dense shrubland and woodland areas adjacent to open areas containing dense thorn
 scrub and woody vegetation. The Gulf Coast jaguarundi feeds primarily on birds, small
 mammals, and reptiles. The primary threats to this species include habitat loss, degradation, and
 fragmentation. In Cameron County, approximately 91 percent of woodlands were historically
 lost to agricultural use; however, recently rapid population growth resulting in urban expansion
 is converting this land into highly fragmented, mixed urban habitat (FWS 2013c). No critical
 habitat has been designated. No confirmed sightings of the species have occurred since 1986,
 despite significant efforts in the regional NWRs to photograph or catch small felids; however,
 unconfirmed sightings from FWS staff include a sighting within the Laguna Atascosa NWR in
 2004 (FWS 2015d). If present in the area, the jaguarundi would experience impacts similar to
 those discussed for the ocelot, although they are predominantly diurnal (active during the day;
 Caso 2013). Further, mitigation for ocelot habitat loss would also minimize impacts on potential
 jaguarundi habitat. We therefore find that the Project likely to adversely affect the Gulf Coast
 jaguarundi.

 4.7.1.5         Amphibians

           Black-spotted Newt

         The black-spotted newt is under review by the FWS to determine if listing under the ESA
 is warranted, but it currently has no federal protection. This species is located along the Gulf
 Coast Plain, from south of San Antonio to Mexico, but has never been identified more than 80
 miles inland. This species is generally found in wetter areas including arroyos, canals, ditches,
 and shallow depressions (Flores-Villela et al. 2008, TPWD 2016g). As there is potential habitat
 for the black-spotted newt within and adjacent to the freshwater streams and ponds crossed by
 the Pipeline System, open-cut crossing of streams has the potential to cause direct mortality of
 any newts within the footprint of construction, and indirect effects from turbidity and
 sedimentation, if newts are located immediately downstream of active construction.

        Texas occurrence records indicate that the black-spotted newt was historically known to
 occur within 1 mile of Project workspaces between MPs 55.5 and 67.3, MPs 69.2 and 72.0, MPs
 75.3 and 81.0, and MPs 123.0 and 130.5; however, with the exception of locations between MPs



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 55.5 and 67.3, observations are greater than 60 years old. (TXNDD 2017). The Pipeline System
 would cross the majority of (all but 2) freshwater waterbodies within 1 mile of historic
 observations using dry crossing methods (HDD or bore). Given the general avoidance or
 minimization of impacts on historically used habitat and RB Pipeline’s implementation of its
 Procedures and SPCC Plan, which would minimize impacts on crossed waterbodies to the extent
 practicable, we find that construction and operation of the proposed Project is unlikely to result
 in a trend towards federal listing for the black-spotted newt.

 4.7.1.6         Plants

           Black Lace Cactus

         The black lace cactus, which is federally listed as endangered, is a small, pink-flowering
 cactus that generally occurs within and adjacent to dense brush habitat along the coastal plains.
 This cactus prefers saline soils and exists only along the Gulf Coast Plain, between the coastal
 grasslands and Rio Grande plain shrub. It typically grows in open, unshaded areas among
 mesquite brush, located along streams of the Coastal Plain; however, it has also been found on
 grasslands, thorn shrubland, and mesquite woodland areas (FWS 2006). It is generally found in
 areas that have not been subject to ground disturbances (TPWD 2016e). Flowering occurs from
 March to June, with a peak flowering period of from April to May, and it is believed to
 regenerate by seed-dispersal from ants and fur-bearing mammals. The largest threat posed to the
 black lace cactus is loss of habitat and habitat degradation. As of 2007, there were two known
 populations of the black lace cactus in Kleberg and Refugio Counties, although it is possible that
 populations also exist in Jim Wells County (FWS 2006). The closest known occurrence for the
 black lace cactus is approximately 3.5 miles northeast of the Project in Kleberg County (TXNDD
 2017).

           Slender Rush-pea

         The federally listed endangered slender rush-pea is a small, perennial legume that
 produces three to five salmon/orange colored flowers (TPWD 2016j). The slender rush-pea also
 contains a woody taproot and may form colonies. This species typically reproduces during the
 spring and summer months, produces fruit from February through July, and flowers from March
 to June (TPWD 2016j, FWS 2008b). This species prefers coastal prairie grassland located on
 relatively flat uplands as well as gently sloping drainages containing short- and mid-grasses or
 sparse vegetation.

         In addition, the slender rush pea prefers blackland clay soil types; however, it may also
 occur in soils that are coarse textured and lighter in matrix hues than the blackland clay. The
 majority of documented occurrences of this species have been recorded in patches of short-grass
 prairie habitat adjacent to intermittent or perennial creeks. Further, this species has been noted
 as unable to persist in areas which had been severely disturbed which could include, but are not
 limited to, pastures, cropland, and rights-of-way.




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         Known populations of the slender rush pea, including historic and extant communities,
 are restricted to areas of Nueces and Kleberg Counties that are approximately 10 miles east of
 the Project, extending from Robstown in Nueces County westward near Kingsville in Kleberg
 County (FWS 2008b, FWS 2017). The primary threats to this species include limited geographic
 distribution, and habitat conversion and fragmentation (FWS 2008b, TPWD 2016j, k, and
 TXNDD 2017).

        South Texas Ambrosia

         The south Texas ambrosia is federally listed as endangered. This herbaceous plant is a
 10- to 60-centimeter tall silver to grayish-green perennial that produces green, pink, or cream-
 colored flowers. This species typically reproduces from late summer to fall, depending upon
 localized climate conditions (FWS 2010e, TPWD 2016l). The south Texas ambrosia prefers
 grassland and shrubland dominated by mesquite, primarily along the Coastal Plain atop the
 Beaumont Formation. This plant is generally present in a variety of heavy soil types ranging
 from clay loams to sandy loams (FWS 2010e, TPWD 2016l, FWS 2010e, USGS 2018).

        The primary threats to this species include limited geographic distribution, habitat
 conversion to agricultural land, and urbanization/development. Historically, this species was
 known in Cameron, Jim Wells, Kleberg, and Nueces Counties across south Texas and into
 Mexico; however, the seven known populations occur only from north-central Kleberg County
 through Nueces County (TPWD 2016m, FWS 2017). No known occurrences of the south Texas
 ambrosia were reported within approximately 2.5 miles of the Project area (TXNDD 2017).
 Further, the only area where the Beaumont Formation would only be crossed by the Project is in
 Cameron and Willacy Counties, where extant populations are not known to occur.

        Plant Impacts and Mitigation

         As plants are immobile, construction has the potential to cause direct impacts through
 destruction of habitat or individual plants or habitat conversion or alteration, which may result in
 rendering an area unsuitable for species growth. Indirect impacts could include the introduction
 of invasive plant species, and inadvertent spills that may affect the quality of local soils.

         No known populations or individuals of the three federally listed plant species occur in
 close proximity to the Project area. In addition, preferred habitat for the species may not be
 present along the northern portions of the route where these species are known to occur. The
 disturbed (agricultural) nature of most of the route in these northern counties would not be
 suitable for the black lace cactus or slender rush-pea, and the typical geologic features preferred
 by the south Texas ambrosia would not be crossed in counties with known, extant populations.
 However, it is possible that individual plants, or their habitat, do occur and could be directly
 impacted by construction and operation of the pipeline facilities, particularly within the northern
 counties, particularly in the northern counties; the FWS indicated during early consultation that
 the south Texas ambrosia is not expected in Cameron County. Therefore, RB Pipeline has
 committed to conducting a single season of species-specific surveys for the three federally listed
 plants with the potential to occur in the Project area. The surveys would be conducted using
 FWS-approved botanists, protocols, and timing, and would be conducted in locations determined
 in coordination with the FWS. Mitigation for any identified individuals would be determined in



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 coordination with the FWS but may include micro-siting or relocation.

        Indirect impacts would be minimized through RG Developers’ Noxious and Invasive
 Weed Plan, which would minimize the potential for the introduction or spread of plants that may
 out-compete the listed species. In addition, RG Developers would implement their SPCC Plans
 for construction and operation of the Project to minimize the potential for inadvertent spills of
 hazardous material, and their Plan and Procedures, which would allow for the restoration of areas
 not permanently encumbered by the LNG Terminal or aboveground facilities.

         With implementation of the Project plans discussed above, indirect impacts on the
 federally listed species are unlikely. Further, to ensure direct impacts are avoided to the extent
 possible, we recommend that:

        •   Prior to construction of the Rio Bravo Pipeline, RB Pipeline should file with the
            Secretary, the results of its completed surveys for the black lace cactus, slender
            rush-pea, and south Texas ambrosia as well as any comments from the FWS
            regarding the results. If applicable, RB Pipeline should include in its filing
            avoidance/minimization measures that it would implement if individual plants are
            found, developed in consultation with the FWS, for review and written approval
            by the Director of OEP.

         Given our recommendation to complete surveys and develop and implement
 avoidance/minimization measures if individuals were found, and the assurance that any
 necessary follow-up consultation based on survey results would be completed prior to
 construction being authorized, we conclude that construction and operation of the proposed
 Project is not likely to adversely affect the black lace cactus, slender rush pea, and south Texas
 ambrosia. As noted in table 4.7-1, we have determined that the Project would have no effect on
 the Texas ayenia as the FWS has indicated that it is not expected in the Project area (FWS
 2016e). A variety of measures have been proposed by RG Developers that would minimize
 impacts on federally listed species, including implementation of their Plan and Procedures,
 SPCC Plans, and NMFS’ vessel strike and sea turtle construction practices. In addition, we
 have recommended that RG Developers implement additional mitigation for the protection
 of federally listed species to further minimize the potential for impacts. However, because
 consultation with the FWS and NMFS is ongoing, and because consultation may be necessary
 for species proposed for listing, we recommend that:

        •   RG Developers should not begin construction activities until:

            a. FERC staff receives comments from the FWS and NMFS regarding the
               proposed action;

            b. FERC staff completes ESA Section 7 consultation with the FWS and
               NMFS; and

            c. RG Developers have received written notification from the Director of
               OEP that construction or use of mitigation may begin.




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 4.7.2 State Listed Species

         In addition to federally listed species, or those that are under review for federal listing,
 the State of Texas provides protections for those species listed as state endangered or state
 threatened. Those species are discussed in section 4.7.2.1. Federal protection is also provided to
 all marine mammals through the MMPA; those marine mammals that may occur in the Project
 area, including the LNG transit routes within the Gulf of Mexico, are discussed in section 4.7.3.

 4.7.2.1           State Listed Species

         The TPWD annotated county lists of rare species for counties crossed by the Project
 include 43 state listed endangered or threatened species (see table 4.7.2-1); state listed species
 that are also federally listed within the Project area are discussed in section 4.7.1. We have
 determined that 13 of these species would not be impacted by the Project because the Project is
 not within the known range of the species, the species has been extirpated in the Project area,
 there is no suitable habitat in the Project area, or the species would only occur in the Project area
 as an occasional transient. These species are listed in table 4.7.2-1 but are not discussed further.
 The remaining 30 state listed species could potentially occur in the vicinity of the Project. These
 species are discussed in the following sections. In its comments on the draft EIS, the TPWD
 requested that Project contractors be provided wildlife awareness training that includes
 instructing contractors not to negatively impact any wildlife encountered in the construction area
 and emphasizing its “no kill” policy; RG Developers have confirmed that this training would be
 provided. We have recommended above that RG Developers file documentation to confirm
 these measures have been incorporated into its environmental training program.

           Birds

         Sixteen species of state listed birds have the potential to occur in the Project area; each
 species, its state listed status, and its habitat are included in table 4.7.2-1. During spring (2017)
 surveys of the LNG Terminal site, two state listed birds were observed; each observation (four
 observations of the reddish egret and two observations of the white-tailed hawk) were of these
 species flying over the LNG Terminal site rather than directly using the habitat. As discussed in
 section 4.6.1.3, BCCs also are present in the Project area; these birds, their preferred habitat, and
 their potential for occurring in the Project area are listed in appendix K.

         To minimize impacts on bird species, RG Developers have developed the MBCP, which
 includes measures to avoid clearing during the FWS-recommended nesting period, as
 practicable, or to survey for and avoid active nests. These measures are discussed in detail in the
 MBCP and summarized in section 4.6.1.3, along with our recommendation to finalize the plan.
 As the measures in the plan would only be implemented as RG Developers determine to be
 practicable at the time of construction, some birds and nests would likely be lost as a result of
 construction. As further discussed in section 4.6.1.3, we have determined that adult birds would
 likely leave areas of active construction, but any nests/eggs within the construction footprint
 would be lost.




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                                                                                           Table 4.7.2-1
                                                State Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project a
                                    Species Name                             Counties of
                                                                State                                                                                                      Determination of
                                                                              Potential                                  General habitat
                                      Scientific Name           Status                                                                                                          Effect
                                                                             Occurrence
                         Birds
                                                                                              Year-round resident and local breeder in west Texas, nests in tall cliff
                                                                                              eyries; also, migrant across state from more northern breeding areas in
                                                                            Cameron, Jim       the United States and Canada, winters along coast and farther south;
                          American peregrine falcon
                                                                   T       Wells, Kenedy,       occupies wide range of habitats during migration, including urban,         No significant impact
                            Falco peregrinus anatum                        Kleberg, Willacy    concentrations along coast and barrier islands; low-altitude migrant,
                                                                                               stopovers at leading landscape edges such as lake shores, coastlines,
                                                                                                                         and barrier islands.
                          Cactus ferruginous pygmy-owl                                          Riparian trees, brush, palm, and mesquite thickets; during day also
                                                                           Cameron, Kenedy,
                             Glaucidium brasilianum                T                            roosts in small caves and recesses on slopes of low hills; breeding        No significant impact
4-165




                                                                               Willacy
                             cactorum                                                                                      April to June.
                          Common black-hawk                                                   Cottonwood-lined rivers and streams; willow tree groves on the lower
                                                                   T       Cameron, Willacy                                                                                No significant impact
                            Buteogallus anthracinus                                                  Rio Grande floodplain; formerly bred in south Texas.
                          Eskimo curlew                                    Cameron, Kenedy,   Historic. Non-breeding: grasslands, pastures, plowed fields, and less
                                                                   E                                                                                                            No impact
                             Numenius borealis                             Kleberg, Willacy                   frequently, marshes and mudflats.
                                                                                              Locally and irregularly along the United States-Mexico border; mature
                          Gray hawk                                                               riparian woodlands and nearby semi-arid mesquite and scrub
                                                                   T           Cameron                                                                                     No significant impact
                             Asturina nitida                                                   grasslands; breeding range formerly extended north to southernmost
                                                                                                                 Rio Grande floodplain of Texas.
                                                                                               Subspecies is federally and state listed only when more than 50 miles
                          Interior least tern                                                    from a coastline. Nests along sand and gravel bars within braided
                                                                   E           Cameron        streams/rivers; also know to nest on man-made structures. Eats small         No significant impact
                              Sterna antillarum athalassos                                    fish and crustaceans; when breeding forages within a few hundred feet
                                                                                                                             of colony.
                          Northern beardless-tyrannulet                    Cameron, Kenedy,   Mesquite woodlands; near Rio Grande frequents cottonwood, willow,
                                                                   T                                                                                                       No significant impact
Environmental Analysis




                             Camptostoma imberbe                           Kleberg, Willacy             elm, and great leadtree; breeding April to July.
                                                                                              Both subspecies migrate across the state from more northern breeding
                                                                                                 areas in U.S. and Canada to winter along coast and farther south;
                                                                            Cameron, Jim       subspecies (F.p. anatum) is also a resident breeder in west Texas; the
                          Peregrine falcon
                                                                   T       Wells, Kenedy,     two subspecies’ listing statuses differ, F.p. tundrius is no longer listed   No significant impact
                             Falco peregrinus
                                                                           Kleberg, Willacy   in Texas; but because the subspecies are not easily distinguishable at a
                                                                                                distance, reference is generally made only to the species level; see
                                                                                                                       subspecies for habitat.
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                                                                                     Table 4.7.2-1 (continued)
                                                State Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project a
                                                                             Counties of
                                  Species Name                  State                                                                                                    Determination of
                                                                              Potential                                 General habitat
                                    Scientific Name             Status                                                                                                        Effect
                                                                             Occurrence
                                                                                               Resident of the Texas Gulf Coast; brackish marshes and shallow salt
                                                                                                ponds and tidal flats; nests on ground or in trees or bushes, on dry
                         Reddish egret                                     Cameron, Kenedy,
                                                                   T                            coastal islands in brushy thickets of yucca and prickly pear. Four       No significant impact
                            Egretta rufescens                              Kleberg, Willacy
                                                                                              separate individuals were observed flying over the LNG Terminal site
                                                                                                                    during spring 2017 surveys.

                         Rose-throated Becard                              Cameron, Kenedy,       Riparian trees, woodlands, open forest, scrub, and mangroves;
                                                                   T                                                                                                     No significant impact
                            Pachyramphus aglaiae                               Willacy                               breeding April to July.


                         Sooty tern                                                            Predominately ‘on the wing’; does not dive, but snatches small fish
                                                                           Cameron, Kenedy,
                                                                   T                           and squid with bill as it flies or hovers over water; breeding April-     No significant impact
                                                                           Kleberg, Willacy
4-166




                            Sterna fuscata                                                                                       July.

                                                                            Cameron, Jim        Grassland and short-grass plains with scattered bushes or shrubs,
                         Texas Botteri's Sparrow
                                                                   T       Wells, Kenedy,       sagebrush, mesquite, or yucca; nests on ground of low clump of           No significant impact
                            Aimophila botterii texana                      Kleberg, Willacy                                 grasses.

                         Tropical parula                                   Cameron, Kenedy,    Dense or open woods, undergrowth, brush, and trees along edges of
                                                                   T                                                                                                     No significant impact
                            Parula pitiayumi                                   Willacy                     rivers and resacas; breeding April to July.

                                                                            Cameron, Jim      Prefers freshwater marshes, sloughs, and irrigated rice fields, but will
                         White-faced ibis
                                                                   T       Wells, Kenedy,     attend brackish and saltwater habitats; nests in marshes, in low trees,    No significant impact
                           Plegadis chihi                                  Kleberg, Willacy          on the ground in bulrushes or reeds, or on floating mats.

                                                                                                Near coast on prairies, cordgrass flats, and scrub-live oak; further
                         White-tailed hawk                                  Cameron, Jim       inland on prairies, mesquite and oak savannas, and mixed savanna-
                                                                   T       Wells, Kenedy,        chaparral; breeding March-May. Two separate individuals were            No significant impact
                           Buteo albicaudatus                              Kleberg, Willacy      observed flying over the LNG Terminal site during spring 2017
Environmental Analysis




                                                                                                                             surveys.
                                                                                              Forages in prairie ponds, flooded pastures or fields, ditches, and other
                                                                                                    shallow standing water, including saltwater; usually roosts
                                                                            Cameron, Jim      communally in tall snags, sometimes in association with other wading
                         Wood stork
                                                                   T       Wells, Kenedy,       birds (i.e. active heronries); breeds in Mexico and birds move into      No significant impact
                           Mycteria americana
                                                                           Kleberg, Willacy     Gulf States in search of mud flats and other wetlands, even those
                                                                                                 associated with forested areas; formerly nested in Texas, but no
                                                                                                                     breeding records since 1960.
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                                                                                     Table 4.7.2-1 (continued)
                                                State Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project a
                                                                               Counties of
                                    Species Name                State                                                                                                   Determination of
                                                                                Potential                                 General habitat
                                      Scientific Name           Status                                                                                                       Effect
                                                                               Occurrence
                                                                                                      Arid open country, including open deciduous or pine-oak
                                                                                                   woodland, mesa or mountain county, often near watercourses,
                          Zone-tailed hawk                                   Cameron, Kenedy,     and wooded canyons and tree-lined rivers along middle-slopes of
                                                                   T                                                                                                    No significant impact
                             Buteo albonotatus                                   Willacy            desert mountains; nests in various habitats and sites, ranging
                                                                                                   from small trees in lower desert, giant cottonwoods in riparian
                                                                                                         areas, to mature conifers in high mountain regions.
                         Mammals
                                                                                                    Cattail-bulrush marsh with shallower zone of aquatic grasses
                          Coues’ rice rat                                    Cameron, Kenedy,     near the shoreline; shade trees around the shoreline are important
                                                                   T                                                                                                         No impact
                             Oryzomys couesi                                     Willacy          features; prefers salt and freshwater, as well as grassy areas near
                                                                                                                     water; breeds April-August.
4-167




                          Jaguar                                             Cameron, Kenedy,
                                                                   E                              Extirpated; dense chaparral; no reliable TX sightings since 1952.          No impact
                             Panthera onca                                   Kleberg, Willacy
                                                                                                   Associated with trees, such as palm trees (Sabal mexicana) in
                          Southern yellow bat                                Cameron, Kenedy,
                                                                   T                                  Brownsville, which provide them with daytime roosts;                   No impact
                             Lasiurus ega                                    Kleberg, Willacy
                                                                                                               insectivorous; breeding in late winter.
                                                                                                  Woodlands, riparian corridors and canyons; most individuals in
                                                                            Cameron, Jim Wells,
                          White-nosed coati                                                       Texas probably transients from Mexico; diurnal and crepuscular;
                                                                   T         Kenedy, Kleberg,                                                                                No impact
                            Nasua narica                                                          very sociable; forages on ground and in trees; omnivorous; may
                                                                                 Willacy
                                                                                                         be susceptible to hunting, trapping, and pet trade.
                         Amphibians
                                                                                                    Subtropical region of extreme southern Texas; breeds May-
                          Mexican treefrog                                   Cameron, Kenedy,
                                                                   T                                October coinciding with rainfall, eggs laid in temporary rain       No significant impact
                            Smilisca baudinii                                    Willacy
                                                                                                                               pools.
                                                                            Cameron, Jim Wells,
                          Sheep frog
                                                                   T         Kenedy, Kleberg,      Predominantly grassland and savanna; moist sites in arid areas.      No significant impact
                             Hypopachus variolosus
Environmental Analysis




                                                                                 Willacy
                                                                                                  Wet or sometimes wet areas, such as arroyos, canals, ditches, or
                                                                            Cameron, Jim Wells,
                          South Texas siren (large form)                                           even shallow depressions; aestivates in the ground during dry
                                                                   T         Kenedy, Kleberg,                                                                           No significant impact
                             Siren sp 1                                                             periods, but does require some moisture to remain; southern
                                                                                 Willacy
                                                                                                    Texas south of Balcones Escarpment; breeds February-June.
                                                                                                  Grasslands, cultivated fields, roadside ditches, and a wide variety
                          White-lipped frog                                                        of other habitats; often hides under rocks or in burrows under
                                                                   T             Cameron                                                                                No significant impact
                            Leptodactylus fragilis                                                    clumps of grass; species requirements incompatible with
                                                                                                   widespread habitat alteration and pesticide use in south Texas.
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                                                                                   Table 4.7.2-1 (continued)
                                              State Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project a
                                                                             Counties of
                                    Species Name              State                                                                                                   Determination of
                                                                              Potential                                 General habitat
                                      Scientific Name         Status                                                                                                       Effect
                                                                             Occurrence
                         Reptiles
                                                                                                   Extreme south Texas; semi-arid Coastal Plain, warm, moist
                          Black-striped snake                              Cameron, Kenedy,
                                                                 T                               micro-habitats and sandy soils; proficient burrower; eggs laid       No significant impact
                             Coniophanes imperialis                            Willacy
                                                                                                                           April-June.
                                                                                                    Gulf Coastal Plain south of the Nueces River; thorn brush
                          Northern cat-eyed snake                          Cameron, Kenedy,
                                                                 T                               woodland; dense thickets bordering ponds and streams; semi-          No significant impact
                             Leptodeira septentrionalis                    Kleberg, Willacy
                                                                                                                       arboreal; nocturnal.
                                                                                                Requires open brush-grasslands; thorn scrub vegetation, usually
                                                                                                  on well-drained rolling terrain of shallow gravel, caliche, or
                          Reticulate collared lizard                                            sandy soils; often on scattered flat rocks below escarpments or
                                                                 T            Jim Wells                                                                                    No impact
                             Crotaphytus reticulatus                                             isolated rock outcrops among scattered clumps of prickly pear
4-168




                                                                                                and mesquite. The Project in Jim Wells County is restricted to
                                                                                                                           ranch land.
                                                                                                   Extreme south Texas; dense thickets near water, Texas palm
                          Speckled racer                                                        groves, riparian woodlands; often in areas with much vegetation
                                                                 T         Cameron, Willacy                                                                                No impact
                             Drymobius margaritiferus                                           litter on ground; breeds April-August. RG Developers indicated
                                                                                                      that this habitat was not present along the Project route.
                                                                                                     Open, arid and semi-arid regions with sparse vegetation,
                                                                          Cameron, Jim Wells,   including grass, cactus, scattered brush or scrubby trees; soil may
                          Texas horned lizard
                                                                 T         Kenedy, Kleberg,       vary in texture from sandy to rocky; burrows into soil, enters      No significant impact
                             Phrynosoma cornutum                               Willacy              rodent burrows, or hides under rock when inactive; breeds
                                                                                                                        March-September.
                                                                                                 Texas south of the Guadalupe River and Balcones Escarpment;
                          Texas indigo snake                              Cameron, Jim Wells,     thornbush-chaparral woodlands of south Texas, in particular
                             Drymarchon melanurus                T         Kenedy, Kleberg,      dense riparian corridors; can do well in suburban and irrigated      No significant impact
                             erebennus                                         Willacy           cropland if not molested or indirectly poisoned; requires moist
                                                                                                       micro-habitats, such as rodent burrows, for shelter.
Environmental Analysis




                          Texas scarlet snake                             Cameron, Jim Wells,
                                                                                                  Mixed hardwood scrub on sandy soils; feeds on reptile eggs;
                                                                 T         Kenedy, Kleberg,                                                                           No significant impact
                             Cemophora coccinea lineri                                                     semi-fossorial; active April-September.
                                                                               Willacy
                                                                                                Open brush with a grass understory is preferred; open grass and
                                                                          Cameron, Jim Wells,      bare ground are avoided; when inactive occupies shallow
                          Texas tortoise
                                                                 T         Kenedy, Kleberg,     depressions at base of bush or cactus, sometimes in underground       No significant impact
                             Gopherus berlandieri                              Willacy          burrows or under objects; longevity greater than 50 years; active
                                                                                                          March-November; breeds April-November.
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                                                                                    Table 4.7.2-1 (continued)
                                               State Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project a
                                                                              Counties of
                                    Species Name               State                                                                                                 Determination of
                                                                               Potential                                General habitat
                                      Scientific Name          Status                                                                                                     Effect
                                                                              Occurrence
                         Mollusks
                                                                                                  Possibly extirpated in Texas; probably medium to large rivers;
                                                                           Cameron, Jim Wells,
                          False spike mussel                                                      substrates varying from mud through mixtures of sand, gravel
                                                                  T         Kenedy, Kleberg,                                                                              No impact
                              Quadrula mitchelli                                                   and cobble. Rio Grande, Brazos, Colorado, and Guadalupe
                                                                                Willacy
                                                                                                                       (historic) river basins.

                                                                                                 Largely unknown; possibly intolerant of impoundment; possibly
                          Mexican fawnsfoot mussel
                                                                  T             Cameron           needs flowing streams and rivers with sand or gravel bottoms            No impact
                            Truncilla cognata                                                           based on related species needs; Rio Grande basin.
                                                                                                 Lotic waters; submerged soft sediment (clay and silt) along river
                          Salina mucket
4-169




                                                                  T             Cameron            bank; other habitat requirements are poorly understood; Rio            No impact
                              Potamilus metnecktayi                                                                       Grande Basin.
                                                                                                  Both ends of narrow shallow runs over bedrock, in areas where
                          Texas hornshell                                                          small-grained materials collect in crevices, along river banks,
                                                                  T             Cameron                                                                                   No impact
                            Popenaias popeii                                                     and at the base of boulders; not known from impoundments; Rio
                                                                                                            Grande Basin and several rivers in Mexico
                         Fish
                          Mexican goby
                                                                  T             Cameron          Southern coastal area; brackish and freshwater coastal streams.     No significant impact
                            Ctenogobius claytonii

                                                                                                 Brooding adults found in fresh or low-salinity waters and young
                          Opossum pipefish                                  Cameron, Kenedy,
                                                                  T                              move or are carried into more saline waters after birth; southern   No significant impact
                            Microphis brachyurus                            Kleberg, Willacy
                                                                                                                          coastal areas.

                                                                                                  Extirpated. Historically Rio Grande and Pecos River systems
                                                                                                     and canals and reintroduced in Big Bend area. Pools and
Environmental Analysis




                          Rio Grande silvery minnow                                                backwaters of medium to large streams with low or moderate
                                                                  E             Cameron                                                                                   No impact
                             Hybognathus amarus                                                  gradient in mud, sand, or gravel bottom; ingests mud and bottom
                                                                                                 ooze for algae and other organic matter; probably spawns on silt
                                                                                                                     substrates of quiet coves.
                                                                                                   Southern coastal waters; clear water with slow to moderate
                          River goby
                                                                  T             Cameron           current, sandy or hard bottom, and little or no vegetation; also   No significant impact
                             Awaous banana                                                                      enters brackish and ocean waters.
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                                                                                         Table 4.7.2-1 (continued)
                                                    State Listed Species Potentially Occurring in the Vicinity of the Proposed Rio Grande LNG Project a
                                                                                         Counties of
                                       Species Name                    State                                                                                                        Determination of
                                                                                          Potential                                   General habitat
                                         Scientific Name               Status                                                                                                            Effect
                                                                                         Occurrence
                                                                                                                Young found very close to shore in muddy and sandy bottoms,
                                                                                                               seldom descending to depths greater than 32 ft; in sheltered bays,
                                                                                                                on shallow banks, and in estuaries or river mouths. Adults are
                             Smalltooth sawfish                                        Cameron, Kenedy,
                                                                          E                                     encountered in various habitat types (mangrove, reef, seagrass,     No significant impact
                               Pristis pectinata                                       Kleberg, Willacy
                                                                                                                and coral), in varying salinity regimes and temperatures, and at
                                                                                                                   various water depths, feed on a variety of fish species and
                                                                                                                                           crustaceans

                         Plants

                                                                                                                 Gravelly clays or loams, possibly of the Catarina Series (deep,
                                                                                                                droughty, saline clays), over the Catahoula and Frio formations,
4-170




                                                                                                               on gentle slopes and flats in sparsely vegetated openings between
                                                                                                                     shrub thickets within mesquite grasslands or mesquite-
                             Star cactus
                                                                          E                 Cameron             blackbrush thorn shrublands. Plants sink into or below ground            No impact
                                Pristis pectinata                                                                during dry periods; flowering from mid-March-May, may also
                                                                                                                flower in warmer months after sufficient rainfall, flowers most
                                                                                                               reliably in early April; fruiting mid-April-June. Range is outside
                                                                                                                                          of Project area.
                         a
                                     Federally listed species with the potential to occur within the Project area were determined through review of the FWS IPaC system and correspondence with the FWS.
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         Although the loss of nests/eggs would represent an adverse impact, it is unlikely to cause
 a noticeable effect on avian populations. Further, as no state listed birds were identified using
 the habitat at the LNG Terminal site during surveys, and because RG LNG would conduct
 wildlife hazing at the site prior to constructing the fence, we find that the probability of state
 listed species nesting onsite upon commencement of construction would be minimal. However,
 we agree that the measures in RG LNG’s MBCP, as finalized in accordance with our
 recommendation, are appropriate for use and would adequately protect BCCs as well as state
 listed birds.

         Overall, construction of the proposed Project would result in permanent, minor to
 moderate impacts on birds in general due to loss of habitat in an area heavily used by birds
 during the migration period. The impact on certain bird species may be further offset through
 the preservation of habitat in the nearby Loma Ecological Preserve, which is being proposed as
 mitigation for wetland impacts (see section 4.4); the proposed restoration activities at this
 location are being evaluated by the FWS for their value to migratory birds, and by the COE for
 wetland mitigation. However, with implementation of the MBCP, we conclude that there would
 be no significant impacts on the 16 state listed migratory bird species during construction and
 operation of the Project.

        Amphibians

          Stated-listed amphibians with the potential to occur in the Project area include the
 Mexican tree frog, sheep frog, south Texas siren, and Mexican white-lipped frog. Amphibians
 require moist areas and may be found along streams and in wetlands, roadside ditches, or
 shallow depressions. TPWD species records indicate that the white-lipped frog is incompatible
 with widespread habitat alteration and pesticide use in south Texas (TPWD 2017a,b). The
 remaining three species have historic occurrence data overlapping the path of the pipeline
 facilities (TXNDD 2017). In addition, the TPWD has indicated that the three species with
 historic occurrences are known to occur in roadside ditches along U.S. Highway 77, which is
 parallel to the pipeline route in Kenedy County and is crossed via HDD in Willacy County.

         To minimize potential impacts on state listed amphibians, the TPWD has recommended
 that RB Pipeline follow appropriate BMPs during construction, including minimizing impacts on
 wetlands, open water features, depressions, and riverine habitats; maintaining hydrologic
 regimes; installing barrier fencing to direct animal movement away from construction activities
 (which may be sediment barriers or other erosion control devices); advise personnel to avoid
 harming the species; minimize impacts on habitat adjacent to water; and avoid use of plastic
 netting during stabilization of disturbed areas.

         RG Developers would minimize the potential for impacts on wetlands and streams by
 following their Procedures, which would result in decreased crossing widths and in-water
 durations, minimize activities within 50 feet of stream or wetland boundaries, require installation
 of sediment barriers upon initial disturbance of the feature, and restrict use of synthetic
 mesh/netted erosion control materials in sensitive wildlife habitat. In its comments on the draft
 EIS, the TPWD expressed concern with the potential use of erosion control blankets and mats,
 which pose an entanglement threat to wildlife, specifically those blankets and mats that are made
 of plastic mesh. Although RG Developers’ Plan restricts the use of synthetic mesh/netted


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 erosion control materials in sensitive wildlife habitats, we recognize that sensitive species occur
 outside of designated wildlife habitats, as confirmed through review of the TPWD’s species
 occurrence records. Therefore, we recommend that:

        •   Prior to construction of the Project, RG Developers should consult with the
            TPWD, and file with the Secretary copies of this consultation, to specifically
            identify locations of sensitive habitat that may warrant the restriction of synthetic
            mesh/netted erosion control materials. The specific areas warranting restriction
            of synthetic erosion control materials, should be filed with the Secretary, for
            review and written approval by the Director of OEP.

         As discussed in section 4.6.1.2, less mobile species (such as amphibians) may experience
 direct mortality or permanent displacement. However, we conclude that, with implementation of
 the Project-specific Procedures, which are similar to the BMPs recommend by the TPWD, and
 with consideration of our recommendation, the potential for impact on state listed amphibians
 has been appropriately minimized.

        Reptiles

         Six state listed reptile species have the potential to occur in the Project area, including the
 black-striped snake, northern cat-eyed snake, Texas horned lizard, Texas indigo snake, Texas
 scarlet snake, and Texas tortoise (see table 4.7.2-1). Each of these species has occurrence data
 overlapping or adjacent to Project workspaces.

        Although much of the occurrence data is from historic observations that are greater than
 20 years old, the Texas horned lizard was documented between MPs 109.7 to 111.1 of the
 Pipeline System in 2014, indicating suitable habitat currently exists in that area. In addition, the
 Texas tortoise was identified during field surveys of the LNG Terminal site, and as such, it is
 discussed in detail below.

         To minimize the potential for impact on state listed reptiles, RB Pipeline has committed
 to use of the TPWD’s Texas Tortoise BMPs (TPWD n.d.-b), which include employing a
 biologist to survey all trenches left open overnight to inspect them for state listed reptiles; if
 reptiles are found, they would be removed by the biologist. In addition, the BMPs require that
 fencing be installed and maintained in areas of active construction where state listed species have
 been removed. With implementation of the Project-specific Plan, SPCC Plan, BMPs, and our
 recommendation regarding use of synthetic mesh/netted erosion control materials, we conclude
 that there would be no significant impact on state listed reptiles during construction and
 operation of the Project.

        Texas Tortoise

         The Texas tortoise, which is state listed as threatened, feeds heavily on prickly pear and
 other available succulent plants within its range, which extends from South-central Texas into
 Mexico. Although its life history is uncertain, the Texas tortoise is thought to attain breeding
 status at 15 years old and live for about 60 years (TPWD 2016n). Recent occurrence records
 indicate the potential presence of this species within or near Project workspaces from MPs 109.7



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 to 111.1, and from about MP 131.0 to the LNG Terminal site. In addition, Project-specific
 surveys observed the Texas tortoise on the terminal site.

         Any individuals within the construction footprint could be lost during construction, as
 tortoises are relatively slow-moving animals. To minimize the potential for direct impacts on the
 species during construction, RB Pipeline would employ a qualified biologist(s) to monitor
 construction activities and move tortoises out of the construction area prior to clearing activities.
 In addition, open trenches could present a hazard to this species through impeding movement or
 acting as traps should individuals fall in. To minimize the impacts of open trenches, RB Pipeline
 has committed to following the Texas Tortoise BMPs (TPWD n.d.-b), which include having a
 qualified biologist survey any trenches left open overnight, and removing tortoises as applicable
 to another area within their home range (5 to 10 acres).

         For tortoises within the footprint of the LNG Terminal site, the TPWD has previously
 indicated that it does not recommend relocation where an entire home range would be affected as
 they typically do not survive outside of their home range; however, the TPWD is working to
 implement offsite conservation for an ongoing mining Project that may be appropriate for the
 Rio Grande LNG Project. We note that RG Developers may need to consult with the TPWD
 regarding impacts on individual Texas tortoises to adhere to the Texas Parks and Wildlife Code,
 Chapter 67 and Sections 65.171 through 65.176 of the TAC. In response to the TPWD’s
 comments on the draft EIS, RG Developers clarified that they will continue to work with the
 agency to develop a plan to minimize potential impacts on the species at the LNG Terminal site.

        With implementation of the Texas Tortoise BMPs along the Pipeline System, informing
 contractors to check under their vehicles for wildlife prior to operating, and RG Developers’
 commitment to minimizing impacts on the species at the LNG Terminal site through continued
 coordination with the TPWD, we conclude that construction and operation of the Rio Grande
 LNG Project would not significantly affect the Texas tortoise.

        Fish

         The Mexican goby, opossum pipefish, river goby, and smalltooth sawfish have the
 potential to occur in low-salinity or estuarine streams crossed by the Project (see table 4.7.2-1).
 The pipelines would cross all perennial estuarine streams via HDD crossing methods, thereby
 avoiding direct impacts; all other estuarine streams crossed by the pipelines are ephemeral and
 are not expected to provide quality habitat. Certain waterbodies that would be crossed by HDD
 methods would have water withdrawn for use during HDD construction, but water intake
 structures would be screened to avoid impingement/entrainment of fishes. Given the measures to
 avoid or minimize impacts on streams with an estuarine component, we conclude that the Project
 would have no significant effect on state listed fishes.

 4.7.3 Marine Mammals

         Marine mammals are federally protected under the MMPA. The MMPA established,
 with limited exceptions, a moratorium on the “taking” of marine mammals in waters or on land
 under U.S. jurisdiction. The act further regulates, with certain exceptions, the “take” of marine
 mammals on the high seas by persons, vessels, or other conveyances subject to the jurisdiction of



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 the United States. A total of 22 marine mammal species protected under the MMPA may
 occur within the BSC at the proposed terminal site and along the LNG transit routes in the Gulf
 of Mexico; although additional species may occur, they are considered extralimital or occasional
 transients within to the area (NMFS 2012, Hayes et al. 2018). Six species are also listed under
 the ESA (five whales and the West Indian manatee) and are included in table 4.7.1-1 and
 discussed in section 4.7.1.2. The remaining whale and dolphin species and their potential area of
 occurrence along the LNG transit routes in the Gulf of Mexico are described in table 4.7.2-2 and
 discussed below.

                                         Table 4.7.2-2
     Non-Endangered Species Act Listed Marine Mammals Potentially Occurring Along the LNG
                             Transit Routes in the Gulf of Mexico
           Common Name                   Scientific Name               Area Where Mammal May Occur

  Dolphins
   Atlantic spotted dolphin               Stenella frontalis                   Gulf of Mexico
   Bottlenose dolphin                    Tursiops truncatus                BSC and Gulf of Mexico
   Clymene dolphin                        Stenella clymene                     Gulf of Mexico
   False killer whale                   Pseudorca crassidens                   Gulf of Mexico
   Frasier’s dolphin                    Lagenodelphis hosei                    Gulf of Mexico
   Killer whale                             Orcinus orca                       Gulf of Mexico
   Melon-headed whale                  Peponocephala electra                   Gulf of Mexico
   Pantropical spotted dolphin            Stenella attenuata                   Gulf of Mexico
   Pygmy killer whale                     Feresa attenuata                     Gulf of Mexico
   Risso’s dolphin                        Grampus griseus                      Gulf of Mexico
   Rough-toothed dolphin                  Steno bredanensis                    Gulf of Mexico
   Short-finned pilot whale          Globicephala macrorhynchus                Gulf of Mexico
   Spinner dolphin                       Stenella longirostris                 Gulf of Mexico
   Striped dolphin                      Stenella coeruleoalba                  Gulf of Mexico
  Whales
   Blainville’s beaked whale           Mesoplodon densirostris                 Gulf of Mexico
   Bryde’s whale                         Balaenoptera edeni                    Gulf of Mexico
   Cuvier’s beaked whale                 Ziphius cavirostris                   Gulf of Mexico
   Dwarf sperm whale                         Kogia sima                        Gulf of Mexico
   Gervais’ beaked whale               Mesoplodon europaeus                    Gulf of Mexico
   Pygmy sperm whale                       Kogia breviceps                     Gulf of Mexico
  Source: Hayes et al. 2018.


         Impacts on marine mammals occurring along the LNG transit routes would be similar to
 those discussed in section 4.7.1.2 regarding the West Indian manatee and federally listed whales.
 The primary threat to marine mammals resulting from LNG carrier transits would be an
 increased risk of vessel strikes during operation. LNG ships push a considerable bow wave
 when underway on the open ocean because of their design and large displacement tonnage. This
 wave pushes water, flotsam, and other small objects away from the vessel. Dolphins are known


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 to ride the bows of traveling vessels, positioning themselves in such a manner so that they are
 lifted up and pushed forward by the circulating water generated by a vessel’s bow pressure
 (Wursig 2009); however, dolphins and whales are also at risk of vessel strikes in the presence of
 large and small vessels.

         LNG carriers would use established and well-traveled shipping lanes. As described in
 section 4.7.1.2, RG LNG would provide the operators of LNG carriers with NMFS’ guidance
 document on vessel strike avoidance, and request that it be used during transit to and from the
 proposed LNG Terminal. Given RG LNG’s proposed use of existing, highly traveled shipping
 lanes and requested implementation of NMFS’ guidance for ship strike avoidance, we have
 determined that construction and operation of the LNG Terminal (including the potential for
 vessel strikes and increased noise associated with vessels) would have no significant adverse
 impacts on marine mammal stocks and that vessel strikes of individuals would be minimized to
 the extent practicable.

         NMFS has indicated that only the bottlenose dolphin has the potential to be impacted by
 in-water construction at the LNG Terminal. In addition to impacts from potential vessel strikes,
 bottlenose dolphins could be affected by noise from construction, and specifically from pile-
 driving, which has the potential to injure or harass marine mammals. As shown in tables 4.7.1-1
 and 4.7.1-2, pile-driving noise levels would attenuate to non-injurious levels within 20.7 feet of
 planned activities, or within 259.8 feet if an impact hammer were required to install the sheet
 pile, which is not currently planned. These distances were determined using NMFS’ Technical
 Guidance for Assessing the Impact of Anthropogenic Sound on Marine Mammals (NMFS
 2018b; assumptions used for the assessment are included in table 4.7.1-2 of this EIS). The
 Technical Guidance provides underwater acoustic thresholds for the onset of permanent and
 temporary threshold shifts (changes in the threshold of audibility).

         The thresholds of behavioral effects for dolphins would extend up to 4.6 miles from pile-
 driving activities, which may require an incidental take authorization from NMFS. RG LNG is
 currently consulting with NMFS regarding noise impacts on marine mammals to ensure
 consistency with the MMPA and the need to obtain an MMPA incidental take authorization.
 Further, NMFS has indicated concern with the potential entrapment of dolphins behind sheet
 piling that would be installed at the MOF and recommends that RG LNG implement entrapment
 BMPs. As consultation is ongoing, we recommend that:

        •   Prior to construction of the LNG Terminal, RG LNG should file with the
            Secretary, for review and written approval by the Director of OEP, its proposed
            mitigation measures to avoid or minimize take of bottlenose dolphins during in-
            water pile-driving (including the potential for entrapment behind sheet pilings) at
            the LNG Terminal site, developed in consultation with NMFS, and, if applicable,
            a copy of its MMPA Incidental Take Authorization.

         Although not proposed for construction, RG LNG also modeled in-water installation of
 the 96- to 106-inch steel piles for Jetty 2 at NMFS’ request. Noise associated with in-water
 installation of the 96-inch pile would exceed injury thresholds for dolphins within 508.5 feet of
 pile installation (NMFS 2018b; assuming 475 strikes per pile and 1 pile installed per day) and
 would exceed behavioral thresholds within 6.2 miles (NMFS 2018a). If RG LNG modifies its


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 proposed approach to include in-water pile-driving for Jetty 2, further approval from FERC
 would be required, and these additional impacts would need to be included in RG LNG’s
 application to NMFS for the incidental take of marine mammals.

         Given RG LNG’s proposed implementation of NMFS’ guidance document on vessel
 strike avoidance, as applicable and appropriate, and our recommendation to minimize impacts on
 marine mammals during in-water pile-driving through use mitigation measures determined in
 consultation with NMFS, take of marine mammals under the MMPA would either be avoided or
 minimized to the extent practical.

 4.8    LAND USE, RECREATION, AND VISUAL RESOURCES

 4.8.1 Land Use

         The Rio Grande LNG Project comprises two major components; the Rio Grande LNG
 Terminal and the Rio Bravo Pipeline System. RG LNG would construct the LNG Terminal in
 Cameron County. RB Pipeline’s Pipeline System consists of a 2.4-mile Header System and
 135.5 miles of dual 42-inch-diameter natural gas pipeline that would cross 5 counties in Texas
 (see section 2.1). Land use in the vicinity of the Project is generally classified into the following
 categories: shrub/forest land, open land, non-forested wetlands, barren, open water,
 industrial/commercial, and agricultural. Installation of facilities for the Project would require
 temporary disturbance of about 3,633.2 acres of land. Following construction, the LNG Terminal
 site and permanent rights-of-way would encompass about 2,149.2 acres. The remaining 1,484.0
 acres would return to pre-construction conditions and uses. Table 4.8.1-1 summarizes the
 acreages of each land use type that RG Developers would affect during construction and
 operation of the Project. The definitions of each land use type are as follows: 38

        •   Shrub/Forest Land 39 – includes shrubland, upland forest, palustrine forested wetlands,
            and scrub-shrub wetlands (including mangroves);

        •   Open Land – includes grassland and grazing land;

        •   Emergent Wetlands – includes palustrine and estuarine emergent wetlands and mud
            flats;

        •   Barren – barren land, including dredge spoil;

        •   Open Water – includes waterbodies, such as streams, lakes, and ponds;




 38
        Maintained (vegetated) rights-of-way were allocated to the corresponding land use type category based on vegetation
        type; therefore, existing utility corridors are captured in the following land use types: agricultural, open land, open
        water, and wetlands. Similarly, the area to be dredged for the marine facilities within the LNG Terminal site is
        allocated across open land, barren, open water, and wetland land use type categories as appropriate.
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        South Texas Sandy Mesquite/Evergreen Woodland, Coastal and Sandsheet Deep Sand Live Oak Forest and Woodland,
        South Texas Loma Evergreen Shrubland, South Texas Sandy Mesquite Woodland and Shrubland, and South Texas
        Sandy Mesquite Dense Shrubland (Ludeke, German, and Scott 2010; see section 4.5.1).


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                                                                                            Table 4.8.1-1
                                                    Land Use Types Affected by Construction and Operation of the Rio Grande LNG Project (in acres)
                                                          Shrub/                           Emergent          Open                         Industrial / Agricultural
                                                                        Open Land                                          Barren                                              Total
                                Facilities              Forest Land                        Wetlands          Water                       Commercial       Land
                                                        Con     Op       Con       Op     Con     Op      Con     Op      Con     Op     Con     Op    Con     Op       Con            Op
                         LNG TERMINAL
                          LNG Terminala                 208.9   208.9   191.5     191.5   162.5   162.5   106.1   106.1   81.4    81.4    0.0    0.0    0.0     0.0    750.4       750.4
                          MOF and berthing /
                                                         0.0     0.0      0.0      0.0     0.0     0.0    68.7    68.7     0.0    0.0     0.0    0.0    0.0     0.0     68.7           68.7
                          turning basin dredge area
                          Port of Brownsville
                                                         0.0     0.0     18.9      0.0     0.0     0.0     0.0     0.0     1.7    0.0     0.2    0.0    0.0     0.0     20.8           0.0
                          temporary storage area
                          Port Isabel temporary
                                                         0.0     0.0      0.0      0.0     0.0     0.0     0.0     0.0     4.0    0.0     0.0    0.0    0.0     0.0     4.0            0.0
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                          storage area
                          Port Isabel dredge pile        0.0     0.0      0.0      0.0     0.0     0.0     0.0     0.0    293.4   0.0     0.0    0.0    0.0     0.0    293.4           0.0
                          Bulk water loading area        0.0     0.0     <0.1      0.0     0.0     0.0     0.0     0.0    <0.1    0.0     0.0    0.0    0.0     0.0     0.1            0.0
                               LNG Terminal Total       208.9   208.9   210.4     191.5   162.5   162.5   174.8   174.8   380.6   81.4    0.2    0.0    0.0     0.0    1,137.3     819.1
                         PIPELINE FACILITIES
                         Pipeline System and ATWS
                         Header System and Pipeline 1
                          Header System ROW             21.9    11.9      8.8      4.9     0.0     0.0    <0.1    <0.1     0.1    0.1     0.1    0.1    0.0     0.0     30.9           17.0
                          Header System ATWS             1.2     0.0      0.8      0.0     0.0     0.0     0.0     0.0    <0.1    0.0     0.0    0.0    0.0     0.0     2.0            0.0
                          Pipeline 1 ROW                455.6   286.9   814.6     492.2   118.2   95.5     7.9     6.5     4.3    2.5     2.7    2.7   514.5   321.2   1,918.0    1,207.4
                          Pipeline 1 ATWS               15.9     0.0      4.2      0.0     5.5     0.0    <0.1     0.0     0.6    0.0     0.1    0.0   19.4     0.0     45.7           0.0
                                            Subtotal    494.6   298.8   828.4     497.1   123.7   95.5     7.9     6.5     5.0    2.6     2.9    2.8   533.9   321.2   1,996.5    1,224.4
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                         Pipeline 2
                           Pipeline 2 ROW                0.0     0.0    1,256.8   767.7   131.6   106.8    7.9     6.5     4.3    2.5     2.7    2.7   514.5   321.2   1,918.0    1,207.4
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                                                                                       Table 4.8.1-1 (continued)
                                                     Land Use Types Affected by Construction and Operation of the Rio Grande LNG Project (in acres)
                                                           Shrub /
                                                                                          Emergent                                  Industrial / Agricultural
                                                           Forest      Open Land                         Open Water     Barren                                           Total
                                 Facilities                                               Wetlands                                 Commercial       Land
                                                            Land
                                                         Con    Op      Con       Op     Con     Op      Con    Op     Con   Op    Con     Op    Con     Op       Con            Op

                           Pipeline 2 ATWS                0.0   0.0     20.1      0.0     5.6     0.0    <0.1   0.0    0.6   0.0    0.1    0.0   19.4     0.0     45.7           0.0
                                             Subtotal     0.0   0.0    1,276.9   767.7   137.2   106.8    7.9   6.5    4.9   2.5    2.8    2.7   533.9   321.2   1,963.6     1,207.4
                         Access Roads
                          Header System access
                                                          0.2   0.2      0.7      0.6     0.0     0.0    <0.1   <0.1   4.7   4.7    3.1    1.6    0.0     0.0     8.7            7.1
                          roads
                          Pipelines 1 and 2 access
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                                                          1.8   0.6     73.3      4.8     8.3     0.0     0.1   0.0    1.6   0.0    14.9   0.1    0.5     0.0    100.3           5.5
                          roads
                                             Subtotal     2.0   0.8     74.0      5.4     8.3     0.0     0.1   <0.1   6.3   4.7    18.0   1.6    0.5     0.0    109.1           12.6
                         Contractor / Pipe Yards
                          Contractor / Pipe Yard 1        0.0   0.0      0.0      0.0     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0   135.6    0.0    135.6           0.0
                          Contractor / Pipe Yard 2        9.1   0.0     16.4      0.0     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0     25.5           0.0
                          Contractor / Pipe Yard 3        0.0   0.0    136.1      0.0     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0    136.1           0.0
                                             Subtotal     9.1   0.0    152.5      0.0     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0   135.6    0.0    297.2           0.0
                         Aboveground Facilities
                         Header System
                          Metering Site HS-1              1.9   1.9      0.2      0.2     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0     2.1            2.1
                          Metering Site HS-2              1.2   1.2      0.2      0.2     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0     1.4            1.4
                          Metering Site HS-3              1.1   1.1      0.9      0.9     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0     2.0            2.0
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                          Metering Site HS-4              1.3   1.3     <0.1     <0.1     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0     1.4            1.4
                                             Subtotal     5.6   5.6      1.3      1.3     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0     6.9            6.9
                                         b
                         Pipelines 1 and 2
                          Compressor Station 1           37.2   37.2     0.0      0.0     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0     37.2           37.2
                          Compressor Station 2            0.0   0.0     28.6     28.6     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0     28.6           28.6
                          Interconnect Booster
                                                          7.1   7.1      2.5      2.5     0.0     0.0     0.0   0.0    0.0   0.0    0.0    0.0    0.0     0.0     9.7            9.7
                          Station 1
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                                                                                      Table 4.8.1-1 (continued)
                                                    Land Use Types Affected by Construction and Operation of the Rio Grande LNG Project (in acres)
                                                            Shrub /
                                                                                               Emergent                                             Industrial /      Agricultural
                                                            Forest         Open Land                             Open Water           Barren                                                      Total
                                  Facilities                                                   Wetlands                                            Commercial            Land
                                                             Land
                                                          Con     Op       Con        Op       Con      Op        Con       Op      Con      Op     Con       Op       Con       Op        Con            Op
                           Interconnect Booster
                                                           0.0     0.0      9.7        9.7      0.0      0.0       0.0      0.0      0.2     0.2     0.0      0.0       0.0       0.0      9.9            9.9
                           Station 2
                           MLVs                            0.3     0.3      0.1        0.1      0.0      0.0       0.0      0.0      0.0     0.0     0.0      0.0       0.4       0.4      0.8            0.8
                                               Subtotal   44.6    44.6      41.0      41.0      0.0      0.0       0.0      0.0      0.2     0.2     0.0      0.0       0.4       0.4      86.2           86.2
                              Aboveground Facilities
                                                          50.2    50.2      42.3      42.3      0.0      0.0       0.0      0.0      0.2     0.2     0.0      0.0       0.4       0.4      93.1           93.1
                                           Subtotal
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                                Header System and
                                                          555.9   349.8   1,097.2    544.8     132.0    95.5       8.0      6.5     11.5     7.5     20.9     4.4      670.4    321.6    2,495.9     1,330.1
                                   Pipeline 1 Totalc
                                    Pipeline 2 Totald      0.0     0.0    1,599.2    858.8     145.5   106.8       8.0      6.5      6.7     2.7     17.7     2.8      670.4    321.6    2,447.4     1,299.1
                                                      e   527.0   332.1   1,085.7    537.9     132.0    95.5       8.0      6.5      6.7     2.7     17.7     2.8      670.4    321.6    2,447.4     1,299.1
                                   Pipelines 1 and 2

                              Pipeline System Totale      555.9   349.8   1,097.2    544.8     132.0    95.5       8.0      6.5     11.5     7.5     20.9     4.4      670.4    321.6    2,495.9     1,330.1
                           Rio Grande LNG Project
                                                         764.8 558.7 1,307.6           736.3 294.5 258.0             182.8     181.2 392.1 88.9 21.1           4.4      670.4     321.6 3,633.2       2,149.2
                                               Totale
                         a
                                 Acreages for the LNG Terminal include those acreages associated with Compressor Station 3 and the marine facilities. As discussed in section 4.3.2.2, additional open
                                 water areas within the BSC may be affected by dredging.
                         b
                                 These facilities would be disturbed during the construction of Pipeline 1. Although use and modification of these facilities would occur during the construction of Pipeline
                                 2, no additional operational footprint would be required.
                         c
                                 All impacts associated with construction of the Header System and Pipeline 1, including right-of-way, ATWS, contractor/pipe yards, access roads, and aboveground
                                 facilities.
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                         d
                                 All impacts associated with construction of Pipeline 2, including right-of-way, ATWS, contractor/pipe yards, access roads, and aboveground facilities, which were
                                 previously disturbed during construction of Pipeline 1 (acreages associated with the Header System and its components are excluded). Shrub/forest land restored following
                                 construction of Pipeline 1 would revegetate to open land and emergent wetland conditions prior to construction of Pipeline 2, rather than the pre-construction vegetation
                                 cover. Therefore, construction of Pipeline 2 would have a greater impact on open land and emergent wetlands than Pipeline 1.
                         e
                                 This total includes the footprint of Pipelines 1 and 2, rather than the sum of its individual components. Because Pipeline 2 would be constructed in the same footprint as
                                 Pipeline 1, the entire construction footprint for Pipeline 2 overlaps with the affected acreage proposed for Pipeline 1.
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           •   Industrial/Commercial – includes impervious surfaces such as roads and industrial
               facilities; and

           •   Agricultural – includes active or rotated cropland.

 4.8.1.1          Environmental Setting

           LNG Terminal

         The LNG Terminal site would be on 984.2 acres of land owned by the BND along the
 northern embankment of the BSC in Cameron County. The site is currently undeveloped and
 contains areas of dredge spoil from the original dredging of the BSC. RG LNG would utilize
 750.4 acres of the site, which includes shrub/forest land (27.8 percent), open land (25.5 percent),
 non-forested wetlands (21.7 percent), and barren land (10.8 percent); the remaining 14.1 percent
 is open water. The shrub/forest land at the LNG Terminal site is predominately south Texas
 Sandy Mesquite Dense Shrubland (138.3 acres), South Texas Loma Evergreen Shrubland (50.7
 acres), and mangroves (19.8 acres; categorized as emergent scrub-shrub wetlands in section 4.4).

         No buildings, aboveground structures, or utilities are present within the LNG Terminal
 site. The closest residences are in Port Isabel and Laguna Heights, over 2.2 miles from the LNG
 Terminal site. As RG LNG has located the LNG Terminal site outside of city boundaries, the
 parcel is not subject to zoning designations, therefore re-zoning of the site would not be required.
 The LNG Terminal site is bounded on the north and west by SH-48 and the Bahia Grande
 Channel, respectively. The BSC runs along the southern boundary of the parcel, while
 undeveloped land, including mud flats and shallow open water, frame the eastern boundary. As
 discussed in section 4.3, the Bahia Grande Channel was constructed in 2005 to connect the BSC
 to the Bahia Grande to restore tidal exchange to the Bahia Grande (FWS 2015a). The Bahia
 Grande is part of the larger Laguna Atascosa NWR, which is managed by the FWS and located
 immediately north of the LNG Terminal site. A second NWR, the Lower Rio Grande Valley
 NWR, is about 2.6 miles from the LNG Terminal site, but south of the BSC (see 4.1.8.4).
 Recreational fishing occurs in the local bay system, as well as on the LNG Terminal site along
 the shoreline of the Bahia Grande Channel and BSC, although these areas are not officially
 designated for fishing. While other uses of the LNG Terminal site may currently exist, such as
 use by off-road vehicles, these uses are unauthorized.

         As discussed in sections 1.4 and 2.1.1.7, utilities (electric, water, and sewer) at the
 Terminal site currently do not exist; however, the BND is planning to expand the water and
 sewage systems as part of an overall effort to provide service to existing and future customers in
 the Port of Brownsville, as well as to enhance reliability and grid interconnectivity with Port
 Isabel and South Padre Island. Similarly, AEP is planning upgrades to its existing electric
 transmission system that would connect the power grid in the Port of Brownsville to the LNG
 Terminal and the Port Isabel area. These new utilities would be constructed in a utility corridor
 adjacent to SH-48, along the northern boundary of the LNG Terminal site. As described in
 section 2.1.1.7, these utilities would not be in service until after RG LNG’s anticipated
 construction start date. During the initial construction phase and until permanent utilities are
 available, RG LNG would purchase freshwater from the BND, pump sewage from its internal
 sewage system into trucks and have it delivered to the sewage treatment plant, and utilize a


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 temporary power supply from AEP, as well as portable diesel generators. The temporary power
 line would be installed within an existing TxDOT right-of-way and would connect the LNG
 Terminal to AEP’s existing substation in Port Isabel (see section 2.1.1.7).

         Portions of the BSC (those outside of the navigable channel), would be dredged during
 construction of the marine loading berths, turning basin, and the MOF, which would be used to
 support construction activities and delivery of material. As discussed in section 4.4.2.4, RG
 LNG has committed to maintaining 223.3 acres of the site as natural buffer that includes non-
 forested wetlands, open water, and barren land (specifically, dredge spoil). The remaining 10.5
 acres would be dredged for a planned expansion of the Bahia Grande Channel for wetland
 restoration that is not related to the Rio Grande LNG Project.

           Pipeline Facilities

         The pipeline facilities would be in south Texas within Jim Wells, Kleberg, Kenedy,
 Willacy, and Cameron Counties. These facilities would generally be sited on rural,
 unincorporated areas, with the northern portion of the pipeline route through Kleberg and
 Kenedy Counties characterized by large tracts of land used for ranch and cattle operations. King
 Ranch, an 825,000-acre ranch, makes up the majority of the land. As the pipeline route moves
 south into Willacy and Cameron Counties, the land is predominately grassland and cropland.
 Based on RB Pipeline’s field investigations, the primary crops currently in production in the
 Project area include cotton, sorghum, and corn.

        Although not crossed by the proposed pipelines, the two NWRs, discussed above,
 characterize land near the terminus of the Pipeline System as it approaches the LNG Terminal
 site. As discussed in section 2.2.2.1, portions of the pipeline right-of-way would be collocated
 with existing pipelines, power lines, roads, railroads, and canals.

         The proposed pipelines would cross one area, between about MPs 123.7 to MP 126.0,
 within city limits and that is zoned as a dwelling use district by the City of Brownsville. Based
 on RB Pipeline’s review of the municipal codes, this zoning type does not conflict with the siting
 of the pipelines and RB has initiated consultation with the City of Brownsville to confirm its
 findings. To date, no response from the city has been received. The pipeline facilities, once
 operational, would be located on open land (44.0 percent), shrub/forest land (22.3 percent),
 agricultural land (26.9 percent), and non-forested wetlands (5.3 percent); the remaining 1.6
 percent would be open water, barren and industrial/commercial land.

 4.8.1.2          Land Use Impacts and Mitigation

         Construction of the LNG Terminal and the pipeline facilities would affect a total of
 3,633.2 acres of land over a 7-year construction period. Of this, 2,149.2 acres would be
 permanently affected by operation of the Project, and 1,484.0 acres would be allowed to revert to
 the existing land use type after the completion of construction activities. Reseeding of disturbed
 areas and routine monitoring would be conducted in accordance with RG Developers’ Plan and
 Procedures, as discussed in section 4.5.2.2. Impacts on land use types by acreage are discussed
 below. Impacts and mitigation on wetlands and vegetation cover types are discussed in detail in
 sections 4.4 and 4.5, respectively.



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        LNG Terminal

         Construction and operation of the proposed Rio Grande LNG Terminal, including
 Compressor Station 3, would affect 750.4 acres of land, including 208.9 acres of shrub/forest
 land, 191.5 acres of open land, 162.5 acres of non-forested wetlands, 106.1 acres of open water,
 and 81.4 acres of barren land; all of which would be permanently converted to industrial/
 commercial land. No industrial/commercial or agricultural land would be impacted by the
 construction or operation of the LNG Terminal. As described in section 4.3.2.2, about 94.3 acres
 of land within the LNG Terminal site, and within and adjacent to the BSC, would be dredged or
 excavated for the marine facilities. Additional open water areas within the BSC and outside the
 LNG Terminal site that would be affected by dredging are also addressed in section 4.3.2.2. The
 marine loading berths and a portion of the turning basin would require dredging to depths of
 about -43 feet (plus -2 feet of overdepth allowance) and the MOF would be dredged to a depth of
 about -10 feet (plus -2 feet of overdepth allowance) (see section 2.5.1.4).

          In addition to the facilities proposed for the LNG Terminal site, RG LNG may access the
 Port Isabel dredge pile (293.4 acres of barren land) to obtain fill materials, and would use two
 offsite storage/parking areas to support construction activities. About of 4.0 acres of the Port
 Isabel site would be used as a storage area during construction of the Project.

        The 20.8-acre storage area proposed in Brownsville is predominately open land (18.9
 acres) with some barren land (1.7 acres) and industrial/commercial land (0.2 acre). Following
 construction, the Port Isabel and Brownsville storage areas would be restored to pre-construction
 conditions, unless requested otherwise by the landowner. No agricultural land would be
 impacted by the use of the offsite facilities during construction. Impacts from the LNG Terminal
 and offsite facilities, by land use type, are discussed below.

        Shrub/Forest Land

        Construction and operation of the LNG Terminal would permanently impact 208.9 acres
 of shrub/forest land, including 19.8 acres of mangroves categorized as emergent scrub-shrub
 wetlands in section 4.4. As described in section 4.5, most of the land is upland shrub habitat.
 None of the offsite facilities would affect shrub/forest land.

        Open Land

         Construction of the LNG Terminal would affect 210.4 acres of open land, of which 18.9
 acres are associated with the offsite support facilities. Impacts on the remaining 191.5 acres of
 open land would be permanent due to the conversion of the affected area within the LNG
 Terminal site to industrial/commercial use.

        Non-forested Wetlands

         A total of 162.5 acres of non-forested wetlands that are present within the LNG Terminal
 site would be permanently filled and converted to industrial/commercial land to support land-
 based facilities. RG LNG has committed to maintaining a 223.3-acre natural buffer area on land
 within the larger leased parcel, but outside of the LNG Terminal site; however, as described in
 section 4.4, RG LNG would complete all wetland permitting and compensatory mitigation


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 required by the COE and would implement all applicable wetland protective measures included
 in its Procedures.

        Barren Land

        As a result of the original dredging of the BSC, 81.4 acres of dredge spoil is at the LNG
 Terminal site. The entire site would be permanently converted to industrial/commercial land.
 The offsite facilities, including the two storage/parking areas and bulk water loading area,
 contain, 5.7 and less than 0.1 acre, respectively, of barren land. The Port Isabel dredge pile
 (293.4 acres) may be used to obtain spoil for leveling and build-up of the LNG Terminal site as
 described in section 2.5.1.4. Following construction, 299.2 acres of barren land would revert to
 pre-construction uses.

        Open Water

          Construction and operation of the LNG Terminal would permanently impact 174.8 acres
 of open water, including waters of the BSC and a shallow lagoon within the LNG Terminal site.
 Use of open water within the BSC associated with construction and operation of the marine
 facilities would also include increased marine traffic and reduced access for recreational users
 when an LNG carrier is in transit through the BSC. Impacts on recreational use of the BSC and
 marine vessel traffic are described in sections 4.8.1.4 and 4.9.8.2, respectively. Dredging and
 dredged material placement are discussed in sections 4.3.2.2 and 4.2.3, respectively.

        Industrial/Commercial

          The Port of Brownsville storage area consists of 0.2 acre of industrial/commercial land.
 Minor modifications such as grading and graveling would be required at the site resulting in
 negligible, temporary impacts on this land use type during construction. No other offsite
 facilities, or the LNG Terminal, would affect existing industrial/commercial land.

        While impacts on land affected by construction and operation of the LNG Terminal
 would be permanent, the LNG Terminal would be consistent with the BND’s long-term plan,
 which identifies the area as intended for heavy industrial use. In addition, the LNG Terminal
 would be located outside of city limits, on land that is not subject to zoning restrictions. Further,
 although wetlands would be permanently lost within the facility boundaries, RG LNG would be
 required to mitigate for such losses in accordance with any Section 404/10 permit issued by the
 COE.

        Pipeline Facilities

        Pipeline System and Additional Temporary Workspace

        Header System and Pipeline 1

        RB Pipeline has requested a 100-foot-wide construction right-of-way for the portion of
 Header System that would accommodate a single 42-inch-diameter pipeline (MPs HS-0.8 to HS-
 2.4) and a 125-foot-wide construction right-of-way for both Pipeline 1 and the portions of the
 Header System that would accommodate dual 42-inch-diameter pipelines (MPs HS-0.0 to HS-


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 0.8). RB Pipeline would maintain a 50-foot-wide permanent right-of-way for the single-
 pipeline portion of Header System and a 75-foot-wide permanent right-of-way for portions of the
 Header System with dual pipelines, as well as for Pipeline 1.

         Construction of these pipelines, including ATWS, would affect 1,996.5 acres of land,
 consisting of 828.4 acres of open land, 533.9 acres of agricultural land, 494.6 acres of
 shrub/forest land (including 9.9 acres of forested wetlands), 123.7 acres of non-forested
 wetlands, 7.9 acres of open water, 5.0 acres of barren land, and 2.9 acres of
 industrial/commercial land. Following construction, 497.1 acres of open land, 321.2 acres of
 agricultural land, 298.8 of shrub/forest land, 95.5 acres of non-forest wetlands, 6.5 acres of open
 water, 2.8 acres of industrial/commercial land, and 2.6 acres of barren land within the permanent
 easement would be restored to pre-construction conditions but would be subject to routine
 maintenance. About 9.9 acres of forested wetlands would be within the permanent right-of-way
 and would be permanently maintained in an herbaceous state. The remaining 772.1 acres of land
 within construction workspaces would be allowed to revert to pre-construction conditions in
 accordance with the Project-specific Plan and Procedures. Specific mitigation for impacts on
 wetlands is discussed in section 4.4.

        Pipeline 2

         Pipeline 2 would be installed within the same 125-foot-wide construction right-of-way
 affected by Pipeline 1. As such, all land disturbed by the construction of Pipeline 2 would have
 been previously disturbed during the construction of Pipeline 1. Similarly, land associated with
 ATWS, access roads, contractor/pipe yards, and aboveground facilities would have been
 previously disturbed. Following construction, land affected by Pipeline 2 would be restored to
 pre-construction conditions.

        General Impacts of the Pipeline System

          As described in section 2.3, RB Pipeline would complete the installation of the Header
 System and Pipeline 1 before installing Pipeline 2. This phased construction approach would
 result in delayed impacts for portions of the land described below. As previously noted, the
 pipelines would require ATWS in areas proposed for specialized crossing methods or in areas
 with specific resources or features present. As discussed in section 2.2.1.3, RB Pipeline
 identified several areas where it stated that site-specific conditions require the use of ATWS
 outside of the proposed nominal 100- and 125-foot-wide construction right-of-way. Appendix F
 lists the locations of these ATWSs, their dimensions, area affected, justification, and other
 information. All proposed ATWSs are identified in appendix O.

         As discussed in section 2.3.2, RB Pipeline proposes to install cathodic protection along
 the pipeline route to mitigate corrosion. While the specific locations of the cathodic protection
 groundbeds have not been identified, RB Pipeline has stated that the groundbeds would be within
 the permanent right-of-way near county roadways with available electrical power connections.
 Therefore, no additional impacts on land are expected from the construction and operation of the
 cathodic protection beds. If RB Pipeline determines that additional land would be required for
 the groundbeds, a request for such land would fall under the variance process described in
 section 2.5.4.


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          Operational activities associated with the Pipeline System would be primarily associated
 with maintenance of the permanent right-of-way, routine inspections, and associated cleaning
 and pipeline repairs. To facilitate pipeline inspection, operation, and maintenance, the entire
 permanent right-of-way in upland areas would be maintained in an herbaceous or scrub-shrub
 vegetated state. This maintained right-of-way would be mowed no more than once every 3
 years, but a 10-foot-wide strip centered over each pipeline may be mowed more frequently to
 maintain herbaceous cover (outside of the bird nesting season, as discussed in section 4.6.1.3).
 In total, the permanent right-of-way for the Pipeline System would include 1,224.4 acres during
 operation (17.0 acres for the Header System and 1,207.4 acres for Pipelines 1 and 2).

          Open Land. Open land would be the primary land use impacted by construction of the
 pipeline facilities. This includes grassland and land used for ranch and cattle operations.
 Construction-related impacts on open land would include the removal of vegetation and
 disturbance of soils, as well as temporary disruptions to ranch and cattle operations. RB Pipeline
 has committed to working with landowners to establish crossing locations where cattle and
 ranching operations would be crossed to allow for safe movement of cattle and wildlife. A
 quarantine area for cattle fever tick disease would be crossed in Cameron County between MPs
 102.6 and 135.5. In addition to working with landowners regarding the movement of cattle in
 and out of the quarantine area, RB Pipeline would provide educational training for construction
 personnel to mitigate the spread of the disease. Impacts on open land would be temporary and
 short-term and would be minimized by the implementation of the Project-specific Plan.
 Following construction, most open land uses would be able to continue. However, some
 activities, such as the building of new commercial or residential structures, would be prohibited
 on the permanent right-of-way.

         Agricultural Land. The primary impact on agricultural areas would be the temporary
 loss of production during and shortly after construction is completed. Additional impacts could
 include soil rutting or compaction due to construction equipment. RB Pipeline would minimize
 the potential for these impacts through implementation of the measures in its Plan, including
 topsoil segregation, erosion control, and soil compaction mitigation. Impacts could also include
 damage to existing irrigation systems; however, no drain tiles or irrigation systems have been
 identified to date. RB Pipeline would continue to consult with landowners to determine the
 presence of these systems, or those that would be installed within 3 years of construction, and
 would repair or replace any such system impacted by construction. Finally, RB Pipeline would
 bury the pipeline with a minimum cover of 3 feet and has collocated with, or is adjacent to,
 existing disturbance for about 66.0 percent of the Pipeline System.

        Through field surveys and coordination with the county representatives of the U.S.
 Department of Agriculture, no specialty crops or land currently managed under the CRP,
 Conservation Reserve Enhancement Program, or other Agricultural Conservation Easement
 Program have been identified along the proposed pipeline route in Kenedy or Kleberg Counties.
 In Cameron County the Project would intersect parcels under contract as part of the CRP program
 to improve wildlife habitat; these areas are discussed further in section 4.8.1.5. Representatives
 from the Willacy County FSA are still assessing RG Developers’ request for information.

         Shrub/Forest Land. Shrub/forest land would be crossed by the pipelines, including
 forested wetlands near MP 0.0 of Pipelines 1 and 2. RB Pipeline would minimize impacts on


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 shrub/forest land by implementing its Plan and Procedures. In addition, RB Pipeline would be
 required to implement the conditions of its CWA Section 404 and 401 permits to mitigate for
 wetland impacts. Although trees cleared within temporary construction work areas would be
 allowed to regenerate to pre-construction conditions following construction, impacts on forest
 land would last for several years. Following construction, the maintained portion of the right-of-
 way would be permanently converted to an herbaceous or early scrub-shrub condition.

         Non-forested Wetlands. Palustrine and estuarine emergent and scrub-shrub wetlands
 would be crossed by Pipelines 1 and 2; the Header System would not cross wetlands. RB
 Pipeline would minimize wetland impacts by implementing its Procedures. In addition, RB
 Pipeline would be required to implement the conditions of its CWA Section 404 and 401 permits
 to mitigate for wetland impacts. Following construction, these wetlands would be allowed to
 regenerate to pre-construction conditions, with the exception of a 10-foot-wide strip centered on
 the pipelines that would be maintained in an herbaceous condition in scrub-shrub wetlands (see
 section 4.4).

         Industrial/Commercial. Impacts on the use of industrial/commercial areas during
 construction would result from increased dust from exposed soils, construction noise, and traffic
 congestion. Impacts from dust and noise levels would be minimized as described in sections
 4.11.1 and 4.11.2, respectively. Impacts associated with construction traffic are discussed in
 section 4.9.8.

         Open Water. Impacts on open water resulting from construction activities could include
 increased sedimentation rates, turbidity levels, and water temperature; decreased dissolved
 oxygen concentrations; and release of chemical or nutrient pollutants from sediments (see
 detailed discussion in section 4.3.2.2). However, these impacts would be temporary and would
 not preclude these areas from functioning as open water. Impacts on open waters would be
 minimized by the implementation of the Project-specific Procedures. No impacts on open water
 are anticipated during operation of pipeline facilities.

         Barren Land. Barren land includes unvegetated land that may be subject to increased
 erosion during construction. RB Pipeline would implement the erosion control measures in its
 Plan to minimize the potential for erosion within these areas.

        Aboveground Facilities

          RB Pipeline would install three compressor stations, two booster stations, eight metering
 sites, and additional appurtenant facilities. Impacts from Compressor Station 3 are discussed
 above, as it would be within the boundaries of the LNG Terminal site. The remaining
 aboveground facilities installed along the Pipeline System would require about 93.1 acres during
 construction, the majority of which would be located on shrub/forest land (49.9 acres) and open
 land (42.2 acres), with a small amount of barren land (0.2 acre).

         Construction of the pipeline facilities would also require six MLV sites with two valves
 per sites. Each MLV site would be about 0.1 acre, affecting at total of 0.8 acre of land, including
 0.4 acre of agricultural land, and 0.3 acre of shrub/forest land, and 0.1 acre of open land.




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        Following construction, land within construction workspaces but outside of the
 compressor and interconnect booster station footprints would be allowed to revert to pre-
 construction conditions in accordance with the Project-specific Plan and Procedures. Each
 aboveground facility would be fenced to ensure safety and security of the site. The fenced area
 would total about 53.0 acres, the remaining 32.4 acres outside of the fencelines would not be
 maintained.

        The compressor stations, booster stations, and metering sites constructed for the Pipeline
 1 would also be used for Pipeline 2. Although some modifications to these facilities would be
 required to accommodate a second pipeline, all work would be conducted within areas disturbed
 during the original construction of those facilities and no additional land, or its use, would be
 impacted.

        Contractor/Pipe Yards

         RB Pipeline would utilize three contractor/pipe yards along the pipeline route in Kenedy,
 Willacy, and Cameron Counties. The contractor/pipe yards would be located on a total of 297.5
 acres within open land (152.5 acres), agricultural land (135.6 acres), and shrub/forest land (9.1
 acres). Modifications at the contractor/pipe yards would be limited to the placement of
 limestone and/or gravel on geotextile fabric to allow stable storage areas for materials and to
 minimize ground impacts from stockpiled pipe.

          The construction of dirt berms ranging from 1 to 2 feet in height would be required to
 elevate the pipe stored at these locations for ease of lifting and handling by equipment such as a
 forklift. RB Pipeline proposes to construct the dirt berms with native soils from the respective
 site and, following construction, the berms would be removed through the process of leveling the
 site to pre-construction contours. These contractor/pipe yards would also be used for Pipeline 2.

        Access Roads

         In addition to public access roads, RB Pipeline proposes to use a total of 64 roads
 (including 52 temporary and 12 permanent access roads) to access the right-of-way during
 construction (see appendix C). Of the 64 roads proposed for use during construction, 7 would
 require grading and the addition of gravel. All of these improved roads would be maintained for
 operation of the Project, and improvements associated with five of the seven access roads would
 be implemented entirely within the proposed permanent right-of-way. In addition, six access
 roads would cross waterbodies via the use of existing culverts, installation of a new culvert, or
 installation of equipment mats (see section 4.3.2.2).

         Appendix C lists the access roads along with their lengths, required improvements, and
 locations by milepost. Use and improvement of these roads would temporarily impact 109.1
 acres, including 74.0 acres of open land, 18.0 acres of industrial/commercial land, 8.3 acres of
 non-forested wetlands, 6.3 acres of barren land, 2.0 acres of shrub/forest land, 0.5 acre of
 agricultural land, and 0.1 acre of open water. The 53 existing access roads to be used during
 construction would temporarily impact 96.5 acre of mixed land types (see appendix C).
 Following construction, temporary access roads would be restored. As noted in section 4.4.2.2,




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 no fill would be placed in wetlands where access roads are proposed for use, aside from the
 placement of temporary mats.

         Operations would be supported by the use of 13 permanent access roads, which would
 impact a total of 12.6 acres consisting of 5.4 acres of open land, 4.7 acres of barren land, 1.6
 acres of industrial/commercial land, and 0.8 acre of shrub/forest land. Of the 13 permanent
 access roads, 5 would be newly constructed and would impact about 0.3 acre of mixed land types
 including open land, agricultural land, and shrub/forest land. During construction of Pipeline 2,
 RB Pipeline would use only those access roads that were previously disturbed or developed
 during the construction of Pipeline 1; therefore, there would be no new ground disturbance
 associated with access roads for Pipeline 2.

 4.8.1.3        Existing and Planned Residences and Commercial Developments

        RG Developers have contacted affected county representatives regarding planned
 developments. No planned residential developments have been identified within 0.25 mile of the
 Rio Grande LNG Project; identified commercial developments are discussed below, along with
 residences in the vicinity of the Project.

           LNG Terminal

         There are no residences within 0.25 mile of the LNG Terminal site. The nearest occupied
 residential areas are in Port Isabel and Laguna Heights, which are about 2.2 miles north and
 northeast, respectively, of the LNG Terminal site boundary. While it would be possible to see
 the LNG Terminal from elevated vantage points in Port Isabel and Laguna Heights, such as the
 Port Isabel Lighthouse (see section 4.8.2), the distance and vegetation cover between the
 residences and the LNG Terminal would result in a negligible impact on the viewshed for these
 residences. Residents transiting near the LNG Terminal site would be exposed to increases in
 local traffic and noise, especially during construction; these impacts are discussed further in
 sections 4.9.8, and 4.11.2, respectively.

         One planned commercial development, the Texas LNG Project, which would be adjacent
 to the proposed LNG Terminal site along the northeast boundary, was identified within 0.25 mile
 of the LNG Terminal site. Also, the Annova LNG Project is proposed for a 650-acre site about
 0.3 mile south of RG LNG’s proposed LNG Terminal. These projects are currently under review
 by the applicable agencies (including FERC), with the applicants initially anticipating in-service
 dates in 2021 (Annova LNG) or 2022 (Texas LNG). A discussion of cumulative impacts
 associated with the Rio Grande LNG Project, these developments, and other planned
 industrial/commercial developments in the broader area is provided in section 4.13.




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            Pipeline Facilities

          A total of 11 structures are within 50 feet of work areas proposed for use during
 construction of the Project (see table 4.8.1-2). Four of these structures are within 50 feet of the
 proposed construction right-of-way, including a horse stall that would be 7 feet inside the
 temporary workspace of Pipelines 1 and 2 near MP 120.7. Prior to construction, RB Pipeline
 plans to either relocate the horse stall or compensate for its removal, as preferred by the
 landowner. No residences are within 50 feet of the proposed right-of-way or the aboveground
 facilities. The nearest residence to the aboveground facilities is 1.7 miles away (Noise Sensitive
 Area [NSA] 1 in proximity to Booster Station 2 is discussed in section 4.11.2).

                                                     Table 4.8.1-2
                          Structures within 50 feet of Rio Grande LNG Project Workspaces
                                          Pipeline System             Distance to Workspace
         Structure Type                                                                                      Closest MP
                                            Workspace                         (feet)

  Plant guard shack                     Access Road (AR-005)                      11.8                         HS-2.4

  Structure                             Access Road (AR-005)                      46.1                         HS-0.9

  Residential structure                 Access Road (AR-019)                      30.7                          38.1

  Unknown structurea                    Access Road (AR-029)                      8.3                           53.1

  Unknown structurea                    Access Road (AR-029)                      39.3                          53.1

  Barn                                  Temporary Workspace                        10                            63

  Trailer                               Temporary Workspace                        11                           63.1

  Unknown structurea                    Access Road (AR-39)                       47.3                          67.1

  Residential structure                 Access Road (AR-050)                      47.6                          113

  Livestock feeding lean-to             Temporary Workspace                       34.2                         120.7

  Horse stall                           Temporary Workspace              7.0 inside workspace                  120.7
  a
              Unknown structures represent small structures that are not thought to be regularly occupied.




         Seven structures, including two residential structures, were identified within 50 feet of
 access roads (see table 4.8.1-2). These access roads are existing and would not require any
 improvements to support construction of the pipeline facilities. To mitigate impacts for these
 residences, RB Pipeline would provide site-specific training for all construction personal, post
 warning signs, reduce speed limits, install posts and flagging to identify overhead utility lines,
 and implement dust suppression techniques.

       In addition to the two commercial developments discussed above (Texas LNG and
 Annova LNG), RB Pipeline identified two existing wind farms along the proposed route. The
 San Roman Wind Farm is less than 1 mile from the proposed right-of-way, and the Cameron
 Wind Farm would be traversed by the Pipeline System between MPs 107.1 and 116.2; however;



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 no infrastructure associated with the wind farm is located at the crossing location. Additional
 discussion of these wind farms can be found in section 4.13.

          Temporary construction impacts on residential and commercial developments can include
 increased noise and dust generated by construction equipment, personnel, and trenching through
 roads or driveways; removal of trees or other vegetation screening between residences and the
 right-of-way; potential damage to wells; and removal of aboveground structures, such as sheds or
 trailers, from the right-of-way. Visual impacts are discussed in section 4.8.2, and transportation
 impacts are discussed in section 4.9.8. Dust and noise impacts on nearby residences are
 discussed in section 4.11.1 and 4.11.2, respectively.

         While there are no residences within 50 feet of the proposed Pipeline System route, the
 right-of-way would cross driveways and lawns at three locations (MPs 71.6, 89.5, and 112.8). RB
 Pipeline proposes to bore the driveway at MP 71.6, which would allow continued use of the
 driveway and would mitigate impacts on local traffic for the corresponding road within the path
 of the bore. RB Pipeline proposes to cross the remaining two locations using the open-cut
 method. To minimize impacts at these locations, the driveways would not be cut until the
 pipeline was ready to be installed and the trench would be backfilled as quickly as possible. RB
 Pipeline would notify landowners 24 to 48 hours prior to activities that would result in short-
 duration obstructions of driveways or local roadways, lasting no more than 2 hours. At the end
 of each construction day, safety fencing or barriers would be installed where open trench is in
 proximity to these driveways. Lawns and landscaping within the construction work areas would
 be restored promptly after the backfilling of the trench in accordance with individual landowner
 easements.

         As discussed in section 4.3.1.1, 13 wells are within 200 feet of construction workspace
 for the pipeline facilities. These wells are used for industrial purposes including withdrawal of
 water for oil and gas development, supply for livestock, and water sources for public or private
 use (see table 4.3.1-4). One industrial water well was identified as being within the proposed
 construction workspace at MP 5.9 (within King Ranch), in an area where field surveys have not
 yet been completed. RB Pipeline is working with the landowner to verify the location of this
 well and to identify site-specific mitigation measures or acceptable compensation, as appropriate.
 RB Pipeline has proposed to offer both pre- and post-construction testing of water quality and
 yield for all wells within 150 feet of construction work areas for Pipeline 1 and Pipeline 2 to
 mitigate any damages caused by construction.

 4.8.1.4          Landowner and Easement Requirements

           LNG Terminal

         The LNG Terminal would be installed on land owned by the BND in Cameron County.
 RG LNG has entered into an agreement with the BND to lease 984.2 acres of land along the
 north side of the BSC for a minimum of 20 years, and up to a term of 50 years.

           Pipeline Facilities

       A portion of the proposed pipeline rights-of-way would be within the city limits of
 Brownsville. RB Pipeline consulted with the City of Brownsville Planning Division regarding


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 the city’s zoning regulations and associated requirements, including the potential for re-zoning of
 the area within city limits (from about MPs 123.7 to 126.0). Based on this consultation, re-
 zoning would not be required; however, RB Pipeline would need to obtain a permit from the city
 for any drilling (HDD) activities required during construction of the pipelines.

         Pipeline operators must obtain easements from existing landowners to construct and
 operate authorized facilities, or acquire the land on which the facilities would be located.
 Easements can be temporary, granting the operator the use of the land during construction (e.g.,
 ATWS, temporary access roads, contractor/pipe yards), or permanent, granting the operator the
 right to operate and maintain the facilities once constructed.

          RB Pipeline would need to acquire new easements or acquire the necessary land to
 construct and operate the new pipelines. These easements would convey both temporary (for
 construction) and permanent rights-of-way to the applicant. RB Pipeline is seeking to obtain a
 75-foot-wide permanent easement for the entire pipeline right-of-way to accommodate the dual
 pipelines, with the exception of the Header System between MPs HS-0.0 and HS-0.8 where the
 single pipeline would require a 50-foot-wide permanent easement. Following construction of
 Pipeline 1 and before construction of Pipeline 2, RB Pipeline would maintain only the portion of
 the permanent easement for Pipeline 1 (50 feet). The easement acquisition process is designed to
 provide fair compensation to landowners for the right of RB Pipeline to use the property during
 construction and operation of the pipelines. Easement agreements also would also specify the
 allowable uses and restrictions on the permanent right-of-way after construction. These
 restrictions could include prohibition of construction of aboveground structures such as house
 additions, garages, patios, pools, or any other objects not easily removable; roads or driveways
 over the pipeline; or the planting and cultivating of trees or orchards within the permanent
 easement. Alternatively, most agricultural uses would be allowed to continue within the
 permanent easement and would not be permanently impacted. The areas used as temporary
 construction right-of-way and ATWS would be allowed to revert to pre-construction uses with
 no restrictions. Landowners would be notified prior to the start of pre-construction surveys and
 staking, typically a minimum of 2 weeks, or as established during easement negotiations.

         In accordance with 18 CFR 157.6, RG Developers have provided landowners with
 written information on how to contact them in the event that there are complaints or incidences
 that need to be addressed during construction. RG Developers have also provided landowners
 (directly affected and owners of abutting land) with the number for the FERC Landowner
 Helpline if landowners do not get an adequate response from RB Pipeline. If an easement cannot
 be negotiated with a landowner and if the pipeline Project is approved by the Commission, RB
 Pipeline may use the right of eminent domain conveyed by any Certificate the Commission
 might issue for the Project to acquire the property necessary to construct and operate its Project.
 RB Pipeline would still be required to compensate the landowner for the right-of-way and
 damages incurred during construction. However, the level of compensation would be
 determined by a court according to state or federal law.

 4.8.1.5        Recreation and Special Interest Areas

         Construction and operation of the Project would not cross or directly affect any national
 or state-designated Wild and Scenic Rivers, waterbodies on the Nationwide River Inventory,


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 land managed by the U.S. Bureau of Land Management, land managed under the Wetland
 Reserve Program or Grassland Reserve Program, national forests, national or state parks, or
 Indian Reservations. Two NWRs are within 0.25 mile of the Project. In addition, a National
 Historic Landmark (King Ranch); the Jamie J. Zapata Memorial Boat Ramp, Fishing Pier, and
 Kayak Launch Pad (Zapata boat launch); land planned for conservation through the Bahia
 Grande Coastal Corridor Project; and four Great Texas Coastal Birding Trails, would be crossed
 by the pipelines (see table 4.8.1-3). In addition, three CRP parcels would be crossed, which are
 associated with the Lower Rio Grande Valley NWR, as discussed below. Potential impacts on
 recreational areas in the vicinity of the Project are discussed below, and associated impacts on
 tourism and recreational fishing are discussed in section 4.9.3.

         Three areas managed by the NPS, including the Palo Alto Battlefield, Palmito Ranch
 Battlefield, and Resaca de la Palma Battlefield, are more than 0.25 mile from the Rio Grande
 LNG Project. Potential impacts on these areas are discussed in sections 4.8.2 and 4.10.

        National Wildlife Refuges

         The Lower Rio Grande Valley and Laguna Atascosa NWRs are less than 0.25 mile from
 the Project. The Lower Rio Grande Valley NWR is a 97,908-acre coastal marsh refuge that was
 established in 1979 with a management plan focused on protecting biodiversity (FWS 2010f,
 2015b). In addition to wildlife viewing opportunities and nature trails, over 6,000 acres of the
 refuge are designated for big game hunting (FWS 2015b). The NWR also encompasses Boca
 Chica Beach, which is 5.5 miles southeast of the LNG Terminal site. The Lower Rio Grande
 Valley NWR, and associated private land held in an easement by the FWS, would be just east of
 the Pipeline System between at points between MPs 112.9 and 117.1 at distances ranging from
 ranging from 53 to 1,550 feet.

         Established in 1946, the Laguna Atascosa NWR is an 89,845-acre coastal marsh refuge
 that provides habitat for wintering waterfowl and other migratory birds (FWS 2013a, 2015a).
 Considered a premiere destination for bird-watching, visitors to the NWR also participate in
 recreational fishing, hunting, biking and hiking. The Laguna Atascosa NWR is about 211.2 feet
 from the northern boundary of the LNG Terminal site. The NWR would also be between 53 and
 1,320 feet of the Pipeline System in three locations, including MPs 126.0 to 126.2, MPs 132.3 to
 134.5, and MPs 134.7 to 135.5 (see table 4.8.1-3). In addition, BND land that is subject to an
 easement held by the FWS and which serves as a wildlife corridor for terrestrial animals
 (including the ocelot) would be crossed by the Pipeline System between MPs 134.5 and 134.7;
 this wildlife corridor would be crossed by HDD and is discussed further in section 4.6.




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                                                                                            Table 4.8.1-3
                                                               Recreation Areas Located within 0.25 Mile of the Rio Grande LNG Projecta
                                                                                                         Closest      Crossing                  Construction   Operation
                           County /         Landowner /            Existing Land    Enter       Exit                             Crossing
                                                                                                         Distance      Length                     Impacts       Impacts
                           Facility       Easement Holder           Use Typeb        MP         MP                               Method(s)
                                                                                                          (feet)       (miles)                     (acres)       (acres)
                         Cameron
                                        Private land in easement
                                        with Lower Rio Grande          N/A          112.9      115.9       52.8         N/A           N/A           N/A          N/A
                                              Valley NWR
                                                                                   113 +       113 +
                                                                       N/A                                 52.8         N/A           N/A           N/A          N/A
                                                                                   340 ftc     340 ftc
                                                                                               113 +
                                       Lower Rio Grande Valley                      113 +
                                                                       N/A                     8,690      369.6         N/A           N/A           N/A          N/A
                                                NWR                                8,690 ftc
                                                                                                 ftc
                           Pipelines                                   N/A          115.3      117.1       52.8         N/A           N/A           N/A          N/A
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                           1 and 2
                                                                       N/A          116.7      117.1       52.8         N/A           N/A           N/A          N/A
                                         Laguna Atascosa NWR           N/A          126.0      126.2       52.8         N/A           N/A           N/A          N/A
                                         Laguna Atascosa NWR           N/A          132.3      134.5       52.8         N/A           N/A           N/A          N/A
                                         Laguna Atascosa NWR           N/A          134.7      135.5       52.8         N/A           N/A           N/A          N/A
                                                 BND land             FL, NW        134.5      134.7       0.0           0.2          HDD           0.0           0.0
                                          Zapata boat launch            I/C         135.5      135.6       0.0           0.1          HDD           0.0           0.0
                           LNG
                                         Laguna Atascosa NWR           N/A            --         --       211.2         N/A           N/A           N/A          N/A
                           Terminal
                         Kenedy (none crossed)

                         Kleberg
                                                                    OL, OW, FL,
                                                                                     0.0        19.1       0.0          19.1      Variousd
                                                                     NW; I/C
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                                                                       N/A           45.7       49.0       52.8         N/A           N/A
                           Pipelines                                                                                                               918.1         338.4
                                              King Ranch
                           1 and 2                                 OL, I/C, OW,                                                             d
                                                                                     49.0       60.1       0.0          11.1      Various
                                                                     NW, FL

                                                                        OL           60.6       60.7       0.0           0.1      Variousd
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                                                                                       Table 4.8.1-3 (continued)
                                                                Recreation Areas Located within 0.25 Mile of the Rio Grande LNG Projecta
                                                                                                                   Closest           Crossing                         Construction         Operation
                           County /           Landowner /             Existing Land        Enter        Exit                                         Crossing
                                                                                                                   Distance           Length                            Impacts             Impacts
                           Facility         Easement Holdera           Use Typeb            MP          MP                                           Method(s)
                                                                                                                    (feet)            (miles)                            (acres)             (acres)
                         Willacy (none crossed)
                         Jim Wells
                           Header                                      I/C, OL, OW,
                                                 King Ranch                                 HS-2.4     HS-0.0          0.0               2.4            Variousd            79.4               31.0
                           System                                            FL
                         Notes: N/A = Special use area would not be crossed by the Rio Grande LNG Terminal Project.
                         a
                                  Four Great Texas Birding Trails would be crossed by the pipelines; however, as these features are larger areas (not linear trails) and without discrete boundaries, they
                                  are discussed in the text but excluded from this table.
                         b
                                  I/C – industrial/commercial; OL – open land; OW –open water; NW – non-forested wetlands; FL – shrub/forest land; N/A – not crossed.
                         c
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                                  Due to a short reroute since issuance of the draft EIS, the beginning and ending milepost is presented as feet downstream of the nearest original milepost.
                         d
                                  Crossing methods include open-cut, as well as specialized construction methods at discrete resources such as waterbodies, wetlands, and roads, as described in section
                                  2.3.2.1.
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         In general, the NWRs and associated land in proximity to the Project are expected to
 experience some temporary impacts during construction. Designated hunting land within these
 NWRs would not be crossed; the closest parcel where hunting is allowed would be 0.8 mile
 north of MP 102. Clearing activities, increased noise and dust, and limited access may prevent
 or curtail use of the NWRs by the public at discrete locations; however, given the size of each
 NWR, the public could make use of those areas unaffected by construction. As the distance to
 construction work areas increase, impacts would generally decrease. Where recreational use
 would be allowed to proceed near construction activities, RG Developers would implement
 mitigation measures similar to those described in section 4.8.1.3, and in consultation with land
 managers.

          Given the distance to huntable land of the Lower Rio Grande Valley NWR and Boca
 Chica Beach (about 5.5 miles to the southeast), no direct impacts on these areas are expected.
 Further, users of the Laguna Atascosa NWR near the BSC may observe a small increase in
 vessel traffic during the construction period and may also observe LNG carrier traffic through
 the channel during operation of the LNG Terminal. However, because LNG carrier traffic would
 be consistent with the existing use of the BSC, we have determined that the resulting impact on
 users of the Laguna Atascosa NWR would be minor. Impacts associated with construction
 traffic are discussed in section 4.9.8.

        King Ranch National Historic Landmark

         As discussed further in section 4.10, King Ranch was established in 1853 and was
 designated as a National Historic Landmark in 1961 (King Ranch 2016). A popular tourist
 destination, King Ranch is an 825,000-acre ranch that is divided into four divisions: Santa
 Gertrudis, Laureles, Norias, and Encino. Collectively these divisions span about 1,300 square
 miles of land in south Texas. In addition to ranching and farming operations, King Ranch offers
 hunting opportunities for deer, antelope, wild turkey, quail, javelina, and wild hog. The entire
 2.4-mile-long Header System and Compressor Station 1 (MP 0.0) would be on King Ranch. In
 addition, Pipelines 1 and 2 would cross King Ranch at three locations for a total crossing
 distance of 30.3 miles (see table 4.8.1-3).

          Impacts on King Ranch from pipeline construction would be similar to those discussed
 above in section 4.8.1.2 (Agricultural and Open Land). Where construction activities would
 occur in close proximity to visitors, RB Pipeline would post signs, establish reduced speed
 limits, and provide safety training regarding site-specific uses and safety concerns to minimize
 impacts and enhance safety during construction. RB Pipeline is continuing to coordinate with
 managers of the ranch to identify designated hunting land. If hunting areas are identified
 adjacent to or within proposed construction work areas, and if requested by the landowner, RB
 Pipeline would develop a site-specific mitigation plan to be implemented during hunting season.

        Jamie J. Zapata Memorial Boat Ramp, Fishing Pier, and Kayak Launch Pad

        Cameron County’s Zapata boat launch is a public access site that contains a boat launch,
 55-foot fishing pier, and 20-foot kayak launch pad providing access to the BSC and San Martin
 Lake. The site includes two pavilions and solar lighting to allow for nighttime fishing (Texas
 General Land Office 2016). The Zapata boat launch is located off SH-48, about 1.7 miles west


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 of the LNG Terminal site. The parking lot of the Zapata boat launch is within the path of the
 proposed pipeline route between MPs 133.5 and 133.6, but would be crossed by HDD
 concurrently with the Channel to San Martin Lake. Use of the HDD crossing method would
 avoid direct impacts on the site, and would not impact the operation of the boat launch (i.e., there
 would not be any temporary closures). However, there would be increased noise and traffic from
 the HDD activities, which could occur up to 24 hours a day, 7 days a week, for 10 weeks. The
 Zapata boat launch would be about 1,500 feet from the HDD exit point and over 3,000 feet from
 the HDD entry point; at these distances, the sound level from HDD construction would be
 perceived as moderate to quiet.

        Bahia Grande Coastal Corridor Project

          As identified during scoping, the Bahia Coastal Corridor Project is a multi-stage project
 that is currently underway with the goal of acquiring land for conservation purposes. The Nature
 Conservancy, Conservancy Fund, FWS, and TPWD are working to identify parcels for
 acquisition, through purchase or easement, to connect the Lower Rio Grande Valley NWR,
 Laguna Atascosa NWR, Boca Chica State Park, and other privately held land to provide
 protection for various threatened and endangered species, as discussed in section 4.7.

         An existing easement held by the FWS on BND land that is part of this overall effort
 would be crossed by the Pipeline System between MPs 134.5 and 135.5; however, this crossing
 would be conducted by HDD, therefore direct impacts would be avoided. To date, the
 conservation sponsors noted above have identified, and are attempting to acquire, an additional
 1,852 acres of a total acquisition goal of 10,000 acres. The land currently identified for
 acquisition would be at least 5 miles away from the Rio Grande LNG Project. As such no direct
 impacts are anticipated on lands expected to be acquired.

        Great Texas Coastal Birding Trails

         Four Great Texas Coastal Birding Trails, as designated by the TPWD, would be within
 0.25 mile of the Project: King Ranch Trail, Hawk Alley Trail, Olmos Creek Trail, and Texas 48
 Scenic Drive. These recreation areas are not linear trail systems but are larger tracts of land
 designated by the TPWD that offer discrete locations where the public can observe birds and
 other wildlife. The King Ranch Trail is considered to be the entire parcel and as such, impacts
 on this area are included in the discussion above (King Ranch). None of these “trails” are state-
 designated as Texas Scenic Drives, nor under the National Scenic Byways Program (23 USC
 162).

         Given these trails are not discrete linear features, a variety of crossings methods would be
 applied, including typical upland construction and specialized construction methods such as
 those used for waterbody or wetland crossings, as well as HDD (between MPs 18.8 and 19.2).
 Noise and dust produced during construction would have a temporary impact on trail users, as
 well as changes in visual setting of areas where active construction occurs. However, given
 these trails are associated with large tracts of land, users could opt to visit areas unaffected by
 construction.




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        Conservation Reserve Programs

         Lands managed by the NRCS and the FSA that would be crossed by the pipeline facilities
 are contracted as SAFE as part of the CRP program. Environmentally sensitive areas are
 voluntarily converted from cropland and/or ranch/grazing land per the terms of a 10- or 15-year
 contract (U.S. Department of Agriculture 2017). The CRP-SAFE contract affords financial
 assistance to eligible farmers and ranchers to establish the appropriate vegetation cover to
 support target wildlife, and the land is managed per the terms of a conservation plan developed
 collaboratively by the landowner and the NRCS. The pipeline facilities would cross three areas
 subject to CRP-SAFE contracts, all of which are in Cameron County (between MPs 113.0 and
 116.5). Initial consultation between the FSA and RB Pipeline indicated that these parcels have
 been designated for the protection of ocelot habitat (see section 4.7.1.4).

         According to correspondence with the Cameron County FSA Office, disturbance of
 habitat established per the conservation plan for these CRP-SAFE contracts can result in
 cancellation of the contracts, and the contract owner would be required to repay all cost share
 payments received per the terms of the contract as well as 25 percent liquidated damages (U.S.
 Department of Agriculture 2017). Individual landowners could negotiate compensation of any
 anticipated fees or penalties as part of the easement agreement for each corresponding contract.
 RB Pipeline met with the FSA, NRCS, and applicable landowners to visit each of these parcels,
 and agreed to adopt alternative pipeline routes to address landowner concerns and reduce
 impacts on the parcels. Although the pipelines would still cross these CRP-SAFE parcels, they
 are currently proposed to predominantly cross the parcels adjacent to existing disturbance and
 would therefore minimize fragmentation of the habitat. As discussed in section 4.7, consultation
 with the FWS is ongoing regarding impacts on the ocelot and ocelot habitat.

        General Impacts and Mitigation

         One of the primary concerns when recreation and special interest areas are in close
 proximity to a project is the impact of construction on the purpose for which the area was
 established (e.g., the recreational activities, public access, and resources the area aims to protect).
 Construction could alter visual aesthetics by removing existing vegetation and disturbing soils;
 these potential impacts are discussed in section 4.8.2. Construction could also generate dust and
 noise, which could be a nuisance to recreational users, and could generally interfere with or
 diminish the quality of the recreational experience by affecting wildlife movements or disturbing
 hikers and bikers while using trails.

          During the 7-year construction period for the LNG Terminal, noise from construction
 would be audible at recreation areas near the site. Noise from clearing, grading, and construction
 would be continuous for the duration of those activities, as discussed in section 4.11.2.
 Alternatively, pile-driving, which would be required for the installation of the marine facilities
 and foundations would be louder than typical construction noise and would be most prominent
 for receptors in or along the BSC near the LNG Terminal site. Based upon the construction
 schedule provided by RG LNG (see table 2.3-1 and section 2.5.1.3), land-based, impact pile-
 driving operations for the first stage of construction (including LNG Train 1 and related offsite
 utilities) would require between 114 and 165 days; each subsequent stage of construction would
 require less time. Pile-driving at the MOF would only be required over a 3-month period, land-


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 or water-based pile-driving at the Berth 2 jetty would take place for a 5-month period, and would
 occur over a 2-day period for the fixed aid to navigation structure. Construction of the Berth 1
 jetty would be conducted prior to dredging the marine berth and would require about 4 months
 for land-based pile-driving.

         In general, construction of the Pipeline System would result in impacts on recreational
 and special interest areas that would be temporary and limited to the period of active
 construction, which typically would last only several days to several weeks in any one area. For
 areas in proximity to the Pipeline System, RB Pipeline would implement the requirements and
 mitigation included in its Plan and Procedures. As described throughout this EIS,
 implementation of these requirements would generally minimize, and to some extent mitigate,
 potential impacts on resources and activities in recreation and special use areas.

         During construction of the Rio Grande LNG Project, most non-local workers, and in
 some cases their families, would reside primarily in one of the five counties within the Project
 area, with the bulk of the workforce residing in Cameron County given the proximity to the LNG
 Terminal site (see section 4.9.6). RG LNG anticipates that up to 270 permanent employees
 would be hired to operate the LNG Terminal, and the Pipeline System would require up to 20
 new permanent employees. It is likely that some workers and/or their families would visit
 nearby recreation areas in those counties, resulting in indirect impacts. However, given the
 existing inventory of recreation areas in these counties and their large geographic area with
 multiple access points, is it likely that these facilities would be able to accommodate use by
 workers and/or their families; therefore, we conclude that the overall impact on these facilities
 would not be significant.

 4.8.2 Visual Resources

          “Visual resources” refers to the composite of basic terrain features, geologic features,
 hydrologic features, vegetation patterns, and anthropogenic features that influence the visual
 appeal of an area for residents or visitors. In general, impacts on visual resources may occur
 during construction when large equipment, excavation activities, spoil piles, and construction
 materials are visible to local residents and visitors, and during operation to the extent that
 facilities or portions of facilities and their lighting are visible to residents and visitors. The
 degree of visual impact resulting from the proposed facilities would be highly variable among
 individuals, and would typically be determined by the general character of the existing landscape
 and the visually prominent features of the proposed facilities.

 4.8.2.1        LNG Terminal

        The existing viewshed of the proposed LNG Terminal site includes predominately open
 land with scrub-shrub vegetation. Land surrounding the site includes open land with scrub-shrub
 vegetation with the BSC and SH-48 framing the southern and northern site boundaries. As
 described in section 4.9.8.2, the Port of Brownsville and the BSC support the movement of
 domestic and foreign products, which included about 7.6 million metric tons of cargo with over
 1,050 vessel-calls in 2014 (Port of Brownsville 2015). As such, the movement of these vessels
 contributes to the characterization of the existing viewshed. Visual receptors in the vicinity of
 the LNG Terminal site would include recreational and commercial users of the BSC, motorists


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 on SH-48, and visitors to the Laguna Atascosa NWR, and other nearby recreation areas
 discussed in section 4.8.1.5.

         Construction of the LNG Terminal would increase traffic on SH-48 and within the waters
 of the BSC, as described in section 4.9.8. Construction of these facilities would affect the views
 of those using these transportation corridors, as well as for visitors at nearby recreation areas.

         There are no residences within the LNG Terminal site; the closest residential areas are
 about 2.2 miles away. Given the LNG Terminal site’s proximity to residential areas, it would be
 possible to see the LNG Terminal from some vantage points in Port Isabel and Laguna Heights,
 in particular elevated sites such as the Port Isabel Lighthouse; however, the distance to the LNG
 Terminal site limits its visibility and as such it would not be a prominent feature in the viewshed
 for these residences.

        The changes to the visual character of the area during construction that land and water-
 based receptors could observe include the presence of equipment and workers, the increase in
 construction-related traffic (on land and in the BSC), and the installation of large structures at the
 LNG Terminal site (e.g., LNG trains, storage tanks). These receptors traveling along the
 highway and BSC would have a short time (i.e., until the vehicle or vessel passes the site) to
 view the site during construction.

         To support construction of the LNG Terminal, RG LNG proposes to use two storage
 areas, one of which would also serve as an offsite parking location for construction work. The
 Port Isabel and the Port of Brownsville storage areas would be located in areas of heavy industry.
 As such, visual receptors in the vicinity of these storage areas would include workers and visitors
 at nearby industrial/commercial facilities and motorist on nearby roadways. Given the location
 of the storage areas at existing industrial sites, impacts on visual receptors would be minor and
 temporary.

        While the vessel transits associated with construction and operation of the LNG Terminal
 would result in a moderate increase in traffic in the BSC, this increase would have a minimal
 impact on the viewshed because the vessels would be consistent with current use and visual
 character of the waterway.

          Permanent changes to the visual character of the area would result from the operation of
 the LNG Terminal due to the presence of aboveground structures. The most prominent visual
 feature at the LNG Terminal site would be the four LNG storage tanks, each of which would be
 275 feet wide and 175 feet in height. To help mitigate visual impacts from the LNG Terminal
 features, RG LNG has proposed to use ground flares that would be 6 feet in height and
 surrounded by a 67-foot-high vertical wall to reduce the heat and limit the visibility of flare-offs.
 Other visible structures within the LNG Terminal site would include six LNG trains, two marine
 loading berths, one turning basin, four LNG and two LNG truck loading bays, and Compressor
 Station 3. In addition, the structures within the LNG Terminal site would require lighting. RG
 LNG has developed mitigation measures that would reduce day and nighttime visibility of the
 aboveground facilities at the LNG Terminal site, including the selection of grey tank coloring,
 horticultural plantings, and the construction of a levee that would obstruct most construction
 activities and low-to-ground operational facilities from view. Several light reduction techniques


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 would also be implemented including limiting the amount of outdoor lighting installed, dimming
 lights at night, and directing lights downward. Further, in section 4.6.1.2, we have recommended
 that RG Developers coordinate with the TPWD and FWS to finalize nighttime lighting plans to
 minimize impacts on wildlife; these finalized measures would also minimize the impacts of
 lighting on human receptors.

         Numerous public comments identified concerns with the visual impact of the LNG
 Terminal to surrounding communities, specifically including Port Isabel and South Padre Island.
 RG LNG developed visual simulations from several scenarios at key observation points (KOP)
 in the vicinity of the LNG Terminal site, as listed below. In response to concerns raised by the
 NPS for visual impacts on historic and architectural resources, RG LNG further conducted visual
 simulations for KOPs associated with the Port Isabel Lighthouse, Palo Alto Battlefield National
 Historical Park/National Historic Landmark, and Resaca de la Palma and Palmito Ranch
 Battlefields. These simulations are included in appendix L. The following summarizes the
 potential impacts on the viewshed based on the viewshed simulations developed by RG LNG:

        •   Bahia Grande Channel (0.2 mile west-southwest of the property boundary) – RG LNG
            conducted visual simulations for both daytime and nighttime visual impacts from the
            south side of SH-48, near the Bahia Grande Channel (see figures 1 through 3 in
            appendix L). Due to the proximity of the Bahia Grande Channel to the LNG Terminal
            site and lack of visual buffers, most of the structures within the LNG Terminal would
            be visible during the daytime. However, from this vantage point the most prominent
            feature would be the non-jurisdictional power lines that would be constructed by AEP,
            which would run parallel to this section of SH-48 (see section 1.4.2). In the evening,
            when facilities would be illuminated, the LNG Terminal site would be visible;
            however, individual structures within the site would be more difficult to distinguish
            from one another. Visual receptors familiar with the existing nighttime appearance of
            the channel would likely notice the change in viewscape from the terminal lighting,
            while those less familiar with the existing setting may not notice the change. Anglers
            fishing from stationary locations near the LNG Terminal site would potentially find the
            change in the viewscape most notable, which could result in a change in usage patterns;
            however, the increase in lighting may also attract fish to the local vicinity, which may
            benefit nighttime anglers. Impacts on fishermen at or accessing waters near Bahia
            Grande Channel are discussed further in section 4.9.3.2.

        •   SH-48 (2.6 miles north-northeast of the property boundary) – RG LNG conducted
            visual simulations for both daytime and nighttime visual impacts approaching the LNG
            Terminal site from the north on SH-48 (see figures 4 through 6 in appendix L). The
            most prominent features during the day from this vantage point would include the
            storage tanks, while other structures at the site would be visible but not distinguishable
            from one another. In the evening, when facilities would be illuminated, the LNG
            Terminal site would be visible, but at a distance that would make it difficult to
            distinguish one structure from one another.

        •   Jaime J. Zapata Memorial Boat Ramp, Fishing Pier, and Kayak Launch Pad (Zapata
            boat launch) (1.7 miles southwest of the property boundary) – RG LNG conducted
            visual simulations for daytime only visual impacts at the boat launch as this site, which


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           conforms to the peak use of the site (see figures 7 and 8 in appendix L). Due to lack of
           visual buffers, the LNG Terminal site would be visible during the daytime; however,
           given the distance from the boat launch, individual structures would be difficult to see.

       •   Port Isabel Lighthouse (4.0 miles northeast of the property boundary) – RG LNG
           conducted visual simulations for daytime only visual impacts at the lighthouse to
           conform to the time when visual receptors would likely be present at the site (see
           figures 9 and 10 in appendix L). While it would be possible to see the LNG Terminal
           site from the lighthouse under ideal visibility conditions, the distance to the LNG
           Terminal site would make it difficult to see. Further, Port Isabel is used for
           maintenance and repairs of ships and platforms, as such infrastructure like the Noble
           Driller shown in figures 9 and 10 (appendix L) characterizes the existing viewshed,
           thereby minimizing the visual impact of the LNG Terminal.

       •   Shrimp Basin (4.8 miles southwest of the property boundary) – RG LNG conducted
           visual simulations for daytime only visual impacts at the shrimp basin to conform to
           the time when visual receptors would likely be present at the site (see figures 11 and
           12 in appendix L). While the existing vegetation buffer would obscure much of the
           LNG Terminal site, the storage tanks would be visible, but would not be readily
           distinguishable as such.

       •   Isla Blanca Park Boat Ramp (4.8 miles northeast of the property boundary) – RG LNG
           conducted visual simulations for daytime only visual impacts at the boat ramp to
           conform to the time when visual receptors would likely be present at the site (see
           figures 13 and 14 in appendix L). The LNG Terminal site would be a visible feature
           on the horizon from this vantage point; however, given the distance to the site, the
           storage tanks, which would be the terminals most prominent feature, would not be
           distinguishable as such.

       •   Isla Grand Hotel (6.3 miles northeast of the property boundary) – RG LNG conducted
           visual simulations for daytime only visual impacts, from the highest vantage point (the
           12th floor) at the site (see figures 15 and figures 16 in appendix L). The LNG Terminal
           would not be visible from this vantage point given the distance between the two sites.

       •   Palmetto Pilings (4.9 miles southeast of the property boundary) – RG LNG conducted
           visual simulations for daytime only visual impacts at the historical marker to conform
           to the time when visual receptors would likely be present at the site (see figures 17 and
           18 in appendix L). Due to the distance from the LNG Terminal site and the existing
           vegetation buffer, the LNG Terminal site is partially obscured; however, the storage
           tanks would be visible.

       •   Palo Alto Battlefield (12.0 miles west of the property boundary) – RG LNG conducted
           visual simulations for daytime only visual impacts at the battlefield to conform to the
           time when visual receptors would likely be present at the site (see figures 19 and 20 in
           appendix L). To determine whether the LNG Terminal structures would be visible by
           persons of average height, a viewpoint toward the terminal site was set 6 feet above the
           highest ground elevation in the battlefield. The results illustrate that while the


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            viewshed from the KOP within the battlefield would be minimally altered, the LNG
            Terminal would not be discernable from the Palo Alto Battlefield due to the distance,
            vegetation screening, and the proposed grey color of the LNG tanks.

        •   Fort Belknap (4.1 miles south-southwest of the property boundary) – RG LNG
            conducted visual simulations for daytime only visual impacts at Fort Belknap to
            conform to the time when visual receptors would likely be present at the site (see
            figures 21 and 22 in appendix L). While it would be possible to see the LNG Terminal
            site from Fort Belknap, the distance to the LNG Terminal site would make it difficult
            to detect. The presence of existing development, including several visible high-rise
            buildings, reduces the minor visual impact that would result from construction and
            operation of the terminal. In addition, visitors reading the historical marker would be
            facing away from the terminal.

         Although not selected for the placement of a KOP, Resaca de la Palma Battlefield is
 approximately 2 miles further west than the Palo Alto Battlefield within the Brownsville city
 limits. The battlefield viewshed is surrounded by a former channel of the Rio Grande; municipal
 infrastructure including street lighting, traffic signals, and a public high school; residential
 housing; and commercial developments. At a distance of over 14 miles west of the LNG
 Terminal site, construction and operation of the LNG Terminal would have no impact on the
 viewshed of Resaca de la Palma Battlefield.

         Based on our review of the visual simulations, most of the vantage points are at a
 distance far enough away from the LNG Terminal site that impacts on the viewshed would be
 permanent, but negligible or minor (i.e., at the lighthouse, hotel, shrimp basin, and historic
 battlegrounds/landmarks), and individual structures within the LNG Terminal site would not be
 discernable. Visual receptors within nearby waters north of the LNG Terminal site, such as
 Laguna Madre, would be at lower elevations and/or far enough away such that the nearby
 shoreline areas would obscure the LNG Terminal site. Visual receptors at locations closer to the
 LNG Terminal site (i.e., on SH-48, Bahia Grande Channel, and Zapata boat launch), would be
 able to discern individual structures; however, these receptors would generally not be stationary
 and therefore would have a short viewing time (i.e., until the vehicle or vessel passes the site).
 See section 4.10.2 for additional discussion of visual impacts on National Historic Landmarks.

         In accordance with federal safety regulations (see section 4.12), facilities would be
 illuminated at night. To minimize visual impacts from lighting at the LNG Terminal site, RG
 LNG has stated that it would develop a lighting plan. Key components of the plan identified in
 the application include limited lighting that would be based on FAA regulation, use of
 directional controls, selection of a neutral color to mitigate impacts on wildlife, and low-light
 model security cameras. We have recommended in section 4.6.1.2 that RG Developers
 coordinate with the TPWD and FWS to finalize nighttime lighting plans.

         Nighttime visual receptors in close proximity to the LNG Terminal would consist of
 motorists along SH-48 and boaters in the nearby waters of the BSC, San Martin Lake, and the
 Bahia Grande Channel. Based on the visual simulations from the Bahia Grande Channel, we
 have determined that there would be a permanent and moderate impact on visual resources for
 users in the immediate vicinity of the proposed LNG Terminal site.


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 4.8.2.2        Pipeline Facilities

        The pipeline facilities would be constructed across large parcels of land consisting mostly
 of open land used for ranching and grazing, as well as agricultural land. This land also contains
 numerous easements for oil and gas pipelines, including at least 50 known foreign pipelines that
 would be crossed by the proposed Pipeline System. As a result, the existing viewshed is
 characterized, in part, by existing infrastructure associated with these systems.

         RB Pipeline’s right-of-way vegetation clearing would cause the primary impact on visual
 resources during construction and operation of the pipelines and associated facilities. To
 minimize visual impacts, portions of the right-of-way would be adjacent to existing permanent
 rights-of-way, which would minimize development of new corridor. This would also help to
 limit the extent of changes in the viewshed. Clearing forested land within the construction right-
 of-way, and maintaining the permanent right-of-way as herbaceous and scrub-shrub vegetation
 types would change the viewshed for visual receptors in the area; however, forest land crossed
 by the proposed pipeline is generally small pockets of trees, areas of where trees are not densely
 present, and/or areas where the pipeline is collocated with U.S. Highway 77, resulting in minimal
 visual impacts from tree clearing. For the portions of the right-of-way adjacent to existing
 rights-of-way, we have determined that the impact would not be significant because the increase
 in width of the rights-of-way would be difficult to discern, and given the parcels crossed are
 predominately large, privately owned tracts, there would be few observers of the change. RB
 Pipeline would allow scrub-shrub land and forested wetlands to revert to pre-construction
 conditions except for the maintained portion of the right-of-way, although it could require years
 to reach that stage, resulting in long-term visual impacts in those areas.

         In addition to clearing of vegetation, construction of the pipelines and associated facilities
 would require the presence of personnel, large construction equipment, and vehicles, all of which
 could be visible in areas accessible to the public, such as at roadways crossed by the route and
 near residences. No planned or permitted residential or commercial developments were
 identified within 0.25 mile of the Pipeline System. Two residences are within 50 feet of existing
 roads proposed for use during construction of the Pipeline System (see section 4.8.1.3). Visual
 impacts in these areas due to the presence of construction equipment and personnel would be
 temporary; therefore, we have determined that those visual impacts would not be significant.

         As described in section 2.3, RB Pipeline would complete the installation of Pipeline 1
 before installing Pipeline 2. Similarly, the compressor stations would be installed in increments
 to correspond to the compression capacity required to support the portion of the Pipeline System
 in place at that time. This phased construction approach would allow RB Pipeline to utilize a
 smaller construction workforce. While this approach would result in a longer construction
 period, impacts associated with the visual presence of construction-related traffic would be
 minimized.

         Following construction, all disturbed areas would be restored, and areas outside of the
 permanent rights-of-way would be returned to pre-construction conditions in compliance with
 federal, state, and local permits; the Project-specific Plan and Procedures; landowner
 agreements; and RB Pipeline’s lease requirements, with the exception of aboveground facility
 sites. As described throughout this EIS, implementation of these requirements would generally


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 minimize, and to some extent mitigate, potential impacts on resources and as such would
 mitigate impacts on visual receptors.

        Compressor Station 1

         RB Pipeline would lease a 37-acre parcel of land within a rural area of Kleberg County to
 accommodate construction and operation of Compressor Station 1. As described in section
 4.8.1.2, the areas that would be cleared and graded predominantly consist of open land, which
 would be converted to industrial/commercial land. Initial construction-related impacts, including
 the presence of equipment and workers, would be temporary and limited to the 12-month
 construction period; however, additional compression would be added during discrete periods
 during subsequent stages of the Project (see table 2.3-1).

          Based on the proximity to Highway 281 (over 4 miles away), it is unlikely that these
 facilities would be visible to passing motorists. Construction and operation of Compressor
 Station 1 would take place on land within King Ranch, which is discussed in sections 4.8.1.4 and
 4.10.1. The closest residence to the site is about 5.5 miles to the west (see table 4.11.2-12).
 Given the lack of visual receptors in proximity to this compressor station and existing
 commercial infrastructure just northwest of the site, visual impacts would be permanent, but
 minor.

        Compressor Station 2

          Construction of Compressor Station 2 would take place within a rural area of Kenedy
 County on a 28.6-acre parcel that RB Pipeline would lease. As with Compressor Station 1,
 initial construction would occur over a 12-month period with additional compressors being
 added in stages. As described in section 4.8.1.2, the areas that would be cleared and graded
 consist exclusively of open land, which would be converted to industrial/commercial land.
 During both construction and operation, Compressor Station 2 could be visible to passing
 motorists traveling along U.S. Highway 77. However, construction and operation of the
 compressor station would not affect any designated visual resources, and the closest residence is
 2.9 miles to the south (see table 4.11.2-13). Given the limited number of visual receptors in
 proximity to this site, we find that visual impacts associated with this compressor station would
 be permanent, but minor.

        Booster Station 1 and 2

         The proposed interconnect booster stations would be constructed on predominately open
 land in Kenedy County, and each would be collocated with an associated metering site. RB
 Pipeline would lease two 10-acre sites (MPs 19.6 and 25.4) to accommodate these facilities.
 These sites would be cleared and graded, resulting in a permanent conversion to industrial/
 commercial land. Passing motorists traveling along U.S. Highway 77 would be able to see the
 sites during both construction and operation. The closest residences to these sites are about 1.7
 and 2.4 miles away, respectively (see table 4.11.2-12). Given the limited number of visual
 receptors in proximity to these sites, visual impacts would be permanent, but minor.




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        Metering Sites

         Of the eight metering sites that would be constructed for the Pipeline System, four would
 be constructed within the footprint of an associated compressor or interconnect booster station,
 and are discussed above, and four would be stand-alone facilities constructed on open land. The
 four stand-alone metering sites would be on individual parcels, for a total of 6.9 acres of open
 land that would be converted to industrial/ commercial land. Vegetation cover, which could
 potentially minimize the visibility of these facilities, is generally limited at these locations;
 however, these areas include large tracts of land in a rural setting with no residences within 50
 feet of any of the metering sites. Visual receptors at these sites would include motorists on
 nearby roadways who may be able to view construction workers and equipment as well as the
 stations themselves during operation; however, their view would be short in duration. Overall,
 the metering sites would result in short-term (during construction) or permanent (during
 operations) localized visual impacts during construction and a permanent but minor impact
 during operations.

        Other Aboveground Facilities

         RB Pipeline would install 12 MLVs at 6 locations along the Pipeline System (MPs 18.0,
 35.1, 48.9, 83.6, 100.5, and 119.5). In general, the impacts on visual resources resulting from the
 construction and operation of the MLVs would be minimal as each site is small (typically less
 than 0.1 acre) and would be within the pipeline operational right-of-way or within an
 aboveground facility (e.g., compressor or metering site). MLVs along the operational right-of-
 way would be enclosed in a security fence. Pig launchers and pig receivers would be constructed
 within the compressor station boundaries.

 4.8.3 Coastal Zone Management

         The CZMA calls for the “effective management, beneficial use, protection, and
 development” of the nation’s coastal zone and promotes active state involvement in achieving
 those goals. As a means to reach those goals, the CZMA requires participating states to develop
 management programs that demonstrate how those states will meet their obligations and
 responsibilities in managing their coastal areas. For oil and gas projects, the Texas CZMA is
 administered by the RRC through the Texas CZMP. Activities or development affecting land
 within Texas’ coastal zone are evaluated by the RRC for compliance with the CZMA through a
 process called “federal consistency.” The Rio Grande LNG Terminal and the majority of
 pipeline facilities in Willacy and Cameron Counties from MP 69.8 to the LNG Terminal would
 be within the designated coastal zone.

         RG Developers have requested a CZMA determination for the Project as part of the COE
 Section 10/404 permitting process, and submitted a revised application for determination of
 consistency with the Texas CZMP to the COE March 30, 2018, and to the RRC on April 10,
 2018. The applications are still under review, and a Section 10/404 permit has not been issued.
 Further, the RB Pipeline has not submitted an application for water quality certification for the
 Pipeline System. As a result, RG Developers have not received a consistency determination
 from the RRC; therefore, we recommend that:




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        •   Prior to construction of the Project, RG Developers should file with the Secretary
            a determination from the RRC that the Project is consistent with the laws and
            rules of the Texas Coastal Zone Management Program.

 4.9    SOCIOECONOMICS

         Construction and operation of the Rio Grande LNG Project could impact socioeconomic
 conditions, either adversely or positively, in the general Project vicinity. These potential impacts
 include alteration of population levels or local demographics, increased employment
 opportunities, increased demand for housing and public services, increased traffic on area
 roadways and waterways, and an increase in state and local government revenues associated with
 sales and payroll taxes.

          The socioeconomic analysis for the proposed Project examines data from Cameron,
 Hidalgo, Willacy, Kenedy, Kleberg, and Jim Wells Counties. Of these, the greatest
 socioeconomic impacts would occur in Cameron County, where the Rio Grande LNG Terminal
 would be located. None of the Project components would be constructed in Hidalgo County, but
 it is included in the socioeconomic analysis because it would likely experience an influx in
 population from non-local workers relocating to the area due to the relatively short commute
 distance to the Rio Grande LNG Terminal. For the purposes of our socioeconomic analysis,
 Cameron, Hidalgo, and Willacy Counties make up the affected area for the Rio Grande LNG
 Terminal; and Cameron, Willacy, Kenedy, Kleberg, and Jim Wells Counties make up the
 affected area for the pipeline facilities.

 4.9.1 Population

         Table 4.9.1-1 provides a summary of selected population and demographic information
 for the affected areas.




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                                               Table 4.9.1-1
                           Existing Socioeconomic Conditions in the Affected Areas
                                              2010                                  2015
                                  2015                     2015                                       2015
      State /          2010                 Population                             Civilian                       Top
                                Population              Per Capita                                Unemployment Industries
      County         Population            Density (per                             Labor
                                  (est.)                 Income                                      Rate (%)
                                           square mile)                             Force
  Texas              25,145,561     27,469,114          96           26,999      13,006,330            7.0          C, F, D
    Cameron            406,220        422,156           456          15,105        164,483            10.0          C, F, B
    Hidalgo            774,769        842,304           493          14,689        330,963             9.9          C, F, D
    Willacy             22,134        21,903            37           44,413         6,062             11.5          C, A, E
    Kenedy               416            407             <1           14,251          185               0.0          A, E, C
    Kleberg             32,061        31,857            36           18,722         15,256            11.7          C, B, A
   Jim Wells            40,838        41,382            47           21,798         17,859             6.6          C, A, F
  LNG Terminal                                                                                                     C, F, D, B,
                      1,203,123      1,286,363         329b          24,736c       501,508            10.5d
  Affected Areaa                                                                                                      A, E
  Pipeline
                                                                                                                   C, A, F, E,
  Facilities            501,669        517,705            115c      22,858d      203,845               8.0e
                  e                                                                                                    B
  Affected Area
  Sources: U.S. Census Bureau 2010a, 2010b, 2015a, and 2015c.
  a
             Includes Cameron, Willacy, and Hidalgo Counties.
  b
             Average population density for the affected counties.
  c
             Average per capita income for the affected counties.
  d
             Average unemployment rate for the affected counties.
  e
             Includes Cameron, Willacy, Kenedy, Kleberg, and Jim Wells Counties.
  Industries:
  A         Agriculture, forestry, fishing and hunting, and mining
  B         Arts, entertainment, recreation, and accommodation and food services
  C         Educational services, health care and social assistance
  D         Professional, scientific, management, administrative, and waste management services
  E         Public administration
  F         Retail trade



 4.9.1.1            LNG Terminal

         In 2015, the total population of the three-county affected area for the LNG Terminal site
 was about 1.3 million, with a population density of 329 persons per square mile. Of the three-
 county area, Hidalgo County has the largest population, including 842,304 residents in 2015 and
 a population density of 493 persons per square mile (U.S. Census Bureau 2010a, 2010b 2015a).
 In comparison, the 2015 population of the State of Texas was about 27.5 million residents.
 Construction of the LNG Terminal would take place over a 7-year period; RG LNG originally
 anticipated beginning construction in 2018; however, the actual start of construction is dependent
 on the issuance of all relevant permits and authorizations.

        Construction workers would be onsite throughout the duration of the construction period,
 with an average monthly construction workforce of 2,950 workers. During a 17-month period
 (spanning Years 4 and 5 of construction), the construction workforce at the LNG Terminal site
 would exceed 5,000 workers, with a maximum workforce of about 5,225. The anticipated
 monthly construction workforce at the LNG Terminal site is depicted in figure 4.9.1-1.


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 Although the estimated years are no longer completely accurate, the shape of the curve
 (reflecting the number of workers) would not change appreciably as the graph moves to the right
 to match the actual years of work.




       Figure 4.9.1-1 Construction Workforce Associated with the LNG Terminal Site

         RG LNG estimates that about 30 percent of the workers would be hired locally, resulting
 in an average of 2,065 non-local workers and a maximum of 3,658 non-local workers. RG LNG
 assumes that about 70 percent of the non-local workers would be accompanied by family
 members. Based on an average family size of 3.5 persons in Texas and a peak non-local
 workforce of 3,658 workers, up to 10,058 non-local persons and family members could relocate
 to the affected area during construction of the LNG Terminal (U.S. Census Bureau 2015b). This
 addition would represent a 0.8 percent increase in the total population within Cameron, Willacy,
 and Hidalgo Counties over the 2015 census data.



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        After construction, RG LNG anticipates that 270 workers would be employed at the LNG
 Terminal site, of which 108 are expected to be non-local hires who would relocate to the Project
 area. The influx of these workers and their families would represent a minor but permanent
 increase in the population in the vicinity of the LNG Terminal site. In addition to the LNG
 Terminal operational staff, RG LNG anticipates hiring about 60 staff to maintain the LNG
 terminal site; the majority of these staff members are anticipated to be local.

 4.9.1.2         Pipeline Facilities

         The pipeline facilities would be constructed in Cameron, Willacy, Kenedy, Kleberg, and
 Jim Wells Counties. Of these, Cameron County had the highest 2010 population density of
 about 456 persons per square mile, while Kenedy County had the lowest, with less than one
 person per square mile. The 2010 population densities for Willacy, Kleberg, and Jim Wells
 Counties were about 37, 36, and 47 persons per square mile, respectively. As shown in table
 4.9.1-1, the population in these counties ranged from 407 to 422,156 people in 2015 (U.S.
 Census Bureau 2015a).

           Header System, Pipeline 1, and the Aboveground Facilities

         RB Pipeline is proposing a multi-stage construction period for the Pipeline System (see
 figure 4.9.1-2). The Header System, Pipeline 1, and the aboveground facilities would be
 constructed during Stages 1 and 2, which would extend for a 12-month period. During this
 construction period, the average monthly workforce would be 1,240 workers, with a peak of
 1,500 workers (see figure 4.9.1-2). The workforce would be concentrated near the compressor
 stations with an average monthly workforce of 160 workers each (including Compressor Station
 3); the remaining workers would be separated into two construction spreads along the Header
 System and Pipeline 1. Spread 1, with an average monthly workforce of 380 workers, would
 extend from MPs HS-2.4 to 65.2. Spread 2, with the same number of workers, would extend
 from MPs 65.2 to 135.5. Workers along each spread would continue to move down the pipeline
 so that active construction at any given location would generally not last longer than a few
 weeks.




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        Figure 4.9.1-2 Construction Workforce Associated with the Pipeline Facilities

          RB Pipeline anticipates that the majority of construction workers for the pipeline
 facilities (90 percent) would be hired from outside the Project area. Therefore, the estimated
 maximum non-local workforce during Stages 1 and 2 would be 810 workers for the construction
 of the Header System and Pipeline 1 (including both spreads) and 540 workers for the
 construction of the three Compressor Stations. This peak addition of 1,350 non-local workers
 would result in a negligible increase in the affected area’s population (0.003 percent).

         RB Pipeline anticipates that 10 staff would be employed along the Pipeline System once
 Pipeline 1 became operational, including 3 to 4 staff at each compressor station. The operational
 staff would periodically visit the pipelines, booster stations, metering sites, and MLV sites to
 maintain the facilities. Assuming that all 10 workers are non-local, this would represent a
 negligible, but permanent, increase in the local population.

        Pipeline 2

         After the completion of Stage 2, there would be a period of no active construction for 8
 months prior to the beginning of Stage 3 (see figure 4.9.1-2). Stages 3 through 6 would involve
 additional compression at each of the three compressor stations, which would require an average
 monthly workforce of 240 workers (peak of 300). However, as work related to Stages 3 through
 6 of the compressor stations would be restricted to the facility footprints established for those


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 facilities during Stages 1 and 2, the majority of active construction would take place along
 Pipeline 2. Construction of Pipeline 2, which would occur as part of Stage 4, would require an
 average workforce of 760 workers (380 per spread) over a 12-month period that would begin
 approximately 18 months after the completion of construction for Pipeline 1.

          The estimated maximum non-local workforce during Stage 3 would be 270 workers to
 add additional compression at the three compressor stations. Stage 4 would require a maximum
 of 810 non-local workers for the construction of Pipeline 2 (including both spreads) plus 270
 workers for work at the three compressor stations, for a maximum non-local workforce of 1,080
 workers during this stage. Finally, Stages 5 and 6 would each require a maximum non-local
 workforce of 270 to complete construction on the three compressor stations. Because the
 construction periods associated with the two pipelines would be separated by 18 months, it is
 unlikely that non-local workers would be accompanied by family members. RB Pipeline
 anticipates that 10 additional staff would be added upon full build-out of the Pipeline System, for
 a total of 20 permanent operational staff. These operational staff would periodically visit the
 pipelines, booster stations, metering sites, and MLVs to maintain the facilities. Assuming that
 the 20 workers employed after full build-out are non-local, this would represent a negligible, but
 permanent, increase in the local population.

 4.9.2 Economy and Employment

         The affected areas of the LNG Terminal and the pipeline facilities are generally
 characterized by lower per capita income and higher unemployment rates compared to the State
 of Texas (see table 4.9.1-1). As further discussed in section 4.9.10, many Project area residents
 live in poverty, with the percentage of people living in poverty ranging from 18.0 percent in Jim
 Wells County to 36.3 percent in Willacy County. The top industries in the affected areas
 include:

        •   educational services, and health care and social assistance;

        •   retail trade;

        •   professional, scientific, management, and administrative and waste management
            services;

        •   arts, entertainment, and recreation, and accommodation and food services;

        •   agriculture, forestry, fishing and hunting, and mining; and

        •   public administration (U.S. Census Bureau 2015c).

        The economic benefits from employment opportunities for local contractors and laborers
 were raised during the scoping period. Construction of the Rio Grande LNG Project would
 stimulate the economy through an estimated $22.4 billion in direct expenditures by RG
 Developers and annual operating direct expenditures of $2.1 billion. Due to the forecasted
 number of jobs that would be created during construction and operation of the Project, RG
 Developers have been coordinating with local training organizations and school districts to



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 provide seminars and career talks to discuss future career opportunities for the Project. In
 addition, RG Developers have included career development guidance on their Project-specific
 website that provides links to various career development organizations. RG Developers
 anticipate hiring a number of unskilled or semi-skilled workers that would be trained on the job
 through the National Center for Construction Education and Research System.

 4.9.2.1          LNG Terminal

         The civilian labor force is defined as the sum of employed persons and those actively
 searching and available for work (U.S. Census Bureau 2010a). During construction of the LNG
 Terminal, about 30 percent of the peak workforce (up to 1,568 workers of the 5,225 total
 workers) is expected to be hired from Cameron, Hidalgo, and Willacy Counties. In 2015, the
 civilian labor force numbered 164,483 in Cameron County, 330,963 in Hidalgo County, and
 6,062 in Willacy County. The average per capita income in Cameron and Hidalgo Counties
 ($15,105 and $14,689, respectively) was below the State of Texas’ average per capita income of
 $26,999, while Willacy County’s average per capita income is higher than the state ($44,413).
 All three counties had a higher unemployment rate than the State of Texas (see table 4.9.1-1).

         Construction of the LNG Terminal would stimulate the economy through an estimated
 $20.2 billion in direct expenditures by RG LNG. Of the 20.2 billion, about $3.2 billion would be
 direct expenditures for materials, a portion of which may be regionally or locally sourced.
 Specific to the LNG Terminal, RG LNG estimates that a percentage of the $1.9 billion
 construction payroll (direct and indirect/support labor) would be spent locally by both local and
 non-local workers for the purchase of housing, food, gasoline, and other goods, services, and
 entertainment in the vicinity of the LNG Terminal site. Typically, construction activities
 increase economic activity within an area in several ways:

           •   a direct effect – hiring of local construction workers and purchases of goods and
               services from local businesses;

           •   an indirect effect – the additional demand for goods and services, such as replacing
               inventory from the firms that sell goods and services directly to a project or to workers
               and their families; and

           •   an induced effect – the spending of disposable income by the construction workers at
               local businesses, which in turn order new inventory from their suppliers.

         The increase in economic activity resulting from direct, indirect, and induced effects of
 the LNG Terminal would result in a positive economic impact on the local economy. RG
 Developers’ economic consultant (The Perryman Group [TPG]), estimated that the production of
 goods and services associated with construction of the LNG Terminal would amount to $31.7
 billion dollars in total economic impact across the United States, $22.1 billion of which would be
 in Texas ($5.6 billion in Cameron County) (TPG 2015).




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         Anticipated operational direct expenditures for the LNG Terminal would be $1.9 billion
 annually. RG Developers anticipate that a 270-person operational staff for the LNG Terminal
 would result in an annual payroll of $24.3 million. The annual direct, indirect, and induced
 expenditures during full operation of the Rio Grande LNG Project (including the LNG Terminal
 and the pipeline facilities) are estimated to result in economic impacts of about $2.3 billion
 across the United States, $2.1 billion of which would be in Texas ($1.4 billion in Cameron
 County) (TPG 2015). We conclude that the expenditures and permanent workforce associated
 with operation of the LNG Terminal would result in positive, permanent impacts on the local
 economy.

 4.9.2.2        Pipeline Facilities

         During construction of the pipeline facilities, RB Pipeline estimated that about 10 percent
 of the workers would be hired from Jim Wells, Kleberg, Kenedy, Willacy, and Cameron
 Counties. In 2015, the civilian labor force in these counties ranged from a low of 185 in Kenedy
 County to a high of 164,483 in Cameron County. Four counties (Jim Wells, Kleberg, Kenedy,
 and Cameron Counties) have lower per capita incomes than the state average of $26,999, while
 Willacy County’s average per capita income is higher than the state average ($44,413). Three
 counties (Kleberg, Willacy, and Cameron Counties) have higher unemployment rates (11.7, 11.5,
 and 10.0 percent, respectively) as compared to the state average of 7.0 percent, while Kenedy
 and Jim Wells Counties have lower unemployment rates (0.0 and 6.6, respectively).

         About $2.2 billion in direct expenditures are anticipated during construction of the
 pipeline facilities. RB Pipeline anticipates that about $800 million would be spent nationally on
 materials, of which $60 million would be spent on local and regional construction materials
 specifically for the pipeline facilities. In addition, a portion of the estimated $809 million in
 labor, including about $165 million in payroll for pipeline facility construction workers, would
 be spent locally by both local and non-local workers for the purchase of housing, food, gasoline,
 and other goods, services, and entertainment in the Project area.

         Of the estimated $69.6 billion in direct, indirect, and induced expenditures associated
 with construction of the full Rio Grande LNG Project, the pipeline facilities are estimated to be
 $7.4 billion dollars in total economic impact across the United States, $4.3 billion of which
 would occur in Texas ($625 million in Cameron County) (TPG 2015). The increase in economic
 activity resulting from construction of the pipeline facilities would result in a temporary, positive
 economic impact in the affected counties.

        Operation of the pipeline facilities is expected to result in $179.7 million in annual
 operational total capital expenditures, a portion of which would be spent in the area of affect for
 the Pipeline System. Based on the average annual salary, about $1.3 million in annual
 operational payroll would be allocated to the 20 new operational staff. These expenditures
 would result in a minor, but positive permanent impact on the local economy.




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 4.9.3 Tourism and Recreational Fishing

 4.9.3.1        Tourism

         In an area characterized by high poverty rates and unemployment, tourism is an important
 source of employment and income for the local communities. Tourism was identified as a
 significant resource of concern in scoping comments, along with recreation-based commerce in
 the Project vicinity. Major tourist draws in the Rio Grande Valley (Cameron, Willacy, Hidalgo,
 and Starr Counties) include, but are not limited to, South Padre Island beaches, boating,
 recreational fishing, wildlife viewing (particularly bird-watching), the Palo Alto Battlefield, and
 the Port Isabel Lighthouse (Rio Grande Valley Texas 2016). In 2014, visitors spent an estimated
 $2.2 billion in the Rio Grande Valley, with Cameron County ranking 11th out of the 254 Texas
 counties for visitor spending (Dean Runyan Associates 2015). That same year, the travel
 industry supported 24,790 jobs in the Rio Grande Valley (Dean Runyan Associates 2015).

          Out of 26 metropolitan statistical areas (MSAs) in Texas, the Brownsville-Harlingen
 MSA (which includes Cameron County) ranks seventh in the number of days tourists spent
 visiting (D.K. Shifflet & Associated, Ltd. 2015). In 2014, nature-oriented activities were the
 most popular tourist pastime, with 56.0 percent of visitors taking part in beach and waterfront
 activities; visiting state, local, and national parks; or wildlife viewing. About 23.6 percent of
 tourist trips included participation in outdoor sports, including fishing, biking, boating, and
 sailing (D.K. Shifflet & Associated, Ltd. 2015). In 2011, the direct, indirect, and induced
 impacts of nature-oriented tourism in the Rio Grande Valley spurred $463 million in revenues
 and supported about 6,613 jobs (Texas A&M University 2012).

         The Rio Grande Valley is cited as one of the top destinations for bird watching in the
 country (Mathis and Matisoff 2004, Glusac 2010, Thomas 2016). Located along the Central
 Flyway, the region is a major bird migration corridor for an estimated 500 bird species (see
 section 4.6.1). Birding destinations in the region include designated birding centers, NWRs, and
 local roads and landmarks. The Rio Grande Valley is home to the World Birding Center, a
 network of nine birding sites along a 120-mile-long corridor following the Rio Grande from the
 city of Roma to South Padre Island (see figure 4.9.3-1). Created through a partnership among
 the TPWD, FWS, and local communities, the goal of the World Birding Center is to protect
 native habitat while strengthening eco-tourism in the Rio Grande Valley (The World Birding
 Center 2016). Of the nine World Birding Center sites, the South Padre Island Nature and
 Birding Center is the closest to the LNG Terminal site, located about 7.8 miles away.

          Additional birding sites in the Rio Grande Valley are part of the Great Texas Coastal
 Birding Trail, a state-designated system of 43 hiking and driving trails that includes 308 birding
 sites along the Texas Gulf Coast. The trail system is managed by the TPWD as part of the Great
 Texas Wildlife Trails and includes dozens of birding sites in the Rio Grande Valley. Birding site
 039 is directly across from the proposed LNG Terminal site’s western end, on the southern shore
 of Bahia Grande (see figure 4.9.3-1). The next closest designated birding sites include the Lower
 Texas Coast Site 032 in Laguna Vista, Site 033 in Port Isabel, and Site 043 at Boca Chica Beach,
 all more than 4 miles away. Additional detail on the Great Texas Coastal Birding Trail is
 provided in section 4.8.1.



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                             BIRDING SITES
1   South Padre Island Birding & Nature Center
                                                                                                                                               MP 70.0
2   Resaca de la Palma State Park




                                                                                                                                                                                                                                                       USCA Case #23-1174
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                                                                                                                                               4                                    MP 80.0
3   Harlingen Arroyo Colorado                                                                                                                                                       '
                                                                                                                                                                                    4
4   Estero Llano Grande State Park
5   Edinburg Scenic Wetlands
7   Old Hidalgo Pumphouse Nature Park
6   Quinta Mazatlan
8   Bentsen-Rio Grande Valley State Park (Headquarters)
                                                                                                                                                                                            MP 90.0
9   Roma Bluffs                                                                                                                                                                             '
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<----------Site 9 in Starr County
           (35 miles to the west)
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                                                        6        Alamo Inn
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                                                                     4                 Frontera
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                                                                                              Legend
                          Christi

                                                            '
                                                            4   Cameron County Birding Site            Boca Chica Beach

                                                            '
                                                            4   Hidalgo County Birding Site            Las Palomas Wildlife                                                                                       Rio Grande LNG Project
                TX                                                                                     Management Area
                                                            '
                                                            4   Other Location of Interest
                                                                                                       El Jardin and San Perlita
                                                                Nearest birding site to Terminal:      Conservation Area                     0                     5                 10
                                                                Lower Texas Coast site 039, Great
                                                                TX Coastal Birding Trail               Proposed Rio Bravo                                                                              Local Tourism Sites in the Vicinity of the
                                                                                                       Pipeline
                                                                Laguna Atascosa National                                                                      Miles                                     Proposed Rio Grande LNG Terminal
                                    Brownsville                 Wildlife Refuge                        Proposed LNG Terminal
                                                                                                       Boundary (Facility Footprint)
                                                  Gulf of       Lower Rio Grande Valley National
                                                                                                                                                   Scale: 1:575,000
       Mexico                                     Mexico
                                                                Wildlife Refuge
                                                                Santa Ana National
                                                                Wildlife Refuge
                                                                                                                                       Service Layer Credits: Sources: Esri, HERE, Garmin, USGS,
                                                                                                                                       Intermap, INCREMENT P, NRCan, Esri Japan, METI, Esri
                                                                                                                                       China (Hong Kong), Esri Korea, Esri (Thailand), NGCC, ©
                                                                                                                                                                                                                        Figure 4.9.3-1
                                                                                                                                       OpenStreetMap contributors, and the GIS User Community
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        LNG Terminal

          Construction of the LNG Terminal could impact local tourism through an increase in
 noise, changes in the visual landscape, and heavier traffic along SH-48. Operations would also
 result in increased noise and visual effects; however, the addition of 270 permanent jobs would
 not significantly impact local traffic. To determine the noise and visual impacts on local
 recreational activities, RG Developers conducted noise and visual assessments in the vicinity of
 the LNG Terminal site; results of those studies are discussed in detail in sections 4.11.2 and
 4.8.2, respectively, and summaries of those impacts on local tourist activities are provided below.
 Noise and visual impacts on beachgoers, bird-watchers, tour operators, and other visitors are
 expected to occur only in the immediate vicinity of the LNG Terminal site. Sound from pile-
 driving would be louder than typical construction noise and would be most prominent for tourist
 sites near the LNG Terminal site. Based upon RG LNG’s anticipated construction schedule,
 land-based pile-driving for the first stage of construction (including LNG Train 1 and related
 offsite facilities) would require between 114 and 165 days; each subsequent stage of construction
 would require less time. In addition, pile-driving operations at the MOF would take place over a
 period of 3 months. Land- or water-based pile-driving at the Berth 1 jetty would occur over a 5-
 month period, and the timeframe for construction of the Berth 2 jetty would be similar. As such,
 impacts from pile-driving would be temporary and limited to the period of construction (see
 section 4.11.2).

          During ideal visibility conditions, it would be possible to see the LNG Terminal from the
 top of the Port Isabel Lighthouse, which is about 4.0 miles away; however, these impacts would
 be negligible to minor (see section 4.8.2). Similarly, no visual impacts on South Padre Island
 beaches and associated tourism would occur, given that the beaches face the ocean and are 5
 miles away. Charter boat trips and tours (such as dolphin watching cruises) launching from the
 bayside of South Padre Island would largely be unaffected by construction because the Laguna
 Madre or the Gulf of Mexico is the destination of most trips. Alternatively, some charter boat
 tours are designed expressly for the purpose of viewing maritime industries along the BSC.
 Visitors on these tours would see and hear LNG Terminal construction activities. The
 availability of lodging accommodations on the island are not expected to be impacted by the
 LNG Terminal construction workforce (see section 4.9.6). Charter trips or tours launching from
 Port Isabel could experience delays at Brazos Santiago Pass if they arrive during LNG carrier
 transit; however, RG LNG estimates that an LNG carrier’s transit time through the pass would
 only be about 30 minutes. Impacts on marine transportation are further discussed in section
 4.9.8.2.

         Tourists may experience temporary traffic delays along SH-48 at peak commute times
 during the 7-year construction period of the LNG Terminal. RG LNG would implement
 mitigation measures during the construction period to minimize these impacts (see section 4.9.8);
 however, tourists may choose to go to other quieter, more scenic sites away from the LNG
 Terminal site, so that visitation patterns may change, but the number of visits to the Project area
 would likely not.

          Construction of the LNG Terminal would not be expected to affect the majority of
 designated birding and wildlife watching locations in the area. The closest World Birding Center
 site to the LNG Terminal site is the South Padre Island Birding and Nature Center, which is


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 about 7.8 miles away. The only designated birding site within 4 miles of the LNG Terminal site
 is the Lower Texas Coast Site 039 of the Great Texas Coastal Birding Trail, located immediately
 across from the LNG Terminal site (see figure 4.9.3-1). Sounds from construction and operation
 of the LNG Terminal would be audible at this birding site, so that some bird-watchers would
 likely bypass this site in favor of birding sites farther from the LNG Terminal site. Given the
 multitude of other birding sites and trails available elsewhere in the Rio Grande Valley, neither
 construction nor operation would be expected to impact the birding tourism industry in Cameron
 County.

        Aside from Lower Texas Coast Site 039 in the Bahia Grande portion of the Laguna
 Atascosa NWR, most nature tourism facilities at this NWR are about 9 miles north of the LNG
 Terminal site and would not be impacted by construction. Boca Chica Beach is a visitor-oriented
 NWR site located about 5.5 miles southeast of the LNG Terminal site; construction noise is not
 expected to be perceivable at this distance. Additionally, the viewshed of visitors to this beach
 would not be impacted because dunes line the landward side of the beach, blocking views of the
 LNG Terminal site.

         The portion of South Bay closest to the LNG Terminal site would be exposed to noise
 from LNG Terminal construction, including pile-driving, that would be louder than ambient
 sound levels. As described in table 4.7.1.3, the composite construction sound level at designated
 piping plover critical habitat near the LNG Terminal site would be a maximum of 61.1 decibels,
 which is perceived as moderate. The distance from the LNG Terminal site to South Bay is
 similar, and that area would likely be exposed to a similar level of construction noise. Nature
 tourism at the southern extent of the Bahia Grande would be similarly exposed to construction
 noise that is louder than the background traffic on SH-48, given its distance from pile-driving at
 the MOF (about 2,500 feet).

         Sound from operation of the LNG Terminal would be perceptible at the Zapata boat
 launch, within the Bahia Grande, and at Lower Texas Coast Site 039 (see section 4.11.2-3).
 Operations would run 24 hours a day, 7 days a week. Additional information regarding impacts
 on tourists engaging in recreational fishing in the Project area are discussed in section 4.9.3.2,
 below.

          Representatives from the Laguna Atascosa NWR provided comments on the draft EIS,
 including details on the NWR’s plans to create a 1-acre public parking lot, information kiosk,
 and contact station at its Red Gate Entrance off of SH-48. This entrance is located just across the
 highway from the mid-point of the LNG Terminal site. These facilities would be the access
 point to a new west-flowing hiking trail ending at an observation deck along the Bahia Grande,
 and a new hiking/biking trail going north (away from the LNG Terminal site) that leads to
 multiple recreational facilities. SH-48 and the LNG Terminal would be partially screened from
 hikers on the westbound trail due to the natural dunes and scrubby vegetation present; however,
 once at the observation deck, viewers looking south would likely see the LNG Terminal, and
 specifically Compressor Station 3, which would be about 1,600 feet away (these visual impacts
 would be similar to those discussed in section 4.8.2.1, for the Bahia Grande Channel KOP). The
 first recreational facility along the northbound hiking/biking trail would include a rest area about
 3,900 feet north of the LNG facility boundary. Impacts from construction and operation of the
 LNG Terminal on users accessing the NWR at this location would generally be similar to those


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 discussed above but are dependent upon the timing of completion of the new facilities.
 Additional discussion of this planned access to the Laguna Atascosa NWR can be found in
 section 4.13.

        Pipeline Facilities

         Recreational areas that draw nature-oriented tourists would be crossed by the pipeline,
 including four Great Texas Coastal Birding Trails, a National Historic Landmark (King Ranch),
 the Zapata boat launch, and BND land subject to a wildlife crossing conservation easement. As
 discussed in 4.8.1.4, the Lower Rio Grande Valley and Laguna Atascosa NWRs would be less
 than 0.25 mile from the Pipeline System.

         Although pipeline construction would not prohibit visitors from using recreational areas,
 sights and sounds of pipeline construction activities may be a nuisance to visiting tourists, and
 could generally interfere with or diminish the quality of their experience by affecting wildlife
 movement. See section 4.9.8 for a discussion of potential traffic impacts for these recreational
 areas. Given the number of tourism opportunities in the Project area, tourists may go to other
 sites within the Project area, so that visitation patterns may change, but the number of visits to
 the Project area would likely not.

         Following construction, RB Pipeline would restore land crossed by the Pipeline System
 to pre-construction conditions; however, as the construction of Pipeline 2 would occur about 18
 months after the installation of Pipeline 1, previously vegetated areas may not fully recover
 between construction stages. Lands where aboveground facilities are constructed would be
 permanently converted to industrial/commercial use. In general, impacts of construction of the
 Pipeline System on nature-oriented tourism sites would be temporary and limited to the period of
 active construction, which typically would last several days to several weeks in any one area.
 Operational impacts, including the permanent conversion of aboveground facility sites to
 industrial/commercial land, would result in negligible impacts on tourism based on their
 placement outside of main tourism areas.

         We received comments raising concern for the Project’s impact on jobs and businesses
 supported by the tourism industry. We recognize the Project’s impacts on tourism above,
 including an increase in noise, changes in the visual landscape, and heavier traffic along SH-48.
 Further, impacts on recreation and special use areas, including birding trails, that are in
 proximity to the Project are addressed in section 4.8.1.5, and impacts on visual receptors at these
 areas are addressed in section 4.8.2. Overall, we find that impacts on tourism, including nature-
 based and eco-tourism, would generally be greatest during construction of the Project.
 Following construction, the LNG Terminal would be the primary source of permanent impacts
 on tourism as the pipelines would be buried and the associated aboveground facilities would be
 located in remote areas, offering limited visibility and mitigating noise impacts. To mitigate
 impacts on visual receptors and operational noise from the LNG Terminal, RG LNG would use
 ground flares, the selection of grey tank coloring, horticultural plantings, and the construction of
 a levee that would obstruct most construction activities and low-to-ground operational facilities
 from view. Further, as indicated in sections 4.5 and 4.6, overall impacts on general vegetation,
 wildlife, and birds from the Project would not be significant. In conclusion, as impacts on the
 general populations of birds and wildlife have been mitigated and with our finding that visitation


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 patterns may change overall, but the number of visits to the Project area would likely not, we
 find that employment in the tourism industry is not likely to be significantly affected.

 4.9.3.2        Recreational Fishing

         In the Project area, recreational fishing is most common in the coastal bays of Cameron
 and Willacy Counties, which form the southernmost extent of the Lower Laguna Madre Bay
 System. Recreational fishing was identified as a resource of concern in scoping comments.
 Waterbodies in the vicinity of the Project area are further described in section 4.3. During the
 2013/2014 fishing season, residents and visitors spent an estimated 461,700 hours on private
 fishing trips and another 41,100 hours on guided fishing trips in these bays (TPWD 2015a).
 About 79 percent of recreational boat fishing within the entire Lower Laguna Madre Bay System
 takes place in the Lower Laguna Madre Bay. Less than 1 percent of recreational boat fishing is
 within Brazos Santiago Pass and the BSC. The Project would not cross significant recreational
 fisheries in Jim Wells, Kleberg, or Kenedy Counties.

         Speckled seatrout, redfish, southern flounder, and sheepshead are the most commonly
 caught recreational species in the local bays (TPWD 2015a). Additionally, a small number of
 anglers and fishing guides fish for snook specifically within the BSC, where the species is known
 to school (Ferguson 2015). Offshore fishing in south Texas targets red snapper, king mackerel,
 Spanish mackerel, gray triggerfish, tuna, and billfish, but comprises only about 5.0 percent of
 fishing effort compared to that spent in the bays (TPWD 2015a).

         In addition to boat fishing, recreational shore-based fishing occurs in the Project area.
 About 70 percent of shore-based fishing in the Lower Laguna Madre Bay System occurs along
 the Brazos Santiago Pass jetties; shore-based fishing also occurs along the BSC, and along the
 southern end of Bahia Grande. Shore-based anglers also fish along the banks of the 0.4-mile-
 long Bahia Grande Channel, although the land on both sides is owned by the BND and is not
 officially designated for fishing.

           LNG Terminal

         Construction and operation of the LNG Terminal could affect recreational fishing
 through restrictions in fishing access, an increase in noise, and changes in vessel traffic.
 Construction activities at the LNG Terminal site would not restrict fishing access to bays in the
 Project area or the Gulf of Mexico. Fishing along the eastern bank of the Bahia Grande Channel
 on the LNG Terminal site would be prohibited. To compensate for this loss, RG Developers, in
 coordination with relevant agencies, are exploring the potential to provide a parking and fishing
 area on the western bank of the Bahia Grande Channel.

         As discussed in section 4.9.3.1, noise impacts from construction are expected in the
 immediate vicinity of the LNG Terminal site, potentially resulting in avoidance of the area by
 recreational fishermen. Construction noise would likely be audible at local fishing sites
 including the Bahia Grande Channel, portions of the Bahia Grande and South Bay, and the
 Zapata boat launch during the 7-year construction period. Construction activities would occur
 predominantly during the day, between 7:00 a.m. and 7:00 p.m., Monday through Friday.
 However, dredging may take place up to 24 hours per day, 7 days per week.



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         The Lower Laguna Madre, the most popular waterbody in the region for recreational
 fishing, is about 4.3 miles from the center of the LNG Terminal site, and typical construction
 noise is not expected to result in an audible increase in ambient sound at that distance. For
 additional information about noise impacts expected from Project construction and operation, see
 section 4.11.2. In addition to increased noise, barge deliveries would increase traffic in the BSC
 during the construction period; however, with the exception of excluding recreational fishing
 boats from the construction areas, boating activities, and vessel avoidance behaviors would not
 be significantly modified.

         Operational noise could also result in anglers avoiding local fishing areas. RG
 Developers estimate that during typical operations, noise would only be audible at the south
 shore of the Bahia Grande and at the Zapata boat launch during lulls in SH-48 traffic. As boat-
 launching activities are short-term, it is unlikely that patterns of usage for the launch itself would
 change based on the presence of the LNG Terminal; however, a perceived increase in ambient
 noise and visual impacts could result in a change in usage of the fishing pier by recreational
 anglers. Given the amount of recreational fishing opportunities in the Project area, anglers may
 visit other nearby sites, so that visitation patterns immediately adjacent to the LNG Terminal site
 may change, but the number of visits to the general Project area for recreational fishing would
 not.

         During operation, up to 312 LNG carriers would call on the LNG Terminal per year, or
 about 6 per week. Due to potential safety/security zone exclusions, vessels would likely not be
 permitted to pass an LNG carrier transiting the BSC or maneuvering in the turning basin;
 however, the exact navigation protocol would be determined by the Coast Guard. Recreational
 fishing boats that begin trips from Port Isabel or South Padre Island could experience delays at
 Brazos Santiago Pass if they arrive during LNG carrier transit; however, RG LNG estimates that
 an LNG carrier’s transit time through the pass would be about 30 minutes. The maximum
 estimated delay for fishing vessels in the BSC during inbound LNG carrier transits would be
 about 3 hours. The planned transit times of LNG carriers would be communicated to the Coast
 Guard and Port of Brownsville Harbor Master, to allow for the issuance of advisories to
 mariners. Impacts on marine transportation are further discussed in section 4.9.8.2, below.
 Overall, the Project would result in direct, minor impacts on recreational fishing resulting from
 delays during LNG carrier transit.

        Pipeline Facilities

         Sights and sounds of Pipeline System construction activities may be a nuisance to people
 fishing in the Project vicinity, including at the Zapata boat launch, but pipeline construction
 would not prohibit visitors from using these areas. In general, impacts of construction of the
 Pipeline System on recreational fishing would be temporary and limited to the period of active
 construction, which typically would last several days to several weeks in any one area, with the
 exception of the Zapata boat launch, which would be crossed by an HDD that could last up to 10
 weeks. The Zapata boat launch would be about 1,500 feet from the HDD exit point and over
 3,000 feet from the HDD entry point; at these distances, the sound level from HDD construction
 would be perceived as moderate to quiet. Recreational fishing is not known to occur in the
 inland rivers and streams that would be crossed by the pipeline facilities.



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 4.9.4 Commercial Industries

 4.9.4.1        Commercial Fishing

          In 2014, the Port of Brownsville and Port Isabel together ranked as the second largest
 fishing port by value along the Gulf of Mexico (National Ocean Economics Program 2016).
 Shrimp, for food or bait, are the top commercial species in the region, most of which are caught
 offshore (Fisher 2015). About 12.1 million pounds of commercial fish were landed at the two
 ports in 2014, valued at $69.1 million (National Ocean Economics Program 2016b). A majority
 of this commercial fishery is based on offshore shrimping and fishing; however, some
 commercial fishing occurs in the Lower Laguna Madre System.

         Commercial fishing in the Lower Laguna Madre and nearby bays is dominated by bait
 fisheries (including shrimp) and black drum. In addition, trawlers harvest bait shrimp from the
 BSC (Fisher 2016). The live weight and landed value of commercial fish caught in the Lower
 Laguna Madre off the coasts of Cameron and Willacy Counties in 2013 was 724,345 pounds and
 $1.2 million, respectively (TPWD 2015b). None of the reported fishery catch were oysters;
 commercial oyster landings have not been documented in the Lower Laguna Madre since 1992
 (Gulf States Marine Fisheries Commission 2012). South Bay supports an oyster population, but
 does not currently support a commercial fishery (Bozka 2003, Fisher 2016). The Project would
 not cross commercial fisheries in Jim Wells, Kleberg, or Kenedy Counties.

         The Port of Brownsville Fishing Harbor, about 4.8 miles west of the LNG Terminal site,
 houses up to 500 fishing vessels (Port of Brownsville 2016a). The total shrimp fleet was about
 350 vessels in the 1990s, but decreased to 160 by the late 2000s due, in part, to competition from
 imported shrimp (Nelsen 2008). A smaller number of bay shrimping vessels (about 50) dock in
 the Port Isabel region (Bearden 2015).

           LNG Terminal

         Public scoping comments expressed concern for impacts on commercial fisheries from
 construction and operation of the LNG Terminal. During construction, barge deliveries would
 increase traffic in the BSC. Fishing boats would avoid cargo ships and barges making deliveries
 to the LNG Terminal during construction in a manner similar to the way they currently maneuver
 around commercial deep-draft ships and barge traffic into and out of the Port. Dredging would
 occur within the boundaries of the BSC, which would temporarily reduce the area of the BSC
 available for vessel transit, but would not preclude vessel transit due to the width of the
 navigable waterway. Impacts on marine transportation due to dredging are addressed in section
 4.9.8 and, because dredging would be limited to Stage 1 of construction, impacts would be
 temporary and minor. Therefore, vessel operators would have the ability to safely navigate and
 avoid construction activities. Use of dredging vessels, tugs, and barges would be coordinated
 with the BND, Coast Guard, and the Pilots Association. Marine traffic is further discussed in
 section 4.9.8.2.

         During operation, up to 312 LNG carriers would call on the LNG Terminal per year, or
 about 6 per week. Due to potential safety/security zone exclusions, shrimping and other fishing
 vessels would likely not be permitted to pass an LNG carrier transiting the BSC or maneuvering



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 in the turning basin; however, the exact navigation protocol would be determined by the Coast
 Guard. The estimated delay for fishing vessels during inbound LNG carrier transits would be
 about 3 hours. Fishing vessels could follow behind outbound LNG carriers, as long as they
 traveled at an approved distance from the LNG carrier. The Project would result in direct, minor
 impacts on commercial fishery vessel operators resulting from delays during LNG carrier transit.
 Further, as described in sections 4.6.2 and 4.6.3, impacts on aquatic resources would be minor
 and, with implementation of required mitigation, impacts on EFH and the species and life stages
 that utilize EFH would be permanent, but minor. Therefore, the Project is not expected to impact
 the yield of commercial fisheries in the Project area.

           Pipeline Facilities

        Fish are not harvested commercially in the inland rivers and streams crossed by the RB
 Pipeline. No impacts on commercial fisheries are anticipated as a result of construction or
 operation of the pipeline facilities.

 4.9.4.2          Ports

         There are two active ports located along the BSC: the Port of Brownsville, about 8 miles
 west of the LNG Terminal site, and Port Isabel, which is 4 miles east of the terminal site on the
 Texas coast. The Port of Brownsville, which is managed by the BND along with the land
 adjacent to the BSC itself, serves as the primary marina for Gulf shrimping vessels that operate
 out of Cameron County. The port is one of the largest steel importers on the Gulf Coast and it
 supports industries related to marine cargo transport and ship and oil rig repair (BND 2013, Port
 of Brownsville 2013). The Port of Brownsville is one of about 256 U.S. foreign-trade zones,
 areas that benefit manufacturers and distributers by the legal ability to defer import duties on raw
 goods and materials and pay reduced duties on finished products (Foreign-Trade Zones Board
 2013). In 2015, the Port of Brownsville handled about 9.1 million metric tons of cargo, the
 highest tonnage that had passed through the Port in 10 years (Port of Brownsville 2016).

         Port Isabel’s primary maritime function is to serve as a dock site for out-of-service
 industrial vessels until they are put back into commission, and it therefore generates far less
 vessel traffic when compared to Port of Brownsville-generated traffic (Bearden 2015). During
 2014, Port Isabel handled about 13,000 tons of cargo (Bearden 2015).

           LNG Terminal

         Construction and operation of the LNG Terminal would generate increased economic
 activity within the Port of Brownsville and support maritime workers and businesses co-located
 in the BND. The BND would receive direct payments and other financial benefits from RG
 LNG, such as lease payments and dockage and wharf fees. A portion of capital expenditures
 would be paid to local maritime suppliers and service-oriented businesses that regularly do
 business with BND industries and are equipped to serve the needs of LNG Terminal construction
 and operation. For example, LNG Terminal operations would benefit tug suppliers due to its
 investment in tugboat services for escorting LNG carriers transiting the BSC.

       Procedures developed as part of the WSA process would ensure that traffic along the
 BSC remains safe and efficient for all users when LNG Terminal operations begin (see section


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 4.9.8.1). On January 19, 2018, the Coast Guard’s LOR was filed in the Project docket indicating
 that the BSC is suitable for Project use. RG LNG would also work with stakeholders, such as the
 pilots, the BND, and the Coast Guard, to ensure that clear guidance on shipping through the BSC
 is established and communicated.

        Pipeline Facilities

         A portion of the pipeline between MPs 131.6 and 135.5 would be constructed within
 existing right-of-way adjacent to SH-48. Potential impacts on port facilities from construction of
 the pipeline in this area would be limited to congestion on SH-48 and other roads in the vicinity
 of the ports (see section 4.9.8.1).

 4.9.5 Local Taxes and Government Revenue

         Public comments also express concern over loss of tax revenue from tax abatement
 opportunities afforded by Cameron County to LNG companies. RG Developers anticipate
 spending about $4.0 billion on construction materials across the nation, a portion of which would
 be spent in Cameron County and other Texas locations, resulting in the generation of local, state,
 and federal sales tax revenues. Local, state, and federal governments would also tax the $2.1
 billion in workforce payroll associated with Project construction. Expenditures on goods and
 services by the construction workers and their families would also generate increased tax
 revenues through indirect and induced effects. Of the $4.0 billion spent nationwide on
 construction materials for the full Project, an estimated $60 million would be spent on local and
 regional construction materials and fuel during construction of the pipeline facilities. Due to this
 spending, a total of $4.6 million in sales tax revenues would be generated for the State of Texas
 and local taxing authorities. Tax revenues during construction would be a moderate, temporary,
 and positive impact on tax revenue within the Project area.

          In 2018, property taxes were assessed at about 1.76 percent of the property value (Tax-
 Rates.org). Per Texas state tax code chapter 312, a portion or all of the increase in property
 value may be abated per the terms of a specific agreement between a taxpayer and the taxing unit
 (Comptroller.Texas.Gov 2018). During operation, RG LNG estimates that the LNG Terminal
 would generate about $92.9 million in property taxes in the affected counties over the first 22
 years of operation. The estimated tax benefits assume the Project would receive tax abatements
 comparable to those recently granted for other LNG and major refining and petrochemical
 facilities along the Texas Gulf Coast.

        To offset a portion of the forgone taxes associated with the abatement, RG LNG has
 committed to annual payments of $2.7 million during the first ten years of operation and will
 donate $10 million to aid in the funding of community projects (LNG World News 2017).
 Operation of the LNG Terminal would also result in minor, long-term increases in sales tax
 revenue from expenditures on materials, goods, and services. RB Pipeline estimates that tax
 revenues (general property, sales/use, and other miscellaneous taxes) in the counties crossed by
 the Pipeline System would range from $5.2 to $117.0 million.




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 4.9.6 Housing

         The number of housing units (permanent and temporary) varies across the affected areas,
 largely based on county population and the presence or absence of a major city. Table 4.9.6-1
 provides data on the rental and other temporary living options in the affected areas. Based on the
 2015 American Community Survey, Hidalgo County has the greatest number of available
 housing units (34,105), and also has the greatest number of residents (842,304) within the
 affected areas (U.S. Census Bureau 2015a, 2015d). In contrast, Kenedy County has both the
 lowest population (407) and number of available housing units (102) within the affected areas.
 The median rental housing cost per month for the six Project-area counties ranges from about
 $498 in Willacy County to about $745 in Kleberg County (U.S. Census Bureau 2015d).

                                          Table 4.9.6-1
      Available Housing for Non-Local Construction Workers during Construction of the Project
                                                                                                Average           Peak
                                                             Estimated
                          Vacant          Estimated                             Total          Workforce       Workforce
                                                           Vacant RV and
        County            Housing        Vacant Hotel /                        Available       Demand of       Demand of
                                                            Mobile Home
                           Unitsa        Motel Roomsb                           Units           Available       Available
                                                             Park Sitesc
                                                                                                Units (%)       Units (%)
  Camerond                 24,097             1,339              4,990           30,426             --               --
  Hidalgo                  34,105             2,524              6,506           43,135             --               --
  Willacy                   1,549              108                185             1,842             --               --
                                                     e                  e
  Kenedy                     102              256                 118              476              --               --
  Kleberg                   2,089              223                412             2,724             --               --
  Jim Wells                 2,377              190                177             2,744             --               --
  LNG Terminal
                              --                --                 --            75,403            2.7              4.9
  Affected Areaf
  Pipeline Facilities
                              --                --                 --            38,212            2.8              3.5
  Affected Areag
  Sources: U.S. Census Bureau 2015d, Office of the Governor 2014, and University of Texas-Pan American 2014.
  a
           Includes single- and multi-family units and mobile homes.
  b
           Estimated from the hotel/motel rooms and vacancy rates for each geographic area per the Office of the Governor
           (2014).
  c
           Assumes that each RV/Mobile Home park has 193 sites. Also assumes that the vacancy rates are 31.4 percent in
           Cameron and Willacy Counties (to account for winter Texans) and 50 percent for the remaining counties.
  d
           Excludes vacancies on South Padre Island, which is a resort destination.
  e
           Total includes accommodations in Encino and Falfurrias cities in neighboring Brooks County, about 20 miles from
           the pipeline route.
  f
           Includes accommodations shown in this table for Willacy, Hidalgo, and Cameron Counties.
  g
           Includes accommodations shown in this table for Jim Wells, Kleberg, Kenedy, Willacy, and Cameron Counties.



        Public scoping comments expressed concern regarding impacts on the availability of
 housing for communities in the Project area during the construction phases. Several factors
 impact the feasibility of housing options for the Project construction workforce, including
 proximity to the work sites and seasonal fluctuations in availability. For example, a seasonal
 population of retired visitors migrate to the Rio Grande Valley each winter for an average of 4.4
 months (University of Texas-Pan American 2014). A study conducted by the University of
 Texas-Pan American estimated that these “Winter Texans” occupy about 68.6 percent of


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 recreational vehicle (RV) and mobile home parks in the Rio Grande Valley from November
 through February. Based on a Winter Texan occupancy rate of 68.6 percent, the number of
 available RV and mobile home sites would be reduced considerably during the winter months.
 Additionally, lodging accommodations on South Padre Island are not expected to be used by the
 LNG Terminal construction workforce because they are resort destinations with higher rental
 rates. Table 4.9.6-1 estimates available housing for non-local Project construction workers based
 on these criteria.

 4.9.6.1        LNG Terminal

         As stated previously, local residents would make up about 30 percent of the workers
 hired for construction of the LNG Terminal. An average workforce of 2,065 non-local residents
 would be expected to move to the affected area, with a peak of 3,658 workers. Within the
 affected area, a total of 75,403 housing units would be available for rent to the workforce,
 including hotel and motel rooms, vacant housing units, and RV sites. Based on this availability,
 the average non-local workforce and their family members would occupy about 2.7 percent of
 the currently available housing, up to a peak of 4.9 percent, indicating there would be sufficient
 lodging units to accommodate the non-resident workers and their family members.

        Operation of the LNG Terminal would result in about 108 non-local workers and their
 families relocating to the affected area. Because an adequate number of housing units are
 available in the affected area, we anticipate that this would have a negligible but permanent
 impact on the local housing market.

 4.9.6.2        Pipeline Facilities

          Local residents would make up about 10 percent of the workers hired for construction of
 the pipeline facilities. Therefore, during the first 12 months of construction, an estimated peak of
 1,350 workers would temporarily move into the affected area for construction of the pipeline
 facilities. Following construction of the Header System, Pipeline 1, and the aboveground
 facilities, there would be an 8-month period of little to no construction activity along the pipeline
 facilities where the non-local workers may choose to return to their homes. Upon reinitiating
 construction for Stages 3 through 6, a maximum of 1,080 workers would migrate into, or back
 into, the affected counties (see section 4.9.1.2).

         Within the affected area, a total of 38,212 housing units would be available for rent to the
 workforce, including hotel and motel rooms, vacant housing units, and RV sites. Based on this
 availability, the average and peak non-local workforce would occupy about 2.8 and 3.5 percent
 of the currently available housing, indicating sufficient lodging units would be available to
 accommodate the non-resident workers, resulting in minor and temporary impacts on the
 availability of housing units. Following construction, RB Pipeline anticipates a permanent
 workforce of up to 20 workers for daily operations of the pipeline facilities. This would
 represent a permanent but negligible impact on the local housing market.




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 4.9.7 Public Services

        Public scoping comments highlighted the need to assess Project impacts on public
 services. Table 4.9.7-1 provides an overview of public services available in the Project area,
 including public schools, police departments and sheriff’s offices, fire departments, and
 hospitals.

                                                   Table 4.9.7-1
                                       Public Services in the Affected Areas
                                           Police Departments         Fire
       County            Public Schoolsa                                             Hospitalsb       Hospital Beds
                                           and Sheriff’s Offices   Departments
  Cameron                     156                   11                 13                 8                1,314
  Hidalgo                     336                   18                 20                 17               2,423
  Willacy                      14                   2                   7                 0                  0
  Kenedy                       1                    1                   4                 1                  0
  Kleberg                      15                   2                   2                 1                 96
  Jim Wells                    21                   3                   6                 0                135
  LNG Terminal
                              506                   31                 40                 25               3,737
  Affected Areac
  Pipeline Facilities
                              207                   19                 32                 10               1,545
  Affected Aread
  Sources: Texas Education Agency 2014, USA Cops 2015, Texas A&M Forest Service 2015, Texas Department of State Health
           Services 2015.
  a
           Includes public charter schools.
  b
           Only includes hospitals licensed with the Texas Department of State Health Services.
  c
           Includes accommodations shown in this table for Willacy, Hidalgo, and Cameron Counties.
  d
           Includes accommodations shown in this table for Jim Wells, Kleberg, Kenedy, Willacy, and Cameron Counties.



 4.9.7.1                LNG Terminal

         To understand potential impacts on schools, assumptions have been made based on
 anticipated workforce. RG LNG estimates that the maximum number of non-local hires during
 peak construction of the LNG Terminal is expected to be 3,658 workers. As discussed in section
 4.9.1.1, should 70 percent of the non-local workers be accompanied by family members, and
 based on an average family size of 3.5 persons in Texas, up to 10,058 non-local persons could
 relocate to the affected area during the 7-year construction period. This would represent an
 increase of 0.8 percent in the population of the three-county affected area for the LNG Terminal.

         Based on the average family size of 3.5 persons in Texas, we conservatively assumed that
 each of the 2,561 non-local families would bring two school-aged children to the LNG Terminal
 area of effect. RG LNG estimates the number of students at schools in the area of affect to be
 330,102 students; the addition of up to 5,121 children during peak construction would increase
 the current student enrollment by 1.6 percent and change the student-to-teacher ratio from 15.7 to
 15.9 students per teacher. If the peak non-local workforce with school-aged children all moved
 to Cameron County, they would increase the existing 103,416-person student body by 4.9
 percent and change the student-to-teacher ratio from 15.4 to 16.1 students per teacher. This


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 increase could result in a minor and temporary impact on public schools in the LNG Terminal
 area of effect, or a minor to moderate impact on public schools in Cameron County (if all
 children attended schools in Cameron County). However, these impacts could be mitigated, in
 part or whole, by using the increased tax revenues generated from construction of the Project to
 hire additional teachers during the construction period.

          Construction of the LNG Terminal would have little or no short-term impact on the
 availability of public safety services such as police, fire, and medical because the non-local
 workforce would be small relative to the current population. If all non-local workers and family
 members moved to the three affected counties, they would represent about a 0.8 percent increase
 over the existing population during peak construction. Further, RG LNG would train a portion
 of the construction and operation workforces as emergency responders and provide access to
 first-aid kits. In addition, onsite security would be provided through a third-party contractor.
 Therefore, we conclude that impacts on public services during construction of the LNG Terminal
 would be temporary and minor.

         In 2014, the LNG Terminal affected area had about 3,737 beds in licensed general and
 special hospitals. During peak construction, the non-local workers and family members could
 increase the ratio of residents to hospital beds from 341 to 343 residents per bed, a 0.6 percent
 increase. This temporary, minor increase would not have a significant adverse effect on the
 ability of the general and special hospitals to serve the population in the LNG Terminal affected
 area.

          RG LNG anticipates that 108 non-local workers would be employed at the LNG
 Terminal during operation. This addition of 108 families would represent a negligible increase
 in the local population. Therefore, we conclude that local public services would not be affected
 during operations.

 4.9.7.2        Pipeline Facilities

         To understand potential impacts on local services, assumptions have been made based on
 anticipated workforce. RB Pipeline estimates that the maximum number of non-local hires
 during construction of Pipeline 1 would be 1,350 workers; Pipeline 2 would have a maximum of
 1,080 non-local hires. As each pipeline would take about 12 months to complete with an 18-
 month gap between, it is unlikely that the non-local workers would be accompanied by family
 members. The addition of 1,350 non-local workers would represent a negligible increase in the
 population of the pipeline’s affected area (0.3 percent); therefore, negligible impacts on public
 services (i.e., schools, police departments, fire departments, and hospitals) would also be
 negligible.

        The 20 new permanent positions would represent a negligible increase in the local
 population. Therefore, we conclude that local public services would not be affected during
 operations.

 4.9.8 Transportation

        Several potential impacts on vehicular and marine traffic may result from the
 construction and operation of the Project. Potential impacts on vehicular traffic would generally


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 be related to the influx of construction workers commuting to and from the LNG Terminal and
 pipeline facilities, as well as the transport of construction materials. Marine traffic impacts
 would result from the increase in large vessel movements in the BSC during construction and
 operation of the LNG Terminal.

 4.9.8.1        Roadway Transportation

           LNG Terminal

        Access for transporting equipment, materials, and personnel to the LNG Terminal site
 would be available through the use of existing roadways. The approach to the LNG Terminal
 would be along SH-48, which is an asphalt, divided highway with two northbound lanes, two
 southbound lanes, and 4- to 8-foot shoulders. RG LNG would construct three driveways at the
 LNG Terminal site with a left-turn lane on westbound SH-48 and temporary traffic signals at
 each driveway for direct vehicular access to SH-48.

         Public comments expressed concern for increased traffic volume, especially during
 evacuations, and road degradation due to loss of tax revenue from tax abatement opportunities.
 Impacts on local taxes and government revenue are addressed in section 4.9.5. Impacts on local
 users of the roadway network due to construction of the LNG Terminal would include potential
 delays from increased worker traffic and reduced roadway capacity. To identify, quantify, and
 recommend mitigation for traffic impacts on area roadways during construction of the Project,
 RG Developers commissioned a Traffic Impact Analysis (Aldana Engineering and Traffic
 Design, LLC 2016a, as updated in 2019). Traffic count data conducted in January 2016
 indicated that about 12,000 vehicles travel along SH-48 between SH-550 and SH-100 every day;
 in January 2019, this number was about 5 percent less (11,370 vehicles). As January is
 considered the low season for local tourism, RG Developers also reviewed general travel trends
 from the peak tourism month (July) and determined that traffic counts are about 40 percent
 higher than that observed in January; therefore, about 17,000 vehicles per day are anticipated to
 travel along SH-48 during the peak season (MS2 2016). RG LNG estimates that construction
 worker commutes would result in a maximum of 4,600 roundtrips (9,200 transits total) per day,
 based on a peak workforce of 5,225 construction workers; however, the number of roundtrips
 would be related to the number of workers over time, as depicted in figure 4.9.2-1. This estimate
 assumes that 10 percent of the workers would carpool to and from work, and 2 percent of
 workers would be absent on any given day.

         In addition, material truck traffic would generate up to 150 roundtrips to the LNG
 Terminal per day. As the capacity of the roadway is 40,000 vehicles per day, and about 12,000
 (winter season) to 17,000 (summer season) vehicles are estimated to travel on this roadway every
 day, the roadway has sufficient capacity available to accommodate the additional traffic
 generated for construction of the LNG Terminal.

       The Traffic Impact Analysis revealed that improvements would be necessary to safely
 accommodate peak hour traffic flows at each of the three proposed driveways. Before peak




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 construction, and in coordination with the TxDOT, RG LNG has agreed to implement the
 following measures recommended in the analysis:

        •   add an additional left-turn lane on westbound SH-48 at its intersections with SH-100
            and at each LNG Terminal driveway;

        •   optimize traffic signal timing at the intersection of SH-48 and SH-100;

        •   provide an acceleration and deceleration lane at each LNG Terminal driveway
            intersection;

        •   provide temporary traffic signals at each LNG Terminal driveway;

        •   create median openings across from LNG Terminal driveway 1;

        •   create a temporary median opening on SH-48 across from any temporary offsite
            parking site, including the proposed Port of Brownsville temporary storage/parking
            area, and install a temporary traffic signal;

        •   schedule deliveries of construction materials to avoid the expected arrival and departure
            of the workforce; and

        •   stagger shifts to avoid all workers arriving and leaving at the same time, if congestion
            occurs at the LNG Terminal driveways.

         In addition to the above mitigation measures recommended by the traffic analysis, RG
 LNG has committed to hiring off-duty police officers to direct traffic during peak commuting
 hours and installing roadway warning signs to notify travelers of construction activities.
 Additionally, RG LNG plans to provide onsite parking for workers during peak construction
 months. When onsite parking becomes limited by the constructed LNG facilities, offsite parking
 would be provided at a 25-acre Port of Brownsville temporary storage area located on the south
 side of SH-48, where workers would be bused to and from the LNG Terminal site. With the
 implementation of the proposed measures, and considering that SH-48 would remain at about
 65.9 percent capacity during peak tourist season with the addition of Project-related traffic, we
 have determined that impacts from construction of the LNG Terminal would have temporary and
 minor impacts on local users of the roadway network.

        Operation of the LNG Terminal would result in an average of 300 roundtrips to the site
 per day associated with worker commutes and truck deliveries. The Traffic Impact Analysis
 determined SH-48 would continue to provide ample capacity with this increase in traffic (Aldana
 Engineering and Traffic Design, LLC 2016a). We have determined that operation of the Rio
 Grande LNG Terminal would have permanent but negligible impacts on roadway transportation.
 As discussed in section 4.12, RG Developers would have ERPs with the appropriate entities,
 which would identify emergency response routes.




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        Pipeline Facilities

          The pipeline right-of-way is primarily routed through undeveloped land. Construction of
 the pipeline facilities may temporarily affect roadway traffic due to increased vehicle traffic
 associated with construction workforce commutes and the delivery of equipment and materials to
 the construction work area. Construction of the pipeline facilities is not expected to impact
 marine transportation. Construction-related traffic on area roads would be highest during the
 first year of the 4-year construction period, with an estimated 1,950 roundtrips per day. During
 the subsequent years, RB Pipeline estimates a maximum of 1,356 roundtrips per day, which
 would occur during Stage 4 with the construction of Pipeline 2.

         To minimize impacts on traffic, RB Pipeline would provide adequate parking for workers
 to ensure that parking on the shoulders of major roads is avoided and install warning signs on
 roadways to notify travelers of construction activities. If traffic congestion occurs during
 construction, RB Pipeline would consider implementing additional measures, including, but not
 limited to, scheduling truck deliveries between peak commuting times, re-routing truck traffic to
 avoid busy roadways, and implementing temporary traffic signals. Results of the Traffic Impact
 Analysis found that each roadway assessed was operating at a Level-of-Service (LOS) B or
 better. Avoidance of the segment of farm-to-market road (FM) 106 in Cameron County that
 crosses the Arroyo River was recommended to avoid potential deterioration to a LOS D (Aldana
 Engineering and Traffic Design, LLC 2016b).

        RB Pipeline has stated that it would use FM 106 to access the Project area and that it
 would monitor use of all roadways evaluated in the Traffic Impact Analysis, including FM 106.
 However, as RB Pipeline has not identified specific protocols for determining when traffic
 congestion along the pipeline route would warrant additional measures or how a change in LOS
 would be monitored to ensure that these roadways do not fall below a LOS C, we recommend
 that:

        •   Prior to construction of the Rio Bravo Pipeline, RB Pipeline should file with the
            Secretary, for review and written approval by the Director of OEP, traffic
            mitigation procedures, developed in consultation with applicable transportation
            authorities, to monitor LOS on roadways proposed for use during construction of
            the Pipeline System. These procedures should describe mitigation measures that
            would be implemented for a resultant LOS of C or below, including alternative
            routes if necessary.

         Any section of road damaged by Pipeline System construction would be repaired to pre-
 construction conditions or better after construction, unless otherwise agreed upon by the
 landowner and approved by the FERC. Given that the total number of workers would be spread
 out along the 137.9-mile-long Pipeline System, and the mitigation that would be implemented
 should traffic congestion occur, including our recommendation to develop traffic mitigation
 procedures, we find that construction of the pipeline facilities would result in minor and
 temporary impacts on local traffic. RB Pipeline anticipates that 20 workers would be hired for
 operation of the three compressor stations. The pipelines and metering sites would be unmanned
 during operation, with and only occasional site visits by operations personnel for maintenance.



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 Given the low number of operational personnel for the pipeline facilities, impacts on traffic or
 roadways resulting from operation of the pipeline facilities would be negligible.

 4.9.8.2        Marine Transportation

           LNG Terminal

          RG LNG would primarily use truck transport to deliver construction materials to the
 LNG Terminal site, with marine barge transportation serving in a supplementary role. Vessel
 traffic in the BSC averaged about 1,057 vessels per year between 2012 and 2014, which equates
 to about 88 vessels per month, including 61 barges (BND 2015). Over the 7-year construction
 period for the LNG Terminal, RG LNG anticipates about 880 barge deliveries for the LNG
 Terminal site. Some equipment would be transported a short distance from the Port of
 Brownsville or Port Isabel, while other equipment would be transported directly from the vendor.
 Marine deliveries would be highest during the first 5 years of construction, where deliveries
 would be expected 15 times per month. Although these additional trips would represent an
 increase of about 25 percent in current barge traffic, they would not result in significant impacts
 on the channel, as the barges would not block small vessel traffic, the pilots and the Brownsville
 Harbor Master would manage commercial vessel traffic, and the additional vessels would not
 result in an exceedance of the channel’s traffic capacity. In addition to increased vessel traffic
 during construction, dredging for the marine facilities would temporarily reduce the area of the
 BSC available for vessel transit. RG LNG would restrict vessels from passing over areas of
 active dredging, and would coordinate with local authorities so that dredging activity would not
 restrict large vessels from transiting the BSC. Because dredging would be limited to Stage 1 of
 construction, impacts would be temporary and minor.

          The 160 shrimp fleets housed at the Port of Brownsville Fishing Harbor use the BSC to
 assess offshore fishing areas. In addition, the BSC currently experiences about six large vessels
 per week (i.e., about two transits per day) calling at the Port of Brownsville, including cargo
 vessels, tankers, and ocean barges. During operations, about 312 LNG carriers would call on the
 LNG Terminal per year (about 6 per week). With the addition of six LNG carriers calling at the
 LNG Terminal per week (about two transits per day), existing large vessel traffic levels would
 double; however, the channel would still function at about one-third of its theoretical capacity for
 large vessel traffic (about 12 large vessel transits daily, assuming a 2-hour transit time). Based
 on RG LNG’s anticipated number of port calls and its navigation simulation study, RG LNG
 determined that LNG carriers calling at the LNG Terminal would be transiting in the BSC for a
 combined duration of 30 hours per week (about 18 percent of the week). According to the Port
 of Brownsville Harbor Master, all large vessel traffic is one-way except for the occasional barge
 passing with pilot approval; therefore, a one-direction regime would be in place during LNG
 carrier transits.

         In a letter dated December 26, 2017, the Coast Guard issued the LOR for the Project,
 which stated that the BSC is considered suitable for LNG marine traffic in accordance with the
 guidance in the Coast Guard’s NVIC 01-2011. The WSA review focused on the navigation
 safety and maritime security aspects of LNG carrier transits along the BSC. The WSA itself is
 designated Sensitive Security Information as defined in 49 CFR 1520. Because any



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 unauthorized disclosure of these details could be employed to circumvent the proposed security
 measures, they are not releasable to the public.

         In accordance with 33 CFR 165.30, the Coast Guard has the authority to establish moving
 security zones for LNG carriers during. LNG carriers would reach the LNG Terminal using
 existing shipping channels, with the exception of the recessed turning basin at the Rio Grande
 LNG Terminal itself. Inbound LNG carriers would be piloted by a local pilot affiliated with the
 Brazos Santiago Pilots Association; the pilot boarding station is at the Entrance Channel at BSC
 markers 2 and 3. To minimize impacts on other users of the BSC, it is anticipated that LNG
 carriers would follow required mandates put forth in the LNG Terminal Manual, including the
 requirement to notify LNG Terminal managers and relevant authorities of the expected arrival of
 an LNG carrier four days in advance to ensure that the timing of LNG carrier channel transits are
 aligned with other shipping schedules.

          Based on the Coast Guard’s LOR for the Project, the expected doubling in large vessel
 traffic, and the potential to preclude vessel traffic 30 hours per week, we have determined that
 operation of the LNG Terminal would result in a permanent and moderate increase in marine
 traffic within the BSC based on current conditions.

        Additional detail on potential impacts on boating and fishing in the vicinity of the LNG
 Terminal site is provided in section 4.9.3 and 4.9.4. Additional discussion of marine traffic and
 transportation as it relates to marine safety, including potential cryogenic/thermal impacts along
 the LNG carrier transit route, is provided in section 4.12.

           Pipeline Facilities

        As the proposed pipelines would cross marine waterways via HDD, no impacts on marine
 transportation would result from construction or operation of the pipeline facilities.

 4.9.9 Property Values

         Potential impacts on the value of a tract of land depends on many factors, including size,
 the value of adjacent properties, the presence of other industrial facilities or pipelines, the current
 value of the land, and the extent of development and other aspects of current land use. A
 potential purchaser would make an offer to purchase based on his or her own values, which may
 or may not take the presence of the LNG Terminal or pipeline facilities into account.

 4.9.9.1          LNG Terminal

         The proposed location of the LNG Terminal site is just outside the city limits of
 Brownsville and Port Isabel on land owned by the BND that is zoned for commercial and
 industrial use. The nearest residences are about 2.2 miles away in Port Isabel. A literature study
 that compiled 25 previous investigations of industrial developments’ effects on property values
 found that adverse impacts on property values decreased steadily with distance from the
 industrial development (Farber 1998). A few of the investigations in the study predicted adverse
 effects on property values beyond 2 miles of the industrial development, and the study concluded
 that housing markets are sensitive to real or perceived hazard risks from industrial development
 (Farber 1998). As discussed in section 4.12, the LNG Terminal would be subject to regulations


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 that strictly control all aspects of the development’s construction and operation, with risks
 largely confined within the LNG Terminal site property boundaries.

          Visibility of the LNG Terminal site, which would include four 175-foot-high LNG
 storage tanks, could potentially affect values of residential properties. As discussed in section
 4.8.2, it would be possible to see the LNG Terminal from some vantage points in Port Isabel and
 Laguna Heights, in particular at elevated sites such as the Port Isabel Lighthouse; however, the
 distance to the LNG Terminal site limits its visibility and as such it would not be a prominent
 feature in the viewshed for these residences. In summary, visibility impacts and the public’s
 perception of risk of the LNG Terminal are factors that could affect residential property values in
 the Project area. These potential impacts would be attenuated by the distance of more than 2
 miles between residential areas and the LNG Terminal site.

 4.9.9.2        Pipeline Facilities

          The pipeline facilities would be located primarily on agricultural land and open land. As
 shown in table 4.8.1-2, 11 structures would be within 50 feet of the construction work area;
 however, only two of those structures are residential, each of which would be within 50 feet of
 existing access roads that are proposed for use without modification. The pipeline facilities
 include the Header System, Pipelines 1 and 2, and associated aboveground facilities, three
 compressor stations, two booster stations, eight metering sites, and additional appurtenant
 facilities. Impacts from Compressor Station 3 are discussed above, as it would be within the
 boundaries of the LNG Terminal site. The remaining aboveground facilities would be
 constructed on open land, agricultural land, and barren land.

          RB Pipeline would compensate the landowners for new easements at the aboveground
 facilities, as well as the temporary loss of land use associated with construction workspaces and
 any damages. The easement acquisition process is designed to provide fair compensation to the
 landowner for the right to use the property for facility construction and operation. The pipeline
 facilities are not expected to adversely impact property values outside of the pipeline right-of-
 way or aboveground facility boundaries.

         Property values are generally based on the actual use of the land. Construction and
 operation of the Pipeline System would not change the general use of the land, but would
 preclude the construction of aboveground structures within the permanent easements. Because
 the Pipeline System would be located primarily within agricultural land, we have concluded that
 use of the land, and the associated property value, would likely not be negatively affected by the
 Pipeline System.

 4.9.10 Environmental Justice

         For projects with major aboveground facilities, FERC regulations (18 CFR 380.12(g)(1))
 direct us to consider the impacts on human health or the environment of the local populations,
 including impacts that would be disproportionately high and adverse for minority and low-
 income populations. Additionally, during Project scoping, we received comments raising
 concerns about the impacts of the Rio Grande LNG Project on minority and low-income
 populations.



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         The EPA’s Environmental Justice Policies (which are directed, in part, by Executive
 Order 12898: Federal Action to Address Environmental Justice in Minority Populations and
 Low-Income Populations) focus on enhancing opportunities for residents to participate in
 decision making. The EPA (2011) states that Environmental Justice involves meaningful
 involvement so that: “(1) potentially affected community residents have an appropriate
 opportunity to participate in decisions about a proposed activity that would affect their
 environment and/or health; (2) the public’s contributions can influence the regulatory agency’s
 decision; (3) the concerns of all participants involved would be considered in the decision-
 making process; and (4) the decision-makers seek out and facilitate the involvement of those
 potentially affected.” CEQ also has called on federal agencies to actively scrutinize a number of
 important issues with respect to environmental justice (CEQ 1997a).

         As part of our NEPA review, we have evaluated potential environmental justice impacts
 related to the Rio Grande LNG Project taking into account the following:

        •   the racial and economic composition of affected communities;

        •   health-related issues that may amplify effects to minority or low-income individuals;
            and

        •   public participation strategies, including community or tribal participation in the NEPA
            process (CEQ 1997a).

        The EPA provides guidance on determining whether there is a minority or low-income
 community to be addressed in a NEPA analysis. According to this guidance, minority
 population issues must be addressed when they comprise over 50 percent of an affected area or
 when the minority population percentage of the affected area is substantially greater than the
 minority percentage in the larger area of the general population. According to USC 689(3), low-
 income populations are defined as a geographic area represented by a census tract or equivalent
 county division where the poverty rate is 20 percent or greater, among other indicators.

         In accordance with these guidelines, we prepared an environmental justice analysis for
 the Project. Public scoping comments expressed concern for impacts on low-income and
 minority populations. To develop a more accurate understanding of the racial and ethnic
 characteristics of the communities in the immediate vicinity of the LNG Terminal site and
 pipeline facilities, data were used from census block groups that intersect a 2-mile radius around
 the LNG Terminal site and the pipeline facilities, as opposed to the larger geographic areas
 included in census tract and county level data. In this analysis, the minority and low-income
 population percentages in the State of Texas and the Project-area counties were compared to the
 respective percentages within the census blocks groups. Table 4.9.10-1 identifies the racial
 composition and economic status of the affected block groups, counties, and the State of Texas
 for the LNG Terminal and pipeline facilities.




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                                        Table 4.9.10-1
        Demographics and Economic Statistics in the Vicinity of the Rio Grande LNG Project
                    White,                                   American    Native
   State/County/                                                                    Two    Population
                      not                 Hispanic             Indian   Hawaiian
                               African-                                              or      Below
   Block Group/    Hispanic                  or      Asian      and        and
                              American                                             More     Poverty
       Tract          or                   Latino             Alaskan    Pacific
                                                                                   Races      (%)
                    Latino                                     Native   Islander
  TEXAS              43.8       11.6        38.4       4.2     0.2        0.1       1.5       13.4
  LNG TERMINAL
  Cameron            11.5        0.4        88.5       0.6     0.4        0.0       0.2       29.6
   Block Group 1
   Tract 123.05      74.6        0.0        25.4       0.0     0.0        0.0       0.0       26.7
   Tract 142a         1.0        0.0        99.0       0.0     0.0        0.0       0.0       37.5
   Block Group 2
   Tract 123.04b     30.3        0.0        66.0       0.0     0.0        0.0       0.0       22.1
   Tract 127a        23.1        0.0        76.9       0.0     0.0        0.0       0.0       15.6
  PIPELINE FACILITIES
  Cameron            11.5        0.4        88.5       0.6     0.4        0.0       0.2       29.6
   Block Group 1
   Tract 101         17.0        0.0        82.5       0.0     0.5        0.0       0.0       20.0
   Tract 102.01      13.1        0.0        86.9       0.0     0.0        0.0       0.0       26.7
   Tract 122         16.2        0.0        83.7       0.0     0.0        0.0       0.1       16.8
   Tract 123.01      37.4        1.7        54.1       4.6     0.0        0.0       0.6       23.9
   Tract 142          1.0        0.0        99.0       0.0     0.0        0.0       0.0       37.5
   Block Group 2
   Tract 127         23.1        0.0        76.9       0.0     0.0        0.0       0.0       15.6
   Tract 142         21.1        0.7        78.2       0.0     0.0        0.0       0.0       39.2
   Block Group 3
   Tract 101         4.6         0.0        95.4       0.0     0.0        0.0       0.0       47.6
   Block Group 4
   Tract 101         68.5        0.0        29.9       0.0     0.0        0.0       1.6       16.8
   Tract 122         11.4        0.0        88.5       0.0     0.2        0.0       0.0       35.5
   Block Group 5
   Tract 122          2.2        0.8        94.7       1.1     0.0        0.0       1.3       41.0
  Willacy            10.4        1.6        87.5       0.1     0.0        0.0       0.4       36.3
  Block Group 1
    Tract 9506       17.0        0.0        82.0       0.0     0.9        0.0       0.0       35.4
    Tract 9507       10.4        0.0        83.6       0.0     0.0        0.0       6.1       9.6
  Block Group 2
   Tract 9505        10.5        0.0        89.5       0.0     0.0        0.0       0.0       18.3
   Tract 9507        11.7        0.0        87.6       0.0     0.1        0.2       0.0       26.4
  Kenedy             33.6        0.0        66.2       0.2     0.0        0.0       0.0       20.0
  Block Group 1
    Tract 9501       33.6        0.0        66.2       0.2     0.0        0.0       0.0       20.0




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                                  Table 4.9.10-1 (continued)
         Demographics and Economic Statistics in the Vicinity of the Rio Grande LNG Project
                        White,                                              American       Native
   State/County/                                                                                         Two    Population
                          not                      Hispanic                   Indian      Hawaiian
                                     African-                                                             or      Below
   Block Group/        Hispanic                       or         Asian         and           and
                                    American                                                            More     Poverty
       Tract              or                        Latino                   Alaskan       Pacific
                                                                                                        Races      (%)
                        Latino                                                Native      Islander
  Kleberg                 21.9          3.9           71.3         2.0          0.1           0.0        0.6       19.7
  Block Group 1
    Tract 201             39.5          0.0           58.2         1.1          0.0           0.0        0.3       4.2
  Block Group 2
    Tract 201             26.4          2.1           70.2         1.3          0.0           0.0        0.0       10.6
  Jim Wells               19.0          0.5           79.5         0.4          0.1           0.1        0.4       18.0
  Block Group 1
    Tract 9504            11.7          2.5           85.9         0.0          0.0           0.0        0.0       5.2
  Block Group 3
    Tract 9502            35.9          0.0           63.3         0.8          0.0           0.0        0.0       10.0
  Block Group 4
    Tract 9507           25.8            0.0           74.2        0.0         0.0             0.0       0.0       5.3
  Sources: Sources: U.S. Census Bureau 2015e, 2015f, 2015g, EPA 2016c.
  a
            The block group is within 1 mile of the LNG Terminal site and pipeline facilities.
  b
            About 3.7 percent reported their race as “Some other race alone.”



 4.9.10.1           LNG Terminal

         Three of the four block groups near the LNG Terminal site have minority populations
 greater than the general EPA guideline of 50 percent, comprised predominately of Hispanic or
 Latino people. Additionally, all four block groups have poverty rates that exceed 20 percent,
 indicating that these are low-income communities. According to the EPA guidelines stated
 above, these are environmental justice populations.

         The FERC and RG Developers have made documents and notices about the Project
 available to the public, and FERC held public scoping and comment meetings, as described in
 section 1.3, where materials were provided in both English and Spanish to accommodate the
 local Hispanic or Latino population. In addition, during the public scoping and comment
 meetings in Port Isabel, both English and Spanish-speakers were present to converse one-on-one
 with stakeholders in attendance. Further, RG Developers made Project information available to
 the public via an internet website (www.riograndelng.com), phone hotline, and via community
 and stakeholder meetings in the Project area. RG Developers used the FERC’s Pre-filing
 Process (see section 1.3). One of the major goals of this process is to increase public awareness
 and encourage public input regarding every aspect of a project (e.g., design, siting, routing,
 environmental concerns and impacts) before an application is filed. As part of this process,
 FERC staff participated in RG Developers’ open houses and hosted FERC scoping sessions to
 receive input from the public about the Project. Interested parties have had opportunities to
 participate in the NEPA review process. This included the opportunity to participate in the
 public scoping meetings within the Project area to identify concerns and issues that should be
 covered in the EIS, and the opportunity to submit written comments about the Project to the


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 FERC, and the opportunity to review the draft EIS and provide comments directly to the FERC
 staff in person (during scheduled comment sessions) or in writing via mail or internet.

         Contractors working on the Project would be required to comply with applicable equal
 opportunity and non-discrimination laws and policies. The criteria for all positions would be
 based upon qualifications and in accordance with applicable, federal, state, and local
 employment laws and policies. The impacts of constructing and operating the LNG Terminal on
 the natural and human environments are identified and discussed throughout section 4.0 of this
 document. The nearest residential areas are about 2.2 miles from the proposed LNG Terminal
 site. Potential pollution emissions from the LNG Terminal site, when considered with
 background concentrations, would be below the National Ambient Air Quality Standards
 (NAAQS), which are designated to protect public health. Therefore, the Project would not have
 significant adverse air quality impacts on the low-income or minority populations in the Project
 area. Air quality impacts are discussed in more detail within section 4.11.1.

          Area residents may be impacted by traffic delays during construction on SH-48.
 However, as shown in the traffic analysis (see section 4.9.8), impacts would be minor and short-
 term, and RG LNG has committed to implementing mitigation measures to alleviate any
 potential road congestion during peak construction months (see section 4.9.8). Another potential
 impact to area residents pertains to subsistence fishing that could occur along the BSC. About
 1.5 miles of the 17-mile-long shoreline of the channel would be developed for the LNG Terminal
 site. However, fishing opportunities would still exist along the remainder of the undeveloped
 channel shoreline, as well as in nearby public areas, including the Zapata boat launch and pier
 over San Martin Lake and the south end of Bahia Grande. Also, as discussed above RG
 Developers, in coordination with relevant agencies, are exploring the potential to provide a
 parking and fishing area on the western bank of the Bahia Grande Channel to compensate for the
 lost fishing area near the LNG Terminal.

         If all of the peak non-local construction workers and their families including school-aged
 children, temporarily relocated to Cameron County, this would result in an increase to the
 existing student enrollment by 4.9 percent and would change the student-to-teacher ratio from
 15.4 to 16.1 students per teacher. This increase could result in a minor, temporary impact on
 public schools in the LNG Terminal affected area, and a minor to moderate impact on public
 schools in Cameron County. However, these impacts could be mitigated, in part or whole, by
 using the increased tax revenues generated from construction of the Project to hire additional
 teachers during the construction period.

         The LNG Terminal site was chosen to be at least 1.5 miles from populated areas.
 Furthermore, the LNG Terminal is expected to generate economic benefits to local residences by
 stimulating economic growth and employment (see section 4.9.2.1) and by increasing the local
 tax base (see section 4.9.5), which may in turn benefit public services. There would be minor
 and temporary traffic delays and potential impacts on public schools during construction, but
 these impacts would apply to everyone and not be focused on or targeted to any particular
 demographic group. We conclude that the LNG Terminal would not have disproportionate
 adverse effects on minority and low-income residents in the area.




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 4.9.10.2       Pipeline Facilities

         Similar to the block groups surrounding the LNG Terminal site, all block groups and
 counties near the pipeline facilities, with the exception of two block groups (block group 1, tract
 123.05 and block group 4, tract 101) in Cameron County, have predominantly Hispanic or Latino
 minority populations greater than the general EPA guideline of 50 percent. Also, the majority of
 the block groups have poverty rates higher than 20 percent, indicating that they are low-income
 communities. All five counties in the study area have higher poverty rates than the State of
 Texas overall.

          The entire Header System and the majority of the Pipeline System are routed through
 agricultural land or grassland with few residences, and no existing residences are located closer
 than 50 feet from the pipeline right-of-way. As described above, FERC and RG Developers
 have made documents and notices about the Project available to the public. The impacts of
 constructing and operating the pipeline facilities on the natural and human environments are
 identified and discussed throughout section 4 of this document. Aside from temporary, minor
 traffic delays during peak construction times, the pipeline facilities are not expected to have
 disproportionate, adverse effects on minority and low-income residents in the area. Overall,
 construction of the Rio Grande LNG Project would result in temporary, minor to moderate
 impacts on socioeconomic factors. Although the increase in construction activities and workers
 would result in an overall increase in roadway traffic, and possibly school-aged children, in the
 area surrounding the LNG Terminal, these increases would be within planned and sustainable
 levels of usage on roads and local schools. Similarly, operation of the Project would result in
 mostly minor, but permanent, impacts on socioeconomic factors. However, the introduction of
 increased tax revenues from the Project would result in monetary benefits for the affected
 counties. As the number of non-local workers and family members would decrease as operation
 of the LNG Terminal progresses, any increase in usage of local services that may have resulted
 from the presence of the construction workforce would return to near pre-construction levels.

 4.10   CULTURAL RESOURCES

         Section 106 of the NHPA requires the FERC to take into account the effects of its
 undertakings on properties listed, or eligible for listing, on the NRHP, and to afford the ACHP an
 opportunity to comment. RG Developers, as non-federal parties, are assisting the FERC in
 meeting our obligations under Section 106 by preparing the necessary information, analyses, and
 recommendations, as authorized by 36 CFR 800.2(a)(3). Section 800.10 of 36 CFR 800 provides
 special requirements for protecting National Historic Landmarks.

          Construction and operation of the Rio Grande LNG Project could have the potential to
 affect historic properties (i.e., cultural resources listed, or eligible for listing, on the NRHP).
 Cultural resources include archaeological sites, districts, buildings, structures, and objects that
 are at least 50 years old, as well as locations with traditional value to Native Americans or other
 groups. Historic properties are cultural resources that possess one or more criteria specified in
 36 CFR 60.4, and generally must possess integrity of location, design, setting, workmanship,
 feeling, and association.




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 4.10.1 Cultural Resources Surveys

 4.10.1.1       LNG Terminal Site

          RG LNG completed archaeological surveys of a 1,000-acre parcel for the LNG Terminal
 site, including the natural landforms (lomas) that are considered to have a high potential for
 containing archaeological sites, the locations of proposed geotechnical bore holes, and the
 locations of previously recorded archaeological sites. The survey included surface inspection
 and the excavation of 144 shovel test units. Many areas within the LNG Terminal site are
 comprised of dredged materials that were deposited during the channelization of the BSC; these
 areas possess little to no potential for containing cultural resources and were therefore not subject
 to shovel testing. The study area for indirect effects was defined as a 0.5-mile buffer around
 aboveground proposed structures, extended to a distance of up to 12 miles depending on
 topography and vegetation. The resulting report (Stotts and Carpenter, June 1, 2015) was
 provided to the FERC and the Texas SHPO. On March 30, 2016, the SHPO indicated a
 submerged survey was not necessary for the Project.

          No new cultural resources were identified within the surveyed 1,000-acre area. Three
 previously recorded archaeological sites (41CF8, 41CF135, and 41CF191) were revisited during
 surveys. Site 41CF8 had previously been listed on the NRHP; however, no intact deposits were
 identified in the Project area, and therefore this portion of the site was recommended as non-
 contributing to NRHP eligibility. Sites 41CF135 and 41CF191 had no previous NRHP
 eligibility recommendations. No cultural materials were encountered at the locations of either
 site, and both sites were recommended as not eligible for the NRHP. RG LNG recommended no
 further work within the surveyed area. In a May 15, 2015 letter, the SHPO concurred with the
 survey results. We also concur.

         Research identified no known architectural resources located within 0.5 mile of the LNG
 Terminal facility; however, two National Historic Landmarks are within or near the extended 12-
 mile study area. The Palmito Ranch Battlefield is approximately 4.1 miles from the LNG
 Terminal site boundary (about 5.4 miles from the LNG Terminal site center). The Palo Alto
 Battlefield is approximately 12 miles from the boundary of the LNG Terminal site (about 14
 miles from the LNG Terminal site center). RG Developers conducted viewshed and noise
 impacts assessments for these two National Historic Landmarks. RG Developers concluded that
 due to distance and topography, visual impacts to the battlefields would be moderate and minor,
 respectively, and noise impacts from construction and operation would not be audible. See
 sections 4.8.2 and 4.11.1 for further discussion of the viewshed and noise, respectively. On
 March 19, 2018, the SHPO commented that visibility of the Project from identified historic
 resources in the area is limited, and that proposed lighting design should help limit the Project
 impact on the Palmito Ranch Battlefield. No comments have yet been received from the NPS on
 the assessments.

         Subsequently, RG Developers completed supplemental surveys of 4.5 miles of the non-
 jurisdictional Brownsville Navigation District Utility Corridor, 2.9 miles of SH-48 turning lanes,
 and the two offsite storage/parking areas, as well as the 1.3-mile-long section of the formerly
 proposed 1.8-mile-long temporary haul road outside the LNG Terminal site (this haul road is no
 longer being proposed for use). The resulting addendum report (Neilson, August 17, 2016) was


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 provided to the FERC and SHPO. No new archaeological sites or architectural resources were
 identified. Two previously recorded archaeological sites (41CF99 and 41CF159) were revisited.
 No evidence of the sites was identified; therefore, the sites were recommended as not eligible for
 the NRHP in the Project area. No survey of the Port Isabel dredge pile was recommended due to
 its disturbed nature. In a December 1, 2016 letter, the SHPO concurred with these
 recommendations, and indicated no further work was required. We concur with the SHPO.

 4.10.1.2       Pipeline Facilities

         RB Pipeline conducted archaeological resources surveys for a 200-foot-wide corridor for
 the pipelines, a 100-foot-wide corridor for access roads, as well as ATWS, aboveground and
 temporary facilities, and offsite facilities. The survey included surface inspection and the
 excavation of 1,778 shovel test units. The study area for architectural resources included the
 area located within 0.5 mile of proposed aboveground facilities. Surveys conducted through
 2016 cover about 56 percent of the current pipeline facilities (including the pipeline route, access
 roads, aboveground facilities, and contractor/pipe yards). Some areas along pipeline reroutes
 have been surveyed since that time, but landowner access for surveys along the entire Project has
 not been granted. Surveys for the remaining areas will be conducted once access is available;
 this includes approximately 30 miles of the Project which crosses the King Ranch National
 Historic Landmark. Further, some ATWS, aboveground and temporary facilities, and access
 roads remain to be surveyed. The resulting report (Nielsen et al., June 29, 2016) was provided to
 the FERC and SHPO.

          As a result of the surveys, 15 cultural resources were identified. These included one
 newly recorded archaeological site (41WY152), a newly recorded historic railroad bed
 (41CF224), three previously recorded archaeological sites (41KN1, 41WY2, and 41WY73), one
 historic ranch (Armstrong Ranch), one historic architectural resource (Bell Airfield), three
 historic drainage districts (Cameron County Drainage Districts 1, 3, and 4), three historic
 irrigation districts (Cameron County Irrigation Districts 2 and 6, and Bayview 11), one historic
 water improvement district (Cameron County Water Improvement District 10), and one historic
 drainage system (Rio Grande Floodway). In addition, one previously recorded archaeological
 site (41CF195) could not be inspected due to denied access.

          Sites 41CF224, 41WY152, and the Bell Airfield were recommended as not eligible for
 the NRHP. No cultural materials were encountered at the locations of previously recorded sites
 41WY2, 41WY73, and 41KN1; therefore, these sites were recommended as not eligible for the
 NRHP. Further assessment of site 41CF195 was recommended as access becomes available.
 The Armstrong Ranch has been previously determined eligible for the NRHP, and avoidance of
 any contributing components was recommended. RG Developers indicated that as currently
 designed, the Project would not impact any contributing portions. Cameron County Irrigation
 Districts 2 and 6 have been previously determined eligible for the NRHP. The remaining
 irrigation resources have not been fully evaluated and remain undetermined for NRHP eligibility.
 Avoidance of any contributing components was recommended. RB Pipeline indicated it was
 evaluating avoidance of the larger historic waterways by HDD, but design details had not yet
 been finalized. On September 6, 2016, the SHPO concurred with the recommendations in the
 report. RB Pipeline has since modified its Project to include HDD crossings of drainage canals,
 where practicable.


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         In addition, the Port of Brownsville and BSC was identified as a potential historic district
 that has been unevaluated, but upon recommendation of the SHPO, is treated as eligible for the
 NRHP. The Project parallels the shipping channel, but does not impact the channel. RG
 Developers provided information regarding the channel to the SHPO on August 16, 2017. RG
 Developers have not yet filed the SHPO’s comments on the information.

         Subsequently, RB Pipeline completed supplemental surveys of 6.7 miles of pipeline
 corridor; Contractor/Pipe Yard 2; a booster station; and 35.2 miles of access roads. The resulting
 addendum report (Carter, September 12, 2016) was provided to the FERC and SHPO. No new
 archaeological sites were identified. Two previously recorded archaeological sites (41CF195
 and 41WY74) were revisited. No evidence of the sites was identified; therefore, the sites were
 recommended as not eligible for the NRHP in the Project area. One previously recorded
 architectural resource (Armstrong Ranch, noted above), and one new resource (an isolated,
 weathered iron cross) were identified. Components of the Armstrong Ranch identified during
 the survey consist of a corral complex within the boundaries of a contractor yard. The iron cross
 could possibly indicate a burial or memorial marker. Avoidance was recommended for both
 resources. In a November 30, 2016 letter, the SHPO concurred with these recommendations.
 RB Pipeline indicated it would avoid the corral complex and install signage to clearly mark the
 contractor yard, and maintain a 75-foot buffer to protect the iron cross. Since surveys were
 completed, RB Pipeline relocated proposed Compressor Station 2; survey results for the
 currently proposed location will be provided when available.

 4.10.2 Unanticipated Discovery Plan

        RG Developers provided a plan addressing the unanticipated discovery of cultural
 resources or human remains during construction to the FERC and SHPO. We and the SHPO
 requested revisions to the plan. RG Developers submitted a revised plan which we find
 acceptable. The SHPO concurred with the plan on November 10, 2016.

 4.10.3 Native American Consultation

          Between March 2015 and February 2016, RG Developers submitted requests for Native
 American tribal consultations to the following seven federally recognized Native American
 tribes, and also conducted letter and email follow-ups: the Alabama-Coushatta Tribe of Texas;
 the Comanche Nation of Oklahoma; the Tonkawa Tribe of Oklahoma; the Kickapoo Tribe of
 Oklahoma; the Kickapoo Traditional Tribe of Texas; the Apache Tribe of Oklahoma; and the
 Fort Sill Apache Tribe of Oklahoma. Additionally, two state-recognized tribes, the Lipan
 Apache Tribe of Texas and the Tap Pilam Coahuiltecan Nation, were also contacted in 2015.

         Four of the tribes contacted responded. On April 2, 2015, the Comanche Nation of
 Oklahoma inquired whether the state site files had been reviewed. RG Developers provided the
 tribe with the results of the site files review. On July 21, 2015, the tribe was also furnished with
 a copy of the final survey report for the LNG Terminal. On July 22, 2015, the Comanche Nation
 of Oklahoma indicated that the Project would have “no effect.” On April 15, 2015, the Tonkawa
 Tribe of Texas indicated there were no designated historical or cultural sites identified in the
 Project area, but requested notification should construction activities identify unanticipated




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 cultural or human remains; RG Developers confirmed consultations would continue, as
 requested.

         On July 9, 2015, the Lipan Apache Tribe of Texas indicated it had no sacred sites in the
 Project area that it knew of, but requested to be contacted in the event that human remains are
 discovered during construction activities. On October 22, 2016, the Alabama-Coushatta Tribe of
 Texas indicated that “no known impacts to cultural assets of the Alabama-Coushatta Tribe of
 Texas are anticipated” from the Project. No other responses have been received.

        We sent our NOI and follow-up letters to the same seven federally recognized tribes. No
 responses to our NOI or letters have been received.

 4.10.4 Other Parties Contacted

          RG Developers also contacted and followed-up with historical commissions and local
 museums to determine the potential presence of cultural resources or areas of historical
 significance. Groups contacted included the Brownsville Historical Association; Cameron
 County Historical Commission; Jim Wells County Historical Commission; John E. Conner
 Museum; Kenedy Ranch Museum; King Ranch Museum; King Ranch Corporate Office; Kleberg
 County Historical Commission; Port Isabel Historical Museum; Preservation Texas; Southern
 Texas Archaeological Association; Texas Historical Foundation; and Willacy County Historical
 Museum. The John E. Conner Museum responded and provided additional contact information.
 The Texas Historical Foundation indicated it did not comment on Section 106 compliance
 review. The Kleberg County Historical Commission indicated it did not know of any historical
 sites along the pipeline route in Kleberg County. No other responses have been received and no
 areas of concern were expressed as a result of these contacts.

 4.10.5 Compliance with the National Historic Preservation Act

         RG Developers have not yet completed cultural resources surveys for the Project. Once
 cultural resources surveys are complete, if any historic properties would be adversely affected by
 the Project, a treatment plan would be prepared. To ensure that cultural resources studies and
 consultation are completed and the FERC’s responsibilities under Section 106 of the NHPA are
 met, we recommend that:

        •   RG Developers should not begin construction of facilities or use of staging,
            storage, or temporary work areas and new or to-be-improved access roads until:

            a. RG Developers file with the Secretary:

                  i.   outstanding SHPO comments on reports, plans, special studies,
                       or information provided to date, as well as any NPS comments,
                       as applicable;
                 ii.   any outstanding updates, reports, plans, or special studies, and
                       the SHPO’s comments on these, as well as any NPS comments,
                       as applicable; and



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                 iii.   any necessary treatment plans or site-specific avoidance/
                        protection plans, and the SHPO’s comments on the plans.
            b. The ACHP is afforded an opportunity to comment if historic properties
               would be adversely affected; and

            c. The FERC staff reviews and the Director of OEP approves all cultural
               resources survey reports and plans, and notifies RG Developers in
               writing that construction may proceed.

            All material filed with the Commission containing location, character, and
            ownership information about cultural resources must have the cover and any
            relevant pages therein clearly labeled in bold lettering: “CUI/PRIV – DO NOT
            RELEASE.”

 4.11    AIR QUALITY AND NOISE

 4.11.1 Air Quality

          Construction and operation of the proposed Project would result in impacts on local and
 regional air quality. Public scoping comments expressed concern regarding impacts on air
 quality due to construction and operation emissions associated with the Project. This section
 summarizes federal and state air quality regulations that are applicable to the proposed facilities.
 The section also characterizes the existing air quality and describes potential impacts the
 facilities may have on air quality regionally and locally. The term air quality refers to relative
 concentrations of pollutants in the ambient air. The subsections below describe well-established
 concepts that are applied to characterize air quality and to determine the significance of increases
 in air pollution.

         This includes metrics for specific air pollutants known as criteria pollutants; Ambient Air
 Quality Standards (AAQS), regional designations to manage air quality known as Air Quality
 Control Regions (AQCR); and efforts to monitor ambient air concentrations. Combustion of
 natural gas would produce criteria air pollutants such as ozone, carbon monoxide (CO), sulfur
 dioxide (SO2), and inhalable particulate matter (PM [PM2.5 and PM10]). PM2.5 includes particles
 with an aerodynamic diameter less than or equal to 2.5 micrometers, and PM 10 includes particles
 with an aerodynamic diameter less than or equal to 10 micrometers. Combustion of fossil fuels
 also produces volatile organic compounds (VOC), a large group of organic chemicals that have a
 high vapor pressure at room temperature; and oxides of nitrogen (NO x). VOCs react with
 nitrogen oxides, typically on warm summer days, to form ozone. Other byproducts of
 combustion are greenhouse gases (GHG) and hazardous air pollutants (HAP). HAPs are
 chemicals known to cause cancer and other serious health impacts.

         GHGs produced by fossil-fuel combustion are CO2, methane (CH4), and nitrous oxide
 (N2O). The status of GHGs as a pollutant is not related to toxicity. GHGs are non-toxic and
 non-hazardous at normal ambient concentrations. GHG emissions due to human activity are the
 primary cause of increased levels of all GHG since the industrial age. These elevated levels of
 GHGs are the primary cause of warming of the global climate system since the 1950s. These
 existing and future emissions of GHGs, unless significantly curtailed, will cause further warming


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 and changes to the local, regional, and global climate systems. Emissions of GHGs are typically
 expressed in terms of CO2 equivalents (CO2e).

        Other pollutants, not produced by combustion, are fugitive dust and fugitive emissions.
 Fugitive dust is a mix of PM2.5, PM10, and larger particles thrown up by vehicles, earth
 movement, or wind erosion. Fugitive emissions, in the context of this EIS, would be fugitive
 emissions of methane from operational pipelines and aboveground facilities.

 4.11.1.1       Regional Climate

         The Project area climate – humid subtropical – is significantly influenced by its location
 in the Texas Coastal Zone (i.e., proximity to the Gulf of Mexico). In general, the Port Isabel area
 has very short, mild winters and long, hot summers, although the sea breeze can help moderate
 peak temperatures. Climate data obtained from NOAA for the period 1981 to 2010 show an
 annual average temperature of 74 °F. Daily average high temperatures range from 68 °F during
 January to 91 °F during August. Daily average low temperatures range from 52 °F during
 January to 77 °F during July and August. The record minimum and maximum temperatures are
 17 °F and 103 °F, respectively (NOAA 2018a).

         The region experiences relatively high dew point values (about 75 °F in summer),
 resulting in higher relative humidity for the June through September period (NOAA 2018b).
 Near the northern extent of the pipeline facilities in Corpus Christi, monthly temperature trends
 are similar; however, the daily average high temperatures range from 67 °F during January to
 94 °F in August, and daily average low temperatures range from 57 °F during January to 85 °F in
 August (NOAA 2018a).

         Monthly total rainfall tends to be highest (greater than 2 inches) during the early summer
 and autumn months across the Project area. The annual average precipitation in Port Isabel
 amounts to approximately 29 inches, with a monthly maximum of 6.3 inches in September
 (NOAA 2018). In Corpus Christi, the annual average precipitation is about 30 inches, with a
 monthly maximum of 5.0 inches in September. Much of this precipitation comes from
 thunderstorm activity, although the majority of days that receive precipitation experience light
 rain. Tropical storms or hurricanes, although uncommon, can also enhance summer and autumn
 rainfall in this region.

        The overall predominant wind pattern for the year in the extreme southern Texas Coastal
 Zone is southeasterly winds, with northwesterly winds dominating at times in the cooler part of
 the year, particularly December. The annual average wind speed is approximately 10 miles per
 hour (mph), with the highest average monthly wind speeds occurring during spring (NOAA
 2018b). The prevailing southeast wind is further enhanced during spring and early summer by
 thermal winds which develop when the air over the heated land further west from the coast is
 warmer than the air over the relatively cooler waters of the Gulf of Mexico.




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 4.11.1.2       Existing Air Quality

        Ambient Air Quality Standards

        The EPA has established NAAQS for six criteria pollutants: SO 2, CO, ozone, nitrogen
 dioxide (NO2), PM10, PM2.5, and lead. There are two classifications of NAAQS, primary and
 secondary standards. Primary standards set limits the EPA believes are necessary to protect
 human health including sensitive populations such as children, the elderly, and asthmatics.
 Secondary standards are set to protect public welfare from detriments such as reduced visibility
 and damage to crops, vegetation, animals, and buildings.

         Individual state air quality standards cannot be less stringent than the NAAQS. The
 federal NAAQS for criteria pollutants are the same as the state standards established by the
 TCEQ in accordance with Section 30 of the TAC (30 TAC), Part 101.21. The TCEQ has also
 established 30-minute average property line standards for SO2 and H2S in 30 TAC Part 112. The
 federal NAAQS and Texas-specific standards (referenced as net ground-level concentrations) are
 summarized in table 4.11.1-1.

         As with any activity that involves combustion of fossil fuels and processing of natural
 gas, the Project would contribute GHG emissions. The principle GHGs that would be produced
 by the Project are CO2, CH4, and N2O. The GHG CO2e unit of measure takes into account the
 global warming potential (GWP) of each GHG. The GWP is a ratio relative to CO 2 that is based
 on the particular GHG’s ability to absorb solar radiation as well its residence time within the
 atmosphere. Based on this definition, and per EPA reporting requirements defined in 40 CFR
 98, CO2 has a GWP of 1, CH4 has a GWP of 25, and N2O has a GWP of 298. To obtain the
 CO2e quantity, the mass of the particular GHG compound is multiplied by the corresponding
 GWP, the product of which is the CO2e for that compound. The CO2e value for each of the
 GHG compounds is summed to obtain the total CO2e GHG emissions.

        Existing Air Quality

          AQCRs are established by the EPA and local agencies for air quality planning purposes,
 in which State Implementation Plans describe how the NAAQS would be achieved and
 maintained. Each AQCR, or portion(s) of an AQCR, is classified as either attainment,
 nonattainment, or maintenance with respect to the NAAQS. The LNG Terminal site would be
 located in Cameron County, which is within the Brownsville-Laredo Intrastate AQCR. Vessel
 transit along the BSC would occur within the same AQCR. The pipeline facilities would be
 within the Corpus Christi-Victoria Intrastate AQCR (Jim Wells, Kenedy, and Kleberg Counties)
 and the Brownsville-Laredo Intrastate AQCR (Cameron and Willacy Counties). Areas where air
 quality data are not available are considered to be unclassifiable and are treated as attainment
 areas. All components of the Rio Grande LNG Project would be in areas classified as in
 attainment for all criteria pollutants.




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                                                    Table 4.11.1-1
                                             Ambient Air Quality Standards
                                                                                    Secondary            Texas Net Ground-
          Pollutant             Averaging Period          Primary NAAQS
                                                                                     NAAQS              Level Concentration
  Ozone                            8-hour (2015)a             0.070 ppm              0.070 ppm                     -
                                      1-hourb                  35 ppm                    -                         -
  CO
                                      8-hourb                   9 ppm                    -                         -
                                      1-hourc                  100 ppb                   -                         -
  NO2
                                      Annuald                   53 ppb                 53 ppb                      -
                                              e                          3                      3
                                      24-hour                 35 µg/m                35 µg/m                       -
  PM2.5
                                      Annualf                 12 µg/m3               15 µg/m3                      -
  PM10                                24-hourg                150 µg/m3              150 µg/m3                     -
  Lead                                3-monthh                0.15 µg/m3            0.15 µg/m3                     -
                                      1-houri, j                75 ppb                   -                         -
  SO2                                  3-hourb                     -                 0.5 ppm                       -
                                     30-minute                     -                      -                    0.4 ppmk
  H2S                                30-minute                     -                      -                 0.08/0.12 ppml
  ppb = parts per billion; µg/m3 = micrograms per cubic meter.
  a
            Annual fourth-highest daily maximum 8-hour concentration, averaged over 3 years.
  b
            Not to be exceeded more than once per year.
  c
            The 98th percentile of daily maximum 1-hour average concentrations, averaged over 3 years.
  d
            Annual arithmetic mean.
  e
            The 98th percentile of 24-hour concentrations, averaged over 3 years.
  f
            Annual arithmetic mean, averaged over 3 years.
  g
            Not be exceeded more than once per year on average over 3 years.
  h
            Not to be exceeded.
  i
            The 99th percentile of daily maximum 1-hour concentrations, averaged over 3 years.
  j
            The 24-hour and annual SO2 NAAQS were revoked in 2010 (75 Federal Register 35520); however, standards
            remain in effect until 1 year after an area is designated attainment or nonattainment for the 1-hour standard, except
            in areas designated nonattainment for the 1971 standard, where the 1971 standards remain in effect until
            implementation plans to attain or maintain the 2010 standard are approved.
  k
            Net ground-level concentration not to be exceeded at the property boundary.
  l
            Net ground-level concentration of 0.08 ppm not to be exceeded on property normally occupied by people and net
            ground-level concentration of 0.12 ppm not to be exceeded on property that are not normally occupied by people.



        In addition, there are no nonattainment or maintenance areas through which LNG carriers
 would transit en route to the LNG Terminal site. Although the EPA maintains jurisdiction over
 portions of the outer continental shelf within the Gulf of Mexico (40 CFR 55), attainment status
 does not apply in offshore areas. Therefore, LNG carriers transiting the Gulf of Mexico would
 not pass through nonattainment or maintenance areas.

         Transport of construction materials associated with the Project could occur within the
 Houston-Galveston-Brazoria (HGB) area, which is a marginal nonattainment area for the 2015 8-
 hour ozone standard. Construction emissions from Project elements within the HGB area would
 not be expected to result in an exceedance of applicable general conformity thresholds for the
 HGB area.




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            Air Quality Monitoring and Background Concentrations

        Ambient air monitoring operations in Texas are the responsibility of the TCEQ, which
 has developed a statewide network of stationary monitoring stations to collect direct
 measurements of air pollutant concentrations. Data from these air monitoring sites are available
 through the EPA’s AIRDATA database, which collects air monitoring data from all over the
 country.

         Ambient air quality monitoring data from the 3-year period of 2012 to 2014 and, for
 some pollutants, 2014 to 2016, are summarized in table 4.11.1-2 for those monitors that were
 nearest or most representative of the proposed Project facilities. Because not all pollutants are
 monitored at all stations, multiple monitor locations were used and are representative of
 conditions at the Rio Grande LNG Terminal and along the pipeline route; ambient air quality
 monitor locations were identified in coordination with the TCEQ, as provided in RG Developers’
 Air Quality Modeling Protocol and Air Quality Modeling Analysis Report for the LNG Terminal
 and Compressor Station 3.40

                                             Table 4.11.1-2
      Ambient Air Quality Concentrations for Areas Near the Rio Grande LNG Terminal and Pipeline
                                               Facilities
                   Averaging        Monitor                                          Monitor
      Pollutant                                            Year        Rank                         NAAQS            Unit
                     Time           Location                                          Value

                      1-hour                               2014       2nd high         1.6             35
  CO                               Brownsvillea                                                                       ppm
                      8-hour                               2014       2nd high         0.8             9
                                                                        98th
                      1-hour                             2014-2016                     18.8           100
                                                     b                percentile
  NO2                             Lake Jackson                                                                        ppb
                      Annual                               2016         Mean           2.0             53
                                                                        98th
                      24-hour                            2014-2016                     25.7            35
                                                 c                    percentile
  PM2.5                            Isla Blanca                                                                       µg/m3
                      Annual                             2014-2016      Mean           9.5             12

  PM10                24-hour      Brownsvillea          2012-2014    2nd high          49            150            µg/m3

  Ozone               8-hour       Brownsvillea          2014-2016    4th high         57.3            70             ppb

  Lead               Quarterly         N/A                 N/A        Maximum          N/A            0.15           µg/m3
                                                                        99th
                      1-hour                             2012-2014                     5.3             75
                                     Corpus                           percentile
  SO2                                                                                                                 ppb
                                   Christi Westd
                      3-hour                               2014       2nd high         3.2            500
  a
            344 Porter Drive, Brownsville, Texas (monitor no. 48-061-0006).
  b
            109B Brazoria Hwy 322 West, Lake Jackson, Texas (monitor no. 48-039-1016).
  c
            Lot B 69 ½, South Padre, Texas (monitor no. 48-061-2004).
  d
            902 Airport Blvd., Corpus Christi, Texas (monitor no. 48-355-0025).



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            RG Developers’ Air Quality Modeling Protocol and Air Quality Modeling Analysis Report are available on FERC’s
            eLibrary website, located at http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or
            CP16-455 and accession numbers 20161202-5213 and 20180301-5019.


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          The concentrations listed in table 4.11.1-2 are maximum or near maximum values for the
 identified monitors. As such, they are not necessarily representative of current actual air quality
 in the immediate vicinity of the proposed facilities. For each monitor, table 4.11.1-2 lists the
 applicable concentrations such as annual mean concentration in each year and/or a near
 maximum short-term concentration, which are comparable to the applicable NAAQS. As shown
 in the table, each of the measured concentrations are below or equivalent to the applicable
 NAAQS for the pollutant and averaging period, thus indicating attainment with the standard.

        Regulatory Requirements for Air Quality

         State air quality rules govern the issuance of air permits for construction and operation of
 a stationary emission source. The TCEQ has the primary jurisdiction over air emissions
 produced by stationary sources associated with the Project. The TCEQ’s air quality regulations
 are codified in the 30 TAC. The regulations incorporate federal program requirements listed in
 40 CFR 50-99 and establish permit review procedures for all facilities that can emit pollutants to
 the ambient air. New facilities are required to obtain an air permit prior to construction. For
 larger facilities subject to major New Source Review (NSR) review, and approval at the federal
 level may be required.

        Federal Air Quality Requirements

        New Source Performance Standards

         Section 111 of the CAA authorized the EPA to develop technology-based standards that
 apply to specific categories of stationary sources. These standards, referred to as New Source
 Performance Standards (NSPS), are found in 40 CFR 60. The NSPS apply to new, modified, and
 reconstructed affected facilities in specific source categories. We have determined that the
 following NSPS would be applicable to one or more of the proposed facilities.

         Subpart A – General Provisions. The general provisions listed in Subpart A include
 broader definitions of applicability and various methods for maintaining compliance with
 requirements listed in subsequent subparts of 40 CFR 60. Subpart A also specifies the state
 agencies to which the EPA has delegated authority to implement and enforce standards of
 performance. The TCEQ has been delegated authority for all 40 CFR 60 standards promulgated
 by the EPA. Equipment at the LNG Terminal, compressor stations, or booster stations subject to
 any of the NSPS subparts listed below would all be subject to Subpart A.

         Subpart IIII – Standards of Performance for Stationary Compression Ignition
 Internal Combustion Engines. Subpart IIII applies to owners and operators of stationary
 compression ignition internal combustion engines (CI ICE) that commence construction after
 July 11, 2005 where the stationary CI ICE are: 1) manufactured after April 1, 2006, and are not
 fire pump engines, or 2) are manufactured as a certified NFPA fire pump engine after July 1,
 2006. Subpart IIII specifies emission standards, fuel requirements, compliance requirements,
 and testing requirements for CI ICE, some of which vary by model year, engine power, and
 displacement, and also specifies notification, reporting, and recordkeeping requirements for
 owners and operators of CI ICE subject to this subpart. CI ICE in the form of essential
 generators and firewater pumps at the LNG Terminal would be subject to NSPS Subpart IIII.



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         Subpart JJJJ – Standards of Performance for Spark Ignition Internal Combustion
 Engines. Subpart JJJJ provides requirements for stationary spark ignition internal combustion
 engines that are constructed, modified, or reconstructed after June 12, 2006. The two natural gas
 backup generators located at Compressor Stations 1, 2, and 3 and the interconnect booster
 stations would be subject to the requirements of Subpart JJJJ for emergency natural gas-fired
 engines greater than or equal to 130 hp.

        Subpart KKKK – Standards of Performance for Stationary Combustion Turbines.
 Subpart KKKK applies to owners and operators of stationary combustion turbines with a heat
 input peak load equal to or greater than 10 British thermal units per hour that commenced
 construction, modification, or reconstruction after February 18, 2005. Subpart KKKK regulates
 emissions of NOx and SO2. Subject turbines must meet the applicable emission limits and
 operational requirements as well as recordkeeping and reporting requirements of this subpart.
 The turbines at the LNG Terminal, Compressor Stations 1 and 2, and two booster stations would
 be subject to NSPS KKKK.

        Subpart OOOO – Standards of Performance for Crude Oil and Natural Gas
 Industry. Subpart OOOO applies to owners and operators of crude oil and natural gas
 production, transmission, and distribution facilities. Subpart OOOO regulates emissions of
 VOCs and SO2 from affected facilities that commenced construction, modification, or
 reconstruction after August 23, 2011, and on or before September 18, 2015. Therefore, NSPS
 OOOO is not applicable to the Project.

        Subpart OOOOa – Standards of Performance for Crude Oil and Natural Gas
 Industry. Subpart OOOOa applies to owners and operators of crude oil and natural gas
 production, transmission, and distribution facilities. Subpart OOOO regulates emissions of
 VOCs and methane. RG Developers anticipate that NSPS OOOOa would apply to the
 compressor stations. The LNG units and fugitive emissions at Compressor Station 3 within the
 LNG Terminal site would be subject to NSPS OOOOa. In addition, fugitive emissions at
 Compressor Station 1, Compressor Station 2, and the two booster stations would be subject to
 NSPS OOOOa. RG Developers would monitor fugitive emissions at these facilities.

         Subpart Kb – Standards of Performance for Volatile Organic Liquid Storage
 Vessels. Subpart Kb applies to owners and operators of storage vessels with a capacity greater
 than or equal to 75 m3 and that are used to store volatile organic liquids for which construction,
 reconstruction, or modification is commenced after July 23, 1984. The condensate tanks at the
 LNG Terminal site would be subject to NSPS Kb, and would follow all monitoring,
 recordkeeping, and reporting requirements of this subpart.

        National Emissions Standards for Hazardous Air Pollutants

         Section 112 of the CAA authorized the EPA to develop technology-based standards that
 apply to specific categories of stationary sources that emit HAPs. These standards are referred to
 as National Emission Standards for Hazardous Air Pollutants (NESHAP) and are found in 40
 CFR 61 and 63. Eight hazardous substances are regulated per 40 CFR 61, including asbestos,
 benzene, beryllium, coke oven emissions, inorganic arsenic, mercury, radionuclides, and vinyl
 chloride. NESHAP can apply to major and/or area (minor) sources of HAPs. The EPA develops


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 national priorities for NESHAPs that focus on significant environmental risks and
 noncompliance patterns.

         The 1990 CAA Amendments established a list of 189 HAPs, resulting in the
 promulgation of Part 63, also known as the Maximum Achievable Control Technology
 standards. Part 63 regulates HAPs from major sources of HAPs and specific source categories
 emitting HAPs. Some NESHAPs may apply to area (minor) sources of HAPs. Major source
 thresholds for NESHAPs are 10 tons per year (tpy) of any single HAP or 25 tpy of total HAPs.
 The LNG Terminal, including Compressor Station 3, would be a major source of HAPs, as
 potential total emissions of HAPs would be greater than 25 tpy, and emissions of individual
 HAPs would have the potential to exceed 10 tpy. Total potential HAPs emissions at Compressor
 Station 1, Compressor Station 2, and the two booster stations are all less than 10 tpy, and would
 therefore be considered area sources of HAPs. The following NESHAPs would be applicable to
 one or more of the proposed facilities.

        Subpart A – NESHAP General Provisions. The general provisions listed in Subpart A
 include broader definitions of applicability and various methods for maintaining compliance with
 requirements listed in subsequent subparts of 40 CFR 63. This subpart also addresses the
 delegation of NESHAP authority to the states.

         Subpart YYYY – NESHAP for Stationary Combustion Turbines. Subpart YYYY
 regulates HAP emissions from stationary combustion turbines located at major sources of HAP
 emissions. The gas-fired stationary combustion turbines proposed with the LNG Terminal
 would be required to comply with the requirements for initial notification established in 40 CFR
 63.6145(d), but no further requirements from this subpart.

        Subpart ZZZZ – NESHAP for Stationary Reciprocating Internal Combustion
 Engines. Subpart ZZZZ regulates HAP emissions from reciprocating internal combustion
 engines. Based on the potential to emit for HAPs, the LNG Terminal would be a major source.
 The reciprocating internal combustion engines proposed for the LNG Terminal include the
 engines used for the essential generators, the fire water pumps, and the natural gas generator at
 Compressor Station 3. Although area sources based on their potential to emit for HAPs, Subpart
 ZZZZ would also apply to the backup generators at Compressor Stations 1 and 2, and the two
 booster stations. In accordance with Subpart ZZZZ, compliance with would be achieved through
 compliance with NSPS IIII and JJJJ.

        Mandatory Greenhouse Gas Reporting

         Subpart W of 40 CFR 98 requires petroleum and natural gas facilities that emit 25,000
 metric tons or more of CO2e per year to report annual emissions of specified GHGs from various
 processes within the facility. LNG storage and LNG import and export equipment are
 considered part of the source category regulated by Subpart W. The LNG Terminal (including
 Compressor Station 3) would be required to report GHG emissions because estimated annual
 emissions of GHGs would be above 25,000 metric tpy.

        Compressor stations are also subject to GHG reporting requirements under Subpart W.
 Reporting is required for CO2e from reciprocating compressor rod packing venting, centrifugal



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 compressor venting, transmission storage tanks, blowdown vent stacks, natural gas pneumatic
 device venting, and equipment leaks from valves, connectors, open ended lines, pressure relief
 valves, and meters. Because the estimated annual emissions of GHGs for Compressor Stations 1
 and 2 and Booster Stations 1 and 2 would be above 25,000 metric tpy, these facilities would be
 included in the GHG reporting.

        General Conformity

        A General Conformity applicability analysis is required for any part of the Project
 occurring in nonattainment or maintenance areas for criteria pollutants. Section 176(c) of the
 CAA requires federal agencies to ensure that federally approved or funded projects conform to
 the applicable approved State Implementation Plan. Such activities must not:

        •   cause or contribute to any new violation of any standard in any area;

        •   increase the frequency or severity of any existing violation of any standard in any area;
            or

        •   delay timely attainment of any standard or any required interim emission reductions or
            other milestones in any area.

         All counties that would be affected by the Project are classified as in attainment or
 unclassifiable for all NAAQS; therefore, General Conformity requirements do not apply.
 However, barges traveling to the LNG Terminal site for the delivery of Prefabricated Electrical
 Substations would originate from the HGB area, which is classified as marginal nonattainment
 for the 2015 8-hour ozone standard. As described in section 4.11.1.3, below, construction
 emissions from the Project occurring within the HGB area are not expected to result in an
 exceedance of applicable general conformity thresholds.

        New Source Review – Prevention of Significant Deterioration

        Congress established the NSR pre-construction permitting program as part of the 1977
 CAA Amendments. Federal pre-construction review under NSR is conducted under separate
 procedures for sources in attainment areas and sources in nonattainment areas. Nonattainment
 New Source Review applies to sources in nonattainment areas. Because no Project components
 would be in nonattainment areas, this process does not apply and is not discussed further.

         PSD permitting applies to new major sources or major modifications at existing sources
 located in attainment areas or in areas that are unclassifiable. PSD is intended to keep new air
 emission sources from causing the existing air quality to deteriorate beyond acceptable levels.
 Under PSD, any new major source or major modification of an existing source of air pollutants is
 required to obtain an air quality permit before beginning construction. The definition of a PSD
 major source of air pollutants as applicable to the Project is any stationary source which emits, or
 has the potential to emit, 250 tpy of a regulated criteria pollutant (40 CFR 51.166(b)(1)(i)(b)).
 Table 4.11.1-3 lists the major source emission thresholds applicable to the LNG Terminal and
 pipeline facilities.




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                                            Table 4.11.1-3
        Major Stationary Source and Prevention of Significant Deterioration Emission Thresholds

                                      Major Stationary Source Threshold               PSD Significant Emission
              Air Pollutant
                                                     (tpy)                                  Rates (tpy)

  NOx                                                   250                                         40

  CO                                                    250                                        100

  VOCs                                                  250                                         40

  PM                                                    250                                         25

  PM10                                                  250                                         15

  PM2.5                                                 250                                         10

  SO2                                                   250                                         40

  GHG (as CO2e)                                       75,000                                       N/A



        The aggregated emissions of the LNG Terminal and Compressor Station 3 would exceed
 PSD major source thresholds for NOx, CO, PM2.5, PM10, SO2, and GHG; thus, RG Developers
 would be required to obtain a PSD major source permit. RG Developers submitted a PSD Air
 Permit Application41 for the LNG Terminal and Compressor Station 3 to the TCEQ in May
 2016; revised applications were submitted on November 30, 2016, and March 21, 2017, and the
 TCEQ issued an Order granting the PSD permit on December 17, 2018. Compressor Stations 1
 and 2 and the booster stations would all require minor source permits, which were submitted to
 the TCEQ on March 24, 2017, and were approved in June 2017. RB Pipeline also obtained a
 minor source Permit by Rule for Compressor Station 3, so that it has a permit addressing only
 those emissions sources for which it is responsible.

          Once a facility is subject to PSD, the following requirements apply:

          •     installation of Best Available Control Technology (BACT);

          •     air quality monitoring and modeling analyses to ensure that a Project’s incremental
                increase of emissions would not cause or contribute to a violation of any NAAQS or
                PSD air quality increment;

          •     notification to the federal land manager of nearby Class I areas and modeling if
                applicable;




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          RG LNG’s PSD Air Permit Applications are available on FERC’s eLibrary website, located at
          http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or CP16-455 and accession
          numbers 20170403-5621 and 20170407-5193.


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        •   a growth, soil and vegetation, and visibility analysis; and

        •   public comment on the permit.

          BACT is an emissions limitation that is based on the maximum degree of control that can
 be achieved. It is a case-by-case decision that considers energy, environmental, and economic
 impact. BACT can be add-on control equipment or modification of the production processes or
 methods. This includes fuel cleaning or treatment and innovative fuel combustion techniques.
 BACT may be a design, equipment, work practice, or operational standard if imposition of an
 emissions standard is infeasible (TCEQ 2011). RG Developers completed a BACT assessment
 for the LNG Terminal, including Compressor Station 3, as part of a PSD application for CO,
 NOx, VOC, PM10, PM2.5, and GHGs, the results of which were incorporated into subsequent
 facility emission calculations.

         The air quality monitoring and modeling analysis involves an assessment of existing air
 quality, which may include ambient monitoring data and air quality dispersion modeling results,
 and predictions, using dispersion modeling, of ambient concentrations that would result from the
 proposed LNG Terminal and associated future growth (TCEQ 2015b).

         There are three air quality classifications within an attainment area for purposes of PSD
 permitting review: Class I areas are designated as pristine natural areas or areas of natural
 significance and receive special protections under the CAA based on good air quality. Class III
 areas are heavily industrialized zones that are established only on request and must meet all
 requirements outlined in 40 CFR 51.166. The remainder of the United States is designated as
 Class II. The LNG Terminal site and pipeline facilities would be located in Class II areas (40
 CFR 81).

        If a new source or major modification of an existing source is subject to the PSD
 permitting requirements and is within 62 miles of a Class I area, the facility is required to notify
 appropriate federal officials and assess the impacts of the proposed Project on the Class I area.
 The closest Class I area to the LNG Terminal site is Big Bend National Park, which is more than
 400 miles from the site.

         Air quality monitoring includes additional evaluations of the LNG Terminal impacts
 (including Compressor Station 3), including a growth, soil and vegetation, and visibility analysis.
 RG Developers filed a final air quality modeling report developed as part of the TCEQ
 permitting process that includes these additional evaluations. The final report was submitted to
 the TCEQ in January 2018. The visibility analysis for the LNG Terminal site includes an
 assessment of the visual air quality impacts of emissions from the terminal on Palo Alto
 Battlefield, 12 miles northwest of the LNG Terminal site.

        Title V Operating Permit

         The Part 70 Operating Permit program, as described in 40 CFR 70, requires major
 stationary sources of air emissions to obtain a federally enforceable operating permit. Part 70
 operating permits are more commonly referred to as “Title V” permits. The EPA has delegated




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 the authority to issue Title V permits to the TCEQ, which has incorporated the program in 30
 TAC Chapter 122.

        The threshold levels for determining the applicability for a Title V permit are:

        •   100 tpy of any criteria air pollutant;

        •   10 tpy of any individual HAP; or

        •   25 tpy of any combination of HAPs.

         Estimated potential emissions of CO, NOx, VOC, PM10, and PM2.5 during operation of the
 LNG Terminal and Compressor Station 3 would be greater than 100 tpy. Additionally, the 10
 tpy threshold for individual HAPs and 25 tpy threshold for aggregate HAPs would be exceeded.
 Therefore, the LNG Terminal and Compressor Station 3 would be subject to the Title V
 Operating Permit Program.

        For new sources (such as the ones proposed here), applications for Title V permits are
 due prior to commencing operation. RG Developers plan to submit the Title V permit
 application for the LNG Terminal and Compressor Station 3 prior to beginning construction.

         Estimated potential emissions for both Compressor Stations 1 and 2 would also be
 expected to exceed the 100 tpy threshold for both NOx and CO. These facilities would also be
 subject to the Title V Operating Permit Program. RG Developers plan to submit the Title V
 permit applications for Compressor Stations 1 and 2 prior to commencing operations. Operation
 of the booster stations would not require a Title V Operating Permit.

        Texas Air Quality Requirements

         The Project would be subject to state standards, codified in Title 30 of the TAC. The
 regulations listed below would apply to the new facilities associated with the Project, including
 turbines, thermal oxidizers, flares, generators, fire water pumps, and fugitive emissions:

        •   30 TAC Chapter 101, Subchapter A – General Rules. This chapter includes provisions
            related to circumvention, nuisance, traffic hazards, sampling and sampling ports,
            emissions inventory requirements, sampling procedures and terminology, compliance
            with EPA standards, inspection and emission fees, and emission events and scheduled
            maintenance, start-up, and shutdown activities.

        •   30 TAC Chapter 106 – Permits by Rule. This chapter outlines the permitting
            requirements for facilities that meet specific emissions limits, and that do not quality
            as major sources (see 30 TAC Chapter 116, below). RB Pipeline plans to obtain a
            minor source Permit by Rule for Compressor Station 3, so that it has a permit
            addressing only those emissions sources for which it is responsible. The booster
            stations would also require minor source permits authorized as Permits by Rule.

        •   30 TAC Chapter 111 – Control of Air Pollution from Visible Emissions and Particulate
            Matter. This chapter outlines the allowable visible emission (i.e., opacity)


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            requirements and total suspended particulate emission limits based on calculated
            emission rates.

        •   30 TAC Chapter 112 – Control of Air Pollution from Sulfur Compounds. This chapter
            outlines emission limits and monitoring, reporting, and recordkeeping requirements.
            This chapter also lists net ground-level concentration standards at the property line for
            certain sulfur compounds.

        •   30 TAC Chapter 113 – Standards of Performance for Hazardous Air Pollutants and
            for Designated Facilities and Pollutants. Chapter 113 incorporates by reference the
            NESHAP source categories (40 CFR 63).

        •   30 TAC Chapter 114 – Control of Air Pollution from Motor Vehicles. This chapter
            addresses inspection requirements and maintenance and operation of air pollution
            control systems/devices for motor vehicles owned and/or operated at the Project
            facilities. This chapter applies to use of construction- and operations-related vehicles.

        •   30 TAC Chapter 116, Subchapter B – Control of Air Pollution by Permits for New
            Construction or Modification. This chapter outlines the permitting requirements for
            the construction of new sources. As described above under Federal Air Quality
            Requirements, the aggregated emissions of the LNG Terminal and Compressor Station
            3 would exceed PSD major source thresholds for NOx, CO, PM2.5, PM10, and SO2; and
            RG Developers would be required to obtain a PSD major source permit. Compressor
            Stations 1 and 2 would require minor source permits authorized under the TCEQ
            Standard Permits regulations (30 TAC Chapter 116, Subchapter F).

        •    30 TAC Chapter 118 – Control of Air Pollution Episodes. This chapter outlines the
            requirements relating to generalized and localized air pollution episodes.

        •   30 TAC Chapter 122 – Federal Operating Permits Program. This chapter outlines the
            requirements for complying with the federal operating permits program.

        RG Developers have outlined the methods and measures by which they would comply
 with the requirements of each applicable TCEQ air quality regulation in their permit
 applications. It is expected that the TCEQ would include permit conditions in the respective
 permits to ensure compliance with these regulations.

 4.11.1.3       Impacts and Mitigation

         During construction, a reduction in ambient air quality would result from emissions and
 fugitive dust generated by construction equipment. Fugitive dust and other emissions from
 construction activities generally do not result in a significant increase in regional pollutant levels,
 although local pollutant levels could intermittently increase during the lengthy construction
 period. Air pollutant emissions during construction of the LNG Terminal would result from the
 operation of construction vehicles, marine traffic, and vehicles driven by construction workers
 commuting to and from work sites. Emissions during construction of the pipeline facilities
 would also result from the operation of construction vehicles and vehicles driven by construction


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 workers. In addition, particulate emissions would result from fugitive dust generated by
 construction-related activities, the quantity of which would depend on several factors, including:

        •   the size of area disturbed;

        •   the nature and intensity of construction activity;

        •   surface properties (such as the silt and moisture content of the soil);

        •   the wind speed; and

        •   the speed, weight, and volume of vehicular traffic.

         The Project would result in emissions from operation of the LNG Terminal, compressor
 stations, and booster stations, as well as fugitive emissions from pipe flanges, valves, and valve
 stems. Emissions estimates for each facility are included below.

        LNG Terminal

        Construction

         Construction of the LNG Terminal would be continuous over a 78-month period,
 beginning upon receipt of all applicable permits. The first LNG train is expected to be
 completed by Year 4, with construction of the final LNG train expected to be complete in Year
 7. In addition, emissions from worker commutes associated with commissioning the Project
 would occur in Year 8. Construction of Compressor Station 3 would also begin the first quarter
 of Year 3, with additional compression installed periodically through Year 7, as subsequent LNG
 trains are brought online. The construction emissions estimate includes emissions from
 operation of construction equipment, operation of the onsite concrete batch plants, deliveries of
 supplies, worker commutes, and land disturbance. Annual emissions estimates for activities
 associated with construction of the LNG Terminal and Compressor Station 3 are summarized in
 table 4.11.1-4. To estimate construction emissions, RG LNG developed an inventory of non-
 road equipment, vessels, on-road vehicles, off-road vehicles, and expected activity levels (either
 hours of operation or miles traveled) that would be used during construction at the LNG
 Terminal site. The level of activity for each piece of construction equipment was combined with
 the relevant emission factors to determine estimates of annual construction emissions.

        Two concrete batch plants would be established at the site, mixing a total of about
 200,000 tons of cement, 400,000 tons of sand, and 600,000 tons of aggregate to produce concrete
 for construction of the LNG Terminal. Onsite batching facilities would implement fugitive dust
 suppression equipment and filters as required by the TCEQ.




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                                         Table 4.11.1-4
  Estimated Construction Emissions for the Rio Grande LNG Terminal and Compressor Station 3
                                            (tpy)a,b
  Facility and                                                                                                 Total
                        NOx           CO             SO2           PM 10          PM 2.5         VOC                           CO2e
     Year                                                                                                      HAPs
  Rio Grande LNG Terminal
      Year 1            12.0          18.6           2.0           589.4           60.0           0.7            0.2           653.8
      Year 2            69.7         111.4           11.8         1,199.5         125.8           4.2            1.2          9,711.0
      Year 3            127.8        174.3           23.5         1,146.6         125.8           6.4            1.7         15,835.2
      Year 4            59.3         118.5           10.6           91.4           14.2           3.6            1.0          9,046.0
      Year 5            45.0         106.7           8.0            56.1           9.2            2.9            0.8          7,532.0
      Year 6            39.0          70.2           7.1            26.9           5.8            2.1            0.5          6,310.0
      Year 7             1.2          10.4           0.0            13.9           1.4            0.1            <0.1         1,054.0
      Year 8            <0.1          <0.1           <0.1           <0.1           <0.1           <0.1           <0.1           13.8
  Compressor Station 3
      Year 3             1.3          10.3           <0.1           10.6           1.1            0.3            <0.1         1,371.5
      Year 4             0.1          0.7            <0.1           0.7            <0.1           <0.1           <0.1          114.8
      Year 5             0.7          6.5            <0.1           0.2            <0.1           <0.1           <0.1          933.9
      Year 6             0.7          5.8            <0.1           0.4            <0.1           <0.1           <0.1          831.5
      Year 7             0.4          4.4            <0.1           0.5            <0.1           <0.1           <0.1          642.8
  a
               Emission estimates include construction emissions from on- and off-road vehicle activity, truck deliveries, vessel
               activity, worker commutes, and fugitive dust. HAPs were not estimated by RG LNG for vessel activity; however,
               they were estimated using emission factors for commercial marine vessels identified by the EPA in the 2014
               National Emissions Inventory.
  b
               Additional fill material may be obtained from the Port Isabel dredge pile for the Project; RG LNG is currently
               conducting an analysis of the barge transport alternative for feasibility of use (see section 3.4). If used, RG LNG
               would obtain the fill via barge. RG LNG estimated annual fugitive emissions from use of the temporary haul road
               originally proposed for use on the Project; because the haul road is no longer part of the Project, but the transport of
               material by barge may not be required, we have included use of the haul road as a conservative estimate for annual
               fugitive construction emissions.




         Construction materials would be delivered to the site by barge and by truck. Tugboats
 would be used for barge deliveries of construction material and equipment. RG LNG estimates
 that 878 marine deliveries would occur over a 5-year period during construction. Emissions
 associated with transportation of construction material would be expected to continue until
 Year 7. Other vessel emissions during LNG Terminal construction would result from dredging
 of the marine facilities and surveys to map underwater topography.

         Fugitive dust emissions would be generated throughout the construction period and are
 included in the annual emissions estimates. Fugitive dust emissions would include contributions
 from general site construction work (acreage impacted), earth-moving fugitive dust emissions
 (quantity of soil moved), and unpaved road travel (distance of travel and weight of vehicles).
 Fugitive dust would be produced primarily during the site preparation activities, when the site
 would be cleared of debris, leveled, and graded, including at proposed offsite facilities.



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         RG LNG would minimize vehicular exhaust from construction worker commutes by
 providing bus transportation during construction of Stages 4, 5, and 6 of the LNG Terminal when
 offsite parking areas are in use. RG LNG would use recent models of construction equipment,
 conduct regular inspections and emissions testing of construction vehicles, and limit idling of
 heavy equipment to less than 5 minutes to the extent practicable. In addition, RG LNG would
 implement the measures in its Terminal Construction Fugitive Dust Control Plan to minimize
 fugitive dust, including the following:

        •   a water truck would be available at all times during construction. Based on weather
            and site conditions, the water truck would spray Project areas as needed, including
            designated site entrances, access roads, staging areas, material stockpiles, laydown
            areas, construction workspace, and parking areas. Once available, the permanent water
            supply for the LNG Terminal may be used for dust control near the LNG trains and
            tanks;

        •   crushed rock would be placed on high traffic temporary roads, and sprayed with asphalt
            binding material to mitigate fugitive dust emissions. Roadways would be regularly
            monitored and cleaned or watered as necessary;

        •   parking areas would be paved to reduce fugitive dust generation;

        •   speed limits would be enforced in construction work areas, including restricting speed
            limits to 20 miles per hour on unsurfaced roads;

        •   dump trucks and off-road trucks would be covered while traveling; and

        •   tire washing pools would be used to remove material clinging to tires.

         The EI and RG LNG’s Site Construction Management would be responsible for ensuring
 that dust control measures are implemented. To ensure that the fugitive dust plan is adequate to
 minimize fugitive dust during the 78-month construction period of the LNG Terminal, and per
 our recommendation in section 4.2.2.1, RG LNG would submit a final Terminal Construction
 Fugitive Dust Control Plan to FERC prior to construction. Because construction emissions
 would be limited to the construction period, standard EPA emission permitting thresholds do not
 apply. General Conformity applicability thresholds do not apply at the LNG Terminal site
 because the Project area is in attainment for all the NAAQS. We conducted a General
 Conformity applicability determination for marine emissions associated with barge traffic in the
 HGB area, which is a marginal nonattainment area for the 2015 8-hour ozone standard. As
 shown in table 4.11.1-5, these emissions would not exceed the NOx and VOC emissions
 conformity determination thresholds of 100 tpy for marginal nonattainment areas; NOx and
 VOCs are precursors to ozone. Therefore, a General Conformity determination does not apply to
 the Project.




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                                       Table 4.11.1-5
  Estimated Marine Vessel VOC and NOx Emissions in the Houston-Galveston-Brazoria Area (tpy)
               Year                             NOx                                VOC

  Year 2                                        6.99                               0.28

  Year 3                                        8.21                               0.33

  Year 4                                        7.30                               0.29

  Year 5                                        6.69                               0.27

  Year 6                                        0.91                               0.04



        The construction activities proposed in association with the LNG Terminal are
 comparable to other types of infrastructure projects or industrial facilities. As indicated in table
 4.11.1-4, there may be localized minor to moderate elevated levels of fugitive dust and tailpipe
 emissions near construction areas during the 78-month construction period associated with the
 LNG Terminal site.

         The construction emissions’ impact on ambient air quality would vary with time due to
 the construction schedule, the mobility of the sources, and the variety of emission sources.
 Fugitive dust and other emissions due to construction activities generally do not pose a
 significant increase in regional pollutant levels; however, local pollutant levels would increase
 during the construction period. Considering these factors, we determine that construction of the
 Project would impact local air quality. However, construction emissions would not have a long-
 term, permanent effect on air quality in the area.

           Operation

           Commissioning and Start-up Emissions

         Commissioning of the LNG trains and start-up of the LNG Terminal is expected to result
 in emissions between Year 4 and Year 7, during start-up of each train. Ground flares would be
 used to control start-up emissions. These emissions would be staged in conjunction with
 construction at the LNG Terminal site, and would begin in Year 4 with LNG Train 1
 commissioning, emissions from LNG Tanks 1 and 2 cooldown, and cooldown at Marine Jetty 1
 and associated LNG loading lines. Train 2 commissioning and start-up emissions would begin in
 Year 5. Emissions from commissioning of Trains 3 and 4, cooldown of LNG Tank 3, Jetty 2,
 and the loading lines would begin in Year 6. Finally, emissions from start-up and
 commissioning of LNG Trains 5 and 6 and cooldown of LNG Tank 4 would begin in Year 7. A
 summary of these additional emissions is provided in table 4.11.1-6.




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                                           Table 4.11.1-6
                 Estimated Emissions from LNG Train Commissioning and Start-Up (tpy)
                                                                                           Total
     Year         NOx       CO        SO2       H2SO4     PM 10      PM 2.5   VOC                    CO2e
                                                                                           HAPs
  Year 4           332      674        0.2       0.01      4.4        4.4     1,087         0.1     462,041

  Year 5           236      485        0.1       0.01      3.0        3.0      782          0.1     358,314

  Year 6           467      940        0.3       0.02      6.0        6.0     1,538         0.2     708,882

  Year 7           463      910        0.3       0.02      6.0        6.0     1,512         0.2     701,271

  H2SO4 = Sulfuric acid



            Routine Operation

        Air emissions for routine operation and maintenance at the LNG Terminal site include
 those associated with the LNG Terminal and Compressor Station 3. The emission sources
 associated with the LNG Terminal are expected to operate continuously following
 commissioning. The six LNG trains would include the following continuous emissions sources:

            •   12 gas turbines (2 per LNG train; 1 per LNG train would be equipment with a waste
                heat recovery unit);

            •   six thermal oxidizers (one per LNG train);

            •   two condensate tanks; and

            •   fugitive emissions from pipe flanges, valves, and valve stems.

        The LNG Terminal would also contain the following emission sources, which would
 operate on an intermittent or as-needed basis:

            •   six diesel fired emergency generators;

            •   two emergency diesel drive firewater pumps;

            •   one LNG tank and BOG low-pressure vent;

            •   three wet/dry ground flares to control emissions during maintenance, start-up, and
                shutdown events;

            •   up to 312 LNG carriers per year (about 6 per week), and their attendant tugs, pilot boats,
                and security escort vessels;

            •   trucking facilities for LNG and condensate transport; and

            •   miscellaneous mobile sources.



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         Once fully built, Compressor Station 3 would have six electric compressor units which
 would operate on a continuous basis and would not contribute to operating emissions. One
 condensate tank would be kept onsite. Two backup natural gas fueled generator sets would be
 constructed in order to temporarily provide electricity in the event of a power outage.
 Additionally, intermittent emissions would be generated from maintenance activities such as
 pigging, blowdowns, flaring, and from start-up/shutdown. Emissions from both Compressor
 Station 3 and the LNG Terminal would also result from fugitive emissions from piping
 components, such as valves and seals. Power for the LNG Terminal and Compressor Station 3
 would be provided via a connection to a local public electrical network, and (with the exception
 of backup generators), power generation would not contribute to operation emissions at the LNG
 Terminal site (see section 2.2.1).

         Annual emissions by source for the LNG Terminal and Compressor Station 3 and a
 summary of total annual emissions are provided in table 4.11.1-7. In addition to the stationary
 sources at the LNG Terminal, table 4.11.1-7 shows the mobile emissions from worker
 commutes, truck LNG distribution, and LNG carriers and tugboats associated with LNG
 Terminal operations. Emission estimates include proposed control technologies, based on the
 completion of RG Developers’ BACT assessment for CO, NOx, VOC, PM10, PM2.5, and GHGs.
 In addition to total HAPs, the individual HAPs with the greatest contribution to total HAPs
 emitted by the Project are presented in table 4.11.1-7. These include formaldehyde and the
 group of VOCs known collectively as BTEX (benzene, toluene, ethyl-benzene, and xylene). The
 estimates represent emissions associated with full build-out of the Project, and with all six LNG
 trains operating at maximum capacity. Operation emissions would be lower in Year 4, when the
 first LNG train and associated facilities would be commissioned, and would reach the values in
 table 4.11.1-7 after completion of the final stage of construction and commissioning Train 6 and
 associated facilities in Year 7.

         The LNG Terminal and Compressor Station 3 would be a PSD major source for NO x,
 CO, PM10, PM2.5, VOCs, and GHG (as CO2e). The facility would be considered a major source
 of HAP emissions. As described in section 4.11.1.3, because emissions at the LNG Terminal site
 would be above the PSD significant emission rates (see table 4.11.1-3) for NOx, CO, PM10,
 PM2.5, VOC, and CO2e, these pollutants would be subject to both federal and state permitting and
 compliance requirements. RG Developers would be required to show compliance with the
 NAAQS and PSD increment requirements for NOx, CO, SO2, PM10, and PM2.5. In addition, RG
 Developers would be required to show compliance with the ozone NAAQS and to comply with
 the federal requirements for major sources of CO 2e. Compliance with these requirements are
 discussed below.




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                                                                                           Table 4.11.1-7
                                              Summary of Estimated Emissions from Routine Operation of the LNG Terminal and Compressor Station 3 (tpy) a,b

                                                                                                                                                HAPs
                              Equipment                NOx       CO       SO2    H2SO4     PM 10   PM 2.5   VOC     Formal-                         Ethyl-             Total     CO2e
                                                                                                                              Benzene   Toluene               Xylene
                                                                                                                    dehyde                         benzene             HAPs

                         LNG TERMINAL

                         Stationary Emissions Sources from the LNG Terminal

                          Gas turbines (12)           1,702.9   2,628.0   1.7     0.1      367.9   367.9    94.6     36.1       0.6       6.6          1.6     3.3     50.8    6,080,096.0

                          Thermal oxidizers (6)        213.2    149.2     28.2    2.2      13.5    13.5      9.8      0.1      <0.1       0.0          <0.1    0.0      3.3    1,924,414.0

                          Ground flare system (2)      14.0     120.0     <0.1   <0.1       0.0     0.0     102.5     0.0       0.0       0.0          0.0     0.0      0.0     30,446.0
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                          Ground flare system
                          (use during
                                                       114.0    228.0     0.3     0.0       0.0     0.0     390.0     0.0       0.0       0.0          0.0     0.0      0.0    102,662.0
                          maintenance / start-up /
                          shutdown)
                          Essential generators (6)     12.7      7.0      <0.1     -        0.4     0.4       -      <0.1      <0.1      <0.1          0.0     <0.1    <0.1      1,428.0
                          Emergency firewater
                                                        0.7      0.4      <0.1     -       <0.1    <0.1       -      <0.1      <0.1      <0.1          0.0     <0.1    <0.1       76.0
                          pumps (2)
                          LNG tank and BOG
                          low-pressure vent with        1.1      9.4      0.0     0.0       0.0     0.0      4.4      0.0       0.0       0.0          0.0     0.0      0.0      4,650.0
                          ignition package
                          Fugitives                      -         -       -       -         -       -       3.1      0.0      <0.1      <0.1          <0.1    <0.1     0.1      5,626.0

                                         Subtotal 2,058.6       3,142.0   30.2    2.3      381.8   381.8    604.4    36.2       0.6       6.6          1.6     3.3     54.2    8,149,398.0

                         Mobile Emissions Sources from the LNG Terminal
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                          Worker commutec              <0.1      0.3      <0.1     -       <0.1    <0.1     <0.1     <0.1      <0.1      <0.1          <0.1    <0.1    <0.1       47.0
                          Truck LNG distribution
                                                        1.6      0.7      <0.1     -        0.1     0.1      0.1     <0.1      <0.1      <0.1          <0.1    <0.1    <0.1      1,287.0
                          and NGL exportc
                          LNG carriers and
                                                       927.3     88.0     13.9     -       28.5    27.7     38.5      1.7       0.2      <0.1          <0.1    0.1      5.7     44,034.0
                          tugboatsd
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                                                                                         Table 4.11.1-7 (continued)
                                                  Summary of Estimated Emissions from Routine Operation of the LNG Terminal and Compressor Station 3 (tpy) a,b

                                                                                                                                                              HAPs
                                 Equipment               NOx       CO       SO2      H2SO4      PM 10      PM 2.5   VOC      Formal-                               Ethyl-                Total        CO2e
                                                                                                                                        Benzene      Toluene                  Xylene
                                                                                                                             dehyde                               benzene                HAPs

                                             Subtotal    928.9     89.0     13.9        -        28.6      27.8      38.6       1.7         0.2         <0.1         <0.1      <0.1       <0.1       45,368.0

                              LNG Terminal Total 2,987.5          3,231.0   44.1       2.3      410.4      409.6    643.0      37.9         0.8         6.6          1.6        3.4       59.9     8,194,766.0

                         COMPRESSOR STATION 3

                             Backup generators (2)        0.1      0.3       0.0       0.0       0.0        0.0      0.1       <0.1        <0.1         <0.1         0.0        0.0       <0.1         45.0

                             Condensate tank (1)           -         -        -         -         -          -       3.7        0.0        <0.1         <0.1         <0.1      <0.1        0.2         52.0
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                             Pigging activities            -         -        -         -         -          -       0.2        0.0        <0.1         <0.1         <0.1      <0.1       <0.1        392.0

                             Fugitivese                    -         -        -         -         -          -       0.7        0.0        <0.1         <0.1         <0.1      <0.1       <0.1         63.0

                                             Subtotal     0.1      0.3       0.0       0.0       0.0        0.0      4.7       <0.1        <0.1         <0.1         <0.1      <0.1        0.3        552.0

                                                  Total 2,987.6   3,231.3   44.1       2.3      410.4      409.6    647.7      38.0         0.8         6.6          1.6        3.4       60.2     8,195,318.0

                         a
                                     The numbers in this table have been rounded for presentation purposes. As a result, the totals may not reflect the sum of the addends.
                         b
                                     Project estimates are for the LNG Terminal and Compressor Station 3 after all stages of construction are completed. Estimates are for routine operation.
                         c
                                     Speciated HAPs were not provided by RG LNG for worker commutes, or truck LNG distribution and NGL export for the LNG Terminal. Because total HAPs for these sources
                                     are <0.1 tpy, a conservative assumption that each individual HAP would be emitted at a rate of <0.1 tpy was included.
                         d
                                     HAPs were not estimated by RG LNG for LNG carrier and tugboat emissions; however, they were estimated using emission factors for commercial marine vessels identified by
                                     the EPA in the 2014 National Emissions Inventory.
                         e
                                     Speciated HAPs were not provided by RG LNG for fugitive compressor station emissions; the emissions were estimated based on the ration of individual HAP weight percentage
                                     to the total VOC weight percentage for the gas analysis for the King Ranch Gas Plant provided by RG LNG.
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        Ambient Impacts

         Several public scoping comments expressed concern regarding the dispersion of
 pollutants during operation of the LNG Terminal, and requested that RG Developers mitigate
 potential impacts. RG Developers conducted a PSD Screening Analysis, NAAQS Analysis, and
 PSD Increment Analysis for stationary sources at the LNG Terminal and Compressor Station 3
 in accordance with the TCEQ’s permitting requirements. In addition to the modeling required by
 the TCEQ, FERC requested that RG Developers conduct the requisite modeling for the LNG
 Terminal to include the mobile LNG carrier and support vessel emissions in order to fully assess
 the impacts of the LNG Terminal operations. The modeling presented herein includes the
 mobile LNG carriers and support vessels. The PSD Screening Analysis included a Significance
 Analysis, Area of Impact Analysis, and Pre-construction Monitoring Analysis. The Significance
 Analysis considers the emissions associated with only the proposed LNG Terminal, LNG mobile
 emissions, and Compressor Station 3 to determine if operation of these facilities would have a
 significant impact on the surrounding area. The modeled ground‐level concentrations are
 compared to the corresponding significant impact levels (SIL), also known as modeling
 significance levels, to determine if any predicted concentrations at any receptor locations would
 be “significant.” If the Significance Analysis reveals that modeled ground‐level concentrations
 for a particular pollutant and averaging period are greater than the applicable SIL, a full impact
 analysis, which considers emissions from regional sources within the Area of Impact Analysis, is
 performed at the significant receptors. Air quality models evaluated pollutant concentrations
 from the facility fenceline; therefore, the recreation areas near the LNG Terminal are included in
 the assessment.

         The Area of Impact Analysis is defined as the area in which a particular pollutant and
 averaging time are greater than the applicable SIL. If the predicted Significance Analysis
 impacts for a particular pollutant are below the applicable SIL(s), then no further analyses (e.g.,
 NAAQS Analysis and PSD Increment Analysis) are required for that pollutant. Results from the
 significance analysis also dictate if pre-construction ambient monitoring is required.

         In accordance with the modeling requirements outlined above, RG Developers performed
 a PSD Significance Analyses for those pollutants that exceeded the PSD significant emission
 rates. These included NO2, CO, PM10, PM2.5, VOCs, and CO2e. The results of these analyses for
 stationary sources are summarized in table 4.11.1-8, along with the associated SIL for each
 pollutant. As stated above, FERC requested that RG Developers conduct modeling to include
 the mobile LNG carrier and support vessel emissions; the results of the PSD Significance
 Analysis for stationary and mobile sources are presented in table 4.11.1-9.




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                                             Table 4.11.1-8
       Summary of Air Dispersion Modeling of Stationary Sources at the Rio Grande LNG Terminal,
                   Significant Impact Levels for Air Quality Impacts in Class II Areas
         Air                                    Modeled Impact                                       Full Impact Analysis
                    Averaging Period                                           SIL (µg/m3)
      Pollutant                                    (µg/m 3)a                                         Required? (Yes / No)

                           1-hour                      13.89                        7.5                        Yes
  NO2
                          Annual                        1.2                         1                          Yes

                           1-hour                      364.6                      2,000                        No
  CO
                           8-hour                      228.8                       500                         No

                          24-hour                      1.05                         1.2                        No
  PM2.5
                          Annual                       0.26                         0.3                        No

  PM10                    24-hour                      1.05                         5                          No

                           1-hour                      1.53                         7.8                        No

  SO2                     24-hour                      0.38                         5                          No

                          Annual                       0.09                         1                          No
  a
             Modeled impacts include the maximum predicted ground-level concentration for stationary sources only as required
             by the TCEQ, as included in RG LNG’s air quality analysis modeling report.




                                            Table 4.11.1-9
      Summary of Air Dispersion Modeling of Stationary and Mobile Sources at the Rio Grande LNG
             Terminal, Significant Impact Levels for Air Quality Impacts in Class II Areas
         Air                                    Modeled Impact                                          SIL Exceedance
                    Averaging Period                                           SIL (µg/m3)
      Pollutant                                    (µg/m 3)a                                               (Yes / No)

                          1-hour                      212.42                        7.5                        Yes
  NO2
                          Annual                       4.03                          1                         Yes

                          1- hour                      658.8                       2,000                        No
  CO
                          8- hour                      236.2                       500                          No

                          24- hour                     2.59                         1.2                        Yes
  PM2.5
                          Annual                       0.30                         0.3                        Yes

  PM10                    24- hour                     3.24                          5                          No

                          1- hour                      3.85                         7.8                         No

  SO2                     24- hour                     1.11                          5                          No

                          Annual                       0.11                          1                          No
  a
             Modeled impacts include stationary sources and LNG carriers at the LNG Terminal.




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         The results of RG Developers’ PSD Significance Analyses conducted for the TCEQ
 indicate that the associated emissions of NO2 for stationary sources (1-hr and annual) would
 exceed the SIL. Because the results of RG Developers’ PSD Significance Analyses indicated an
 exceedance of the SIL for NO2 a NAAQS analysis was required by the TCEQ for each averaging
 period. A cumulative modeling assessment of NO 2 emissions of nearby stationary sources
 (within 31 miles) is also required for the Project. RG LNG completed modeling in coordination
 with the TCEQ and the cumulative modeling did not indicate any exceedances of relevant
 thresholds. The TCEQ modeling results do not include mobile sources; therefore, we conducted
 a cumulative analysis including the emissions for the three LNG terminals proposed along the
 BSC (see section 4.13.2).

         In the event that a potential NAAQS violation is identified, a source is not considered to
 have caused or contributed to the violation if its own impact from the modeling significance
 analysis is not significant (e.g., modeled impact is less than the SIL) at the violating receptor at
 the time of the predicted violation. If no simultaneous exceedance of the SIL and the NAAQS is
 found in this process, the modeling analysis demonstrates that the proposed LNG Terminal
 would not cause or contribute to the potential NAAQS exceedance.

         In addition to NO2, the analysis of air dispersion modeling for stationary sources and
 LNG carriers indicated that emissions of PM2.5 would meet or exceed the SIL. Table 4.11.1-10
 shows the results of this NAAQS assessment for stationary and mobile (LNG carrier) sources for
 pollutants with a SIL exceedance (see tables 4.11.1-8 and 4.11.1-9). The modeled concentrations
 at the LNG Terminal and mobile sources with the inclusion of background concentrations would
 not exceed the NAAQS.

         Because the emissions from stationary and mobile sources would not exceed the
 NAAQS, the results of the NAAQS analysis required by the TCEQ (which only includes
 stationary sources at the LNG Terminal site, resulting in lower emissions estimates, and only
 addresses NO2 emissions) are not included herein. Therefore, we conclude that the LNG
 Terminal and Compressor Station 3 would not cause or significantly contribute to an exceedance
 of the NAAQS.

                                                Table 4.11.1-10
                      Summary of National Ambient Air Quality Standards Full Impact Analysis
                                                          Background
                                         Maximum                                                                 NAAQS
                         Averaging                         + Modeled                            NAAQS
      Air Pollutant                        Impact                            SIL (ug/m 3)                      Exceedance?
                          Period                             Impact                             (µg/m 3)
                                          (µg/m 3)a                                                             (Yes / No)
                                                           (µg/m 3)a,b

                           1-hour           136.5             171.8              7.5               188               No
  NO2
                           Annual            4.03              7.83               1                100               No

                           24-hour           1.98             27.68              1.2               35                No
  PM2.5
                           Annual            0.30              9.80              0.3               12                No
  a
             Modeled impacts include stationary sources and LNG carriers at the LNG Terminal site. The pollutants included are
             those that exceed the SIL as presented in tables 4.11.1-8 and 4.11.1-9.
  b
             Background concentrations based upon available background levels presented in table 4.11.1-2.




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        Secondary air quality standards are set under the CAA for the protection of public
 welfare, including protection against decreased visibility and damage to animals and vegetation,
 including crops. The NAAQS analysis demonstrated that the LNG Terminal would comply with
 applicable secondary NAAQS; therefore, any impacts on vegetation, animals, and other public
 welfare concerns would not be significant. In Texas, if a facility complies with visibility and
 opacity requirements specified in 30 TAC Chapter 111, no additional visibility impact analyses
 are required. RG LNG would comply with visibility and opacity requirements specified in 30
 TAC Chapter 111.

         Given the close proximity of the LNG Terminal site to the Palo Alto Battlefield, about
 14.0 miles west of the LNG Terminal site, and Padre Island National Seashore, about 36.0 miles
 northeast of the LNG Terminal site, RG LNG prepared an assessment demonstrating maximum
 modeled ground-level concentrations for pollutants in relation to the NAAQS at the Palo Alto
 Battlefield at the request of the NPS. The results of this comparison are provided in table 4.11.1-
 11. Based on the NAAQS analysis in table 4.11.1-10 above, it is anticipated that no NAAQS
 exceedance would occur at Padre Island National Seashore from operation of the Project.

                                           Table 4.11.1-11
                  Summary of NAAQS Full Impact Analysis, Palo Alto Battlefield Receptors
                                                                                      Modeled Result +
                                             Maximum
                         Averaging                                 Background           background              NAAQS
      Air Pollutant                        Modeled Result
                          Period                                  Value (µg/m3) b      concentration            (µg/m 3)
                                             (µg/m 3) a
                                                                                          (µg/m 3)

                             1-hr                 5.16                  35.3                  40.46               188
  NO2
                           Annual                 0.05                  3.8                   3.85                100

                             1-hr                41.77                1,257.6               1,299.37             40,000
  CO
                             8-hr                13.08                 800.3                 813.38              10,000

                            24-hr                 0.09                  25.7                  25.79                35
  PM2.5
                           Annual                 0.01                  9.5                   9.51                 12

  PM10                      24-hr                 0.66                  49.0                  49.66               150

                             1-hr                 0.24                  13.2                  13.44               196

  SO2                       24-hr                 0.06                  3.7                   3.76                365

                           Annual                0.002                  0.08                  0.08                 80
  a
             Modeled impacts include stationary sources and LNG carriers at the LNG Terminal site.
  b
             Background concentrations based upon available background levels presented in table 4.11.1-2.



         An additional visibility screening model was prepared using VISCREEN to assess
 potential visibility impacts on the Palo Alto Battlefield, since sources of air pollution can cause
 visible plumes if PM and NOx emissions are large enough. The VISCREEN model was run
 using site-specific meteorological data and background visibility conditions from the Galveston




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 Airport in Galveston County due to a similar location on the coast of the Gulf of Mexico with
 nearby industrial sites.

         The results of the model are compared to criteria established for Class I areas (see section
 4.11.1.2) to assess the visibility of a plume due to contrast with the viewing background. The
 results of the VISCREEN analysis indicate that Class I area thresholds would not be exceeded at
 the Palo Alto Battlefield during the day when the park is open for visitors.

         The State of Texas also requires a State Property Line Analysis for major sources and
 listed minor sources to demonstrate compliance with state standards for net ground-level
 concentrations of SO2. Results of this analysis are provided in table 4.11.1-12, and show that
 operation of the Project would not result in the exceedance of any relevant standards. Public
 scoping comments and comments on the draft EIS expressed concern regarding impacts of
 operational emissions from the LNG Terminal on public health. The State of Texas requires a
 State Health Effects air quality analysis comparing predicted emissions of non-criteria pollutants
 with effects screening levels, which are used to evaluate potential effects as a result of exposure
 to air emissions. The pollutants assessed for the Project include benzene (a VOC), hexane,
 heptane, iso-butane, and n-butane. The results of RG LNG’s State Health Effects modeling
 evaluation indicate that the Project emissions are below applicable effects screening levels, and
 therefore adverse health effects are not expected.

                                           Table 4.11.1-12
                  SO2 NAAQS Analysis Modeling Results for the Rio Grande LNG Terminal
                                                                                  State Property Line Standard
          Averaging Period                 Maximum Concentration (µg/m 3)a
                                                                                            (µg/m 3)
  30-minute SO2                                              5.1                             1,021

  1-hour H2SO4                                              0.16                              50

  24-hour H2SO4                                             0.04                              15
  a
          Modeled results include stationary sources and LNG carriers.



         Regional Ozone Impacts

         Because the Rio Grande LNG Terminal is a major source of NO x and VOC emissions,
 which are precursors to ozone, the potential ozone impact of the LNG Terminal and Compressor
 Station 3 was analyzed. RG LNG conducted photochemical modeling to determine the potential
 8-hour ozone impact from LNG Terminal operations using the Comprehensive Air Quality
 Model with Extensions (CAMx) in accordance with the EPA’s July 2015 Draft Single Source
 Ozone Guidance. RG LNG also assessed potential ozone impacts in accordance with the two-
 step screening process established by the TCEQ.

         The CAMx model was run using a “base case” scenario of emissions; a “future year”
 scenario that would be representative of baseline conditions in Year 7, the year before the LNG
 Terminal would be fully operational; and an emissions scenario that included the Project (added
 to the future year scenario), thus allowing for a comparison of ozone levels before and after the


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 Project is permitted and at full build-out. In accordance with the TCEQ screening process, RG
 LNG used national emissions inventory data to determine the ratio of NOx to VOC in Cameron
 County, and found that the ambient air surrounding the LNG Terminal is NO x limited for
 creation of ozone. Based on TCEQ guidance, RG LNG performed NO x modeling to estimate the
 maximum predicted 8-hour concentration of ozone resulting from Project operations and found
 that the maximum 8-hour ozone impacts of the LNG Terminal and Compressor Station 3 were
 estimated to be 2.3 parts per billion (ppb) of ozone, which, when considered with the background
 ozone concentration of 57 ppb, would not result in an exceedance of 8-hour ozone standard of 70
 ppb. Since issuance of the draft EIS, and as identified in a comment issued by the Sierra Club,
 the TCEQ issued a Construction Permit Source Analysis & Technical Review for the Project as
 part of its review and issuance of air quality permits. In that analysis, the TCEQ conducted a
 conservative analysis of ozone levels based on guidance provided by the EPA Region 6. Based
 on the revised analysis by the TCEQ, the 8-hour maximum predicted increase of ozone would be
 11.6 ppb which, when considered with the background ozone concentration of 57 ppb, would not
 result in an exceedance of the 8-hour ozone standard. Cameron County is currently in attainment
 for the ozone standard, and the Project is not expected to result a violation of the ozone standard
 or re-designation.

        Staged Emissions Impacts

          As described in section 2.3, the Project has been proposed in six staged construction
 phases where the LNG Terminal site would be developed over the course of about 7 years, with
 the first LNG train becoming operational in Year 4 of construction. Therefore, construction,
 commissioning and start-up, and operations would take place simultaneously and result in
 concurrent emissions of air pollutants. Using the air emissions estimates provided by RG
 Developers for routine operation of all six LNG Trains and Compressor Station 3 compressor
 units, we have estimated the staged operational emissions during each year that commissioning
 and construction would also take place. Table 4.11.1-13 summarizes the combined construction,
 commissioning, and operational emissions for the Rio Grande LNG Terminal, by year.

          Based on the schedule provided by RG Developers, the emissions for Years 1 through 3
 would be construction only with commissioning activities for the first LNG train beginning in
 Year 4. Each subsequent year (Years 5 through 7) results in emissions for construction, and
 commissioning and start-up, of each stage. Concurrent construction and commissioning and
 start-up emissions would be greater than full build-out operational emissions of NOx and CO in
 Year 7, during which construction would be ongoing for Stage 6, while Stages 1 through 5 would
 be operational beginning in the first quarter of the year. Similarly, concurrent VOC emissions,
 primarily due to commissioning and start-up emissions, would be greatest during Years 4
 through 7. These concurrent emissions would temporarily impact local air quality during the
 staged construction, commissioning and start-up, and operations of the LNG Terminal, and could
 result in exceedances of the NAAQS in the immediate vicinity of the LNG Terminal during these
 construction years. However, these exceedances would not be persistent at any one time during
 these years due to the dynamic and fluctuating nature of construction activities within a day,
 week, or month. Further, construction emissions would be highly localized, and the nearest
 residential areas are about 2.2 miles from the LNG Terminal site. Because pollutant
 concentrations would decrease with distance from the LNG Terminal site, concurrent emissions
 would be unlikely to exceed the NAAQS in residential areas. Therefore, these concurrent


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 emissions would not have a long-term, permanent effect on air quality in the area. Further, the
 full build-out operational emissions from the LNG Terminal, as described above, would not
 result in an exceedance of the NAAQS.

                                         Table 4.11.1-13
      Combined Construction, Commissioning and Start-up, and Operational Emissions for the Rio
                      Grande LNG Terminal and Compressor Station 3 (tpy)a,b
                                                                                                               Total
        Year                NOx          CO            SO2           PM 10         PM 2.5         VOC                        CO2e
                                                                                                               HAPs
  Rio Grande LNG Terminal
      Year1c                12.0         18.6           2.0          589.4          60.0           0.7          0.2           653.8
      Year 2   c            69.7        111.4          11.8         1,199.5        125.8           4.2          1.2          9,711.0
      Year 3c              129.1        184.6          23.5         1,157.2        126.9           6.7          1.7         17,206.7
      Year 4               519.8        928.1          12.6          113.6          35.7         1,117.6        3.6        813,988.2
      Year 5              1,430.3      1,811.6         24.5          213.4         166.0         1,027.9        23.5       3,449,204.0
      Year 6              2,391.3      3,036.7         34.7          290.0         268.0         1,944.9        38.3       5,843,844.5
      Year 7              3,207.2      3,887.1         40.4          396.7         383.0         2,105.8        55.4       8,216,659.2
      Year 8d             2,987.7      3,231.2         43.7          410.5         409.7          647.6         60.2       8,195,333.8
  a
                   Annual construction emissions are presented in table 4.11.1-4; annual commissioning and start-up emissions are
                   presented in table 4.11.1-6.
  b
                   Annual operations emissions for full build-out are presented in table 4.11.1-7, and annual operations emissions were
                   estimated based on the schedule presented in table 2.3-1. We have assumed the following timeframes for full
                   operations of each stage: Stage 1 in Q4 of Year 4; Stage 2 in Q1 of Year 5; Stage 3 in Q4 of Year 5; Stage 4 in Q2
                   of Year 6; Stage 5 in Q1 of Year 7; Stage 6 in Q3 of Year 7.
  c
                   Construction emissions only; no commissioning, start-up, or operations would take place.
  d
                   Full build-out operations emissions and emissions from worker commutes associated with commissioning the
                   Project would occur in Year 8.



           Greenhouse Gas Emissions

          Based upon the emission estimates summarized in table 4.11.1-7, the LNG Terminal and
 Compressor Station 3 would be a PSD major source of GHG emissions; therefore, RG
 Developers’ PSD permit application included a BACT assessment for GHG emissions from the
 facility. RG Developers have committed to complying with the GHG BACT requirements,
 which would mitigate GHG emissions to the extent practicable. Public comments expressed
 concern over the level of GHGs that would be emitted by the Project, as well as impacts on
 climate change. Climate change is addressed in section 4.13.2.

           Operational LNG Emissions Impact Conclusion

        Based upon the entirety of our analysis, we conclude that operation of the LNG Terminal
 would not cause, or significantly contribute to, an exceedance of the NAAQS. During operation,
 we have determined that the Project would have minor impacts on the local and regional air quality,
 but would not result in regionally significant impacts on air quality. Concurrent emissions would
 temporarily impact local air quality during the staged construction, commissioning and start-up,
 and operations of the LNG Terminal, and could result in exceedances of the NAAQS in the
 immediate vicinity of the LNG Terminal during these construction years. These exceedances


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 would not be persistent at any one time during these years due to the dynamic and fluctuating
 nature of construction activities within a day, week, or month.

          Pipeline Facilities

          Pipeline System

          Construction

         Construction of the Pipeline System would result in a temporary increase in emissions
 due to the combustion of fuel in vehicles and equipment, dust generated from excavation,
 grading and fill activities, and general construction activities (e.g., painting and welding).
 Construction emissions associated with pipeline construction would be minimal and localized to
 the construction area, which would predominantly occur in sparsely populated areas.
 Construction for Pipelines 1 and 2 would be expected to occur between Years 3 and 6. There
 would be an 18-month period between the end of construction on Pipeline 1 (expected to be
 complete in Year 4), and the start of construction on Pipeline 2 in Year 5. The Header System
 would be constructed at the same time as Pipeline 1. Construction emissions are summarized in
 table 4.11.1-14.

                                            Table 4.11.1-14
                     Estimated Construction Emissions for the Pipeline System (tpy)a

   Facility                                                                                             Total
                  NOx            CO            SO2           PM 10         PM 2.5         VOC                          CO2e
  and Year                                                                                              HAPs

  Pipeline 1 and Header Systemb
      Year 3       9.2           38.1          <0.1          804.7          80.6           0.9            0.4         4,600.4
      Year 4       4.2           11.8          <0.1          637.9          63.9           0.5            0.2         2,628.4
  Pipeline 2
      Year 5       5.6           18.6          <0.1          717.2          71.9           0.6            0.3         4,048.8
      Year 6       3.8           16.7          <0.1          717.1          71.7           0.4            0.2         3,482.5
  a
           Emissions estimates include construction emissions from on- and off-road vehicle activity, truck deliveries, worker
           commutes, and fugitive dust.
  b
           The MLV sites and metering sites are included in the emission calculations for Pipelines 1 and 2 and the Header
           System.



         To minimize construction air emissions, RB Pipeline would use the most fuel-efficient
 construction equipment available, and would use buses where feasible to minimize emissions
 from worker commutes. Further, RB Pipeline would use recent models of construction
 equipment, conduct regular inspections and emissions testing of construction vehicles, and limit
 idling of heavy equipment to less than 5 minutes to the extent practicable. To minimize fugitive
 dust emissions associated with construction of the pipeline facilities, RB Pipeline would
 implement the measures described in its draft Pipeline System Fugitive Dust Control Plan,
 including the following:




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        •   applying water and/or a non-toxic chemical dust suppressant, alone or in combination
            with mulches, to areas of disturbance;

        •   using wind fences, berms, or covering material (e.g., gravel or textiles) on disturbed
            areas;

        •   using existing public and private roads and pipeline right-of-way for access during
            construction wherever possible;

        •   restricting speed in construction work areas, including restricting speed limits to 20
            miles per hour on unsurfaced roads; and

        •   washing, wetting down, treating, or covering hauling equipment when necessary.

         To ensure that the fugitive dust plan is adequate to minimize fugitive dust during the
 construction of both pipelines, and per our recommendation in section 4.2.2.1, RB Pipeline
 would provide its final Pipeline System Fugitive Dust Control Plan prior to commencing
 construction of the Pipeline System. Fugitive dust emissions would occur during the
 construction period and would subside once construction activities for any given Project
 component are complete. With the implementation of the measures described above and our
 recommendation, we have determined that fugitive dust emissions associated with construction
 of the Pipeline System are not expected to contribute to degradation of the NAAQS.
 Construction of the Pipeline System would occur over a much shorter duration than the LNG
 Terminal. While elevated emissions may occur near construction areas, impacts would be short-
 term and minor.

        Operation

        Fugitive emissions in the form of minor leaks from flanges, valves, and connectors could
 occur along the length of the pipeline route during operation. Fugitive emissions would be
 staged and increase over time as construction of the Project and equipment progressed. At full
 build-out, the Pipeline System would emit 2.7 tpy of VOC and 337.6 tpy of CO 2e. Emissions
 from the pipelines would be minor and dispersed over the entirety of the pipeline length.
 Therefore, we conclude that operation of the pipelines would not cause or significantly
 contribute to an exceedance of the NAAQs.

        Aboveground Facilities

        Construction

          Construction of Compressor Stations 1 and 2 and Booster Stations 1 and 2 would result in
 a temporary increase in emissions due to combustion of fuel in vehicles and equipment, dust
 generated from excavation, grading and fill activities, and general construction activities (e.g.,
 painting and welding). Emissions associated with construction of the metering sites and MLVs
 are included in emissions estimates for the pipeline facilities. All ground disturbance, grading,
 and fill activities associated with construction of the compressor stations and booster stations




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 would be completed during Stage 1 of construction. Therefore, the highest construction
 emissions for the aboveground facilities would occur during Year 3.

          Construction of Compressor Stations 1 and 2 would be expected to take place between
 the first quarter of Year 3 and the third quarter of Year 7. Construction of the compressor
 stations would occur intermittently, with compressor units being added at each station in
 coordination with the staged construction at the LNG Terminal site. Booster Stations 1 and 2
 would be constructed between the first quarter of Year 3 and the first quarter of Year 4.
 Estimated emissions associated with the construction of each compressor station and booster
 station are summarized in table 4.11.1-15.

                                           Table 4.11.1-15
                 Estimated Construction Emissions for the Aboveground Facilities (tpy)a
  Facility and                                                                                          Total
                      NOx        CO            SO2           PM 10         PM 2.5         VOC                          CO2e
     Year                                                                                               HAPs

  Compressor Station 1

  Year 3              1.3        10.3          <0.1           3.8            0.4           0.3           <0.1         1,371.5

  Year 4              0.1         0.7          <0.1           0.1           <0.1           <0.1          <0.1          114.8

  Year 5              0.7         6.5          <0.1           0.4           <0.1           <0.1          <0.1          933.9

  Year 6              0.7         5.8          <0.1           1.9            0.2           <0.1          <0.1          831.5

  Year 7              0.4         4.4          <0.1           0.7           <0.1           <0.1          <0.1          642.8

  Compressor Station 2

  Year 3              1.3        10.3          <0.1           3.5            0.4           0.3           <0.1         1,371.5

  Year 4              0.1         0.7          <0.1           0.1           <0.1           <0.1          <0.1          114.8

  Year 5              0.7         6.5          <0.1           0.4           <0.1           <0.1          <0.1          933.9

  Year 6              0.7         5.8          <0.1           2.3            0.2           <0.1          <0.1          831.5

  Year 7              0.4         4.4          <0.1           0.8           <0.1           <0.1          <0.1          642.8

  Booster Station 1

  Year 3              1.3        10.3          <0.1           2.5            0.2           0.3           <0.1         1,371.5

  Year 4              0.1         0.7          <0.1           0.1           <0.1           <0.1          <0.1          98.5

  Booster Station 2

  Year 3              1.3        10.3          <0.1           2.5            0.2           0.3           <0.1         1,371.5

  Year 4              0.1         0.7          <0.1           0.1           <0.1           <0.1          <0.1          98.5
  a
           Emissions estimates include construction emissions from on- and off-road vehicle activity, truck deliveries, worker
           commutes, and fugitive dust.




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          As previously referenced, standard EPA emission thresholds do not apply to construction
 emissions, and General Conformity applicability thresholds do not apply at the aboveground
 facility sites because the area is in attainment for all the NAAQS. The construction activities
 proposed in association with the facilities are comparable to other types of infrastructure projects
 or industrial facilities and would represent a small portion of the overall annual emissions in the
 region. Therefore, the construction emissions would not have a long-term effect on air quality in
 the area, although they would result in temporary impacts in the vicinity of active construction.

        Operation

         Compressor Stations 1 and 2 would be constructed in stages, with additional compressor
 units being brought online over time in conjunction with development at the LNG Terminal.
 Once fully built, Compressor Stations 1 and 2 would each include six, 30,000-hp gas-fired
 compressor units with low NOx burners which would operate on a continuous basis. One
 condensate tank would be kept on each site. Two backup natural gas fueled generator sets would
 be constructed at both facilities in order to temporarily provide electricity in the event of a power
 outage. Emissions would also result from fugitive losses associated with piping components,
 such as valves and seals.

         Additionally, intermittent emissions would be generated from maintenance activities at
 the facilities such as pigging, blowdowns, and start-up/shutdowns. Fugitive emissions would be
 staged and increase over time as construction of the Project and equipment progressed. Potential
 fugitive emissions that would be emitted for full build-out of each of the compressor stations
 would be 7.1 tpy of VOCs and 15,811 tpy of CO2e.

        Based on the emission estimates provided in table 4.11.1-16, Compressor Stations 1 and
 2 would each be Title V major sources for CO and NOx, with both exceeding the major source
 threshold of 100 tpy. The facilities would be considered a minor source of all other criteria
 pollutants, as well as HAP emissions. The individual HAPs with the greatest contribution to
 total HAPs emitted by the Project are presented in table in table 4.11-16 for reference; these
 include formaldehyde and the group of VOCs known collectively as BTEX (benzene, toluene,
 ethyl-benzene, and xylene). Though Title V major sources for CO and NO x, emissions would be
 below the NSR major source thresholds (see table 4.11.1-3). An ambient full impact analysis
 was performed for CO, NOx, PM10, PM2.5, and SO2 in comparison to the NAAQS for
 Compressor Stations 1 and 2. As identified in table 4.11.1-17, the modeled impacts with
 included background concentrations would not cause a NAAQS exceedance.




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                                                                                                     Table 4.11.1-16
                                                                            Compressor Stations 1 and 2 Estimated Annual Emission Rates (tpy)a

                                                                                                                                                           HAPs
                                   Equipment                NOx       CO        SO2    PM 10    PM 2.5      VOC                                                                                       CO2e
                                                                                                                       Formald-                                 Ethyl-                    Total
                                                                                                                                     Benzene      Toluene                    Xylene
                                                                                                                        ehyde                                  benzene                    HAPs

                         Compressor Station 1

                             Gas turbines (6)              190.6     193.8      20.5    11.5     11.5       12.7          4.3           0.1          0.8          0.2          0.4          6.0      669,784

                             Backup generators (2)          0.6       0.6       0.0     <0.1     <0.1        0.1          0.1           0.0          <0.1         0.0          0.0          0.1         225

                             Condensate tank (1)              -         -        -       -         -         3.7          0.0           <0.1         <0.1         <0.1         <0.1         0.2         52

                             Fugitive emissionsb              -         -        -       -         -         7.1          0.0           <0.1         <0.1         <0.1         <0.1        <0.1       15,811

                              Pig receiving                   -         -        -       -         -          -            -             -             -           -            -            -           -
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                             Start-up / shutdown
                                                            1.7       13.6       -       -         -        33.1          0.0           <0.1         <0.1         <0.1         <0.1        0.49       75,532
                             (including blowdowns)
                             Compressor Station 1 Total    192.9     208.0      20.5    11.5     11.5       56.7          4.4           0.1          0.8          0.2          0.4          6.8      761,404

                         Compressor Station 2

                             Gas turbines (6)              190.6     193.8      20.5    11.5     11.5       12.7          4.3           0.1          0.8          0.2          0.4          6.0      669,784

                             Backup generators (2)          0.6       0.6       0.0     <0.1     <0.1        0.1          0.1           0.0          <0.1         0.0          0.0          0.1         225

                             Condensate tank (1)              -         -        -       -         -         3.7          0.0           <0.1         <0.1         <0.1         <0.1         0.2         52

                             Fugitive emissionsb              -         -        -       -         -         6.7          0.0           <0.1         <0.1         <0.1         <0.1        <0.1       15,779

                             Pig receiving                    -         -        -       -         -         0.2          0.0           <0.1         <0.1         <0.1         <0.1        <0.1        392.0
                             Start-up / shutdown
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                                                            1.7       13.6       -       -         -        33.1          0.0           <0.1         <0.1         <0.1         <0.1         0.5       75,532
                             (including blowdowns)
                             Compressor Station 2 Total    192.9     208.0      20.5    11.5     11.5       56.5          4.4           0.1          0.8          0.2          0.4          6.8      761,764
                         a
                                     The numbers in this table have been rounded for presentation purposes. As a result, the totals may not reflect the sum of the addends.
                         b
                                     Speciated HAPs were not provided by RG LNG for fugitive compressor station emissions; the emissions were estimated based on the ration of individual HAP weight percentage
                                     to the total VOC weight percentage for the gas analysis for the King Ranch Gas Plant provided by RG LNG
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                                         Table 4.11.1-17
  Summary of Air Dispersion Modeling at Compressor Stations 1 and 2 and Comparison to NAAQS

                                                                                       Modeled Result +
                     Averaging       Maximum Modeled             Background                                         NAAQS
  Equipment                                                                              Background
                       Time           Result (µg/m 3)           Valuea (µg/m 3)                                     (µg/m 3)
                                                                                     Concentration (µg/m3)

  Compressor Station 1

                        1-hour               38.71                    35.3                      74.0                 188.7
      NO2
                        Annual                2.74                     3.8                      6.5                   100

                        1-hour               49.71                   1,257.6                  1,307.3                40,000
      CO
                        8-hour               38.91                    800.3                    839.2                 10,000

                       24-hour                2.28                    25.7                      28.0                  35
      PM2.5
                        Annual                0.40                     9.5                      9.9                   12

      PM10             24-hour                3.36                    49.0                      52.4                  150

                        1-hour                4.16                    13.2                      17.4                  196

      SO2              24-hour                2.90                     3.7                      6.6                   365

                        Annual                0.29                    0.08                      0.4                   80

  Compressor Station 2

                        1-hour                10.0                    35.3                      45.3                 188.7
  NO2
                        Annual                1.25                     3.8                      5.1                   100

                        1-hour               96.69                   1,257.6                  1,354.3                40,000
  CO
                        8-hour               68.32                    800.3                    868.6                 10,000

                       24-hour                0.52                    25.7                      26.2                  35
  PM2.5
                        Annual                0.18                     9.5                      9.7                   12

  PM10                 24-hour                0.67                    49.0                     49.67                  150

                        1-hour                1.08                    13.2                      14.3                  196

  SO2                  24-hour                0.51                     3.7                      4.2                   365

                        Annual                0.13                    0.08                      0.2                   80

  a
            Background concentrations are based upon available background levels presented in table 4.11.1-2.




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         Booster Stations 1 and 2 would each include a single 30,000-hp natural gas turbine-
 driven compressor. One condensate tank would be constructed on each site. Emissions would
 also result from fugitive losses associated with piping components, such as valves and seals.
 Additionally, intermittent emissions would be generated from intermittent sources in the form of
 a backup natural gas-fired generator and blowdown vent at each facility. Based on the emission
 estimates provided in table 4.11.1-18, Booster Stations 1 and 2 would not be Title V major
 sources, and all emissions at each facility would be below the PSD significant emission rates (see
 table 4.11.1-3). An ambient full impact analysis was performed for CO, NOx, PM10, PM2.5, and
 SO2 in comparison to the NAAQS at Booster Stations 1 and 2. As identified in table 4.11.1-19,
 the modeled impacts with included background concentrations would not cause an exceedance of
 the NAAQS. Therefore, we conclude that neither booster station would cause or significantly
 contribute to an exceedance of the NAAQS.

         Elevated levels of air pollutants would occur during the period of construction, primarily
 from fugitive dust. However, through implementation of construction work practices and our
 recommendation in section 4.2.2.1 to finalize the Pipeline System Fugitive Dust Control Plan
 prior to construction, analysis of the estimated emissions from construction and operation, and an
 analysis of the modeled air quality impacts from operation of the pipeline facilities, we find there
 would be no significant impacts on air quality.

         While construction of the Rio Grande LNG Project would result in localized minor to
 moderate elevated levels of fugitive dust and combustion emissions near the construction areas,
 impacts related to construction of the facilities would be limited to the construction period for the
 Project. Based upon the entirety of our analysis, we conclude that operation of the Rio Grande
 LNG Project would not cause, or significantly contribute to, an exceedance of the NAAQS.
 During operation, we have determined that the Project would have minor impacts on the local
 and regional air quality, but would not result in regionally significant impacts on air quality.

        .




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                                                                                                    Table 4.11.1-18
                                                                           Booster Stations 1 and 2 Estimated Annual Emission Rates (tpy)a

                                                                                                                                                          HAPs
                                       Equipment                  NOx     CO       SO2       PM 10     PM 2.5    VOC                                                                                  CO2e
                                                                                                                          Formald-                                Ethyl-                  Total
                                                                                                                                        Benzene      Toluene                   Xylene
                                                                                                                           ehyde                                 benzene                  HAPs

                         Booster Station 1

                             Gas turbine (1)                      31.8    32.3      3.4       1.9       1.9       2.1        0.7          <0.1          0.1         <0.1         0.1        1.0      111,631

                             Backup generators (1)                0.3      0.3      0.0       <0.1      <0.1      0.1        0.1           0.0         <0.1         0.0          0.0        0.1        112

                             Condensate tank (1)                   -        -        -         -         -        3.7        0.0          <0.1         <0.1         <0.1        <0.1        0.2         52

                             Fugitive emissions b                  -        -        -         -         -        7.1        0.0          <0.1         <0.1         <0.1        <0.1       <0.1      15,811
                             Start-up/shutdown (including
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                                                                  0.3      2.3       -         -         -        5.5        0.0          <0.1         <0.1         <0.1        <0.1        0.1      12,589
                             blowdowns)

                                        Booster Station 1 Total   32.4    34.9      3.4       1.9       1.9      18.4        0.8          <0.1          0.1         <0.1         0.1        1.3      140,195

                         Booster Station 2

                             Gas turbine (1)                      31.8    32.3      3.4       1.9       1.9       2.1        0.7          <0.1          0.1         <0.1         0.1        1.0      111,631

                             Backup generators (1)                0.3      0.3      0.0       <0.1      <0.1      0.1        0.1           0.0         <0.1         0.0          0.0        0.1        112

                             Condensate tank (1)                   -        -        -         -         -        3.7        0.0          <0.1         <0.1         <0.1        <0.1        0.2         52

                             Fugitive emissions b                  -        -        -         -         -        7.1        0.0          <0.1         <0.1         <0.1        <0.1       <0.1      15,811
                             Start-up/shutdown (including
                                                                  0.3      2.3       -         -         -        5.5        0.0          <0.1         <0.1         <0.1        <0.1        0.1      12,589
                             blowdowns)

                                        Booster Station 2 Total   32.4    34.9      3.4       1.9       1.9      18.4        0.8          <0.1          0.1         <0.1         0.1        1.3      140,195
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                         a
                                 The numbers in this table have been rounded for presentation purposes. As a result, the totals may not reflect the sum of the addends.
                         b
                                 Speciated HAPs were not provided by RG LNG for fugitive compressor station emissions; the emissions were estimated based on the ration of individual HAP weight percentage to
                                 the total VOC weight percentage for the gas analysis for the King Ranch Gas Plant provided by RG LNG.
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                                          Table 4.11.1-19
      Summary of Air Dispersion Modeling at Booster Stations 1 and 2 and Comparison to NAAQS
                                              Maximum               Background         Modeled Result +
                          Averaging                                                      Background               NAAQS
      Equipment                             Modeled Result             Valuea
                            Time                                                        Concentration             (µg/m 3)
                                               (µg/m 3)               (µg/m 3)             (µg/m 3)
  Booster Station 1
                              1-hr                 2.35                  35.3                  37.7                 188
      NO2
                            Annual                 0.20                  3.8                    4.0                 100
                              1-hr                31.84                1,257.6                1,289.4              40,000
      CO
                              8-hr                26.27                 800.3                  826.6               10,000
                             24-hr                 0.14                  25.7                  25.8                 35
      PM2.5
                            Annual                 0.08                  9.5                    9.6                 12
      PM10                   24-hr                 0.18                  49.0                  49.2                 150
                              1-hr                 0.36                  13.2                  13.6                 196
      SO2                    24-hr                 0.14                  3.7                    3.8                 365
                            Annual                0.026                  0.08                   0.1                 80
   Booster Station 2
                              1-hr                 2.39                  35.3                  37.7                 188
      NO2
                            Annual                 0.20                  3.8                    4.0                 100
                              1-hr                28.40                1,257.6                1,286.0              40,000
      CO
                              8-hr                24.80                 800.3                  825.1               10,000
                             24-hr                 0.25                  25.7                  26.0                 35
      PM2.5
                            Annual                 0.08                  9.5                    9.6                 12
      PM10                   24-hr                 0.35                  49.0                  49.4                 150
                              1-hr                 0.37                  13.2                  13.6                 196
      SO2                    24-hr                 0.14                  3.7                    3.8                 365
                            Annual                0.026                  0.08                   0.1                 80
  a
              Background concentrations based upon available background levels presented in table 4.11.1-2.




 4.11.2 Noise

         The noise environment can be affected during both construction and operation of a
 project. The magnitude and frequency of environmental noise may vary considerably over the
 course of the day, throughout the week, and across seasons, in part due to changing weather
 conditions and the effects of seasonal vegetation cover. This section identifies the potential
 Project-related sources and magnitude of noise, and discusses the change in noise attributable to
 construction and operation of the Project.

        Sound is a sequence of waves of pressure that propagates through compressible media
 such as air or water. When sound becomes excessive, annoying, or unwanted, it is referred to as
 noise. Public scoping comments expressed concern regarding noise associated with the Project,
 including potential disruptions to wildlife (see sections 4.6.1 and 4.7) and residences (see section



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 4.11.2.3). The ambient sound level of a region is defined by the total noise generated within the
 specific environment and usually comprises natural and man-made sounds.

         Two measurements used by some federal agencies to relate the time-varying quality of
 environmental noise to its known effects on people are the equivalent sound level (L eq) and the
 day-night sound level (Ldn). The preferred single value figure to describe sound levels that vary
 over time is Leq, which is defined as the sound pressure level of a noise fluctuating over a period
 of time, expressed as the amount of average energy. L dn is defined as the 24-hour average of the
 equivalent average of the sound levels during the daytime (from 7:00 a.m. to 10:00 p.m.) and the
 equivalent average of the sound levels during the nighttime (10:00 p.m. to 7:00 a.m.).
 Specifically, in the calculation of the Ldn, late night and early morning (10:00 p.m. to 7:00 a.m.)
 noise exposures are increased by 10 dB to account for people’s greater sensitivity to sound
 during nighttime hours. In general, if the sound energy does not vary over the given time period,
 the Ldn level will be equal to the Leq level plus 6.4 dB. The 6.4 dB difference between the Ldn
 and the Leq is a result of the 10 dB nighttime addition for the Ldn calculation. In addition, the
 maximum sound level observed during a measurement period or noise event (L max) is used to
 describe sound levels associated with pile-driving.

         Decibels are the units of measurement used to quantify the intensity of noise. To account
 for the human ear’s sensitivity to low level noises the decibel values are corrected to weighted
 values known as decibels on the A-weighted scale (dBA). The A-weighted scale is used because
 human hearing is less sensitive to low and high frequencies than mid-range frequencies. Table
 4.11.2-1 demonstrates the relative dBA noise levels of common sounds measured in the
 environment and industry. A 3 dB change of sound level is considered to be barely perceivable
 by the human ear, a 5 or 6 dB change of sound level is considered noticeable, and a 10 dB
 increase is perceived as if the sound intensity has doubled.

 4.11.2.1       Noise Regulations

        Federal Regulations

         In 1974, the EPA published Information on Levels of Environmental Noise Requisite to
 Protect Public Health and Welfare with an Adequate Margin of Safety (EPA 1974). This
 publication evaluated the effects of environmental noise with respect to health and safety. The
 document provides information for state and local governments to use in developing their own
 ambient noise standards. The EPA has determined that, to protect the public from activity
 interference and annoyance outdoors in residential areas, noise levels should not exceed an L dn of
 55 dBA. We have adopted this criterion (18 CFR 157.206(b)(5)) for new compression and
 associated pipeline facilities, and it is used here to evaluate the potential noise effects from
 construction and operation of the LNG Terminal and pipeline facilities. An L dn of 55 dBA is
 equivalent to a continuous noise level of 48.6 dBA for facilities that operate at a constant level of
 noise. Additionally, Section 380.12(k)(4)(v)(B) of FERC’s regulations indicates new
 compressor stations or modifications of existing stations shall not result in a perceptible increase
 in vibration at any NSA.




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                                                      Table 4.11.2-1
                                            Sound Levels and Relative Loudness
                                                                                             Relative Loudness
                                                Sound Level
        Noise Source or Activity                                  Subjective Impression    (perception of different
                                                   (dBA)
                                                                                                sound levels)
  Jet aircraft takeoff from carrier (50 feet)       140              Threshold of pain          64 times as loud

  Loud rock concert near stage                      120             Uncomfortably loud          16 times as loud
  Jet takeoff (2,000 feet)                          100                  Very loud              4 times as loud

  Garbage disposal / food blender (2 feet)          80                     Loud               Reference loudness

  Vacuum cleaner (10 feet)                          70                   Moderate                 1/2 as loud

  Light auto traffic (100 feet)                     50                     Quiet                  1/8 as loud

  Quiet library, soft whisper (15 feet)             30                  Very quiet                1/32 as loud
  Wilderness with no wind or animal
                                                    25                Extremely quiet                  --
  activity
                                                     0              Threshold of hearing               --
  Source: Barnes et al. 1977, EPA 1971.




           State and Local Regulations

         The State of Texas does not have any state regulations that apply to noise. Additionally,
 no towns near the LNG Terminal site or in counties crossed by the Pipeline System were
 identified to have any restricting regulations. The Project is located outside the City of
 Brownsville; therefore, the Brownsville Noise Ordinance (Chapter 46, Article III, Brownsville,
 Texas, Code of Ordinances n.d.) is not applicable to the Project.

 4.11.2.2             Existing Sound Levels and Noise Sensitive Areas

         RG Developers estimated baseline sound levels near the proposed LNG Terminal site,
 compressor stations, booster stations, and HDD entry and exit sites by conducting acoustical
 assessments. As Compressor Station 3 would be within the footprint of the LNG Terminal,
 sound produced during its construction and operation are included in the estimates for the
 terminal. Nearby NSAs, which include residences, hospitals, and schools, were identified to
 determine the Project’s potential sound contribution during construction and operation. RG
 LNG also assessed ambient sound levels at “check point” locations that do not meet the
 definition of an NSA, but are potentially sensitive to sound level impacts, such as cultural sites
 and important wildlife areas in the Project vicinity (i.e., Palmito Ranch Battlefield, Palo Alto
 Battlefield, piping plover critical habitat, the wildlife corridor crossing SH-48, and the Laguna
 Atascosa NWR).




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           LNG Terminal

         RG LNG conducted noise surveys in July 2015 and September 2016 to characterize the
 existing noise environment at the NSAs and other sensitive sites nearest to the LNG Terminal
 site. During surveys, two 10- to15-minute measurements of Leq were taken at each survey site:
 one during the daytime and one at night. The results of the ambient noise survey, as well as the
 distance and direction of each identified NSA from the center of the LNG Terminal site, are
 provided in table 4.11.2-2.

                                            Table 4.11.2-2
           Existing Sound Levels at Noise Sensitive Areas Near the Rio Grande LNG Terminal

                               Distance from       Direction from        Average             Average
                                                                                                                Calculated Ldn
             NSA               LNG Terminal        LNG Terminal         Daytime Leq        Nighttime Leq
                                                                                                                    (dBA)
                                Site (miles)a           Site              (dBA)b              (dBA)c

  NSA 1                               4.3                South               46.9                55.5                 61.3

  NSA 2                               3.7              Northeast             52.4                50.1                 56.9

  NSA 3                               3.7              Northeast             45.8                44.4                 51.0

  NSA 4                               3.9              Northeast             50.2                52.8                 58.9

  Palmito Ranch Battlefieldd          5.4             Southwest              44.2                41.2                 48.2

  Palo Alto Battlefielde             14.0                West                50.0                41.0                 50.4

  Laguna Atascosa NWR                 0.5                West                56.7                52.5                 59.8
  Piping Plover Critical
                                      0.5                South               54.9                45.2                 55.0
  Habitat
  Wildlife Corridor                   2.4             Southwest              67.8                60.2                 68.9
  a
            Measurements were taken at multiple locations; the nearest to the LNG Terminal site center is presented here.
  b
            The Leq is the average of measured daytime hourly noise levels between 7:00 a.m. and 10:00 p.m.
  c
            The Leq is the average of measured nighttime hourly noise levels between 10:00 p.m. and 7:00 a.m.
  d
            The measurement location for the Palmito Ranch Battlefield is the observation area within the National Historic
            Landmark.
  e
            Due to restricted nighttime access, daytime measurements were collected at the Palo Alto Battlefield observation area,
            and nighttime measurements were collected at the entrance to the site.



         NSA 1 is a residence about 4.3 miles southeast of the center of the LNG Terminal site.
 NSA 2 is Port Isabel High School, which is adjacent to the Laguna Heights residential area,
 located about 3.7 miles northeast of the center of the LNG Terminal site. NSA 3 includes
 residences in Port Isabel, about 3.7 miles northeast of the Terminal site, and NSA 4 includes
 residences on Long Island, about 3.8 miles east of the center of the LNG Terminal site . The
 observation platform at the Palmito Ranch Battlefield, located about 5.4 miles southwest of the
 LNG Terminal site, and the observation area at the Palo Alto Battlefield, about 14.0 miles west
 of the LNG Terminal site center, were calculation point locations also considered for the
 analysis. These sites are described in more detail in section 4.10.2. RG LNG also assessed noise
 impacts for calculation point locations that provide wildlife and threatened and endangered


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 species habitat, including the Laguna Atascosa NWR, the wildlife corridor, and designated
 critical habitat; impacts on wildlife and threatened and endangered species, including noise
 impacts, are further addressed in sections 4.6.1 and section 4.7, respectively. NSA and
 calculation point locations are depicted on figure 4.11.2-1.

              Pipeline Facilities

        RB Pipeline conducted noise surveys in September 2016 and January 2018 to
 characterize the existing noise environment at the NSAs nearest to each compressor station and
 booster station site. Ambient sound levels measured at the NSAs identified near the compressor
 and booster stations are provided in table 4.11.2-3.

                                          Table 4.11.2-3
  Existing Sound Levels at Noise Sensitive Areas Near Compressor Stations and Booster Stations
                                                                              Average              Average             Existing
                                 Distance from         Direction from
              NSA                                                            Daytime Leq         Nighttime Leq        Ambient Ldn
                                 Station (miles)           Station
                                                                               (dBA)a               (dBA)b              (dBA)

  Compressor Station 1c

      NSA 2                             5.5                  West                 38.3                 46.4                 52.3

  Compressor Station 2

      NSA 1                             2.9                 South                 63.3                 60.8                 67.7

  Booster Station 1

      NSA 1                             1.7                  East                 60.0                 61.3                 67.5

  Booster Station 2

      NSA 1                             2.4                 North                 31.9                 50.1                 55.9
  a
              The Leq is the average of measured daytime hourly noise levels between 7:00 a.m. and 10:00 p.m.
  b
              The Leq is the average of measured nighttime hourly noise levels between 10:00 p.m. and 7:00 a.m.
  c
              NSA 1 is identified in the vicinity of Compressor Station 1. During initial assessments, a site was identified as NSA 1;
              however, the site is a hunting lodge and is not a permanent residence; therefore, the site does not meet the definition of
              an NSA and was removed from analysis.



          Similarly, RB Pipeline conducted noise surveys in September 2016 and January and
 February 2018 to measure ambient sound levels at the NSAs nearest to each proposed HDD.
 Table 4.11.2-4 includes the ambient sound levels at the nearest NSAs to each HDD entry and
 exit site. Several HDDs have no NSAs within 0.5 mile; at those locations, ambient sound levels
 are estimated at the nearest NSAs.




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                                                                                                                                                                                           NSA 2
                                                                                                                                                                                              !!
                                                                                                                                                                                              >>     NSA 4
                                                                                                                                                                                              NSA 3 !
                                                                                                                                                                                                    >




                                                                                                                                            Laguna
MP 127.0
                                                                                                                                           Atascosa
'
4                                                                                                                                            NWR




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                                                                                                                                             >
                                                                                                                                             !                Piping Plover
                                                                                                                                                              Critical Habitat
                                                                                                                                                           >
                                                                                                                                                           !
       '
       4 MP 128.0                                                                                           Wildlife
                                                                                                           Corridor        '
                                                                                                                           4
                                                                                                                            MP 135.0
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               MP 129.0                                                                                MP 134.0
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                                                                                                                                                                NSA 1
                                                                                                   Palmito Ranch                             State Hwy 4        >
                                                                                                                                                                !
                                                                                                   Battlefield
                                                                                                   >
                                                                                                   !




                                                                                                                  Legend




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                                                  Gulf of
                                                  Mexico
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                                                                                              !
                                                                                                       Noise Sensitive Areas
                                                                                                       Check Points
                                                                                                       Proposed LNG Terminal Boundary
                                                                                                       (Facility Footprint)
                                                                                                                                                          0
                                                                                                                                                                             ±1                    2
                                                                                                                                                                                                              Rio Grande LNG Project

                                                                                                                                                                                                              Noise Sensitive Areas Near
                                                                                                       BSC Dredge Areas                                                                                      the Rio Grande LNG Terminal
                                                                                                       LNG Terminal Site (Leased Parcel)                                Miles
                                                                                                       Proposed Rio Bravo
                                                                                                       Pipeline                                                                                                    Figure 4.11.2-1
                                                                                AERIAL IMAGERY: NATIONAL AGRICULTURE IMAGERY
                                                                                                                                                                    Scale: 1:100,000
                                                                                PROGRAM (NAIP) 2014 - http://datagateway.nrcs.usda.gov/.
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                                             Table 4.11.2-4
                 Existing Sound Levels at Noise Sensitive Areas Near HDD Construction
                          Distance from  Direction from     Average        Average          Existing
           NSA           HDD Entry Point   HDD Entry       Daytime Leq   Nighttime Leq     Ambient Ldn
                             (miles)         Point           (dBA)a         (dBA)b           (dBA)
  Los Olmos Creek HDD (MP 18.8)
   NSA 1                          1.5          Northwest      60.0           61.3             67.5
  Unnamed waterbody SS-T10-011 HDD (MP 77.6)
   NSA 1                          0.8          Southeast      47.6           50.7             56.8
   NSA 2                          0.9          Southwest      60.0           40.7             58.3
  Unnamed waterbody SS-T10-010 HDD (MP 79.0)
   NSA 1                          1.0          Southwest      47.6           50.7             56.8
   NSA 2                          1.1          Southwest      44.8           45.8             52.1
  East Main Drain SS-T10-003 HDD (MP 82.0)
   NSA 1                          1.0            South        56.6           44.1             55.8
   NSA 2                          1.4          Southwest      56.4           42.6             55.3
  Donna Drain HDD (MP 86.5)
   NSA 1                          1.1            West         49.3           44.4             51.9
   NSA 2                          1.5          Southwest      49.1           55.0             60.9
  Unnamed waterbody SS-T04-005 HDD (MP 92.0)
   NSA 1                          0.8          Southeast      67.8           55.1             67.0
   NSA 2                          0.9          Southeast      55.0           32.7             53.1
  North Floodway SS-T02-004 HDD (MP 93.0)
   NSA 1                          0.2          Northwest      59.4           57.1             63.9
   NSA 2                          0.2          Northeast      62.9           40.3             61.0
  Unnamed waterbody SS-T04-008 HDD (MP 94.6)
   NSA 1                          1.1          Southwest      43.7           49.1             55.0
   NSA 2                          1.8          Northwest      53.4           48.9             56.3
  Unnamed waterbody SS-T04-006 HDD (MP 98.7)
   NSA 1                          1.2          Southeast      51.2           43.8             52.4
  Arroyo Colorado HDD (MP 99.8)
   NSA 1                          0.5          Northeast      50.5           38.5             49.9
   NSA 2                          0.6            South        38.7           36.8             43.5
  Unnamed waterbody SS-T14-004 HDD (MP 101.2)
   NSA 1                          0.2            West         69.4           55.1             68.2
   NSA 2                          0.5            North        47.1           29.9             45.5
  San Vincente Drainage SS-T08-001 Ditch HDD (MP 102.0)
   NSA 1                          0.5          Northeast      47.3           47.1             53.5
   NSA 2                          0.9          Southwest      41.1           36.6             44.0




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                                           Table 4.11.2-4 (continued)
                     Existing Sound Levels at Noise Sensitive Areas Near HDD Construction
                                Distance from  Direction from              Average            Average             Existing
               NSA             HDD Entry Point   HDD Entry                Daytime Leq       Nighttime Leq        Ambient Ldn
                                   (miles)         Point                    (dBA)a             (dBA)b              (dBA)c

  Unnamed waterbody SS-T04-007 HDD (MP 115.6)
      NSA 1                            0.9              Southwest             74.0                58.2               72.6
      NSA 2                            1.0              Southwest             69.1                61.0               69.9

  Unnamed waterbody SS-T05-003 HDD (MP 116.4)
      NSA 1                            0.8                West                69.1                36.7               67.1
      NSA 2                            0.9                West                67.0                58.0               67.4

  Resaca de los Cuates HDD (MP 118.7)
      NSA 1                            0.7                 East               46.9                45.2               51.9
      NSA 2                            0.8              Southwest             38.0                38.0               44.4
  Unnamed waterbody SS-T09-008 HDD (MP 124.0)
      NSA 1                            0.6                North               47.1                52.4               58.3
      NSA 2                            1.2              Northwest             61.4                59.3               66.1

  Unnamed waterbody SS-T09-001 HDD (MP 130.5), Channel to San Martin Lake HDD (MP 132.9), Channel to Bahia
  Grande HDD (MP 134.5)c
      NSA 1 (Palmito Ranch
                                       2.6                South               44.2                41.2               48.2
      Battlefield)c
  a
              The Leq is the average of measured daytime hourly noise levels between 7:00 a.m. and 10:00 p.m.
  b
              The Leq is the average of measured nighttime hourly noise levels between 10:00 p.m. and 7:00 a.m.
  c
              The exit point for the Channel to San Martin Lake HDD is the nearest HDD entry or exit point to the NSA.



 4.11.2.3             Impacts and Mitigation

              LNG Terminal

              Construction

         RG LNG anticipates that construction activities at the LNG Terminal site would be
 staggered, occurring over the course of 7 years. Construction would take place predominantly
 during the day, between 7:00 a.m. and 7:00 p.m., Monday through Friday, and site preparation
 and some other activities (including pile-driving) would be limited to daytime hours. However,
 dredging may take place up to 24 hours per day, 7 days per week. Construction activities at the
 LNG Terminal site would include clearing and grading associated with site preparation;
 materials and equipment delivery; installation of the facility foundations (e.g., pile-driving) and
 LNG trains; construction of the loading and ship berthing facilities, LNG storage tanks and
 processing facilities, and LNG truck loading facilities; and site restoration, as described in detail
 in section 2.5.1. In addition, activities associated with the construction of Compressor Station 3
 are included in the sound level impacts at the LNG Terminal site.



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        The most prevalent noise-generating equipment and activity during construction of the
 LNG Terminal is anticipated to be pile-driving, although internal combustion engines associated
 with general construction equipment and dredging would also produce sound that would be
 perceptible in the vicinity of the site. The various types of construction activities proposed at the
 LNG Terminal site and associated noise levels are described below.

        Dredging Activities

         Dredging activities would occur in two different phases. Prior to construction of the
 LNG Terminal, the MOF would be dredged using a single, small-sized cutter suction dredge
 attached to one tugboat. Dredging during this phase would be expected to last about 2 weeks,
 and would be conducted 24 hours per day, 7 days a week. RG LNG has estimated that sound
 levels associated with dredging activities at the MOF would be about 83.5 dBA at a distance of
 50 feet. Predicted sound levels at the nearest NSA to the MOF (NSA 3) would be about 34.3
 dBA, which is below existing ambient sound levels. Given the predicted noise levels and the
 distance to the nearest NSAs, we do not expect that noise associated with dredging of the MOF
 would be perceptible at the nearest NSAs.

         For construction of Berths 1 and 2 and the Turning Basin, RG LNG plans to use one large
 cutter suction dredge and two tugboats; however, if conditions require, RG LNG may utilize
 clamshell mechanical dredges. RG LNG’s Dredged Material Management Plan is being
 developed, and the proposed dredging methods would be finalized in consultation with the BND
 and federal and state agencies. These dredging activities would be conducted over a period of 14
 months. RG LNG has estimated sound levels associated with use of one large size cutter suction
 dredge and two associated tugboats to be 90.5 dBA at 50 feet, and about 36.8 dBA at the nearest
 NSA to the marine berths and turning basin (NSA 1). The sound level associated with two
 tugboats and clamshell mechanical dredges operating simultaneously would be about 85.8 dBA
 at 50 feet, and 34.1 dBA at NSA 1. Given the predicted noise levels and the distance to the
 nearest NSAs, and because the estimated sound level at the nearest NSAs would be below
 existing ambient sound levels, noise associated with dredging activities is not expected to be
 perceptible. The sound contributions from hydraulic dredging are included in the facility
 construction activity estimates provided in table 4.11.2-6.

        Pile-driving Activities

          RG LNG anticipates conducting pile-driving operations to support the land-based
 structures (liquefaction trains and related facilities), as well as during construction of the MOF,
 Berth 1 jetty and associated fixed aid to navigation, and Berth 2 jetty. The majority of pile-
 driving would be conducted on land; however, the sheet piling associated with the MOF and a
 total of four piles would be driven in water (two at the MOF and two for the fixed aid to
 navigation at the Berth 1 jetty). Steel pipe piles and concrete piles would be driven with impact
 hammers; however, RG LNG has committed to using vibratory hammers to reduce noise
 attenuation in the water and air for driving sheet pilings at the MOF. Impact hammers produce
 an impulsive (short, intense) noise source, while vibratory hammers produce continuous noise,
 but typically lower levels. Pile-driving would take place primarily on dry land, with only the
 MOF and fixed aid to navigation structure requiring minimal aquatic operations (see section
 2.5.1.3).


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         RG LNG estimates that Lmax for three pile-drivers operating simultaneously would be 99
 dBA at 50 feet; this value is adjusted by a usage factor to account for the intermittent use of
 equipment during construction. Based upon the construction schedule provided by RG LNG (see
 table 2.3-1 and section 2.5.1.3), land-based, impact pile-driving operations for the first stage of
 construction (including LNG Train 1 and related offsite utilities) would require between 114 and
 165 days; each subsequent stage of construction would require less time. In addition, impact
 pile-driving at the MOF would occur over a period of 3 months. Construction of the Berth 1
 jetty would require about 35 days of pile-driving that would take place over a 5-month period;
 the timeframe for pile-driving at the Berth 2 jetty would be similar. RG LNG anticipates that in-
 water pile-driving at the MOF and fixed aid to navigation structure would take 2 days each.
 Table 4.11.2-5 provides estimates of pile-driving noise based upon the various proposed pile-
 driving scenarios using an impact pile-driver.

          All pile-driving operations are scheduled to occur over 8- to 10-hour shifts, during the
 daytime, 5 days a week. During pile-driving at the Berth 1 jetty, and later at the Berth 2 jetty, the
 highest expected sound level would occur at nearby NSA 3 when three impact pile-driving
 platforms are simultaneously in use (56.4 dBA Lmax). This level corresponds to a quiet-to-
 moderate sound level (similar to light auto traffic at 100 feet) on the Relative Loudness Scale
 presented in table 4.11.2-1, and would result in an 11 dB increase over ambient sound levels at
 NSA 3, a perceived doubling of noise. However, this level is a conservative estimate, since it is
 unlikely that the strikes from three pile-drivers would be simultaneous, and it is not adjusted for
 a usage factor. Construction equipment, particularly impact activities such as pile-driving, also
 generates vibrations that can pass through the ground and cause damage to structures. Vibration
 levels detectable to humans generally do not extend beyond about 500 feet from pile-driving
 activities (Maekawa 1994). As described above, the nearest NSAs range is from about 2.8 miles
 to 4.9 miles from the proposed pile-driving locations. No structures are present within 500 feet
 of the proposed pile-driving sites, and structural effects are not anticipated from vibration during
 construction.




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                                                                                           Table 4.11.2-5
                                             Pile-driving Noise Estimates for Impact-driven Piles During Construction of the Rio Grande LNG Terminal

                                                            Pile-driving at the Marine Berths and                                                           Pile-driving for Foundations at the
                                                                                                                     Pile-driving at the MOF
                                                                        Turning Basin                                                                                LNG Terminal Site
                                            Existing
                                            Average                                        Expected                                        Expected                                       Expected
                             Location                                        Sound                                          Sound                                           Sound
                                            Daytime                                        Increase                                        Increase                                       Increase
                                            Leq (dBA)       Distance         Level                          Distance        Level                          Distance         Level
                                                                                             over                                            over                                            over
                                                            (miles)a          (dBA                          (miles)a         (dBA                          (miles)a          (dBA
                                                                                           Ambient                                         Ambient                                        Ambient
                                                                             Lmaxb)                                         Lmaxb)                                          Lmaxb)
                                                                                             (dB)                                            (dB)                                           (dBA)


                             NSA 1             46.9            4.3            52.6             6.7             3.6            54.0             7.9             4.1            53.0            7.0
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                             NSA 2             52.4            3.7            53.9             3.8             4.5            52.3             2.9             3.6            54.0            3.9



                             NSA 3             45.8            2.8            56.4            11.0             4.7            51.8             7.0             3.7            53.8            8.6



                             NSA 4             50.2            2.9             56              6.8             4.9            51.4             3.7             3.9            53.4            4.9


                         a
                                     Distance to the NSA is based on the distance from the proposed pile-driving for each facility, and therefore differs from the distance between the NSA and the LNG
                                     Terminal site center presented in table 4.11.2-2.
                         b
                                     Lmax has been calculated assuming three simultaneous pile-driving operations, the maximum proposed.
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        Construction of the LNG Terminal, particularly pile-driving, would also result in the
 generation and propagation of underwater sound energy. Pile-driving impacts on aquatic
 organisms and monitoring and mitigation for underwater sound are discussed in section 4.6.2;
 impacts on marine mammals and associated mitigation are addressed in section 4.7.2.2. To
 ensure that actual noise from pile-driving is not significantly greater than predicted noise, and
 because sound from pile-driving is expected to result in an increase of more than 10 dBA over
 daytime Leq ambient levels at NSA 3, we recommend that:

        •   RG LNG should monitor pile-driving activities, and file weekly noise data with
            the Secretary following the start of pile-driving activities that identify the noise
            impact on the nearest NSAs. If any measured noise impacts (Lmax) at the nearest
            NSAs are greater than 10 dBA over the Leq ambient levels, RG LNG should:

            a. cease pile-driving activities and implement noise mitigation measures;
               and

            b. file with the Secretary evidence of noise mitigation installation and
               request written notification from the Director of OEP that pile-driving
               may resume.

        Site Preparation and Building Construction Activities

         Noise levels resulting from construction would vary over time and would depend upon
 the number and type of equipment operating, the level of operation, and the distance between
 sources and receptors. RG LNG estimated the composite noise levels for site preparation
 (clearing and grading) and facility construction (which would occur after clearing and grading)
 based on construction equipment needs for these two activities. A composite noise level is
 typically used to describe the overall noise generated by multiple noise-generating units
 operating at the same time. Table 4.11.2-6 estimates the calculated combined ambient and
 construction-related sound levels at each NSA and in the vicinity of the LNG Terminal site.
 Sound pressure levels are measured on a logarithmic scale; therefore, although the construction
 noise would, at times, be perceptible at the NSAs, it would not be substantially above existing
 daytime noise levels. Further, a usage factor was used for each planned activity (including pile-
 driving) to account for the intermittent use of equipment during construction.

         The nearest NSAs to the LNG Terminal site, NSAs 2 and 3, are about 3.7 miles to the
 northeast. During site preparation activities, the composite noise level at the NSAs 2 and 3 are
 estimated to be 50.2 dBA and 46.1 dBA, respectively; during facility construction, the composite
 noise level at the NSAs 2 and 3 are estimated to be 52.2 dBA and 37.1 dBA. The current
 daytime noise level at NSAs 2 and 3, respectively, are 52.4 dBA and 45.8 dBA (see table 4.11.2-
 2). As stated above, site preparation and construction activities would be limited to daytime
 hours.




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                                                                                       Table 4.11.2-6
                         Estimated Noise Level Contributions for Site Preparation and Construction of the Rio Grande LNG Terminal at Nearby Noise Sensitive Areas

                                                                                                                 Combined Existing and
                                          Distance                                                                                                  Expected Increase
                                                     Direction   Existing        Contribution Lmax (dBA)       Construction Noise Level Lmax
                                         from LNG                                                                                                        (dBA)
                                                     from LNG    Daytime                                                  (dBA)
                            Location      Terminal
                                                      Terminal   Ambient
                                            Site
                                                        Site      (dBA)           Site                             Site                           Site
                                           (miles)                                            Construction                     Construction                  Construction
                                                                               Preparation                      Preparation                    Preparation

                         NSA 1              4.3        South       46.9           48.9             50.9            51.0            52.3            4.1            5.4


                         NSA 2              3.7      Northeast     52.4           50.2             52.2            54.4            55.3            2.0            2.9
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                         NSA 3              3.7      Northeast     45.8           46.1             37.1            48.9            46.3            3.1            0.5


                         NSA 4              3.9      Northeast     50.2           45.7             36.7            51.5            50.4            1.3            0.2

                         Palmito Ranch
                                            5.4      Southwest     44.2           42.9             33.9            46.6            44.6            2.4            0.4
                         Battlefield

                         Palo Alto
                                           14.0        West        50.0           34.7             25.7            50.1            50.0            0.1            0.0
                         Battlefield
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         RG LNG also evaluated the potential for noise effects on the Palmito Ranch Battlefield
 and the Palo Alto Battlefield resulting from the construction of the LNG Terminal. Results
 indicate that construction and operational sound would not be audible at the Palo Alto
 Battlefield, given the distance from the terminal site (about 14.0 miles). However, a minor
 increase above the ambient sound level (0.2 dB or less) during construction would occur at the
 Palmito Ranch Battlefield, which is about 5.4 miles from the terminal site. The sound level
 increase at the Palmito Ranch Battlefield would be below 3 dB and would not likely be
 perceptible.

         Based upon the construction noise estimates provided by RG LNG, the maximum noise
 levels generated by construction activities would increase the existing daytime noise at the
 nearest NSAs; however, with the exception of construction at NSA 2, combined ambient and
 construction sound levels would not exceed the 55 dBA L dn threshold. The increased sound from
 construction at NSA 2 would be less than 3 dB, and therefore would not be perceptible. We have
 included a recommendation to address the potential for pile-driving activities to exceed the 55
 dBA Ldn threshold at the NSAs. However, due to the predicted 0.2- to 5.4-dB increases
 estimated during construction, we conclude that impacts on residents and the surrounding
 communities would be minor to moderate during construction of the LNG Terminal.

        Operation

        Operation of the LNG Terminal would produce noise on a continual basis. RG
 Developers modeled sound levels that would be generated by operation of the LNG Terminal
 using sound level data for the proposed equipment that were obtained through vendors or from
 measurements at other LNG facilities. Major noise producing sources include air-cooled heat
 exchangers, compressors and associated components, pumps, and aboveground piping.
 Intermittent noise could also occur due to flaring.

         A list of estimated equipment quantities and sound power levels used in the modeling is
 provided in table 4.11.2-7. Table 4.11.2-8 presents the results of the modeling, along with a
 comparison with the existing ambient sound level, the expected sound level during operation of
 the LNG Terminal and Compressor Station 3 compared to the ambient sound level, and the
 resulting increase in ambient sound level due to operation of the LNG Terminal. Based on these
 estimates, the noise generated by the operation of the LNG Terminal is likely to be imperceptible
 at nearby NSAs and the Palmito Ranch and Palo Alto Battlefield calculation points, with noise
 level increases ranging between 0.1 and 0.4 dB. Figure 4.11.2-2 depicts sound contours for
 operation of the LNG Terminal.




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                                             Table 4.11.2-7
               Equipment Quantities and Sound Power Levels at the Rio Grande LNG Terminal
                                                                                              Sound Power Level Per Item
                  Equipment                                     Quantity
                                                                                                       (dBA)
  Air-cooled heat exchanger                                        1,068                                   102 - 105
  Compressors and associated components                             216                                    97 - 113
  Pumps                                                             24                                     95 - 106
  Piping segments                                                   204                                    98 - 150


                                           Table 4.11.2-8
      Composite Noise Levels from the Rio Grande LNG Terminal at Nearby Noise Sensitive Areas
                                         during Operations
                                                                       Predicted LNG            Ambient +          Predicted
                          Distance (miles) and Existing                   Terminal                 LNG            Increase in
          NSA             Direction from LNG Ambient Ldn              Contribution Ldn         Terminal Ldn         Ambient
                                Terminal        (dBA)                      (dBA)                  (dBA)a         Sound Level
                                                                                                                     (dBA)
  NSA 1                          4.3 south               61.3                 45.2                  61.4               0.1
  NSA 2                        3.7 northeast             56.9                 46.5                  57.3               0.4
  NSA 3                        3.7 northeast             51.0                 37.2                  51.2               0.2
  NSA 4                        3.9 northeast             58.9                 36.6                  58.9               0.0
  Palmito Ranch
                               5.4 southwest             48.2                 36.3                  48.5               0.3
  Battlefield
  Palo Alto Battlefield          14.0 west               50.4                 18.9                  50.4               0.0
  a
            Sound pressure levels are measured on a logarithmic scale; therefore, the predicted increase in ambient sound level at
            the NSAs during operation of the LNG Terminal would not be the sum of the two noise levels.


          The results of the noise impact analysis indicate that the noise attributable to construction
 and operation of the LNG Terminal would be lower than the FERC sound level requirement of
 55 dBA Ldn at the nearest NSA, and the predicted increases in ambient noise would be below
 perceptible levels. Since the time it conducted the noise impact analysis, RG LNG has modified
 the specifications for its air-cooled heat exchanges to mitigate some noise operational levels.
 Further, we recognize that actual results may be different from those obtained from modeling.
 To ensure that NSAs are not significantly affected by noise during operation of the LNG
 Terminal and Compressor Station 3, and to keep noise at an acceptable level of an L dn of 55 dBA
 or less, we recommend that:

           •    RG LNG should file a full power load noise survey with the Secretary for the LNG
                Terminal no later than 60 days after each liquefaction train is placed into service.
                If the noise attributable to operation of the equipment at the LNG Terminal and
                Compressor Station 3 exceeds an Ldn of 55 dBA at the nearest NSA, within 60 days
                RG LNG should modify operation of the liquefaction facilities or install additional
                noise controls until a noise level below an Ldn of 55 dBA at the NSA is achieved.
                RG LNG should confirm compliance with the above requirement by filing a
                second noise survey with the Secretary no later than 60 days after it installs the
                additional noise controls.



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                                                                Rio Grande LNG Project

                                                              Sound Contours for Operation of
                                                             the Rio Grande LNG Terminal
                                                                    Figure 4.11.2-2
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        In addition, we recommend that:

        •   RG LNG should file a noise survey with the Secretary no later than 60 days after
            placing the entire LNG Terminal, including the Compressor Station 3, into
            service. If a full load condition noise survey is not possible, RG LNG should
            provide an interim survey at the maximum possible horsepower load within 60
            days of placing the LNG Terminal and Compressor Station 3 into service and
            provide the full load survey within 6 months. If the noise attributable to operation
            of the equipment at the LNG Terminal and Compressor Station 3 exceeds an Ldn
            of 55 dBA at the nearest NSA under interim or full horsepower load conditions,
            RG LNG should file a report on what changes are needed and should install the
            additional noise controls to meet the level within 1 year of the in-service date. RG
            LNG should confirm compliance with the above requirement by filing an
            additional noise survey with the Secretary no later than 60 days after it installs
            the additional noise controls.

         RG LNG anticipates that flaring events would occur at the LNG Terminal site about four
 times per year. Each of these events would be associated with depressurization of a liquefaction
 train and routing the gas to the ground flare. The purpose of a flare system is to safely and
 reliably protect plant systems from overpressure during start-up, shutdown, plant upsets, and
 emergency conditions. The flaring creates noise with a low-pitched ‘roaring’ character. RG
 LNG has estimated the peak sound pressure level for a high-pressure flare at 1,500 feet to be 80
 dBA. The sound pressure level at one of the closest NSAs (NSA 2), was estimated to be 59
 dBA; the sound pressure level at NSA 3 is expected to be similar. This would result in a 4.2 dB
 increase above ambient levels and would constitute a moderate impact. However, RG LNG
 anticipates that flaring would occur only during daytime hours and for short periods (typically 15
 minutes). Emergency flaring events are expected to be rare, but may occur at any time, either
 day or night. Blowdown events associated with the compressor stations are discussed below.

         LNG carrier-loading at the LNG Terminal site would also be a source of sound. The
 LNG Terminal site would be able to receive and load up to two vessels at a time, with a
 maximum of nine LNG pumps operating at any time. In addition, sound would be generated
 from the LNG carriers during the loading process. RG LNG expects that sound from the pumps
 would not contribute to overall operational sound level impacts since the pumps would be
 completely submerged in LNG and encased in concrete tanks. Vessel traffic associated with
 operation of the LNG Terminal would also generate sounds. Noise above water would be similar
 to other large vessel traffic along the waterway and would result in temporary and minor noise
 impacts along the vessel transit route.

        During operations, RG LNG would conduct maintenance dredging of its berthing area
 and turning basin, as described in section 2.6.1. Maintenance dredging is conducted by the COE
 for ongoing maintenance of the navigable channel within the BSC. Noise levels from
 maintenance dredging would be similar to those described for dredging during construction of
 the LNG Terminal, would be consistent with ongoing activity in the Project area, and are not
 expected to be perceptible at nearby NSAs.




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         Based on RG LNG’s estimate that operation of the LNG Terminal will not result in a
 perceptible increase in sound levels at the nearest NSAs, and given our recommendation for
 measurement of operational sound levels, noise impacts would be minor at the NSAs in the
 vicinity of the LNG Terminal.

        Pipeline Facilities

        Construction

          Construction activities associated with the Pipeline System would transpire over a 3-year
 period, with construction of both Pipeline 1 (including the Header System) and Pipeline 2
 expected to take 12 months each. Construction of Pipeline 2 would begin about 18 months after
 the completion of Pipeline 1. Initial construction of the compressor stations and booster stations
 would occur in Year 3; however, activities at the compressor stations would continue through the
 third quarter of Year 7. A construction schedule is included in section 2.3. Construction
 activities would take place predominantly during the day, between the hours of 7:00 a.m. and
 7:00 p.m., Monday through Saturday, though 24-hour construction may be necessary for
 specialized construction (such as at HDDs, operation of pumps at dry-ditch waterbody crossings,
 hydrostatic testing, and tie-ins). Construction activities associated with the pipeline facilities
 would involve clearing and grading associated with site preparation; trenching and HDD
 activities; materials and equipment delivery; installation of the pipelines; and construction of
 aboveground facilities. If, during construction, RB Pipeline determines that nighttime
 construction is warranted for activities beyond those identified above (such as at HDDs,
 operation of pumps at dry-ditch waterbody crossings, hydrostatic testing, and tie-ins), it would be
 required to submit a variance request for review and written approval by the Director of OEP
 including certain details such as projected noise, dust, and light pollution impacts, and identify
 the measures that it would be implemented to mitigate these impacts.

        Pipeline System

         The most prevalent sound-generating equipment and activity during routine construction
 of the Header System and Pipelines 1 and 2 would be the operation of internal combustion
 engines associated with general construction equipment. Sound levels resulting from
 construction would vary over time and would depend upon the number and types of equipment
 operating, the level of operation, and the distance between sources and receptors. Construction
 equipment would be operated on an as-needed basis, and receptors near the construction areas
 may experience an increase in perceptible noise, but the effect would be temporary and local.
 The worst-case sound level from all construction equipment operating simultaneously would be
 91 dBA at 50 feet, as indicated in table 4.11.2-9. Sound from construction activities near noise
 sensitive receptors along the pipeline route could be either intermittent or continuous, but would
 occur over a limited duration at any one location; with construction near residences limited to the
 shortest timeframe possible to safely install the facilities.




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                                                Table 4.11.2-9
                        Estimated Sound Levels for Construction of the Pipeline System
      Distance from Right-of-Way or Property Line (feet)               Pipeline Construction Sound Level (dBA Lmaxa)

  50                                                                                             91
  250                                                                                            77
  500                                                                                            71
  1,000                                                                                          65
  1,500                                                                                          61
  a
             Pipeline construction sound levels presented in this table do not include HDD operations.


         HDD construction techniques would be used for pipeline crossings of sensitive resource
 areas, such as those occupied by waterbodies, wetlands, or areas with construction restrictions.
 HDD construction techniques differ from those proposed by RB Pipeline for typical pipeline
 construction, in that they would generate greater sound levels and could occur up to 24 hours a
 day, 7 days a week, for up to 10 weeks at each site. A total of 19 locations were proposed for
 HDD construction (see section 2.5.2.1). Composite sound level estimates for equipment
 operating at HDD locations are detailed in table 4.11.2-10. The results of the HDD construction
 acoustical impact assessment indicated that Ldn sound levels for 24-hour operations would be
 above the FERC criterion of 55 dBA L dn at NSAs in the vicinity of seven HDDs, and that the
 increases over ambient sound levels for some of these NSAs would result in a sound level
 increase greater than 10 dB. While RB Pipeline provided an assessment of impacts at additional
 NSAs, expected noise impacts at representative NSAs in the vicinity of 15 of the 19 proposed
 HDDs are presented for analysis in table 4.11.2-11.42 In response to our recommendation in the
 draft EIS, RB Pipeline revised ATWSs for HDD construction near MPs 115.6 and 116.4 to avoid
 surface impacts within the boundary of the Lower Rio Grande Valley NWR; the modified
 ATWS is adjacent to the previously identified construction workspace and is not expected to
 cause a significant noise impact at nearby NSAs.

                                                  Table 4.11.2-10
                             Horizontal Directional Drill Construction Sound Estimates
      Distance from Right-of-Way or          HDD Entry Point Sound Level                  HDD Exit Point Sound Level
           Property Line (feet)                      (dBA Lmax)                                   (dBA Lmax)

  50                                                         87                                            86

  100                                                        81                                            80

  250                                                        73                                            72

  500                                                        67                                            66

  1,000                                                      61                                            60

  2,500                                                      53                                            52



 42
            RB Pipeline’s full noise impact assessment for NSAs in the vicinity of the Pipeline System is available on FERC’s
            eLibrary website, located at http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-454 or
            CP16-455 and accession numbers 20161229-5149 and 20180301-5019.


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                                                                                     Table 4.11.2-11
                                                         Ambient and Construction Sound Levels at Representative NSAs near HDDs
                                                           Existing
                                                                                        Entry                                          Exit
                                                           Ambient
                                           Distance
                            NSAa, b       from HDD                                      Combined                                      Combined
                                                                         HDD Ldn                      Sound Level     HDD Ldn                       Sound Level
                                         Entry (miles)                                  HDD and                                       HDD and
                                                          Ldn (dBA)    Contribution                    Increase     Contribution                     Increase
                                                                                       Existing Ldn                                  Existing Ldn
                                                                          (dBA)                          (dB)          (dBA)                           (dB)
                                                                                          (dBA)                                         (dBA)
                         Los Olmos Creek HDD (MP 18.8)
                          NSA 1               1.5            67.5          53.6            67.7           0.2           50.2             67.6           0.1
                         Unnamed waterbody SS-T10-011 HDD (MP 77.6)
                          NSA 1               0.8            56.8          50.7            57.8           1.0           52.9             58.3           1.5
                          NSA 2               0.9            58.3          49.7            58.9           0.6
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                                                                                                                        47.5             58.6           0.3
                         Unnamed waterbody SS-T10-010 HDD (MP 79.0)
                          NSA 1               1.0            56.8          48.8            57.4           0.6           49.5             57.5           0.7
                          NSA 2               1.1            52.1          47.5            53.4           1.3           47.0             53.3           1.2
                         East Main Drain SS-T10-003 HDD (MP 82.0)
                          NSA 1               1.0            55.8          48.3            56.5           0.7           55.3             58.6           2.8
                          NSA 2               1.4            55.3          45.7            55.7           0.4           47.8             56.0           0.7
                         Unnamed waterbody SS-T04-005 HDD (MP 92.0)
                          NSA 1               0.8            67.0          65.0            69.1           2.1           67.4             70.2           3.2
                          NSA 2               0.9            53.1          63.0            63.4          10.3           65.4             65.6          12.5
                         North Floodway SS-T02-004 HDD (MP 93.0)
                          NSA 1               0.2            63.9          65.0            67.5           3.6           50.0             64.1           0.2
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                          NSA 2               0.2            61.0          63.0            65.1           4.1           51.5             61.5           0.5
                         Unnamed waterbody SS-T04-008 HDD (MP 94.6)
                          NSA 1               1.1            55.0          47.4            55.7           0.7           46.4             55.6           0.6
                          NSA 2               1.8            56.3          43.2            56.5           0.2           44.8             56.6           0.3
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                                                                                        Table 4.11.2-11 (continued)
                                                              Ambient and Construction Sound Levels at Representative NSAs near HDDs
                                                                Existing
                                                                                                         Entry                                                         Exit
                                              Distance          Ambient
                                             from HDD                                                    Combined            Sound                                    Combined             Sound
                            NSAa, b                                                  HDD Ldn                                                     HDD Ldn
                                                Entry                                                    HDD and              Level                                   HDD and               Level
                                               (Miles)         Ldn (dBA)           Contribution                                                Contribution
                                                                                                        Existing Ldn        Increase                                 Existing Ldn         Increase
                                                                                      (dBA)                                                       (dBA)
                                                                                                           (dBA)              (dB)                                      (dBA)               (dB)
                         Unnamed waterbody SS-T04-006 HDD (MP 98.7)
                          NSA 1              1.2            52.4                         47.0                53.5               1.1                 47.8                 53.7                1.3
                         Arroyo Colorado HDD (MP 99.8)
                          NSA 1              0.5            49.9                         65.1                65.3               15.4                61.9                 62.2               12.3
                          NSA 2              0.6            43.5                         57.2                57.4               13.9                54.7                 55.1               11.6
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                         Unnamed waterbody SS-T14-004 HDD (MP 101.2)
                           NSA 1               0.2              68.2           62.5                          69.2               1.0                 54.6                 68.4                0.2
                           NSA 2               0.5              45.5           54.5                          55.1               9.6                 54.2                 54.8                9.3
                         San Vincente Drainage SS-T08-001 Ditch HDD (MP 102.0)
                           NSA 1                 0.5                53.5                55.1                  57.4              3.9                  54.7               57.2                  3.7
                           NSA 2                 0.9                44.0                49.9                  50.9              6.9                  52.1               52.8                  8.8
                         Unnamed waterbody SS-T04-007 HDD (MP 115.6)
                           NSA 1                 0.9                72.6                49.3                  72.6              0.0                  48.3               72.6                  0.0
                           NSA 2                 1.0                69.9                49.0                  69.9              0.0                  47.8               69.9                  0.0
                         Unnamed waterbody SS-T05-003 HDD (MP 116.4)
                           NSA 1                 0.8                67.1                50.0                  67.2              0.1                  50.0               67.2                  0.1
                           NSA 2                 0.9                67.4                49.8                  67.5              0.1                  50.1               67.5                  0.1
                         Resaca de los Cuates HDD (MP 118.7)
                           NSA 1                 0.7                51.9                56.0                  57.5              5.6                  67.7               67.8                 15.9
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                           NSA 2                 0.8                44.4                55.7                  56.0              11.6                 51.0               51.8                  7.4
                         Unnamed waterbody SS-T09-008 HDD (MP 124)
                           NSA 1                 0.6                58.3                53.0                  59.4              1.1                  52.8               59.4                  1.1
                           NSA 2                 1.2                66.1                46.8                  66.2              0.1                  44.9               66.1                  0.0
                         a
                                 No NSAs are within 1 mile of the Donna Drain HDD (MP 86.5), Unnamed waterbody SS-T09-001 HDD (MP 130.5), Channel to San Martin Lake HDD (MP 132.9),
                                 or Channel to Bahia Grande HDD (MP 134.5). HDD construction is not expected to exceed FERC noise criteria at these locations.
                         b
                                 Where the data for an NSA are presented in italicized font, the noise attributable to HDD construction is estimated to exceed 55 dBA Ldn or would result in a 10 dB or
                                 greater increase in sound levels over ambient conditions.
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          No NSAs are within 1 mile of the Donna Drain HDD (MP 86.5), unnamed waterbody
 SS-T09-001 HDD (MP 130.5), Channel to San Martin Lake HDD (MP 132.9), or Channel to
 Bahia Grande HDD (MP 134.5). HDD construction is not expected to exceed FERC noise
 criteria at these locations, and no further analysis is presented. RB Pipeline has proposed the
 following mitigation at HDD locations that would exceed the FERC noise criterion of an Ldn of
 55 dBA at NSAs:

        •   use of temporary sound barriers around the HDD workspace;

        •   use of sound barriers or an acoustical enclosure around the drilling mud cleaning
            system; and

        •   offering temporary housing to residents in the vicinity of HDD operation.

         However, RB Pipeline has not identified the site-specific mitigation measures that would
 be implemented at each HDD location, and, as identified in table 4.11.2-11, noise levels from
 seven of the HDDs are estimated to exceed FERC’s noise criterion of an L dn of 55 dBA at the
 nearest NSAs. Therefore, we recommend that:

        •   Prior to construction of HDDs at MPs 82.0, 92.0, 93.0, 99.8, 101.2, 102.0, and 118.7,
            RB Pipeline should file with the Secretary, for review and written approval by the
            Director of OEP, a HDD noise mitigation plan to reduce noise levels attributable
            to the proposed drilling operations. The noise mitigation plan should identify all
            reasonable measures RB Pipeline would implement to reduce noise levels
            attributable to the proposed drilling operations to no more than an Ldn of 55 dBA
            at NSAs, and the resulting noise levels at each NSA with mitigation.

        Aboveground Facilities

         Construction of the compressor and booster stations would take place between the first
 quarter of Year 3 and the third quarter of Year 7. Initial construction for each compressor station
 is expected to take a total of about 12 months; the installation of additional compressors would
 transpire in stages from the fourth quarter of Year 4 through the third quarter of Year 7 in
 conjunction with the staged construction of the LNG Terminal. RB Pipeline has stated that
 construction activities would predominantly take place during the day, from 7:00 a.m. through
 7:00 p.m., Mondays through Saturdays; but depending on schedule, 24-hour construction may be
 necessary at times.

          Construction activities associated with the compressor and booster stations would involve
 clearing and grading associated with site preparation; materials and equipment delivery; placing
 fill; and construction of foundations, equipment settings, ancillary equipment, piping, and
 structures (see section 2.5.2.2). Similar to pipeline construction, the most prevalent sound-
 generating equipment and activity during construction of the compressor stations is anticipated to
 be the operation of internal combustion engines associated with general construction equipment.
 Sound levels resulting from construction would vary over time and would depend upon the
 number and type of equipment operating, the level of operation, and the distance between
 sources and receptors. RB Pipeline estimated equipment needs for construction of the


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 compressor stations as well as the resulting composite sound level from construction activities.
 Table 4.11.2-12 provides the estimated composite sound levels from construction of the
 compressor stations at various distances from the property boundary or right-of-way. Similar
 sound levels would be expected for construction of other aboveground facilities, including the
 booster stations and metering sites, which are not within 1 mile of any NSAs.

                                           Table 4.11.2-12
                Composite Construction Sound Estimates for Compressor Stations 1 and 2
       Distance from Right-of-Way or   Site Preparation Sound Level   Facility Construction Sound Level
            Property Line (feet)                (dBA Lmaxa)                       (dBA Lmaxa)
  50                                                98                               89
  250                                               84                               75
  500                                               78                               69
  1,000                                             72                               63
  1,500                                             68                               59



        The nearest NSA (NSA 2) to Compressor Station 1 would be about 5.5 miles away.
 During construction activities, the composite sound level at NSA 2 is estimated to be 42.7 L eq
 (dBA). The current daytime sound level at this NSA is 38.3 dBA L eq, and the combined ambient
 and construction sound levels would be 44.1 dBA, a 5.8 dB increase above ambient levels.
 Noise levels would be below the FERC criterion of 55 dBA. In response to concerns expressed
 by the NPS regarding indirect effects on the King Ranch National Historic Landmark, RB
 Pipeline also assessed sound level impacts on the King Ranch Visitor Center, located
 approximately 9.7 miles northeast of Compressor Station 1.

        Using ambient sound levels measured at NSA 2, RB Pipeline determined that
 construction of Compressor Station 1 would not impact sound levels at the King Ranch Visitor
 Center. Additional detail regarding potential impacts on the King Ranch are provided in section
 4.8.

         The nearest NSA to the proposed site for Compressor Station 2 (NSA 2) is about 2.9
 miles away. During construction activities, the composite sound level at NSA 2 is estimated to
 be 42.2 dBA Leq. The current daytime sound level at this NSA is 63.3 dBA Leq, and the
 combined ambient and construction sound levels would not result in an increase above ambient
 levels. To minimize impacts from construction sound, RB Pipeline would implement mitigation
 measures that may include installation of temporary acoustic barriers, limiting construction to
 daytime hours as feasible, and offering temporary housing to residents in the vicinity
 construction.

        The sound levels generated by construction activities at Compressor Station 1 would
 increase the existing daytime noise at the nearest NSA. However, due to the predicted minor
 increases and temporary nature of construction, we conclude that impacts on residents and the
 surrounding communities would be minor during construction of the aboveground facilities.




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              Operation

          RB Pipeline’s sources of operational sound would include daily operation of the
 aboveground facilities. There are no NSAs within 1 mile of any of the stand-alone metering
 sites, and potential sound level impacts associated with the operation of these metering sites
 would be minor and are not expected to be perceptible at any NSAs.

          Noise would be associated with the compressor stations and booster stations on a
 continuous basis from operation of compressors, pumps, and cooling fans. Metering equipment
 at the facilities is expected to be much lower in volume in comparison to operating compressors.
 RB Pipeline used models to calculate the potential sound level impact of both Compressor
 Stations 1 and 2, as well as Booster Stations 1 and 2, on nearby NSAs. Sound level data from
 the proposed equipment were obtained from vendor information and typical noise control
 applications. Table 4.11.2-13 presents the results of the modeling, along with a comparison to
 the existing ambient sound levels. Based on these estimates, noise generated by Compressor
 Station 1 and the two booster stations would not result in a perceptible increase in ambient sound
 levels. In addition, operation of Compressor Station 1 would not result in an increase in sound
 levels at the King Ranch Visitor Center. The noise generated by Compressor Station 2 would
 result in slight increases in ambient sound levels at NSAs 1 and 2, but the overall sound level
 would remain below an Ldn of 55 dBA.

          The compressor units at Compressor Stations 1 and 2 would be housed in compressor
 buildings. If necessary, RB Pipeline stated that it would use noise-insulated buildings to ensure
 that sound attributable to the compressor stations does not exceed 55 dBA Ldn at the nearest
 NSA. In addition, RB Pipeline would use centrifugal rotating equipment, rather than
 reciprocating engines, to ensure that operation of the compressor and booster stations would not
 result in increased perceptible vibration at nearby NSAs.

                                          Table 4.11.2-13
         Composite Sound Levels at Nearby Noise Sensitive Areas from Aboveground Facilities a
                                                                           Predicted                               Predicted
                             Distance (miles)          Existing                                 Ambient +
                                                                            Facility                              Increase in
              NSA             and Direction            Ambient                                   Facility
                                                                          Contribution                           Ambient Sound
                               from Facility           Ldn (dBA)                                Ldn (dBA)
                                                                           Ldn (dBA)                              Level (dBA)
  Compressor Station 1
      NSA 2                        5.5, west              52.3                 21.8                 52.3                 0.0
  Compressor Station 2
      NSA 1                       2.9, south              67.7                 28.6                 67.7                 0.0
  Booster Station 1
      NSA 1                        1.7, west              67.5                 26.8                 67.5                 0.0
  Booster Station 2
      NSA 1                       2.4, south              55.9                 23.3                 55.9                 0.0
  a
              There are no NSAs within 1 mile of any of the stand-alone metering sites, and potential sound level impacts associated
              with the operation of these metering sites would be minor and are not expected to be perceptible at any NSAs.




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         The results of the sound level impact analysis indicate that the sound attributable to
 operation of the aboveground facilities would be in compliance with the FERC sound level
 requirement of 55 dBA Ldn at the nearest NSA. We recognize, however, that actual results may
 be different from those obtained from modeling. Also, two compressor units at each compressor
 station would be installed during Stages 1 and 2 of LNG Terminal construction; one compressor
 unit at each compressor station would come online as each LNG train would commence service
 during subsequent stages of construction. The two interconnect booster stations would each
 include one compressor unit, installed during the first stage of construction. Therefore, to ensure
 that NSAs are not adversely impacted by the phased operation of the compressor stations, we
 recommend that:

        •   RB Pipeline should file a noise survey with the Secretary no later than 60 days
            after each set of compressor units at Compressor Stations 1 and 2, and Booster
            Stations 1 and 2 are placed in service. If a full load condition noise survey is not
            possible, RB Pipeline should provide an interim survey at the maximum possible
            horsepower load within 60 days of placing the phased station into service and
            provide the full load survey within 6 months. If the noise attributable to the
            operation of all of the equipment at any of the facilities under interim or full
            horsepower load conditions exceeds an Ldn of 55 dBA at any nearby NSAs, RB
            Pipeline should file a report on what additional noise controls are needed and
            should install the additional noise controls to meet the level within 1 year of the
            in-service date. RB Pipeline should confirm compliance with the above
            requirement by filing an additional noise survey with the Secretary no later than
            60 days after it installs the additional noise controls.

         In compliance with the recommendation above, RB Pipeline would need to complete
 several noise surveys to ensure that the phased-in compressor units are below an L dn of 55 dBA
 at the nearest NSAs. A total of five noise surveys would be completed each at Compressor
 Stations 1 and 2 as each set of compressor units are placed in-service for each stage of
 construction. If the noise levels reported in any of the noise surveys are over an L dn of 55 dBA at
 the nearest NSAs, RB Pipeline would need to implement the required mitigation to reduce the
 noise impacts on the nearest NSAs within the time specified in the recommendation.

          In addition, blowdown events would also generate noise during operation of the pipeline
 facilities. RB Pipeline anticipates that one planned and one unplanned blowdown event would
 occur annually at each compressor and booster station. Planned blowdown events can happen
 during commission/decommissioning of a compressor station or during maintenance. Unplanned
 blowdown events are necessary in the event of an emergency and could occur at any time.
 Pipeline blowdown events are typically infrequent and of short duration; however, the frequency
 and length of the blowdown events depend upon the extent of the maintenance activity or type of
 emergency release. RB Pipeline would install silencers on all blowdown sources to minimize
 sound associated with blowdowns. Based on RB Pipeline’s proposed mitigation and our
 recommendation, noise impacts from operation of the aboveground facilities would be minor.

        While construction of the Rio Grande LNG Project would result in localized minor to
 moderate elevated noise levels near construction areas, impacts would be limited to the
 construction period for the Project. During operations, noise impacts would be minor at the


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 aboveground facilities along the Pipeline System and at the NSAs in the vicinity of the LNG
 Terminal.

 4.12   RELIABILITY AND SAFETY

 4.12.1 LNG Terminal

 4.12.1.1      LNG Facility Reliability, Safety, and Security Regulatory Oversight

         LNG facilities handle flammable and sometimes toxic materials that can pose a risk to the
 public if not properly managed. These risks are managed by the companies owning the facilities,
 through selecting the site location and plant layout as well as through suitable design,
 engineering, construction, and operation of the LNG facilities. Multiple federal agencies share
 regulatory authority over the LNG facilities and the operator’s approach to risk management.
 The safety, security, and reliability of the Rio Grande LNG Project would be regulated by the
 DOT, the Coast Guard, and the FERC.

          In February 2004, the DOT, the Coast Guard, and the FERC entered into an Interagency
 Agreement to ensure greater coordination among these three agencies in addressing the full
 range of safety and security issues at LNG terminals and LNG marine vessel operations, and
 maximizing the exchange of information related to the safety and security aspects of LNG
 facilities and related marine operations. Under the Interagency Agreement, the FERC is the lead
 federal agency responsible for the preparation of the analysis required under NEPA for impacts
 associated with LNG terminal construction and operation. The DOT and the Coast Guard
 participate as cooperating agencies but remain responsible for enforcing their regulations
 covering LNG facility siting, design, construction, operation, and maintenance. All three
 agencies have some oversight and responsibility for the inspection and compliance during the
 LNG Terminal’s operation.

         The DOT establishes and has the authority to enforce the federal safety standards for the
 location, design, installation, construction, inspection, testing, operation, and maintenance of
 onshore LNG facilities under the Federal Pipeline Safety Laws (49 USC 60101 et seq.). The
 DOT’s LNG safety regulations are codified in 49 CFR 193, which prescribes safety standards
 for LNG facilities used in the transportation of gas by pipeline that are subject to Federal
 Pipeline Safety Laws (49 USC 60101 et seq.), and 49 CFR 192. On August 31, 2018, the DOT
 and FERC signed a MOU regarding methods to improve coordination throughout the LNG
 permit application process for FERC-jurisdictional LNG facilities. In the MOU, the DOT agreed
 to issue a LOD stating whether a proposed LNG facility would be capable of complying with
 location criteria and design standards contained in Subpart B of Part 193. The Commission
 committed to rely upon the DOT determination in conducting its review of whether the facilities
 would be in the public interest. The issuance of the LOD does not abrogate the DOT’s
 continuing authority and responsibility over a proposed project’s compliance with Part 193
 during construction and future operation of the facility. The DOT’s conclusion on the siting and
 hazard analysis required by Part 193 would be based on preliminary design information which
 may be revised as the engineering design progresses to final design. DOT regulations also
 contain requirements for the design, construction, installation, inspection, testing, operation,
 maintenance, qualifications and training of personnel, fire protection, and security for LNG


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 facilities as defined in 49 CFR 193, which would be completed during later stages of the Project.
 If the Project is authorized, constructed, and operated, LNG facilities as defined in 49 CFR 193,
 would be subject to the DOT’s inspection and enforcement programs to ensure compliance with
 the requirements of 49 CFR 193.

        The Coast Guard has authority over the safety of an LNG terminal’s marine transfer area
 and LNG marine vessel traffic, as well as over security plans for the entire LNG terminal and
 LNG marine traffic. The Coast Guard regulations for waterfront facilities handling LNG are
 codified in 33 CFR 105 and 33 CFR 127. As a cooperating agency, the Coast Guard assists the
 FERC staff in evaluating whether an applicant’s proposed waterway would be suitable for LNG
 marine vessel traffic and whether the waterfront facilities handling LNG would be operated in
 accordance with 33 CFR 105 and 33 CFR 127. If the facilities are constructed and become
 operational, the facilities would be subject to the Coast Guard inspection program to ensure
 compliance with the requirements of 33 CFR 105 and 33 CFR 127.

          The FERC authorizes the siting and construction of LNG terminals under the NGA and
 delegated authority from the DOE. The FERC requires standard information to be submitted to
 perform safety and reliability engineering reviews. FERC’s filing regulations are codified in 18
 CFR 380.12 (m) and (o), and requires each applicant to identify how its proposed design would
 comply with the DOT’s siting requirements of 49 CFR 193 Subpart B. The level of detail
 necessary for this submittal requires the applicant to perform substantial Front End Engineering
 Design (FEED) of the complete project. The design information is required to be site-specific
 and developed to the extent that further detailed design would not result in significant changes to
 the siting considerations, basis of design, operating conditions, major equipment selections,
 equipment design conditions, or safety system designs. As part of the review required for a
 FERC order, we use this information from the applicant to assess whether the proposed facilities
 would have a public safety impact and to suggest additional mitigation measures for the
 Commission to consider for incorporation as conditions in the order. If the facilities are
 approved and the suggested mitigation measures are incorporated into the order as conditions,
 FERC staff would review material filed to satisfy the conditions of the order and conduct
 periodic inspections throughout construction and operation.

         In addition, the EPAct of 2005 requires FERC to coordinate and consult with the U.S.
 Department of Defense (DOD) on siting, construction, expansion, and operation of LNG
 terminals that would affect the military. On November 21, 2007, the FERC and the DOD
 (http://www.ferc.gov/legal/mou/mou-dod.pdf) entered in a MOU formalizing this process. In
 accordance with the MOU, the FERC sent a letter to the DOD on June 25, 2015 requesting their
 comments on whether the planned Project could potentially have an impact on the test, training,
 or operational activities of any active military installation. On June 4, 2018, the FERC received
 a response letter from the DOD Siting Clearinghouse stating that the Rio Grande LNG Terminal
 would have a minimal impact on military training and operations conducted in Cameron County,
 Texas.




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 4.12.1.2        DOT Siting Requirements and 49 CFR 193 Subpart B Determination

          Siting LNG facilities as defined in 49 CFR 193, with regard to ensuring that the proposed
 site selection and location would not pose an unacceptable level or risk to public safety is
 required by DOT’s regulations in 49 CFR 193 Subpart B. The Commission’s regulations under
 18 CFR 380.12 (o) (14) require RG LNG to identify how the proposed design complies with the
 siting requirements in DOT’s regulations under 49 CFR Part 193 Subpart B. The scope of
 DOT’s siting authority under 49 CFR 193 applies to LNG facilities used in the transportation of
 gas by pipeline subject to the Federal Pipeline Safety Laws and 49 CFR 192.43

         The regulations in 49 CFR 193 Subpart B require the establishment of an exclusion zone
 surrounding an LNG facility in which an operator or government agency must exercise legal
 control over the activities where specified levels of thermal radiation and flammable vapors may
 occur in the event of a release for as long as the facility is in operation. Approved mathematical
 models must be used to calculate the dimensions of these exclusion zones.

         The siting requirements specified in NFPA 59A (2001), an industry consensus standard
 for LNG facilities, are incorporated into 49 CFR 193 Subpart B by reference, with regulatory
 preemption in the event of conflict. The following sections of 49 CFR 193 Subpart B
 specifically address siting requirements:

        •   Section 193.2051, Scope, states that each LNG facility designed, replaced, relocated or
            significantly altered after March 31, 2000, must be provided with siting requirements
            in accordance with Subpart B and NFPA 59A (2001). In the event of a conflict with
            NFPA 59A (2001), the regulatory requirements in Part 193 prevail.

        •   Section 193.2057, Thermal radiation protection, requires that each LNG container and
            LNG transfer system have thermal exclusion zones in accordance with section 2.2.3.2
            of NFPA 59A (2001).

        •   Section 193.2059, Flammable vapor-gas dispersion protection, requires that each LNG
            container and LNG transfer system have a dispersion exclusion zone in accordance
            with sections 2.2.3.3 and 2.2.3.4 of NFPA 59A (2001).

        •   Section 193.2067, Wind forces, requires that shop fabricated containers of LNG or
            other hazardous fluids less than 70,000 gallons must be designed to withstand wind
            forces based on the applicable wind load data in American Society of Civil Engineers
            (ASCE) 7 (2005). All other LNG facilities must be designed for a sustained wind
            velocity of not less than 150 mph unless the DOT Administrator finds a lower wind
            speed is justified or the most critical combination of wind velocity and duration for a
            10,000-year mean return interval.




 43
        49 CFR 193.2001 (b) (3), Scope of part, excludes any matter other than siting provisions pertaining to marine cargo
        transfer systems between the LNG marine vessel and the last manifold or valve immediately before a storage tank.


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      As stated in 49 CFR 193.2051, LNG facilities must meet the siting requirements of
 NFPA 59A (2001), Chapter 2, and include but may not be limited to:

        •   NFPA 59A (2001) section 2.1.1 (c) requires consideration of protection against forces
            of nature;

        •   NFPA 59A (2001) section 2.1.1 (d) requires that other factors applicable to the specific
            site that have a bearing on the safety of plant personnel and surrounding public be
            considered, including an evaluation of potential incidents and safety measures
            incorporated in the design or operation of the facility;

        •   NFPA 59A (2001) section 2.2.3.2 requires provisions to minimize the damaging effects
            of fire from reaching beyond a property line, and requires provisions to prevent a
            radiant heat flux level of 1,600 British thermal units per square foot per hour (Btu/ft 2-
            hr) from reaching beyond a property line that can be built upon. The distance to this
            flux level is to be calculated with LNGFIRE3 or with models that have been validated
            by experimental test data appropriate for the hazard to be evaluated and that have been
            approved by DOT; and

        •   NFPA 59A (2001) section 2.2.3.4 requires provisions to minimize the possibility of
            any flammable mixture of vapors from a design spill from reaching a property line that
            can be built upon and that would result in a distinct hazard. Determination of the
            distance that the flammable vapors extend is to be determined with DEGADIS or
            approved alternative models that take into account physical factors influencing LNG
            vapor dispersion.44

        Taken together, 49 CFR 193 Subpart B and NFPA 59A (2001) require that flammable
 LNG vapors from design spills do not extend beyond areas in which the operator or a
 government agency legally controls all activities. Furthermore, consideration of other hazards
 which may affect the public or plant personnel must be evaluated as prescribed in NFPA 59A
 (2001) section 2.1.1 (d).




 44
        DOT has approved two additional models for the determination of vapor dispersion exclusion zones in accordance with
        49 CFR 193.2059: FLACS 9.1 Release 2 (October 7, 2011) and PHAST-UDM Version 6.6 and 6.7 (October 7, 2011).


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         Title 49 CFR 193 Subpart B and NFPA 59A (2001) also specify three radiant heat flux
 levels which must be considered for LNG storage tank spills for as long as the facility is in
 operation:

        •    1,600 Btu/ft2-hr - This level can extend beyond the plant property line that can be built
             upon but cannot include areas that are used for outdoor assembly by groups of 50 or
             more persons;45

        •    3,000 Btu/ft2-hr - This level can extend beyond the plant property line that can be built
             upon but cannot include areas that contain assembly, educational, health care, detention
             or residential buildings or structures;46 and

        •    10,000 Btu/ft2-hr - This level cannot extend beyond the plant property line that can be
             built upon.47

         The requirements for design spills from process or transfer areas are more stringent. For
 LNG spills, the 1,600 Btu/ft 2-hr flux level cannot extend beyond the plant property line onto a
 property that can be built upon. In addition, section 2.1.1 of NFPA 59A (2001) requires that
 factors applicable to the specific site with a bearing on the safety of plant personnel and
 surrounding public must be considered, including an evaluation of potential incidents and safety
 measures incorporated into the design or operation of the facility. DOT has indicated that
 potential incidents, such as vapor cloud explosions and toxic releases should be considered to
 comply with Part 193 Subpart B.48

        In accordance with the August 31, 2018 MOU, the DOT issued an LOD to FERC on the
 49 CFR 193 Subpart B regulatory requirements.50 The LOD provides PHMSA’s analysis and
 conclusions regarding 49 CFR 193 Subpart B regulatory requirements for the Commission to




 45
        The 1,600 Btu/ft2-hr flux level is associated with producing pain in less than 15 seconds, first degree burns in
        20 seconds, second degree burns in approximately 30-40 seconds, 1 percent mortality in approximately 120 seconds,
        and 100 percent mortality in approximately 400 seconds, assuming no shielding from the heat, and is typically the
        maximum allowable intensity for emergency operations with appropriate clothing based on average an 10-minute
        exposure.
 46
        The 3,000 Btu/ft2-hr flux level is associated with producing pain in less than 5 seconds, first degree burns in 5 seconds,
        second degree burns in approximately 10-15 seconds, 1 percent mortality in approximately 50 seconds, and 100 percent
        mortality in approximately 180 seconds, assuming no shielding from the heat, and is typically the critical heat flux for
        piloted ignition of common building materials (e.g., wood, polyvinyl chloride, fiberglass, etc.) with prolonged
        exposures.
 47
        The 10,000 Btu/ft2-hr flux level is associated with producing pain in less than 1 seconds, first degree burns in
        1 seconds, second degree burns in approximately 3 seconds, 1 percent mortality in approximately 10 seconds, and 100
        mortality in approximately 35 seconds, assuming no shielding from the heat, and is typically the critical heat flux for
        unpiloted ignition of common building materials (e.g., wood, polyvinyl chloride, fiberglass) and degradation of
        unprotected process equipment after approximate 10-minute exposure and to reinforced concrete after prolonged
        exposure.
 48
        PHMSA’s “LNG Plant Requirements: Frequently Asked Questions” item H1,
        https://www.phmsa.dot.gov/pipeline/liquified-natural-gas/lng-plant-requirements-frequently-asked-questions, accessed
        August 2018.
 50
        March 26, 2019 letter “Re: Rio Grande LNG Project, Docket No. CP16-454-000, 49 CFR, Part 193, Subpart B, Siting –
        Letter of Determination” from Massoud Tahamtani to Rich McGuire. Filed in Docket Number CP16-454-000 on
        March 27, 2019. FERC eLibrary accession number 20190327-3003.


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 consider in its decision to authorize, with or without modification or conditions, or deny an
 application.

 4.12.1.3       Coast Guard Safety Regulatory Requirements and Letter of
                Recommendation

        LNG Marine Vessel Historical Record

         Since 1959, ships have transported LNG without a major release of cargo or a major
 accident involving an LNG marine vessel. There are more than 370 LNG marine vessels in
 operation routinely transporting LNG between more than 100 import/export terminals currently
 in operation worldwide. Since U.S. LNG terminals first began operating under FERC
 jurisdiction in the 1970s, there have been thousands of individual LNG marine vessel arrivals at
 terminals in the U.S. For more than 40 years, LNG shipping operations have been safely
 conducted in U.S. ports and waterways.

         A review of the history of LNG maritime transportation indicates that there has not been
 a serious accident at sea or in a port which resulted in a spill due to rupturing of the cargo tanks.
 However, insurance records, industry sources, and public websites identify a number of incidents
 involving LNG marine vessels, including minor collisions with other marine vessels of all sizes,
 groundings, minor LNG releases during cargo unloading operations, and mechanical/equipment
 failures typical of large vessels.

        Some of the more significant occurrences, representing the range of incidents
 experienced by the worldwide LNG marine vessel fleet, are described below:

        •   El Paso Paul Kayser grounded on a rock in June 1979 in the Straits of Gibraltar during
            a loaded voyage from Algeria to the United States. Extensive bottom damage to the
            ballast tanks resulted; however, no cargo was released because no damage was done to
            the cargo tanks. The entire cargo of LNG was subsequently transferred to another LNG
            marine vessel and delivered to its U.S. destination.

        •   Tellier was blown by severe winds from its docking berth at Skikda, Algeria in
            February 1989 causing damage to the loading arms and the LNG marine vessel and
            shore piping. The cargo loading had been secured just before the wind struck, but the
            loading arms had not been drained. Consequently, the LNG remaining in the loading
            arms spilled onto the deck, causing fracture of some plating.

        •   Mostefa Ben Boulaid had an electrical fire in the engine control room during
            unloading at Everett, Massachusetts on February 5, 1996. The LNG marine vessel crew
            extinguished the fire and the ship completed unloading.

        •   Khannur had a cargo tank overfill into the LNG marine vessel’s vapor handling system
            on September 10, 2001, during unloading at Everett, Massachusetts. Approximately
            100 gallons of LNG were vented and sprayed onto the protective decking over the
            cargo tank dome, resulting in several cracks. After inspection by the Coast Guard, the
            Khannur was allowed to discharge its LNG cargo.



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       •   Mostefa Ben Boulaid had LNG spill onto its deck during loading operations in Algeria
           in 2002. The spill, which is believed to have been caused by overflow rather than a
           mechanical failure, caused significant brittle fracturing of the steelwork. The LNG
           marine vessel was required to discharge its cargo, after which it proceeded to dock for
           repair.

       •   Norman Lady was struck by the USS Oklahoma City nuclear submarine while the
           submarine was rising to periscope depth near the Strait of Gibraltar in November 2002.
           The 87,000 m3 LNG marine vessel, which had just unloaded its cargo at Barcelona,
           Spain, sustained only minor damage to the outer layer of its double hull but no damage
           to its cargo tanks.

       •   Tenaga Lima grounded on rocks while proceeding to open sea east of Mopko, South
           Korea due to strong current in November 2004. The shell plating was torn open and
           fractured over an approximate area of 20 by 80 feet, and internal breaches allowed
           water to enter the insulation space between the primary and secondary membranes.
           The LNG marine vessel was refloated, repaired, and returned to service.

       •   Golar Freeze moved away from its docking berth during unloading on
           March 14, 2006, in Savannah, Georgia. The powered emergency release couplings on
           the unloading arms activated as designed, and transfer operations were shut down.

       •   Catalunya Spirit lost propulsion and became adrift 35 miles east of Chatham,
           Massachusetts on February 11, 2008. Four tugs towed the LNG marine vessel to a safe
           anchorage for repairs. The Catalunya Spirit was repaired and taken to port to discharge
           its cargo.

       •   Al Gharrafa collided with a container ship, Hanjin Italy, in the Malacca Strait off
           Singapore on December 19, 2013. The bow of the Al Gharrafa and the middle of the
           starboard side of the Hanjin were damaged. Both ships were safely anchored after the
           incident. No loss of LNG was reported.

       •   Al Oraiq collided with a freight carrier, Flinterstar, near Zeebrugge, Belgium on
           October 6, 2015. The freight carrier sank, but the Al Oraiq was reported to have
           sustained only minor damage to its bow and no damage to the LNG cargo
           tanks. According to reports, the Al Oraiq took on a little water but was towed to the
           Zeebrugge LNG terminal where its cargo was unloaded using normal procedures. No
           loss of LNG was reported.

       •   Al Khattiya suffered damage after a collision with an oil tanker off the Port of Fujairah
           on February 23, 2017. Al Khattiya had discharged its cargo and was anchored at the
           time of the incident. A small amount of LNG was retained within the LNG marine
           vessel to keep the cargo tanks cool. The collision damaged the hull and two ballast
           tanks on the Al Khattiya, but did not cause any injury or water pollution. No loss of
           LNG was reported.




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        •   Assem collided with a very large crude carrier (VLCC) Shinyo Ocean off the Port of
            Fujairah on March 26, 2019. The VLCC suffered severe portside hull height breach
            and Aseem had damage to its bow. Both marine vessels were unloaded at the time of
            the collision and subsequently no LNG or oil was released. Aseem was moved to port
            for anchorage and Shinyo Ocean was relocated to another point of anchorage.

        LNG Marine Vessel Safety Regulatory Oversight

          The Coast Guard exercises regulatory authority over LNG marine vessels under 46 CFR
 154, which contains the United States safety standards for self-propelled marine vessels
 transporting bulk liquefied gases. The LNG marine vessels visiting the proposed facility would
 also be constructed and operated in accordance with the IMO Code for the Construction and
 Equipment of Ships Carrying Liquefied Gases in Bulk and the International Convention for the
 Safety of Life at Sea. All LNG marine vessels entering U.S. waters are required to possess a
 valid IMO Certificate of Fitness and either a Coast Guard Certificate of Inspection for U.S. flag
 vessels or a Coast Guard Certificate of Compliance for foreign flag vessels. These documents
 certify that the LNG marine vessel is designed and operating in accordance with both
 international standards and the U.S. regulations for bulk LNG marine vessels under 46 CFR 154.

         The LNG marine vessels which would deliver or receive LNG to or from the proposed
 Project would also need to comply with various U.S. and international security requirements.
 The IMO adopted the International Ship and Port Facility Security Code in 2002. This code
 requires both ships and ports to conduct vulnerability assessments and to develop security plans.
 The purpose of the code is to prevent and suppress terrorism against ships; improve security
 aboard ships and ashore; and reduce the risk to passengers, crew, and port personnel on-board
 ships and in port areas.

        All LNG marine vessels, as well as other cargo vessels (e.g., 500 gross tons and larger),
 and ports servicing those regulated vessels, must adhere to the IMO standards. Some of the IMO
 requirements for ships are as follows:

        •   marine vessels must develop security plans and have a Vessel Security Officer;

        •   marine vessels must have a ship security alert system to transmit ship-to-shore security
            alerts identifying the ship, its location, and indication that the security of the ship is
            under threat or has been compromised;

        •   marine vessels must have a comprehensive security plan for international port facilities,
            focusing on areas having direct contact with ships; and

        •   marine vessels may have equipment on-board to help maintain or enhance the physical
            security of the ship.

        In 2002, the Maritime Transportation Security Act (MTSA) was enacted by the U.S.
 Congress and aligned domestic regulations with the maritime security standards of the
 International Ship and Port Facility Security Code and the Code for the Construction and
 Equipment of Ships Carrying Liquefied Gases in Bulk and the International Convention for the


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 Safety of Life at Sea. The Coast Guard’s regulations in 33 CFR 104 require marine vessels to
 conduct a vessel security assessment and develop a vessel security plan that addresses each
 vulnerability identified in the vessel security assessments. All LNG marine vessels servicing the
 facility would have to comply with the MTSA requirements and associated regulations while in
 U.S. waters.

         The Coast Guard also exercises regulatory authority over LNG facilities that affect the
 safety and security of port areas and navigable waterways under Executive Order 10173; the
 Magnuson Act (50 USC Section 191); the Ports and Waterways Safety Act of 1972, as amended
 (33 USC Section 1221, et seq.); and the MTSA of 2002 (46 USC Section 701). The Coast Guard
 is responsible for matters related to navigation safety, LNG marine vessel engineering and safety
 standards, and all matters pertaining to the safety of facilities or equipment located in or adjacent
 to navigable waters up to the last valve immediately before the receiving tanks. The Coast
 Guard also has authority for LNG facility security plan review, approval, and compliance
 verification as provided in 33 CFR 105.

         The Coast Guard regulations in 33 CFR 127 apply to the marine transfer area of
 waterfront facilities between the LNG marine vessel and the last manifold or valve immediately
 before the receiving tanks. Title 33 CFR 127 applies to the marine transfer area for LNG of each
 new waterfront facility handling LNG and to new construction in the marine transfer areas for
 LNG of each existing waterfront facility handling LNG. The scope of the regulations includes
 the design, construction, equipment, operations, inspections, maintenance, testing, personnel
 training, firefighting, and security of the marine transfer area of LNG waterfront facilities. The
 safety systems, including communications, emergency shutdown, gas detection, and fire
 protection, must comply with the regulations in 33 CFR 127. Under 33 CFR 127.019, RG LNG
 would be required to submit two copies of its Operations and Emergency Manuals to the Coast
 Guard Captain of the Port (COTP) for examination.

          Both the Coast Guard regulations under 33 CFR 127 and FERC regulations under
 18 CFR 157.21, require an applicant who intends to build an LNG terminal facility to submit a
 LOI to the Coast Guard no later than the date that the owner/operator initiates pre-filing with
 FERC, but, in all cases, at least 1 year prior to the start of construction. In addition, the applicant
 must submit a Preliminary WSA to the COTP with the LOI. The Preliminary WSA provides an
 initial explanation of the port community and the proposed facility and transit routes. It provides
 an overview of the expected impacts LNG operations may have on the port and the waterway.
 Generally, the Preliminary WSA does not contain detailed studies or conclusions. This
 document is used by the COTP to begin his or her evaluation of the suitability of the waterway
 for LNG marine traffic. The Preliminary WSA must provide an initial explanation of the
 following:

        •   port characterization;

        •   characterization of the LNG facility and the LNG marine vessel route;

        •   risk assessment for maritime safety and security;

        •   risk management strategies; and


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        •   resource needs for maritime safety, security, and response.

         A Follow-on WSA must be provided no later than the date the owner/operator files an
 application with FERC, but in all cases at least 180 days prior to transferring LNG. The Follow-
 on WSA must provide a detailed and accurate characterization of the LNG facility, the LNG
 marine vessel route, and the port area. The Follow-on WSA provides a complete analysis of the
 topics outlined in the Preliminary WSA. It should identify credible security threats and
 navigational safety hazards for the LNG marine traffic, along with appropriate risk management
 measures and the resources (i.e., federal, state, local, and private sector) needed to carry out
 those measures. Until a facility begins operation, applicants must also annually review their
 WSAs and submit a report to the COTP as to whether changes are required. This document is
 reviewed and validated by the Coast Guard and forms the basis for the agency’s LOR to the
 FERC.

        In order to provide the Coast Guard COTPs/Federal Maritime Security Coordinators,
 members of the LNG industry, and port stakeholders with guidance on assessing the suitability
 of a waterway for LNG marine traffic, the Coast Guard has published a Navigation and Vessel
 Inspection Circular – Guidance on Assessing the Suitability of a Waterway for Liquefied Natural
 Gas (LNG) Marine Traffic (NVIC 01-11).

         NVIC 01-11 directs the use of the three concentric Zones of Concern, based on LNG
 marine vessels with a cargo carrying capacity up to 265,000 m³, used to assess the maritime
 safety and security risks of LNG marine traffic. The Zones of Concern are:

        •   Zone 1 – impacts on structures and organisms are expected to be significant within
            500 meters (1,640 feet). The outer perimeter of Zone 1 is approximately the distance
            to thermal hazards of 37.5 kilowatts per square meter (kW/m2) (12,000 Btu/ft2-hr) from
            a pool fire.

        •   Zone 2 – impacts would be significant but reduced, and damage from radiant heat levels
            are expected to transition from severe to minimal between 500 and 1,600 meters
            (1,640 and 5,250 feet). The outer perimeter of Zone 2 is approximately the distance to
            thermal hazards of 5 kW/m2 (1,600 Btu/ft2-hr) from a pool fire.

        •   Zone 3 – impacts on people and property from a pool fire or an un-ignited LNG spill
            are expected to be minimal between 1,600 meters (5,250 feet) and a conservative
            maximum distance of 3,500 meters (11,500 feet or 2.2 miles). The outer perimeter of
            Zone 3 should be considered the vapor cloud dispersion distance to the lower
            flammability limit from a worst-case un-ignited release. Impacts to people and
            property could be significant if the vapor cloud reaches an ignition source and burns
            back to the source.

         Once the applicant submits a complete Follow-on WSA, the Coast Guard reviews the
 document to determine if it presents a realistic and credible analysis of the public safety and
 security implications from LNG marine traffic both in the waterway and when in port. As
 required by its regulations (33 CFR 127.009), the Coast Guard is responsible for issuing a LOR



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 to the FERC regarding the suitability of the waterway for LNG marine traffic with respect to the
 following items:

        •   physical location and description of the facility;

        •   the LNG marine vessel’s characteristics and the frequency of LNG shipments to or
            from the facility;

        •   waterway channels and commercial, industrial, environmentally sensitive, and
            residential areas in and adjacent to the waterway used by LNG marine vessels en route
            to the facility, within 25 kilometers (15.5 miles) of the facility;

        •   density and character of marine traffic in the waterway;

        •   locks, bridges, or other man-made obstructions in the waterway;

        •   depth of water;

        •   tidal range;

        •   protection from high seas;

        •   natural hazards, including reefs, rocks, and sandbars;

        •   underwater pipes and cables; and

        •   distance of berthed LNG marine vessels from the channel and the width of the channel.

         The Coast Guard may also prepare an LOR Analysis, which serves as a record of review
 of the LOR and contains detailed information along with the rationale used in assessing the
 suitability of the waterway for LNG marine traffic.

        RG LNG’s Waterway Suitability Assessment

         In a letter to the Coast Guard dated March 18, 2015, RG LNG submitted a LOI and a
 Preliminary WSA to the COTP, Sector Corpus Christi to notify the Coast Guard that it proposed
 to construct an LNG export terminal. In order to assess the safety and security aspects of this
 Project, the COTP Sector Corpus Christi consulted various safety and security working groups,
 including representatives from Port of BND, Port Isabel Navigation District, local facility
 security, the Brazos Santiago Pilots Association, and Signet Maritime. In addition, the Coast
 Guard participated in meetings with the working group listed above, and other federal, state, and
 local agencies. RG LNG submitted the Follow-on WSA to the Coast Guard on December 17,
 2015.

        LNG Marine Vessel Routes and Hazard Analysis

        An LNG marine vessel’s transit to the terminal would begin when it enters the U.S.
 Exclusive Economic Zone from well-established shipping lanes through the Gulf of Mexico.


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 The LNG marine vessel would then enter the U.S. Territorial Sea limit (State Waters) to arrive at
 the Brazos Santiago Pass ocean buoy. At the Santiago Pass ocean buoy, pilots would board the
 LNG marine vessel before entering the BSC. From here, the LNG marine vessel transit would
 be executed with tug support at limiting speeds of 5 to 10 knots until it reaches the terminal. An
 LNG marine vessel port time with pilotage would normally be less than three hours for inbound
 transits (this includes time needed to turn the LNG marine vessel around and safely moor the
 LNG marine vessel along one of the two berths) and no more than two hours for outbound
 transits.

         Pilotage is compulsory for foreign marine vessels and U.S. marine vessels under registry
 in foreign trade when in U.S. waters. All deep-draft marine vessels currently entering the shared
 waterway would employ a U.S. pilot. The National Vessel Movement Center in the U.S. would
 require a 96-hour advance notice of arrival for deep-draft marine vessels calling on U.S. ports.
 During transit, LNG marine vessels would be required to maintain voice contact with controllers
 and check in on designated frequencies at established way points.

          NVIC 01-11 references the “Zones of Concern” for assisting in a risk assessment of the
 waterway. As LNG marine vessels proceed along the intended transit route, Hazard Zone 1
 would encompass coastal areas along South Padre Island, Port Isabel and the BND, including a
 public boat ramp and approximately 30 RV hook-ups on South Padre Island, and the marine
 facilities associated with the proposed Texas LNG and Annova LNG Projects. Commercial
 vessels, recreational and fishing vessels may also fall within Zone 1, depending on their course.
 Transit of such vessels through a Zone 1 area of concern can be avoided by timing and course
 changes, if conditions permit. Zone 2 would cover a wider swath of coastal areas along South
 Padre Island, Port Isabel, and the BND, including the Coast Guard Station at South Padre Island,
 multiple residential buildings, commercial buildings, industrial buildings, a church, a university
 lab building, Schlitterbahn Water Park, and Long Island. Zone 3 would span larger portions of
 South Padre Island, Port Isabel and the BND, including the Port Isabel Police and Fire
 Departments, multiple residential, commercial, and industrial buildings, 9 churches, 2
 elementary schools, and the causeway between Port Isabel and South Padre Island.

         The areas impacted by the three different hazard zones are illustrated for accidental
 events in figure 4.12.1.3-1. The areas impacted by the three different hazard zones are illustrated
 for intentional events in figure 4.12.1.3-2.

 4.12.1.4       Coast Guard Letter of Recommendation and Analysis

         In a letter dated December 26, 2017, the Coast Guard issued an LOR and LOR Analysis
 to FERC stating that the BSC would be considered suitable for accommodating the type and
 frequency of LNG marine traffic associated with this Project. The LOR also considered impacts
 related to the nearby SpaceX rocket launch facility. As part of its assessment of the safety and
 security aspects of this Project, the COTP Sector Corpus Christi consulted a variety of
 stakeholders including representatives from Port of Brownsville Navigation District, Port Isabel
 Navigation District, local facility security, the Brazos Santiago Pilots Association, and Signet
 Maritime. The LOR was based on full implementation of the strategies and risk management
 measures identified by the Coast Guard to RG LNG in its WSA.



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          Although RG LNG has suggested mitigation measures for responsibly managing the
 maritime safety and security risks associated with LNG marine traffic, the necessary vessel
 traffic and/or facility control measures may change depending on changes in conditions along the
 waterway. The Coast Guard regulations in 33 CFR 127 require that applicants annually review
 WSAs until a facility begins operation and submit a report to the Coast Guard identifying any
 changes in conditions, such as changes to the port environment, the LNG facility, or the LNG
 marine vessel route, that would affect the suitability of the waterway for LNG marine traffic.

          The Coast Guard’s LOR is a recommendation, regarding the current status of the
 waterway, to the FERC, the lead agency responsible for siting the onshore LNG facility. Neither
 the Coast Guard nor the FERC has authority to require waterway resources of anyone other than
 the applicant under any statutory authority or under the ERP or the Cost-Sharing Plan. As stated
 in the LOR, the Coast Guard would assess each transit on a case-by-case basis to identify what,
 if any, safety and security measures would be necessary to safeguard the public health and
 welfare, critical infrastructure and key resources, the port, the marine environment, and the LNG
 marine vessel.

          Under the Ports and Waterways Safety Act, the Magnuson Act, the MTSA, and the
 Security and Accountability For Every Port Act, the COTP has the authority to prohibit LNG
 transfer or LNG marine vessel movements within his or her area of responsibility if he or she
 determines that such action is necessary to protect the waterway, port, or marine environment. If
 this Project is approved and if appropriate resources are not in place prior to LNG marine vessel
 movement along the waterway, then the COTP would consider at that time what, if any, vessel
 traffic and/or facility control measures would be appropriate to adequately address navigational
 safety and maritime security considerations.




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       Figure 4.12.1.3-1 Accidental Hazard Zones along LNG Marine Vessel Route




       Figure 4.12.1.3-2 Intentional Hazard Zones along LNG Marine Vessel Route




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 4.12.1.5      LNG Facility Security Regulatory Requirements

          The security requirements for the proposed Project are governed by 33 CFR 105, 33 CFR
 127, and 49 CFR 193 Subpart J – Security. Title 33 CFR 105, as authorized by the MTSA,
 requires all terminal owners and operators to submit a Facility Security Assessment and a
 Facility Security Plan to the Coast Guard for review and approval before commencement of
 operations of the proposed Project facilities. RG LNG would also be required to control and
 restrict access, patrol and monitor the LNG Terminal, detect unauthorized access, and respond to
 security threats or breaches under 33 CFR 105. Some of the responsibilities of the applicant
 include, but are not limited to:

        •   designating a Facility Security Officer with a general knowledge of current security
            threats and patterns, security assessment methodology, vessel and facility operations,
            conditions, security measures, emergency preparedness, response, and contingency
            plans, who would be responsible for implementing the Facility Security Assessment
            and Facility Security Plan and performing an annual audit for the life of the Project;

        •   conducting a Facility Security Assessment to identify site vulnerabilities, possible
            security threats and consequences of an attack, and facility protective measures;
            developing a Facility Security Plan based on the Facility Security Assessment, with
            procedures for: responding to transportation security incidents; notification and
            coordination with federal, state, and local authorities; prevention of unauthorized
            access; measures to prevent or deter entrance with dangerous substances or devices;
            training; and evacuation;

        •   defining the security organizational structure with facility personnel with knowledge
            or training in current security threats and patterns; recognition and detection of
            dangerous substances and devices, recognition of characteristics and behavioral
            patterns of persons who are likely to threaten security; techniques to circumvent
            security measures; emergency procedures and contingency plans; operation, testing,
            calibration, and maintenance of security equipment; and inspection, control,
            monitoring, and screening techniques;

        •   implementing scalable security measures to provide increasing levels of security at
            increasing maritime security levels for facility access control, restricted areas, cargo
            handling, LNG marine vessel stores and bunkers, and monitoring; ensuring that the
            Transportation Worker Identification Credential (TWIC) program is properly
            implemented;

        •   ensuring coordination of shore leave for LNG marine vessel personnel or crew change
            out as well as access through the facility for visitors to the LNG marine vessel;

        •   conducting drills and exercises to test the proficiency of security and facility personnel
            on a quarterly and annual basis; and

        •   reporting all breaches of security and transportation security incidents to the National
            Response Center.


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          Title 33 CFR 127 has requirements for access controls, lighting, security systems,
 security personnel, protective enclosures, communications, and emergency power. In addition,
 an LNG facility regulated under 33 CFR 105 and 33 CFR 127 would be subject to the TWIC
 Reader Requirements Rule issued by the Coast Guard on August 23, 2016. This rule requires
 owners and operators of certain vessels and facilities regulated by the Coast Guard to conduct
 electronic inspections of TWICs (e.g., readers with biometric fingerprint authentication) as an
 access control measure. The final rule would also include recordkeeping requirements and
 security plan amendments that would incorporate these TWIC requirements. The
 implementation of the rule was first proposed to be in effect August 23, 2018. In a subsequent
 notice issued on June 22, 2018, the Coast Guard indicated delaying the effective date for certain
 facilities by 3 years, until August 23, 2021. On August 2, 2018, the President of the United
 States signed into law the Transportation Worker Identification Credential Accountability Act of
 2018 (H.R. 5729). This law prohibits the Coast Guard from implementing the rule requiring
 electronic inspections of TWICs until after the Department of Homeland Security (DHS) has
 submitted a report to the Congress. Although the implementation of this rule has been postponed
 for certain facilities, the company should consider the rule when developing access control and
 security plan provisions for the facility.

         Title 49 CFR 193 Subpart J also specifies security requirements for the onshore
 components of LNG facilities, as defined in 49 CFR 193, including requirements for conducting
 security inspections and patrols, liaison with local law enforcement officials, design and
 construction of protective enclosures, lighting, monitoring, alternative power sources, and
 warning signs.

         If the Project is authorized, constructed, and operated, compliance with the security
 requirements of 33 CFR 105, 33 CFR 127, and 49 CFR 193 Subpart J would be subject to the
 respective Coast Guard and DOT inspection and enforcement programs.

          RG LNG provided preliminary information on these security features and proposed to
 provide perimeter fencing, lighting, security personnel, security cameras, access control systems,
 identification and screening systems, intrusion detection systems, and communication systems.
 In response to data requests, RG LNG proposed revisions to their design that would remedy the
 identified concerns. We recommend in section 4.12.1.7 that RG LNG provide final design
 details on these security features for review and approval including: lighting coverage drawings
 that illustrate photometric analyses demonstrating the lux levels at the interior of the terminal are
 in accordance with API 540 and other federal regulations, including lighting along the perimeter
 fence line and along paths/roads of access and egress; camera coverage drawings that illustrate
 coverage areas of each camera such that the entire perimeter of the plant is covered with
 redundancy and the interior of plant is covered, including a camera be provided at the top of each
 LNG storage tank, and coverage within pretreatment areas, within liquefaction areas, within
 truck transfer areas, within marine transfer areas, and buildings; fencing drawings that
 demonstrate a fence would deter or mitigate entry along the perimeter of the entire facility and is
 set back from exterior structures and vegetation, and from interior hazardous piping and
 equipment by at least 10 feet; vehicle barrier and controlled access point drawings that
 demonstrate crash rated barriers are provided to prevent uncontrolled access, inadvertent entry,
 and impacts to components containing hazardous fluids from vehicles. Furthermore, in
 accordance with the February 2004 Interagency Agreement among FERC, DOT, and the Coast


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 Guard, FERC staff would collaborate with the DOT and the Coast Guard on the Project’s
 security features.

 4.12.1.6         FERC Engineering and Technical Review of the Preliminary Engineering
                  Designs

        LNG Facility Historical Record

          The operating history of the U.S. LNG industry has been free of safety-related incidents
 resulting in adverse effects on the public or the environment with the exception of the October
 20, 1944, failure at an LNG plant in Cleveland, Ohio. The 1944 incident in Cleveland led to a
 fire that killed 128 people and injured 200 to 400 more people. 51 The failure of the LNG storage
 tank was due to the use of materials not suited for cryogenic temperatures. LNG migrated
 through streets and into underground sewers due to inadequate spill impoundments at the site.
 Current regulatory requirements ensure that proper materials suited for cryogenic temperatures
 are used in the design and that spill impoundments are designed and constructed properly to
 contain a spill at the site. To ensure that this potential hazard would be addressed for proposed
 LNG facilities, we evaluate the preliminary and final specifications for suitable materials of
 construction and for the design of spill containment systems that would properly contain a spill
 at the site.

         Another operational accident occurred in 1979 at the Cove Point LNG plant in Lusby,
 Maryland. A pump electrical seal located on a submerged electrical motor LNG pump leaked
 causing flammable gas vapors to enter an electrical conduit and settle in a confined space. When
 a worker switched off a circuit breaker, the flammable gas ignited, causing severe damage to the
 building and a worker fatality. With the participation of the FERC, lessons learned from the
 1979 Cove Point accident resulted in changing the national fire codes to better ensure that the
 situation would not occur again. To ensure that this potential hazard would be addressed for
 proposed facilities that have electrical seal interfaces, we evaluated the preliminary designs and
 recommend in section 4.12.1.7 that RG LNG provide, for review and approval, the final design
 details of the electrical seal design at the interface between flammable fluids and the electrical
 conduit or wiring system, details of the electrical seal leak detection system, and the details of a
 downstream physical break (i.e., air gap) in the electrical conduit to prevent the migration of
 flammable vapors.

         On January 19, 2004, a blast occurred at Sonatrach’s Skikda, Algeria, LNG liquefaction
 plant that killed 27 and injured 56 workers. No members of the public were injured. Findings of
 the accident investigation suggested that a cold hydrocarbon leak occurred at Liquefaction Train
 40 and was introduced into a high-pressure steam boiler by the combustion air fan. An explosion
 developed inside the boiler firebox, which subsequently triggered a larger explosion of the
 hydrocarbon vapors in the immediate vicinity. The resulting fire damaged the adjacent
 liquefaction process and liquid petroleum gas separation equipment of Train 40, and spread to
 Trains 20 and 30. Although Trains 10, 20, and 30 had been modernized in 1998 and 1999, Train


 51
        For a description of the incident and the findings of the investigation, see “U.S. Bureau of Mines, Report on the
        Investigation of the Fire at the Liquefaction, Storage, and Regasification Plant of the East Ohio Gas Co., Cleveland,
        Ohio, October 20, 1944,” dated February 1946.


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 40 had been operating with its original equipment since start-up in 1981. To ensure that this
 potential hazard would be addressed for proposed facilities, we evaluated the preliminary design
 for mitigation of flammable vapor dispersion and ignition in buildings and combustion
 equipment to ensure they would be adequately covered by hazard detection equipment that could
 isolate and deactivate any combustion equipment whose continued operation could add to or
 sustain an emergency. We also recommend in section 4.12.1.7 that RG LNG provide, for review
 and approval, the final design details of hazard detection equipment, including the location and
 elevation of all detection equipment, instrument tag numbers, type and location, alarm indication
 locations, and shutdown functions of the hazard detection equipment.

         On March 31, 2014, a detonation occurred within a gas heater at Northwest Pipeline
 Corporation’s LNG peak-shaving plant in Plymouth, Washington.52 This internal detonation
 subsequently caused the failure of pressurized equipment, resulting in high velocity projectiles.
 The plant was immediately shut down, and emergency procedures were activated, which
 included notifying local authorities and evacuating all plant personnel. No members of the
 public were injured, but one worker was sent to the hospital for injuries. As a result of the
 incident, the liquefaction trains and a compressor station located onsite were rendered
 inoperable. Projectiles from the incident also damaged the control building that was located near
 pretreatment facilities and penetrated the outer shell of one of the LNG storage tanks. All
 damaged facilities were ultimately taken out-of-service for repair. The accident investigation
 showed that an inadequate purge after maintenance activities resulted in a fuel-air mixture
 remaining in the system. The fuel-air mixture auto-ignited during start-up after it passed through
 the gas heater at full operating pressure and temperature. To ensure that this potential hazard
 would be addressed for proposed facilities, we recommend in section 4.12.1.7 that RG LNG
 provide a plan for purging, for review and approval, which addresses the requirements of the
 American Gas Association Purging Principles and Practice and to provide justification if not
 using an inert or non-flammable gas for purging. In evaluating such plans, we would assess
 whether the purging could be done safely based on review of other plans and lessons learned
 from this and other past incidents. If a plan proposes the use of flammable mediums for
 cleaning, dry-out or other activities, we would evaluate the plans against other recommended and
 generally accepted good engineering practices, such as NFPA 56, Standard for Fire and
 Explosion Prevention during Cleaning and Purging of Flammable Gas Piping Systems.

         We also recommend in section 4.12.1.7 that RG LNG provide, for review and approval,
 operating and maintenance plans, including safety procedures, prior to commissioning. In
 evaluating such plans, we would assess whether the plans cover all standard operations,
 including purging activities associated with start-up and shutdown. Also, in order to prevent
 other sources of projectiles from affecting occupied buildings and storage tanks, we recommend
 in section 4.12.1.7 that RG LNG incorporate mitigation into their final design with supportive
 information, for review and approval, that demonstrates it would mitigate the risk of a pressure
 vessel burst or boiling liquid expanding vapor explosion (BLEVE) from occurring.




 52
        For a description of the incident and the findings of the investigation, see Root Cause Failure Analysis, Plymouth LNG
        Plant Incident Investigation under CP14-515.


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        FERC Preliminary Engineering Review

         FERC requires an applicant to provide safety, reliability, and engineering design
 information as part of its application, including hazard identification studies and FEED
 information for its proposed Project. FERC staff evaluates this information with a focus on
 potential hazards from within and nearby the site, including external events, which may have the
 potential to cause damage or failure to the Project facilities, and the engineering design and
 safety and reliability concepts of the various protection layers to mitigate the risks of potential
 hazards.

         The primary concerns are those events that could lead to a hazardous release of sufficient
 magnitude to create an offsite hazard or interruption of service. Furthermore, the potential
 hazards are dictated by the site location and the engineering details. In general, FERC staff
 considers an acceptable design to include various layers of protection or safeguards to reduce the
 risk of a potentially hazardous scenario from developing into an event that could impact the
 offsite public. These layers of protection are generally independent of one another so that any
 one layer would perform its function regardless of the initiating event or failure of any other
 protection layer. Such design features and safeguards typically include:

        •   a facility design that prevents hazardous events, including the use of inherently safer
            designs; suitable materials of construction; adequate design margins from operating
            limits for process piping, process vessels, and storage tanks; adequate design for wind,
            flood, seismic, and other outside hazards;

        •   control systems, including monitoring systems and process alarms, remotely-operated
            control and isolation valves, and operating procedures to ensure that the facility stays
            within the established operating and design limits;

        •   safety instrumented prevention systems, such as safety control valves and emergency
            shutdown systems, to prevent a release if operating and design limits are exceeded;

        •   physical protection systems, such as appropriate electrical area classification, proper
            equipment and building spacing, pressure relief valves, spill containment, and
            cryogenic, overpressure, and fire structural protection, to prevent escalation to a more
            severe event;

        •   site security measures for controlling access to the plant, including security inspections
            and patrols, response procedures to any breach of security, and liaison with local law
            enforcement officials; and

        •   onsite and offsite emergency response, including hazard detection and control
            equipment, firewater systems, and coordination with local first responders, to mitigate
            the consequences of a release and prevent it from escalating to an event that could
            impact the public.

         The inclusion of such protection systems or safeguards in a plant design can minimize the
 potential for an initiating event to develop into an incident that could impact the safety of the


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 offsite public. The review of the engineering designs for these layers of protection is initiated in
 the application process and carried through to the next phase of the proposed Project in final
 design if authorization is granted by the Commission.

         The reliability of these layers of protection is informed by occurrence and likelihood of
 root causes and the potential severity of consequences based on past incidents and validated
 hazard modeling. As a result of the continuous engineering review, we recommend mitigation
 measures and continuous oversight to the Commission for consideration to include as conditions
 in the order. If a facility is authorized and recommendations are adopted as conditions to the
 order, FERC staff would continue its engineering review through final design, construction,
 commissioning, and operation.

        Process Design

         In order to liquefy natural gas, most liquefaction technologies require that the feed gas
 stream be pre-treated to remove components that could freeze out and clog the liquefaction
 equipment or would otherwise be incompatible with the liquefaction process or equipment,
 including mercury, H2S, CO2, water, and heavy hydrocarbons. For example, mercury is typically
 limited to concentrations of less than 0.01 micrograms per normal cubic meter because it can
 induce embrittlement and corrosion resulting in a catastrophic failure of equipment.

         The inlet gas would be conditioned to remove solids and water droplets and for pressure
 regulation prior to entering feed gas pretreatment processes. Once the inlet gas is conditioned,
 the feed gas would be routed to the acid gas removal unit where a H2S scavenger vessel absorbs
 most of the H2S in the feed gas stream. The H2S scavenger vessel would reduce the H2S
 concentration to less than 0.4 parts per million by volume. The feed gas stream would then
 contact an amine-based solvent solution in an absorber column to remove the remaining acid gas
 components (predominantly CO2 with trace amounts of H2S carried over from the H2S scavenger
 vessel). Once the acid gas components accumulate in the amine solution, the amine solution is
 routed to an amine regenerator column that utilizes a reboiler to create hot amine vapor. Contact
 with the hot amine vapor would release the acid gas from the amine solution. The regenerated
 amine solution would be recycled back to the absorber column and the acid gas would be sent to
 a thermal oxidizer, where CO2, any remaining traces of H2S, and trace amounts of hydrocarbons
 would be incinerated.

        The treated feed gas exiting the acid gas removal unit then enters the dehydration unit
 where water would be removed from the feed gas by using regenerative molecular sieve beds.
 During the mole sieve bed regeneration process, heated regeneration gas would release water
 from the molecular sieve beds. Water would then be separated from the regeneration gas and
 would be routed back into the pretreatment system. After dehydration, mercury would be
 removed from the gas by a mercury adsorber bed that utilizes a sulfur impregnated activated
 carbon adsorbent (or metal oxide) until the beds adsorb enough mercury to require replacement.

         The feed gas from the mercury adsorber bed is cooled to condense NGL in the NGL
 extraction unit. The resulting NGL stream would be stabilized and sent to the condensate storage
 tank. The stabilized condensate would be removed from the site by trucks.




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          After removal of the heavy hydrocarbons and the other components from the natural gas
 feed stream, RG LNG would liquefy the natural gas. In this process, the gas would be cooled
 using Air Products and Chemical Incorporated’s propane-precooled mixed refrigerant
 liquefaction process that would utilize two main refrigeration cycles. In the first cycle, propane
 refrigerant would be used to pre-cool the feed gas and the mixed refrigerant consisting of
 nitrogen, methane, ethylene/ethane, and propane. In the second cycle, the mixed refrigerant
 would be used to achieve the temperatures to liquefy and sub-cool the feed gas. Refrigerants
 required for the liquefaction process would be unloaded from trucks and stored onsite for initial
 filling and use, as needed, for make-up. After cooling the natural gas into its liquid form (i.e.,
 LNG), it would be stored in four full-containment LNG storage tanks and sent out through in-
 tank pumps through a marine transfer line and marine transfer arms connected to LNG ships.
 The LNG transferred to the ships would displace vapors from the ships, which would be sent
 back to the LNG storage containers. Once loaded, the LNG ship would be disconnected and
 leave for export.

          The Project would include many utilities and associated auxiliary equipment. The major
 auxiliary systems required for the operation of the liquefaction facility include BOG, fuel gas,
 hot oil, flares, instrument and utility air supply, water supply, demineralized water, diesel,
 nitrogen, and backup power.

         Hot oil would be used to provide heat to the acid gas removal unit, NGL extraction unit,
 and the fuel gas system. There would be three ground flares (each ground flare would handle
 both dry gas and wet gas) and a vent located near the LNG tanks and ship loading area. The
 ground flares would be designed to handle the vent gases from the process areas associated with
 the pretreatment and liquefaction operations. The vent would be used during upset conditions in
 the LNG tank/ship loading area or to dispose of vent gas during cooldown of warm and inerted
 LNG marine vessels. Diesel would be stored onsite and used in the spare firewater pump and as
 fuel for the essential diesel generators. Nitrogen would be used to purge process equipment and
 as a seal gas for compressors and would be stored onsite as a liquid.

         The failure of process equipment could pose potential harm if not properly safeguarded
 through the use of appropriate controls and operation. RG LNG would install process control
 valves and instrumentation to safely operate and monitor the facilities. Alarms would have
 visual and audible notification in the control room to warn operators that process conditions may
 be approaching design limits. RG LNG would design their control systems and human machine
 interfaces (HMI) to the International Society for Automation (ISA) Standards 5.3, 5.5, 60.1,
 60.3, 60.4, and 60.6, and other standards and recommended practices. RG LNG indicated an
 alarm management program would be in accordance with the ISA Standard 18.2 to ensure the
 effectiveness of the alarms. We recommend in section 4.12.1.7 that RG LNG provide their
 alarm management program for review and approval.

         Operators would have the capability to take action from the control room to mitigate an
 upset. RG LNG would develop facility operation procedures after completion of the final
 design; this timing is fully consistent with accepted industry practice. We recommend in section
 4.12.1.7 that RG LNG provide more information, for review and approval, on the operating and
 maintenance procedures, including safety procedures, hot work procedures and permits,
 abnormal operating conditions procedures, and personnel training prior to commissioning. We


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 would evaluate these procedures to ensure that an operator can operate and maintain all systems
 safely, based on benchmarking against other operating and maintenance plans and comparing
 against recommended and generally accepted good engineering practices, such as American
 Institute of Chemical Engineers (AIChE) Center for Chemical Process Safety (CCPS) Guidelines
 for Writing Effective Operating and Maintenance Procedures, AIChE CCPS Guidelines for
 Management of Change for Process Safety, AIChE CCPS Guidelines for Effective Pre-Startup
 Safety Reviews, AGA Purging Principles and Practices, and NFPA 51B Standards for Fire
 Prevention During Welding, Cutting, and Other Hot Work. In addition, we recommend in
 section 4.12.1.7 that RG LNG tag and label instrumentation and valves, piping, and equipment
 and provide car-seals/locks to address human factor considerations and improve facility safety
 and prevent incidents.

         In the event of a process deviation, emergency shutdown (ESD) valves and
 instrumentation would be installed to monitor, alarm, shut down, and isolate equipment and
 piping during process upsets or emergency conditions. The Project would have a plant-wide
 ESD system to initiate closure of valves and shutdown of the process during emergency
 situations. Safety instrumented systems would comply with International Electrotechnical
 Commission 61508/ISA Standard 84.00.01 and other recommended and generally accepted good
 engineering practices. We also recommend in section 4.12.1.7 that RG LNG file information,
 for review and approval, on the final design, installation, and commissioning of instrumentation
 and ESD equipment to ensure appropriate cause-and-effect alarm or shutdown logic and
 enhanced representation of the ESD system in the plant control room and throughout the plant.

         In developing the FEED, RG LNG conducted a Hazard Identification - Environmental
 Hazard Identification (HAZID-ENVID) analysis on the Project’s preliminary design based on
 the proposed site plan, block flow diagrams, heat and material balances, process flow diagrams,
 and utility flow diagrams. The HAZID-ENVID analysis identifies potential hazards or
 environmental issues in the early stage of the project’s design that could produce undesirable
 consequences through the occurrence of an incident by evaluating the materials, systems,
 process, and plant design.

         A more detailed hazard and operability review (HAZOP) analysis would be performed by
 RG LNG during the final design phase to identify the major hazards that may be encountered
 during the operation of facilities. The HAZOP study would be intended to address hazards of the
 process, engineering and administrative controls and would provide a qualitative evaluation of a
 range of possible safety, health, and environmental consequences that may result from a process
 hazard, and identify whether there are adequate safeguards (e.g., engineering and administrative
 controls) to prevent or mitigate the risk from such events. Where insufficient engineering and
 administrative controls are identified, recommendations to prevent or minimize these hazards
 would be generated from the results of the HAZOP review. We recommend in section 4.12.1.7
 that RG LNG file the HAZOP study on the completed final design for review and approval. We
 would evaluate the HAZOP to ensure all systems and process deviations are addressed
 appropriately based on likelihood, severity, and risk values with commensurate layers of
 protection in accordance with recommended and generally accepted good engineering practices,
 such as the AIChE, Guidelines for Hazard Evaluation Procedures. We also recommend in
 section 4.12.1.7 that RG LNG file the resolutions of the recommendations generated by the
 HAZOP review for evaluation and approval by FERC staff. Once the design has been subjected


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 to a HAZOP review, the design development team would track, manage, and keep records of
 changes in the facility design, construction, operations, documentation, and personnel. RG LNG
 would evaluate these changes to ensure that the safety, health, and environmental risks arising
 from these changes are addressed and controlled based on its management of change procedures.
 If FERC staff’s recommendations are adopted into the order, resolutions of the recommendations
 generated by the HAZOP review would be monitored by FERC staff. We also recommend in
 section 4.12.1.7 that RG LNG file all changes to their FEED for review and approval by FERC
 staff. However, major modifications could require an amendment or new proceeding.

         If the Project is authorized and constructed, RG LNG would install equipment in
 accordance with its design. We recommend in section 4.12.1.7 that Project facilities be subject
 to construction inspections and that RG LNG provide, for review and approval, commissioning
 plans, procedures and commissioning demonstration tests that would verify the performance of
 equipment. In addition, we recommend in section 4.12.1.7 that RG LNG provide semi-annual
 reports that include abnormal operating conditions and planned facility modifications.
 Furthermore, we recommend in section 4.12.1.7 that the Project facilities would be subject to
 regular inspections to verify that equipment is being properly maintained and to verify basis of
 design conditions, such as feed gas and sendout conditions, do not exceed the original basis of
 design.

        Mechanical Design

          RG LNG provided codes and standards for the design, fabrication, construction, and
 installation of piping and equipment and specifications for the facility. The design specifies
 materials of construction and ratings suited to the pressure and temperature conditions of the
 process design. Piping would be designed, fabricated, assembled, erected, inspected, examined,
 and tested in accordance with the ASME Standards B31.3, B36.10, and 36.19. Valves and
 fittings would be designed to standards and recommended practices such as API Standards 594,
 598, 600, 602, 603, 607, 608, and 609; ASME Standards B16.5, B16.10, B16.20, B16.25, and
 B16.34; and ISA Standards 75.01.01, 75.05.01, and 75.08.01. Portions of the facility regulated
 under 33 CFR 127 for the marine transfer system, including piping, hoses, and loading arms
 should also be tested in accordance with 33 CFR 127.407.

         Pressure vessels must be designed, fabricated, inspected, examined, and tested in
 accordance with ASME Boiler and Pressure Vessel Code Section VIII per 49 CFR 193 Subparts
 C, D, and E and the NFPA 59A (2001). LNG storage tanks must be designed, fabricated, tested,
 and inspected in accordance with 49 CFR 193 Subpart D, NFPA 59A (2001 and 2006), and API
 Standard 620. In addition, RG LNG would design, fabricate, test, and inspect the LNG storage
 tanks in accordance with API Standard 625 and American Concrete Institute 376. Other low-
 pressure storage tanks such as the amine and condensate storage tanks, would be designed,
 inspected, and maintained in accordance with the API Standards 650 and 653. All LNG storage
 tanks would also include BOG compression to prevent the release of boil-off to the atmosphere
 in accordance with NFPA 59A (2001) for an inherently safer design. Heat exchangers would be
 designed to ASME Boiler and Pressure Vessel Code Section VIII standards; API Standards 660
 and 661; and the Tubular Exchanger Manufacturers Association standards. Rotating equipment
 would be designed to standards and recommended practices, such as API Standards 610, 613,
 614, 616, 617, 670, 671, 675, 676, and 682; and ASME Standards B73.1 and B73.2. Fired


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 heaters would be specified and designed to standards and recommended practices, such as API
 Standards 530, 535, and 556, and NFPA 85.

         Pressure and vacuum safety relief valves and flares would be installed to protect the
 storage containers, pressure vessels, process equipment, and piping. The safety relief valves
 would be designed to handle process upsets and thermal expansion within piping, per NFPA 59A
 (2001) and ASME Section VIII; and would be designed in accordance with API Standards 520,
 521, 526, 527, 537, 2000, and other recommended and generally accepted good engineering
 practices. In addition, the operator should verify the set pressure of the pressure relief valves
 meet the requirements in 33 CFR 127.407. We recommend in section 4.12.1.7 that RG LNG
 provide final design information on pressure and vacuum relief devices, for review and approval,
 to ensure that the final sizing, design, and installation of these components are adequate and in
 accordance with the standards reference and other recommended and generally accepted good
 engineering practices.

         If the Project is authorized and constructed, RG LNG would install equipment in
 accordance with its design and FERC staff would verify equipment nameplates to ensure
 equipment is being installed based on approved design. In addition, FERC staff would conduct
 construction inspections including reviewing quality assurance and quality control plans to
 ensure construction work is being performed according to proposed Project specifications,
 procedures, codes, and standards. We recommend in section 4.12.1.7 that RG LNG provide
 semi-annual reports that include equipment malfunctions and abnormal maintenance and that
 project facilities be subject to inspections to verify that the equipment is being properly
 maintained during the life of the LNG Terminal.

        Hazard Mitigation Design

         If operational control of the facilities were lost and operational controls and emergency
 shutdown systems failed to maintain the Project within the design limits of the piping,
 containers, and safety relief valves, a release could potentially occur. FERC regulations under
 18 CFR 380.12 (o) (1) through (4) require applicants to provide information on spill
 containment, spacing and plant layout, hazard detection, hazard control, and firewater systems.
 In addition, 18 CFR 380.12 (o) (7) require applicants to provide engineering studies on the
 design approach and 18 CFR 380.12 (o) (14) requires applicants to demonstrate how they
 comply with 49 CFR 193 and NFPA 59A. As required by 49 CFR 193 Subpart I and by
 incorporation Section 9.1.2 of NFPA 59A (2001), fire protection must be provided for all DOT-
 regulated LNG facilities based on an evaluation of sound fire protection engineering principles,
 analysis of local conditions, hazards within the facility, and exposure to or from other property.
 NFPA 59A (2001) also requires the evaluation on the type, quantity, and location of hazard
 detection and hazard control, passive fire protection, emergency shutdown and depressurizing
 systems, and emergency response equipment, training, and qualifications.

         If authorized, constructed, and operated, LNG facilities as defined in 49 CFR 193, must
 comply with the requirements of 49 CFR 193 Subpart I and would be subject to DOT’s
 inspection and enforcement programs. However, NFPA 59A (2001) also indicates the wide
 range in size, design, and location of LNG facilities precludes the inclusion of detailed fire
 protection provisions that apply to all facilities comprehensively and includes subjective


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 performance-based language on where ESD systems and hazard control are required and does
 not provide any additional guidance on placement or selection of hazard detection equipment and
 provides minimal requirements on firewater. Also, the project marine facilities would be subject
 to 33 CFR 127, which incorporates sections of NFPA 59A (1994), which have similar
 performance-based guidance. Therefore, FERC staff evaluated the proposed spill containment
 and spacing, hazard detection, ESD and depressurization systems, hazard control, firewater
 coverage, structural protection, and onsite and offsite emergency response to ensure they would
 provide adequate protection of the LNG facilities as described below.

          RG LNG performed a preliminary fire protection evaluation to ensure that adequate
 mitigation would be in place, including spill containment and spacing, hazard detection, ESD
 and depressurization systems, hazard control, firewater coverage, structural protection, and
 onsite and offsite emergency response. We recommend in section 4.12.1.7 that RG LNG provide
 a final fire protection evaluation for review and approval, and to provide more information on the
 final design, installation, and commissioning of spill containment, hazard detection, hazard
 control, firewater systems, structural fire protection, and onsite and offsite emergency response
 procedures.

        Spill Containment

         In the event of a release, sloped areas at the base of storage and process facilities would
 direct a spill away from equipment and into the impoundment system. This arrangement would
 minimize the dispersion of flammable vapors into confined, occupied, or public areas and
 minimize the potential for heat from a fire to impact adjacent equipment, occupied buildings, or
 public areas if ignition were to occur.

         Title 49 CFR 193.2181, under Subpart C specifies that each impounding system serving
 an LNG storage tank must have a minimum volumetric liquid capacity of 110 percent of the
 LNG tank’s maximum design liquid capacity for an impoundment serving a single tank, unless
 surge is accounted for in the impoundment design. If authorized, constructed, and operated,
 LNG facilities as defined in 49 CFR 193, must comply with the requirements of 49 CFR 193
 Subpart C and would be subject to DOT’s inspection and enforcement programs. For full-
 containment LNG tanks, we also consider it prudent to provide a barrier to prevent liquid from
 flowing to an unintended area (i.e., outside the plant property). The purpose of the barrier is to
 prevent liquid from flowing off the plant property and does not define containment or an
 impounding area for thermal radiation or flammable vapor exclusion zone calculations or other
 code requirements already met by sumps and impoundments throughout the site. RG LNG
 proposes four full-containment LNG storage tanks for which the outer tank wall would serve as
 the impoundment system. FERC staff verified that the LNG storage tank’s outer concrete wall
 would have a liquid capacity of at least 110 percent of the inner LNG tank’s maximum liquid
 capacity. In addition, RG LNG would also install a berm (i.e., storm levee with a crest elevation
 of 17 feet) around the Project site to prevent liquid from flowing offsite in the event of an outer
 tank failure.

        RG LNG proposes to install curbing, paving, and trenches to direct potential LNG, MR,
 NGL, or refrigerant liquid releases to either the west LNG Train Spill Basin or the east LNG
 Train Spill Basin. LNG releases from the rundown headers and ship loading piping would be


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 collected in a trench and routed to one of two LNG Storage and Jetty Loading Line Basins
 located between the four LNG storage tanks. Releases in the refrigerant storage area would be
 collected in curbed areas and directed via a trench to the Refrigerant Storage Area Basin. This
 basin capacity would be sized to be greater than the largest refrigerant storage tank. LNG
 releases during truck loading would be directed via trenches to the LNG Road Tanker Spill
 Basin. In addition, local bunds would be provided around the solvent storage tank, refrigerant
 truck unloading area, BOG compressor Suction Drum, Stabilized Condensate storage tanks, Hot
 Oil storage tank, Diesel storage tanks, flare knockout drums, liquid nitrogen storage tank, and the
 Slop Oil storage tank.

         Under NFPA 59A (2001) Section 2.2.2.2, the capacity of impounding areas for
 vaporization, process, or LNG transfer areas must equal the greatest volume that can be
 discharged from any single accidental leakage source during a 10-minute period or during a
 shorter time period based upon demonstrable surveillance and shutdown provisions acceptable to
 the DOT. If authorized, constructed, and operated, LNG facilities as defined in 49 CFR 193,
 must comply with the requirements of 49 CFR 193 Subpart C and would be subject to DOT’s
 inspection and enforcement programs. The impoundment system design for the marine facilities
 would be subject to the Coast Guard’s 33 CFR 127, which does not specify a spill or duration for
 impoundment sizing. However, we evaluate whether all hazardous liquids are provided with
 spill containment based on the largest flow capacity from a single pipe for 10 minutes accounting
 for de-inventory or the liquid capacity of the largest vessel (or total of impounded vessels)
 served, whichever is greater and whether providing spill containment reduces consequences from
 a release. In addition, we recommend in section 4.12.1.7 that RGLNG provide additional
 information on the final design of the impoundment systems for review and approval.

         RG LNG indicated that all piping, hoses, and equipment that could produce a hazardous
 liquid spill would be provided with spill collection and/or spill conveyance systems.
 Furthermore, RG LNG indicates that the stormwater pumps would be automatically operated by
 level control and interlocked using low temperature detectors to prevent pumps from operating if
 LNG is present. These stormwater removal pumps would be proposed for the large
 impoundment basins described above, however RG LNG proposes to install normally-closed
 valves on local bunds and curbed areas to allow analysis of stormwater prior to routing it to the
 drainage channels.

         RG LNG is consulting with DOT on the use of normally-closed valves instead of
 stormwater removal pumps required in 49 CFR 193 Subpart C. Therefore, we recommend in
 section 4.12.1.7 that RG LNG provide DOT correspondence accepting the use of normally-
 closed valves to remove stormwater from curbed and bunded areas. If authorized, constructed,
 and operated, final compliance with the requirements of 49 CFR 193 Subpart C would be subject
 to DOT’s inspection and enforcement programs.

         If the Project is authorized and constructed, RG LNG would install spill impoundments in
 accordance with its design and FERC staff would verify during construction inspections that the
 spill containment system including dimensions, and slopes of curbing and trenches, and
 volumetric capacity matches final design information. In addition, we recommend in section
 4.12.1.7 that Project facilities be subject to regular inspections throughout the life of the facility
 to verify that impoundments are being properly maintained.


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        Spacing and Plant Layout

        The spacing of vessels and equipment between each other, from ignition sources, and to
 the property line must meet the requirements of 49 CFR 193 Subparts C, D, and E, which
 incorporate NFPA 59A (2001). NFPA 59A (2001) includes spacing and plant layout
 requirements and further references NFPA 30, NFPA 58, and NFPA 59 for additional spacing
 and plant layout requirements. If authorized, constructed, and operated, LNG facilities as
 defined in 49 CFR 193, must comply with the requirements of 49 CFR 193 and would be subject
 to DOT’s inspection and enforcement programs.

         In addition, FERC staff evaluated the spacing to determine if there could be cascading
 damage and to inform what fire protection measures may be necessary to reduce the risk of
 cascading damage. If it was not practical for spacing to mitigate the potential for cascading
 damage, FERC staff evaluated whether other mitigation measures were in place and evaluated
 those systems in further detail as discussed in subsequent sections in section 4.12.1.6. We
 evaluated the spacing of buildings in line with AIChE CCPS Guidelines for Evaluating Process
 Plant Buildings for External Explosions and Fires, API 752 and API 753, which provide
 guidance on identifying and evaluating explosion and fire impacts to buildings and occupants
 resulting from events external to the buildings. In addition, FERC staff evaluated other hazards
 associated with releases and whether any damage would likely occur at buildings or would result
 in cascading damage.

         To minimize the risk of cryogenic spills causing structural supports and equipment from
 cooling below their minimum design metal temperature, RG LNG would generally locate
 cryogenic equipment away from non-cryogenic process areas and would direct cryogenic
 releases to remote impoundment basins. In addition, RG LNG would coat these areas with
 materials that would be cryogenic resistant, which is discussed later.

          To minimize risk for flammable or toxic vapor ingress into buildings and flammable
 vapors reaching areas that could result in cascading damage from explosions, RG LNG would
 generally locate buildings away from process areas and would generally locate fired equipment
 and ignition sources away from process areas. However, it is impractical to locate all fired
 equipment (e.g., hot oil heaters, thermal oxidizer, regeneration gas heater, etc.) and buildings
 (e.g., Jetty Monitor Buildings, Security Building, substations, etc.) outside of potential areas
 where flammable vapors may disperse upon a flammable or combustible fluid release.
 Therefore, we recommend in section 4.12.1.7 that RG LNG conduct a technical review of
 facility, for review and approval, identifying all combustion/ventilation air intake equipment and
 the distances to any possible flammable gas or toxic release; and verify that these areas would be
 adequately covered by hazard detection devices that would isolate or shut down any combustion
 or heating ventilation and air conditioning equipment whose continued operation could add to or
 sustain an emergency.

        To minimize overpressures from vapor cloud explosions, we evaluated how flammable
 vapors would be prevented from accumulating within confined areas and whether any explosions
 would result in cascading damage. The LNG storage tanks would be located away from process
 equipment and process facilities are relatively unconfined and uncongested. RG LNG would
 also mound the refrigerant storage tanks and would design substations and local equipment


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 rooms to withstand blast conditions. RG LNG provided hazard analysis that shows 1 psi
 overpressures from vapor cloud explosions could reach the LNG storage tanks and condensate
 storage tanks. However, we note that the hazard analysis used modeling software for
 overpressure scenarios that is expected to over-predict the overpressure distances and that more
 refined modeling software may demonstrate lesser overpressures at the LNG storage tanks.
 Therefore, we recommend in section 4.12.1.7 that RG LNG file an analysis, for review and
 approval, to demonstrate that the side on overpressures would be less than 1 psi at the LNG
 storage tanks and condensate storage tanks or that the tanks would be able to withstand
 overpressures within the terminal.

          To minimize the risk of pool fires from causing cascading damage, RG LNG would
 locate spill impoundments such that the radiant heats would have a minimal impact on most
 areas of the plant. Radiant heat from a roof top fire from an LNG storage tank would exceed
 10,000 Btu/ft2-hr at an adjacent LNG storage tank. However, RG LNG provided a report to
 demonstrate that the full-containment LNG storage tanks would be able to withstand radiant heat
 up to 17,039 Btu/ft2-hr during an adjacent LNG tank roof fire event. RG LNG also noted that
 temperature limits on the concrete tank wall would exceed the limits noted in NFPA 59A (2016).
 However, these provisions were removed from later editions of NFPA 59A and performance
 criteria is provided based on temperatures and associated loss of strength. RG LNG also notes
 that NFPA 59A (2016) references American Concrete Institute (ACI) 376 that allows use of
 British Standard (BS) 8110-2 Structural use of concrete. Code of practice for special
 circumstances, for elevated temperature material properties. In addition, high radiant heats from
 a roof top fire would reach both Jetty Monitor Buildings and the LNG Storage and Loading
 Substation 2. Therefore, we recommend in section 4.12.1.7 that RG LNG demonstrate that
 radiant heat from an LNG storage tank roof fire would not result in damage to the Jetty Monitor
 Buildings or the LNG Storage and Loading Substation 2 and/or provide mitigation to prevent
 cascading damage to the buildings. In addition, RG LNG would mound the refrigerant storage
 vessels to mitigate the potential impacts from nearby fires.

          To minimize the risk of jet fires from causing cascading damage that could exacerbate the
 initial hazard, RG LNG would generally locate flammable and combustible containing piping
 and equipment away from buildings and process areas that do not handle flammable and
 combustible materials. However, the jet fire distances to 1,600 Btu/ft 2-hr originating from piping
 in the LNG storage tank or and marine areas could reach both Jetty Monitor Buildings. Jet fire
 distances to 4,000 Btu/ft 2-hr and 4,900 Btu/ft 2-hr from piping and equipment could also impact
 other components handling or supporting hazardous fluids. Given the radiant heats at the Jetty
 Monitor Buildings, they may necessitate shelter in place until the fire is isolated, extinguished, or
 otherwise mitigated. RG LNG would also install emergency shutdown systems that would limit
 the duration of a jet fire event, depressurization systems that would reduce the pressure in
 equipment, and would install firewater systems to cool equipment and structures. We also
 recommend in section 4.12.1.7 that RG LNG file calculations or test results that demonstrate the
 effectiveness of the passive protection in areas where pool or jet fires may result in failure of
 structural supports.

         To minimize risk to the LNG marine vessel, 33 CFR 127 requires LNG impounding areas
 be located so that the heat flux from a fire over the impounding spaces does not cause structural
 damage to any LNG marine vessel moored or berthed at the waterfront facility handling LNG.


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 Similarly, 49 CFR 193 through adoption of NFPA 59A (2001), section 2.2.3.6, requires that
 LNG container impounding areas must be located so that the heat flux from a fire over the
 impounding area will not cause major structural damage to any LNG marine vessel that could
 prevent its movement. RG LNG indicated that a LNG storage tank roof fire would result in less
 than 4,900 Btu/ft2-hr radiant heat on a LNG marine vessel berthed at the jetty. DOT evaluated
 RG LNG’s information and criteria in its LOD and determined that RG LNG complies with the
 requirements in 49 CFR 193 Subpart B. Furthermore, RG LNG included an ERP for LNG
 marine vessels berthed at the LNG Terminal and would provide quick release hooks on the
 breasting dolphins and mooring dolphins that would allow for a quick departure in the event of
 an emergency.

         If the Project is authorized, RG LNG would finalize the plot plan and we recommend in
 section 4.12.1.7 that RG LNG provide any changes for review and approval to ensure capacities
 and setbacks are maintained. If facilities are constructed, RG LNG would install equipment in
 accordance with the spacing indicated on the plot plans. In addition, we recommend in section
 4.12.1.7 that Project facilities be subject to periodic inspections during construction to verify
 equipment is installed in appropriate locations and the spacing is met in the field to verify
 flammable/toxic gas detection equipment and other mitigation is installed in heating, ventilation,
 and air condition intakes of buildings at appropriate locations. We also recommend in section
 4.12.1.7 that Project facilities be subject regular inspections throughout the life of the facilities to
 verify that equipment setbacks from other equipment and ignition sources are being maintained
 during operation and to continue to verify that flammable/toxic gas detection equipment installed
 in building air intakes and other mitigation function as designed and are being maintained and
 calibrated.

         Ignition Controls

         RG LNG’s plant areas would be designated with appropriate hazardous electrical
 classification and process seals commensurate with the risk of the hazardous fluids being
 handled in accordance with NFPA 59A (2001), 70, 497, and API RP 500. If authorized,
 constructed, and operated, LNG facilities as defined in 49 CFR 193, must comply with the
 requirements of 49 CFR 193 and would be subject to DOT’s inspection and enforcement
 programs, which require compliance, by incorporation by reference, with NFPA 59A (2001) and
 NFPA 70 (1999). The marine facilities must comply with similar electrical area classification
 requirements of NFPA 59A (1994) and NFPA 70 (1993), which are incorporated by reference
 into the Coast Guard regulations in 33 CFR 127. Depending on the risk level, these areas would
 either be unclassified or classified as Class 1 Division 1, or Class 1 Division 2. Electrical
 equipment located in these areas would be designed such that in the event a flammable vapor is
 present, the equipment would have a minimal risk of igniting the vapor. FERC staff evaluated
 the electrical area classification drawings to determine whether RG LNG would meet these
 electrical area classification requirements and good engineering practices in NFPA 59A, 70, 497,
 and API RP 500. We recognize that RG LNG appears to meet NEPA 59A (1994 and 2001),
 NFPA 70 (1993 and 1999) and most of NFPA 497 and API 500, and recommend in section
 4.12.1.7 that RG LNG provide final electrical area classification drawings that reflect additional
 hazardous classification areas where the heat transfer fluid would be processed above its flash
 point (e.g., near the heat medium heaters) and at areas of fuel gas piping (e.g., fired heaters),



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 including areas where equipment could be exposed to flammable gas during a purge cycle of a
 fired heater.

         If the Project is authorized, RG LNG would finalize the electrical area classification
 drawings and would describe changes made from the FEED design. We recommend in section
 4.12.1.7 that RG LNG file the final design of the electrical area classification drawings for
 review and approval. If facilities are constructed, RG LNG would install appropriately classed
 electrical equipment, and we recommend in section 4.12.1.7 that Project facilities be subject to
 periodic inspections during construction for FERC staff to spot check electrical equipment and
 verify equipment is installed per classification and are properly bonded or grounded in
 accordance with NFPA 70. In addition, we recommend in section 4.12.1.7 that Project facilities
 be subject to regular inspections throughout the life of the facility to ensure electrical equipment
 is maintained (e.g., bolts on explosion proof equipment properly installed and maintained, panels
 provided with purge, etc.), and electrical equipment are appropriately de-energized and locked
 out and tagged out when being serviced.

          Submerged electric motor pumps and instrumentation must be equipped with electrical
 process seals and instrumentation in accordance with NFPA 59A (2001) and NFPA 70. We
 recommend in section 4.12.1.7 that RG LNG provide, for review and approval, final design
 drawings showing process seals installed at the interface between a flammable fluid system and
 an electrical conduit or wiring system that meet the requirements of NFPA 59A (2001) and
 NFPA 70. Furthermore, we recommend in section 4.12.1.7 that RG LNG file, for review and
 approval, details of an air gap or vent equipped with a leak detection device that should
 continuously monitor for the presence of a flammable fluid, alarm the hazardous condition, and
 shut down the appropriate systems. In addition, we recommend in section 4.12.1.7 that Project
 facilities be subject to regular inspections throughout the life of the facility to ensure electrical
 process seals for submerged pumps continue to conform to NFPA 59A and NFPA 70 and that air
 gaps are being properly maintained.

        Hazard Detection, Emergency Shutdown, and Depressurization Systems

         RG LNG would also install hazard detection systems to detect cryogenic spills,
 flammable and toxic vapors, and fires. The hazard detection systems would alarm and notify
 personnel in the area and control room to initiate an ESD, depressurization, or initiate
 appropriate procedures, and would meet NFPA 72, ISA 12.13.01, ISA 12.13.02, ISA 12.13.04,
 ISA 12.15.01, ISA 12.15.02, ISA 60079-29-1, ISA 60079-29-2, ISA 92.00.01, ISA 92.00.02, and
 other recommended and generally accepted good engineering practices.

         FERC staff evaluated the adequacy of the general hazard detection type, location, and
 layout to ensure adequate coverage to detect cryogenic spills, flammable and toxic vapors, and
 fires near potential release sources (i.e., pumps, compressors, sumps, trenches, flanges, and
 instrument and valve connections). FERC staff have also reviewed the cause-and-effect matrices
 that show which conditions would initiate an alarm, shutdown, depressurization, or other action
 based on the FEED. However, RG LNG provided a table instead of a fire and gas system cause-
 and-effect matrices with details on how each detector would initiate an alarm, shutdown,
 depressurization, or conduct other action. Therefore, we recommend in section 4.12.1.7 that RG
 LNG provide, for review and approval, the cause-and-effect matrices for process


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 instrumentation, fire and gas detection system, and emergency shutdown system. In addition,
 RG LNG indicated that battery rooms would be equipped with hydrogen detectors, however the
 hydrogen detectors were not listed in the hazard detection lists or shown on the hazard detection
 drawings. Given the propensity of hydrogen to ignite and generate damaging overpressures, we
 recommend in section 4.12.1.7 that RG LNG demonstrate adequate ventilation and detection in
 the battery rooms to mitigate hydrogen build-up from battery off-gas and to install hydrogen
 detectors. Furthermore we recommend in section 4.12.1.7 that RG LNG file a hazard detection
 study to evaluate the effectiveness of their flammable and combustible gas detection, and flame
 and heat detection systems in accordance with ISA 84.00.07 or equivalent methodologies. This
 evaluation would need to demonstrate that 90 percent or more of releases (unignited and ignited)
 that could result in an offsite or cascading impact would be detected by two or more detectors
 and result in isolation and de-inventory within 10 minutes. The analysis should take into account
 the set points, voting logic, wind speeds, and wind directions. In addition, we recommend in
 section 4.12.1.7 that RG LNG provide additional information, for review and approval, on the
 final design of all hazard detection systems (e.g., manufacturer and model, elevations, set points,
 etc.) and hazard detection layout drawings.

          If the Project is authorized, constructed, and operated, RG LNG would install hazard
 detectors according to its specifications, and we recommend in section 4.12.1.7 that Project
 facilities be subject to periodic inspections during construction to verify hazard detectors and
 ESD pushbuttons are appropriately installed per approved design and functional based on cause-
 and-effect matrices prior to introduction of hazardous fluids. In addition, we recommend in
 section 4.12.1.7 that Project facilities be subject to regular inspections throughout the life of the
 facility to verify hazard detector coverage and functionality is being maintained and are not
 being bypassed without appropriate precautions.

        Hazard Control

         If ignition of flammable vapors occurred, hazard control devices would be installed to
 extinguish or control incipient fires and releases, and would meet NFPA 59A (2001), 10, 17,
 2001, and other recommended and generally accepted good engineering practices. FERC staff
 evaluated the adequacy of the number and availability of handheld, wheeled, and fixed fire
 extinguishing devices throughout the site based on the FEED. FERC staff also evaluated
 whether the spacing of the fire extinguishers would meet NFPA 10 and agent type and capacities
 meet NFPA 59A (2009 and later editions). The hazard control plans appeared to meet NFPA 10
 travel distances to most components containing flammable or combustible fluids (Class B) for
 handheld fire extinguishers (30 to 50 feet) and wheeled extinguishers (100 feet) and NFPA 10
 travel distance to most other components that could pose an ordinary combustible hazard
 (Class A) or associated electrical (Class C) hazard for handheld extinguishers (75 feet).
 Buildings also appear to be provided with handheld extinguishers that appear to satisfy NFPA 10
 requirements, including placement at each entry/exit. The agent type (potassium bicarbonate)
 and agent storage capacities for wheeled (minimum 125 pounds [lb]) and for handheld
 extinguishers (minimum 20 lb) also appear to meet NFPA 59A requirements. In addition, travel
 distances, installation heights, visibility, flow rate capacities, and other requirements should be
 confirmed in final design and in the field where design details, such as manufacturer,
 obstructions, and elevations, would be better known. Therefore, we recommend in section
 4.12.1.7 that RG LNG files, for review and approval, the final design of these systems (e.g.,


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 manufacturer and model, elevations, flowrate, capacities, etc.) demonstrating they would meet
 NFPA 10 and where the final design could change as a result of these details or other changes in
 the final design of the Project.

          In addition, FERC staff evaluated whether clean agent systems would be installed in all
 electrical switchgear, and instrumentation buildings systems in accordance with NFPA 2001.
 RG LNG would install clean agent fire suppression systems in accordance with NFPA 2001 in
 buildings that house electrical and control equipment such as the control room, jetty monitoring
 buildings, and local equipment rooms. RG LNG also indicated that only carbon dioxide
 extinguishers would be provided in the electrical substations and it is not clear if fixed fire
 suppression systems would be installed in each electrical substation. Therefore, we recommend
 in section 4.12.1.7 that RG LNG file a design that includes a fixed fire suppression system in
 each electrical substation. If the Project is authorized, constructed, and operated, RG LNG
 would install hazard control equipment, and we recommend in section 4.12.1.7 that Project
 facilities be subject to periodic inspections during construction to verify hazard control
 equipment is installed in the field and functional prior to introduction of hazardous fluids. In
 addition, we recommend in section 4.12.1.7 that Project facilities be subject to regular
 inspections throughout the life of the facility to verify in the field that hazard control coverage
 and is being properly maintained and inspected.

        Passive Cryogenic and Fire Protection

          If cryogenic releases or fires could not be mitigated from impacting facility components
 to insignificant levels, passive fire protection (e.g. fireproofing structural steel, cryogenic
 protection, etc.) should be provided to prevent failure of structural supports of equipment and
 pipe racks. DOT PHMSA incorporates NFPA 59A (2001) by reference in 49 CFR 193.2101,
 under Subpart C for design, 49 CFR 193.2301, under Subpart D for construction, 49 CFR
 193.2401, under Subpart E for equipment, 49 CFR 193.2521, under Subpart F for operational
 records, and 49 CFR 193.2693, under Subpart G for maintenance records. NFPA 59A (2001)
 section 6.4.1 requires pipe supports, including any insulation systems used to support pipe whose
 stability is essential to plant safety, to be resistant to or protected against fire exposure, escaping
 cold liquid, or both, if they are subject to such exposure. We also note that 49 CFR 193.2801,
 under Subpart I for fire protection only incorporates sections 9.1 through 9.7 and 9.9 of NFPA
 59A (2001), which requires an evaluation of methods necessary for protection of equipment and
 structures from effects of fire exposure, but does not reference requirements for passive
 cryogenic protection. In addition, NFPA 59A (2001) does not address passive cryogenic
 equipment or structures other than pipe supports. Moreover, NFPA 59A (2001) does not provide
 the criteria anywhere for determining if pipe supports, equipment, or structures are subject to
 cold liquid or fire exposures or the level of protection needed to protect the pipe supports,
 equipment, or structures against such exposures. Therefore, FERC staff evaluated whether
 passive cryogenic and fire protection would be applied to pressure vessels and structural supports
 to facilities that could be exposed to cryogenic liquids or to radiant heats of 4,000 Btu/ft2-hr or
 greater from fires with durations that could result in failures53 and that they are specified in


 53
        Pool fires from impoundments are generally mitigated through use of emergency shutdowns, depressurization systems,
        structural fire protection, and firewater, while jet fires are primarily mitigated through the use of emergency shutdowns,
        depressurization systems, and firewater with or without structural fire protection.


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 accordance with recommended and generally accepted good engineering practices, such as ISO
 20088, API 2001, API 2010A, API 2218, ASCE/SFPE 29, ASTM E 84, ASTM E 2226, IEEE
 1202, ISO 22899, NACE 0198, NFPA 58, NFPA 290, OTI 95 634, UL 723, UL 1709, and/or UL
 2080, with a cryogenic temperature and duration and fire protection rating commensurate to the
 exposure.

         To minimize the risk of cryogenic spills causing structural supports and equipment from
 cooling below their minimum design metal temperature to a point of failure, RG LNG would
 specify materials of construction that would not fail when exposed to a cryogenic release or
 would coat structural supports and equipment with materials that would be cryogenic resistant.
 In addition, RG LNG would generally locate cryogenic equipment away from non-cryogenic
 process areas and would direct cryogenic releases to remote impoundment basins. However,
 additional details were not provided on exact locations or equipment that would and would not
 be protected from cryogenic releases or the performance characteristics of the passive cryogenic
 protection. Therefore, we recommend in section 4.12.1.7 that RG LNG file drawings and
 specifications for the cryogenic structural protection and calculations or test results (e.g., ISO
 20088) that demonstrate the effectiveness of the cryogenic structural protection.

          To minimize the risk of pool and jet fires causing structural supports and equipment from
 heating above their maximum design metal temperatures to a point of failure, RG LNG would
 specify materials of construction that would not fail when exposed to a fire or would install
 structural fire protection. In addition, RG LNG would mound the refrigerant storage tanks to
 prevent cascading damage (i.e., BLEVEs) by protecting the refrigerant storage tanks from
 excessive radiant heat from nearby jet or pool fires. RG LNG indicated the structural fire
 protection would meet API 2218, UL 1709, and other recommended and generally accepted
 good engineering practices. API 2218 requires structural fire protection in certain areas and also
 recommends fire envelopes be defined based on potential fire scenarios for defining where
 passive fire protection is needed. API 2218 also recommends the use of UL 1709 for
 performance requirements of passive fire protection in areas that are determined to be subjected
 to pool fires and provides more limited guidance on defining what jet fire scenarios to consider
 or the performance requirements of passive fire protection. However, API 2218 does not define
 the pool fire or jet fire scenarios or the radiant heats to be used to determine the extent of passive
 fire protection. Therefore, we recommend in section 4.12.1.7 that RG LNG file drawings and
 specifications for the passive fire protection and calculations or test results (e.g., ISO 22899,
 NFPA 290, OTI 95 634, etc.) that demonstrate the effectiveness of the passive fire protection.
 We also recommend that passive protection be defined based on scenarios that could lead to
 offsite impacts or cascading damage and that structural supports may fail as low as 4,900 Btu/ft2-




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 hr54 and pressurized equipment may fail as low as 4,000 Btu/ft2-hr55, and recognize pool fire tests
 under UL 1709 are for 65,000 Btu/ft2-hr (2,000°F) in 5 minutes and a 1 hour duration, which
 would provide thicker passive protection than may be necessary to prevent failure in some areas
 and thinner passive protection than may be necessary to prevent failure in other areas. We also
 note the application of fireproofing is sometimes prescribed in API 2218 to be 20 to 40 feet high,
 which may be less than or more than a pool fire height or jet fire flame length. Therefore, we
 also recommend in section 4.12.1.7 that RG LNG file a detailed quantitative analysis to
 demonstrate that adequate mitigation would be provided for each significant component within
 the 4,000 Btu/ft2-hr zone from pool or jet fires that could cause failure of the component. Trucks
 at the truck loading/unloading areas should be included in the analysis. A combination of
 passive and active protection for pool fires and passive and/or active protection for jet fires
 should be provided and demonstrate the effectiveness and reliability. Effectiveness of passive
 mitigation should be supported by calculations for the thickness limiting temperature rise and
 active mitigation should be justified with calculations demonstrating flow rates and durations of
 any cooling water would mitigate the heat absorbed by the vessel. In addition, we recommend in
 section 4.12.1.7 that RG LNG file the final design of these mitigation measures, for review and
 approval, to demonstrate cascading events would be mitigated.

         RG LNG also indicated that electrical transformers would either be separated from other
 transformers or have fire rated barriers to prevent cascading damage. However, no additional
 details were provided. Therefore, we recommend in section 4.12.1.7 that RG LNG either
 separate or provide fire walls for electrical transformers in accordance with NFPA 850 or
 equivalent that would prevent cascading damage.

         If the Project is authorized, constructed, and operated, RG LNG would install structural
 cryogenic and fire protection according to its design, and we recommend in section 4.12.1.7 that
 Project facilities be subject to periodic inspections during construction to verify structural
 cryogenic and fire protection is properly installed in the field as designed prior to introduction of


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        FERC staff’s heat impact preliminary analyses indicate most carbon structural steels (e.g., ASTM A36), will begin to
        have a noticeable loss of strength at 570°F (300°C), lose approximately 1/3 of strength at 840°F (450°C), and lose
        approximately 1/2 of strength at 1,000°F (540°C). These temperatures would correspond to black body radiant heats of
        approximately 2,000 Btu/ft2-hr (6.1 kW/m2), 4,900 Btu/ft2-hr (15.5 kW/m2), and 7,750 Btu/ft2-hr (24.5 kW/m2),
        respectively, and the latter radiant heats may correspond to when structural steel begins to exceed yield strengths and
        suffer possible structural damage based on allowable stress/strength designs in structural and mechanical design codes
        (e.g., ASCE 7, AISC 360, ASME B31.3, ASME BPVC, etc.), which most commonly limit stresses to 1/2 to 2/3 of yield
        strength. In addition, these values are in line with NFPA 59A (2016 edition and 2019 editions) that recommend similar
        temperature and corresponding radiant heats for steel, ABS Consulting, Consequence Assessment Methods for
        Incidents Involving Release from Liquefied Natural Gas Carriers, 2004 that reports long term exposures at
        approximately 8,000 Btu/ft2-hr (25 kW/m2) steel surfaces experience serious dislocation as well as paint peeling, and
        structural elements undergo substantial deformation according to damage resulting from thermal radiation for various
        materials, and Sandia National Laboratories, Guidance on Risk Analysis and Safety Implications of a Large Liquefied
        Natural Gas (LNG) Spill Over Water, 2004, that reports durations of more than 10 minutes at approximately 12,000
        Btu/ft2-hr causes temperatures to rise to 980°F (530°C) and result in 25 to 40 percent loss in steel strength and damages
        structures.
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        FERC staff recognize that pressurized equipment in accordance with ASME BPVC allows for pressure relief valves to
        pressures to rise to 1.2 times the design pressure, which would lower the pressure in the vessel to less than the bursting
        pressure of typically 3 to 4 times the design pressure but adds stress to the equipment above normal design conditions,
        and causes a reduction in temperature and subsequent reduction in radiant heat from 4,900 Btu/ft2-hr to 4,000 Btu/ft2-hr
        for when pressurized equipment may fail. We also recognize that 4,000 Btu/ft2-hr is a commonly used endpoint in fire
        analyses.


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 hazardous fluids. In addition, we recommend in section 4.12.1.7 that Project facilities be subject
 to regular inspections throughout the life of the facility to continue to verify that passive
 protection is being properly maintained.

        Firewater Systems

          RG LNG would also provide firewater systems, including remotely-operated firewater
 monitors, sprinkler systems, fixed water spray systems, and firewater hydrants and hoses for use
 during an emergency to cool the surface of storage vessels, piping, and equipment exposed to
 heat from a fire. These firewater systems would be designed, tested, and maintained to meet
 NFPA 59A (2001), 13, 14, 15, 20, 22, and 24 requirements. FERC staff evaluated the adequacy
 of the general firewater or foam system coverage, and the appropriateness of the associated
 firewater demands of those systems based on potential fire scenarios to size the firewater and
 foam pumps. RG LNG provided firewater coverage drawings for the firewater monitors,
 hydrants, and deluge systems throughout the plant that seemed to adequately cover facilities
 handling flammable and combustible materials with the exception of the LNG storage tank. RG
 LNG contends that the full-containment tanks are designed to withstand an adjacent tank roof top
 fire. However, there are other sources of fire that could impact the LNG storage tank, such as
 pool or jet fires at the base of the LNG storage tank. Therefore, we recommend in section
 4.12.1.7 that RG LNG provide firewater coverage of the LNG storage tank for potential pool or
 jet fires that may impact the tank. In addition, the firewater design should account for
 obstructions such as pipe racks, tanks, vessels, or equipment that could obstruct firewater
 coverage. In addition, RG LNG provided firewater demand calculations based on the most
 demanding scenario plus a hose allowance of 1,000 gallons per minute in accordance with NFPA
 59A. The scenarios were largely based on water spray system design densities and surface areas
 and waterflow requirements for foam systems, or an assumed number of monitors depending on
 the capacity of the monitor. However, RG LNG did not consider the simultaneous need for
 deluge systems and hose systems beyond the 1,000 gallons per minute allowance that may be
 needed to reach and cool equipment and did not demonstrate whether the number and capacity of
 the monitors would be sufficient to reach and cool exposed surfaces of equipment subject to
 radiant heat from a fire that could fail the equipment. Therefore, we recommend in section
 4.12.1.7 that RG LNG provide sufficient firewater coverage and demand to reach and cool
 exposed surfaces subjected to a radiant heat from a fire that could fail the equipment based on
 throw distances, design densities, and surface areas that are needed to reach and cool equipment.

         Other fire protection systems would also be in accordance with NFPA 59A, including a
 water mist system installed in gas turbine enclosures in accordance with NFPA 750, a low
 expansion foam system and a high expansion foam system in accordance with NFPA 11, and an
 onsite foam fire truck in accordance with NFPA 1901 to suppress hydrocarbon spills and fires as
 well as reduce vaporization rates from LNG pools. We recommend in section 4.12.1.7 that RG
 LNG file the final design, for review and approval, of these systems.

         FERC staff also assessed whether the reliability of the firewater pumps and firewater
 source or onsite storage volume would be appropriate. Firewater would be supplied by electric
 main firewater pumps from an onsite fresh water tank and diesel backup firewater pumps with
 diesel day tanks provided on the ship channel if the fresh water tank is depleted and would meet
 NFPA 20. RG LNG indicates in its fire protection evaluation report that a dedicated firewater


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 tank would be provided and in its codes and standards list that it would meet NFPA 22.
 However, the fire water tank data sheet used for firewater supply denotes the tank would be
 designed to API 650, and does not make reference to NFPA 22. In addition, the fire protection
 evaluation report does not make reference to NFPA 22. Therefore, we recommend in section
 4.12.1.7 that RG LNG design the firewater tank in accordance with NFPA 22, including, but not
 limited to requirements for inflow piping refilling the tank within 8 hours, higher wall
 thicknesses, venting, manholes, anti-vortex plates, and discharge requirements, or justify how
 API 650 provides an equivalent or better level of safety.

          If the Project is authorized, constructed, and operated, RG LNG would install the
 firewater and foam systems as designed, and we recommend in section 4.12.1.7 that Project
 facilities be subject to periodic inspections during construction and that companies provide
 results of commissioning tests to verify the firewater and foam systems are installed and
 functional as designed prior to introduction of hazardous fluids. In addition, we recommend in
 section 4.12.1.7 that Project facilities be subject to regular inspections to ensure firewater and
 foam systems are being properly maintained and tested throughout the life of the LNG Terminal.

        Geotechnical and Structural Design

         RG LNG provided geotechnical and structural design information for its facilities to
 demonstrate the site preparation and foundation designs would be appropriate for the underlying
 soil characteristics and to ensure the structural design of the Project facilities would be in
 accordance with federal regulations, standards, and recommended and generally accepted good
 engineering practices. The application focuses on the resilience of the Project facilities against
 natural hazards, including extreme geological, meteorological, and hydrological events, such as
 earthquakes, tsunamis, seiche, hurricanes, tornadoes, floods, rain, ice, snow, regional subsidence,
 sea level rise, landslides, wildfires, volcanic activity, and geomagnetism.

        Geotechnical Evaluation

        FERC regulations under 18 CFR 380.12 (h) (3) require geotechnical investigations to be
 provided. In addition, FERC regulations under 18 CFR 380.12 (o) (14) require an applicant
 demonstrate compliance with regulations under 49 CFR 193 and NFPA 59A (2001). If
 authorized, constructed, and operated, LNG facilities as defined in 49 CFR 193, must comply
 with the requirements of 49 CFR 193 and would be subject to DOT’s inspection and
 enforcement programs. DOT regulations incorporate by reference NFPA 59A (2001). NFPA
 59A (2001) section 2.1.4 requires soil and general investigations of the site to determine the
 design basis for the facility. However, no additional requirements are set out in 49 CFR 193 or
 NFPA 59A on minimum requirements for evaluating existing soil site conditions or evaluating
 the adequacy of the foundations, therefore FERC staff evaluated the existing site conditions,
 geotechnical report, and proposed foundations to ensure they are adequate for the LNG facilities
 as described below.

         RG LNG contracted Fugro Consultants, Inc. (Fugro) to conduct geotechnical
 investigations and report to evaluate existing soil site conditions and proposed foundation design
 for the Project. During the investigation, the facility was subdivided into two regions, Area 1
 and Area 2. The average elevation of the existing grade in Area 1 ranged from +0.2 to +18.5 feet


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 NAVD 88, and Area 2 ranged from +3.9 to 9.3 feet NAVD 88. The site would be cleared,
 grubbed, and prepared using standard earth-moving and compaction equipment. Site preparation
 would result in a final grade elevation being raised to +10 to +12 feet NAVD 88 with varying
 amounts of fill that would be added across the site. The facility would be surrounded by a storm
 surge protective berm with the elevation ranging from +17 to +19 feet NAVD 88. The existing
 LNG Terminal site is generally flat with elevations ranging from +5 to +10 feet NAVD 88,
 except for piles of material dredged from the adjacent BSC and three lomas. Lomas are clay
 dunes that developed through wind-driven depositional processes (Bowler 1973). The elevations
 of these features reach +25 feet NAVD 88.

          Fugro conducted 20 soil borings to depths ranging from 20 feet to 300 feet below
 existing, grade, 35 cone penetration tests (CPTs) to depths ranging from 50 feet to 172 feet (or to
 refusal) below existing grade, 10 seismic cone penetration tests (SCPTs) to depths ranging from
 84 feet to 165 feet below existing grade, 4 temporary piezometers to measure groundwater
 levels, and over 5 different tests on more than 2,800 recovered soil samples, including
 classification tests (water content, Atterberg liquid and plastic limits, sieve tests), compression
 tests, corrosion potential tests (pH, sulfate, chloride, electrical resistivity) in general accordance
 with pertinent ASTM standards. In addition to the initial geotechnical investigation, Fugro
 conducted an additional 47 geophysical borings to further investigate a fault identified during
 initial boring within the proposed planned site area. Geophysical borings were performed to
 depths ranging from 320 feet to 350 feet below existing grade.

         FERC staff evaluated the geotechnical investigation to ensure the adequacy in the
 number, coverage, and types of the geotechnical borings, CPTs, SCPTs, and other tests, and
 found them to adequately cover most major facilities, including the marine facilities, liquefaction
 areas, pretreatment areas, flare system, buildings, power generation, and berms at the site,
 however, an insufficient number of borings were performed beneath the tanks and facilities.
 Therefore, we recommend in section 4.12.1.7 that RG LNG conduct additional borings
 underneath the locations of the tanks to affirm or better characterize underlying conditions and
 validate the use of shallow foundations. FERC staff will continue its review of the results of the
 geotechnical investigation to ensure foundation designs are appropriate prior to construction of
 final design and throughout the life of the facilities.

          Based on the test borings conducted, the subsurface profile of Area 1 consists of a layer
 of fill material extending to a depth of approximately 18 feet below the ground surface, which is
 designated as Stratum 1. Stratum 1 is underlain by a layer of natural soft to very still clay soils
 with varying amounts of sand and silt, Stratum 2, extending to a depth of approximately 55 feet
 below the ground surface. Below Stratum 2, the underlying strata are: Stratum 3, a natural
 granular layer consisting of loose to very dense sand, clayey sand, and silty sand extending to a
 depth of approximately 90 feet below existing grade; Stratum 4, a natural firm to hard cohesive
 layer extending to a depth of approximately 120 feet; Stratum 5, a natural very dense sand and
 silty sand layer extending to a depth of approximately 140 feet; Stratum 6, a natural stiff to hard
 cohesive layer extending to a depth of approximately 150 feet. Stratum 6 in Area 1 is underlain
 by Stratum 7, a natural very dense sand, clayey sand, and silty sand, extending to a depth of
 approximately 260 feet below the ground surface. Below Stratum 7 is Stratum 8, a natural very
 stiff to hard cohesive layer extending to a depth of approximately 300 feet below the ground
 surface. Test borings in Area 2 were terminated at 150 feet below existing ground surface


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 consists of Stratums 1 through 6, however not all the stratums terminate at the same depths as
 those in Area 1. Stratum 1, 2, 3, 4, 5, and 6, terminate at depths of approximately 18 feet, 55
 feet, 90 feet, 110 feet, 130 feet, and 150 feet below existing ground surface respectively.
 Measurements from the temporary piezometers show groundwater levels varied from -0.5 feet
 and +1.5 feet NAVD 88.

         Based on the subsurface conditions for the LNG facility, RG LNG is proposing to
 support the LNG tanks and most of the facility structures on mat foundations placed on improved
 ground. Fugro provided considerations for ground improvement techniques including
 preloading, deep soil mixing or grouting, Vibro Replacement with stone columns, dynamic
 compaction, and Vibrofloatation. In areas where ground improvement is utilized, RG LNG is
 proposing to utilize deep soil mixing ranging in depth of 10 to 40 feet, depending on the
 foundation loading and soil suitability for ground improvement, to bring foundations capacities
 and settlements within acceptable limits. Structures that are located in areas that are not suitable
 for deep soil mixing due to specific load requirements or would perform unsatisfactorily with
 dynamic loads are proposed to be placed on 24-inch diameter 60 foot long auger cast-in-place
 piles.

         Dredging would be required for the LNG ships to traverse to the terminal as well as for
 the construction of the marine facilities. The existing shoreline would be excavated, dredged,
 and sloped during construction. The post-construction shoreline would be approximately 500
 feet east of the current location. To prevent slumping of the dredged slope, maintain the berthing
 line position, and provide structural integrity support to the landside facilities, the excavated
 shoreline would be reinforced with rip-rap armoring. The increase in large ship traffic within the
 BSC is also considered for shoreline erosion. The proposed rip-rap armoring would minimize
 the potential for erosion where the shoreline would be excavated.

        The results of RG LNG’s geotechnical investigation at the Project site indicate that
 subsurface conditions are suitable for the proposed facilities, if proposed site preparation,
 foundation design, and construction methods are implemented in addition to the satisfaction of
 proposed recommendations.

        Structural and Natural Hazard Evaluation

         FERC regulations under 18 CFR 380.12 (m) requires applicants address the potential
 hazard to the public from failure of facility components resulting from accidents or natural
 catastrophes, evaluate how these events would affect reliability, and describe what design
 features and procedures that would be used to reduce potential hazards. In addition, 18 CFR
 380.12 (o) (14) require an applicant to demonstrate how they would comply with 49 CFR 193
 and NFPA 59A. DOT regulations under 49 CFR 193 have some specific requirements on
 designs to withstand certain loads from natural hazards and also incorporates by reference NFPA
 59A (2001 and 2006) and ASCE 7-05 and ASCE 7-93 via NFPA 59A (2001). NFPA 59A
 (2001) section 2.1.1 (c) also requires that RG LNG consider the plant site location in the design
 of the Project, with respect to the proposed facilities being protected, within the limits of
 practicality, against natural hazards, such as from the effects of flooding, storm surge, and
 seismic activities. This was covered in DOT PHMSA’s LOD on 49 CFR 193 Subpart B.
 However, the LOD would not cover whether the facility is designed appropriately against these


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 hazards, which would be part of 49 CFR Part 193 Subpart C. If authorized, constructed, and
 operated, LNG facilities, as defined in 49 CFR 193, must comply with the requirements of 49
 CFR 193 and would be subject to DOT’s inspection and enforcement programs. The marine
 facilities would be subject to 33 CFR 127, which requires if the waterfront facility handling LNG
 is in a region subject to earthquakes the piers and wharves must be designed to resist earthquake
 forces. In addition, Coast Guard regulations under 33 CFR 127 incorporates by reference certain
 portions of NFPA 59A (1994) and ASCE 7-88 via NFPA 59A (1994). However, Coast Guard
 regulations do not provide criteria for a region subject to earthquakes or the earthquake forces
 the piers and wharves are to withstand and NFPA 59A (1994) section referenced in 33 CFR 127
 is for seismic design only and is applicable to stationary LNG containers, which would not be
 under 33 CFR 127. Therefore, we evaluated the basis of design for all facilities for all natural
 hazards under FERC jurisdiction, including those under DOT and Coast Guard jurisdiction.

          If authorized, the proposed facilities would be constructed to the requirements in the 2006
 International Building Code (IBC), ASCE 7-05, and ASCE 7-10 for seismic design. These
 standards require various structural loads to be applied to the design of the facilities, including
 live (i.e., dynamic) loads, dead (i.e., static) loads, and environmental loads. FERC staff also
 evaluated potential engineering design to withstand impacts from natural hazards, such as
 earthquakes, tsunamis, seiche, hurricanes, tornadoes, floods, rain, ice, snow, regional subsidence,
 sea level rise, landslides, wildfires, volcanic activity, and geomagnetism. In addition, we
 recommend in section 4.12.1.7 that RG LNG file final design information (e.g., drawings,
 specifications, and calculations) and associated quality assurance and control procedures with the
 documents stamped and sealed by the professional engineer-of-record.

        If the Project is authorized, constructed, and operated, the company would install
 equipment in accordance with its final design. In addition, we recommend in section 4.12.1.7
 that RG LNG file, for review and approval, settlement results during hydrostatic tests of the
 LNG storage containers and periodically thereafter to verify settlement is as expected and does
 not exceed the applicable criteria in API 620, API 625, API 653, and ACI 376.

        Earthquakes, Tsunamis, and Seiche

         FERC regulations under 18 CFR 380.12 (h) (5) requires evaluation of earthquake hazards
 based on whether there is potential seismicity, surface faulting, or liquefaction. Earthquakes and
 tsunamis have the potential to cause damage from shaking ground motion and fault ruptures.
 Earthquakes and tsunamis often result from sudden slips along fractures in the earth’s crust (i.e.,
 faults) and the resultant ground motions caused by those movements, but can also be a result of
 volcanic activity or other causes of vibration in the earth’s crust. The damage that could occur as
 a result of ground motions is affected by the type/direction and severity of the fault activity and
 the distance and type of soils the seismic waves must travel from the hypocenter (or point below
 the epicenter where seismic activity occurs). To assess the potential impact from earthquakes
 and tsunamis, RG LNG evaluated historic earthquakes along fault locations and their resultant
 ground motions.

          The Project is located within the Gulf Coast Basin geologic tectonic province. The
 province’s sedimentary strata thickens toward the south, with salt domes and relatively shallow
 listric growth faults that runs parallel to the Gulf of Mexico Coastline and extended outside of


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 Texas. The USGS maintains a database containing information on surface and subsurface faults
 and folds in the United States that are believed to be sources of earthquakes of greater than
 6.0 magnitude occurring during the past 1.6 million years (Quaternary Period) (USGS 2018a)
 RG LNG would not be near such faults, which are primarily on the West Coast. However, in the
 Gulf Coastal Plains, there are several hundred growth faults that are known or suspected to be
 active. Most of these growth faults are located within the Houston-Galveston area subsidence
 bowl, but many others are known to exist from Brownsville to east of New Orleans, Louisiana.
 Evidence of modern activity of these growth faults includes changes in elevation that can lead to
 damage to pavement, buildings, and other structures. Subsidence has also been recorded
 occurring naturally through fault movements and compaction/consolidation of Holocene
 deposits. Despite the evidence of movement of growth faults, movement within the fault system
 has been classified as a general creep as opposed to the breaking of rocks, which is often
 associated with earthquake events (Stevenson and McCulloh 2001).

         RG LNG hired Fugro to perform a site-specific fault and seismic analysis for the Project,
 involving field investigations and subsequent data evaluation. The initial growth fault study
 identified a higher than average potential susceptibility for growth faults. This led to a more
 detailed fault study that mapped an identified growth fault in the southwest portion of the site.
 The average regional subsidence being observed is less than 0.05 feet over a 33-year study
 period, or 0.018 inches per year according to the Texas Department of Water Resources
 (TDWR). However, due to the identified growth fault, Fugro recommends accounting for
 additional vertical movement of up to 0.1 inch per year.

         In addition, Fugro developed several recommendations for locating major structures
 away from the fault, designing nearby structures adjacent to the fault to take into account
 displacements in all three directions along the fault over time, and orienting structures
 perpendicular to the strike face of the fault which has a dip angle between 63 degrees. Fugro
 also recommended that structures within the fault hazard zone be placed on shallow foundations,
 establish threshold movement levels, implement a routine monitoring plan with permanent
 benchmarks and survey monuments, and include an action plan should threshold levels be
 exceeded. FERC staff agree with Fugro’s recommendations and we recommend in section
 4.12.1.7 that RG LNG adopt these recommendations in its design and throughout the life of the
 LNG Terminal.

        While the presence of major tectonic faults and growth faults can require special
 consideration, the presence or lack of major tectonic faults identified near the site does not define
 whether earthquake ground motions can impact the site because ground motions can be felt large
 distances away from an earthquake hypocenter depending on number of factors.

        To address the potential ground motions at the site, DOT regulations in 49 CFR
 193.2101, under Subpart C require that field-fabricated LNG tanks must comply with NFPA 59A
 (2006), section 7.2.2 and be designed to continue safely operating with earthquake ground
 motions at the ground surface at the site that have a 10 percent probability of being exceeded in
 50 years (475 year mean return interval), termed the operating basis earthquake. In addition,
 DOT regulations in 49 CFR 193.2101, under Subpart C require that LNG tanks be designed to
 have the ability to safely shutdown when subjected to earthquake ground motions which have a 2
 percent probability of being exceeded in 50 years (2,475 year mean return interval) at the ground


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 surface at the site (termed the safe shutdown earthquake [SSE]). DOT regulations in 49 CFR
 193.2101, under Subpart C also incorporate by reference NFPA 59A (2001) Chapter 6, which
 require piping systems conveying flammable liquids and flammable gases with service
 temperatures below -20 °F, be designed as required for seismic ground motions. If authorized,
 constructed, and operated, LNG facilities as defined in 49 CFR 193, would be subject to the
 DOT’s inspection and enforcement programs.

         In addition, FERC staff recognizes RG LNG would also need to address hazardous fluid
 piping with service temperatures at -20 °F and higher and equipment other than piping, and LNG
 storage (shop built and field-fabricated) containers. We also recognize the current FERC
 regulations under 18 CFR 380.12 (h) (5) continue to incorporate National Bureau of Standards
 Information Report 84-2833. Report 84-2833 provides guidance on classifying stationary
 storage containers and related safety equipment as Category I and classifying the remainder of
 the LNG Terminal structures, systems, and components as either Category II or Category III, but
 does not provide specific guidance for the seismic design requirements for them. Absent any
 other regulatory requirements, this guidance recommends that other LNG structures classified as
 Seismic Category II or Category III be seismically designed to satisfy the Design Earthquake and
 seismic requirements of the ASCE 7-05 in order to demonstrate there is not a significant impact
 on the safety of the public. ASCE 7-05 is recommended as it is a complete ANSI consensus
 design standard, its seismic requirements are based directly on the National Earthquake Hazards
 Reduction Program Recommended Provisions, and it is referenced directly by the IBC. Having a
 link directly to the IBC and ASCE 7 is important to accommodate seals by the engineer-of-
 record because the IBC is directly linked to state professional licensing laws while the Program
 Recommended Provisions are not.

          The geotechnical investigations of the existing site performed by Fugro indicate the site
 is classified as Site Class E56 based on a site average shear wave velocity that ranged between
 541 and 701 feet per second in Area 1, and between 456 and 646 feet per second in Area 2
 (Fugro 2015a). This is in accordance with ASCE 7-05, which is incorporated directly into
 49 CFR 193 for shop fabricated containers less than 70,000 gallons and via NFPA 59A (2006)
 for field-fabricated containers.57 This is also in accordance with IBC (2006). Sites with soil
 conditions of this type would experience significant amplifications of surface earthquake ground
 motions. However, due to the absence of a major fault in proximity to the site and lower ground
 motions, the seismic risk to the site is considered low.

         Fugro performed a site-specific seismic hazard study for the site. The study concluded
 that the site would have an OBE PGA of 0.008 g and 0.01 g for Area 1 and 2, respectively, and a
 SSE PGA of 0.04 g and 0.048 g (Fugro 2015a). The study also concluded that earthquake
 ground motions at the ground surface of the site that have a 2 percent probability of being


 56
        There are six different site classes in ASCE 7-05, A through F, that are representative of different soil conditions that
        impact the ground motions and potential hazard ranging from Hard Rock (Site Class A), Rock (Site Class B), Very
        dense soil and soft rock (Site Class C), Stiff Soil (Site Class D), Soft Clay Soil (Site Class E), to soils vulnerable to
        potential failure or collapse, such as liquefiable soils, quick and highly sensitive clays, and collapsible weakly
        cemented soils (Site Class F).
 57
        Site Class E is analogous Soil Profile Type S4 criteria in ASCE 7-93, which is incorporated into 49 CFR Part 193 via
        NFPA 59A (2001) for piping systems conveying flammable liquids and flammable gases with service temperatures
        below 20 °F.


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 exceeded in 50 years have a 0.2-second spectral acceleration value of 0.09 g for Area 1 and 0.11
 g for Area 2, and a 1.0-second spectral acceleration at the site is 0.09 g for Area 1 and 0.09 g for
 Area 2.

          Based on the design ground motions for the site and the importance of the facilities, the
 facility seismic design is assigned Seismic Design Category A in accordance with the IBC
 (2006) and ASCE 7-05. These ground motions are relatively low compared to other locations in
 the United States. FERC staff verified the ground accelerations using Applied Technology
 Council and USGS calculators, which indicate SSE PGA of 0.039 g (USGS 2018b, Applied
 Technology Council 2018).

          ASCE 7-05 also requires determination of the Seismic Design Category based on the
 Occupancy Category (or Risk Category in ASCE 7-10 and 7-16) and severity of the earthquake
 design motion. The Occupancy Category (or Risk Category) is based on the importance of the
 facility and the risk it poses to the public. 58

        FERC staff has identified the Project as a Seismic Design Category A based on the
 ground motions for the site and an Occupancy Category (or Risk Category) of III or IV, this
 seismic design categorization would appear to be consistent with the IBC (2006) and ASCE 7-05
 (and ASCE 7-10).

         Seismic events can also result in soil liquefaction in which saturated, non-cohesive soils
 temporarily lose their strength/cohesion and liquefy (i.e., behave like viscous liquid) as a result
 of increased pore pressure and reduced effective stress when subjected to dynamic forces such as
 intense and prolonged ground shaking. Areas susceptible to liquefaction may include saturated
 soils that are generally sandy or silty. Typically, these soils are located along rivers, streams,
 lakes, and shorelines or in areas with shallow groundwater. The site-specific seismic study
 indicates sandy layers between -45 and -85 feet below grade; however, the potential for a large
 enough seismic event near enough to cause soil liquefaction in the Project area is low. Also,
 LNG facilities at the site would be constructed on either a site improved with deep soil mixing or
 in some cases deep foundations, which would mitigate any potential impacts of soil liquefaction.
 Should soil improvement be required to counteract soil liquefaction, RG LNG would utilize
 ground improvement techniques (e.g., densification, cementitious strengthening) or removal and
 replacement of existing soils with non-liquefiable material.




 58
        ASCE 7-05 defines Occupancy Categories I, II, III, and IV. Occupancy Category I represents facilities with a low
        hazard to human life in even of failure, such as agricultural facilities; Occupancy Category III represents facilities with
        a substantial hazard to human life in the event of failure or with a substantial economic impact or disruption of day to
        day civilian life in the event of failure, such as buildings where more than 300 people aggregate, daycare facilities with
        facilities greater than 150, schools with capacities greater than 250 for elementary and secondary and greater than 500
        for colleges, health care facilities with 50 or more patients, jails and detention facilities, power generating stations,
        water treatment facilities, telecommunication centers, hazardous facilities that could impact public; Occupancy
        Category IV represents essential facilities, such as hospitals, fire, rescue, and police stations, emergency shelters, power
        generating stations and utilities needed in an emergency, aviation control towers, water storage and pump structures for
        fire suppression, national defense facilities, and hazardous facilities that could substantially impact public; and
        Occupancy Category II represents all other facilities. ASCE 7-10 changed the term to Risk Categories I, II, III, and IV
        with some modification.


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          Seismic events in waterbodies can also cause tsunamis or seiches by sudden displacement
 of the sea floors in the ocean or standing water. Tsunamis and seiche may also be generated
 from volcanic eruptions or landslides. Tsunami wave action can cause extensive damage to
 coastal regions and facilities. The Terminal site’s low-lying position would make it potentially
 vulnerable were a tsunami to occur. There is little evidence to suggest that the Gulf of Mexico is
 prone to tsunami events, but the occurrence of a tsunami is possible. Two did occur in the Gulf
 of Mexico in the early 20th century and had wave heights of 3 feet or less (USGS 2014b), which
 is not significantly higher than the average breaking wave height of 1.5 feet (Owen 2008).
 Hydrodynamic modeling conducted off the coast of south Texas in 2004 indicated that the
 maximum tsunami run-up could be as high as 12 feet above mean sea level. No earthquake
 generating faults have been identified that are likely to produce tsunamis, despite recorded
 seismic activity in the area.

         The potential for tsunamis associated with submarine landslides is more likely a source in
 the Gulf of Mexico and remains a focus of government research (USGS 2009). RG LNG’s
 Seismic and Fault Study report included a Tsunami Hazard Assessment for the Project area.
 There are four main submarine landslide hazard zones in the Gulf of Mexico including the
 Northwest Gulf of Mexico, Mississippi Canyon and Fan, the Florida Escarpment, and the
 Campeche Escarpment (USGS 2009). Based on modeling and limited historical data, it is
 estimated that tsunamis generated from landslides would be significantly less than the hurricane
 design storm surge elevations discussed below, so any tsunami hazard has been considered in
 design.

        Hurricanes, Tornadoes, and other Meteorological Events

         Hurricanes, tornadoes, and other meteorological events have the potential to cause
 damage or failure of facilities due to high winds and floods, including failures from flying or
 floating debris. To assess the potential impact from hurricanes, tornadoes, and other
 meteorological events, RG LNG evaluated such events historically. The severity of these events
 are often determined on the probability that they occur and are sometimes referred to as the
 average number years that the event is expected to re-occur, or in terms of its mean
 return/recurrence interval.

         Because of its location, the Project site would likely be subject to hurricane force winds
 during the life of the Project. RG LNG stated that the Project would be designed to ASCE 7-05
 using Allowable Stress Design as opposed to the strength design. RG LNG indicates the design
 wind speed using ASCE 7-05 Allowable Stress Design for LNG facilities and hazardous
 structures, which would be categorized as Occupancy Category III and IV, would be 145 mph 3-
 second gust. When converting the Allowable Stress Design to a strength design, this would
 equate to a 183 mph 3-second gust or 150 mph sustained wind speed and be approximately
 equivalent to a 10,000 year mean return interval or have a 0.11 percent probability of exceedance
 in a 50-year period for the site. The 183 mph 3-second gust equates to a strong Category 4
 Hurricane using the Saffir-Simpson scale (130-156 mph sustained winds, 166-195 mph 3-second
 gusts). RG LNG also indicates the design wind speed for other non-hazardous structures, which
 would be categorized as Occupancy Category I and II, would be 130 mph 3-second gust per
 ASCE 7-05 Figure 6-1A. However, FERC staff found that when reviewing Figure 6-1A of
 ASCE 7-05, the Project location is closest to the 140 mph 3-second gust isocontour.


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         FERC staff also utilized the Applied Technology Council hazard tool, which interpolates
 site-specific wind speed using ASCE’s 3-second gust wind speed, to evaluate the ASCE 7-05 the
 3-second gust wind speed and found it to be 141 mph. We also recognize ASCE 7-10 and
 ASCE 7-16 would require a 139 mph 3-second gust for Risk Category I non-hazardous structures
 and 149 mph 3-second gust for Risk Category II non-hazardous structures.

          RG LNG must meet 49 CFR 193.2067, under Subpart B for wind load requirements for
 structures classified as LNG facilities. In accordance with the MOU, the DOT evaluated in its
 LOD whether RG LNG’s proposed Project meets the DOT requirements under Subpart B.
 However, DOT has indicated structures that do not fall under the definition of LNG facilities in
 49 CFR 193 would not be subject to the design wind speed requirements in 49 CFR 193.2067,
 under Subpart B. As a result, we recommend in section 4.12.1.7 that RG LNG specify facilities
 that are not covered by DOT PHMSA’s LOD be designed to withstand basic wind speeds in
 accordance with ASCE 7-16 based on the appropriate Risk Category. If the Project is
 authorized, constructed, and operated, LNG facilities, as defined in 49 CFR 193, would be
 subject to the DOT’s inspection and enforcement programs. Final determination of whether the
 facilities are in compliance with the requirements of 49 CFR 193 Subpart B would be made by
 the DOT staff.

         In addition, as noted in the limitation of ASCE 7-05 section 6.5.4.3 and ASCE 7-10
 section 26.5.4, tornadoes were not considered in developing basic wind speed distributions. This
 leaves a potential gap in potential impacts from tornadoes. Therefore, FERC staff evaluated the
 potential for tornadoes. Appendix C of ASCE 7-05 makes reference to American Nuclear
 Society 2.3 (1983 edition), Standard for Estimating Tornado and Extreme Wind Characteristics
 at Nuclear Power Sites. This document has since been revised in 2011 and reaffirmed in 2016
 and is consistent with NUREG/CR-4461, Tornado Climatology of the Contiguous U.S., Rev. 2
 (NUREG 2007). These documents provide maps of a 100,000-mean-year return period for
 tornadoes using 2 degree latitude and longitude boxes in the region to estimate a tornado striking
 within 4,000 feet of an area. Figures 5-8 and 8-1 from NUREG/CR-4461 indicate a 100,000-
 year maximum tornado wind speeds would be approximately 114 mph 3-second gusts for the
 Project site location. Later editions of ASCE 7 (ASCE 7-10 and ASCE 7-16) make reference to
 International Code Council 500, Standard for Design and Construction of Storm Shelters, for
 10,000-year tornadoes. However, the International Code Council 500 maps were conservatively
 developed based on tornadoes striking regions and indicate a 200 mph 3-second gust for a
 10,000-year event, which is higher than the 114 mph 3-second gust in American Nuclear Society
 2.3 and NUREG/CR-4461.

          As a result, we conclude the use of an equivalent 183 mph 3-second gust, is adequate for
 the LNG storage tanks and conservative from a risk standpoint for the other LNG and hazardous
 facilities. DOT provided a LOD on the Project’s compliance with 49 CFR 193 Subpart B in
 regard to wind speed. This determination was provided to the Commission as further
 consideration to the Commission on its decision to authorize or deny the Project.

        The DOT regulations in 49 CFR 193.2067, under Subpart B would require the
 impounding system for the LNG storage tanks to withstand impact forces from wind borne
 missiles. ASCE 7 also recognizes the facility would be in a wind borne debris region.
 Windborne debris has the potential to perforate equipment and the LNG storage tanks if not


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 properly designed to withstand such impacts. The potential impact is dependent on the
 equivalent projectile wind speed, characteristics of projectile, and methodology or model used to
 determine whether penetration or perforation would occur. However, no criteria are provided in
 49 CFR 193 or ASCE 7 for these specific parameters. NFPA 59A (2016 and 2019) requires
 Comite Euro-International du Beton (CEB) 187 be used to determine projectile perforation
 depths. NFPA 59A (2013, 2016, and 2019) reference compliance with ACI 376, which also
 includes information to prevent perforation and suggested equations and references. However,
 none of the referenced standards include what projectiles and their characteristics should be
 considered. In order to address the potential impact, we recommend in section 4.12.1.7 that RG
 LNG provide a projectile analysis for review and approval to demonstrate that the outer concrete
 impoundment wall of a full-containment LNG tank could withstand wind borne projectiles prior
 to construction of the final design. The analysis should detail the projectile speeds and
 characteristics and method used to determine penetration or perforation depths. FERC staff
 would compare the analysis using established methods, such as CEB 187 and ACI 376
 referenced documents, and compare the specified projectiles and speeds using other guidance,
 such as DOE and Nuclear Regulatory Commission guidance.

         In addition, FERC staff evaluated historical tropical storm, hurricane, and tornado tracks
 in the vicinity of the Project facilities using data from the DHS Homeland Infrastructure
 Foundation Level Data and NOAA Historical Hurricane Tracker (DHS 2018) , NOAA 2018c).
 Brownsville has had 30 tropical storms or hurricanes hit within 65 nautical miles since 1900, and
 Cameron County has been impacted by 10 hurricanes or tropical storms since 1900. The most
 recent major hurricane was Hurricane Bret, 1999, just north of Cameron County, which peaked
 as a Category (Cat) 4 hurricane with 144 mph sustained winds and made landfall as a Category 3
 hurricane with 115 mph sustained winds. 59 Prior to Hurricane Bret, Cameron County was hit by
 Hurricane Allen (Cat 5 peak, Cat 3 landfall) in 1980, Hurricane Beulah (Cat 5 peak, Cat 5
 landfall) in 1967 and two unnamed hurricanes in 1933 (Cat 5 peak, Cat 3 landfall) and 1916 (Cat
 4 peak, Cat 4 landfall). Hurricanes in Cameron County have been observed to have peaked when
 reaching landfall with 161 mph sustained winds and to have produced storm surges up to 18 feet.
 The estimated return period for a major hurricane passing within 50 nautical miles of the coast of
 Cameron County is about 30 years (NOAA 2016b).

         Potential flood levels may also be informed from the FEMA Flood Insurance Rate Maps,
 which identifies Special Flood Hazard Areas (base flood) that have a 1 percent probability of
 exceedance in 1 year to flood (or a 100-year mean return interval) and moderate flood hazard
 areas that have a 0.2 percent probability of exceedance in 1 year to flood (or a 500-year mean
 return interval). According to the FEMA National Flood Hazard Layer, portions of the Project
 would be located in the 100-year and 500-year floodplain. In addition, according to FEMA flood
 hazard maps (2017a), the 100-year flood elevation at the Site is +9.6 feet NAVD 88 and the 500-
 year flood elevation is +13.5 feet NAVD 88. FERC staff recognizes that a 500 year flood event
 has been recommended as the basis of design for critical infrastructure in publications, including
 ASCE 24, Flood Resistant Design and Construction. Therefore, we believe it is good practice to
 design critical energy infrastructure to withstand 500-year event from a safety and reliability


 59
        A major hurricane is defined as a hurricane that has been classified as Hurricane Category 3 or higher.




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 standpoint for the standing water elevation (SWEL) and wave crests. Furthermore, we
 determined the use of intermediate values from NOAA for sea level rise and subsidence is more
 appropriate for design and higher projections are more appropriate for planning in accordance
 with NOAA 2017,60 which recommends defining a central estimate or mid-range scenario as
 baseline for shorter-term planning, such as setting initial adaptation plans for the next two
 decades and defining upper bound scenarios as a guide for long-term adaptation strategies and a
 general planning envelope. RG LNG has indicated that the facility would be designed to handle
 a 100-year storm surge without any wave overtopping, and would be designed to accommodate
 the wave overtopping that would occur from a 500-year storm surge.

         RG LNG has proposed to construct an earthen berm and floodwalls around the perimeter
 of the site to minimize impacts associated with potential storm surges. The floodwall and berm
 are proposed to be designed with a crest elevation ranging between +17 feet and +19 feet
 NAVD 88. In addition, RG LNG has indicated that it would provide an additional 4 inches over-
 height margin to the crest elevations (so initial crest elevations will be 17.33 and 19.33 feet) to
 account for initial relative sea level rise concerns. RG LNG conducted a storm surge analysis
 that identified the storm surge elevation for the 100-year and 500-year events. Storm surge
 elevations were found to be 9.6 feet and 13.5 feet, respectively. Wave run-up calculations were
 carried out for the proposed berm and floodwall using the EurOtop overtopping formulations
 Technical Advisory Committee for Water Retaining structures methodology, as applied by
 FEMA. Wave crest elevations, including SWEL, would range between 11.3 and 12.8 feet
 NAVD 88 for 100-year storms and 15.9 feet to 17.8 feet NAVD 88 for 500-year storms.
 Analysis of a 500-year recurrence interval storm surge with worst-case levee overtopping
 volumes and associated rainfall over a 24-hour period indicates a maximum flood level
 associated with the overtopping of 10.5 feet NAVD 88 within the confines of the levee system.
 This would result in general inundation of the LNG Terminal site, but maximum water
 elevations would be 6 inches below the top of foundations of all equipment, piping, and
 buildings.

          FERC staff also evaluated the design against a 500-year SWEL with a 500-year wave
 crest and sea level rise and subsidence from the 2018 FEMA Flood Insurance Study (FIS) for
 Cameron County, Texas (FEMA 2018) and the maximum envelope of water (MEOW) storm
 surge inundation maps generated from the Sea, Lake, and Overland Surge from Hurricanes
 (SLOSH) model developed by NOAA National Hurricane Center. RG LNG indicated that the
 anticipated sea level rise and subsidence for the LNG Terminal would be approximately 0.7 feet
 over the life of the Project. FERC staff found that utilizing COE online tool for estimating sea
 level rise and subsidence, the project could be subjected to a sea level rise and subsidence value
 of up to approximately 1 foot. Adding the 500-year storm surge, wave crest elevations, and sea
 level rise and subsidence results in a total elevation of between 16.9 feet to 18.8 feet. FERC staff
 evaluated RG LNG’s proposed 500-year flood against the 2018 FEMA FIS for Cameron County
 (FEMA 2018), which provides various transection lines and associated 10-, 50-, 100-, and 500-
 year SWELs, 500-year wave envelopes, and 500-year wave effects along the length of the
 transection lines. The Project intersects with transection line 38, but the eastern face of the site is


 60
        Global And Regional Sea Level Rise Scenarios for the United States, U.S. Department Of Commerce, NOAA, National
        Ocean Service Center for Operational Oceanographic Products and Services, January 2017.


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 most likely to receive the most severe storm surge is closest to transection line 45. Transection
 line 45 from the FIS transects the channel-side of the proposed site and has a maximum 500-year
 SWEL of 12.5 feet NAVD 88 and a maximum wave height of 4.3 feet NAVD 88. Typically,
 FEMA computes a wave crest as 70 percent of the total wave height above the still water level;
 that is, the 500-year wave effect is taken as 70 percent of 3 feet, or 2.1 feet. Adding the SWEL,
 wave crest elevation, and sea level rise and subsidence, results in a total elevation of +15.6 feet
 NAVD 88.

          FERC staff also evaluated the storm surge using MEOW storm surge inundation maps
 generated from the SLOSH models developed by NOAA National Hurricane Center, a 500-year
 event would equate to a Category 2 Hurricane and from 0 feet to over 9 feet MEOW with most
 areas between 0 and 6 feet.61 This is predominantly lower than indicated in the 500-year FEMA
 maps. In addition, while NOAA seems to provide higher resolution of topographic features, it
 limits its SLOSH maps to storm surge levels at high tide above 9 feet. As a result, FERC staff
 evaluated the storm surge against other sources using SLOSH maps that indicate a similar upper
 range of 5 to 6 feet NAVD 88 MEOW for Category 2 Hurricanes, and also indicate 8 to 10 feet
 NAVD 88 MEOW for Category 3 Hurricanes, 11 to 14 feet NAVD 88 MEOW for Category 4
 Hurricanes, and 15 to 18 feet NAVD 88 MEOW for Category 5 Hurricanes. 62 This data suggests
 that RG LNG’s design could withstand a Category 3 to 4 Hurricane storm surge SWEL
 equivalent to approximately a 17,000-year mean return interval. In addition, using wave heights
 of 0.78*SWEL for controlling waves and 0.49*SWEL for significant wave heights based on
 FEMA estimates would result in 4.7 feet controlling wave heights and 3.9 feet significant wave
 heights along the BSC. We also would expect the sea level rise to be closer to the 1.01 feet
 intermediate projection provided by NOAA. As a result of the SLOSH data and NOAA sea level
 rise projections, we would expect a berm height or site elevation of at least 10.7 feet along the
 BSC post-settlement. As a result, we conclude that the facility would be able to withstand storm
 surge without damage during a 500-year storm event. Furthermore, RG LNG has committed to a
 periodic perimeter levee elevation survey program for the life of the facility. This program
 would include the monitoring of the crest elevations of the perimeter berm and remediation
 actions such as placing additional material on top of the berm to maintain the crest to its design
 elevation.

         The Texas and Louisiana Gulf Coast area is experiencing the highest rates of coastal
 erosion and wetland loss in the United States (Ruple 1993). The average coastal erosion rates is
 -1.2 meters per year between 2000 and 2012 along the Texas coastal shoreline, with South Padre
 Island experiencing a shoreline loss rate of -1.6 meters per year between 2000 and 2012
 (McKenna 2014). Shoreline erosion could occur at the Project site and along the opposite
 shoreline as a result of waves, currents, and vessel wakes. To prevent erosion, new revetment in
 the form rip-rap would be installed in the dredged marine berth and maneuvering areas. Even
 though shoreline erosion is a concern at the site, the proposed mitigation measures would
 minimize erosion and scour impacts.



 61
        National Ocean and Atmospheric Administration. National Hurricane Center. National Storm Surge Hazard Maps,
        https://www.nhc.noaa.gov/nationalsurge/. Aug 2018.
 62
        Masters, J., Weather Underground, Storm Surge Inundation Maps for the U.S. Coast,
        https://www.wunderground.com/hurricane/surge_images.asp, March 2018.


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        Landslides and Other Natural Hazards

        Due to the low relief across the Project site, there is little likelihood that landslides or
 slope movement at the site would be a realistic hazard. Landslides involve the downslope
 movement of earth materials under force of gravity due to natural or human causes. The Project
 area has low relief which reduces the possibility of landslides.

        Volcanic activity is primarily a concern along plate boundaries on the West Coast and
 Alaska and also Hawaii. Based on FERC staff review of maps from USGS (2018c) and DHS
 (2018) of the nearly 1,500 volcanoes with eruptions since the Holocene period (in the past
 10,000 years) there are no known active or historic volcanic activity within proximity of the site
 with the closest being over 400 miles away across the Gulf of Mexico in Los Atlixcos, Mexico.

         Geomagnetic disturbances may occur due to solar flares or other natural events with
 varying frequencies that can cause geomagnetically induced currents, which can disrupt the
 operation of transformers and other electrical equipment. The USGS provides a map of
 geomagnetic disturbance intensities with an estimated 100-year mean return interval (USGS
 2018d). The map indicates the LNG Terminal could experience geomagnetic disturbance
 intensities of 70-90 nano-Tesla with a 100-year mean return interval. However, RG LNG would
 be designed such that if a loss of power were to occur the valves would move into a fail-safe
 position.

        External Impact

         To assess the potential impact from external events, FERC staff conducted a series of
 reviews to evaluate transportation routes, land use, and activities within the facility and
 surrounding the Project site and the safeguards in place to mitigate the risk from events, where
 warranted. FERC staff coordinated the results of the reviews with other federal agencies to
 assess potential impacts from vehicles and rail; aircraft impacts to and from nearby airports and
 heliports; pipeline impacts from nearby pipelines; impacts to and from adjacent facilities that
 handle hazardous materials under the EPA’s Risk Management Plan (RMP) regulations and
 power plants, including nuclear facilities under Nuclear Regulatory Commission’s regulations.
 Specific mitigation of impacts from use of external roadways, rail, helipads, airstrips, or
 pipelines are also considered as part of the engineering review done in conjunction with the
 NEPA review.

         FERC staff uses a risk-based approach to assess the potential impact of the external
 events and the adequacy of the mitigation measures. The risk-based approach uses data based on
 the frequency of events that could lead to an impact and the potential severity of consequences
 posed to the Project site and the resulting consequences to the public beyond the initiating
 events. The frequency data is based on past incidents and the consequences are based on past
 incidents and/or hazard modeling of potential failures.

        Road

         FERC staff reviewed whether any truck operations would be associated with the project
 and whether any existing roads would be located near the site. FERC staff uses this information
 to evaluate whether the Project and any associated truck operations could increase the risk along


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 the roadways and subsequently to the public and whether any pre-existing unassociated vehicular
 traffic could adversely increase the risk to a project site and subsequently increase the risk to the
 public. In addition, if authorized, constructed, and operated, LNG facilities as defined in 49 CFR
 193, must comply with the requirements of 49 CFR 193 and would be subject to DOT’s
 inspection and enforcement programs. DOT regulations under 49 CFR 193.2155 (a) (5) (ii),
 under Subpart C require that structural members of an impoundment system be designed and
 constructed to prevent impairment of the system’s performance reliability and structural integrity
 as a result of a collision by or explosion of a tank truck that could reasonably be expected to
 cause the most severe loading if the LNG facility adjoins the right-of-way of any highway.
 Similarly, NFPA 59A (2001), section 8.5.4, incorporated by reference in 49 CFR 193, requires
 transfer piping, pumps, and compressors to be located or protected by barriers so that they are
 safe from damage by rail or vehicle movements. However, the DOT regulations and NFPA 59A
 (2001) requirements do not indicate what collision(s) or explosion(s) could reasonably be
 expected to cause the most severe loading. FERC staff evaluated consequence and frequency
 data from these events to evaluate these potential impacts.

         FERC staff evaluated the risk of the truck operations based on the consequences from a
 release, incident data from the DOT Federal Highway Administration (FHWA)63, DOT National
 Highway Traffic Safety Administration (NHTSA)64, DOT PHMSA65, EPA, NOAA66, and other
 reports67,68,69, and frequency of trucks, and proposed mitigation to prevent or reduce the impacts
 of a vehicular incident.

          Incident data from DOT’s FHWA, NHTSA, and PHMSA, indicates hazardous material
 incidents are very infrequent (4e-3 incidents per lane mile per year) and nearly 75 to 80 percent
 of hazardous material vehicular incidents occur during unloading and loading operations while
 the other 20 to 25 percent occur while in transit or in transit storage. In addition, approximately
 99 percent of releases are 1,000 gallons or less and catastrophic events that would spill 10,000
 gallons or more make up less than 0.1 percent of releases. In addition, less than 1 percent of all
 reportable hazardous material incidents with spillage result in injuries and less than 0.1 percent
 of all reportable hazardous material incidents with spillage result in fatalities.

         The EPA and NOAA report that 80 percent of fires that lead to container ruptures results
 in projectiles and that 80 percent of projectiles from liquefied petroleum gas (LPG) incidents,
 which constitute the largest product involved in BLEVEs, travel less than 660 feet. The EPA
 also reports that on average container ruptures would result in less than four projectiles for


 63
        U.S. DOT FHWA, Office of Highway Policy Information, Highway Statistics 2016,
        https://www.fhwa.dot.gov/policyinformation/statistics/2016/, accessed March 2019.
 64
        U.S. DOT NHTSA, Traffic Safety Facts Annual Report Tables, https://cdan.nhtsa.gov/tsftables/tsfar.htm, accessed
        March 2019.
 65
        U.S. DOT PHMSA, Office of Hazardous Material Safety, Incdent Reports Database Search,
        https://hazmatonline.phmsa.dot.gov/IncidentReportsSearch/Welcome.aspx, accessed March 2019.
 66
        U.S. Environmental Protection Agency, National Oceanic and Atmospheric Administration, ALOHA®, User’s Manual,
        The CAMEO® Software System, February 2007.
 67
        Birk, A.M., BLEVE Response and Prevention Technical Documentation, 1995.
 68
        American Institute of Chemical Engineers, Center for Chemical Process Safety, Guidelines for Vapor Cloud Explosion,
        Pressure Vessel Burst, BLEVE, and Flash Fire Hazards, Second Edition, 2010.
 69
        Lees, F.P, Lees Loss Prevention in the Process Industries, Hazard Identification, Assessment, and Control, Volume 2,
        Second Edition, 1996.


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 cylindrical containers and 8.3 for spherical vessels. FERC staff evaluated other reports that
 affirmed the EPA estimates based on data for approximately 150 experimental and accidental
 pressure vessel bursts (PVB) and BLEVEs with approximately 683 total projectiles (4.6 average
 fragments per incident) that showed approximately 80 percent of fragments traveled 490 to 820
 feet and within 6.25 times the estimated or observed fireball radius. The data also showed
 projectiles have traveled up to 3,900 feet for large LPG vessels and 1,200 feet for LPG rail cars.
 In all the documented cases, the projectiles traveled less than 15 times the fireball diameter, but
 one of the reports indicated up to 30 times the fireball diameter is possible albeit very rare.

          Unmitigated consequences under average ambient conditions from releases of 1,000
 gallons through a 1-inch hole would result in distances ranging from 25 to 200 feet for
 flammable vapor dispersion, and 75 to 175 feet for jet fires. Unmitigated consequences under
 worst-case weather conditions from catastrophic failures of trucks proposed at the site generally
 can range from 200 to 2,000 feet for flammable vapor dispersion, 275 to 350 feet for radiant heat
 of 5 kW/m2 from jet fires, 800 to 1,050 feet to a 1 psi overpressure from a BLEVE, 850 to 1,500
 feet for a heat dose equivalent to a radiant heat of 5 kW/m2 over 40 seconds from 250 to 325 feet
 radii fireballs burning for 5 to 15 seconds from a BLEVE, and projectiles from BLEVEs possibly
 extending farther. Based on distribution function of the projectile distances, FERC staff estimate
 approximately 90 percent of all projectiles for a 10,000 gallon tanker truck would be within 0.5
 mile and there is approximately a 1 percent probability they would extend beyond 1 mile and less
 than 0.1 percent probability they would extend 30 times the fireball diameter. These values are
 also close to the distances provided by the DOT FHWA70 for designating hazardous material
 trucking routes (0.5 miles for flammable gases for potential impact distance) and DOT PHMSA71
 for emergency response (0.5 to 1 mile for initial evacuation and 1 mile for potential BLEVEs for
 flammable gases).

        During operation of the Project, the number of trucks would depend on market conditions
 for LNG and the amount of condensate in the feed gas with estimates of up to approximately
 33,000 trucks or tanker trucks to transport commodities (e.g., LNG, refrigerants, diesel, hot oil,
 condensate product, etc.) to or from the facility each year. This total assumes maximum use of
 LNG and condensate truck loading facilities, which would not be likely.

          SH-48 would border the northern side of the proposed site. State Highway 48 is a
 four-lane highway with speed limits up to 75 mph. RG LNG proposes to install a 17-foot-high
 storm levee (i.e., berm) that would separate SH-48 from the process equipment and piping within
 the LNG facility. Distances from SH-48 to the berm would be approximately 230 feet with
 another approximately 390 feet from the berm to equipment, 520 to 570 feet to liquefaction
 facilities, 1,540 feet to the LNG storage tanks, and 1,590 feet to the control building. FERC staff
 did not identify any other major highways or roads within close proximity to piping or
 equipment containing hazardous materials at the site that would not be protected by the berm to
 raise concerns of direct impacts from a vehicle impacting the site. Furthermore, RG LNG would
 install deceleration, acceleration, and turning lanes at all vehicle access points for safe vehicular
 access/departure. Each entrance would also have vehicular barriers and RG LNG would install


 70
        U.S. DOT FHWA, Office of Highway Safety, Guidelines for Applying Criteria to Designate Routes for Transporting
        Hazardous Materials, September 1994.
 71
        U.S. DOT, PHMSA, Emergency Response Guidebook, 2016.


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 crash barriers, bollards, and guard posts to protect onsite process equipment to further mitigate
 accidental and intentional vehicle impacts. However, details of these have not been finalized.
 Therefore, we recommend in section 4.12.6 that RG LNG provide, for review and approval, final
 design details of vehicular barriers at each entrance to the site.

        The facilities would also be set back farther than the hazard distances from the smaller
 1,000 gallons or less releases constituting approximately 99 percent of all hazardous material
 incidents. In addition, these facilities would be farther than the worst-case jet fires from the
 10,000 gallons or more releases constituting 1 percent of the hazardous material incidents
 described above. However, most of the facilities would be within range of the potential worst-
 case unmitigated flammable vapor dispersion and BLEVE impacts from the 10,000 gallons or
 more releases constituting 1 percent of the hazardous material incidents.

          In total, there is approximately 4.24 miles of road within 1 mile of the RG LNG Project’s
 26,600,000 square feet (ft2) footprint with approximately 5,000,000 ft2 constituting the
 liquefaction facilities, 240,000 ft2 constituting the LNG storage tanks, 240,000 ft2 constituting
 the control building and other occupied buildings, and 21,120,000 ft2 constituting the ground
 flares, switchyard, refrigerant storage, marine facilities, and other areas. Unmitigated flammable
 vapors that reach onsite and ignite could impact workers, but it would not likely cause any
 cascading failures that would impact the public. In addition, the berm and separation distances
 would likely mitigate flammable vapors that disperse from an incident from reaching onsite. A
 fireball from a BLEVE could burn workers located onsite, but there would not likely be any
 cascading failures to onsite equipment that would impact the public. Projectiles from BLEVEs
 have the potential to impact workers located onsite and cause cascading damage that could
 impact the public if it were to reach and perforate the LNG storage tank. However, the closest
 LNG storage tank is approximately 1,540 feet away and approximately 25 percent of projectiles
 would be able to extend far enough to reach the closest LNG storage tank and the LNG storage
 tanks would constitute approximately 1 percent of a potential impact area from projectiles that
 could reach that far. Moreover, the LNG storage tanks would also be designed to withstand
 certain projectiles that would further protect it from cascading effects. In addition, RG LNG
 would coordinate with local emergency responders with regard to potential hazardous material
 vehicular incidents nearby its site.

         Due to the low risk of a vehicular incident occurring that could directly impact the site,
 the low risk of hazardous material truck incidents, the low risk of a hazardous material truck
 incidents impacting the site that would cause cascading damage that could impact the public, and
 the proposed and recommended mitigation, we conclude the Project would not pose a significant
 risk or a significant increase in risk to the public from external impacts occurring on the road.

        Rail

         FERC staff reviewed whether any rail operations would be associated with the Project
 and whether any existing rail lines would be located near the site. FERC staff uses this
 information to evaluate whether the Project and any associated rail operations could increase the
 risk along the rail line and subsequently to the public and whether any pre-existing unassociated
 rail operations could adversely increase the risk to the RG LNG site and subsequently increase
 the risk to the public. In addition, if authorized, constructed, and operated, LNG facilities as


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 defined in 49 CFR 193, must comply with the requirements of 49 CFR 193 and would be subject
 to DOT’s inspection and enforcement programs. DOT regulations under 49 CFR 193.2155 (a)
 (5) (ii), under Subpart C state if the LNG facility adjoins the right-of-way of any railroad, the
 structural members of an impoundment system must be designed and constructed to prevent
 impairment of the system’s performance reliability and structural integrity as a result of a
 collision by or explosion of a train or tank car that could reasonably be expected to cause the
 most severe loading.

         Section 8.5.4 of NFPA 59A (2001), incorporated by reference in 49 CFR 193, requires
 transfer piping, pumps, and compressors to be located or protected by barriers so that they are
 safe from damage by rail or vehicle movements. However, the DOT regulations and NFPA 59A
 (2001) requirements do not indicate what collision(s) or explosion(s) could reasonably be
 expected to cause the most severe loading. Therefore, FERC staff evaluated consequence and
 frequency data from these events to evaluate these potential impacts. There would be no rail
 transportation associated with the Project.

         FERC staff evaluated the risk of the rail operations based on the consequences from a
 release, incident data from the DOT Federal Railroad Administration (FRA) and DOT PHMSA,
 and frequency of rail operations near the LNG Terminal site. Incident data from DOT FRA and
 DOT PHMSA indicates hazardous material incidents are very infrequent (6e-3 incidents per rail
 mile per year). In addition, approximately 95 percent of releases are 1,000 gallons or less, and
 catastrophic events that would spill 30,000 gallons or more make up less than 1 percent of
 releases. In addition, less than 1 percent of hazardous material incidents result in injuries and
 less than 0.1 percent of hazardous material incidents result in fatalities.

         As previously discussed, the EPA and NOAA report that 80 percent of fires that lead to
 container ruptures results in projectiles and that 80 percent of projectiles from LPG incidents,
 which constitute the largest product involved in BLEVEs, travel less than 660 feet. The EPA
 also reports that on average container ruptures would result in less than four projectiles for
 cylindrical containers and 8.3 for spherical vessels. FERC staff evaluated other reports that
 affirmed the EPA estimates based on data for approximately 150 experimental and accidental
 PVBs and BLEVEs with approximately 683 total projectiles (4.6 average fragments per incident)
 that showed approximately 80 percent of fragments traveled 490 to 820 feet and within 6.25
 times the estimated or observed fireball radius. The data also showed projectiles have traveled
 up to 3,900 feet for large LPG vessels and 1,200 feet for LPG rail cars. In all the documented
 cases, the projectiles traveled less than 15 times the fireball diameter, but one of the reports
 indicated up to 30 times the fireball diameter is possible albeit very rare.

         Unmitigated consequences under average ambient conditions from releases of 1,000
 gallons through a 1-inch hole would result in distances ranging from 25 to 200 feet for
 flammable vapor dispersion, and 75 to 175 feet for jet fires. Unmitigated consequences under
 worst-case weather conditions from catastrophic failures of rail cars containing various
 flammable products generally can range from 300 to 3,000 feet for flammable vapor dispersion,
 450 to 575 feet for radiant heat of 5 kW/m2 from jet fires, 1,225 to 1,500 feet to a 1 psi
 overpressure from a BLEVE, 1,250 to 2,100 feet for a heat dose equivalent to a radiant heat of 5
 kW/m2 over 40 seconds from 350 to 450 feet radii fireballs burning for 7 to 20 seconds from a
 BLEVE, and projectiles from BLEVEs possibly extending farther. Based on distribution


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 function of the projectile distances, FERC staff estimate approximately 80 percent of all
 projectiles for a 30,000 gallon rail car would be within 0.5 mile and there is approximately a 5
 percent probability they would extend beyond 1 mile and less than 0.1 percent probability they
 would extend 30 times the fireball diameter. These values are also close to the distances
 provided by DOT PHMSA for emergency response (0.5 to 1 mile for initial evacuation and
 1 mile for potential BLEVEs for flammable gases).

          The closest rail line is located approximately 5 miles to the west of the Project site. This
 would be farther than the consequence distances under unmitigated worst-case weather
 conditions and events. Given the distance and position of the closest rail lines relative to the
 populated areas to the east of the LNG Terminal, we conclude that the proposed Project would
 not pose a significant increase in risk to the public as a result of the proximity of the Project to
 the rail lines.

        Air

         FERC staff reviewed whether any aircraft operations would be associated with the
 Project and whether any existing aircraft operations would be located near the site. FERC staff
 uses this information to evaluate whether the Project and any associated aircraft operations could
 increase the risk to the public and whether any pre-existing unassociated aircraft operations
 could adversely increase the risk to the Project site and subsequently increase the risk to the
 public. In addition, if authorized, constructed, and operated, LNG facilities as defined in 49 CFR
 193, must comply with the requirements of 49 CFR 193 and would be subject to DOT’s
 inspection and enforcement programs. DOT regulations under 49 CFR 193.2155 (b), under
 Subpart C requires that an LNG storage tank must not be located within a horizontal distance of
 one mile from the ends, or 0.25 mile from the nearest point of a runway, whichever is longer and
 that the height of LNG structures in the vicinity of an airport must comply with FAA
 requirements. In addition, FERC staff evaluated the risk of an aircraft impact from nearby
 airports.

         There would be no aircraft associated with the Project that would warrant a review that
 would increase in risk to the public from aircraft operations. The closest airports to the RG LNG
 Project site would be the Port Isabel Cameron County Airport located approximately 11 miles to
 the northwest and the Brownsville South Padre Airport located approximately 12 miles to the
 west.

        FERC staff also identified 2 smaller airports within a 20-mile radius from the proposed
 site: Drennan Farm located approximately 13 miles away and Rancho Buena Vista Airport
 located approximately 16 miles away. In addition, FERC staff identified three heliports: Coast
 Guard Station Heliport located approximately 6 miles to the northeast, Southeastern Helicopters
 Heliport located approximately 8 miles to the northeast, and Columbia Valley Regional Heliport
 located approximately 14.5 miles to the west of the Project site.




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         FERC staff analyzed existing aircraft operation frequency data based on the airports
 identified above and their proximity to the LNG storage tanks and process areas, type and
 frequency of aircraft operations, takeoff and landing directions, and non-airport flight paths using
 the DOE Standard, DOE-STD-3014-2006, Accident Analysis for Aircraft Crash into Hazardous
 Facilities. Based upon that review, FERC staff determined the proposed Project would not pose
 a significant risk to the public as a result of the proximity of the Project to the airports.

         The FAA regulations in 14 CFR 77 require RG LNG to provide notice to the FAA of its
 proposed construction. This notification should identify all equipment that are more than 200
 feet above ground level or lesser heights if the facilities are within 20,000 feet of an airport (at
 100:1 ratio or 50:1 ratio depending on length of runway) or within 5,000 feet of a helipad (at
 100:1 ratio). In addition, mobile objects, including the LNG marine vessel that would be above
 the height of the highest mobile object that would normally traverse the waterway would require
 notification to FAA. RG LNG proposes to limit heights of permanent structures to 200 feet and
 has received FAA Determination of No Hazard to Air Navigation in accordance with 14 CFR 77
 for the temporary construction cranes that would exceed 200 feet in height. RG LNG also
 indicated that a FAA notice would not be applicable for LNG marine vessels expected to
 tranverse the waterway after reviewing industry sources on LNG marine vessel specifications.
 However, no supportive data was provided. Therefore, to ensure LNG marine vessels heights
 would not be above the height of the highest mobile object in the BSC, we recommend in section
 4.12.1.7 that RG LNG file documentation demonstrating the LNG marine vessels would be no
 higher than the highest mobile object that would normally traverse the waterway, or file a notice
 of determination of no hazard (with or without conditions) from FAA for the LNG carrier.

         Comments from the public and feedback from FAA indicated potential impacts to and
 from the Project and the nearby SpaceX launch facility. FERC staff conducted internal
 analyses, utilized a third-party contractor, and requested information from the applicant on the
 likelihood and consequences from a potential launch failure impacting the Project. In our
 review of the Falcon 9 and Falcon Heavy launch vehicles, we determined while there would be
 debris above a threshold of 3e-5 years, which is the failure rate level we evaluate the potential
 for cascading damage and the failure rates used by FAA in space launch failures prior to 2017, 72
 the cascading damage at the Project site would not impact the public. In addition, the Coast
 Guard would determine any mitigation measures needed on a case-by-case basis to safeguard
 public health and welfare from LNG marine vessel operations during rocket launch activity.
 However, our review determined that rocket launch failures could impact onsite construction
 workers and plant personnel and did not account for conceptual launch vehicles that may launch
 from the SpaceX launch facility such as the Big Falcon Rocket. Therefore, in the draft EIS, we
 recommended in section 4.12.1.7 that construction crews be positioned outside of higher risk
 areas during rocket launch activity and for plant personnel to monitor the rocket launches and
 shut down operating equipment in the event of a rocket launch failure.

         However, additional comments received after the draft EIS was issued in similarly
 situated locations suggested that the recommendations should be revised to position onsite


 72
        FAA’s 14 CFR 417.107 (b) regulations were updated from 3e-5 casualties for three different events (in 2016 edition) to
        1e-4 casualties cumulative (in 2017 edition).


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 construction crews and plant personnel in areas that are unlikely to be impacted by failed rocket
 launch debris during initial moments of rocket launch activity from the Brownsville SpaceX
 facility. The comments also suggested that the Project’s procedures should reference public
 guidance from the FAA prior to launch activity that would more accurately reflect the risk-
 based assessment performed by RG LNG. In addition, the comments state that the FAA will
 issue public notices in advance of a rocket launch to provide information about areas likely to
 be impacted by falling debris from a failed rocket launch. Finally, the comments contend that
 since it is the jurisdiction and role of the FAA to ensure public safety during rocket launches,
 the FAA’s public guidance prior to a rocket launch would be informative in RG LNG’s launch-
 specific assessment of the positioning of onsite construction crews and plant personnel. We
 agree that this approach would mitigate the potential impacts to the construction crews and
 plant personnel and have modified the recommendation in section 4.12.1.7 to reflect the
 suggested changes.

         In addition, in light of comments in similarly situated locations, the draft EIS
 recommendation pertaining to shutting down operating equipment in the event of a rocket
 launch failure has been revised in section 4.12.1.7 for RG LNG to develop and implement
 procedures for plant personnel to monitor the rocket launches and take mitigative action before
 and after a rocket launch failure to minimize the potential of a release reaching offsite or
 resulting in cascading effects that could impact the safe operation or extend offsite. To
 adequately address the risk to onsite plant personnel, plant equipment, and the public, the
 revised recommendation would allow RG LNG to take action before a rocket launch (e.g.,
 reducing or stopping certain operations) and after a rocket launch failure (e.g., sheltering in
 place, shutting down certain operations), to mitigate the risk of a larger hazardous fluid release.

         In addition, the federal government indemnifies, subject to Congressional
 appropriations, commercial space licensees from liability for any claims above the liability
 insurance required under regulation. The maximum probable loss used to determine the
 insurance and liability uses $3 million for each casualty from direct and indirect effects from a
 failed launch. Since the LNG facilities would be valued up to approximately $25 billion,
 conventional LNG ships would be valued at $200-250 million, and a peak construction
 workforce would total over 5,000 workers, a potential exists for the federal government to be
 liable for a large sum of money that could exceed the current indemnification levels by a large
 margin. As a result, the Project may have possible impact to the SpaceX operation due to the
 insurance premiums that could increase costs to SpaceX, limit the frequency and types of
 launches out of the Brownsville SpaceX launch site. Depending on the reliance of the National
 Space Program on the Brownsville SpaceX launch site, this could also have an impact on the
 National Space Program. There is also potential impact to the liability of the federal government
 due to indemnification by the federal government for losses above 3.1 billion dollars. However,
 the extent of these impacts would be not be fully known until SpaceX submits an application
 requesting to launch with the FAA and whether the LNG plant is under construction or in
 operation.

        Pipelines

         FERC staff reviewed whether any pipeline operations would be associated with the
 Project and whether any existing pipelines would be located near the site. FERC staff uses this


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 information to evaluate whether the Project and any associated pipeline operations could increase
 the risk to the pipeline facilities and subsequently to the public and whether any pre-existing
 unassociated pipeline operations could adversely increase the risk to the Project site and
 subsequently increase the risk to the public. In addition, pipelines associated with this Project
 must meet DOT regulations under 49 CFR 192 and are discussed in Section 4.12.2. If
 authorized, constructed, and operated, pipelines and LNG facilities as defined in 49 CFR 192 and
 49 CFR 193, must comply with the requirements of 49 CFR 192 and 49 CFR 193 and would be
 subject to DOT’s inspection and enforcement programs. FERC staff evaluated the risk of a
 pipeline incident impacting the Project and the potential of cascading damage increasing the risk
 to the public based on the consequences from a release, incident data from DOT PHMSA, and
 proposed mitigation to prevent or reduce the impacts of a pipeline incident from RG LNG.

         For existing pipelines, FERC staff identified an abandoned gas gathering pipeline within
 the southern border of the Project site and the nearest active gas gathering pipeline would be
 located approximately 1.4 miles to the west of the Project site. These pipelines would be
 inactive or located too far to impact the Project site in the event of an incident.

         In addition, FERC staff and cooperating agencies identified Enbridge’s non-jurisdictional
 VCP routed through the Project site’s proposed 75-feet wide utility easement. The VCP is a 42-
 inch diameter 2.6 Bcf/d cross-border natural gas pipeline with a MAOP of 3,000 psi between
 Texas and Mexico that will be used for power generation and industrial customers. The VCP
 extends southwest from a header system in Nueces County, near the Agua Dulce Hub near
 Corpus Christi, to the proposed border-crossing facility, and is subject to the jurisdiction of the
 RRC. Two compressor stations, multiple meter stations and ancillary facilities were also
 constructed. Since the VCP was placed into service, it is considered a Class 1 Area assuming
 that the LNG Terminal is not constructed. The class location is determined under 49 CFR 192.5
 based on the population density and land use within 660 feet surrounding the pipeline. The class
 location impacts the pipeline design, operating, and maintenance requirements, including, but not
 limited to: the steel pipe design factors under 49 CFR 192.111, transmission line sectionalizing
 block valve spacing under 49 CFR 192.179, inspection and testing of welds under 49 CFR
 192.241, depth of cover of soil or consolidated rock under 49 CFR 192.327, test pressures under
 49 CFR 192 Subpart J, patrol intervals under 49 CFR 192.705, and leak survey intervals under
 49 CFR 192.706. In addition, the class location and the Potential Impact Radius (PIR) is used to
 determine whether a pipeline is within a high consequence area (HCA), which are used to
 determine integrity management requirements specified in 49 CFR 192 Subpart O. FERC staff,
 in consultation with DOT, calculated the VCP would have a PIR of 1,587 feet based on the
 42-inch pipeline diameter and 3,000 psi and in accordance with 49 CFR 192.903. 73




 73
        The PIR indicates the potential area impacted by approximately 5,000 Btu/ft2-hr (15.7 kW/m2), which could result in 1
        percent mortality rate for an exposure of 30 seconds and ignition of buildings constructed of wood. The C-FER report
        that forms the basis of the PIR assumes a 30 second exposure is reasonable based on the assumptions that a person
        exposed to thermal radiation due to a jet fire would remain in their original position for between 1 and 5 seconds, in
        order to evaluate the situation, and subsequently travel at 5 mph (2.5 m/s), in the direction of shelter, and find a shelter
        in 200 feet.




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         If the Project site is approved and begins construction, the proposed Project facilities
 would be within the PIR with portions within 660 feet from the VCP. 74 The additional 5,000
 construction workers and 270 operating personnel that may be within 660ft would require a
 change in class location under 49 CFR 192.609. RG LNG indicated that it anticipates that VCP
 would be required to change the class designation from a Class 1 Area to a Class 3 Area based
 number of workers estimated within 660 feet of the pipeline centerline during construction and
 once the facility is in operation. 75 The change in class location would impact the pipeline design,
 operating, and maintenance requirements. In addition, the VCP would become a HCA based on
 the estimated number of people within the PIR and Enbridge would be required to perform an
 updated HCA analysis and potentially make modifications to the design or operation of the VCP
 in the vicinity of the Project site.

         Specifically, the design factor would change from 0.72 for Class 1 to 0.50 for Class 3, the
 transmission line sectionalizing block valve spacing would change from pipeline being within 10
 miles of a valve for Class 1 locations to the pipeline being within 4 miles of a valve for Class 3
 locations, 76 inspection and testing of welds would change from 10 percent of field butt welds
 having to be tested for Class 1 locations to 100 percent of field butt welds having to be tested for
 Class 3 locations,77 depth of cover of soil or consolidated rock would change from 30 inches of
 cover under normal soil for Class 1 locations to 36 inches for Class 3 locations, test pressures
 would change from testing to a maximum allowable hoop stress up to 80 percent of the specified
 minimum yield strength for Class 1 locations to 30 or 50 percent of specified minimum yield
 strength (depending on test medium) for Class 3 locations, and patrol and leak survey intervals
 would change from 15 month (but at least once per calendar year) maximum intervals for Class 1
 locations to 7.5 months (but at least twice each calendar year) for Class 3 locations. In addition,
 as indicated in the information filed by RG LNG on February 21, 2018, Enbridge indicated that
 the VCP will be incorporated into Enbridge Inc.’s existing comprehensive integrity management
 program (IMP). Any future revisions to Enbridge’s IMP would also be applied to the VCP.
 Enbridge will develop and implement revisions to its existing IMP, as necessary, to comply with
 additional integrity management requirements specified in Texas Railroad Commission
 regulations. Enbridge indicated that in-line inspection (ILI) tools will be utilized for detection of
 metal loss and deformation anomalies, and a baseline ILI tool will be run through the pipeline
 within 10 years after the line goes into service. 78 Enbridge also indicated that subsequent
 reassessments will be done at a maximum interval of 7 calendar years.

        In addition, DOT and FERC requested more information on how the VCP would be
 protected during the initial construction and into the operations stage of the Project. RG LNG


 74
        RGLNG’s Central Control Building is within approximately 575 feet of the VCP PIR and majority of other facilities
        are within PIR.
 75
        See 49 CFR Part 192.5 Class locations.
 76
        Enbridge responses to DOT questions indicate that the amount of natural gas loss in the event of leak or rupture event
        of the Class 1 system would be 87 million standard cubic foot (MMscf) based on pipeline isolation between the
        Brownsville Compressor Station and mainline valve and 2,082 MMscf based on pipeline isolation between the
        mainline valve at MP 146 and at a valve where the receiving pipeline comes onshore in Mexico.
 77
        Unless impractical, in which case at least 90 percent.
 78
        While DOT is aware that VCP has a plan for an ILI launcher facility at the Brownville Compression Station at MP 138
        upstream of the LNG Terminal site, DOT is not yet clear where the ILI pigs will be received to properly conduct future
        instrumented ILI tool inspections in accordance with 49 CFR 192.150 (a) for the VCP to comply with IMP regulations,
        including a baseline ILI within 10 years of the line becoming operational.


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 indicated that extra protective measures would be put in place to mark and warn of the pipeline’s
 route. For example, the VCP would be marked with flagging during construction activities and
 special protective crossings would be constructed to distribute vehicular loads. RG LNG
 indicated that the Project’s access control to the utility corridor would minimize the risk of
 accidental damage to the VCP from external causes and any unauthorized activity on the pipeline
 right-of-way, thereby further managing the already very small risk of a leak or rupture of the
 VCP along the RG LNG Terminal. RG LNG would also place temporary board mats and fill
 over the utility corridor to adequately distribute the load for construction vehicle crossings. RG
 LNG also indicated no other heavy construction activities would occur over the VCP along the
 north and east sides of the LNG Terminal site. RG LNG would replace the temporary crossings
 with permanent crossings at facility access points that distribute the load and prevent long-term
 settling impacts to the VCP. In addition, adjacent construction activities, including grading,
 levee construction, and piling would be offset as to not produce excessive shear forces or loads
 that could impact the VCP. In addition, RG LNG indicated that dredging of the berths/turning
 basin area is not anticipated to impact the VCP because the pipeline will be HDD under the BSC.
 Furthermore, according to Enbridge, the VCP will be part of the “One-Call” System. The VCP
 pipeline will be marked at road/railroad crossing and line of sight through the Class 3 areas.
 Aerial patrols to identify any changes along the right-of-way or potential threats to the pipeline
 will be conducted more frequently than required by 49 CFR 192.705.

         In addition to the potential design changes and mitigation proposed by RG LNG to
 protect the VCP from impacts, FERC staff evaluated the potential risk (consequences and
 likelihood) of incidents from the pipeline and its potential impact. The consequence and
 frequency of an incident will depend on the type of incident. The types of incidents that are
 reported to DOT PHMSA are categorized as ruptures, leaks, mechanical punctures, or other
 incidents, such as releases from emergency shutdown blowdowns, relief valves, or vent valves.
 The consequence of a rupture would be representative of a full guillotine rupture of a line and
 would have similar impact distances to structures as the PIR and potentially farther impact
 distances to people, including cascading damage to the Rio Grande LNG Terminal and
 potentially fatal effects to 5,000 construction workers and 270 operating personnel located onsite
 that are not adequately sheltered. The most probable consequences of the cascading effects
 would not likely extend beyond the consequences of the initiating pipeline incident and would
 not reach the offsite public. The consequence of leaks, mechanical punctures, and other
 incidents would have lesser consequences. RG LNG modeled consequences from a 2-inch
 release, which would be representative of many of these scenarios and the results indicated the
 consequences would not just reach onsite, but would not be expected to cause cascading impacts
 to the RG LNG facilities or likely impact workers (unless in close proximity to the incident).
 However, the likelihood of any pipeline incident or failure is extremely low (less than 4e-4 per
 mile per year or 0.4 percent probability of occurring on any given mile in any given year). A
 worst-case full rupture scenario is even less likely constituting approximately 10 percent of all
 reported incidents with the vast majority of incidents categorized as the less consequential leaks
 (40 percent), mechanical punctures (10 percent), or other incidents (40 percent). In addition, RG
 LNG and VCP indicate the pipeline would likely be re-classed from Class 1 to Class 3, which
 would further reduce the likelihood of ruptures. In fact, there have been no ruptures of Class 3
 interstate natural gas transmissions systems from 2010 to present and those that occurred prior to
 2010 were nearly all pipelines installed prior to 1970.



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          RG LNG estimated the likelihood of a rupture of a 30-inch diameter or greater onshore
 natural gas pipeline to be 8e-6 per mile per year. Based on DOT PHMSA data, the likelihood of
 an interstate natural gas transmission pipeline incident would change from 4e-5 per mile per year
 for Class 1 locations to less than 1e-5 per mile per year for Class 3 locations. While the Class 1
 incident rate for ruptures is above the 3e-5 per year that FERC staff determine as initial screening
 criteria for credible events to consider, the Class 3 incident rate data would be below the 3e-5 per
 year that FERC staff determine as initial screening criteria for credible events to consider. As a
 result, we conclude the Project would not significantly increase the risk to the offsite public
 beyond existing risk levels that would be present from a worst-case pipeline rupture event or
 other incident within the vicinity of the Project site, but recognize there could be a period of time
 the construction workers are subject to risk associated with a Class 1 pipeline rupture until it is
 re-classed to a Class 3 pipeline.

         In addition, the proposed Texas LNG Terminal would border the site to the east. It is
 anticipated that the Intrastate Pipeline for Texas LNG would also be routed within the utility
 corridor. It is also anticipated that the diameter as well as the design and operating pressures of
 the Intrastate Pipeline for Texas LNG would be less than the VCP. Therefore, the potential risk
 of pipeline incidents and their potential impacts discussed for the VCP would also apply to the
 Intrastate Pipeline for Texas LNG. However, to ensure the Project does not significantly
 increase the likelihood of an incident to the pipeline, we recommend in section 4.12.1.7 that RG
 LNG provide calculations demonstrating that the loads would be adequately distributed for the
 temporary crossings during initial construction activities prior to initial site preparation and for
 the permanent crossings prior to construction of final design.

        Hazardous Material Facilities and Power Plants

         FERC staff reviewed whether any EPA RMP regulated facilities handling hazardous
 materials and power plants were located near the site to evaluate whether the facilities could
 adversely increase the risk to the Project site and whether the Project site could increase the risk
 to the EPA RMP facilities and power plants and subsequently increase the risk to the public.
 There were no facilities handling hazardous materials or power plants identified adjacent to the
 site. The closest EPA RMP regulated facilities handling hazardous materials would be the Port
 Isabel Wastewater Treatment Plant located approximately 2.4 miles, Port Isabel Water Treatment
 Plant located approximately 2.5 miles, and Texas Pack, Inc. located approximately 2.4 miles
 from the site. The closest power plant identified would be Silas Ray Gas Plant approximately 18
 miles away with the closest nuclear plant located over 200 miles to the northeast of the site.

          In addition, the proposed Texas LNG Terminal would border the site to the east and the
 proposed Annova LNG Terminal would be located across the BSC. These proposals would be
 subject to 49 CFR Part 193 Subpart B regulatory requirements that establishes exclusion zones
 for safety of plant personnel and the surrounding public. Each proposal would consider potential
 incidents and safety measures that would need to be incorporated in the design or operation to
 ensure risk to surrounding public is not increased. Given the distances and locations of the
 facilities relative to the populated areas of the Port Isabel, South Padre Island, and Brownsville
 communities, we conclude that the proposed Project would not pose a significant increase in risk
 to the public or that the hazardous material facilities and power plants would not pose a
 significant risk to the Project and subsequently to the public.


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        Onsite and Offsite Emergency Response Plans

         As part of its application, RG LNG indicated that the Project would develop a
 comprehensive ERP with local, state, and federal agencies and emergency response officials to
 discuss the facilities. RG LNG would continue these collaborative efforts during the
 development, design, and construction of the Project. The emergency procedures would provide
 for the protection of personnel and the public as well as the prevention of property damage that
 may occur as a result of incidents at the Project facilities. The facility would also provide
 appropriate personnel protective equipment to enable operations personnel and first responder
 access to the area.

         As required by 49 CFR 193.2509, under Subpart F, RG LNG would need to prepare
 emergency procedures manuals that provide for: a) responding to controllable emergencies and
 recognizing an uncontrollable emergency; b) taking action to minimize harm to the public
 including the possible need to evacuate the public; and c) coordination and cooperation with
 appropriate local officials. Specifically, 49 CFR 193.2509 (b) (3) requires “Coordinating with
 appropriate local officials in preparation of an emergency evacuation plan…,” which sets forth
 the steps required to protect the public in the event of an emergency, including catastrophic
 failure of an LNG storage tank. DOT regulations under 49 CFR 193.2905, under Subpart J also
 require at least two access points in each protective enclosure to be located to minimize the
 escape distance in the event of emergency.

         Title 33 CFR 127.307 also requires the development of emergency manual that
 incorporates additional material, including LNG release response and ESD procedures, a
 description of fire equipment, emergency lighting, and power systems, telephone contacts,
 shelters, and first-aid procedures. In addition, 33 CFR 127.207 establishes requirements for
 warning alarm systems. Specifically, 33 CFR 127.207 (a) requires that the LNG marine transfer
 area to be equipped with a rotating or flashing amber light with a minimum effective flash
 intensity, in the horizontal plane, of 5000 candelas with at least 50 percent of the required
 effective flash intensity in all directions from 1.0 degree above to 1.0 degree below the
 horizontal plane. Furthermore, 33 CFR 127.207 (b) requires the marine transfer area for LNG to
 have a siren with a minimum 1/3-octave band sound pressure level at l meter of 125 dB
 referenced to 0.0002 microbars. The siren must be located so that the sound signal produced is
 audible over 360 degrees in a horizontal plane. Lastly, 33 CFR 127.207 (c) requires that each
 light and siren be located so that the warning alarm is not obstructed for a distance of 1.6 km (1
 mile) in all directions. The warning alarms would be required to be tested in order to meet 33
 CFR 127. RG LNG would be required to meet the warning alarms requirements specified in 33
 CFR 127.207.

         In accordance with the EPAct 2005, FERC must also approve an ERP covering the
 terminal and ship transit prior to construction. Section 3A(e) of the NGA, added by section 311
 of the EPAct 2005, stipulates that in any order authorizing an LNG terminal, the Commission
 must require the LNG terminal operator to develop an ERP in consultation with the Coast Guard
 and state and local agencies. The final ERP would need to be evaluated by appropriate
 emergency response personnel and officials. Section 3A(e) of the NGA (as amended by EPAct
 2005) specifies that the ERP must include a Cost-Sharing Plan that contains a description of any
 direct cost reimbursements the applicant agrees to provide to any state and local agencies with


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 responsibility for security and safety at the LNG terminal and in proximity to LNG marine
 vessels that serve the facility. The Cost-Sharing Plan must specify what the LNG terminal
 operator would provide to cover the cost of the state and local resources required to manage the
 security of the LNG terminal and LNG marine vessel, and the state and local resources required
 for safety and emergency management, including:

        •   direct reimbursement for any per-transit security and/or emergency management costs
            (for example, overtime for police or fire department personnel);

        •   capital costs associated with security/emergency management equipment and
            personnel base (for example, patrol boats, firefighting equipment); and

        •   annual costs for providing specialized training for local fire departments, mutual aid
            departments, and emergency response personnel; and for conducting exercises.

         The Cost-Sharing Plan must include the LNG terminal operator’s letter of commitment
 with agency acknowledgement for each state and local agency designated to receive resources.
 RG LNG described the ERP that would be developed to addresses emergency events and
 potential release scenarios described in the application. The ERP would include public
 notification, protection, and evacuation. As part of FEED, FERC staff evaluate the initial draft
 of the emergency response procedures to assure that it covers the hazards associated with the
 Project. In addition, we recommend in section 4.12.1.7 that RG LNG provide additional
 information, for review and approval, on development of updated ERPs prior to initial site
 preparation. We also recommend in section 4.12.1.7 that RG LNG file three-dimensional
 drawings, for review and approval, that demonstrate there is a sufficient number of access and
 egress locations.

          If this Project is authorized, constructed, and operated, RG LNG would coordinate with
 local, state, and federal agencies on the development of an ERP and Cost-Sharing Plan. We
 recommend in section 4.12.1.7 that RG LNG provide periodic updates on the development of
 these plans for review and approval, and ensure they are in place prior to introduction of
 hazardous fluids. In addition, we recommend in section 4.12.1.7 that Project facilities be subject
 to regular inspections throughout the life of the facility and would continue to require companies
 to file updates to the ERP.

 4.12.1.7       Recommendations from FERC Preliminary Engineering and Technical
                Review

         Based on our preliminary engineering and technical review of the reliability and safety of
 the Project, we recommend the following mitigation measures as conditions to any order
 authorizing the Project. These recommendations would be implemented prior to initial site
 preparation, prior to construction of final design, prior to commissioning, prior to introduction of
 hazardous fluids, prior to commencement of service, and throughout the life of the facility to
 enhance the reliability and safety of the facility and to mitigate the risk of impact on the public.

        •   Prior to initial site preparation, RG LNG should file with the Secretary
            documentation demonstrating LNG marine vessels would be no higher than


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           existing ship traffic or it has received a determination of no hazard (with or
           without conditions) by DOT FAA for mobile objects that exceed the height
           requirements in 14 CFR 77.9.

       •   Prior to initial site preparation, RG LNG should file with the Secretary a plan to
           conduct a supplemental geotechnical investigation for the all four LNG Tanks and
           piperack along the south face of the facility, including a geotechnical investigation
           location plan with spacing of no more than 300 feet, a minimum of five equally
           distributed borings, cone penetration tests, and/or seismic cone penetration tests
           to a depth of at least 100 feet or refusal underneath the locations of each LNG
           storage tank, and field sampling methods and laboratory tests that are at least as
           comprehensive as the existing geotechnical investigations. In addition, the
           geotechnical investigations and report must demonstrate soil modifications and
           foundation designs would be similar to areas already investigated.

       •   Prior to construction of final design, RG LNG should file with the Secretary
           correspondence with DOT on the use of normally-closed valves to remove
           stormwater from local bunds and curbed areas.

       •   Prior to construction of final design, RG LNG should file with the Secretary the
           following information, stamped and sealed by the professional engineer-of-record
           licensed in the state where the Project is being constructed:

           a. site preparation drawings and specifications;

           b. LNG storage tank and foundation design drawings and calculations;

           c. LNG terminal structures and foundation design drawings and
              calculations;

           d. seismic specifications for procured Seismic Category I equipment; and

           e. quality control procedures to be used for civil/structural design and
              construction.

           In addition, RG LNG should file, in its Implementation Plan, the schedule
           for producing this information.

       •   Prior to construction of final design, RG LNG should file with the Secretary
           design information adopting the recommendations presented by Fugro to
           minimize the impacts of the identified surface growth fault in the southwestern
           portion of the LNG Terminal, stamped and sealed by the professional engineer-
           of-record registered in Texas.

       •   Prior to commencement of service, RG LNG should file with the Secretary a
           monitoring and maintenance plan, stamped and sealed by the professional
           engineer-of-record registered in Texas, for the perimeter levee which ensures the



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            crest elevation relative to mean sea level will be maintained for the life of the
            facility considering berm settlement, subsidence, and sea level rise.

        Information pertaining to these specific recommendations should be filed with the
 Secretary for review and written approval by the Director of OEP, or the Director’s
 designee, within the timeframe indicated by each recommendation. Specific engineering,
 vulnerability, or detailed design information meeting the criteria specified in Order No. 833
 (Docket No. RM16-15-000), including security information, should be submitted as critical
 energy infrastructure information pursuant to 18 CFR 388.113. See Critical Electric
 Infrastructure Security and Amending Critical Energy Infrastructure Information, Order No.
 833, 81 FR 93,732 (December 21, 2016), FERC Stats. & Regs. 31,389 (2016). Information
 pertaining to items such as offsite emergency response, procedures for public notification
 and evacuation, and construction and operating reporting requirements would be subject
 to public disclosure. All information should be filed a minimum of 30 days before approval
 to proceed is requested.

        •   Prior to initial site preparation, RG LNG should develop and implement
            procedures to monitor rocket launch activity and to position onsite construction
            crews and plant personnel in areas that are unlikely to be impacted by rocket
            debris of a failed launch during initial moments of rocket launch activity from the
            Brownsville SpaceX facility. RG LNG’s procedures for positioning of onsite
            construction crews and plant personnel should include reference to any guidance
            from the FAA to the public regarding anticipated SpaceX launches.

        •   Prior to initial site preparation, RG LNG should file calculations demonstrating
            the loads on buried pipelines and utilities at temporary crossings would be
            adequately distributed. The analysis should be based on API RP 1102 or other
            approved methodology.

        •   Prior to initial site preparation, RG LNG should file pipeline and utility damage
            prevention procedures for personnel and contractors. The procedures should
            include provisions to mark buried pipelines and utilities prior to any site work
            and subsurface activities.

        •   Prior to initial site preparation, RG LNG should file an overall Project schedule,
            which includes the proposed stages of the commissioning plan.

        •   Prior to initial site preparation, RG LNG should file quality assurance and quality
            control procedures for construction activities.

        •   Prior to initial site preparation, RG LNG should file procedures for controlling
            access during construction.

        •   Prior to initial site preparation, RG LNG should file its design wind speed criteria
            for all other facilities not covered by DOT PHMSA’s LOD to be designed to
            withstand wind speeds commensurate with the risk and reliability associated with
            the facilities in accordance with ASCE 7-16 or equivalent.


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       •   Prior to initial site preparation, RG LNG should develop an ERP (including
           evacuation) and coordinate procedures with the Coast Guard; state, county, and
           local emergency planning groups; fire departments; state and local law
           enforcement; and appropriate federal agencies. This plan should include at a
           minimum:

           a. designated contacts with state and local emergency response agencies;

           b. scalable procedures for the prompt notification of appropriate local
              officials and emergency response agencies based on the level and
              severity of potential incidents;

           c. procedures for notifying residents and recreational users within areas
              of potential hazard;

           d. evacuation routes/methods for residents and public use areas that are
              within any transient hazard areas along the route of the LNG marine
              transit;

           e. locations of permanent sirens and other warning devices; and

           f. an “emergency coordinator” on each LNG marine vessel to activate
              sirens and other warning devices.

           RG LNG should notify the FERC staff of all planning meetings in advance and
           should report progress on the development of its ERP at 3-month intervals.

       •   Prior to initial site preparation, RG LNG should file a Cost-Sharing Plan
           identifying the mechanisms for funding all Project-specific security/emergency
           management costs that would be imposed on state and local agencies. This
           comprehensive plan should include funding mechanisms for the capital costs
           associated with any necessary security/emergency management equipment and
           personnel base. RG LNG should notify FERC staff of all planning meetings in
           advance and should report progress on the development of its Cost-Sharing Plan
           at 3-month intervals.

       •   Prior to construction of final design, RG LNG should file calculations
           demonstrating the loads on buried pipelines and utilities at permanent crossings
           would be adequately distributed. The analysis should be based on API RP 1102
           or other approved methodology.

       •   Prior to construction of final design, RG LNG should file change logs that list and
           explain any changes made from the front end engineering design provided in RG
           LNG’s application and filings. A list of all changes with an explanation for the
           design alteration should be provided and all changes should be clearly indicated
           on all diagrams and drawings.




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       •   Prior to construction of final design, RG LNG should file information/revisions
           pertaining to RG LNG’ response numbers 5, 6, 7, 8, 14, 19, 22, 24, 25, 31, and 44
           of its October 20, 2016 filing, which indicated features to be included or considered
           in the final design.

       •   Prior to construction of final design, RG LNG should file a plot plan of the final
           design showing all major equipment, structures, buildings, and impoundment
           systems.

       •   Prior to construction of final design, RG LNG should file three-dimensional plant
           drawings to confirm plant layout for maintenance, access, egress, and congestion.

       •   Prior to construction of final design, RG LNG should file an up-to-date equipment
           list, process and mechanical data sheets, and specifications. The specifications
           should include:

           a. Building Specifications (e.g., control buildings, electrical buildings,
              compressor buildings, storage buildings, pressurized buildings,
              ventilated buildings, blast resistant buildings);

           b. Mechanical Specifications (e.g., piping, valve, insulation, rotating
              equipment, heat exchanger, storage tank and vessel, other specialized
              equipment);

           c. Electrical and Instrumentation Specifications (e.g., power system
              specifications, control system specifications, safety instrument system
              [SIS] specifications, cable specifications, other electrical and
              instrumentation specifications); and

           d. Security and Fire Safety Specifications (security, passive protection,
              hazard detection, hazard control, firewater).

       •   Prior to construction of final design, RG LNG should file a list of all codes and
           standards and the final specification document number where they are
           referenced.

       •   Prior to construction of final design, RG LNG should file complete specifications
           and drawings of the proposed LNG tank design and installation.

       •   Prior to construction of final design, RG LNG should file the design specifications
           and drawings for the feed gas inlet facilities (e.g., metering, pigging system,
           pressure protection system, compression, etc.).

       •   Prior to construction of final design, RG LNG should include up-to-date process
           flow diagrams and piping and instrument diagrams (P&IDs) including vendor
           P&IDs. The process flow diagrams should include heat and material balances.
           The P&IDs should include the following information:



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           a. equipment tag number, name, size, duty, capacity, and design
              conditions;

           b. equipment insulation type and thickness;

           c. storage tank pipe penetration size and nozzle schedule;

           d. valve high-pressure side and internal and external vent locations;

           e. piping with line number, piping class specification, size, and insulation
              type and thickness;

           f. piping specification breaks and insulation limits;

           g. all control and manual valves numbered;

           h. relief valves with size and set points; and

           i. drawing revision number and date.

       •   Prior to construction of final design, RG LNG should file P&IDs, specifications,
           and procedures that clearly show and specify the tie-in details required to safely
           connect subsequently constructed facilities with the operational facilities.

       •   Prior to construction of final design, RG LNG should file a car seal philosophy
           and a list of all car-sealed and locked valves consistent with the P&IDs.

       •   Prior to construction of final design, and at the onset of detailed engineering, RG
           LNG should compete a preliminary hazard and operability review of the proposed
           design. A copy of the review, a list of recommendations, and actions taken on the
           recommendations should be filed.

       •   Prior to construction of final design, RG LNG should file a hazard and operability
           review prior to issuing the P&IDs for construction. A copy of the review, a list of
           the recommendations, and actions taken on the recommendations should be filed.

       •   Prior to construction of final design, RG LNG should file an evaluation of the need
           for additional check valves and relief valves in the truck LNG fill line.

       •   Prior to construction of final design, RG LNG should file the safe operating limits
           (upper and lower), alarm and shutdown set points for all instrumentation (i.e.,
           temperature, pressures, flows, and compositions).

       •   Prior to construction of final design, RG LNG should file cause-and-effect
           matrices for the process instrumentation, fire and gas detection system, and
           emergency shutdown system. The cause-and-effect matrices should include
           alarms and shutdown functions, details of the voting and shutdown logic, and set
           points.


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       •   Prior to construction of final design, RG LNG should file an evaluation of
           emergency shutdown valve closure times. The evaluation should account for the
           time to detect an upset or hazardous condition, notify plant personnel, and close
           the emergency shutdown valve(s).

       •   Prior to construction of final design, RG LNG should file an evaluation of dynamic
           pressure surge effects from valve opening and closure times and pump start-up
           and shutdown operations demonstrating that that the surge effects do not exceed
           the design pressures.

       •   Prior to construction of final design, RG LNG should demonstrate that, for
           hazardous fluids, piping and piping nipples 2 inches or less in diameter are
           designed to withstand external loads, including vibrational loads in the vicinity of
           rotating equipment and operator live loads in areas accessible by operators.

       •   Prior to construction of final design, RG LNG should file electrical area
           classification drawings that reflect additional hazardous classification areas
           where the heat transfer fluid would be processed above its flash point (e.g., near
           the heat medium heaters) and at areas of fuel gas piping (e.g., fired heaters),
           including areas where equipment could be exposed to flammable gas during a
           purge cycle of a fired heater.

       •   Prior to construction of final design, RG LNG should file drawings and details of
           how process seals or isolations installed at the interface between a flammable fluid
           system and an electrical conduit or wiring system meet the requirements of NFPA
           59A (2001).

       •   Prior to construction of final design, RG LNG should file details of an air gap or
           vent installed downstream of process seals or isolations installed at the interface
           between a flammable fluid system and an electrical conduit or wiring system.
           Each air gap should vent to a safe location and be equipped with a leak detection
           device that should continuously monitor for the presence of a flammable fluid,
           alarm the hazardous condition, and shut down the appropriate systems.

       •   Prior to construction of final design, RG LNG should file drawings of the storage
           tank piping support structure and support of horizontal piping at grade including
           pump columns, relief valves, pipe penetrations, instrumentation, and
           appurtenances.

       •   Prior to construction of final design, RG LNG should include LNG storage tank
           fill flow measurement with high flow alarm.

       •   Prior to construction of final design, RG LNG should include BOG flow
           measurement from each LNG storage tank.




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       •   Prior to construction of final design, RG LNG should file the structural analysis
           of the LNG storage tank and outer containment demonstrating they are designed
           to withstand all loads and combinations.

       •   Prior to construction of final design, RG LNG should file an analysis of the
           structural integrity of the outer containment of the full-containment LNG storage
           tank demonstrating it can withstand the radiant heat from a roof tank top fire or
           adjacent tank roof fire.

       •   Prior to construction of final design, RG LNG should file a projectile analysis to
           demonstrate that the outer concrete impoundment wall of the full-containment
           LNG tank could withstand projectiles from explosions and high winds. The
           analysis should detail the projectile speeds and characteristics and method used
           to determine penetration or perforation depths.

       •   Prior to construction of final design, RG LNG should file the sizing basis and
           capacity for the final design of the flares and/or vent stacks as well as the pressure
           and vacuum relief valves for major process equipment, vessels, and storage tanks.

       •   Prior to construction of final design, RG LNG should file a drawing showing the
           location of the emergency shutdown (ESD) buttons. ESD buttons should be easily
           accessible, conspicuously labeled, and located in an area which would be
           accessible during an emergency.

       •   Prior to construction of final design, RG LNG should specify that all ESD valves
           are to be equipped with open and closed position switches connected to the
           Distributed Control System/Safety Instrumented System.

       •   Prior to construction of final design, and prior to injecting corrosion inhibitors
           into the 42-inch pipeline at any time during the life of the plant, RG LNG should
           provide the information used to determine that an inhibitor is required, the
           material data sheet for the inhibitor, the amount injected, and the schedule of
           injections.

       •   Prior to construction of final design, the feed gas flow to the Inlet Gas/Gas
           Exchanger (E-1701) should include a high temperature alarm and shutdown to
           protect from exposure to hot feed gas.

       •   Prior to construction of final design, the De-ethanizer (C-1701) should include an
           additional cryogenic manual isolation valve downstream of shutoff valve (XV-
           117011).

       •   Prior to construction of final design, RG LNG should equip a low-low temperature
           shutdown on the temperature transmitter (TT-117014) located on the de-
           ethanizer bottoms discharge piping to detect temperatures that may reach below
           the minimum design metal temperature of the discharge piping transition from



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           stainless to carbon steel. This shutdown should include isolation under cryogenic
           conditions.

       •   Prior to construction of final design, RG LNG should file an explanation and
           justification for the dump lines located upstream of each LNG Loading Arm.

       •   Prior to construction of final design, RG LNG should file the complete range of
           anti-surge recycle conditions on the LP MR Compressor to confirm that the
           minimum temperature conditions would not require stainless steel piping.

       •   Prior to construction of final design, RG LNG should specify the set pressure of
           high-pressure alarm (PAH-141002) is to be below the set pressure of regulator
           PCV-141005 on the Hot Oil Expansion Drum.

       •   Prior to construction of final design, RG LNG should file the design details of the
           shelters to verify safe access in all weather conditions.

       •   Prior to construction of final design, RG LNG should file drawings and
           specifications for crash rated vehicle barriers at each facility entrance for access
           control.

       •   Prior to construction of final design, RG LNG should file drawings of the security
           fence. The fencing drawings should provide details of fencing that demonstrates
           it would restrict and deter access around the entire facility and has a setback from
           exterior features (e.g., power lines, trees, etc.) and from interior features (e.g.,
           piping, equipment, buildings, etc.) that does not allow the fence to be overcome.

       •   Prior to construction of final design, RG LNG should file security camera and
           intrusion detection drawings. The security camera drawings should show the
           locations, areas covered, and features of each camera (e.g., fixed, tilt/pan/zoom,
           motion detection alerts, low-light, mounting height, etc.) to verify camera
           coverage of the entire perimeter with redundancies, and cameras interior to the
           facility that would enable rapid monitoring of the terminal, including a camera at
           the top of each LNG storage tank, and coverage within pretreatment areas, within
           liquefaction areas, within truck transfer areas, within marine transfer areas, and
           buildings. The drawings should show or note the location of the intrusion
           detection to verify it covers the entire perimeter of the terminal.

       •   Prior to construction of final design, RG LNG should file lighting drawings. The
           lighting drawings should show the location, elevation, type of light fixture, and lux
           levels of the lighting system and should be in accordance with API 540 and provide
           illumination along the entire perimeter of the facility, process equipment, mooring
           points, and along paths/roads of access and egress to facilitate security monitoring
           and emergency response operations.

       •   Prior to construction of final design, RG LNG should evaluate the terminal alarm
           system and external notification system design to ensure the location of the


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           terminal alarms and other fire and evacuation alarm notification devices (e.g.
           audible/visual beacons and strobes) would provide adequate warning at the
           terminal and external offsite areas in the event of an emergency.

       •   Prior to construction of final design, RG LNG should file an updated fire
           protection evaluation of the proposed facilities. A copy of the evaluation, a list of
           recommendations and supporting justifications, and actions taken on the
           recommendations should be filed. The evaluation should justify the type,
           quantity, and location of hazard detection and hazard control, passive fire
           protection, emergency shutdown and depressurizing systems, firewater, and
           emergency response equipment, training, and qualifications in accordance with
           NFPA 59A (2001). The justification for the flammable and combustible gas
           detection and flame and heat detection should be in accordance with ISA 84.00.07
           or equivalent methodologies that would demonstrate 90 percent or more of
           releases (unignited and ignited) that could result in an offsite or cascading impact
           would be detected by two or more detectors and result in isolation and de-
           inventory within 10 minutes. The analysis should take into account the set points,
           voting logic, wind speeds, and wind directions. The justification for firewater
           should provide calculations for all firewater demands (including firewater
           coverage on the LNG storage tanks) based on design densities, surface area, and
           throw distance and specifications for the corresponding hydrant and monitors
           needed to reach and cool equipment.

       •   Prior to construction of final design, RG LNG should file spill containment system
           drawings with dimensions and slopes of curbing, trenches, impoundments, and
           capacity calculations considering any foundations and equipment within
           impoundments, as well as the sizing and design of the down-comer that would
           transfer spills from the tank top to the ground-level impoundment system. The
           spill containment drawings should show containment for all hazardous fluids,
           including all liquids handled above their flashpoint, from the largest flow from a
           single line for 10 minutes, including de-inventory, or the maximum liquid from
           the largest vessel (or total of impounded vessels) or otherwise demonstrate that
           providing spill containment would not significantly reduce the flammable vapor
           dispersion or radiant heat consequences of a spill. In addition, RG LNG should
           demonstrate that the stainless steel piping spill trays at each LNG storage tank
           would withstand the force and shock of a sudden cryogenic release.

       •   Prior to construction of final design, RG LNG should file an analysis
           demonstrating the side on overpressures would be less than 1 psi at the LNG
           storage tanks and the condensate storage tanks, or demonstrating the tanks would
           be able to withstand overpressures within the terminal.

       •   Prior to construction of final design, RG LNG should file complete drawings and
           a list of the hazard detection equipment. The drawings should clearly show the
           location and elevation of all detection equipment. The list should include the
           instrument tag number, type and location, alarm indication locations, and
           shutdown functions of the hazard detection equipment.


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       •   Prior to construction of final design, RG LNG should file a list of alarm and
           shutdown set points for all hazard detectors that account for the calibration gas
           of the hazard detectors when determining the lower flammable limit set points for
           methane, propane, ethane/ethylene, and condensate.

       •   Prior to construction of final design, RG LNG should file a list of alarm and
           shutdown set points for all hazard detectors that account for the calibration gas
           of hazard detectors when determining the set points for toxic components such as
           natural gas liquids and hydrogen sulfide.

       •   Prior to construction of final design, RG LNG should file a technical review of
           facility design that:

           a. identifies all combustion/ventilation air intake equipment and the
              distances to any possible flammable gas or toxic release; and

           b. demonstrates that these areas are adequately covered by hazard
              detection devices and indicates how these devices would isolate or shut
              down any combustion or heating ventilation and air conditioning
              equipment whose continued operation could add to or sustain an
              emergency.

       •   Prior to construction of final design, RG LNG should file an analysis of the off
           gassing of hydrogen in battery rooms and ventilation calculations that limit
           concentrations below the lower flammability limits (e.g., 25 percent LFL) and
           should also provide hydrogen detectors that alarm (e.g., 20 to 25 percent LFL)
           and initiate mitigative actions (e.g., 40 to 50 percent LFL).

       •   Prior to construction of final design, RG LNG should file plan drawings and a list
           of the fixed and wheeled dry-chemical, handheld fire extinguishers, and other
           hazard control equipment. Plan drawings should clearly show the location and
           elevation by tag number of all fixed dry chemical systems in accordance with
           NFPA 17, wheeled and handheld extinguishers location travel distances are along
           normal paths of access and egress in accordance with NFPA 10. The list should
           include the equipment tag number, type, capacity, equipment covered, discharge
           rate, and automatic and manual remote signals initiating discharge of the units.

       •   Prior to construction of final design, RG LNG should file a design that includes
           clean agent systems in the instrumentation buildings and electrical substations.

       •   Prior to construction of final design, RG LNG should file facility plan drawings
           showing the proposed location of the firewater and any foam systems. Plan
           drawings should clearly show the location of firewater and foam piping, post
           indicator valves, and the location and area covered by each monitor, hydrant,
           hose, water curtain, deluge system, foam system, water mist system, and sprinkler.
           The drawings should also include piping and instrumentation diagrams of the



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           firewater and foam systems. In addition, firewater coverage should include the
           coverage of each LNG storage tank.

       •   Prior to construction of final design, RG LNG should demonstrate that the
           firewater tank would be in compliance with NFPA 22 or demonstrate how API
           650 provides an equivalent or better level of safety.

       •   Prior to construction of final design, RG LNG should specify that the firewater
           flow test meter is equipped with a transmitter and that a pressure transmitter is
           installed upstream of the flow transmitter. The flow transmitter and pressure
           transmitter should be connected to the Distributed Control System and recorded.

       •   Prior to construction of final design, RG LNG should specify the dimension ratio
           (DR) to be DR 7 for the high density polyethylene piping to allow consistent
           pressure rating requirements with the firewater system.

       •   Prior to construction of final design, RG LNG should file drawings and
           specifications for the structural passive protection systems to protect equipment
           and supports from cryogenic releases.

       •   Prior to construction of final design, RG LNG should file calculations or test
           results for the structural passive protection systems to demonstrate that
           equipment and supports are protected from cryogenic releases.

       •   Prior to construction of final design, RG LNG should file drawings and
           specifications for the structural passive protection systems to demonstrate the
           equipment and supports are protected from pool and jet fires.

       •   Prior to construction of final design, RG LNG should file a detailed quantitative
           analysis to demonstrate that adequate mitigation would be provided for each
           significant component within the 4,000 Btu/ft2-hr zone from pool and jet fires that
           could cause failure of the component, including the Jetty Monitor Buildings and
           the LNG Storage and Loading Substation 2.                  Trucks at the truck
           loading/unloading areas should be included in the analysis. A combination of
           passive and active protection for pool fires and passive and/or active protection
           for jet fires should be provided and demonstrate the effectiveness and reliability.
           Effectiveness of passive mitigation should be supported by calculations or test
           results for the thickness limiting temperature rise and active mitigation should be
           justified with calculations or test results demonstrating flow rates and durations
           of any cooling water would mitigate the heat absorbed by the vessel.

       •   Prior to construction of final design, RG LNG should file specifications and
           drawings demonstrating how cascading damage of transformers would be
           prevented (e.g., firewalls or spacing) in accordance with NFPA 850 or equivalent.

       •   Prior to construction of final design, RG LNG should file an evaluation of the
           voting logic and voting degradation for hazard detectors.


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       •   Prior to commissioning, RG LNG should file a detailed schedule for
           commissioning through equipment start-up. The schedule should include
           milestones for all procedures and tests to be completed: prior to introduction of
           hazardous fluids and during commissioning and start-up. RG LNG should file
           documentation certifying that each of these milestones has been completed before
           authorization to commence the next phase of commissioning and start-up will be
           issued.

       •   Prior to commissioning, RG LNG should file detailed plans and procedures for:
           testing the integrity of onsite mechanical installation; functional tests;
           introduction of hazardous fluids; operational tests; and placing the equipment
           into service.

       •   Prior to commissioning, RG LNG should file the procedures for pressure/leak
           tests which address the requirements of ASME VIII and ASME B31.3. The
           procedures should include a line list of pneumatic and hydrostatic test pressures.

       •   Prior to commissioning, RG LNG should file a plan for clean-out, dry-out,
           purging, and tightness testing. This plan should address the requirements of the
           American Gas Association’s Purging Principles and Practice, and should provide
           justification if not using an inert or non-flammable gas for clean-out, dry-out,
           purging, and tightness testing.

       •   Prior to commissioning, RG LNG should file the operation and maintenance
           procedures and manuals, as well as safety procedures, hot work procedures and
           permits, abnormal operating conditions reporting procedures, simultaneous
           operations procedures, and management of change procedures and forms.

       •   Prior to commissioning, RG LNG should tag all equipment, instrumentation, and
           valves in the field, including drain valves, vent valves, main valves, and car-sealed
           or locked valves.

       •   Prior to commissioning, RG LNG should file a plan to maintain a detailed training
           log to demonstrate that operating, maintenance, and emergency response staff
           have completed the required training.

       •   Prior to commissioning, RG LNG should file the settlement results from
           hydrostatic testing the LNG storage containers as well as a routine monitoring
           program to ensure settlements are as expected and do not exceed applicable
           criteria in API 620, API 625, API 653, and ACI 376. The program should specify
           what actions would be taken after seismic events.

       •   Prior to commissioning, RG LNG should equip the LNG storage tank and
           adjacent piping and supports with permanent settlement monitors to allow
           personnel to observe and record the relative settlement between the LNG storage
           tank and adjacent piping. The settlement record should be reported in the semi-
           annual operational reports.


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       •   Prior to introduction of hazardous fluids, RG LNG should complete and
           document all pertinent tests (e.g., Factory Acceptance Tests, Site Acceptance
           Tests, Site Integration Tests) associated with the Distributed Control
           System/Safety Instrumented System that demonstrates full functionality and
           operability of the system.

       •   Prior to introduction of hazardous fluids, RG LNG should develop and implement
           an alarm management program to reduce alarm complacency and maximize the
           effectiveness of operator response to alarms.

       •   Prior to introduction of hazardous fluids, RG LNG should develop and implement
           procedures for plant personnel to monitor the rocket launches from the
           Brownsville SpaceX facility and take mitigative actions before and after a rocket
           launch failure to minimize the potential of release reaching offsite areas or
           resulting in cascading effects that could extend offsite or impact safe operations.

       •   Prior to introduction of hazardous fluids, RG LNG should complete a firewater
           pump acceptance test and firewater monitor and hydrant coverage test. The
           actual coverage area from each monitor and hydrant should be shown on facility
           plot plan(s).

       •   Prior to introduction of hazardous fluids, RG LNG should complete and
           document a pre-startup safety review to ensure that installed equipment meets the
           design and operating intent of the facility. The pre-startup safety review should
           include any changes since the last hazard review, operating procedures, and
           operator training. A copy of the review with a list of recommendations, and
           actions taken on each recommendation, should be filed.

       •   RG LNG should file a request for written authorization from the Director of OEP
           prior to unloading or loading the first LNG commissioning cargo. After
           production of first LNG, RG LNG should file weekly reports on the
           commissioning of the proposed systems that detail the progress toward
           demonstrating the facilities can safely and reliably operate at or near the design
           production rate. The reports should include a summary of activities, problems
           encountered, and remedial actions taken. The weekly reports should also include
           the latest commissioning schedule, including projected and actual LNG
           production by each liquefaction train, LNG storage inventories in each storage
           tank, and the number of anticipated and actual LNG commissioning cargoes,
           along with the associated volumes loaded or unloaded. Further, the weekly
           reports should include a status and list of all planned and completed safety and
           reliability tests, work authorizations, and punch list items. Problems of significant
           magnitude should be reported to the FERC within 24 hours.

       •   Prior to commencement of service, RG LNG should label piping with fluid service
           and direction of flow in the field, in addition to the pipe labeling requirements of
           NFPA 59A (2001 edition).



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       •   Prior to commencement of service, RG LNG should file plans for any preventative
           and predictive maintenance program that performs periodic or continuous
           equipment condition monitoring.

       •   Prior to commencement of service, RG LNG should develop procedures for offsite
           contractors’ responsibilities, restrictions, and limitations and for supervision of
           these contractors by RG LNG staff.

       •   Prior to commencement of service, RG LNG should notify the FERC staff of any
           proposed revisions to the security plan and physical security of the plant.

       •   Prior to commencement of service, RG LNG should file a request for written
           authorization from the Director of OEP. Such authorization would only be
           granted following a determination by the Coast Guard, under its authorities
           under the Ports and Waterways Safety Act, the Magnuson Act, the MTSA of 2002,
           and the Security and Accountability For Every Port Act, that appropriate
           measures to ensure the safety and security of the facility and the waterway have
           been put into place by RG LNG or other appropriate parties.

      The following recommendations would apply throughout the life of the Rio Grande
 LNG Terminal:

       •   The facilities should be subject to regular FERC staff technical reviews and site
           inspections on at least an annual basis or more frequently as circumstances
           indicate. Prior to each FERC staff technical review and site inspection, RG LNG
           should respond to a specific data request including information relating to
           possible design and operating conditions that may have been imposed by other
           agencies or organizations.       Up-to-date detailed P&IDs reflecting facility
           modifications and provision of other pertinent information not included in the
           semi-annual reports described below, including facility events that have taken
           place since the previously submitted annual report, should be submitted.

       •   Semi-annual operational reports should be filed with the Secretary to identify
           changes in facility design and operating conditions; abnormal operating
           experiences; activities (e.g., ship arrivals, quantity and composition of imported
           and exported LNG, liquefied quantities, boil-off/flash gas); and plant
           modifications, including future plans and progress thereof. Abnormalities should
           include, but not be limited to, unloading/loading/shipping problems, potential
           hazardous conditions from offsite vessels, storage tank stratification or rollover,
           geysering, storage tank pressure excursions, cold spots on the storage tanks,
           storage tank vibrations and/or vibrations in associated cryogenic piping, storage
           tank settlement, significant equipment or instrumentation malfunctions or
           failures, non-scheduled maintenance or repair (and reasons therefore), relative
           movement of storage tank inner vessels, hazardous fluids releases, fires involving
           hazardous fluids and/or from other sources, negative pressure (vacuum) within a
           storage tank, and higher than predicted boil-off rates. Adverse weather
           conditions and the effect on the facility also should be reported. Reports should


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           be submitted within 45 days after each period ending June 30 and December 31.
           In addition to the above items, a section entitled “Significant Plant Modifications
           Proposed for the Next 12 Months (dates)” should be included in the semi-annual
           operational reports. Such information would provide the FERC staff with early
           notice of anticipated future construction/maintenance at the LNG facilities.

       •   In the event the temperature of any region of any secondary containment,
           including imbedded pipe supports, becomes less than the minimum specified
           operating temperature for the material, the Commission should be notified within
           24 hours and procedures for corrective action should be specified.

       •   Significant non-scheduled events, including safety-related incidents (e.g., LNG,
           condensate, refrigerant, or natural gas releases; fires; explosions; mechanical
           failures; unusual over pressurization; and major injuries) and security-related
           incidents (e.g., attempts to enter site, suspicious activities) should be reported to
           the FERC staff. In the event that an abnormality is of significant magnitude to
           threaten public or employee safety, cause significant property damage, or
           interrupt service, notification should be made immediately, without unduly
           interfering with any necessary or appropriate emergency repair, alarm, or other
           emergency procedure. In all instances, notification should be made to the FERC
           staff within 24 hours. This notification practice should be incorporated into the
           LNG facility’s emergency plan. Examples of reportable hazardous fluids-related
           incidents include:

           a. fire;

           b. explosion;

           c. estimated property damage of $50,000 or more;

           d. death or personal injury necessitating in-patient hospitalization;

           e. release of hazardous fluids for 5 minutes or more;

           f. unintended movement or abnormal loading by environmental causes,
              such as an earthquake, landslide, or flood, that impairs the
              serviceability, structural integrity, or reliability of an LNG facility that
              contains, controls, or processes hazardous fluids;

           g. any crack or other material defect that impairs the structural integrity
              or reliability of an LNG facility that contains, controls, or processes
              hazardous fluids;

           h. any malfunction or operating error that causes the pressure of a
              pipeline or LNG facility that contains or processes hazardous fluids to
              rise above its maximum allowable operating pressure (or working
              pressure for LNG facilities) plus the build-up allowed for operation of
              pressure-limiting or control devices;


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            i. a leak in an LNG facility that contains or processes hazardous fluids
               that constitutes an emergency;

            j. inner tank leakage, ineffective insulation, or frost heave that impairs
               the structural integrity of an LNG storage tank;

            k. any safety-related condition that could lead to an imminent hazard and
               cause (either directly or indirectly by remedial action of the operator),
               for purposes other than abandonment, a 20 percent reduction in
               operating pressure or shutdown of operation of a pipeline or an LNG
               facility that contains or processes hazardous fluids;

            l. safety-related incidents from hazardous fluids transportation
               occurring at or en route to and from the LNG facility; or

            m. an event that is significant in the judgment of the operator and/or
               management even though it did not meet the above criteria or the
               guidelines set forth in an LNG facility’s incident management plan.

            In the event of an incident, the Director of OEP has delegated authority to take
            whatever steps are necessary to ensure operational reliability and to protect
            human life, health, property, or the environment, including authority to direct
            the LNG facility to cease operations. Following the initial company notification,
            the FERC staff would determine the need for a separate follow-up report or
            follow up in the upcoming semi-annual operational report. All company follow-
            up reports should include investigation results and recommendations to
            minimize a reoccurrence of the incident.

 4.12.1.8       Conclusions on LNG Facility and Carrier Reliability and Safety

         As part of the NEPA review, Commission staff assessed the potential impact to the
 human environment in terms of safety and whether the proposed facilities would operate safely,
 reliably, and securely.

         As a cooperating agency, the DOT advises the Commission whether RG LNG’s proposed
 design would meet the DOT’s 49 CFR 193 Subpart B siting requirements. On March 26, 2019,
 the DOT provided an LOD on the Project’s compliance with 49 CFR 193 Subpart B. This
 determination was provided to the Commission for consideration in its decision on the Project
 application. If the Project is authorized, constructed, and operated, the facility would be subject
 to the DOT’s inspection and enforcement program; final determination of whether a facility is in
 compliance with the requirements of 49 CFR 193 would be made by the DOT staff.

         Furthermore, DOT’s 49 CFR 192 requirements would apply to the VCP that is routed
 through the northern part of the LNG Terminal site. FERC staff has evaluated the potential risk
 and impact from an incident on the VCP. Based on DOT PHMSA’s incident data, the likelihood
 of a pipeline incident or failure would be low and a worst-case pipeline rupture scenario would
 be even less likely. If a pipeline incident were to occur, the likely consequences from these
 cascading effects would not reach the public. To protect the VCP during construction and


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 operation of the Project, RG LNG has identified extra protective measures and we have made
 additional recommendations regarding temporary and permanent crossings. Therefore, we
 conclude that the proposed Project would not significantly increase the risk to offsite public.

         As a cooperating agency, the Coast Guard also assisted the FERC staff by reviewing the
 proposed LNG Terminal and the associated LNG marine carrier traffic. The Coast Guard
 reviewed a WSA submitted by RG LNG that focused on the navigation safety and maritime
 security aspects of LNG marine vessel transits along the affected waterway. On December 26,
 2017, the Coast Guard issued a LOR to FERC staff indicating the BSC would be considered
 suitable for accommodating the type and frequency of LNG marine traffic associated with this
 Project, based on the WSA and in accordance with the guidance in the Coast Guard’s NVIC 01-
 11. If the Project is authorized, constructed, and operated, the facility would be subject to the
 Coast Guard’s inspection and enforcement program to ensure compliance with the requirements
 of 33 CFR 105 and 33 CFR 127.

        As a cooperating agency, the FAA assisted FERC staff in evaluating impacts on and from
 the SpaceX rocket launch facility in Cameron County. Specific recommendations are included
 to address potential impacts from rocket launch failures on the Project. However, the extent of
 impacts on SpaceX operations, the National Space Program, and to the federal government
 would not fully be known until SpaceX submits an application with the FAA requesting to
 launch and whether the LNG Terminal is under construction or in operation at that time.

         FERC staff conducted a preliminary engineering and technical review of the RG LNG
 design, including potential external impacts based on the site location. Based on this review, we
 recommend a number of mitigation measures and continuous oversight prior to initial site
 preparation, prior to construction of final design, prior to commissioning, prior to introduction of
 hazardous fluids, prior to commencement of service, and throughout life of the LNG Terminal,
 in order to enhance the reliability and safety of the terminal to mitigate the risk of impact on the
 public. With the incorporation of these mitigation measures and oversight, we conclude that RG
 LNG’s Terminal design would include acceptable layers of protection or safeguards that would
 reduce the risk of a potentially hazardous scenario from developing into an event that could
 impact the offsite public.

 4.12.2 Pipeline Facilities

         Natural gas pipeline transmission carries risks to workers and the public that result from
 the potential for unintended gas release. Although rare, risks primarily include fire and/or
 explosion after a gas pipeline leak or rupture. Potential hazards to the safe construction and
 operation of natural gas pipelines include corrosion, equipment malfunction, and external forces
 such as third-party line strikes and natural forces including lightning, flooding, tornadoes, and
 earthquakes.

         Methane is the primary constituent of natural gas. The gas is colorless, odorless, and
 tasteless. It is not considered poisonous but poses a low inhalation hazard that could result in
 asphyxiation. Methane is light and will quickly disperse in areas where there is sufficient air
 flow. However, if released in enclosed, poorly ventilated areas and consumed in high doses,
 injuries and fatalities are possible. In concentrations between 5 percent and 15 percent, methane


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 is flammable and will automatically ignite at 1,000 °F. These properties of methane and the
 potential for pipeline ruptures require that natural gas transmission pipelines be carefully
 regulated.

 4.12.2.1        Pipeline Safety Standards

         Public scoping comments expressed concern regarding the safety of the RB Pipeline;
 additional detail and responses to these scoping comments are addressed in section 4.12.2.3. The
 DOT regulates natural gas transmission pipelines and pipeline facilities as specified in 49 USC
 60101 et seq. The DOT’s PHMSA administers the national regulatory program to ensure the
 safe transportation of natural gas and other hazardous materials by pipeline. It develops safety
 regulations and other approaches to risk management that ensure safety in the design,
 construction, testing, operation, maintenance, and emergency response of pipeline facilities.
 Many of the regulations are written as performance standards which set the level of safety to be
 attained and allow the pipeline operator to use various technologies to achieve safety. PHMSA’s
 safety mission is to ensure that people and the environment are protected from the risk of
 pipeline incidents.

          PHMSA’s workload is shared by agencies at all government levels. States that
 participate in the federal pipeline safety program have agreed to adopt the minimum pipeline
 safety regulations. In addition, they may pass more stringent regulations through their own
 legislating bodies. Participating states are authorized to oversee safety programs and to enforce
 federal safety standards for intrastate pipeline facilities under Section 5(a) of the Natural Gas
 Pipeline Safety Act. Section 5(b) only permits a state agency that does not participate under
 Section 5(a) to conduct inspection and monitoring procedures of intrastate natural gas facilities.
 For interstate facilities, states are also authorized to act of agents of the DOT to inspect the
 facilities within its state boundaries, though only the DOT may enforce regulations. Texas has
 adopted the minimum federal pipeline safety regulations as authorized by PHMSA under Section
 5(a) to assume all aspects of the safety program intrastate, but not interstate, facilities (PHMSA
 2016a). In Title 16 of the TAC, Texas has also instituted multiple more stringent safety
 requirements beyond the federal standards. The RRC is charged with overseeing the state’s
 safety program for intrastate natural gas facilities.

         Under a Memorandum of Understanding on Natural Gas Transportation Facilities
 (Memorandum) dated January 15, 1993, between the DOT and the FERC, the DOT has the
 exclusive authority to promulgate federal safety standards used in the transportation of natural
 gas. Section 157.14(a)(9)(vi) of the FERC’s regulations require that an applicant certify that it
 will design, install, inspect, test, construct, operate, replace, and maintain the facility for which a
 Certificate is requested in accordance with federal safety standards and plans for maintenance
 and inspection. Alternatively, an applicant must certify that it has been granted a waiver of the
 requirements of the safety standards by the DOT in accordance with Section 3(e) of the Natural
 Gas Pipeline Safety Act. The FERC accepts this certification and does not impose additional
 safety standards. If the Commission becomes aware of an existing or potential safety problem,
 there is a provision in the Memorandum to promptly alert DOT. The Memorandum also
 provides for referring complaints and inquiries made by state and local governments and the
 general public involving safety matters related to pipelines under the Commission's jurisdiction.
 The FERC also participates as a member of the DOT's Technical Pipeline Safety Standards


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 Committee which determines if proposed safety regulations are reasonable, feasible, and
 practicable.

          RB Pipeline must design, construct, operate, and maintain the pipelines and aboveground
 facilities in accordance with the safety standards prescribed in 49 CFR 192. Federal safety
 standards include area classifications that are based on population density in proximity to natural
 gas pipelines. More stringent safety requirements are imposed around populated areas. Class
 location units are assigned based on the evaluation of populated areas within 660 feet of both
 sides of a pipeline centerline. The class location units are defined below:

        •   Class 1: location with 10 or fewer buildings intended for human occupancy;

        •   Class 2: location with more than 10 but less than 46 buildings intended for human
            occupancy;

        •   Class 3: location with 46 or more buildings intended for human occupancy or where
            the pipeline would be located within 100 yards of any building or small well-defined
            outside area used for recreation or public assembly that is occupied by 20 or more
            people at least 5 days per week for 10 weeks in a 12-month period; and

        •   Class 4: location where buildings with four of more stories aboveground are prevalent.

         Class locations representing more populated areas require higher safety factors in
 pipeline design, testing, and operation. For instance, pipelines constructed on land in Class 1
 locations must be installed with a minimum depth of cover of 30 inches in normal soil and 18
 inches in consolidated rock. Class 2, 3, and 4 locations, as well as drainage ditches of public
 roads and railroad crossings, require a minimum cover of 36 inches in normal soil and 24 inches
 in consolidated rock.

         The class designations determine the need for additional safety regarding pipeline depth
 of cover, pipe wall thickness, the distance between MLVs, hydrostatic test pressure, and MAOP.
 In addition, the number of pipeline welds and inspection surveys are also governed by class
 location unit assignments along a pipeline. RB Pipeline would adhere to the pipeline design
 requirements based on class assignments along the proposed route.

         RB Pipeline has completed a class location study for its Pipeline System. The results
 indicate that the entire system between MPs 0.0 and 135.5 may be assigned to Class 1. The
 pipeline would be routinely surveilled by air to determine whether changes to the class
 assignment are necessary. If a subsequent increase in population density adjacent to the right-of-
 way results in a change in class location for the pipeline, RB Pipeline would reduce the MAOP
 or replace the segment with pipe of sufficient grade and wall thickness, if required to comply
 with the DOT requirements for the new class location.

        The DOT Pipeline Safety Regulations require operators to develop and follow a written
 IMP that contain all the elements described in 49 CFR 192.911 and address the risks on each
 transmission pipeline segment. The rule establishes an IMP which applies to all HCAs and
 includes requirements for pipeline inspections, record keeping, and a communication plan with



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 procedures to address safety concerns raised by the DOT and other pipeline authorities. The
 DOT has published rules that define HCAs where a gas pipeline accident could do considerable
 harm to people and their property and requires an IMP to minimize the potential for an accident.
 This definition satisfies, in part, the Congressional mandate for DOT to prescribe standards that
 establish criteria for identifying each gas pipeline facility in a high‑density population area.
 HCAs are defined by using the techniques described in one of the following two ways:

      1) An area defined as:

        •    a Class 3 or Class 4 location; or

        •    any area in a Class 1 or 2 location where the PIR79 is greater than 660 feet and contains
             20 or more buildings within the impact circle 80 intended for human occupancy; or

        •    any area in a Class 1 or 2 location where the potential impact circle contains an
             identified site.

      2) The area within a potential impact circle containing:

        •    20 or more buildings intended for human occupancy; or

        •    an identified site.

          An identified site, as defined by 49 CFR 192.903, is an outside area or structure occupied
 by 20 or more people for at least 50 days in any 12-month period; a building that is occupied by
 20 or more persons on at least 5 days a week for any 10 weeks in any 12-month period; or a
 facility that is occupied by persons who are confined, are of impaired mobility, or would be
 difficult to evacuate. Once HCAs have been identified, the operator must implement its IMP in
 those areas. The Pipeline Safety Improvement Act of 2002 requires RB Pipeline to conduct risk
 analyses of identified HCAs, baseline assessments of all pipeline segments and schedule
 inspections using designated methods. The IMP must include a plan to conduct inspections of
 the pipeline within HCAs every 7 years. The completed analysis for HCAs near the Pipeline
 System indicates the presence of one identified site about 300 feet from the pipeline near MP
 37.0 and does not impact the pipeline class designation.

        RB Pipeline must develop an operations and maintenance plan in addition to its ERP as
 required under Subpart L of 49 CFR 192. These plans must include specific procedures
 necessary to minimize potential pipeline hazards during normal operations and in the event of an
 emergency. Aspects of RB Pipeline’s Operations and Maintenance Plan and ERP would be
 compliant with federal requirements and include procedures for the following:




 79
        The potential impact radius is calculated as the product of 0.69 and the square root of: the MAOP of the pipeline in
        pounds per square inch gauge multiplied by the square of the pipeline diameter in inches.
 80
        The potential impact circle is a circle of radius equal to the potential impact radius.


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        •   responses to emergency incidents including gas leaks, fires, explosions and, natural
            disaster;

        •   communications with local law enforcement officials including fire and police
            departments as well as emergency medical personnel;

        •   keeping trained RB Pipeline staff supplied with proper equipment at emergency sites;

        •   ensuring that life, property and the environment are safe in hazardous situations; and

        •   safely shutting down and restoring service to the Pipeline System in emergencies.

         Operators are required to keep liaisons with appropriate emergency responders and public
 authorities to establish roles and responsibilities in the event of a natural gas pipeline emergency.
 The applicant would review the ERP with local emergency agencies and would provide them
 with Project mapping of all facilities including access roads. In addition, facility-specific
 training would be provided to emergency responders. RB Pipeline must also develop continuing
 education programs. In accordance with the API’s Recommended Practice 1192, RB Pipeline
 would establish a Public Awareness and Damage Prevention Program that requires information
 regarding pipeline safety be disseminated to landowners, local residents, excavators and first
 responders. The program would include holding meetings with the public and emergency
 personnel. Materials would also be mailed about the properties of natural gas, how to recognize
 a pipeline marker and right-of-way, who to call in an emergency and the role of emergency
 responders during an emergency. Additional measures for maintaining the safety of the public
 from potential hazards may be divided in into three categories: passive protection, active
 protection, and procedural controls. RB Pipeline would include components of each protective
 measure category.

        Passive Protection Measures

         Passive protection measures are intended to minimize hazards through design and process
 features. RB Pipeline would implement the following passive protection measures:

        •   design, construction, operations, and maintenance would exceed PHMSA’s regulations
            as specified in 49 CFR 192;

        •   pipe materials would meet or exceed the minimum API 5L requirements;

        •   pipe bends would exceed federal standards would be factory bent and fittings including
            elbows would be factory-manufactured;

        •   external pipe coating materials would comply with federal standards (girth welds would
            be field-coated using factory-equivalent coating materials to retain integrity);

        •   “One-Call” or “Call Before You Dig” system would be implemented to identify buried
            utilities before beginning excavations; and




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        •   pipeline markers would be placed at frequent intervals along the right-of-way and
            where streets, highways, railroads and other major intersections.

        Active Protection Measures

         Active protection measures (or engineering controls) include procedures or tools such as
 valves, pigs, automated monitoring, and shutdown systems that are engineered to prevent or
 detect potential hazards. RB Pipeline would exceed the federal requirement for pipeline burial in
 Class 1 zones by burying the pipelines with a minimum of 36 inches of cover, except in areas
 with consolidated rock, which would include a minimum of 24 inches depth of cover. In
 addition, RB Pipeline would implement the following active protection measures:

        •   the use of soil cover or matting when working over exiting in-service pipelines;

        •   testing of all pipeline by x-ray, ultrasonic testing, or a combination of both under the
            supervision of a trained RB Pipeline welding inspector;

        •   hydrostatically pressure testing pipeline sections above MAOP to meet federal
            regulations;

        •   sand padding may be used in rocky ditches to protect the bottom of the pipe;

        •   24-hour monitoring by RB Pipeline’s gas control office and routine patrols of the right-
            of-way by operations personnel;

        •   installation of cathodic protection systems to prevent external corrosion;

        •   routine use of ILI tools such as smart pigs and caliper pigs to check the pipeline for
            anomalies such as corrosion or dents;

        •   maintenance of safe traffic flow in the vicinity of construction activities through
            placement of warning signs and the use of flagmen in compliance with local and state
            requirements;

        •   use of SCADA systems to monitor the Pipeline System, provide alerts, and control
            facility equipment;

        •   automatic override systems designed to shut down the pipeline and facilities in the
            event of an emergency; and

        •   video surveillance, security fencing, and gate access control to aboveground facilities.

        Procedural Control Measures

        Procedural control measures (or administrative controls) include the use of procedures
 including a worker training program, inspections and monitoring to prevent incidents or to
 minimize the effects of pipeline incidents. As previously discussed, RB Pipeline would
 implement the procedural measures as detailed in its Operations and Maintenance Plan, ERP,


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 and Public Awareness and Damage Prevention Program. RB Pipeline would adhere to its
 pipeline safety monitoring program that includes the following PHMSA-required procedural
 control measures:

        •   training of operations personnel in equipment use and first-aid;

        •   inspection of all factory produced equipment and the inspection of welds and pipe
            coatings during construction;

        •   annual overflight inspections or routine pipeline right-of-way walkover patrols and leak
            surveys by trained operations personnel;

        •   prior notifications regarding the need for heavy machinery, grading, or excavations
            over or near existing rights-of-way;

        •   inspection of rectifiers at least six times per year;

        •   annual testing of the cathodic protection system; and

        •   annual inspection and maintenance of the MLVs.

 4.12.2.2        Pipeline Accident Data

         Significant pipeline incidents include pipeline leaks that result in death or injury that
 requires a hospital stay. Liquid releases resulting in fire or explosion and incidents that result in
 property damages greater than $50,000 (in 1984 dollars) 81 are also considered significant.
 According to 49 CFR 191, all significant pipeline incidents must be reported to the DOT within
 20 days. During the 20-year period from 1996 through 2015, a total of 1,310 significant
 incidents were reported on the more than 300,000 total miles of natural gas transmission
 pipelines nationwide. Additional insight into the nature of service incidents may be found by
 examining the primary factors that caused the failures. Table 4.12.2-1 provides a distribution of
 the causal factors as well as the number of each incident by cause.




 81
        $50,000 in 1984 dollars is approximately $112,955.73 as of May 2015 (CPI, Bureau of Labor Statistics, 2015).


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                                           Table 4.12.2-1
          Onshore Natural Gas Transmission Pipeline Significant Incidents by Cause 1996-2015
                      Causea                             Number of Incidents                            Percentage
  Pipeline material, weld or equipment failure                     354                                      27.0
  Corrosion                                                        311                                      23.7
  Excavation                                                       210                                      16.0
  All other causesb                                                165                                      12.6
                         c
  Natural force damage                                             146                                      11.1
  Outside forced                                                    84                                       6.4
  Incorrect operation                                               40                                       3.1
  Total                                                           1,310                                       --
  a
              All data gathered from PHMSA Significant Incident files, February 2016,
              http://www.phmsa.dot.gov/pipeline/library/data-stats/pipelineincidenttrends (PHMSA 2016b).
  b
              All other causes includes miscellaneous, unspecified, or unknown causes.
  c
              Natural forces damage includes earth movement, heavy rain, floods, landslides, mudslides, lightning, temperature,
              high winds, and other natural force damage.
  d
              Outside force damage includes previous mechanical damage, electrical arcing static electricity, fire/explosion,
              fishing/maritime activity, intentional damage, and vehicle damage (not associated with excavation).



         The data presented in table 4.12.2-1 include natural gas transmission system failures of
 all magnitudes with widely varying consequences. The dominant causes of pipeline incidents are
 corrosion; and pipeline material, weld, or equipment failure, together which constitute 50.7
 percent of all significant incidents. The pipelines included in the data set in table 4.12.2-1 vary
 widely in terms of age, diameter, and level of corrosion control. Each variable influences the
 incident frequency that may be expected for a specific segment of pipeline. The frequency of
 significant incidents is strongly dependent on pipeline age. Older pipelines have a higher
 frequency of corrosion incidents and material failure, because corrosion and pipeline stress/strain
 are a time-dependent process.

          The use of both an external protective coating and a cathodic protection system,82
 required on all pipelines installed after July 1971, significantly reduces the corrosion rate
 compared to unprotected or partially protected pipe. Outside force, excavation, and natural
 forces are the cause in 33.5 percent of significant pipeline incidents. These result from the
 encroachment of mechanical equipment such as bulldozers and backhoes; earth movements due
 to soil settlement, washouts, or geologic hazards; weather effects such as winds, storms, and
 thermal strains; and willful damage. Table 4.12.2-2 provides a breakdown of external force
 incidents by cause.




 82
           Cathodic protection is a technique to reduce corrosion (rust) of the natural gas pipeline through the use of an induced
           current or a sacrificial anode (like zinc) that corrodes at faster rate to reduce corrosion.


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                                                    Table 4.12.2-2
                                    Outside Forces Incidents by Causea 1996-2015
                     Cause                            Number of Incidentsb                     Percent of All Incidentsc

  Third-party excavation damage                                  172                                        13.1
  Heavy rains, floods, mudslides,
                                                                 74                                         5.6
  landslides
  Vehicle (not engaged with excavation)                          49                                         3.7
  Earth movement, earthquakes,
                                                                 32                                         2.4
  subsidence
  Lightning, temperature, high winds                             27                                         2.1
  Operator / contractor excavation damage                        25                                         1.9
  Unspecified excavation damage /
                                                                 13                                         1.0
  previous damage
  Natural force (unspecified and other)                          13                                         1.0
  Fire / explosion                                                 9                                        0.7
  Fishing or maritime activity                                     9                                        0.7
  Other outside force                                              9                                        0.7
  Previous mechanical damage                                       6                                        0.5
  Intentional damage                                               1                                        0.1
  Electrical arcing from other equipment /
                                                                   1                                        0.1
  facility
  Total                                                          440                                          -
  a
            Excavation, outside force, and natural force from table 4.12.2-1.
  b
            The numbers in this table have been rounded for presentation purposes. As a result, the totals may not reflect the
            sum of the addends.
  c
            Percentage of all incidents was calculated as a percentage of the total number of incidents natural gas transmission
            pipeline significant incidents (i.e., all causes) presented in table 4.12.2-1.



         Older pipelines have a higher frequency of outside forces incidents partly because their
 location may be less well known and less well marked than newer lines. In addition, older
 pipelines contain a disproportionate number of smaller-diameter pipelines; which have a greater
 rate of outside forces incidents. Small-diameter pipelines are more easily crushed or broken by
 mechanical equipment or earth movement.

         Since 1982, operators have been required to participate in “One-Call” public utility
 programs in populated areas to minimize unauthorized excavation activities in the vicinity of
 pipelines. The “One-Call” program is a service used by public utilities and some private sector
 companies (e.g., oil pipelines and cable television) to provide pre-construction information to
 contractors or other maintenance workers on the underground location of pipes, cables, and
 culverts.

 4.12.2.3             Impacts on Public Safety

        Public scoping comments expressed concern regarding the safety of the RB Pipeline,
 including potential damage due to weather events such as flooding, leak detection, and pipeline


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 accidents (including releases of natural gas and explosions). As described above, RB Pipeline
 must operate and maintain its facilities in compliance with the DOT regulations at 49 CFR 192 to
 minimize the potential for pipeline damage and accidents. These requirements include
 specifications for the depth of soil cover over the pipeline, which would protect the pipe from
 damage or exposure during flood events.

         Operation of the facilities would be monitored electronically on a continuous basis, and
 an emergency shutdown system would be installed. In addition, annual overflight inspections or
 routine pipeline right-of-way walkover patrols and leak surveys would be conducted by trained
 operations personnel to detect pipeline damage or integrity concerns. While fire and/or
 explosion after a gas pipeline leak or rupture are rare, implementation of DOT safety regulations
 and RB Pipeline’s IMP would further reduce the risk of an incident.

         On December 15, 2017, the Union Pacific Railroad Company noted its objection to the
 proposed Project and cited safety concerns from a possible hazardous material release by the
 pipeline and adverse consequences from an accident. The Union Pacific Railroad Company
 indicates that the pipeline appears to cross the railroad tracks at approximate MP 46.5 and
 parallel the track from approximate MPs 46.5 to 97.

         According to the information in the project docket, RB Pipeline proposed to cross the
 railroad tracks by the bore method at MP 69.9 and then construct its pipeline parallel to the
 railroad in multiple areas between MPs 19.9 and 67.7. As previously indicated in this EIS, RB
 Pipeline must operate and maintain its facilities in compliance with the DOT regulations at 49
 CFR 192 to minimize the potential for pipeline damage and accidents. Further, the DOT’s FRA
 includes guidelines and requirements for infrastructure crossing railroad facilities. In its letter,
 the Union Pacific Railroad Company also indicated a request for coordination between RB
 Pipeline on compensation for the right to cross the railroad property.

         The FERC is not an arbitrator between parties with regards to compensation. We believe
 that reimbursement is more appropriately determined during the permanent right-of-entry
 agreement process. However, there should be coordination between RB Pipeline and Union
 Pacific Railroad Company regarding construction, operation, and safety concerns. RB Pipeline
 has not responded on the FERC docket to the comment letter. Therefore, we recommend that:

        •   Prior to pipeline construction across, in, or adjacent to the Union Pacific Railroad
            Company right-of-way, RB Pipeline should file with the Secretary, for review and
            written approval by the Director of OEP, details concerning the pipeline
            construction under the railroad, including the depth of cover for the pipeline
            under the railroad, correspondence with the Union Pacific Railroad Company
            regarding construction and operation of the pipeline under and parallel to the
            railroad, and the specific federal and state regulations that RB Pipeline would
            follow to ensure safety and reliability of the pipeline operations in or under the
            railroad right-of-way.

          Table 4.12.2-3 presents the annual injuries and fatalities that occurred on natural gas
 transmission lines from incidents for the 5-year period between 2011 and 2015. The majority of
 fatalities from pipelines are due to local distribution pipelines not regulated by FERC. These are


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 natural gas pipelines that distribute natural gas to homes and businesses after transportation
 through interstate natural gas transmission pipelines. In general, these distribution lines are
 smaller-diameter pipes and/or plastic pipes which are more susceptible to damage. Local
 distribution systems do not have large rights-of-way and pipeline markers common to the FERC-
 regulated natural gas transmission pipelines. Therefore, incident statistics inclusive of
 distribution pipelines are inappropriate to use when considering natural gas transmission
 projects.

                                               Table 4.12.2-3
                      Injuries and Fatalities - Natural Gas Transmission Pipelines
               Year                             Injuries                        Fatalities
  2011                                             1                                 0
  2012                                             7                                 0
  2013                                             2                                 0
  2014                                             1                                 1
  2015                                            14                                 6
  Source: PHMSA 2016b



          The nationwide totals of accidental fatalities from various anthropogenic and natural
 hazards are listed in table 4.12.2-4 in order to provide a relative measure of the industry-wide
 safety of natural gas transmission pipelines. Direct comparisons between accident categories
 should be made cautiously, however, because individual exposures to hazards are not uniform
 among all categories. The data nonetheless indicate a low risk of death due to incidents
 involving natural gas transmission pipelines compared to the other categories. Furthermore, the
 fatality rate is much lower than the fatalities from natural hazards such as lightning, tornadoes, or
 floods.

         The available data show that natural gas transmission pipelines continue to be a safe,
 reliable means of energy transportation. From 1996 to 2015, there were an average of 65.4
 significant incidents, 9.1 injuries, and 2.3 fatalities per year. The number of significant incidents
 over the more than 303,000 miles of natural gas transmission lines indicates the risk is low for an
 incident at any given location. While the data indicate that the operation of the RB Pipeline
 would represent a slight increase in risk to the safety of the nearby public, that the risk would be
 considered low.




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                                                              Table 4.12.2-4
                                                      Nationwide Accidental Deathsa
                                   Type of Accident                                           Annual No. of Deaths

      Motor vehiclea                                                                                   35,369
      Poisoninga                                                                                       38,851
              a
      Falls                                                                                            30,208
                          a
      Drowning                                                                                         3,391
                                           a
      Fire, smoke inhalation, burns                                                                    2,760
                  b
      Floods                                                                                             81
                      b
      Tornado                                                                                            72
                          b
      Lightning                                                                                          49
                          b
      Hurricane                                                                                          47
                                           c
      Natural gas distribution lines                                                                     13
                                                c
      Natural gas transmission pipelines                                                                 2
  a
                      Accident data presented for motor vehicle, poisoning, falls, drowning, fire, smoke inhalation, and burns represent
                      the annual accidental deaths recorded in 2013 (Centers for Disease Control 2013).
  b
                      NOAA National Weather Service, Office of Climate, Water and Weather Services, 30-year average (1985-2014)
                      (NOAA 2015).
  c
                      Accident data presented for natural gas distribution lines and transmission pipelines represent the 20-year average
                      between 1996 and 2015 (PHMSA 2016b).




 4.13             CUMULATIVE IMPACTS

         NEPA requires the lead federal agency to consider the potential cumulative impacts of
 proposals under its review. Cumulative impacts may result when the environmental effects
 associated with the proposed action are superimposed on or added to impacts associated with
 past, present, and reasonably foreseeable future projects, regardless of what agency or person
 undertakes such other actions. Although the individual impact of each separate project may be
 minor, the additive or synergistic effects of multiple projects could be significant.

          This cumulative impacts analysis uses an approach consistent with the methodology set
 forth in relevant guidance (CEQ 1997b, 2005; EPA 1999). Under these guidelines, inclusion of
 actions within the analysis is based on identifying commonalities between the impacts that would
 result from the Rio Grande LNG Project and the impacts likely to be associated with other
 potential projects.

         The Project-specific impacts of the Rio Grande LNG Project are discussed in detail in
 other sections of this EIS. The purpose of this section is to identify and describe cumulative
 impacts that would potentially result from implementation of the proposed Project along with
 other projects in the vicinity that could affect the same resources in the same approximate
 timeframe. To ensure that this analysis focuses on relevant projects and potentially significant
 impacts, the actions included in the cumulative impact analysis include projects that:

                  •           impact a resource potentially affected by the proposed Project;


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        •   impact that resource within all or part of the time span encompassed by the proposed
            or reasonably expected construction and operation schedule of the proposed Project;
            and

        •   impact that resource within all or part of the same geographic area affected by the
            proposed Project. The geographic area considered varies depending on the resource
            being discussed, which is the general area in which the projects could contribute to
            cumulative impacts on that particular resource (geographic scope of analysis).

         A geographic scope was identified for each specific environmental resource that would
 be affected by the Project, as described in table 4.13.1-1.

 4.13.1 Projects and Activities Considered

         With respect to past actions, CEQ guidance (2005) allows agencies to adopt a broad,
 aggregated approach without “delving into the historical details of individual past actions,” an
 approach we have taken here. The current regional landscape in south Texas, which is a mix of
 large tracts of open land that support ranch and cattle operations, NWRs, and an assortment of
 industrial facilities already sited along the BSC forms the environmental baseline described in
 other sections of this EIS and against which the impacts of reasonably foreseeable future actions
 are considered. Recently completed projects that may still be undergoing restoration or that were
 identified during the agency review process as projects of concern are also included in the
 cumulative impacts assessment.

         Reasonably foreseeable projects that might cause cumulative impacts in combination
 with the proposed Project includes projects that are under construction, approved, proposed, or
 planned. For FERC-regulated projects, proposed projects are those for which the proponent has
 submitted a formal application to the FERC, and planned projects are projects that are either in
 pre-filing or have been announced, but have not been officially proposed. Planned projects also
 include projects not under the FERC’s jurisdiction that have been identified through publicly
 available information such as press releases, internet searches, and the applicants’
 communications with local agencies.




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                                                 Table 4.13.1-1
                                 Geographic Scope for Cumulative Impact Analysis

         Environmental Resource                                           Geographic Scope

                                              Area affected by and adjacent to the Project - direct effects of geologic
                                              hazards would be highly localized and limited primarily to the period of
  Geologic Resources and Soils                construction; cumulative impacts from geologic hazard impacts would only
                                              occur if other projects are constructed at the same time and place as the
                                              proposed facilities.

                                              HUC-12 subwatershed - impacts on groundwater, surface waters and wetlands
  Water Resources (Groundwater, Surface
                                              can result in downstream contamination or turbidity; therefore, the Project
  Water, and Wetlands)
                                              could result in additional incremental impacts on waters further downstream.

                                              HUC-12 subwatershed – impacts on vegetation within the HUC-12
  Vegetation and Wildlife                     subwatershed could contribute to impacts on vegetation communities and
                                              wildlife habitat within the watershed.
                                              HUC-12 subwatershed – impacts on surface water within the HUC-12
  Aquatic Resources                           subwatershed could contribute to downstream impacts on aquatic organisms
                                              and their habitats.

                                              HUC-12 subwatershed – impacts within the HUC-12 subwatershed could
                                              contribute to impacts on vegetation communities and threatened and
                                              endangered species habitat within the watershed. For marine species, impacts
                                              on marine/estuarine waterbodies in the HUC-12 subwatershed and established
  Threatened and Endangered Species
                                              shipping channels used by LNG carriers are also within the geographic scope.
                                              Due to the diversity in life history and range of threatened and endangered
                                              species potentially affected by the Rio Grande LNG Project, cumulative
                                              impacts were independently reviewed for each species or group of species.

                                              Cameron County; and land within 1 mile of the Pipeline System - to
  Land Use and Recreation
                                              encompass any large areas with specialized or recreational uses.
                                              For aboveground facilities, distance that the tallest feature at the planned
                                              facility would be visible from neighboring communities (about 12 miles). For
  Visual Resources
                                              the Pipeline System, a 0.25-mile buffer and existing visual access points (e.g.,
                                              road crossings).

  Socioeconomics                              Affected counties and municipalities.
  Environmental Justice                       Census tracts within affected counties.
                                              Overlapping resource impacts. Direct impacts on cultural resources are
                                              highly localized; thus, cumulative impacts would only occur if other projects
  Cultural Resources
                                              are constructed in the same place or impact the same historic properties
                                              impacted by the proposed Project.

                                              Within 0.5 mile of the proposed pipeline facilities and within 1.0 mile of the
  Air Quality – Construction
                                              LNG Terminal, because construction emissions are highly localized.

                                              Within 31 miles of the proposed LNG Terminal, interconnect booster stations,
  Air Quality – Operations
                                              and compressor stations.

                                              Within 0.25 mile from pipeline or aboveground facilities, 0.5 mile from HDD
  Noise - Construction                        entry and exit locations, and overlapping NSAs that would be affected by
                                              construction of the LNG Terminal.
                                              Other facilities that would impact any NSA within 1 mile of a noise emitting
  Noise - Operations                          permanent aboveground facility, or projects within a 2-mile radius of the
                                              LNG Terminal site or potential overlapping impacts on nearby NSAs.



                                                     4-394                                       Environmental Analysis
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         Table 4.13.1-2 lists the projects and activities that we considered in this cumulative
 impact analysis, including the location, distance from the project, project timeframe, and
 resource(s) potentially cumulatively affected in conjunction with the Rio Grande LNG Project.
 Project locations are depicted in figures 4.13.1-1 and 4.13.1-2. Descriptions of potential
 cumulative impacts by resource category are discussed in section 4.13.2. For some projects we
 were unable to obtain quantitative information (e.g., project planning stage, size, etc.), in these
 cases our analysis relies on qualitative information for the project.

         We received comments on the draft EIS that identified additional projects for
 consideration in our cumulative analysis. These include the Palmas Altas Wind Farm and an
 associated transmission line, a steel mill, an oil pipeline and export terminal, and an airport
 terminal expansion project. These projects have been added to table 4.13.1-2 and are described
 further below.

 4.13.1.1       Future LNG Liquefaction Projects

        Annova LNG Brownsville Project

         Annova LNG has proposed a liquefaction and LNG export terminal along the BSC in
 Cameron County. The Annova LNG Brownsville Project Annova LNG Project would affect
 about 491 acres of land about 0.3 mile south of t he Rio Grande LNG Terminal (see figure 3.3.2-
 1) and would include six LNG trains with an overall LNG capacity of about 6 MTPA, two
 160,000 m3 LNG storage tanks, and a marine berth to accommodate one LNG carrier. A new,
 intrastate natural gas header pipeline would deliver domestic feed gas from the Isla Grande
 pipeline system to the proposed Annova LNG Terminal.

         The FERC approved Annova LNG’s request to enter the FERC pre-filing process on
 March 27, 2015, under Docket No. PF15-15; its formal application was filed with the FERC on
 July 13, 2016, under Docket No. CP16-480. Annova LNG initially anticipated that construction
 of the project would begin in 2018, and would have an in-service date of 2021. However, this
 timeline no longer appears feasible. Other non-jurisdictional facilities for the Annova LNG
 Project would include a natural gas interconnect facility within the terminal site, electricity to be
 provided by South Texas Electric Cooperative, and potable water to be provided by BND
 through planned expansions to serve various customers of the Port of Brownsville (including RG
 Developers). These non-jurisdictional facilities are discussed below (section 4.13.1.2).

        Barca and Eos LNG Project

         Barca and Eos were planning to develop a liquefaction and LNG export facility at the
 Port of Brownsville, about 2 miles west of the proposed Rio Grande LNG Terminal site. While
 the DOE authorized Eos and Barca to export to FTA nations, the applicants have not requested to
 participate in the FERC pre-filing process. Further, the lease option with BND has expired. As
 such, we conclude that the project is highly speculative, at best, and have excluded it from our
 cumulative impact analysis, as indicated in table 4.13.1-2.




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                                                                                       Table 4.13.1-2
                                             Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                              Project /                                                                                                                       Resources
                                                                                                    Closest                            Included in
                              Activity                                Estimated                                                                           Potentially Affected
                                                                                                   Distance         Workforce          Cumulative
                         (Mapped #, figures          Developer        Timeframe     Project Size                                                         within the proposed
                                                                                                     from           (Con / Op)           Impact
                            4.13.1-1 and                              (Con / Op)                                                                         Project’s Geographic
                                                                                                   Facilitiesa                          Analysis
                              4.13.1-2)                                                                                                                         Scopea
                         Future Liquefaction and LNG Export Projects
                                                    Annova LNG
                                                       Common                                                                                             T - All resources less
                                                 Infrastructure, LLC,                              T - 0.3 mile                                            geology, soils, and
                          Annova LNG                Annova LNG                                                                                                   cultural
                          Brownsville Project   Brownsville A, LLC,   2020 / 2021    491 acres                     700-1,200 / 165         Yes
                          (#1)                      Annova LNG                                                                                            P - All resources less
                                                Brownsville B, LLC,                                P – 0.6 mile                                           geology, soils, visual,
                                                  and Annova LNG                                                                                           cultural, and noise
                                                 Brownsville C, LLC
4-396




                          Barca and Eos LNG                                                         T - 2 miles                        No; the lease
                          Project               Barca LNG, LLC and
                                                                       Unknown       Unknown                         Unknown         option with BND                --
                                                   Eos LNG, LLC                                    P - Adjacent
                          (#3&4)                                                                                                        has expired
                                                                                                                                     No; in May 2016
                                                                                                    T - 4 miles                      Gulf Coast LNG
                          Gulf Coast                                                                                                 Export, LLC filed
                          Liquefaction Project     Gulf Coast LNG                                                                       a request to
                                                                       Unknown       500 acres                       3,000 / 250                                    --
                                                    Export, LLC                                                                        withdraw its
                          (#5)                                                                                                        application and
                                                                                                   P - Adjacent                          vacate its
                                                                                                                                       authorization
                                                                                                                                                          T - All resources less
                                                                                                   T - Adjacent
                                                                                                                                                                  cultural
                          Texas LNG                                                                                                                        P - Water resources,
                          Terminal Project           Texas LNG                                                                                           vegetation and wildlife,
                                                                      2020 / 2024    311.5 acres                     1,312 / 80            Yes
                                                  Brownsville, LLC                                                                                       aquatic resources, T&E,
                          (#2)                                                                     P – 2.5 miles
Environmental Analysis




                                                                                                                                                                 land use,
                                                                                                                                                           socioeconomics, air
                                                                                                                                                                  quality
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                                                                                    Table 4.13.1-2 (continued)
                                               Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                               Project /                                                                                                                     Resources
                                                                                                             Closest                      Included in
                               Activity                                Estimated                                                                         Potentially Affected
                                                                                                            Distance        Workforce     Cumulative
                         (Mapped #, figures            Developer       Timeframe        Project Size                                                    within the proposed
                                                                                                              from          (Con / Op)      Impact
                         4.13.1-1 and 4.13.1-                          (Con / Op)                                                                       Project’s Geographic
                                                                                                            Facilitiesa                    Analysis
                                  2)                                                                                                                           Scopea
                         Non-jurisdictional Facilities Associated with the Rio Grande LNG Project
                           LNG Trucking                                                  12 to 15 tanker     T - Within                                    T - Socioeconomics
                                                        Unknown           Unknown                                            Unknown         Yes
                           (#10)                                                          trucks / day       P - Varies                                    P - Socioeconomics
                           Potable Water,                                                                   T - Adjacent                                    T - All resources
                                                                                         estimated 5-6
                           Sewer Services, and
                                                                           2019 /        miles within a
                           Fiber Optic                    BND                                                                Unknown         Yes
                                                                            2020        35-foot right-of-   P - Adjacent                                    P - All resources
                           Telecommunication
                                                                                        way (3.3 acres)b
                           Line (#10)
                                                                                      12.7 miles of 100-
4-397




                                                                                       foot construction
                                                                                       right-of-way (142    T - Adjacent                                    T - All resources
                           Electric                                                         acres); an
                           Transmission Line              AEP           2019 / 2020   additional 11 miles                    Unknown         Yes
                           (#10)                                                          (121 acres) is
                                                                                      associated with the   P - Adjacent                                    P - All resources
                                                                                           Texas LNG
                                                                                             Project
                                                                                      estimated 3 miles
                                                                                        (estimated 36.9     T - Adjacent                                    T - All resources
                           Road Widening
                           (SH-48)                                      anticipated    acres, including
                                                         TxDOT                                                               Unknown         Yes
                                                                        2019 / 2019   0.5 acre associated
                           (#28)                                                        with the Texas      P - Adjacent                                    P - All resources
                                                                                         LNG Project)
                         Pipeline Facilities
                                                                                                                                                          T – All resources, less
Environmental Analysis




                           Potable Water
                                                                                                            T – 0.3 mile                                   geology, soils, and
                           Supply Pipeline                                                                                                                       cultural
                           associated with                BND           2019 / 2021         6 miles                          Unknown         Yes
                           Annova LNG                                                                                                                     P - All resources less
                           (not mapped)                                                                     P – 0.6 mile                                  geology, soils, visual,
                                                                                                                                                            cultural, and noise
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                                                                                Table 4.13.1-2 (continued)
                                           Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                                    Resources
                                                                                                              Closest                      Included in
                              Project /                                  Estimated                                                                              Potentially Affected
                                                                                                             Distance        Workforce     Cumulative
                               Activity             Developer            Timeframe       Project Size                                                          within the proposed
                                                                                                               from          (Con / Op)      Impact
                             (Mapped #)                                  (Con / Op)                                                                            Project’s Geographic
                                                                                                             Facilitiesa                    Analysis
                                                                                                                                                                      Scopea
                                                                                                                                                                T – All resources less
                          Kingsville to                                                                     T - 3.3 miles                                      geology, soils, cultural,
                          Brownsville                                                       130 miles                                                                 and noise
                          Pipelinec                  Unknown             2021 / 2021    (estimated 1,576                      Unknown           Yes
                                                                                              acres)                                                            P – All resources less
                          (Not mapped)                                                                      P – 2.5 miles                                       geology, soils, visual,
                                                                                                                                                                 cultural, and noise
                          New Intrastate
                                                                                                            T - Adjacent                                          T - All resources
                          Pipeline for Texas                                               10.2 miles
                          LNGd                       Unknown             2019 / 2020                                          Unknown           Yes
                                                                                          (108.3 acres)
                                                                                                            P - Adjacent                                          P - All resources
                          (#11)
4-398




                          VCPe (also known
                          as Nueces-                                                                        T - Adjacent                                          T - All resources
                                                  VCP / Comisión
                                                                          In service    estimated 2,545.8
                          Brownville                Federal de                                                                Unknown           Yes
                                                                         October 2018         acres         P - Appears to
                          Pipeline)                Electricidad                                                                                                   P - All resources
                          (Not mapped)                                                                        be crossed
                                                                                                                                             No, since this
                                                                                                            T - Unknown
                          Tuxpan Project        Comisión Federal de      Underway /     estimated 7,576.8                                  project would be
                                                                                                                              Unknown                                      --
                          (Not mapped)             Electricidad            2019f              acres                                         located entirely
                                                                                                            P – Unknown                      within Mexico
                         Electric Transmission and Generation Projects
                                                                                                                                                                 T – All resources less
                          New Electric                                                                      T - 0.3 miles                                       geology, soils, air, and
                          Transmission Line        South Texas                                                                                                           noise
                          associated with            Electric            2019 / 2021        15 miles                          Unknown           Yes              P - Water resources,
                          Annova LNG               Cooperative                                                                                                   vegetation, wildlife,
                          (Not mapped)                                                                      P – 0.6 miles
                                                                                                                                                               aquatic resources, T&E,
Environmental Analysis




                                                                                                                                                                 and socioeconomics
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                                                                              Table 4.13.1-2 (continued)
                                         Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                  Resources
                                                                                                  Closest                      Included in
                            Project /                             Estimated                                                                   Potentially Affected
                                                                                                 Distance        Workforce     Cumulative
                             Activity            Developer        Timeframe     Project Size                                                 within the proposed
                                                                                                   from          (Con / Op)      Impact
                           (Mapped #)                             (Con / Op)                                                                 Project’s Geographic
                                                                                                 Facilitiesa                    Analysis
                                                                                                                                                    Scopea
                                                                                                                                               T - All resources less
                                                                                                T - 13.8 miles
                                                                                                                                             geology, soils, and visual
                         Tenaska
                         Brownsville                                2019 /                                                                      P - Water resources,
                         Generating Station       Tenaska                        270 acres                         700 / 23       Yes           vegetation, wildlife,
                                                                   Unknown
                         (#19)                                                                   P - 7 miles                                      aquatic resources,
                                                                                                                                                      T&E, and
                                                                                                                                                   socioeconomics
                                                                                                                                                T - Water resources,
                                                                                                                                                vegetation, wildlife,
                                                                                                 T - 8 miles
                                                                                                                                               T&E, land use, visual,
4-399




                         San Roman Wind                                                                                                         and socioeconomics
                         Farm                  Acciona Energia    Operational    156 acres                          80 / 7        Yes
                         (#20)                                                                                                                  P - Water resources,
                                                                                                                                                vegetation, wildlife,
                                                                                                 P - 0.9 mile
                                                                                                                                                 T&E, land use, and
                                                                                                                                                   socioeconomic
                                                                                                                                                T – Water resources,
                                                                                                                                                vegetation, wildlife,
                                                                                                T – 14.0 miles
                                                                                                                                                 T&E, land use, and
                         Cameron Wind                                                                                                              socioeconomics
                         Farm                 Apex Clean Energy   Operational   15,000 acresg                      140 / 18       Yes           P - Water resources,
                         (#21)                                                                                                                  vegetation, wildlife,
                                                                                                 P - Crossed                                   T&E, land use, visual,
                                                                                                                                                socioeconomics, and
                                                                                                                                                         noise
Environmental Analysis
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                                                                               Table 4.13.1-2 (continued)
                                          Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                           Resources
                                                                                                          Closest                       Included in
                            Project /                                  Estimated                                                                       Potentially Affected
                                                                                                         Distance         Workforce     Cumulative
                             Activity               Developer          Timeframe      Project Size                                                    within the proposed
                                                                                                           from           (Con / Op)      Impact
                           (Mapped #)                                  (Con / Op)                                                                     Project’s Geographic
                                                                                                         Facilitiesa                     Analysis
                                                                                                                                                             Scopea
                                                                                                        T – 35 miles                                     T – Socioeconomics
                                                                                                                                                         P - Water resources,
                         Bruenning Breeze                                                                                                                vegetation, wildlife,
                         Wind Farmh                    E.ON            Operational       15,000                             200 / 20       Yes            aquatic resources,
                         (Not mapped)                                                                   P – 0.25 mile
                                                                                                                                                        T&E, land use, visual,
                                                                                                                                                         socioeconomics, and
                                                                                                                                                                noise
                                                                                                        T – 65 miles                                          T – None
                         Stella Wind Farmh                             Underway /                                                                      P – Water resources,
                                                       E.ON                             Unknown                            Unknown         Yes
4-400




                         (Not mapped)                                   Unknown                                                                         vegetation, wildlife,
                                                                                                        P – 12 miles
                                                                                                                                                      aquatic resources, T&E,
                                                                                                                                                        and socioeconomics
                                                                                                                                                       T - All resources less
                                                     Electric                                           T – 6.2 miles                                 geology, soils, cultural,
                                                                                         96 miles
                         Cross Valley Project   Transmission Texas                                                                                           and noise
                                                                       Operational      (estimated                         Unknown         Yes
                         (#22)                    and Sharyland
                                                     Utilities
                                                                                      1,745.7 acres)    P – Parallel /
                                                                                                                                                          P - All resources
                                                                                                          Crossed
                                                                       Underway /                                                                          T - land use and
                         Palmas Altas Wind                                           estimated 6,600    T – 20.6 miles
                                                  Acciona Energy       November                                             170 / 10       Yes             socioeconomics
                         Farm (31)i                                                       acres
                                                                         2019                            P - Crossed                                     P – All resources
                                                                                                                                                           T - Land use and
                                                                                                         T - 20 miles
                         Palmas to East Rio                                          between 6.2 and                                                        socioeconomics
                         Hondo                  South Texas Electric                     6.6 miles                                                      P - Water resources,
                                                                        Unknown                                            Unknown         Yes
                         Transmission Line       Cooperative, Inc.                   (estimated 75-80                                                   vegetation, wildlife,
                         (Not mapped) j                                                    acres)         P - 8 mile
                                                                                                                                                      aquatic resources, T&E,
Environmental Analysis




                                                                                                                                                        and socioeconomic
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                                                                                  Table 4.13.1-2 (continued)
                                             Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                    Resources
                                                                                                   Closest                       Included in
                              Project /                              Estimated                                                                  Potentially Affected
                                                                                                  Distance         Workforce     Cumulative
                               Activity               Developer      Timeframe    Project Size                                                 within the proposed
                                                                                                    from           (Con / Op)      Impact
                             (Mapped #)                              (Con / Op)                                                                Project’s Geographic
                                                                                                  Facilitiesa                     Analysis
                                                                                                                                                      Scopea
                         Transportation Projects
                                                                                                                                                 T - Water resources,
                                                                                                                                                 vegetation, wildlife,
                                                                                                                                               aquatic resources, T&E,
                                                                                                  T - 15 miles
                                                                                                                                                       land use,
                          East Loop (State                                                                                                       socioeconomics, air
                                                                       2019 /       6.7 miles                                                            quality
                          Highway 32)              TxDOT and CCRMA                                                  Unknown         Yes
                                                                      Unknown     (126.9 acres)
                          (#14)k                                                                                                                 P - Water resources,
                                                                                                                                                 vegetation, wildlife,
                                                                                                  P - 10 miles                                 aquatic resources, T&E,
4-401




                                                                                                                                                 socioeconomics, air
                                                                                                                                                         quality
                                                                                                                                                 T - Water resources,
                                                                                                                                                 vegetation, wildlife,
                                                                                                                                               aquatic resources, T&E,
                                                                                                   T - 7 miles
                                                                                                                                                        land use,
                          South Padre Island                                                                                                     socioeconomics, air
                                                                                   17.6 miles                                                            quality
                          Second Access            TxDOT and FHWAa    Unknown                                       Unknown         Yes
                                                                                  (240.6 acres)
                          (#17)l                                                                                                                 P - Water resources,
                                                                                                                                                 vegetation, wildlife,
                                                                                                  P – 8.7 miles                                aquatic resources, T&E,
                                                                                                                                                 socioeconomics, air
                                                                                                                                                         quality
Environmental Analysis
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                                                                                 Table 4.13.1-2 (continued)
                                            Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                Resources
                                                                                               Closest                       Included in
                            Project /                             Estimated                                                                 Potentially Affected
                                                                                              Distance         Workforce     Cumulative
                             Activity               Developer     Timeframe    Project Size                                                within the proposed
                                                                                                from           (Con / Op)      Impact
                           (Mapped #)                             (Con / Op)                                                               Project’s Geographic
                                                                                              Facilitiesa                     Analysis
                                                                                                                                                  Scopea
                                                                                                                                             T - Water resources,
                                                                                                                                             vegetation, wildlife,
                                                                                                                                           aquatic resources, T&E,
                                                                                              T - 15 miles
                                                                                                                                                   land use,
                         SH-4 Upgrade                                                                                                        socioeconomics, air
                                                                    2022 /
                         Projectm                    TxDOT                       Unknown                        Unknown         Yes                 quality
                                                                   Unknown
                         (#15)                                                                                                               P - Water resources,
                                                                                                                                             vegetation, wildlife,
                                                                                               P - 5 miles                                 aquatic resources, T&E,
                                                                                                                                             socioeconomics, air
4-402




                                                                                                                                                    quality
                                                                                                                                            T – Water resources,
                                                                                                                                             vegetation, wildlife,
                                                                                                                                           aquatic resources, T&E,
                                                                                              T – 7.4 miles
                                                                                                                                                   land use,
                         SH-100 Wildlife                                                                                                     socioeconomics, air
                                                                    2016 /                                                                          quality
                         Crossing Project            TxDOT                       0.1 mile                       Unknown         Yes
                                                                   Unknown
                         (#16)                                                                                                               P - Water resources,
                                                                                                                                             vegetation, wildlife,
                                                                                              P – 0.3 mile                                 aquatic resources, T&E,
                                                                                                                                             socioeconomics, air
                                                                                                                                                    quality
                                                                                              T – 54 miles                                        T – None
                         SH-77 Wildlife                                                                                                      P - Water resources,
                         Crossing Project            TxDOT         Unknown       Unknown                        Unknown         Yes          vegetation, wildlife,
                         (Not Mapped)                                                         P – 430 feet                                 aquatic resources, T&E,
                                                                                                                                             socioeconomics, air
Environmental Analysis




                                                                                                                                                    quality
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                                                                                  Table 4.13.1-2 (continued)
                                             Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                         Resources
                                                                                                        Closest                      Included in
                              Project /                                  Estimated                                                                   Potentially Affected
                                                                                                       Distance        Workforce     Cumulative
                               Activity                 Developer        Timeframe     Project Size                                                 within the proposed
                                                                                                         from          (Con / Op)      Impact
                             (Mapped #)                                  (Con / Op)                                                                 Project’s Geographic
                                                                                                       Facilitiesa                    Analysis
                                                                                                                                                           Scopea
                                                                                                                                                       T - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                                                                     aquatic resources, T&E,
                                                                                                      T – 11.2 miles
                                                                                                                                                         land use, visual,
                          SH-550 Connector                                                                                                             socioeconomics, air
                                                        TxDOT and                                                                                             quality
                          and Toll Project                               Operational    Unknown                         Unknown         Yes
                                                         CCRMAa
                          (#13)m                                                                                                                       P - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                       P - 5 miles                                   aquatic resources, T&E,
                                                                                                                                                       socioeconomics, air
4-403




                                                                                                                                                              quality
                                                                                                                                                       T - Water resources,
                                                                                                                                                   vegetation, wildlife, aquatic
                                                                                                      T – 12.6 miles                                resources, T&E, land use,
                                                  Brownsville South                                                                                visual, socioeconomics, air
                          Airport Terminal                                                                                                                    quality
                                                     Padre Island         Unknown       Unknown                        150/Unknown      Yes
                          Expansion (#32)n
                                                 International Airport                                                                                P - Water resources,
                                                                                                                                                   vegetation, wildlife, aquatic
                                                                                                      P – 8.7 miles
                                                                                                                                                        resources, T&E,
                                                                                                                                                   socioeconomics, air quality
                         Port of Brownsville Projects
                                                                                                                                                       T - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                                                                     aquatic resources, T&E,
                                                                                                      T - 7.5 miles
                                                                                                                                                         land use, visual,
                                                  Port of Brownsville                                                                                  socioeconomics, air
                          Brownsville Liquids
                                                     and Howard                                                                                               quality
Environmental Analysis




                          Terminal                                       Operational    Unknown                         Unknown         Yes
                                                  Midstream Energy
                          (#29A)                        Partners                                                                                       P - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                      P – 3.6 miles                                  aquatic resources, T&E,
                                                                                                                                                       socioeconomics, air
                                                                                                                                                              quality
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                                                                                  Table 4.13.1-2 (continued)
                                             Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                          Resources
                                                                                                         Closest                       Included in
                            Project /                                   Estimated                                                                     Potentially Affected
                                                                                                        Distance         Workforce     Cumulative
                             Activity                Developer          Timeframe     Project Size                                                   within the proposed
                                                                                                          from           (Con / Op)      Impact
                           (Mapped #)                                   (Con / Op)                                                                   Project’s Geographic
                                                                                                        Facilitiesa                     Analysis
                                                                                                                                                            Scopea
                                                                                                                                                       T - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                                                                     aquatic resources, T&E,
                                                                                                        T - 7.1 miles
                                                                                                                                                         land use, visual,
                         Bulk Liquids             Port of Brownsville                                                                                  socioeconomics, air
                         Terminal Facility          and Mavericks       Operational     Unknown                           Unknown         Yes                 quality
                         (#29B)                     Terminal, LLC                                                                                      P - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                        P – 3.2 miles                                aquatic resources, T&E,
                                                                                                                                                       socioeconomics, air
4-404




                                                                                                                                                              quality
                                                                                                                                                       T - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                                                                     aquatic resources, T&E,
                                                                                                        T- 13 miles
                                                                                                                                                         land use, visual,
                         GEOTRAC                                                                                                                       socioeconomics, air
                         Industrial Hub              OmniTRAX           Operational     1,400 acres                       Unknown         Yes                 quality
                         (#12)                                                                                                                         P - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                        P – 7.2 miles                                aquatic resources, T&E,
                                                                                                                                                       socioeconomics, air
                                                                                                                                                              quality
                                                                                                                                                       T - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                                                                     aquatic resources, T&E,
                                                                                                         T - 6 miles
                                                                                                                                                         land use, visual,
                         Port of Brownsville                                                                                                           socioeconomics, air
Environmental Analysis




                         Marine Cargo Dock                                            600-foot marine                                                         quality
                         16 and Storage Yard      Port of Brownsville   Operational                                       Unknown         Yes
                                                                                        cargo dock
                         (#24)                                                                                                                         P - Water resources,
                                                                                                                                                       vegetation, wildlife,
                                                                                                        P – 4.2 miles                                aquatic resources, T&E,
                                                                                                                                                       socioeconomics, air
                                                                                                                                                              quality
                                           USCA Case #23-1174               Document #2038760                   Filed: 02/02/2024   Page 565 of 732


                                                                                Table 4.13.1-2 (continued)
                                           Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                       Resources
                                                                                                      Closest                       Included in
                            Project /                                 Estimated                                                                    Potentially Affected
                                                                                                     Distance         Workforce     Cumulative
                             Activity              Developer          Timeframe     Project Size                                                  within the proposed
                                                                                                       from           (Con / Op)      Impact
                           (Mapped #)                                 (Con / Op)                                                                  Project’s Geographic
                                                                                                     Facilitiesa                     Analysis
                                                                                                                                                         Scopea
                                                                                                                                                    T - Water resources,
                                                                                                                                                    vegetation, wildlife,
                                                                                                                                                  aquatic resources, T&E,
                                                                                                     T – 6 miles
                         Centurion                                                                                                                    land use, visual,
                         Brownsville                                                                                                                socioeconomics, air
                         Terminal Processing    Centurion Terminals   Operational    280 acreso                         500/35         Yes                 quality
                         and Storage Facility                                                                                                       P - Water resources,
                         (Not mapped)                                                                                                               vegetation, wildlife,
                                                                                                     P – 2.2 miles                                aquatic resources, T&E,
                                                                                                                                                    socioeconomics, air
4-405




                                                                                                                                                           quality
                                                                                                                                                    T - Water resources,
                                                                                                                                                    vegetation, wildlife,
                                                                                                                                                  aquatic resources, T&E,
                                                                                                     T – 4 miles
                                                                                                                                                      land use, visual,
                                                                                                                                                    socioeconomics, air
                         Steel Mill (Not                                                                                                                   quality
                                                  Big River Steel      Unknown       800 acres                        1,500/500        Yes
                         mapped)p
                                                                                                                                                    P - Water resources,
                                                                                                                                                    vegetation, wildlife,
                                                                                                      P – 1 mile                                  aquatic resources, T&E,
                                                                                                                                                    socioeconomics, air
                                                                                                                                                           quality
                                                                                                                                                    T - Water resources,
                                                                                                                                                    vegetation, wildlife,
                                                                                     650- miles of                                                aquatic resources, T&E,
                                                                                       30-inch-      T – 5.1 miles
                                                                                                                                                      land use, visual,
                          Jupiter Crude Oil                                            diameter                                                     socioeconomics, air
                                                   Jupiter Energy
Environmental Analysis




                         Pipeline and Export                           Underway        pipeline                                                            quality
                                                  Group and Jupiter                                                    Unknown          Yes
                          Terminal Project                              / 2020        (estimated
                                                        MLP                                                                                         P - Water resources,
                                (#34)q                                              7,880) and 270
                                                                                      acres at the                                                  vegetation, wildlife,
                                                                                       Terminal      P – 1.4 mile                                 aquatic resources, T&E,
                                                                                                                                                    socioeconomics, air
                                                                                                                                                           quality
                                            USCA Case #23-1174         Document #2038760                       Filed: 02/02/2024   Page 566 of 732


                                                                                Table 4.13.1-2 (continued)
                                           Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                      Resources
                                                                                                     Closest                       Included in
                             Project /                            Estimated                                                                       Potentially Affected
                                                                                                    Distance         Workforce     Cumulative
                              Activity            Developer       Timeframe     Project Size                                                     within the proposed
                                                                                                      from           (Con / Op)      Impact
                            (Mapped #)                            (Con / Op)                                                                     Project’s Geographic
                                                                                                    Facilitiesa                     Analysis
                                                                                                                                                        Scopea
                         Waterway Improvement Projects
                          Brazos Island                                                                                                           T - All resources less
                                                                                                    T - Adjacent
                          Harbor Channel                                        Deepen the BSC                                                         vegetation
                          Improvement                COE          Underway                                            Unknown         Yes
                                                                               from 42 to 52 feet                                                 P - All resources less
                          (#6)                                                                      P - Adjacent
                                                                                                                                                  vegetation and visual
                                                 FWS, NMFS,                                         T - Adjacent                                    T - All resources
                          Bahia Grande          TxDOT, Laguna
                                                                                250-foot wide
                          Channel Restoration   Atascosa NWR,      Unknown                                            Unknown         Yes
                                                                                   channel          P - Crossed                                     P - All resources
                          (#7)                  Cameron County,
                                                   and BND
4-406




                          BSC and Turning                                                                                                         T - All resources less
                                                                                                    T - Adjacent
                          Basin Maintenance                       Underway /                                                                            vegetation
                          Dredging                   COE                           Unknown                            Unknown         Yes
                                                                   Ongoing                                                                        P - All resources less
                          (#9)                                                                      P - Crossed
                                                                                                                                                  vegetation and visual
                          Bend Easing BSC            BND           Unknown         Unknown          T - 5.5 miles    Unknown          Yes         T - All resources less
                          Improvement                                                                                                              vegetation, cultural
                          Project                                                                                                                 resources, and noise
                          (#27)                                                                     P – 7.7 miles                                 P - Water resources,
                                                                                                                                                    wildlife, aquatic
                                                                                                                                                    resources, T&E,
                                                                                                                                                     socioeconomics
Environmental Analysis
                                             USCA Case #23-1174          Document #2038760                 Filed: 02/02/2024   Page 567 of 732


                                                                                  Table 4.13.1-2 (continued)
                                             Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                  Resources
                                                                                                 Closest                       Included in
                            Project /                              Estimated                                                                  Potentially Affected
                                                                                                Distance         Workforce     Cumulative
                             Activity                Developer     Timeframe     Project Size                                                within the proposed
                                                                                                  from           (Con / Op)      Impact
                           (Mapped #)                              (Con / Op)                                                                Project’s Geographic
                                                                                                Facilitiesa                     Analysis
                                                                                                                                                    Scopea
                                                                                                                                              T - Water resources,
                                                                                                                                                 wildlife, aquatic
                                                                                                 T - 2 miles                                  resources, T&E, land
                         Port Isabel                                                                                                          use, socioeconomics,
                         Maintenance                                Underway /                                                                  visual, air quality
                         Dredging                      COE                        Unknown                         Unknown         Yes
                                                                     Ongoing
                                                                                                                                               P - Water resources,
                         (Not mapped)
                                                                                                                                                 wildlife, aquatic
                                                                                                P – 5.5 miles
                                                                                                                                                 resources, T&E,
                                                                                                                                                 socioeconomics
                                                                                                                                                T - Surface water,
4-407




                                                                                                                                              aquatics, vegetation,
                         Gulf Intercoastal                                                       T - 4 miles                                      wildlife, T&E,
                         Waterway                                                                                                             socioeconomics, and
                                                                    Underway /                                                                       land use
                         Maintenance                   COE                        423 miles                       Unknown         Yes
                         Dredging                                     2019
                                                                                                                                               P - Water resources,
                         (Not mapped)                                                                                                            wildlife, aquatic
                                                                                                P – 7.5 miles
                                                                                                                                                 resources, T&E,
                                                                                                                                                 socioeconomics
Environmental Analysis
                                              USCA Case #23-1174               Document #2038760                 Filed: 02/02/2024      Page 568 of 732


                                                                                   Table 4.13.1-2 (continued)
                                              Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                                 Resources
                                                                                                       Closest                         Included in
                              Project /                                  Estimated                                                                           Potentially Affected
                                                                                                      Distance         Workforce       Cumulative
                               Activity               Developer          Timeframe     Project Size                                                         within the proposed
                                                                                                        from           (Con / Op)        Impact
                             (Mapped #)                                  (Con / Op)                                                                         Project’s Geographic
                                                                                                      Facilitiesa                       Analysis
                                                                                                                                                                   Scopea
                         Other Projects and Activities Considered
                                                                                                                                                              T - Water resources,
                                                                                                                                                              vegetation, wildlife,
                                                                                                                                                            aquatic resources, T&E,
                                                                                                      T - 5.5 miles
                          SpaceX                                                                                                                                    land use,
                          Commercial               Space Exploration                                                                                         socioeconomics, and
                                                                         Underway /
                          Spaceport Project          Technologies                        70 acres                       150 / 47             Yes                      noise
                                                                           2019
                                                     Corporation
                          (#8)                                                                                                                                P - Water resources,
                                                                                                                                                              vegetation, wildlife,
                                                                                                      P – 6.5 miles
                                                                                                                                                            aquatic resources, T&E,
4-408




                                                                                                                                                              and socioeconomics
                                                                                                                                                              T - Water resources,
                                                                                                                                                              vegetation, wildlife,
                                                  Center for Advanced                                 T - 5.5 miles                                         aquatic resources, T&E,
                                                   Radio Astronomy,                                                                                               land use, and
                          Stargate Facility                                                                                                                     socioeconomics
                                                  University of Texas-   Operational     2.3 acres                      Unknown              Yes
                          (#23)
                                                   Rio Grande Valley                                                                                          P - Water resources,
                                                      and SpaceX                                                                                              vegetation, wildlife,
                                                                                                      P – 6.7 miles
                                                                                                                                                            aquatic resources, T&E,
                                                                                                                                                              and socioeconomics
                                                                                                       T - 8 miles                      No, since the
                                                                                                                                      facility is mobile,
                          Mobile Border            U.S. Customs and                                                                     no permanent
                          Check Point              Border Patrol State   Operational       N/A                          Unknown          facilities are               --
                          (#18)                        Highway                                        P – 5.1 miles                  proposed; also, the
                                                                                                                                           facility is
                                                                                                                                          operational
Environmental Analysis
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                                                                                 Table 4.13.1-2 (continued)
                                            Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                       Resources
                                                                                                     Closest                       Included in
                            Project /                                   Estimated                                                                  Potentially Affected
                                                                                                    Distance         Workforce     Cumulative
                             Activity               Developer           Timeframe    Project Size                                                 within the proposed
                                                                                                      from           (Con / Op)      Impact
                           (Mapped #)                                   (Con / Op)                                                                Project’s Geographic
                                                                                                    Facilitiesa                     Analysis
                                                                                                                                                         Scopea
                         South Padre Island                                                                                                           T – Land use and
                                                  COE, TGLO, and                                     T - 6 miles
                         Beach Re-                                                                                                                    socioeconomics
                                                 City of South Padre     Complete      0.8 miles                      Unknown         Yes
                         nourishment
                                                        Island                                      P – 9.9 miles                                    P - Socioeconomics
                         (#26)
                                                                                                                                                     T - Water resources,
                                                                                                                                                 vegetation, wildlife, aquatic
                                                 NPS and Palo Alto                                  T- 13 miles
                         Palo Alto Battlefield                                                                                                    resources, T&E, land use,
                                                 Battlefield National                                                                                and socioeconomics
                         Cultural Landscape
                                                  Historical Park /      Ongoing      Unknown                         Unknown         Yes
                         Restoration                                                                                                                 P - Water resources,
                                                  National Historic
                         (#25)                                                                                                                   vegetation, wildlife, aquatic
4-409




                                                      Landmark                                      P – 4.9 miles
                                                                                                                                                  resources, T&E, land use,
                                                                                                                                                     and socioeconomics
                                                                                                                                                    T – Water resources,
                                                                                                                                                 vegetation, wildlife, aquatic
                         Bahia Grande                                                                T - 5 miles
                                                                                                                                                  resources, T&E, land use,
                         Coastal Corridor                                                                                                            and socioeconomics
                         Project (Current         FWS and TPWD           Ongoing     2,129 acresr                     Unknown         Yes
                         Proposal)                                                                                                                   P - Water resources,
                                                                                                                                                 vegetation, wildlife, aquatic
                         (#30A, B, C)                                                               P – 2.5 miles
                                                                                                                                                  resources, T&E, land use,
                                                                                                                                                     and socioeconomics
                                                                                                                                                    T - All resources less
                                                                                                    T – 0.1 mile
                                                                                                                                                          vegetation
                         Opening of Bahia
                             Grande                     FWS              Unknown       1.0 acre                       Unknown         Yes           P - Water resources,
                                                                                                                                                 vegetation, wildlife, aquatic
                              (#33)                                                                  P – 1 mile
                                                                                                                                                      resources, T&E,
                                                                                                                                                 socioeconomics, air quality
Environmental Analysis
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                                                                                 Table 4.13.1-2 (continued)
                                            Projects and Resources Considered in the Cumulative Impacts Analysis for the Rio Grande LNG Project
                                                                                                                                                                                       Resources
                                                                                                                    Closest                                 Included in
                              Project /                                     Estimated                                                                                            Potentially Affected
                                                                                                                   Distance         Workforce               Cumulative
                               Activity                 Developer           Timeframe        Project Size                                                                       within the proposed
                                                                                                                     from           (Con / Op)                Impact
                             (Mapped #)                                     (Con / Op)                                                                                          Project’s Geographic
                                                                                                                   Facilitiesa                               Analysis
                                                                                                                                                                                         Scopea
                         Note: Unless otherwise noted, data were provided by the Project Applicant in its FERC Application and associated supplemental filings available for viewing on the FERC
                                  website, eLibrary, under Docket Nos. CP16-454-000 and CP16-455-000.
                         a
                                  T = Rio Grande LNG Terminal site; P = Pipeline System; T&E = threatened and endangered species; and CCRMA = Cameron County Regional Mobility Authority.
                         b
                                  The potable water supply line would also extend to serve the Texas LNG Terminal site; impacts are included with the new interstate pipeline for Texas LNG since the
                                  projects would be installed in the same corridor.
                         c
                                  Details on this project were provided by Annova LNG, which is under review by FERC at Docket Number CP16-480.
                         d
                                  Details on this project were provided by Texas LNG, which is under review by FERC at Docket Number CP16-116.
                         e
                                  The permanent rights-of-way for the VCP pipeline and proposed pipelines would be collocated with the BND utility corridor (25 feet).
                         g
                                  Natural Gas Intel 2019.
                         g
                                  Apex Clean Energy 2016.
4-410




                         h
                                  Kimley-Horn 2017, Windpower Engineering 2018.
                         i
                                  Accoina 2018.
                         j
                                  Kelley 2018, Linarares 2018; the South Texas Electric Cooperative has submitted nine potential routes for the transmission line so the reported project size is based on
                                  the upper bound of a range and the distances area approximated based on the general location where the transmission line would be built, e.g., just east of Rio Hondo.
                         k
                                  CCRMA 2019.
                         l
                                  CCRMA 2017.
                         m
                                  TxDOT 2016 and 2019.
                         n
                                  Clark 2018a.
                         o
                                  Smith 2017.
                         p
                                  Clark 2018b, Williams 2018; The exact location of the lands to be leased by Big River Steel are unknown, the reported distances are based on an assumed location,
                                  generally west of Goose Island, where is appears that 800 acres may be available.
                         q
                                  JupiterMLP 2018 and Jupiter 2018.
                         r
                                  The total acquisition goal is 7,000 acres.
                         s
                                  FWS 2018c.
Environmental Analysis
        121102080500
           East Main
      Drain-Laguna Madre                                                                                                                    31
                                                                                                                                                      121102080300
                                         121102080300                                                                                                   Upper Pilot
                                           Upper Pilot                                                                  MP 100.0
                                                                                                                                                   Channel-Laguna Madre
                                      Channel-Laguna Madre                                                              '
                                                                                                                        4




                                                                                                                                                                                                                                                                                             USCA Case #23-1174
                                       US
                                           Hw
                           State Highway




                                            y7
                                107




                                              7B
                                                                 121102080700



                                                 us
                                                              Line V Canal-Arroyo
                                                                   Colorado                                                                           '
                                                                                                                                                      4 MP 110.0
                                                                                                                                                                                                                                               121102081000
                                                                                                                                    21                                                                                                         Lower Laguna
                                                                                                                                                          121102080800                                                                             Madre
                                                                                                                                                         Laguna Atascosa
                                                      Tyler                                                                                                                              30A
                            3
                          y8
                     Hw
                US
                                                                   St
                                                                        at
           121102080600                                                      e
                                                                                 Hw
 St a te   La Feria Main                                                            y                                                                                                                         30B                               17
         4                                                                              44
Hwy 37 Canal-Arroyo Colorado                                                              8




                                                                                                                                                                                                                                                                                             Document #2038760
                                                                                 US
                                                                                      Hw                                                                                                                                                                              26
                                                                                        y
                                                                                              77
                                                                                                                                                                               20

                                                                                                                                                   MP 120.0
                                                                                                                                                             '
                                                                                                                                                             4
                                                                                                                                                                                                       30C
                                                                                                                                                                                                                          State Hwy
                                                                                                                                                                                                                                      10
                                                                                                                                                                                                                                           0
                                                                                                                                                                                                                                                                            Gulf of
                                                                                                                                                                                         16
              US
                                                                22                                                                                                                                                                                                     27
                                                                                                                                                                                                                                                                            Mexico
                 H   wy                                                                                                                                                                                               7
                          28                                                                                                                                                        22
                               1
                                                                                                                                                                                                                                                        2
                                                                                         57 7




                                                                                                                                    19
                                           FM
                                           509




                                                                                                                                                                                                                                                        9
                                                                                        FM 1




                                                                                                                                              25                                                                                       28
                                                                                                                                                                                                                                                   33
                                                                                                                                                                                                                                10
                                                                                                                                                                                                                                               1
                                                                                                                                             12                                                        MP 130.0                                                       23
                                                                                                                                                                                                                                      3
                                                                                                                                                                                                      '
                                                                                                                                                                                                      4                                                           8
                                                                                                                                                       13                                                         5
                                                                                                                       121102080900                                      11                                                4
                                                                                                                  Bahia Grande-Brownsville                                                                        8
                                                                                                                        Ship Channel                                                                       wy
                                                                                                                                                                                                              4       6
                                                                                                                                                                                                      te H
                                                                                                                                                                                               S ta




                                                                                                                                                                                                                                                                                             Filed: 02/02/2024
                                                                                                                                                                                        29A
                                                                                                                                                                                                34
                                                                                                                                                                                    29B
                                                                                                                                                                a   nd        24                             130900020000
                                                                                                                                                            Isl
                                                                                                                                                        dre                              18                    Outlet Rio
                                                                                                                                                     Pa                            15                           Grande
                                                                                                                                           Boca
                                                                                                                                           Chica
                                                                                                                                                                    32
                                                                                                                                      th
                                                                                                                                S   13
                                                                                                                               am




                                                                                                                                     l
                                                                                                                                P er
                                                                                                                                                                                   14




                                                                                                                                                                                                                                                                                             Page 571 of 732
                                                                                                                   Legend




                                                      Gulf of
                                                                                                   Cumulative Impact
                                                                                                   Analysis Project
                                                                                                   Proposed LNG Terminal
                                                                                                   Boundary
                                                                                                   (Facility Footprint)
                                                                                                                                   0.5-Mile Buffer
                                                                                                                                   1-Mile Buffer
                                                                                                                                   12-Mile Buffer
                                                                                                                                   Watershed (HUC12)
                                                                                                                                                                              0
                                                                                                                                                                                              ±
                                                                                                                                                                                              2.5                     5
                                                                                                                                                                                                                                                              Rio Grande LNG Project

                                                                                                                                                                                                                                                             Cumulative Projects Overview
                                                      Mexico
                                                                                                   Proposed Rio Bravo
                                                                                                   Pipeline
                                                                                                                                                                                                                                                            of the Rio Grande LNG Terminal
                                                                                                                                                                                          Miles

                                                                                                                                                                                                                                                                   Figure 4.13.1-1
                                                                                                                                                                                   Scale: 1:350,000
                                                                                         Basemap Source: ESRI 2013
           USCA Case #23-1174                                     Document #2038760                                                    Filed: 02/02/2024Aransas Page 572 of 732
                                                                                                                                              San Patricio                                      Aransas
                                                                                                                                                                                       County
                                                                                                                                                County                                          County

Webb
County


                                                                                                                               Nueces County
                                                                       Jim Wells
                                                                        County

                               Duval County


                                                                  121102040203



                                                             121102050104
                                                                                 Â
                                                                                 C
                                                                                                                   Kleberg
                                                                                                                   County
                                                                       121102050105
                                                                                                    121102050702

                                                                                                           121102050703
                                                                                      121102050406                    121102050705

                                                                                        121102050407
                                                                                                                   121102050706
                                                                                           121102060502




                    Jim Hogg
                                                         Brooks County
                     County



                                                                                                                   Kenedy County                                                                     Gulf of
                                                                                                                                                                                                     Mexico
                                                                   121102070000




                                                                                                               Â
                                                                                                               C




                      Starr County                                                                                                     121102080500
                                                                                                                    Willacy
                                                                                                                    County
                                                              Hidalgo
                                                              County
                                                                                                                                                   31



                                                                                                                                                             121102080800
                                                             121102080300                                              121102080700
                                                                                                                                                  21
                                                                                                                                                                   30A
                                                                                                                                   Cameron
                                                                                                                                    County                                  30B   17
                                                                                                                                                                                          26
                                                                                                                                                             20
                                                                                                                              22                                  16 30C
                                                                                                                                             34                        7                  27
                                                                                                                                                  19                33   2
                                                                                                                                                                   102822
                                                                                                                                                    25                                    23
                                                                                                                                              12       11     5
                                                                                                                                                                  4 C
                                                                                                                                                                        9 8       Â
                                                                                                                                                          29A       3 1
                                                                                                                                                 13
                                                                                                                                                           29B346
                                                                                                                                                          24
                                                                                                                                          121102080900
                                                                                                                                                                       18
                                                                                                                                                       32
                                                                                                                                                                  15

                                                                                                                                                                  14




                                                                        Legend
                               Houston
                                                                                                                                      0                     10                    20
                                                  Cumulative Impact                0.5-Mile Buffer
                                                  Analysis Project

                                                  Proposed Alignment
                                                                                   1-Mile Buffer                                                       Miles                           Rio Grande LNG Project
             TX



                                                                                                                              ±
                                                                                   12-Mile Buffer
         Corpus                               Â
                                              C   Compressor Station
          Christi
                                                  Header System
                                                                                   31-Mile Buffer
                                                                                   Compressor Stations 1 and 2                                                                             Cumulative Projects
                           Gulf of
                           Mexico
                                                  Proposed LNG Terminal
                                                  Boundary
                                                                                   31-Mile Buffer (Terminal)                                      Scale: 1:1,150,000                        Overview of the
                                                  (Facility Footprint)             Watershed (HUC12)                                                                                       Rio Bravo Pipeline
                                                                                                                          Basemap Source: Esri, DeLeLorme, NAVTEQ,
    Brownsville
                                                                                                                          USGS, Intermap, iPC, NRCAN, Esri Japan, METI,
  Mexico                                                                                                                  Esri China, Esri Thailand, Tom Tom, 2013
                                                                                                                                                                                                Figure 4.13.1-2
                                 ±
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        Gulf Coast Liquefaction Project

        Gulf Coast LNG Export, LLC (Gulf Coast) was planning to develop a liquefaction and
 LNG export facility on a 500-acre site at the Port of Brownsville, about 4 miles west of the Rio
 Grande LNG Terminal site (see figure 3.3.2-1). In May 2016, Gulf Coast filed a request to
 withdraw its application and vacate its authorization previously received from DOE to export to
 FTA nations and non-FTA nations. Therefore, this project is no longer active, and it has not
 been included in our cumulative impact analysis, as indicated in table 4.13.1-2.

        Texas LNG Terminal Project

         Texas LNG has proposed a liquefaction and LNG export terminal on the BSC in
 Cameron County, bordering the northeast boundary of the Rio Grande LNG Terminal site (see
 figure 3.3.2-1). The Texas LNG Terminal Project (Texas LNG Project) would impact 311.5
 acres of land and would include two LNG trains with an overall LNG capacity of approximately
 4.0 MTPA, two 210,000 m3 LNG storage tanks, and a marine berth to accommodate one LNG
 carrier. The Agua Dulce Hub would supply feed gas to the terminal via a new, 150-mile-long
 intrastate natural gas header pipeline.

         Texas LNG’s request to enter the FERC pre-filing process was approved on April 14,
 2015, under Docket No. PF15-14; its formal application was filed with the FERC on March 30,
 2016, under Docket No. CP16-116. Texas LNG anticipated that construction would begin in
 2018 with an in-service date of 2022. However, this timeline is no longer feasible. Other non-
 jurisdictional facilities, including electricity and water, would be provided by AEP and BND,
 respectively. These are discussed in section 4.13.1.2.

 4.13.1.2       Non-jurisdictional Facilities Associated with the Rio Grande LNG Project

         As described in section 1.4, the proposed Rio Grande LNG Terminal, which is a FERC-
 jurisdictional facility, would require power, potable water, and sewer services. However, these
 services do not fall under the jurisdiction of the FERC. RG LNG has also proposed LNG truck
 loading facilities and modifications to SH-48. Each of these projects has been included in our
 cumulative impacts analysis.

        LNG Trucking

         The proposed LNG trucking infrastructure within the Rio Grande LNG Terminal would
 be jurisdictional to FERC; however, LNG trucking activities that take place after the LNG truck
 has departed from the LNG Terminal do not fall under FERC jurisdiction. During operation of
 the Rio Grande LNG Terminal, a portion of the LNG would be loaded onto trucks for road
 distribution to refueling stations in Texas and the surrounding states. While no agreements have
 been executed for the transportation of LNG in trucks, RG LNG is proposing to construct four
 loading bays designed with a maximum load rate per bay of 300 gpm. Each bay would be able
 to accommodate up to 15 tanker trucks per day, for trucks with a maximum carrying capacity of
 13,000 gallons. LNG trucks calling on the Rio Grande LNG Terminal are expected to deliver the
 LNG to any of the 30 LNG fueling stations currently in operation in south Texas, or to additional
 LNG refueling stations currently under development.



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        Tie-in to Potable Water, Sewer, and Telecommunication Services

         BND is planning to construct a freshwater supply system to serve various customers of
 the Port of Brownsville. RG LNG would connect the LNG Terminal site to the anticipated 16-
 inch-diameter water supply header that would be installed along the northern boundary of the
 Rio Grande LNG Terminal site south of SH-48. As part of the same expansion effort for the Port
 of Brownsville customers, BND is planning to construct a new sewage header that would
 connect to an existing treatment plant. RG LNG would connect the LNG Terminal site to the
 anticipated 12-inch-diameter sewage header that would be located in the same corridor as the
 BND’s planned freshwater supply system. The potable water line would also extend to serve the
 Texas LNG Terminal site. Telecommunication service for the LNG Terminal would be
 accommodated by a new 4-inch-diameter fiber optic cable buried within BND utility corridor to
 accommodate the water and sewer service.

         RB Pipeline is currently evaluating the utility needs for Compressor Stations 1 and 2, as
 well as for the booster stations. Compressor Station 3 would be constructed within the Rio
 Grande LNG Terminal site; therefore, it would be served through the power sources discussed
 above.

        Power Supply

         RG LNG anticipates that power for operation of the Rio Grande LNG Terminal would be
 supplied through planned upgrades to AEP’s existing system. AEP would build a double-circuit
 138 kV overhead power line that would connect the AEP Union Carbide and Loma Alta
 substations. The power line would run south of SH-48 along the northern boundary of the Rio
 Grande LNG Terminal site. The power lines would continue beyond the Rio Grande LNG
 Terminal to provide power to the Texas LNG Terminal site.

         RB Pipeline is currently evaluating the utility needs for Compressor Stations 1 and 2, as
 well as for the booster stations. Compressor Station 3 would be constructed within the Rio
 Grande LNG Terminal site; therefore, it would be served through the power sources discussed
 above.

        Road Widening (SH-48)

         TxDOT is currently planning to update portions of SH-48 along the Rio Grande LNG
 Terminal site to accommodate access. Modifications were identified during RG LNG’s
 coordination with TxDOT and include the addition of land for acceleration, deceleration, and
 turning lanes, as well as traffic lights. Similar modifications to SH-48 would also be completed
 adjacent to the proposed Texas LNG Project site. During a November 2018 meeting, RG
 Developers also identified a reduction in speed limit near the LNG Terminal site along SH-48.
 TxDOT requested that RG Developers provide an updated Traffic Impact Analysis for review,
 including a speed study, to assess the current road conditions and traffic mitigation. RG
 Developers anticipates providing the updated Traffic Impact Analysis to TxDOT for review and
 approval in the third quarter of 2019.




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 4.13.1.3       Intrastate Pipeline Facilities

        Kingsville to Brownsville Pipeline

         Annova LNG plans to receive natural gas supply from a third-party-owned and operated
 intrastate pipeline running from Kingsville to Brownsville (Kingsville to Brownsville Pipeline),
 which Annova LNG anticipates would be in constructed in 2021. The pipeline would be an
 approximately 130-mile-long, 36-inch-diameter pipeline and would transport natural gas from
 the Agua Dulce Hub near Kingsville to various delivery points between Kingsville and
 Brownsville, ending at the Annova LNG facility. Because the developer of the pipeline has not
 yet been identified, the exact location of the pipeline is unknown.

        Intrastate Pipeline to the Texas LNG Project

          A new non-jurisdictional 30-inch-diameter intrastate pipeline would be constructed to
 supply natural gas to the Texas LNG Project. Texas LNG anticipates that the pipeline would be
 approximately 10.2 miles long and would interconnect with the proposed Cross Valley Pipeline
 Project. Texas LNG also anticipates that an additional 15,000 hp of compression would be
 needed to move the incremental gas destined for Texas LNG in Agua Dulce at the same
 compressor station constructed for the Cross Valley Pipeline Project, with an additional 50,000
 hp compression also needed about halfway between Agua Dulce and Brownsville. Construction
 of the 10.2-mile-long intrastate natural gas pipeline would likely require a 100-foot-wide
 construction right-of-way and would be primarily collocated with other non-jurisdictional
 facilities associated with the Texas LNG Project, south of SH-48. The intrastate pipeline would
 originate about 5 miles west of RG LNG’s Rio Grande LNG Terminal site within the BND
 utility corridor (described above for the non-jurisdictional facilities) following a northeastern
 route to the Texas LNG Terminal site. Texas LNG anticipates that construction on the intrastate
 natural gas pipeline would begin in 2019 and take less than 1 year to complete.

        Valley Crossing Pipeline (also known as the Nueces-Brownsville Pipeline)

        VCP, a subsidiary of Enbridge, Inc., installed a 165-mile-long intrastate pipeline to
 supply gas to Comisión Federal de Electricidad, Mexico’s stated-owned utility (Enbridge 2018).
 The VCP, which originates near the Agua Dulce Hub in Nueces County, was placed into service
 in October 2018. The terminus of the pipeline is about 9 miles offshore of the BSC. The VCP is
 adjacent to the Rio Bravo Pipeline Project between MPs 35.6 and 70.0, crosses the Project at
 MPs 69.3 and 131.5, and is collocated with the Project’s permanent right-of-way between MPs
 132.3 and 135.4. In addition, the pipeline crosses the Rio Grande LNG Terminal site outside the
 boundary of the facility.

 4.13.1.4       Oil and Gas Facilities

         In section 4.1.2 we identified 57 active and producing oil or gas wells within 0.25 mile of
 the Pipeline System, as well as 15 permitted wells that have not yet been drilled. No active or
 producing wells were found near the Rio Grande LNG Terminal site. Given the presence of
 known mineral resources in the area and expected development in the oil and gas industry, it is
 likely that new wells will become active in the future and potentially concurrent with the
 construction and operation of the Rio Grande LNG Project.


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 4.13.1.5       Electric Transmission and Generation Projects

         There are two proposed electric generation projects, as well as one currently under
 construction and four already in operation in the vicinity of the proposed Rio Grande LNG
 Project. The South Texas Electric Cooperative is expected to begin constructing a new, 15-mile-
 long, 138 kV electric transmission line in 2019. This transmission line would provide electricity
 to the Annova LNG Project described above. According to Annova LNG, the 15-mile-long
 transmission line would be constructed in a 100-foot-wide right-of-way that originates at the
 existing Farm-to-Market Road 511 Substation and would terminate at a switchyard to be
 constructed within the proposed Annova LNG site. The connection and transmission system
 would be permitted, constructed, owned, and operated by the South Texas Electric Cooperative,
 and would include:

    •   modifications of the existing Farm-to-Market Road 511 and Waterport Electric Substations
        to provide interconnection to the new 138-kV line;

    •   a new 138-kV switchyard on the Annova LNG Terminal site; and

    •   a new 138-kV line between the existing and new switchyard.

       The transmission line would run from the Annova LNG site southwest towards
 Brownsville and would be about 0.3 mile from the Rio Grande LNG Terminal site.

         The Tenaska Brownsville Generating Station is proposed for construction on 270 acres in
 Cameron County, about 7 miles west of the Pipeline System near MP 128. Tenaska anticipates
 the facility will be placed in service in 2019.

         The Stella and Palmas Altas Wind Farms are currently under construction. Construction
 of E.ON’s 201-megawatt Stella Wind Farm began in January 2017; the timing of operation for
 its 67-turbine facility is currently unknown. Acciona Energy’s Palmas Altas Wind Farm will
 include 46 wind turbines with a capacity of 144.9 megawatts and is expected to be operational by
 November 2019 (Acciona 2018). The Stella Wind Farm is about 12 miles east of the Pipeline
 System, while the Palmas Altas Wind Farm would be crossed by the pipelines between MPs
 104.0 and 106.5.

         South Texas Electric Cooperative, Inc. is proposing to construct the Palmas to East Rio
 Transmission Line, in part to support the transport of energy generated by the Palmas Altas Wind
 Farm (Kelley 2018). The transmission line would be between 6.2 and 6.6 miles long, pending
 selection of a final route (Linares 2018), which suggests an overall footprint between 75 and 80
 acres. Based on the project’s general location, reported as just east of Rio Hondo, we estimate
 the project would be about 8 miles west of the Pipeline System.

        There remaining projects that are currently in operation include the San Roman,
 Cameron, and Bruenning Breeze Wind Farms, and the Cross Valley Project. Acciona Energia
 acquired the San Roman Wind Project from the former developer, Pioneer Green Energy (2016).
 The project became operational in 2016 and includes 31 wind turbines along the proposed
 Pipeline System route between MPs 122.0 and 124.0.


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          The Cameron Wind Farm was built by Apex Clean Energy in 2015. The 165-megawatt
 facility includes 55 turbines on 15,000 acres of leased agricultural land that would be traversed
 by the Pipeline System between MPs 107.1 and 116.1. In December 2017, E.ON commissioned
 the Bruenning Breeze Wind Farm in Willacy County; this 228-megawatt facility has 76 turbines.
 The Cross Valley Project has been operational since 2016 and includes a 345-kV electric
 transmission line routed from Edinburg to Palmito. This transmission line would be crossed by
 the proposed Pipeline System route at MPs 122.0 and 128.0.

 4.13.1.6       Transportation Projects

         In addition to the modifications of SH-48 associated with access to the Rio Grande LNG
 Terminal site, TxDOT has plans to construct four projects and recently completed one project, as
 presented in table 4.13.1-2. These projects could contribute to cumulative impacts within the
 geographic scope for many resources, as noted in section 4.13.2. None of the TxDOT projects
 would be crossed by the Rio Grande LNG Project. The closest TxDOT project would be one of
 the planned wildlife crossings under SH-100, which would be about 0.3 mile from MP 123 of
 RB Pipeline’s proposed pipeline facilities. As discussed in section 4.6.1.4, two planned wildlife
 crossings were identified along U.S. Highway 77 during consultation with the FWS; the
 crossings are planned for installation by TxDOT, in consideration of recommendations from the
 FWS. These two crossings would be about 550 feet east of MP 49.9 and 430 feet east of MP
 62.1; however, as the crossings have not yet been constructed, the location of the openings in
 relation to the proposed Pipeline System are not known.

         A second access roadway and bridge to Padre Island is currently in the FHWA
 environmental review process and construction will commence pending final approval if funding
 is available (Cameron County Regional Mobility Authority [CCRMA] 2017). TxDOT and the
 FHWA, in cooperation with the CCRMA, are planning the 17.6-mile-long project that would be
 about 7 miles northeast of the Rio Grande LNG Terminal site.

         TxDOT is planning an East Loop of SH-32, which includes a four- to six-lane highway
 that would also begin at the intersection Farm-to-Market Road 3068 to Farm-to-Market Road
 1419, but would extend west to the Veterans International Bridge and Interstate 69 as would be
 4.5 miles long (CCRMA 2019). The goal of the loop is to improve traffic flow in the area
 around and near the Port of Brownsville. This project would be 15 miles southwest of the Rio
 Grande LNG Terminal site and construction could begin in 2019. TxDOT is also planning a 1.4-
 mile-long upgrade to SH-4, which includes a 2-lane, undivided highway to a planned entrance to
 the Port of Brownsville (TxDOT 2019). This project, which would be 15 miles southwest of the
 Rio Grande LNG Terminal site, is currently under development.

        The SH-550 Connector and Toll project became operational in June of 2015, based on a
 collaborative effort between TxDOT and the CCRMA (TxDOT 2016). Although the project is
 operational, it was identified during the agency review process as potentially contributing to
 impacts with the proposed Project; therefore, it is identified here. This limited access toll road
 provides access to the BSC and is about 5 miles west of the Rio Grande LNG Terminal site.

         A new, larger airport terminal is proposed to be built at the Brownsville South Padre
 Island International Airport (Clark 2018a). Expansion of the existing airport, which is about


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 12.6 miles southwest of the Rio Grande LNG Terminal site, would allow additional airlines to
 provide service from this location, as well as increase the airport’s overall passenger capacity.
 The timing of the expansion is currently unknown.

 4.13.1.7       Port of Brownsville Projects

          Six projects associated with strategic development efforts associated with the Port of
 Brownsville’s proximity to Mexico and the international movement of goods, were identified as
 having the potential to contribute to cumulative impacts. The Brownsville Liquids Terminal was
 completed in 2014 and is composed of 21 tanks that can accommodate up to 221,000 barrels of
 liquid storage (Howard Midstream 2015). The Bulk Liquids Terminal Facility, which was
 completed in 2015, includes four tanks and the potential for capacity up to 700,000 barrels of
 liquid storage with future expansions (Howard Midstream 2015). These facilities are on either
 side of the BSC from one another, 7.5 and 7.1 miles southwest of the Rio Grande LNG Terminal
 site, respectively.

        Dock 16 became operational in 2015, increasing the Port of Brownsville marine cargo
 holding capacities and versatility to maintain the pace of growing demand (Global Trade 2015).
 The 600-foot dock can accommodate cargo vessels with drafts up to 39.5 feet and is the second
 heavy-load capacity dock in Brownsville. Dock 16 is about 6 miles west of the Rio Grande LNG
 Terminal site.

        One of America’s largest private railroad and transportation management companies,
 OmniTRAX, developed a large-scale industrial park on 1,400 acres of BND-owned land
 (GEOTRAC Industrial Hub). The park provides opportunities for light and heavy
 manufacturing, logistics, energy services, technology development, and export/import
 warehousing. Centurion Terminals recently constructed the Brownsville Terminal Processing
 and Storage Facility with over 1.5 million barrels of crude storage capacity, including a liquid
 cargo dock, three-track rail spur, 10-truck lease automatic custody transfer skids, and an initial
 two processing towers to process condensate to 50,000 barrels per day to produce products for
 local markets or export.

         In April of 2018, the BND voted to lease 800 acres of land between the BCS and SH-48
 to Big River Steel for construction and operation of a Steel Mill and distribution facility (Clark
 2018b). The facility would be modeled after Big River Steel’s Arkansas plant, which is a LEED-
 Certified facility a green-building rating system), and would use scrap steel from local
 recyclers(Clark 2018b). Construction and operation of this facility would create about 1,500 and
 500 jobs, respectively (Williams 2018). Based on timing associated with permitting
 requirements and engineering designs, construction could start in the 2nd quarter of 2020 and
 would last about 2 years; however, Big River has not formally announced its schedule (Williams
 2018). The exact location of the lands to be leased to Big River Steel are unknown; however,
 based on our review of aerial data, we identified the closest location in proximity to the Project
 to allow for conservative estimates of proximity, land west of Goose Island, which suggest the
 mill could be as close as 4 miles to the Rio Grande LNG Terminal site.

        Jupiter Energy Group and JupiterMLP, LLC (collectively, Jupiter) has secured funding to
 construct a pipeline to transport crude oil from the Permian Basin to the Port of Brownsville


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 (Jupiter Pipeline). Jupiter has also obtained permits to receive vessels up to 65,000 deadweight
 tons and to construct 2.8 million barrels of storage at its existing terminal in Brownsville (Jupiter
 Export Terminal; JupiterMLP 2018, Jupiter 2018). Additional permits for increased storage at
 the terminal to achieve an overall 10 million barrels of storage capacity are pending. The 350-
 mile-long Jupiter Pipeline would originate near Crane, Texas and generally run southeast to the
 Three River/Gardendale Terminal before turning south, taking a similar route as the Rio Bravo
 Pipeline to its terminus in Brownsville. The modifications and improvements at the Jupiter
 Export Terminal would occur on 270 acres land about 5.1 miles west of the Rio Grande LNG
 Terminal site. Collectively, the pipeline and terminal expansion are referred to as the Jupiter
 Project.

 4.13.1.8       Waterway Improvement Projects

         Seven dredging and waterway maintenance projects were identified as having the
 potential to contribute to cumulative impacts. Four of these projects are associated with the
 COE’s ongoing maintenance efforts and include maintenance dredging of the BSC, Port Isabel,
 the Brazos Island Harbor Channel, and the Gulf Intercostal Waterway to facilitate movement of
 vessels trough these waterways (COE 2015a). All of these efforts, less the Bahia Grande
 Channel Restoration, are currently underway, and similar efforts are expected in the future as
 needed to safeguard these waterways. The Gulf Intercoastal Waterway dredging project is
 scheduled to be completed in 2019 (DredgingToday.com 2019).

         As discussed throughout section 4.0, the Bahia Grande Channel was constructed in 2005
 to connect the BSC to the Bahia Grande to restore tidal exchange to the Bahia Grande (FWS
 2016). As part of a comprehensive restoration plan, the Bahia Grande Channel would be
 expanded from about 34 feet wide to 250 feet wide to increase tidal exchange (Ocean Trust
 2009, FWS 2010a). The project was issued an individual permit by the COE under permit
 number SWG-2003-01954 in 2016; however, the timing of restoration efforts is currently
 unknown. The existing channel is adjacent to the Rio Grande LNG Terminal site, and widening
 efforts would result in the dredging of an area along the western extent of the property. The
 channel would be crossed by the Pipeline System via HDD.

          The BND is investigating the need to modify the entrance to the BSC to provide greater
 flexibility, accommodate the deeper draft of the largest vessels that transit the expanded Panama
 Canal, and allow for safe navigation of deep-draft vessels, especially in inclement weather. The
 timing of these improvement activities is currently unknown. The area of improvement is about
 5.5 miles east of the Rio Grande LNG Terminal site.

 4.13.1.9       Other Projects and Activities Considered

        Five other projects and activities were identified as having the potential to contribute to
 cumulative impacts. In early 2016 the Galveston District of the COE completed a beach re-
 nourishment project in collaboration with the City of South Padre Island (COE 2015b). About
 651,000 yd3 of dredged material from the BSC was placed across 0.8 mile of shoreline along
 South Padre Island about 6 miles northeast of the LNG Terminal sites.




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         The Bahia Grande Coastal Corridor Project is a multi-stage project currently underway,
 with the goal of acquiring land for conservation purposes. The Nature Conservancy,
 Conservancy Fund, FWS, and TPWD are working to identify parcels for acquisition, through
 purchase or easement, to connect the Lower Rio Grande Valley NWR, Laguna Atascosa NWR,
 Boca Chica State Park, and other privately held land to provide protection for various threatened
 and endangered species, as discussed in section 4.7. These lands to be acquired are 2.5 or more
 miles from the proposed LNG Terminal (see figure 4.13.1-2). An existing easement on BND
 land, which is associated with this project, is held by the FWS and acts as a wildlife corridor for
 ocelots and other wildlife to cross SH-48 to habitat on either side. This corridor would be
 crossed by the Pipeline System between MPs 134.5 and 134.7; however, as the crossing would
 be constructed by HDD, direct impacts would be avoided. To date, the conservation sponsors
 noted above have acquired 2,129 acres out of a total acquisition goal of 7,000 acres (The Nature
 Conservancy 2017). The lands recently acquired and identified for future acquisition are
 included in this analysis.

         The FWS is planning to construct a public parking lot, information kiosk, and contact
 station at its Red Gate Entrance off SH-48 in Cameron County. The new access site is part of a
 multi-phase effort by the Laguna Atascosa NWR to increase visitation to the Bahia Grande Unit
 per the goals and objectives of its Comprehensive Conservation Plan (FWS 2018c). The timing
 of construction of the new access site is currently unknown. Further, it is unknown whether
 these plans would be modified, or abandoned, if the proposed LNG Terminal is approved and
 constructed.

         The NPS and Palo Alto Battlefield National Historical Park/National Historic Landmark
 developed an Integrated Vegetation Management Plan with the goal of restoring and maintaining
 the landscape and vegetation within the battlefield for cultural and historic preservation (NPS
 2014). The project aims to remove the invasive woody and cacti vegetation from the battlefield
 and reintroduce gulf cordgrass. In addition to mechanical, cultural, chemical, and biological
 treatments to maintain the cultural landscape of the battlefield, prescribed fires will be utilized to
 promote the development of the cordgrass as well as prevent the reestablishment of the invasive
 woody and cacti vegetation. Maintenance of the landscape in accordance with the Integrated
 Vegetation Management Plan is ongoing; the Palo Alto Battlefield National Historical
 Park/National Historic Landmark is about 13 miles northwest of the Rio Grande LNG Terminal
 site.

         Development of a commercial space launch facility, SpaceX, about 5.5 miles southeast of
 the Rio Grande LNG Terminal site, began in September 2014, and the first launch is anticipated
 as soon as 2019 (SpaceX 2014, Brownsville Herald 2019). A related “Stargate Facility”, which
 was completed in March 2019, is on a 2.3-acre parcel adjacent to the SpaceX facilities. The
 Stargate Facility is a 15,000-square-foot research center, was designed to provide students and
 professors of the University of Texas, Rio Grande Valley capabilities to track spacecraft
 (University of Texas Brownsville 2015). Construction of the facility began in 2016 and would
 be fully operational in late 2018/early 2019 (University of Texas-Rio Grande Valley 2018,
 Montoya 2019).




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 4.13.1.10      Residential Developments

         As of this writing, no planned residential developments have been identified within 0.25
 mile of the Rio Grande LNG Project.

 4.13.2 Potential Cumulative Impacts by Resource

         The following sections address the potential cumulative impacts of the activities
 identified within the geographic scope on specific environmental resources, as identified in table
 4.13.1-2. The projects considered in each section that are most likely to contribute to cumulative
 impacts with the Project are those that would occur within the same timeframe as the proposed
 Project.

 4.13.2.1       Geologic Resources and Soils

          The geographic scope for geologic resources and soils was defined as the area that would
 be affected by, or immediately adjacent to, the Rio Grande LNG Project. Large projects with
 ground disturbance and excavation associated with construction and permanent aboveground
 facilities would have the greatest impacts on geologic resources and soils. The Texas LNG
 Project and associated intrastate pipeline, non-jurisdictional facilities, the Cameron and Palmas
 Altas Wind Farms, VCP, Cross Valley Project where it is parallel to the proposed Rio Bravo
 Pipeline, three of the waterway improvement projects, and the active and producing oil or gas
 wells have the greatest potential to contribute to cumulative impacts on geologic resources and
 soils.

        Projects that would be constructed in close proximity to one another, and require
 evacuation or considerable grading, would generally have greater impacts on geological
 resources and soils than projects with limited ground disturbance or those projects that are
 separated by time and space. Therefore, the potential increase for erosion and impact on
 geological hazards would be highly localized and limited primarily to the period of construction.

        LNG Terminal

        Geologic Resources

         Construction of the LNG Terminal would permanently modify topographic contours
 present at the site. Similarly, the Texas LNG Project, which would be adjacent to RG LNG’s
 site, would permanently alter topographic contours through cut and fill activities, import of fill,
 and dredging of a marine berth. The Brazos Island Harbor Channel Improvement Project would
 deepen the BSC from -42 feet to -52 feet, which would also alter topographic contours near the
 proposed Project. The BSC and Turning Basin Maintenance Dredging waterway improvement
 project involves ongoing dredging to maintain sufficient depths for deep-draft vessels (see table
 4.13.1-2). The non-jurisdictional facilities associated with the proposed Project consist of
 modifications to SH-48 as well as the installation of water and electric transmission lines, which
 would cross between SH-48 and the LNG Terminal. Natural topography was likely altered in
 this area during the initial construction of SH-48; however, it is anticipated that existing contours
 would be restored following construction of the water line and electric transmission lines.



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        Fuel and non-fuel mineral resources are not anticipated to be impacted by the LNG
 Terminal, as no active mining operations or oil and gas wells are located within 0.25 mile of the
 LNG Terminal site. Therefore, cumulative impacts on mineral resources due to the construction
 and operation of the proposed LNG Terminal are not anticipated.

         As described in section 4.12.1, the potential for impacts on or by the proposed LNG
 Terminal related to geologic hazards is low. Hurricanes and/or storm surge are the geologic
 hazards with the greatest potential to affect the Project. Both RG LNG and Texas LNG have
 designed their respective facilities to withstand predicted maximum hurricane force winds and
 storm surge. The non-jurisdictional facilities are not anticipated to exacerbate potential impacts
 associated with a hurricane or storm surge; however, aboveground components, such as the
 electric transmission lines could be damaged. The deepening of the BSC associated with the
 Brazos Island Harbor Channel Improvement Project is not anticipated to affect storm surge
 during hurricanes or other large storms; therefore, no cumulative impacts on geologic hazards
 would occur from this project (COE 2014).

         Overall, cumulative impacts on geologic resources resulting from the construction and
 operation of LNG Terminal and other projects identified in the geographic scope would
 primarily consist of permanent modification to existing contours. No mineral resources would
 be affected by the LNG Terminal and potential effects associated with geologic hazards have
 been acceptably mitigated for through facility design. Therefore, we have determined that RG
 LNG’s Terminal, along with other projects, would contribute to minor cumulative impacts on
 geologic resources.

        Soils

         Cumulative impacts on soils may occur when adjacent projects increase the area of soil
 disturbance, resulting in greater potential for the adverse impacts identified above, or when
 projects disturb the same area in succession. In the latter circumstance, soil disturbance may be
 prolonged and revegetation delayed, so that soils are not sufficiently stabilized, resulting in
 increased potential for runoff and erosion. None of the other projects identified in table 4.13.1-2
 would overlap the same footprint as the proposed LNG Terminal site; however, the non-
 jurisdictional facilities associated with the proposed Project and the Texas LNG Project are
 adjacent to the LNG Terminal. Collectively, the Texas LNG and Rio Grande LNG terminal sites
 would encumber a contiguous disturbed area totaling about 1,365.4 acres. The Brazos Island
 Harbor Channel Improvement Project and the Bahia Grande Channel Restoration projects would
 also be adjacent to the site; however, because all activities would take place within the BSC or
 the Bahia Grande Channel, no impacts on soils would occur.

         Soil impacts resulting from the Texas LNG Project would be similar to those described
 above for the proposed Project. Construction of the proposed LNG Terminal, the Texas LNG
 Project, and the non-jurisdictional facilities are anticipated to occur concurrently; therefore, soils
 would be disturbed and exposed at the same time. The majority of soil impacts associated with
 the 311.5-acre Texas LNG Project would be permanent. The SH-48 modifications would result
 in permanent impacts on soils associated with the addition of the paved auxiliary lane. Impacts
 on soils would also occur during construction of the water line and electric transmission line;
 however, these impacts are anticipated to be temporary. The Texas LNG Project is also


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 regulated by the FERC and would implement the measures in the FERC Plan and Procedures to
 minimize erosion and offsite transit of soils and ensure successful stabilization of soils through
 revegetation. While not FERC-regulated, it is anticipated that the construction of the non-
 jurisdictional facilities associated with the proposed Project would also implement erosion
 controls in accordance with applicable permit requirements. The Rio Grande LNG Terminal,
 and other projects within the geographic scope for cumulative impacts on soils, would contribute
 to moderate, permanent impacts on soils.

        Pipeline Facilities

         Cumulative effects on geology and soils would be limited to the impacts of the Pipeline
 System combined with other projects that have been recently completed, or would be
 concurrently constructed, within the same footprint as the Pipeline System. The facilities
 associated with the Pipeline System are expected to have a temporary, but direct impact on near-
 surface geology and soils. The soil stabilization and revegetation requirements included in RG
 Developers’ Plan would prevent or minimize impacts on soils, including erosion and offsite
 sedimentation. Projects that require considerable excavation or grading would also have
 temporary, direct impacts on soils, although like the proposed pipeline facilities, the duration and
 effect of these projects would be minimized by the implementation of erosion control and
 restoration measures. No active oil and gas wells are within the construction workspace for the
 Pipeline System, and therefore the Project will not impact the development of mineral resources
 in the geographic scope. Therefore, the proposed pipeline facilities, with other projects in the
 geographic scope, would not contribute to significant cumulative impacts on geology and soils.

        Conclusion

         The Rio Grande LNG Project would result in permanent modification to existing
 topographic contours at the LNG Terminal site; impacts from the Pipeline System would be
 temporary and limited to the period of construction. No mineral resources would be affected by
 the LNG Terminal and potential effects associated with geologic hazards have been acceptably
 mitigated for through facility design. Therefore, we have determined that the Rio Grande LNG
 Project, along with other projects, would contribute to minor cumulative impacts on geologic
 resources. The cumulative impacts of the Project on soils, when considered with other projects,
 would be temporary (during construction of buried or temporary project components) to
 permanent (within aboveground facility footprints), and moderate.

 4.13.2.2       Water Resources

         The geographic scope established for water resources was considered to be the HUC-12
 subwatersheds crossed by the Rio Grande LNG Project. Any projects listed in table 4.13.1-2
 involving ground disturbance within HUC-12 subwatersheds crossed by the Rio Grande LNG
 Project could result in cumulative impacts on water resources. This includes the Brownsville
 LNG terminals and associated non-jurisdictional facilities, restoration of the VCP, the Jupiter
 Project, waterway improvement projects, and the majority of the current, proposed, and
 reasonably foreseeable projects identified in table 4.13.1-2.




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         Projects that involve dredging, modification of surface water resources, or operational
 vessel traffic would result in permanent, operational impacts on surface water resources and have
 the greatest potential to contribute to cumulative impacts with the LNG Terminal. Generally,
 impacts resulting from pipeline construction across waterbodies are localized and short-term.
 Cumulative impacts would therefore only occur if more than one project crossed the same
 waterbody within a similar period of time.

        LNG Terminal

        Groundwater

         Cumulative impacts on groundwater may occur through construction activities, including
 clearing and grading, dewatering, contamination through fuel and other hazardous material spills,
 and groundwater withdrawal. As discussed in section 4.3.1.4, the majority of potential impacts
 on groundwater resources associated with the proposed Project would be short-term and
 localized, primarily associated with clearing, grading, excavating, filling, and placement of piles
 and foundations, with groundwater effects limited to water table elevations in the immediate
 vicinity of the LNG Terminal site. The majority of the other projects considered for cumulative
 impacts on groundwater would involve similar ground-disturbing activities that could
 temporarily affect groundwater levels.

         RG LNG would not directly withdraw groundwater during construction or operation of
 the Project and would instead obtain water from the Brownsville Public Utilities Board;
 however, water sourced from the Brownsville Public Utilities Board would include both surface
 water from reservoirs along the Rio Grande River and groundwater from wells located west of
 Brownsville. Because the Brownsville Public Utilities Board has stated that it has sufficient
 capacity to meet the construction and operational needs of the LNG Terminal without affecting
 water availability for other uses, and no new groundwater wells would be required for
 construction and operation of the LNG Terminal, the LNG Terminal is not expected to affect the
 quantity of available groundwater. Proposed groundwater use is not known for the majority of
 the other projects considered; therefore, a quantitative analysis of anticipated groundwater
 withdrawals is not feasible. However, because groundwater is not the primary source of potable
 water in the region, and the proposed Project would not directly withdraw groundwater,
 cumulative impacts on groundwater are anticipated to be minor.

         Shallow groundwater areas could be vulnerable to contamination caused by inadvertent
 surface spills of hazardous materials (e.g. fuels, lubricants, and coolants) used during
 construction and operation of the LNG Terminal and other projects within the HUC-12
 subwatershed. However, RG LNG would implement its Plan and Procedures, as well as its
 SPCC Plans, to minimize the risk of occurrence and potential impacts. As described in section
 4.3.1.2, groundwater impacts resulting from construction or operation of the Project are not
 anticipated and, should they occur, would be localized and would not affect other groundwater
 users. Therefore, the Project would not contribute to significant cumulative impacts on
 groundwater with other projects in the geographic scope.




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        Surface Water and Wetlands

        Surface Water

         Several of the projects listed in table 4.13.1-2 could be under construction at the same
 time as the Rio Grande LNG Terminal, including the non-jurisdictional facilities, the Annova
 LNG and Texas LNG Projects, the Jupiter Project, multiple pipelines, electric transmission and
 generation projects, and transportation projects. Thus, there is the potential that cumulative
 impacts on water quality of the BSC could result if the Rio Grande LNG Terminal was
 constructed during the same time period as these other projects.

         In-water activities, such as dredging and open-cut pipeline crossing techniques have the
 greatest potential to contribute to cumulative impacts on surface water resources. In addition,
 pile-driving, hydrostatic test water withdrawal and discharge, stormwater runoff, potential spills
 of hazardous materials, and increased vessel traffic within the BSC could also contribute to
 cumulative impacts on surface water. If dredging associated with the proposed Project were to
 occur concurrently with other in-water activities, especially those requiring dredging (Annova
 LNG Project, Texas LNG Project, and waterway improvement projects), adverse impacts on
 water quality associated with increased turbidity and sedimentation could be exacerbated.
 Pipeline projects may also impact surface water resources through increases of turbidity and
 sedimentation if upstream waterbodies are crossed via an open-cut crossing technique; however,
 these impacts are typically minor due to the short duration of in-water activities and would be
 unlikely to reach the BSC. Further, it is anticipated that larger waterbodies, such as the BSC
 would be crossed via HDD for pipeline projects including the Kingsville to Brownsville Pipeline,
 thereby avoiding direct impacts on the waterbody.

         Concurrent dredging of the proposed Project, Annova LNG, Texas LNG, the Jupiter
 Export Terminal, and the Brazos Island Harbor Channel Improvement Projects would result in
 the greatest cumulative impacts on surface water resources. All of these projects currently have
 similar proposed construction schedules that could overlap if all regulatory approvals and
 authorizations are obtained as currently foreseen by the Project proponents. Dredging associated
 with the proposed Project would occur over an approximately 3-year period. It is anticipated that
 timelines for dredging of the other LNG projects would occur over approximately 1 year. All
 three LNG projects are proposing to utilize hydraulic cutterhead dredges that would minimize
 turbidity to the extent practicable; however, if conducted concurrently, dredging of the Brazos
 Island Harbor Channel Improvement Project, the Jupiter Export Terminal, and the Brownsville
 LNG projects would further contribute to cumulative increases in turbidity and sedimentation
 within the BSC. Further, the concurrent dredging and thus concurrent placement of dredged
 material in confined dredged material placement areas would also result in increased effluent
 discharge into the BSC. Increased effluent discharge would likely result in increased turbidity
 and suspended solids in the vicinity of the discharge structures.

        Annova LNG evaluated the potential cumulative impact on sedimentation from dredging
 during construction; this assessment considered the potential for contributions from the Rio




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 Grande LNG and Texas LNG Projects, as well as other projects occurring within the BSC. 83 The
 majority of expected sedimentation due to construction is attributed to the LNG projects, which
 results in an estimated maximum sedimentation of 0.3, 0.4, and 0.2 inches for the Annova, Rio
 Grande, and Texas LNG Projects, respectively. The Bahia Grande Channel Restoration Project
 could also contribute an estimated 0.5 inch of additional sedimentation. The Brazos Island
 Harbor Channel Improvement Project is not expected to result in long-term net sediment
 accumulation as the purpose of the project is to deepen the main channel. Details on the need for
 or extent of dredging associated with the Jupiter Export Terminal are currently unknown.
 During operation, although sedimentation patterns may be impacted by the LNG projects, overall
 accumulation is expected to be minor. Increased accumulation during operation will be driven
 by any changes in hydrodynamic characteristics associated with the Brazos Island Harbor
 Channel Improvement Project and would be limited to 0.4 inch within the main channel of the
 BSC based on Annova LNG’s assessment.

         Similar to the Rio Grande LNG Project, each of the projects would be required to comply
 with water quality standards and cumulative impacts on water quality would be temporary, with
 turbidity and sedimentation levels returning to pre-dredging conditions following the cessation of
 dredging activities. Therefore, the Project, with other projects in the vicinity, would contribute
 to minor to moderate, but temporary, impacts on water quality within the BSC.

         The Brazos Island Harbor Channel Improvement Project and the three proposed
 Brownsville LNG projects may use Port of Brownsville PA 5A for placement of dredged
 material during construction and maintenance dredging. Preliminary analysis indicates that Port
 of Brownsville PA 5A would not have the capacity, even if the perimeter containment levees
 were raised to the maximum effective/acceptable height, for all construction- and maintenance-
 dredged material from the three proposed LNG projects. However, alternative dredged material
 placement areas could accommodate some or all of the material, and the final management of
 dredged material will be determined by the BND and COE, in consultation with other federal,
 state, and local resource agencies.

         Concurrent construction of other projects involving clearing, grading, or other earthwork
 within the HUC-12 subwatershed may also increase the potential for cumulative impacts on
 water quality from increased stormwater runoff. Several of the projects identified in table
 4.13.1-2 would require hydrostatic testing of storage tanks and/or pipelines. All project
 proponents would be required to adhere to state and federal regulations regarding hydrostatic,
 construction, and industrial stormwater and wastewater discharges. Compliance with these
 regulations by RG Developers and the other project proponents, and implementation of BMPs in
 the Project-specific Plan and Procedures, would minimize potential cumulative impacts on
 surface water resources from stormwater runoff and wastewater discharges.

         Surface water could be subject to contamination caused by inadvertent surface spills of
 hazardous materials (e.g., fuels, lubricants, and coolants) used during construction and operation
 of the LNG Terminal and other projects within the HUC-12 subwatershed. However, RG LNG
 would implement its Plan and Procedures, as well as its SPCC Plan, to minimize the risk of

 83
        Annova LNG’s assessment is available on FERC’s eLibrary website, located at http://www.ferc.gov/docs-
        filing/elibrary.asp, by searching Docket Number CP16-480 and accession number 20170731-5180.


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 occurrence and potential impacts. Similarly, all projects considered in the cumulative impacts
 analysis for surface water resources would likely use equipment and or materials that could be
 hazardous to the environment in the event of a spill. However, it is anticipated that these
 projects would prepare and implement spill prevention and response procedures to prevent spills
 of hazardous materials from reaching surface water resources, as well as the measures to be
 implemented if such a spill occurs. Therefore, overall cumulative impacts on surface water
 resources as a result of stormwater runoff, hydrostatic test water withdrawals and discharges, as
 well as spills of hazardous materials are anticipated to be minor and incidental.

          Current vessel traffic in the BSC is estimated to be 1,059 vessels annually. The operation
 of all three proposed Brownsville LNG projects would result in an increase in the number of
 large, ocean-going vessels transiting the BSC (estimated to be up to 511 LNG carriers per year
 combined; see section 4.13.2.7), which equates to a 48 percent increase in vessel traffic within
 the BSC. Other industrial projects located along the BSC (i.e., the Port of Brownsville projects
 identified in table 4.13.1-2) are also anticipated to result in increased ship traffic within the BSC,
 although the exact number of additional vessels is unknown.

         Increased vessel traffic would result in a significant cumulative impact on surface water
 resources during operations from increases in turbidity and shoreline erosion. Impacts on
 turbidity would be limited to the duration of each vessel’s transit time in the BSC, and would be
 greater for larger ships, such as the LNG carriers. It is anticipated that the water quality could
 return to baseline conditions once each LNG carrier docks or leaves the BSC. Shoreline erosion
 would primarily occur while the LNG carriers, or other large vessels requiring the assistance of
 tug boats, are maneuvering at each of the LNG terminals or other project docks. Each of the
 three LNG projects has designed its respective facilities to minimize shoreline erosion through
 placement of rock rip-rap along the shoreline, or similar measures. It is anticipated that other
 projects along the BSC would implement similar measures to protect the shoreline. Each project
 would also be responsible for maintaining shoreline protection to prevent future erosion. While
 the areas within each project’s marine berth are anticipated to be protected, the majority of the
 BSC is unarmored. Further, the use of waterways by LNG carriers, barges, and support vessels
 during construction and operation of the LNG Terminal would be consistent with the planned
 purpose and use of the BSC, an active shipping channel. However, given the substantial increase
 in large vessel traffic within the BSC related to the three Brownsville LNG projects, and other
 projects, it is expected that cumulative impacts on surface water resources associated with
 shoreline erosion and turbidity from increased vessel traffic would be significant and relatively
 persistent throughout the life of the projects, particularly along unarmored portions of the BSC.

         Increased vessel traffic would also result in increased cooling and ballast water
 exchanges. Cooling water exchanges would result in minor changes in water temperature at the
 point of discharge, but these impacts are not anticipated to extend beyond the immediate vicinity
 of the vessel, with temperatures quickly returning to ambient temperatures. Therefore,
 cumulative impacts as a result of cooling water are anticipated to be minor. The Coast Guard
 requires that all vessels carry out an open-ocean ballast water exchange prior to calling at U.S.
 ports. Ballast water can affect water quality by discharging water that differs in the
 physiochemical properties of the ambient water, including pH, salinity, and temperature. Based
 on the anticipated volumes and frequency of ballast water discharge that would occur as a result
 of the proposed Project, any changes in the physiochemical properties of water within the BSC


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 would be localized and negligible. Similarly, it is anticipated that ballast water and cooling
 water impacts associated with LNG carriers calling on the Annova LNG and Texas LNG
 terminals would also be localized and minor. As the discharges of these vessels for each project
 are generally not anticipated to comingle, cumulative impacts on water quality as a result of the
 ballast and cooling water exchanges associated with the Project and other projects in the vicinity
 are anticipated to be minor.

        Wetlands

         Wetlands that would be affected by the Rio Grande LNG Terminal include 182.4 acres of
 EEM, estuarine scrub-shrub (mangrove) marsh, and estuarine unconsolidated shore wetlands. In
 addition, about 233.8 acres of land, including 103.5 acres of wetlands and mudflats, are present
 outside the boundary of the Rio Grande LNG Terminal site. Of that area, about 10.5 acres would
 be dredged for a planned expansion of the Bahia Grande Channel for wetland restoration that is
 not related to the Rio Grande LNG Project, as discussed in section 4.3.2.2. The remaining areas
 would not be directly affected by Project construction, but would be retained as natural buffer.

        Construction of the potable water, sewer, and power linear non-jurisdictional facilities
 associated with the Rio Grande LNG Project would impact about 54 additional acres of
 wetlands. The widening of SH-48 would also likely impact wetlands.

         Any of the other projects within the HUC-12 subwatershed that impact wetlands,
 including the other two LNG projects and associated non-jurisdictional facilities, would
 contribute incrementally and cumulatively when added to the impacts from the Rio Grande LNG
 Terminal. In its filing with FERC, the Annova LNG Project indicated that about 52.8 acres of
 wetlands would be permanently converted to uplands for its terminal. Similarly, the Texas LNG
 Project would affect about 45.2 acres of wetlands. Other applicable projects with available
 wetland data include the SpaceX Commercial Spaceport (16 acres affected), Cross Valley
 Pipeline Project (24 acres affected), and the GEOTRAC Industrial Hub Phases I and II (62 acres
 and 19 acres affected, respectively.) In addition, the Kingsville to Brownsville gas pipeline and
 Jupiter Project would impact wetlands, although the acreage within the geographic scope is not
 known. The VCP has been constructed, thus restoration and revegetation could be ongoing
 during construction of the proposed Project. Although we present an estimate of total
 cumulative wetland impacts above, the Sierra Club issued comments on the draft EIS that the
 analysis of cumulative impacts should include an assessment by wetland type. While the cover
 type for wetlands in the geographic scope is not known, table 4.13.2-1 includes an assessment of
 the wetland impacts for each proposed Brownsville LNG terminal by wetland cover type.




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                                             Table 4.13.2-1
                     Wetlands Affected by the Proposed Brownsville LNG Terminalsa
                            PEM Wetland          EEM Wetland          ESS Wetland               EUS                Total
       Facilities
                            Conb    Opb          Con     Op           Con     Op           Con      Op         Con       Op
  Rio Grande LNGc            0.0    0.0          114.9  114.9         19.8   19.8          47.7     47.7       182.4   182.4
           c
  Terminal
  Annova LNG Terminal        0.0    0.0          53.0    50.8          0.0    0.0          2.7       2.0       57.7      52.8
  Texas LNG Terminal         1.6        1.1       0.0        0.0        0.0       0.0      43.6      41.8      45.2       42.9
                   Total       1.6       1.1        167.9       165.7      19.8 19.8      94.0        91.5     285.3       278.1
  a
          The numbers in this table have been rounded for presentation purposes. As a result, the totals may not reflect the sum
          of the addends.
  b
          Con = Construction; Op = Operation.
  c
          Acreages for the LNG Terminal site include those acreages associated with RG LNG’s Compressor Station 3 and the
          marine facilities; acreages for offsite facilities are not included.




        The COE issues permits under Section 404 of the CWA for construction in jurisdictional
 Waters of the United States, including wetlands, and requires mitigation or compensation to
 ensure there is no net loss of wetlands or wetland functions. Mitigation requirements would
 include considerations for wetland cover type. All projects and activities would be required to
 comply with the CWA by avoiding, minimizing, or mitigating wetland impacts.

         Development of the Bahia Grande Channel Restoration Project would expand the Bahia
 Grande Channel, increasing tidal exchange and improving estuary function, resulting in positive
 cumulative impacts on estuarine wetlands within the HUC-12 subwatershed. In addition,
 projects such as the Bahia Grande Coastal Corridor Project are focused on maintenance or
 enhancement of the natural environment; as such, these projects may result in positive effects on
 wetland resources in the Project area.

         The total known wetland impacts associated with the other projects, as identified above,
 is 560.0 acres. The Rio Bravo Pipeline, discussed in detail below, would affect about 90 acres of
 wetlands in the HUC-12 subwatershed. The HUC-12 subwatershed has a total area of 234,353
 acres of land. Based on NWI data developed by the FWS, approximately 65,495 acres of
 wetlands are present within the Bahia Grande-BSC HUC-12 subwatershed; therefore, it is
 anticipated that less than 1 percent of the wetlands within the subwatershed would be affected by
 construction of the projects considered in our cumulative impacts analysis. In addition, while
 RG LNG would avoid impacts on wetlands within onsite buffer areas as described above, the
 buffer area on the eastern side of the LNG Terminal site would be between the Rio Grande LNG
 Terminal and the proposed Texas LNG Project, thereby reducing the contiguous wetland area.
 Additionally, while direct impacts on the wetlands between the Texas LNG and Rio Grande
 LNG Projects would not occur, the proximity of the two projects would result in fragmentation
 of the wetland habitat along the northern bank of the BSC. In addition, some of these wetlands
 could have been disturbed during construction of the VCP and could be undergoing restoration
 and/or revegetation during construction of the proposed Project. Similarly, construction of the
 Jupiter Pipeline could impact wetlands in proximity to the VCP and Rio Bravo Pipeline routes.
 Wetland hydrology and the quality of wildlife habitat provided by these areas could become
 degraded.



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         Wetlands provide important ecosystem functions due to their ability to retain water,
 minimizing flooding and improving water quality by filtering contaminants before reaching
 surface waterbodies. Therefore, conversion of wetlands to uplands or developed land can affect
 water quality, as well as flooding, within a subwatershed. Wetlands also provide valuable
 wildlife habitat. Several of the projects identified in table 4.13.1-2 are not anticipated to result in
 significant permanent impacts on wetlands. For example, the majority of pipeline and electric
 transmission projects would only temporarily impact wetlands during construction. These types
 of projects may result in a permanent conversion of cover type within wetlands such as forested
 or scrub-shrub to herbaceous; however, following completion of construction, areas affected by
 these types of projects typically maintain their functionality as a wetland. In addition, all
 projects and activities would be required to comply with the CWA by avoiding, minimizing, or
 mitigating wetland impacts. Therefore, while the proposed LNG Terminal would contribute to
 cumulative impacts on wetlands, along with other projects in the area, this impact would not be
 significant.

         Pipeline Facilities

         Groundwater

          Of the projects identified above, the proposed pipeline facilities, the intrastate pipeline for
 the Texas LNG Project, the Kingsville to Brownsville Pipeline, the wildlife crossing projects,
 and the Jupiter Pipeline have yet to be constructed. The VCP is complete and may be
 undergoing restoration during construction of the proposed Project. These projects would be
 expected to implement similar mitigation measures on land where construction of aboveground
 facilities occur; however, areas that are permanently converted from vegetated land to industrial
 uses with impervious cover would result in a localized reduction in groundwater infiltration.
 This relatively small amount of new impervious surface is not expected to affect overall
 groundwater recharge rates in the area. Further, all major projects (such as the other FERC
 projects and wells and gathering lines) would be required to obtain water use and discharge
 permits and would implement their various SPCC Plans as mandated by federal and state
 agencies. Projects that require large amounts of excavation or grading could also have
 temporary impacts on groundwater quality and infiltration rates, although like the proposed
 pipeline facilities, the duration and effect of these projects would be minimized by the
 implementation of erosion control and restoration measures. For these reasons, we anticipate
 that the proposed pipeline facilities in conjunction with other projects within the geographic
 scope would only contribute to minor and temporary cumulative impacts on groundwater.

         Surface Water and Wetlands

         The proposed pipeline facilities would contribute little to the long-term cumulative
 impacts on wetlands and waterbodies because the majority of the potential impacts would be
 temporary and short-term. The Palmas Altas and Stella Wind Farm Projects, Palmas to East Rio
 Hondo Transmission Line, Jupiter Pipeline, and non-jurisdictional facilities would likely follow
 BMPs similar to those proposed by RB Pipeline so as to minimize impacts on waterbodies and
 avoid or minimize impacts on wetlands in accordance with Section 404 of the CWA. Other
 FERC-regulated projects would be required to adhere to our Procedures, with approved
 deviations, which minimize impacts on waterbodies and wetlands. In addition, all projects


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 affecting wetlands and waterbodies would be subject to the permitting and mitigation
 requirements of the COE. Therefore, most of the impacts on wetlands would be of short
 duration. Consequently, the cumulative effect on wetland and waterbody resources from the
 proposed Rio Bravo Pipeline in combination with other projects would be temporary and minor.

        Conclusion

        Groundwater

         In summary, the Rio Grande LNG Project would result in temporary, minor impacts on
 groundwater during construction. Impacts would be localized and would not affect other
 groundwater users. Other projects in the geographic scope built at the same time as the proposed
 Project could contribute to minor cumulative impacts on groundwater recharge and quality with
 the Project. However, because groundwater is not the primary source of potable water in the
 region and the proposed Project would not directly withdraw groundwater, the cumulative
 impacts of the Project and other projects in the geographic scope on groundwater use would be
 minor. Where aboveground facilities are proposed, the relatively small amount of new
 impervious surface is not expected to affect overall groundwater recharge rates in the geographic
 scope. Overall, the cumulative impacts on groundwater of the Project when considered with
 other projects would be minor given the area of the HUC-12 subwatersheds within the
 geographic scope.

        Surface Water and Wetlands

         The Rio Grande LNG Project would result in temporary, short-term, and permanent
 impacts on existing surface water quality and temporary and permanent impacts on wetlands.
 For other projects in the geographic scope built at the same time as the proposed Project,
 cumulative impacts on surface water and wetlands would be additive. Temporary, moderate, to
 significant impacts on surface water quality specifically within the BSC could occur during
 concurrent dredging for the Brownsville LNG terminals due to increases in turbidity and
 sedimentation, and from the potential erosion of shorelines along unarmored portions of the BSC
 due to the increase in large LNG carriers persistently transiting the BSC. However, the Rio
 Grande LNG Project and other projects would be required to comply with the CWA to minimize
 impacts on surface water quality and to avoid, minimize, or mitigate wetland impacts. Further,
 certain projects such as the Bahia Grande Channel Restoration and Bahia Grande Coastal
 Corridor Project are focused on maintenance or enhancement of the natural environment; as such
 these projects may result in positive effects on surface water and wetland resources in the
 geographic scope. Overall, the cumulative impacts on surface waters and wetlands of the Project
 when considered with other projects would be temporary (during construction of the buried or
 temporary project components) to permanent (within aboveground facility footprints and within
 vessel transit paths in the BSC), but minor given the area of the HUC-12.

 4.13.2.3       Vegetation and Wildlife

        The geographic scope for vegetation and wildlife was determined to be the HUC-12
 subwatershed affected by the Rio Grande LNG Project. The projects listed in table 4.13.1-2
 would disturb thousands of acres of habitat. As identified in table 4.13.1-2, projects with the



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 potential to contribute to cumulative impacts on vegetation and wildlife with the proposed Rio
 Grande LNG Project include the Brownsville LNG facilities and associated non-jurisdictional
 facilities, VCP, Kingsville to Brownsville Pipeline, intrastate pipeline for the Texas LNG
 Project, Cross Valley Project, six transportation projects, six Port of Brownsville projects,
 SpaceX Commercial Spaceport Project, Stargate Facility, Palo Alto Battlefield Cultural
 Landscape Restoration, electric transmission and generation projects (including the San Roman,
 Cameron, Bruenning Breeze, Stella, Palmas Altas Wind Farms), SH-100 Wildlife Crossing
 Project, Bahia Grande Channel Restoration Project, the Bahia Grande Coastal Corridor Project,
 and Opening of Bahia Grande Project.

         Projects with permanent aboveground facilities (such as the Brownsville LNG terminals),
 wind energy projects, and roads would have greater impacts on vegetation and wildlife habitat
 than buried utilities, which allow for restoration of vegetation following construction. Therefore,
 with the exception of aboveground facilities and the permanent right-of-way, pipeline projects
 typically only have temporary impacts on vegetation and wildlife. The majority of long-term or
 permanent impacts are associated with vegetation clearing and maintenance of the pipeline right-
 of-way.

        LNG Terminal

        Vegetation

         As described in section 4.5.2, a total of 562.9 acres of vegetation would be cleared during
 construction of the Rio Grande LNG Terminal, most of which would be converted to developed
 land. Offsite facilities associated with the Rio Grande LNG Terminal would result in impacts on
 18.9 acres of vegetation, which would be restored after construction is complete. Construction
 and operation of several of the projects listed above would also result in the permanent
 conversion of vegetated habitats to industrial land. Other projects, such as pipeline or
 transmission line projects would result in temporary impacts on vegetation during construction
 and could result in the conversion of wetlands or shrubland to upland or herbaceous vegetation;
 however, permanent conversion of vegetation to developed land associated with these types of
 projects is typically limited to associated aboveground facilities. Based on publicly available
 information, we know or can estimate the amount of vegetation that would be disturbed by all of
 the projects listed above, with the exception of the transportation projects, and three of the seven
 Port of Brownsville Projects, as indicated in table 4.13.1-2.

         Several linear projects included in the cumulative impacts analysis extend outside of the
 HUC-12 subwatershed, including the VCP, Kingsville to Brownsville Pipeline, Rio Bravo
 Pipeline, Cross Valley Project, South Padre Island Second Access Project, and the Jupiter
 Pipeline. While information is generally available for the total impacts associated with each
 project, data are not presented for impacts within individual HUC-12 subwatersheds (with the
 exception of the Rio Bravo Pipeline). Therefore, we calculated the percent of the project impacts
 in the HUC-12 subwatershed based on the length of each project within the subwatershed. We
 then applied this percentage to the total project impacts to estimate the acres of vegetation that
 would be impacted by each project in the HUC-12 subwatershed.




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         Overall, an estimated total of approximately 7,202 acres of vegetation would be impacted
 by the projects identified above within the HUC-12 subwatershed (Bahia Grande-BSC),
 including the Rio Grande LNG Project components. This accounts for approximately 3 percent
 of the total subwatershed area (234,353 acres). Certain projects such as the South Padre Island
 Beach Re-nourishment, the Palo Alto Battlefield Cultural Landscape Restoration, the wildlife
 crossings, and the Bahia Grande Coastal Corridor Project are focused on maintenance or
 enhancement of the natural environment; as such, these projects may result in positive effects on
 vegetation in the geographic scope.

          Vegetation plays an important role in an ecosystem, providing wildlife habitat, stabilizing
 soils, assisting in drainage, and providing filtration of stormwater within the subwatershed.
 Removal of vegetation can lead to loss or degradation of wildlife habitat, increased stormwater
 runoff, decreased water quality, increased erosion, and increased flooding. In addition, the
 proposed Project, Annova LNG Project, and Texas LNG Project would all impact rare or unique
 plant communities, including those associated with the loma landforms.

          While sufficient information is unavailable to accurately quantify the extent that all
 projects considered for cumulative impacts on vegetation would impact rare plant communities,
 it can be reasonably assumed that at least some of the projects, in addition to the FERC-regulated
 projects for which information is available, would impact these resources. Impacts would be
 permanent within the operational workspaces of the LNG terminals and other aboveground
 facilities

         All projects potentially contributing to cumulative impacts on vegetation would be
 required to adhere to applicable federal, state, and local regulations regarding water quality,
 erosion control, and construction within floodplains. In addition, the majority of the projects
 considered for cumulative impacts on vegetation are within the eastern portion of the HUC-12
 subwatershed (see figure 4.13.1-1), where coastal processes have a greater impact on the
 vegetation communities, as well as the soil characteristics and revegetation potential. Due to dry
 conditions and saline soils characteristic of the region (see section 4.2.1) revegetation is
 anticipated to be difficult for the proposed Project, as well as the majority of other projects
 considered. However, linear utilities may be required to meet restoration requirements per
 agency consultations. As discussed above, several of the projects considered for cumulative
 impacts on vegetation consist of large industrial developments that would result in the permanent
 loss of vegetation.

         Due to the relatively large proportion of the HUC-12 subwatershed that would be
 affected by the projects considered, as well as the low revegetation potential and presence of rare
 plant communities in the HUC-12 subwatershed, we have determined that the proposed LNG
 Terminal would contribute to moderate cumulative impacts on vegetation with other projects in
 the geographic scope.

        Wildlife

         Impacts on wildlife associated with the Rio Grande LNG Terminal include the
 disturbance, loss, and/or conversion of approximately 562.9 acres of terrestrial wildlife habitat
 within the LNG Terminal site, and an additional 18.9 acres within offsite facilities associated


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 with the Rio Grande LNG Terminal. It is anticipated that the majority of the projects identified
 above that were considered for cumulative impacts on wildlife would result in similar impacts to
 those described for the proposed LNG Terminal. The waterway improvement projects are
 anticipated to directly impact aquatic wildlife, as further discussed in section 4.13.2.4; however,
 the impact on other wildlife is anticipated to be more indirect, likely associated with temporary
 increases in noise and light. As detailed in table 4.13.1-2, construction and/or operation of most
 of the projects identified above are anticipated to be concurrent with the proposed LNG
 Terminal.

         Habitat (vegetation) loss and conversion associated with the projects identified above
 account for much of the direct impact on wildlife species. Increased development and loss of
 habitat within the HUC-12 subwatershed would cause wildlife to either adapt to new conditions
 (in the case of some generalist species) or relocate to undisturbed suitable habitat. Displacement
 of wildlife could result in additional stress and increased competition in available habitats.
 Further, the projects considered are within the Central Flyway bird migration route, as described
 in section 4.6.1. Development, construction activities, and removal of habitat could require
 migrating birds to travel greater distances to locate suitable stopover habitat or stop in less
 suitable habitat. Depending on the additional distances traveled and/or quality of habitat found,
 this could result in increased energy expenditure, competition, and/or predation. A comment
 from the FWS was issued on the Texas LNG draft EIS (CP16-116-000) that cumulative impacts
 on pollinator habitat would be significant. Past development of the region for industrial and
 agricultural practices have reduced the available habitat for pollinator species resulting in an
 environmental baseline consisting of fragmented and diminished pollinator habitat. All three
 Brownsville LNG projects would result in the permanent loss of pollinator habitat. However, the
 impact on pollinator habitat as a result of the other projects considered for cumulative impacts on
 wildlife are unknown. Generally, electric transmission line and pipeline rights-of-way that are
 cleared for construction are revegetated and could be revegetated with species important for
 pollinator species.

         Alternatively, conservation and restoration projects, such as the Bahia Grande Coastal
 Corridor Project, Palo Alto Battlefield Cultural Landscape Restoration, and ongoing
 management and acquisition of NWRs and state preserve land, would have a positive cumulative
 impact on wildlife habitat. Conservation of these areas in perpetuity ensures that no future
 development would occur. Thus, these areas will continue to serve as suitable wildlife habitat in
 the area. Nevertheless, as discussed above, given the number of large-scale developments in the
 area, cumulative impacts on wildlife habitat (i.e., vegetation) from the Project and other projects
 in the geographic scope are anticipated to be moderate.

         Cumulative impacts on wildlife as a result of increased noise, lighting, road traffic, and
 human activity, would be greatest during the concurrent construction of the proposed LNG
 Terminal and other projects considered; however, due to operation noise and permanent facility
 lighting associated with the LNG Terminal and several of the other projects that have permanent
 aboveground facilities, permanent cumulative impacts would also occur. While portions of the
 HUC-12 subwatershed are already developed and characterized by industrial activities, such as
 those projects closer to Brownsville, other areas, such as the northern and eastern portions of the
 HUC-12 subwatershed, including the proposed LNG Terminal site, are less developed (see figure
 4.13.1-1). In general, projects located in areas characterized by more extensive existing


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 development are anticipated to have less of an impact on wildlife than projects in areas where
 there is less development. Wildlife inhabiting developed areas typically includes human
 commensal species or individuals that have otherwise become acclimated to human activity.

         Cumulative impacts on wildlife resulting from noise would be greatest during the
 concurrent construction of the projects considered, but would also occur during operation.
 Quantitative cumulative noise impacts are further discussed in section 4.13.2.9. While noise
 contributions from the proposed Project would not directly impact wildlife beyond the
 geographic scope for cumulative noise impacts, an overall increase in noise associated with
 projects located throughout the HUC-12 subwatershed could limit the available habitat not
 affected by noise to which disturbed wildlife can relocate. Wildlife that cannot relocate away
 from noise emitting sources could be adversely affected by increasing stress levels and masking
 auditory cues necessary to avoid predation, hunt prey, and find mates.

          Construction lighting requirements likely vary among the projects considered; however,
 it can reasonably be assumed that several of the larger industrial projects, waterway
 improvement projects, and transportation projects could require nighttime construction lighting.
 The majority of the projects considered are not anticipated to require operational facility lighting,
 with the exception of the industrial developments (e.g., the proposed Project, Texas LNG
 Project, Annova LNG Project, the Brownsville South Padre Island International Airport, and Port
 of Brownsville projects). The infrastructure associated with the Opening of the Bahia Grande
 Project may also require lighting for the safety of those accessing the NWR unit for recreation,
 although specific details such as these are not known at this time and lighting is expected to be
 minimal. Increased lighting can cause more mobile wildlife to become disoriented, such as
 migrating birds, and can increase predation on prey species by making them more visible to
 predators. Artificial lighting can also adversely affect wildlife behavior by causing individuals to
 avoid the area or alter sleep/activity patterns. RG LNG and the other FERC-regulated projects
 would minimize impacts on wildlife as a result of lighting by implementing Project-specific
 facility lighting plans that incorporate the use of shielded, down-facing lights, to the extent
 practicable (see section 4.6.1.2). It is anticipated that other facilities would utilize similar
 methods to minimize the impacts of lighting on wildlife.

         Elevated structures such as storage tanks, communication towers, flares, wind turbines,
 and transmission lines would also contribute to cumulative impacts on migratory birds. RG
 LNG has indicated that it would minimize the likelihood of bird strikes by minimizing the
 amount of lighting at the terminal and by designing the Project to include ground flares. It is
 anticipated that other projects with elevated structures would implement similar measures to
 minimize impacts on migratory birds; however, bird strikes with elevated structures could still
 occur.

         Increased road traffic associated with the projects considered would result in cumulative
 impacts on wildlife as a result of increased noise and wildlife-vehicle collisions. The effects of
 increased noise and light on wildlife are discussed above. However, wildlife in the area are
 currently exposed to traffic along SH-48. Further, because the traffic associated with
 construction and operation of the Project and other projects within the geographic scope and
 would be within the capacity of existing roadways, including SH-48, cumulative impacts on
 wildlife due to increased road traffic would not be significant.


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        Overall, cumulative impacts on wildlife would be greatest during the concurrent
 construction of the projects considered, and would continue, to a lesser extent during operation.
 Cumulative impacts on wildlife would occur as a result of habitat disturbance and loss and
 increased noise, light, and road traffic. While most projects considered are anticipated to
 implement BMPs to ensure restoration of temporarily impacted wildlife habitat and minimize
 noise and lighting, we have determined that cumulative impacts on wildlife would be moderate.

        Pipeline Facilities

         Vegetation and wildlife habitat in the vicinity of the proposed pipeline facilities have
 been affected by ongoing ranch, cattle, and agricultural practices, and construction and
 maintenance of existing roads, railroads, natural gas and oil pipelines and wells, utility lines, and
 electrical transmission line rights-of-way. In addition, several future projects could be
 constructed and/or operational at the same time as the Rio Bravo Pipeline, as described above
 and in table 4.13.1-2. Cumulative impacts on vegetation and wildlife would result if these
 projects were constructed concurrently.

         Construction and operation of the pipeline facilities would affect a total of 2,455.5 acres
 of vegetation. Of this total, 1,162.7 acres would be in temporary work areas that would be
 allowed to revert to pre-construction condition after construction is completed. About 1,195.8
 acres would be within the permanent easements for the Pipeline System, and 6.2 acres would be
 associated with permanent access roads. About 92.9 acres would be within the permanent
 aboveground facilities. Construction activities such as right-of-way and other workspace
 clearing and grading would result in loss of vegetation cover and soil disturbance, alteration of
 wildlife habitat, displacement of wildlife species from the construction zone and adjacent areas,
 mortality of less mobile species, and other potential indirect effects as a result of construction
 noise and increased human activity in the area. Overall impacts would be greatest where projects
 are constructed in the same timeframe and area as the proposed Project.

          While the vegetation impacts of the projects discussed above and the proposed pipeline
 facilities would not be inconsequential, the overall impact of these projects would be considered
 minor in comparison to the abundance of comparable habitat in the HUC-12 subwatersheds
 crossed by the pipelines. FERC-jurisdictional projects, including the Annova LNG and Texas
 LNG Terminals, would be required to adhere to the measures in our Plan and Procedures for
 restoration of habitat as discussed above, where these projects fall within the geographic scope
 for the pipeline facilities. RB Pipeline would be required to restore vegetation in temporarily
 disturbed areas, and non-jurisdictional Project-related facilities would likely be held to similar
 standards by state permitting agencies. Wind energy projects, intrastate pipeline facilities, and
 non-jurisdictional Project-related facilities would also likely be required to implement mitigation
 measures designed to minimize the potential for long-term erosion and resource loss, increase the
 stability of site conditions, and revegetate disturbed areas, thereby minimizing the degree and
 duration of the impacts of these projects.

         The aboveground facilities associated with the projects would result in some permanent
 impacts on wildlife habitat. The wind farms and VCP, as well as some of the transportation
 projects, would also have associated aboveground facilities or other permanent infrastructure
 associated with their projects; however, due to the limited size of these facilities relative to the


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 geographic scope and the prevalence of similar habitats in adjacent areas, the permanent loss of
 this land would not be a significant impact on wildlife resources within the area of the proposed
 pipeline facilities. The operation of large turbines associated with the San Roman, Cameron,
 Bruenning Breeze, and Stella Wind Farm projects could potentially affect bird and bat species
 through collision-related fatalities.

         Because impacts on wildlife species from construction and operation of any of the
 projects would be local, temporary, and minor considering the abundance of comparable habitat
 in the geographic scope, in conjunction with the wildlife crossing projects, which would aid in
 the safe movement of wildlife through the area, we have determined that impacts on wildlife
 species within the geographic scope for the Rio Bravo Pipeline would be short-term and would
 not be significant.

        Conclusion

          In summary, the Rio Grande LNG Project would result in temporary, short-term, and
 permanent impacts on vegetation and wildlife habitat. For other projects in the geographic scope
 built at the same time as the proposed Project, cumulative impacts on vegetation would be
 additive. Along the pipeline route, impacts on vegetation and wildlife habitat would be minor in
 comparison to the abundance of comparable habitat in the HUC-12 subwatersheds. However,
 due to the relatively large proportion of the Bahia Grande-BSC HUC-12 subwatershed that
 would be affected by the LNG Terminal and the projects considered, as well as the low
 revegetation potential and presence of rare plant communities in the HUC-12 subwatershed, the
 proposed Project would contribute to moderate cumulative impacts on vegetation with other
 projects in the geographic scope. However, certain projects such as the South Padre Island
 Beach Re-nourishment, the wildlife crossing projects, the Palo Alto Battlefield Cultural
 Landscape Restoration, and the Bahia Grande Coastal Corridor Project are focused on
 maintenance or enhancement of the natural environment; as such these projects may result in
 positive effects on vegetation and wildlife in the geographic scope.

         Overall, the cumulative impacts of the Project when considered with other projects would
 be temporary (during construction of the buried or temporary project components) to permanent
 (within aboveground facility footprints), and moderate given the relatively large proportion of
 the Bahia Grande-BSC HUC-12 subwatershed that would be affected by the projects considered,
 the low revegetation potential and presence of rare plant communities in the HUC-12
 subwatershed, and increased noise, light, and road traffic.

 4.13.2.4       Aquatic Resources and EFH

         The geographic scope established for aquatic resources was considered to be the HUC-12
 subwatersheds crossed by the Rio Grande LNG Project. Any of the projects listed in table
 4.13.1-2 that would involve ground disturbance or excavation could result in cumulative impacts
 on water resources, which in turn could impact aquatic resources through sedimentation and
 turbidity, habitat alteration, stream bank erosion, fuel and chemical spills, water depletions, or
 impingement/entrainment due to water withdrawals or construction crossing operations. This
 includes the Brownsville LNG projects and associated non-jurisdictional facilities, the Kingsville
 to Brownville Pipeline, the intrastate pipeline for the Texas LNG Project, the VCP, the Palmas


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 Altas and Stella Wind Farms, the Cross Valley Project, the Palmas to East Rio Hondo
 Transmission Line, transportation projects, waterway improvement projects, Port of Brownsville
 Projects, the SpaceX Commercial Spaceport Project, the Stargate Facility, the Palo Alto
 Battlefield Cultural Landscape Restoration, the Bahia Grande Coastal Corridor Project, the
 wildlife crossing projects, and the Opening of the Bahia Grande Project.

        LNG Terminal

          While all upstream projects in the HUC-12 subwatershed have the potential to contribute
 to incremental impacts on water quality in the BSC (as discussed in section 4.13.2.2), the
 potential for cumulative impacts on aquatic resources would be greatest for those projects that
 would be directly impacting the BSC and adjacent waterways through dredging, increased vessel
 traffic, pile-driving, or other in-water activities. The projects identified in table 4.13.1-2 that are
 anticipated to contribute the most to potential cumulative impacts on aquatic resources include
 the Annova LNG Project, Texas LNG Project, Port of Brownsville projects, and the waterway
 improvement projects, especially the Brazos Island Harbor Channel Improvement Project.

         As discussed in section 4.13.2.2, the other Brownsville LNG projects, the Jupiter Project,
 as well as the Brazos Island Harbor Channel Improvement Project, could be constructed
 concurrently with the proposed Project. This would result in active dredging of a large portion
 of the BSC for an extended duration. In addition to the increases in turbidity affecting water
 quality (see section 4.13.2.2), dredging would decrease dissolved oxygen levels and result in a
 cumulative impact on the amount of benthic habitats and species that are directly affected. This
 would reduce the overall prey availability for predators in the area that feed on these species. In
 addition, more mobile species would also have to travel further to relocate to suitable habitat
 where dredging is not occurring, or be forced to occupy less suitable habitat, both of which could
 reduce the overall fitness of the individual and affect behaviors, such as foraging and mating.
 Therefore, cumulative impacts on aquatic resources as result of dredging activities would be
 moderate, but temporary.

         Similarly, concurrent dredging of the projects identified above would result in cumulative
 impacts on EFH. However, as described in section 4.6.3, consultation under the MSFCMA is
 complete, and given the temporary, minor impacts on EFH, NMFS does not have EFH
 conservation recommendations for the Project. The Brazos Island Harbor Channel Improvement
 Project would require the deepening of the BSC through dredging of the existing channel;
 therefore, impacts on EFH are anticipated to be temporary, as there would be no change in the
 type of EFH available following completion of the project and the macroinvertebrates and
 worms inhabiting these areas would be expected to recolonize quickly. The Annova LNG
 Project would also permanently impact EFH. However, all of the LNG projects would be
 required to mitigate for the permanent impacts on aquatic habitats, including EFH, as part of the
 Section 404 permit process; therefore, cumulative impacts on EFH would be minor.

          Cumulative impacts on aquatic resources could also result from concurrent pile-driving
 activities. As discussed in section 4.6.3, in-water pile-driving can increase underwater sound
 pressures that can result in injury or mortality to fish and other wildlife (see section 4.13.2.5 for a
 discussion of cumulative impacts resulting from pile-driving on marine mammals and sea
 turtles). RG LNG would minimize impacts on aquatic resources from pile-driving by driving


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 most piles into land rather than open water and utilizing vibratory hammers to drive the sheet
 pilings at the MOF. The only other projects considered for which pile-driving is anticipated to
 overlap with the proposed Project are the other two Brownsville LNG projects, and possibly the
 Jupiter Export Terminal. These projects are anticipated to implement measures similar to RG
 LNG to minimize impacts on fish associated with pile-driving. However, concurrent in-water
 pile-driving could limit the available habitat for fish avoiding the increased underwater sound
 pressure levels and increase density within those habitats. In-water pile-driving would be limited
 to an estimated 29 days, minimizing the duration during which cumulative impacts would occur.
 Therefore, cumulative impacts on aquatic resources as a result of pile-driving are anticipated to
 be minor.

          In addition to cumulative impacts that would occur during construction of the proposed
 Project, operation of the Project would also affect aquatic resources. RG LNG anticipates that
 312 LNG carriers would call on the LNG Terminal annually. Increased vessel traffic would
 result in increased impacts on aquatic resources associated with ballast and cooling water
 exchanges and potential fuel spills. The Annova LNG and Texas LNG Projects are anticipated
 to have the greatest contribution to cumulative impacts on aquatic resources from increased
 vessel traffic. As discussed further in section 4.13.2.7, the three Brownsville LNG projects
 would result in a cumulative increase in ship traffic in the BSC during operation. Combined, the
 three LNG projects would result in an approximate 48 percent increase in ship traffic within the
 BSC during operation.

         Cooling water discharges that occur while LNG carriers are maneuvering to the LNG
 Terminal and while they are docked at the LNG Terminal would result in increases in water
 temperature. As discussed in section 4.13.2.2, increases in water temperature as result of cooling
 water discharges are anticipated to be localized, with water temperatures quickly returning to
 ambient levels. Mobile species may relocate to nearby suitable habitat during cooling water
 discharges; if LNG carriers are calling at the other LNG terminals in the area (Annova LNG and
 Texas LNG), suitable habitat available for fish to relocate to would be more limited; however,
 given that the discharges from concurrently loading vessels are not anticipated to comingle, these
 impacts would be temporary and negligible.

         In addition, ballast water can be a source for introduction of non-native species, as
 discussed in section 4.6.2.2. The cumulative increase in vessel traffic within the BSC would
 create greater opportunity for the introduction of non-native species in ballast water. However,
 all LNG carriers and other ocean-going vessels utilizing the BSC would be required to adhere to
 the Coast Guard regulations and IMO requirements regarding ballast water to minimize the
 potential introduction of non-native species; therefore, cumulative impacts on aquatic resources
 from ballast water would be negligible. In slight contrast, with regards to the physiochemical
 composition of the water within the maneuvering basin, ballast water discharges can result in
 localized changes. As discussed in section 4.13.2.2, these impacts would be localized and would
 quickly return to ambient levels. Impacts from changes in water quality on aquatic resources
 would be similar to those described above for cooling water.




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        Pipeline Facilities

         Cumulative impacts on fisheries and aquatic resources could occur if other projects are
 disturbing the same segment of a waterbody at the same (or similar) time as the proposed
 pipeline facilities, or if there are permanent or long-term impacts on the same or similar habitat
 types. The non-jurisdictional facilities for the Rio Grande LNG Project and the intrastate
 pipeline facilities for the Texas LNG Project would likely cross two perennial waterbodies, the
 channels to San Martin Lake and the Bahia Grande. Also, construction of the observation deck
 proposed as part of the Opening of the Bahia Grande Project could impact the Bahia Grande.
 Potential cumulative effects on aquatic resources in these waters from clearing of bank
 vegetation and in-water disturbance have been reduced through the collocation of these facilities
 with the Pipeline System. We expect that the federal and state permitting agencies for the other
 projects would require applicable water quality protections for construction within waterbodies.

         In addition, any impacts on waterbodies, and therefore fisheries and aquatic resources,
 would be temporary and limited to the construction periods of the projects. As such, the Rio
 Bravo Pipeline would not contribute to significant cumulative impacts on aquatic resources with
 other projects in the geographic scope since impacts would be temporary and due to the impact
 avoidance and mitigation measures that would be implemented. The ensuing operation of RB
 Pipeline’s proposed facilities would not result in any impacts on waterbodies.

        Conclusion

         In summary, the Rio Grande LNG Project would result in temporary and permanent
 impacts on aquatic resources and EFH. For other projects in the geographic scope built at the
 same time as the proposed Project, cumulative impacts on aquatic resources would be additive.
 Overall, the cumulative impacts of the Project when considered with other projects would be
 temporary (during construction of the buried or temporary project components) to permanent
 (within the LNG Terminal site), and minor given the large area of the HUC-12 subwatersheds
 that comprise the geographic scope and available habitat for aquatic resources. The Rio Grande
 LNG Project and other projects would be required to comply with the CWA to minimize impacts
 on surface water and to avoid, minimize, or mitigate wetland impacts. Therefore, while the
 proposed Project would contribute to cumulative impacts on aquatic resources along with other
 projects in the area, this impact would not be significant.

 4.13.2.5       Threatened and Endangered Species

         The geographic scope for threatened and endangered species was generally determined to
 be the HUC-12 watershed; however, due to the diversity in life history and range of threatened
 and endangered species potentially affected by the Rio Grande LNG Project, cumulative impacts
 were independently reviewed for each species or group of species. For example, threatened or
 endangered bird species are more mobile with larger ranges when compared to terrestrial reptiles
 that may not extend beyond a relatively small area. Discussions of cumulative impacts on
 threatened and endangered species are grouped by taxa and are limited to only those threatened
 and endangered species identified in section 4.7 as potentially affected by the Rio Grande LNG
 Project. Species that are not anticipated to be present at the Project site, or otherwise affected by
 the Project, due to a lack of suitable habitat or species range, are not discussed further with


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 regard to cumulative impacts. Of the projects listed in table 4.13.1-2, those with the greatest
 potential for impacts include the non-jurisdictional facilities, the Brownsville LNG projects and
 associated non-jurisdictional facilities, the VCP, the San Roman, Cameron, Bruenning Breeze,
 Stella, and Palmas Altas Wind Farms, the Palmas to East Rio Hondo Transmission Line, the
 wildlife crossing projects, the Opening of Bahia Grande Project, the waterway improvement
 projects, and the SpaceX and related Stargate Facility.

        LNG Terminal

        Marine Mammals

        Whales and Dolphins

        Other projects considered for cumulative impacts on marine mammals are those that
 would conduct activities within or otherwise affect the BSC. Projects considered for impacts on
 marine mammals include the Texas LNG Project, Annova LNG Project, Kingsville to
 Brownsville Pipeline, waterway improvement projects, and Port of Brownsville projects.

         While there are several marine mammal species with potential to occur within the BSC,
 only bottlenose dolphins, which are protected under the MMPA (but not under the ESA), are
 considered common. The greatest potential for impacts on marine mammals associated with the
 Project would be acoustic disturbance and possibly auditory injury from pile-driving and
 increased mortality and injury potential from vessel strikes during construction and operation.
 With the exception of the Steel Mill and the expansion of the Jupiter Export Terminal,
 construction of the Port of Brownsville Projects are complete and would not contribute to threats
 from pile-driving, and would likely have less potential, if any, for vessel strikes during their
 operational phases.

         The Annova LNG and Texas LNG Projects are the only other projects anticipated to
 require pile-driving, which could be concurrent with the pile-driving activities associated with
 the proposed Project. It is anticipated that these projects would implement similar measures to
 minimize impacts on marine mammals during pile-driving. If concurrent pile-driving were to
 occur, marine mammals in the area may have to travel greater distances to avoid underwater
 sound pressure levels that exceed the NMFS’ thresholds (see section 4.7.1.1). However, because
 in-water pile-driving associated with the proposed Project would be limited to an estimated four
 days, cumulative impacts on marine mammals as a result of pile-driving is anticipated to be
 minor.

         Increased vessel traffic during construction and operation of the proposed Project and
 other projects considered, would result in an increased potential for vessel strikes on marine
 mammals. RG LNG has indicated that it would provide the NMFS’ Vessel Strike Avoidance
 Measures and Reporting for Mariners (2008) to all ship captains calling on the LNG terminal
 and would advocate compliance with the measures identified in the guidance document to
 minimize the likelihood of vessel strikes. The three LNG projects would result in an
 approximate 48 percent increase in ship traffic within the BSC during operation (see section
 4.13.2.7), which would increase the potential of vessel strikes. However, it is anticipated that
 vessels calling on other Port of Brownsville facilities, including the Annova LNG and Texas



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 LNG Projects, would similarly advocate for compliance with NMFS’ measures to minimize
 vessel strikes. In addition, the BSC is an active industrial channel that is regularly transited by
 vessels; therefore, it is assumed that marine mammals in the area are accustomed to their
 presence. Therefore, , the overall cumulative impact on marine mammals (and specifically to the
 highly mobile dolphins present in the BSC) would be minor.

        West Indian Manatee

         Other projects considered for cumulative impacts on West Indian manatees are those that
 would conduct activities within, or otherwise affect, the BSC. Projects considered for
 cumulative impacts on West Indian manatee include the Texas LNG Project, Annova LNG
 Project, Kingsville to Brownsville Pipeline, waterway improvement projects, and Port of
 Brownsville Projects.

         Impacts on West Indian manatee resulting from the proposed Project are most likely to
 occur during dredging and pile-driving activities, as well as increased vessel traffic during
 construction and operation. However, due to the rarity of manatee occurrence in the Brownsville
 area, as well as the lack of suitable foraging habitat, impacts, while possible, are not anticipated.

         Impacts on West Indian manatees resulting from the other two LNG projects considered
 (Texas LNG and Annova LNG) would be similar to those discussed for the proposed Project.
 The Steel Mill has not yet been constructed, and details on construction and operational activities
 are not known. Similarly, information on vessel transits associated with the Jupiter Export
 Terminal is unknown; therefore, we assume these projects would be similar to the LNG projects.
 While the Kingsville to Brownsville Pipeline would cross the BSC, it is anticipated that this
 crossing would be conducted via HDD and would not result in any direct impacts on the BSC.
 Therefore, these pipeline projects are not anticipated to affect the West Indian manatee. In
 addition, five of the Port of Brownsville projects that were recently completed would not overlap
 with construction of the proposed Project.

         Publicly available information regarding the current anticipated schedules for the projects
 discussed above indicate that it is possible that construction activities associated with several of
 the waterway improvement projects, both of the other LNG projects, and expansion of the Jupiter
 Export Terminal would be concurrent with the proposed Project; the construction period for the
 Steel Mill is unknown. All projects operating within the BSC are anticipated to implement
 mitigation measures identified by the respective applicant, the FWS (during project-specific
 consultations), and/or the lead agency to minimize potential impacts on manatees. Due to the
 rarity of the West Indian manatee in the Project area, and recommended measures that would be
 implemented if a manatee were to occur within the BSC, the cumulative impacts of the Project
 when considered with other projects would be temporary (during construction) to permanent
 (due to increases in local traffic) but negligible.

        Marine Reptiles

       Other projects considered for cumulative impacts on sea turtles are those that would
 conduct activities within or otherwise affect the BSC. Projects considered for impacts on sea




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 turtles include the Texas LNG Project, Annova LNG Project, Kingsville to Brownsville Pipeline,
 waterway improvement projects, and Port of Brownsville Projects.

         Impacts on sea turtles associated with the proposed Project are most likely to occur as a
 result of dredging and pile-driving activities, as well as increased vessel traffic during
 construction and operation. Impacts on sea turtles resulting from the other two LNG projects
 considered (Texas LNG and Annova LNG) would be similar to those discussed for the proposed
 Project, as would the measures that would be implemented to minimize impacts. As stated
 above, project details for construction of the Steel Mill and Jupiter Export Terminal are
 unknown, however we assume that impacts from construction and associated mitigation
 measures would be similar to the LNG Projects. While the Kingsville to Brownsville Pipeline
 would cross the BSC, it is anticipated that this crossing would be conducted via HDD and would
 not result in any direct impacts on the BSC. Therefore, these pipeline projects are not anticipated
 to affect sea turtles. In addition, the five Port of Brownsville projects that were recently
 completed would not overlap with construction of the proposed Project. Therefore, these Port of
 Brownsville projects are not anticipated to contribute to cumulative impacts on sea turtles.

         Based on the Biological Opinion issued for the Brazos Island Channel Improvement
 Project, dredging activities in the BSC utilizing hopper dredges routinely result in the direct
 mortality of sea turtles (COE 2014). While the COE would implement numerous measures to
 reduce sea turtle mortality, such as pre-dredging trawls to safely remove sea turtles from the
 area, NMFS has conducted a jeopardy analysis and issued a take permit to the COE with limits
 on the number of sea turtles that can be taken during dredging activities. It is anticipated that the
 other four waterway improvement projects, all of which require dredging activities, would have
 the potential to similarly impact sea turtles.

         Publicly available information regarding the current anticipated schedules for the projects
 discussed above indicate that it is possible that construction activities associated with several of
 the waterway improvement projects, both of the other LNG projects, and expansion of the Jupiter
 Export Terminal would be concurrent with the proposed Project, construction period for the Steel
 Mill is unknown. In general, sea turtles present in the area at the start of construction activities
 are anticipated to relocate to nearby suitable habitat or avoid the area. However, the concurrent
 construction activities within the BSC could limit the habitat available to which sea turtles could
 relocate. For instance, a sea turtle startled into moving from one project area may relocate to
 another project area, and so on until suitable habitat is found. During dredging activities in
 which hopper dredges are used, such as the Brazos Island Harbor Channel Improvement Project,
 this could cause sea turtles to move into the dredging area that might otherwise have been
 avoided.

         Similar to the impacts discussed in section 4.13.2.3 for other wildlife species, increased
 disturbance and searching for available habitat could result in increased stress and energy
 expenditure for sea turtles in the area. Further, increases in sedimentation and turbidity (see
 section 4.13.2.3) as well as disturbance of benthic environments that serve as habitat for certain
 sea turtle prey species could also result in cumulative impacts on sea turtles by reducing water
 quality and prey/foraging habitat availability.




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         Concurrent pile-driving and dredging activities could result in cumulative increases in
 underwater sound pressure levels, as discussed in section 4.13.2.4. The only other projects
 considered for which pile-driving is anticipated to potentially overlap with the proposed Project
 are the other two LNG projects, and expansion of the Jupiter Export Terminal. These projects
 are anticipated to implement measures similar to those recommended or proposed for use at the
 Rio Grande LNG Terminal, including limiting in water pile-driving to the minimum extent
 practicable, and use of biological monitors within the area of potential injury. Further, given the
 long construction schedules for the LNG Projects, and the limited durations of in-water pile-
 driving, substantial overlap in the in-water pile-driving schedules would be unlikely.

         In addition to impacts on sea turtles resulting from increased vessel traffic associated
 with the LNG projects and the Port of Brownsville Projects could also affect sea turtles in the
 area. Vessel strikes are a common cause of sea turtle mortality; however, it is anticipated that
 most vessels would adhere to the NMFS Southeast Region’s Vessel Strike Avoidance Measures
 and Reporting for Mariners (2008). Further, the BSC is an active vessel transit route to the Port
 of Brownsville and receives over 1,000 ships per year (BND 2017). Therefore, the increase in
 ship traffic could increase the likelihood of vessel strikes; however, this increase is not
 anticipated to be significant due to implementation of NMFS’ guidance.

         Based on the size and proximity of the projects considered, as well as the overlapping
 construction schedules of the LNG terminals, the waterway improvement projects, and the
 Jupiter Export Terminal expansion, a cumulative impact on sea turtles is anticipated. All
 projects are subject to the requirements of the ESA and are thus required to consult with NMFS
 regarding potential impacts on sea turtles in marine habitats. Through this consultation process,
 the projects considered would be required to implement BMPs and/or other measures
 recommended or required by NMFS to minimize potential impacts on sea turtles.

          In some instances, such as the Brazos Island Harbor Channel Improvement Project, take
 of sea turtles may still be likely and NMFS would issue a take permit. In other cases, such as the
 proposed Project, implementation of mitigation measures may result in a determination that the
 project is not likely to adversely affect sea turtles. Individually, the projects considered are not
 anticipated to have significant impacts on sea turtles; however, the density and nature of
 activities potentially occurring within the area would result in moderate cumulative impacts on
 resident sea turtles. However, these impacts are not anticipated to have population-level or
 significant effects.

        Birds

         Five bird species of concern have the potential to occur in the vicinity of the LNG
 Terminal. As discussed in section 4.7.1, we have determined that the Project would be unlikely
 to cause a trend towards federal listing for the red-crowned parrot (candidate for listing) due to
 the lack of nesting habitat at the LNG Terminal site. Four federally listed or proposed birds with
 higher potential to use the LNG Terminal site are discussed further below.




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        Northern Aplomado Falcon

         The geographic scope for cumulative impacts on the northern aplomado falcon was
 considered to be terrestrial projects located within the HUC-12 subwatershed affected by the
 proposed Project. Projects considered for impacts on the northern aplomado falcon include the
 Brownsville LNG projects and associated non-jurisdictional facilities; VCP (for which
 construction is complete, but restoration could be ongoing during construction of the proposed
 Project); Kingsville to Brownsville Pipeline; the Wind Farms; Cross Valley Project; six
 transportation projects; seven Port of Brownsville projects; SpaceX Commercial Spaceport
 Project; Stargate Facility; Palo Alto Battlefield Cultural Landscape Restoration; Bahia Grande
 Coastal Corridor Project; and the Opening of Bahia Grande Project.

         The proposed Project site provides suitable foraging habitat for the northern aplomado
 falcon, and adjacent areas may be used for nesting. As discussed in section 4.7.1.3, RG LNG
 would implement Project-specific BMPs for the northern aplomado falcon, developed through
 consultation with the FWS and TPWD, to avoid impacts on active nesting adjacent to the LNG
 Terminal site. In consideration of the FWS’ comments on the draft EIS, and because potential
 take would be covered under an existing Safe Harbor Agreement, we have determined that the
 proposed Project is not likely to adversely affect the northern aplomado falcon. Consultations
 under Section 7 of the ESA have not been completed (see our recommendation in section
 4.7.1.6).

         For the majority of the other projects considered, impacts on northern aplomado falcons
 are not known; however, suitable habitat is also present on the Annova LNG and Texas LNG
 sites and would likely be crossed by the linear transmission and pipeline projects in the area.
 The FWS has estimated that about 546 total acres of suitable northern aplomado falcon habitat
 would be affected at the three proposed LNG terminal sites. The other Port of Brownsville
 projects (not including the three proposed LNG projects) are primarily located in an already
 industrialized area that likely does not provide suitable habitat for northern aplomado falcons.
 The wind farms, LNG projects, and overhead transmission line projects include elevated
 structures and wires that could result in bird strikes, as well as injuries or mortality from flaring
 at the LNG terminals. These impacts would be similar to those discussed in section 4.13.2.3 for
 migratory birds.

         Impacts on habitat associated with the pipeline and transmission lines are anticipated to
 be temporary with construction areas restored following the completion of activities. Permanent
 aboveground facilities such as the LNG terminals would result in the removal of suitable
 foraging and nesting habitat for northern aplomado falcons. Because of the past cumulative
 habitat loss and construction of aboveground structures within and adjacent to remaining habitat,
 we conclude that the cumulative impacts on northern aplomado falcons could be significant.
 These cumulative impacts on habitat could prevent establishment of nesting pairs and would
 limit available habitat within the area; however, there are still large areas of suitable habitat in
 the region, and the combined loss from the three LNG facilities represents a minor percentage of
 the remaining habitat. Further, the Rio Grande LNG Project’ contribution to this significant
 impact would be minimized through implementation of Project-specific northern aplomado
 falcon BMPs, as discussed in section 4.7.1.3.



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        Shorebirds, Marsh Birds, and Wading Birds

          Other projects considered for cumulative impacts on federally listed or proposed for
 listing shorebirds (piping plover and red knot), marsh birds (eastern black rail), and wading birds
 (whooping crane) are those that would conduct activities adjacent to the BSC and those projects
 that include elevated structures and wires that could result in bird strikes. Projects considered for
 impacts on these species include the Texas LNG Project, Annova LNG Project, VCP (for which
 construction is complete, but restoration could be ongoing during construction of the proposed
 Project), Kingsville to Brownsville Pipeline, waterway improvement projects, Port of
 Brownsville Projects, SpaceX Commercial Spaceport Project, the Stargate Facility, and the new
 facilities at the Red Gate Entrance of the Bahia Grande Project.

         Suitable wintering habitat is present within the Project site for each species, and
 designated critical habitat for the piping plover is present directly across from the proposed LNG
 Terminal site. We have determined that the proposed Project is not likely to adversely affect the
 piping plover, red knot, whooping crane, and eastern black rail, as discussed in section 4.7.1.3.
 We also conclude that the proposed Project is not likely to adversely affect piping plover critical
 habitat. Consultations under Section 7 of the ESA have not been completed (see our
 recommendation in section 4.7.1.6).

         The other industrial development projects considered, including the LNG projects and
 Port of Brownsville projects, are anticipated to result in similar impacts on the piping plover, red
 knot, and whooping crane. The proposed Project, other LNG projects, the observation deck
 associated with the Opening of Bahia Grande Project, and some of the Port of Brownsville
 projects would result in the permanent conversion of the existing shoreline habitat to industrial
 land (about 5 linear miles); however, the dredging of the Texas LNG marine berth would likely
 restore tidal flats north of the Project site, potentially creating habitat for shorebirds and wading
 birds. Texas LNG has also indicated that it would implement measures recommended by the
 FWS to minimize potential impacts on the piping plover and red knot by conducting pre-
 construction surveys. Further, based on consultations with the FWS, PA 5A may serve as habitat
 for the piping plover and red knot; however, PA 5A no longer contains the primary constituent
 elements for wintering piping plover critical habitat because the dredged material has raised the
 ground-level and effectively cut off water flow that is required for a tidal flat.

         Although the projects considered would result in a cumulative impact on the piping
 plover, red knot, and whooping crane there is abundant wintering habitat present throughout the
 southern Texas coast, including within the Laguna Atascosa NWR, Lower Rio Grande Valley
 NWR, and the Loma Ecological Preserve that would not be directly affected by the any of the
 projects considered. Further, critical habitat for wintering plovers is available throughout the
 southern Texas coast, including 5 units totaling 71,474 acres (TX-1, 2, 3A, 3B, and 4) that
 include coastal areas of Cameron County (74 Federal Register 23476, 66 Federal Register
 36038). Therefore, cumulative impacts on piping plovers and red knots are not anticipated to be
 significant.

         As discussed in section 4.7.1.3, we have determined that the proposed Project is not
 likely to adversely affect the eastern black rail. Similar to shorebird species, the projects
 considered would result in cumulative impacts on potentially suitable habitat for the eastern


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 black rail. However, all projects and activities would be required to comply with the CWA by
 avoiding, minimizing, or mitigating wetland impacts. Further, the LNG Terminal is within the
 potential range for the species, but outside of the known year-round range. Given the availability
 of emergent wetlands in the vicinity of the LNG Terminal site and requirements for wetland
 mitigation, cumulative impacts on eastern black rails are not anticipated to be significant.

         In addition, similar to the northern aplomado falcon, the projects considered that include
 elevated structures and wires that could result in bird strikes would result in cumulative impacts
 on all four of the migratory bird species discussed in this section. However, RG LNG has
 indicated that it would minimize the likelihood of bird strikes by minimizing the amount of
 lighting at the terminal and by designing the Project to include ground flares. Other project
 proponents are anticipated to implement similar mitigation measures to minimize the likelihood
 of bird strikes. Therefore, cumulative impacts on both shorebird species, the eastern black rail,
 and the whooping crane resulting from bird strikes with elevated structures are not anticipated to
 be significant. Overall, given the presence of suitable habitat in the area and the status of each of
 these species as wintering, non-nesting migrants in the Project area, cumulative impacts are also
 not anticipated to be significant.

        Ocelot and Jaguarundi

        The geographic scope for cumulative impacts on the ocelot and jaguarundi was
 considered to be terrestrial projects located within the HUC-12 subwatershed affected by the
 proposed LNG Terminal. As described above for the northern aplomado falcon, these include a
 majority of those projects identified in table 4.13.1-2.

         Thorn scrub habitat associated with the lomas on the Project site provide suitable habitat
 for ocelot and jaguarundi, as discussed in section 4.7.1.4, and occupied habitat is known to be
 present in the adjacent Laguna Atascosa NWR. While suitable habitat is present on the Project
 site and is within the known range of ocelots and jaguarundi, the Project site likely serves only as
 stopover or temporary habitat for transient individuals rather than a breeding pair due to its size
 and lack of connectivity with larger more contiguous tracts, such as those present within the
 Laguna Atascosa NWR. If an ocelot or jaguarundi is present on the site at the start of
 construction activities it would be flushed from the property during pre-construction surveys and
 hazing, and would likely relocate to suitable adjacent habitat.

         We have determined that the loss of any suitable ocelot habitat, which are regularly
 sighted in the Project area, and potential indirect impacts on habitat within the lower Laguna
 Atascosa NWR (see section 4.7.1.4), could have adverse impacts on ocelots; and, in accordance
 with our Section 7 evaluation, we have determined that the proposed Project is likely to
 adversely affect the ocelot. Although there is a lack of confirmed jaguarundi sightings in recent
 decades, the Laguna Atascosa NWR overlaps the range of the jaguarundi and would also
 experience habitat impacts from construction and operation of the Project; therefore, we have
 determined that the proposed Project is also likely to adversely affect the jaguarundi.
 Consultation under Section 7 of the ESA has not been completed (see our recommendation in
 section 4.7.1.6).




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         As discussed in greater detail in section 4.7.1.4, the primary threat to ocelot and
 jaguarundi populations in the United States is habitat loss, degradation, and fragmentation (FWS
 2010b). Due to the large home ranges of ocelots and importance of corridor habitat to connect to
 Mexican populations, even incremental habitat loss could be significant. Also, the population
 size in Texas and growing isolation from loss of habitat connectivity with ocelot and jaguarundi
 populations in Mexico are contributing to a growing threat of genetic inbreeding in the Texas
 ocelot and jaguarundi populations. Moreover, the construction of roads through ocelot and
 jaguarundi habitat has resulted in high rates of road mortality, further inhibiting population
 growth and connectivity with adjacent populations (FWS 2010a). These are important factors to
 consider when addressing potential cumulative impacts on these species.

         Not all of the projects listed above are anticipated to impact ocelot and jaguarundi
 habitat. This includes the wind farms, which are located in primarily agricultural and open land,
 and the five Port of Brownsville projects in operation, which are located within densely
 developed, previously disturbed areas. In addition, several projects would result in beneficial
 impacts on ocelots and jaguarundis including the Bahia Grande Coastal Corridor Project, the
 purpose of which is to further conserve land, and the wildlife crossing projects, which are
 intended to minimize impacts from road traffic. The other two LNG projects, as well as the
 pipeline projects proposed that cross eastern Cameron County (Cross Valley, VCP, Kingsville to
 Brownsville, and Jupiter Pipeline), are anticipated to have the greatest impacts on ocelot habitat
 through removal and conversion to industrial uses and fragmentation. The construction of the
 San Roman Wind Farm also resulted in the loss of ocelot and jaguarundi habitat and
 fragmentation of the Bahia Grande Ocelot Coastal Corridor between the Bahia Grande Unit of
 the Laguna Atascosa NWR and other units of the Laguna Atascosa NWR to the north.

         As discussed above, the exact location of the sixth Port of Brownsville Project (the Steel
 Mill) is unknown; however, it is possible that it would be placed on an undeveloped parcel along
 the BSC and thus contain potential habitat for the ocelot. Similarly, construction of new
 infrastructure associated with the Opening of the Bahia Grande Unit of the Laguna Atascosa
 NWR to tourism (at the “Red Gate” Entrance) and the Jupiter Pipeline would occur on
 undeveloped lands that provide ocelot and jaguarundi habitat. Construction of the VCP is
 complete, but restoration could be ongoing during construction of the proposed Project. In
 addition, these projects along with several of the transportation projects and the Opening of
 Bahia Grande Project could result in increased road traffic and/or additional roads for transiting
 ocelots and jaguarundis to cross. Direct mortality as a result of construction activities for the
 projects considered in this cumulative impacts analysis for ocelots and jaguarundi are unlikely
 due to the mobility of the species; however, long-term impacts resulting from habitat loss and the
 potential for subsequent reduced genetic diversity from inbreeding could occur.

         As discussed above, the past and continued development in and around Brownsville and
 across the border in Mexico has decreased the available corridor habitat necessary to connect
 ocelot and jaguarundi populations in Mexico and the United States. While relatively small
 barriers such as the BSC and SH-48 do not create a major impediment to individual movements,
 ocelots and jaguarundi require contiguous dense thorn scrub for cover over longer distances
 (TPWD 2017a, 2017b). In addition, ocelots and jaguarundis are elusive species with relatively
 large home ranges and low population densities that tend to avoid human development and
 activity (FWS 2010a). The current remaining habitat corridor in the region to connect U.S. and


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 Mexico populations is located close to and within the proposed Texas LNG Terminal and
 proposed Rio Grande LNG Terminal sites north of the BSC and within the proposed Annova
 LNG Terminal site south of the BSC, as well as the lands associated with the Opening of the
 Bahia Grande Project and Jupiter Export Terminal. A designated wildlife corridor easement,
 granted by the BND to the FWS for a 19-year term in 2004, is about 0.7 mile to the west of the
 proposed Rio Grande LNG Terminal site boundary (see figure 4.6.1-1). Annova LNG has been
 working closely with the FWS to configure its project to reduce potential impacts on ocelots and
 jaguarundis to the maximum extent practicable. This includes maintaining an approximately
 1,500-foot-wide corridor to the west of the Annova LNG Terminal site, directly across from the
 existing wildlife corridor on the north side of the BSC. Although we know that the Steel Mill
 would be between the BSC and SH-48, we conservatively assume that the 800-acre site has
 similar scrub habitat (include possibly thorn scrub habitat) that could be used by ocelots and
 jaguarundis.

         While a travel corridor would be maintained to allow ocelots and jaguarundis to move
 between Mexico and the United States, the addition of three large industrial facilities in
 proximity to that corridor (i.e., Annova LNG, Rio Grande LNG, and Texas LNG), would create
 additional noise, light, and traffic, all of which could deter ocelots or jaguarundis from utilizing
 the corridor. However, in an effort to minimize impacts as a result of increased light pollution
 on all wildlife, including ocelots and jaguarundis, all three LNG projects have indicated that they
 would utilize down-facing lights. Other impacts, such as those associated with noise, would be
 minimized by the projects to the extent practicable; however, due to the proximity of the Annova
 LNG and Rio Grande LNG Projects to the wildlife corridors, facility-generated noise during
 construction and operation would result in minor increases in sound levels at the wildlife
 corridor. As depicted in figure 4.13.2-2, cumulative sound levels from operation of all three
 projects are estimated to be about 55 dBA L dn at the wildlife corridor, which would result in less
 than a 1 dB increase over the ambient level of 68.9 dBA L dn measured by RG Developers. The
 Steel Mill and Jupiter Export Terminal would be expected to have similar impacts as the LNG
 Terminals, while impacts from construction and operation of the Red Gate Entrance would be
 similar, but to a lesser extent.

          In addition, increased road traffic along SH-4 associated with the Annova LNG Project,
 Kingsville to Brownsville Pipeline, SpaceX Commercial Spaceport Project, and the Stargate
 Facility, as well as increased traffic along SH-48 associated with the proposed Project, Texas
 LNG Project, Kingsville to Brownsville Pipeline, and the Port of Brownsville projects could
 result in increased potential for vehicle strikes on ocelots and jaguarundis.

         As described above, there is potential for the continued reduction of suitable ocelot and
 jaguarundi habitat to a single, narrow corridor among industrial facilities. This loss, degradation,
 and fragmentation of habitat have been cited by the FWS in its 2010 Recovery Plan, as the
 primary threat to U.S. ocelot and jaguarundi populations. The further narrowing of this corridor
 could result in decreased dispersal of individuals between U.S. and Mexico populations,
 resulting in decreased genetic diversity (inbreeding). Further, the projects assessed for
 cumulative impacts on ocelots and jaguarundis would increase road traffic, particularly during
 periods of concurrent construction (see table 4.13.1-2), which is the primary cause of direct
 mortality on U.S. ocelot and jaguarundi populations (TPWD 2017a, 2017b). Due to the past,
 present, and proposed future development throughout the geographic scope for assessing


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 cumulative impacts on ocelots and jaguarundis, as well as the associated increases in road traffic,
 light, and noise, we have determined that cumulative impacts on ocelots and jaguarundis would
 be significant.

        Pipeline Facilities

          With the exception of the marine species (sea turtles and marine mammals), the species
 discussed in section 4.7 of this EIS could potentially be affected by construction and operation of
 other projects occurring within the same area as the proposed pipeline facilities. Impacts from
 the proposed pipelines in the Bahia Grande-BSC HUC-12 subwatershed are discussed above,
 where they fall within the geographic scope for the proposed LNG Terminal. Five projects, the
 Stella and Palmas Altas Wind Farms, the Kingsville to Brownsville Pipeline, the Jupiter Pipeline,
 and the VCP (for which construction is complete, but restoration could be ongoing during
 construction of the proposed Project), have been identified within the geographic scope for the
 pipelines north of the Bahia Grande-BSC HUC-12 subwatershed boundary. The Rio Bravo
 Pipeline and all other projects within the geographic scope are required to consult with the
 appropriate federal, state, and local agencies to evaluate the types of species that may be found in
 the area of the projects; identify potential impacts from construction and operation of the projects
 to any species identified; and implement measures to avoid, minimize, or mitigate impacts on
 special status species and their habitat. Based on projected impacts and proposed mitigation
 measures, construction and operation of the proposed pipelines would not be likely to adversely
 affect federally listed species and would be unlikely to result in a trend towards federal listing for
 state listed species.

         All federal projects are required by law to coordinate with the FWS, which will take into
 account regional activity and changing baseline conditions in determining the extent of impacts
 on a federally listed or proposed species. The VCP follows the same general path of the
 proposed pipelines and is immediately adjacent to the proposed route for about 34.4 miles. The
 FWS completed consultation for the VCP on June 19, 2017 (FWS 2017). The concurrence letter
 indicates that, with the additional mitigation recommended by the FWS, the VCP would have an
 insignificant and discountable impact on the jaguarundi, ocelot, northern aplomado falcon,
 piping plover, red knot, black lace cactus, slender rush pea, south Texas ambrosia, and Texas
 ayenia. Construction of the VCP is complete. Similar project-specific information is not yet
 available for the Kingsville to Brownsville Pipeline or the Jupiter Pipeline.

         Non-federal projects, such as the Stella and Palmas Altas Wind Farms, are also required
 to adhere to the ESA, although the FWS has a different mechanism for evaluation and
 minimizing impacts. Consequently, we conclude that past and present projects in combination
 with the proposed pipeline facilities would have minor cumulative effects to special status
 species.

        Conclusion

         As discussed above, many species would experience a cumulatively minor or negligible
 effect from the projects. However, given the extent of habitat modification associated with the
 proposed Project, and other projects in the geographic scope that would be built at the same time




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 as the proposed Rio Grande LNG Project, moderate to significant cumulative impacts would
 likely occur for certain species, including:

        •   significant cumulative impacts would likely occur for the ocelot and jaguarundi, given
            the loss and/or decrease in suitability of habitat within and adjacent to the projects, as
            well as for the potential increase in vehicular strikes during construction;

        •   significant cumulative impacts on the northern aplomado falcon due to loss of suitable
            foraging and nesting habitat and potential disruption of nesting in the vicinity of the
            projects; and

        •   moderate cumulative impacts on sea turtles due to dredging, vessel traffic, and pile-
            driving.

       Cumulative impacts associated with the Rio Bravo Pipeline on threatened and
 endangered species would be minor.

 4.13.2.6       Land Use, Visual Resources, and Recreation

        Land Use

          The geographic scope established for land use was determined to be Cameron County for
 the Rio Grande LNG Terminal, and land within 1 mile of the Pipeline System (see table 4.13.1-
 1). The total available land in Cameron County, almost 630,000 acres of land which 37 percent
 (over 230,000 acres) is agricultural land. The projects listed in table 4.13.1-2 would or have
 disturbed thousands of additional acres of land affecting a variety of land uses, including the land
 uses impacted by the Rio Grande LNG Terminal and Pipeline System. The non-jurisdictional
 facilities for the proposed Project, the Annova LNG and Texas LNG Projects and associated
 non-jurisdictional facilities, the VCP (for which construction is complete, but restoration could
 be ongoing during construction of the proposed Project), the five Wind Farms, the Cross Valley
 Project, the Palmas to East Rio Hondo Transmission Line, the six Port of Brownsville Projects,
 the wildlife crossing projects, the Opening Bahia Grande Project, all of the waterway
 improvement projects, as well as the oil and gas facilities would all have the potential to
 contribute to cumulative impacts on land use.

         Projects with permanent aboveground components (e.g., buildings), wind energy projects,
 roads, and aboveground electrical transmission lines would generally have greater impacts on
 land use than the operational impacts of a pipeline, which would be buried and thus allow most
 land use activities to resume land following construction. Therefore, with the exception of
 aboveground facilities and the permanent right-of-way, pipeline projects typically only have
 temporary impacts on land use. The majority of long-term or permanent impacts on land use are
 associated with vegetation clearing and maintenance of the pipeline right-of-way.

        LNG Terminal

         Ongoing and recently completed projects, such as the San Roman (156 acres within a
 3,289-acre area), the Cameron (15,000 acres), the Palmas Altas Wind Farms (6,600 acres), and
 the Jupiter Project (8,150 acres) have contributed to the ongoing conversion of the land in


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 Cameron County from predominately open farmland to industrial use. Similarly, the planned
 Tenaska Brownsville Generating Station and Steel Mill would impact about 270 and 800 acres,
 respectively, of land in Cameron County. The existing and future transportation projects, such as
 the South Padre Island Second Access, State Highway 550 connector and Toll Project, the
 Airport Terminal Expansion, and the Opening of the Bahia Grande Project also contribute to
 present and future cumulative impacts on land use within Cameron County. Other past, present
 and future Port of Brownsville projects within Cameron County noted in table 4.13.1-2 have
 resulted in land use impacts that would be considered in combination with the Rio Grande LNG
 Terminal. The non-jurisdictional facilities associated with the Rio Grande LNG Terminal would
 also result in about 182 acres of land impacted in Cameron County.

         Although we do not have project-specific land use information for projects not under the
 jurisdiction of the FERC, we can estimate the total impact of each project based on the length of
 each project and industry standards on the right-of-way width for a given diameter pipeline.
 Assuming a construction right-of-way width of 125, 150, and 100 feet, respectively, VCP
 affected about 2,545.8 acres of land, the Cross Valley Project would impact about 1,745.7 acres
 of land, and the Jupiter Project would impact about 7,880 acres, of which about 750.6, 866.5, and
 650 acres, respectively, would be in Cameron County; land crossed is assumed to be similar in
 cover type to that crossed by the Rio Bravo Pipeline System. Similarly, the Kingsville to
 Brownsville Pipeline is anticipated to affect about 1,576 acres of land, of which an estimated 480
 acres would be located within Cameron County. Given the land use information that we have for
 all these other projects in Cameron County, we estimate the land use acreage impacts to total
 almost 9,500 acres, in addition to the acreage associated with the Rio Grande LNG Project.

          While the LNG Terminal would be consistent with BND’s long-term plan, construction
 and operation of this project would result in permanent changes in land use. When considered
 with the land use impacts of other past, present, and reasonably foreseeable future projects within
 Cameron County, the Rio Grande LNG Terminal, which would be a new, 750.4-acre industrial
 facility along the BSC, would result in a minor contribution to cumulative impacts on land use in
 Cameron County.

         If the Annova LNG and Texas LNG Projects are permitted and constructed, these
 projects would convert land in Cameron County from the current land use to industrial land.
 While impacts on land use would be permanent, these types of projects are also consistent with
 BND’s long-term plan for the Port of Brownsville and the BSC, which identifies the area as
 intended for heavy industrial use. Further, the Annova LNG and Texas LNG Projects, as FERC-
 jurisdictional projects, would be required to adhere to the revegetation requirements of the
 construction and permanent workspaces in accordance with our Plan as applicable for each
 project, to minimize impacts on land use.

         In total, the three Brownsville LNG terminals would affect 1,939.8 acres of generally
 undeveloped land, including a mixture of vegetated (herbaceous or scrub-shrub) and unvegetated
 land, 1,444.4 acres of which would be permanently converted to developed land. Construction
 and operation of all three FERC-jurisdictional LNG Projects would affect about 1,940 acres of
 land use, and when considered with the past, present, and reasonably foreseeable future projects,
 we do not anticipate that the three LNG Projects would contribute significantly to the cumulative
 impacts on land use within Cameron County.


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        Pipeline Facilities

         In south Texas, several future projects could be constructed and/or operated concurrent
 with the Pipeline System, including the Annova LNG and Texas LNG Projects, associated non-
 jurisdictional facilities, the Jupiter Pipeline, as well as previously constructed oil or gas wells and
 associated pipelines that are in service. Impacts on land use could occur if these projects are
 constructed around the same time as the Rio Bravo pipelines.

         As described above, the Annova LNG and Texas LNG Projects, as FERC-jurisdictional
 projects, would be required to adhere to our Plan to minimize impacts on land use. Associated
 intrastate pipeline facilities for the Texas LNG Project would involve activities similar to the
 construction of an interstate pipelines, although land requirements for construction and operation
 would be considerably less given they are typically smaller-diameter pipeline (30 inches in
 diameter) and based on its shorter length (10 miles).

         Of the total impact acreage for the Rio Grande LNG Terminal and other projects in the
 combined geographic scope for the LNG Terminal and Pipeline System (28,892 acres84), the
 Pipeline System would impact 2,495.9 acres of land during construction. This estimate includes
 impacts from the proposed pipelines and other projects in Cameron County as discussed above,
 where they fall within the geographic scope for the proposed LNG Terminal (a total of 11,058
 acres). The proposed Pipeline System would affect predominantly open and agricultural land,
 including ranch lands, and would be temporary as these land uses would be allowed to revert to
 prior uses following construction. Any impacts would be minimized or mitigated to the greatest
 extent practicable through the use of Project-specific construction plans (for example, RG
 Developers’ Plan) and consultation with federal agencies, state agencies, and landowners. We
 anticipate that other projects in the geographic scope would be required to implement similar
 construction and restoration practices to minimize impacts on land use.

        Conclusion

         The Rio Grande LNG Project would result in temporary, short-term, and permanent
 impacts on existing land use. For other projects in the geographic scope built at the same time as
 the proposed Project, cumulative impacts on land use would be additive. However, certain
 projects such as the South Padre Island Beach Re-nourishment, the wildlife crossing projects, the
 Palo Alto Battlefield Cultural Landscape Restoration, and Bahia Grande Coastal Corridor Project
 are focused on maintenance or enhancement of the natural environment; as such these projects
 may result in positive effects on land use. Overall, the cumulative impacts of the Project when
 considered with other projects would be temporary (during construction of the buried or
 temporary project components) to permanent (within aboveground facility footprints), and minor
 given the large geographic scope (Cameron County alone comprises almost 630,000 acres of
 land). Further, the Rio Grande LNG Project would be consistent with BND’s long-term plan,




 84
        Total based on known project sizes reported in acres in table 4.13.1-2, less the Cameron Wind Farm, for which the
        actual acreage of conversion within these facilities is unknown but is expected to be minimal, and the area that would
        be restored for the Bahia Grande Coastal Corridor Project.


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 which identifies the area for the proposed LNG Terminal site as intended for heavy industrial
 use.

        Recreation and Special Interest Areas

         The geographic scope established for recreation and special interest areas was determined
 to be Cameron County for the Rio Grande LNG Terminal, and land within 1 mile of the Pipeline
 System (see table 4.13.1-1). The projects listed in table 4.13.1-2 would disturb lands and
 waterways which could be a disruption for recreationalists resulting in diminished or lost use of
 recreation and special interest areas. Alternatively, projects like the Opening of the Bahia
 Grande are geared toward enhancing recreational opportunities. Projects with permanent
 aboveground components (including the proposed Project, Annova LNG and Texas LNG
 Projects, VCP, wind farm projects, and the Cross Valley Project) would generally have greater
 impacts on recreation and special use areas than the operational impacts of a pipeline, which
 would be buried and thus allow most land use activities to resume land following construction.
 Therefore, with the exception of aboveground facilities and the permanent right-of-way, pipeline
 projects (including the proposed Project, the VCP, Kingsville to Brownville Pipeline, and New
 Intrastate Pipeline for Texas LNG) typically only have temporary impacts on these areas.
 Construction of the VCP is complete, but restoration could be ongoing during construction of the
 proposed Project. The majority of long-term or permanent impacts on recreation and special
 interest areas are associated with vegetation clearing and maintenance of the pipeline right-of-
 way, and the changes in the viewshed for recreationalists from the presence of aboveground
 components.

        LNG Terminal

         Based on the information currently available, the Annova LNG and Texas LNG Projects,
 and their associated new intrastate pipelines and non-jurisdictional facilities, the Steel Mill, and
 the Jupiter Project could impact the recreation and special use areas that would be in proximity to
 the Rio Grande LNG Terminal (including the Lower Rio Grande Valley NWR; Laguna Atascosa
 NWR; and the Zapata boat launch; see table 4.8.1-3). Construction of these projects at the same
 time and at nearby locations as the proposed Rio Grande LNG Terminal would result in short-
 term impacts on the recreation and special use areas, including alteration of visual aesthetics by
 the presence of construction personnel and vehicles, removing existing vegetation and disturbing
 soils; generating dust and noise, and generally interfering with or diminishing the quality of the
 recreational experience by affecting wildlife movements or disturbing recreationalists.

         Many of these recreation and special use areas are located on large parcels with multiple
 access points so as the distance to construction work areas increases, impacts would generally
 decrease. Where recreational use would be allowed to proceed near construction activities, RG
 Developers would implement mitigation measures similar to those described in section 4.8.1.3,
 and in consultation with land managers. Finally, Cameron County offers a variety of parks and
 recreation areas providing amble sites that are sufficiently removed from the proposed LNG
 Terminal site (Cameron County Parks and Recreation 2018, TPWD 2018). For the reasons state
 above, we anticipate that the Rio Grande LNG Terminal, if built at the same time and affect the
 same areas or features as other current and foreseeable future projects, would result in a minor
 contribution to cumulative impacts on recreation and special interest areas.


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          Operational impacts on the recreation and special use areas associated with the three
 LNG terminals, the Steel Mill, and Jupiter Export Terminal would generally be similar to those
 experienced during construction. The most notable difference would be the presence of the
 facilities, which would be a permanent change in the existing viewshed. As described above,
 most of the recreation and special use areas are located on large parcels with multiple access
 points, as such users of the areas in proximity to these facilities that are more sensitive to their
 presence could opt to recreate elsewhere within the chosen recreation site or at one of the other
 recreation and special use areas further removed from the facilities. The timing of construction
 of the new facilities associated with the Opening of the Bahia Grande is currently unknown.
 Similarly, it is unknown whether these plans would be modified, or abandoned, if the proposed
 LNG Terminal is approved and constructed.

        Pipeline Facilities

         Several recreation and special interest areas are in proximity to the proposed Pipeline
 System, including King Ranch, the Laguna Atascosa and Lower Rio Grande Valley NWRs, four
 Great Texas Coastal Birding Trails, and the Zapata boat launch. Recreation and special use areas
 are discussed in section 4.8.1.5.

         Based on the information currently available, the non-jurisdictional facilities, the new
 intrastate pipeline for the Texas LNG Project, the VCP, and the Jupiter Pipeline could impact the
 recreation and special use areas that would be crossed by the proposed pipeline facilities.
 Construction or ongoing restoration of these projects at the same time as, and at locations
 proximal to, the proposed pipeline facilities would result in temporary cumulative impacts on the
 recreation and special use areas due to increased noise and dust, and limited access. While the
 Bruenning Breeze Wind Farm and the SH-100 Wildlife Crossing Project could affect some of the
 same recreation and special use areas as the proposed pipeline facilities, any impacts would be
 separated by time, and would not occur concurrently.

          Following construction of the pipelines, the majority of long-term or permanent impacts
 on recreation and special use areas crossed or adjacent to the pipelines would be associated with
 vegetation clearing and maintenance of the pipeline rights-of-way. Operation of the other
 projects identified above would generally be similar to those described for the proposed pipeline
 facilities. We conclude that overall impacts on these recreation and special use areas from
 operation of the proposed pipelines and other projects would be considered minor in comparison
 to the current inventory of recreation and special use areas.

        Conclusion

         The Rio Grande LNG Project would result in short-term impacts on recreation areas. For
 other projects in the geographic scope built at the same time as the proposed Project, cumulative
 impacts on recreation would be additive. However, certain projects such as the South Padre
 Island Beach Re-nourishment, the SH-100 Wildlife Crossing, the Palo Alto Battlefield Cultural
 Landscape Restoration, and Bahia Grande Coastal Corridor projects are focused on maintenance
 or enhancement of the natural environment; as such, these projects may result in positive effects
 on recreation use and experiences. Overall, the cumulative impacts of the Project when
 considered with other projects would be temporary (during construction of the buried or


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 temporary project components) to short-term (as disturbed lands revegetate following
 construction), and minor given the large inventory of recreation areas with multiple access
 points.

        Visual Resources

          The geographic scope of analysis for cumulative impacts on visual resources was
 considered to be areas within the viewshed of the Rio Grande LNG Terminal site and proposed
 pipeline facilities (see table 4.13.1-1). For the Rio Grande LNG Terminal this was determined to
 be the distance at which the storage tanks, which would be the tallest features at the terminal,
 would be visible from neighboring communities (about 12.0 miles). For the Pipeline System, the
 tallest feature would vary as one moved along the proposed right-of-way, but the geographic
 scope for visual resources would generally be within 0.25 mile.

         As described above for land use, projects with permanent aboveground components, such
 as the LNG terminals, wind energy projects, Port of Brownsville projects, roads, and
 aboveground electrical transmission lines would generally have greater impacts on visual
 resources than subsurface projects (e.g., pipelines). The operational impacts of a pipeline, with
 the exception of aboveground facilities and (in some cases) the permanent right-of-way, would
 only have temporary to short-term impacts on the viewshed as a vegetation cover is re-
 established.

        LNG Terminal

        The area around the LNG Terminal is flat and relatively open with scrub-shrub
 vegetation. As described in section 4.9.8.2, the Port of Brownsville and the BSC support the
 shipping of domestic and foreign products, therefore the movement of these vessels contribute to
 the characterization of the existing viewshed. Visual receptors in the vicinity of the LNG
 Terminal site include recreational and commercial users of the BSC; land-based visual receptors
 would include motorists on SH-48, visitors to the Laguna Atascosa and Lower Rio Grande
 Valley NWRs, and other nearby, existing or planned, recreation areas as discussed above.

          The most prominent visual feature at the LNG Terminal site would be the four LNG
 storage tanks, which would be 275 feet wide and 175 feet in height. Based on our assessment of
 RG LNG’s visual simulations and our evaluation of other sources and maps, we determined that
 the Rio Grande LNG Terminal would be most visible from the Bahia Grande Channel, SH-48,
 and the Zapata boat launch (see section 4.8.2.1). Further, as discussed in section 4.9.3.1, if plans
 proceed with the Opening of the Bahia Grande Red Gate Entrance, visual receptors at the
 observation deck would be able to see the LNG Terminal as they look to the south. The
 proposed LNG Terminal would not be clearly visible or would difficult to see from the other
 eight KOPs, obscured in part or whole by existing vegetation, or appear as an undiscernible
 feature on the horizon. Existing vegetation, however, should not be a determining factor for
 visibility. A wildfire, road widening, or other actions may remove the vegetation screen making
 the Project clearly visible. Therefore, the projects that have the greatest potential to contribute to
 cumulative visual impacts would be within about 4.0 miles of the LNG Terminal, these would
 include the proposed Projects non-jurisdictional facilities, the Annova LNG and Texas LNG




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 Projects and associated non-jurisdictional facilities, the Steel Mill, Jupiter Export Terminal, the
 Opening of the Bahia Grande, and the waterway improvement projects.

          The visual impacts associated with waterway improvement projects would be limited to
 short-term impacts during active dredging and construction; similarly, contributions from the
 proposed new interstate pipelines would be limited to the period of active construction.
 Therefore, these projects would not weigh into the consideration of the cumulative visual impact
 of the LNG Terminal and other projects. Given the LNG Terminal site’s proximity to residential
 areas, it may be possible to see the LNG Terminal from certain vantage points in Port Isabel and
 Laguna Heights, in particular elevated sites such as the Port Isabel Lighthouse; however, as
 discussed in section 4.8.2.1, the distance to the LNG Terminal site limits its visibility and as such
 it would not be a prominent feature in the viewshed for these residences.

          The potential for cumulative visual impacts would be greatest if, in addition to the
 proposed LNG Terminal, the Annova LNG and Texas LNG Projects, the Steel Mill, and Jupiter
 Export Terminal are permitted and built concurrently. In particular, motorists on SH-48 and
 visitors to the nearby recreation areas where two of the LNG terminals would be visible
 (including the NWRs, Zapata boat launch, on San Martin Lake) would experience a permanent
 change in the existing viewshed during construction and operation of the projects. While the
 exact location of the Steel Mill is unknown, its general location of between the BSC and SH-48
 on an 800-acre sites suggests that it could be visual from these nearby recreation areas.
 Similarly, the modifications and improvements proposed at the Jupiter Export Terminal would
 be visible to water-based receptors on the BSC as well as to visitors to recreation areas south of
 the BSC. As the timing of the Opening of the Bahia Grande is currently unknown, changes in
 the viewshed for visitors to this future recreation site may be minimized if the LNG terminals are
 built first, as these features would become part of the existing viewshed. Alternatively, if the
 Red Gate Entrance is completed before or concurrent with the LNG terminals then cumulative
 impacts on these visual receptors would be similar to those at other nearby recreation areas.

         Short-term impacts during construction would include the presence of equipment and
 workers, the increase in construction-related traffic (on land and in the BSC), and the installation
 of large structures at the terminal sites. For land and water-based mobile receptors this impact
 would be short, lasting only the duration of time for the vehicle or vessel to pass the site. To
 help mitigate these impacts RG LNG would construct a levee around the LNG Terminal site that,
 once complete, would obstruct most construction activities.

          Following construction, permanent changes to the visual character of the area would
 result from the operation of the terminals due to the presence of aboveground structures. RG
 LNG would mitigate these impacts by the use of ground flares, strategic selection of color
 schemes for the storage tanks, horticultural plantings, and a levee that would obstruct low-to-
 ground operational facilities from view. The Annova LNG Project would also implement
 measures to screen visual receptors, including using materials colored and treated to blend in
 with the surrounding landscape and reduce glare; and designing lighting to minimize contrast
 with the night sky. Texas LNG has not proposed any measures for visual screening of the LNG
 terminal during operation and therefore may result in a significant cumulative impact on visual
 resources. Although the Rio Grande LNG Terminal would change the existing landscape, its



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 operation, as well as the other proposed LNG terminal projects, would be consistent with BND’s
 long-term plan, which identifies the area as intended for heavy industrial use.

        Pipeline Facilities

          As previously discussed, the geographic scope for visual resources along the Pipeline
 System is generally a 0.5-mile radius. The proposed Project’s non-jurisdictional facilities, the
 Texas LNG Projects and associated intrastate pipeline, ongoing restoration of the VCP, the five
 wind farms, the Cross Valley Project, the wildlife crossing projects, as well as oil and gas
 facilities have the potential to contribute to cumulative impacts on visual resources. As
 discussed above, while specific route details for the Jupiter Pipeline are currently not available,
 the pipeline route appears to generally follow a similar path as VCP and the Rio Bravo Pipeline.

         The visual character of the existing landscape is defined by historic and current land uses
 such as recreation, conservation, and development. The visual qualities of the landscape are
 further influenced by existing linear installations such as highways, railroads, pipelines, and
 electrical transmission and distribution lines, as well as wind energy facilities. Within this
 context, the non-jurisdictional facilities, intrastate pipelines, wind farms, and electric
 transmission and power projects listed in table 4.13.1-2 would all have the potential to contribute
 to the cumulative impact on visual resources in the geographic scope.

        As described in section 4.8.2.2, the existing viewshed is characterized by large parcels of
 land composed predominately of open land with existing easements for oil and gas pipelines.
 The proposed pipeline facilities would add incrementally to this impact, but the overall
 contribution would be relatively minor given that the majority of the pipeline facilities would be
 buried. To minimize visual impacts, portions of the right-of-way would be adjacent to existing
 permanent rights-of-way, including the VCP, which minimizes development of new corridor.
 This would also help to limit the extent of changes in the viewshed.

         Additionally, disturbed areas would be revegetated as appropriate. Given the rural setting
 composed of large tracts of land where aboveground facilities would be located, visual receptors
 are predominately passing motorists with limited opportunity to view these facilities. The impact
 of wind farm and electric transmission development activities on visual resources would vary
 widely depending on the location of specific facilities and access roads, but would be minimized
 to the extent possible through the state’s review and permitting process.

          The assessment of visual importance of an object or area varies greatly between
 individuals. In particular, some may find alternate forms of energy infrastructure (i.e.,
 windmills) appealing for their perceived economic value while others may take a tangible
 approach in their evaluations, making meaningful conclusions on visual resources subjective.
 Visual impacts associated with operation of the pipeline facilities and other natural gas
 development result from maintained rights-of-way for gathering lines and other pipeline
 facilities, oil and gas wells, compressor stations, and meter stations. The turbines associated with
 the San Roman, Cameron, and Bruenning Breeze Wind Farms are visible from residences nearby
 the Pipeline System in Cameron and Willacy Counties. In Kenedy and Cameron Counties,
 ongoing construction of the Stella and Palmas Altas wind turbines would require the presence of




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 large equipment to transport and install the turbines and blades, and large cranes would be
 brought on site to complete installation of the turbines, blades, and shaft.

         Although the visual impact of the wind farms and the LNG terminals may be long-term,
 only a minor visual impact would result due to the operation of the pipeline facilities, primarily
 resulting from the clearing of scrub-shrub vegetation types. Project proponents for these
 developments and associated non-jurisdictional project-related facilities would restore disturbed
 areas in accordance with state permitting agency requirements, thereby limiting permanent visual
 impacts on those areas where previously existing vegetation would not be allowed to reestablish
 within the new permanent right-of-way. The locations of any aboveground facilities for the wind
 farms are not known and therefore visual impacts from these projects cannot be reliably
 estimated at this time.

          As currently proposed, the Annova LNG and Texas LNG Projects would involve
 construction of gas pipeline laterals. Permanent visual impacts would also occur in developed
 areas where permanent aboveground structures (e.g., transmission line posts) would remain.
 Other recently completed or proposed project aboveground facilities would, for the most part,
 likely be located adjacent to an existing right-of-way (e.g., transmission line), at existing paved
 industrial/commercial sites, in remote locations, and/or within a permanent right-of-way.
 Whereas these permanent visual impacts may be locally noticed, generally they would not be
 inconsistent with the existing visual character of the area. Therefore, the Rio Bravo Pipeline’s
 contribution to cumulative impacts on visual resources, along with impacts from the other
 projects identified above, would mostly be limited to the construction phase, and would be
 temporary and minor. Alternatively, the presence of the wind turbines and LNG terminals would
 result in a permanent change in the existing viewshed for nearby visual receptors.

        Conclusion

         The Rio Grande LNG Project would result in temporary to permanent impacts on the
 viewshed. Other Projects constructed within the geographic scope Rio Grande LNG Project
 could contribute to cumulative impacts on the viewshed with the Project. Although construction
 of the pipelines would contribute to cumulative impacts on the viewshed, they would generally
 be temporary to short-term in nature. Given the lack of visual receptors in the vicinity of
 aboveground facilities associated with the Pipeline System, their contribution to cumulative
 visual impacts would be permanent, but minor. Following construction, the areas associated
 with the Pipeline System would be restored in accordance with the Project-specific Plan and
 Procedures. The physical facilities of the LNG Terminal and the aboveground facilities
 associated with the Pipeline System would result in a permanent and moderate changes in the
 existing viewshed for nearby visual receptors. However, as the Texas LNG terminal has the
 potential to result in significant visual impacts, we conclude that cumulative impacts on visual
 resources from the Rio Grande LNG Project, when considered with other projects, would be
 potentially significant.

 4.13.2.7       Socioeconomics

        The geographic scope for the assessment of cumulative impacts for the LNG Terminal on
 socioeconomic resources includes Willacy, Cameron, and Hidalgo Counties (see table 4.13.1-1).


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 As discussed in section 4.9, while none of the Rio Grande LNG Project facilities would be in
 Hidalgo County, it is included in the socioeconomic analysis because it would likely experience
 an influx in population from non-local workers relocating to the area during Project construction.

         The geographic scope for the Pipeline System includes Jim Wells, Kleberg, Kenedy,
 Willacy, and Cameron Counties (see table 4.13.1-1). While many of the projects listed in table
 4.13.1-2 have the potential to contribute to cumulative impacts on socioeconomic resources
 within the geographic scope of assessment, these impacts would be greatest during concurrent
 construction of projects with large construction workforces, such as the Annova LNG and Texas
 LNG Terminals and the Steel Mill, in close proximity to the Rio Grande LNG Project.

        Population and Employment

        LNG Terminal

         RG LNG initially expected construction of the LNG Terminal to begin in 2018; however,
 the start of construction is dependent on receipt of necessary permits. Construction would occur
 over a 7-year period and construction workers would be on site throughout the duration. Several
 of the projects listed in table 4.13.1-2 would also require construction workers during the same
 period as the Rio Grande LNG Terminal, most notably the Annova LNG and Texas LNG
 Projects and the Steel Mill. If these projects were constructed concurrently, the construction
 labor requirements would be highest for the first 4 years, when all three projects are under
 construction. Based on the average construction workforce, these projects would be expected to
 employ about 5,850 construction workers in total, and at peak construction the combined
 workforces would be about 8,237 workers.

         Following construction, these projects would result in the addition of 1,045 or more
 permanent jobs. In addition to this direct employment, the projects would likely result in
 increased indirect employment based on the purchases of goods and services. Collectively, the
 three LNG terminals would spend an estimated $4.9 billion on direct expenditures. Similar
 expenditures are not known for the proposed Steel Mill; however, the facility itself is estimated
 to cost between 1.2 and 1.6 million dollars, and we assume some of these dollars would be
 associated with expenditures in the Project area. These expenditures and workforce associated
 with construction and operation of the LNG Terminals and Steel Mill would result in cumulative
 positive, short-term and permanent impacts, respectively, on the local economy.

         Other projects identified in table 4.13.1-2 would likely have staggered timelines for
 specific labor needs, so some construction personnel working within the geographic scope may
 be able to support multiple projects. This would have a cumulative effect of decreasing the
 overall labor force required to meet the needs for all projects, however based on the size and
 types of these other projects, as well as the temporary nature of construction, the overall impact
 would likely be negligible. Finally, some of the projects identified in table 4.13.1-2 may not be
 permitted and/or built, which would reduce the total labor need within the geographic scope of
 analysis.




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        Pipeline Facilities

         The construction periods for the pipeline facilities would likely be concurrent with
 several of the projects identified in table 4.13.1-2. Simultaneous construction of those projects
 could require a large number of workers from the local and non-local labor pools. The
 cumulative effect of local hires would reduce unemployment in the area; however, that reduction
 in unemployment could require the import of more construction workers than typically required
 for any single project. Other positive benefits from the new jobs and workers in the area would
 include increasing revenue for local business owners and generating new tax revenue in the
 geographic scope.

        Conclusion

         The Rio Grande LNG Project would substantially reduce unemployment in the Project
 area and potentially could result in the need to hire and train construction workers from outside
 the Project area to meet the needs of all projects in the geographic scope. Positive benefits from
 the new jobs and workers in the area would include increasing revenue for local business owners
 and generating new tax revenue in the geographic scope of analysis. Expenditures and the
 workforce required for construction of the Rio Grande LNG Project, in combination with other
 projects in the geographic scope, would result in temporary cumulative impacts during the
 construction period; operation of the LNG Terminal and other projects would result in a positive,
 permanent impact on the local economy.

         We received comments on the draft EIS raising concerns that LNG projects would alter
 the character of communities, conflicting with social and cultural values, and negate the efforts
 by citizens and organizations who have shaped the area through conservation efforts. As
 described throughout the EIS, the LNG Terminal would be on undeveloped land owned by the
 BND, outside of city boundaries, and in an area that is characterized, in part, as industrial with
 the movement of domestic and foreign products within the BSC and associated with the Port of
 Brownsville. As described in sections 1.3 and 4.9.10 of this EIS, RG Developers have engaged
 in a variety of public outreach efforts, as well as coordinating additional outreach focused on job
 opportunities for local workers (see section 4.9.2). Further, RG LNG has committed to
 donations that will fund community projects (see section 4.9.5). Collectively these acts could aid
 in fostering community cohesion. Finally, RG Developers have been and continue to consult
 with federal and state agencies on mitigation measures for Project impacts on wetlands and
 wildlife habitat for special status species. We expect that other major projects would also engage
 in community outreach and would implement any mitigation measures for environmental
 impacts required by applicable permits, thus lessening the overall adverse cumulative impacts on
 the communities.

        Housing and Public Services

        LNG Terminal

       The influx of non-local workers associated with construction of the Rio Grande LNG
 Terminal would affect the availability of housing in Cameron, Willacy, and Hidalgo Counties.
 The cumulative impact on local housing may result in increased rental rates and housing



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 shortages for lodging if all of the proposed and planned projects in the geographic scope of
 analysis are implemented according to the expected timeframes. This would benefit the local
 housing market, but would adversely affect those seeking housing.

         The anticipated construction workforce for the Rio Grande LNG Terminal would occupy
 between 2.7 and 4.9 percent of the available housing in Cameron, Willacy, and Hidalgo Counties
 throughout the duration of construction (see section 4.9.6.1). The Annova LNG and Texas LNG
 Project proponents have identified Cameron County as the geographic areas from which the
 respective local workforces would be sourced or where individuals would likely relocate during
 construction. If non-local workers for all three projects found housing in Cameron County, they
 would occupy between 8.1 and 15.4 percent of the available units; therefore, no significant
 impacts on the local housing markets are expected.

         The combined construction workforces for the projects identified in table 4.13.1-2 would
 increase the need for some public services, such as police, medical services, and schools. The
 need for these services would generally be spread throughout the counties that house the
 workforce for the Rio Grande LNG Terminal (Cameron, Willacy, and Hidalgo Counties), but
 there may be an increased cumulative need for medical and emergency services in Cameron
 County where the proposed Rio Grande LNG Terminal and associated construction workers are
 expected to be concentrated. RG LNG would train a portion of the construction and operation
 workforces as emergency responders and provide access to first-aid kits. In addition, onsite
 security would be provided through a third-party contractor. The other Project proponents may
 also mitigate the impact by providing funding for temporarily increasing the staff and equipment
 of the public services affected.

        With construction of the three LNG terminal projects lasting several years, it is likely that
 some non-local construction workers would relocate to the area with their families, including
 school-aged children. This would increase enrollment in some schools in counties housing the
 workers with families; however, as increased enrollments would likely be spread throughout
 many school districts, the cumulative effect on schools would be long-term, but minor.

        Pipeline Facilities

         The influx of non-local workers would affect the availability of housing in Jim Wells,
 Kleberg, Kenedy, Willacy, Cameron, and Hidalgo Counties. As described in section 4.9.7, there
 is an adequate amount of vacant temporary housing in the geographic scope. However, with
 concurrent construction of larger projects identified in table 4.13.1-2, transient housing could be
 limited and non-local workers unable to find acceptable housing in these counties would be
 forced to obtain housing in neighboring counties such as Brooks and Starr Counties resulting in
 longer commutes.

         The cumulative impact on local housing may result in increased rental rates and housing
 shortages for lodging if all of the proposed and planned projects are implemented according to
 the expected timeframes. This would benefit the local housing market, but would adversely
 affect those seeking housing.




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         As described above for the LNG Terminal, the combined construction workforces of
 projects would increase the need for some public services; the need for those services would
 generally be spread throughout the counties that house the workforce. In section 4.9.1, we
 estimate that the change in the local population, due to the presence of the non-local workforce
 for the Pipeline System, would be 0.003 percent. Given this negligible population increase, the
 Pipeline System’s contribution to the cumulative impact on medical and emergency services in
 the geographic scope during construction would likely be occasional and minor.

         As discussed for the LNG Terminal, some workers may bring their families, increasing
 enrollment at local schools. However, given construction of the Rio Bravo Pipeline would occur
 over a 12-month period and be separated by an 18-month gap, it unlikely that the non-local
 workers would be accompanied by family members. Therefore, cumulative impacts on schools
 from construction of RB Pipeline’s facilities would be negligible.

        Conclusion

         Based on the number of available rental units and motels/hotels in Project area, it is
 anticipated that there would be sufficient housing available for the anticipated peak Project
 workforce for the Rio Grande LNG Project when cumulatively considered with the other
 Brownsville LNG terminal projects. While the other LNG projects may be constructed
 concurrently with the proposed Project, and non-local workers for these projects are expected to
 find housing in similar areas, and specifically Cameron County, the county has sufficient
 temporary housing to accommodate the influx of workers. Similarly, the increased need for
 public services and school enrollment to support non-local workers and their families for the Rio
 Grande LNG Project and other projects would be spread across the geographic scope.

         Further, with the expected increase in local taxes and government revenue associated
 with the proposed projects, we conclude that cumulative impacts on available housing and public
 services during construction of the LNG Terminal would be temporary and minor. Operation of
 the Project would require 128 new full-time workers and would, with other projects in the
 vicinity, contribute to minor cumulative impacts on housing resources and public services.

        Land Transportation

        LNG Terminal

         The greatest potential for cumulative impacts on roadway traffic is associated with
 construction of the Rio Grande LNG Terminal. Due to staggered construction schedules and
 locations of many of the projects identified in table 4.13.1-2, cumulative impacts on area traffic
 may be substantial at times, but are expected to be intermittent, short-term, and localized. The
 construction and operation of the three LNG terminal projects, however, would result in a
 substantial increase in daily vehicle trips on area roadways, as a result of material and equipment
 deliveries and commuting of construction personnel to and from the LNG terminal sites. A
 comment from the NPS was issued on the Texas LNG Project draft EIS asserting that the
 cumulative impact of the three LNG projects would result in cumulative impacts on traffic on SH
 511 and SH 550, which are also used to access the Palo Alto Battlefield NHP.




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          By the end of Year 5 following initiation of construction, the three LNG facilities could
 be operational if they receive the necessary regulatory approvals. Each of the three project
 proponents commissioned studies to assess potential impacts of vehicular traffic associated with
 their respective projects, and to develop measures to mitigate impacts on local traffic (Aldana
 Engineering and Traffic Design, LLC 2016, as updated in 2019). Construction traffic associated
 with the Annova LNG Project is expected to primarily use SH-4, and would therefore not
 contribute to cumulative impacts on SH-48 with the Rio Grande LNG Project. However, the
 Texas LNG Project site is located along SH-48 near the Rio Grande LNG Project and concurrent
 construction would result in a cumulative traffic increase. RG Developers’ commissioned study
 found that the existing roadway network which would provide access to the LNG Terminal (SH-
 48 between SH-550 and SH-100) has sufficient capacity to accommodate the expected peak hour
 traffic volumes associated with construction of the Rio Grande LNG Project. However, some
 improvements were necessary to safely accommodate peak hour traffic flows. As such, RG
 LNG has agreed to several improvements associated with access to its site, as fully discussed in
 section 4.9.9.1. Similar improvements to SH-48 would be made for access to the Texas LNG
 site. RG LNG has also committed to hiring off-duty police officers to direct traffic during peak
 commuting hours and would provide offsite parking for construction personnel.

         The Texas LNG Project site would be accessed via two driveways off SH-48. Texas
 LNG anticipates that its proposed southern driveway would generate approximately 300 right
 turn (northbound) movements during peak times, exceeding the threshold for an auxiliary lane,
 and is proposing roadway improvements to accommodate the additional traffic. The traffic
 impact assessment conducted by Texas LNG recommends that an auxiliary lane with
 deceleration, storage, and taper be constructed at the state highway northbound approach to the
 southern driveway at the project site. Further, the study states that the auxiliary lane should be
 continued approximately 1,100 feet north of the northern proposed driveway to provide for
 acceleration with storage and taper.

          Operation of the Rio Grande LNG Terminal would result in an average of 300 roundtrips
 to the site per day associated with worker commutes and truck deliveries. The Traffic Impact
 Analysis determined SH-48 would continue to provide ample capacity with this increase in
 traffic (Aldana Engineering and Traffic Design, LLC 2016, as updated in 2019). Operation of
 the Texas LNG Project, which is also accessed by SH-48, would also contribute to an increase in
 traffic on that roadway (65 roundtrips per day). As the capacity of the roadway is 40,000
 vehicles per day, and about 12,000 (winter season; in January 2019 this number was about 5
 percent less) to 17,000 (summer season) vehicles are estimated to travel on this roadway every
 day, the roadway has sufficient capacity available to accommodate the additional traffic
 generated for concurrent operation of the Rio Grande LNG Terminal and Texas LNG Project.

        Pipeline Facilities

         Construction of the Pipeline System could result in temporary impacts on road traffic in
 some areas and could contribute to cumulative traffic, parking, and transit impacts if other
 projects are scheduled to take place at the same time and in the same area. The local road and
 highway system in the vicinity of the Pipeline System is readily accessible by federal highways,
 state highways, secondary state highways, county roads, and private roads. However, portions of
 the proposed Pipeline System are routed through undeveloped land and would require the use of


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 county or private roads in these areas. RB Pipeline has stated that it would provide adequate
 parking for workers to ensure that parking on the shoulders of major roads is avoided and install
 warning signs on roadways to notify travelers of construction activities. If traffic congestion
 occurs during construction, RB Pipeline would consider implementing additional measures,
 including, but not limited to, scheduling truck deliveries between peak commuting times, re-
 routing truck traffic to avoid busy roadways, and implementing temporary traffic signals.

         The addition of traffic associated with construction personnel commuting to and from the
 right-of-way could also contribute to cumulative regional traffic congestion. However, any
 cumulative traffic impacts would be temporary and short-term. Workers associated with the Rio
 Bravo Pipeline would generally commute to and from the pipeline right-of-way, contractor
 yards, or aboveground facility sites during off-peak traffic hours (e.g., before 7:00 a.m. and after
 6:00 p.m.). It is unlikely that other projects listed in table 4.13.1-2 would have similar
 commuting schedules or reach peak traffic conditions simultaneously.

        Operation of the Pipeline System would not contribute to any long-term cumulative
 impact on the transportation infrastructure, because only a small number of new permanent
 employees, a maximum of 20, would be required to operate the pipeline facilities.

        Conclusion

         Based on the results of the commissioned studies for the proposed Project and other LNG
 terminal projects, in conjunction with RG LNG’s proposed roadway improvements, the Rio
 Grande LNG Project and other projects would contribute to a moderate cumulative impact on
 roadways during the 7-year construction period. The greatest cumulative impacts would occur
 during concurrent construction of the Rio Grande LNG and Texas LNG terminals. The proposed
 Project would contribute to a permanent, but negligible impact on roadway transportation during
 operations with the Texas LNG Project, since the operational traffic associated with the projects
 will be within the capacity of existing roadways.

        Marine Transportation

        LNG Terminal

         Current vessel traffic in the BSC is about 1,059 vessels per year, which equates to an
 average of about 88 vessels per month, including 61 barges (Port of Brownsville 2015b). RG
 LNG estimates that 880 barge deliveries would occur during the 7-year construction period for
 the Rio Grande LNG Terminal to supplement truck transport of construction materials.
 Similarly, the Annova LNG and Texas LNG Projects would include 144 and 109 deliveries,
 respectively, during their construction; the number of waterborne deliveries for other projects is
 not known. Additional vessel traffic associated with construction and operation of the Steel Mill
 and Jupiter Export Terminal is likely, but details on the number of vessels are currently
 unknown. Concurrent construction of these projects would noticeably increase the number of
 barges transiting the channel; however, impacts from the increased barge traffic would be
 consistent with existing use of the waterway.

        During operations, about 312 LNG carriers would call on the Rio Grande LNG Terminal
 per year; about 74 LNG carriers per year would call on the Texas LNG Terminal. Annova


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 estimates that 125 LNG carriers would call on the Annova LNG Terminal during operation.
 Combined, the three Brownsville LNG Projects would result in an increase in operation traffic in
 the BSC by up to 511 vessels, or 48 percent. Based on RG LNG’s anticipated number of port
 calls and its navigation simulation study, RG LNG determined that LNG carriers calling at the
 LNG Terminal would be transiting in the BSC for a combined duration of 30 hours per week
 (about 18 percent of the week). Because large vessel traffic in the BSC is one-way, and LNG
 carriers may be subject to a moving security zone during transit, LNG carriers in transit to the
 Rio Grande LNG Terminal, Annova LNG, and Texas LNG Terminals could cumulatively
 preclude other vessel traffic up to about 39 hours per week. To minimize impacts on other users
 of the BSC, it is anticipated that vessels would follow required mandates put forth in the LNG
 Terminal Manual, including the requirement to notify LNG Terminal managers and relevant
 authorities of the expected arrival of an LNG carrier about four days in advance to ensure that
 the timing of LNG carrier channel transits are aligned with other shipping schedules. The LNG
 carriers calling at the Annova LNG and Texas LNG Terminals would be subject to similar
 requirements.

        Pipeline Facilities

        RB Pipeline’s facilities would not result in impacts on marine transportation; therefore, it
 would not result in an incremental increase in the cumulative effects on marine transportation.

        Conclusion

          As previously described, construction of the Rio Grande LNG Terminal and other
 projects are likely to temporarily increase barge and support vessel traffic in the BSC.
 Concurrent construction would likely result in a cumulative impact on vessel traffic in the
 waterway, primarily by increasing vessel travel times due to congestion. During operations,
 LNG carriers calling on the Rio Grande LNG Terminal and other LNG facilities along the BSC
 vessels would have moving security zones that would preclude other vessels from transiting the
 waterway. Mandates for prior notice of expected arrivals would minimize impacts on other
 vessels. As a result, we conclude that there would be a moderate cumulative impact on vessel
 traffic in the BSC during construction and operation of the Project.

        Tourism and Commercial Fisheries

        LNG Terminal

         As discussed in sections 4.9.3 and 4.9.4.1, respectively, the Rio Grande LNG Project is
 not anticipated to result in significant impacts on tourism or commercial fisheries. Cumulative
 impacts on tourism would likely occur as a result of cumulative impacts on recreation areas,
 visual resources, and traffic, all of which are discussed in this section. About 55 percent of
 visitors to the Brownsville-Harlingen MSA in 2014 participated in beach activities. As the beach
 is directed away from the three Brownsville LNG terminals, this activity is not likely to be
 affected by the projects. It would be speculative to predict how the addition of the LNG projects
 would affect individual values and decisions of whether to visit Cameron County. However, as
 discussed in section 4.13.2.6, the three Brownsville LNG projects are anticipated to have a
 significant impact on visual resources from some recreational areas including the Laguna



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 Atascosa NWR. As discussed above, if the Red Gate Entrance is completed before or concurrent
 with the LNG terminals then cumulative impacts on visitors would be similar to those at other
 nearby recreation areas; however, it is unknown whether NWR managers would modify, or
 abandon, the plan to develop this access point, if the proposed LNG Terminal is approved and
 constructed.

          Although the land proposed to be developed for the three Brownsville LNG projects is
 zoned for industrial use, the concurrent construction and operation of three large industrial
 facilities as well as the associated non-jurisdictional facilities and the yet to be constructed Port
 of Brownsville Projects would result in some amount of change of the character of the landscape
 (see section 4.13.2.6). We can reasonably assume that this change would cause some visitors to
 choose to vacation elsewhere or alter their recreation activities to destinations in the region that
 are further from the project sites. As discussed above, the concurrent operation of the three
 Brownsville LNG projects would result in an up to 48 percent increase in vessel traffic transiting
 the BSC annually. This increase would likely result in additional delays for commercial fishing
 and recreational vessels that need to transit the BSC to reach the Gulf of Mexico or fishing
 destinations in the Laguna Madre. Overall, we anticipate that cumulative impacts on tourism and
 commercial fisheries would be permanent and moderate.

        Pipeline Facilities

         Impacts of construction of the Pipeline System on nature-oriented tourism sites would be
 temporary and limited to the period of active construction, which typically would last several
 days to several weeks in any one area. Operational impacts, including the permanent conversion
 of aboveground facility sites to industrial/commercial land, would result in negligible impacts on
 tourism based on their placement outside of main tourism areas. Construction or ongoing
 restoration of these projects at the same time as, and at locations proximal to, the RB Pipeline
 would result in temporary cumulative impacts on the recreation and special use areas due to
 increased noise and dust, and limited access. However, given that pipeline construction would
 be temporary in any one area, cumulative impacts would be short-term. The pipeline facilities
 would not affect commercial fishing. Therefore, the pipeline facilities would not contribute to
 significant cumulative impacts on tourism or commercial fisheries.

        Conclusion

         As previously described, the three Brownsville LNG projects are anticipated to have a
 significant impact on visual resources from some recreational areas including the Laguna
 Atascosa NWR. Although the land proposed to be developed for the three Brownsville LNG
 projects are zoned for industrial use, the concurrent construction and operation of three large
 industrial facilities as well as the associated non-jurisdictional facilities and the yet to be
 constructed Port of Brownsville Projects would result in some amount of change of the character
 of the landscape. Construction or ongoing restoration of these projects at the same time as, and
 at locations proximal to, the proposed pipeline facilities would result in temporary cumulative
 impacts on the recreation and special use areas due to increased noise and dust, and limited
 access. Overall, we anticipate that cumulative impacts on tourism and commercial fisheries
 would be temporary to permanent and minor to moderate.



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        Environmental Justice

         The geographic scope for the assessment of cumulative impacts on socioeconomic
 indicators was defined as the counties in the Project areas. However, based on our analysis in
 section 4.9.10, we found that minority populations and low-income communities, as defined per
 EPA guidelines, are present within a 2-mile radius of the Project facilities. Therefore, sensitive
 populations are present within the geographic scope and may be subject to cumulative impacts
 from the Rio Grande LNG Project and other projects.

        LNG Terminal

        As discussed in section 4.9, the nearest residential areas are about 2.2 miles from the
 proposed LNG Terminal site and are within a census tract that contains containing sensitive
 populations. During the pre-filing process and application review, FERC and RG Developers
 have made documents and notices about the Project available to the public. In addition, FERC
 provided materials in both English and Spanish to accommodate the local Hispanic or Latino
 population during public scoping and comment meetings. During the public scoping and
 comment meetings in Port Isabel for the Rio Grande LNG, Annova LNG, and Texas LNG
 Projects, both English and Spanish-speakers were present to converse one-on-one with
 stakeholders in attendance. Impacts on the human environment from construction of the Rio
 Grande LNG Terminal would consist of traffic delays, increased enrollment at public schools,
 and displacement of recreational fishermen and other visitors to the public use areas near the
 LNG Terminal site. These impacts would be minor and short-term, as described above.

         Several of the projects listed in table 4.13.1-2 could contribute to potential impacts on
 minority populations and low-income communities, most notably the Annova LNG and Texas
 LNG Projects and the yet to be constructed Port of Brownsville Projects, given their size and
 potential cumulative impacts on socioeconomics and air quality. Contractors working on
 projects within the geographic scope would be required to comply with applicable equal
 opportunity and non-discrimination laws and policies. The criteria for all positions would be
 based upon qualifications and in accordance with applicable, federal, state, and local
 employment laws and policies. Like the Rio Grande LNG Terminal, tax revenues generated
 from construction of these projects could be used to offset impacts on public schools and
 infrastructure. These impacts would apply to everyone and not be focused on or targeted to any
 particular demographic group.

         Potential air pollutant emissions from operation of the Rio Grande LNG Terminal would
 be below the thresholds for unhealthy air quality over Project-area counties, which have been
 established for criteria pollutants. Other projects that are permitted and built would be held to
 the same air quality standards. Further, the State of Texas requires a State Health Effects air
 quality analysis comparing predicted emissions with effects screening levels, which are used to
 evaluate potential effects as a result of exposure to air emissions of non-criteria pollutants. The
 results of RG LNG’s State Health Effects modeling evaluation indicate that the Project emissions
 are below applicable effects screening levels, and therefore adverse health effects are not
 expected. Cumulative impacts on air quality are discussed in section 4.13.2.9. Therefore, the
 Rio Grande LNG Terminal’s contribution to cumulative impacts on the low-income or minority



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 populations in the Project area would be limited to minor and temporary traffic delays and
 potential impacts on public schools during construction.

        Pipeline Facilities

         As noted in section 4.9.2, all of the affected counties have higher poverty rates than the
 State of Texas, and therefore all of the projects listed in table 4.13.1-2 could contribute to
 potential impacts on these populations. Based on the generally rural setting across the affected
 counties, impacts from the other projects on communities would include temporary impacts on
 road traffic during the respective construction periods. The Pipeline System would cross
 predominantly undeveloped land with few residences, and no existing residences are closer than
 50 feet from the proposed pipeline right-of-way and would have similar impacts on low-income
 residents in the counties crossed by the Project. These impacts would apply to everyone and not
 be focused on or targeted to any particular demographic group.

         As discussed above, minority populations are also present in Cameron County. Most
 notably would be projects with aboveground facilities, including the three LNG terminals and
 RB Pipeline’s proposed Compressor Station 3. Proponents of the proposed Annova and Texas
 LNG Projects have designed each project to minimize impacts on local populations by
 collocating new facilities with existing facilities or rights-of-way, siting projects on lands
 identified for industrial/commercial development or in remote locations, and maximizing the
 distance to or avoiding residences where practicable. Further, as these two projects are FERC-
 regulated, they would be required to implement similar mitigation measures as discussed above
 to minimize impacts on these populations due to traffic delays and potential impacts on schools
 during construction. While these projects could cause impacts on minority and low-income
 residents, these impacts would apply to everyone and not be focused on or targeted to any
 particular demographic group.

        Conclusion

         Minor and temporary traffic delays during construction of the LNG Terminal and
 pipeline facilities, and potential impacts on public schools during construction of the LNG
 Terminal, could affect minority and low-income residents in the geographic scope. These
 impacts would apply to everyone and not be focused on or targeted to any particular
 demographic group; therefore, the Rio Grande LNG Project is not expected to contribute to
 cumulative disproportionate, adverse effects on minority and low-income residents in the area.

 4.13.2.8       Cultural Resources

         The geographic scope for cumulative impacts on cultural resources was determined to be
 the area directly affected by the Rio Grande LNG Terminal site and pipeline facilities. Other
 projects that occur within the geographic scope for cultural resources include the non-
 jurisdictional facilities, the Cameron and Palmas Altas Wind Farms, and the VCP (for which
 construction is complete). Cultural resources within 12 miles of the LNG Terminal site were
 also assessed for potential cumulative effects on visual resources (see section 4.13.2.6).




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        LNG Terminal

        Direct impacts on cultural resources are highly localized; thus, cumulative impacts would
 only occur if other projects are constructed in the same place or impact the same historic
 properties affected by the proposed Project. As described in section 4.10.1, cultural resources
 surveys are complete for the Rio Grande LNG Terminal site, and no new archaeological
 resources were identified. In addition, RG Developers have developed an Unanticipated
 Discovery Plan, which we reviewed and found to be acceptable. The SHPO concurred with the
 plan on November 10, 2016. With our recommendation in section 4.10.5, and because no intact
 archaeological deposits or cultural materials were identified during surveys, we find that the Rio
 Grande LNG Terminal would not contribute to cumulative impacts on cultural resources.

        Pipeline Facilities

         Cumulative impacts on cultural resources would occur if the Pipeline System and another
 Project were to result in overlapping effects on a cultural resource. RB Pipeline has initiated
 consultation with the SHPO; however, all the necessary cultural resource surveys are not
 complete along the Pipeline System. Therefore, consultation is not complete. About 30 miles of
 the pipeline route would cross the King Ranch National Historic Landmark. However, once
 cultural resources surveys are complete, if any historic properties would be adversely affected by
 the Pipeline System, a treatment plan would be prepared. In addition, RG Developers have
 developed an Unanticipated Discovery Plan, as described above. Because RB Pipeline would be
 required to implement the measures in the treatment plan(s), as applicable, impacts on cultural
 resources would be minimized and would not contribute to significant cumulative impacts on
 cultural resources.

        Conclusion

        Construction and operation of the LNG Terminal would not contribute to cumulative
 impacts on cultural resources. Further, while field surveys and consultation regarding cultural
 resources along the Pipeline System are not complete, RB Pipeline would be required to
 implement the measures in the treatment plan(s) for any historic properties that would be
 adversely affected by the Project. Therefore, impacts on cultural resources would be minimized
 and would not contribute to significant cumulative impacts on cultural resources.

 4.13.2.9         Air Quality and Noise

        Air Quality

        Construction

         The geographic scope for assessment of cumulative impacts on air quality during
 construction of the proposed Rio Grande LNG Project is the area within 0.5 mile of the proposed
 pipeline facilities and within 1.0 mile of the LNG Terminal, 85 because construction emissions


 85
        Although the typical construction geographic scope for air quality is 0.25 mile, we expand this on a case-by-case basis
        for large projects like LNG terminals.


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 would be highly localized (see table 4.13.2-2). The projects within the construction geographic
 scope that are most likely to contribute to cumulative air impacts include the Annova LNG and
 Texas LNG Projects, non-jurisdictional facilities associated with the Rio Grande LNG Project,
 and waterway improvement projects within the BSC.

        LNG Terminal

         Construction of the Rio Grande LNG Terminal would affect air quality due to emissions
 from combustion engines used to power construction equipment, vehicle emissions traveling to-
 and from the LNG Terminal site, marine deliveries of construction materials, and fugitive dust
 resulting from earth-disturbing activities and equipment movement on dirt roads.

        Air emissions from projects in the vicinity of the Project would be additive. Because
 construction emissions would be temporary and limited to the construction period, standard EPA
 emission thresholds do not apply. General Conformity applicability thresholds do not apply at
 the LNG Terminal site because the Project area is in attainment for all the NAAQS. Table
 4.13.2-2 estimates the total cumulative emissions from concurrent construction of the Rio
 Grande LNG, Annova LNG, and Texas LNG Projects. While construction emissions estimates
 from non-jurisdictional projects and waterway improvement projects within the BSC are not
 available, based on the intermittent and short-term nature of construction, these projects would
 have a minor impact on cumulative air emissions when considered with the proposed LNG
 terminals (including the Rio Grande LNG Terminal).

         Cumulative impacts from construction would be limited to the duration of the
 construction period. However, with other projects in the vicinity, construction of the Rio Grande
 LNG Project would contribute to localized elevated emissions near construction areas during the
 period(s) when construction of these activities would overlap. Due to the magnitude of the
 combined emissions, the greatest potential for cumulative impacts would be during Years 2 and
 3 (see table 4.13.2-2). When compared with the EPA’s most recently available national
 emissions inventory data, peak year (Year 3) cumulative construction emissions of NOx, SO2,
 PM10, and PM2.5 would represent about 8.6, 61.6, 21.8, and 14.1 percent, respectively, of the
 2014 inventory emissions levels.




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                                          Table 4.13.2-2
        Estimated Construction Emissions for the Brownsville LNG Projects (tons per year) a,b
   Facility and
                      NOx                 CO          SO2       PM 10       PM 2.5        VOC
      Year
  Rio Grande LNG Terminal
    Year 1            12.0               18.6          2.0      589.4        60            0.7
    Year 2            69.7               111.4        11.8     1,199.5      125.8          4.2
    Year 3            127.8              174.3        23.5     1,146.6      125.8          6.4
    Year 4            59.3               118.5        10.6      91.4        14.2           3.6
    Year 5            45.0               106.7         8.0      56.1         9.2           2.9
    Year 6            39.0               70.2          7.1      26.9         5.8           2.1
    Year 7             1.2               10.4         <0.1      13.9         1.4           0.1
    Year 8            <0.1               <0.1         <0.1      <0.1        <0.1          <0.1
  Annova LNG
    Year 1              23                 40         0.04       293         30            2.6
    Year 2             172                220          0.3       158         25            22
    Year 3             152                224         0.25       126         21            17
    Year 4             131                202         0.22        65         14            13
    Year 5              50                 86         0.08        59         8              6
  Texas LNG
    Year 1            63.4               36.5          4.3      180.7       29.2           4.1
    Year 2            284.9              164.4        19.2      812.9       131.0         18.4
    Year 3            397.9              229.6        26.8     1,135.3      183.0         25.7
    Year 4            243.3              140.4        16.4      694.4       111.9         15.7
    Year 5            31.9               18.4          2.2      91.1        14.7           2.1
  Total Annual Construction Emissions
    Year 1            98.4               95.1         6.34     1,063.1      119.2          7.4
    Year 2            526.6              495.8        31.3     2,170.4      281.8         44.6
    Year 3            677.7              627.9        50.55    2,407.9      329.8         49.1
    Year 4            433.6              460.9        27.22     850.8       140.1         32.3
    Year 5            126.9              211.1        10.28     206.2       31.9          11.0
    Year 6            39.0               70.2          7.1      26.9         5.8           2.1
    Year 7             1.2               10.4         <0.1      13.9         1.4           0.1
    Year 8            <0.1               <0.1         <0.1      <0.1        <0.1          <0.1
  The EPA National Emissions Inventory, Cameron Countyc
    2008             9,366.2            52,511.8      107.0    32,165.8    4,371.8       28,884.9
    2011             9,101.9            52,167.4      217.1    21,988.4    3,167.0       30,044.6
    2014             7,864.3            43,352.9      82.0     11,023.3    2,340.3       24,701.4




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                                      Table 4.13.2-2 (continued)
           Estimated Construction Emissions for the Brownsville LNG Projects (tons per year) a,b
      Facility and
                          NOx                CO                 SO2               PM 10             PM 2.5             VOC
         Year
  a
             Emissions estimates include construction emissions from on- and off-road vehicle activity, truck deliveries, vessel
             activity, worker commutes, and fugitive dust. RG LNG and Annova LNG applicants initially expected construction
             of the LNG Terminal to begin in 2018; however, the start of construction for all proposed projects is dependent on
             receipt of necessary permits.
  b
             Additional fill material may be obtained from the Port Isabel dredge pile for the Project; RG LNG is currently
             conducting an analysis of the barge transport alternative for feasibility of use (see section 3.4). If used, RG LNG
             would obtain the fill via barge. RG LNG estimated annual fugitive emissions from use of the proposed temporary
             haul road originally proposed for use on the Project; because the haul road is no longer part of the Project, but the
             transport of material by barge may not be required, we have included use of the haul road as a conservative estimate.
  c
             Assumes all three Brownsville LNG Projects would initiate emission-generating construction activities in 2020.
  d
             Due to refinements and modifications in the methods used to compile each inventory, the inventory results should not
             be used to describe year-to-year emissions trends.



          The EPA’s national emissions inventory data include estimated emissions from on- and
 off-road mobile sources (vehicle travel), point sources (such as electric power generation
 facilities), and nonpoint sources (stationary sources that are individually small and numerous,
 such as residential heating and commercial marine vessels; EPA 2014). Previous national
 emissions inventories conducted in 2008 and 2011 documented greater total emissions for
 criteria pollutants than the 2014 data; however, we have presented data from 2014 as a
 conservative estimate and to present the most recent inventory data. Further, since the 2014
 emissions inventory, economic growth in Cameron County may have resulted in increased air
 emissions. Given the high level of construction emissions estimated for the three LNG terminals
 relative to the most recently inventoried emissions in the Project area, simultaneous construction
 of these projects could result in a temporary, moderate to major increase in emissions of criteria
 pollutants during construction. Construction emissions are localized, and impacts would be
 greatest in the immediate vicinity of the LNG terminal sites. RG LNG, Annova LNG, and Texas
 LNG would implement mitigation measures to minimize construction impacts on air quality,
 including application of water to minimize fugitive dust, limit engine idling, and using recent
 models of construction of equipment manufactured to meet air quality standards.

        Further, transport of construction materials associated with the Project could occur within
 the HGB area, which is a marginal nonattainment area for the 2015 8-hour ozone standard.
 Similarly, the Annova LNG and Texas LNG Projects would also receive deliveries of
 construction materials originating from or being transported through the HGB area. Although
 cumulative emissions are not subject to General Conformity, the cumulative construction
 emissions from the Rio Grande LNG, Annova LNG, and Texas LNG Projects occurring within
 the HGB area would not be expected to result in an exceedance of applicable general conformity
 thresholds for the HGB area.

            Pipeline Facilities

         Construction of the pipeline facilities and many of the other projects listed in table
 4.13.1-2 would involve the use of heavy equipment that would generate air emissions (including
 fugitive dust). The majority of these impacts would be temporary at a discrete location, because


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 the construction activities would occur over a large geographical area and would be moving
 regularly. However, construction would occur over a longer timeframe at aboveground facilities
 and during HDD installation at the crossings of Resaca de los Cuates, the Channel to San Martin
 Lake and the Channel to the Bahia Grande, which could require 1 month or more to complete.

         Air emissions resulting from diesel- and gasoline-fueled construction equipment and
 vehicle engines for the pipeline facilities would be minimized by federal design standards
 required at the time of manufacture of the equipment and vehicles, and would comply with the
 EPA’s mobile and non-road emission regulations found in 40 CFR 85, 86, and 89. In addition,
 RB Pipeline would use the most fuel-efficient construction equipment available, and would use
 buses where feasible to minimize emissions from worker commutes. While fugitive dust impacts
 would also be temporary and not be expected to affect local or regional air quality, dust
 suppression techniques would be implemented in construction work areas, when necessary, to
 reduce potential impacts of fugitive dust emissions. Therefore, construction of the Rio Bravo
 Pipeline, with other projects in the geographic scope, would contribute to minor, temporary
 impacts on air quality.

        Operations

         Cumulative impacts of pollutants such as criteria pollutants and HAPs associated with the
 operation of the LNG Terminal are evaluated according to the “significant impact area” of the
 proposed facilities, determined through a significant impact modeling assessment. These were
 analyzed for chronic and acute health impacts due to inhalation, as well as secondary
 environmental effects. For these pollutants, FERC considers a geographic scope for cumulative
 impacts assessment of up to 50 kilometers (31 miles). However, FERC does not use 50
 kilometers to evaluate GHG emissions. GHGs were identified by the EPA as pollutants in the
 context of climate change. GHG emissions do not directly cause local ambient air quality
 impacts. GHG emissions result in fundamentally global impacts that feed back to localized
 climate change impacts. Thus, the geographic scope for cumulative analysis of GHG emissions
 is global rather than local or regional. For example, a project 1 mile away emitting 1 ton of
 GHGs would contribute to climate change in a similar manner as a project 2,000 miles distant
 also emitting 1 ton of GHGs.

         Projects that are most likely to result in and contribute to cumulative air impacts with
 construction of the Rio Grande LNG Terminal include the Annova LNG Project, the Texas LNG
 Project, non-jurisdictional facilities, Port of Brownsville projects (including the Steel Mill), and
 waterway improvement projects. The Airport Terminal Expansion could also contribute to
 operational air emissions; however, the timing of the expansion is not known. In addition, those
 projects within 31 miles of the aboveground facilities associated with the Rio Bravo Pipeline
 may contribute to cumulative impacts on air quality with the pipeline facilities.

        LNG Terminal

        Air pollutant emissions during operation of the Rio Grande LNG Terminal would result
 from operation of the various components of the LNG Terminal, marine traffic, and vehicles
 driven by personnel commuting to and from the site. The region in the vicinity of the LNG




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 Terminal is currently in attainment with the NAAQS; however, increases in industrial point
 sources could affect local and regional air quality.

         The Annova LNG and Texas LNG terminals have the greatest potential to contribute to
 cumulative impacts on air quality with the proposed Rio Grande LNG Terminal, given the
 proximity and similar operations of the projects. Emissions from currently operational facilities,
 such as the Brownsville Liquids Terminal and Port of Brownsville Marine Cargo Dock 16 and
 Storage Yard, are captured in ambient air quality monitoring data. While estimates of
 construction emissions from non-jurisdictional projects, the two Port of Brownsville Projects that
 are yet to be constructed, and waterway improvement projects within the BSC are not available,
 based on the intermittent and short-term nature of construction, these Projects would have a
 negligible impact on cumulative air emissions if they are concurrent with operations of the
 proposed Rio Grande LNG Terminal. Any operational emissions from the Steel Mill and Jupiter
 Export Terminal would be subject to applicable federal and state permitting, and therefore would
 not be permitted to result in a NAAQS exceedance.

          We assessed the air dispersion modeling results provided for the Rio Grande LNG, Texas
 LNG, and Annova LNG Terminals and used these models to estimate the cumulative air
 emissions during concurrent operation at all three facilities. Appendix P describes the methods
 used to conduct the cumulative assessment and provides the results of our analysis, including
 figures depicting the cumulative concentrations of each criteria air pollutant assessed (figures P-1
 through P-8 in appendix P). Table 4.13.2-3, below, totals the modeled ambient pollutant
 concentrations for the Brownsville LNG terminals operating during full build-out, including
 LNG carriers and support vessels operating during LNG loading and unloading at the terminal
 sites. The estimated cumulative peak concentration is based on combining the predicted
 concentrations from each project at each receptor location regardless of the time when is occurs.
 Since the timing and location of the maximum predicted impacts from each terminal would
 differ, and because it is unlikely that all three terminals would be loading LNG carriers
 simultaneously, the method used to develop the peak cumulative concentrations is conservative.

          Peak estimated concentration for criteria pollutants and averaging periods were compared
 to the NAAQS, which represent standardized air quality criteria and were therefore used as a
 benchmark for comparison against model results. For all pollutants, except for 1-hour NO2,
 cumulative impacts are predicted to be below the NAAQS and would disperse before reaching
 population centers in Port Isabel and Laguna Heights (see appendix P). Although estimated
 emissions for each project individually would not exceed the NAAQS, for 1-hour NO2, the
 predicted maximum cumulative impact is estimated to exceed the short-term NAAQS of 188
 µg/m3. The predicted peak cumulative impact, however, is located between the fencelines of the
 Rio Grande LNG and Texas LNG Terminals. It is unlikely, but possible, that people may be
 exposed to the NO2 concentrations above the 1-hour NAAQS, which would occur on property
 within the Port of Brownsville (see appendix P and figure 4.13.2-1). Concentrations of 1-hour
 NO2 in residential areas in Port Isabel and Laguna Heights are estimated to be below 75 µg/m3,
 which is well below the 1-hour NAAQS. While concurrent maximal operations of the LNG
 facilities would result in increased concentrations of air pollutants in the immediate vicinity of
 the facilities, the projects emissions are not expected to result in a significant impact on regional
 air quality, nor would any exceedance of the NAAQS occur in a populated area.



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                                                                                     Table 4.13.2-3
                             Peak Concentrations Estimated in Cumulative Air Dispersion Modeling for Stationary Source and LNG carriers for the Brownsville
                                                                                     LNG Projects

                                                                                                      Peak Concentration based on Modeled Results (µg/m 3)b
                                                                        Background
                             Criteria Air         Averaging
                                                                       Concentrationa                                                                                                NAAQS (µg/m3)
                              Pollutant            Period                                                                                                          Peak
                                                                          (µg/m 3)            Rio Grande
                                                                                                                    Annova LNG             Texas LNG            Cumulative
                                                                                             LNG Terminal
                                                                                                                                                               Concentrationc

                                                     1-hour                 2,175.5                276.1                247.9                  470.6                 2,746                40,000
                         CO
                                                     8-hour                 1,259.5                174.0                101.7                  83.4                  1,453                10,000
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                                                     1-hour                  49.9                  78.9                  39.3                  134.7                  196                   188
                         NO2
                                                     Annual                   6.1                   2.7                   0.5                   1.8                    9                    100


                         SO2                         1-hour                  10.6                   2.0                   3.8                  10.3                   23                    196


                         PM10                        24-hour                 62.0                   1.4                   0.7                   2.3                   64                    150


                                                     24-hour                 22.9                   1.3                   0.7                   2.0                   25                     35
                         PM2.5
                                                     Annual                   9.1                   0.3                   0.1                   0.1                    9                     12

                         a
                                   Background concentrations retrieved from tables 4-1 and 4-2 of the dispersion modeling report provided for the Texas LNG Project (available on FERC’s eLibrary
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                                   website, located at http://www.ferc.gov/docs-filing/elibrary.asp, by searching Docket Number CP16-116 and accession number 20170928-5165).
                         b
                                   Modeled impacts include stationary sources and LNG carriers at the LNG terminal sites and are based on 312 LNG carriers annually for the Rio Grande LNG Project,
                                   74 LNG carriers annually for the Texas LNG Project, and 80 LNG carriers annually for the Annova LNG Project.
                         c
                                   Peak concentrations predicted for each of the three projects for each receptor location were conservatively combined without regard to day or time of occurrence, and
                                   include background concentrations. The peak cumulative concentration for each pollutant and averaging period does not equal the sum of the peak concentrations for
                                   each terminal and background, since peak concentrations associated with each terminal occur at different locations.
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                                                        100        Laguna
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                                                                               Hwy
                                                                             State




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                                                                                                                          Texas LNG
                              Rio Grande
                                 LNG
                                                              *#




                     48
            H   wy
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                                                              Annova LNG




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                                                       Legend
                                                                                                       0           0.5        1          Cumulative Impacts
                                           Proposed LNG                  90 - 100                                                   (Rio Grande LNG, Texas LNG,
                                           Facility Boundary                                                      Miles
TX                                         (Facility Footprint)          100 - 110                                                          Annova LNG,


                                                                                                ±
                                   1-hour NO2                            110 - 115
                                                                                                                                          and Background)
                                           56.6 - 60
                                                                         115 - 130                                Scale: 1:64,000
                                           60 - 70
                                                                                                                                              1-Hour NO2
                                                                         130 - 150
                                                                                                    Service Layer Credits:
                                                                                                                                                 μg/m3
                                           70 - 80
                                                                         150 - 188                Copyright:© 2013 National
                                           80 - 90
                                                                                                  Geographic Society, i-cubed

                          ±
                                                                         >188                                                                     Figure O-3
                                                   3                               3
                              Concentration in μg/m                NAAQS = 188 μg/m
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         In response to comments issued by the Sierra Club on the draft EIS, we assessed the
 potential for cumulative impacts on ozone levels in the Project area. As described in section
 4.11.1.3 of the EIS, based on a conservative analysis by the TCEQ, the 8-hour maximum
 predicted increase of ozone would be 11.6 ppb which, when considered with the background
 ozone concentration of 57 ppb, would not result in an exceedance of the 8-hour ozone standard.
 The Annova LNG Terminal and Texas LNG Terminal would not be major PSD sources with
 respect to ozone precursor pollutants NOx and VOC; therefore, an ozone impact assessment is
 not required for air permitting for these projects. Concurrent operation of the three Brownsville
 LNG terminals would result in greater total emissions of NOx, as described above and in
 appendix P; however, the combined total annual operating emissions of NO x by the Annova and
 Texas LNG Terminals identified in their draft EISs would be less than 10 percent of the NO x
 emissions estimated for the Rio Grande LNG Terminal. If the maximum predicted increase of
 ozone estimated for the Rio Grande LNG Terminal is increased by 10 percent, and considered
 with the background ozone concentration identified above, cumulative emissions would not
 exceed the 8-hour ozone standard.

          While the cumulative ambient modeling assessment does not account for concurrent
 construction, commissioning, and operations emissions, the greatest emissions from each LNG
 Terminal are associated with operations. We are aware that each LNG Terminal could be
 constructed within the same time period, and the concurrent construction, commissioning, and
 operations emissions of the Rio Grande LNG Terminal and the other proposed LNG Terminals
 could potentially exceed the NAAQS in local areas, and result in cumulatively greater local air
 quality impacts. While these concurrent activities would result in greater ambient pollutant
 concentrations than those presented in table 4.13.2-3, emissions levels would not be expected to
 result in a long-term impact on regional air quality. Concurrent activities would be limited to the
 timeframe of construction and commissioning and start-up.

         In addition to operation of the LNG Terminal and the vessel emissions described in
 section 4.11.1.3, air emissions from LNG carriers, considered mobile sources of air emissions,
 would occur along the entire LNG carrier route during operations. These emissions would be
 cumulative with the other ships using the ship channel. These mobile sources would be
 transitory in nature and emissions would occur over a large area, however the cumulative ship
 emissions would result in long-term elevated emissions for the area.

        Pipeline Facilities

         Operation of the proposed pipeline facilities would generate emissions from maintenance
 vehicles and equipment, as well as vented and fugitive emissions. While a majority of the
 projects in the geographic scope are included above in the assessment of cumulative impacts
 associated with the LNG Terminal and Compressor Station 3, the VCP, and the seven Port of
 Brownsville Projects, are or would be within 31 miles of the other aboveground facilities
 associated with the Rio Bravo Pipeline. Concurrent operation of Compressor Stations 1 and 2,
 the booster stations, these other projects would result in a cumulative increase in combustion and
 fugitive emissions. The compressor stations would emit NOx, CO, SO2, PM, VOC, HAPs, and
 GHG emissions. However, no compressor or booster stations associated with the proposed
 Project would trigger PSD major source permitting requirements for any pollutant. Operation of
 aboveground facilities would not cause a NAAQS exceedance, and concurrent operations with



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 the VCP and Port of Brownsville Projects are not expected to result in a NAAQS exceedance.
 While the Palmas Altas Wind Farm is about 31 miles from Compressor Station 2, operational
 emissions associated with the wind farm would likely be limited to maintenance activity and
 would be negligible. Therefore, emissions from operation of RB Pipeline’s pipeline facilities are
 not expected to contribute to a significant cumulative impact on local or regional air quality.

        Conclusion

          In summary, the Rio Grande LNG Project would result in impacts on air quality during
 construction and long-term impacts during operations. Cumulative impacts from construction
 would be limited to the duration of the construction period. However, with other Projects in the
 vicinity, construction of the Rio Grande LNG Project would contribute to localized moderate
 elevated emissions near construction areas during the period(s) when construction of these
 activities would overlap.

          Operational air emissions from the Rio Grande LNG Project would contribute to
 cumulative emissions with other projects in the geographic scope, and would be required to
 comply with applicable air quality regulations. Overall, impacts from the Rio Grande LNG
 Project along with the other facilities would cause elevated levels of air contaminants in the area
 and a potential exceedance of the 1-hour NO2 NAAQS in an uninhabited area between the
 facilities. Therefore, cumulative impacts on regional air quality as a result of the operation of the
 Rio Grande LNG Project and other facilities would be long-term during the operational life of
 the Project, but minor. We are aware that each LNG Terminal could be constructed within the
 same time period, and the concurrent construction, commissioning, and operations emissions of
 the proposed Brownsville LNG terminals could potentially exceed the NAAQS in local areas,
 and result in cumulatively greater local air quality impacts. In addition, emissions from LNG
 carriers would occur along vessel transit routes and would be cumulative with the other ships
 using the ship channel. These emissions sources would be transitory in nature and emissions
 would occur over a large area, however the cumulative ship emissions would result in long-term
 elevated emissions for the area. Emissions from operation of RB Pipeline’s aboveground
 facilities (including Compressor Stations 1 and 2 and the booster stations) would be long-term,
 minor, and are not expected to contribute to a significant cumulative impact on local or regional
 air quality.

        Climate Change

          Climate change is the variation in climate (including temperature, precipitation, humidity,
 wind, and other meteorological variables) over time, whether due to natural variability, human
 activities, or a combination of both, and cannot be characterized by an individual event or
 anomalous weather pattern. For example, a severe drought or abnormally hot summer in a
 particular region is not a certain indication of climate change. However, a series of severe
 droughts or hot summers that statistically alter the trend in average precipitation or temperature
 over decades may indicate climate change. Recent research has begun to attribute certain
 extreme weather events to climate change (U.S. Global Change Research Program [USGCRP]
 2018).




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         The leading U.S. scientific body on climate change is the USGCRP, composed of
 representatives from 13 federal departments and agencies.86 The Global Change Research Act of
 1990 requires the USGCRP to submit a report to the President and Congress no less than every
 four years that “1) integrates, evaluates, and interprets the findings of the Program; 2) analyzes
 the effects of global change on the natural environment, agriculture, energy production and use,
 land and water resources, transportation, human health and welfare, human social systems, and
 biological diversity; and 3) analyzes current trends in global change, both human-induced and
 natural, and projects major trends for the subsequent 25 to 100 years.” These reports describe
 the state of the science relating to climate change and the effects of climate change on different
 regions of the United States and on various societal and environmental sectors, such as water
 resources, agriculture, energy use, and human health.

         In 2017 and 2018, the USGCRP issued its Climate Science Special Report: Fourth
 National Climate Assessment, Volumes I and II (Fourth Assessment Report) (USGCRP 2017;
 and USGCRP 2018, respectively). The Fourth Assessment Report states that climate change has
 resulted in a wide range of impacts across every region of the country. Those impacts extend
 beyond atmospheric climate change alone and include changes to water resources, transportation,
 agriculture, ecosystems, and human health. The United States and the world are warming; global
 sea level is rising and acidifying; and certain weather events are becoming more frequent and
 more severe. These changes are driven by accumulation of GHG in the atmosphere through
 combustion of fossil fuels (coal, petroleum, and natural gas), combined with agriculture, clearing
 of forests, and other natural sources. These impacts have accelerated throughout the end 20th
 and into the 21st century (USGCRP 2018).

         Climate change is a global phenomenon; however, for this analysis, we will focus on the
 existing and potential cumulative climate change impacts in the Project area. The USGCRP’s
 Fourth Assessment Report notes the following observations of environmental impacts are
 attributed to climate change in the Southern Great Plains and South Texas regions (USGCRP
 2017; USGCRP 2018):

        •   the region has experienced an increase in annual average temperature of 1°-2 °F since
            the early 20th century, with the greatest warming during the winter months;

        •   over the past 50 years, significant flooding and rainfall events followed drought in
            approximately one-third of the drought-affected periods in the region when compared
            against the early part of the 20th century;

        •   the number of strong (Category 4 and 5) hurricanes has increased since the early 1980s;
            and



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        The USGCRP member agencies are: Department of Agriculture, Department of Commerce, Department of
        Defense, Department of Energy, Department of Health and Human Services, Department of the Interior,
        Department of State, Department of Transportation, Environmental Protection Agency, National Aeronautics and
        Space Administration, National Science Foundation, Smithsonian Institution, and U.S. Agency for International
        Development.




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        •    global sea level rise over the past century averaged approximately eight inches; along
             the Texas coastline, sea levels have risen 5-17 inches over the past 100 years depending
             on local topography and subsidence.

        The USGCRP’s Fourth Assessment Report notes the following projections of climate
 change impacts in the Project region with a high or very high level of confidence 87 (USGCRP
 2018):

        •    annual average temperatures in the Southern Great Plains are projected to increase by
             3.6°–5.1 °F by the mid-21st century and by 4.4°-8.4 °F by the late 21st century,
             compared to the average for 1976-2005;

        •    the region is projected to experience an additional 30 to 60 days per year above 100 °F
             than it does currently;

        •    tropical storms are projected to be fewer in number globally, but stronger in force,
             exacerbating the loss of barrier islands and coastal habitats;

        •    southern Texas is projected to see longer dry spells, although the number of days with
             heavy precipitation is expected to increase by mid-century; longer periods of time
             between rainfall events may lead to declines in recharge of groundwater, which would
             likely lead to saltwater intrusion into shallow aquifers and decreased water availability;
             and

        •    sea level rise along the western Gulf of Mexico during the remainder of the 21 st century
             is likely to be greater than the projected global average of 1-4 feet or more, which
             would result in the loss of a large portion of remaining coastal wetlands.

         It should be noted that while the impacts described above taken individually may be
 manageable for certain communities, the impacts of compound extreme events (such as
 simultaneous heat and drought, wildfires associated with hot and dry conditions, or flooding
 associated with high precipitation on top of saturated soils) can be greater than the sum of the
 parts (USGCRP 2018).

         The GHG emissions associated with construction and operation of the Project are
 described in section 4.11. Construction and operation of the Project would increase the
 atmospheric concentration of GHGs in combination with past, current, and future emissions from
 all other sources globally and contribute incrementally to future climate change impacts.

        Currently, there is no universally accepted methodology to attribute discrete, quantifiable,
 physical effects on the environment to Project’s incremental contribution to GHGs. We have


 87
        The report authors assessed current scientific understanding of climate change based on available scientific literature.
        Each “Key Finding” listed in the report is accompanied by a confidence statement indicating the consistency of
        evidence or the consistency of model projections. A high level of confidence results from “moderate evidence (several
        sources, some consistency, methods vary and/or documentation limited, etc.), medium consensus.” A very high level
        of confidence results from “strong evidence (established theory, multiple sources, consistent results, well documented
        and accepted methods, etc.), high consensus.” https://science2017.globalchange.gov/chapter/front-matter-guide/



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 looked at atmospheric modeling used by the EPA, National Aeronautics and Space
 Administration, the Intergovernmental Panel on Climate Change, and others, and we found that
 these models are not reasonable for project-level analysis for a number of reasons. For example,
 these global models are not suited to determine the incremental impact of individual projects,
 due to both scale and overwhelming complexity. We also reviewed simpler models and
 mathematical techniques to determine global physical effects caused by GHG emissions, such as
 increases in global atmospheric CO2 concentrations, atmospheric forcing, or ocean CO2
 absorption. We could not identify a reliable, less complex model for this task and we are not
 aware of a tool to meaningfully attribute specific increases in global CO 2 concentrations, heat
 forcing, or similar global impacts to project-specific GHG emissions. Similarly, it is not
 currently possible to determine localized or regional impacts from GHG emissions from the
 Project.

         Absent such a method for relating GHG emissions to specific resource impacts, we are
 not able to assess potential GHG-related impacts attributable to this project. Additionally, we
 have not been able to find any GHG emission reduction goals established either at the federal
 level88 or by the State of Texas. Without either the ability to determine discrete resource impacts
 or an established target to compare GHG emissions against, we are unable to determine the
 significance of the Project’s contribution to climate change.

        Noise

          The geographic scope for construction noise typically includes other identified projects
 within 0.25 mile of the proposed Project, or within 0.5 mile from HDD entry and exit locations.
 However, due to the duration of construction and similar timelines, we have included the Annova
 LNG and Texas LNG Projects in our cumulative construction noise impact analysis, even though
 the Annova LNG Project would be outside of the 0.25-mile distance. Cumulative noise impacts
 on residences and other NSAs are related to the distance from the disparate noise sources as well
 as the timing of each noise source.

          The geographic scope for operational noise from long-term projects includes any
 facilities that can cause an impact at NSAs within 1 mile of the proposed Rio Grande LNG
 Terminal and aboveground facilities along the Rio Bravo Pipeline. The Annova LNG and Texas
 LNG Projects have been included in the cumulative effect impact assessment, as well as other
 existing and proposed projects in the area (see table 4.13.1-1).

         After construction is completed for the non-LNG projects, including the gas and water
 pipeline projects, electric transmission projects, channel improvements and maintenance
 dredging, and road projects, there would be minimal operational noise impacts. The non-
 jurisdictional SH-48 auxiliary lane and new driveways that would be developed for the Rio
 Grande LNG Project would have some long-term but minor noise associated with vehicle traffic




 88
        The national emissions reduction targets expressed in the EPA’s Clean Power Plan and the Paris climate accord are
        pending repeal and withdrawal, respectively.




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 entering and leaving the Project site. Therefore, these projects are not expected to have any
 significant long-term operational cumulative impacts.

         Construction noise from the non-jurisdictional facilities associated with the Rio Grande
 LNG Project is expected to be localized and limited in duration. These projects are small
 compared to the scope of the proposed three LNG projects, and are generally linear activities
 with construction moving through the length of the right-of-way with limited durations near any
 given location. These projects are not expected to come within 0.25 mile of any of the Project
 NSAs; therefore, the construction activities associated with the non-jurisdictional facilities are
 not expected to result in cumulative impacts from noise at NSAs.

        Maintenance dredging and channel improvement activities would result in periodic small
 increases in the sound level impacts due to operation of dredging equipment. Sound levels from
 the maintenance dredging are not expected to cause a significant impact at the NSAs.

         The SpaceX Commercial Spaceport Project, located approximately 5.5 miles southeast of
 the Project, anticipates rocket launches starting as soon as late 2018. Once they commence,
 commercial spaceflight launches would be a significant noise source at the NSAs. However,
 spaceflight launches are not expected to cause a significant cumulative environmental noise
 impact because they are short-duration events lasting only a few minutes from start to finish,
 they are typically scheduled during the daytime, and each launch would be well publicized, so
 nearby residents would be ready for the short-term intense noise of the rocket launch. During the
 launches, noise from the launch would dominate the sound levels at the nearby residences and
 low-frequency noise would likely cause noise-induced-structural vibration. Project-related noise
 contributions would not be significant during this brief period, as the sound field would be
 dominated by launch noise.

          As significant cumulative noise impacts are not expected from the non-LNG projects
 considered, as discussed above, the cumulative assessment for noise impacts focuses on the two other
 LNG projects in the planning and permitting stages in the general vicinity of the Project: the Annova
 LNG and Texas LNG Projects. These projects are pending review by the FERC. The potential
 cumulative noise impact of these three LNG projects has been evaluated for construction and facility
 operations, for both airborne and underwater sound. Construction noise impacts would be
 cumulative only if construction activities occur simultaneously. Given the current schedule for
 the three Brownsville LNG projects, it is likely that there would be some overlap in construction
 activities because of the long duration of construction for the three projects. For the purposes of
 this analysis we have assumed that peak construction of all three projects would overlap;
 however, the construction phases may not coincide, so maximum construction sound levels may
 not occur at all projects simultaneously.

        Construction

        LNG Terminal

        Airborne Noise

        Construction activities for the three LNG projects would be similar, and would include
 heavy equipment operation, pile-driving, dredging, and other activities similar to those described


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 in section 4.11.2.3. In order to evaluate the potential cumulative impact of construction
 activities, basic sound propagation calculations were used to estimate the combined construction
 sound levels at a set of standardized NSAs and calculation point (CP) locations.

         The standardized NSA and CP locations were selected using the common NSAs for each
 of the three proposed projects. NSAs and CPs in close proximity were combined into single
 representative NSA or CP positions for the cumulative analysis. Three CP locations were
 included for each project: the Palmito Ranch Battlefield (CP-1), a central CP location in the
 Laguna Atascosa NWR (CP-2), and at the location in the Laguna Atascosa NWR at the closest
 approach to the given LNG project. CP-1 and CP-2 were the same for all projects.

         In order to quantify the highest sound level contribution from each project in the Laguna
 Atascosa NWR, the closest location in the Laguna Atascosa NWR for each of the projects was
 specified as a CP. Each was given a unique designation: CP-TX, CP-AN, and CP-RG for Texas
 LNG, Annova LNG, and Rio Grande LNG terminals, respectively. Each project reported its
 operations sound level contribution at the project-specific CP. These three CPs have not been
 used to calculate impacts in the cumulative tables, rather, they are presented separately for each
 project to indicate the highest expected project-specific sound level contributions in the Laguna
 Atascosa NWR for operations and construction noise. A list of the standardized NSAs and CPs is
 presented in table 4.13.2-4. A map showing the location of the standardized cumulative NSAs
 and CPs is shown in figure 4.13.2-2.

                                          Table 4.13.2-4
          Standardized NSAs and Calculation Point Locations for Cumulative Noise Analysis
       NSA / CP                                     Location                                        Coordinates

  NSA
   NSA C1               Laguna Heights neighborhood, Lincoln Ave. and Pennsylvania Ave.        26.077312°; -97.249653°
   NSA C2              Residences, mobile home park, on Port Rd., southeast of Woodys Ln.      26.067031°; -97.217732°
   NSA C3                           Residences, northwest end of West Scallop                  26.063153°; -97.208717°
   NSA C4                              Residences, Weems Rd. and LBJ St.                       25.993437°; -97.182485
   NSA C5                    Residences, north end of 199, north of Boca Chica Blvd.           25.965084°; -97.245563°
   NSA C6                   Residence located east of Palmito Hill Rd. on private drive        25.952706°; -97.289272°
  CP
   CP-1                                     Palmito Ranch Battlefield                          25.959536°; -97.303490°
   CP-2                             Laguna Atascosa NWR, calculation point                     26.028053°; -97.265482°
   CP-AN, CP-TX,
                             Laguna Atascosa NWR, closest location to given facility                    Varies
   CP-RGa
  CP = calculation point.
  a
           The CP-AN, CP-TX, and CP-RG points represent the locations of the highest sound level contribution from each
           individual facility in the nearby Laguna Atascosa NWR.




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                                Legend                            0      0.5         1
                          §
                          <   NSA Location                              Miles            Location of Cumulative
TX                                                                                           Impact NSA's
                          D̈ Calculation Point
                              Facility Property Line
                                                       ±         Scale: 1:78,868

                                                         Service Layer Credits:
                                                                                         and Calculation Points



                                                       Copyright:© 2013 National
                                                       Geographic Society, i-cubed          Figure 4.13.2-2
            ±
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         Cumulative effects of construction noise were analyzed by combining the predicted
 construction sound levels for each project. Each of the three LNG projects used a slightly
 different methodology for calculating construction noise impacts. These variations were
 normalized during the cumulative assessment process and all predicted values were compared on
 an Ldn basis. For those cumulative NSAs at which the construction noise had not been calculated
 by a project in the FERC application, a hemispherical spreading calculation was used to estimate
 the construction contributions based on reported construction sound levels at other NSAs. The
 existing ambient sound levels for each NSA, as reported in table 4.13.2-5, were determined by
 using the lowest measured ambient level at a corresponding project NSA for the three projects.
 For example, if the measured ambient sound level at NSA C2 differed among FERC applications
 for the three projects, the lowest ambient sound level reported was used as the ambient for the
 cumulative analysis. The source of the ambient sound level data is provided in table 4.13.2-5.

                                       Table 4.13.2-5
   Summary of Cumulative LNG Construction Impacts at Standardized NSA and CP Locations, All
                                    Levels are dBA Ldn
                    Predicted Construction Sound Level                                           Combined
                                                                                                                  Predicted
                              Contributionsa                                                      Ambient
                                                                      Existing      Ambient                       Increase
  Location                   Rio                                                                   plus
               Annova                      Texas      Cumulative      Ambient        Datab                          over
                            Grande                                                               Cumulative
                LNG                         LNG         LNG                                                       Ambient
                             LNG                                                                   LNG

  NSA C1         49.0         49.2          50.3           54.3          56.0      AN NSA 1           58.2            2.2
                                                                                    TX NSAs
  NSA C2         47.1         43.1          54.9           55.8          50.2                         56.9            6.7
                                                                                     1&2
  NSA C3         46.8         42.7          54.6           55.5          50.2      TX NSA 3           56.6            6.4
  NSA C4         48.0         46.7          46.0           51.8          46.0      AN NSA 2           52.8            6.8
  NSA C5         54.0         47.9          44.2           55.3          46.0      AN NSA 2           55.8            9.8
  NSA C6         49.8         46.0          41.7           51.7          46.0      AN NSA 2           52.8            6.8
  CP-1           52.0         39.9          41.6           52.6          43.0      AN NSA 4           53.1           10.1
                                                                                      TX
                                                                                    Laguna
  CP-2           56.9         48.7          51.0           58.4          59.0                         62.1            2.7
                                                                                    Atascosa
                                                                                     NWR
  AN = Annova LNG, RG = Rio Grande LNG, and TX = Texas LNG
  a
          The bold values highlight the highest individual LNG facility contributions, as used in table 4.13.2-6.
  b
          The existing ambient sound levels shown are the lowest reported levels at project NSAs near the standardized NSAs.




         There was some variation in the assumptions included in the three projects for
 construction activities. For example, Annova LNG assumed 24-hour construction activities,
 while RG LNG, and Texas LNG used 12-hour daytime shifts for general construction and pile-
 driving and 24-hour operations for dredging. These assumptions were carried into the
 cumulative assessment. Annova LNG and Texas LNG reported construction sound levels as 24-
 hour Ldn values, while RG LNG reported construction contributions as daytime Leq. In order to
 directly compare the construction sound level contributions, the sound level metrics were
 standardized to the 24-hour Ldn, and the reported sound levels for Rio Grande LNG were
 adjusted to the 24-hour Ldn. In addition, the pile-driving noise was estimated using Leq and Ldn,


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 not Lmax. A more detailed discussion of the sound level metric standardization is provided in
 appendix Q.

         Table 4.13.2-5 shows the individual project and cumulative construction noise
 contributions of the three LNG projects at the NSAs and CPs. The individual sound level
 contribution predictions from all construction activities are lower than the FERC criterion of 55
 dBA Ldn at all NSAs. However, the cumulative construction sound level from the three projects
 ranges from 51.7 to 55.8 dBA Ldn, and exceeds 55 dBA Ldn at NSAs C2, C3, and C5. The
 cumulative sound levels are also expected to exceed 55 dBA Ldn at locations in the Laguna
 Atascosa NWR, with cumulative sound levels at CP-2 of 58.4 dBA Ldn. Construction sound
 levels would be expected to exceed 55 dBA L dn at locations in the Laguna Atascosa NWR within
 about 0.75 mile of SH-48. The predicted increase in the ambient sound levels is also shown in
 the table, and these range from 2.2 to 9.8 dBA at the NSAs, and from 2.7 to 10.1 at the two CP
 locations. An increase of greater than 10 dBA is typically perceived as a doubling of loudness.
 In addition, nighttime pile-driving noise planned for the Annova LNG EIS could exceed
 acceptable levels.

          The evaluation above is a very conservative estimate of the potential cumulative impact
 of construction noise, as it combines the maximum and simultaneous construction sound levels
 from the three projects. This would require that all three project schedules align so that pile-
 driving, dredging, and site preparation occur at full intensity at the same time. To obtain a more
 realistic and likely evaluation of the construction impact, an incremental analysis was made by
 comparing the increase in sound level at each NSA and CP due to only the highest predicted
 individual project contribution to the additional increase due to the other two projects. This
 analysis shows the potential cumulative impact of all three projects compared to the loudest
 single project. The impacts derived from this analysis represent for a more likely scenario in
 which the three project construction schedules do not align exactly.

         Table 4.13.2-6 shows the incremental effect of cumulative construction noise at each
 NSA and CP, compared with the highest predicted individual project contribution affecting each
 NSA. This table shows that cumulative construction noise causes an incremental increase of
 between 0.6 and 2.7 dB at the NSAs and CPs, compared to the highest individual project
 construction noise. NSA C4, with an increase of 2.7 dBA Ldn, shows the largest cumulative
 effect. A three-decibel increase is generally considered perceptible to most people, so the
 cumulative impact of construction noise at NSA C4 would be perceptible. At other NSAs, the
 cumulative increases are 1.5 dBA Ldn or lower and would generally be considered imperceptible.
 At these NSAs, due to the distance between the projects, the closest construction activity sound
 levels would typically dominate the acoustical environment at the NSA. Thus, as indicated
 previously, we determined that typical cumulative construction noise would not be significant.

         The sound levels at the project-specific CPs during construction were an Annova LNG
 contribution of 60.6 dBA Ldn at CP-AN, a Rio Grande LNG contribution of 48.7 dBA L dn at CP-
 RG (based on 12-hour per day construction and 51.7 Lmax dBA), and a Texas LNG contribution
 of 63.5 dBA Ldn at CP-TX. This demonstrates that construction sound levels in the Laguna
 Atascosa NWR are dominated by contributions from Texas LNG.




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                                              Table 4.13.2-6
      Calculation of the Incremental Impact of Cumulative LNG Construction Noise at Standardized
                              NSA and CP Locations, All Levels are dBA Ldn
                                                                                Increase over
                                       Highest              Highest                                    Additional Increase
                                                                               Ambient due to
                   Existing        Individual LNG       Individual LNG                                    Caused by
      Location                                                                 only the Single
                   Ambienta         Construction         Contribution                                     Cumulative
                                                                                 Highest LNG
                                    Contribution         Plus Ambient                                  Construction Noise
                                                                                 Contribution
  NSA C1              56.0               50.3                  57.0                    1.0                      1.2
  NSA C2              50.2               54.9                  56.2                    6.0                      0.7
  NSA C3              50.2               54.6                  55.9                    5.7                      0.7
  NSA C4              46.0               48.0                  50.1                    4.1                      2.7
  NSA C5              46.0               54.0                  54.6                    8.6                      1.2
  NSA C6              46.0               49.8                  51.3                    5.3                      1.5
  CP-1                43.0               52.0                  52.5                    9.5                      0.6
  CP-2                59.0               56.9                  61.1                    2.1                      0.6
  a
            The existing ambient sound levels shown are the lowest reported levels at project NSAs near the standardized NSAs.
            See table 4.13.2-5 for the data source.



           Vessel Traffic

         During construction of the three LNG projects, the area would experience an increase in
 noise due to marine traffic delivering construction supplies. Rio Grande LNG estimates that
 barges would make 880 marine deliveries to the project site during construction. Marine
 deliveries to the Rio Grande LNG Terminal site would take place about 15 times per month
 during the first 5 years of construction; no deliveries are currently anticipated during the
 remainder of the construction period, though sporadic deliveries could occur as needed. Annova
 LNG estimates that a total of 24 to 36 barge deliveries to the project site per year would be
 required during construction. If these construction periods overlap, the total expected
 construction barge traffic is approximately 20 visits a month, or 1 barge visit every 1.5 days.
 This is only slightly more than the one barge visit every two days estimated for the Rio Grande
 LNG Project and the cumulative effects would not be significant. The Texas LNG Project is not
 anticipated to contribute significantly to the cumulative noise impact because only a small
 amount of the anticipated construction supplies would arrive via barges or ships (109 deliveries
 over the 5-year construction period, which averages less than 2 per month).

           Underwater Noise

         Underwater noise would be produced by construction activities including in-water pile-
 driving and dredging, and increased vessel traffic associated with equipment delivery.
 Cumulative impacts for underwater construction noise would be limited due to the large distance
 between the various project marine facilities.

        The marine facilities closest to each other are the proposed Rio Grande LNG and Texas
 LNG facilities, with a center to center distance of about 4,400 feet. As an example of the
 distance effects, underwater pile-driving sound levels would be expected to decrease by 32
 decibels re 1 µPa at a distance of 4,400 feet compared to reference levels at 32 feet. The LNG



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 sites are so far apart that pile-driving activities at any single facility would have a limited
 cumulative effect on underwater noise at locations close to either of the other construction areas.

        Due to the short impulsive nature of pile-driving noises, it is very unlikely that the peak
 sound pressure levels from multiple pile-drivers would occur at exactly the same instant, so there
 would be no increase in the predicted pile-driving peak sound pressure levels. Rather, the
 number of pile-driving events would increase due to the multiple active construction areas.

         At locations midway between two active pile-driving projects, the sound exposure levels
 would be expected to increase during simultaneous pile-driving activities. The threshold
 distances for permanent and temporary injury for marine mammals, fish, and sea turtles, as
 outlined for the Rio Grande LNG Project in tables 4.6.2-2 and 4.7.1-1, would not be expected to
 increase significantly in size. However, during simultaneous pile-driving at the three projects,
 the behavioral disturbance area for most species would increase. In some cases, the behavioral
 disturbance distances for the projects would overlap and would likely encompass much of the
 BSC. Cumulative impacts on aquatic resources as a result of underwater noise are discussed
 further in section 4.13.2.4 and 4.13.2.5.

          As an example of the potential overlap between adjacent behavioral disturbance areas,
 table 4.7.1-2 identifies the behavioral disturbance distances for pile-driving for the Rio Grande
 LNG project. As indicated, for cetaceans during vibratory pile-driving, the behavioral
 disturbance area extends about 4.6 miles from the LNG Terminal, encompassing much of the
 BSC and those areas adjacent to both the Texas LNG and Annova LNG sites. For impact pile-
 driving of the sheet pile (if required), the behavioral disturbance area for fish could extend up to
 1.3 miles from pile-driving activities at the Rio Grande LNG Terminal site. Therefore, the
 behavioral disturbance areas would overlap with adjacent projects, and would increase the total
 continuous behavioral disturbance areas. The other behavioral disturbance areas: cetaceans (i.e.,
 impact installation of traditional piles), sea turtles (i.e., impact pile and vibratory pile), and fish
 (i.e., vibratory pile), are much smaller, and would not likely overlap with the disturbance areas
 for other projects.

         As a mitigating factor, the expected durations of the marine pile-driving activities for the
 three projects are limited. Rio Grande LNG expects that marine pile-driving would be required
 for sheet piling, which is anticipated to occur over 25 days and for installation of four in-water
 piles, which would take 4 days. Annova LNG expects to perform in-water pile-driving over the
 course of 5 days. Texas LNG plans to drive only 12 piles in-water. Due to the long construction
 schedules for the projects, and the limited duration of in-water pile-driving, it seems unlikely that
 there would be substantial overlap in the in-water pile-driving schedules. Even with complete
 overlap in pile-driving activity schedules, there could possibly be only 4 days in which all three
 projects would be driving (non-sheet) piles.

         Dredging activities at all three projects would have the potential to produce underwater
 noise. The proposed dredging activities would be far enough apart that generally there would be
 no cumulative impacts expected for underwater dredging noise for species other than mid-
 frequency cetaceans. For mid-frequency cetaceans, the behavioral disturbance range would tend
 to overlap with dredging areas for the LNG Terminal site. If these activities occurred
 simultaneously, the expected area of potential auditory impact for mid-frequency cetaceans



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 would extend from the mouth of the BSC to inland of the LNG Terminal site. However, the
 BSC is an active waterway that already has ongoing and regular maintenance dredging activities.
 The additional construction dredging activities associated with the projects are expected to be
 similar to the existing maintenance dredging and is not expected to cause a significant
 cumulative underwater noise impact in the BSC.

        Pipeline Facilities

         Construction of the pipeline facilities could contribute to cumulative noise impacts;
 however, the impact of noise is highly localized and attenuates quickly as the distance from the
 noise source increases; therefore, cumulative impacts are unlikely unless one or more of the
 projects listed in table 4.13.1-2 are constructed at the same time and location. Based on the
 schedule and proximity of these activities to the pipeline route, there may be some cumulative
 noise impacts. However, since the majority of noise impacts associated with the projects would
 be limited to the period of construction and most construction activities would occur during
 daytime hours and would be intermittent rather than continuous, the proposed contribution from
 the pipeline facilities to cumulative noise impacts would primarily be for only short periods of
 time when the construction activities are occurring at a given location.

         Further, while the results of the HDD construction acoustical impact assessment indicated
 that sound levels for 24-hour operations would be above the FERC guidance of 55 dBA L dn at
 NSAs in the vicinity of seven HDDs. Given our recommendation in section 4.11.2.3 that RB
 Pipeline prepare and implement a noise mitigation plan at each of these locations, and because
 HDD construction would only occur for periods up to 10 weeks at each site, impacts would be
 minor.

        Operations

        LNG Terminal

        Airborne Noise

         In order to consistently analyze the potential cumulative impact of airborne operational
 noise from the three proposed LNG projects, the noise models for each project were used to
 predict the sound levels due to facility operation at the standardized NSAs and at the three CPs
 located close to points of interest. The methodology behind the noise model development for the
 Rio Grande LNG Project is presented in section 4.11.2 of this EIS. The methodology for the
 other two LNG projects is described in their FERC applications. 89 Generally, each project used
 three-dimensional environmental noise modeling software to predict the sound levels from the
 respective project equipment. In order to combine the sound level predictions for operations
 noise, each project submitted the noise model results in a standardized grid format as outlined in
 the August 2, 2017 Environmental Information Request issued for the Rio Grande LNG
 Project.90 The standardized grid results used the same spacing and nominally the same


 89
        Available online at www.ferc.gov. Annova LNG: FERC Docket No. CP16-480-000; Texas LNG: FERC Docket Nos.,
        CP16-116-000.
 90
        Available online at www.ferc.gov. FERC Docket No. CP16-454 and CP16-455, Accession No. 20171011-5199.



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 boundaries. The grid maps were overlaid and logarithmically summed and the overall
 cumulative impact of operations noise from the three projects was calculated. Figure 4.13.2-3
 shows the predicted sound levels as 24-hour Ldn values for the three projects in simultaneous
 operation at full project completion. In addition to the grid map results, predicted operations
 sound levels were calculated by each project for the cumulative NSAs and CP locations
 described in table 4.13.2-6. The predicted sound levels were logarithmically summed for the
 cumulative NSAs and for CPs 1 and 2.

         Each project also reported predicted sound levels at the location in the Laguna Atascosa
 NWR closest to the project, with these unique CPs labeled as CP-RG, CP-AN, and CP-TX, for
 the Rio Grande LNG, Annova LNG, and Texas LNG Projects, respectively. These project-
 specific CPs were used to evaluate the highest predicted individual project sound level in the
 Laguna Atascosa NWR. Cumulative sound levels were not calculated for these points, as the
 levels were predicted by each project for only that respective project CP.

          Table 4.13.2-7 presents a summary of the predicted operation sound levels at the
 cumulative NSA and CP locations for each of the individual LNG projects. As shown in this
 table, the expected increases in the sound levels at the standardized NSA locations range from
 0.3 to 1.5 dB. These are very small increases and would be considered imperceptible to most
 listeners. The small difference in the overall cumulative increases and those increases predicted
 for each separate project is due to the large distances between the noise-generating equipment at
 the project sites, and the small impact of the more distant projects to the overall sound levels at
 each NSA location.

                                             Table 4.13.2-7
                         Cumulative Operational Noise Impacts from LNG Facilities
                   Predicted Sound Level Contributions,                                          Combined
                                                                                                                  Predicted
                                 dBA Ldn                                                          Ambient
                                                                       Existing     Ambient                       Increase
  Location                                                                                         plus
              Annova      Rio Grande       Texas      Cumulative       Ambient       Dataa                          over
                                                                                                 Cumulative
               LNG           LNG            LNG         LNG                                                       Ambient
                                                                                                   LNG
  NSA C1        31.4           41.9          40.2         44.4           56.0       AN NSA 1          56.3            0.3
                                                                                    TX NSAs
  NSA C2        30.4           40.2          44.8         46.2           50.2                         51.7            1.5
                                                                                     1&2
  NSA C3        30.4           39.7          44.4         45.8           50.2       TX NSA 3          51.5            1.3

  NSA C4        31.4           38.7          34.7         40.7           46.0       AN NSA 2          47.1            1.1

  NSA C5        39.4           41.0          32.2         43.6           46.0       AN NSA 2          61.4            0.1

  NSA C6        34.4           37.3          28.7         39.5           46.0       AN NSA 2          46.9            0.9

  CP 1          33.4           36.1          28.5         38.4           43.0       AN NSA 4          44.3            1.3

  CP 2          46.4           61.8          41.0         62.0           59.0          TX             63.8            4.8

  a
           The existing ambient sound levels shown are the lowest reported levels at project NSAs near the standardized NSAs.




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                                Legend                            0      0.5         1
                                                                                         Cumulative Sound Levels,
                          §
                          <   NSA Location                              Miles              dBA Ldn, for TX LNG,
TX                                                                                         RG LNG, and Annova
                          D̈ Calculation Point
                              Facility Property Line
                                                       ±         Scale: 1:78,868

                                                         Service Layer Credits:
                                                                                             LNG Operations



                                                       Copyright:© 2013 National
                                                       Geographic Society, i-cubed           Figure 4.13.2-3
            ±
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         Sound levels at CP-1, representing the Palmito Ranch Battlefield National Historic
 Landmark, are predicted to have a cumulative increase of 1.3 dB, which would be imperceptible
 for most listeners. At CP-2 in the Laguna Atascosa NWR, the sound level impact is somewhat
 higher, with a predicted cumulative increase of 4.8 decibels and an overall cumulative sound
 level of 62 dBA Ldn. As shown on figure 4.13.2-3, there would be areas in the Laguna Atascosa
 NWR in which the cumulative sound levels exceed 55 dBA Ldn. The sound levels in the Laguna
 Atascosa NWR are generally dominated by contributions from the Rio Grande LNG Terminal.

         The sound levels at the project-specific CPs during operation were a Rio Grande LNG
 contribution of 69.7 dBA Ldn at CP-RG, Annova LNG contribution of 55.4 dBA Ldn at CP-AN,
 and a Texas LNG contribution of 52.9 dBA L dn at CP-TX. This demonstrates that operational
 sound levels in the Laguna Atascosa NWR are dominated by contributions from Rio Grande
 LNG, due to its proximity to the Laguna Atascosa NWR. As shown in figure 4.13.2-2, the area
 of the Laguna Atascosa NWR with sound levels exceeding 55 dBA L dn extends to approximately
 1 mile northwest of SH-48. Sound levels in this area are dominated by operational noise from
 the Rio Grande LNG Terminal, as the process area for that facility is directly across SH-48.
 Cumulative impacts resulting from increased noise on wildlife is further discussed in section
 4.13.2.3.

        Flaring

         There would be flaring noise associated with all three projects. However, all three
 projects report that flaring would not be part of standard operations. The maximum sound levels
 predicted for flaring were 59 dBA, 52 dBA, and 43 dBA for Rio Grande LNG, Annova LNG,
 and Texas LNG Projects, respectively, at the worst-case NSAs for each project (NSA C1 for the
 Rio Grande LNG Project). Although possible, it is unlikely that flaring would occur
 simultaneously at all three projects. In the event of simultaneous flaring at all three projects, the
 highest predicted sound levels would be at cumulative NSA C1, with a predicted cumulative
 flaring sound level of 59.6 dBA, or 0.6 dBA higher than the individual impact of the Rio Grande
 LNG flare operating alone. This is not a noticeable difference indicating that the cumulative
 impact of flaring events would be minimal. However, with three facilities in operation, the
 frequency of occurrence of flaring events would be approximately tripled, so flaring events
 would occur more often, though the overall sound level from each flaring event would be similar
 or lower than predicted by each project.

        Maintenance Dredging

         Occasional maintenance dredging would be required during the operational lifespan of
 the three LNG projects to maintain the channel, turning basin, and other marine facilities
 associated with the projects. Generally, the projects anticipate that maintenance dredging would
 be necessary every few years. Maintenance dredging activities would be substantially quieter
 than the sound levels reported with construction sound level predictions, as the predicted
 construction levels also include pile-driving, general construction, and dredging activities. The
 BSC is an active waterway that already has ongoing and regular maintenance dredging. The
 additional maintenance dredging activities associated with the projects are not expected to cause
 a significant cumulative airborne noise impact at the NSAs.




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        Pipeline Facilities

         With the exception of planned projects in the vicinity of Compressor Station 3 (addressed
 above with the Rio Grande LNG Terminal), we are not aware of any other projects that would
 contribute overlapping noise impacts to NSAs in the vicinity of the pipeline facilities. Operation
 of RB Pipeline’s compressor and booster stations would result in noise from the compressors,
 pumps, and cooling fans, and blowdown events. Based on the analyses conducted, we conclude
 that these compressor stations would not result in significant noise impacts on residents, or the
 surrounding communities during operation as noise levels are expected to be below the FERC
 criterion of 55 dBA Ldn, and are not expected to result in a perceptible noise increase at the
 nearest NSAs. In addition, operation of the pipeline facilities is not expected to result in a
 perceptible increase in vibration at any NSA. Therefore, operation of the pipeline facilities
 would not contribute to significant cumulative impacts on noise.

        Conclusions

         The cumulative noise impacts of reasonably foreseeable future actions have been
 reviewed. Of these actions, significant cumulative noise impacts would be expected only from
 the three LNG-related projects due to their size, extent, construction techniques, and long
 operational lifespan. In order to evaluate the potential cumulative impact of construction and
 operations noise from these LNG projects, the predicted sound levels for construction and for
 operations were combined at a standardized set of cumulative NSAs.

         For simultaneous construction activities at all of the three LNG projects, the predicted
 sound level increase over the existing ambient ranges from 2.2 to 9.8 dBA Ldn at the NSAs and
 sound levels of slightly over 55 dBA L dn are predicted for NSAs C2, C3, and C5. These noise
 level increases range between less than noticeable increases in ambient noise to a doubling of
 noise at specific NSAs. For construction activities that are not simultaneous but incremental, the
 predicted sound level increase ranges from 1.0 to 8.6 dBA Ldn at the NSAs. These increases
 would be minor to moderate; however, all levels would be below the FERC criterion of 55 dBA
 Ldn. For CP-1, the predicted cumulative construction increase was 10.1 dBA L dn over the
 existing ambient which could result in periods of perceived doubling of noise. At CP-2 in the
 Laguna Atascosa NWR there is a higher ambient sound level so the predicted increase due to
 cumulative construction noise would be 2.7 dBA L dn, which would be a less than noticeable
 increase. However, for the duration of Annova’s nighttime pile-driving, significantly higher
 levels of noise are estimated and this would result in significant cumulative noise impacts. The
 only 24-hour construction proposed at the Rio Grande LNG Terminal would be dredging. As
 described in section 4.11.2.3, the estimated sound level from dredging associated with the Rio
 Grande LNG Terminal at the nearest NSAs would be below existing ambient sound levels, and
 noise associated with dredging activities is not expected to be perceptible. Therefore, RG LNG’s
 contribution to cumulative nighttime construction noise would be negligible.

        The predicted sound level impacts for simultaneous operation of all three LNG projects
 are much lower than construction impacts, with potential increases over the existing ambient
 sound level between 0.3 and 1.5 dBA Ldn at NSAs, resulting in a negligible to minor impact.
 Construction and operation of the pipeline facilities would not contribute to significant
 cumulative noise impacts on nearby NSAs. Operational impacts are slightly higher at CP-1 and



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 CP-2, with possible increases in sound levels due to operations of between 1.3 and 4.8 dBA L dn.
 This is generally considered barely noticeable to minor long-term impact. Construction and
 operation of the pipeline facilities would not contribute to significant cumulative noise impacts
 on nearby NSAs.

 4.14   TRANSBOUNDARY EFFECTS

         We received a comment requesting that the EIS address the transboundary effects of the
 Project on nearby areas of Mexico. CEQ guidance suggests that agencies must include an
 analysis of reasonably foreseeable transboundary effects of proposed actions in their analysis of
 proposed actions in the United States. The CEQ also advises, however, that federal agencies
 should use the scoping process to identify those actions that may have transboundary
 environmental effects and determine at that point their information needs, if any, for such
 analyses (CEQ, 1997b). Should potential impacts be identified, the agencies may rely on
 available professional sources of information and should contact agencies in the affected country
 with relevant expertise.

         Because the LNG Terminal would be about 5 miles from the border with Mexico and the
 HUC subwatersheds containing the Project do not reach the Mexican border, the greatest
 potential for environmental impacts on Mexico would result from air emissions at the LNG
 Terminal site. Any transboundary effects on air quality in Mexico would be similar to those
 documented in section 4.11.1 of the EIS. Construction of the Project would result in a minor to
 moderate, temporary, and local impact on air quality, and operation would not impact the local
 area’s air quality designation (i.e., attainment status). Therefore, we conclude that transboundary
 effects of the Project would not be significant.




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 5.0    CONCLUSIONS AND RECOMMENDATIONS

 5.1    SUMMARY OF THE ENVIRONMENTAL ANALYSIS

        The conclusions and recommendations presented in this section are those of the FERC
 environmental staff. Our conclusions and recommendations are based on input from the COE,
 FWS, NPS, NMFS, FAA, Coast Guard, EPA, DOE, and DOT as cooperating agencies in
 preparation of this EIS. However, the cooperating agencies will present their own conclusions
 and recommendations in their respective Records of Decision or determinations. The
 cooperating agencies can adopt this EIS consistent with 40 CFR 1501.3 if, after an independent
 review of the document, they conclude that their requirements have been satisfied. Otherwise,
 they may elect to conduct their own supplemental environmental analyses.

         We conclude that construction and operation of the Rio Grande LNG Project would result
 in limited adverse environmental impacts. Most adverse environmental impacts would be
 temporary or short-term during construction and operation, but long-term and permanent
 environmental impacts would also occur as part of the Project. As part of our analysis, we
 developed specific mitigation measures that are practical, appropriate, and reasonable for the
 construction and operation of the Project. We are, therefore, recommending that these mitigation
 measures be attached as conditions to any authorization issued by the Commission. With the
 exception of certain cumulative impacts that the Project would contribute to (sediment/turbidity
 and shoreline erosion within the BSC during operations from vessel transits; federally listed
 ocelot and jaguarundi from habitat loss and the potential for increased vehicular strike during
 construction; on the federally listed northern aplomado falcon from habitat loss; and visual
 resources from the presence of new facilities), implementation of the mitigation proposed by RG
 Developers and our recommended mitigation would ensure that impacts in the Project area
 would be avoided or minimized and would not be significant. A summary of the Project impacts
 and our conclusions are presented below by resource.

 5.1.1 Geologic Resources (Pipeline Facilities)

          Construction and operation of the pipeline facilities would not significantly affect or be
 affected by geologic conditions in the area. Active mining and nonfuel mineral resources would
 not be affected by construction or operation of the pipeline facilities, and no active or permitted
 well sites are within or adjacent to the proposed Pipeline System right-of-way or compressor,
 booster, or meter station sites. In general, the potential for geologic hazards such as earthquakes,
 soil liquefaction, or landslides to significantly affect construction or operation of the pipeline
 facilities is low. To avoid potential damage to equipment by flooding, and to minimize the
 potential for contamination in the event of a flood, critical infrastructure and potential sources of
 contamination would be elevated. Additionally, Compressor Station 3 would be sited within a
 flood protection levee to mitigate potential flood hazard.

        Subsidence could occur in the Project vicinity due to oil and gas extraction and
 groundwater withdrawal. Facilities would be within active oil and gas fields and within 200 feet
 of 13 water supply wells for groundwater withdrawals from the Gulf Coast Aquifer. However,
 water withdrawal and associated subsidence along the pipeline route would be minimal. The

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 overall effect of the pipeline facilities on topography and geology would be minor. The primary
 impacts on geologic resources would be due to the permanent alteration of geologic conditions at
 the aboveground facilities. At the aboveground facilities, grading and filling may be required to
 create a safe and stable land surface to support the facility. Blasting is not anticipated during
 construction of the pipeline facilities.

         Results of the geotechnical investigation concluded that a shallow foundation system
 would adequately support lightly loaded structures at the aboveground facilities; however, at the
 heavily loaded and settlement-sensitive structures at Compressor Station 1, deep foundations
 consisting of piles are recommended. The pipeline facilities must be designed and installed in
 accordance with DOT standards, including those in 49 CFR 192, Transportation of Natural and
 Other Gas by Pipeline: Minimum Federal Safety Standards. In addition, RB Pipeline would
 routinely monitor the geotechnical integrity of its facilities as part of its current operations and
 maintenance activities, and take any corrective actions necessary to repair damage during the life
 of the Project. Geotechnical investigations for Compressor Station 2, the booster stations, and
 proposed HDD locations are pending; therefore, we recommend that the results of these
 investigations, as well as any mitigation that RB Pipeline would adopt as part of the final
 engineering design, be provided prior to construction. Based on implementation of the Project-
 specific Plan and Procedures, and our recommended mitigation measures, we conclude that
 impacts on geological resources would be adequately minimized and the potential for impacts on
 the pipeline facilities from geologic hazards also would be minimal.

 5.1.2 Soils

         Project construction activities such as clearing, grading, excavation, backfilling, and the
 movement of construction equipment may affect soil resources. To reduce the impacts of
 construction on soils, RG LNG would implement measures outlined in its Plan and Procedures.
 Additional mitigation measures would include the installation and maintenance of temporary
 erosion and sedimentation controls to prevent sediment flow from construction areas into
 adjacent, undisturbed areas, and regular monitoring and inspection of disturbed areas until final
 stabilization is achieved. RG LNG would use timber mats and low ground pressure equipment to
 minimize potential rutting and compaction during wet soil conditions. In severely compacted
 areas on agricultural land, RB Pipeline would decompact soils by tilling in accordance with its
 Plan. RG Developers would implement their SWPPPs and SPCC Plans to reduce potential
 impacts on soils from spills of hazardous materials used during construction and operation; we
 recommend that these plans be finalized prior to construction. To account for agency input into
 fugitive dust control specifying that no chemicals may be used in Willacy and Cameron
 Counties, we recommend that prior to construction RG Developers file their final Fugitive Dust
 Control Plans for the LNG Terminal and pipeline facilities for review and written approval by
 the Director of OEP.

         Preparation of the LNG Terminal site would include adding material such as cement or
 lime to stabilize soils, depositing fill to increase ground elevation, and installing aggregate
 material to provide a safe and level work surface. These activities would permanently alter the
 soils and increase the potential for erosion until the LNG Terminal is constructed and the
 remaining exposed soils are stabilized and revegetated. Dredging at the LNG Terminal site
 would be completed by RG LNG in accordance with permits issued by the COE; dredged

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 materials placement would be conducted in accordance with the Dredged Material Management
 Plan, as finalized in coordination with the BND and COE. RG LNG would implement its
 Unanticipated Contaminated Sediment and Soils Discovery Plan if contaminated materials were
 encountered. To minimize shoreline erosion, the LNG Terminal waterfront along the BSC
 would be stabilized from the MOF to the berths and turning basin. RG LNG would maintain the
 integrity of the shoreline protection throughout the operational life of the LNG Terminal. Given
 the impact minimization and mitigation measures described above, and our recommendation to
 provide final plans prior to construction, we conclude that impacts on soils due to construction
 and operation of the Project would be permanent, but minor.

 5.1.3 Water Resources

         The Rio Grande LNG Project is within the Gulf Coast Aquifer. Although not a sole-
 source aquifer, groundwater is the primary water supply source along the northern portion of the
 Pipeline System (Jim Wells, Kleberg, and Kenedy Counties); surface water is the primary source
 of drinking water in the southern Project counties. RG Developers anticipate that all water
 required for operations would be obtained from municipal sources and would not impact the
 quantity of available groundwater. In addition, for wells within 150 feet of Project workspaces
 RB Pipeline would offer to perform pre- and post-construction monitoring for changes in well
 water quality and yield, and to mitigate for any adverse effects due to Project activities. While
 construction of the Project could result in temporary impacts on groundwater quality and
 recharge, implementation of RG Developers’ Plan and Procedures and SPCC Plans would reduce
 the potential for groundwater impacts.

        The proposed LNG Terminal site is on the north shore of the BSC, a man-made, marine
 navigation channel that connects to the Gulf of Mexico. The BSC, along with its Entrance
 Channel and Jetty Channel, form the Brazos Island Harbor. Construction and operation of the
 LNG Terminal would result in permanent impacts on 174.8 acres of open water, including
 impacts on the BSC and an open water lagoon within the LNG Terminal site. RG LNG would
 be required to mitigate for the permanent loss of open water resources and proposes to preserve
 open water within an off-site wetland mitigation area about 1 mile south of the Project; this
 proposal is under review by the COE.

        Dredging, which would be conducted by hydraulic cutter suction or mechanical dredge,
 would result in increased suspended solid and turbidity levels in the BSC. All dredging would
 be conducted using equipment designed to meet the Texas state water quality standards and in
 accordance with applicable COE permit requirements. Disposal of dredged material would be
 conducted in accordance with RG LNG’s draft Dredged Material Management Plan, as finalized;
 however, the final management of dredged material would be determined by the BND and COE,
 in consultation with other federal, state, and local resource agencies and interested stakeholders,
 including the EPA, NMFS, FWS, and the TCEQ. Impacts on surface water quality would be
 adequately mitigated through adherence to applicable COE permits and requirements for
 dredging and dredged material management. We conclude that dredging and dredged materials
 placement for construction of the LNG Terminal would have temporary and minor impacts on
 water quality.



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         Based on the results of hydrodynamic modeling conducted for the proposed widening of
 the BSC, the COE determined that the Brazos Island Harbor Project, a separate federal action not
 directly related to the proposed Project, would result in only negligible differences in surface
 water conditions (including tidal velocity, water surface elevations, and tidal range in the Laguna
 Madre). RG LNG’s hydrodynamic model similarly indicated negligible changes on water
 conditions due to Project dredging, including modeled current speeds for both the current and
 deeper proposed depth of the BSC. RG LNG’s hydrodynamic modeling also indicated that
 maintenance dredging would be required every 2 to 4 four years to maintain adequate depths.

         RG LNG estimates that 880 barges and support vessels would deliver construction
 materials and equipment to the MOF and Port of Brownsville during LNG Terminal
 construction. During operation, about 312 LNG carriers would call on the LNG Terminal per
 year (about 6 LNG carriers per week). Vessel traffic during construction and operation could
 increase shoreline erosion and suspended sediment concentrations due to increased wave action.
 To minimize these impacts, the channel embankments and slope of the LNG Terminal site along
 the BSC, the marine loading berths, and the turning basin would be stabilized using rip-rap.
 Although FERC does not have jurisdiction over the transit of LNG carriers through the BSC,
 final permitting for the Brazos Harbor Channel Improvement Project should account for the
 impacts of these larger vessels on the stability of unarmored shorelines due to vessel passage and
 reflective wave energy.

         During the 20- to 24-hour LNG loading period, each LNG carrier serving the LNG
 Terminal is anticipated to discharge about 10 million gallons of ballast water and
 withdraw/discharge up to 12 million gallons of water for engine-cooling and hoteling. Ballast
 water discharges at the LNG Terminal could impact water quality by changing the salinity,
 temperature, pH, and dissolved oxygen level of water within the BSC. Impacts on surface waters
 as a result of cooling water intake and discharge would be primarily limited to an increase in
 water temperature in the vicinity of the LNG carrier. As the volume of discharge per vessel
 would be negligible compared with the total volume of the BSC (estimated to be about 25 billion
 gallons), and because the LNG carriers would conduct ballast water exchanges in accordance
 with Coast Guard regulations and International Maritime Organization requirements, we
 conclude that impacts on surface water quality resulting from ballast and cooling water would be
 minor.

         Before placing each component of the LNG Terminal into service, LNG tanks, non-
 cryogenic piping, and freshwater storage tanks would be hydrostatically tested. LNG tanks
 would be tested using about 30 million gallons of seawater each (120 million gallons total),
 which would be withdrawn from the BSC, and treated via filtration or use of a corrosion
 inhibitor, if needed, before use. Following each hydrostatic test, water would be transferred to
 the onsite stormwater ponds and tested for contamination prior to release in accordance with
 applicable discharge permits. RG LNG developed a draft LNG Tank Hydrostatic Test Plan for
 the use of water from the BSC for hydrostatic testing, which we recommend be finalized prior to
 construction. Hydrostatic test water used in the Pipeline System would be withdrawn from three
 waterbodies crossed by the pipelines (Los Olmos Creek, Arroyo Colorado, and Resaca De Los
 Cuates), and water would be re-used across different pipe segments to decrease the total volume
 of water required; about 45 million gallons of water would also be withdrawn from these
 waterbodies for dust suppression.

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         The Pipeline System would cross 63 waterbodies, including 21 perennial streams, 19
 intermittent streams, 10 ephemeral streams, and 13 ponds and reservoirs. These waterbodies
 would be crossed using various crossing methods, including conventional bore and HDD. Two
 waterbodies crossed by the Project are regulated by the IBWC, both of which would be crossed
 via HDD; RB Pipeline indicated that it would design these HDDs to adhere to IBWC’s criteria
 and plans to submit its permit application for crossing these waterbodies to the IBWC in the
 second quarter of 2019. Crossing of the IBWC-regulated waterbodies would not commence
 prior to the IBWC issuing a permit for these crossings.

        RB Pipeline would minimize potential impacts on surface waters by implementing its
 Procedures and utilizing trenchless crossing methods for 26 of the 34 waterbodies anticipated to
 be flowing at the time of construction. Following construction of each pipeline, waterbody
 contours would be restored to pre-construction conditions, and riparian areas would be
 revegetated using native grasses, legumes, and woody species, and allowed to return to pre-
 construction conditions. With implementation of RG Developers’ Plan and Procedures,
 SWPPPs, SPCCs, additional mitigation measures included in the EIS, adherence to applicable
 permits, and our recommendations, we conclude that impacts on groundwater and surface water
 resources would be adequately minimized.

 5.1.4 Wetlands

         Construction of the LNG Terminal would result in the permanent loss of 182.4 acres of
 wetlands and special aquatic sites, including 114.9 acres of EEM, 19.8 acres of ESS
 (mangroves), and 47.7 acres of mudflats. RB Pipeline has proposed a 75-foot-wide construction
 right-of-way for the majority of wetland crossings less than 1,000 feet in length. For wetlands
 with crossing lengths greater than 1,000 feet, RB Pipeline has proposed a construction right-of-
 way width of 100 feet. Construction workspace for Pipeline 1 would impact a total of 137.0
 acres of wetlands, including 9.9 acres of PFO wetlands, 3.5 acres of PSS wetlands, 117.4 acres of
 emergent (PEM and EEM) wetlands, and 6.2 acres of mudflats (EUS). About 18 months after
 the construction of Pipeline 1, Pipeline 2 would be constructed within the same right-of-way,
 which would impact the same wetlands in early successional stages of regrowth. Following
 construction, wetlands would be restored to pre-construction conditions and would be allowed to
 revegetate naturally, or by RB Pipeline’s use of seed mixes in accordance with NRCS
 recommendations. Of the 107.3 acres of wetlands within the permanent footprint of the Pipeline
 System, 7.8 acres would be PFO and 3.5 acres would be PSS wetland.

         RG Developers would implement their Procedures to control erosion and restore the
 grade and hydrology after construction in wetlands. In accordance with its Procedures, RB
 Pipeline would consult with the COE to develop a Project-specific wetland restoration plan. RG
 LNG is also developing a plan to mitigate for wetland impacts; its Conceptual Mitigation Plan
 identifies the potential to acquire and preserve a portion of the Loma Ecological Preserve in
 perpetuity, and to transfer the land to a land manager, such as the FWS. The COE has not
 approved RG LNG’s Conceptual Mitigation Plan and is working with RG Developers, in
 conjunction with the FWS, EPA, and TPWD to revise the proposed mitigation measures as
 appropriate.



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         The FERC Procedures (section VI.A.6) specify that aboveground facilities, with few
 exceptions, should be located outside of wetlands. Although RG LNG proposes to site the LNG
 Terminal (including Compressor Station 3) in wetlands, we determined that the proposed
 location is the most environmentally preferable and practical alternative that meets the Project’s
 stated purpose. However, the placement of the LNG Terminal in wetlands must be approved by
 the COE prior to construction. RB Pipeline has identified temporary workspace near one
 wetland that is inaccessible from the right-of-way; we recommend that, prior to construction, RB
 Pipeline reconfigure the right-of-way at this location (MP 36.5).

         With adherence to measures contained in the Project-specific Procedures and applicable
 COE permits, impacts on wetlands would be reduced, with the majority of adverse permanent
 impacts occurring at the LNG Terminal site. We anticipate that the COE’s CWA Section
 404/Section 10 permit for the Project would be conditioned to effectively offset the Project-
 related adverse impacts on waters of the United States by wetland mitigation, such that impacts
 would be reduced to less than significant levels.

 5.1.5 Vegetation

         RG LNG has leased a 984.2-acre property from the BND for placement of the Rio
 Grande LNG Terminal. The property is generally low-lying (elevations of less than 10 feet),
 with higher-elevation features (up to 25 feet high) including lomas (coastal clay dunes) and
 dredge spoil piles. The site itself is dominated by a lagoon, tidal flats, and marshes on the east; a
 mud/salt flat complex and mangroves on the west; and a terraced area in the center and along the
 banks of the BSC that was used as historic dredge spoil placement. A total of 750.4 acres of
 land would be cleared during construction at the LNG Terminal site, including 562.9 acres of
 vegetated land that would be permanently converted to industrial use associated with operation
 of the facility. This permanent conversion would result in the loss of 191.5 acres of upland
 herbaceous land, 189.1 acres of upland shrub/forest land, 162.5 acres of emergent wetlands, and
 19.8 acres of shrub/forested wetlands. About 233.8 acres of land, including 103.5 acres of
 wetland habitat, is present outside the boundary of the proposed facilities, but within the larger
 parcel leased by RG LNG, and would generally be maintained as a natural buffer.

         Construction of the Header System and Pipeline 1, including ATWS, would affect
 1,980.6 acres of vegetation, including 828.4 acres of upland herbaceous land, 533.9 acres of
 agricultural land, 481.2 acres of upland shrub/forest land, 123.7 acres of emergent wetlands, and
 13.4 acres of shrub/forested wetlands. Following construction, 497.1 acres of upland herbaceous
 land, 321.2 acres of agricultural land, 287.5 acres of upland shrub/forest land, 95.5 acres of
 emergent wetlands, and 11.3 acres of shrub/forested wetlands within the permanent easement
 would be restored to pre-construction conditions, but would be subject to routine maintenance.
 Shrub/forest land within maintained portions of the permanent right-of-way would be
 permanently converted to herbaceous or early successional-stage scrub-shrub land. Pipeline 2
 would be installed within the same 125-foot-wide construction right-of-way affected by Pipeline
 1. As such, all land disturbed by the construction of Pipeline 2 would have been previously
 disturbed during the construction of Pipeline 1. Aboveground facilities for the Pipeline System
 would permanently convert vegetation to a developed state.



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         RG Developers conducted noxious and invasive weed surveys at the LNG Terminal site
 and along accessible portions of the pipeline route. No state listed weeds were identified;
 however, additional surveys along the pipeline route would be conducted prior to construction,
 and RB Pipeline would implement its Noxious and Invasive Plant Management Plan to control
 the potential spread of weeds.

         Two vegetation communities of concern occur within proposed Project workspaces,
 including lomas and south Texas salty thornscrub. Although neither community is a protected
 habitat, they are considered habitat for the federally endangered ocelot and northern aplomado
 falcon. Three lomas are within the LNG Terminal site, one of which would be lost during
 construction. As no special vegetation communities have been noted as occurring on these
 lomas, the loss of this habitat would be considered a permanent, but minor impact. Construction
 and operation of the LNG Terminal would result in the conversion of 138.4 acres of south Texas
 salty thornscrub habitat to developed land. No land classified as south Texas salty thornscrub
 was identified within the footprint of the pipeline facilities. The TPWD, in its comments on the
 draft EIS, requested that topsoil segregation be conducted across the entire Pipeline System to
 preserve the native seed bank, which may include rare plant species; we recommend that RB
 Pipeline consult with the TPWD to determine specific areas of potential rare plant occurrence to
 determine additional areas where topsoil segregation may be warranted.

          Overall, the Project would result in temporary to permanent impacts on vegetation. The
 impacts of the Pipeline System would generally be temporary or short-term, although vegetated
 habitat would be converted to industrial/commercial land within the footprint of the aboveground
 facilities, and would be maintained as herbaceous or early successional scrub-shrub habitat
 within the permanent right-of-way. Construction and operation of the LNG Terminal would
 result in permanent impacts on vegetation within the footprint of the facility, although impacts
 on wetland vegetation would be mitigated as required by the COE under Section 404 of the
 CWA.

 5.1.6 Wildlife and Aquatic Resources

          Construction of the LNG Terminal site, including Compressor Station 3, would affect the
 vegetated wildlife habitat identified above, as well as 174.8 acres of open water onsite and in the
 proposed dredging areas. This habitat would be permanently converted to an industrial state,
 resulting in displacement, stress, and direct mortality of some individuals. To minimize the
 potential for direct mortality during initial clearing, RG LNG would conduct pre-construction
 surveys and hazing at the LNG Terminal property to flush wildlife from the site prior to
 completing the fencing. Impacts from construction and operation of the LNG Terminal from
 increased human activity, lighting, and noise are not anticipated to result in significant impacts
 on wildlife populations, given that local wildlife are likely acclimated to the increased noise and
 human presence associated with the adjacent SH-48 and BSC. Further, in response to comments
 on the draft EIS regarding concern over facility lighting, we recommend that RG Developers
 finalize Project lighting plans in coordination with the FWS and TPWD to minimize potential
 effects on wildlife. However, the direct loss of habitat and the indirect effects associated with
 displacement indicate that the construction and operation of the proposed LNG Terminal would
 result in a minor to moderate, permanent impact on local wildlife.


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         The Header System and Pipeline 1 would affect 1,998.5 acres of wildlife habitat,
 including 828.4 acres of upland herbaceous land, 533.9 acres of agricultural land, 481.2 acres of
 upland shrub/forest land, 123.7 acres of emergent wetlands, 13.4 acres of shrub/forested
 wetlands, and 7.9 acres of open water. Following construction, 497.1 acres of upland herbaceous
 land, 321.2 acres of agricultural land, 287.5 acres of upland shrub/forest land, 95.5 acres of
 emergent wetlands, and 111.3 acres of shrub/forested wetlands within the permanent easement
 would be restored to pre-construction conditions but would be subject to routine
 maintenance; 6.5 acres of water within the permanent right-of-way would not be subjected to
 routine maintenance. Shrub/forest land within maintained portions of the permanent right-of-
 way would be permanently converted to herbaceous or early successional-stage scrub-shrub land.
 Pipeline 2 would be installed within the same right-of-way as Pipeline 1. Similar to impacts at the
 LNG Terminal, wildlife would experience displacement, stress, and direct mortality during
 construction of the pipeline facilities; however, most impacts would be restricted to periods of
 active construction and the habitat would re-establish over time after construction had been
 completed, with the exception of aboveground facilities and the permanent right-of-way, which
 would be periodically maintained.

         The proposed Project is within the migratory bird Central Flyway, which generally
 covers the central portion of North America and into Central America. South Texas acts as a
 funnel for migratory birds as they try to avoid flying too far east (into open Gulf waters) or west
 (into desert habitat). RG LNG proposes measures to avoid or minimize impacts on migratory
 birds and has developed a MBCP outlining the measures that it would implement, as practicable,
 during construction of the Project; RB Pipeline would also implement measures in this plan if
 vegetation clearing along the Pipeline System would take place during the bird nesting period
 between March 1 and August 31. Because of the high use of habitat at the LNG Terminal by
 migratory birds (including birds of conservation concern), we agree that the measures in RG
 LNG’s MBCP are appropriate and we recommend that the plan be finalized in consultation with
 the FWS and TPWD. We have also determined that the overall increase in nighttime lighting
 during operation of the proposed Project would result in permanent, but minor impacts on
 resident or migratory birds.

        Sensitive or management wildlife habitat in the vicinity of the Project includes the
 Laguna Atascosa and Lower Rio Grande Valley NWRs. Operational noise at the LNG Terminal
 would increase ambient noise in adjacent areas of the Laguna Atascosa NWR, which could result
 in moderate impacts on wildlife through increased avoidance; however, no significant changes in
 general wildlife behaviors further within the NWR are anticipated, as noise attenuates over
 distance. Although the LNG Terminal would not be within 0.25 mile of the Lower Rio Grande
 Valley NWR, RB Pipeline is proposing two HDDs adjacent to its boundaries. Therefore, we
 recommend that RB Pipeline provide ambient sound levels at an HDD location adjacent to this
 NWR at MPs 115.6 and 116.4, and identify any necessary mitigation, prior to construction.

        Loss or disturbance of vegetation decreases available habitat for pollinator species,
 including bats, bees, hummingbirds, butterflies, wasps, moths, and flies, that require plant pollen
 and/or nectar for food. RG Developers have consulted with the NRCS to develop preliminary
 seeding mixes for use during restoration that would enhance the habitat for pollinator species,
 which includes predominantly native grasses. Further, RG Developers will continue to
 coordinate with the Caesar Kleberg Wildlife Research Institute at the FWS’ request, and have

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 committed to incorporating monarch butterfly-friendly species into their revegetation plan,
 which could provide an energy source for local and migrating pollinators.

         Construction of the Rio Grande LNG Project would result in minor impacts on aquatic
 resources due to water quality and noise impacts and direct mortality of some immobile
 individuals during dredging for the LNG Terminal and installation of the Pipeline System across
 waterbodies. During operations, the Project would have minor impacts on aquatic resources due
 to maintenance dredging and increased marine vessel traffic. Permanent impacts on aquatic
 habitat would occur where open water would be converted to industrial/commercial land within
 the LNG Terminal site and where dredging would convert existing wetlands and mudflats to
 open water. Impacts on aquatic resources due to increased turbidity and suspended solid levels
 would vary by species; however, the aquatic resources present within the Project area are likely
 accustomed to regular fluctuations in noise and turbidity levels from maintenance dredging
 within the BSC. To minimize impacts on aquatic resources due to increased turbidity and
 suspended solid levels, RG LNG would use equipment designed to meet Texas state water
 quality standards and in accordance with applicable COE permit requirements which include
 turbidity minimization methods as well as avoidance of adverse effects to water quality and
 aquatic resources. Further, in accordance with the TPWD’s recommendations on the draft EIS
 (and per section V.B.1 of FERC’s Plan), RB Pipeline must cross all waterbodies with perceptible
 flow between November 1 and January 31, unless further approval from the TPWD is
 obtained. With the implementation of these permit requirements and mitigation measures, we
 have determined that the Project would have temporary and minor impacts on fisheries and
 aquatic resources.

         Portions of the BSC, the channel to San Martin Lake, the Bahia Grande Channel, and the
 water column at potential dredged material disposal sites have been designated as EFH.
 Although the construction activities would result in the alteration of habitat and the mortality or
 displacement of individuals, the impacts on EFH and the species and life stages that utilize EFH
 would be temporary and minor. Consultation under the MSFCMA is complete, and given the
 temporary, minor impacts on EFH, NMFS does not have EFH conservation recommendations for
 the Project.

 5.1.7 Threatened, Endangered, and Other Special-status Species

         A total of 25 species that are federally listed as threatened or endangered, or those that
 are candidates, proposed, or under review for listing, may occur in counties affected by the
 Project. Within these counties, or offshore of them, critical habitat has been designated for two
 species, the piping plover and the loggerhead sea turtle. We determined that the Project would
 have no effect on one federally listed and one candidate species, is not likely to adversely affect
 19 federally listed (or proposed) species, and would not result in a trend towards federal listing
 for two species (one candidate and one that is under review). We have also determined that the
 Project would not be likely to destroy or adversely modify designated critical habitat for the
 piping plover or loggerhead sea turtle. Our not likely to adversely affect determinations for the
 West Indian manatee and federally listed plants are based on our recommendations to conduct
 appropriate training and complete applicable surveys, respectively. Similarly, our not likely to
 adversely affect determination for the northern aplomado falcon is based on our
 recommendations related to nest identification, monitoring, and implementation of BMPs for the

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 species, but also accounts for its coverage under a Safe Harbor Agreement that allows
 development (and take) in the Project area. RG Developers have committed to multiple
 mitigation measures for the protection of federally and state listed species (e.g., implementing
 biological monitors, following agency recommended BMPs); we have also recommended that
 RG Developers file documentation demonstrating that such measures have been incorporated
 into their environmental training program.

         We have determined that the Project is likely to adversely affect the ocelot and jaguarundi
 based on direct and indirect habitat impacts, and consideration of how those habitat impacts
 would affect the recovery of the species. RG Developers are consulting with the FWS regarding
 potential mitigation for the ocelot; final mitigation requirements would be determined by the
 FWS in its Biological Opinion and through completion of the ESA Section 7 consultation
 process. Because consultation with the FWS and NMFS is ongoing, we recommend that the
 FERC staff completes any necessary ESA consultation with these agencies prior to construction.

          In consultation with the TPWD and review of county species lists, we identified 30
 species that are state listed as threatened or endangered with the potential to occur in the Project
 area. RB Pipeline has proposed use of the Texas Tortoise BMPs during construction to minimize
 the potential for impacts on the species; however, as the Texas tortoise was identified during
 surveys on the LNG Terminal site, we note that RG Developers may need to work with the
 TPWD to mitigate potential impacts on this species. Further, we recommend that RG
 Developers work with the TPWD to identify locations of sensitive habitat that may warrant the
 restriction of certain erosion control materials to minimize the potential for species
 entanglement. With implementation of RG Developers’ Plan and Procedures, SWPPPs, and
 SPCCs, we have determined that state listed species would not be significantly affected by the
 Project. In addition, dolphins, which are protected under the MMPA, may be affected by noise
 produced by in-water pile-driving at the LNG Terminal site. Although RG LNG has minimized
 this potential by restricting in-water pile-driving to just four conventional piles and one sheet
 pile, we recommend that RG LNG consult with the NMFS to identify mitigation measures to
 avoid or minimize noise-related impacts from in-water pile-driving.

 5.1.8 Land Use, Recreation, and Visual Resources

         Construction of the Rio Grande LNG Project would occur predominately on large tracts
 of land classified as open land with scrub-shrub vegetation and would affect about 3,633.2 acres
 of open land, shrub/forest land, agricultural land, barren land, emergent wetlands, open water,
 and industrial/commercial land. About 2,149.2 acres of the affected area would be maintained
 for operation of the Project. A portion of the Project is within the designated coastal zone, which
 is managed by the RRC. We recommend that RG Developers file documentation of concurrence
 from the RRC that the Project is consistent with the Texas CZMP.

         RG Developers would construct the Project across or near several recreation areas,
 including a National Historic Landmark (King Ranch); the Lower Rio Grande Valley and
 Laguna Atascosa NWRs; the Zapata boat launch; land planned for conservation through the
 Bahia Grande Coastal Corridor Project; four Great Texas Coastal Birding Trails; and three
 conservation easement areas under the CRP. The pipelines would directly affect each of these
 recreation areas, except for the Laguna Atascosa and Lower Rio Grande Valley NWRs.

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 However, construction of the Pipeline System would last a few weeks in any one area, except at
 19 discrete locations along the Pipeline System (including areas adjacent to recreation/special
 use areas) where up to 10 weeks would be required for crossings accomplished by HDD;
 therefore, impacts would be temporary.

         In addition to the special use areas, recreational boating and fishing activities occur
 within the BSC, Bahia Grande Channel, and San Martin Lake and could be affected by
 construction and operation of the LNG Terminal due to increased noise, restrictions on fishing in
 the immediate vicinity of the LNG Terminal, and LNG and barge vessel traffic. Increased noise
 associated with construction of the Project could deter recreational users from fishing in the
 immediate vicinity of Project activities. In particular, dredging activities, which would take
 place 24 hours per day, 7 days per week, during a two-week period; and land- and water-based
 pile-driving which would occur at discrete points during construction for periods as short as a
 few days to as long as five months, could result in avoidance of these areas by recreational users.
 In addition, construction of the Pipeline System across the Zapata boat launch would be
 accomplished by HDD, and could take up to 10 weeks. As a result, we have determined that
 there would be moderate impacts on recreational use of the Zapata boat launch during
 construction of the Pipeline System.

         The nearest residential areas to the LNG Terminal are in Port Isabel and Laguna Heights,
 Texas, (about 2.2 miles north and northeast, respectively). Views of the LNG Terminal would
 generally be associated with mobile receptors such as motorists on SH-48, and boaters on the
 BSC or in the Bahia Grande Channel; these receptors may experience moderate impacts on the
 viewshed from the presence of the LNG Terminal. RG LNG’s siting of the LNG Terminal along
 the BSC, which supports the movement of domestic and foreign products, and in proximity to
 the Port of Brownsville, result in it being consistent with current industrial use. Lighting at the
 LNG Terminal would be minimized to the extent practicable to maintain safe working
 conditions.

          Numerous public comments identified concerns with the visual impact of the LNG
 Terminal to surrounding communities, specifically including Port Isabel and South Padre Island.
 Based on our review of visual simulations conducted by RG LNG, most public vantage points
 (e.g., the Port Isabel lighthouse, historic battlegrounds/landmarks, Isla Grand Hotel) are at a
 distance far enough away from the LNG Terminal site that impacts on the viewshed would be
 permanent, but negligible or minor. Visual receptors within nearby waters north of the LNG
 Terminal site, such as Laguna Madre, would be at lower elevations and/or far enough away such
 that the nearby shoreline areas would obscure the LNG Terminal site. Visual receptors at
 locations closer to the LNG Terminal site (e.g., SH-48, the Bahia Grande Channel, and the
 Zapata boat launch), would be able to discern individual structures; however, these receptors
 would generally not be stationary and therefore would have a short viewing time (i.e., until the
 vehicle or vessel passes the site). Based on these considerations, we conclude that the visual
 impact of the LNG Terminal would be permanent, but negligible to moderate, dependent on the
 elevation and proximity of the viewers.

        Given the siting of the Pipeline System on larger tracts of land, no planned residential
 developments would be within 0.25 mile, and no residences are within 50 feet of proposed
 construction work areas. Although three residences are within 50 feet of proposed access roads;

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 these roads are existing and would be used without modification. RB Pipeline would affect
 visual resources along the pipeline route by vegetation clearing along the right-of-way and
 construction of the pipeline facilities. Visual impacts on the greatest number of people would
 occur where the pipeline route parallels or crosses roads, trails, or prominent offsite observation
 points and other places where the right-of-way may be seen by passing motorists or
 recreationists. The presence of construction personnel and equipment would result in short-term
 impacts on the viewshed of those areas. Although clearing of shrub/forest land would result in
 minor long-term and permanent impacts on the viewshed, we conclude that the visual character
 would not change substantially from existing conditions given the presence of other oil and gas
 pipeline easements throughout the Project area and RB Pipeline’s effort to site the pipelines
 within or directly adjacent to existing pipeline corridors (about 66.0 percent of the route).
 Similarly, although passing motorists may be able to view Compressor Station 2 from U.S.
 Highway 77, we conclude that there would be no significant impacts on visual resources at
 Compressor Stations 1 and 2 given the distance to the nearest residences (2.9 miles or greater).

 5.1.9 Socioeconomics

         Construction of the Rio Grande LNG Project would generally have a minor impact on
 local populations, employment, housing, provision of community services, and property values.
 There would not be any disproportionately high or adverse environmental and human health
 impacts on low-income and minority populations from construction or operation of the Project.
 No residences or businesses would be displaced as a result of construction or operation of the
 LNG Terminal or pipeline facilities.

         Construction of the LNG Terminal would occur in phases over a 7-year period. RG LNG
 expects an average monthly construction workforce of 2,950 workers would be required, with a
 peak workforce of 5,000 workers during a 17-month period. About 30 percent of the workforce
 is expected to be hired locally, resulting in on average 2,065 non-local workers and a maximum
 of 3,658 non-local workers. Assuming non-resident workers would be accompanied by family
 members, and based on the average household size in Texas, up to 10,058 non-local persons and
 family members could relocate to the affected area during construction of the LNG Terminal,
 which would represent a 0.8 percent increase in the total population within Cameron, Willacy,
 and Hidalgo Counties. Given the number of housing units that we estimate would be available
 for rent to the workforce (75,406 units), no serious disruptions to housing and temporary
 accommodations are anticipated. Operation of the LNG Terminal would require 108 workers, all
 of which are expected to be non-local hires.

        RB Pipeline estimates the average monthly workforce would be 1,240 workers, with a
 peak of 1,500 workers, during the first two stages of construction, which would last about 12
 months. The workforce would be concentrated near the compressor stations with an average
 monthly workforce of 160 workers each (including Compressor Station 3); the remaining
 workers would be separated into two construction spreads along the Header System and Pipeline
 1. Stages 3 through 6 would require smaller workforces, estimated to be 240 workers each
 month on average with 300 workers at the peak of construction efforts.

        RB Pipeline estimates that about 10 percent of the workers for the pipeline facilities
 would be hired locally. Based on the expected peak construction workforce, the addition of

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 1,350 non-local workers would result in a negligible increase in the affected area’s population
 (0.003 percent). Within the affected area for the pipeline facilities, a total of 38,212 housing
 units would be available for rent to the workforce, including hotel and motel rooms, vacant
 housing units, and RV sites. This inventory of housing units indicates that sufficient lodging
 units would be available to accommodate the non-resident workers. Twenty permanent workers,
 including three to four staff at each compressor station, would be required for operation of the
 pipeline facilities. This workforce and their families would represent a permanent but minor
 increase in the local population and housing requirements.

          Impacts on roadways in the Project area would include potential delays from increased
 traffic levels and diminished roadway capacity. To identify, quantify, and recommend
 mitigation for traffic impacts on area roadways during construction of the Rio Grande LNG
 Project, RG Developers commissioned a Traffic Impact Analysis, which recommended several
 improvements to safely accommodate access to the LNG Terminal, as well as strategic
 scheduling of deliveries and arrival/departure of construction workers to limit congestion. RG
 LNG committed to the measures recommended in the Traffic Impact Study, as well as hiring off-
 duty police officers to direct traffic during peak commuting hours and installing roadway
 warning signs to notify travelers of construction activities. To further minimize impacts on
 traffic congestion, we recommend that, prior to the end of the draft EIS comment period, RG
 Developers develop traffic monitoring and mitigation procedures in consultation with applicable
 transportation authorities. Additionally, if onsite parking becomes limited RG LNG would be
 provided offsite parking at a 25-acre Port of Brownsville temporary storage area on the south
 side of SH-48. Construction workers would be bused from this location to the LNG Terminal
 site. With the implementation of the proposed measures, we have determined that impacts from
 construction of the LNG Terminal would have temporary and minor impacts on local users of the
 roadway network.

         Marine barge transportation would supplement truck transport for delivery of
 construction materials to the LNG Terminal site. RG LNG anticipates about 880 barge
 deliveries over the 7-year construction period for the LNG Terminal site, which represents a 25
 percent increase in the current barge traffic. In addition to increased vessel traffic during
 construction, dredging for the marine facilities would temporarily reduce the area of the BSC
 available for vessel transit. RG LNG would coordinate with local authorities so that dredging
 activity would not restrict large vessels from transiting the BSC during the limited period for
 which this activity would be required. The additional vessels in the BSC during construction
 would not result in an exceedance of the channel’s traffic capacity. Based on these
 considerations we anticipate that the overall impact on recreational boating and fishing would be
 minor.

         The BSC currently experiences about six large vessels per week (i.e., about two transits
 per day) calling at the Port of Brownsville, including cargo vessels, tankers, and ocean barges.
 During operation of the Project, about 312 LNG carriers would call on the LNG Terminal per
 year, or about 6 per week. In a letter dated December 26, 2017, the Coast Guard issued the LOR
 for the Project, which stated that the BSC is considered suitable for LNG marine traffic in
 accordance with the guidance in the Coast Guard’s NVIC 01-2011. The WSA review focused on
 the navigation safety and maritime security aspects of LNG carrier transits along the BSC. The
 WSA itself is designated Sensitive Security Information as defined in 49 CFR 1520. Because

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 any unauthorized disclosure of these details could be employed to circumvent the proposed
 security measures, they are not releasable to the public. Based on the Coast Guard’s LOR for the
 Project, the expected doubling in large vessel traffic, and the potential to preclude vessel traffic
 30 hours per week, we have determined that operation of the LNG Terminal would result in a
 permanent and moderate increase in marine traffic within the BSC, based on current conditions.

          Construction of the pipelines would increase traffic on roadways, most notably during the
 first year of construction. Use of a segment of FM 106 in Cameron County during construction
 of the pipeline facilities was not recommended per the findings of the Traffic Impact Analysis;
 however, RB Pipeline has stated that it would use FM 106. To further minimize impacts on
 traffic congestion, we recommend that, prior to the end of the draft EIS comment period, RG
 Developers identify traffic mitigation procedures in consultation with applicable transportation
 authorities.

         Construction of the Rio Grande LNG Project would result in positive impacts due to
 increases in construction jobs, payroll taxes, purchases made by the workforce, and expenses
 associated with the acquisition of material goods and equipment. Operation of the Project would
 have a positive effect on the local governments’ tax revenues due to the increase in property
 taxes that would be collected.

 5.1.10 Cultural Resources

         To date, our responsibilities under Section 106 of the NHPA have not been completed
 and are pending the completion of all outstanding cultural resources surveys and subsequent
 review of the resulting reports and/or plans by FERC staff and the SHPO. We recommend that
 RG Developers file documentation of consultation with the SHPO, NPS, and Advisory Council
 on Historic Preservation prior to construction to ensure the FERC’s responsibilities under
 Section 106 are met. Surveys conducted through 2016 cover about 56 percent of the current
 pipeline facilities (including the pipeline route, access roads, aboveground facilities, and
 contractor/pipe yards). Some areas along pipeline re-routes have been surveyed since that time,
 but landowner access for surveys along the entire Project has not been granted. Surveys have
 been completed for the entire LNG Terminal site, including 4.5 miles of the non-jurisdictional
 BND Utility Corridor, 2.9 miles of SH-48 turning lanes, the two offsite storage/parking areas,
 and a 1.3-mile-long section of the 1.8-mile-long temporary haul road (this haul road is no longer
 being proposed for use).

         Surveys for the remainder of the pipelines (including along the Header System) remain
 incomplete due to access restrictions. This includes approximately 30 miles of the Project that
 crosses the King Ranch National Historic Landmark. These surveys will be completed once
 access is obtained.

         RG Developers have conducted viewshed and noise impacts assessments of two National
 Historic Landmarks, including the Palmito Ranch Battlefield and the Palo Alto Battlefield, and
 concluded that due to distance and topography, visual impacts would be moderate and minor,
 respectively. They also concluded that the Project would have no noise impacts on the National
 Historic Landmarks.


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         RG Developers contacted seven Native American tribes with requests for consultation;
 four responded with requests to review survey reports and to be notified in the event of
 unanticipated discoveries, including human remains. We sent our NOI and follow-up letters to
 the same tribes; no responses were received. RG Developers requested comments from 13 other
 parties, including local historic preservation groups and museums. Of these groups, three
 responded. No concerns were expressed by any of the responding organizations.

        RG Developers submitted a plan to the FERC and SHPO for addressing unanticipated
 discovery of cultural resources or human remains during construction. We and the SHPO
 requested revisions to the plan. RG Developers submitted a revised plan which we find
 acceptable. The SHPO concurred with the plan on November 10, 2016.

 5.1.11 Air Quality and Noise

 5.1.11.1 Air Quality

          The Project would be located in areas currently classified as being in attainment for all
 criteria pollutant standards. Air pollutant emissions during construction of the Project would
 result from the operation of construction vehicles, marine traffic, vehicles driven by construction
 workers commuting to and from work sites, and fugitive dust generated during construction
 activities. Air quality impacts due to construction would generally be localized, and are not
 expected to cause or contribute to a violation of applicable air quality standards. Combustion
 emissions during construction at the LNG Terminal site would occur over a longer period than
 construction of the pipeline facilities. RG Developers would minimize combustion emissions by
 using bus transportation during construction, limiting engine idling, using recent models of
 construction equipment, and conducting regular inspections of construction vehicles. Fugitive
 dust emissions would be minimized through implementation of RG Developers’ Fugitive Dust
 Control Plans. Based on our independent review of the analyses conducted and mitigation
 measures proposed, we conclude that construction of the Project would result in elevated
 emissions near construction areas and would impact local air quality. However, construction
 emissions would not have a long-term, permanent effect on air quality in the area.

         The LNG Terminal (including Compressor Station 3) would be a PSD major source and a
 Title V major source for certain criteria pollutants, HAPs, and GHGs. On March 21, 2017, RG
 Developers submitted a revised application to the TCEQ for a PSD permit for the LNG Terminal
 and Compressor Station 3, and the TCEQ issued an Order granting the PSD permit on December
 17, 2018. The results of ambient pollutant concentration modeling and ozone modeling
 conducted by RG Developers and the TCEQ show that the LNG Terminal and Compressor
 Station 3 would not cause or significantly contribute to an exceedance of the NAAQS. In
 addition, the results of the State Health Effects modeling evaluation required by the TCEQ for
 the LNG Terminal indicate that the Project emissions are below applicable effects screening
 levels, and therefore adverse health effects are not expected. However, concurrent emissions
 from staged construction, commissioning and start-up, and operations of the LNG Terminal
 would temporarily impact local air quality and could result in exceedances of the NAAQS in the
 immediate vicinity of the LNG Terminal during these construction years. These exceedances
 would not be persistent at any one time during these years due to the dynamic and fluctuating
 nature of construction activities within a day, week, or month. RG Developers would minimize

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 air quality impacts by adhering to applicable federal and state regulations and installing BACT as
 described in their PSD permit application to meet the emissions limitations required by the
 TCEQ. RG Developers plan to submit the Title V permit application for the LNG Terminal and
 Compressor Station 3 prior to beginning construction.

         Compressor Stations 1 and 2 and Booster Stations 1 and 2 would require state minor
 source permits for all criteria pollutants; RB Pipeline submitted state permits for these facilities
 on March 24, 2017, and the permits were approved in June 2017. In addition, Compressor
 Stations 1 and 2 would be Title V major sources for NOx and CO. RB Pipeline would minimize
 potential impacts on air quality due to operation of the aboveground facilities by adhering to
 applicable federal and state regulations as described in its air permit applications.

         Based on our independent review of the analyses conducted and mitigation measures
 proposed, we conclude that operation of the Project would have minor impacts on local and
 regional air quality. However, given the mitigation measures proposed by RG Developers, and
 air quality controls and monitoring requirements that would be included in the Title
 V/Prevention of Significant Deterioration permits/state minor source permits for the facilities,
 the Project would not result in regionally significant impacts on air quality.

 5.1.11.2 Noise

          Construction activities at the LNG Terminal would generate increased noise levels over a
 period of about 7 years. Construction activities would occur predominantly during the day,
 between 7:00 a.m. and 7:00 p.m., Monday through Friday, and site preparation and construction
 activities (including pile-driving) would be limited to daytime hours. However, dredging may be
 conducted up to 24 hours per day, 7 days per week. The most prevalent noise-generating
 equipment and activity during construction of the LNG Terminal is anticipated to be pile-driving,
 although internal combustion engines associated with general construction equipment would also
 produce noise that is perceptible at the nearest NSAs. RG LNG plans to use both impact-type
 and vibratory pile-drivers during each stage of construction of the LNG Terminal, and pile-
 driving would be conducted both on-land and in-water. During the first stage (including LNG
 Train 1 and related offsite utilities), land-based pile-driving would require up to 165 days; each
 subsequent stage of construction and water-based pile-driving would require less time.

         The highest expected sound level from pile-driving would occur at nearby NSA 3 when
 three impact pile-driving platforms are simultaneously in use for installation of the marine berths
 (56.4 dBA Lmax at a distance of about 2.8 miles). This level corresponds to a quiet to moderate
 sound level, and would result in an 11 dB increase over ambient sound levels at NSA 3. As a
 result, we recommend that RG LNG monitor pile-driving, file weekly noise data, and implement
 mitigation measures in the event that measured noise impacts are greater than 10 dB over
 ambient levels at nearby NSAs. Estimated noise levels for site preparation and facility
 construction (including intermittent pile-driving during which all three pile-drivers do not
 operate simultaneously) are not estimated to result in significant impacts on NSAs in the LNG
 Terminal vicinity.

        Installation of the pipeline facilities would include noise from internal combustion
 engines associated with typical pipeline and aboveground facility construction, as well as HDD

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 activities. While most construction activity would take place during daytime hours, RB Pipeline
 indicated that some specialized construction activities could occur at night (between 10 p.m. and
 7 a.m.).

         RB Pipeline conducted an HDD acoustical impact assessment, which found that sound
 levels for 24-hour HDD operations would exceed FERC’s noise criterion of a day-night noise
 level of 55 dB on the A-weighted scale at NSAs near seven proposed HDDs. While RB Pipeline
 has identified potential mitigation measures to reduce sound levels during HDD construction, the
 site-specific measures that it would implement at each location have not been identified.
 Therefore, we recommend that RB Pipeline prepare a noise mitigation plan for HDDs at MPs
 82.0, 92.0, 93.0, 99.8, 101.2, 102.0, and 118.7, which would exceed FERC’s noise requirement
 at the nearest NSAs, and that these plans be implemented during construction.

         Typical pipeline installation and facility construction would be temporary at a given
 location; however, construction at Compressor Stations 1 and 2 would occur in stages over
 several years. During construction activities, the composite sound level at the NSA nearest to
 Compressor Station 1 is estimated to be 42.7 Leq (dBA). The recently monitored daytime sound
 level at this NSA is 38.3 dBA Leq, and the combined ambient and construction sound levels
 would be 44.1 dBA, a 5.8 dB increase above ambient levels. Construction of Compressor
 Station 2 would not result in an increase above ambient levels at the nearest NSA. Noise levels
 would be below the FERC criterion of 55 dBA at both locations.

          Operation of the LNG Terminal, and compressor, meter, and booster stations would
 produce noise on a continual basis during the lifetime of the Project. The results of the noise
 impact analysis indicate that the noise attributable to construction and operation of the LNG
 Terminal would be lower than the FERC noise level requirement at the nearest NSAs and the
 Palmito Ranch Battlefield (between 3.7 and 5.4 miles from the LNG Terminal site), and the
 predicted increases in ambient noise would be below perceptible levels (between 0.1 and 0.4
 dB). To ensure that NSAs are not significantly affected by noise during operation of the LNG
 Terminal, we recommend that RG LNG conduct post-construction noise surveys after each after
 each noise-producing unit (e.g. each liquefaction train and compressor) is placed into service and
 once the entire LNG Terminal (including Compressor Station 3) is placed into service. If the
 noise attributable to operation of the equipment at the LNG Terminal exceeds the FERC
 threshold at any stage, RG LNG should file a report on what changes are needed and should
 install additional noise controls to meet the level within 1 year of the in-service date. RG LNG
 should confirm compliance with these requirements by filing an additional noise survey no later
 than 60 days after it installs the additional noise controls.

         The results of the noise impact analysis conducted for the compressor and booster
 stations indicates that operation of these facilities would not generate noise that exceeds FERC
 sound level requirements or results in an increase in ambient sound levels at the nearest NSAs.
 To further ensure that NSAs are not significantly affected by noise during operation of the
 pipeline facilities, we recommend that RB Pipeline conduct post-construction noise surveys after
 each compressor unit is placed into service, as well as after the completed stations are
 operational. No NSAs are within 1 mile of the stand-alone meter stations proposed for the
 Project; therefore, operation of these facilities is not expected to result in perceptible noise
 impacts at any NSAs.

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         While construction of the Rio Grande LNG Project would result in localized minor to
 moderate elevated noise levels near construction areas, impacts would be limited to the
 construction period for the Project. During operations, noise impacts would be minor at the
 aboveground facilities along the Pipeline System and at the NSAs in the vicinity of the LNG
 Terminal. Based on the analyses conducted, mitigation measures proposed, and with our
 additional recommendations, we conclude that construction and operation of the Project would
 not result in significant noise impacts on residents and the surrounding communities.

 5.1.12 Reliability and Safety

         As part of the NEPA review, Commission staff assessed the potential impact to the
 human environment in terms of safety and whether the proposed facilities would operate safely,
 reliably, and securely.

         As a cooperating agency, the DOT advises the Commission on whether RG LNG’s
 proposed design would meet the DOT’s 49 CFR Part 193 Subpart B siting requirements. On
 March 26, 2019, the DOT provided an LOD on the Project’s compliance with 49 CFR Part 193
 Subpart B. This determination was provided to the Commission for consideration in its decision
 on the Project application. If the Project is authorized, constructed, and operated, the facility
 would be subject to the DOT’s inspection and enforcement program; final determination of
 whether a facility is in compliance with the requirements of 49 CFR 193 would be made by the
 DOT staff.

         Furthermore, DOT’s 49 CFR 192 requirements would apply to the VCP that is routed
 through the northern part of the LNG Terminal site. FERC staff has evaluated the potential risk
 and impact from an incident on the VCP. Based on PHMSA’s incident data, the likelihood of a
 pipeline incident or failure would be low, and a worst-case pipeline rupture scenario would be
 even less likely. If a pipeline incident were to occur, the likely consequences from these
 cascading effects would not reach the public. To protect the VCP during construction and
 operation of the Project, RG LNG has identified extra protective measures, and we have made
 additional recommendations regarding temporary and permanent crossings. Therefore, FERC
 staff does not believe the proposed Project would significantly increase the risk to offsite public.

         As a cooperating agency, the Coast Guard also assisted the FERC staff by reviewing the
 proposed LNG Terminal and the associated LNG marine carrier traffic. The Coast Guard
 reviewed a WSA submitted by RG LNG that focused on the navigation safety and maritime
 security aspects of LNG carrier transits along the affected waterway. On December 26, 2017,
 the Coast Guard issued an LOR to FERC staff indicating the BSC would be considered suitable
 for accommodating the type and frequency of LNG marine traffic associated with this Project,
 based on the WSA and in accordance with the guidance in the Coast Guard’s NVIC 01-11. If the
 Project is authorized constructed, and operated the LNG Terminal would be subject to the Coast
 Guard’s inspection and enforcement program to ensure compliance with the requirements of 33
 CFR 105 and 33 CFR 127.

        As a cooperating agency, the FAA assisted FERC staff in evaluating impacts on and from
 the SpaceX rocket launch facility in Cameron County. Specific recommendations are included
 to address potential impacts from rocket launch failures on the Project. However, the extent of

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 impacts on SpaceX operations, the National Space Program, and to the federal government
 would not fully be known until SpaceX submits an application with the FAA requesting to
 launch, and whether the LNG Terminal is under construction or in operation at that time.

         FERC staff conducted a preliminary engineering and technical review of the RG LNG
 design, including potential external impacts based on the site location. Based on this review, we
 recommend a number of mitigation measures and continuous oversight prior to initial site
 preparation, prior to construction of final design, prior to commissioning, prior to introduction of
 hazardous fluids, prior to commencement of service, and throughout life of the LNG Terminal,
 in order to enhance the reliability and safety of the terminal to mitigate the risk of impact on the
 public. With the incorporation of these mitigation measures and oversight, we conclude that RG
 LNG’s terminal design would include acceptable layers of protection or safeguards that would
 reduce the risk of a potentially hazardous scenario from developing into an event that could
 impact the offsite public.

         The Pipeline System and associated aboveground facilities would be constructed,
 operated, and maintained in compliance with DOT standards published in 49 CFR 192. These
 regulations are intended to minimize the potential for natural gas facility accidents and protect
 the public and environment. The DOT specifies material selection and qualifications; minimum
 design requirements; and protection from internal, external, and atmospheric corrosion. We
 conclude that the Pipeline System would not have a significant impact on public safety.

 5.1.13 Cumulative Impacts

         We considered the potential contributions of the Project to cumulative impacts in specific
 cumulative impact areas for the affected resources. As part of that assessment, we identified
 existing projects, projects under construction, projects that are proposed or planned, and
 reasonably foreseeable projects—including future LNG liquefaction and export projects,
 currently operating and future oil and gas projects, electric transmission and generation projects,
 land transportation projects, commercial developments, waterway improvement projects, and
 other miscellaneous activities. Our assessment considered the cumulative impacts of the
 proposed Project combined with the impacts of other projects on resources within all or part of
 the same area and timeframe.

         As discussed in detail in section 4.13 and as summarized in sections 5.1.1 through 5.1.12,
 due to measures to minimize effects on environmental resources, mitigation measures, laws and
 regulations protecting environmental resources, and permitting requirements on the Rio Grande
 LNG Project and other projects, the potential for the LNG Terminal and pipeline facilities to
 contribute moderate to significant cumulative impacts is not anticipated for the following
 environmental resources: geology, groundwater, wetlands, cultural, land use, recreation,
 socioeconomics (except land- and water-based transportation, tourism, and commercial
 fisheries), and safety. Cumulative impacts for the remaining resources are further summarized
 below.

          Construction of the proposed Project, the Texas LNG Project, and the non-jurisdictional
 facilities for both projects are anticipated to occur concurrently and on immediately adjacent
 lands, which would result in soil disturbance in succession. The Annova LNG Terminal would

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 be on the south side of the BSC, thus it would not contribute to cumulative impacts on soils.
 Collectively the Rio Grande LNG and Texas LNG Projects would contribute to moderate,
 permanent impacts on soils due to prolonged and delayed revegetation and the potential for
 increased runoff and erosion from unstable soils. Similarly, if dredging were to occur in the BSC
 for multiple projects at the same time, moderate, but temporary, impacts on water quality and
 aquatic resources may occur.

          The greatest potential for cumulative impacts associated with surface water resources for
 the Rio Grande Project is associated with dredging activities (initial and maintenance) and vessel
 traffic in the BSC. Moderate to significant impacts on surface water quality specifically within
 the BSC could occur during concurrent dredging for the Brownsville LNG terminals due to
 increases in turbidity and sedimentation, and from the potential erosion of shorelines along
 unarmored portions of the BSC due to the increase in large LNG carriers persistently transiting
 the BSC. The Rio Grande LNG Project and other projects would be required to comply with the
 CWA to minimize impacts on surface water quality and to avoid, minimize, or mitigate wetland
 impacts. Therefore, while the proposed Project would contribute to cumulative impacts on
 surface water and wetlands, along with other projects in the area, this impact would not be
 significant.

         The Rio Grande LNG Project and most of the other projects we identified (including, but
 not limited to Texas LNG and Annova LNG) would be constructed partially or wholly within the
 HUC-12 watershed, which is the geographic scope for vegetation, wildlife, aquatic species, and
 threatened and endangered species. Due to the relatively large proportion of the HUC-12
 subwatershed that would be affected by the projects considered, as well as the low revegetation
 potential of the local soils, we have determined that the LNG Terminal would contribute to
 moderate cumulative impacts on rare plant communities and vegetation. This impact on
 vegetation would also contribute to moderate impacts on wildlife species using the vegetation
 communities. Federally listed threatened and endangered species that may be subjected to
 moderate to significant cumulative impacts include sea turtles (moderate), from the combined
 construction impacts associated with dredging and in-water pile-driving; the northern aplomado
 falcon (significant), because of past cumulative habitat loss and construction of aboveground
 structures adjacent to areas of remaining habitat; and the ocelot and jaguarundi (significant),
 from the loss and/or decrease in suitability of habitat and the potential increase in vehicular
 strikes during construction. All federally regulated projects, including all three of the proposed
 LNG projects along the BSC, are required to coordinate with the FWS to minimize impacts on
 federally listed species.

         Construction of the Rio Grande LNG Project and the other projects within the geographic
 scope would result in increased land- and water-based traffic within common transportation
 corridors and during the period(s) when construction activities overlap. Specifically, the
 construction of the proposed LNG Terminal and the Texas LNG Project would result in a
 substantial increase in daily vehicle trips on SH-48. Both RG LNG and Texas LNG have agreed
 to make improvements to SH-48 to ensure safe movement of traffic along the road, especially
 during peak hour traffic flows. Further, RG LNG has committed to hiring off-duty police
 officers to direct traffic during peak commuting hours and would provide off-site parking for
 construction personnel. Based on the results of the commissioned studies for the proposed
 Project and Texas LNG, in conjunction with RG LNG’s proposed roadway improvements, the

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 Rio Grande LNG Project and other projects would contribute to a moderate cumulative impact
 on roadways during the 7-year construction period. The greatest cumulative impacts would
 result during concurrent construction of the Rio Grande LNG and Texas LNG terminals.

         The potential for cumulative visual impacts would be greatest if, in addition to the
 proposed LNG Terminal, the Annova LNG and Texas LNG Projects are permitted and built
 concurrently. Motorists on SH-48 (and other local roadways) and visitors to local recreation
 areas would experience a permanent change in the existing viewshed operation of the projects
 and we conclude that cumulative impacts of the three LNG projects on visual resources would be
 potentially significant.

         All three LNG Projects are proposing use of the BSC during construction and operation,
 which would likely result in a cumulative impact on marine vessel traffic flow and would likely
 increase vessel travel times due to congestion. During operations, LNG carriers calling on the
 Rio Grande LNG Terminal and other LNG facilities along the BSC may have moving security
 zones that could preclude other vessels from transiting the waterway for up to 39 hours per week.
 Mandates for prior notice of expected arrivals would minimize impacts on other vessels. As a
 result, we conclude that there would be a moderate cumulative impact on marine vessel traffic in
 the BSC during from overlapping construction and operation.

          Although the land proposed to be developed for the three Brownsville LNG projects is
 zoned for industrial use, the concurrent construction and operation of three large industrial
 facilities would result in change of the character of the landscape that could cause some visitors
 to choose to vacation elsewhere or alter their recreation activities to destinations in the region
 that are further from the Brownsville LNG project sites. In addition, increased vessel traffic
 resulting from the concurrent operation of the three Brownsville LNG projects would likely
 result in delays for commercial fishing and recreational vessels that need to transit the BSC.
 Therefore, we anticipate that cumulative impacts on tourism and commercial fisheries would be
 permanent and moderate.

          With other projects in the geographic scope, construction of the Rio Grande LNG Project
 would contribute to localized moderate elevated emissions of criteria pollutants near construction
 areas during the period(s) when construction of these activities would overlap. Operational air
 emissions from the Rio Grande LNG Project would contribute to cumulative emissions with
 other projects in the geographic scope, and would be required to comply with applicable air
 quality regulations. Overall, impacts from the Rio Grande LNG Terminal along with the other
 LNG facilities would cause elevated levels of air contaminants in the area and a potential
 exceedance of the 1-hour NO2 NAAQS in an uninhabited area between the proposed LNG
 project facilities. We are aware that each LNG Terminal could be constructed within the same
 time period, and the concurrent construction, commissioning, and operations emissions of the
 proposed Brownsville LNG terminals could potentially exceed the NAAQS in local areas, and
 result in cumulatively greater local air quality impacts. Along the Rio Bravo Pipeline, no
 compressor or booster stations would trigger PSD major source permitting requirements for any
 pollutants and would not cause or contribute to a NAAQS exceedance. Therefore, cumulative
 impacts on regional air quality as a result of the operation of the Rio Grande LNG Project and
 other facilities would be long-term during the operational life of the Project, but minor.


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          The Rio Grande LNG Project would emit GHGs. Currently, there is no universally
 accepted methodology to attribute discrete, quantifiable, physical effects on the environment to
 Project’s incremental contribution to GHGs. Absent such a method for relating GHG emissions
 to specific resource impacts, we are not able to assess potential GHG-related impacts attributable
 to this Project. Additionally, we have not been able to find any GHG emission reduction goals
 established either at the federal level91 or by the State of Texas. Without either the ability to
 determine discrete resource impacts or an established target to compare GHG emissions against,
 we are unable to determine the significance of the Project’s contribution to climate change.

         For simultaneous construction activities at all of the three LNG projects proposed along
 the BSC, the predicted sound level increase over the existing ambient ranges from 2.2 to 9.8
 dBA Ldn at certain NSAs (residences) in the general vicinity of the projects. These noise level
 increases result in levels slightly over 55 dBA Ldn, and range between less than noticeable
 increases in ambient noise to a doubling of noise at specific NSAs. For construction activities
 that are not simultaneous but incremental, the predicted sound level increase ranges from 1.0 to
 8.6 dBA Ldn at the NSAs. These increases would be minor to moderate; however, all levels
 would be below 55 dBA Ldn. For the Palmito Ranch Battlefield National Historic Landmark (4.1
 miles from the Rio Grande LNG Project), the predicted cumulative construction increase is 10.1
 dBA Ldn over the existing ambient level, which could result in periods of perceived doubling of
 noise. However, for the duration of Annova’s nighttime pile-driving, significantly higher levels
 of noise are estimated and this would result in significant cumulative noise impacts. The only
 24-hour construction proposed at the Rio Grande LNG Terminal would be dredging. As
 described in section 4.11.2.3, the estimated sound level from dredging associated with the Rio
 Grande LNG Terminal at the nearest NSAs would be below existing ambient sound levels, and
 noise associated with dredging activities is not expected to be perceptible. Therefore, RG LNG’s
 contribution to cumulative nighttime construction noise would be negligible. The predicted
 sound level impacts for simultaneous operation of all three LNG projects are much lower than
 construction impacts, with potential increases over the existing ambient sound level between 0.3
 and 1.5 dBA Ldn at NSAs, resulting in a negligible to minor impact. Construction and operation
 of the pipeline facilities would not contribute to significant cumulative noise impacts on nearby
 NSAs.

          In summary, the anticipated cumulative impacts associated with the construction and
 operation of projects in the geographic scope are primarily construction-related dredging and
 pile-driving impacts in the BSC on fish and sea turtles, construction vehicle traffic on SH-48,
 potential direct impacts on the federally endangered ocelot and jaguarundi, and construction
 noise impacts on NSAs during concurrent construction. The primary operation-related
 cumulative impacts include marine vessel impacts on water quality and on existing marine vessel
 traffic in the BSC, as well as loss or degradation of vegetation that provides habitat for federally
 listed species. These cumulative impacts are predominantly based on concurrent construction
 and operation of the Rio Grande LNG, Texas LNG, and Annova LNG Projects.




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        The national emissions reduction targets expressed in the EPA’s Clean Power Plan and the Paris climate
        accord are pending repeal and withdrawal, respectively.

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 5.1.14 Alternatives

         In accordance with NEPA and FERC policy, we evaluated the no-action alternative,
 system alternatives, and other siting and design alternatives that could achieve the Project
 objectives. The range of alternatives that could achieve the Project objectives included system
 alternatives for both the terminal and pipeline, alternative LNG Terminal sites, and alternative
 pipeline configurations. Alternatives were evaluated and compared to the Project to determine
 whether these alternatives presented a significant environmental advantage to the proposed
 Project. While the no-action alternative would avoid the environmental impacts identified in this
 EIS, adoption of this alternative would preclude meeting the stated Project objectives. If the
 Project is not approved and built, the need could potentially be met by other LNG export projects
 developed elsewhere along the Texas Gulf Coast. Implementation of other LNG export projects
 likely would result in impacts similar to or greater than those of the proposed Project.

         We evaluated seven LNG Terminal system alternatives, including four existing LNG
 import terminals with planned, proposed, or authorized liquefaction projects; and three
 proposed/planned stand-alone LNG export terminals. To meet all or part of RG LNG’s
 contractual agreements, each of these projects would require substantial construction beyond
 what is currently planned and would not offer significant environmental advantages over the
 proposed LNG Terminal. In addition, the permitting and authorization processes for
 constructing additional facilities and the time required for construction would substantially delay
 meeting the proposed timeline for the Project. As a result, we eliminated all potential system
 alternatives from further consideration.

         We evaluated alternative sites for the LNG Terminal along the Texas coast and along the
 BSC. Four alternative sites along the Texas coast were identified; however, the sites either
 lacked a tract size large enough to meet the needs of the Project or lacked a port system that
 could accommodate the deep draft LNG carriers. Along with the proposed location on the BSC,
 we reviewed five other sites along the BSC as alternatives. Each alternative site provided access
 to the deep draft LNG carriers; however, one was not an adequate size for the Project, one was
 not available for a long-term lease, and the other alternatives affected more resources such as
 wetlands and special status species. We concluded that these sites would be impractical, and
 they were eliminated from further consideration.

         In the draft EIS we evaluated alternatives to RG LNG’s proposed new haul road to bring
 fill material from the Port Isabel dredge pile to the terminal site. In response to our
 recommendation in the draft EIS, RG LNG adopted an alternative to transport the fill materials,
 if necessary, using barges.

         We reviewed three pipeline system alternatives; however, none of the alternatives had
 enough available capacity to transport the Project volumes. We also reviewed the construction
 of one larger diameter pipeline as opposed to the two mainline pipelines, as well as concurrent
 construction of both pipelines, but eliminated these alternatives from further review based on
 construction and safety considerations. RB Pipeline reviewed potential pipeline alternatives as
 part of its routing process to minimize and avoid environmental impacts; however, as much of
 the proposed Pipeline System is collocated with existing rights-of-way and the King Ranch


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 National Historic Landmark cannot be fully avoided due to its size, we did not evaluate
 alternatives for the Pipeline System.

 5.2    FERC STAFF’S RECOMMENDED MITIGATION

        If the Commission authorizes the Project, we recommend that the following measures be
 included as specific conditions in the Commission’s Order. We believe that these measures
 would further mitigate the environmental impacts associated with construction and operation of
 the proposed Project. These measures may apply to RG LNG, RB Pipeline, or to both
 Applicants collectively, referred to as “RG Developers.”

        1.     RG Developers shall follow the construction procedures and mitigation measures
               described in their application and supplements (including responses to staff data
               requests) and as identified in the EIS, unless modified by the Order. RG Developers
               must:
                   request any modification to these procedures, measures, or conditions in a filing
                   with the Secretary;
                   justify each modification relative to site-specific conditions;
                   explain how that modification provides an equal or greater level of
                   environmental protection than the original measure; and
                   receive approval in writing from the Director of OEP before using that
                   modification.
        2.     For the LNG Terminal, the Director of OEP, or the Director’s designee, has
               delegated authority to address any requests for approvals or authorizations
               necessary to carry out the conditions of the Order, and take whatever steps are
               necessary to ensure the protection of life, health, property, and the environment
               during construction and operation of the project. This authority shall allow:
                   the modification of conditions of the Order;
                   stop-work authority and authority to cease operation; and
                   the imposition of any additional measures deemed necessary to ensure
                   continued compliance with the intent of the conditions of the Order as well as
                   the avoidance or mitigation of unforeseen adverse environmental impact
                   resulting from Project construction and operation.
        3.     For the pipeline facilities, the Director of OEP, or the Director’s designee, has
               delegated authority to address any requests for approvals or authorizations
               necessary to carry out the conditions of the Order, and take whatever steps are
               necessary to ensure the protection of environmental resources during construction
               and operation of the Project. This authority shall allow:
                   the modification of conditions of the Order;
                   stop-work authority; and



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               the imposition of any additional measures deemed necessary to ensure
               continued compliance with the intent of the conditions of the Order as well as
               the avoidance or mitigation of unforeseen adverse environmental impact
               resulting from Project construction and operation.
       4.   Prior to any construction, RG Developers shall file an affirmative statement with
            the Secretary, certified by a senior company official, that all company personnel,
            EIs, and contractor personnel will be informed of the EI’s authority and have been
            or will be trained on the implementation of the environmental mitigation measures
            appropriate to their jobs before becoming involved with construction and
            restoration activities.
       5.   The authorized facility locations shall be as shown in the EIS, as supplemented by
            filed alignment sheets. As soon as they are available and before the start of
            construction, RG Developers shall file with the Secretary any revised detailed
            survey alignment maps/sheets at a scale not smaller than 1:6,000 with station
            positions for all facilities approved by the Order. All requests for modifications of
            environmental conditions of the Order or site-specific clearances must be written
            and must reference locations designated on these alignment maps/sheets.
            RB Pipeline’s exercise of eminent domain authority granted under NGA Section
            7(h) in any condemnation proceedings related to the Order must be consistent with
            these authorized facilities and locations. RB Pipeline’s right of eminent domain
            granted under NGA Section 7(h) does not authorize it to increase the size of its
            natural gas pipeline or facilities to accommodate future needs or to acquire a right-
            of-way for a pipeline to transport a commodity other than natural gas.

       6.   RG Developers shall file with the Secretary detailed alignment maps/sheets and
            aerial photographs at a scale not smaller than 1:6,000 identifying all route
            realignments or facility relocations, and staging areas, contractor/pipe yards, new
            access roads, and other areas that will be used or disturbed and have not been
            previously identified in filings with the Secretary. Approval for each of these areas
            must be explicitly requested in writing. For each area, the request must include a
            description of the existing land use/cover type, documentation of landowner
            approval, whether any cultural resources or federally listed threatened or
            endangered species will be affected, and whether any other environmentally
            sensitive areas are within or abutting the area. All areas shall be clearly identified
            on the maps/sheets/aerial photographs. Each area must be approved in writing by
            the Director of OEP before construction in or near that area.
            This requirement does not apply to extra workspace allowed by the Commission’s
            Upland Erosion Control, Revegetation, and Maintenance Plan and/or minor field
            realignments per landowner needs and requirements which do not affect other
            landowners or sensitive environmental areas such as wetlands.

            Examples of alterations requiring approval include all route realignments and
            facility location changes resulting from:

               implementation of cultural resources mitigation measures;

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               implementation of endangered, threatened, or special concern species
               mitigation;
               recommendations by state regulatory authorities; and
               agreements with individual landowners that affect other landowners or could
               affect sensitive environmental areas.
       7.   Within 60 days of the Order and before construction begins, RG Developers
            shall file an Implementation Plan with the Secretary for review and written approval
            by the Director of OEP. RG Developers must file revisions to the plan as schedules
            change. The plans shall identify:
               how RG Developers will implement the construction procedures and mitigation
               measures described in their application and supplements (including responses
               to staff data requests), identified in the EIS, and required by the Order;
               how RG Developers will incorporate these requirements into the contract bid
               documents, construction contracts (especially penalty clauses and
               specifications), and construction drawings so that the mitigation required at
               each site is clear to onsite construction and inspection personnel;
               the number of EIs assigned per spread and/or facility, and how RG Developers
               will ensure that sufficient personnel are available to implement the
               environmental mitigation;
               company personnel, including EIs and contractors, who will receive copies of
               the appropriate material;
               the location and dates of the environmental compliance training and instructions
               RG Developers will give to all personnel involved with construction and
               restoration (initial and refresher training as the Project progresses and personnel
               changes), with the opportunity for OEP staff to participate in the training
               session(s);
               the company personnel (if known) and specific portion of RG Developers’
               organizations having responsibility for compliance;
               the procedures (including use of contract penalties) RG Developers will follow
               if noncompliance occurs; and
               for each discrete facility, a Gantt or PERT chart (or similar project scheduling
               diagram), and dates for:
                 i.   the completion of all required surveys and reports;
                ii.   the environmental compliance training of onsite personnel;
               iii.   the start of construction; and
               iv.    the start and completion of restoration.
       8.   RG Developers shall employ a team of EIs (at least one EI per stage of LNG
            Terminal construction and at least two EIs per pipeline spread) for the Project. The
            EIs shall be:


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               responsible for monitoring and ensuring compliance with all mitigation
               measures required by the Order and other grants, permits, certificates, or other
               authorizing documents;
               responsible for evaluating the construction contractor's implementation of the
               environmental mitigation measures required in the contract (see condition 7
               above) and any other authorizing document;
               empowered to order correction of acts that violate the environmental conditions
               of the Order, and any other authorizing document;
               a full-time position, separate from all other activity inspectors;
               responsible for documenting compliance with the environmental conditions of
               the Order, as well as any environmental conditions/permit requirements
               imposed by other federal, state, or local agencies; and
               responsible for maintaining status reports.
       9.   Beginning with the filing of the Implementation Plan, RG Developers shall file
            updated status reports with the Secretary on a monthly basis for the LNG Terminal
            and a weekly basis for the Pipeline System until all construction and restoration
            activities are complete. Problems of a significant magnitude shall be reported to
            the FERC within 24 hours. On request, these status reports will also be provided
            to other federal and state agencies with permitting responsibilities. Status reports
            shall include:
               an update on RG Developers’ efforts to obtain the necessary federal
               authorizations;
               Project schedule, including current construction status of the Project and work
               planned for the following reporting period, and any schedule changes for stream
               crossings or work in other environmentally-sensitive areas;
               a listing of all problems encountered, contractor nonconformance/deficiency
               logs, and each instance of noncompliance observed by the EIs during the
               reporting period (both for the conditions imposed by the Commission and any
               environmental conditions/permit requirements imposed by other federal, state,
               or local agencies);
               a description of the corrective and remedial actions implemented in response to
               all instances of noncompliance, nonconformance, or deficiency;
               the effectiveness of all corrective and remedial actions implemented;
               a description of any landowner/resident complaints which may relate to
               compliance with the requirements of the Order, and the measures taken to
               satisfy their concerns; and
               copies of any correspondence received by RG Developers from other federal,
               state, or local permitting agencies concerning instances of noncompliance, and
               RG Developers’ response.



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       10.   RG Developers must receive written authorization from the Director of OEP before
             commencing construction of any Project facilities. To obtain such authorization,
             RG Developers must file with the Secretary documentation that it has received all
             applicable authorizations required under federal law (or evidence of waiver
             thereof).
       11.   RG LNG must receive written authorization from the Director of OEP prior to
             introducing hazardous fluids into the Project facilities. Instrumentation and
             controls, hazard detection, hazard control, and security components/systems
             necessary for the safe introduction of such fluids shall be installed and functional.
       12.   RB Pipeline must receive written authorization from the Director of OEP, before
             placing each phase of the Pipeline System into service (i.e., Header
             System/Pipeline 1 and associated facilities, and Pipeline 2 and upgrades to
             associated facilities). Such authorization will only be granted following a
             determination that rehabilitation and restoration of the right-of-way and other areas
             affected by the Project are proceeding satisfactorily.
       13.   RG LNG must receive written authorization from the Director of OEP before
             placing the LNG Terminal into service. Such authorization will only be granted
             following a determination that the facilities have been constructed in accordance
             with FERC approval, can be expected to operate safely as designed, and the
             rehabilitation and restoration of the areas affected by the LNG Terminal are
             proceeding satisfactorily.
       14.   Within 30 days of placing each of the authorized facilities in service, RG
             Developers shall file an affirmative statement with the Secretary, certified by a
             senior company official:
                that the facilities have been constructed in compliance with all applicable
                conditions, and that continuing activities will be consistent with all applicable
                conditions; or
                identifying which of the conditions of the Order RG Developers have complied
                with or will comply with. This statement shall also identify any areas affected
                by the Project where compliance measures were not properly implemented, if
                not previously identified in filed status reports, and the reason for
                noncompliance.
       15.   Prior to construction of Compressor Station 2, and Booster Stations 1 and 2,
             RB Pipeline shall file with the Secretary results of its geotechnical investigations
             and recommended site preparation and foundation designs that RB Pipeline will
             adopt, stamped and sealed by the professional engineer-of-record licensed in the
             state where the Project is being constructed, for each site, that incorporates the
             results of geotechnical investigations. (section 4.1.1.1)
       16.   Prior to construction of each of the HDD locations, RB Pipeline shall file with
             the Secretary, results of its geotechnical investigations for each of these sites,
             including any recommended mitigation measures RB Pipeline will adopt as part of
             the final engineering design, for review and written approval by the Director of
             OEP. (section 4.1.1.1)

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       17.   Prior to construction of the Project, RG Developers shall file their final Fugitive
             Dust Control Plans for the LNG Terminal and Pipeline System with the Secretary,
             for review and written approval by the Director of OEP. The final plans shall
             specify that no chemicals may be used for dust control in Willacy and Cameron
             Counties. (section 4.2.2.1)
       18.   Prior to construction of the Project, RG Developers shall file with the Secretary,
             for review and written approval by the Director of the OEP, final versions of their
             SWPPPs and SPCC Plans for construction and operation of the Project, as well as
             the final version of the Unanticipated Contaminated Sediment and Soils Discovery
             Plan. (section 4.2.2.1)
       19.   Prior to construction of the LNG Terminal, RG LNG shall file with the
             Secretary, for review and written approval by the Director of OEP, its final LNG
             Tank Hydrostatic Test Plan. (section 4.3.2.2)
       20.   Prior to construction of the Rio Bravo Pipeline through wetland WW-T04-015,
             RB Pipeline shall file with the Secretary, for review and written approval by the
             Director of OEP, revised construction right-of-way configurations that either
             exclude inaccessible temporary workspace at the wetland crossing, or reconfigure
             the workspace so that it complies with section 6.1.3 of RG Developers’ Procedures.
             (section 4.4.2.2)
       21.   Prior to construction of the Rio Bravo Pipeline, RB Pipeline shall consult with
             the TPWD to determine specific locations along the pipeline right-of-way that may
             warrant topsoil segregation based on the probable presence of rare plant species.
             Copies of consultation with the TPWD, along with any additional areas warranting
             topsoil segregation, shall be filed with the Secretary, for review and written
             approval by the Director of OEP. (section 4.5.4)
       22.   Prior to construction of the LNG Terminal, RG LNG shall consult with the
             TPWD and FWS to finalize nighttime lighting plans to minimize impacts on
             wildlife to the greatest extent practical. The final plans and copies of consultation
             with the agencies shall be filed with the Secretary for review and written approval
             by the Director of OEP. (section 4.6.1.2)
       23.   Prior to construction of the Project, RG Developers shall consult with the FWS
             and TPWD to develop a final MBCP, which shall include outstanding surveys at
             the Port Isabel dredge pile. RG Developers shall file the revised MBCP and
             evidence of consultation with the FWS and TPWD with the Secretary. (section
             4.6.1.3)
       24.   Prior to construction of the Rio Bravo Pipeline HDD crossings at MPs 115.6
             and 116.4, RB Pipeline shall file with the Secretary, for review and written
             approval by the Director of OEP, estimates of ambient sound levels at the boundary
             of the Lower Rio Grande Valley NWR near the HDDs, as well as anticipated noise
             impacts and any necessary mitigation to minimize potential effects on wildlife.
             (section 4.6.1.4)
       25.   Prior to construction of the Project, RG Developers shall file documentation with
             the Secretary, for review and written approval by the Director of OEP,

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             demonstrating how RG Developers’ commitments (as referenced in sections
             4.7.1.1, 4.7.1.2, 4.7.1.4, 4.7.2.1 and 4.7.3) to implement agency recommended
             monitoring, avoidance, and mitigation measures for federal and state-listed species
             have been incorporated into RG Developers’ environmental training program.
             (section 4.7.1.1)
       26.   Prior to construction of the LNG Terminal, RG LNG shall conduct training for
             construction and operational employees that includes the identification, treatment,
             and reporting protocols for the West Indian manatee. Training materials shall be
             developed in coordination with the FWS. (section 4.7.1.2)
       27.   Prior to construction of each pipeline and the LNG Terminal, RG Developers
             shall file with the Secretary documentation confirming that they obtained updated
             records of active northern aplomado falcon nests from The Peregrine Fund for the
             appropriate breeding season and consulted with the FWS to determine if any
             additional mitigation is warranted based on the new nest data. RG Developers shall
             also consult with the FWS on the Project-specific northern aplomado falcon BMPs,
             and file with the Secretary the FWS comments and any BMP modifications, for
             review and written approval by the Director of OEP. (section 4.7.1.3)
       28.   Prior to construction of the Rio Bravo Pipeline, RB Pipeline shall file with the
             Secretary, the results of its completed surveys for the black lace cactus, slender
             rush-pea, and south Texas ambrosia as well as any comments from the FWS
             regarding the results. If applicable, RB Pipeline shall include in its filing
             avoidance/minimization measures that it will implement if individual plants are
             found, developed in consultation with the FWS, for review and written approval by
             the Director of OEP. (section 4.7.1.6)
       29.   RG Developers shall not begin construction activities until:
                the FERC staff receives comments from the FWS and NMFS regarding the
                proposed action;
                FERC staff completes ESA Section 7 consultation with the FWS and NMFS;
                and
                RG Developers have received written notification from the Director of OEP
                that construction or use of mitigation may begin. (section 4.7.3)
       30.   Prior to construction of the Project, RG Developers shall consult with the
             TPWD, and file with the Secretary copies of this consultation, to specifically
             identify locations of sensitive habitat that may warrant the restriction of synthetic
             mesh/netted erosion control materials. The specific areas warranting restriction of
             synthetic erosion control materials, shall be filed with the Secretary, for review and
             written approval by the Director of OEP. (section 4.7.2.1)
       31.   Prior to construction of the LNG Terminal, RG LNG shall file with the
             Secretary, for review and written approval by the Director of OEP, its proposed
             mitigation measures to avoid or minimize take of bottlenose dolphins during in-
             water pile-driving (including the potential for entrapment behind sheet pilings) at



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             the LNG Terminal site, developed in consultation with NMFS, and, if applicable, a
             copy of its MMPA Incidental Take Authorization. (section 4.7.2.2)
       32.   Prior to construction of the Project, RG Developers shall file with the Secretary
             a determination from the RRC that the Project is consistent with the laws and rules
             of the Texas Coastal Zone Management Program. (section 4.8.3)
       33.   Prior to construction of the Rio Bravo Pipeline, RB Pipeline shall file with the
             Secretary, for review and written approval by the Director of OEP, traffic
             mitigation procedures, developed in consultation with applicable transportation
             authorities, to monitor LOS on roadways proposed for use during construction of
             the Pipeline System. These procedures shall describe mitigation measures that will
             be implemented for a resultant LOS of C or below, including alternative routes if
             necessary. (section 4.9.9.1)
       34.   RG Developers shall not begin construction of facilities or use of staging,
             storage, or temporary work areas and new or to-be-improved access roads
             until:
                RG Developers file with the Secretary:
                  i.   outstanding SHPO comments on reports, plans, special studies, or
                       information provided to date, as well as any NPS comments, as
                       applicable;
                 ii.   any outstanding updates, reports, plans, or special studies, and the
                       SHPO’s comments on these, as well as any NPS comments, as applicable;
                       and
                iii.   any necessary treatment plans or site-specific avoidance/protection plans,
                       and the SHPO’s comments on the plans.
                The ACHP is afforded an opportunity to comment if historic properties will be
                adversely affected.
                The FERC staff reviews and the Director of OEP approves all cultural resources
                survey reports and plans, and notifies RG Developers in writing that
                construction may proceed.
             All material filed with the Commission containing location, character, and
             ownership information about cultural resources must have the cover and any
             relevant pages therein clearly labeled in bold lettering: “CUI/PRIV – DO NOT
             RELEASE.” (section 4.10.5)

       35.   RG LNG shall monitor pile-driving activities, and file weekly noise data with the
             Secretary following the start of pile-driving activities that identify the noise
             impact on the nearest NSAs. If any measured noise impacts (Lmax) at the nearest
             NSAs are greater than 10 dBA over the Leq ambient levels, RG LNG shall:
                cease pile-driving activities and implement noise mitigation measures; and




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                file with the Secretary evidence of noise mitigation installation and request
                written notification from the Director of OEP that pile-driving may resume.
                (section 4.11.2.3)
       36.   RG LNG shall file a full power load noise survey with the Secretary for the LNG
             Terminal no later than 60 days after each liquefaction train is placed into service.
             If the noise attributable to operation of the equipment at the LNG Terminal and
             Compressor Station 3 exceeds an Ldn of 55 dBA at the nearest NSA, within 60 days
             RG LNG shall modify operation of the liquefaction facilities or install additional
             noise controls until a noise level below an Ldn of 55 dBA at the NSA is achieved.
             RG LNG shall confirm compliance with the above requirement by filing a second
             noise survey with the Secretary no later than 60 days after it installs the additional
             noise controls. (section 4.11.2.3)
       37.   RG LNG shall file a noise survey with the Secretary no later than 60 days after
             placing the entire LNG Terminal, including the Compressor Station 3, into service.
             If a full load condition noise survey is not possible, RG LNG shall provide an
             interim survey at the maximum possible horsepower load within 60 days of placing
             the LNG Terminal and Compressor Station 3 into service and provide the full load
             survey within 6 months. If the noise attributable to operation of the equipment at
             the LNG Terminal and Compressor Station 3 exceeds an Ldn of 55 dBA at the
             nearest NSA under interim or full horsepower load conditions, RG LNG shall file
             a report on what changes are needed and shall install the additional noise controls
             to meet the level within 1 year of the in-service date. RG LNG shall confirm
             compliance with the above requirement by filing an additional noise survey with
             the Secretary no later than 60 days after it installs the additional noise controls.
             (section 4.11.2.3)
       38.   Prior to construction of HDDs at MPs 82.0, 92.0, 93.0, 99.8, 101.2, 102.0, and
             118.7, RB Pipeline shall file with the Secretary, for review and written approval by
             the Director of OEP, an HDD noise mitigation plan to reduce noise levels
             attributable to the proposed drilling operations. The noise mitigation plan shall
             identify all reasonable measures RB Pipeline will implement to reduce noise levels
             attributable to the proposed drilling operations to no more than an Ldn of 55 dBA at
             NSAs, and the resulting noise levels at each NSA with mitigation. (section
             4.11.2.3)
       39.   RB Pipeline shall file a noise survey with the Secretary no later than 60 days after
             each set of compressor units at Compressor Stations 1 and 2, and Booster Stations
             1 and 2 are placed in service. If a full load condition noise survey is not possible,
             RB Pipeline shall provide an interim survey at the maximum possible horsepower
             load within 60 days of placing the phased station into service and provide the full
             load survey within 6 months. If the noise attributable to the operation of all of the
             equipment at any of the facilities under interim or full horsepower load conditions
             exceeds an Ldn of 55 dBA at any nearby NSAs, RB Pipeline shall file a report on
             what additional noise controls are needed and shall install the additional noise
             controls to meet the level within 1 year of the in-service date. RB Pipeline shall
             confirm compliance with the above requirement by filing an additional noise survey


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             with the Secretary no later than 60 days after it installs the additional noise
             controls. (section 4.11.2.3)
       40.   Prior to pipeline construction across, in, or adjacent to the Union Pacific
             Railroad Company right-of-way, RB Pipeline shall file with the Secretary, for
             review and written approval by the Director of OEP, details concerning the pipeline
             construction under the railroad, including the depth of cover for the pipeline under
             the railroad, correspondence with the Union Pacific Railroad Company regarding
             construction and operation of the pipeline under and parallel to the railroad, and the
             specific federal and state regulations that RB Pipeline will follow to ensure safety
             and reliability of the pipeline operations in or under the railroad right-of-way.
             (section 4.12.2)
       41.   Prior to initial site preparation, RG LNG shall file with the Secretary
             documentation demonstrating LNG marine vessels will be no higher than existing
             ship traffic or it has received a determination of no hazard (with or without
             conditions) by DOT FAA for mobile objects that exceed the height requirements in
             14 CFR 77.9. (section 4.12.1.7)
       42.   Prior to initial site preparation, RG LNG shall file with the Secretary a plan to
             conduct a supplemental geotechnical investigation for all four LNG Tanks and
             piperack along the south face of the facility, including a geotechnical investigation
             location plan with spacing of no more than 300 feet, a minimum of five equally
             distributed borings, cone penetration tests, and/or seismic cone penetration tests to
             a depth of at least 100 feet or refusal underneath the locations of each LNG storage
             tank, and field sampling methods and laboratory tests that are at least as
             comprehensive as the existing geotechnical investigations. In addition, the
             geotechnical investigations and report must demonstrate soil modifications and
             foundation designs will be similar to areas already investigated. (section 4.12.1.7)
       43.   Prior to construction of final design, RG LNG shall file with the Secretary
             correspondence with DOT on the use of normally closed valves to remove
             stormwater from local bunds and curbed areas. (section 4.12.1.7)
       44.   Prior to construction of final design, RG LNG shall file with the Secretary the
             following information, stamped and sealed by the professional engineer-of-record
             licensed in the state where the Project is being constructed:
                site preparation drawings and specifications;
                LNG storage tank and foundation design drawings and calculations;
                LNG terminal structures and foundation design drawings and calculations;
                seismic specifications for procured Seismic Category I equipment; and
                quality control procedures to be used for civil/structural design and
                construction.
             In addition, RG LNG shall file, in its Implementation Plan, the schedule for
             producing this information. (section 4.12.1.7)



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        45.     Prior to construction of final design, RG LNG shall file with the Secretary design
                information adopting the recommendations presented by Fugro to minimize the
                impacts of the identified surface growth fault in the southwestern portion of the
                LNG Terminal, stamped and sealed by the professional engineer-of-record
                registered in Texas. (section 4.12.1.7)
        46.     Prior to commencement of service, RG LNG shall file with the Secretary a
                monitoring and maintenance plan, stamped and sealed by the professional engineer-
                of-record registered in Texas, for the perimeter levee which ensures the crest
                elevation relative to mean sea level will be maintained for the life of the facility
                considering berm settlement, subsidence, and sea level rise. (section 4.12.1.7)
         Conditions 47 through 140 shall apply to the Rio Grande LNG Terminal facilities.
 Information pertaining to these specific conditions shall be filed with the Secretary for review
 and written approval by the Director of OEP, or the Director’s designee, within the timeframe
 indicated by each condition. Specific engineering, vulnerability, or detailed design information
 meeting the criteria specified in Order No. 833 (Docket No. RM16-15-000), including security
 information, shall be submitted as critical energy infrastructure information pursuant to 18 CFR
 388.113. See Critical Electric Infrastructure Security and Amending Critical Energy
 Infrastructure Information, Order No. 833, 81 FR. 93,732 (December 21, 2016), FERC Stats. &
 Regs. 31,389 (2016). Information pertaining to items such as offsite emergency response,
 procedures for public notification and evacuation, and construction and operating reporting
 requirements will be subject to public disclosure. All information shall be filed a minimum of
 30 days before approval to proceed is requested.

        47.     Prior to initial site preparation, RG LNG shall develop and implement
                procedures to monitor rocket launch activity and to position onsite construction
                crews and plant personnel in areas that are unlikely to be impacted by rocket debris
                of a failed launch during initial moments of rocket launch activity from the
                Brownsville SpaceX facility. RG LNG's procedures for positioning of onsite
                construction crews and plant personnel shall include reference to any guidance from
                the FAA to the public regarding anticipated SpaceX launches. (section 4.12.1.7)
        48.     Prior to initial site preparation, RG LNG shall file calculations demonstrating
                the loads on buried pipelines and utilities at temporary crossings will be adequately
                distributed. The analysis shall be based on API RP 1102 or other approved
                methodology. (section 4.12.1.7)
        49.     Prior to initial site preparation, RG LNG shall file pipeline and utility damage
                prevention procedures for personnel and contractors. The procedures shall include
                provisions to mark buried pipelines and utilities prior to any site work and
                subsurface activities. (section 4.12.1.7)
        50.     Prior to initial site preparation, RG LNG shall file an overall Project schedule,
                which includes the proposed stages of the commissioning plan. (section 4.12.1.7)
        51.     Prior to initial site preparation, RG LNG shall file quality assurance and quality
                control procedures for construction activities. (section 4.12.1.7)



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       52.   Prior to initial site preparation, RG LNG shall file procedures for controlling
             access during construction. (section 4.12.1.7)
       53.   Prior to initial site preparation, RG LNG shall file its design wind speed criteria
             for all other facilities not covered by DOT PHMSA’s LOD to be designed to
             withstand wind speeds commensurate with the risk and reliability associated with
             the facilities in accordance with ASCE 7-16 or equivalent. (section 4.12.1.7)
       54.   Prior to initial site preparation, RG LNG shall develop an ERP (including
             evacuation) and coordinate procedures with the Coast Guard; state, county, and
             local emergency planning groups; fire departments; state and local law
             enforcement; and appropriate federal agencies. This plan shall include at a
             minimum:
                designated contacts with state and local emergency response agencies;
                scalable procedures for the prompt notification of appropriate local officials and
                emergency response agencies based on the level and severity of potential
                incidents;
                procedures for notifying residents and recreational users within areas of
                potential hazard;
                evacuation routes/methods for residents and public use areas that are within any
                transient hazard areas along the route of the LNG marine transit;
                locations of permanent sirens and other warning devices; and
                an “emergency coordinator” on each LNG marine vessel to activate sirens and
                other warning devices.
             RG LNG shall notify the FERC staff of all planning meetings in advance and shall
             report progress on the development of its ERP at 3‑month intervals. (section
             4.12.1.7)

       55.   Prior to initial site preparation, RG LNG shall file a Cost-Sharing Plan
             identifying the mechanisms for funding all Project-specific security/emergency
             management costs that will be imposed on state and local agencies. This
             comprehensive plan shall include funding mechanisms for the capital costs
             associated with any necessary security/emergency management equipment and
             personnel base. RG LNG shall notify FERC staff of all planning meetings in
             advance and shall report progress on the development of its Cost-Sharing Plan at
             3-month intervals. (section 4.12.1.7)
       56.   Prior to construction of final design, RG LNG shall file calculations
             demonstrating the loads on buried pipelines and utilities at permanent crossings will
             be adequately distributed. The analysis shall be based on API RP 1102 or other
             approved methodology. (section 4.12.1.7)
       57.   Prior to construction of final design, RG LNG shall file change logs that list and
             explain any changes made from the front end engineering design provided in RG
             LNG’s application and filings. A list of all changes with an explanation for the


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             design alteration shall be provided and all changes shall be clearly indicated on all
             diagrams and drawings. (section 4.12.1.7)
       58.   Prior to construction of final design, RG LNG shall file information/revisions
             pertaining to RG LNG’ response numbers 5, 6, 7, 8, 14, 19, 22, 24, 25, 31, and 44
             of its October 20, 2016 filing, which indicated features to be included or considered
             in the final design. (section 4.12.1.7)
       59.   Prior to construction of final design, RG LNG shall file a plot plan of the final
             design showing all major equipment, structures, buildings, and impoundment
             systems. (section 4.12.1.7)
       60.   Prior to construction of final design, RG LNG shall file three-dimensional plant
             drawings to confirm plant layout for maintenance, access, egress, and congestion.
             (section 4.12.1.7)
       61.   Prior to construction of final design, RG LNG shall file an up-to-date equipment
             list, process and mechanical data sheets, and specifications. The specifications
             shall include:
                Building Specifications (e.g., control buildings, electrical buildings,
                compressor buildings, storage buildings, pressurized buildings, ventilated
                buildings, blast resistant buildings);
                Mechanical Specifications (e.g., piping, valve, insulation, rotating equipment,
                heat exchanger, storage tank and vessel, other specialized equipment);
                Electrical and Instrumentation Specifications (e.g., power system
                specifications, control system specifications, safety instrument system]
                specifications, cable specifications, other electrical and instrumentation
                specifications); and
                Security and Fire Safety Specifications (security, passive protection, hazard
                detection, hazard control, firewater). (section 4.12.1.7)
       62.   Prior to construction of final design, RG LNG shall file a list of all codes and
             standards and the final specification document number where they are referenced.
             (section 4.12.1.7)
       63.   Prior to construction of final design, RG LNG shall file complete specifications
             and drawings of the proposed LNG tank design and installation. (section 4.12.1.7)
       64.   Prior to construction of final design, RG LNG shall file the design specifications
             and drawings for the feed gas inlet facilities (e.g., metering, pigging system,
             pressure protection system, compression, etc.). (section 4.12.1.7)
       65.   Prior to construction of final design, RG LNG shall file up-to-date process flow
             diagrams and P&IDs including vendor P&IDs. The process flow diagrams shall
             include heat and material balances. The P&IDs shall include the following
             information:
                equipment tag number, name, size, duty, capacity, and design conditions;
                equipment insulation type and thickness;

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                storage tank pipe penetration size and nozzle schedule;
                valve high pressure side and internal and external vent locations;
                piping with line number, piping class specification, size, and insulation type
                and thickness;
                piping specification breaks and insulation limits;
                all control and manual valves numbered;
                relief valves with size and set points; and
                drawing revision number and date. (section 4.12.1.7)
       66.   Prior to construction of final design, RG LNG shall file P&IDs, specifications,
             and procedures that clearly show and specify the tie-in details required to safely
             connect subsequently constructed facilities with the operational facilities. (section
             4.12.1.7)
       67.   Prior to construction of final design, RG LNG shall file a car seal philosophy and
             a list of all car-sealed and locked valves consistent with the P&IDs. (section
             4.12.1.7)
       68.   Prior to construction of final design, and at the onset of detailed engineering, RG
             LNG shall compete a preliminary hazard and operability review of the proposed
             design. A copy of the review, a list of recommendations, and actions taken on the
             recommendations shall be filed. (section 4.12.1.7)
       69.   Prior to construction of final design, RG LNG shall file a hazard and operability
             review prior to issuing the P&IDs for construction. A copy of the review, a list of
             the recommendations, and actions taken on the recommendations shall be filed.
             (section 4.12.1.7)
       70.   Prior to construction of final design, RG LNG shall file an evaluation of the need
             for additional check valves and relief valves in the truck LNG fill line. (section
             4.12.1.7)
       71.   Prior to construction of final design, RG LNG shall file the safe operating limits
             (upper and lower), alarm and shutdown set points for all instrumentation (i.e.,
             temperature, pressures, flows, and compositions). (section 4.12.1.7)
       72.   Prior to construction of final design, RG LNG shall file cause-and-effect matrices
             for the process instrumentation, fire and gas detection system, and emergency
             shutdown system. The cause-and-effect matrices shall include alarms and
             shutdown functions, details of the voting and shutdown logic, and set points.
             (section 4.12.1.7)
       73.   Prior to construction of final design, RG LNG shall file an evaluation of the
             emergency shutdown valve closure times. The evaluation shall account for the time
             to detect an upset or hazardous condition, notify plant personnel, and close the
             emergency shutdown valve(s). (section 4.12.1.7)
       74.   Prior to construction of final design, RG LNG shall file an evaluation of dynamic
             pressure surge effects from valve opening and closure times and pump startup and

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             shutdown operations demonstrating that the surge effects do not exceed the design
             pressures. (section 4.12.1.7)
       75.   Prior to construction of final design, RG LNG shall demonstrate that, for
             hazardous fluids, piping and piping nipples 2 inches or less in diameter are designed
             to withstand external loads, including vibrational loads in the vicinity of rotating
             equipment and operator live loads in areas accessible by operators. (section
             4.12.1.7)
       76.   Prior to construction of final design, RG LNG shall file electrical area
             classification drawings that reflect additional hazardous classification areas where
             the heat transfer fluid would be processed above its flash point (e.g., near the heat
             medium heaters) and at areas of fuel gas piping (e.g., fired heaters), including areas
             where equipment could be exposed to flammable gas during a purge cycle of a fired
             heater. (section 4.12.1.7)
       77.   Prior to construction of final design, RG LNG shall file drawings and details of
             how process seals or isolations installed at the interface between a flammable fluid
             system and an electrical conduit or wiring system meet the requirements of NFPA
             59A (2001). (section 4.12.1.7)
       78.   Prior to construction of final design, RG LNG shall file details of an air gap or
             vent installed downstream of process seals or isolations installed at the interface
             between a flammable fluid system and an electrical conduit or wiring system. Each
             air gap shall vent to a safe location and be equipped with a leak detection device
             that shall continuously monitor for the presence of a flammable fluid, alarm the
             hazardous condition, and shut down the appropriate systems. (section 4.12.1.7)
       79.   Prior to construction of final design, RG LNG shall file drawings of the storage
             tank piping support structure and support of horizontal piping at grade including
             pump columns, relief valves, pipe penetrations, instrumentation, and
             appurtenances. (section 4.12.1.7)
       80.   Prior to construction of final design, RG LNG shall include LNG storage tank
             fill flow measurement with high flow alarm. (section 4.12.1.7)
       81.   Prior to construction of final design, RG LNG shall include BOG flow
             measurement from each LNG storage tank. (section 4.12.1.7)
       82.   Prior to construction of final design, RG LNG shall file the structural analysis of
             the LNG storage tank and outer containment demonstrating they are designed to
             withstand all loads and combinations. (section 4.12.1.7)
       83.   Prior to construction of final design, RG LNG shall file an analysis of the
             structural integrity of the outer containment of the full containment LNG storage
             tank demonstrating it can withstand the radiant heat from a roof tank top fire or
             adjacent tank roof fire. (section 4.12.1.7)
       84.   Prior to construction of final design, RG LNG shall file a projectile analysis to
             demonstrate that the outer concrete impoundment wall of the full-containment LNG
             tank could withstand projectiles from explosions and high winds. The analysis shall


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             detail the projectile speeds and characteristics and method used to determine
             penetration or perforation depths. (section 4.12.1.7)
       85.   Prior to construction of final design, RG LNG shall file the sizing basis and
             capacity for the final design of the flares and/or vent stacks as well as the pressure
             and vacuum relief valves for major process equipment, vessels, and storage tanks.
             (section 4.12.1.7)
       86.   Prior to construction of final design, RG LNG shall file a drawing showing the
             location of the emergency shutdown buttons. Emergency shutdown buttons shall
             be easily accessible, conspicuously labeled, and located in an area which will be
             accessible during an emergency. (section 4.12.1.7)
       87.   Prior to construction of final design, RG LNG shall specify that all Emergency
             Shutdown valves will be equipped with open and closed position switches
             connected to the Distributed Control System/Safety Instrumented System. (section
             4.12.1.7)
       88.   Prior to construction of final design, and prior to injecting corrosion inhibitors
             into the 42-inch-diameter pipeline at any time during the life of the plant, RG LNG
             shall file the information used to determine that an inhibitor is required, the material
             data sheet for the inhibitor, the amount injected, and the schedule of injections.
             (section 4.12.1.7)
       89.   Prior to construction of final design, the feed gas flow to the Inlet Gas/Gas
             Exchanger (E-1701) shall include a high temperature alarm and shutdown to protect
             from exposure to hot feed gas. (section 4.12.1.7)
       90.   Prior to construction of final design, the De-ethanizer (C-1701) shall include an
             additional cryogenic manual isolation valve downstream of shutoff valve (XV-
             117011). (section 4.12.1.7)
       91.   Prior to construction of final design, RG LNG shall equip a low-low temperature
             shutdown on the temperature transmitter (TT-117014) located on the De-ethanizer
             bottoms discharge piping to detect temperatures that may reach below the minimum
             design metal temperature of the discharge piping transition from stainless to carbon
             steel. This shutdown shall include isolation under cryogenic conditions. (section
             4.12.1.7)
       92.   Prior to construction of final design, RG LNG shall file an explanation and
             justification for the dump lines located upstream of each LNG Loading Arm.
             (section 4.12.1.7)
       93.   Prior to construction of final design, RG LNG shall file the complete range of
             anti-surge recycle conditions on the LP MR Compressor to confirm that the
             minimum temperature conditions will not require stainless steel piping. (section
             4.12.1.7)
       94.   Prior to construction of final design, RG LNG shall specify the set pressure of
             high pressure alarm (PAH-141002) is to be below the set pressure of regulator
             PCV-141005 on the Hot Oil Expansion Drum. (section 4.12.1.7)


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       95.    Prior to construction of final design, RG LNG shall file the design details of the
              shelters to verify safe access in all weather conditions. (section 4.12.1.7)
       96.    Prior to construction of final design, RG LNG shall file drawings and
              specifications for crash rated vehicle barriers at each facility entrance for access
              control. (section 4.12.1.7)
       97.    Prior to construction of final design, RG LNG shall file drawings of the security
              fence. The fencing drawings should provide details of fencing that demonstrates it
              will restrict and deter access around the entire facility and has a setback from
              exterior features (e.g., power lines, trees, etc.) and from interior features (e.g.,
              piping, equipment, buildings, etc.) that does not allow the fence to be overcome.
              (section 4.12.1.7)
       98.    Prior to construction of final design, RG LNG shall file security camera and
              intrusion detection drawings. The security camera drawings shall show the
              locations, areas covered, and features of each camera (e.g., fixed, tilt/pan/zoom,
              motion detection alerts, low light, mounting height, etc.) to verify camera coverage
              of the entire perimeter with redundancies, and cameras interior to the facility that
              will enable rapid monitoring of the terminal, including a camera at the top of each
              LNG storage tank, and coverage within pretreatment areas, within liquefaction
              areas, within truck transfer areas, within marine transfer areas, and buildings. The
              drawings shall show or note the location of the intrusion detection to verify it covers
              the entire perimeter of the terminal. (section 4.12.1.7)
       99.    Prior to construction of final design, RG LNG shall file lighting drawings. The
              lighting drawings shall show the location, elevation, type of light fixture, and lux
              levels of the lighting system and shall be in accordance with API 540 and provide
              illumination along the entire perimeter of the facility, process equipment, mooring
              points, and along paths/roads of access and egress to facilitate security monitoring
              and emergency response operations. The lighting drawings should address the
              issues raised in condition 22. (section 4.12.1.7)
       100.   Prior to construction of final design, RG LNG shall evaluate the terminal alarm
              system and external notification system design to ensure the location of the terminal
              alarms and other fire and evacuation alarm notification devices (e.g. audible/visual
              beacons and strobes) will provide adequate warning at the terminal and external
              off-site areas in the event of an emergency. (section 4.12.1.7)
       101.   Prior to construction of final design, RG LNG shall file an updated fire protection
              evaluation of the proposed facilities. A copy of the evaluation, a list of
              recommendations and supporting justifications, and actions taken on the
              recommendations shall be filed. The evaluation shall justify the type, quantity, and
              location of hazard detection and hazard control, passive fire protection, emergency
              shutdown and depressurizing systems, firewater, and emergency response
              equipment, training, and qualifications in accordance with NFPA 59A (2001). The
              justification for the flammable and combustible gas detection and flame and heat
              detection shall be in accordance with ISA 84.00.07 or equivalent methodologies
              that will demonstrate 90 percent or more of releases (unignited and ignited) that
              could result in an off-site or cascading impact will be detected by two or more

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              detectors and result in isolation and de-inventory within 10 minutes. The analysis
              shall take into account the set points, voting logic, wind speeds, and wind
              directions. The justification for firewater shall provide calculations for all firewater
              demands (including firewater coverage on the LNG storage tanks) based on design
              densities, surface area, and throw distance and specifications for the corresponding
              hydrant and monitors needed to reach and cool equipment. (section 4.12.1.7)
       102.   Prior to construction of final design, RG LNG shall file spill containment system
              drawings with dimensions and slopes of curbing, trenches, impoundments, and
              capacity calculations considering any foundations and equipment within
              impoundments, as well as the sizing and design of the down-comer that will transfer
              spills from the tank top to the ground-level impoundment system. The spill
              containment drawings shall show containment for all hazardous fluids, including
              all liquids handled above their flashpoint, from the largest flow from a single line
              for 10 minutes, including de-inventory, or the maximum liquid from the largest
              vessel (or total of impounded vessels) or otherwise demonstrate that providing spill
              containment will not significantly reduce the flammable vapor dispersion or radiant
              heat consequences of a spill. In addition, RG LNG should demonstrate that the
              stainless steel piping spill trays at each LNG storage tank will withstand the force
              and shock of a sudden cryogenic release. (section 4.12.1.7)
       103.   Prior to construction of final design, RG LNG shall file an analysis demonstrating
              the side on overpressures will be less than 1 psi at the LNG storage tanks and the
              condensate storage tanks, or demonstrating the tanks will be able to withstand
              overpressures within the terminal. (section 4.12.1.7)
       104.   Prior to construction of final design, RG LNG shall file complete drawings and
              a list of the hazard detection equipment. The drawings shall clearly show the
              location and elevation of all detection equipment. The list shall include the
              instrument tag number, type and location, alarm indication locations, and shutdown
              functions of the hazard detection equipment. (section 4.12.1.7)
       105.   Prior to construction of final design, RG LNG shall file a list of alarm and
              shutdown set points for all hazard detectors that account for the calibration gas of
              the hazard detectors when determining the lower flammable limit set points for
              methane, propane, ethane/ethylene, and condensate. (section 4.12.1.7)
       106.   Prior to construction of final design, RG LNG shall file a list of alarm and
              shutdown set points for all hazard detectors that account for the calibration gas of
              hazard detectors when determining the set points for toxic components such as
              natural gas liquids and hydrogen sulfide. (section 4.12.1.7)
       107.   Prior to construction of final design, RG LNG shall file a technical review of
              facility design that:
                  identifies all combustion/ventilation air intake equipment and the distances to
                  any possible flammable gas or toxic release; and
                  demonstrates that these areas are adequately covered by hazard detection
                  devices and indicates how these devices will isolate or shut down any


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                 combustion or heating ventilation and air conditioning equipment whose
                 continued operation could add to or sustain an emergency. (section 4.12.1.7)
       108.   Prior to construction of final design, RG LNG shall file an analysis of the off
              gassing of hydrogen in battery rooms and ventilation calculations that limit
              concentrations below the lower flammability limits (e.g., 25 percent LFL) and shall
              also provide hydrogen detectors that alarm (e.g., 20 to 25 percent LFL) and initiate
              mitigative actions (e.g., 40 to 50 percent LFL). (section 4.12.1.7)
       109.   Prior to construction of final design, RG LNG shall file plan drawings and a list
              of the fixed and wheeled dry-chemical, hand-held fire extinguishers, and other
              hazard control equipment. Plan drawings shall clearly show the location and
              elevation by tag number of all fixed dry chemical systems in accordance with NFPA
              17, wheeled and hand-held extinguishers location travel distances are along normal
              paths of access and egress in accordance with NFPA 10. The list shall include the
              equipment tag number, type, capacity, equipment covered, discharge rate, and
              automatic and manual remote signals initiating discharge of the units. (section
              4.12.1.7)
       110.   Prior to construction of final design, RG LNG shall file a design that includes
              clean agent systems in the instrumentation buildings and electrical substations.
              (section 4.12.1.7)
       111.   Prior to construction of final design, RG LNG shall file facility plan drawings
              showing the proposed location of the firewater and any foam systems. Plan
              drawings shall clearly show the location of firewater and foam piping, post
              indicator valves, and the location and area covered by each monitor, hydrant, hose,
              water curtain, deluge system, foam system, water mist system, and sprinkler. The
              drawings shall also include piping and instrumentation diagrams of the firewater
              and foam systems. In addition, firewater coverage shall include the coverage of
              each LNG storage tank. (section 4.12.1.7)
       112.   Prior to construction of final design, RG LNG shall demonstrate that the firewater
              tank would be in compliance with NFPA 22 or demonstrate how API 650 provides
              an equivalent or better level of safety. (section 4.12.1.7)
       113.   Prior to construction of final design, RG LNG shall specify that the firewater
              flow test meter is equipped with a transmitter and that a pressure transmitter is
              installed upstream of the flow transmitter. The flow transmitter and pressure
              transmitter shall be connected to the Distributed Control System and recorded.
              (section 4.12.1.7)
       114.   Prior to construction of final design, RG LNG shall specify the dimension ratio
              (DR) to be DR 7 for the high density polyethylene piping to allow consistent
              pressure rating requirements with the firewater system. (section 4.12.1.7)
       115.   Prior to construction of final design, RG LNG shall file drawings and
              specifications for the structural passive protection systems to protect equipment and
              supports from cryogenic releases. (section 4.12.1.7)



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       116.   Prior to construction of final design, RG LNG shall file calculations or test results
              for the structural passive protection systems to demonstrate that equipment and
              supports are protected from cryogenic releases. (section 4.12.1.7)
       117.   Prior to construction of final design, RG LNG shall file drawings and
              specifications for the structural passive protection systems demonstrating that
              equipment and supports are protected from pool and jet fires. (section 4.12.1.7)
       118.   Prior to construction of final design, RG LNG shall file a detailed quantitative
              analysis to demonstrate that adequate mitigation will be provided for each
              significant component within the 4,000 Btu/ft2-hr zone from pool and jet fires that
              could cause failure of the component, including the Jetty Monitor Buildings and
              the LNG Storage and Loading Substation 2. Trucks at the truck loading/unloading
              areas shall be included in the analysis. A combination of passive and active
              protection for pool fires and passive and/or active protection for jet fires shall be
              provided and demonstrate the effectiveness and reliability. Effectiveness of passive
              mitigation shall be supported by calculations or test results for the thickness
              limiting temperature rise and active mitigation shall be justified with calculations
              or test results demonstrating flow rates and durations of any cooling water will
              mitigate the heat absorbed by the vessel. (section 4.12.1.7)
       119.   Prior to construction of final design, RG LNG shall file specifications and
              drawings demonstrating how cascading damage of transformers will be prevented
              (e.g., firewalls or spacing) in accordance with NFPA 850 or equivalent. (section
              4.12.1.7)
       120.   Prior to construction of final design, RG LNG shall file an evaluation of the
              voting logic and voting degradation for hazard detectors. (section 4.12.1.7)
       121.   Prior to commissioning, RG LNG shall file a detailed schedule for commissioning
              through equipment startup. The schedule shall include milestones for all
              procedures and tests to be completed: prior to introduction of hazardous fluids and
              during commissioning and startup. RG LNG shall file documentation certifying
              that each of these milestones has been completed before authorization to commence
              the next phase of commissioning and startup will be issued. (section 4.12.1.7)
       122.   Prior to commissioning, RG LNG shall file detailed plans and procedures for:
              testing the integrity of onsite mechanical installation; functional tests; introduction
              of hazardous fluids; operational tests; and placing the equipment into service.
              (section 4.12.1.7)
       123.   Prior to commissioning, RG LNG shall file the procedures for pressure/leak tests
              which address the requirements of ASME VIII and ASME B31.3. The procedures
              shall include a line list of pneumatic and hydrostatic test pressures. (section
              4.12.1.7)
       124.   Prior to commissioning, RG LNG shall file a plan for clean-out, dry-out, purging,
              and tightness testing. This plan shall address the requirements of the American Gas
              Association’s Purging Principles and Practice, and shall provide justification if not
              using an inert or non-flammable gas for clean-out, dry-out, purging, and tightness
              testing. (section 4.12.1.7)

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       125.   Prior to commissioning, RG LNG shall file the operation and maintenance
              procedures and manuals, as well as safety procedures, hot work procedures and
              permits, abnormal operating conditions reporting procedures, simultaneous
              operations procedures, and management of change procedures and forms. (section
              4.12.1.7)
       126.   Prior to commissioning, RG LNG shall tag all equipment, instrumentation, and
              valves in the field, including drain valves, vent valves, main valves, and car-sealed
              or locked valves. (section 4.12.1.7)
       127.   Prior to commissioning, RG LNG shall file a plan to maintain a detailed training
              log to demonstrate that operating, maintenance, and emergency response staff have
              completed the required training. (section 4.12.1.7)
       128.   Prior to commissioning, RG LNG shall file the settlement results from hydrostatic
              testing the LNG storage containers as well as a routine monitoring program to
              ensure settlements are as expected and do not exceed applicable criteria in API 620,
              API 625, API 653, and ACI 376. The program shall specify what actions would be
              taken after seismic events. (section 4.12.1.7)
       129.   Prior to commissioning, RG LNG shall equip the LNG storage tank and adjacent
              piping and supports with permanent settlement monitors to allow personnel to
              observe and record the relative settlement between the LNG storage tank and
              adjacent piping. The settlement record shall be reported in the semi-annual
              operational reports. (section 4.12.1.7)
       130.   Prior to introduction of hazardous fluids, RG LNG shall complete and document
              all pertinent tests (e.g., Factory Acceptance Tests, Site Acceptance Tests, Site
              Integration Tests) associated with the Distributed Control System/Safety
              Instrumented System that demonstrates full functionality and operability of the
              system. (section 4.12.1.7)
       131.   Prior to introduction of hazardous fluids, RG LNG shall develop and implement
              an alarm management program to reduce alarm complacency and maximize the
              effectiveness of operator response to alarms. (section 4.12.1.7)
       132.   Prior to introduction of hazardous fluids, RG LNG shall develop and implement
              procedures for plant personnel to monitor the rocket launches from the Brownsville
              SpaceX facility and take mitigative actions before and after a rocket launch failure
              to minimize the potential of release reaching offsite areas or resulting in cascading
              effects that could extend offsite or impact safe operations. (section 4.12.1.7)
       133.   Prior to introduction of hazardous fluids, RG LNG shall complete and document
              a firewater pump acceptance test and firewater monitor and hydrant coverage test.
              The actual coverage area from each monitor and hydrant shall be shown on facility
              plot plan(s). (section 4.12.1.7)
       134.   Prior to introduction of hazardous fluids, RG LNG shall complete and document
              a prestartup safety review to ensure that installed equipment meets the design and
              operating intent of the facility. The prestartup safety review shall include any
              changes since the last hazard review, operating procedures, and operator training.


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               A copy of the review with a list of recommendations, and actions taken on each
               recommendation, shall be filed. (section 4.12.1.7)
        135.   RG LNG shall file a request for written authorization from the Director of OEP
               prior to unloading or loading the first LNG commissioning cargo. After
               production of first LNG, RG LNG shall file weekly reports on the commissioning
               of the proposed systems that detail the progress toward demonstrating the facilities
               can safely and reliably operate at or near the design production rate. The reports
               shall include a summary of activities, problems encountered, and remedial actions
               taken. The weekly reports shall also include the latest commissioning schedule,
               including projected and actual LNG production by each liquefaction train, LNG
               storage inventories in each storage tank, and the number of anticipated and actual
               LNG commissioning cargoes, along with the associated volumes loaded or
               unloaded. Further, the weekly reports shall include a status and list of all planned
               and completed safety and reliability tests, work authorizations, and punch list items.
               Problems of significant magnitude shall be reported to the FERC within 24 hours.
               (section 4.12.1.7)
        136.   Prior to commencement of service, RG LNG shall label piping with fluid service
               and direction of flow in the field, in addition to the pipe labeling requirements of
               NFPA 59A (2001 edition). (section 4.12.1.7)
        137.   Prior to commencement of service, RG LNG shall file plans for any preventative
               and predictive maintenance program that performs periodic or continuous
               equipment condition monitoring. (section 4.12.1.7)
        138.   Prior to commencement of service, RG LNG shall develop procedures for offsite
               contractors’ responsibilities, restrictions, and limitations and for supervision of
               these contractors by RG LNG staff. (section 4.12.1.7)
        139.   Prior to commencement of service, RG LNG shall notify the FERC staff of any
               proposed revisions to the security plan and physical security of the plant. (section
               4.12.1.7)
        140.   Prior to commencement of service, RG LNG shall file a request for written
               authorization from the Director of OEP. Such authorization will only be granted
               following a determination by the Coast Guard, under its authorities under the Ports
               and Waterways Safety Act, the Magnuson Act, the MTSA of 2002, and the Security
               and Accountability For Every Port Act, that appropriate measures to ensure the
               safety and security of the facility and the waterway have been put into place by RG
               LNG or other appropriate parties. (section 4.12.1.7)
      In addition, conditions 141 through 144 shall apply throughout the life of the Rio
 Grande LNG Terminal.

        141.   The facilities shall be subject to regular FERC staff technical reviews and site
               inspections on at least an annual basis or more frequently as circumstances
               indicate. Prior to each FERC staff technical review and site inspection, RG LNG
               shall respond to a specific data request including information relating to possible
               design and operating conditions that may have been imposed by other agencies or


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              organizations. Up-to-date detailed P&IDs reflecting facility modifications and
              provision of other pertinent information not included in the semi-annual reports
              described below, including facility events that have taken place since the previously
              submitted annual report, shall be submitted. (section 4.12.1.7)
       142.   Semi-annual operational reports shall be filed with the Secretary to identify
              changes in facility design and operating conditions; abnormal operating
              experiences; activities (e.g., ship arrivals, quantity and composition of imported and
              exported LNG, liquefied quantities, boil off/flash gas); and plant modifications,
              including future plans and progress thereof. Abnormalities shall include, but not
              be limited to, unloading/loading/shipping problems, potential hazardous conditions
              from offsite vessels, storage tank stratification or rollover, geysering, storage tank
              pressure excursions, cold spots on the storage tanks, storage tank vibrations and/or
              vibrations in associated cryogenic piping, storage tank settlement, significant
              equipment or instrumentation malfunctions or failures, non-scheduled maintenance
              or repair (and reasons therefore), relative movement of storage tank inner vessels,
              hazardous fluids releases, fires involving hazardous fluids and/or from other
              sources, negative pressure (vacuum) within a storage tank, and higher than
              predicted boil off rates. Adverse weather conditions and the effect on the facility
              also shall be reported. Reports shall be submitted within 45 days after each period
              ending June 30 and December 31. In addition to the above items, a section
              entitled “Significant Plant Modifications Proposed for the Next 12 Months (dates)”
              shall be included in the semi-annual operational reports. Such information will
              provide the FERC staff with early notice of anticipated future
              construction/maintenance at the LNG facilities. (section 4.12.1.7)
       143.   In the event the temperature of any region of any secondary containment, including
              imbedded pipe supports, becomes less than the minimum specified operating
              temperature for the material, the Commission shall be notified within 24 hours and
              procedures for corrective action shall be specified. (section 4.12.1.7)
       144.   Significant non-scheduled events, including safety-related incidents (e.g., LNG,
              condensate, refrigerant, or natural gas releases; fires; explosions; mechanical
              failures; unusual over pressurization; and major injuries) and security-related
              incidents (e.g., attempts to enter site, suspicious activities) shall be reported to the
              FERC staff. In the event that an abnormality is of significant magnitude to threaten
              public or employee safety, cause significant property damage, or interrupt service,
              notification shall be made immediately, without unduly interfering with any
              necessary or appropriate emergency repair, alarm, or other emergency procedure.
              In all instances, notification shall be made to the FERC staff within 24 hours. This
              notification practice shall be incorporated into the LNG facility’s emergency plan.
              Examples of reportable hazardous fluids-related incidents include:
                  fire;
                  explosion;
                  estimated property damage of $50,000 or more;
                  death or personal injury necessitating in-patient hospitalization;


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                 release of hazardous fluids for 5 minutes or more;
                 unintended movement or abnormal loading by environmental causes, such as
                 an earthquake, landslide, or flood, that impairs the serviceability, structural
                 integrity, or reliability of an LNG facility that contains, controls, or processes
                 hazardous fluids;
                 any crack or other material defect that impairs the structural integrity or
                 reliability of an LNG facility that contains, controls, or processes hazardous
                 fluids;
                 any malfunction or operating error that causes the pressure of a pipeline or LNG
                 facility that contains or processes hazardous fluids to rise above its maximum
                 allowable operating pressure (or working pressure for LNG facilities) plus the
                 build-up allowed for operation of pressure-limiting or control devices;
                 a leak in an LNG facility that contains or processes hazardous fluids that
                 constitutes an emergency;
                 inner tank leakage, ineffective insulation, or frost heave that impairs the
                 structural integrity of an LNG storage tank;
                 any safety-related condition that could lead to an imminent hazard and cause
                 (either directly or indirectly by remedial action of the operator), for purposes
                 other than abandonment, a 20 percent reduction in operating pressure or
                 shutdown of operation of a pipeline or an LNG facility that contains or
                 processes hazardous fluids;
                 safety-related incidents from hazardous fluids transportation occurring at or en
                 route to and from the LNG facility; or
                 an event that is significant in the judgment of the operator and/or management
                 even though it did not meet the above criteria or the guidelines set forth in an
                 LNG facility’s incident management plan.
       In the event of an incident, the Director of OEP has delegated authority to take whatever
       steps are necessary to ensure operational reliability and to protect human life, health,
       property, or the environment, including authority to direct the LNG facility to cease
       operations. Following the initial company notification, the FERC staff would determine
       the need for a separate follow-up report or follow-up in the upcoming semi-annual
       operational report. All company follow-up reports shall include investigation results and
       recommendations to minimize a reoccurrence of the incident. (section 4.12.1.7)




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                     Office of Energy Projects
                     Washington, DC 20426


                             Rio Grande LNG Project
                       Final Environmental Impact Statement
                                Volume III, Part 1




           Rio Grande LNG, LLC and Rio Bravo Pipeline Company, LLC

                                                                                          April 2019
                                                              Docket Nos. CP16-454-000, CP16-455-000
                                                                                    FERC/EIS-0287F
                                              Cooperating Agencies:




U.S. Environmental        U.S. Department         U.S. Coast Guard       U.S. Department        U.S. Army
 Protection Agency        of Transportation                                 of Energy        Corps of Engineers




           U.S. Fish and            Federal Aviation      National Park Service       National Oceanic
          Wildlife Service           Administration                            Atmospheric Administration -
                                                                              National Marine Fisheries Service
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                               APPENDIX R
     DRAFT ENVIRONMENTAL IMPACT STATEMENT COMMENTS AND
                         RESPONSES




                                    1
Federal Agencies (FA)
FA1      - U.S. Fish and Wildlife Service

                                            FA1-1   Comment noted.



                                            FA1-2   Comment noted.




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Federal Agencies (FA)
 FA1     - U.S. Fish and Wildlife Service
                                            FA1-3   We acknowledge the U.S. Fish and Wildlife Service (FWS) request to review Rio
                                                    Grande LNG, LLC (RG LNG) and Rio Bravo Pipeline Company (collectively, RG
                                                    Developers’) final construction plans prior to construction. All of the documents
                                                    listed by the FWS would be required to be filed with the Federal Energy Regulatory
                                                    Commission’s (FERC) and would be available on FERC’s publicly accessible
                                                    eLibrary (assuming that the information within is not privileged or otherwise non-
                                                    public). The issuance of a Certificate of Public Convenience and Necessity




                                                                                                                                               USCA Case #23-1174
                                                    (Certificate) for the Project, if approved, would not authorize construction. RG
                                                    Developers would be required to meet any environmental conditions identified in the
                                                    Certificate or prior commitments regarding the completion of consultation, receipt of
                                                    applicable permits, and finalizing construction plans, before construction of the
                                                    Project. As applicable, RG Developers would be required to consult with the FWS
                                                    (and file with FERC) regarding construction and mitigation plans that pertain to
                                                    resources under FWS jurisdiction. Regarding the recommendation for post-
                                                    construction and monitoring plans for restored areas, section 7.1 of RG Developers’
                                                    Plan includes requirements for monitoring and maintenance to ensure successful
                                                    revegetation. For example, revegetation in non-agricultural areas shall be considered
                                                    successful if, upon visual survey, the density and cover of non-nuisance vegetation are




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                                                    similar in density and cover to adjacent undisturbed lands. Section 6.4.5 of RG
                                                    Developers’ Procedures describes the criteria for determining successful wetland
                                                    restoration, including that vegetation is at least 80 percent of either the cover
                                                    documented for the wetland prior to construction, or at least 80 percent of the cover in
                                                    adjacent wetland areas that were not disturbed by construction. If natural rather than
                                                    active revegetation is used, the plant species composition must be consistent with
                                                    early successional wetland plant communities in the affected ecoregion. The U.S.
                                                    Army Corps of Engineers (COE) may require additional monitoring parameters
                                                    during its permitting process. Also see comment letter APP1.




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Federal Agencies (FA)
FA1      - U.S. Fish and Wildlife Service

                                            FA1-4   The Environmental Impact Statement (EIS) is not a decision document; rather, it is a
                                                    tool to ensure that the potential environmental impacts that would occur as a result of a
                                                    federal action are fully analyzed and presented, in compliance with The National
                                                    Environmental Policy Act of 1969 (NEPA). Under NEPA, the determination that an
                                                    impact is significant necessitates the preparation of an EIS (as opposed to an
                                                    Environmental Assessment). FERC staff has identified and acknowledged cumulative




                                                                                                                                                USCA Case #23-1174
                                                    impacts associated with the three proposed Brownsville liquified natural gas (LNG)
                                                    Terminals. Although a determination of significant impacts as a result of cumulative
                                                    impacts is not prohibited under Section 7 or any other part of the Endangered Species
                                                    Act (ESA), FERC staff recommends multiple measures to minimize the contribution of
                                                    the Rio Grande LNG Project’s (Project) contribution to the overall cumulative effects
                                                    noted in section 4.13.




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Federal Agencies (FA)
FA2      - U.S. Fish and Wildlife Service

                                            FA2-1   Impacts on recreation and special use areas, including tourism and fishing, are
                                                    addressed in sections 4.8.1.5 and 4.9.3; section 4.9.3 was updated to discuss potential
                                                    impacts on planned facilities in the Bahia Grande unit of the Laguna Atascosa
                                                    National Wildlife Refuge (NWR). Impacts associated with visual resources for these
                                                    areas are addressed in section 4.8.2. As stated in section 4.9.3.2, while shore-based
                                                    anglers fish along the banks of the 0.4-mile-long Bahia Grande Channel, the land on




                                                                                                                                              USCA Case #23-1174
                                                    both sides of the channel is owned by the Brownsville Navigational District (BND)
                                                    and is not officially designated for fishing.




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Federal Agencies (FA)
 FA2     - U.S. Fish and Wildlife Service
                                            FA2-2   As described in section 4.4.2 of the EIS, the LNG terminal would permanently impact
                                                    191.8 acres of wetlands (not 500 acres). As discussed in section 3.3.2 of the EIS,
                                                    alternative sites were evaluated that would affect more and less acreage of wetlands;
                                                    however, with the various other criteria analyzed for alternative locations, none
                                                    provided an environmental advantage over the proposed Project. Since the COE has a
                                                    goal of “no net loss” of wetlands in the United States, and construction of the Project,
                                                    if approved, could not proceed without implementation of a COE-approved wetland




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                                                    mitigation plan, impacts on wetlands would be adequately mitigated. The suitability of
                                                    proposed wetland mitigation is more appropriately handled during the Section
                                                    404/Section 10 permit review process, in which applicable federal agencies (the COE
                                                    and the U.S. Environmental Protection Agency [EPA]) have the authority to impose
                                                    requirements for compensatory mitigation.

                                            FA2-3   As stated in section 4.7.1 of the EIS, prescribed burning, although not allowed on the
                                                    LNG Terminal site itself, would not be precluded in the adjacent areas. In addition,
                                                    the northern edge of the project site would be bounded by a 4 lane state highway
                                                    (SH-48) as well as a 17-foot storm levee. Furthermore, onsite process equipment
                                                    would be installed at a distance of over 500 feet from SH-48. This would provide




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                                                    sufficient separation distances between any prescribed wild fires and onsite process
                                                    equipment. We also note that hot embers from wildfires or prescribed burns could
                                                    reach onsite equipment and piping, however metal components and paving around
                                                    these components would not be considered a fuel source and would not be
                                                    susceptible to catching fire. If hot embers did ignite onsite components, RG LNG’s
                                                    proposed hazard and fire mitigation measures described in Section 4.12.1.6 of the
                                                    EIS would be activated as needed.
                                            FA2-4   Section 4.3.2.2 of the final EIS was revised to clarify that construction of the levee
                                                    would protect the Bahia Grande Channel from potential contamination during
                                                    construction and operations. In addition, RG LNG would implement its site-specific
                                                    Spill Prevention, Control, and Countermeasure (SPCC) Plan during construction and
                                                    operation of the Project to minimize the potential for impacts on surface waters due




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                                                    to spills or leaks of hazardous materials.
                                            FA2-5   Comment noted.

                                            FA2-6   As described in section 4.4.2 of the EIS, RG LNG is consulting with the COE, EPA,
                                                    and FWS regarding wetland mitigation plans as part of the permitting process
                                                    associated with Section 404 of the Clean Water Act (CWA). RG LNG’s final wetland
                                                    mitigation plans would be developed and submitted to the COE, and would be
                                                    implemented in addition to the construction mitigation measures outlined in RG




                                                                                                                                               Page 709 of 732
                                                    LNG’s Procedures and the measures described in the EIS. Construction of the LNG
                                                    Terminal would not commence prior to finalization of the wetland mitigation plans and
                                                    issuance of the COE’s CWA Section 404/Section 10 permit.




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                        - U.S. Fish and Wildlife Service
Federal Agencies (FA)
                        FA2
Federal Agencies (FA)
FA3      - U.S. Environmental Protection Agency

                                                  FA3-1   Comment noted.




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Federal Agencies (FA)
FA4      - U.S. Fish and Wildlife Service
                                            FA4-1   Comment noted.



                                            FA4-2   As noted in section 4.7.1.6, species-specific surveys would be completed prior to
                                                    construction, if the Project is approved. FERC staff has coordinated with the FWS
                                                    regarding its requests and understand that the FWS’ Biological Opinion for the




                                                                                                                                        USCA Case #23-1174
                                                    Project is pending additional information that will be provided by the Applicant
                                                    and/or FERC. Further, based on coordination with the FWS, we have revised our
                                                    determination of the jaguarundi to a “may affect, likely to adversely affect,” as
                                                    identified in section 4.7.1.4.


                                            FA4-3   Section 4.7.1.3 was updated in accordance with this recommendation.


                                            FA4-4   Section 4.7.1.3 was updated in accordance with this recommendation/comment.




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Federal Agencies (FA)
FA4      - U.S. Fish and Wildlife Service

                                            FA4-5   FERC staff has coordinated with the FWS and understand that the Biological Opinion
                                                    is pending additional information that will be provided by the Applicant and/or
                                                    FERC. Further, cumulative impacts on threatened and endangered species are
                                                    disclosed in the EIS. A determination of significant impacts as a result of cumulative
                                                    impacts is not prohibited under Section 7 or any other part of the ESA.




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                        - U.S. Fish and Wildlife Service
Federal Agencies (FA)
                        FA4
Federal Agencies (FA)
FA5      - U.S. Fish and Wildlife Service

                                            FA5-1   The comment is a duplicate of comment letter FA4.




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Federal Agencies (FA)
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                        - U.S. Fish and Wildlife Service
Federal Agencies (FA)
                        FA5
State Agencies (SA)
SA1      - TPWD
                      SA1-1   As described in section 4.4.2 of the EIS, wetland mitigation plans are part of the
                              permitting process associated with Section 404 of the CWA. RG LNG’s final
                              wetland mitigation plans would be developed and submitted to the COE, and would
                              be implemented in addition to the construction mitigation measures outlined in RG
                              LNG’s Procedures and the measures described in the EIS. Based on engineering
                              design and safety considerations, as discussed in the RG Developers’ application, the
                              footprint of the site cannot be appreciatively reduced. Construction of the LNG




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                              Terminal would not commence prior to finalization of the wetland mitigation plans
                              and issuance of the COE’s CWA Section 404/Section 10 permit.
                      SA1-2   Impacts associated with the non-jurisdictional electric transmission line are discussed
                              in section 1.4 (location and land requirements) and section 4.13 (contribution to
                              cumulative impacts). FERC does not have siting or design authority over the non-
                              jurisdictional electric transmission line and does not have the authority to require the
                              entity that constructs, owns, and operates it to implement certain voluntary best
                              management practices (BMP).




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State Agencies (SA)
SA1      - TPWD
                      SA1-3   As described in section 3.4 of the EIS, RG LNG originally proposed a new 1.8-mile-
                              long temporary haul road to transport fill material from the Port Isabel dredge pile to
                              the LNG Terminal site. We recommended in the draft EIS that RG LNG conduct a
                              feasibility assessment for transporting fill material from the Port Isabel dredge pile to
                              the LNG Terminal site via the existing system of roads or via barges. As a result of
                              these assessments, RG LNG is no longer pursuing use of the temporary haul road.




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                      SA1-4   Section 4.6.1.2 has been updated to reflect RG Developers’ confirmation that these
                              requests would be implemented to the extent feasible when accounting for safety and
                              security requirements of the facility. RG Developers also indicated their intent to
                              share the terminal lighting plan and any future updates on lighting with the Texas
                              Parks and Wildlife Department (TPWD). In light of expressed concerns of the
                              Project’s lighting plans, we have also included the TPWD as a consulting party for
                              development of the final lighting plan.




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State Agencies (SA)
 SA1     - TPWD
                      SA1-5   Section 2.5.2.1 has been updated to specify that RG Developers may also leave
                              construction debris, such as cleared trees and brush, within construction workspaces if
                              approved by the landowner or land management agency for beneficial reuse,
                              stabilization, or habitat restoration in accordance with RG Developers’ Plan.
                      SA1-6   “Being allowed to revert” and similar language is generally used to indicate lands that
                              would not be further encumbered by the Project, thus being allowed to return to its




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                              previous state. Restoration of upland vegetation impacted by the pipeline facilities
                              would generally occur through active seeding using the Natural Resource Conservation
                              Service (NRCS)- recommended seed mixes. In addition, following issuance of the
                              draft EIS, RG Developers consulted with the FWS regarding the use of seed mixes;
                              coordination on the final seed mixes is ongoing, and RG Developers will coordinate
                              with the Caesar Kleberg Wildlife Research Institute at the FWS’ recommendation. In
                              response to TPWD’s comments, RG Developers have committed to incorporating
                              monarch butterfly-friendly plants into the revegetation plan, where possible. We have
                              revised section 4.6.1.4 with this information. Certain areas, such as cultivated
                              cropland, would not be reseeded unless requested by the landowner.
                              Wetland revegetation will occur in accordance with a Project-specific wetland




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                              restoration plan, which is being developed in coordination with the COE (see section
                              4.4.2.2). Regardless of the method of revegetation, RG Developers are required to
                              follow the measures to ensure successful revegetation, including the density and cover
                              of non-nuisance species (see section 7.1 of the Project-specific Plan [appendix D] and
                              section 6.4 of the Project-specific Procedures [appendix E]).




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State Agencies (SA)
 SA1     - TPWD
                      SA1-7   As stated in section 4.2.2 of the EIS, in addition to cropland and managed pastures,
                              Rio Bravo Pipeline Company, LLC (RB Pipeline) would segregate topsoil in
                              unsaturated wetlands and other areas as requested by landowners. We consider the
                              measures in the RG Developers’ Plan, which are consistent with our Plan, regarding
                              topsoil segregation and revegetation of the proposed pipeline rights-of-way to be
                              sufficient to ensure successful revegetation. In section 4.7.1.6 of the EIS, we
                              recommend that RB Pipeline file the results of its completed surveys for federally




                                                                                                                      USCA Case #23-1174
                              listed threatened and endangered plant species, as well as any comments from the
                              FWS regarding the results. We also recommend that RB Pipeline file
                              avoidance/minimization measures that it would implement if individual plants are
                              found, developed in consultation with the FWS. For rare plants potentially present in
                              the Project area, we have updated section 4.5.4 to recommend that RB Pipeline consult
                              with the TPWD to determine if specific locations along the pipeline right-of-way may
                              warrant topsoil segregation for the protection of rare plants.
                      SA1-8   Section 4.6.2.2 has been updated to acknowledged TPWD’s recommendation and
                              indicate that RG Developers must cross all waterbodies with perceptible flow
                              between November 1 and January 31.




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                      SA1-9   Rare plants identified by the agencies during early consultation, as well as plans to
                              survey for specific species prior to construction, are discussed in section 4.7.1.6.
                              Impacts on the Texas tortoise are discussed in section 4.7.2.1 and include RB
                              Pipeline’s intent to implement the Texas Tortoise BMPs within the footprint of the
                              pipeline facilities, including aboveground facilities.




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State Agencies (SA)
SA1      - TPWD
                      SA1-10   As described in section 3.3.2 and table 3.3.2-1, the two sites that were not evaluated
                               (South Bank West and South Bank East) lacked a large enough track with a long-term
                               lease. The stated objective of the Project could not be accomplished at these locations;
                               therefore, the analysis was not carried forward. The 1.5-mile buffer was considered in
                               terms of land development. The sites of the other proposed LNG facilities are in the
                               North Bank East and South Bank Central areas of the Port of Brownsville. As
                               discussed in section 3.3.2, the North Bank East area has limited land available, and that




                                                                                                                           USCA Case #23-1174
                               land is within 1.5-miles of a populated/residential area which is the primary criteria of
                               the buffer that the RG Developers established for its Project.
                      SA1-11   Comment noted. Since issuance of the draft EIS, RG Developers have removed
                               additional temporary workspace located in wetlands and waterbodies that FERC
                               identified as unacceptable. Appendix F of the final EIS has been revised
                               accordingly.




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State Agencies (SA)
 SA1     - TPWD
                      SA1-12   As described in section 4.4.2 of the EIS, wetland mitigation plans are part of the
                               permitting process associated with Section 404 of the CWA. RG LNG’s final
                               wetland mitigation plans would be developed and submitted to the COE, and would
                               be implemented in addition to the construction mitigation measures outlined in RG
                               LNG’s Procedures and the measures described in the EIS. Construction of the LNG
                               Terminal would not commence prior to finalization of the wetland mitigation plans
                               and issuance of the COE’s CWA Section 404/Section 10 permit.




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                      SA1-13   Table 3.3.2-1 has been revised to include “direct impacts to lomas” as an evaluation
                               criteria for the alternative sites along the Brownsville Ship Channel (BSC). Lomas
                               are prevalent along the BSC and total avoidance is not possible within these sites.
                               The alternatives analysis considers multiple criteria and not just one over all others.
                               Further, section 3.5.1.2 has been revised to assess alternative routing and crossing
                               methods at the loma crossed by the pipelines. Section 4.13.2.3 of the EIS
                               acknowledges that the proposed Project, Annova LNG Project, and Texas LNG
                               Brownsville (Texas LNG) Project would all impact loma plant communities. We
                               recommended in the draft EIS that RG LNG conduct a feasibility assessment for
                               transporting fill material from the Port Isabel dredge pile to the LNG Terminal site




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                               via the existing system of roads or via barges. As a result of these assessments, RG
                               LNG is no longer pursuing use of the temporary haul road.




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State Agencies (SA)
SA1      - TPWD

                      SA1-14   Section 4.6.1.2 has been updated to reflect RG Developers’ confirmation that the
                               environmental inspector (EI) would periodically inspect the inside the fenceline after
                               it is erected to identify and relocated trapped wildlife as practicable and in
                               accordance with Project permits.

                      SA1-15   As identified in section 4.7.2.1, use of biological monitors would be limited to areas




                                                                                                                        USCA Case #23-1174
                               along the Pipeline System. Section 4.7.2.1 has been updated to reflect RG
                               Developer’s confirmation that they will continue to work with the TPWD to develop a
                               plan to minimize impacts on the Texas tortoise at the LNG Terminal site.




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State Agencies (SA)
 SA1     - TPWD
                      SA1-16   We have revised our recommendation in section 4.6.1.4 to include correspondence
                               with the TPWD, as well as with the FWS, during finalization of the Migratory
                               Bird Conservation Plan (MBCP).

                      SA1-17   Section 4.3.2.2 of the final EIS was revised to clarify that RG LNG conducted
                               hydrodynamic modeling for operation of the LNG Terminal that includes widening the
                               Bahia Grande Channel. The results of hydrodynamic modeling found that the Project




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                               would result in negligible changes in average current speeds within the Bahia Grande
                               Channel, and would therefore not significantly increase water flow through the Bahia
                               Grande Channel. Widening of the Bahia Grande Channel would have a significant
                               impact on current speed and water flow; however, the purpose of the widening would
                               be to increase tidal exchange between the BSC and the Bahia Grande. Further, the
                               timeframe for widening the Bahia Grande Channel is not known, and may not occur
                               prior to dredging during Project construction. All dredging would be conducted using
                               equipment designed to meet the Texas state water quality standards and in accordance
                               with applicable COE permit requirements, which would require that construction
                               activities be performed in a manner to minimize turbidity in the work area and
                               otherwise avoid adverse effects on water quality and aquatic life. RG LNG could




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                               install silt curtains to manage turbidity for either mechanical or hydraulic dredging.

                      SA1-18   Sections 4.6.1.2 and 4.7.2.1 have been updated to reflect RG Developers’ commitment
                               to conduct environmental awareness training that includes instructing Project
                               contractors to avoid negatively affecting wildlife encountered during construction and
                               identifying its “no kill” policy.




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State Agencies (SA)
SA1      - TPWD
                      SA1-19   RG Developers’ Plan and Procedures identify the potential for multiple methods of
                               seeding and mulching, including drill seeding, hydromulching, and hydroseeding. A
                               recommendation has been added to section 4.7.1.2 for RG Developers to coordinate
                               with the TPWD to determine specific locations that might be considered “sensitive
                               habitat” in which the use of plastic mesh/netting should be avoided.
                      SA1-20   Sections 4.6.1.2 and 4.7.2.1 have been updated to reflect RG Developers’ commitment




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                               to conduct environmental awareness training that includes instructing Project
                               contractors to avoid negatively affecting wildlife encountered during construction and
                               identifying its “no kill” policy.




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               State Agencies (SA)
Section 4.13 has

                   SA1   - TPWD
                                     SA1-21   As identified in section 4.7.2.1, use of biological monitors would be limited to areas
                                              along the Pipeline System. Section 4.7.2.1 has been updated to reflect RG
                                              Developer’s confirmation that they will continue to work with the TPWD to develop a
                                              plan to minimize impacts on the Texas tortoise at the LNG Terminal site, and to
                                              indicate that RG Developers would inform contractors to inspect under their vehicles
                                              prior to operating to ensure no wildlife are present.




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                                     SA1-22   Section 4.13 has been updated to include the referenced projects.


                                     SA1-23   Section 4.13 has been updated to reflect additional wind energy projects.




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State Agencies (SA)
SA1      - TPWD

                      SA1-24   The final EIS was revised to reference the pipeline facilities construction
                               procedures in section 2.5.2, which include a description of sequential pipeline
                               construction.




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